Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1 of 2562 PageID #: 12872




                        Exhibit A
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2 of 2562 PageID #: 12873

                                                                                                                                                   US010452974B1

   (12) United States Patent                                                                                            ( 10 ) Patent No.: US 10 ,452,974 B1
           Cosic                                                                                                        (45) Date of Patent:      Oct. 22, 2019
   ( 54 ) ARTIFICIALLY INTELLIGENT SYSTEMS,                                                                                 6 ,408 ,262 B1 * 6 /2002 Leerberg ............ G06F 11 /3608
            DEVICES, AND METHODS FOR LEARNING                                                                                                                                     703 / 2
            AND /OR USING A DEVICE ' S                                                                                      6 ,643 ,842 B2           11/2003 Angel et al.
                                                                                                                            6 , 728 ,689 B1           4 / 2004 Drissi et al .
            CIRCUMSTANCES FOR AUTONOMOUS                                                                                    6 , 735 ,632 B1           5/ 2004 Kiraly et al.
            DEVICE OPERATION                                                                                                6 , 754 ,631 B1           6 /2004 Din
                                                                                                                            6 , 801,912 B2           10 /2004 Moskowitz et al.
   (71 ) Applicant: Jasmin Cosic , Miami, FL (US)                                                                           6 ,842 ,877 B2            1/ 2005 Robarts et al .
                                                                                                                            6 , 915, 105 B2           7 / 2005 Masuda
                                                                                                                            6 ,973 ,446 B2           12/ 2005 Mamitsuka et al.
   (72 ) Inventor : Jasmin Cosic , Miami, FL (US )                                                                           7 ,017 , 153 B2          3 /2006 Gouriou et al.
                                                                                                                             7 ,052 ,277 B2           5 /2006 Kellman
   ( * ) Notice :            Subject to any disclaimer, the term of this                                                     7 ,113, 946 B2           9 /2006 Cosic
                    patent is extended or adjusted under 35                                                                  7 , 117 , 225 B2        10 /2006 Cosic
                     U .S .C . 154 (b ) by 525 days .                                                                       7 , 222 ,127 B1           5 / 2007 Bem et al.
                                                                                                                             7 ,240, 335 B2           7 / 2007 Angel et al.
                                                                                                                             7 , 249 ,349 B2          7 / 2007 Hundt et al.
   (21) Appl. No.: 15 /340 ,991                                                                                              7 ,424 ,705 B2           9 /2008 Lewis et al.
                                                                                                                            7 ,478 ,371 B1            1/2009 Gove
   (22 ) Filed : Nov . 2, 2016                                                                                              7 ,484 ,205 B2            1 /2009 Venkatapathy
                                                                                                                            7 ,565,340 B2             7 /2009 Herlocker et al .
   (51) Int. CI.                                                                                                            7 ,721, 218 B2            5 /2010 Awe et al.
         GOON 3 /08                ( 2006 .01 )                                                                                                         (Continued )
            G06N 5 / 02                    ( 2006 . 01)
   (52 ) U .S. CI.                                                                                                                                OTHER PUBLICATIONS
         CPC ............... GO6N 3/08 ( 2013 .01 ); G06N 5/022                                                  Chen et al. Case - Based Reasoning System and Artificial Neural
                                                       (2013.01)                                                 Networks : A Review Neural Comput & Applic ( 2001) 10 : pp .
   (58 ) Field of Classification Search                                                                          264 - 276 , 13 pages.
            CPC . ..... .. ....          ........ GO6N 3 /08 ; GOON 5 /022
             See application file for complete search history .                                                                                         (Continued )
   (56 )                          References Cited                                                                Primary Examiner — Santiago Garcia
                       U . S . PATENT DOCUMENTS                                                                  (57)                  ABSTRACT
           4 ,370 ,707 A           1/ 1983 Phillips et al.                                                       Aspects of the disclosure generally relate to computing
           4 , 730 ,315 A          3 / 1988 Saito et al.                                                         enabled devices and /or systems, and may be generally
           4 , 860 , 203 A         8 / 1989 Corrigan et al.                                                      directed to devices , systems, methods , and/ or applications
           5 , 560, 011 A          9 / 1996 Uyama                                                                for learning a device 's operation in various circumstances ,
           5 ,602,982 A            2/ 1997 Judd et al.                                                           storing this knowledge in a knowledgebase (i.e. neural
           6 ,026 ,234 A           2 / 2000 Hanson et al.                                                        network , graph , sequences, etc .), and enabling autonomous
           6 ,088, 731 A           7 / 2000 Kiraly et al.
           6 , 106 ,299 A          8/ 2000 Ackermann et al.                                                      operation of the device .
           6 , 126 , 330 A        10 / 2000 Knight
           6 ,314 ,558 B1         11/2001 Angel et al.                                                                         20 Claims, 40 Drawing Sheets

                                                                         Object              Processor
                                                                         Procassing                           Application Program
                                                                         Unit



                                                      DCADO Unit
                                                                                                                 120                      130

                                                                                                Acquisition                Modification
                                                                                                Interface                  Interface
                                                                  110

                                                          Artificial
                                                          Intelligence                                                                      530
                                                          Unit                                                    520
                                                                                                                               Knowledgebase
                                                                                  Knowledge Structuring Unit
                                                                                                                  540

                                                                         Decision-making Unit

                                                                                                                  550
                                                                                       motion in
                                                                                  Confirmation Unit
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 3 of 2562 PageID #: 12874


                                                                                    US 10 ,Page
                                                                                           452 ,2974 B1
   (56 )                        References Cited                                                            2009 /0222388 AL
                                                                                                            2009/ 0287643 A1
                                                                                                                                          9 /2009 Hua et al.
                                                                                                                                         11/ 2009 Corville et al.
                       U . S . PATENT DOCUMENTS                                                             2009 /0324010 A1             12/2009 Hou
                                                                                                            2010 /0023541 A1              1/2010 Cosic
           7 ,765 ,537 B2        7 / 2010 Havin et al.                                                      2010 /0033780 A1              2 / 2010 Gitter
           7 ,797,259 B2         9 /2010 Jiang et al.                                                       2010 /0063949 Al              3 /2010 Eaton et al .
           7 ,840 , 060 B2      11/2010 Podilchuk                                                            2010 /0082536 A1             4 / 2010 Cosic
           7 ,925, 984 B2        4 / 2011 Awe et al.                                                         2010 /0114746 Al             5 /2010 Bobbitt et al.
           7 ,987, 144 B1        7 / 2011 Drissi et al.                                                      2010 /0138370 A1             6 / 2010 Wu et al .
           8 , 005,828 B2        8 /2011 Buchner et al.                                                     2010 /0241595 AL               9 / 2010 Felsher
           8 ,019 ,699 B2        9 / 2011 Baxter                                                             2010 /0278420 A1 * 11/2010 Shet ....... ......... GO6K 9 /00369
           8 ,078,556 B2        12 /2011 Adi et al.                                                                                                                 382/ 156
           8 ,090 ,669 B2        1 / 2012 Shahani et al.                                                     2011 /0007079 AL              1/ 2011 Perez et al .
           8 , 137, 112 B2       3 / 2012 Woolf et al.                                                      2011/0030031 AL                2 /2011 Lussier et al.
           8 , 166 ,463 B2       4 / 2012 Gill et al.                                                       2011 /0085734 Al              4 / 2011 Berg et al.
           8 , 195,674 B1        6 / 2012 Bem et al.                                                        2011/0218672 A1 9 / 2011 Maisonnier et al.
           8 , 196 , 119 B2      6 / 2012 Gill et al.                                                       2011/0270794 Al 11/ 2011 Drory et al.
           8 ,244 ,730 B2        8 / 2012 Gupta                                                             2012 /0150773 A1 6 / 2012 DiCorpo et al.
           8 ,251,704 B2         8 / 2012 Woolf et al.                                                      2012 /0167057 A1 * 6 /2012 Schmich ............. GOOF 11/ 3644
           8 , 261, 199 B2       9 / 2012 Cradick et al.                                                                                                                          717 / 130
           8 , 266 ,608 B2       9/ 2012 Hecht et al .                                                       2012 /0284026 AL 11/2012 Cardillo et al.
           8, 335 ,805 B2 12 /2012 Cosic                                                                     2012 /0290347 A1* 11/ 2012 Elazouni ....                         G06Q 10 /00
           8 , 364,612 B2        1/ 2013 Van Gael et al.                                                                                                                         705/ 7. 12
           8 ,386 ,401 B2        2 / 2013 Virkar et al.                                                      2013 /0007532 AL              1 /2013 Miller et al.
           8 ,397,227 B2         3 / 2013 Fan et al.                                                         2013/0156345 A1              6 /2013 Shmunk
           8 ,417 , 740 B2       4 / 2013 Cosic                                                              2013/0159021 Al              6 /2013 Felsher
           8 , 464 ,225 B2       6 / 2013 Greifeneder                                                        2013/02 18932 Al             8 / 2013 Cosic
           8 ,549 ,359 B2       10 / 2013 Zheng                                                             2013 /0226974 Al               8 /2013 Cosic
           8 ,572, 035 B2       10 / 2013 Cosic                                                             2013/0238533 Al 9 /2013 Virkar et al.
           8 , 589,414 B2       11/ 2013 Waite et al.                                                       2013 /0278501 A1 10 / 2013 Bulzacki
           8 , 595 , 154 B2 *   11/ 2013 Breckenridge ........ GO6N 20 /00                                  2013 /0278631 Al 10 /2013 Border et al.
                                                                   706 / 12                                 2014/0052717 A1 2 /2014 Franks et al.
           8,655, 260 B2         2 /2014 Yueh et al.                                                        2014 /0075249 A1  3 /2014 Sato et al.
           8 ,655, 900 B2    2 /2014 Cosic                                                                  2014 /0161250 A1 6 / 2014 Leeds et al .
           8 ,667, 472 B1    3 / 2014 Molinari                                                               2014 /0177946 A1 *            6 / 2014 Lim                     GO6K 9 /4614
           8 ,996 ,432 B13 / 2015 Fu                                                                                                                                              382 / 156
           9 ,047 ,324 B2 6 / 2015 Cosic                                                                    2014 / 0207580 A1             7 /2014 Minnis et al.
           9 , 268,454 B2 2 / 2016 Hamilton , II et al.                                                     2014 /0211988 A1              7 / 2014 Fan et al.
           9 , 282, 309 B1 * 3 / 2016 Cosic .                                        HO4N 9 /87
                                                                                    MUSI                    2015 /0006171 A1              1 /2015 Westby et al.
           9 ,298 ,749 B2        3 /2016 Cosic                                                              2015 /0039304 A1               2 / 2015 Wein
           9 ,305 ,216 B1        4 / 2016 Mishra                                                             2015 /0055821 A1              2 / 2015 Fotland
           9 ,367 ,806 B1 *      6 / 2016 Cosic                                             GOON 5 /022     2015 / 0264306 A1              9 /2015 Marilly et al.
           9 , 443 , 192 B1 *    9Y / 2016 Cosic . . . . . . . . . . . . . . . . . . . . . . GOON
                                      ZUIO LOSIC                                              VON 3JIUZ
                                                                                                     /02    2015 /0269415 A1              9 /2015 Gelbman
           9 , 582 , 762 B1 *     2 / 2017 Cosic                                             GOON 5 / 04    2015 /0310041 Al             10 /2015 Kier et al.
           9 , 864 ,933 B1 *     1/ 2018 Cosic ....                                   G06K 9 / 66           2015 / 0324685 Al 11 /2015 Bohn et al.
       10 , 102, 226 B1 * 10 / 2018 Cosic .................. G06F 16 / 5866                                 2015 / 0339213 A1 * 11/2015 Lee . . . . . . . . . . . . . . .   G06F 11/ 3664
             02 ,449 BI * 10/ 2018 Cosic ................. GO6K 9 /00771                                                                                                         717 / 125
    2003/ 0026588 AL 2 / 2003 Elder et al.                                                                  2016 / 0077166 A1*             3/2016 Morozov ..........         GO1C 19 /00
    2003 /0065662 AL 4 / 2003 Cosic                                                                                                                                               702/ 150
    2004 /0117771 A1 6 / 2004 Venkatapathy                                                                   2016 /0140999 A1 5 /2016 Cosic
    2004 /0194017 AL 9 / 2004 Cosic                                                                          2016 /0142650 A15 /2016 Cosic
    2004 /0249774 AL            12 /2004 Caid et al.                                                         2016 /0167226 A1 * 6 /2016 Schnittman                              B25J 5 /00
    2004 /0267521 Al            12/2004 Cutler et al.                                                                                                                             382/ 153
    2005 /0149517 A1             7 /2005 Cosic                                                               2016 / 0243701 A1 *           8 / 2016 Gildert ............. .... G05B 19 /42
    2005 /0149542 Al             7 / 2005 Cosic                                                             2016 /0246819 AL               8 /2016 Cosic
    2005/0240412 Al             10 /2005 Fujita                                                             2016 / 0246850 AL              8 /2016 Cosic
    2005/ 0245303 A1 11/2005 Graepel et al.                                                                  2016 /0246868 AL              8 /2016 Cosic
    2005 /0289105 Al 12 / 2005 Cosic                                                                        2016 /0274187 A1 * 9 / 2016 Menon ............. GOIR 31 / 31718
    2006 /0047612 A1 3 / 2006 Stanley et al.                                                                2016 /0292185 Al 10 / 2016 Cosic
    2006 /0184410 A18 / 2006 Ramamurthy et al.                                                              2016 /0328480 AL 11/2016 Owens et al.
    2006 /0190930 Al 8/ 2006 Hecht et al.                                                                   2017 /0161958 A1 * 6 /2017 Eilat .................... GO2B 27 /017
    2006 / 0265406 AL 11/ 2006 Chkodrov et al.                                                               2018 /0101146 A1 *           4 /2018 Hariharan .......... GO5B 13/0265
    2007/ 0006159 AL 1/ 2007 Hecht et al.                                                                    2018 /0120813 Al * 5 /2018 Coffman ............ GO5B 19 /4097
    2007 /0050606 AL 3 / 2007 Ferren et al.
    2007 /0050719 A1 3 / 2007 Lui et al.
    2007 /0058856 AL 3/ 2007 Boregowda et al.                                                                                     OTHER PUBLICATIONS
    2007 /0061735 Al 3 / 2007 Hoffberg et al.
    2007 /0106633 AL 5 / 2007 Reiner                                                                       John J. Grefenstette , Connie Loggia Ramsey, Alan C . Schultz ,
    2008/0144893 Al              6 / 2008 Guo et al .                                                      Learning Sequential Decision Rules Using Simulation Models and
    2008/0215508 A1              9 / 2008 Hanneman et al.                                                  Competition , 1990 , Navy Center for Applied Research in Artificial
    2008/0254429 Al             10 / 2008 Woolf et al.                                                     Intelligence, Naval Research Laboratory, Washington , DC , 27 pages.
    2008/0281764 Al             11/ 2008 Baxter
    2008 /0288259 Al            11/ 2008 Chambers et al.                                                   Alan C . Schultz , John J. Grefenstette , Using a Genetic Algorithm to
    2009/0044113 Al              2 / 2009 Jones et al.                                                     Learn Behaviors for Autonomous Vehicles , 1992 , Navy Center for
    2009/ 0067727 Al             3 /2009 Hirohata                                                          Applied Research in Artificial Intelligence , Naval Research Labo
    2009 /0110061 A1             4 / 2009 Lee et al.                                                       ratory, Washington , DC , 12 pages.
    2009 /0131152 A1             5 / 2009 Busse                                                            Koppula et al., " Anticipatinghuman activities using object affordances
    2009/0136095 A1              5 / 2009 Marcon et al.                                                    for reactive robotic response " , IEEE TRAMI 2016 , published May
    2009/0141969 A1              6 / 2009 Yu et al.                                                        5 , 2015, 16 pages.
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 4 of 2562 PageID #: 12875


                                                                    US 10 ,Page
                                                                            452,3974 B1

   (56 )                References Cited                                             Feature extraction, retrieved from < URL : http ://wikipedia.com > on
                                                                                     Nov. 19 , 2015 , 2 pages .
                    OTHER PUBLICATIONS                                               Gesture recognition , retrieved from < URL : http ://wikipedia .com >
                                                                                     on Nov . 19 , 2015, 5 pages .
   Orme, “ System design tips for entry level smartphones part 3 ” ,                 GrabCut, retrieved from <URL : http ://wikipedia .com > on Nov. 1,
   found online at“ https:// community .arm . com / processors/b /blog/posts/        2015 , 1 pages .
   system -design -tips-for- entry - level-smartphones-part -3 ” , Oct. 21, 2013 ,   Image processing , retrieved from <URL: http ://wikipedia.com > on
   12 pages .                                                                        Nov . 19 , 2015 , 2 pages .
   Nowostawski, Mariusz et al., “ Dynamic Demes Parallel Genetic                     Image segmentation , retrieved from <URL : http ://wikipedia .com >
   Algorithm ” , May 13 , 1999 , 6 pages .                                           on Nov . 19 , 2015 , 12 pages.
   Stack Overflow , How can I quantify difference between two images? ,              Image warping, retrieved from <URL : http ://wikipedia .com > on
   accessed Aug. 2 , 2017 at https :// stackoverflow . com /questions/ 189943 /      Nov . 1 , 2015 , 2 pages .
   how -can -i- quantify -difference -belween -two -images, 8 pages.                 Inbetweening , retrieved from <URL: http ://wikipedia .com > on Nov.
   Skolicki, Zbigniew et al., “ The Influence of Migration Sizes and                 11 , 2015 , 2 pages.
   Intervals on Island Models ” , Jun . 29 , 2005 , 8 pages .                        Interpolation , retrieved from <URL : http :// wikipedia .com > on Nov.
   Vahid Lari, et al., “ Decentralized dynamic resource management                   1, 2015, 5 pages.
   support for massively parallel processor arrays" , Sep . 11, 2011 , 8             Language model, retrieved from < URL : http ://wikipedia .com > on
   pages.                                                                            Nov. 19 , 2015 , 4 pages .
    Vahid Lari, et al., “ Distributed resource reservation in massively              List of speech recognition software, retrieved from < URL : http://
   parallel processor arrays” , May 16 , 2011 , 4 pages.                             wikipedia .com > on Nov. 19 , 2015 , 4 pages .
   Mohsen Hayati and Yazdan Shirvany , “ Artificial Neural Network                   Livewire Segmentation Technique, retrieved from <URL : http ://
   Approach for Short Term Load Forecasting for Illam Region” , Jan .                wikipedia .com > on Nov . 1 , 2015 , 2 pages.
   2007, 5 pages .                                                                   Morphing, retrieved from < URL : http ://wikipedia.com > on Nov . 11 ,
   Hasim Sak , Andrew Senior, and Francoise Beaufays, “ Long Short                   2015 , 2 pages.
   Term Memory Recurrent Neural Network Architectures for Large                      Motion estimation , retrieved from < URL : http ://wikipedia .com > on
   Scale Acoustic Modeling” , Jan . 2014 , 5 pages.                                  Nov. 19 , 2015 , 2 pages.
   Jorg Walter and Klaus Schulten , “ Implementation of self-organizing              Muse : Face Morph ||Mesh Warping, retrieved from <URL : http ://
   neural networks for visuo -motor control of an industrial robot” , Jan .          alexwolfe .blogspot.com /2011/ 10 /face-morph -mesh -warping.html> on
   1993 , 10 pages .                                                                 Nov. 19 , 2015 , 2 pages .
   Heikki Hyotyniemi and Aamo Lehtola , “ A Universal Relation                       N -gram , retrieved from <URL : http ://wikipedia .com > on Nov. 1 ,
   Database Interface for Knowledge Based Systems” , Apr. 1991, 5                    2015, 5 pages .
   pages.
   Mrissa , Michael, et al. “ An avatar architecture for the web of                  Optical flow , retrieved from < URL : http ://wikipedia .com > on Nov .
   things.” IEEE Internet Computing 19 .2 (2015 ): 30 - 38 ., 9 pages.               1 , 2015 , 4 pages .
   Luck , Michael, and Ruth Aylett . " Applying artificial intelligence to           Outline of object recognition , retrieved from <URL : http ://wikipedia.
   virtual reality : Intelligent virtual environments." Applied Artificial           com > on Nov. 19 , 2015 , 7 pages.
   Intelligence 14 . 1 (2000 ) : 3 -32 ., 30 pages.                                  Phonotactics, retrieved from < URL : http ://wikipedia .com > on Nov.
   Terdjimi, Mehdi, et al. “ An avatar-based adaptation workflow for                  19 , 2015 , 3 pages.
   the web of things.” Enabling Technologies: Infrastructure for Col                 Recurrent neural network , retrieved from < URL : http ://wikipedia.
   laborative Enterprises (WETICE ), 2016 IEEE 25th International                    com > on Nov . 11 , 2015 , 5 pages.
   Conference on . IEEE, 2016 ., 6 pages.                                            Sample rate conversion , retrieved from <URL : http ://wikipedia .
   Bogdanovych , Anton , et al. “ Authentic interactive reenactment of               com > on Nov. 1 , 2015 , 2 pages.
   cultural heritage with 3D virtual worlds and artificial intelligence .”           Simple interactive object extraction , retrieved from < URL: http ://
   Applied Artificial Intelligence 24 .6 (2010 ): 617 -647 ., 32 pages.              wikipedia .com > on Nov. 19 , 2015 , 2 pages.
   Hernandez , Marco E . Perez, and Stephan Reiff -Marganiec . “ Autono              Speech recognition , retrieved from < URL : http ://wikipedia .com >
   mous and self controlling smart objects for the future internet.”                 on Nov . 11 , 2015 , 12 pages.
   Future Internet of things and cloud ( FiCloud ), 2015 3rd interna                 Speech segmentation , retrieved from < URL : http ://wikipedia .com >
   tional conference on. IEEE , 2015 ., 8 pages .                                    on Nov . 1, 2015, 4 pages.
   Medini et al., “ Building a Web of Things with Avatars”, Managing                 Welcome to recognize -speech .com , retrieved from <URL : http ://
   the Web of Things ( 2017 ), 30 pages.                                             recognize -speech .com > on Oct. 18, 2015 , 1 pages.
    About | OpenCV, retrieved from <URL : http://opencv .org/ about.                 Introduction Speech , retrieved from < URL : http:// recognize - speech .
   html> on Dec . 13 , 2014 , 1 pages .                                              com / speech > on Oct. 18 , 2015 , 1 pages.
   Animetrics, Inc . | 3D Facial Recognition , retrieved from <URL :                 Preprocessing, retrieved from <URL : http ://recognize -speech .com /
   http :// animetrics .com > on Dec. 13 , 2014 , 2 pages.                           preprocessing > on Oct. 18 , 2015 , 4 pages .
   Bag - of-words model, retrieved from <URL : http ://wikipedia . com >             Feature Extraction , retrieved from < URL : http ://recognize - speech .
   on Nov . 19 , 2015 , 2 pages .                                                    com /feature-extraction > on Oct. 18 , 2015 , 3 pages .
   Beier - Neely morphing algorithm , retrieved from < URL : http ://                Acousticmodel, retrieved from <URL : http ://recognize-speech .com /
   wikipedia . com > on Nov . 19 , 2015, 1 pages .                                   acoustic -model > on Oct. 18 , 2015 , 2 pages.
   Computer vision , retrieved from <URL : http ://wikipedia .com > on               Video content analysis, retrieved from < URL : http ://wikipedia .
   Nov. 19 , 2015 , 7 pages .                                                        com > on Nov . 19 , 2015 , 2 pages .
   Convolutional neural network , retrieved from <URL : http ://wikipedia .          Video tracking , retrieved from <URL : http ://wikipedia .com > on
   com > on Nov . 11 , 2015 , 5 pages.                                               Nov . 1, 2015 , 2 pages .
   Decimation (signal processing ), retrieved from <URL : http ://                   Andrej Karpathy , Thomas Leung ,George Toderici, Rahul Sukthankar,
   wikipedia .com > on Nov . 19 , 2015 , 3 pages .                                   Sanketh Shetty, Li Fei-Fei, Large -scale Video Classification with
   Digital image processing , retrieved from < URL : http ://wikipedia .              Convolutional Neural Networks, Apr. 14 , 2014 , 8 pages , Stanford
   com > on Nov. 19 , 2015 , 3 pages .                                               University
   Dissolve ( filmmaking ), retrieved from <URL: http ://wikipedia .                 Karen Simonyan , Andrew Zisserman , Two - Stream Convolutional
   com > on Nov . 11 , 2015 , 2 pages .                                              Networks for Action Recognition in Videos , Nov . 13 , 2014 , 11
   Facial recognition system , retrieved from <URL : http ://wikipedia .             pages, University of Oxford .
   com > on Nov. 11, 2015 , 6 pages.                                                 About Event Tracing, retrieved from <URL : http ://msdn .microsoft.
   Feature detection (computer vision ), retrieved from < URL : http ://             com /en -us/ library/aa363668(d = default,I = en -us, v = vs .85 ).aspx > on
   wikipedia .com > on Nov . 19 , 2015 , 3 pages.                                    Jan . 12 , 2014 , 2 pages.
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 5 of 2562 PageID #: 12876


                                                                      US 10 ,Page
                                                                             452,4974 B1

   ( 56 )                      References Cited                                        Package java .util.logging , retrieved from < URL : http ://docs.oracle .
                                                                                       com /javase/ 1.5 .0 /docs/api/java /util /logging/ package -summary .
                   OTHER PUBLICATIONS                                                  html> on Mar. 19 , 2014 , 2 pages.
                                                                                       Javac - Java programming language compiler, retrieved from <URL :
   Add dynamic Java code to your application , retrieved from <URL :                   http ://docs. oracle .com /javase/ 7/ docs/technotes/tools/windows/javac .
   http ://www .javaworld . com / article / 2071777 /design - patterns /add            html> on May 13 , 2014 , 12 pages.
   dynamic -java - code -to -your- application .html> on May 13 , 2014 , 6             Interface JavaCompiler, retrieved from < URL : http ://wikipedia .
   pages .                                                                             com > on May 13 , 2014 , 4 pages.
   BCEL , retrieved from < URL : http :// commons.apache .org > on May                 Javassist, retrieved from < URL : http ://wikipedia .com > on May 13 ,
   13, 2014 , 2 pages .                                                                2014 , 2 pages .
   Artificial intelligence, retrieved from < URL: http ://wikipedia . com >            Just -in -time compilation , retrieved from <URL : http ://wikipedia .
   on May 21, 2014 , 28 pages .                                                        com > on May 19 , 2014 , 5 pages .
   Artificial neural network , retrieved from < URL : http ://wikipedia .
   com > on May 21 , 2014 , 12 pages .                                                 JVM Tool Interface, retrieved from <URL : http : // docs.oracle. com /
   Branch (computer science ), retrieved from < URL : http ://wikipedia .              javase /7 /docs/plafform /jvmti/jvmti.html> on Apr. 26 , 2014 , 127
   com > on May 6 , 2014 , 2 pages .                                                   pages .
   Branch trace , retrieved from <URL : http ://wikipedia .com > on May                Machine code, retrieved from <URL: http://wikipedia .com > on Apr.
   28 , 2014 , 2 pages.                                                                30 , 2014 , 3 pages.
   C Function Call Conventions and the Stack , retrieved from <URL :                   Metaprogramming, retrieved from < URL : http ://wikipedia .com > on
   http :// www .csee.umbc .edu / ~ chang/cs313.s02/stack .shtml> on Jan .             May 8, 2014 , 3 pages.
    11 , 2014 , 4 pages.                                                               Microsoft . VisualBasic .Logging Namespace , retrieved from <URL :
   Call stack , retrieved from < URL : http ://wikipedia .com > on Jan . 11 ,          http ://msdn .microsoft .com / en - us/library /ms128122 (d = default, i = en
   2014 , 5 pages .                                                                    us, v = vs . 110 ).aspx > on Jan . 13 , 2014 , 1 pages .
   Program compilation and execution flow , retrieved from <URL :                      Pin ( computer program ), retrieved from <URL : http ://wikipedia .
   http :// cs.stackexchange .com / questions/6187 /program -compilation               com > on May 6 , 2014 , 3 pages .
   and - execution - flow > on Jan . 9 , 2014 , 2 pages.                               Processor register, retrieved from <URL : http ://wikipedia . com > on
   Control unit, retrieved from <URL : http ://wikipedia.com > on May                  Apr. 29 , 2014 , 4 pages.
   25, 2014 , 2 pages.                                                                 Profiling ( computer programming), retrieved from < URL : http ://
   Create dynamic applicationswith javax .tools, retrieved from < URL :                wikipedia .com > on Jan. 10 , 2014 , 4 pages.
   http ://www .ibm .com /developerworks/library /j-jcomp/> on May 13 ,                Profiling Overview , retrieved from < URL : http ://msdn .microsoft.
   2014 , 11 pages .                                                                   com / en -us/ library/bb384493 (d = default ,I= en -us , v = vs. 110 ).aspx > on
   Creating a Debugging and Profiling Agent with JVMTI, retrieved                      Jan . 12 , 2014 , 6 pages.
   from < URL : http ://www .oracle .com /technetwork /articles/ java/jvmti            Program counter, retrieved from < URL : http ://wikipedia .com > on
    136367.html> on Jan . 11 , 2014 , 18 pages.                                        Apr. 24 , 2014 , 2 pages .
   Decision tree learning, retrieved from <URL : http ://wikipedia .com >
   on Jun . 24 , 2014 , 5 pages .                                                      Ptrace , retrieved from <URL : http ://wikipedia .com > on Apr. 24 ,
   Dynamic Bytecode Instrumentation , retrieved from <URL: http ://                    2014 , 2 pages.
   www . drdobbs .com / tools/dynamic -bytecode - instrumentation /                    Reflection (computer programming), retrieved from <URL : http ://
    184406433 > on Apr. 26 , 2014 , 6 pages .                                          wikipedia .com > on May 7 , 2014 , 5 pages .
   Dynamic programming language , retrieved from <URL : http ://                       Class Runtime, retrieved from <URL : http ://docs .oracle .com /javase /
   wikipedia .com > on May 7 , 2014 , 4 pages.                                         7 / docs /api/java /lang/Runtime.html> on Jan . 10 , 2014 , 10 pages.
   Dynamic recompilation , retrieved from <URL : http :// wikipedia .                  Self-modifying code , retrieved from <URL : http ://wikipedia .com >
   com > on May 19 , 2014 , 4 pages .                                                  on Jan . 12 , 2014 , 6 pages.
   Eval(), retrieved from < URL : https ://developer.mozilla .org / en -US /           Subjective logic , retrieved from <URL : http ://wikipedia .com > on
   docs/Web / JavaScript/Reference /Global_ Objects/ eval> on May 7 ,                  May 22, 2014 , 5 pages.
   2014 , 13 pages .                                                                   System .CodeDom .Compiler Namespace, retrieved from URL : http ://
   Function , retrieved from < URL : https://developer.mozilla .org /en                msdn .microsoft.com /en -us/library /z6b99ydt( d = default ,I = en -us,v = vs .
   US/docs/Web /JavaScript/Reference/Global_ Objects/ Function > on May                110 ).aspx > on May 13 , 2014 , 2 pages.
    7 , 2014 , 11 pages .                                                              System .Reflection . Emit Namespace , retrieved from < URL : http ://
   Function Enter2 Function , retrieved from <URL : https://msdn .                     msdn .microsoft.com /en -us/library /xd5fw18y (d = default = en -us ,v =
   microsoft.com / en -us/library / aa964981( d = default,I = en -us, v = vs.110 ) .   vs. 110 ).aspx > on May 13 , 2014 , 2 pages .
   aspx > on Mar. 19 , 2014 , 2 pages.                                                 Tracing ( software ), retrieved from < URL : http ://wikipedia.com > on
   FunctionLeave2 Function , retrieved from <URL : https: //msdn .
   microsoft.com /en - us/library /aa964942 (d = default,i = en - us, v = vs. 110 ).   Jan . 10 , 2014 , 3 pages.
   aspx > on Mar. 19 , 2014 , 1 pages .                                                Tree (data structure ), retrieved from <URL : http ://wikipedia .com >
   Heuristic , retrieved from < URL: http ://wikipedia.com > on May 22 ,               on Jun . 24 , 2014 , 6 pages .
   2014 , 5 pages .                                                                    PTRACE( 2 ), retrieved from <URL : http ://unixhelp .ed .ac.uk /CGI/
   How to : Configure Trace Switches, retrieved from < URL : https://                  man -cgi? ptrace > on Mar. 19 , 2014 , 5 pages.
   msdn .microsoft.com /en -us/ library /vstudio/t06xyy08 (d = default,I = en          Wevtutil, retrieved from < URL : http ://technet.microsoft.com / en -us/
   us,v = vs.100 ).aspx > on Mar. 19 , 2014 , 3 pages .                                library/ cc732848 (d = default,I= en -us,v =ws. 11).aspx > on Apr. 28 , 2014 ,
   Indirect branch , retrieved from <URL : http ://wikipedia .com > on                 5 pages .
   May 5 , 2014 , 1 pages.                                                             Intel Processor Trace , retrieved from <URL : https :// software . intel .
   Instruction cycle, retrieved from < URL : http ://wikipedia .com > on               com /en -us/blogs /2013 /09 / 18 / processor-tracing > on Apr. 28 , 2014 , 3
   Apr. 30 , 2014 , 2 pages .                                                          pages .
   Instruction set, retrieved from URL : http :// wikipedia .com > on Apr.              Younghoon Jung, Java Dynamics Reflection and a lot more , Oct. 10 ,
   29 , 2014 , 6 pages.                                                                2012 , 55 pages, Columbia University .
   Interrupt, retrieved from <URL : http ://wikipedia .com > on May 15 ,               Amitabh Srivastava , Alan Eustace , Atom A System for Building
   2014 , 5 pages .                                                                    Customized Program Analysis Tools, May 3 , 2004, 12 pages .
   Introduction to Instrumentation and Tracing, retrieved from < URL:                  Mathew Smithson , Kapil Anand , Aparna Kotha , Khaled Elwazeer,
   http ://msdn .microsoft .com / en -us/library / aa983649 ( d = default,I = en       Nathan Giles, Rajeev Barua , Binary Rewriting without Relocation
   us, v = vs.71 ).aspx > on Jan . 10 , 2014 , 2 pages.                                Information, Nov. 10 , 2010 , 11 pages, University of Maryland.
   Java bytecode, retrieved from < URL : http ://wikipedia .com > on                   Marek Olszewski, Keir Mierte , Adam Czajkowski, Angela Demle
   May 27, 2014 , 4 pages                                                              Brown, JIT Instrumentation - A Novel Approach to Dynamically
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 6 of 2562 PageID #: 12877


                                                          US 10 ,Page
                                                                  452,5974 B1

   ( 56 )                References Cited
                    OTHER PUBLICATIONS
   Instrument Operating Systems, Feb . 12, 2007, 14 pages, University
   of Toronto
   * cited by examiner
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 7 of 2562 PageID #: 12878


                       atent           Oct. 22, 2019                              Sheet 1 of 40                                     US 10 ,452, 974 B1




                                                                                                       NetworkInterface
                                                  Pcing Aproligcatmosn SDpatcae
                          Storage OS
                                                                                                       AltemaiveMemory
                                                                                       .
                                                                                       ooooooooooooo
                                                                                       oooo
                                                                                       oooooooooo
                                                                                                                                                             1
                                                                                                                                                             .
                                                                                                                                                             FIG



                                         Cache                              1




                                                                                                                                  -mHaucmhiane
      -
      DCoemvpuitcneg
       70
                            go
                                                                                                                                           w
                                                                                                                                                 Interface
                                                           RO VODMevmiocrey
                                       Procesor      Memory 15B
                                                     10
                                                     Port
                                                     110     16
                                                                                                                          TER
                                                                                                                                Diesvpilcaey ? ?
                                                                                       .
                                                                                       co




                                                                     15A
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 8 of 2562 PageID #: 12879



   U.S.Paten     atent                                                             Oct. 22, 2019                                      Sheet 2 of 40                       US 10 ,452, 974 B1




                                                                                         ArtifcialIntelignce
                                                                110



             A
                                                                                               -




                                                                                               -
                                                                                               -




                                                                                               -




                          s
                          Leaming
                          for
                          Unit
                          '
                          Device
                          a
                          Using
                          or
                          /
                          and
                                                                                               -




                                    DAfCiuretcovmnsiacruesUnit)(DOpCerAatDioOn
                                                                                               -




             A
                                                                                                                   AcquistonInterface r in w ModifcatonInterface Memory Storage
                  76


                          mi Sensor ObjectProcesing                                                  Unit
                                                                                                               v
                                                                                                                                                                                  2
                                                                                                                                                                                  .
                                                                                                                                                                                  FIG



                             23
                                                                            Human machineInterface
                                                                                                                                    PAprloigcartomn    spook




                 Device                                                                                                  Procesor
        50
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 9 of 2562 PageID #: 12880


            atent                    Oct. 22, 2019           Sheet 3 of 40                 US 10 ,452 ,974 B1


                 Camera                        92a                           Microphone 7 92b
        Object Processing Unit 7 -9394a
           YRA                                                       ObjectProcessing Unit             793
         Picture Recognizer                                           Sound Recognizer

          Artificial Intelligence Unit              1                   Artificial Intelligence Unit - 110
                      FIG . 3A                                               FIG . 3B


                 Lidar                 9 2c                                  Radar7 920
        Object Processing Unit                          93           ObjectProcessing Unit              93
          Lidar Processing Unit               L94c                    Radar Processing Unit

                                                                                                         0
           Artificial Intelligence Unit                                 Artificial Intelligence Unit

                      FIG .3C                                                  FIG . 3D


                  Sonar7 92e
             ??????????      wwwww        w   www

        Object Processing Unit
          SonarProcessing Unit

           Artificial Intelligence Unit

                      FIG . 3E
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 10 of 2562 PageID #: 12881


                       atent                     Oct. 22, 2019                                      Sheet 4 of 40                 US 10 ,452, 974 B1



                             615c                                                           weeas

                                John Doe                                                                                         615a
                                                                                            sDea
                                                                                            .




                                                                                            e




                                                                                            '


                                                                                            s

                                                                                                    1560            6m
                                                                                        Device
                                                                                                                                             615b


                                                                                                                                        ha

                                                                                                                                  RAI
                                                                            2870
                                                                                                                         10m
                                                                                                                                               ha




                                                                                        FIG . 4A




      wiy
                                     yyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyyy



            ObjectProcessing Unit                                                                                                             NA

               Collection of Object Representations
                         635aa 635ab 635ac635ba
                                           who 635bb 635bc                                                 635ca 635cb 635cc 635cd
                Guru
                       Object Representation Object Representation ObjectRepresentation
                       Type Distance Bearing                Type Distance Bearing .... Type Identity Distance Bearing
                       Cat 6m                               Tree 10m 1318              Person John Doel 8m    2870
                                                        It t
                                        625a
                                                   szóca630ch
               630aa 630ab 630ac 630ba 630bb 630bc 630ca 630cb 630cc 630cd
                                                                                        6256                                   6250
                                                                                        FIG . 4B
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 11 of 2562 PageID #: 12882


              atent                              Oct. 22, 2019                             Sheet 5 of 40                US 10 ,452, 974 B1



      100                                   itiririiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiii




      120

                                                             215
                                                                    Arithmeic      Unit
                                                                                   Logic


                                                                                                 ARergisateyr
                                                                    DInestcroudteiorn                                                 5
                                                                                                                                      .
                                                                                                                                      FIG



                                                                                           213
                                                                    RInesgtriusctieorn
            IUDCnAiDtO Acnqtueirsftaicoen
                                                      Procesor
                                                                    CPorungtream
                                                                                           212

                                                                                            1
                                                                                                                VIv A
                                                                                                                V




                                                                                                                         Memory   n
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 12 of 2562 PageID #: 12883



    U.S. Patent
            atent          Oct. 22, 2019                Sheet 6 of 40          US 10 ,452 ,974 B1


                               100 120
          DCADO Unit Acquisition Interface
                                                                     250
                                                     Logic Circuit
            input 1                                                               output 1

            input 2                                                                output 2
            input 3                                                               power

            input 4                                                                ground


                                                FIG . 6A

                                      www     w wwwwwwwwwwww
                                                                       100 120
                                            DCADO Unit Acouisition Interface


                                    Logic Circuit
            input 1                                                                output 1

            input 2                                            ALA
                                                               W
                                                                                  output 2
            input 3                                                               power

            input 4                                                                ground


                              250
                                                FIG . 6B
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 13 of 2562 PageID #: 12884


            atent                     Oct. 22, 2019                                      Sheet 7 of 40                                                  US 10 ,452 ,974 B1
                                                                                                                                                            526
             Instruction Set
              Function (Parameter1 , Parameter2 , Parameter3 ,

                                                                            FIG . 7A
                               iiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiiii



             uolonsus es
              SELECT Col1, Col2 ... FROM Tb11, Tb12 ... ;
                                                                            FIG . 7B
                                                                                                                                                           526

             Instruction Set
             iconst_ Value
                                                                             FIG . 70
                                                                                                                                                           526

             Instruction Set
              add Register Register2
                 ?????????????????????????????????????????????????????????????????


                                                                                91 ' AL
                                                                                                                                                           526

             Instruction Set
             000000 00001 00010 00110 00000 100000
                                                                            FIG . 7E
                                                                             poo
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 14 of 2562 PageID #: 12885


            atent          Oct. 22, 2019        Sheet 8 of 40               US 10 ,452, 974 B1




                                                                525                    527

         Collection ofObjectRepresentations                           Extra Info
                                                                      time info , location
                                                                      info , computed
                                                                      info , contextual
                                                                      info , etc .
                                           FIG . 8A




                                                                526
         Instruction Set                                              Extra info
                                                                       time info , location
                                                                      info , computed
                                                                      info , contextual
                                                                      info , etc .
                                           FIG . 8B
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 15 of 2562 PageID #: 12886


             atent                           Oct. 22, 2019                                                                   Sheet 9 of 40                                    US 10 ,452, 974 B1




                                                                                          Artifcal Inteli120gUnitnce
                                                                                                                                                                         w




                                                                                                                                        130
                                  Ls
                                  for
                                  Unit
                                  '
                                  Device
                                  a
                                  Using
                                  or
                                  /
                                  and
                                   earning
                                             DAfCiuretcovmnsiacruesUnit)(DOpCerAatDioOn                                                                                         Storage
                                                                                                                AcquistonInterface ModifcatonIterface
                                                                                                                wwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwww
                                                                                                                                                                                 Memory
                     Proces r                                                                                   AplicatonProgram                                         Ww               9
                                                                                                                                                                                          .
                                                                                                                                                                                          FIG




                          Human machineInterface ObjectProcesing                                                                      Sensor
            Device
       50
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 16 of 2562 PageID #: 12887


            atent                                                   Oct. 22, 2019                                                            Sheet 10 of 40                               US 10,452,974 B1




                       100
                                                                                                         ArtifcialIntelignceUnit
                                                                                110

                                 s
                                 Lenavdmilconerg
                                 for
                                 DaUnit
                                   a
                                   Using
                                   '                                                                                                               130
                                                   DAfCiuretcovmnsiacruesUnit)(OpCerAatDioOn
                                                                                                                             AcquistonInterface ModifcatonIterface
            Network Server
                       KKKKKKK                                                    KK                 K         KKKKKKKKKKKT *                  * *** *    *   * * *




                                                                                                     ???????
                                                                                                                                                                4                                        10
                                                                                                                                                                                                         .
                                                                                                                                                                                                         FIG

                                  Sensor ObjectProces ing
                                                                                               Human machineInterface                  Procesor A p l i c a t o n P r o g r a m
                                                                                                                                                                                  w




                                                                                                                                                                                      Memory V Storage
                    Device
           50
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 17 of 2562 PageID #: 12888


    U . S . Patent                                                                      Oct. 22, 2019                                            Sheet 11 of 40                                US 10,452,974 B1



            97

          wNetwWIRork inRDgemvoitce                                                                                                                                    92
                                                                                                                                                                                   Sensor
                                                                                                                                                                                                  -




              98
                                                                                         110

                                                                                                        ArtifcialIntelig120nUnitce                                                 Procesing
                                                                                                                                                                             Object Unit
                                                 s
                                                 Leaming
                                                 for
                                                 Unit
                                                 '
                                                 Device
                                                 a
                                                 Using
                                                 or
                                                 /
                                                 and
                                                           DAfCiuretcovmnsiarcuesUnit)(DOpCerAatDioOn
                                                                                                                               AcquistonInterface ModifcatonIterface
                                                 0
                                                                                                                                                                            Memory inc Storage        ?   11
                                                                                                                                                                                                          .
                                                                                                                                                                                                          FIG




                                 Device
                                        D i s p l a y H u m a n m a c h i n e I n t e r f a c e                                                    A p l i
                                                                                                                                          Proces r Program c a t o n
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 18 of 2562 PageID #: 12889


    U .S . Patent                                 Oct.22,2019                         Sheet 12 of 40                                    US 10,452,974 B1


                                                                                                  GO




                                           Object                 Processor
                                          Processing                                     Application Program
                                           Unit                                         YYYYY



                                                                                      KKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKK




           dddddddddddddddddddddddddddddddddd



        DCADO Unit                                                                                20


                                                                   Acquisition                                 Modification
                                                                   Interface                                    Interface
                           110
             Artificial
              Intelligence
             Unit
                                                                                                                      Knowledgebase
                                                    Knowledge Structuring Unit


                                         Decision -making Unit
                                                                  AY                                           KARA




                                                            wwwwwwwwwwwwwww   wwwwwwwwwwwwwwali

                                                    Confirmation Unit




                                                                              FIG . 12
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 19 of 2562 PageID #: 12890


    U . S . Patent                                                  Oct. 22, 2019                         Sheet 13 of 40                            US 10 ,452,974 B1

                               Object Processing                                                Acquisition Interface ,
                                                                                                                                         520                       530
    P          o   ttotututututututututututututututututututoy       ot                            a                      tutto   tutto    * *****

        Knowledge                                                                                                                                        Knowledgebase
        Structuring Unit                                                                                                         800ax
               ANNNNNNNNNNNNNNNNNNNNNN


           Knowledge                                            .




           Cell
                                   ,
                                   m
                                                                         men
                                   m
                                                                         sien
                                                                         wie
                                   m



                                   m


                                   m
                                              Coll of Ob Rep             wiele
                                                                         e
                                                                         i
                                                                                                       Instruction Set
                                   m


                                                                         menc
                                   m

                                   m                                     menina         525a5
                                   m                                     ma
                                                                         i


                                   m


                                                                         main
                                             Coll ofObiRep
                                   m



                                                                         cari

                                                                                                                            526a6
                                   m

                                   n
                                                                         wien
                                                                         wien
                                   won
                                   an                                    wien
                                                                         zien
                                                                         mie
                                                                                        52524
                                                                                                       Instruction Set
                                                                                                                            526a5
                                                                         ya
                                                                         mei

                                              Coll ofObi Rep             man
                                                                                                       Instruction Set
                                   ma
                                   m
                                   wa
                                   a                                     wienariaw ia
                                                                                        525a3
                                                                         recimo                                                                      *




                                                                         m

                                                                                                                                                     *



                                                                         wie



                                               Coll of Obi Rep           nie

                                                                         miere
                                                                                                                                                     *




                                                                                                                                                     *




                                                                         die
                                                                                                                                                     *




                                  mo
                                  wana
                                  na
                                                                           | 525a2                                          52624                    *




                                                                                                       Instruction Sell 526a3
                                                                                                                                                     *




                                  m
                                                                         wie
                                                                         wenia
                                                                         ein                                                                         *


                                                                                                                                                     *




                                  m
                                               Coll ofObiRep
                                  m



                                  m
                                                                         premier
                                                                         ma

                                                                         nie
                                                                                                       Instruction Set
                                                                                                                         / 526a2                     *




                                                                                                                                                     *




                                                                                                                                                     *




                                                                                                                            526a1
                                  m




                                                                           | 525a1
                                                                                                  ww
                                                                                                                                                     *




                                  m


                                                                         miere                                                                       *

                                  m



                                  m


                                                                         imersione                     Instruction Set                               *




                                                                                                                                                     *




                                  m
                                  .


                                               Coll of Obi Rep meinLeben                               Instruction Set                               *



                                                                                                                                                     *


                                                                                                                                                     *




                                                                         wie                                                                         *




                                                                                                                                                     *



                                                                                                                                                     *




                                                                                                                                                     *




                                                                                                                                 800ab               *




                                                                                                                                                     *




           Knowledge Cell
                                                                                                                                 800aa
           Knowledge Cell

                                                                                                 FIG . 13
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 20 of 2562 PageID #: 12891



    U .S. Patent
               atent                                    Oct. 22, 2019                                          Sheet 14 of 40                 US 10 ,452,974 B1


                               Object Processing                                    3
                                                                                                Acquisition
                                                                                                And
                                                                                                            Interface 120
                                                                                                                                       520                   530

        Knowledge                                                                                                                                  Knowledgebase
        Structuring Unit -                                                                                                      800ax
           Knowledge
           Cell                         Colof Ob Rep                                                       Instruction Set
                                                                                                                                800ae
                                                                                                                               we

           Knowledge                                                 ( 525a5
           Cell
                                        Coil of OojRep

                                .
                                                                                                                                800ad
           Knowledge                                                                                                           526a6




                                                                                                                                         WA
           Cell
                                                                          52524                                                526a5
                                                                                                           Instruction Set
                                        Coll of Obj Rep                                              tot
                                                                                                     I
                                                                                                           Instruction Set

          prawwwwwwwwwwwwwww        wwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwww
                                                                                                                                800ac
           Knowledge                                                      525a3
           Cell
                                        Coll ofOb Rep
                                                                                                                                800ab
           Knowledge
           Cell
                                        Coll of Ob Reo
                                                                          525a2

                                                                                                           Instuction Set
                                                                                                                               526a4

                                                                                                                                800aa
                                                                                                                                              VI
           Knowledge                                                                                                           526a3
           Cell
                                                                                                           Instruction Set
                                                                                                                               526a2
                                                                         525a
                                                                                                           Instruction Set
                                                                                                                               526a1
                                        CollofOb Rep                                                       Instruction Set
                                                                                                            MMMMMMMMMMM




                                                                                                    FIG . 14
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 21 of 2562 PageID #: 12892


    U . S . Patent                                                             Oct. 22, 2019                                                           Sheet 15 of 40                                                        US 10 ,452,974 B1


                                        Object Processing                                                                          Acquisition Interface ] 120
                                                                                                                                                                                                                       520               530

           Knowledge                                                                                                                                                                                                           Knowledgebase
           Structuring Unit                                                                                                                                                                          800ax
              ??????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????

              Knowledge
              Cell




                                                                                                                                                                                                                                               Hir
                                              ????? ?      ? ???? ????? ??? ????? ? ? ? ? ?


                                                         CallofOb}Rep
                                                  POOOOOOOOOOOOO



                                                                                                                                          w
                                                                                                                                                Instruction Set
                                                                                               win
                                                                                               mijn                                       w




                                                                                                                                                 Instruction Set




                                              w
                                                                                                                                          w



                                                                         .                     in                                         w




                                                         Coilof Obi Rep ]:                                                                      Instruction Set
                    525dn                                                                      '
                                                                                               in
                                                                                                                                          w




                                                                                                                                          w


                                                                                                                                                                                        WwMA
                                                                                                                                          w




                                                                                                                                          w
                                                                                                                                                                                               526a6
                   52501 !                                                                     in
                                                                                               i                                                                                               526a5
                                                                                                                                          ww Instruction Set
                    525cm                               Coll of On Rep
                                                                                               W
                                                                                               win
                                                                                               in                                         w




                                                                                                                                                Instruction Set
                                                                   .                .


                    52664 i LCollofObiReni
                   525bn                                                                                                                                                                       52624
                         Coll ofObjRep                                                                                                                                                         526a3
                   525b1 Coll ofOb Rep
                                                                                                                                                        ruction Sei
                                                                                                                                                                                               526a2
                                                                                                                                                 Instruction Set
                   525an
                                                        CollofObj Rey                          they                                              Instruction Set
                   525a1                                Coilof Obj Rep ]                       printing
                                                                                               the
                                                                                               in
                                                                                                                                                                                               52691
                                                                                               Wwriting
                                                        Coil of Ob Rep                                                                          Instruction Set
                                                                                               wstaien
                                              www         www ww       win www ww       ww   ww }                                           www . wwwwwww . man wat win www




                                                                                                                                                                                                     800ab
       ?      Knowledge Cell
             ??????????




              NNNNNNNNNNNNN               W
                                              wwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwww




                                                        wwwwwwwwwwwwww                        nnnnnnnnnnnnnnnnnnnnnnnnnnnnnnnnnnnnnnnnnnnnnnnnnnnnnnnnn
                                                                                                                                                                                                     800aa
              Knowledge Cell
               NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN                                                       NNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNNN




                                                                                                                                         FIG . 15
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 22 of 2562 PageID #: 12893


    U . S . Patent                               Oct. 22, 2019                                   Sheet 16 of 40                                US 10 ,452,974 B1


                       Object Processing                                              Acquisition Interface
                       Unit                                                                                                              520                       530
                 W             w        wwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwww    wwwwwwwwwwwwwwwwwww


         Knowledge                                                                                        .
                                                                                                          .

                                                                                                                                                        Knowledgebase
         Structuring Unit ,                                                                                                       800ax
                                                                                                                                                A
                           *       **        R          * **



            Knowledge                                          me

                                                               went
                                                                                                                          who



            Cel                                                e
                                                                                        .
                                                                                        :
                                                                                               Instruction Set wewerewhenmore
                                                                                               Instruction Set            ons

                                                               wayw                                                       the
                                                                                                                          when
                                    Coll ofObiRep                                              Instruction Set more


                                                                                                                                                A
                                                                                                                          than
                                                                                                                          a




                                                               a
                                                               was
                                                               there
                                                               were
                                                                                                                                  800ad
            Knowledge                                                                                                    wel
                                                                                                                         an
                                                                                                                         for
                                                                                                                         en
                                                                                                                         and
                                                                                                                         more
                                                                                                                         .
                                                                                                                         ww
                                                                                                                         mee
                                    ColloiOb Rep
              525dn                                                                            Instruction Set
              525d1 - Coll of ObjRep                                                            nostruction Set 526a5
                                                                                                                 800ac                          Anier
            Knowledge
            Cell Coilof Obi Rep
             525cn :
              525c1- CoilofObj Rep
                                                                                                                                  800ab
            Knowledge
                                                                                                         tion Set 52624
                                                                                                   PAAAAAAAAAF




                                    Coll of Ob Rep
              525bn                                                                            Instruction Set                   526a3
              525b - Color Obj Reo                                                             Instruction SetH                  526a2
                         w




                         www                                                                                                      800aa
            Knowledge Coilof China
            Cell            Ob Rep 1
              525an
              525a1- CoilofObj Rep                                                            Tnstruction Set] 4 526a1

                                                                                            FIG . 16
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 23 of 2562 PageID #: 12894


               atent            Oct. 22, 2019   Sheet 17 of 40              US 10,452 , 974 B1


              2




        353


                                                                             851

                       BModel                                      DModel
                                                                                        17
                                                                                        .
                                                                                        FIG



                       AModel                                      CModel
              852
        853

                                                             )

                                                       853
                                                             852
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 24 of 2562 PageID #: 12895


             atent                  Oct. 22, 2019            Sheet 18 of 40                  US 10,452,974 B1

                                 800zb                            800zc
       Knowledge Cell                       Knowledge Cel
             Occurrences= 10                                Occurrences = 15
             Weight=0.4                                     Weight=0.6

                       85321                Knowledge Cell                      - 85322

                                                               800za
                                                     FIG . 118A
                                 800zb                            800zc                                  800zd
       Knowledge Cell                      Knowledge Cell                        Knowledge Cell

              Occurrences = 10                              Occurrences= 15               Occurrences = 1
              Weight= 0.385                                 Weight= 0.577                 Weight=0.038
                                                                                                            3
                      85321                Knowledge Cell                   7    85322
                                                               800za
                                                     FIG . 18B

                                 800zb                            8002C                                  800zd
        Knowledge Cell                     Knowledge Cell                       Knowledge Cell
              Occurrences= 11                               Occurrences= 15              Occurrences = 1
              Weight= 0.407                                 Weight=0.556                 Weight =0.037
                                                                                                   - - 85323
                                           Knowledge Cell                        85372

                                                                800za
                                                     FIG . 18C
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 25 of 2562 PageID #: 12896


    U . S . Patent                                                                   Oct. 22 , 2019                                                   Sheet 19 of 40                                                                        US 10 ,452,974 B1



                                                                                                                                                                                                                                                       530d
                                      Knowledg   Cell

                                                                                                                                               .
                    80 ce KnowledgCell
                    80 cd Knowledg               0   .




                                            **       * **   ** *   * * **   * * **   ** *   ** *   ** *   * * **   * * **   * * **   * * **   ** ** ** *     ** *** ** ** ** *** ** * ** *** ** *** ** ** ** *                       ** *** ** *
                                                                                                                                                                                                                                                          19
                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                          FIG
                    80 c Knowledg Cell
                                         RRRRRRRRRRRRRRRRRRRRRRRRR




                                    PRONOURRONOURRONTOURNOURRONTOUR ROOROOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOOO




                     80 cb Knowledg Cell
                                                                                                                                                           + + + + + + + + + + + + + + + + + + + + + + + +       + + + + + + + + +




       CofKonelwceltdigsoen 80 ca       wwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwww




                                      Knowledg
                                                                                                                                                                                                                                           ww




                                                 Cell
                                    ????????????????????????????????




                                                                                                                                                                                                   LOUI11111112223224444




                                                         KCellnowledge 290 8 CellKnowledge pq0 8 CKnoewledlge pq0 8 CellKnowledge 9 0 8 CKnoewledlge eq0 8 CKnoewledlge
                             n                       Wannenranna




       KnowledgStruc ing       Unit                                                                                                                            he                                                                                      520
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 26 of 2562 PageID #: 12897


    U . S . Patent                                          Oct. 22, 2019                                   Sheet 20 of 40                                         US 10,452,974 B1


                                    Layer                Layer Layer Layer Layer Layer                                                                                           530a
                                                              8 5 4 0     8 5 4 c 854b 854a
                                    CKnoewledlge
                                                   854
                                                   89dee
                                                   :
                                                              KCnoewl dlge 80 ed
                                                                                                                     !

                                                                                                                                                                          RAHN
                                                                                     Knowledge 8053ec3 Cell
                                                                                     ]
                                                                                     Cell
                                                                                                                     bumu
                                                                                                                             853e2 80 eb                                  V
                                                                             853e4             b
                                                                                                       KnowilecdiHUR gu e
                                    CKnoewledlge        O
                                                              CKnoewl dlge
                                                                                     w hum ni                        UR
                                                                                                                             Cell
                                                                                                                             Knowledge
                                                                                                                             2
                                                                                                                                                         853e1 80 ea
                                                                                                        Knowledge CellKnowledge Cell
                                                                                     CellKw nowledSgone Cell                    knowiedge-   -   - - -




                                                                                     w


                                                                                                                     U
                                    CKnoewledlge    &                                    Knowledm gonal e CellKnowledge KCell
                                                              KCelnowledge KCellnowledge Cei                             nowledge                                                   20
                                                                                                                                                                                    .
                                                                                                                                                                                    FIG
                                                                                                                                                                                        &



                                                                                                                    Em
                                                                                                            KnowledYOURTgKBE e CellKnowledge Cell
                                                                                                            Cel                              Knowledge

                                                              CKnoewledlge            CKnoewl dlge Cell
                                                                                                   KnowiedUR EgT e
        Netuwroalk
           .




           A
               LA
                                                                                                                     M




                                                                                      mother                                                                                     125
                                    KCnoewledlge :800be CKnoewl dige 80 bd CKnoewledlge 80 bc wedge
                                                                                              Cel 80 b CKnoewledlge 80 ba Cel
        Knowledg Struc ing   Unit                                                                                    CARIEKnowledge                                              520
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 27 of 2562 PageID #: 12898


    U . S . Patent                                        Oct. 22 , 2019                                      Sheet 21 of 40                                                US 10 ,452,974 B1


        ?????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????




                                      Layer Layer Layer Layer Layer Layer                                                                                                                               530a
                                           854e 854d         854c 8546 854a
                                                      Knowiedge Knowiege
                                         CKnoewledlge Cell      ]
                                                                Cell                                               11




                                                               Knowledge Cell
                                                               Cell                Cell call
                                                                         Khowiedge Knowietge
                                                                                   Knowledge
                                                                                   Gel
                                                                                   Knowlege
                                                                                   )
                                                                                   Cey       KnowleWRdA ge 853
                                                                                                   ta



                                                               Ang
                                                                                                                                                                       9800
                                                      Knowiedge Cell
                                         CKnoewledlge Cell      Knowledge                                                          Knowledge CellKnowledge
                                                                                                                                   call
                                              w




                                                                                                                                         View O
                                                                                                                                                                                                           21
                                                                                                                                                                                                           .
                                                                                                                                                                                                           FIG

                                                                                                              Knowledge
                                                                                                              ]
                                                                                                              Cell                    ANR Lina
                                                                                                                                   Knowledge CellKnowledge
                                                                                                                                   Cell
                                         KCnoewledlgwew CKnoewledlge CellKnowledge                                                 Knowiesige CellKnowiedge
                                                                                                                                   Call
                                                                                                                                             sinr
                                                                                       CellKnowledge Cell
                                                                                                     Knowledge
        Netuwroalk
                                                                                                          T




                                         KCnoewledlge :800be CellKnowledge 80 bc CKnoewledlge 80 bc CellKnowledge 80 b CKnoewledlge 80 ba CelKnowledge
        KnowledgStruc ingUnit Lawn                                                                                                           Lin                                                        520
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 28 of 2562 PageID #: 12899


    U .S . Patent                                    Oct.22, 2019                                Sheet 22 of 40                                         US 10,452,974 B1



                                                                           80 he CellKnowledge                                                                    530b
                                                                                                                  CKnoewledlge
                                                80 hd CKnoewledlge
                                                                                853h4
                                 CKnoewledlge                         853h                       c
                                                                                                 h
                                                                                                                                           CKnoewledlge
                                                                                                                                                        8 0 h a

                   & &
                                                                                                 Cell
                                                                                                 Knowledge
                                                                                                            Ww
                                                                                                                                   853h1
                                                                                                                                                                     22
                                                                                                                                                                     .
                                                                                                                                                                     FIG
                                 CKnoewledlge                                                     CellKnowledge                  853h2
                                                           CellKnowledge                                          CellKnowledge CKnoewledlge
                                                                                                                                             8 0 h b

                                 CKnoewledlge
         Graph                   w




                                                                                  ADD


                                                    KnowledgeRE 80 bd CKnoewl dlge 80 bd CellKnowledge 80 b CKnoewledlge 80 ba CKnoewledlge
                                              800be Cell
         KnowledgStruc ring
                          Unit
                                 KCnoewledlge :                                                                                                                   520
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 29 of 2562 PageID #: 12900


    U .S . Patent                                                                                                   Oct.22, 2019                                                                                                                                  Sheet 23 of 40                                                                                                                                                                             US 10,452,974 B1

                                                                                                                                                                                                                                                                                                                              LIAIRE                                          I                                                                                              L




                                                                                                                                                                                                                                                                                                                                                                                                                                                                     530
          n Sequnce CKnoewledlge CKnoewledlge CKnoewledlge CKnoewledlge 189BopmowyPOS
                                                                                                                                                                                                                                                                                          ?????????????????????




                                                                                                                                                                                                                                                                                                 ??
                                                                                                                                                                                                                                                                                                                                                                                                                    |393? ? ? ?uy



          n
                                                                                                                                                                                                                                                                                                 ??




                                                                                                                                                                                                                                                                                                                                                                                                                                                              008

          n Sequnce                                                          CKnoewledlge                                                      CKnoewl dlge CellKnowledge                                                                                                          CelKnowledge
                                                                                                                                                                                                                                                                                                 ??
                                                                                                                                                                                                                                                                                                                                                   MOUY
                                                                                                                                                                                                                                                                                                                                                   abp?
                                                                                                                                                                                                                                                                                                                                                   1ag
                                                                                                                                                                                                                                                                                                                                                                  PS                                                CKnoewledlge EES


          n                       WANA




                                Sequnce V
                               Sequnce   K
                                         C n o
                                             e w l e dlg e K
                                                           Cell
                                                             n o w l e d g e
                                                                             CKnoewledlge                                                      CKnoewledlge                                                 CellKnowiedge

                                                                                                                                                                                                                1
                                                                                                                                                                                                                Cell
                                                                                                                                                                                                                K|
                                                                                                                                                                                                                 nowledge
                                                                                                                                                                                                                                                                               N abpajmour
                                                                                                                                                                                                                                                                                 180
                                                                                                                                                                                                                                                                                 !
                                                                                                                                                                                                                                                                                                VIEN R

                                                                                                                                                                                                                                                                                   KCnoewledlgeVENR Cell
                                                                                                                                                                                                                                                                                                    Knowledge
                                                                                                                                                                                                                                                                                                                                                 CellKnowledge                                                       CKnoewledlge

                                                                                                                                                                                                                                                                                                                                                                                                                     CKneowledlge
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       23
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                       FIG




                                                                                                                                                                                                                                                                                                                                                    1




              ofSCoelqucntieos Sequ nce CKnoewledlge CKnoewledlge                                              9.           15                                                                                   )
                                                                                                                                                                                                                 ?
                                                                                                                                                                                                                 }
                                                                                                                                                                                                                 ????                                                            CKnoewl dlgeVaRe                                                   CKnoewl dlge                                                     CKnoewledlge
                                                                                                                                                                                                                                                                                                                                                                                                                                                        R
                                     ?????????????????????????????????????????? ???????????????? ?????????????????????????????????????????????????????????? ???????????????? ?????????????????????? ?????????????????????????????????? ???????????????? ?????????????????????? ???????????????????????????????????????? ???????????????? ???????????????? ?????????????????????? ???????????????? ???????????????? ???????????????? ??????????????????????




                NVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVVNNNNNNNNNNNN                                                                                                                                     N           NNNNNNNNNNNNNNNNN




                                                                                   w
                                                                                                                                                                                                                                      AR

                                                                             CKnoewledlge 34008: 189Bôpa/MOUNT 80 bd CKnoewledlge 80 bc CKnoewledlge 80 b CKnoewledlge eq0 8 CKnoewledlge
              KnowledgStruc ing
                              Unit
                                                                                                                                                                                                                                                                                                                                                                                                                                                                     520
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 30 of 2562 PageID #: 12901


                         atent                                                                           Oct. 22, 2019                                                                    Sheet 24 of 40                                                   US 10,452 ,974 B1



                                                                                                                                                                                                                                                                                                                                                                    530d
                Knowledg
          80 0 Knowledg
          80 0b Knowledg
           80 a
                                         Cell
                                   HAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAHAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAA




                                                                                                                                                                                     ??                                                                   ???????????????????????????????????????????????????????????????????????????????????????????????????
                                                                                                                                                                                                                                                                                                                                                                w
                                                                                                                                                                                                                                                                                                                                                                w
                                                                     526a6 526a5                                                                                                                           526 4 526a3 526a2 526a1
                                                SetInstruction                 NSetInstruction SetInstruction                                                                                                                w
                                                                                                                                                                                                                     SetInstruction SetInstruction SetInstruction SetInstruction
                                                                                                                                                                                                                                                                                                                                                                     24
                                                                                                                                                                                                                                                                                                                                                                     .
                                                                                                                                                                                                                                                                                                                                                                     FIG


                             RRR                               525a5 52 a4 52 a3                                                                                                                           52 a2                           52 a1
         CofKonelwlcetdigsoen CKnoewl dlge
                            R                   Rep
                                                Obi
                                                of
                                                Coll                                                                       Obj
                                                                                                                           of
                                                                                                                           Coll
                                                                                                                           Rep
                                                  ????????????????????????????????????????????????????????????????????????????????????????????????????????????
                                                                                                                                                                        CObi
                                                                                                                                                                         Repol o?
                                                                                                                                                                             KKKKKKKKKKKKKKKKKKKK
                                                                                                                                                                                                    Rep
                                                                                                                                                                                                    Obj
                                                                                                                                                                                                    oí
                                                                                                                                                                                                    Coll             Obi
                                                                                                                                                                                                                     of
                                                                                                                                                                                                                     Coll
                                                                                                                                                                                                                     Rep
                                                                                                                                                                                                                             w                                                            Obi
                                                                                                                                                                                                                                                                                          of
                                                                                                                                                                                                                                                                                          Coll
                                                                                                                                                                                                                                                                                          Rep




         Decis on -making                                                                                                                                                                                                                                                                                                                                           540
                                                                                                                                                                                                                                                                                                                                                                    125

                                                                                 52515 Rep
                                                                                 :                                                                               52514 ColofObjRep 52513 RepCollofObj 52512 CallofObjRep 5251 CollofObjRep                                                                                                                          93

         ObjectProcesingUnit                    Rep
                                                Obi
                                                of
                                                Coll                                   Obj
                                                                                       of
                                                                                       Coll
                                                                                                                                           h
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 31 of 2562 PageID #: 12902


    U . S . Patent                                                                          Oct. 22, 2019                                       Sheet 25 of 40                                              US 10,452,974 B1



                                                                                                                                                                                                                                          530d
                       Knowledg
                  80 0 Knowledg
                                                      Cell
                  8000 Knowledg
          A 80 0a                                                                                526a 526a5                                                   526a4 526a3 526a2 526a1
         MARINE                                              vi
                                                                  Set1Instruction



                                                                                    525a5              52 a4
                                                                                                               SetInstruction SetInstruction

                                                                                                                                               525a3          525a2                           52 a1
                                                                                                                                                                                                                                  4
                                                                                                                                                                        SetInstruction SetInstruction SetInstruction SetInstruction
                                                                                                                                                                                                                                           25
                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                           FIG




                  CofKonlewlcetdigosen CKnoewl dlge                                                                                                    ?
                                                             wRep
                                                              Obj
                                                              of
                                                              Coll                             Rep
                                                                                               Obi
                                                                                               of
                                                                                               Coll                             ObjRep
                                                                                                                                of
                                                                                                                                Coll                   Rep
                                                                                                                                                       Obi
                                                                                                                                                       of
                                                                                                                                                       Coll            Coll
                                                                                                                                                                       of
                                                                                                                                                                       Ob
                                                                                                                                                                       Rep                                                Obj
                                                                                                                                                                                                                          of
                                                                                                                                                                                                                          Coll
                                                                                                                                                                                                                          |
                                                                                                                                                                                                                          Rep




                  Decis on-making
                          ?????????
                                                                                                                                                                                                                                          540
                                                                                                                                                                                                                                          125

                                                                                                           5251 CollofObjRep 5251 ]CollofObjRep 5251 Rep
                                                                                                                                                  5



                                                                                                                                                     Obj 5251 Coll
                                                                                                                                                                                                                                          93

                  ObjectProces ing w
                                                                                     :
                                                                                     52513 Coll                                                      of
                                                                                                                                                     Call
                                                                                                                                                     it       Repas
                                                                                                                                                              Obj
                                                                                                                                                              of
                                                              Obi
                                                              of
                                                              Coll
                                                              Rep                          of
                                                                                           Obj
                                                                                           Rep                                                                                                                                    Y»nur
                                        Unit
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 32 of 2562 PageID #: 12903


    U . S . Patent                                                                                    Oct. 22, 2019                                                                        Sheet 26 of 40                                                                                 US 10 ,452,974 B1



                                             Hooooooooooooooooooooooooooooooooooooooooooooooooooooooooooooo
                                                                                                                                                                                                                                                                                                 530d
                                            CKnoewl dlge CollofObiRep                                    Obi
                                                                                                         of
                                                                                                         Coll
                                                                                                         Rep                                   Rep
                                                                                                                                               Obi
                                                                                                                                               of
                                                                                                                                               Call
                                                                                                                                                       w                             Obi
                                                                                                                                                                                     of
                                                                                                                                                                                     Coll
                                                                                                                                                                                     Rep                                 Obi
                                                                                                                                                                                                                         of
                                                                                                                                                                                                                         Coll
                                                                                                                                                                                                                         Rep                                   Obi
                                                                                                                                                                                                                                                               of
                                                                                                                                                                                                                                                               Coll
                                                                                                                                                                                                                                                               Rep
                                                  wwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwww
                                                                                                                                                                                                                                                                        w
                                                                                                            525d5                                                                                                             .525d2                              -525d1
                                 80 rd CKnoewl dlge RepCollofObi                                                                               Coll
                                                                                                                                               of
                                                                                                                                               Obi
                                                                                                                                                Rep
                                                                                                                                                /
                                                                                                                                                t
                                                                                                                                                -
                                                                                                                                                525d4                                CObiRepto-5l2o5td3
                                                                                                                                                       !w


       WARNTY
                                                                                                          CObi
                                                                                                           Repol of                                                                                                        CObioRepl or                        Coll
                                                                                                                                                                                                                                                               of
                                                                                                                                                                                                                                                               Obi
                                                                                                                                                                                                                                                                Rep
                                                                                                                                                                                                                                                                        w
                                 80 rc CKnoewl dlge CollofObiRep
                                                                                                       w w
                                                                                                         Rep
                                                                                                         Obi
                                                                                                         of
                                                                                                         Call                                  Rep
                                                                                                                                               Obi
                                                                                                                                               of
                                                                                                                                               Coll                                  RepObiCol of                         Obi
                                                                                                                                                                                                                          of
                                                                                                                                                                                                                          Coll
                                                                                                                                                                                                                          Rep
                                            ?????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????
                                                  ????? ????????? ???????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????????
                                                                                                                                                                                                                                                             Rep
                                                                                                                                                                                                                                                             Obi
                                                                                                                                                                                                                                                             of
                                                                                                                                                                                                                                                             Coll

                                                                                                                                                                                                                                                ??????????????????????????????????
                                                                                                                                                                                                                                                                                     -
                                                                                                                                                                                                                                                                                         525c1
                                                                                                                                                                                                                                                                                         525c2
                                                                                                                                                                                                                                                                                                        26
                                                                                                                                                                                                                                                                                                        .
                                                                                                                                                                                                                                                                                                        FIG




       MARCofKonelwlcetdigsoen   80 rba CKnoewl dlge
                                                                    Repl
                                                                    Obj
                                                                    of
                                                                    Coll
                                                                                                       w w
                                                                                                         Rep
                                                                                                         Obi
                                                                                                         of
                                                                                                         Coll                                Rep
                                                                                                                                             Obi
                                                                                                                                             of
                                                                                                                                             Coll
                                                                                                                                             ]                                      Obi
                                                                                                                                                                                    of
                                                                                                                                                                                    Coll
                                                                                                                                                                                    .
                                                                                                                                                                                    Rep
                                                                                                                                                                                                                          Rep
                                                                                                                                                                                                                          Obi
                                                                                                                                                                                                                          of
                                                                                                                                                                                                                          Coll                               Obi
                                                                                                                                                                                                                                                             of
                                                                                                                                                                                                                                                             Coll
                                                                                                                                                                                                                                                             Rep
                                                                                                                                                                                                                                                                        w
                                                                                                                                                                                                                                                                                     .




                                                                    of
                                                                    Coll
                                                                    Rep
                                                                    Ob
                                                                                                       w w Rep
                                                                                                           Obi
                                                                                                           of
                                                                                                           Coll
                                                                                                           ]                                   Obi
                                                                                                                                               of
                                                                                                                                               Coll
                                                                                                                                               Rep                                   Coll
                                                                                                                                                                                     Obi
                                                                                                                                                                                     of
                                                                                                                                                                                     Rep                                   Obi
                                                                                                                                                                                                                           of
                                                                                                                                                                                                                           Coll
                                                                                                                                                                                                                           !
                                                                                                                                                                                                                           Rep                                  Rep
                                                                                                                                                                                                                                                                Obi
                                                                                                                                                                                                                                                                of
                                                                                                                                                                                                                                                                Coll
                                                                                                                                                                                                                                                                        w            .




                                                                                                                                                                                                                                                                                                 540
         Decis on-making                                                                                                                                                                                                                                                                         125
                     -                                                  52515 52514 CollofObiRepw 52513 CollofObiRep 52512 RepCollofObi 5251 RepCollofObi                                                                                                                                        93

                ObjectProces ingUnit
                                                                   Obi
                                                                   of
                                                                   Coll
                                                                   Rep
                                                                            Lina ?              w rin
                                                                                                           Rep
                                                                                                           Obi
                                                                                                           of
                                                                                                           Coll
                                                                                                           .

                                                                                                                                                                                                                                    Sakt
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 33 of 2562 PageID #: 12904


    U . S . Patent                                  Oct. 22, 2019                                      Sheet 27 of 40                                                                                                                                             US 10,452,974 B1


                                     Layer            854e Layer
                                                      *                              Layer Layer Layer                                                                                                                                  Layer                                                                                             530a
                                                                             8540                                                                             8540 854b                                                                                                 854a



                                                                             25
                                                                             .
                                                                             0
                                                                             75
                                                                             .
                                                                             0
                                                                             853t3   knrowliedcge
                                                                                     K)
                                                                                      Ceil
                                                                                      ]
                                                                                      Cell
                                                                                                                                                    ?
                                                                                                                                                    ? NEW                                                                                                                                                                           U
                                                                                                                                                                                                                                                                                                                                    U




                                     CKnoewledlge
                                                              CellKnowledge 85314
                                                                                                                           Kronlege
                                                                                                                           Komiese
                                                                                                                           Knowledge
                                                                                                                           cell
                                                                                                                           Krove
                                                                                                                           )
                                                                                                                           Cell
                                                                                                                           Kowledge
                                                                                                                                                    ? CellKnrowledge 885031t7a                                    0 Cel
                                                                                                                                                                                                                  350
                                                                                                                                                                                                                  35
                                                                                                                                                                                                                  .
                                                                                                                                                                                                                  300 Knowliedge
                                                                                                                                                                                                                      k/
                                                                                                                                                                                                                       Cell




                                                                                                                                                                                                                                                                                                                                    AU
                                                                                                    800td
                                                                                                    80
                                                                                                    .
                                                                                                    020
                                                                                                     800tc
                                                      80 te
                                                    Boote
                                                    :                                                                                                 w 8045321                                                                                                                                                                                  27
                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                 FIG



                                    Knowledge
                                    Cell
                                                                                                                                                      w
          Netuwroalk                Knowledge
                                    Cell                      CellKnowledge Cell
                                                                            Knowledge can
                                                                                      Kroniesige                                               VE


                                                                                                                                                     w                                                                                                                                                                                    540
          Decis on -makingUnit                                                                                             -
                                                                                                    ??????????????????????????????????????????????????????   ?????????????????????????????????????iataththaathe        sheilisisisisi??????????????????????????   ???????????????????????????????????????????????????????????????
                                                                                                                                                                                                                                                                                                                                          125

          Object       Procesing   Rep Ob
                                   Ob
                                   of
                                   Call of
                                        Coll
                                        Rep
                                                          Obj
                                                          of
                                                          Coll
                                                          )
                                                          525en
                                                          Rep 52501
                                                                Obj
                                                                of
                                                                Col Rep 525d
                                                                Rep 525dn
                                                                    Obj
                                                                    of
                                                                    Coll  Obj
                                                                          of
                                                                          Coll
                                                                          ?
                                                                          Rep                                          Rep Rep
                                                                                                                       Obj
                                                                                                                       of
                                                                                                                       Col
                                                                                                                       525cn 525011
                                                                                                                             Obj
                                                                                                                             Call
                                                                                                                             of Coll525bn
                                                                                                                                    Obj
                                                                                                                                    of
                                                                                                                                    Rep 52501
                                                                                                                                          Rep
                                                                                                                                          of
                                                                                                                                          Coll
                                                                                                                                          Ob 525an
                                                                                                                                               Obi
                                                                                                                                               of
                                                                                                                                               Col
                                                                                                                                                   Istiuo
                                                                                                                                               Rep Rep
                                                                                                                                                   of
                                                                                                                                                   Col
                                                                                                                                                   525a1
                                                                                                                                                   Ob
                                                                                                                                                                                                                                                                                                                                    WAL   93
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 34 of 2562 PageID #: 12905


    U . S . Patent                                                 Oct. 22 , 2019                                        Sheet 28 of 40                                                  US 10 ,452,974 B1




        piw
                                                                                                                                         KCellnowiedge 80 ub                                      530b
                                                                         853u1                                                    .
                                                                                                                                  0
                                                                                                                                  30


                                 80 ua CKnoewledlge                                                                                      010
                                                                                                        komat 853u2
                                                                15
                                                                .
                                                                10

                                                                                              CKnoewledlge                        -

                                                                0
                                                                85
                                                                .



                                                                                                                                         Knowledge
                                                                                                                                         .
                                                                                                                                         Cell                             CKnoewledlge
                                                                         CellKnowledge                       80 uc CellKnowedge
                                            Knowledge
                                            Cell                                80 ud    20
                                                                                         .
                                                                                         0
                                                                                              CellKnowledge 853u3                                                                                    28
                                                                                                                                                                                                     .
                                                                                                                                                                                                     FIG

                                                                                                               /
                                                                                                               80
                                                                                                               .
                                                                                                               0                  8534
                                                                                                                                          KCnoewledlgwweVIwwCES
                                                                                                                                                      www
                                                                                                                                                                                              .




                                                                                                                                                                  80 ue
                                             CKnoewledlge       Yiiiii
                                                                                              CKnoewledige
        Graph                                wwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwww
                                                       DO DOO   OOOOO000000OOOOOO
              AAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAA
                                                                                                         M
        Decis on-makingUnit                                                                                                                                                                       125
                                                                                                                                                                                                  540

                                                                                                                                                                                                  93
          Object   Procesing            of Ob
                                        Ob
                                        Coll
                                        Rep  of
                                             Coll
                                             Rep
         LLLLLLLLLLLLLLLLLLLLLLLLLLLLLLLLLLLLLLLLLLLLLLLLLLLLLLLL
                                                                                  Ob Rep
                                                                            Obi 525e1
                                                                            Rep
                                                                            of
                                                                            Coll
                                                                            525en Rep
                                                                                  of
                                                                                  Coll Obj Rep
                                                                                       of
                                                                                       Coll
                                                                                       525din Ob 525cn
                                                                                              of
                                                                                              Coll
                                                                                              52507 Rep
                                                                                                    of
                                                                                                    Coll
                                                                                                    )
                                                                                                    Ob Rep
                                                                                                         of
                                                                                                         Coll
                                                                                                         52507 Rep Rep
                                                                                                         Obi Col
                                                                                                               525bn
                                                                                                               Obj
                                                                                                               of    52551
                                                                                                                     Obi
                                                                                                                     Coll
                                                                                                                     of RepObi 525a11
                                                                                                                           of
                                                                                                                           Coll
                                                                                                                           525an Obi
                                                                                                                                 of
                                                                                                                                 Coll
                                                                                                                                 Rep
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 35 of 2562 PageID #: 12906


    U . S . Patent                                                            Oct. 22 , 2019                                                 Sheet 29 of 40                                                     US 10 ,452,974 B1



                                                                                                                                                                                                                         530c
                                                     CKnoewledlge                            CKnoewledlge                 CKnoewledlge          CKnoewl dige               CKnoewledlge         CKnoewl dlge
                               Sequnce                                                                                                                                                                    hik WAN
                                                                                              800
                                                                                              de                            80 d                    -80 dc                          .80 db           -
                                                                                                                                                                                                     800da

                        53 wd Sequnce CKnoewledlge                                          KCeilnowledge KCelnowledge KnCowel dgle                                              KnCowel dgle   CKnoewledlge
                         53 wc CKnoewldlge
                                  Sequnce
                         53 wb AR CKnoewledlge
                                                                                           KCellnowledge

                                                                                             CKnoewledlge
                                                                                                                          CKnoewledlge
                                                                                                                          Cell1Knowledge
                                                                                                                                                CKnoewledlge

                                                                                                                                                CKnoewledlge
                                                                                                                                                                         CKnoewledlge

                                                                                                                                                                        CellKnowledge
                                                                                                                                                                                                          LAM
                                                                                                                                                                                                CKnoewledlge

                                                                                                                                                                                                CKnoewledlge
                                                                                                                                                                                                             80 ca
                                                                                                                                                                                                             8 0 c b
                                                                                                                                                                                                                            29
                                                                                                                                                                                                                            .
                                                                                                                                                                                                                            FIG




                           #
                                  Sequnce
        ofSCoelqucntieos 53 wa ALISequ nce          K|
                                                     Cell
                                                     nowledge
                                               wwwwwwwwwwww
                                                                                           CellKnowledge                  CKnoewledlge
                                                                    w wwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwwww
                                                                                                                                                CKnoewl dlgeWURMNG CellKnowledge
                                                                                                                                                                                                          Hm
                                                                                                                                                                                                CKnoewledlge
                                                                                                                                                                                                                wi




        Decis onmakingUnit                                                                                                                                                                                               540
                                                                                                                                                                                                                         125


                                                                                                                                                               w                                                         93
                                         t
                                         .
                                         ttt




               Procesing
        Object Unit                        Coll
                                           Obj
                                           of
                                           Rep Rep
                                                Obj
                                                of
                                                Coll
                                                                          08
                                                                                      Rep Rep
                                                                                      Obi
                                                                                      of
                                                                                      Col
                                                                                      525en Obi
                                                                                            of
                                                                                            Col
                                                                                            ]
                                                                                            525e1                 Rep
                                                                                                                  Obi
                                                                                                                  of
                                                                                                                  Coll
                                                                                                                  525dn               of
                                                                                                                                      Call
                                                                                                                                      ?
                                                                                                                                      525d
                                                                                                                                      Rep
                                                                                                                                      Ob     Obj
                                                                                                                                             of
                                                                                                                                             Col
                                                                                                                                             .
                                                                                                                                             52507
                                                                                                                                             Rep Rep
                                                                                                                                                   Obi
                                                                                                                                                   of
                                                                                                                                                   Col
                                                                                                                                                   52501           Obi 525011
                                                                                                                                                                   Rep
                                                                                                                                                                   of
                                                                                                                                                                   Call
                                                                                                                                                                   525ba
                                                                                                                                                                        WANCHI
                                                                                                                                                                         Obi
                                                                                                                                                                         of
                                                                                                                                                                         Col
                                                                                                                                                                         Rep 525an
                                                                                                                                                                              Obi
                                                                                                                                                                              of
                                                                                                                                                                              Col
                                                                                                                                                                              Rep Rep
                                                                                                                                                                                   of
                                                                                                                                                                                   Col
                                                                                                                                                                                   525a1
                                                                                                                                                                                   Ob           KI
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 36 of 2562 PageID #: 12907


    U . S . Patent                     Oct. 22, 2019                                          Sheet 30 of 40                                      US 10,452,974 B1


     100
     130                                                                                                                                          1




           ,




                                                215
                                                                    Arithmeic     UnitLogic


                                                                    DInestcroudeiorn                       ARergisateyr
                                                                                                                                                             30
                                                                                                                                                             .
                                                                                                                                                             FIG

                                                                                              213

                                               w                    RInesgtriucteorn
                                                                                              212
                       IMondtiefrcaon
                                      Procesor w
           DUnitCADO                             CPorungtream
                         -
                         1




                                          AAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAA        A
                                                                                               211
                                                                                               ZZZZZZZZZ                  IIIIIIIIIIIIIIIIIIIII
                                                                                                                                                    Memory
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 37 of 2562 PageID #: 12908


            atent            Oct. 22, 2019                    Sheet 31 of 40          US 10,452,974 B1

                                 100 130
                         NNNNNNNNNNN



         DCADO Unit
                        Modification Interface
                                                                        250
                                                  wwwwwwwww         w   wwwww

                                                   Logic Circuit
           input 1 wa                                                                    output 1

           input 2                                                                       output 2
           input 3                                                                       power

           input4 -
           input 4                                                                       ground


                                                 FIG . 31A
                                                                          100 130
                                           nnnnnnnnnnn ???????????????????????   TI


                                          DCADO Unit Modification Interface
                                             didididid




                                       Logic Circuit
           input 1                                                                       output 1

           input 2                                                                       output 2

           input 3                                                                       power

           input 4                                                                       ground

                               250
                               250
                                                 FIG . 31B
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 38 of 2562 PageID #: 12909


                      atent                                                Oct. 22, 2019                                                                                                                                                                 Sheet 32 of 40                                                                                                                                                                                                                                                                                           US 10,452,974 B1



                                                                                                             Step9130                                                                                                           9135Step                                                                                                                                        9140Step                                                                                                                                                                                                     9145Step


                                                                                                                                                                                                                                                                                                                                                                                                                                                                          Y

        9100-Method
                         Srofoanewc9epblt1sjeinec2tvaip5notgs
                                                                           09 ofocthenewblmpjeacrtinotgofocthefwrepbiljsrentcsaihtons
                                                                                                                                          repsntaio repsntaiov                       WARN   maplistdateahrtaemicsrnathelg ofocfandrtheepblisjernctasiotns
                                                                                                                                                                                                                newofocthebeltjwcetiotn
                                                                                                                                                                                                                                                                                                  * *** *** *
                                                                                                                                                                                                                                                                                                                                              forsioneormthefenxieotcrutrsientog thefwcdoperivralitschnetgd
                                                                                                                                                                                                                                                                                                                                                                                                              rofocepblsjnectaions
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       oneormoreo,bythedperfvaotrimconegsetsforoneormoreibythefdnesitfriucnsteitodnfwthecdoipervtalischtendg
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          rofocepblsjnectaiotns
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  32
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  FIG




                                 rofocafepblijsernctvasinotg                                                           forsioneormafrneiceotrutrcvsientog                                                                                     ofocthefbrlijerlcatsiotnmoregoneorfwiththerStep9115episrenstationsthedforosinpetrvautic snoeg                                                                                 rofocthefseptblijsernctiasnotgs9120setsoneormoreiwiththefcStepnosirtreulcsatiteodn
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 thedforopervaitcneg
                                                                                                                                                            dao3110Stepepvriatceng
                                                                                                                                                                                                                                                                                     1

                                                                                                                                                                1




                                                                Step9105                                                                                           VS
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 39 of 2562 PageID #: 12910


                 atent                                                       Oct. 22, 2019                                                                                                                                                                               Sheet 33 of 40                                                                                                                                                                                                                                                       US 10 ,452,974 B1



                                                                                                                                                                                                                                                                                                          Step9230                                                                                                                                                                                                     Step9235



                   ranewcofoeS9pbltj2seicvneaitopg0ns
                                                              VI K u n m
                                                                   ???????
                                                                             setsforoneormoreithefantsicrupastitongthefwcdopeirvraitlschntegd onbrofocateplajsenctaiodtns ofcthebmaplnewoeatrlawceistahtonl theofcfandroepbilsjrenctsaitons

                                                                                                                                                                                                                                              roepbjsntacios
                                                                                                                                                                                                                                                               ???????


                                                                                                                                                                                                                                                                          forsioneormthefenxieotcrutrsientogfwthecdoieprvtlaischtendg
                                                                                                                                                                                                                                                                                                                                        rofocepbljsnectaions
                                                                                                                                                                                                                                                                                                                                                                                                                                                              oneormoreo,bythedperfvaotrimconesgsetsforoneormoreibythefdnesitfriucnsteitodn thefwcdopeirvratlischntegd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         rofocepblsjnectaiotns
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 SY
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      33
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      FIG




     9Me2th0od                                                                                                                                                         W




                             rofocafepblisjernctvasinotg                                                                                                                       setsforoneormoreiafrnesictriucvstintog                                                                                                                                 rofocftlepbiasjhrenctsieotngsetsimoreoneorthefnwithcStep9215soitrurecltsaiotend
                                                                                                                                                                                                                                                                                                                                                                                                                                        thedforopevraitcneg
                                                                                                                                                                                                                        dao9210Stepepvriatceng
                                                        Step9205
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 40 of 2562 PageID #: 12911


                   atent                                                                       Oct. 22, 2019                                                                                                                                                                                      Sheet 34 of 40                                                                                                                                                                                                                                                            US 10 ,452 ,974 B1


                          Step9325                                                                                Step9330                                                                                                                                                                                                                                                                                   Step9340                                                                                                                                                                                                9345Step




                     ranewsofceotlbriejcvetaincomgts
                                                       Lrepsntaio                  newofocsthebtlmpjreactiontmgscoffothewrletpirscetnisaohtmns

                                                                                                                                                      rofoepbsjnetacios
                                                                                                                                                                                                                                                     9Sofcsoftheandr3lteiprecstni5spaotmins
                                                                                                                                                                                                atmaplistdeahrtaemicsrnathelg ofocsthebnewetljrwceticaontms

                                                                                                                                                                                                                                                                                        reopbsjnteacios
                                                                                                                                                                                                                                                                                                                                                                            foroneormoreithefesetsnxsitcrutsintogswiththefcdopteirvraleitsacntemgd
                                                                                                                                                                                                                                                                                                                                                                                                                                                     rofocepbljscnetaiotns
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         oneormoreo,bythedperfvaoitrmconesgsetsforoneormoreibythefdnesitfriucnsteitodnsthefwcdopteirvratleisachntemgd
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        rofocepbljscnetaionts
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                34
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                FIG




     9300-Method

                               ofocsafrebtlijrcetvsicaontmgs
                                                                               W                                              setsforoneormoreiafrnesictriucvstintog                                                                                                      ofocsthefbtlrijercltasicotnmsg
                                                                                                                                                                                                                                                                                                     moreoneorfwiththerStep9315epirsenstationsthedforosinpetrvautic snoeg
                                                                                                                                                                                                                                                                                                                                                                                                                                                whanu v
                                                                                                                                                                                                                                                                                                                                                                                                                                                      oofcstheftbliojrectiscanotmgsmoneorthefwcr9Seopi3rtse2nlsea0thipo1dnsthedforosinpetrvautic snoeg


                                                         S9rept3se0ntap5ions                                                                                           dao9310Stepepvriatceng                                                                                                                                                                                                                                                   whanu v
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 41 of 2562 PageID #: 12912


                        atent                                                     Oct. 22, 2019                                                                                                                                                                                     Sheet 35 of 40                                                                                                                                                                                                              US 10 ,452 ,974 B1


                                Step9425                                                                      9430Step                                                                                                                                       9435Step                                                                                                                      Step9440                                                                                                                                   9445Step



                                                                                                             ofocthefwrepblisjerntcasihotns                                                                            maplisthattdateahrtaemicsrnahtelg ofocfandrtheepblijsernctsaiotns                                                                            creicrecivuintgicwthe
                                                                                                                                                                                                                                                                                                                                                                     logic
                                                                                                                                                                                                                                                                                                                                                                     by
                                                                                                                                                                                                                                                                                                                                                                     more
                                                                                                                                                                                                                                                                                                                                                                     or
                                                                                                                                                                                                                                                                                                                                                                     one
                                                                                                                                                                                                                                                                                                                                                                     first
                                                                                                                                                                                                                                                                                                                                                                     the
                                                                                                                                                                                                                                                                                                                                                                     ,                fofonrilbpejrutceasichtodn                                                                                ,oneormoreobythedperfvaotrimconesg theforobyoneormoredpuetfrpiatunesdg
                           rofoanewcepbljseinctva notgs                           ocofnewtheblmjpeacrtiong                                                                                                                                   newofocthebeltjwectiotn                                                                                                                                                                                                                                                                                                     cbythelpdrieovdgcuicetd

                    h                                                                                                                           repsntaio repsntaio repsntaio                                                                                                              N

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   35
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   FIG
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     2




                                                                     SLARN?ÁTXM
      9400-Method

                                                                                                                          thef,woneormoreiarehnicepriuvestinsg
                                rofocafepblijsernctvsainotgs                                                                                                     ibyencpeiuvtesd o,andwpiruhentocprdeuitcvsne a
                                                                                                                                                                  more
                                                                                                                                                                  or
                                                                                                                                                                  rone
                                                                                                                                                                   also
                                                                                                                                                                   are
                                                                                                                                                                   logic
                                                                                                                                                                   a
                                                                                                                                                                                   wStep
                                                                                                                                                                                    and
                                                                                                                                                                                    ,
                                                                                                                                                                                    logic
                                                                                                                                                                                    cthe
                                                                                                                                                                                     is
                                                                                                                                                                                     to
                                                                                                                                                                                     9410oihnreficguerietnd   dareusedforothepuetvrpaitucnesg                                                  octhefofbriljercastitong 9ioneormthefwrSepn4oitspern1uetasi5hpotns                                                  rofocthefseptblijsernctisa otgns9420oneormoreiwiththefcSteponriperluastesd

                                                          9405Step
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 42 of 2562 PageID #: 12913


                    atent                                                    Oct. 22, 2019                                                                                                                                                                                          Sheet 36 of 40                                                                                                                                                                                                                                           US 10,452,974 B1


                                                                                                         9530Step                                                                                                                                       Step9535                                                                                                                          Step
                                                                                                                                                                                                                                                                                                                                                                                          9540



                      ranewcofoeS9plbrjtise5vcne2aitogn5s                                            ofocthefwrepbiljsrentcsaihotns
                                                                                                                                                        A
                                                                                                                                                        Ave
                                                                                                                                                                                                              r     maplistdateahrtaemicsrnathelg ofocfandrtheepblisjernctasiotns                                                                          ,oneormoreobythedperfvaotrimconesgcone
                                                                                                                                                                                                                                                                                                                                                                                              ormoreobythefdueirtfrepilunsatesd
                                                                         ofocthenewblmjpeacrtinotg                                                                                                                                     ofocthebneweltjewctieotn                                                                                                                                                                   rofocthefwepblisjernctasihotns
                                                                                                                                      repsntaio w repsntaio
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      36
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      FIG

                                           ???????????????????                                                        RRRRRRRRRRRRRRRRRRRRRRRRRRRRRRRR




      9500-Method




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             w
                                                                                                             *




                                                                                                                 oreuctepivuitnsg ,
                                                                                                                  more
                                                                                                                  a
                                                                                                                  or
                                                                                                                  one
                                                                                                                  first
                                                                                                                  the
                                                                                                                  ,               cfromaltmoreoriuaonrtsgcpmiutcetsd
                                 rofocafepblijsernctvasinotgs                                                                                                                                                ,andwpitheohruneotprdueticsne                                            ofocthefbriljercastitongomoronefthewr9|ueSpiot5sprentu1esahit5pons                                                                                                           rofocftsepblijhernctisaeotgn oneormoreowiththefcStep9520uriterpluastesd
                                                                                                             *
                                                                                                                                                                       rtocislwthe9510oStepeihncrfeiguivrectnd adareusedforopuetrvpaitucnesg

                      Ke                                        repere                                                                              cececececececececececececececece




                                                         Step9505
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 43 of 2562 PageID #: 12914


    U . S . Patent                                                                                               Oct. 22, 2019                                                                                                                                                                                                                                          Sheet 37 of 40                                                                                                                                                                                                         US 10 ,452, 974 B1


                                                                                                                                        Step9630                                                                                                                                                                                        9635Step                                                                                                                            Step9640                                                                                                                                 9645Step



                                              ranewcofoeS9plbrjtise6vcne2aitogp5ns                                                    ofocthefwrepblijserntcsaihotns                                                                                                                                maplisthattdateahrtaemicsrnahtelg theofocfandrepbiljsrenctsaitons                                                                            arecteuiavtionrgof
                                                                                                                                                                                                                                                                                                                                                                                                                                                                 octhefwibnlrijpercltuasihoetnd
                  imiimiminimiminimiminimit   v                                       miminimiminimin i      K                                                                                                         minimiminimini                                                                                                                                          inimiimiminimin                                                                                                              riminimimimiminimi


                                                                                                                                                                                                                                                                                                                                                                                                                                                  by
                                                                                                                                                                                                                                                                                                                                                                                                                                                  more
                                                                                                                                                                                                                                                                                                                                                                                                                                                  or
                                                                                                                                                                                                                                                                                                                                                                                                                                                  one
                                                                                                                                                                                                                                                                                                                                                                                                                                                  first
                                                                                                                                                                                                                                                                                                                                                                                                                                                  the
                                                                                                                                                                                                                                                                                                                                                                                                                                                  ,                                                                                                                       ,oneormorembytheapecortfuoiarmtinosrg coneormoreibythefdoenrfperilunasted
                                                                                                          newofoctheblmjpeacrtinotg                                                                                                                                                                                    newofocthebeltjewctieotn                                                                                                                                                                                                                                                                                                   rofocthefwepblijserntcsaihotns
                                                                                                                                                                       repsntaio repsntaio repsntaio
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   37
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   FIG

                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ?????????????.




                                                                                                                                                                                                                                                                                                                                                                          NN

      9Me6th0od
                                                       rofocafepblijsernctvsainotg

                                                                              9S6t05e1p
                                                                                             WX                                            ????????
                                                                                                                                                      thef,woneormoreiarehnicepriuvesitnsg
                                                                                                                                                                                             byarealsoroneormoreianencpeiuvtesd
                                                                                                                                                                                                                                  tocisathewo,and9Snhctfe6iurga1etoi0ndr andpirmeonctpfiuotrvnsme                                                                              octhefofbrlijercatsiongimoneorfthewrn9eSpio6tsrue1nsea5thiop1ns                                                    rofocftsepbilhjrenctisaetogn oneormoreiwiththefcStep9620onrperluasted
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 44 of 2562 PageID #: 12915


    U . S . Patent              Oct. 22, 2019              Sheet 38 of 40           US 10,452,974 B1


                                                                            615ab
      615a                                                         26m
                                                                                        52




                                             NA 274
                           1046         12


                                                    198a           *
                                                                   15m
                                                                              98a
                                                                                              38
                                                                                              .
                                                                                              FIG
                                             1346

                                                           615ac
               98a          ovavedra
                             *
                             35m

                      RO
                     22




               o




       ta
     615ade
       615ad
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 45 of 2562 PageID #: 12916


    U . S . Patent                Oct. 22, 2019          Sheet 39 of 40                      US 10,452,974 B1




                                                               615b
                            M
                                ONDOTO      VOLVO




                615ba
                        .




                                                         KYN      . .         308
                                                                              "
       Wisdom                                                           986                                              39
                                                                                                                         ,
                                                                                                                         FIG



                                                                                                        h




                                                  120m                                                 oo
                                615bd                                                                  enormcwani
                                                                                                190m           doanvic
                                                                                    615bc1
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 46 of 2562 PageID #: 12917


    U . S . Patent                       Oct.22,2019                   Sheet 40 of 40                           US 10,452,974 B1




                                                                             615b
                      A


                  A



             NA                ooooOOooo


       non
        *



      mao         615ba615ba
      on
                                                                                           086 80€                                40
                                                                                                                                  .
                                                                                                                                  FIG
      100w

        on



                                                                             3590
                                                                                                                  AROUS
                                    ALL       aka




                                                       MWOC!
                                 615bd
                                                    NTE O
                                                               Mmeo minimo          were   war wanne
                                                                                                       w
                                                                                                                      avroandom
                                                               .
                                                               450

                                                                                                        615bc
                                                                                                       NA
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 47 of 2562 PageID #: 12918


                                                        US 10 ,452 ,974 B1
         ARTIFICIALLY INTELLIGENT SYSTEMS,                               sor circuit to execute the first one or more instruction sets for
        DEVICES , AND METHODS FOR LEARNING                               operating the device correlated with the first collection of
                 AND /OR USING A DEVICE ' S                              object representations , the causing performed in response to
          CIRCUMSTANCES FOR AUTONOMOUS                                   the anticipating of the artificial intelligence unit, wherein the
                     DEVICE OPERATION                                    device performs one or more operations defined by the first
                                                                         one or more instruction sets for operating the device corre
                              FIELD                                      lated with the first collection of object representations, the
                                                                         one or more operations performed in response to the execut
       The disclosure generally relates to computing enabled             ing by
                                                                         ing by the
                                                                                 the processor
                                                                                     processor cicircuit.
    devices and /or systems. The disclosure includes devices. 10 In some embodiments , at least one of: the processor
    apparatuses , systems, and related methods for providing    circuit, the memory unit, the sensor, or the artificial intelli
    advanced learning , anticipating, decision making, automa            gence unit are part of, operating on ,or coupled to the device .
    tion , and/ or other functionalities.                                In further embodiments , the device includes one or more
                                                                         devices. In further embodiments, the device includes a
                   COPYRIGHT NOTICE                                      construction machine, an assembly machine, an object han
                                                                         dling machine, an object dispensing machine , a sorting
      A portion of the disclosure of this patent document                machine  , a restocking machine, an industrial machine , an
                                                                         agriculturalmachine , a harvesting machine, an appliance , a
    contains material which is subject to copyright protection .
    The copyright owner has no objection to the facsimile                toy, a robot, a ground vehicle , an aerial vehicle , an aquatic
   reproduction by anyone of the patent document or the patent 20 vehicle , a computer , a smartphone, a control device , or a
   disclosure as it appears in the Patent and Trademark Office    computing enabled device . In further embodiments, the
    patent file or records, but otherwise reserves all copyright         processor circuit includes one or more processor circuits . In
    rights whatsoever.                                                   further embodiments , the processor circuit includes a logic
                                                                         circuit . The logic circuitmay include a microcontroller. The
                          BACKGROUND                                  25 one or more instruction sets may include one or more inputs
                                                                         into or one or more outputs from the logic circuit .
      Devices or systems commonly operate by receiving a                   In certain embodiments, the processor circuit includes a
   user 's operating directions in various circumstances.                logic circuit , the instruction sets for operating the device
    Instructions are then executed to effect the operation of a          include inputs into the logic circuit , and executing instruc
   device or system based on user's operating directions. 30 tion sets for operating the device includes performing logic
   Hence , devices or systems rely on the user to direct their    operations on the inputs into the logic circuit and producing
   behaviors . Commonly employed device or system operating outputs for operating the device . The logic circuit includes
   techniques lack a way to learn operation of a device or a microcontroller.
   system and enable autonomous operation of a device or             In some embodiments, the processor circuit includes a
   system .                                                    35 logic circuit , the instruction sets for operating the device
                                                                  include outputs from the logic circuit for operating the
                            SUMMARY                                      device , and executing instruction sets for operating the
                                                                         device includes performing logic operations on inputs into
       In some aspects, the disclosure relates to a system for           the logic circuit and producing the outputs from the logic
    learning and using a device 's circumstances for autonomous 40 circuit for operating the device .
    device operating. The system may be implemented at least          In certain embodiments, the memory unit includes one or
   in part on one ormore computing devices. In some embodi-              more memory units . In further embodiments , the memory
   ments, the system comprises a processor circuit configured            unit resides on a remote computing device or a remote
   to execute instruction sets for operating a device . The system       computing system , the remote computing device or the
   may further include a memory unit configured to store data . 45 remote computing system coupled to the processor circuit
    The system may further include a sensor configured to detect         via a network or an interface . The remote computing device
    objects. The system may further include an artificial intel          or the remote computing system may include a server, a
    ligence unit. The artificial intelligence unit may be config         cloud , a computing device, or a computing system acces
    ured to : receive a first collection of object representations,      sible over the network or the interface .
    the first collection of object representations including one or 50     In some embodiments , the sensor includes one or more
   more representations of objects detected by the sensor. The           sensors . In further embodiments, the sensor includes a
    artificial intelligence unit may be further configured to :          camera, a microphone, a lidar , a radar , a sonar, or a detector.
    receive a first one or more instruction sets for operating the       In further embodiments , the sensor is part of a remote
    device . The artificial intelligence unit may be further con -       device . In further embodiments, the sensor is configured to
    figured to learn the first collection of object representations 55 detect objects in the device ' s surrounding .
    correlated with the first one or more instruction sets for            In certain embodiments , the artificial intelligence unit is
    operating the device . The artificial intelligence unit may be       coupled to the sensor. In further embodiments, the artificial
    further configured to : receive a new collection of object           intelligence unit is coupled to the memory unit. In further
    representations , the new collection of object representations       embodiments , the artificial intelligence unit is part of, oper
    including one or more representations of objects detected by 60 ating on , or coupled to the processor circuit . In further
    the sensor . The artificial intelligence unit may be further     embodiments , the system further comprises : an additional
    configured to : anticipate the first one ormore instruction sets processor circuit, wherein the artificial intelligence unit is
    for operating the device correlated with the first collection of part of, operating on , or coupled to the additional processor
   object representations based on at least a partial match           circuit. In further embodiments , the artificial intelligence
   between the new collection of object representations and the 65 unit is part of , operating on, or coupled to a remote com
    first collection of object representations. The artificial intel- puting device or a remote computing system , the remote
    ligence unit may be further configured to : cause the proces         computing device or the remote computing system coupled
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 48 of 2562 PageID #: 12919


                                                        US 10 ,452 , 974 B1
    to the processor circuit via a network or an interface. In        related one or more instruction sets can be used for antici
    further embodiments, the artificial intelligence unit includes    pation of one or more instruction sets to be executed by the
    a circuit , a computing apparatus , or a computing system         processor circuit.
    attachable to the processor circuit . In further embodiments ,       In certain embodiments, the first one or more instruction
   the artificial intelligence unit includes a circuit, a computing 5 sets for operating the device include one or more instruction
   apparatus, or a computing system attachable to the device. In      sets that temporally correspond to the first collection of
                                                                      object representations. In further embodiments , the one or
   further embodiments, the artificial intelligence unit is attach more
   able to an application for operating the device, the applica collection   instruction sets that temporally correspond to the first
   tion running on the processor circuit . In further embodi 10 instruction ofsetsobject      representations include one or more
                                                                                         executed  at a time of generating the first
   ments , the artificial intelligence unit includes a circuit , a collection of object representations    . In further embodiments ,
   computing apparatus, or a computing system built into the          the one or more instruction sets that temporally correspond
    processor circuit. In further embodiments, the artificial intel   to the first collection of object representations include one or
    ligence unit includes a circuit, a computing apparatus, or a      more instruction sets executed prior to generating the first
    computing system built into the device . In further embodi
                                                        embodi 15 collection of object representations. In further embodiments ,
   ments, the artificial intelligence unit is built into an appli     the one or more instruction sets that temporally correspond
    cation for operating the device, the application running on       to the first collection of object representations include one or
    the processor circuit. In further embodiments , the artificial    more instruction sets executed within a threshold period of
    intelligence unit is provided as a feature of the processor       time prior to generating the first collection of object repre
    circuit. In further embodiments , the artificial intelligence 20 sentations. In further embodiments , the one or more instruc
    unit is provided as a feature of an application running on the     tion sets that temporally correspond to the first collection of
    processor circuit. In further embodiments, the artificial intel-    object representations include one or more instruction sets
    ligence unit is provided as a feature of the device . In further executed subsequent to generating the first collection of
    embodiments, the artificial intelligence unit is further con         object representations . In further embodiments , the one or
    figured to : take control from , share control with , or release 25 more instruction sets that temporally correspond to the first
    control to the processor circuit . In further embodiments , the collection of object representations include one or more
    artificial intelligence unit is further configured to : take       instruction sets executed within a threshold period of time
    control from , share control with , or release control to an       subsequent to generating the first collection of object rep
    application or an object of the application , the application 30 resentations . In further embodiments , the one or more
                                                                     instruction sets that temporally correspond to the first col
    running on the processor circuit .                                lection of object representations include one or more instruc
       In some embodiments , the first collection of object rep       tion sets executed within a threshold period of time prior to
    resentations includes one or more representations of objects      generating the first collection of object representations or a
    detected by the sensor at a time. In further embodiments , thethreshold period of time subsequent to generating the first
    new collection of object representations includes
                                                   es one
                                                      one oror 35 collection of object representations.
   more representations of objects detected by the sensor at a           In some embodiments , the first one or more instruction
    time. In further embodiments, the first collection of object sets for operating the device are executed by the processor
    representations includes a stream of collections of object circuit. In further embodiments , the first one or more instruc
    representations. In further embodiments , the new collection     tion sets for operating the device are part of an application
    of object representations includes a stream of collections of 40 for operating the device , the application running on the
    object representations. In further embodiments , the first or processor circuit. In further embodiments, the first one or
    the new collection of object representations includes or is more instruction sets for operating the device include one or
    associated with a time stamp, an order, or a time related         more inputs into or one or more outputs from the processor
   information . In further embodiments , the first or the new  circuit . In further embodiments , the first one or more instruc
   collection of object representations includes one or more 45 tion sets for operating the device include values or states of
   representations of objects in the device ' s surrounding. In one or more registers or elements of the processor circuit. In
    further embodiments, the first or the new collection of object     further embodiments, the first one or more instruction sets
    representations includes one or more representations of            for operating the device include at least one of: a command ,
    objects in a remote device 's surrounding. In further embodi-      a keyword , a symbol, an instruction , an operator, a variable ,
   ments, an object representation of the one or more object 50 a value , an object , a data structure , a function , a parameter,
   representations includes one or more object properties . In         a state , a signal, an input, an output, a character, a digit, or
   further embodiments , the first or the new collection of object    a reference thereto . In further embodiments, the first one or
   representations includes one or more object properties . In        more instruction sets for operating the device include a
   further embodiments , the first collection of object represen -     source code, a bytecode, an intermediate code, a compiled
    tations includes a comparative collection of object repre - 55 code, an interpreted code, a translated code, a runtime code,
    sentations whose at least one portion can be used for          an assembly code, a structured query language (SQL ) code ,
    comparisons with at least one portion of collections of object     or a machine code. In further embodiments , the first one or
    representations subsequent to the first collection of object      more instruction sets for operating the device include one or
    representations, the collections of object representations        more code segments, lines of code , statements , instructions ,
    subsequent to the first collection of object representations 60 functions, routines , subroutines , or basic blocks. In further
    comprising the new collection of object representations. In        embodiments , the processor circuit includes a logic circuit .
    further embodiments, the first collection of object represen -     The first one or more instruction sets for operating the device
    tations includes a comparative collection of object repre -       may include one or more inputs into a logic circuit. The first
    sentations that can be used for comparisons with the new           one or more instruction sets for operating the device may
    collection of object representations. In further embodiments , 65 include one or more outputs from a logic circuit.
    the new collection of object representations includes an             In certain embodiments , the first one or more instruction
    anticipatory collection of object representations whose cor -      sets for operating the device include one or more instruction
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 49 of 2562 PageID #: 12920


                                                         US 10 ,452 , 974 B1
    sets for operating an application or an object of the appli -        bytecode , an intermediate code , a compiled code , an inter
    cation , the application running on the processor circuit . In       preted code, a translated code, a runtime code, an assembly
    further embodiments , the receiving the first one or more            code, a structured query language (SQL ) code , or a machine
    instruction sets for operating the device includes obtaining code . In further embodiments , the receiving the first one or
    the first one or more instruction sets for operating the device 5 more instruction sets for operating the device includes at
    from the processor circuit. In further embodiments, the least one of: tracing , profiling , or instrumentation of an
    receiving the first one or more instruction sets for operating       element that is part of, operating on , or coupled to the
    the device includes receiving the first one or more instruc          processor circuit . In further embodiments , the receiving the
    tion sets for operating the device as they are executed by the       first one or more instruction sets for operating the device
    processor circuit . In further embodiments , the receiving the 10 includes at least one of : tracing , profiling , or instrumentation
    first one or more instruction sets for operating the device          of a register of the processor circuit, the memory unit, a
    includes receiving the first one or more instruction sets for        storage , or a repository where the first one or more instruc
    operating the device from a register or an element of the            tion sets for operating the device are stored . In further
    processor circuit. In further embodiments, the receiving the         embodiments , the receiving the first one or more instruction
    first one or more instruction sets for operating the device 15 sets for operating the device includes at least one of: tracing ,
    includes receiving the first one or more instruction sets for        profiling, or instrumentation of the processor circuit , the
    operating the device from an element that is part of, oper -         device , a virtual machine , a runtime engine , an operating
    ating on , or coupled to the processor circuit. In further           system , an execution stack , a program counter, or a process
    embodiments, the receiving the first one or more instruction         ing element. In further embodiments, the receiving the first
    sets for operating the device includes receiving the first one 20 one or more instruction sets for operating the device
    ormore instruction sets for operating the device from at least includes at least one of: tracing, profiling , or instrumentation
    one of: the memory unit, the device , a virtual machine, a           of the processor circuit or tracing, profiling, or instrumen
    runtime engine , a hard drive , a storage device , a peripheral      tation of a component of the processor circuit . In further
    device , a network connected device, or a user. In further           embodiments , the receiving the first one or more instruction
    embodiments , the receiving the first one or more instruction 25 sets for operating the device includes at least one of: tracing ,
    sets for operating the device includes receiving the first one       profiling, or instrumentation of an application or an objectof
    or more instruction sets for operating the device from a             the application , the application running on the processor
    plurality of processor circuits, applications ,memory units ,        circuit . In further embodiments , the receiving the first one or
    devices, virtual machines, runtime engines, hard drives ,            more instruction sets for operating the device includes at
    storage devices , peripheral devices, network connected 30 least one of: tracing, profiling, or instrumentation at a source
    devices, or users .                                                  code write time, a compile time, an interpretation time, a
       In some embodiments, the processor circuit includes a             translation time, a linking time, a loading time, or a runtime.
    logic circuit , and wherein the receiving the first one or more      In further embodiments, the receiving the first one or more
    instruction sets for operating the device includes receiving         instruction sets for operating the device includes at least one
    the first one or more instruction sets for operating the device 35 of: tracing, profiling , or instrumentation of one or more of
    from the logic circuit. In further embodiments, the logic            code segments, lines of code , statements, instructions, func
    circuit includes a microcontroller. In further embodiments,          tions , routines, subroutines, or basic blocks. In further
    the receiving the first one or more instruction sets for             embodiments, the receiving the first one or more instruction
    operating the device from the logic circuit includes receiving       sets for operating the device includes at least one of: tracing ,
    the first one or more instruction sets for operating the device 40 profiling, or instrumentation of a user input. In further
    from an element of the logic circuit . In further embodiments,       embodiments, the receiving the first one or more instruction
    the receiving the first one or more instruction sets for            s ets for operating the device includes at least one of: a
    operating the device from the logic circuit includes receiving       manual, an automatic , a dynamic , or a just in time ( JIT )
   one or more inputs into the logic circuit. In further embodi -        tracing, profiling , or instrumentation . In further embodi
   ments , the receiving the first one or more instruction sets for 45 ments , the receiving the first one or more instruction sets for
    operating the device from the logic circuit includes receiving       operating the device includes utilizing at least one of: a
    one or more outputs from the logic circuit .                         .NET tool, a .NET application programming interface (API),
      In certain embodiments , the receiving the first one or            a Java tool, a Java API, a logging tool, or an independent tool
   more instruction sets for operating the device includes               for obtaining instruction sets. In further embodiments, the
    receiving the first one or more instruction sets for operating 50 receiving the first one or more instruction sets for operating
   the device from an application for operating the device , the         the device includes utilizing an assembly language . In
   application running on the processor circuit .                        further embodiments , the receiving the first one or more
      In some embodiments , the system further comprises: an             instruction sets for operating the device includes utilizing a
   application including instruction sets for operating the branch or a jump. In further embodiments, the receiving the
   device , the application running on the processor circuit , 55 first one or more instruction sets for operating the device
   wherein the receiving the first one or more instruction sets includes a branch tracing or a simulation tracing .
    for operating the device includes receiving the first one or            In further embodiments, the system further comprises : an
   more instruction sets for operating the device from the               interface configured to receive instruction sets, wherein the
   application .                                                         first one or more instruction sets for operating the device are
       In certain embodiments , the receiving the first one or 60 received by the interface . The interface may include an
   more instruction sets for operating the device includes               acquisition interface .
    receiving the one or more instruction sets at a source code             In some embodiments , the first collection of object rep
    write time, a compile time, an interpretation time, a trans          resentations correlated with the first one or more instruction
    lation time, a linking time, a loading time, or a runtime. In        sets for operating the device include a knowledge of how the
    further embodiments, the receiving the first one or more 65 device operated in a circumstance . In further embodiments ,
    instruction sets for operating the device includes at least one      the first collection of object representations correlated with
    of: tracing , profiling , or instrumentation of a source code , a    the first one ormore instruction sets for operating the device
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 50 of 2562 PageID #: 12921


                                                        US 10 ,452 , 974 B1
    are included in a neuron , a node, a vertex , or an element of        device include a user ' s knowledge, style , or methodology of
    a knowledgebase . In further embodiments, the knowledge -             operating the device in circumstances . In further embodi
    base includes a neural network , a graph , a collection of            ments , the plurality of collections of object representations
    sequences, a sequence , a collection of knowledge cells , a           correlated with one or more instruction sets for operating the
   knowledge structure , or a data structure. In further embodi- 5 device are stored on a remote computing device or a remote
   ments, some of the neurons, nodes , vertices, or elements are          computing system . In further embodiments, the plurality of
   interconnected . In further embodiments, the first collection          collections of object representations correlated with one or
    of object representations correlated with the first one or           more instruction sets for operating the device include an
   more instruction sets for operating the device are structured          artificial intelligence system for knowledge structuring , stor
    into a knowledge cell. In further embodiments , the knowl- 10 ing , or representation . The artificial intelligence system for
    edge cell is included in a neuron , a node, a vertex , or an         knowledge structuring , storing , or representation may
    element of a knowledgebase . The knowledgebase may                   include at least one of: a deep learning system , a supervised
    include a neural network , a graph , a collection of sequences,       learning system , an unsupervised learning system , a neural
    a sequence , a collection of knowledge cells, a knowledge             network , a search -based system , an optimization -based sys
    structure , or a data structure. Some of the neurons, nodes, 15 tem , a logic -based system , a fuzzy logic -based system , a
   vertices , or elements may be interconnected . In further              tree -based system , a graph - based system , a hierarchical
   embodiments, the learning the first collection of object               system , a symbolic system , a sub -symbolic system , an
   representations correlated with the first one or more instruc -        evolutionary system , a genetic system , a multi- agent system ,
   tion sets for operating the device includes correlating the            a deterministic system , a probabilistic system , or a statistical
    first collection of object representations with the first one or 20 system .
   more instruction sets for operating the device. In further               In some embodiments , the anticipating the first one or
   embodiments , the correlating the first collection of object           more instruction sets for operating the device correlated with
    representations with the first one or more instruction sets for       the first collection of object representations based on at least
    operating the device includes generating a knowledge cell,            a partial match between the new collection of object repre
    the knowledge cell comprising the first collection of object 25 sentations and the first collection of object representations
   representations correlated with the first one or more instruc -        includes comparing at least one portion of the new collection
   tion sets for operating the device . In further embodiments,           of object representations with at least one portion of the first
   the correlating the first collection of object representations         collection of object representations. In further embodiments ,
   with the first one or more instruction sets for operating the          the at least one portion of the new collection of object
    device includes structuring a knowledge of how the device 30 representations include at least one object representation or
    operated in a circumstance . In further embodiments , the             at least one object property of the new collection of object
    learning the first collection of object representations corre -       representations. In further embodiments , the at least one
    lated with the first one or more instruction sets for operating       portion of the first collection of object representations
    the device includes learning a user 's knowledge, style , or          include at least one object representation or at least one
   methodology of operating the device in a circumstance .             35 object property of the first collection of object representa
       In certain embodiments , the learning the first collection of      tions . In further embodiments , the anticipating the first one
    object representations correlated with the first one or more          or more instruction sets for operating the device correlated
    instruction sets for operating the device includes storing the        with the first collection of object representations based on at
    first collection of object representations correlated with the        least a partial match between the new collection of object
    first one ormore instruction sets for operating the device into 40 representations and the first collection of object representa
   the memory unit , the first collection of object representa -          tions includes comparing at least one object representation
   tions correlated with the first one or more instruction sets for       from the new collection of object representations with at
    operating the device being part of a plurality of collections         least one object representation from the first collection of
    of object representations correlated with one or more                 object representations. In further embodiments, the compar
    instruction sets for operating the device stored in the 45 ing at least one object representation from the new collection
   memory unit . In further embodiments , the plurality of col-           of object representations with at least one object represen
    lections of object representations correlated with one or             tation from the first collection of object representations
   more instruction sets for operating the device include a               includes comparing at least one object property of the at
    neural network , a graph , a collection of sequences , a         least one object representation from the new collection of
    sequence , a collection ofknowledge cells , a knowledgebase , 50 object representations with at least one object property of the
    a knowledge structure, or a data structure . In further embodi-  at least one object representation from the first collection of
   ments , the plurality of collections of object representations         object representations.
   correlated with one or more instruction sets for operating the           In certain embodiments , the anticipating the first one or
   device are organized into a neural network , a graph , a               more instruction sets for operating the device correlated with
    collection of sequences , a sequence , a collection of knowl- 55 the first collection of object representations based on at least
    edge cells , a knowledgebase , a knowledge structure , or a           a partial match between the new collection of object repre
    data structure . In further embodiments , each of the plurality       sentations and the first collection of object representations
    of collections of object representations correlated with one          includes determining that there is at least a partial match
    ormore instruction sets for operating the device is included          between the new collection of object representations and the
   in a neuron , a node, a vertex , or an element of a knowl- 60 first collection of object representations. In further embodi
   edgebase . The knowledgebase may include a neural net -       ments , the determining that there is at least a partial match
   work , a graph , a collection of sequences , a sequence , a   between the new collection of object representations and the
    collection of knowledge cells, a knowledge structure , or a           first collection of object representations includes determin
    data structure. Some of the neurons, nodes , vertices, or            ing that there is at least a partial match between one or more
    elements may be interconnected . In further embodiments , 65 portions of the new collection of object representations and
    the plurality of collections of object representations corre -        one or more portions of the first collection of object repre
    lated with one or more instruction sets for operating the             sentations . In further embodiments, the determining that
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 51 of 2562 PageID #: 12922


                                                         US 10,452 ,974 B1
                                                                                                      10
    there is at least a partial match between the new collection           In certain embodiments, the causing the processor circuit
    of object representations and the first collection of object        to execute the first one or more instruction sets for operating
    representations includes determining that a similarity              the device correlated with the first collection of object
    between at least one portion of the new collection of object        representations includes causing the processor circuit to
    representations and at least one portion of the first collection 5 execute the first one or more instruction sets for operating
    of object representations exceeds a similarity threshold . In      the device correlated with the first collection of object
    further embodiments, the determining that there is at least a       representations instead of or prior to an instruction set that
    partial match between the new collection of object repre            would have been executed next. In further embodiments , the
    sentations and the first collection of object representations       causing the processor circuit to execute the first one or more
    includes determining a substantial similarity between at least 10 instruction sets for operating the device correlated with the
    one portion of the new collection of object representations         first collection of object representations includes modifying
    and at least one portion of the first collection of object          one or more instruction sets of the processor circuit. In
    representations. The substantial similarity may be achieved         further embodiments , the causing the processor circuit to
   when a similarity between the at least one portion of the new        execute the first one or more instruction sets for operating
    collection of object representations and the at least one 15 the device correlated with the first collection of object
    portion of the first collection of object representations           representations includes modifying a register or an element
    exceeds a similarity threshold . The substantial similarity         of the processor circuit. In further embodiments, the causing
   may be achieved when a number or a percentage of match               the processor circuit to execute the first one or more instruc
    ing or partially matching portions of the new collection of         tion sets for operating the device correlated with the first
    object representations and portions of the first collection of 20 collection of object representations includes inserting the
   object representations exceeds a threshold number or thresh          first one or more instruction sets for operating the device
   old percentage . In further embodiments , the determining that       correlated with the first collection of object representations
   there is at least a partial match between the new collection         into a register or an element of the processor circuit. In
   of object representations and the first collection of object         further embodiments , the causing the processor circuit to
    representations includes determining that a number or a 25 execute the first one or more instruction sets for operating
    percentage of matching or partially matching object repre -         the device correlated with the first collection of object
    sentations from the new collection of object representations        representations includes redirecting the processor circuit to
   and from the first collection of object representations       the first one or more instruction sets for operating the device
   exceeds a threshold number or threshold percentage . The      correlated with the first collection of object representations.
   matching or partially matching object representations from 30 In further embodiments , the causing the processor circuit to
    the new collection of object representations and from the           execute the first one or more instruction sets for operating
    first collection of object representations may be determined        the device correlated with the first collection of object
    factoring in at least one of a type of an object representation ,   representations includes redirecting the processor circuit to
    an importance of an object representation , a threshold for a    one or more alternate instruction sets , the alternate instruc
    similarity in an object representation , or a threshold for a 35 tion sets comprising the first one or more instruction sets for
    difference in an object representation . In further embodi-         operating the device correlated with the first collection of
   ments, the determining that there is at least a partial match        object representations. In further embodiments, the causing
   between the new collection of object representations and the         the processor circuit to execute the first one or more instruc
    first collection of object representations includes determin -      tion sets for operating the device correlated with the first
    ing that a number or a percentage of matching or partially 40 collection of object representations includes transmitting, to
   matching object properties from the new collection ofobject          the processor circuit for execution , the first one or more
    representations and from the first collection of object rep -       instruction sets for operating the device correlated with the
    resentations exceeds a threshold number or threshold per -          first collection of object representations. In further embodi
    centage. The matching or partially matching object proper -         ments, the executing the first one or more instruction sets for
    ties from the new collection of object representations and 45 Operating the device correlated with the first collection of
    from the first collection of object representations may be          object representations includes issuing an interrupt to the
    determined factoring in at least one of: an association of an       processor circuit and executing the first one ormore instruc
    object property with an object representation , a category of       tion sets for operating the device correlated with the first
    an object property , an importance of an object property, a         collection of object representations following the interrupt.
    threshold for a similarity in an object property , or a threshold 50 In further embodiments , the causing the processor circuit to
   for a difference in an object property . In further embodi-          execute the first one or more instruction sets for operating
   ments, the determining that there is at least a partial match        the device correlated with the first collection of object
   between the new collection of object representations and the         representations includes modifying an element that is part
    first collection of object representations includes determin -      of, operating on , or coupled to the processor circuit.
    ing that there is at least a partialmatch between at least one 55 In some embodiments , the processor circuit includes a
    object representation from the new collection of object          logic circuit, and wherein the causing the processor circuit
    representations and at least one object representation from      to execute the first one or more instruction sets for operating
    the first collection of object representations. The determin -   the device correlated with the first collection of object
    ing that there is at least a partialmatch between at least one      representations includes causing the logic circuit to execute
    object representation from the new collection of object 60 the first one or more instruction sets for operating the device
    representations and at least one object representation from     correlated with the first collection of object representations.
    the first collection of object representations includes deter - In further embodiments , the logic circuit includes a micro
   mining that there is at least a partial match between at least       controller. In further embodiments, the causing the logic
    one object property of the at least one object representation       circuit to execute the first one or more instruction sets for
    from the new collection of object representations and at least 65 operating the device correlated with the first collection of
    one object property of the at least one object representation       object representations includes modifying an element of the
    from the first collection of object representations.                logic circuit. In further embodiments, the causing the logic
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 52 of 2562 PageID #: 12923


                                                         US 10 ,452 ,974 B1
                                                                                                     12
    circuit to execute the first one or more instruction sets for       sets for operating the device correlated with the first collec
    operating the device correlated with the first collection of        tion of object representations includes modifying at least one
    object representations includes inserting the first one or          of: the memory unit, a register of the processor circuit, a
   more instruction sets for operating the device correlated with       storage , or a repository where instruction sets are stored or
    the first collection of object representations into an element 5 used . In further embodiments , the causing the processor
    of the logic circuit . In further embodiments , the causing the     circuit to execute the first one or more instruction sets for
    logic circuit to execute the first one or more instruction sets     operating the device correlated with the first collection of
    for operating the device correlated with the first collection of    object representations includes modifying one or more
    object representations includes redirecting the logic circuit  instruction sets for operating an application or an object of
    to the first one or more instruction sets for operating the 10 the application , the application running on the processor
    device correlated with the first collection of object repre -  circuit. In further embodiments , the causing the processor
    sentations . In further embodiments , the causing the logic         circuit to execute the first one or more instruction sets for
    circuit to execute the first one or more instruction sets for       operating the device correlated with the first collection of
    operating the device correlated with the first collection of        object representations includes modifying at least one of: an
    object representations includes replacing inputs into the 15 element of the processor circuit, an element of the device, a
    logic circuit with the first one or more instruction sets for       virtual machine, a runtime engine , an operating system , an
    operating the device correlated with the first collection of        execution stack , a program counter, or a user input. In
    object representations. In further embodiments , the causing        further embodiments , the causing the processor circuit to
    the logic circuit to execute the first one or more instruction      execute the first one or more instruction sets for operating
    sets for operating the device correlated with the first collec - 20 the device correlated with the first collection of object
    tion of object representations includes replacing outputs           representations includes modifying one or more instruction
    from the logic circuit with the first one or more instruction       sets at a source code write time, a compile time, an inter
    sets for operating the device correlated with the first collec   pretation time, a translation time, a linking time, a loading
    tion of object representations .                                 time, or a runtime. In further embodiments , the causing the
       In certain embodiments , the causing the processor circuit 25 processor circuit to execute the first one or more instruction
    to execute the first one or more instruction sets for operating  sets for operating the device correlated with the first collec
    the device correlated with the first collection of object tion of object representations includes modifying one or
    representations includes causing an application for operating more code segments , lines of code , statements, instructions,
    the device to execute the first one or more instruction sets for    functions, routines , subroutines, or basic blocks . In further
    operating the device correlated with the first collection of 30 embodiments , the causing the processor circuit to execute
    object representations, the application running on the pro -        the first one or more instruction sets for operating the device
    cessor circuit .                                                    correlated with the first collection of object representations
       In some embodiments, the system further comprises: an            includes a manual, an automatic , a dynamic , or a just in time
    application including instruction sets for operating the            ( JIT ) instrumentation of an application , the application run
   device , the application running on the processor circuit, 35 ning on the processor circuit . In further embodiments, the
   wherein the causing the processor circuit to execute the first causing the processor circuit to execute the first one or more
   one or more instruction sets for operating the device corre    instruction sets for operating the device correlated with the
   lated with the first collection of object representations first collection of object representations includes utilizing
    includes modifying the application .                                one or more of a .NET tool, a .NET application program
    In further embodiments , the causing the processor circuit to 40 ming interface (API), a Java tool, a Java API, an operating
    execute the first one or more instruction sets for operating        system tool, or an independent tool for modifying instruc
    the device correlated with the first collection of object           tion sets . In further embodiments , the causing the processor
    representations includes redirecting an application to the         circuit to execute the first one or more instruction sets for
    first one or more instruction sets for operating the device        operating the device correlated with the first collection of
    correlated with the first collection of object representations, 45 object representations includes utilizing at least one of: a
    the application running on the processor circuit. In further        dynamic , an interpreted , or a scripting programming lan
    embodiments , the causing the processor circuit to execute          guage. In further embodiments , the causing the processor
    the first one or more instruction sets for operating the device     circuit to execute the first one or more instruction sets for
    correlated with the first collection of object representations      operating the device correlated with the first collection of
    includes redirecting an application to one or more alternate 50 object representations includes utilizing at least one of: a
    instruction sets, the application running on the processor          dynamic code , a dynamic class loading, or a reflection . In
    circuit , the alternate instruction sets comprising the first one   further embodiments , the causing the processor circuit to
    or more instruction sets for operating the device correlated        execute the first one or more instruction sets for operating
   with the first collection of object representations. In further      the device correlated with the first collection of object
    embodiments , the causing the processor circuit to execute 55 representations includes utilizing an assembly language . In
    the first one or more instruction sets for operating the device     further embodiments, the causing the processor circuit to
    correlated with the first collection of object representations      execute the first one or more instruction sets for operating
    includes modifying one or more instruction sets of an               the device correlated with the first collection of object
    application, the application running on the processor circuit.      representations includes utilizing at least one of: a metapro
    In further embodiments , the causing the processor circuit to 60 gramming , a self -modifying code, or an instruction set
    execute the first one or more instruction sets for operating        modification tool. In further embodiments , the causing the
    the device correlated with the first collection of object           processor circuit to execute the first one ormore instruction
    representations includes modifying a source code, a byte -          sets for operating the device correlated with the first collec
    code, an intermediate code, a compiled code , an interpreted        tion of object representations includes utilizing at least one
    code, a translated code, a runtime code, an assembly code , 65 of: just in time (JIT ) compiling, JIT interpretation , JIT
    or a machine code. In further embodiments , the causing the translation , dynamic recompiling , or binary rewriting . In
    processor circuit to execute the first one or more instruction further embodiments, the causing the processor circuit to
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 53 of 2562 PageID #: 12924


                                                         US 10 ,452 , 974 B1
                                  13                                                                         14
   execute the first one or more instruction sets for operating              device , or an information on an user . In further embodi
   the device correlated with the first collection of object                m ents , the artificial intelligence unit is further configured to :
   representations includes utilizing at least one of: a dynamic             learn the first collection of object representations correlated
    expression creation , a dynamic expression execution , a                 with the at least one extra information . The learning the first
    dynamic function creation , or a dynamic function execution . 5 collection of object representations correlated with at least
    In further embodiments , the causing the processor circuit to            one extra information may include correlating the first
    execute the first one or more instruction sets for operating             collection of object representations with the at least one
    the device correlated with the first collection of object                extra information . The learning the first collection of object
    representations includes adding or inserting additional code             representations correlated with at least one extra information
    into a code of an application , the application running on the 10 may include storing the first collection of object represen
    processor circuit . In further embodiments, the causing the              tations correlated with the at least one extra information into
    processor circuit to execute the first one or more instruction           the memory unit. In further embodiments , the anticipating
    sets for operating the device correlated with the first collec -         the first one or more instruction sets for operating the device
    tion of object representations includes at least one of:                 correlated with the first collection of object representations
   modifying, removing, rewriting , or overwriting a code of an 15 based on at least a partialmatch between the new collection
    application , the application running on the processor circuit.          of object representations and the first collection of object
    In further embodiments , the causing the processor circuit to            representations includes anticipating the first one or more
    execute the first one or more instruction sets for operating             instruction sets for operating the device correlated with the
    the device correlated with the first collection of object                first collection of object representations based on at least a
    representations includes at least one of: branching , redirect - 20 partial match between an extra information correlated with
    ing, extending , or hot swapping a code of an application , the          the new collection of object representations and an extra
    application running on the processor circuit . The branching             information correlated with the first collection of object
    or redirecting the code may include inserting at least one of:           representations. The anticipating the first one or more
    a branch , a jump , or a means for redirecting an execution . In         instruction sets for operating the device correlated with the
    further embodiments , the executing the first one or more 25 first collection of object representations based on at least a
    instruction sets for operating the device correlated with the partial match between an extra information correlated with
    first collection of object representations includes implement            the new collection of object representations and an extra
    ing a user' s knowledge , style , or methodology of operating            information correlated with the first collection of object
    the device in a circumstance.                                   representations may include comparing an extra information
       In certain embodiments , the system further comprises: an 30 correlated with the new collection of object representations
    interface configured to cause execution of instruction sets ,            and an extra information correlated with the first collection
   wherein the executing the first one or more instruction sets             of object representations. The anticipating the first one or
   for operating the device correlated with the first collection of         more instruction sets for operating the device correlated with
    object representations is caused by the interface . The inter -          the first collection of object representations based on at least
    face may include a modification interface .                        35 a partialmatch between an extra information correlated with
     In some embodiments , the one or more operations defined                the new collection of object representations and an extra
   by the first one or more instruction sets for operating the               information correlated with the first collection of object
    device correlated with the first collection of object repre - representations may include determining that a similarity
    sentations include one or more operations with or by a        between an extra information correlated with the new col
    computing enabled device . In further embodiments, the 40 lection of object representations and an extra information
    performing the one or more operations defined by the first               correlated with the first collection of object representations
    one or more instruction sets for operating the device corre -            exceeds a similarity threshold .
    lated with the first collection of object representations                   In certain embodiments , the system further comprises : a
    includes implementing a user' s knowledge , style, or meth -             user interface , wherein the artificial intelligence unit is
    odology of operating the device in a circumstance .                45 further configured to : cause the user interface to present a
       In certain embodiments , the system further comprising:              user with an option to execute the first one or more instruc
    an application running on the processor circuit.                         tion sets for operating the device correlated with the first
       In some embodiments , the instruction sets for operating              collection of object representations.
    the device are part of an application for operating the device ,            In some embodiments, the system further comprises : a
    the application running on the processor circuit .                 50 user interface, wherein the artificial intelligence unit is
      In certain embodiments, the system of further comprises :              further configured to : receive , via the user interface , a user' s
    an application for operating the device , the application                selection to execute the first one or more instruction sets for
    running on the processor circuit . The application for oper -            operating the device correlated with the first collection of
    ating the device may include the instruction sets for oper-              object representations .
    ating the device.                                                  55       In certain embodiments , the artificial intelligence unit is
      In some embodiments, the artificial intelligence unit is               further configured to: rate the executed first one or more
    further configured to : receive at least one extra information .         instruction sets for operating the device correlated with the
    In further embodiments , the at least one extra information              first collection of object representations . The rating the
   include one or more of: a time information , a location                   executed first one or more instruction sets for operating the
    information , a computed information , or a contextual infor- 60 device correlated with the first collection of object repre
   mation . In further embodiments, the at least one extra                   sentations may include causing a user interface to display
    information include one or more of: an information on an                 the executed first one or more instruction sets for operating
   object, an information on an object representation , an infor -           the device correlated with the first collection of object
   mation on a collection of object representations , an infor -             representations along with one or more rating values as
   mation on a device ' s circumstance , an information on an 65 options to be selected by a user. The rating the executed first
   instruction set, an information on an application , an infor -            one or more instruction sets for operating the device corre
   mation on the processor circuit , an information on the                   lated with the first collection of object representations may
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 54 of 2562 PageID #: 12925


                                                         US 10 ,452 , 974 B1
                                  15                                                                  16
    include rating the executed first one ormore instruction sets       one or more instruction sets for operating the device and the
    for operating the device correlated with the first collection of    second collection of object representations correlated with
    object representations without a user input.                        the second one or more instruction sets for operating the
       In some embodiments, the system further comprises: a             device . The updating the connection between the first col
   user interface , wherein the artificial intelligence unit is 5 lection of object representations correlated with the first one
    further configured to : cause the user interface to present a       or more instruction sets for operating the device and the
    user with an option to cancel the execution of the executed         second collection of object representations correlated with
    first one or more instruction sets for operating the device         the second one or more instruction sets for operating the
    correlated with the first collection of object representations.     device may include updating at least one of: an occurrence
    In further embodiments , the canceling the execution of the 10 count, a weight, a parameter, or a data included in or
    executed first one or more instruction sets for operating the       associated with the connection . In further embodiments, the
    device correlated with the first collection of object repre -       learning the first collection of object representations corre
    sentations includes restoring the processor circuit or the          lated with the first one or more instruction sets for operating
    device to a prior state . The restoring the processor circuit or    the device includes storing the first collection of object
    the device to a prior state may include saving the state of the 15 representations correlated with the first one or more instruc
    processor circuit or the device prior to executing the first one   tion sets for operating the device into a first node of a
    or more instruction sets for operating the device correlated       knowledgebase , and wherein the learning the second col
    with the first collection of object representations.               lection of object representations correlated with the second
       In certain embodiments, the system further comprises : an       one or more instruction sets for operating the device
    input device configured to receive a user ' s operating direc - 20 includes storing the second collection of object representa
    tions, the user ' s operating directions for instructing the tions correlated with the second one or more instruction sets
    processor circuit on how to operate the device .                   for operating the device into a second node of the knowl
       In some embodiments, the autonomous device operating             edgebase . The knowledgebase may include a neural net
    includes a partially or a fully autonomous device operating         work , a graph , a collection of sequences, a sequence , a
    The partially autonomous device operating may include 25 collection of knowledge cells , a knowledge structure , or a
   executing the first one or more instruction sets for operating data structure . The knowledgebase may be stored in the
   the device correlated with the first collection of object memory unit . The learning the first collection of object
   representations responsive to a user confirmation . In further representations correlated with the first one or more instruc
   embodiments, the fully autonomous device operating may tion sets for operating the device and the learning the second
    include executing the first one or more instruction sets for 30 collection of object representations correlated with the sec
    operating the device correlated with the first collection of        ond one or more instruction sets for operating the device
    object representations without a user confirmation .                include creating a connection between the first node and the
       In certain embodiments, the artificial intelligence unit is      second node. The learning the first collection of object
    further configured to : receive a second collection of object       representations correlated with the first one or more instruc
    representations, the second collection of object representa - 35 tion sets for operating the device and the learning the second
   tions including one or more representations of objects               collection of object representations correlated with the sec
   detected by the sensor ; receive a second one or more                ond one or more instruction sets for operating the device
   instruction sets for operating the device ; and learn the            include updating a connection between the first node and the
    second collection of object representations correlated with         second node . In further embodiments, the first collection of
    the second one or more instruction sets for operating the 40 object representations correlated with the first one or more
    device . In further embodiments, the second collection of           instruction sets for operating the device is stored into a first
    object representations includes one or more representations         node of a neural network and the second collection of object
    of objects detected by the sensor at a time. In further             representations correlated with the second one or more
    embodiments , the second collection of object representa            instruction sets for operating the device is stored into a
    tions includes a stream of collections of object representa - 45 second node of the neural network . The first node and the
    tions. In further embodiments , the second collection of         second node may be connected by a connection . The first
    object representations includes or is associated with a time        node may be part of a first layer of the neural network and
    stamp, an order , or a time related information . In further       the second node may be part of a second layer of the neural
    embodiments , the learning the first collection of object          network . In further embodiments , the first collection of
    representations correlated with the first one or more instruc - 50 object representations correlated with the first one or more
    tion sets for operating the device and the learning the second      instruction sets for operating the device is stored into a first
    collection of object representations correlated with the sec -      node of a graph and the second collection of object repre
    ond one or more instruction sets for operating the device           sentations correlated with the second one or more instruction
    include creating a connection between the first collection of       sets for operating the device is stored into a second node of
    object representations correlated with the first one or more 55 the graph . The first node and the second node may be
    instruction sets for operating the device and the second            connected by a connection . In further embodiments, the first
    collection of object representations correlated with the sec -      collection of object representations correlated with the first
    ond one or more instruction sets for operating the device .         one or more instruction sets for operating the device is stored
    The connection may include or be associated with at least           into a first node of a sequence and the second collection of
    one of: an occurrence count, a weight, a parameter , or a data . 60 object representations correlated with the second one or
    In further embodiments , the learning the first collection of       more instruction sets for operating the device is stored into
    object representations correlated with the first one or more        a second node of the sequence .
    instruction sets for operating the device and the learning the        In some aspects , the disclosure relates to a non -transitory
    second collection of object representations correlated with         computer storage medium having a computer program
    the second one or more instruction sets for operating the 65 stored thereon , the program including instructions that when
    device include updating a connection between the first              executed by one ormore processor circuits cause the one or
    collection of object representations correlated with the first     more processor circuits to perform operations comprising :
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 55 of 2562 PageID #: 12926


                                                         US 10 ,452 , 974 B1
                                                                                                      18
   receiving a first collection of object representations, the first   tion of object representations, the one or more operations by
    collection of object representations including one or more         the device performed in response to the executing of ( f ).
    representations of objects detected by a sensor. The opera -          In certain embodiments , the receiving of (b ) includes
    tions may further include: receiving a first one or more           receiving the first one or more instruction sets for operating
    instruction sets for operating a device . The operations may 5 the device from the processor circuit or from another pro
    further include: learning the first collection of object repre -   cessor circuit. In further embodiments, the executing of (f )
    sentations correlated with the first one or more instruction       is performed by the processor circuit or by another processor
    sets for operating the device . The operations may further circuit.
    include : receiving a new collection of object representations,     The operations or steps of the non -transitory computer
    the new collection of object representations including one or 10 storage medium and/or the method may be performed by
   more representations of objects detected by the sensor. The         any of the elements of the above described systems as
   operations may further include : anticipating the first one or      applicable . The non -transitory computer storage medium
   more instruction sets for operating the device correlated with      and / or the method may include any of the operations, steps,
    the first collection of object representations based on at least   and embodiments of the above described systems, non
    a partial match between the new collection of object repre - 15 transitory computer storage media , and / or methods as appli
    sentations and the first collection of object representations . cable as well as the following embodiments .
    The operations may further include : causing an execution of          In some embodiments, the first one or more instruction
    the first one or more instruction sets for operating the device    sets for operating the device are executed by a processor
    correlated with the first collection of object representations,    circuit. In further embodiments, the first one ormore instruc
    the causing performed in response to the anticipating the 20 tion sets for operating the device are part of an application
    first one or more instruction sets for operating the device         for operating the device . In further embodiments , the first
    correlated with the first collection of object representations     one or more instruction sets for operating the device include
    based on at least a partial match between the new collection       one or more inputs into or one or more outputs from a
    of object representations and the first collection of object       processor circuit. In further embodiments , the first one or
    representations, wherein the device performs one or more 25 more instruction sets for operating the device include values
    operations defined by the first one or more instruction sets       or states of one or more registers or elements of a processor
    for operating the device correlated with the first collection of   circuit . In further embodiments , the first one or more instruc
    object representations , the one or more operations by the         tion sets for operating the device include one or more inputs
    device performed in response to the execution .                into a logic circuit . In further embodiments, the first one or
       In certain embodiments , the receiving the first one or 30 more instruction sets for operating the device include one or
   more instruction sets for operating the device includes             more outputs from a logic circuit . In further embodiments ,
   receiving the first one or more instruction sets for operating      the first one or more instruction sets for operating the device
   the device from the one or more processor circuits or from          include one or more instruction sets for operating an appli
    another one or more processor circuits . In further embodi-        cation or an object of the application .
   ments, the execution of the first one or more instruction sets 35 In certain embodiments, the receiving the first one or
   for operating the device correlated with the first collection of more instruction sets for operating the device includes
    object representations is performed by the one or more             receiving the first one or more instruction sets for operating
   processor circuits or by another one or more processor              the device from a processor circuit . In further embodiments,
    circuits .                                                         the receiving the first one or more instruction sets for
       In some aspects , the disclosure relates to a method com - 40 operating the device includes receiving the first one or more
   prising: (a ) receiving a first collection of object representa     instruction sets for operating the device as they are executed
   tions by a processor circuit, the first collection of object        by a processor circuit. In further embodiments , the receiving
    representations including one or more representations of           the first one or more instruction sets for operating the device
    objects detected by a sensor. The method may further                includes receiving the first one or more instruction sets for
    include: ( b ) receiving a first one or more instruction sets for 45 Operating the device from a register or an element of a
    operating a device by the processor circuit. The method may        processor circuit . In further embodiments , the receiving the
    further include : ( c ) learning the first collection of object     first one or more instruction sets for operating the device
    representations correlated with the first one or more instruc -    includes receiving the first one or more instruction sets for
    tion sets for operating the device , the learning of (c ) per -    operating the device from an element that is part of, oper
    formed by the processor circuit . The method may further 50 ating on , or coupled to a processor circuit. In further
    include: (d ) receiving a new collection of object represen -      embodiments , the receiving the first one or more instruction
    tations by the processor circuit, the new collection of object     sets for operating the device includes receiving the first one
    representations including one or more representations of           or more instruction sets for operating the device from at least
    objects detected by the sensor. The method may further             one of: the memory unit, the device , a virtual machine , a
   include: ( e ) anticipating the first one or more instruction sets 55 runtime engine, a hard drive , a storage device, a peripheral
   for operating the device correlated with the first collection of      device , a network connected device , or a user. In further
   object representations based on at least a partial match              embodiments , the receiving the first one or more instruction
   between the new collection of object representations and the          sets for operating the device includes receiving the first one
    first collection of object representations, the anticipating of    or more instruction sets for operating the device from a
    ( e ) performed by the processor circuit. The method may 60 plurality of processor circuits , applications, memory units ,
    further include: (f) executing the first one or more instruc -     devices, virtual machines , runtime engines, hard drives ,
    tion sets for operating the device correlated with the first       storage devices , peripheral devices, network connected
    collection of object representations, the executing of ( f)        devices , or users .
    performed in response to the anticipating of ( e ). The method        In some embodiments , the receiving the first one or more
   may further include : ( g ) performing , by the device , one or 65 instruction sets for operating the device includes receiving
   more operations defined by the first one or more instruction       the first one or more instruction sets for operating the device
   sets for operating the device correlated with the first collec -   from a logic circuit. In further embodiments , the logic circuit
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 56 of 2562 PageID #: 12927


                                                         US 10 ,452 , 974 B1
                                   19                                                                    20
   includes a microcontroller. In further embodiments, the                representations includes modifying one or more instruction
   receiving the first one or more instruction sets for operating         sets of a processor circuit. In further embodiments, the
    the device from the logic circuit includes receiving the first        executing the first one or more instruction sets for operating
    one ormore instruction sets for operating the device from an          the device correlated with the first collection of object
    element of the logic circuit. In further embodiments , the 5 representations includes modifying a register or an element
   receiving the first one ormore instruction sets for operating          of a processor circuit. In further embodiments , the executing
   the device from the logic circuit includes receiving one or            the first one or more instruction sets for operating the device
   more inputs into the logic circuit. In further embodiments ,      correlated with the first collection of object representations
   the receiving the first one or more instruction sets for          includes inserting the first one or more instruction sets for
   operating the device from the logic circuit includes receiving 10 Operating the device correlated with the first collection of
    one or more outputs from the logic circuit .                          object representations into a register or an element of a
      In certain embodiments, the receiving the first one or              processor circuit. In further embodiments, the executing the
   more instruction sets for operating the device includes                first one or more instruction sets for operating the device
   receiving the first one or more instruction sets for operating         correlated with the first collection of object representations
    the device from an application for operating the device . In 15 includes redirecting a processor circuit to the first one or
    further embodiments, the receiving the first one or more             more instruction sets for operating the device correlated with
    instruction sets for operating the device includes receiving          the first collection of object representations . In further
    the first one or more instruction sets for operating the device       embodiments , the executing the first one or more instruction
    from an application , the application including instruction           sets for operating the device correlated with the first collec
    sets for operating the device . In further embodiments , the 20 tion of object representations includes redirecting a proces
    receiving the first one or more instruction sets for operating        sor circuit to one or more alternate instruction sets, the
    the device includes at least one of: tracing , profiling, or          alternate instruction sets comprising the first one or more
    instrumentation of an element that is part of, operating on           instruction sets for operating the device correlated with the
    or coupled to a processor circuit . In further embodiments ,          first collection of object representations . In further embodi
    the receiving the first one or more instruction sets for 25 ments , the executing the first one or more instruction sets for
    operating the device includes at least one of: tracing, pro -         operating the device correlated with the first collection of
    filing, or instrumentation of a register of a processor circuit       object representations includes transmitting , to a processor
    the memory unit , a storage, or a repository where the first          circuit for execution , the first one or more instruction sets for
    one or more instruction sets for operating the device are             operating the device correlated with the first collection of
    stored . In further embodiments , the receiving the first one or 30 object representations. In further embodiments , the execut
   more instruction sets for operating the device includes at            ing the first one or more instruction sets for operating the
    least one of: tracing, profiling, or instrumentation of a             device correlated with the first collection of object repre
    processor circuit , the device , a virtual machine , a runtime        sentations includes issuing an interrupt to a processor circuit
    engine , an operating system , an execution stack , a program         and executing the first one or more instruction sets for
    counter , or a processing element. In further embodiments , 35 operating the device correlated with the first collection of
    the receiving the first one or more instruction sets for              object representations following the interrupt. In further
    operating the device includes at least one of: tracing , pro -        embodiments , the executing the first one or more instruction
    filing , or instrumentation of a processor circuit or tracing ,       sets for operating the device correlated with the first collec
    profiling , or instrumentation of a component of a processor         tion of object representations includes modifying an element
    circuit . In further embodiments , the receiving the first one or 40 that is part of, operating on , or coupled to a processor circuit.
   more instruction sets for operating the device includes at                In some embodiments, the executing the first one or more
   least one of: tracing, profiling, or instrumentation of an             instruction sets for operating the device correlated with the
   application or an object of the application . In further               first collection of object representations includes executing ,
    embodiments, the receiving the first one or more instruction by a logic circuit, the first one or more instruction sets for
    sets for operating the device includes receiving the first one 45 operating the device correlated with the first collection of
    or more instruction sets for operating the device by an           object representations . In further embodiments, the logic
    interface . The interface may include an acquisition interface .  circuit includes a microcontroller. In further embodiments,
      In some embodiments , the learning the first collection of          the executing , by the logic circuit, the first one or more
    object representations correlated with the first one or more          instruction sets for operating the device correlated with the
    instruction sets for operating the device includes storing the 50 first collection of object representations includes modifying
    first collection of object representations correlated with the        an element of the logic circuit. In further embodiments , the
    first one or more instruction sets for operating the device into      executing, by the logic circuit , the first one or more instruc
    a memory unit, the first collection of object representations         tion sets for operating the device correlated with the first
    correlated with the first one or more instruction sets for            collection of object representations includes inserting the
    operating the device being part of a plurality of collections 55 first one or more instruction sets for operating the device
    of object representations correlated with one or more                 correlated with the first collection of object representations
   instruction sets for operating the device stored in the                into an element of the logic circuit . In further embodiments ,
   memory unit .                                                          the executing, by the logic circuit, the first one or more
       In certain embodiments, the executing the first one or             instruction sets for operating the device correlated with the
   more instruction sets for operating the device correlated with 60 first collection of object representations includes redirecting
    the first collection of object representations includes execut-       the logic circuit to the first one or more instruction sets for
   ing the first one or more instruction sets for operating the           operating the device correlated with the first collection of
   device correlated with the first collection of object repre -          object representations. In further embodiments, the execut
   sentations instead of or prior to an instruction set that would ing, by the logic circuit, the first one or more instruction sets
   have been executed next . In further embodiments, the 65 for operating the device correlated with the first collection of
   executing the first one or more instruction sets for operating  object representations includes replacing inputs into the
   the device correlated with the first collection of object logic circuit with the first one or more instruction sets for
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 57 of 2562 PageID #: 12928


                                                           US 10 ,452 , 974 B1
                                   21
    operating the device correlated with the first collection of           embodiments , the executing the first one or more instruction
    object representations. In further embodiments, the execut-            sets for operating the device correlated with the first collec
    ing , by the logic circuit , the first one or more instruction sets    tion of object representations includes a manual, an auto
    for operating the device correlated with the first collection of      matic , a dynamic, or a just in time ( JIT) instrumentation of
    object representations includes replacing outputs from the 5 an application . In further embodiments , the executing the
    logic circuit with the first one or more instruction sets for          first one or more instruction sets for operating the device
    operating the device correlated with the first collection of           correlated with the first collection of object representations
    object representations.                                                includes utilizing one or more of a .NET tool, a .NET
      In certain embodiments, the executing the first one or               application programming interface (API), a Java tool, a Java
   more instruction sets for operating the device correlated with 10 API, an operating system tool , or an independent tool for
    the first collection of object representations includes execut -      modifying instruction sets . In further embodiments , the
    ing, by an application for operating the device , the first one        executing the first one or more instruction sets for operating
    or more instruction sets for operating the device correlated           the device correlated with the first collection of object
   with the first collection of object representations . In further       representations includes utilizing at least one of: a dynamic,
   embodiments, the executing the first one or more instruction 15 an interpreted, or a scripting programming language . In
   sets for operating the device correlated with the first collec - further embodiments , the executing the first one or more
   tion of object representations includes modifying an appli- instruction sets for operating the device correlated with the
    cation , the application including instruction sets for operat -       first collection of object representations includes utilizing at
    ing the device . In further embodiments, the executing the least one of: a dynamic code , a dynamic class loading , or a
    first one or more instruction sets for operating the device 20 reflection . In further embodiments , the executing the first
    correlated with the first collection of object representations one or more instruction sets for operating the device corre
    includes redirecting an application to the first one or more   lated with the first collection of object representations
    instruction sets for operating the device correlated with the          includes utilizing an assembly language . In further embodi
    first collection of object representations . In further embodi-       ments , the executing the first one or more instruction sets for
   ments , the executing the first one or more instruction sets for 25 operating the device correlated with the first collection of
   operating the device correlated with the first collection of        object representations includes utilizing at least one of: a
   object representations includes redirecting an application to       metaprogramming, a self -modifying code , or an instruction
   one or more alternate instruction sets , the alternate instruc -    setmodification tool. In further embodiments , the executing
    tion sets comprising the first one or more instruction sets for        the first one or more instruction sets for operating the device
    operating the device correlated with the first collection of 30 correlated with the first collection of object representations
    object representations . In further embodiments, the execut            includes utilizing at least one of: just in time ( JIT ) compil
    ing the first one or more instruction sets for operating the           ing , JIT interpretation , JIT translation , dynamic recompiling,
    device correlated with the first collection of object repre            or binary rewriting. In further embodiments , the executing
    sentations includes modifying one or more instruction sets        the first one or more instruction sets for operating the device
    of an application . In further embodiments , the executing the 35 correlated with the first collection of object representations
    first one or more instruction sets for operating the device            includes utilizing at least one of: a dynamic expression
    correlated with the first collection of object representations         creation , a dynamic expression execution , a dynamic func
    includes modifying a source code, a bytecode, an interme-              tion creation , or a dynamic function execution . In further
    diate code, a compiled code , an interpreted code, a translated        embodiments, the executing the first one or more instruction
    code , a runtime code, an assembly code , or a machine code . 40 sets for operating the device correlated with the first collec
    In further embodiments, the executing the first one or more            tion of object representations includes adding or inserting
    instruction sets for operating the device correlated with the          additional code into a code of an application . In further
    first collection of object representations includes modifying          embodiments , the executing the first one or more instruction
    at least one of: the memory unit , a register of a processor          s ets for operating the device correlated with the first collec
    circuit , a storage , or a repository where instruction sets are 45 tion of object representations includes at least one of:
    stored or used. In further embodiments , the executing the            modifying , removing , rewriting , or overwriting a code of an
    first one or more instruction sets for operating the device            application . In further embodiments, the executing the first
    correlated with the first collection of object representations         one or more instruction sets for operating the device corre
    includes modifying one or more instruction sets for operat-            lated with the first collection of object representations
    ing an application or an object of the application . In further 50 includes at least one of: branching , redirecting , extending, or
    embodiments , the executing the first one or more instruction         hot swapping a code of an application . The branching or
    sets for operating the device correlated with the first collec        redirecting the code may include inserting at least one of: a
    tion of object representations includes modifying at least one        branch , a jump, or a means for redirecting an execution . In
    of: an element of a processor circuit, an element of the               further embodiments, the executing the first one or more
   device , a virtual machine , a runtime engine , an operating 55 instruction sets for operating the device correlated with the
    system , an execution stack , a program counter, or a user             first collection ofobject representations includes implement
    input. In further embodiments, the executing the first one or         ing a user 's knowledge , style , or methodology of operating
   more instruction sets for operating the device correlated with          the device in a circumstance . In further embodiments , the
    the first collection of object representations includes modi           executing the first one or more instruction sets for operating
    fying one or more instruction sets at a source code write 60 the device correlated with the first collection of object
   time, a compile time, an interpretation time, a translation            representations includes executing the first one or more
   time, a linking time, a loading time, or a runtime. In further         instruction sets for operating the device correlated with the
    embodiments , the executing the first one or more instruction    first collection of object representations via an interface . The
    sets for operating the device correlated with the first collec - interface may include a modification interface .
    tion of object representations includes modifying one or 65         In certain embodiments , the operations of the non -tran
   more code segments , lines of code , statements, instructions,          sitory computer storage medium and /or the method further
    functions, routines, subroutines , or basic blocks. In further         comprise : receiving at least one extra information . In further
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 58 of 2562 PageID #: 12929


                                                         US 10 ,452 , 974 B1
                                  23                                                                   24
    embodiments, the operations of the non -transitory computer         and the first collection of object representations . The opera
    storage medium and /or the method further comprise : learn          tions may further comprise : causing, by the first processor
    ing the first collection of object representations correlated       circuit of the one or more processor circuits , an execution ,
   with the at least one extra information .                            by a second processor circuit of the one or more processor
       In some embodiments , the operations of the non - transi- 5 circuits, of the first one or more instruction sets for operating
    tory computer storage medium and/ or the method further the device correlated with the first collection of object
    comprise : presenting, via a user interface , a user with an        representations, the causing performed in response to the
    option to execute the first one or more instruction sets for        anticipating , by the first processor circuit of the one or more
    operating the device correlated with the first collection of  processor circuits , the first one or more instruction sets for
    object representations.                                    10 operating the device correlated with the first collection of
       In certain embodiments, the operations of the non -tran    object representations based on at least a partial match
    sitory computer storage medium and/ or the method further           between the new collection of object representations and the
    comprise : receiving , via a user interface , a user' s selection   first collection of object representations, wherein the device
    to execute the first one or more instruction sets for operating performs one or more operations defined by the first one or
    the device correlated with the first collection of object 15 more instruction sets for operating the device correlated with
    representations .                                               the first collection of object representations, the one or more
       In some embodiments , the operations of the non -transi-     operations by the device performed in response to the
    tory computer storage medium and/ or the method further         execution .
    comprise: rating the executed first one or more instruction        In some aspects, the disclosure relates to a method com
    sets for operating the device correlated with the first collec - 20 prising: (a ) receiving a first collection of object representa
   tion of object representations .                                     tions by a first processor circuit, the first collection of object
      In certain embodiments, the operations of the non -tran -         representations including one or more representations of
    sitory computer storagemedium and/or the method further             objects detected by a sensor. The method may further
    comprise : presenting, via a user interface , a user with an   comprise : (b ) receiving a first one or more instruction sets
    option to cancel the execution of the executed first one or 25 for operating a device by the first processor circuit . The
   more instruction sets for operating the device correlated with  method may further comprise : ( c ) learning the first collec
    the first collection of object representations.                     tion of object representations correlated with the first one or
       In some embodiments , the operations of the non - transi -        more instruction sets for operating the device , the learning
    tory computer storage medium and /or the method further              of ( c ) performed by the first processor circuit . The method
    comprise : receiving , via an input device , a user ' s operating 30 may further comprise : ( d ) receiving a new collection of
    directions, the user ' s operating directions for instructing a     object representations by the first processor circuit, the new
   processor circuit on how to operate the device .                     collection of object representations including one or more
      In certain embodiments , the operations of the non - tran         representations of objects detected by the sensor. The
    sitory computer storagemedium and/ or the method further            method may further comprise : (e ) anticipating the first one
    comprise : receiving a second collection of object represen - 35 or more instruction sets for operating the device correlated
    tations, the second collection of object representations            with the first collection of object representations based on at
    including one or more representations ofobjects detected by         least a partial match between the new collection of object
    the sensor receiving a second one or more instruction sets for      representations and the first collection of object representa
    operating the device ; and learning the second collection of        tions, the anticipating of (e ) performed by the first processor
    object representations correlated with the second one or 40 circuit . Themethod may further comprise : (f ) executing , by
   more instruction sets for operating the device .                     a second processor circuit, the first one or more instruction
      In some aspects , the disclosure relates to a non -transitory     sets for operating the device correlated with the first collec
    computer storage medium having a computer program                   tion of object representations, the executing of (f) performed
    stored thereon , the program including instructions that when       in response to the anticipating of ( e ). The method may
    executed by one or more processor circuits cause the one or 45 further comprise : ( g ) performing, by the device , one or more
   more
   m     processor circuits to perform operations comprising:           operations defined by the first one or more instruction sets
   receiving, by a first processor circuit of the one or more           for operating the device correlated with the first collection of
   processor circuits , a first collection of object representations, object representations, the one or more operations by the
   the first collection of object representations including one or    device performed in response to the executing of ( f) .
   more representations of objects detected by a sensor. The 50          The operations or steps of the non - transitory computer
    operations may further comprise : receiving , by the first          storage medium and /or the method may be performed by
    processor circuit of the one or more processor circuits , a first   any of the elements of the above described systems as
    one or more instruction sets for operating a device . The           applicable . The non -transitory computer storage medium
   operations may further comprise : learning, by the first and /or the method may include any of the operations, steps,
   processor circuit of the one or more processor circuits , the 55 and embodiments of the above described systems, non
    first collection of object representations correlated with the transitory computer storage media , and /or methods as appli
   first one or more instruction sets for operating the device .    cable .
    The operations may further comprise: receiving, by the first      In some aspects, the disclosure relates to a system for
    processor circuit of the one ormore processor circuits, a new       learning a device 's circumstances for autonomous device
    collection of object representations, the new collection of 60 operating. The system may be implemented at least in part
    object representations including one or more representations        on one or more computing devices . In some embodiments ,
    of objects detected by the sensor. The operationsmay further        the system comprises : a processor circuit configured to
    comprise : anticipating, by the first processor circuit of the      execute instruction sets for operating a device . The system
    one or more processor circuits , the first one or more instruc -    may further comprise : a memory unit configured to store
    tion sets for operating the device correlated with the first 65 data . The system may further comprise : a sensor configured
    collection of object representationsbased on at least a partial     to detect objects . The system may further comprise : an
   match between the new collection of object representations           artificial intelligence unit. The artificial intelligence unit
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 59 of 2562 PageID #: 12930


                                                        US 10 ,452 , 974 B1
                                  25                                                                  26
   may be configured to : receive a first collection of object         first collection of object representations. The artificial intel
    representations, the first collection of object representations    ligence unit may be further configured to : cause the proces
    including one or more representations of objects detected by       sor circuit to execute the first one or more instruction sets for
    the sensor. The artificial intelligence unit may be further        operating the device correlated with the first collection of
    configured to : receive a first one or more instruction sets for 5 object representations, the causing performed in response to
    operating the device. The artificial intelligence unit may be      the anticipating of the artificial intelligence unit, wherein the
    further configured to : learn the first collection of object device performs one or more operations defined by the first
    representations correlated with the first one or more instruc       one or more instruction sets for operating the device corre
    tion sets for operating the device .                                lated with the first collection of object representations, the
       In some aspects , the disclosure relates to a non -transitory 10 one or more operations performed in response to the execut
    computer storage medium having a computer program                   ing by the processor circuit.
    stored thereon, the program including instructions that when         In some aspects, the disclosure relates to a non - transitory
    executed by one or more processor circuits cause the one or        computer storage medium having a computer program
   more processor circuits to perform operations comprising:           stored thereon , the program including instructions thatwhen
    receiving a first collection of object representations, the first 15 executed by one or more processor circuits cause the one or
    collection of object representations including one or more         more processor circuits to perform operations comprising:
    representations of objects detected by a sensor. The opera -       accessing a memory unit that comprises a plurality of
    tions may further comprise: receiving a first one or more     collections of object representations correlated with one or
    instruction sets for operating a device . The operations may more instruction sets for operating a device , the plurality of
    further comprise : learning the first collection of object 20 collections of object representations correlated with one or
    representations correlated with the first one or more instruc      more instruction sets for operating the device including a
    tion sets for operating the device .                                first collection of object representations correlated with a
       In some aspects , the disclosure relates to a method com -       first one or more instruction sets for operating the device .
    prising: (a ) receiving a first collection of object representa     The operations may further comprise: receiving a new
    tions by a processor circuit, the first collection of object 25 collection of object representations , the new collection of
   representations including one or more representations of            object representations including one or more representations
   objects detected by a sensor. The method may further                of objects detected by a sensor. The operations may further
    comprise : ( b ) receiving a first one or more instruction sets    comprise: anticipating the first one or more instruction sets
   for operating a device by the processor circuit . The method    for operating the device correlated with the first collection of
   may further comprise : (c ) learning the first collection of 30 object representations based on at least a partial match
    object representations correlated with the first one or more       between the new collection of object representations and the
    instruction sets for operating the device , the learning of (c )    first collection of object representations . The operations may
    performed by the processor circuit .                               further comprise : causing an execution of the first one or
       The operations or steps of the non - transitory computer        more instruction sets for operating the device correlated with
    storage medium and /or the method may be performed by 35 the first collection of object representations, the causing
    any of the elements of the above described systems as              performed in response to the anticipating the first one or
    applicable . The non -transitory computer storage medium           more instruction sets for operating the device correlated with
    and / or themethod may include any of the operations, steps,       the first collection of object representations based on at least
    and embodiments of the above described systems, non -               a partial match between the new collection of object repre
    transitory computer storage media , and / or methods as appli- 40 sentations and the first collection of object representations,
    cable .                                                            wherein the device performs one or more operations defined
      In some aspects , the disclosure relates to a system for         by the first one or more instruction sets for operating the
    using a device's circumstances for autonomous device oper -        device correlated with the first collection of object repre
    ating. The system may be implemented at least in part on one        sentations, the one or more operations by the device per
    or more computing devices. In some embodiments , the 45 formed in response to the execution .
    system comprises: a processor circuit configured to execute           In some aspects, the disclosure relates to a method com
    instruction sets for operating a device . The system may           prising : ( a ) accessing a memory unit that comprises a
    further comprise : a memory unit configured to store data .        plurality of collections of object representations correlated
    The system may further comprise : a sensor configured to           with one or more instruction sets for operating a device , the
   detect objects . The system may further comprise : an artifi- 50 plurality of collections of object representations correlated
    cial intelligence unit. The artificial intelligence unit may be    with one or more instruction sets for operating the device
    configured to : access the memory unit that comprises a            including a first collection of object representations corre
    plurality of collections of object representations correlated      lated with a first one or more instruction sets for operating
   with one or more instruction sets for operating the device , the device , the accessing of (a ) performed by a processor
   the plurality of collections of object representations corre - 55 circuit . The method may further comprise : (b ) receiving a
   lated with one or more instruction sets for operating the new collection of object representations by the processor
    device including a first collection of object representations      circuit, the new collection of object representations includ
    correlated with a first one or more instruction sets for           ing one or more representations of objects detected by a
    operating the device. The artificial intelligence unit may be      sensor. The method may further comprise : (c ) anticipating
    further configured to : receive a new collection of object 60 the first one or more instruction sets for operating the device
    representations , the new collection of object representations correlated with the first collection of object representations
    including one or more representations of objects detected by   based on at least a partial match between the new collection
    the sensor. The artificial intelligence unit may be further        of object representations and the first collection of object
    configured to : anticipate the first one ormore instruction sets   representations , the anticipating of (c ) performed by the
    for operating the device correlated with the first collection of 65 processor circuit. The method may further comprise : (d )
    object representations based on at least a partial match            executing the first one or more instruction sets for operating
    between the new collection of object representations and the the device correlated with the first collection of object
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 60 of 2562 PageID #: 12931


                                                         US 10 ,452 , 974 B1
                                                                                                        28
    representations , the executing of (d ) performed in response         collections of object representations includes one or more
    to the anticipating of (c ). The method may further comprise :        collections of representations of objects detected by the
    ( e ) performing , by the device , one or more operations             sensor over time. In further embodiments , the first or the
    defined by the first one or more instruction sets for operating       new stream of collections of object representations includes
    the device correlated with the first collection of object 5 one or more collections of representations of objects in the
   representations, the one or more operations by the device              device 's surrounding. In further embodiments , the first or
   performed in response to the executing of ( d ).                       the new stream of collections of object representations
       The operations or steps of the non-transitory computer             includes one or more collections of representations of
    storage medium and /or the method may be performed by                 objects in a remote device ' s surrounding. In further embodi
   any of the elements of the above described systems as 10 ments , an object representation of a stream of collections of
    applicable . The non -transitory computer storage medium              object representations includes one or more object proper
    and / or the method may include any of the operations, steps,         ties. In further embodiments , the first or the new stream of
    and embodiments of the above described systems, non                   collections of object representations includes one or more
    transitory computer storage media, and /or methods as appli           object properties . In further embodiments , the first stream of
    cable .                                                            15 collections of object representations includes a comparative
       In some aspects, the disclosure relates to a system for            stream of collections of object representations whose at least
    learning and using a device 's circumstances for autonomous           one portion can be used for comparisons with at least one
    device operating. The system may be implemented at least              portion of streams of collections of object representations
   in part on one ormore computing devices. In some embodi-        subsequent to the first stream of collections of object rep
   ments, the system comprises : a processor circuit configured 20 resentations , the streams of collections of object represen
   to execute instruction sets for operating a device . The system tations subsequent to the first stream of collections of object
   may further comprise : a memory unit configured to store               representations comprising the new stream of collections of
   data . The system may further comprise : a sensor configured           object representations . In further embodiments , the first
   to detect objects . The system may further comprise : an               stream of collections of object representations includes a
    artificial intelligence unit . The artificial intelligence unit 25 comparative stream of collections of object representations
   may be configured to : receive a first stream of collections of        that can be used for comparisons with the new stream of
    object representations, the first stream of collections of           collections of object representations. In further embodi
    object representations including one or more collections of          ments , the new stream of collections of object representa
    representations of objects detected by the sensor. The arti           tions includes an anticipatory stream of collections of object
    ficial intelligence unit may be further configured to : receive 30 representations whose correlated one or more instruction
    a first one or more instruction sets for operating the device .       sets can be used for anticipation of one or more instruction
    The artificial intelligence unit may be further configured to :       sets to be executed by the processor circuit.
    learn the first stream of collections of object representations          In some embodiments , the first one or more instruction
    correlated with the first one or more instruction sets for            sets for operating the device include one or more instruction
    operating the device. The artificial intelligence unit may be 35 sets that temporally correspond to the first stream of collec
    further configured to : receive a new stream of collections of        tions of object representations. In further embodiments , the
    object representations, the new stream of collections of              one or more instruction sets that temporally correspond to
    object representations including one or more collections of           the first stream of collections of object representations
    representations of objects detected by the sensor. The arti-          include one or more instruction sets executed at a time of
    ficial intelligence unit may be further configured to : antici- 40 generating the first stream of collections of object represen
    pate the first one or more instruction sets for operating the         tations . In further embodiments, the one or more instruction
    device correlated with the first stream of collections of             sets that temporally correspond to the first stream of collec
    object representations based on at least a partial match              tions of object representations include one or more instruc
    between the new stream of collections of object represen              tion sets executed prior to generating the first stream of
    tations and the first stream of collections of object repre - 45 collections of object representations. In further embodi
    sentations . The artificial intelligence unit may be further         ments , the one or more instruction sets that temporally
    configured to : cause the processor circuit to execute the first      correspond to the first stream of collections of object rep
    one or more instruction sets for operating the device corre -         resentations include one or more instruction sets executed
    lated with the first stream of collections of object represen -       within a threshold period of time prior to generating the first
    tations, the causing performed in response to the anticipating 50 stream of collections of object representations. In further
    of the artificial intelligence unit , wherein the device per -        embodiments , the one or more instruction sets that tempo
   forms one or more operations defined by the first one or               rally correspond to the first stream of collections of object
   more instruction sets for operating the device correlated with         representations include one or more instruction sets
    the first stream of collections of object representations , the       executed subsequent to generating the first stream of col
    one or more operations performed in response to the execut- 55 lections of object representations. In further embodiments ,
    ing by the processor circuit.                                  the one or more instruction sets that temporally correspond
       In certain embodiments , each collection of object repre -         to the first stream of collections of object representations
    sentations includes one or more representations of objects            include one or more instruction sets executed within a
    detected by the sensor at a time. In further embodiments,             threshold period of time subsequent to generating the first
    each collection of object representations includes one or 60 stream of collections of object representations. In further
   more of object representations . In further embodiments ,     embodiments , the one or more instruction sets that tempo
    each collection of object representations includes or is              rally correspond to the first stream of collections of object
    associated with a time stamp, an order, or a time related             representations include one or more instruction sets
    information . In further embodiments , the first stream of            executed within a threshold period of time prior to gener
    collections of object representations includes one or more 65 ating the first stream of collections of object representations
    collections of representations of objects detected by the             or a threshold period of time subsequent to generating the
    sensor over time. In further embodiments, the new stream of           first stream of collections of object representations .
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 61 of 2562 PageID #: 12932


                                                        US 10 ,452 , 974 B1
                                  29                                                                  30
      In certain embodiments, the first stream of collections of       lated with one or more instruction sets for operating the
    object representations correlated with the first one or more       device of the plurality of streams of collections of object
    instruction sets for operating the device include a knowledge      representations correlated with one or more instruction sets
    of how the device operated in a circumstance . In further           for operating the device is included in a neuron , a node, a
    embodiments , the first stream of collections of object rep - 5 vertex , or an element of a knowledgebase . The knowledge
   resentations correlated with the first one or more instruction      base may include a neural network , a graph , a collection of
    sets for operating the device are included in a neuron , a         sequences , a sequence , a collection of knowledge cells , a
    node, a vertex , or an element of a knowledgebase . In further     knowledge structure , or a data structure . Some of the neu
    embodiments, the knowledgebase includes a neural net -             rons , nodes, vertices, or elements may be interconnected . In
   work , a graph , a collection of sequences , a sequence , a 10 further embodiments , the plurality of streams of collections
    collection of knowledge cells , a knowledge structure , or a       of object representations correlated with one or more
    data structure . In further embodiments, some of the neurons,      instruction sets for operating the device include a user 's
   nodes, vertices, or elements are interconnected . In further        knowledge , style , or methodology of operating the device in
    embodiments, the first stream of collections of object rep -       circumstances . In further embodiments, the plurality of
    resentations correlated with the first one or more instruction 15 streams of collections of object representations correlated
    sets for operating the device are structured into a knowledge      with one or more instruction sets for operating the device are
    cell . In further embodiments , the knowledge cell is included     stored on a remote computing device or a remote computing
    in a neuron , a node, a vertex , or an element of a knowl-         system . In further embodiments , the plurality of streams of
    edgebase . The knowledgebase may include a neural net-             collections of object representations correlated with one or
   work , a graph , a collection of sequences , a sequence , a 20 more instruction sets for operating the device include an
    collection of knowledge cells, a knowledge structure , or a        artificial intelligence system for knowledge structuring, stor
    data structure. Some of the neurons, nodes, vertices, or          ing, or representation . The artificial intelligence system for
    elements may be interconnected . In further embodiments,           knowledge structuring, storing, or representation may
    the learning the first stream of collections of object repre -     include at least one of: a deep learning system , a supervised
    sentations correlated with the first one or more instruction 25 learning system , an unsupervised learning system , a neural
    sets for operating the device includes correlating the first    network , a search -based system , an optimization -based sys
    stream of collections of object representations with the first     tem , a logic -based system , a fuzzy logic -based system , a
    one or more instruction sets for operating the device . In         tree -based system , a graph -based system , a hierarchical
    further embodiments, the correlating the first stream of           system , a symbolic system , a sub -symbolic system , an
    collections of object representations with the first one or 30 evolutionary system , a genetic system , a multi-agent system ,
    more instruction sets for operating the device includes            a deterministic system , a probabilistic system , or a statistical
    generating a knowledge cell, the knowledge cell comprising         system .
    the first stream of collections of object representations             In certain embodiments, the anticipating the first one or
    correlated with the first one or more instruction sets for         more instruction sets for operating the device correlated with
    operating the device . In further embodiments , the correlating 35 the first stream of collections of object representations based
   the first stream of collections of object representations with      on at least a partial match between the new stream of
   the first one or more instruction sets for operating the device     collections of object representations and the first stream of
    includes structuring a knowledge ofhow the device operated         collections of object representations includes comparing at
    in a circumstance . In further embodiments , the learning the      least one portion of the new stream of collections of object
    first stream of collections of object representations corre - 40 representations with at least one portion of the first stream of
   lated with the first one or more instruction sets for operating     collections of object representations. In further embodi
   the device includes learning a user 's knowledge , style , or       ments , the at least one portion of the new stream of collec
   methodology of operating the device in a circumstance .             tions of object representations include at least one collection
      In some embodiments, the learning the first stream of            of object representations, at least one object representation ,
    collections of object representations correlated with the first 45 or at least one object property of the new stream of collec
    one or more instruction sets for operating the device              tions of object representations. In further embodiments , the
    includes storing the first stream of collections of object         at least one portion of the first stream of collections of object
    representations correlated with the first one or more instruc -    representations include at least one collection of object
   tion sets for operating the device into the memory unit, the        representations , at least one object representation , or at least
    first stream of collections of object representations corre - 50 one object property of the first stream of collections of object
    lated with the first one or more instruction sets for operating    representations. In further embodiments, the anticipating the
   the device being part of a plurality of streams of collections      first one or more instruction sets for operating the device
   of object representations correlated with one or more               correlated with the first stream of collections of object
    instruction sets for operating the device stored in the            representations based on at least a partialmatch between the
   memory unit. In further embodiments, the plurality of 55 new stream of collections of object representations and the
   streams of collections of object representations correlated first stream of collections of object representations includes
   with one or more instruction sets for operating the device  comparing at least one collection of object representations
    include a neural network , a graph , a collection of sequences,    from the new stream of collections of object representations
    a sequence , a collection of knowledge cells , a knowledge         with at least one collection of object representations from
   base , a knowledge structure , or a data structure . In further 60 the first stream of collections of object representations. In
   embodiments , the plurality of streams of collections of           further embodiments , the comparing at least one collection
   object representations correlated with one or more instruc -       of object representations from the new stream of collections
    tion sets for operating the device are organized into a neural of object representations with at least one collection of
    network , a graph , a collection of sequences, a sequence , a  object representations from the first stream of collections of
    collection of knowledge cells, a knowledgebase, a knowl- 65 object representations includes comparing at least one object
    edge structure , or a data structure . In further embodiments,     representation of the at least one collection of object repre
    each stream of collections of object representations corre         sentations from the new stream of collections of object
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 62 of 2562 PageID #: 12933


                                                         US 10 ,452 ,974 B1
                                  31                                                                   32
    representations with at least one object representation of the        object representations may be determined factoring in at
    at least one collection of object representations from the first      least one of: an importance of a collection of object repre
    stream of collections of object representations. The compar-          sentations, an order of a collection of object representations,
    ing at least one object representation of the at least one            a threshold for a similarity in a collection of object repre
    collection of object representations from the new stream of 5 sentations, or a threshold for a difference in a collection of
    collections of object representations with at least one object        object representations. In further embodiments, the deter
    representation of the at least one collection of object repre -      mining that there is at least a partialmatch between the new
    sentations from the first stream of collections of object            stream of collections of object representations and the first
   representations may include comparing at least one object              stream of collections of object representations includes
   property of the at least one object representation of the at 10 determining that a number or a percentage of matching or
   least one collection of object representations from the new           partially matching object representations from the new
    stream of collections of object representations with at least         stream of collections of object representations and from the
    one object property of the at least one object representation         first stream of collections of object representations exceeds
    of the at least one collection of object representations from         a threshold number or threshold percentage . The matching
    the first stream of collections of object representations.         15 or partially matching object representations from the new
      In some embodiments , the anticipating the first one or             stream of collections of object representations and from the
   more instruction sets for operating the device correlated with         first stream of collections of object representations may be
    the first stream of collections of object representations based       determined factoring in at least one of: an association of an
    on at least a partial match between the new stream of                 object representation with a collection of object representa
    collections of object representations and the first stream of 20 tions, a type of an object representation , an importance of an
   collections of object representations includes determining       object representation , a threshold for a similarity in an object
   that there is at least a partial match between the new stream    representation , or a threshold for a difference in an object
   of collections of object representations and the first stream    representation . In further embodiments, the determining that
   of collections of object representations. In further embodi- there is at least a partialmatch between the new stream of
   ments, the determining that there is at least a partial match 25 collections of object representations and the first stream of
   between the new stream of collections of object represen -             collections of object representations includes determining
    tations and the first stream of collections of object repre           that a number or a percentage of matching or partially
    sentations includes determining that there is at least a partial     matching object properties from the new stream of collec
   match between one or more portions of the new stream of tions of object representations and from the first stream of
   collections of object representations and one or more por - 30 collections of object representations exceeds a threshold
   tions of the first stream of collections of object representa  number or threshold percentage . The matching or partially
    tions . In further embodiments, the determining that there is        matching object properties from the new stream of collec
    at least a partial match between the new stream of collec            t ions of object representations and from the first stream of
    tions of object representations and the first stream of col          collections of object representations may be determined
    lections of object representations includes determining that 35 factoring in at least one of : an association of an object
    a similarity between at least one portion of the new stream     property with an object representation , an association of an
    of collections of object representations and at least one             object property with a collection of object representations, a
    portion of the first stream of collections of object represen -       category of an object property , an importance of an object
   tations exceeds a similarity threshold . In further embodi-      property , a threshold for a similarity in an object property , or
   ments, the determining that there is at least a partial match 40 a threshold for a difference in an object property . In further
    between the new stream of collections of object represen -            embodiments , determining that there is at least a partial
    tations and the first stream of collections of object repre -         match between the new stream of collections of object
    sentations includes determining a substantial similarity              representations and the first stream of collections of object
    between at least one portion of the new stream of collections         representations includes determining that there is at least a
    of object representations and at least one portion of the first 45 partial match between at least one collection of object
    stream of collections of object representations . The substan -       representations from the new stream of collections of object
    tial similarity may be achieved when a similarity between             representations and at least one collection of object repre
    the at least one portion of the new stream of collections of          sentations from the first stream of collections of object
    object representations and the at least one portion of the first      representations . The determining that there is at least a
    stream of collections of object representations exceeds a 50 partial match between at least one collection of object
    similarity threshold . The substantial similarity may be              representations from the new stream of collections of object
    achieved when a number or a percentage of matching or                 representations and at least one collection of object repre
    partially matching portions of the new stream of collections          sentations from the first stream of collections of object
    of object representations and portions of the first stream of         representationsmay include determining that there is at least
    collections of object representations exceeds a threshold 55 a partial match between at least one object representation of
   number or threshold percentage . In further embodiments , the          the at least one collection of object representations from the
    determining that there is at least a partial match between the       new stream of collections of object representations and at
    new stream of collections of object representations and the           least one object representation of the at least one collection
    first stream of collections of object representations includes of object representations from the first stream of collections
    determining that a number or a percentage ofmatching or 60 of object representations. The determining that there is at
    partially matching collections of object representations from  least a partial match between at least one object represen
    the new stream of collections of object representations and tation of the at least one collection of object representations
    from the first stream of collections of object representations        from the new stream of collections of object representations
    exceeds a threshold number or threshold percentage . The              and at least one object representation of the at least one
   matching or partially matching collections of object repre - 65 collection of object representations from the first stream of
    sentations from the new stream of collections of object               collections of object representations may include determin
    representations and from the first stream of collections of           ing that there is at least a partial match between at least one
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 63 of 2562 PageID #: 12934


                                                         US 10 ,452 ,974 B1
                                  33                                                                   34
   object property of the at least one object representation of          the device correlated with the first stream of collections of
   the at least one collection of object representations from the        object representations includes causing the logic circuit to
   new stream of collections of object representations and at           execute the first one or more instruction sets for operating
    least one object property of the at least one object repre -        the device correlated with the first stream of collections of
    sentation of the at least one collection of object representa - 5 object representations. In further embodiments , the logic
    tions from the first stream of collections of object represen -   circuit includes a microcontroller. In further embodiments ,
    tations.                                                          the causing the logic circuit to execute the first one or more
       In some embodiments , the causing the processor circuit to        instruction sets for operating the device correlated with the
    execute the first one or more instruction sets for operating         first stream of collections of object representations includes
    the device correlated with the first stream of collections of 10 modifying an element of the logic circuit . In further embodi
    object representations includes causing the processor circuit       ments , the causing the logic circuit to execute the first one
    to execute the first one or more instruction sets for operating     or more instruction sets for operating the device correlated
    the device correlated with the first stream of collections of       with the first stream of collections of object representations
   object representations instead of or prior to an instruction set includes inserting the first one or more instruction sets for
   that would have been executed next. In further embodi- 15 operating the device correlated with the first stream of
   ments, the causing the processor circuit to execute the first collections of object representations into an element of the
    one or more instruction sets for operating the device corre -       logic circuit. In further embodiments, the causing the logic
    lated with the first stream of collections of object represen -     circuit to execute the first one or more instruction sets for
    tations includes modifying one or more instruction sets of          operating the device correlated with the first stream of
    the processor circuit . In further embodiments , the causing 20 collections of object representations includes redirecting the
    the processor circuit to execute the first one or more instruc -    logic circuit to the first one or more instruction sets for
    tion sets for operating the device correlated with the first         operating the device correlated with the first stream of
    stream of collections of object representations includes             collections of object representations. In further embodi
   modifying a register or an element of the processor circuit.         ments , the causing the logic circuit to execute the first one
    In further embodiments , the causing the processor circuit to 25 or more instruction sets for operating the device correlated
    execute the first one or more instruction sets for operating     with the first stream of collections of object representations
   the device correlated with the first stream of collections of        includes replacing inputs into the logic circuit with the first
   object representations includes inserting the first one or           one or more instruction sets for operating the device corre
   more instruction sets for operating the device correlated with       lated with the first stream of collections of object represen
    the first stream of collections of object representations into 30 tations . In further embodiments, the causing the logic circuit
    a register or an element of the processor circuit. In further to execute the first one or more instruction sets for operating
    embodiments , the causing the processor circuit to execute          the device correlated with the first stream of collections of
    the first one or more instruction sets for operating the device     object representations includes replacing outputs from the
    correlated with the first stream of collections of object           logic circuit with the first one or more instruction sets for
    representations includes redirecting the processor circuit to 35 operating the device correlated with the first stream of
   the first one or more instruction sets for operating the device       collections of object representations.
    correlated with the first stream of collections of object              In some embodiments , the causing the processor circuit to
    representations. In further embodiments , the causing the           execute the first one or more instruction sets for operating
    processor circuit to execute the first one or more instruction      the device correlated with the first stream of collections of
    sets for operating the device correlated with the first stream 40 object representations includes causing an application for
    of collections of object representations includes redirecting        operating the device to execute the first one or more instruc
    the processor circuit to one ormore alternate instruction sets ,    tion sets for operating the device correlated with the first
    the alternate instruction sets comprising the first one or more     stream of collections of object representations, the applica
    instruction sets for operating the device correlated with the        tion running on the processor circuit.
    first stream of collections of object representations. In fur- 45      In certain embodiments , the system further comprises : an
    ther embodiments , the causing the processor circuit to              application including instruction sets for operating the
    execute the first one or more instruction sets for operating        device , the application running on the processor circuit,
    the device correlated with the first stream of collections of       wherein the causing the processor circuit to execute the first
    object representations includes transmitting, to the processor       one or more instruction sets for operating the device corre
    circuit for execution , the first one ormore instruction sets for 50 lated with the first stream of collections of object represen
    operating the device correlated with the first stream of            tations includes modifying the application .
    collections of object representations. In further embodi-              In some embodiments , the causing the processor circuit to
   ments , the executing the first one or more instruction sets for     execute the first one or more instruction sets for operating
    operating the device correlated with the first stream of            the device correlated with the first stream of collections of
    collections of object representations includes issuing an 55 object representations includes redirecting an application to
    interrupt to the processor circuit and executing the first one the first one or more instruction sets for operating the device
    or more instruction sets for operating the device correlated        correlated with the first stream of collections of object
    with the first stream of collections of object representations      representations , the application running on the processor
    following the interrupt. In further embodiments, the causing         circuit . In further embodiments , the causing the processor
    the processor circuit to execute the first one or more instruc - 60 circuit to execute the first one or more instruction sets for
    tion sets for operating the device correlated with the first        operating the device correlated with the first stream of
   stream of collections of object representations includes             collections of object representations includes redirecting an
   modifying an element that is part of, operating on , or              application to one or more alternate instruction sets , the
    coupled to the processor circuit.                               application running on the processor circuit, the alternate
       In certain embodiments , the processor circuit includes a 65 instruction sets comprising the first one or more instruction
    logic circuit, and wherein the causing the processor circuit        s ets for operating the device correlated with the first stream
    to execute the first one ormore instruction sets for operating      of collections of object representations. In further embodi
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 64 of 2562 PageID #: 12935


                                                         US 10 ,452 , 974 B1
                                35                                                                    36
   ments , the causing the processor circuit to execute the first       instruction sets for operating the device correlated with the
    one or more instruction sets for operating the device corre         first stream of collections of object representations includes
    lated with the first stream of collections of object represen -     utilizing an assembly language . In further embodiments , the
    tations includes modifying one or more instruction sets of an       causing the processor circuit to execute the first one or more
   application , the application running on the processor circuit . 5 instruction sets for operating the device correlated with the
   In further embodiments , the causing the processor circuit to     first stream of collections of object representations includes
   execute the first one or more instruction sets for operating utilizing at least one of: a metaprogramming , a self -modi
   the device correlated with the first stream of collections of     fying code , or an instruction set modification tool. In further
   object representations includes modifying a source code , a       embodiments , the causing the processor circuit to execute
   bytecode , an intermediate code , a compiled code , an inter - 10 the first one or more instruction sets for operating the device
   preted code , a translated code , a runtime code , an assembly    correlated with the first stream of collections of object
    code , or a machine code . In further embodiments, the representations includes utilizing at least one of: just in time
    causing the processor circuit to execute the first one or more    (JIT ) compiling, JIT interpretation , JIT translation , dynamic
    instruction sets for operating the device correlated with the recompiling, or binary rewriting . In further embodiments,
    first stream of collections of object representations includes 15 the causing the processor circuit to execute the first one or
    modifying at least one of: thememory unit, a register of the more instruction sets for operating the device correlated with
    processor circuit, a storage, or a repository where instruction     the first stream of collections of object representations
    sets are stored or used . In further embodiments , the causing      includes utilizing at least one of: a dynamic expression
    the processor circuit to execute the first one or more instruc -    creation , a dynamic expression execution , a dynamic func
    tion sets for operating the device correlated with the first 20 tion creation , or a dynamic function execution . In further
    stream of collections of object representations includes            embodiments, the causing the processor circuit to execute
   modifying one or more instruction sets for operating an              the first one or more instruction sets for operating the device
    application or an object of the application , the application       correlated with the first stream of collections of object
    running on the processor circuit. In further embodiments , the      representations includes adding or inserting additional code
    causing the processor circuit to execute the first one or more 25 into a code of an application , the application running on the
    instruction sets for operating the device correlated with the     processor circuit. In further embodiments , the causing the
    first stream of collections of object representations includes      processor circuit to execute the first one or more instruction
   modifying at least one of: an element of the processor          s ets for operating the device correlated with the first stream
   circuit , an element of the device, a virtual machine , a        of collections of object representations includes at least one
   runtime engine, an operating system , an execution stack , a 30 of: modifying, removing , rewriting, or overwriting a code of
    program counter , or a user input. In further embodiments ,         an application , the application running on the processor
   the causing the processor circuit to execute the first one or        circuit . In further embodiments , the causing the processor
   more instruction sets for operating the device correlated with       circuit to execute the first one or more instruction sets for
    the first stream of collections of object representations           operating the device correlated with the first stream of
    includes modifying one or more instruction sets at a source 35 collections of object representations includes at least one of:
    code write time, a compile time, an interpretation time, a          branching, redirecting, extending, or hot swapping a code of
    translation time, a linking time, a loading time, or a runtime.     an application , the application running on the processor
    In further embodiments , the causing the processor circuit to       circuit . The branching or redirecting the code may include
    execute the first one or more instruction sets for operating        inserting at least one of: a branch , a jump, or a means for
    the device correlated with the first stream of collections of 40 redirecting an execution . In further embodiments , the
    object representations includes modifying one or more code       executing the first one or more instruction sets for operating
    segments , lines of code, statements, instructions, functions,      the device correlated with the first stream of collections of
    routines, subroutines , or basic blocks. In further embodi-         object representations includes implementing a user' s
   ments, the causing the processor circuit to execute the first        knowledge , style , or methodology of operating the device in
    one or more instruction sets for operating the device corre - 45 a circumstance .
    lated with the first stream of collections of object represen -        In certain embodiments, the system further comprises : an
    tations includes a manual, an automatic , a dynamic , or a just     interface configured to cause execution of instruction sets ,
    in time ( JIT ) instrumentation of an application , the applica -   wherein the executing the first one or more instruction sets
    tion running on the processor circuit. In further embodi-           for operating the device correlated with the first stream of
   ments, the causing the processor circuit to execute the first 50 collections of object representations is caused by the inter
    one or more instruction sets for operating the device corre         face . The interface may include a modification interface .
    lated with the first stream of collections of object represen -        In some embodiments , the performing the one or more
    tations includes utilizing one or more of a .NET tool, a .NET       operations defined by the first one or more instruction sets
    application programming interface (API), a Java tool, a Java        for operating the device correlated with the first stream of
    API, an operating system tool, or an independent tool for 55 collections of object representations includes implementing
   modifying instruction sets . In further embodiments , the            a user 's knowledge , style , or methodology of operating the
   causing the processor circuit to execute the first one or more       device in a circumstance .
    instruction sets for operating the device correlated with the          In certain embodiments, the system further comprises : an
    first stream of collections of object representations includes      application running on the processor circuit.
   utilizing at least one of: a dynamic , an interpreted , or a 60         In some embodiments , the instruction sets for operating
    scripting programming language . In further embodiments ,           the device are part of an application for operating the device ,
   the causing the processor circuit to execute the first one or        the application running on the processor circuit.
   more instruction sets for operating the device correlated with          In certain embodiments, the system further comprises : an
    the first stream of collections of object representations         application for operating the device , the application running
    includes utilizing at least one of: a dynamic code , a dynamic 65 on the processor circuit . The application for operating the
    class loading, or a reflection . In further embodiments , the     device may include the instruction sets for operating the
   causing the processor circuit to execute the first one or more       device .
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 65 of 2562 PageID #: 12936


                                                        US 10,452 ,974 B1
                                  37                                                                  38
      In some embodiments, the artificial intelligence unit is             In some embodiments, the system further comprises : a
    further configured to : receive at least one extra information . user interface, wherein the artificial intelligence unit is
    In further embodiments , the at least one extra information      further configured to : receive , via the user interface, a user' s
    include one or more of: a time information , a location          selection to execute the first one ormore instruction sets for
    information , a computed information , or a contextual infor - 5 operating the device correlated with the first stream of
   mation . In further embodiments, the at least one extra               collections of object representations.
   information include one or more of: an information on an                In certain embodiments, the artificial intelligence unit is
    object, an information on an object representation , an infor        further configured to : rate the executed first one or more
    mation on a collection of object representations, an infor          instruction sets for operating the device correlated with the
   mation on a stream of collections of object representations , 10 rating
                                                                      first stream of collections of object representations . The
                                                                              the executed first one or more instruction sets for
   an information on a device ' s circumstance , an information       operating the device correlated with the first stream of
   on an instruction set, an information on an application , an       collections of object representations may include causing a
   information on the processor circuit, an information on the
                                                                      user
   device , or an information on an user. In further embodi 15 instruction   interface to display the executed first one or more
   ments, the artificial intelligence unit is further configured to : first stream sets for operating the device correlated with the
                                                                                     of collections of object representations along
   learn the first stream of collections of object representations with one or more rating values as options to be selected by
    correlated with the at least one extra information . The            a user. The rating the executed first one ormore instruction
    learning the first stream of collections of object representa sets for operating the device correlated with the first stream
    tions correlated with at least one extra information may 20 of collections of object representations may include rating
    include correlating the first stream of collections of object the executed first one or more instruction sets for operating
    representations with the at least one extra information . The the device correlated with the first stream of collections of
    learning the first stream of collections of object representa -     object representations without a user input.
    tions correlated with at least one extra information may               In some embodiments, the system further comprises: a
    include storing the first stream of collections of object 25 user interface, wherein the artificial intelligence unit is
   representations correlated with the at least one extra infor -       further configured to : cause the user interface to present a
   mation into the memory unit . In further embodiments , the           user with an option to cancel the execution of the executed
    anticipating the first one or more instruction sets for oper -      first one or more instruction sets for operating the device
    ating the device correlated with the first stream of collec         correlated with the first stream of collections of object
    tions of object representations based on at least a partial 30 representations. In further embodiments , the canceling the
    match between the new stream of collections of object               execution of the executed first one or more instruction sets
   representations and the first stream of collections of object        for operating the device correlated with the first stream of
   representations includes anticipating the first one or more          collections of object representations includes restoring the
    instruction sets for operating the device correlated with the       processor circuit or the device to a prior state . The restoring
    first stream of collections of object representations based on 35 the processor circuit or the device to a prior state may
    at least a partial match between an extra information corre -       include saving the state of the processor circuit or the device
    lated with the new stream of collections of object represen -       prior to executing the first one or more instruction sets for
    tations and an extra information correlated with the first          operating the device correlated with the first stream of
    stream of collections of object representations. The antici-        collections of object representations.
   pating the first one or more instruction sets for operating the 40      In certain embodiments, the system further comprises : an
    device correlated with the first stream of collections of           input device configured to receive a user 's operating direc
   object representations based on at least a partial match             tions, the user' s operating directions for instructing the
   between an extra information correlated with the new stream          processor circuit on how to operate the device .
    of collections of object representations and an extra infor-           In some embodiments, the autonomous device operating
   mation correlated with the first stream of collections of 45 includes a partially or a fully autonomous device operating .
    object representations may include comparing an extra           The partially autonomous device operating may include
    information correlated with the new stream of collections of executing the first one or more instruction sets for operating
    object representations and an extra information correlated      the device correlated with the first stream of collections of
    with the first stream of collections of object representations. object representations responsive to a user confirmation . The
    The anticipating the first one or more instruction sets for 50 fully autonomous device operating may include executing
    operating the device correlated with the first stream of the first one or more instruction sets for operating the device
    collections of object representations based on at least a       correlated with the first stream of collections of object
    partial match between an extra information correlated with          representations without a user confirmation .
    the new stream of collections of object representations and     in certain embodiments, the artificial intelligence unit is
    an extra information correlated with the first stream of 55 further configured to : receive a second stream of collections
    collections of object representations may include determin - of object representations, the second stream of collections of
    ing that a similarity between an extra information correlated       object representations including one or more collections of
   with the new stream of collections of object representations         representations of objects detected by the sensor ; receive a
    and an extra information correlated with the first stream of        second one or more instruction sets for operating the device ;
    collections of object representations exceeds a similarity 60 and learn the second stream of collections of object repre
    threshold .                                                   sentations correlated with the second one or more instruction
      In certain embodiments, the system further comprises : a          sets for operating the device . In further embodiments , the
    user interface , wherein the artificial intelligence unit is        second stream of collections of object representations
    further configured to : cause the user interface to present a       includes one or more collections of representations of
   user with an option to execute the first one or more instruc - 65 objects detected by the sensor over time. In further embodi
   tion sets for operating the device correlated with the first     m ents , the second stream of collections of object represen
   stream of collections of object representations.                  tations includes or is associated with a time stamp, an order,
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 66 of 2562 PageID #: 12937


                                                        US 10 ,452 , 974 B1
                                  39                                                                 40
    or a time related information. In further embodiments , the         one or more instruction sets for operating the device is stored
    learning the first stream of collections of object representa       into a second node of the neural network . The first node and
    tions correlated with the first one or more instruction sets for    the second nodemay be connected by a connection . The first
    operating the device and the learning the second stream of          nodemay be part of a first layer of the neural network and
    collections of object representations correlated with the 5 the second node may be part of a second layer of the neural
    second one or more instruction sets for operating the device   network . In further embodiments , the first stream of collec
    include creating a connection between the first stream of      tions of object representations correlated with the first one or
    collections of object representations correlated with the firstmore    instruction sets for operating the device is stored into
    one or more instruction sets for operating the device and the  a first  node of a graph and the second stream of collections
    second stream of collections of object representations cor- 10 of object   representations correlated with the second one or
    related with the second one or more instruction sets for           more instruction sets for operating the device is stored into
    operating the device . The connection may include or is
   associated with at least one of: an occurrence count, a            a second node of the graph . The first node and the second
   weight, a parameter , or a data . In further embodiments , the     node may be connected by a connection. In further embodi
   learning the first stream of collections of object representa - 15 ments , the first stream of collections of object representa
   tions correlated with the first one ormore instruction sets for tions correlated with the first one or more instruction sets for
                                                                        operating the device is stored into a first node of a sequence
    operating the device and the learning the second stream of
    collections of object representations correlated with the           and the second stream of collections of object representa
    second one ormore instruction sets for operating the device         tions correlated with the second one or more instruction sets
    include updating a connection between the first stream of 20 for operating the device is stored into a second node of the
    collections of object representations correlated with the first
                                                                  sequence .
    one or more instruction sets for operating the device and the   In some aspects, the disclosure relates to a non - transitory
    second stream of collections of object representations cor- computer storage medium having a computer program
    related with the second one or more instruction sets for stored thereon , the program including instructions that when
    operating the device . In further embodiments, the updating 25 executed by one or more processor circuits cause the one or
    the connection between the first stream of collections of more processor circuits to perform operations comprising :
    object representations correlated with the first one or more  receiving a first stream of collections of object representa
    instruction sets for operating the device and the second      tions, the first stream of collections of object representations
    stream of collections of object representations correlated    including one or more collections of representations of
    with the second one or more instruction sets for operating 30 objects detected by a sensor. The operations may further
    the device includes updating at least one of: an occurrence         comprise : receiving a first one or more instruction sets for
    count, a weight, a parameter, or a data included in or              operating a device . The operations may further comprise :
    associated with the connection . In further embodiments , the       learning the first stream of collections of object representa
    learning the first stream of collections of object representa
    tions correlated with the first one ormore instruction sets for 2535 operating
                                                                         tions
                                                                          10 correlated  with the first one ormore instruction sets for
                                                                                   the device . The operationsmay further comprise :
    operating the device includes storing the first stream of
    collections of object representations correlated with the first     receiving a new stream of collections of object representa
    one or more instruction sets for operating the device into a        tions, the new stream of collections of object representations
    first node of a knowledgebase , and wherein the learning the        including one or more collections of representations of
    second stream of collections of object representations cor - 40 objects detected by the sensor. The operations may further
    related with the second one or more instruction sets for            comprise : anticipating the first one or more instruction sets
   operating the device includes storing the second stream of           for operating the device correlated with the first stream of
    collections of object representations correlated with the           collections of object representations based on at least a
    second one or more instruction sets for operating the device  partial match between the new stream of collections of
    into a second node of the knowledgebase . The knowledge - 45 object representations and the first stream of collections of
    base may include a neural network , a graph , a collection of object representations . The operations may further com
   sequences, a sequence, a collection of knowledge cells, a            prise : causing an execution of the first one or more instruc
   knowledge structure , or a data structure . In further embodi -      tion sets for operating the device correlated with the first
   ments, the knowledgebase may be stored in the memory             stream of collections of object representations, the causing
   unit . The learning the first stream of collections of object 50 performed in response to the anticipating the first one or
    representations correlated with the first one ormore instruc -     more instruction sets for operating the device correlated with
    tion sets for operating the device and the learning the second      the first stream of collections of object representations based
    stream of collections of object representations correlated  on at least a partial match between the new stream of
    with the second one or more instruction sets for operating  collections of object representations and the first stream of
    the device may include creating a connection between the 55 collections of object representations, wherein the device
    first node and the second node . The learning the first stream     performs one or more operations defined by the first one or
    of collections of object representations correlated with the       more instruction sets for operating the device correlated with
    first one ormore instruction sets for operating the device and     the first stream of collections of object representations , the
    the learning the second stream of collections of object            one or more operations by the device performed in response
    representations correlated with the second one or more 60 to the execution .
    instruction sets for operating the device may include updat -        In certain embodiments , the receiving the first one or
    ing a connection between the first node and the second node .      more instruction sets for operating the device includes
    In further embodiments , the first stream of collections of         receiving the first one or more instruction sets for operating
    object representations correlated with the first one or more        the device from the one or more processor circuits or from
    instruction sets for operating the device is stored into a first 65 another one or more processor circuits . In further embodi
    node of a neural network and the second stream of collec -         ments , the execution of the first one ormore instruction sets
    tions of object representations correlated with the second         for operating the device correlated with the first stream of
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 67 of 2562 PageID #: 12938


                                                        US 10 ,452 , 974 B1
    collections of object representations is performed by the one         that would have been executed next. In further embodi
    or more processor circuits or by another one or more                  ments , the executing the first one or more instruction sets for
    processor circuits.                                                   operating the device correlated with the first stream of
       In some aspects, the disclosure relates to a method com            collections of object representations includes modifying one
   prising: ( a ) receiving a first stream of collections of object 5 or more instruction sets of a processor circuit . In further
    representations by a processor circuit , the first stream of          embodiments , the executing the first one or more instruction
    collections of object representations including one or more           sets for operating the device correlated with the first stream
    collections of representations of objects detected by a sen -         of collections of object representations includes modifying a
    sor. The method may further comprise : (b ) receiving a first         register or an element of a processor circuit . In further
    one or more instruction sets for operating a device by the 10 embodiments , the executing the first one or more instruction
    processor circuit. The method may further comprise : (c )             sets for operating the device correlated with the first stream
    learning the first stream of collections of object representa         of collections of object representations includes inserting the
    tions correlated with the first one or more instruction sets for      first one or more instruction sets for operating the device
    operating the device , the learning of ( c ) performed by the         correlated with the first stream of collections of object
   processor circuit. The method may further comprise : ( d ) 15 representations into a register or an element of a processor
    receiving a new stream of collections of object representa            circuit . In further embodiments, the executing the first one or
    tions by the processor circuit, the new stream of collections         more instruction sets for operating the device correlated with
    of object representations including one or more collections           the first stream of collections of object representations
    of representations of objects detected by the sensor. The             includes redirecting a processor circuit to the first one or
   method may further comprise : (e ) anticipating the first one 20 more instruction sets for operating the device correlated with
   or more instruction sets for operating the device correlated      the first stream of collections of object representations. In
   with the first stream of collections of object representations further embodiments, the executing the first one or more
   based on at least a partial match between the new stream of instruction sets for operating the device correlated with the
    collections of object representations and the first stream of          first stream of collections of object representations includes
    collections of object representations, the anticipating of ( e ) 25 redirecting a processor circuit to one or more alternate
    performed by the processor circuit. The method may further             instruction sets , the alternate instruction sets comprising the
    comprise : ( f) executing the first one or more instruction sets  first one or more instruction sets for operating the device
    for operating the device correlated with the first stream of      correlated with the first stream of collections of object
    collections of object representations, the executing of (f )      representations. In further embodiments , the executing the
    performed in response to the anticipating of ( e ). The method 30 first one or more instruction sets for operating the device
   may further comprise : (g ) performing, by the device , one or         correlated with the first stream of collections of object
   more operations defined by the first one or more instruction           representations includes transmitting , to a processor circuit
   sets for operating the device correlated with the first stream         for execution , the first one or more instruction sets for
   of collections of object representations , the one or more             operating the device correlated with the first stream of
    operations by the device performed in response to the 35 collections of object representations. In further embodi
    executing of (f).                                                     ments , the executing the first one or more instruction sets for
       In some embodiments, the receiving of (b ) includes                ona
                                                                          operating the device correlated with the first stream  of
    receiving the first one or more instruction sets for operating        collections of object representations includes issuing an
   the device from the processor circuit or from another pro - interrupt to a processor circuit and executing the first one or
   cessor circuit . In further embodiments , the executing of ( f) 40 more instruction sets for operating the device correlated with
    is performed by the processor circuit or by another processor         the first stream of collections of object representations
    circuit .                                                             following the interrupt. In further embodiments, the execut
       The operations or steps of the non -transitory computer           ing the first one or more instruction sets for operating the
    storage medium and /or the method may be performed by                 device correlated with the first stream of collections of
   any of the elements of the above described systems as 45 object representations includes modifying an element that is
    applicable . The non -transitory computer storage medium              part of , operating on , or coupled to a processor circuit.
    and / or the method may include any of the operations, steps ,           In certain embodiments , the executing the first one or
    and embodiments of the above described systems, non -                 more instruction sets for operating the device correlated with
    transitory computer storagemedia , and /ormethods as appli-           the first stream of collections of object representations
    cable as well as the following embodiments .                       50 includes executing , by a logic circuit , the first one or more
       In certain embodiments , the learning the first stream of          instruction sets for operating the device correlated with the
    collections of object representations correlated with the first       first stream of collections of object representations . In fur
    one or more instruction sets for operating the device                 ther embodiments , the logic circuit includes a microcon
    includes storing the first stream of collections of object            troller. In further embodiments, the executing, by the logic
    representations correlated with the first one or more instruc - 55 circuit , the first one or more instruction sets for operating the
    tion sets for operating the device into a memory unit , the first  device correlated with the first stream of collections of
    stream of collections of object representations correlated            object representations includes modifying an element of the
    with the first one or more instruction sets for operating the         logic circuit. In further embodiments , the executing, by the
    device being part of a plurality of streams of collections of         logic circuit , the first one or more instruction sets for
    object representations correlated with one or more instruc - 60 operating the device correlated with the first stream of
    tion sets for operating the device stored in the memory unit .  collections of object representations includes inserting the
       In some embodiments , the executing the first one or more    first one or more instruction sets for operating the device
    instruction sets for operating the device correlated with the     correlated with the first stream of collections of object
    first stream of collections of object representations includes representations into an element of the logic circuit . In further
    executing the first one or more instruction sets for operating 65 embodiments , the executing , by the logic circuit, the first
    the device correlated with the first stream of collections of         one or more instruction sets for operating the device corre
    object representations instead of or prior to an instruction set      lated with the first stream of collections of object represen
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 68 of 2562 PageID #: 12939


                                                        US 10 ,452,974 B1
                                 43                                                                   44
    tations includes redirecting the logic circuit to the first one    further embodiments, the executing the first one or more
    or more instruction sets for operating the device correlated       instruction sets for operating the device correlated with the
    with the first stream of collections of object representations .   first stream of collections of object representations includes
    In further embodiments, the executing , by the logic circuit       modifying one ormore instruction sets at a source code write
    the first one or more instruction sets for operating the device 5 time, a compile time, an interpretation time, a translation
    correlated with the first stream of collections of object          time, a linking time, a loading time, or a runtime. In further
    representations includes replacing inputs into the logic cir -     embodiments , the executing the first one or more instruction
    cuit with the first one or more instruction sets for operating sets for operating the device correlated with the first stream
    the device correlated with the first stream of collections of of collections of object representations includes modifying
    object representations . In further embodiments, the execut- 10 one or more code segments, lines of code, statements ,
    ing , by the logic circuit, the first one or more instruction sets instructions, functions , routines , subroutines, or basic
    for operating the device correlated with the first stream of       blocks . In further embodiments , the executing the first one
    collections of object representations includes replacing out-      or more instruction sets for operating the device correlated
    puts from the logic circuit with the first one or more             with the first stream of collections of object representations
    instruction sets for operating the device correlated with the 15 includes a manual, an automatic , a dynamic , or a just in time
    first stream of collections of object representations.             (JIT ) instrumentation of an application . In further embodi
       In some embodiments , the executing the first one or more ments, the executing the first one or more instruction sets for
    instruction sets for operating the device correlated with the  operating the device correlated with the first stream of
    first stream of collections of object representations includes collections of object representations includes utilizing one or
    executing, by an application for operating the device , the 20 more of a .NET tool, a .NET application programming
    first one or more instruction sets for operating the device    interface (API) , a Java tool, a Java API, an operating system
    correlated with the first stream of collections of object          tool, or an independent tool for modifying instruction sets .
    representations . In further embodiments, the executing the        In further embodiments, the executing the first one or more
    first one or more instruction sets for operating the device        instruction sets for operating the device correlated with the
    correlated with the first stream of collections of object 25 first stream of collections of object representations includes
    representations includes modifying an application , the appli -    utilizing at least one of: a dynamic , an interpreted , or a
    cation including instruction sets for operating the device . In    scripting programming language. In further embodiments ,
    further embodiments, the executing the first one or more           the executing the first one or more instruction sets for
    instruction sets for operating the device correlated with the      operating the device correlated with the first stream of
    first stream of collections of object representations includes 30 collections of object representations includes utilizing at
    redirecting an application to the first one or more instruction    least one of: a dynamic code, a dynamic class loading, or a
    sets for operating the device correlated with the first stream     reflection . In further embodiments , the executing the first
    of collections of object representations. In further embodi-       one or more instruction sets for operating the device corre
   ments, the executing the first one or more instruction sets for     lated with the first stream of collections of object represen
    operating the device correlated with the first stream of 35 tations includes utilizing an assembly language. In further
    collections of object representations includes redirecting an      embodiments , the executing the first one or more instruction
   application to one or more alternate instruction sets , the         sets for operating the device correlated with the first stream
    alternate instruction sets comprising the first one or more        of collections of object representations includes utilizing at
    instruction sets for operating the device correlated with the      least one of: a metaprogramming, a self -modifying code, or
    first stream of collections of object representations. In fur- 40 an instruction set modification tool. In further embodiments ,
    ther embodiments, the executing the first one or more              the executing the first one or more instruction sets for
    instruction sets for operating the device correlated with the      operating the device correlated with the first stream of
    first stream of collections of object representations includes     collections of object representations includes utilizing at
   modifying one or more instruction sets of an application . In       least one of: just in time (JIT ) compiling , JIT interpretation ,
    further embodiments , the executing the first one or more 45 JIT translation , dynamic recompiling , or binary rewriting. In
    instruction sets for operating the device correlated with the      further embodiments, the executing the first one or more
    first stream of collections of object representations includes     instruction sets for operating the device correlated with the
   modifying a source code, a bytecode, an intermediate code ,         first stream of collections of object representations includes
    a compiled code, an interpreted code , a translated code , a       utilizing at least one of: a dynamic expression creation , a
    runtime code , an assembly code, or a machine code. In 50 dynamic expression execution , a dynamic function creation ,
    further embodiments, the executing the first one or more           or a dynamic function execution . In further embodiments ,
    instruction sets for operating the device correlated with the      the executing the first one or more instruction sets for
    first stream of collections of object representations includes     operating the device correlated with the first stream of
   modifying at least one of: the memory unit, a register of a         collections of object representations includes adding or
   processor circuit, a storage, or a repository where instruction 55 inserting additional code into a code of an application . In
    sets are stored or used . In further embodiments , the execut-     further embodiments, the executing the first one or more
    ing the first one or more instruction sets for operating the       instruction sets for operating the device correlated with the
   device correlated with the first stream of collections of           first stream of collections of object representations includes
    object representations includes modifying one or more              at least one of:modifying, removing, rewriting, or overwrit
    instruction sets for operating an application or an object of 60 ing a code of an application . In further embodiments , the
    the application . In further embodiments , the executing the       executing the first one ormore instruction sets for operating
    first one or more instruction sets for operating the device        the device correlated with the first stream of collections of
   correlated with the first stream of collections of object    object representations includes at least one of: branching,
   representations includes modifying at least one of: an ele - redirecting, extending , or hot swapping a code of an appli
   ment of a processor circuit, an element of the device , a 65 cation . The branching or redirecting the code may include
    virtualmachine, a runtime engine , an operating system , an        inserting at least one of: a branch , a jump, or a means for
    execution stack , a program counter, or a user input. In           redirecting an execution . In further embodiments , the
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 69 of 2562 PageID #: 12940


                                                          US 10 ,452 , 974 B1
                                45                                                                  46
    executing the first one ormore instruction sets for operating       may further comprise : receiving, by the first processor
    the device correlated with the first stream of collections of       circuit of the one or more processor circuits, a first one or
    object representations includes implementing a user 's              more instruction sets for operating a device . The operations
    knowledge , style , or methodology of operating the device in       may further comprise : learning , by the first processor circuit
    a circumstance. In further embodiments , the executing the 5 of the one or more processor circuits , the first stream of
    first one or more instruction sets for operating the device  collections of object representations correlated with the first
    correlated with the first stream of collections of object            one or more instruction sets for operating the device . The
    representations includes executing the first one or more             operations may further comprise : receiving , by the first
    instruction sets for operating the device correlated with the       processor circuit of the one or more processor circuits, a new
    first stream of collections of object representations via an 10 stream of collections of object representations, the new
    interface . The interface may include a modification inter -         stream of collections of object representations including one
    face .                                                              or more collections of representations of objects detected by
       In certain embodiments, the operations of the non -tran -         the sensor. The operations may further comprise : anticipat
    sitory computer storage medium and/ or the method further            ing, by the first processor circuit of the one or more
    comprise : receiving at least one extra information . In further 15 processor circuits , the first one or more instruction sets for
    embodiments , the operations of the non - transitory computer       operating the device correlated with the first stream of
    storage medium and /or the method further comprise : learn -    collections of object representations based on at least a
    ing the first stream of collections of object representations partial match between the new stream of collections of
    correlated with the at least one extra information .            object representations and the first stream of collections of
       In some embodiments , the operations of the non - transi- 20 object representations. The operations may further com
    tory computer storage medium and/ or the method further prise : causing, by the first processor circuit of the one or
    comprise : presenting , via a user interface , a user with an       more processor circuits , an execution , by a second processor
    option to execute the first one or more instruction sets for        circuit of the one or more processor circuits , of the first one
    operating the device correlated with the first stream of            or more instruction sets for operating the device correlated
    collections of object representations.                           25 with the first stream of collections of object representations ,
       In certain embodiments, the operations of the non -tran - the causing performed in response to the anticipating, by the
    sitory computer storage medium and/ or the method further            first processor circuit of the one or more processor circuits,
    comprise : receiving, via a user interface , a user' s selection    the first one or more instruction sets for operating the device
    to execute the first one or more instruction sets for operating     correlated with the first stream of collections of object
    the device correlated with the first stream of collections of 30 representations based on at least a partialmatch between the
    object representations .                                             new stream of collections of object representations and the
       In some embodiments , the operations of the non -transi           first stream of collections of object representations, wherein
    tory computer storage medium and / or the method further             the device performs one or more operations defined by the
    comprise : rating the executed first one or more instruction      first one or more instruction sets for operating the device
    sets for operating the device correlated with the first stream 35 correlated with the first stream of collections of object
    of collections of object representations .                        representations, the one or more operations by the device
       In certain embodiments , the operations of the non - tran         performed in response to the execution .
    sitory computer storage medium and / or the method further             In some aspects , the disclosure relates to a method com
    comprise : presenting , via a user interface , a user with an        prising : (a ) receiving a first stream of collections of object
    option to cancel the execution of the executed first one or 40 representations by a first processor circuit, the first stream of
   more instruction sets for operating the device correlated with        collections of object representations including one or more
    the first stream of collections of object representations           collections of representations of objects detected by a sen
       In some embodiments , the operations of the non - transi -       sor. The method may further comprise : (b ) receiving a first
    tory computer storage medium and/or the method further              one or more instruction sets for operating a device by the
    comprise : receiving , via an input device , a user ' s operating 45 first processor circuit . The method may further comprise: ( C )
    directions, the user ' s operating directions for instructing a      learning the first stream of collections of object representa
    processor circuit on how to operate the device .                     tions correlated with the first one or more instruction sets for
       In certain embodiments, the operations of the non -tran           operating the device , the learning of ( c ) performed by the
    sitory computer storage medium and/ or the method further            first processor circuit. Themethod may further comprise : ( d )
    comprise : receiving a second stream of collections of object 50 receiving a new stream of collections of object representa
    representations, the second stream of collections of object          tions by the first processor circuit , the new stream of
    representations including one or more collections of repre -         collections of object representations including one or more
    sentations of objects detected by the sensor; receiving a            collections of representations of objects detected by the
    second one or more instruction sets for operating the device ;       sensor. The method may further comprise : (e ) anticipating
    and learning the second stream of collections of object 55 the first one or more instruction sets for operating the device
    representations correlated with the second one or more               correlated with the first stream of collections of object
    instruction sets for operating the device .                          representations based on at least a partial match between the
       In some aspects , the disclosure relates to a non - transitory    new stream of collections of object representations and the
    computer storage medium having a computer program                    first stream of collections of object representations , the
    stored thereon , the program including instructions that when 60 anticipating of ( e ) performed by the first processor circuit.
    executed by one or more processor circuits cause the one or          The method may further comprise : (f) executing, by a
   more processor circuits to perform operations comprising:             second processor circuit , the first one or more instruction
    receiving, by a first processor circuit of the one or more    sets for operating the device correlated with the first stream
    processor circuits , a first stream of collections of object of collections of object representations , the executing of (f )
    representations, the first stream of collections of object 65 performed in response to the anticipating of ( e ). The method
    representations including one or more collections of repre - may further comprise : ( g ) performing, by the device , one or
    sentations of objects detected by a sensor. The operations          more operations defined by the first one or more instruction
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 70 of 2562 PageID #: 12941


                                                        US 10 , 452, 974 B1
                                 47                                                                     48
    sets for operating the device correlated with the first stream           In some aspects, the disclosure relates to a system for
    of collections of object representations, the one or more             using a device ' s circumstances for autonomous device oper
    operations by the device performed in response to the                  ating . The system may be implemented at least in part on one
    executing of (f).                                                 or more computing devices . In some embodiments , the
       The operations or steps of the non -transitory computer 5 system comprises : a processor circuit configured to execute
    storage medium and/or the method may be performed by instruction               sets for operating a device . The system may
    any of the elements of the above described systems as further              comprise: a memory unit configured to store data .
                                                                       The system may further comprise : a sensor configured to
    applicable . The non -transitory computer storage medium detect          objects . The system may further comprise : an artifi
    and /or the method may include any of the operations, steps* , 10 cial intelligence  unit . The artificial intelligence unit may be
    and embodiments of the above described systems, non
    transitory computer storage media , and / or methods as appli plurality of streams of the
                                                                      configured   to : access       memory unit that comprises a
                                                                                                 collections  of object representations
    cable .                                                                correlated with one or more instruction sets for operating the
       In some aspects, the disclosure relates to a system for            device , the plurality of streams of collections of object
    learning a device 's circumstances for autonomous device
                                                   us indevice
    operating . The system may be implemented at least    part 15 representations correlated with one or more instruction sets
                                                                  for operating the device including a first stream of collec
    on one or more computing devices . In some embodiments , tions of object representations correlated with a first one or
    the system comprises: a processor circuit configured to               more instruction sets for operating the device. The artificial
    execute instruction sets for operating a device . The system          intelligence unit may be further configured to : receive a new
   may further comprise: a memory unit configured to store 20 stream of collections of object representations, the new
   data . The system may further comprise : a sensor configured            stream of collections of object representations including one
   to detect objects. The system may further comprise : an                 or more collections of representations of objects detected by
    artificial intelligence unit. The artificial intelligence unit        the sensor. The artificial intelligence unit may be further
   may be configured to : receive a first stream of collections of configured to : anticipate the first one or more instruction sets
   object representations, the first stream of collections of 25 for operating the device correlated with the first stream of
    object representations including one or more collections of           collections of object representations based on at least a
    representations of objects detected by the sensor. The arti-          partial match between the new stream of collections of
    ficial intelligence unit may be further configured to : receive        object representations and the first stream of collections of
    a first one or more instruction sets for operating the device .        object representations . The artificial intelligence unitmay be
    The artificial intelligence unit may be further configured to : 30 further configured to : cause the processor circuit to execute
    learn the first stream of collections of object representations    the first one or more instruction sets for operating the device
    correlated with the first one or more instruction sets for            correlated with the first stream of collections of object
    operating the device .                                          representations , the causing performed in response to the
       In some aspects, the disclosure relates to a non- transitory anticipating of the artificial intelligence unit, wherein the
    computer storage medium having a computer program 35 device performs one or more operations defined by the first
    stored thereon, the program including instructions that when    one or more instruction sets for operating the device corre
    executed by one or more processor circuits cause the one or           lated with the first stream of collections of object represen
   more processor circuits to perform operations comprising :              tations, the one or more operations performed in response to
    receiving a first stream of collections of object representa -        the executing by the processor circuit.
    tions, the first stream of collections of object representations 40      In some aspects , the disclosure relates to a non -transitory
    including one or more collections of representations of                computer storage medium having a computer program
    objects detected by a sensor . The operations may further              stored thereon , the program including instructions that when
    comprise : receiving a first one or more instruction sets for          executed by one ormore processor circuits cause the one or
    operating a device . The operations may further comprise :            more processor circuits to perform operations comprising:
   learning the first stream of collections of object representa - 45 accessing a memory unit that comprises a plurality of
   tions correlated with the first one or more instruction sets for   streams of collections of object representations correlated
   operating the device .                                                 with one ormore instruction sets for operating a device , the
      In some aspects, the disclosure relates to a non method             plurality of streams of collections of object representations
    comprising: ( a ) receiving a first stream of collections of           correlated with one or more instruction sets for operating the
    object representations by a processor circuit , the first stream 50 device including a first stream of collections of object
    of collections of object representations including one or             representations correlated with a first one or more instruc
   more collections of representations of objects detected by a           tion sets for operating the device . The operations may
   sensor. The method may further comprise : (b ) receiving a             further comprise : receiving a new stream of collections of
    first one or more instruction sets for operating a device by           object representations , the new stream of collections of
   the processor circuit . The method may further comprise : ( c ) 55 object representations including one or more collections of
    learning the first stream of collections of object representa         representations of objects detected by a sensor. The opera
   tions correlated with the first one or more instruction sets for       tionsmay further comprise : anticipating the first one or more
    operating the device, the learning of ( c ) performed by the           instruction sets for operating the device correlated with the
    processor circuit.                                                     first stream of collections of object representations based on
       The operations or steps of the non - transitory computer 60 at least a partial match between the new stream of collec
    storage medium and /or the method may be performed by                 tions of object representations and the first stream of col
    any of the elements of the above described systems as                 lections of object representations. The operations may fur
   applicable . The non -transitory computer storage medium               ther comprise : causing an execution of the first one or more
    and/ or the method may include any of the operations, steps, instruction sets for operating the device correlated with the
    and embodiments of the above described systems, non - 65 first stream of collections of object representations , the
    transitory computer storage media , and /ormethods as appli- causing performed in response to the anticipating the first
    cable .                                                                one or more instruction sets for operating the device corre
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 71 of 2562 PageID #: 12942


                                                        US 10 ,452 , 974 B1
                                 49                                                                   50
    lated with the first stream of collections of object represen      one or more inputs. The artificial intelligence unit may be
   tations based on at least a partial match between the new           further configured to : receive a new collection of object
   stream of collections of object representations and the first       representations, the new collection of object representations
    stream of collections of object representations, wherein the       including one ormore representations of objects detected by
    device performs one or more operations defined by the first 5 the sensor. The artificial intelligence unit may be further
    one or more instruction sets for operating the device corre        configured to : anticipate the first one or more inputs corre
    lated with the first stream of collections of object represen      lated with the first collection of object representations based
    tations, the one or more operations by the device performed        on at least a partial match between the new collection of
    in response to the execution .                                     object representations and the first collection of object
      In some aspects , the disclosure relates to a method com - 10 representations. The artificial intelligence unit may be fur
    prising: (a ) accessing a memory unit that comprises a             ther configured to : cause the logic circuit to receive the first
   plurality of streams of collections of object representations       one or more inputs correlated with the first collection of
   correlated with one or more instruction sets for operating a        object representations, the causing performed in response to
    device, the plurality of streams of collections of object          the anticipating of the artificial intelligence unit, wherein the
    representations correlated with one or more instruction sets 15 device performs one or more operations defined by one or
    for operating the device including a first stream of collec        more outputs for operating the device produced by the logic
   tions of object representations correlated with a first one or      circuit.
   more instruction sets for operating the device , the accessing         In some embodiments , the logic circuit configured to
   of (a ) performed by a processor circuit . The method may           receive inputs and produce outputs includes a logic circuit
    further comprise: (b ) receiving a new stream of collections 20 configured to produce outputs based at least in part on logic
    of object representations by the processor circuit, the new        operations performed on the inputs . In further embodiments ,
    stream of collections of object representations including one      the learning the first collection of object representations
    or more collections of representations of objects detected by      correlated with the first one or more inputs includes corre
    a sensor. The method may further comprise : ( c ) anticipating     lating the first collection of object representations with the
   the first one or more instruction sets for operating the device 25 first one or more inputs . In further embodiments , the learn
   correlated with the first stream of collections of object         i ng the first collection of object representations correlated
   representations based on at least a partialmatch between the       with the first one or more inputs includes storing the first
   new stream of collections of object representations and the        collection of object representations correlated with the first
    first stream of collections of object representations , the        one or more inputs into the memory unit, the first collection
    anticipating of ( c ) performed by the processor circuit . The 30 of object representations correlated with the first one or
   method may further comprise : (d ) executing the first one or       more inputs being part of a plurality of collections of object
   more instruction sets for operating the device correlated with      representations correlated with one or more inputs stored in
   the first stream of collections of object representations, the      the memory unit. In further embodiments , the anticipating
    executing of (d ) performed in response to the anticipating of     the first one or more inputs correlated with the first collec
    ( c ). The method may further comprise : (e ) performing, by 35 tion of object representations based on at least a partial
    the device , one or more operations defined by the first one match between the new collection of object representations
    or more instruction sets for operating the device correlated       and the first collection of object representations includes
   with the first stream of collections of object representations,    comparing at least one portion of the new collection of
   the one or more operations by the device performed in              object representations with at least one portion of the first
   response to the executing of (d ).                              40 collection of object representations. In further embodiments ,
      The operations or steps of the non -transitory computer         the anticipating the first one or more inputs correlated with
   storage medium and /or the method may be performed by               the first collection of object representations based on at least
   any of the elements of the above described systems as               a partial match between the new collection of object repre
    applicable . The non -transitory computer storage medium           sentations and the first collection of object representations
    and / or the method may include any of the operations, steps , 45 includes determining that there is at least a partial match
    and embodiments of the above described systems, non               between the new collection of object representations and the
    transitory computer storage media , and /or methods as appli       first collection of object representations. In further embodi
    cable .                                                         ments , the causing the logic circuit to receive the first one or
       In some aspects , the disclosure relates to a system for more inputs correlated with the first collection of object
    learning and using a device ' s circumstances for autonomous 50 representations includes transmitting, to the logic circuit , the
    device operating. The system may be implemented at least         first one or more inputs correlated with the first collection of
   in part on one or more computing devices . In some embodi-          object representations. In further embodiments , the causing
   ments , the system comprises: a logic circuit configured to         the logic circuit to receive the first one or more inputs
   receive inputs and produce outputs, wherein the outputs are   correlated with the first collection of object representations
   used for operating a device . The system may further com - 55 includes replacing one or more inputs into the logic circuit
   prise : a memory unit configured to store data . The system   with the first one or more inputs correlated with the first
   may further comprise : a sensor configured to detect objects. collection of object representations.
    The system may further comprise : an artificial intelligence          In some aspects , the disclosure relates to a non - transitory
    unit. The artificial intelligence unit may be configured to :      computer storage medium having a computer program
    receive a first collection of object representations, the first 60 stored thereon , the program including instructions that when
    collection of object representations including one or more         executed by one ormore processor circuits cause the one or
    representations of objects detected by the sensor. The arti-       more processor circuits to perform operations comprising:
    ficial intelligence unit may be further configured to : receive    receiving a first collection of object representations , the first
    a first one or more inputs , wherein the first one or more         collection of object representations including one or more
    inputs are also received by the logic circuit. The artificial 65 representations of objects detected by a sensor. The opera
    intelligence unit may be further configured to : learn the first   tions may further comprise : receiving a first one or more
    collection of object representations correlated with the first     inputs, wherein the first one or more inputs are also received
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 72 of 2562 PageID #: 12943


                                                         US 10 ,452 , 974 B1
                                                                                                      52
   by a logic circuit , and wherein the logic circuit is configured     used for operating a device. The system may further com
   to receive inputs and produce outputs , and wherein the              prise : a memory unit configured to store data . The system
    outputs are used for operating a device . The operations may        may further comprise : a sensor configured to detect objects .
    further comprise : learning the first collection of object           The system may further comprise: an artificial intelligence .
    representations correlated with the first one or more inputs . 5 The artificial intelligence unit may be configured to : receive
    The operations may further comprise : receiving a new               a first collection ofobject representations , the first collection
    collection of object representations , the new collection of        of object representations including one or more representa
    object representations including one or more representations        tions of objects detected by the sensor. The artificial intel
    of objects detected by the sensor. The operationsmay further        ligence unit may be further configured to : receive a first one
    comprise : anticipating the first one or more inputs correlated 10 or more outputs , the first one or more outputs transmitted
    with the first collection of object representations based on at     from the logic circuit. The artificial intelligence unit may be
    least a partial match between the new collection of object          further configured to : learn the first collection of object
   representations and the first collection of object representa        representations correlated with the first one or more outputs .
    tions. The operations may further comprise : causing the             The artificial intelligence unit may be further configured to :
    logic circuit to receive the first one or more inputs correlated 15 receive a new collection of object representations, the new
   with the first collection of object representations, the causing     collection of object representations including one or more
    performed in response to the anticipating the first one or          representations of objects detected by the sensor. The arti
   more inputs correlated with the first collection of object           ficial intelligence unit may be further configured to : antici
    representations based on at least a partialmatch between the        pate the first one or more outputs correlated with the first
   new collection of object representations and the first collec - 20 collection of object representations based on at least a partial
   tion of object representations, wherein the device performs          match between the new collection of object representations
    one or more operations defined by one or more outputs for           and the first collection of object representations . The artifi
    operating the device produced by the logic circuit .                 cial intelligence unit may be further configured to : cause the
       In some aspects , the disclosure relates to a method com - device to perform one or more operations defined by the first
    prising: (a ) receiving a first collection of object representa - 25 one or more outputs correlated with the first collection of
    tions by a processor circuit, the first collection of object        object representations, the causing performed in response to
    representations including one or more representations of            the anticipating of the artificial intelligence unit.
    objects detected by a sensor. The method may further                  In some embodiments, the learning the first collection of
    comprise : ( b ) receiving a first one or more inputs by the        object representations correlated with the first one or more
   processor circuit , wherein the first one or more inputs are 30 outputs includes correlating the first collection of object
    also received by a logic circuit , and wherein the logic circuit    representations with the first one or more outputs . In further
   is configured to receive inputs and produce outputs , and            embodiments, the learning the first collection of object
   wherein the outputs are used for operating a device . The            representations correlated with the first one ormore outputs
   method may further comprise : (c ) learning the first collec -       includes storing the first collection of object representations
    tion of object representations correlated with the first one or 35 correlated with the first one or more outputs into thememory
   more inputs, the learning of (c ) performed by the processor         unit, the first collection of object representations correlated
   circuit. The method may further comprise : ( d ) receiving a         with the first one or more outputs being part of a plurality of
    new collection of object representations by the processor           collections of object representations correlated with one or
    circuit , the new collection of object representations includ -     more outputs stored in the memory unit . In further embodi
    ing one or more representations of objects detected by the 40 ments , the anticipating the first one or more outputs corre
   sensor. The method may further comprise : ( e ) anticipating         lated with the first collection of object representations based
   the first one or more inputs correlated with the first collec -      on at least a partial match between the new collection of
    tion of object representations based on at least a partial          object representations and the first collection of object
    match between the new collection of object representations          representations includes comparing at least one portion of
    and the first collection of object representations, the antici- 45 the new collection of object representations with at least one
    pating of ( e ) performed by the processor circuit. Themethod       portion of the first collection of object representations. In
   may further comprise : (f) receiving, by the logic circuit , the     further embodiments, the anticipating the first one or more
    first one or more inputs correlated with the first collection of outputs correlated with the first collection of object repre
    object representations , the receiving of ( f) performed in      sentations based on at least a partial match between the new
    response to the anticipating of ( e ). The method may further 50 collection of object representations and the first collection of
    comprise: ( g ) performing , by the device , one or more         object representations includes determining that there is at
   operations defined by one or more outputs for operating the          least a partial match between the new collection of object
    device produced by the logic circuit.                               representations and the first collection of object representa
       The operations or steps of the non - transitory computer         tions . In further embodiments, the causing the device to
    storage medium and /or the method may be performed by 55 perform one or more operations defined by the first one or
    any of the elements of the above described systems as               more outputs correlated with the first collection of object
    applicable . The non - transitory computer storage medium           representations includes replacing one ormore outputs from
    and / or the method may include any of the operations , steps ,     the logic circuit with the first one or more outputs correlated
    and embodiments of the above described systems, non -               with the first collection of object representations.
    transitory computer storage media , and / or methods as appli- 60      In some aspects , the disclosure relates to a non -transitory
    cable .                                                             computer storage medium having a computer program
       In some aspects , the disclosure relates to a system for         stored thereon , the program including instructions that when
    learning and using a device ' s circumstances for autonomous        executed by one or more processor circuits cause the one or
    device operating . The system may be implemented at least           more processor circuits to perform operations comprising :
   in part on one or more computing devices . In some embodi- 65 receiving a first collection of object representations , the first
   ments, the system comprises: a logic circuit configured to    collection of object representations including one or more
    receive inputs and produce outputs , wherein the outputs are        representations of objects detected by a sensor. The opera
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 73 of 2562 PageID #: 12944


                                                        US 10 ,452 , 974 B1
                                 53                                                                  54
    tions may further comprise : receiving a first one or more         objects . The system may further comprise : an artificial
    outputs, the first one or more outputs transmitted from a          intelligence unit. The artificial intelligence unit may be
    logic circuit, wherein the logic circuit is configured to          configured to : receive a first collection of object represen
   receive inputs and produce outputs, and wherein the outputs         tations, the first collection of object representations includ
    are used for operating a device . The operations may further 5 ing one or more representations of objects detected by the
    comprise : learning the first collection of object representa -    sensor. The artificial intelligence unit may be further con
    tions correlated with the first one or more outputs . The          figured to : receive a first one ormore inputs , wherein the first
    operations may further comprise : receiving a new collection       one or more inputs are also received by the actuator. The
    of object representations, the new collection of object rep -      artificial intelligence unitmay be further configured to : learn
    resentations including one or more representations of objects 10 the first collection of object representations correlated with
    detected by the sensor. The operations may further comprise:       the first one or more inputs. The artificial intelligence unit
    anticipating the first one or more outputs correlated with the     may be further configured to : receive a new collection of
    first collection of object representations based on at least a     object representations, the new collection of object repre
    partial match between the new collection of object repre -         sentations including one or more representations of objects
    sentations and the first collection of object representations. 15 detected by the sensor. The artificial intelligence unit may be
    The operations may further comprise : causing the device to       further configured to : anticipate the first one or more inputs
    perform one or more operations defined by the first one or         correlated with the first collection of object representations
   more outputs correlated with the first collection of object        based on at least a partialmatch between the new collection
    representations, the causing performed in response to the          of object representations and the first collection of object
    anticipating the first one or more outputs correlated with the 20 representations. The artificial intelligence unit may be fur
    first collection of object representations based on at least a     ther configured to : cause the actuator to receive the first one
    partial match between the new collection of object repre -         or more inputs correlated with the first collection of object
    sentations and the first collection of object representations.     representations, the causing performed in response to the
       In some aspects , the disclosure relates to a method com -      anticipating of the artificial intelligence unit, wherein the
   prising: (a ) receiving a first collection of object representa - 25 actuator performs one or more motions defined by the first
    tions by a processor circuit, the first collection of object       one or more inputs correlated with the first collection of
    representations including one or more representations of           object representations .
    objects detected by a sensor. The method may further                  In some aspects , the disclosure relates to a non -transitory
    comprise : (b ) receiving a first one or more outputs by the       computer storage medium having a computer program
   processor circuit, the first one or more outputs transmitted 30 stored thereon , the program including instructions that when
    from a logic circuit, wherein the logic circuit is configured     executed by one or more processor circuits cause the one or
    to receive inputs and produce outputs, and wherein the            more processor circuits to perform operations comprising :
    outputs are used for operating a device . The method may           receiving a first collection of object representations, the first
    further comprise : (c ) learning the first collection of object    collection of object representations including one or more
    representations correlated with the first one or more outputs , 35 representations of objects detected by a sensor. The opera
    the learning of (c ) performed by the processor circuit. The       tions may further comprise : receiving a first one or more
   method may further comprise: ( d ) receiving a new collection      inputs , wherein the first one or more inputs are also received
   of object representations by the processor circuit , the new       by an actuator , and wherein the actuator is configured to
    collection of object representations including one or more         receive inputs and perform motions. The operations may
   representations of objects detected by the sensor. The 40 further comprise : learning the first collection of object
   method may further comprise : ( e ) anticipating the first one representations correlated with the first one ormore inputs .
   or more outputs correlated with the first collection of object The operations may further comprise : receiving a new
   representations based on at least a partial match between the  collection of object representations, the new collection of
    new collection of object representations and the first collec -    object representations including one or more representations
    tion of object representations, the anticipating of ( e ) per - 45 of objects detected by the sensor . The operations may further
    formed by the processor circuit. The method may further            comprise : anticipating the first one or more inputs correlated
    comprise: (f) performing, by the device , one or more opera -      with the first collection of object representations based on at
    tions defined by the first one or more outputs correlated with     least a partial match between the new collection of object
    the first collection of object representations, the one or more    representations and the first collection of object representa
    operations by the device performed in response to the 50 tions. The operations may further comprise : causing the
    anticipating of ( e ).                                         actuator to receive the first one or more inputs correlated
       The operations or steps of the non - transitory computer with the first collection of object representations, the causing
    storage medium and /or the method may be performed by          performed in response to the anticipating the first one or
    any of the elements of the above described systems as more inputs correlated with the first collection of object
    applicable . The non -transitory computer storage medium 55 representations based on at least a partialmatch between the
    and / or the method may include any of the operations, steps , new collection of object representations and the first collec
    and embodiments of the above described systems, non -        tion of object representations, wherein the actuator performs
    transitory computer storage media , and /ormethods as appli -one or more motions defined by the first one or more inputs
    cable .                                                      correlated with the first collection of object representations.
       In some aspects, the disclosure relates to a system for 60 In some aspects, the disclosure relates to a method com
    learning and using a device ' s circumstances for autonomous       prising : ( a ) receiving a first collection of object representa
    device operating . The system may be implemented at least          tions by a processor circuit, the first collection of object
   in part on one or more computing devices. In some embodi- representations including one or more representations of
   ments, the system comprises : an actuator configured to       objects detected by a sensor. The method may further
   receive inputs and perform motions. The system may further 65 comprise : (b ) receiving a first one or more inputs by the
   comprise : a memory unit configured to store data . The       processor circuit, wherein the first one or more inputs are
    system may further comprise : a sensor configured to detect        also received by an actuator, and wherein the actuator is
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 74 of 2562 PageID #: 12945


                                                         US 10,452 ,974 B1
                                  55                                                                56
    configured to receive inputs and perform motions. The                FIG . 13 illustrates an embodiment of Knowledge Struc
   method may further comprise: (c ) learning the first collec     turing Unit 520 correlating individual Collections of Object
   tion of object representations correlated with the first one or Representations 525 with any Instruction Sets 526 and /or
   more inputs, the learning of (c ) performed by the processor Extra Info 527 .
   circuit. The method may further comprise : (d ) receiving a 5 FIG . 14 illustrates another embodiment of Knowledge
    new collection of object representations by the processor          Structuring Unit 520 correlating individual Collections of
    circuit , the new collection of object representations includ -    Object Representations 525 with any Instruction Sets 526
    ing one or more representations of objects detected by the         and /or Extra Info 527 .
    sensor. The method may further comprise : (e ) anticipating          FIG . 15 illustrates an embodiment of Knowledge Struc
    the first one or more inputs correlated with the first collec -    turing Unit 520 correlating streams of Collections of Object
    tion of object representations based on at least a partial         Representations 525 with any Instruction Sets 526 and /or
   match between the new collection of object representations          Extra Info 527 .
    and the first collection of object representations, the antici-    FIG . 16 illustrates another embodiment of Knowledge
    pating of ( e ) performed by the processor circuit. Themethod 16 Structuring Unit 520 correlating streams of Collections of
   may further comprise : (f) receiving, by the actuator, the first    Object Representations 525 with any Instruction Sets 526
    one or more inputs correlated with the first collection of         and /or Extra Info 527 .
    object representations, the receiving of (f) performed in            FIG . 17 illustrates various artificial intelligence methods,
    response to the anticipating of (e ). The method may further       systems, and /or models that can be utilized in DCADO Unit
   comprise : (g ) performing, by the actuator, one or more 20 100 embodiments .
   motions defined by the first one or more inputs correlated    FIG . 18A - 18C illustrate embodiments of interconnected
   with the first collection of object representations.        Knowledge Cells 800 and updating weights of Connections
       The operations or steps of the non -transitory computer         853 .
    storage medium and /or the method may be performed by                FIG . 19 illustrates an embodiment of learning Knowledge
    any of the elements of the above described systems as 25 Cells 800 comprising one or more Collections of Object
   applicable . The non-transitory computer storage medium Representations 525 correlated with any Instruction Sets 526
   and / or the method may include any of the operations, steps, and /or Extra Info 527 using Collection of Knowledge Cells
   and embodiments of the above described systems, non              530d .
   transitory computer storage media , and /or methods as appli-       FIG . 20 illustrates an embodiment of learning Knowledge
   cable .                                                        U Cells 800 comprising one or more Collections of Object
      Other features and advantages of the disclosure will
   become apparent from the following description , including Representations
                                                                    and /or Extra
                                                                                      525 correlated with any Instruction Sets 526
                                                                                   Info 527 using Neural Network 530a .
   the claims and drawings .                                          FIG . 21 illustrates an embodiment of learning Knowledge
           BRIEF DESCRIPTION OF THE DRAWINGS                     35 Cells 800 comprising one or more Collections of Object
                                                                       Representations 525 correlated with any Instruction Sets 526
      FIG . 1 illustrates a block diagram of Computing Device          and /or Extra Info 527 using Neural Network 530a compris
   70 that can provide processing capabilities used in some of         ing shortcut Connections 853.
   the disclosed embodiments .                                       FIG . 22 illustrates an embodiment of learning Knowledge
      FIG . 2 illustrates an embodimentof Device 98 comprising 40 Cells 800 comprising one or more Collections of Object
   Unit for Learning and/ or Using a Device 's Circumstances Representations 525 correlated with any Instruction Sets 526
   for Autonomous Device Operation (DCADO Unit 100 ).             and /or Extra Info 527 using Graph 530b .
      FIGS. 3A - 3E illustrate various embodiments of Sensors             FIG . 23 illustrates an embodiment of learning Knowledge
    92 and elements of Object Processing Unit 93.                      Cells 800 comprising one or more Collections of Object
      FIGS. 4A -4B , illustrate an exemplary embodiment of 45 Representations525 correlated with any Instruction Sets 526
   Objects 615 detected in Device ' s 98 surrounding, and result- and /or Extra Info 527 using Collection of Sequences 530c.
    ing Collection of Object Representations 525 .                       FIG . 24 illustrates an embodiment of determining antici
       FIG . 5 illustrates some embodiments of obtaining instruc       patory Instruction Sets 526 from a single Knowledge Cell
   tion sets, data , and/ or other information through tracing,        800
   profiling , or sampling of Processor 11 registers , memory , or 50 FIG . 25 illustrates an embodiment of determining antici
   other computing system components.                                patory Instruction Sets 526 by traversing a single Knowl
      FIGS. 6A -6B illustrate some embodiments of obtaining          edge Cell 800 .
    instruction sets , data , and /or other information through trac
    ing , profiling, or sampling of Logic Circuit 250.                    FIG . 26 illustrates an embodiment of determining antici
       FIGS. 7A - 7E illustrate some embodiments of Instructionin 55ss patory
                                                                       pa
                                                                       parisons
                                                                               Instruction Sets 526 using collective similarity com
                                                                                .
   Sets 526 .
       FIGS. 8A -8B illustrate some embodiments of Extra Infor            FIG . 27 illustrates an embodiment of determining antici
   mation 527.                                                         patory Instruction Sets 526 using Neural Network 530a .
       FIG . 9 illustrates an embodiment where DCADO Unit                 FIG . 28 illustrates an embodiment of determining antici
   100 is part of or operating on Processor 11 .                  60 patory Instruction Sets 526 using Graph 530b.
       FIG . 10 illustrates an embodiment where DCADO Unit                FIG . 29 illustrates an embodiment of determining antici
    100 resides on Server 96 accessible over Network 95 .              patory Instruction Sets 526 using Collection of Sequences
       FIG . 11 illustrates an embodiment of learning and /or 530c.
   using Remote Device ' s 97 circumstances for autonomous                FIG . 30 illustrates some embodiments of modifying
   Remote Device 97 operation.                                    65 execution and/ or functionality of Processor 11 through
       FIG . 12 illustrates an embodiment of Artificial Intelli modification of Processor 11 registers, memory, or other
   gence Unit 110 .                                                    computing system components .
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 75 of 2562 PageID #: 12946


                                                           US 10 ,452 , 974 B1
                                    57                                                                     58
       FIGS . 31A - 31B illustrate some embodiments of modify                some embodiments of the forthcoming disclosure. Later
    ing execution and /or functionality of Logic Circuit 250                 described devices , systems, and methods, in combination
    through modification of inputs and /or outputs of Logic                  with processing capabilities of Computing Device 70 ,
    Circuit 250 .                                                            enable learning and /or using a device 's circumstances for
       FIG . 32 illustrates a flow chart diagram of an embodiment 5 autonomous device operation and /or other functionalities
    of method 9100 for learning and /or using a device ' s cir -    described herein . Various embodiments of the disclosed
    cumstances for autonomous device operation .                             devices, systems, and methods include hardware, functions,
       FIG . 33 illustrates a flow chart diagram ofan embodiment             logic , programs, and /or a combination thereof that can be
    of method 9200 for learning and /or using a device ' s cir - implemented using any type or form of computing, com
    cumstances for autonomous device operation .                 10 puting enabled, or other device or system such as a mobile
       FIG . 34 illustrates a flow chart diagram of an embodiment device , a computer, a computing enabled telephone, a server,
    of method 9300 for learning and/ or using a device 's cir -              a gaming device, a television device , a digital camera , a GPS
    cumstances for autonomous device operation .                             receiver, a media player, an embedded device , a supercom
       FIG . 35 illustrates a flow chart diagram of an embodiment            puter, a wearable device , an implantable device , a cloud , or
    of method 9400 for learning and / or using a device ' s cir - 15 any other type or form of computing, computing enabled , or
    cumstances for autonomous device operation .                             other device or system capable of performing the operations
      FIG . 36 illustrates a flow chart diagram of an embodiment             described herein .
    of method 9500 for learning and /or using a device 's cir-                  In some designs, Computing Device 70 comprises hard
    cumstances for autonomous device operation .                     ware , processing techniques or capabilities , programs, or a
       FIG . 37 illustrates a flow chart diagram of an embodiment 20 combination thereof. Computing Device 70 includes one or
    of method 9600 for learning and / or using a device ' s cir - more central processing units, which may also be referred to
    cumstances for autonomous device operation .                             as processors 11 . Processor 11 includes one or more memory
      FIG . 38 illustrates an exemplary embodiment of Loader                 ports 10 and/or one or more input-output ports , also referred
    98a.                                                          to as I/O ports 15 , such as I/ O ports 15A and 15B . Processor
      FIG . 39 illustrates an exemplary embodimentof Boat 98b. 25 11 may be special or general purpose . Computing Device 70
      FIG . 40 illustrates an exemplary embodiment of utilizing may further include memory 12, which can be connected to
    Area of Interest 450 around Boat 98b.                         the remainder of the components of Computing Device 70
       Like reference numerals in different figures indicate like            via bus 5 .Memory 12 can be connected to processor 11 via
   elements. Horizontal or vertical “ . . . " or other such indicia memory port 10 . Computing Device 70 may also include
   may be used to indicate additional instances of the same type 30 display device 21 such as a monitor, projector, glasses ,
   of element. n , m , x , or other such letters or indicia represent and /or other display device . Computing Device 70 may also
    integers or other sequential numbers that follow the                     include Human -machine Interface 23 such as a keyboard , a
    sequence where they are indicated . It should be noted that n ,          pointing device , a mouse , a touchscreen , a joystick , a remote
    m , x , or other such letters or indicia may represent different controller, and /or other input device . In some implementa
    numbers in different elements even where the elements are 35 tions, Human -machine Interface 23 can be connected with
    depicted in the same figure . In general, n , m , x , or other such      bus 5 or directly connected with specific elements of Com
    letters or indicia may follow the sequence and/or context                puting Device 70 . Computing Device 70 may include addi
   where they are indicated . Any of these or other such letters             tional elements such as one or more input/ output devices 13 .
   or indicia may be used interchangeably depending on con -                 Processor 11 may include or be interfaced with cache
    text and space available . The drawings are not necessarily to 40 memory 14 . Storage 27 may include memory, which pro
    scale , with emphasis instead being placed upon illustrating             vides an operating system 17 (i. e . also referred to as OS 17 ,
    the embodiments , principles , and concepts of the disclosure.           etc .), additional application programs 18 , and/or data space
    A line or arrow between any of the disclosed elements                    19 in which additional data or information can be stored .
    comprises an interface that enables the coupling, connection ,           Alternative memory device 16 can be connected to the
    and / or interaction between the elements .                           45 remaining components of Computing Device 70 via bus 5 .
                                                                             Network interface 25 can also be connected with bus 5 and
                     DETAILED DESCRIPTION                                    be used to communicate with external computing devices
                                                                             via a network . Some or all described elements of Computing
       The disclosed artificially intelligent devices, systems, and          Device 70 can be directly or operatively connected or
   methods for learning and /or using a device ' s circumstances 50 coupled with each other using any other connection means
    for autonomous device operation comprise apparatuses ,                   known in art. Other additional elements may be included as
    systems, methods, features, functionalities, and /or applica -           needed , or some of the disclosed ones may be excluded , or
    tions that enable learning a device ' s circumstances including          a combination thereof may be utilized in alternate imple
   objects with various properties along with correlated instruc- mentations of Computing Device 70 .
   tion sets for operating the device , storing this knowledge in 55 Processor 11 includes one ormore circuits or devices that
   a knowledgebase (i.e . neural network , graph , sequences,       can execute instructions fetched from memory 12 and /or
    etc .), and operating a device autonomously. The disclosed               other element. Processor 11 may include any combination of
    artificially intelligent devices , systems, and methods for              hardware and / or processing techniques or capabilities for
    learning and / or using a device 's circumstances for autono -           executing or implementing logic functions or programs.
   mous device operation , any of their elements , any of their 60 Processor 11 may include a single core or a multi core
    embodiments, or a combination thereof can generally be                   processor. Processor 11 includes the functionality for load
    referred to as DCADO , DCADO Unit, or as other suitable                  ing operating system 17 and operating any application
    name or reference.                                                       programs 18 thereon . In some embodiments, Processor 11
      Referring now to FIG . 1, an embodiment is illustrated of              can be provided in a microprocessing or a processing unit,
   Computing Device 70 (also referred to simply as computing 65 such as , for example , Snapdragon processor produced by
   device , computing system , or other suitable name or refer - Qualcomm Inc., processor by Intel Corporation ofMountain
    ence, etc.) that can provide processing capabilities used in             View , Calif., processor manufactured by Motorola Corpo
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 76 of 2562 PageID #: 12947


                                                        US 10 ,452 , 974 B1
                                  59                                                             60
   ration of Schaumburg , Ill .; processor manufactured by               Processor 11 can communicate directly with cache
    Transmeta Corporation of Santa Clara , Calif., processor           memory 14 via a connection means such as a secondary bus
   manufactured by International Business Machines of White            which may also sometimes be referred to as a backside bus.
    Plains, N . Y .; processor manufactured by Advanced Micro          In some embodiments, processor 11 can communicate with
    Devices of Sunnyvale , Calif., or any computing circuit or 5 cache memory 14 using the system bus 5 . Cache memory 14
    device for performing similar functions. In other embodi-          may typically have a faster response time than main memory
   ments, processor 11 can be provided in a graphics processing        12 and can include a type of memory which is considered
    unit (GPU ), visual processing unit (VPU ), or other highly        faster than main memory 12 such as, for example , SRAM ,
    parallel processing circuit or device such as, for example ,       BSRAM , or EDRAM . Cache memory includes any structure
   nVidia GeForce line of GPUs, AMD Radeon line ofGPUs, 10 such as multilevel caches, for example . In some embodi
    and/ or others. Such GPUs or other highly parallel processing ments , processor 11 can communicate with one or more I/ O
    circuits or devices may provide superior performance in         devices 13 via a system bus 5 . Various busses can be used
    processing operations on neural networks , graphs, and/ or to connect processor 11 to any of the I/ O devices 13 such as
    other data structures . In further embodiments , processor 11   a VESA VL bus , an ISA bus , an EISA bus , a MicroChannel
    can be provided in a micro controller such as, for example , 15 Architecture (MCA ) bus , a PCI bus, a PCI- X bus , a PCI
    Texas instruments , Atmel, Microchip Technology , ARM ,            Express bus, a NuBus, and / or others . In some embodiments ,
    Silicon Labs, Intel, and /or other lines ofmicro controllers. In   processor 11 can communicate directly with I/O device 13
    further embodiments, processor 11 can be provided in a             via HyperTransport, Rapid I/ O , or InfiniBand . In further
    quantum processor such as, for example , D - Wave Systems,         embodiments , local busses and direct communication can be
   Microsoft, Intel, IBM , Google , Toshiba , and /or other lines of 20 mixed . For example , processor 11 can communicate with an
    quantum processors . In further embodiments, processor 11          1/ 0 device 13 using a local interconnect bus and communi
    can be provided in a biocomputer such as DNA -based                cate with another I/ O device 13 directly . Similar configura
    computer, protein - based computer, molecule -based com -      tions can be used for any other components described herein .
    puter, and /or others . In further embodiments, processor 11      Computing Device 70 may further include alternative
    includes any circuit or device for performing logic opera - 25 memory such as a SD memory slot, a USB memory stick , an
    tions. Processor 11 can be based on any of the aforemen            optical drive such as a CD -ROM drive, a CD -R /RW drive ,
   tioned or other available processors capable of operating as a DVD -ROM drive or a BlueRay disc , a hard -drive , and /or
   described herein . Computing Device 70 may include one or    any other device comprising non - volatile memory suitable
   more of the aforementioned or other processors . In some for storing data or installing application programs. Comput
   designs, processor 11 can communicate with memory 12 via 30 ing Device 70 may further include a storage device 27
   a system bus 5 . In other designs, processor 11 can commu-   comprising any type or form of non - volatile memory for
   nicate directly with memory 12 via a memory port 10 .        storing an operating system (OS ) such as any type or form
      Memory 12 includes one or more circuits or devices        of Windows OS, Mac OS , Unix OS , Linux OS , Android OS,
   capable of storing data . In some embodiments , Memory 12    iPhone OS , mobile version of Windows OS , an embedded
    can be provided in a semiconductor or electronic memory 35 OS , or any other OS that can operate on Computing Device
   chip such as static random access memory (SRAM ), Flash             70. Computing Device 70 may also include application
   memory , Burst SRAM or SynchBurst SRAM (BSRAM ),                    programs 18 , and /or data space 19 for storing additional data
    Dynamic random access memory (DRAM ), Fast Page Mode               or information . In some embodiments , alternative memory
    DRAM ( FPM DRAM ), Enhanced DRAM (EDRAM ),                          16 can be used as or similar to storage device 27. Addition
    Extended Data Output RAM (EDO RAM ), Extended Data 40 ally , OS 17 and/or application programs 18 can be operable
    Output DRAM (EDO DRAM ), Burst Extended Data Output from a bootable medium such as , for example , a flash drive ,
    DRAM (BEDO DRAM ), Enhanced DRAM (EDRAM ), a micro SD card , a bootable CD or DVD , and /or other
    synchronous DRAM (SDRAM ), JEDEC SRAM , PC100                      bootable medium .
    SDRAM , Double Data Rate SDRAM (DDR SDRAM ),                          Application Program 18 (also referred to as program ,
    Enhanced SDRAM            (ESDRAM ), SyncLink DRAM 45 computer program , application , script, code, or other suit
    (SLDRAM ), Direct Rambus DRAM (DRDRAM ), Ferro -                   able name or reference ) comprises instructions that can
    electric RAM (FRAM ), and/ or others . In other embodi-            provide functionality when executed by processor 11 . As
   ments , Memory 12 includes any volatile memory . In general,        such , Application Program 18 may be used to operate ( i.e .
   Memory 12 can be based on any of the aforementioned or              perform operations on /with ) or control a device or system .
    other available memories capable of operating as described 50 Application program 18 can be implemented in a high -level
   herein .                                                            procedural or object -oriented programming language , or in
       Storage 27 includes one or more devices or mediums              a low -level machine or assembly language. Any language
    capable of storing data . In some embodiments , Storage 27         used can be compiled , interpreted , or otherwise translated
    can be provided in a device or medium such as a hard drive , into machine language. Application program 18 can be
    flash drive , optical disk , and/ or others. In other embodi- 55 deployed in any form including as a stand -alone program or
   ments , Storage 27 can be provided in a biological storage          as a module , component, subroutine, or other unit suitable
    device such as DNA - based storage device , protein -based         for use in a computing system . Application program 18 does
    storage device , molecule -based storage device , and /or oth -    not necessarily correspond to a file in a file system . A
    ers. In further embodiments, Storage 27 can be provided in         program can be stored in a portion of a file that may hold
    an optical storage device such as holographic storage , and/ or 60 other programs or data , in a single file dedicated to the
    others . In further embodiments , Storage 27 may include any       program , or in multiple files (i.e . files that store one or more
    non - volatile memory . In general, Storage 27 can be based on     modules , sub programs, or portions of code , etc .). Applica
    any of the aforementioned or other available storage devices tion Program 18 can be delivered in various forms such as,
    or mediums capable of operating as described herein . In      for example, executable file , library , script, plugin , addon ,
    some aspects, Storage 27 may include any features, func - 65 applet, interface , console application , web application ,
    tionalities , and embodiments of Memory 12 , and vice versa , application service provider (ASP ) -type application , oper
    as applicable .                                               ating system , and/or other forms. Application program 18
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 77 of 2562 PageID #: 12948


                                                          US 10 ,452,974 B1
                                                                                                         62
    can be deployed to be executed on one computing device or               input interface or system can be utilized to process input
    on multiple computing devices (i.e. cloud , distributed , or            from Human -machine Interface 23 or other input device for
    parallel computing , etc.), or at one site or distributed across        use by elements of Computing Device 70 . In some aspects ,
    multiple sites interconnected by a communication network Human -machine Interface 23 or other input device itself
    or an interface .                                           5 may include an input interface for processing input for use
      Network interface 25 can be utilized for interfacing by elements of Computing Device 70.
    Computing Device 70 with other devices via a network            Computing Device 70 may include or be connected to
    through a variety of connections including telephone lines , multiple display devices 21 . Display devices 21 can each be
   wired or wireless connections , LAN or WAN links (i.e .             of the same or different type or form . Computing Device 70
   802. 11, T1 , T3 , 56 kb , X .25 , etc .), broadband connections 10 and /or its elements comprise any type or form of suitable
   (i.e . ISDN , Frame Relay , ATM , etc .), or a combination hardware , programs, or a combination thereof to support,
   thereof. Examples of networks include the Internet, an              enable , or provide for the connection and use of multiple
    intranet, an extranet, a local area network (LAN ), a wide              display devices 21. In one example , Computing Device 70
    area network (WAN ), a personal area network (PAN ), a                  includes any type or form of video adapter, video card ,
   home area network (HAN ) , a campus area network (CAN ) , 15 driver, and /or library to interface , communicate , connect, or
    a metropolitan area network (MAN ), a global area network               otherwise use display devices 21. In some aspects, a video
    (GAN ), a storage area network (SAN ), virtual network , a              adapter may include multiple connectors to interface to
   virtual private network (VPN ), a Bluetooth network , a                  multiple display devices 21. In other aspects, Computing
   wireless network , a wireless LAN , a radio network , a                  Device 70 includes multiple video adapters, with each video
    HomePNA , a power line communication network , a G .hn 20 adapter connected to one or more display devices 21. In
    network , an optical fiber network , an Ethernet network , an           some embodiments , Computing Device 's 70 operating sys
    active networking network , a client- server network , a peer -         tem can be configured for using multiple displays 21 . In
    to -peer network , a bus network , a star network , a ring              other embodiments , one or more display devices 21 can be
    network , a mesh network , a star -bus network , a tree network ,       provided by one or more other computing devices such as
    a hierarchical topology network , and / or other networks . 25 remote computing devices connected to Computing Device
    Network interface 25 may include a built - in network             70 via a network or an interface .
    adapter, network interface card , PCMCIA network card ,             Computing Device 70 can operate under the control of
    card bus network adapter, wireless network adapter, Blu -         operating system 17 , which may support Computing
    etooth network adapter,WiFi network adapter, USB network Device 's 70 basic functions, interface with and manage
    adapter, modem , and / or any other device suitable for inter- 30 hardware resources, interface with and manage peripherals ,
    facing Computing Device 70 with any type of network provide common services for application programs, sched
    capable of communication and /or operations described                   ule tasks, and /or perform other functionalities. A modern
   herein .                                                                 operating system enables features and functionalities such as
       I/O devices 13 may be present in various shapes or forms             a high resolution display , graphical user interface (GUI),
    in Computing Device 70 . Examples of I/ O device 13 capable 35 touchscreen , cellular network connectivity (i. e .mobile oper
    of input include a joystick , a keyboard , a mouse , a trackpad , ating system , etc .), Bluetooth connectivity, WiFi connectiv
    a trackpoint, a touchscreen , a trackball , a microphone, a ity, global positioning system (GPS ) capabilities, mobile
    drawing tablet, a glove, a tactile input device , a still or video
                                                                     navigation , microphone, speaker, still picture camera , video
    camera , and /or other input device . Examples of I/O device camera , voice recorder, speech recognition , music player,
    13 capable of output include a video display, a touchscreen , 40 video player, near field communication , personal digital
    a projector, a glasses, a speaker, a tactile output device ,     assistant (PDA ), and /or other features, functionalities, or
    and /or other output device . Examples of I/O device 13 applications. For example , Computing Device 70 can use
    capable of input and output include a disk drive, an optical any conventionaloperating system , any embedded operating
    storage device, a modem , a network card , and /or other system , any real - time operating system , any open source
    input/output device . I/ O device 13 can be interfaced with 45 operating system , any video gaming operating system , any
    processor 11 via an 1/0 port 15 , for example . In some                 proprietary operating system , any online operating system ,
   aspects, I/ O device 13 can be a bridge between system bus        any operating system formobile computing devices, or any
   5 and an external communication bus such as a USB bus, an         other operating system capable of running on Computing
   Apple Desktop Bus , an RS - 232 serial connection , a SCSI Device 70 and performing operations described herein .
   bus , a FireWire bus, a FireWire 800 bus, an Ethernet bus , an 50 Example of operating systems include Windows XP, Win
   AppleTalk bus , a Gigabit Ethernet bus, an Asynchronous dows 7 , Windows 8, Windows 10 , etc . manufactured by
   Transfer Mode bus , a HIPPI bus , a Super HIPPI bus , a Microsoft Corporation of Redmond , Wash .; Mac OS, iPhone
    SerialPlus bus, a SCI/LAMP bus, a FibreChannel bus, a                   OS, etc. manufactured by Apple Computer of Cupertino ,
    Serial Attached small computer system interface bus, and/ or            Calif.; OS / 2 manufactured by International Business
    other bus.                                                           55 Machines of Armonk , N . Y .; Linux, a freely -available oper
       An output interface (not shown) such as a graphical user             ating system distributed by Caldera Corp . of Salt Lake City ,
    interface , an acoustic output interface , a tactile output inter-      Utah ; or any type or form of a Unix operating system , and/or
    face, any device driver ( i.e . audio , video , or other driver ),      others . Any operating systems such as the ones for Android
    and/ or other output interface or system can be utilized to             devices can similarly be utilized .
   process output from elements of Computing Device 70 for 60 Computing Device 70 can be implemented as or be part
   conveyance on an output device such as Display 21. In some of various model architectures such as web services , dis
    aspects, Display 21 or other output device itself may include           tributed computing, grid computing , cloud computing , and /
    an output interface for processing output from elements of              or other architectures . For example , in addition to the
    Computing Device 70 . Further, an input interface (not                  traditional desktop , server, or mobile operating system
    shown ) such as a keyboard listener, a touchscreen listener, a 65 architectures, a cloud -based operating system can be utilized
   mouse listener, any device driver ( i.e . audio , video , key -    to provide the structure on which embodiments of the
    board , mouse , touchscreen , or other driver ), and/or other disclosure can be implemented . Other aspects ofComputing
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 78 of 2562 PageID #: 12949


                                                          US 10 ,452 , 974 B1
                                  63                                                                    64
   Device 70 can also be implemented in the cloud without                 medium . Computer program can be installed onto a com
   departing from the spirit and scope of the disclosure . For            puting device to cause the computing device to perform the
    example , memory , storage, processing, and /or other ele -           operations and /or functionalities disclosed herein . Machine
   ments can be hosted in the cloud. In some embodiments,                 readable medium , computer- readable medium , or other such
   Computing Device 70 can be implemented on multiple 5 termsmay refer to any computer program product, appara
   devices . For example , a portion of Computing Device 70 can tus , and/ or device for providing instructions and/ or data to
   be implemented on a mobile device and another portion can    one or more programmable processors. As such , machine
   be implemented on wearable electronics.                                readable medium includes any medium that can send and / or
      Computing Device 70 can be or include any mobile                    receive machine instructions as a machine- readable signal.
    device , a mobile phone, a smartphone (i. e . iPhone, Windows 10 Examples of a machine- readable medium include a volatile
    phone , Blackberry phone , Android phone , etc .), a tablet, a        and /or non -volatile medium , a removable and /or non - re
    personal digital assistant (PDA ), wearable electronics ,             movable medium , a communication medium , a storage
    implantable electronics , and / or other mobile device capable        medium , and / or other medium . A communication medium ,
    of implementing the functionalities described herein . Com -          for example , can transmit computer readable instructions
   puting Device 70 can also be or include an embedded 15 and / or data in a modulated data signal such as a carrier wave
   device , which can be any device or system with a dedicated            or other transport technique , and may include any other form
   function within another device or system . Embedded sys -              of information delivery medium known in art. A non
    tems range from the simplest ones dedicated to one task with          transitory machine -readable medium comprises all machine
    no user interface to complex ones with advanced user                  readable media except for a transitory , propagating signal.
    interface that may resemble modern desktop computer sys - 20             In some embodiments , the disclosed artificially intelligent
    tems. Examples of devices comprising an embedded device               devices, systems, and methods for learning and/ or using a
    include a mobile telephone, a personal digital assistant              device 's circumstances for autonomous device operation , or
    ( PDA ), a gaming device , a media player, a digital still or         elements thereof, can be implemented entirely or in part in
    video camera, a pager, a television device , a set-top box , a        a device (i.e . microchip , circuitry, logic gates, electronic
   personal navigation device , a global positioning system 25 device , computing device , special or general purpose pro
   (GPS ) receiver, a portable storage device (i. e . a USB flash  cessor, etc .) or system that comprises (i. e . hard coded ,
   drive , etc .), a digital watch , a DVD player, a printer, a    internally stored , etc . ) or is provided with (i.e . externally
   microwave oven , a washing machine, a dishwasher, a gate - stored, etc .) instructions for implementing DCADO func
   way , a router, a hub , an automobile entertainment system , an tionalities . As such , the disclosed artificially intelligent
   automobile navigation system , a refrigerator, a washing 30 devices, systems, and methods for learning and/ or using a
   machine, a factory automation device , an assembly line         device 's circumstances for autonomous device operation , or
    device, a factory floor monitoring device , a thermostat, an          elements thereof, may include the processing, memory,
    automobile , a factory controller, a telephone, a network             storage, and/ or other features, functionalities , and embodi
    bridge, and /or other devices . An embedded device can ments of Computing Device 70 or elements thereof. Such
    operate under the control of an operating system for embed - 35 device or system can operate on its own (i. e . standalone
    ded devices such as MicroC /OS - II , QNX , VxWorks, eCos, device or system , etc. ), be embedded in another device or
    TinyOS, Windows Embedded , Embedded Linux , and/ or             system ( i.e . an industrial machine, a robot, a vehicle , a toy,
    other embedded device operating systems.                        a smartphone , a television device , an appliance , and /or any
       Various implementations of the disclosed devices, sys - other device or system capable of housing the elements
    tems, and methods can be realized in digital electronic 40 needed for DCADO functionalities ), work in combination
    circuitry , integrated circuitry , logic gates, application spe - with other devices or systems, or be available in any other
    cific integrated circuits (ASICs) , field programmable gate           configuration . In other embodiments , the disclosed artifi
    arrays (FPGAS), computer hardware , firmware , programs,              cially intelligent devices, systems, and methods for learning
    virtual machines, and/ or combinations thereof including              and/or using a device ' s circumstances for autonomous
    their structural, logical, and / or physical equivalents .         45 device operation , or elements thereof, may include Alterna
       The disclosed devices, systems, and methodsmay include             tive Memory 16 that provides instructions for implementing
    clients and servers. A client and server are generally , but not      DCADO functionalities to one or more Processors 11 . In
    always , remote from each other and typically, but not                further embodiments, the disclosed artificially intelligent
    always , interact via a network or an interface . The relation        devices, systems, and methods for learning and/ or using a
    ship of a client and server may arise by virtue of computer 50 device ' s circumstances for autonomous device operation , or
    programs running on their respective computers and having             elements thereof, can be implemented entirely or in part as
    a client- server relationship to each other, for example.             a computer program and executed by one or more Proces
       The disclosed devices, systems, and methods can be                 sors 11 . Such program can be implemented in one or more
    implemented in a computing system that includes a back end            modules or units of a single or multiple computer programs.
    component, a middleware component, a front end compo - 55 Such program may be able to attach to or interface with ,
    nent , or any combination thereof. The components of the              inspect, and/ or take control of another application program
    system can be interconnected by any form or medium of                 to implement DCADO functionalities . In further embodi
    digital data communication such as , for example , a network .        ments , the disclosed artificially intelligent devices , systems,
      Computing Device 70 may include or be interfaced with               and methods for learning and/or using a device 's circum
    a computer program product comprising instructions or 60 stances for autonomous device operation , or elements
    logic encoded on a computer -readable medium . Such           thereof, can be implemented as a network , web , distributed ,
    instructions or logic , when executed ,may configure or cause cloud , or other such application accessed on one or more
    one or more processors to perform the operations and/ or      remote computing devices ( i. e . servers , cloud , etc . ) via
    functionalities disclosed herein . For example , a computer Network Interface 25 , such remote computing devices
    program can be provided or encoded on a computer - readable 65 including processing capabilities and instructions for imple
   medium such as an optical medium (i. e . DVD -ROM , etc .) ,           menting DCADO functionalities. In further embodiments ,
    flash drive, hard drive , any memory, firmware, or other              the disclosed artificially intelligent devices, systems, and
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 79 of 2562 PageID #: 12950


                                                         US 10 ,452 , 974 B1
                                  65                                                                   66
   methods for learning and /or using a device 's circumstances         memory locations or structures, and /or other file , storage ,
    for autonomous device operation , or elements thereof, can          memory , or data arrangements.
   be ( 1 ) attached to or interfaced with any computing device           Where a reference to an interface is used herein , it should
    or application program , (2 ) included as a feature of an           be understood that the interface comprises any hardware ,
    operating system , (3 ) built (i.e . hard coded , etc. ) into any 5 device , system , program , method , and / or combination
    computing device or application program , and/ or ( 4 ) avail- thereof that enable direct or operative coupling, connection ,
    able in any other configuration to provide its functionalities .    and /or interaction of the elements between which the inter
       In some embodiments, the disclosed artificially intelligent      face is indicated . A line or arrow shown in the figures
    devices, systems, and methods for learning and /or using a          between any of the depicted elements comprises such inter
    device 's circumstances for autonomous device operation, or         face. Examples of an interface include a direct connection ,
    elements thereof, can be implemented at least in part in a          an operative connection , a wired connection ( i. e . wire , cable ,
    computer program such as Java application or program . Java         etc .), a wireless connection , a device , a network , a bus , a
   provides a robust and flexible environment for application           circuit, a firmware , a driver, a bridge , a program , a combi
                                                                     nation thereof, and /or others .
   programs including flexible user interfaces , robust security , 15 Where a reference to an element coupled or connected to
   built-in network protocols, powerful application program          another element is used herein , it should be understood that
   ming interfaces, database or DBMS connectivity and inter -           the element may be in communication or other interactive
   facing functionalities , file manipulation capabilities, support     relationship with the other element. Furthermore , an element
   for networked applications, and / or other features or func          coupled or connected to another element can be coupled or
    tionalities. Application programs based on Java can be 20 connected to any other element in alternate implementa
    portable across many devices , yet leverage each device 's          tions. Terms coupled, connected , interfaced , or other such
    native capabilities. Java supports the feature sets of most         terms may be used interchangeably herein depending on
    smartphones and a broad range of connected devices while            context.
    still fitting within their resource constraints . Various Java        Where a reference to an element matching another ele
   platforms include virtual machine features comprising a 25 ment is used herein , it should be understood that the element
    runtime environment for application programs. Java plat -           may be equivalent or similar to the other element. Therefore ,
    forms provide a wide range of user-level functionalities that       the term match or matching can refer to total equivalence or
    can be implemented in application programs such as dis -            similarity depending on context.
    playing text and graphics , playing and recording audio               Where a reference to a device is used herein , it should be
    content, displaying and recording visual content, communi- 30 understood that the device may include or be referred to as
    cating with another computing device, and /or other func - a system , and vice versa depending on context, since a
    tionalities. It should be understood that the disclosed artifi- device may include a system of elements and a system may
    cially intelligent devices , systems, and methods for learning      be embodied in a device .
    and/ or using a device 's circumstances for autonomous       Where a reference to a collection of elements is used
    device operation , or elements thereof, are programming 35 herein , it should be understood that the collection of ele
    language , platform , and operating system independent. ments may include one or more elements . In some aspects
    Examples of programming languages that can be used                  or contexts , a reference to a collection of elements does not
    instead of or in addition to Java include C , C + + , Cobol,        imply that the collection is an element itself.
    Python , Java Script, Tcl, Visual Basic , Pascal, VB Script,           Where a reference to an object is used herein , it should be
   Perl, PHP, Ruby, and/ or other programming languages 40 understood that the object may be a physical object (i.e .
    capable of implementing the functionalities described               object detected in a device 's surrounding, etc .), an electronic
   herein .                                                             object (i.e . object in an object oriented application program ,
      Where a reference to a specific file or file type is used         etc .), and /or other object depending on context.
    herein , other files or file types can be substituted .                Where a mention of a function ,method , routine , subrou
      Where a reference to a data structure is used herein , it 45 tine, or other such procedure is used herein , it should be
    should be understood that any variety of data structures can        understood that the function , method , routine , subroutine , or
   be used such as , for example , array, list, linked list , doubly    other such procedure comprises a call , reference, or pointer
    linked list, queue, tree, heap , graph , map , grid , matrix ,      to the function ,method , routine , subroutine, or other such
   multi- dimensionalmatrix , table , database , database manage -      procedure .
   ment system (DBMS ), file , neural network , and / or any other 50      Where a mention of data , object, data structure , item ,
    type or form of a data structure including a custom one . A         element, or thing is used herein , it should be understood that
    data structure may include one or more fields or data fields     the data , object, data structure , item , element, or thing
    that are part of or associated with the data structure . A field comprises a reference or pointer to the data , object , data
    or data field may include a data , an object, a data structure , structure , item , element, or thing .
    and / or any other element or a reference/pointer thereto . A 55 Referring to FIG . 2 , an embodiment of Device 98 com
    data structure can be stored in one or more memories , files ,      prising Unit for Learning and / or Using a Device 's Circum
    or other repositories . A data structure and /or elements           stances for Autonomous Device Operation (DCADO Unit
    thereof, when stored in a memory , file , or other repository ,     100 ) is illustrated . Device 98 also comprises interconnected
   may be stored in a different arrangement than the arrange -          Processor 11 , Human -machine Interface 23 , Sensor 92 ,
   ment of the data structure and /or elements thereof. For 60 Object Processing Unit 93 , Memory 12 , and Storage 27 .
    example , a sequence of elements can be stored in an                Processor 11 includes or executes Application Program 18 .
    arrangement other than a sequence in a memory, file , or            DCADO Unit 100 comprises interconnected Artificial Intel
    other repository .                                            ligence Unit 110 , Acquisition Interface 120 , and Modifica
     Where a reference to a repository is used herein , it should tion Interface 130 . Other additional elements can be
   be understood that a repository may be or include one or 65 included as needed , or some of the disclosed ones can be
   more files or file systems, one or more storage locations or         excluded , or a combination thereof can be utilized in alter
   structures, one or more storage systems, one or more                 nate embodiments .
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 80 of 2562 PageID #: 12951


                                                         US 10 ,452 , 974 B1
                               67                                                                           68
      In one example, the teaching presented by the disclosure            any actions or operations of any of the disclosed methods
    can be implemented in a device or system for learning and /or         such as methods 9100 , 9200 , 9300 , 9400, 9500 , 9600 , and/or
    using a device ' s circumstances for autonomous device                others ( all later described ).
   operation . The device or system may include a processor                Device 98 comprises any hardware , programs, or a com
   circuit (i.e. Processor 11 , etc .) configured to execute instruc - 5 bination thereof. Although , Device 98 is referred to as a
   tion sets (i.e. Instruction Sets 526 , etc .) for operating a device herein , Device 98 may be or include a system as a
   device . The device or system may further include a memory            system may be embodied in Device 98 . Device 98 may
   unit (i.e . Memory 12 , etc.) configured to store data . The include any features , functionalities, and embodiments of
    device or system may further include a sensor (i. e. Sensor           Computing Device 70 , or elements thereof. In some embodi
    92, etc . ) configured to detect objects (i.e . Objects 615 , etc . ). " ments , Device 98 includes a computing enabled device for
    The device or system may further include an artificial performing mechanical or physical operations ( i. e . via actua
    intelligence unit (i.e . Artificial Intelligence Unit 110 , etc . ). tors, etc. ). In other embodiments, Device 98 includes a
     The artificial intelligence unit may be configured to receive           computing enabled device for performing non -mechanical
    a first collection of object representations (i. e . Collection of 16 and/or other operations. Examples of Device 98 include an
    Object Representations 525 , etc . ), the first collection of            industrial machine, a toy, a robot, a vehicle, an appliance , a
    object representations including one or more representations          control device, a smartphone or other mobile computer, any
    of objects detected by the sensor. The artificial intelligence        computer, and /or other computing enabled device or
    unit may also be configured to receive a first one or more            machine. Such device or machine may be built for any
    instruction sets for operating the device. The artificial intel- 20 function or purpose some examples of which are described
    ligence unit may also be configured to learn the first col later .
    lection of object representations correlated with the first one       User 50 (also referred to simply as user or other suitable
    or more instruction sets for operating the device . The name or reference ) comprises a human user or non -human
    artificial intelligence unit may also be configured to receive user. A non -human User 50 includes any device , system ,
    a new collection of object representations, the new collec - 25 program , and/ or other mechanism for operating or control
    tion of object representations including one or more repre ling Device 98 and /or elements thereof. In one example ,
    sentations of objects detected by the sensor. The artificial          User 50 may issue an operating direction to Application
    intelligence unit may also be configured to anticipate the            Program 18 responsive to which Application Program ' s 18
   first one or more instruction sets for operating the device          instructions or instruction sets maybe executed by Processor
                                                                na 3030 11 to perform a desired operation on Device 98 . In another
   correlated with the first collection of object representations       example , User 50 may issue an operating direction to
   based on at least a partial match between the new collection Processor
   of object representations and the first collection of object other processing     11 , Logic Circuit 250 (later described ), and /or
   representations . The artificial intelligence unit may also be                           element responsive to which Processor 11 ,
   configured to cause the processor circuit to execute theensfirst 35 implement logic to, perform
                                                                        Logic   Circuit   250  and /or other processing element may
                                                                                                        a desired operation on Device
   one or more instruction sets for operating the device corre          98 . User 's 50 operating directions comprise any user input
   lated with the first collection of object representations, the ted data (i. e . values , text, symbols, etc .), directions (i. e .
    causing performed in response to the anticipating of the move right, move up ,move forward , copy an item , click on
    artificial intelligence unit , wherein the device performs one   a link , etc .), instructions or instruction sets (i. e. manually
    or more operations defined by the first one or more instruc - 40 inputted instructions or instruction sets , etc .), and /or other
    tion sets for operating the device correlated with the first inputs or information . A non -human User 50 can utilize
    collection of object representations, the one or more opera -         more suitable interfaces instead of, or in addition to , Human
    tions performed in response to the executing by the proces -          machine Interface 23 and / or Display 21 for controlling
    sor circuit. Any of the operations of the aforementioned              Device 98 and /or elements thereof. Examples of such inter
    elements can be performed repeatedly and/ or in different 45 faces include an application programming interface ( API) ,
    orders in alternate embodiments . In some embodiments , a             bridge (i.e . bridge between applications, devices, or systems,
    stream of collections of object representations can be used           etc .), driver, socket, direct or operative connection , handle ,
    instead of or in addition to any collection of object repre -         function / routine/subroutine , and / or other interfaces .
    sentations such as, for example , using a first stream of                In some embodiments, Processor 11 , Logic Circuit 250 ,
    collections of object representations instead of the first 50 Application Program 18 , and / or other processing element
    collection of object representations . In other embodiments,          may control or affect an actuator (not shown). Actuator
    a logic circuit (i. e . Logic Circuit 250, etc. ) may be used         comprises the functionality for implementing motion ,
    instead of the processor circuit. In such embodiments, one or         actions, behaviors , maneuvers , and / or other mechanical or
    more instruction sets for operating the device (i.e . first one       physical operations. Device 98 may include one or more
    or more instruction sets for operating the device , etc .) may 55 actuators to enable Device 98 to perform mechanical, physi
    include or be substituted with one or more inputs into or one         cal, or other operations and/ or to interact with its environ
    or more outputs from the logic circuit . In further embodi-           ment. For example, an actuator may include or be coupled
   ments, an actuator may be included instead of or in addition           to an element such as a wheel, arm , or other element to act
   to the processor circuit. In such embodiments , one or more            upon the environment. Examples of an actuator include a
    instruction sets for operating the device (i . e . first one or more 60 motor, a linear motor, a servomotor, a hydraulic element, a
   instruction sets for operating the device , etc .) may include or      pneumatic element, an electro -magnetic element, a spring
   be substituted with one or more inputs into the actuator.              element, and /or other actuators . Examples of types of actua
   Other additional elements can be included as needed , or               tors include a rotary actuator, a linear actuator, and /or other
   some of the disclosed ones can be excluded , or a combina -            types of actuators . In other embodiments, Processor 11 ,
    tion thereof can be utilized in alternate embodiments. The 65 Logic Circuit 250, Application Program 18 , and /or other
    device or system for learning and/ or using a device 's cir -         processing elementmay control or affect any other device or
    cumstances for autonomous device operation may include                element instead of or in addition to an actuator.
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 81 of 2562 PageID #: 12952


                                                                US 10 ,452 , 974 B1
                                      69                                                                      70
      Referring to FIGS . 3A - 3E , various embodiments of Sen    can utilize a charge coupled device (CCD ), a complementary
   sors 92 and elements of Object Processing Unit 93 are metal -oxide - semiconductor (CMOS) sensor, and /or other
   illustrated .                                                  electronic image sensor to capture digital pictures that can
      Sensor 92 (also referred to simply as sensor or other then be stored in a memory or storage, or transmitted to any
   suitable name or reference ) comprises the functionality for 5 of the disclosed or other elements for further processing . In
   obtaining or detecting information about its environment, another example , analog Camera 92a can utilize an analog
    and / or other functionalities . As such , one or more Sensors 92            to -digital converter to produce digital pictures . In some
    can be used to detect objects and / or their properties in                   embodiments , Camera 92a can be built, embedded , or
   Device ' s 98 surrounding. In some aspects , Device 's 98                     integrated in Device 98 and/ or other disclosed element. In
    surrounding may include exterior of Device 98 . In other 10 other embodiments , Camera 92a can be an external Camera
    aspects, Device ' s 98 surrounding may include interior of                   92a connected with Device 98 and/ or other disclosed ele
    Device 98 in case of hollow Device 98 , Device 98 com                        ment. In further embodiments , Camera 92a comprises Com
    prising compartments or openings , and / or other variously                  puting Device 70 or elements thereof. In general, Camera
    shaped Device 98 . Examples of aspects of an environment                     92a can be implemented in any suitable configuration to
    that Sensor 92 can measure or be sensitive to include light 15 provide its functionalities . Camera 92a may capture one or
    (i.e . camera , lidar, etc .), electromagnetism /electromagnetic             more digital pictures . A digital picture may include a col
    field (i. e . radar, etc .), sound (i. e . microphone, sonar, etc . ),       lection of color encoded pixels or dots. Examples of file
   physical contact (i. e . tactile sensor, etc . ), magnetism /mag -            formats that can be utilized to store a digital picture include
    netic field (i. e . compass , etc . ), electricity /electric field , tem -   JPEG ,GIF , TIFF, PNG , PDF , and /or other digitally encoded
    perature, gravity , vibration , pressure , and /or others . In some 20 picture formats . A stream of digital pictures (i. e . motion
   aspects , a passive sensor (i.e. camera , microphone , etc.)                  picture, video , etc .) may include one or more digital pic
   measures signals or radiation emitted or reflected by an                      tures. Examples of file formats that can be utilized to store
    object. In other aspects , an active sensor (i. e. lidar, radar ,            a stream of digital pictures include MPEG , AVI, FLV , MOV,
    sonar, etc .) emits signals or radiation and measures the                    RM , SWF, WMV, DivX , and / or other digitally encoded
    signals or radiation reflected or backscattered from an 25 motion picture formats .
   object . A reference to a Sensor 92 herein includes a reference                 In other embodiments , Sensor 92 may be or include
   to one or more Sensors 92 as applicable . In some designs , a                 Microphone 92b as shown in FIG . 3B . Microphone 92b
   plurality of Sensors 92 may be used to detect objects and /or                 comprises the functionality for capturing one or more
    their properties from different angles or sides of Device 98 .               sounds, and / or other functionalities. As such , Microphone
    For example, four Cameras 92a can be placed on four 30 92b can be used to capture sounds from Device 's 98
    corners of Device 98 to cover 360 degrees of view of                         surrounding . Microphone 92b may be useful in detecting
   Device 's 98 surrounding . In other designs, a plurality of                   existence of an object , type of an object, identity of an
    different types of Sensors 92 may be used to detect different                object, bearing /angle of an object, activity i.e . motion ,
    types of objects and /or their properties . For example , one or             sounding, etc .) of an object, and/or other properties of an
   more Cameras 92a can be used to detect and identify an 35 object. In some aspects , Microphone 92b may be omnidi
    object, whereas , Radar 92d can be used to determine dis -                   rectional microphone that enables capturing sounds from
    tance and bearing /angle of the object relative to Device 98 .               any direction . In other aspects , Microphone 92b may be a
    In further designs, a signal- emitting element can be placed                 directional (i.e . unidirectional, bidirectional, etc .) micro
   within or onto an object and Sensor 92 can detect the signal                  phone that enables capturing sounds from one or more
    from the signal- emitting element, thereby detecting the 40 directions while ignoring or being insensitive to sounds from
    object and /or its properties . For example, a radio - frequency             other directions . In general, Microphone 92b may utilize a
    identification (RFID ) emittermay be placed within an object                 membrane sensitive to air pressure and may produce elec
    to help Sensor 92 detect, identify , and / or obtain other                   trical signal from air pressure variations . Samples of the
    information about the object.                                                 electrical signal can then be read to produce a stream of
      In some embodiments, Sensor 92 may be or include 45 digital sound samples. Any other technique known in art can
   Camera 92a as shown in FIG . 3A . Camera 92a comprises be utilized to facilitate Microphone 92b functionalities . In
   the functionality for capturing one or more pictures , and/ or one example , a digital Microphone 92b may include an
   other functionalities . As such , Camera 92a can be used to    integrated analog - to - digital converter to capture a stream of
   capture pictures of Device 's 98 surrounding. Camera 92a       digital sound samples that can then be stored in a memory
   may be useful in detecting existence of an object, type of an 50 or storage, or transmitted to any of the disclosed or other
    object, identity of an object, distance of an object, bearing                elements for further processing. In another example , analog
    angle of an object, location of an object, shape/size of an                  Microphone 92b may utilize an external analog-to - digital
    object, activity of an object, and/ or other properties of an                converter to produce a stream of digital sound samples . In
    object. In some aspects, Camera 92a may be or comprises a                    some embodiments , Microphone 92b can be built, embed
   motion picture camera that can capture streams of pictures 55 ded , or integrated in Device 98 . In other embodiments ,
    (i.e. motion pictures, videos, etc .). In other aspects, Camera              Microphone 92b can be an external Microphone 92b con
    92a may be or comprises a still picture camera that can                      nected with Device 98 . In further embodiments where used
    capture still pictures (i.e . photographs, etc .). In further                in water, Microphone 92b may be or include a hydrophone.
    aspects, Camera 92a may be or comprises a stereo camera                      In further embodiments, Microphone 92b comprises Com
    (i. e . camera with multiple lenses, etc . ) that can capture 60 puting Device 70 or elements thereof. In general, Micro
    stereoscopic or range pictures . In further aspects , Camera                 phone 92b can be implemented in any suitable configuration
    92a may be or comprises any other Camera 92a . In general,                   to provide its functionalities. Examples of file formats that
    Camera 92a may capture any light (i.e. visible light, infrared               can be utilized to store a stream of digital sound samples
    light, ultraviolet light, X -ray light, etc.) across the electro             include WAV , WMA , AIFF , MP3 , RA , OGG , and /or other
   magnetic spectrum onto a light- sensitive material. Any other 65 digitally encoded sound formats .
   technique known in art can be utilized to facilitate Camera         In further embodiments , Sensor 92 may be or include
   92a functionalities . In one example , a digital Camera 92a Lidar 92c as shown in FIG . 3C . Lidar 92c may be useful in
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 82 of 2562 PageID #: 12953


                                                         US 10 ,452,974 B1
                                 71                                                                      72
   detecting existence of an object, type of an object, identity       associated with a time stamp (not shown ), order (not
   of an object, distance of an object, bearing/ angle of an           shown ), or other time related information . For example , one
   object, location of an object, shape/ size of an object, activity   Collection of Object Representations 525 may be associated
   of an object, and /or other properties of an object. In some        with time stamp t1 , another Collection of Object Represen
   aspects, Lidar 92c may emit a light signal ( i. e . laser beam , 5 tations 525 may be associated with time stamp t2 , and so on .
   etc . ) and listen for a signal that is reflected or backscattered Time stamps t1 , t2 , etc . may indicate the times of generating
   from an object. Any other technique known in art can be     Collections of Object Representations 525 , for instance . In
   utilized to facilitate Lidar 92c functionalities .          other embodiments , Object Processing Unit 93 comprises
      In further embodiments , Sensor 92 may be or include a   the functionality for creating or generating a stream of
   Radar 92d as shown in FIG . 3D . Radar 92d may be useful 10 Collections of Object Representations 525 . A stream of
   in detecting existence of an object, type of an object, Collections of Object Representations 525 may include one
    distance of an object, bearing/ angle of an object, location of     Collection of Object Representations 525 or a group ,
    an object, shape/ size of an object , activity of an object,        sequence , or other plurality of Collections of Object Rep
    and/ or other properties of an object. In some aspects, Radar resentations 525 . In some aspects , a stream of Collections of
    92d may emit a radio signal (i. e . radio wave , etc .) and listen 15 Object Representations 525 includes one or more Collec
    for a signal that is reflected or backscattered from an object. tions of Object Representations 525 , and /or other elements
    Any other technique known in art can be utilized to facilitate        or information related to objects detected in Device 's 98
   Radar 92d functionalities .                                     surrounding over time. A stream of Collections of Object
      In further embodiments, Sensor 92 may be or include Representations 525 may, therefore, include knowledge (i.e .
   Sonar 92e as shown in FIG . 3E . Sonar 92e may be useful in 20 unit of knowledge, etc.) of Device 's 98 circumstances
   detecting existence of an object, type of an object, distance including objects with various properties over time. As
   of an object, bearing angle of an object, location of an        circumstances including objects with various properties in
   object, shape/size of an object, activity of an object, and /or Device 's 98 surrounding change (i.e. objects and /or their
   other properties of an object. In some aspects, Sonar 92e properties change ,move , act, transform , etc. ) over time, this
   may emit a sound signal (i. e . sound pulse, etc . ) and listen for 25 change may be captured in a stream of Collections of Object
    a signal that is reflected or backscattered from an object. Any
                                                                  Representations 525 . In some designs , each Collection of
    other technique known in art can be utilized to facilitate    Object Representations 525 in a stream may include or be
    Sonar 92e functionalities.                                    associated with the aforementioned time stamp, order, or
      One of ordinary skill in art will understand that the other time related information . For example , one Collection
    aforementioned sensors are described merely as examples of 30 of Object Representations 525 in a stream may be associated
    a variety of possible implementations, and that while all with order 1 , a next Collection of Object Representations
   possible sensors are too voluminous to describe , other              525 in the stream may be associated with order 2 , and so on .
   sensors known in art that can facilitate detecting of objects        Orders 1 , 2 , etc . may indicate the orders or places of
    and/ or their properties in Device 's 98 surrounding are within     Collections of Object Representations 525 within a stream
    the scope of this disclosure . Any combination of the afore - 35 (i . e . sequence, etc. ), for instance . Examples of objects
   mentioned and/ or other sensors can be used in various               include biological objects (i. e. persons , animals, vegetation ,
    embodiments.                                                        etc .), nature objects (i.e . rocks , bodies of water, etc .), man
      Object Processing Unit 93 comprises the functionality for        made objects ( i. e . buildings, streets , ground / aerial/aquatic
    processing output from Sensor 92 to obtain information of           vehicles, etc .), and /or others. In some aspects, any part of an
    interest, and/ or other functionalities . As such , Object Pro - 40 object may be detected as an object itself. For instance ,
    cessing Unit 93 can be used to process output from Sensor instead of or in addition to detecting a vehicle as an object,
    92 to detect objects and /or their properties in Device 's 98       a wheel and/ or other parts of the vehicle may be detected as
    surrounding . In some embodiments , Object Processing Unit          objects . In general, object may include any object or part
    93 comprises the functionality for creating or generating           thereof that can be detected . Examples of object properties
    Collection ofObject Representations 525 ( also referred to as 45 include existence of an object, type of an object (i. e . person ,
    Coll of Obj Rep or other suitable name or reference ) and           cat, vehicle , building , street, tree, rock , etc .), identity of an
    storing one or more Object Representations 625 (also                object (i.e. name, identifier, etc .), distance of an object,
   referred to simply as object representations, representations bearing/ angle of an object, location of an object (i. e . distance
   of objects , or other suitable name or reference ), Object      and bearing/ angle from a known point, coordinates , etc .),
   Properties 630 (also referred to simply as object properties 50 shape / size of an object (i. e . height, width , depth , computer
   or other suitable name or reference ), and / or other elements model, point cloud , etc .), activity of an object (i. e . motion ,
   or information into the Collection of Object Representations gestures, etc .), and/ or other properties of an object. Type of
   525 . As such , Collection of Object Representations 525        an object, for example, may include any classification of
    comprises the functionality for storing one or more Object          objects ranging from detailed such as person , cat , vehicle ,
   Representations 625 , Object Properties 630 , and /or other 55 building, street, tree , rock , etc . to generalized such as
    elements or information . Object Representation 625 may            biological object, nature object, manmade object, etc ., and
    include an electronic representation of an object (i.e . Object     or others including their sub -types . Location of an object, for
   615 [ later described ], etc .) detected in Device 's 98 surround    example, can include a relative location such as one defined
    ing . In some aspects, Collection of Object Representations by distance and bearing/ angle from a known point or loca
    525 includes one or more Object Representations 625 , 60 tion (i.e . Device 98 location , etc .). Location of an object, for
    Object Properties 630 , and / or other elements or information      example, can also include absolute location such as one
    related to objects detected in Device 's 98 surrounding at a        defined by object coordinates. In general, an object property
    particular time. Collection of Object Representations 525          may include any attribute of an object ( i. e . existence of an
   may, therefore , include knowledge ( i.e . unit of knowledge ,       object, type of an object , identity of an object, shape / size of
    etc .) of Device 's 98 circumstances including objects with 65 an object , etc .), any relationship ofan object with Device 98 ,
    various properties at a particular time. In some designs , a   other objects, or the environment (i.e . distance of an object,
    Collection of Object Representations 525 may include or be bearing /angle of an object, friend / foe relationship , etc.),
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 83 of 2562 PageID #: 12954


                                                           US 10 ,452,974 B1
                                  73                                                                      74
    and /or other information related to an object. In some               ognize multiple objects and /or their properties from a digital
    implementations, Object Processing Unit 93 and /or any of             picture using the aforementioned pixel or feature compari
    its elements or functionalities can be included in Sensor 92 .        sons, and/or other detection or recognition techniques. For
    In other implementations , Object Processing Unit 93 and /or          example , a picture may depict two objects in two of its
   any of its elements or functionalities can be embedded into 5 regions both of which Picture Recognizer 94a can detect
    or operate on Processor 11 . In further implementations,       simultaneously . In further aspects , where objects and /or their
    Object Processing Unit 93 and /or any of its elements or properties span multiple pictures, Picture Recognizer 94a
    functionalities can be embedded into or operate in DCADO       may detect or recognize objects and/ or their properties by
    Unit 100 , and /or other disclosed elements . Object Process - applying the aforementioned pixel or feature comparisons
    ing Unit 93 may be provided in any suitable configuration . 10 and /or other detection or recognition techniques over a
    Object Processing Unit 93 may include any signal process -     stream of digital pictures (i.e . motion picture , video , etc .).
    ing techniques or elements known in art as applicable .               For example , once an object is detected in a digital picture
       In some embodiments , Object Processing Unit 93 may                (i. e . frame, etc .) of a stream of digital pictures ( i.e . motion
    include Picture Recognizer 94a as shown in FIG . 3A .                 picture , video , etc .), the region of pixels comprising the
    Picture Recognizer 94a comprises the functionality for 15 detected object or the object' s features can be searched in
    detecting or recognizing objects and/ or their properties in          other pictures of the stream of digital pictures , thereby
    visual data , and/or other disclosed functionalities . Visual         tracking the object through the stream of digital pictures. In
    data includes digital motion pictures, digital still pictures, further aspects , Picture Recognizer 94a may detect or rec
    and/ or other visual data . Examples of file formats that can be ognize an object 's activities by identifying and /or analyzing
    utilized to store visual data include AVI, DivX , MPEG , 20 differences between a detected region of pixels of one
    JPEG , GIF , TIFF, PNG , PDF, and /or other file formats . For        picture (i. e . frame, etc .) and detected regions of pixels of
    example , Picture Recognizer 94a can be used for detecting            other pictures in a stream of digital pictures . For example, a
    or recognizing objects and /or their properties in one or more        region of pixels comprising a person ' s face can be detected
    digital pictures captured by one or more Cameras 92a .                in multiple consecutive pictures of a stream of digital
    Picture Recognizer 94a can be utilized in detecting or 25 pictures ( i. e . motion picture, video , etc . ). Differences among
   recognizing existence of an object, type of an object, identity        the detected regions of the consecutive pictures may be
   of an object, distance of an object, bearing/ angle of an              identified in the mouth part of the person ' s face to indicate
   object, location ofan object, shape/size of an object, activity        smiling or speaking activity . In further aspects , Picture
   of an object, and/ or other properties of an object. In general,       Recognizer 94a may detect or recognize objects and / or their
   Picture Recognizer 94a can be used for any operation 30 properties using one or more artificial neural networks,
    supported by Picture Recognizer 94a . Picture Recognizer              which may include statistical techniques. Examples of arti
    94a may detect or recognize an object and/or its properties           ficial neural networks that can be used in Picture Recognizer
    as well as track the object and/ or its properties in one or          94a include convolutional neural networks (CNNs ), time
   more digital pictures or streams of digital pictures (i.e .            delay neural networks ( TDNNs), deep neural networks ,
   motion pictures , video , etc . ). In the case of a person , Picture 35 and / or others . In one example , picture recognition tech
   Recognizer 94a may detect or recognize a human head or                 niques and/ or tools involving convolutional neural networks
    face , upper body, full body, or portions/combinations                may include identifying and /or analyzing tiled and /or over
    thereof. In some aspects , Picture Recognizer 94a may detect          lapping regions or features of a digital picture , which may
    or recognize objects and /or their properties from a digital          then be used to search for pictures with matching regions or
    picture by comparing regions of pixels from the digital 40 features . In another example , features of different convolu
    picture with collections of pixels comprising known objects tional neural networks responsible for spatial and temporal
   and / or their properties . The collections of pixels comprising       streams can be fused to detect objects and /or their properties
   known objects and /or their properties can be learned or               in streams of digital pictures ( i.e . motion pictures , videos,
   manually , programmatically, or otherwise defined . The col            etc .). In general, Picture Recognizer 94a may include any
    lections of pixels comprising known objects and /or their 45 machine learning , deep learning, and /or other artificial intel
    properties can be stored in any data structure or repository ligence techniques . In further aspects , Picture Recognizer
    (i.e . one or more files, database , etc.) that resides locally on    94a can detect distance of a recognized object in a picture
   Device 98, or remotely on a remote computing device (i.e .             captured by a camera using structured light, sheet of light, or
    server , cloud , etc .) accessible over a network or an interface .   other lighting schemes , and /or by using phase shift analysis ,
    In other aspects , Picture Recognizer 94a may detect or 50 time of flight, interferometry, or other techniques. In further
    recognize objects and/ or their properties from a digital aspects , Picture Recognizer 94a may detect distance of a
    picture by comparing features (i.e. lines, edges, ridges , recognized object in a picture captured by a stereo camera by
    corners , blobs , regions, etc . ) of the digital picture with    using triangulation and / or other techniques . In further
    features of known objects and /or their properties . The fea      aspects, Picture Recognizer 94amay detect bearing/angle of
    tures of known objects and/ or their properties can be learned 55 a recognized object relative to the camera - facing direction
    or manually , programmatically , or otherwise defined . The by measuring the distance from the vertical centerline of the
    features of known objects and/ or their properties can be             picture to a pixel in the recognized object based on known
    stored in any data structure or repository (i. e . neural net -       picture resolution and camera ' s angle of view . Any other
   work , one or more files , database , etc . ) that resides locally on techniques known in art can be utilized in Picture Recog
   Device 98 , or remotely on a remote computing device (i.e . 60 nizer 94a . For example , thresholds for similarity , statistical
   server, cloud , etc .) accessible over a network or an interface . techniques, and/ or optimization techniques can be utilized to
   Typical steps or elements in a feature oriented picture               determine a match in any of the above - described detection
   recognition include pre - processing, feature extraction ,            or recognition techniques . In someexemplary embodiments ,
   detection / segmentation , decision -making, and /or others , or a    object recognition techniques and / or tools such as OpenCV
    combination thereof, each of which may include its own 65 (Open Source Computer Vision ) library , CamFind API,
    sub - steps or sub - elements depending on the application . In
                                                              Kooaba , 6px API, Dextro API, and/or others can be utilized
    further aspects, Picture Recognizer 94a may detect or rec for detecting or recognizing objects and /or their properties in
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 84 of 2562 PageID #: 12955


                                                           US 10 ,452 , 974 B1
                                   75                                                                     76
    digital pictures. In some aspects , picture recognition tech -        bilinear interpolation , bicubic interpolation , and /or others. In
    niques and /or tools involve identifying and/or analyzing             further implementations, Picture Recognizer 94a can
    features such as lines , edges , ridges , corners , blobs, regions,   manipulate content (i. e . all pixels , one or more regions, one
    and /or their relative positions, sizes, shapes , etc ., which may    or more depicted objects, etc. ) of a digital picture before or
   then be used to search for pictures with matching features. 5 during comparison . Such content manipulation may include
   For example , OpenCV library can detect an object ( i.e . moving , centering , aligning, resizing, transforming, and /or
   person , animal, vehicle , rock , etc .) and /or its properties in otherwise manipulating content of a digital picture . For
    one or more digital pictures captured by Camera 92a or                example , Picture Recognizer 94a can move, center , or align
    stored in an electronic repository , which can then be utilized       content of one picture to make it more comparable to another
    in DCADO Unit 100 , Artificial Intelligence Unit 110 , and /or 10 picture. Any of the publically available , custom , or other
    other elements. In other exemplary embodiments , facial digital picture manipulation techniques or programs can be
    recognition techniques and/or tools such as OpenCV ( Open utilized such as pixel moving , warping , distorting, afore
    Source Computer Vision ) library , Animetrics FaceR API,              mentioned interpolations, and/ or others . In further imple
    Lambda Labs FacialRecognition API, Face + + SDK , Neven            mentations, in digital pictures comprising transparency fea
    Vision (also known as N - Vision ) Engine , and / or others can 15 tures or functionalities, Picture Recognizer 94a can utilize a
    be utilized for detecting or recognizing faces in digital             threshold for acceptable number or percentage transparency
    pictures . In some aspects , facial recognition techniques            difference . Alternatively , transparency can be applied to one
    and /or tools involve identifying and /or analyzing facial            or more pixels of a digital picture and color difference may
    features such as the relative position , size , and/ or shape of then be determined between compared pixels taking into
    the eyes, nose , cheekbones, jaw , etc ., which may then be 20 account the transparency related color effect. Alternatively ,
    used to search for pictures with matching features . For transparent pixels can be excluded from comparison . In
    example , FaceR API can detect a person 's face in one or        further implementations, certain regions or subsets of pixels
   more digital pictures captured by Camera 92a or stored in an           can be ignored or excluded during comparison using a mask .
   electronic repository, which can then be utilized in DCADO        In general, any region or subset of a picture determined to
   Unit 100 , Artificial Intelligence Unit 110 , and / or other 25 contain no content of interest can be excluded from com
   elements.                                                        parison using a mask . Examples of such regions or subsets
      Various aspects or properties of digital pictures or pixels   include background , transparent or partially transparent
   can be taken into account by Picture Recognizer 94a in any regions, regions comprising insignificant content, or any
   of the recognizing or comparisons . Examples of such             arbitrary region or subset . Picture Recognizer 94a can
   aspects or properties include color adjustment, size adjust - 30 perform any other pre -processing or manipulation of digital
   ment, content manipulation , transparency (i.e . alpha chan -          pictures or pixels before or during recognizing or compari
   nel , etc .), use ofmask , and /or others . In some implementa          son .
    tions, as digital pictures can be captured by various picture            In other embodiments , Object Processing Unit 93 may
    taking equipment, in various environments , and under vari-           include Sound Recognizer 94b as shown in FIG . 3B . Sound
    ous lighting conditions, Picture Recognizer 94a can adjust 35 Recognizer 94b comprises the functionality for detecting or
    lighting or color of pixels or otherwise manipulate pixels            recognizing objects and /or their properties in audio data ,
   before or during comparison . Lighting or color adjustment             and /or other disclosed functionalities. Audio data includes
   (also referred to as gray balance, neutral balance , white             digital sound , and/ or other audio data . Examples of file
   balance , etc .) may generally includemanipulating or rebal-           formats that can be utilized to store audio data include WAV,
    ancing the intensities of the colors (i.e. red , green , and/or 40 WMA , AIFF , MP3, RA , OGG , and/or other file formats. For
    blue if RGB color model is used , etc .) of one or more pixels.    example , Sound Recognizer 94b can be used for detecting or
    For example, Picture Recognizer 94a can adjust lighting or recognizing objects and /or their properties in a stream of
    color of some or all pixels of one picture to make it more         digital sound samples captured by one or more Microphones
    comparable to another picture . Picture Recognizer 94a can 92b . In the case of a person , Sound Recognizer 94b may
   also incrementally adjust the pixels such as increasing or 45 detect or recognize human voice . Sound Recognizer 94b can
    decreasing the red , green , and /or blue pixel values by a           be utilized in detecting or recognizing existence of an object,
    certain amount in each cycle of comparisons in order to find          type of an object, identity of an object, bearing/ angle of an
    a substantially similar match at one of the incremental               object, activity ( i.e . motion , sounding , etc . ) of an object,
    adjustment levels . Any of the publically available , custom ,        and /or other properties of an object. In general, Sound
    or other lighting or color adjustment techniques or programs 50 Recognizer 94h can be used for any operation supported by
    can be utilized such as color filters , color balancing, color        Sound Recognizer 94b . In some aspects, Sound Recognizer
    correction , and /or others. In other implementations , Picture       94b may detect or recognize an object and /or its properties
    Recognizer 94a can resize or otherwise transform a digital            from a stream of digital sound samples by comparing
    picture before or during comparison . Such resizing or trans          collections of sound samples from the stream of digital
    formation may include increasing or decreasing the number 55 sound samples with collections of sound samples of known
    of pixels of a digital picture . For example , Picture Recog-         objects and / or their properties . The collections of sound
    nizer 94a can increase or decrease the size of a digital              samples of known objects and/or their properties can be
    picture proportionally (i.e . increase or decrease length and         learned , or manually , programmatically , or otherwise
    or width keeping aspect ratio constant, etc .) to equate its size     defined . The collections of sound samples of known objects
   with the size of another digital picture . Picture Recognizer 60 and /or their properties can be stored in any data structure or
   94a can also incrementally resize a digital picture such as      repository (i. e . one ormore files , database , etc . ) that resides
   increasing or decreasing the size of the digital picture         locally on Device 98 , or remotely on a remote computing
   proportionally by a certain amount in each cycle of com -        device (i.e . server , cloud, etc .) accessible over a network or
   parisons in order to find a substantially similar match at one   an interface . In other aspects , Sound Recognizer 94b may
   of the incremental sizes . Any of the publically available , 65 detect or recognize an object and /or its properties from a
   custom , or other digital picture resizing techniques or pro -  stream of digital sound samples by comparing features from
   grams can be utilized such as nearest-neighbor interpolation , the stream of digital sound samples with features of sounds
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 85 of 2562 PageID #: 12956


                                                              US 10 ,452 , 974 B1
                                     77                                                                     78
    of known objects and/or their properties . The features of               properties in a stream of digital sound samples captured by
    sounds of known objects and / or their properties can be                 Microphone 92b or stored in an electronic repository , which
    learned , or manually, programmatically , or otherwise                   can then be utilized in DCADO Unit 100 , Artificial Intelli
    defined . The features of sounds of known objects and /or                gence Unit 110 , and / or other elements .
   their properties can be stored in any data structure or 5 In further embodiments, Object Processing Unit 93 may
   repository (i.e . one or more files , database , neural network , include Lidar Processing Unit 94c as shown in FIG . 3C .
    etc .) that resides locally on Device 98 , or remotely on a              Lidar Processing Unit 94c comprises the functionality for
    remote computing device (i.e. server, cloud, etc .) accessible           detecting or recognizing objects and/or their properties using
    over a network or an interface . Typical steps or elements in    light, and / or other disclosed functionalities . As such , Lidar
    a feature oriented sound recognition include pre -processing, 10 Processing Unit 94c can be utilized in detecting existence of
    feature extraction , acoustic modeling, language modeling,               an object, type of an object, identity of an object, distance of
    and / or others , or a combination thereof, each of which may            an object, bearing angle of an object , location of an object ,
    include its own sub -steps or sub - elements depending on the            shape / size of an object, activity of an object, and /or other
    application . In further aspects, Sound Recognizer 94b may               properties of an object. In general, Lidar Processing Unit
    detect or recognize a variety of sounds from a stream of 15 94c can be used for any operation supported by Lidar
    digital sound samples using the aforementioned sound                     Processing Unit 94c. In one example , Lidar Processing Unit
    sample or feature comparisons , and/ or other detection or               94c may detect distance of an object by measuring time
    recognition techniques. For example , sound of a person ,                delay between emission of a light signal (i.e . laser beam ,
    animal, vehicle, and/ or other sounds can be detected by                 etc . ) and return of the light signal reflected from the object
    Sound Recognizer 94b . In further aspects , Sound Recog - 20 based on known speed of light. In another example , Lidar
    nizer 94b may detect or recognize sounds using Hidden                    Processing Unit 94c may detect bearing/ angle of an object
    Markov Models (HMM ), Artificial Neural Networks ,                       by analyzing the amplitudes of a light signal received by an
   Dynamic Time Warping (DTW ), Gaussian Mixture Models                      array of detectors (i.e. detectors arranged into a quadrant or
    (GMM ), and/ or other models or techniques, or a combina -               other arrangement, etc .). In a further example , Lidar Pro
    tion thereof. Some or all of these models or techniques may 25 cessing Unit 94c may detect existence, type, identity , shapel
    include statistical techniques. Examples of artificial neural            size , activity, and /or other properties of an object by illu
   networks that can be used in Sound Recognizer 94b include                 minating the object with light and acquiring an image of the
   recurrent neural networks , time delay neural networks                    object, which can then be processed using some of the
   ( TDNNs ), deep neural networks, convolutional neural net- previously described or other picture recognition techniques .
   works , and /or others . In general, Sound Recognizer 94b may 30 In a further example , Lidar Processing Unit 94c may detect
    include any machine learning, deep learning, and/or other                existence , type , identity, shape size , activity, and /or other
    artificial intelligence techniques. In further aspects, Sound            properties of an object by illuminating the object with light
   Recognizer 94b may detect bearing / angle of a recognized                 and acquiring a point cloud representation of the object.
    object by measuring the direction in which Microphone 92b                Lidar Processing Unit 94c may detect objects and / or their
    is pointing when sound of maximum strength is received , by 35 properties by utilizing any lidar or light- related techniques
    analyzing amplitude of the sound, by performing phase known in art.
    analysis (i. e . with microphone array, etc .) of the sound,      In further embodiments, Object Processing Unit 93 may
    and /or by utilizing other techniques . Any other techniques             include Radar Processing Unit 94d as shown in FIG . 3D .
    known in art can be utilized in Sound Recognizer 94b . For               Radar Processing Unit 94d comprises the functionality for
    example , thresholds for similarity , statistical techniques , 40 detecting or recognizing objects and / or their properties using
    and/ or optimization techniques can be utilized to determine             radio waves, and/or other disclosed functionalities. As such ,
    a match in any of the above -described detection or recog -              Radar Processing Unit 94d can be utilized in detecting
    nition techniques . In some exemplary embodiments , oper -               existence of an object, type of an object, distance of an
    ating system 's Sound recognition functionalities such as                object, bearing/ angle of an object, location of an object,
    iOS ' s Voice Services , Siri, and/ or others can be utilized in 45 shape size of an object, activity of an object, and /or other
    Sound Recognizer 94b . For example , iOS Voice Services                  properties of an object. In general, Radar Processing Unit
    can detect an object (i.e . person , etc .) and / or its properties in   94d can be used for any operation supported by Radar
    a stream of digital sound samples captured by Microphone                 Processing Unit 94d . In one example, Radar Processing Unit
    92b or stored in an electronic repository , which can then be            94d may detect existence of an object by emitting a radio
   utilized in DCADO Unit 100 , Artificial Intelligence Unit 50 signal and listening for the radio signal reflected from the
   110 , and / or other elements. In other exemplary embodi-                 object. In another example , Radar Processing Unit 94d may
   ments, Java Speech API ( JSAPI) implementation such as                    detect distance of an object by measuring time delay
    The Cloud Garden , Sphinx , and/ or others can be utilized in            between emission of a radio signal and return of the radio
   Sound Recognizer 94b. For example , Cloud Garden JSAPI                    signal reflected from the object based on known speed of the
    can detect an object (i.e . person , animal, vehicle , etc.) and /or 55 radio signal. In a further example, Radar Processing Unit
    its properties in a stream of digital sound samples captured             94d may detect bearing / angle of an object by measuring the
   by Microphone 92b or stored in an electronic repository,                  direction in which the antenna is pointing when the return
    which can then be utilized in DCADO Unit 100 , Artificial                signal ofmaximum strength is received , by analyzing ampli
    Intelligence Unit 110 , and/ or other elements . Any other               tude of the return signal, by performing phase analysis (i. e .
   programming language ' s or platform ' s speech or sound 60 with antenna array, etc .) of the return signal, and/or by
   processing API can similarly be utilized . In further exem - utilizing any amplitude , phase , or other techniques . In a
    plary embodiments, applications or engines providing                     further example, Radar Processing Unit 94d may detect
   Sound recognition functionalities such as HTK (Hidden existence, type, identity, shape/size , activity, and / or other
   Markov Model Toolkit ), Kaldi, OpenEars, Dragon Mobile , properties of an object by illuminating the object with radio
   Julius, iSpeech , CeedVocal, and/or others can be utilized in 65 waves and acquiring an image of the object, which can then
   Sound Recognizer 94b. For example , Kaldi SDK can detect be processed using some of the previously described or other
   an object (i.e . person , animal, vehicle , etc .) and /or its picture recognition techniques. Radar Processing Unit 94d
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 86 of 2562 PageID #: 12957


                                                        US 10 ,452 , 974 B1
                                  79                                                                80
   may detect objects and /or their properties by utilizing any        may be detected at a bearing/angle of 287° from Device 's 98
    radar or radio -related techniques known in art.                   centerline. Any other Objects 615 instead of or in addition
      In further embodiments , Object Processing Unit 93 may           to Object 615a , Object 615b , and Object 6150 may be
    include Sonar Processing Unit 94e as shown in FIG . 3E .           detected . In some aspects, any features , functionalities , and
    Sonar Processing Unit 94e comprises the functionality for 5 embodiments of Camera 92a /Picture Recognizer 94a ,
    detecting or recognizing objects and / or their properties using   Microphone 92b /Sound Recognizer 94b , and / or other sen
    sound, and/ or other disclosed functionalities. As such , Sonar    sors or techniques can be utilized for recognizing and /or
    Processing Unit 94e can be utilized in detecting existence of       identifying a person , a cat, a tree , and/or other Objects 615 .
    an object, type of an object, distance of an object, bearing        In further aspects , any features, functionalities , and embodi
    angle of an object, location of an object , shape /size of an 10 ments of Camera 92a /Picture Recognizer 94a , Microphone
    object, activity of an object, and/ or other properties of an      92b /Sound Recognizer 94b , Lidar 92c /Lidar Processing Unit
    object. In general, Sonar Processing Unit 94e can be used for      94c , Radar 92d /Radar Processing Unit 94d , Sonar 92e /Sonar
    any operation supported by Sonar Processing Unit 94e. In           Processing Unit 94e , and / or other sensors or techniques can
    one example, Sonar Processing Unit 94e may detect exis -           be utilized for detecting distance , bearing / angle , and /or other
    tence of an object by emitting a sound signal and listening 15 object properties .
    for the sound signal reflected from the object. In another           As shown for example in FIG . 4B , Object Processing Unit
    example , Sonar Processing Unit 94e may detect distance of         93 may create or generate Collection of Object Represen
   an object by measuring time delay between emission of a             tations 525 including Object Representation 625a represent
    sound signal and return of the sound signal reflected from   ing Object 615a , Object Representation 625b representing
    the object based on known speed of the sound signal. In a 20 Object 615b , Object Representation 625c representing
    further example , Sonar Processing Unit 94e may detect             Object 615c, etc. For instance, Object Representation 625a
   bearing/angle of an object by measuring the direction in            may include Object Property 630aa “ Cat" in Category
   which the microphone is pointing when the return signal of 635aa “ Type” , Object Property 630ab “ 6 m ” in Category
   maximum strength is received , by analyzing amplitude of 635ab “ Distance ” , Object Property 630ac “ 560” in Category
   the return signal , by performing phase analysis (i.e . with 25 635ac “ Bearing ” , etc. Also , Object Representation 625b
   microphone array, etc .) of the return signal, and /or by may include Object Property 630ba “ Tree” in Category
   utilizing any amplitude, phase, or other techniques. In a 635ba “ Type” , Object Property 630bb " 10 m ” in Category
   further example, Sonar Processing Unit 94e may detect 635bb “ Distance” , Object Property 630bc " 131 ” in Cat
   existence, type , identity , shape/size , activity , and / or other e gory 635bc " Bearing” , etc . Also , Object Representation
   properties of an objectby illuminating the object with sound 30 625c may include Object Property 630ca “ Person ” in Cat
   pulses and acquiring an image of the object , which can then egory 635ca “ Type” , Object Property 630cb “ John Doe ” in
   be processed using someof the previously described or other Category 635cb " Identity ” , Object Property 630cc " 8 m ” in
   picture recognition techniques . Sonar Processing Unit 94e           Category 635cc " Distance” , Object Property 630cd " 28709
   may detect objects and /or their properties by utilizing any in Category 635cd “ Bearing” , etc . Any number of Object
    sonar or sound - related techniques known in art.       35 Representations 625 , and/ or other elements or information
      One of ordinary skill in art will understand that the    can be included in Collection ofObject Representations 525 .
    aforementioned techniques for detecting or recognizing              Any number of Object Properties 630 (also referred to
    objects and / or their properties are described merely as           simply as object properties or other suitable name or refer
    examples of a variety of possible implementations, and that         ence), and / or other elements or information can be included
   while all possible techniques for detecting or recognizing 40 in an Object Representation 625 . In some aspects , a refer
    objects and/or their properties are too voluminous to               ence to Collection of Object Representations 525 comprises
    describe, other techniques for detecting or recognizing            a reference to a collection of Object Properties 630 and /or
    objects and /or their properties known in art are within the       other elements or information related to one or more Objects
    scope of this disclosure . Also , any signal processing tech -     615 . Other additional Object Representations 625 , Object
   nique known in art that can facilitate the disclosed function - 45 Properties 630 , elements , and /or information can be
   alities can be utilized in various embodiments . Any combi-        included as needed , or some of the disclosed ones can be
    nation of the aforementioned and/or other sensors, object           excluded , or a combination thereof can be utilized in alter
   detecting or recognizing techniques, signal processing tech -       nate embodiments of Collection of Object Representations
    niques, and/ or other elements or techniques can be used in 525 .
    various embodiments .                                      50 Referring now to DCADO Unit 100 , DCADO Unit 100
      Referring to FIGS. 4A -4B , an exemplary embodiment of comprises any hardware , programs, or a combination
    Objects 615 ( also referred to simply as objects or other          thereof . DCADO Unit 100 comprises the functionality for
    suitable name or reference ) detected in Device 's 98 sur    learning the operation of Device 98 in circumstances includ
    rounding , and resulting Collection of Object Representa     ing objects with various properties. DCADO Unit 100
    tions 525 are illustrated .                               55 comprises the functionality for structuring and /or storing
       As shown for example in FIG . 4A , Object 615a is this knowledge in a knowledgebase (i.e. neural network ,
    detected . Object 615a may be recognized as a cat. Object graph , sequences, other repository , etc.). DCADO Unit 100
   615a may be detected at a distance of 6 m from Device 98 .     comprises the functionality for enabling autonomous opera
   Object 615a may be detected at a bearing/angle of 56° from     tion of Device 98 in circumstances including objects with
   Device ' s 98 centerline. Furthermore , Object 615b is also 60 various properties . DCADO Unit 100 comprises the func
    detected. Object 615b may be recognized as a tree . Object         tionality for interfacing with or attaching to Application
   615b may be detected at a distance of 10 m from Device 98 .         Program 18 , Processor 11 , Logic Circuit 250 (later
   Object 615b may be detected at a bearing/ angle of 131 from      described ), and /or other processing element. DCADO Unit
   Device 's 98 centerline . Furthermore, Object 615c is also       100 comprises the functionality for obtaining instruction
   detected . Object 615c may be recognized as a person . Object 65 sets , data , and /or other information used , implemented ,
   615c may be identified as John Doe. Object 615c may be           and /or executed by Application Program 18 , Processor 11 ,
   detected at a distance of 8 m from Device 98 . Object 615C Logic Circuit 250 , and /or other processing element.
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 87 of 2562 PageID #: 12958


                                                         US 10 ,452 , 974 B1
                                  81                                                                   82
    DCADO Unit 100 comprises the functionality formodifying             example involving partially autonomous Device 98 operat
   instruction sets, data , and/or other information used , imple -     ing, a user confirms DCADO Unit 100 -generated instruc
   mented , and/ or executed by Application Program 18 , Pro -          tions or instruction sets prior to their execution . In an
    cessor 11 , Logic Circuit 250 , and /or other processing ele        example involving fully autonomous application operating,
   ment. DCADO Unit 100 comprises learning , anticipating, 5 DCADO Unit 100 - generated instructions or instruction sets
    decision making, automation , and /or other functionalities         are executed without user or other system confirmation (i.e .
   disclosed herein . Statistical , artificial intelligence, machine    automatically , etc .).
    learning , and /or other models or techniques are utilized to     In some embodiments, a combination of DCADO Unit
    implement the disclosed devices , systems, and methods .        100 and other systems and/ or techniques can be utilized to
       When DCADO Unit 100 functionalities are applied on 10 implement Device ' s 98 operation . In one example , DCADO
    Application Program 18 , Processor 11 , Logic Circuit 250      Unit 100 may be a primary or preferred system for imple
    (later described ), and/ or other processing element of Device menting Device 's 98 operation . While operating autono
    98 , Device 98 may become autonomous . DCADO Unit 100               mously under the control of DCADO Unit 100 , Device 98
   may take control from , share control with , and/ or release         may encounter a circumstance including objects with vari
    control to Application Program 18 , Processor 11 , Logic 15 ous properties that has not been encountered or learned
    Circuit 250 , and /or other processing element to implement before . In such situations, User 50 and /or non -DCADO
    autonomous operation of Device 98 . DCADO Unit 100 may              system may take control of Device' s 98 operation . DCADO
    take control from , share control with , and / or release control   Unit 100 may take control again when Device 98 encounters
    to Application Program 18 , Processor 11, Logic Circuit 250 ,       a previously learned circumstance including objects with
    and /or other processing element automatically or after 20 various properties. Naturally, DCADO Unit 100 can learn
    prompting User 50 to allow it. In some aspects , Application       Device 's 98 operation in circumstances while User 50
    Program 18 , Processor 11 , Logic Circuit 250, and / or other      and /or non -DCADO system is in control of Device 98 ,
    processing element of an autonomous Device 98 may                  thereby reducing or eliminating the need for future involve
    include or be provided with anticipatory ( also referred to as ment of User 50 and / or non -DCADO system . In another
    alternate or other suitable name or reference ) instructions or 25 example , User 50 and/ or non - DCADO system may be a
    instruction sets that User 50 did not issue or cause to be primary or preferred system for implementing Device 's 98
    executed . Such anticipatory instructions or instruction sets      operation . While operating under the control of User 50
    include instruction sets that User 50 may want or is likely to     and /or non -DCADO system , User 50 and / or non -DCADO
    issue or cause to be executed . Anticipatory instructions or system may release control to DCADO Unit 100 for any
    instruction sets can be generated by DCADO Unit 100 or 30 reason (i. e . User 50 gets tired or distracted , non -DCADO
    elements thereof based on Device 's 98 circumstances                system gets stuck or cannot make a decision , etc .) , at which
    including objects with various properties . As such , Appli-        point Device 98 can be controlled by DCADO Unit 100 . In
    cation Program 18 , Processor 11, Logic Circuit 250 , and /or       some designs , DCADO Unit 100 may take control in certain
    other processing element of an autonomous Device 98 may special circumstances including objects with various prop
    include or be provided with some or all original instructions 35 erties where DCADO Unit 100 may offer superior perfor
    or instruction sets and /or any anticipatory instructions or m ance even though User 50 and/or non -DCADO system
    instruction sets generated by DCADO Unit 100. Therefore, may generally be preferred . Once Device 98 leaves such
   autonomous Device 98 operating may include executing              special circumstances , DCADO Unit 100 may release con
   some or all original instructions or instruction sets and /or     trol to User 50 and /or non - DCADO system . In general,
   any anticipatory instructions or instruction sets generated by 40 DCADO Unit 100 can take control from , share control with ,
   DCADO Unit 100 . In one example , DCADO Unit 100 can              or release control to User 50 , non -DCADO system , and /or
    overwrite or rewrite the original instructions or instruction       other system or process at any time, in any circumstances,
    sets of Application Program 18 , Processor 11 , Logic Circuit       and remain in control for any period of time as needed .
    250, and/ or other processing element with DCADO Unit                 In some embodiments, DCADO Unit 100 may control
    100- generated instructions or instruction sets. In another 45 one or more sub - devices, sub - systems, or elements of
    example , DCADO Unit 100 can insert or embed DCADO             Device 98 while User 50 and /or non -DCADO system may
   Unit 100 - generated instructions or instruction sets among          control other one or more sub -devices, sub -systems, or
    the original instructions or instruction sets of Application        elements of Device 98 .
    Program 18, Processor 11 , Logic Circuit 250, and /or other        It should be understood that a reference to autonomous
    processing element. In a further example , DCADO Unit 100 50 operating of Device 98 may include autonomous operating
    can branch , redirect, or jump to DCADO Unit 100 - generated    of Application Program 18 , Processor 11 , Logic Circuit 250 ,
    instructions or instruction sets from the original instructions and /or other processing element depending on context.
    or instruction sets of Application Program 18 , Processor 11,         Referring now to Acquisition Interface 120 , Acquisition
    Logic Circuit 250 , and /or other processing element.     Interface 120 comprises the functionality for obtaining and /
       In some embodiments, autonomous Device 98 operating 55 or receiving instruction sets, data , and /or other information .
    comprises determining, by DCADO Unit 100 , a next Acquisition Interface 120 comprises the functionality for
    instruction or instruction set to be executed based on              obtaining and/ or receiving instruction sets , data , and / or other
    Device ' s 98 circumstances including objects with various          information from Processor 11 , Application Program 18 ,
    properties prior to the user issuing or causing to be executed      Logic Circuit 250 ( later described ), and / or other processing
   the next instruction or instruction set . In yet other embodi- 60 element. Acquisition Interface 120 comprises the function
   ments , autonomous application operating comprises deter -        ality for obtaining and / or receiving instruction sets , data ,
   mining, by DCADO Unit 100, a next instruction or instruc -           and /or other information at runtime. In some aspects , an
    tion set to be executed based on Device 's 98 circumstancesinstruction set may include any computer command , instruc
    including objects with various properties prior to the system
                                                               tion , signal, or input used in Application Program 18 ,
    receiving the next instruction or instruction set.      65 Processor 11 , Logic Circuit 250, and/ or other processing
       In some embodiments , autonomous Device 98 operating    element. Therefore , the terms instruction set, command ,
    includes a partially or fully autonomous operating . In an          instruction , signal, input, or other such terms may be used
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 88 of 2562 PageID #: 12959


                                                          US 10 ,452 , 974 B1
                                  83                                                                    84
    interchangeably herein depending on context. Acquisition             (if VM is used ), in operating system , in Processor 11 , and/or
    Interface 120 also comprises the functionality for attaching in other layers or areas that may exist in a particular
    to or interfacing with Application Program 18 , Processor 11 , computing system implementation . In yet other aspects ,
    Logic Circuit 250 , and /or other processing element. In one instrumentation can be performed at various time periods in
    example, Acquisition Interface 120 comprises the function - 5 an application 's execution such as source code write time,
    ality to access and /or read runtime engine / environment, compile time, interpretation time, translation time, linking
    virtual machine , operating system , compiler, just - in - time      time, loading time, runtime, and / or other time periods. In yet
    ( JIT) compiler, interpreter, translator, execution stack , file ,   other aspects , instrumentation can be performed at various
   object, data structure , and / or other computing system ele    granularities or code segments such as some or all lines of
   ments . In another example , Acquisition Interface 120 com - 10 code , some or all statements , some or all instructions or
   prises the functionality to access and/ or read memory, stor          instruction sets, some or all basic blocks, some or all
   age , bus, interfaces, and /or other computing system                 functions /routines/ subroutines, and /or some or all other code
    elements. In a further example , Acquisition Interface 120           segments .
    comprises the functionality to access and /or read Processor
                                                                          In some embodiments , Application Program 18 can be
    11 registers and /or other Processor 11 elements . In a further 15 automatically
    example, Acquisition Interface 120 comprises the function                        instrumented . For example , Acquisition Inter
    ality to access and/ or read inputs and /or outputs of Appli -
                                                                 face 120 can access Application Program 's 18 source code,
                                                                 bytecode, or machine code and select instrumentation points
    cation Program 18 , Processor 11 , Logic Circuit 250 , and /or
   other processing element. In a further example , Acquisition of interest. Selecting instrumentation points may include
   Interface 120 comprises the functionality to access and/or 20 finding locations in the source code, bytecode, or machine
   read functions, methods, procedures, routines , subroutines, code corresponding to function calls, function entries, func
   and /or other elements of Application Program 18 . In a tion exits, object creations, object destructions, event han
    further example , Acquisition Interface 120 comprises the             dler calls, new lines (i.e.to instrumentall lines of code, etc .),
    functionality to access and / or read source code , bytecode , thread creations , throws, and /or other points of interest .
    compiled , interpreted , or otherwise translated code,machine 25 Instrumentation code can then be inserted at the instrumen
    code, and/ or other code. In a further example , Acquisition     tation points of interest to output Application Program ' s 18
    Interface 120 comprises the functionality to access and /or           instruction sets, data, and /or other information . In response
    read values , variables , parameters, and / or other data or         to executing instrumentation code , Application Program 's
    information . Acquisition Interface 120 also comprises the        18 instruction sets , data , and /or other information may be
   functionality for transmitting the obtained instruction sets , 30 received
   data, and / or other information to Artificial Intelligence Unit Applicationby Acquisition
                                                                                    Program   ’s
                                                                                                   Interface 120 . In some aspects,
                                                                                                   18   source code , bytecode, or
   110 and/or other element. As such , Acquisition Interface 120 machine code can be dynamically                  instrumented . For
   provides input into Artificial Intelligence Unit 110 for example , instrumentation code can be dynamically                inserted
   knowledge structuring , anticipating , decision making, and / 35 into Application Program 18 at runtime.
   or other functionalities later in the process. Acquisition 35 moIn other embodiments, Application Program 18 can be
   Interface 120 also comprises other disclosed functionalities.
      Acquisition Interface 120 can employ various techniques manually instrumented . In one example, a programmer can
   for obtaining instruction sets ,data , and /or other information . instrument a function call by placing an instrumenting
   In one example, Acquisition Interface 120 can attach to            instruction immediately after the function call as in the
   and /or obtain Processor's 11 , Application Program 's 18 , 40 following example.
   Logic Circuits 250 , and/ or other processing element's              Devicel.moveForward ( 12 );
   instruction sets , data , and /or other information through trac     trace Application (‘Devicel.moveForward ( 12);");
    ing or profiling techniques. Tracing or profiling may be used         In another example , an instrumenting instruction can be
    for outputting Processor' s 11 , Application Program 's 18 ,         placed immediately before the function call , or at the begin
    Logic Circuits 250 , and / or other processing element' s 45 ning, end , or anywhere within the function itself. A pro
    instruction sets, data , and /or other information at runtime.        grammer may instrument all function calls or only function
    For instance, tracing or profiling may include adding trace          calls of interest. In a further example , a programmer can
    code (i. e . instrumentation , etc .) to an application and /or      instrument all lines of code or only code lines of interest. In
    outputting trace information to a specific target. The out-           a further example , a programmer can instrument other
   putted trace information (i. e . instruction sets , data , and/ or 50 elements utilized or implemented within Application Pro
    other information , etc .) can then be provided to or recorded         gram 18 such as objects and/ or any of their functions, data
    into a file, data structure , repository , an application , and/ or    structures and/ or any of their functions, event handlers
    other system or target that may receive such trace informa-            and /or any of their functions, threads and/ or any of their
    tion . As such , Acquisition Interface 120 can utilize tracing or      functions, and/ or other elements or functions . Similar instru
    profiling to obtain instruction sets, data , and/ or other infor - 55 mentation as in the preceding examples can be performed
   mation and provide them as input into Artificial Intelligence         automatically or dynamically . In some designs where
   Unit 110 . In some aspects , instrumentation can be performed         manual code instrumentation is utilized , Acquisition Inter
    in source code, bytecode , compiled , interpreted , or other          face 120 can optionally be omitted and Application Pro
    wise translated code , machine code, and /or other code . In          gram ' s 18 instruction sets , data , and /or other information
    other aspects, instrumentation can be performed in various 60 may be transmitted directly to Artificial Intelligence Unit
    elements of a computing system such as memory , virtual               110 .
   machine, runtime engine/environment, operating system ,                   In someembodiments , DCADO Unit 100 can be selective
    compiler, interpreter, translator, processor registers , execu -     in learning instruction sets, data , and/or other information to
    tion stack , program counter, and/ or other elements . In yet        those implemented , utilized , or related to an object, data
    other aspects, instrumentation can be performed in various 65 structure, repository , thread , function , and /or other element
    abstraction layers of a computing system such as in software   of Application Program 18 . In some aspects, Acquisition
    layer (i.e . Application Program 18 , etc.), in virtualmachine Interface 120 can obtain Application Program 's 18 instruc
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 89 of 2562 PageID #: 12960


                                                        US 10 ,452 , 974 B1
                                  85                                                                  86
    tion sets, data , and /or other information implemented , uti      runtime stack , machine stack , the stack , etc .) includes a data
    lized , or related to a certain object in an object oriented       structure that can store information about active subroutines
    Application Program 18 .                                           of an application . The Profiling API may provide a stack
       In some embodiments , various computing systems and /or         snapshot method , which enables a trace of the stack at a
   platformsmay provide native tools for obtaining instruction 5 particular point in time. The Profiling API may also provide
   sets , data , and /or other information . Also , independent ven - a shadow stack method , which tracks the call stack at every
    dors may provide portable tools with similar functionalities       instant. A shadow stack can obtain function arguments ,
    that can be utilized across different computing systems            return values, and information about generic instantiations.
    and /or platforms. These native and portable tools may             function such as FunctionEnter can be utilized to notify
    provide a wide range of functionalities to obtain runtimeand 10 the profiler that control is being passed to a function and can
    other information such as instrumentation , tracing or pro - provide information about the stack frame and function
    filing , logging application or system messages, outputting     arguments. A function such as FunctionLeave can be utilized
    custom text messages, outputting objects or data structures ,      to notify the profiler that a function is about to return to the
    outputting functions/routines /subroutines or their invoca -       caller and can provide information about the stack frame and
    tions, outputting variable or parameter values , outputting 15 function return value. An alternative to call stack profiling
    thread or process behaviors , outputting call or other stacks ,    includes call stack sampling in which the profiler can
   outputting processor registers, providing runtime memory            periodically examine the stack . In some aspects , the Profil
   access , providing inputs and / or outputs , performing live        ing API enables the profiler to change the in -memory code
    application monitoring, and /or other capabilities. One of         stream for a routine before it is just -in -time (JIT) compiled
    ordinary skill in art will understand that, while all possible 20 where the profiler can dynamically add instrumentation code
    variations of the techniques to obtain instruction sets , data ,  to all or particular routines of interest. Other platforms,
    and /or other information are too voluminous to describe ,         tools, and /or techniques may provide equivalent or similar
    these techniques are within the scope of this disclosure .         functionalities as the above described ones.
       In one example , obtaining instruction sets, data , and/ or In a further example , obtaining instruction sets, data ,
    other information can be implemented through the .NET 25 and /or other information can be implemented through Java
    platform ' s native tools for application tracing or profiling     platform ' s APIs for application tracing or profiling such as
    such as System .Diagnostics. Trace , System .Diagnostics .De -     Java Virtual Machine Profiling Interface ( JVMPI), Java
    bug , and System . Diagnostics. TraceSource classes for trac - VirtualMachine Tool Interface ( JVMTI), and /or other APIs
    ing execution flow , and System .Diagnostics .Process, Sys -    or tools. These APIs can be used for instrumentation of an
    tem .Diagnostics . EventLog ,                            and 30 application , for notification of Java Virtual Machine (VM )
    System .Diagnostics.PerformanceCounter classes for profil-         events , and/ or other functionalities. One of the tracing or
    ing code, accessing local and remote processes, starting and       profiling techniques that can be utilized includes bytecode
    stopping system processes, and interacting with Windows            instrumentation . The profiler can insert bytecodes into all or
    event logs , etc. For instance , a set of trace switches can be    some of the classes. In application execution profiling, for
    created that output an application ' s information . The 35 example , these bytecodes may include methodEntry and
    switches can be configured using the .config file . For a Web      methodExit calls . In memory profiling, for example , the
    application, this may typically be Web .config file associated     bytecodes may be inserted after each new or after each
    with the project. In a Windows application , this file may         constructor. In some aspects , insertion of instrumentation
    typically be named application Name.exe .config . Trace code       bytecode can be performed either by a post- compiler or a
   can be added to application code automatically or manually 40 custom class loader. An alternative to bytecode instrumen
   as previously described . Appropriate listener can be created     tation includes monitoring events generated by the JVMPI
   where the trace output is received . Trace code may output or JVMTI interfaces. Both APIs can generate events for
   trace messages to a specific target such as a file , a log , a method entry / exit, object allocation , and / or other events . In
   database , an object, a data structure , and/ or other repository some aspects , JVMTI can be utilized for dynamic bytecode
    or system . Acquisition Interface 120 or Artificial Intelli- 45 instrumentation where insertion of instrumentation byte
    gence Unit 110 can then read or obtain the trace information       codes is performed at runtime. The profiler may insert the
    from these targets. In some aspects, trace code may output         necessary instrumentation when a selected class is invoked
    trace messages directly to Acquisition Interface 120 . In other    in an application . This can be accomplished using the
    aspects, trace code may output trace messages directly to          JVMTI' s redefineClasses method , for example . This
    Artificial Intelligence Unit 110 . In the case of outputting 50 approach also enables changing of the level of profiling as
    trace messages to Acquisition Interface 120 or directly to         the application is running. If needed , these changes can be
    Artificial Intelligence Unit 110 , custom listeners can be built   made adaptively without restarting the application . Other
    to accommodate these specific targets . Other platforms,           platforms, tools , and / or techniques may provide equivalent
   tools , and/ or techniques can provide equivalent or similar        or similar functionalities as the above described ones .
    functionalities as the above described ones.                    55 In a further example , obtaining instruction sets , data ,
       In another example , obtaining instruction sets, data , and/   and/ or other information can be implemented through JVM
    or other information can be implemented through the .NET TI's programming interface that enables creation of software
    platform 's Profiling API that can be used to create a custom     agents that can monitor and control a Java application . An
    profiler application for tracing, monitoring, interfacing with , agent may use the functionality of the interface to register
    and/ or managing a profiled application . The Profiling API 60 for notification of events as they occur in the application ,
    provides an interface that includes methods to notify the          and to query and control the application . A JVMTI agent
    profiler of events in the profiled application . The Profiling     may use JVMTI functions to extract information from a Java
    API may also provide an interface to enable the profiler to        application . A JVMTI agent can be utilized to obtain an
    call back into the profiled application to obtain information      application 's runtime information such as method calls ,
    about the state of the profiled application . The Profiling API 65 memory allocation , CPU utilization , lock contention , and /or
   may further provide call stack profiling functionalities. Call      other information . JVMTI may include functions to obtain
    stack ( also referred to as execution stack , control stack ,      information about variables, fields, methods, classes, and /or
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 90 of 2562 PageID #: 12961


                                                           US 10 ,452 , 974 B1
                                  87                                                                  88
   other information . JVMTImay also provide notification for             logs on a computing device; retrieval of configuration infor
    numerous events such as method entry and exit , exception ,           mation for a specific log ; retrieval of event publishers on a
    field access and modification , thread start and end, and/ or         computing device ; reading events from an event log , from a
    other events. Examples of JVMTI built- in methods include             log file , or using a structured query ; exporting events from
    GetMethodName to obtain the name of an invoked method , 5 an event log, from a log file , or using a structured query to
   GetThreadInfo to obtain information for a specific thread ,            a specific target; and/or other capabilities . Operating system
   GetClassSignature to obtain information about the class of             logs can be utilized solely if they contain sufficient infor
   an object, GetStackTrace to obtain information about the               mation on an application 's instruction sets , data , and /or
   stack including information about stack frames, and /or other          other information . Alternatively, operating system logs can
   methods. Other platforms, tools, and / or techniques may 10 be utilized in combination with another source of informa
    provide equivalent or similar functionalities as the above            tion (i.e . trace information , call stack , processor registers ,
    described ones.                                                       memory , etc .) to reconstruct the application ' s instruction
      In a further example, obtaining instruction sets, data ,            sets, data , and /or other information needed for Artificial
    and/ or other information can be implemented through                  Intelligence Unit 110 and/ or other elements. In addition to
    java . lang. Runtime class that provides an interface for appli- 15 logging capabilities native to their respective platforms
    cation tracing or profiling. Examples ofmethods provided in           and /or operating systems, many independent tools exist that
   java.lang.Runtimethat can be used to obtain an application 's provide logging on different platforms and/or operating
   instruction sets, data , and /or other information include systems. Examples of these tools include Log 43, Logback ,
   tracemethodcalls , traceinstructions, and /or other methods . SmartInspect, N Log, log 4net, Microsoft Enterprise Library ,
    These methods prompt the Java Virtual Machine to output 20 ObjectGuy Framework , and /or others . Other platforms,
   trace information for a method or instruction in the virtual tools, and /or techniques may provide equivalent or similar
   machine as it is executed . The destination of trace output functionalities as the above described ones .
   may be system dependent and include a file, a listener,                In a further example, obtaining instruction sets , data ,
   and/ or other destinations where Acquisition Interface 120 ,         and /or other information can be implemented through trac
    Artificial Intelligence Unit 110 , and /or other disclosed ele - 25 ing or profiling the operating system on which an application
   ments can access needed information . In addition to tracing           runs . As in tracing or profiling an application , one of the
   or profiling tools native to their respective computing sys -          techniques that can be utilized includes adding instrumen
   tems and /or platforms, many independent tools exist that              tation code to the operating system 's source code . Such
   provide tracing or profiling functionalities on more than one          instrumentation code can be added to the operating system ' s
    computing system and /or platform . Examples of these tools 30 source code before kernel compilation or recompilation , for
    include Pin , DynamoRIO , KernInst, DynInst, Kprobes,                 instance. This type of instrumentation may involve defining
    OpenPAT, DTrace , SystemTap , and /or others. Other plat-             or finding locations in the operating system 's source code
    forms, tools , and / or techniques may provide equivalent or          where instrumentation code may be inserted . Kernel instru
    similar functionalities as the above described ones.                  mentation can also be performed without the need for kernel
       In a further example , obtaining instruction sets , data , 35 recompilation or rebooting. In some aspects , instrumenta
    and /or other information can be implemented through log -            tion code can be added at locations of interest through binary
    ging tools of the platform and / or operating system on which         rewriting of compiled kernel code. In other aspects , kernel
    an application runs . Some logging tools may include nearly           instrumentation can be performed dynamically where instru
    full feature sets of the tracing or profiling tools previously        mentation code is added and /or removed where needed at
   described . In one example , Visual Basic enables logging of 40 runtime. For instance , dynamic instrumentation may over
    runtime messages through its Microsoft.VisualBasic . Log -            write kernel code with a branch instruction that redirects
     ging namespace that provides a log listener where the log            execution to instrumentation code or instrumentation rou
    listener may direct logging output to a file and / or other           tine . In yet other aspects , kernel instrumentation can be
    target. In another example , Java enables logging through its         performed using just -in - time (JIT ) dynamic instrumentation
    java .util .logging class . In some aspects , obtaining an appli - 45 where execution may be redirected to a copy of kernel' s
    cation ' s instruction sets , data , and /or other information can    code segment that includes instrumentation code. This type
   be implemented through logging capabilities of the operat -            of instrumentation may include a JIT compiler and creation
   ing system on which an application runs. For example ,                 of a copy of the original code segment having instrumen
    Windows NT features centralized log service that applica -            tation code or calls to instrumentation routines embedded
    tions and operating - system components can utilize to report 50 into the original code segment. Instrumentation of the oper
    their events including any messages. Windows NT provides              ating system may enable total system visibility including
    functionalities for system , application , security , and /or other   visibility into an application ' s behavior by enabling genera
    logging. An application log may include events logged by              tion of low level trace information . Other platforms, tools ,
   applications. Windows NT, for example , may include sup               and /or techniques may provide equivalent or similar func
   port for defining an event source (i.e . application that created 55 tionalities as the above described ones .
   the event, etc .). Windows Vista , for example , supports a              In a further example, obtaining instruction sets, data ,
   structured XML log- format and designated log types to and /or other information can be implemented through trac
   allow applications to more precisely log events and to help          i ng or profiling the processor on which an application runs.
   interpret the events . Examples of different types of event For example, some Intel processors provide Intel Processor
   logs include administrative , operational, analytic , debug , 60 Trace ( i. e . Intel PT, etc . ), a low - level tracing feature that
   and / or other log types including any of their subcategories .  enables recording executed instruction sets , and / or other
    Examples of event attributes that can be utilized include             data or information of one or more applications . Intel PT is
    eventID , level, task , opcode , keywords, and/ or other event facilitated by the Processor Trace Decoder Library along
    attributes. Windows wevtutil tool enables access to events ,     with its related tools . Intel PT is a low -overhead execution
    their structures , registered event publishers, and /or their 65 tracing feature that records information about application
    configuration even before the events are fired . Wevtutil             execution on each hardware thread using dedicated hard
    supports capabilities such as retrieval of the names of all           ware facilities . The recorded execution /trace information is
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 91 of 2562 PageID #: 12962


                                                          US 10 ,452 , 974 B1
                                  89                                                                        90
    collected in data packets that can be buffered internally               information through accessing and/or reading instruction
    before being sent to a memory subsystem or another system               register, program counter, other processor registers ,memory
    or element (i.e . Acquisition Interface 120 , Artificial Intelli-       locations, and/ or other components of a computing system .
    gence Unit 110 , etc . ). Intel PT also enables navigating the In yet other aspects, high -level programming languages may
    recorded execution / trace information via reverse stepping 5 call or execute an external assembly language program to
    commands. Intel PT can be included in an operating sys -                facilitate obtaining instruction sets, data , and/ or other infor
    tem ' s core files and provided as a feature of the operating           mation as previously described . In yet other aspects , rela
    system . Intel PT can trace globally some or all applications           tively low -level programming languages such as C may
    running on an operating system . Acquisition Interface 120 or           allow embedding assembly language directly in their source
    Artificial Intelligence Unit 110 can read or obtain the 10 code such as , for example , using asm keyword of C . Other
    recorded execution /trace information from Intel PT. Other              platforms, tools, and/ or techniques may provide equivalent
   platforms, tools , and/ or techniques may provide equivalent             or similar functionalities as the above described ones .
   or similar functionalities as the above described ones .                   In a further example , it may be sufficient to obtain user or
      In a further example, obtaining instruction sets , data ,             other inputs, variables, parameters, and/ or other data in
    and / or other information can be implemented through 15 some procedural, simple object oriented , or other applica
    branch tracing or profiling . Branch tracing may include an             tions. In one instance , a simple procedural application
    abbreviated instruction trace in which only the successful              executes a sequence of instruction sets until the end of the
   branch instruction sets are traced or recorded . Branch tracing          program . During its execution , the application may receive
    can be implemented through utilizing dedicated processor                user or other input, store the input in a variable, and perform
    commands, for example . Executed branches may be saved 20 calculations using the variable to reach a result. The value of
    into special branch trace store area of memory . With the the variable can be obtained or traced . In another instance ,
    availability and reference to a compiler listing of the appli-          a more complex procedural application comprises one or
    cation together with branch trace information , a full path of         more functions/routines/subroutines each of which may
    executed instruction sets can be reconstructed . The full path          include a sequence of instruction sets. The application may
    can also be reconstructed with a memory dump ( containing 25 execute a main sequence of instruction sets with a branch to
    the program storage ) and branch trace information . In some            a function /routine / subroutine. During its execution , the
    aspects, branch tracing can be utilized for pre -learning or            application may receive user or other input, store the input
   automated learning of an application ' s instruction sets , data ,       in a variable , and pass the variable as a parameter to the
    and/ or other information where a number of application                 function /routine /subroutine. The function / routine/subrou
    simulations ( i. e . simulations of likely / common operations, 30 tine may perform calculations using the parameter and
   etc .) are performed . As such , the application 's operation can        return a value that the rest of the application can use to reach
   be learned automatically saving the time that would be                   a result . The value of the variable or parameter passed to the
   needed to learn the application 's operation directed by a               function /routine /subroutine, and/ or return value can be
    user. Other platforms, tools, and/or techniques may provide             obtained or traced . Values of user or other inputs, variables,
    equivalent or similar functionalities as the above described 35 parameters , and/ or other items of interest can be obtained
    ones .                                                          through previously described tracing, instrumentation, and/
      In a further example , obtaining instruction sets, data ,             or other techniques. Other platforms, tools, and/or tech
    and/ or other information can be implemented through                    niques may provide equivalent or similar functionalities as
    assembly language . Assembly language is a low -level pro -             the above described ones.
    gramming language for a computer or other programmable 40                  Referring to FIG . 5 , in yet another example , obtaining
    device in which there is a strong correlation between the               instruction sets , data , and /or other information may be
    language and the architecture ' s machine instruction sets.             implemented through tracing , profiling, or sampling of
    Syntax , addressing modes , operands, and /or other elements            instruction sets or data in processor registers, memory , or
    of an assembly language instruction set may translate                   other computing system components where instruction sets,
    directly into numeric ( i. e . binary , etc . ) representations of that 45 data , and /or other information may be stored or utilized . For
    particular instruction set. Because of this direct relationship         example , Instruction Register 212 may be part of Processor
   with the architecture ’ s machine instruction sets, assembly             11 and it may store the instruction set currently being
    language can be a powerful tool for tracing or profiling an     executed or decoded . In some processors , Program Counter
    application ' s execution in processor registers , memory , and 211 (also referred to as instruction pointer, instruction
    or other computing system components . For example , using 50 address register, instruction counter, or part of instruction
    assembly language , memory locations of a loaded applica -              sequencer ) may be incremented after fetching an instruction
    tion can be accessed , instrumented , and /or otherwise                 set, and it may hold or point to the memory address of the
   manipulated . In some aspects , assembly language can be                 next instruction set to be executed . In a processor where the
   used to rewrite or overwrite original in -memory instruction             incrementation precedes the fetch , Program Counter 211
    sets of an application with instrumentation instruction sets . 55 may point to the current instruction set being executed . In
    In other aspects, assembly language can be used to redirect             the instruction cycle , an instruction set may be loaded into
    application 's execution to instrumentation routine / subrou -          Instruction Register 212 after Processor 11 fetches it from
    tine or other code segment elsewhere in memory by insert-               location in Memory 12 pointed to by Program Counter 211 .
    ing a jump into the application 's in -memory code, by                  Instruction Register 212 may hold the instruction set while
    redirecting program counter, or by other techniques . Some 60 it is decoded by Instruction Decoder 213 , prepared , and
    operating systemsmay implement protection from changes        executed . In some aspects , data (i. e. operands , etc .) needed
    to applications loaded into memory. Operating system , pro -            for instruction set execution may be loaded from Memory 12
    cessor, or other low level commands such as Linux mprotect              into a register within Register Array 214 . In other aspects,
    command or similar commands in other operating systems                  the data may be loaded directly into Arithmetic Logic Unit
   may be used to unprotect the protected locations in memory 65 215 . For instance, as instruction sets pass through Instruc
    before the change . In yet other aspects , assembly language            tion Register 212 during application execution, they may be
    can be used to obtain instruction sets, data , and /or other            transmitted to Acquisition Interface 120 as shown. Examples
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 92 of 2562 PageID #: 12963


                                                        US 10 , 452, 974 B1
                                 91
    of the steps in execution of a machine instruction set may         described separately here to offer additional detail on its
    include decoding the opcode (i.e . portion of a machine            functioning . Some Devices 98 may not need the processing
    instruction set that may specify the operation to be per -         capabilities of an entire Processor 11 , but instead a more
    formed ), determining where the operands may be located            tailored Logic Circuit 250. Examples of such Devices 98
    (depending on architecture , operandsmay be in registers , the 5 include home appliances, audio or video electronics, vehicle
    stack , memory, I/O ports , etc.), retrieving the operands,        systems, toys, industrial machines, robots, and /or others .
    allocating processor resources to execute the instruction set      Logic Circuit 250 comprises the functionality for perform
    (needed in some types of processors ), performing the opera        ing logic operations. Logic Circuit 250 comprises the func
    tion indicated by the instruction set, saving the results of       tionality for performing logic operations using the circuit 's
    execution , and / or other execution steps. Examples of the 10 inputs and producing outputs based on the logic operations
   types ofmachine instruction sets that can be utilized include       performed on the inputs . Logic Circuit 250 may generally be
   arithmetic , data handling , logical, program control, as well      implemented using transistors, diodes , and /or other elec
    as special and / or other instruction set types. In addition to    tronic switches , but can also be constructed using vacuum
    the ones described or shown, examples of other computing           tubes, electromagnetic relays (relay logic ), fluidic logic ,
    system or processor components that can be used during an 15 pneumatic logic , optics , molecules, or even mechanical
    instruction cycle include memory address register (MAR )     elements . In some aspects , Logic Circuit 250 may be or
   thatmay hold the address of a memory block to be read from         include a microcontroller, field -programmable gate array
   or written to ; memory data register (MDR ) that may hold (FPGA ), application -specific integrated circuit (ASIC ), and /
   data fetched from memory or data waiting to be stored in           or other computing circuit or device . In other aspects, Logic
   memory ; data registers that may hold numeric values, char- 20 Circuit 250 may be or include any circuit or device com
   acters , small bit arrays , or other data ; address registers that prising one or more logic gates , one or more transistors, one
   may hold addresses used by instruction sets that indirectly or more switches, and /or one or more other logic compo
   access memory ; general purpose registers (GPRs) that may nents. In further aspects, Logic Circuit 250 may be or
   store both data and addresses ; conditional registers that may     include any integrated or other circuit or device that can
   hold truth values often used to determine whether some 25 perform logic operations. Logic may generally refer to
   instruction set should or should not be executed ; floating Boolean logic utilized in binary operations , but other logics
   point registers (FPRs) thatmay store floating point numbers ; can also be used . Input into Logic Circuit 250 may include
   constant registers that may hold read -only values such as or refer to a value inputted into the Logic Circuit 250,
    zero , one , or pi; special purpose registers (SPRs) such as   therefore , these terms may be used interchangeably herein
    status register, program counter, or stack pointer that may 30 depending on context. In one example , Logic Circuit 250
   hold information on program state ;machine -specific regis          may perform some logic operations using four input values
   ters that may store data and settings related to a particular       and produce two output values. As the four input values are
   processor; Register Array 214 that may include an array of          delivered to or received by Logic Circuit 250 , they may be
    any number of processor registers ; Arithmetic Logic Unit          obtained by Acquisition Interface 120 through the four
    215 that may perform arithmetic and logic operations; 35 hardwired connections as shown in FIG . 6A . In another
    control unit that may direct processor 's operation ; and/or       example, Logic Circuit 250 may perform some logic opera
    other circuits or components . Tracing , profiling, or sampling    tions using four input values and produce two output values.
    of processor registers , memory, or other computing system         As the two output values are generated by or transmitted out
    components can be implemented in a program , combination           of Logic Circuit 250 , they may be obtained by Acquisition
    of hardware and program , or purely hardware system . Dedi- 40 Interface 120 through the two hardwired connections as
    cated hardware may be built to perform tracing, profiling, or      shown in FIG . 6B . In a further example , instead of or in
    sampling of processor registers or any computing system            addition to obtaining input and/ or output values of Logic
    components with marginal or no impact to computing over Circuit 250 , the state of Logic Circuit 250 may be obtained
   head .                                                         by reading or accessing values from one or more Logic
      One of ordinary skill in art will recognize that FIG . 5 45 Circuit 's 250 internal components such as registers , memo
   depicts one of many implementations of processor or com -           ries , buses, and/ or others (i.e . similar to the previously
   puting system components , and that various additional com -        described tracing, profiling, and /or sampling of Processor 11
   ponents can be included , or some of the disclosed ones can         components , etc .). Tracing, profiling , or sampling of Logic
   be excluded , or a combination thereof can be utilized in           Circuit 250 can be implemented in a program , combination
    alternate implementations. Processor or computing system 50 of hardware and program , or purely hardware system . Dedi
    components may be arranged or connected differently in             cated hardware may be built to perform tracing , profiling , or
    alternate implementations. Processor or computing system           sampling of Logic Circuit 250 with marginal or no impact to
    components may also be connected with external elements            computing overhead. Any of the elements and /or techniques
    using various connections. For instance , the connection           for tracing , profiling , or sampling of Logic Circuit 250 can
   between Instruction Register 212 and Acquisition Interface 55 similarly be implemented with Processor 11 and/ or other
    120 may include any number or types of connections such         processing elements. In some designs , DCADO Unit 100
   as, for example , a dedicated connection for each bit of may include clamps and/ or other elements to attach DCADO
   Instruction Register 212 i. e . 32 connections for a 32 bit Unit 100 to inputs (i.e . input wires, etc .) into and/ or outputs
   Instruction Register 212 , etc .). Any of the described or other ( i.e . output wires , etc .) from Logic Circuit 250 . Such clamps
    connections or interfaces may be implemented among any 60 and / or attachment elements enable seamless attachment of
    processor or computing system components and Acquisition           DCADO Unit 100 to any circuit or computing device
    Interface 120 or other elements .                                  without the need to redesign or alter the circuit or computing
     Referring to FIGS. 6A -6B , in yet another example ,              device .
   obtaining instruction sets, data , and/ or other information    In some embodiments , DCADO Unit 100 may learn input
   may be implemented through tracing, profiling, or sampling 65 values directly from an actuator (previously described , not
    of Logic Circuit 250 . While Processor 11 includes any type        shown ). For example , Logic Circuit 250 or other processing
    or embodiment of logic circuit, Logic Circuit 250 is               element may control an actuator that enables Device 98 to
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 93 of 2562 PageID #: 12964


                                                             US 10 ,452 , 974 B1
                                  93                                                                       94
    perform mechanical, physical, and /or other operations. An               with Extra Info 527 . In an embodiment shown in FIG . 8B ,
    actuator may receive one or more input values or control                 Instruction Set 526 may include or be associated with Extra
    signals from Logic Circuit 250 or other processing element               Info 527 .
    directing the actuator to perform specific operations . As one              Extra Info 527 comprises the functionality for storing any
    or more input values or control signals are delivered to or 5 information useful in comparisons or decision making per
    received
    re       by the actuator, they may be obtained by Acquisi                formed in autonomous device operation , and /or other func
   tion Interface 120 as previously described with respect to                tionalities . One or more Extra Infos 527 can be stored in ,
   obtaining input values of Logic Circuit 250. Specifically , for           appended to , or associated with a Collection of Object
    instance , one or more input values or control signals of an             Representations 525 , Instruction Set 526 , and /or other ele
    actuator may be obtained by Acquisition Interface 120 via 10 ment. In some embodiments , the system can obtain Extra
   hardwired or other connections .                                          Info 527 at a time of creating or generating Collection of
      One of ordinary skill in art will recognize that FIGS.                 Object Representations 525 . In other embodiments, the
   6A -6B depict one of many implementations of Logic Circuit                system can obtain Extra Info 527 at a time of acquiring
   250 and that any number of input and/ or output values can    Instruction Set 526 . In general, Extra Info 527 can be
   be utilized in alternate implementations . One of ordinary 15 obtained at any time. Examples of Extra Info 527 include
   skill in art will also recognize that Logic Circuit 250 may time information , location information , computed informa
   include any number and /or combination of logic compo - tion , contextual information , and/ or other information . Any
   nents to implement any logic operations.                      information can be utilized that can provide information for
       Other additional techniques or elements may be utilized               enhanced comparisons or decision making performed in
    as needed for obtaining instruction sets , data , and /or other 20 autonomous device operation . Which information is utilized
    information , or someof the disclosed techniques or elements             and / or stored in Extra Info 527 can be set by a user, by
   may be excluded , or a combination thereofmay be utilized                 DCADO system administrator, or automatically by the sys
    in alternate embodiments .                                         tem . Extra Info 527 may include or be referred to as
       Referring to FIGS . 7A - 7E , some embodiments of Instruc -     contextual information , and vice versa . Therefore , these
    tion Sets 526 are illustrated . In someaspects, Instruction Set 25 terms may be used interchangeably herein depending on
   526 includes one or more instructions or commands of                      context.
   Application Program 18 . For example, Instruction Set 526         In some aspects , time information (i.e . time stamp, etc . )
   may include one or more instructions or commands of a          can be utilized and /or stored in Extra Info 527 . Time
   high - level programming language such as Java or SQL , a      information can be useful in comparisons or decision mak
   low - level language such as assembly or machine language , 30 ing performed in autonomous device operation related to a
    an intermediate language or construct such as bytecode,                  specific time period as Device 98 may be required to
    and / or any other language or construct. In other aspects ,             perform specific operations at certain parts of day , month ,
    Instruction Set 526 includes one or more inputs into and/ or             year , and /or other time periods. Time information can be
    outputs from Logic Circuit 250, Processor 11 , Application               obtained from the system clock , online clock , oscillator, or
    Program 18 , and /or other processing element. In further 35 other time source . In general, Extra Info 527 may include
    aspects, Instruction Set 526 includes one or more values or time information related to when Device 98 performed an
    states of registers and/or other components of Logic Circuit             operation . In other aspects , location information (i.e . coor
    250 , Processor 11 , and/ or other processing element. In                dinates, distance /angle from a known point, address, etc . )
    general, Instruction Set 526 may include one or more                     can be utilized and /or stored in Extra Info 527 . Location
    instructions, commands, keywords, symbols (i. e . parenthe- 40 information can be useful in comparisons or decision mak
    ses , brackets , commas , semicolons, etc . ), operators                 ing performed in autonomous device operation related to a
    (i.e . = , < , > , etc . ), variables, values, objects, data structures, specific place as Device 98 may be required to perform
    functions (i.e . Function1( ) , FIRST ( ), MINO , SORT ( ), specific operations at certain places . Location information
    etc .), parameters, states , signals , inputs , outputs , characters ,   can be obtained from a positioning system (i.e. radio signal
    digits, references thereto , and / or other components for per - 45 triangulation , GPS capabilities , etc .) , sensors , and /or other
    forming an operation .                                                   location system . In general, Extra Info 527 may include
       In an embodiment shown in FIG . 7A , Instruction Set 526              location information related to where Device 98 performed
    includes code of a high - level programming language ( i. e .            an operation . In further aspects , computed information can
    Java , C + + , etc .) comprising the following function call             be utilized and /or stored in Extra Info 527 . Computed
    construct :      Function1         (Parameter1 ,       Parameter2, 50 information can be useful in comparisons or decision mak
    Parameter3 , . . . ). An example of a function cal applying the          ing performed in autonomous device operation where infor
    above construct includes the following Instruction Set 526 :             mation can be calculated , inferred , or derived from other
   moveTo (Devicel, 14 , 8 ). The function or reference thereto available information . DCADO Unit 100 and /or other dis
   “ moveTo (Devicel , 14 , 8 ) ” may be an Instruction Set 526    closed elements may include computational functionalities
    directing Devicel to move to a location with coordinates 14 55 to create Extra Info 527 by performing calculations or
    and 8 , for example . In another embodiment shown in FIG .               inferences using other information . In one example ,
    7B , Instruction Set 526 includes structured query language              Device 's 98 speed can be computed or estimated from
    (SQL ) . In a further embodiment shown in FIG . 7C , Instruc -           Device ' s 98 location and /or time information . In another
    tion Set 526 includes bytecode (i. e . Java bytecode , Python            example , Device 's 98 bearing (i.e . angle or direction of
   bytecode, CLR bytecode, etc . ). In a further embodiment 60 movement, etc . ) can be computed or estimated from
    shown in FIG . 7D , Instruction Set 526 includes assembly                Device's 98 location information by utilizing Pythagorean
    code . In a further embodiment shown in FIG . 7E , Instruction           theorem , trigonometry, and /or other theorems, formulas , or
    Set 526 includes machine code .                                          disciplines. In a further example , speeds, bearings , dis
      Referring to FIGS. 8A - 8B , some embodiments of Extra                 tances , and /or other properties of objects around Device 98
    Information 527 (also referred to as Extra Info 527 ) are 65 can similarly be computed or inferred using known infor
    illustrated . In an embodiment shown in FIG . 8A , Collection            mation . In further aspects , observed information can be
    of Object Representations 525 may include or be associated               utilized and /or stored in Extra Info 527 . In further aspects ,
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 94 of 2562 PageID #: 12965


                                                         US 10 ,452 , 974 B1
                                  95                                                                  96
    other information can be utilized and /or stored in Extra Info      Remote Device 's 97 surrounding . As User 50 operates
    527 . Examples of such other information include user spe-          Remote Device 97 , DCADO Unit 100 may learn Remote
    cific information (i.e. skill level , age, gender, etc.), group     Device 's 97 operation in circumstances including objects
    user information (i.e . access level, etc.), version of Appli       with various properties. Such embodiments can be utilized
    cation Program 18 , type of Application Program 18 , type of 5 in any situation where one device controls (i. e . remote
    Processor 11 , type of Logic Circuit 250, type of Device 98 ,       controls, etc . ) another device , any situation where some or
    and/ or other information .                                         all of the processing is on one device and sensor capabilities
      Referring to FIG . 9 , an embodiment where DCADO Unit             are on another device, and / or other situations. In one
    100 is part of or operating on Processor 11 is illustrated . In     example , a drone controlling device ( i. e . Device 98 , etc . )
    one example , DCADO Unit 100 may be a hardware element 10 may send control signals to operate a drone (i . e . Remote
    or circuit embedded or built into Processor 11 . In another         Device 97, etc .) and receive information on the drone' s
    example , DCADO Unit 100 may be a program operating on              surrounding from Sensor 92 on the drone. In another
    Processor 11 .                                                      example , a robot controlling device (i.e. Device 98 , etc.)
      Referring to FIG . 10 , an embodiment where DCADO                 may send control signals to operate a robot ( i. e . Remote
   Unit 100 resides on Server 96 accessible over Network 95 is 15 Device 97 , etc .) and receive information on the robot 's
   illustrated . Any number of Devices 98 may connect to such     surrounding from Sensor 92 on the robot. Any of the
   remote DCADO Unit 100 and the remote DCADO Unit 100            disclosed elements in addition to Sensor 92 may reside on
   may learn their operations in circumstances including Remote Device 97 in alternate implementations .
   objects with various properties . In turn , any number of        Referring to FIG . 12 , an embodiment of Artificial Intel
    Devices 98 can utilize the remote DCADO Unit 100 for 20 ligence Unit 110 is illustrated . Artificial Intelligence Unit
    autonomous operation in circumstances including objects 110 comprises interconnected Knowledge Structuring Unit
   with various properties. A remote DCADO Unit 100 can be              520 , Knowledgebase 530 , Decision -making Unit 540 , and
   offered as a network service (i.e . online application , etc.). In   Confirmation Unit 550 . Other additional elements can be
    some aspects , a remote DCADO Unit 100 (i. e . global       included as needed , or some of the disclosed ones can be
    DCADO Unit 100 , etc.) may reside on the Internet and be 25 excluded , or a combination thereof can be utilized in alter
    available to all the world ' s Devices 98 configured to trans       nate embodiments .
   mit their operations in circumstances including objects with            Artificial Intelligence Unit 110 comprises the functional
    various properties and/ or configured to utilize the remote        ity for learning Device 's 98 operation in circumstances
    DCADO Unit 100 for autonomous operation in circum -                including objects with various properties . Artificial Intelli
    stances including objects with various properties. For 30 gence Unit 110 comprises the functionality for learning one
    example , multiple operators (i. e . Users 50 , etc .) may operate or more collections of object representations correlated with
   their Devices 98 where the Devices 98 may be configured to   any instruction sets , data , and/ or other information . In some
   transmit their operations in circumstances including objects aspects , Artificial Intelligence Unit 110 comprises the func
   with various properties to a remote DCADO Unit 100 . Such    tionality for learning one or more Collections of Object
   remote DCADO Unit 100 enables learning of the operators ' 35 Representations 525 correlated with any Instruction Sets 526
    collective knowledge of operating Device 98 in circum               and /or Extra Info 527 . In other aspects , Artificial Intelli
    stances including objects with various properties. Server 96        gence Unit 110 comprises the functionality for learning one
   may be or include any type or form of a remote computing          or more Collections of Object Representations 525 some of
   device such as an application server, a network service which may not be correlated with any Instruction Sets 526
   server, a cloud server, a cloud , and/ or other remote comput- 40 and /or Extra Info 527 . Further, Artificial Intelligence Unit
   ing device . Server 96 may include any features , functional-     110 comprises the functionality for anticipating Device ' s 98
   ities , and embodiments of the previously described Com -         operation in circumstances including objects with various
    puting Device 70 . It should be understood that Server 96           properties . Artificial Intelligence Unit 110 comprises the
    does not have to be a separate computing device and that            functionality for anticipating one or more instruction sets,
   Server 96 , its elements , or its functionalities can be imple - 45 data , and/ or other information . Artificial Intelligence Unit
   mented on Device 98 . Network 95 may include various                110 comprises the functionality for anticipating one or more
    networks, connection types, protocols, interfaces , APIs, and       Instruction Sets 526 based on one or more incoming Col
   or other elements or techniques known in art all ofwhich are         lections of Object Representations 525 . Artificial Intelli
   within the scope of this disclosure . Any of the previously          gence Unit 110 comprises the functionality for anticipating
   described networks, network or connection types, network - 50 one or more Instruction Sets 526 to be used or executed in
    ing interfaces , and /or other networking elements or tech -        Device 's 98 autonomous operation . Artificial Intelligence
    niques can similarly be utilized. Any of the disclosed ele -        Unit 110 also comprises other disclosed functionalities.
   mentsmay reside on Server 96 in alternate implementations .            Knowledge Structuring Unit 520, Knowledgebase 530 ,
   In one example, Artificial Intelligence Unit 110 can reside on and Decision -making Unit 540 are described later.
   Server 96 and Acquisition Interface 120 and/ orModification 55 Confirmation Unit 550 comprises the functionality for
   Interface 130 can reside on Device 98 . In another example ,   confirming, modifying, evaluating (i.e . rating, etc. ), and /or
   Knowledgebase 530 can reside on Server 96 and the rest of canceling one or more anticipatory Instruction Sets 526 ,
   the elements ofDCADO Unit 100 can reside on Device 98 .        and/ or other functionalities . Confirmation Unit 550 is an
   Any other combination of local and remote elements can be      optional element that can be omitted depending on imple
    implemented .                                         60 mentation. In some embodiments, Confirmation Unit 550
      Referring to FIG . 11 , an embodiment of learning and /or
                                                             can serve as a means of confirming anticipatory Instruction
    using Remote Device 's 97 circumstances for autonomous Sets 526 . For example, Decision-making Unit 540 may
   Remote Device 97 operation is illustrated . In such embodi- determine one or more anticipatory Instruction Sets 526 and
   ments, in addition to providing input into Object Processing provide them to User 50 for confirmation . User 50 may be
   Unit 93 for learning functionalities herein , Sensor 92 (i.e . 65 provided with an interface (i.e . graphical user interface ,
   Camera 92a , Radar 92d , Sonar 92e , etc .) can provide input selectable list of anticipatory Instruction Sets 526 , etc . ) to
    into Display 21 or other device for User's 50 perception of         approve or confirm execution of the anticipatory Instruction
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 95 of 2562 PageID #: 12966


                                                             US 10 ,452,974 B1
                                     97                                                                   98
   Sets 526 . In some aspects, Confirmation Unit 550 can user confirmation step , whereas, a vehicle may be less
   automate User 50 confirmation . In one example , if one or suitable for implementing such interrupting step due to the
   more incoming Collections of Object Representations 525     real time nature of vehicle operation .
   from Object Processing Unit 93 and one ormore Collections     Referring to FIG . 13, an embodiment of Knowledge
   of Object Representations 525 from a Knowledge Cell 800 5 Structuring Unit 520 correlating individual Collections of
   were found to be a perfect or highly similar match , antici Object Representations 525 with any Instruction Sets 526
   patory Instruction Sets 526 correlated with the one or more and /or Extra Info 527 is illustrated . Knowledge Structuring
   Collections of Object Representations 525 from the Knowl- Unit 520 comprises the functionality for structuring the
    edge Cell 800 can be automatically executed without User 's knowledge of a device ' s operation in circumstances includ
    50 confirmation . Conversely, if one or more incoming 10 ing objects with various properties , and /or other function
    Collections of Object Representations 525 from Object       alities . Knowledge Structuring Unit 520 comprises the func
    Processing Unit 93 and one or more Collections of Object tionality for correlating one or more Collections of Object
   Representations 525 from a Knowledge Cell 800 were found Representations 525 with any Instruction Sets 526 and /or
   to be less than a highly similar match , anticipatory Instruc - Extra Info 527 . Knowledge Structuring Unit 520 comprises
   tion Sets 526 correlated with the one ormore Collections of 15 the functionality for creating or generating Knowledge Cell
    Object Representations 525 from the Knowledge Cell 800                   800 and storing one or more Collections of Object Repre
    can be presented to User 50 for confirmation and /or modi-               sentations 525 correlated with any Instruction Sets 526
    fying . Any features, functionalities , and /or embodiments of          and /or Extra Info 527 into the Knowledge Cell 800 . As such ,
    Similarity Comparison 125 (later described ) can be utilized Knowledge Cell 800 comprises the functionality for storing
    for such similarity determination . In other embodiments, 20 one or more Collections of Object Representations 525
    Confirmation Unit 550 can serve as a means ofmodifying or               correlated with any Instruction Sets 526 and / or Extra Info
    editing anticipatory Instruction Sets 526 . For example , Deci          527. Knowledge Cell 800 includes knowledge (i.e. unit of
    sion -making Unit 540 may determine one or more antici                  knowledge , etc.) of how Device 98 operated in a circum
    patory Instruction Sets 526 and provide them to User 50 for              stance including objects with various properties . Once cre
   modification . User 50 may be provided with an interface ( i.e . 25 ated or generated , Knowledge Cells 800 can be used in / as
    graphical user interface , etc .) to modify the anticipatory            neurons , nodes , vertices, or other elements in any of the data
    Instruction Sets 526 before their execution . In further                 structures or arrangements (i.e. neural networks, graphs,
    embodiments , Confirmation Unit 550 can serve as a means                 sequences, etc .) used for storing the knowledge of Device 's
    of evaluating or rating anticipatory Instruction Sets 526 if            98 operation in circumstances including objects with various
    they matched User 's 50 intended operation . For example , 30 properties, thereby facilitating learning functionalities
    Decision -making Unit 540 may determine one or more                     herein . It should be noted that Extra Info 527 may be
    anticipatory Instruction Sets 526 , which the system may                 optionally used in some implementations to enable enhanced
    automatically execute . User 50 may be provided with an                  comparisons or decision making in autonomous device
    interface (i.e . graphical user interface, etc .) to rate (i.e . on a   operation where applicable , and that Extra Info 527 can be
    scale from 0 to 1 , etc . ) how well Decision -making Unit 540 35 omitted in alternate implementations .
    predicted the executed anticipatory Instruction Sets 526 . In              In some embodiments , Knowledge Structuring Unit 520
    some aspects , rating can be automatic and based on a                   receives one or more Collections of Object Representations
    particular function or method that rates how well the antici-           525 from Object Processing Unit 93 . Knowledge Structuring
    patory Instruction Sets 526 matched the desired operation .             Unit 520 may also receive one or more Instruction Sets 526
    In one example , a rating function or method can assign a 40 from Acquisition Interface 120 .Knowledge Structuring Unit
    higher rating to anticipatory Instruction Sets 526 that were            520 may further receive any Extra Info 527 . Although , Extra
    least modified in the confirmation process. In another                  Info 527 is not shown in this and/ or other figures for clarity
    example , a rating function or method can assign a higher               of illustration , it should be noted that any Collection of
    rating to anticipatory Instruction Sets 526 that were canceled          Object Representations 525 , Instruction Set 526 , and /or
    least number of times by User 50 . Any other automatic 45 other element may include or be associated with Extra Info
    rating function or method can be utilized . In yet other  527 . Knowledge Structuring Unit 520 may correlate one or
    embodiments, Confirmation Unit 550 can serve as a means                 more Collections of Object Representations 525 with any
    of canceling anticipatory Instruction Sets 526 if they did not           Instruction Sets 526 and /or Extra Info 527. Knowledge
   match User ' s 50 intended operation . For example, Decision              Structuring Unit 520 may then create Knowledge Cell 800
   making Unit 540 may determine one or more anticipatory 50 and store the one or more Collections of Object Represen
   Instruction Sets 526 , which the system may automatically tations 525 correlated with Instruction Sets 526 and /or Extra
    execute . The system may save the state of Device 98 ,                  Info 527 into the Knowledge Cell 800 . Knowledge Cell 800
    Processor 11 ( save its register values , etc .), Logic Circuit         may include any data structure or arrangement that can
    250, Application Program 18 (i. e. save its variables, data              facilitate such storing. For example , Knowledge Structuring
    structures , objects, location of its current instruction , etc . ), 55 Unit 520 may create Knowledge Cell 800ax and structure
    and / or other processing elements before executing anticipa            within it Collection of Object Representations 525al corre
    tory Instruction Sets 526 . User 50 may be provided with an             lated with Instruction Sets 526a1-526a3 and/ or any Extra
    interface (i.e. graphical user interface , selectable list of prior     Info 527 (not shown ). Knowledge Structuring Unit 520 may
    executed anticipatory Instruction Sets 526 , etc .) to cancel            further structure within Knowledge Cell 800ax a Collection
   one or more of the prior executed anticipatory Instruction 60 of Object Representations 525a2 correlated with Instruction
   Sets 526 , and restore Device 98 , Processor 11, Logic Circuit Set 526a4 and / or any Extra Info 527 (not shown ). Knowl
   250 , Application Program 18 , and/or other processing ele - edge Structuring Unit 520 may further structure within
   ments to a prior state . In some aspects, Confirmation Unit Knowledge Cell 800ax a Collection of Object Representa
   550 can optionally be disabled or omitted in order to provide  tions 525a3 without a correlated Instruction Set 526 and /or
   an uninterrupted operation of Device 98 , Processor 11 , 65 Extra Info 527 . Knowledge Structuring Unit 520 may fur
    Logic Circuit 250 , and/ or Application Program 18 . For                ther structure within Knowledge Cell 800ax a Collection of
    example , a thermostat may be suitable for implementing the             Object Representations 525a4 correlated with Instruction
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 96 of 2562 PageID #: 12967


                                                        US 10 ,452 , 974 B1
                                  99                                                               100
   Sets 526a5 -526a6 and/or any Extra Info 527 (not shown ).              In some embodiments , Knowledge Structuring Unit 520
   Knowledge Structuring Unit 520 may further structure                can structure the knowledge of Device 's 98 operation in a
   within Knowledge Cell 800ax a Collection of Object Rep              circumstance including objects with various properties into
   resentations 525a5 without a correlated Instruction Set 526         any number of Knowledge Cells 800 . In some aspects ,
    and/ or Extra Info 527 . Knowledge Structuring Unit 520 may 5 Knowledge Structuring Unit 520 can structure into a Knowl
    structure within Knowledge Cell 800ax additional Collec edge Cell 800 a single Collection of Object Representations
    tions of Object Representations 525 correlated with any 525 correlated with any Instruction Sets 526 and /or Extra
    number (including zero [i.e. uncorrelated ]) of Instruction Info 527. In other aspects, Knowledge Structuring Unit 520
    Sets 526 and/or Extra Info 527 by following similar logic as can structure into a Knowledge Cell 800 any number (i.e. 2 ,
    described above .                                           10
       In some embodiments, Knowledge Structuring Unit 520 104      , 7 , 17 , 29 , 87, 1415 , 23891, 323674 , 8132401, etc . ) of
                                                                   Collections of Object Representations 525 correlated with
   may correlate a Collection of Object Representations 525            any Instruction Sets 526 and /or Extra Info 527 . In a special
   with one or more temporally corresponding Instruction Sets          case , Knowledge Structuring Unit 520 can structure all
    526 and /or Extra Info 527 . This way, Knowledge Structuring
   Unit 520 can structure the knowledge of Device 's 98 opera - 15 Collections of Object Representations 525 correlated with
    tion at or around the time of generating Collections of Object     any Instruction Sets 526 and/ or Extra Info 527 into a single
    Representations 525 . Such functionality enables spontane          long Knowledge Cell 800. In further aspects, Knowledge
    ous or seamless learning of Device 's 98 operation in cir          Structuring Unit 520 can structure Collections of Object
    cumstances including objects with various properties as            Representations 525 correlated with any Instruction Sets 526
    Device 98 is operated in real life situations. In some designs, 20 and /or Extra Info 527 into a plurality of Knowledge Cells
   Knowledge Structuring Unit 520 may receive a stream of              800 . In a special case, Knowledge Structuring Unit 520 can
    Instruction Sets 526 used or executed to effect Device ' s 98  store periodic streams of Collections of Object Representa
    operations as well as a stream of Collections of Object       tions 525 correlated with any Instruction Sets 526 and /or
    Representations 525 as the operations are performed . Extra Info 527 into a plurality of Knowledge Cells 800 such
    Knowledge Structuring Unit 520 can then correlate Collec - 25 as hourly , daily , weekly, monthly, yearly , or other periodic
    tions of Object Representations 525 from the stream of             Knowledge Cells 800.
    Collections of Object Representations 525 with temporally           I n some embodiments, Device 98 may include a plurality
    corresponding Instruction Sets 526 from the stream of              of Sensors 92 and / or their corresponding Object Processing
    Instruction Sets 526 and / or any Extra Info 527 . Collections     Units 93. In one example , multiple Sensors 92 may detect
    of Object Representations 525 without a temporally corre - 30 objects and/ or their properties from different angles or on
    sponding Instruction Set 526 may be uncorrelated , for             different sides of Device 98 . In another example , one or
    instance . In some aspects , Instruction Sets 526 and/ or Extra    more Sensors 92 may be placed on different sub - devices ,
    Info 527 that temporally correspond to a Collection of             sub - systems, or elements of Device 98 . Using multiple
    Object Representations 525 may include Instruction Sets            Sensors 92 and/ or their corresponding Object Processing
    526 used and/ or Extra Info 527 obtained at the time of 35 Units 93 may provide additional detail in learning and/ or
    generating the Collection of Object Representations 525 . In using Device 's 98 circumstances for autonomous Device 98
    other aspects, Instruction Sets 526 and /or Extra Info 527 that    operation . In some designs where multiple Sensors 92
    temporally correspond to a Collection of Object Represen -     and /or their corresponding Object Processing Units 93 are
    tations 525 may include Instruction Sets 526 used and /or utilized , multiple DCADO Units 100 can also be utilized
    Extra Info 527 obtained within a certain time period before 40 (i.e . one DCADO Unit 100 for each Sensor 92 and its
    and/ or after generating the Collection of Object Represen -   corresponding Object Processing Unit 93 , etc .). In such
    tations 525 . For example , Instruction Sets 526 and /or Extra designs, Collections of Object Representations 525 can be
    Info 527 that temporally correspond to a Collection of correlated with any Instruction Sets 526 and /or Extra Info
    Object Representations 525 may include Instruction Sets         527 as previously described . In other designs where multiple
   526 used and /or Extra Info 527 obtained within 50 milli - 45 Sensors 92 and /or their corresponding Object Processing
   seconds, 1 second , 3 seconds, 20 seconds, 1 minute , 41 Units 93 are utilized , collective Collections of Object Rep
   minutes , 2 hours, or any other time period before and /or after resentations 525 from multiple Sensors 92 and their corre
    generating the Collection of Object Representations 525 . sponding Object Processing Units 93 can be correlated with
   Such time periods can be defined by a user, by DCADO             any Instruction Sets 526 and/or Extra Info 527 .
   system administrator, or automatically by the system based 50 In some embodiments, Device 98 may include a plurality
    on experience, testing, inquiry , analysis, synthesis , or other   of Logic Circuits 250 , Processors 11, Application Programs
    techniques, knowledge, or input. In other aspects, Instruc -       18 , and /or other processing elements. For example, each
    tion Sets 526 and/ or Extra Info 527 that temporally corre -       processing elementmay control a sub -device, sub - system , or
    spond to a Collection of Object Representations 525 may            an element of Device 98 . Using multiple processing ele
    include Instruction Sets 526 used and/ or Extra Info 527 55 ments may provide enhanced control over Device ' s 98
    obtained from the time of generating the Collection of operation . In some designs where multiple processing ele
    Object Representations 525 to the time of generating a next ments are utilized , multiple DCADO Units 100 can also be
    Collection of Object Representations 525 . In further aspects, utilized (i. e . one DCADO Unit 100 for each processing
    Instruction Sets 526 and/ or Extra Info 527 that temporally    element, etc .). In such designs , Collections of Object Rep
   correspond to a Collection of Object Representations 525 60 resentations 525 can be correlated with any Instruction Sets
   may include Instruction Sets 526 used and/or Extra Info 527 526 and/or Extra Info 527 as previously described . In other
   obtained from the time of generating a previous Collection  designs where multiple processing elements are utilized ,
   of Object Representations 525 to the time of generating the Collections of Object Representations 525 can be correlated
    Collection of Object Representations 525 . Any other tem           with any collective Instruction Sets 526 and / or Extra Info
    poral relationship or correspondence between Collections of 65 527 used or executed by a plurality of processing elements .
    Object Representations 525 and correlated Instruction Sets       Any combination of the aforementioned multiple Sensors
    526 and /or Extra Info 527 can be implemented .                92 and/or their corresponding Object Processing Units 93 ,
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 97 of 2562 PageID #: 12968


                                                       US 10 ,452 , 974 B1
                                101                                                                 102
   multiple processing elements , and /or other elements can be       other embodiments , Knowledgebase 530 may be or include
   implemented in alternate embodiments .                            Graph 530b ( later described ).
      Referring to FIG . 14 , another embodiment of Knowledge           In further embodiments , Knowledgebase 530 may be or
    Structuring Unit 520 correlating individual Collections of        include Collection of Sequences 530c (later described ). In
   Object Representations 525 with any Instruction Sets 526 5 further embodiments , Knowledgebase 530 may be or
    and /or Extra Info 527 is illustrated . In such embodiments ,   include Sequence 533 (later described ). In further embodi
   Knowledge Structuring Unit 520 may generate Knowledgem ents , Knowledgebase 530 may be or include Collection of
    Cells 800 each comprising a single Collection of Object         Knowledge Cells 530d (later described ). In general, Knowl
    Representations 525 correlated with any Instruction Sets 526    edgebase 530 may be or include any data structure or
    and/ or Extra Info 527 .                                     10 arrangement capable of storing the knowledge of a device ' s
       Referring to FIG . 15 , an embodiment of Knowledge             operation in circumstances including objects with various
    Structuring Unit 520 correlating streams of Collections of        properties . Knowledgebase 530 may reside locally on
    Object Representations 525 with any Instruction Sets 526          Device 98 , or remotely (i.e. remote Knowledgebase 530 ,
    and/or Extra Info 527 is illustrated . For example , Knowl-       etc .) on a remote computing device (i. e . server, cloud , etc.)
    edge Structuring Unit 520 may create Knowledge Cell 15 accessible over a network or an interface .
    800ax and structure within it a stream of Collections of   In some embodiments , Knowledgebase 530 from one
    Object Representations 525a1-525an correlated with       Device 98 or DCADO Unit 100 can be transferred to one or
    Instruction Set 526al and /or any Extra Info 527 (not more other Devices 98 or DCADO Units 100 . Therefore, the
    shown). Knowledge Structuring Unit 520 may further struc -     knowledge of Device 's 98 operation in circumstances
    ture within Knowledge Cell 800ax a stream of Collections of 20 including objects with various properties learned on one
    Object Representations 525b1-525bn correlated with Device 98 or DCADO Unit 100 can be transferred to one or
    Instruction Sets 526a2 -526a4 and/ or and Extra Info 527 (not more other Devices 98 or DCADO Units 100 . In one
    shown). Knowledge Structuring Unit 520 may further struc       example , Knowledgebase 530 can be copied or downloaded
    ture within Knowledge Cell 800ax a stream of Collections of to a file or other repository from one Device 98 or DCADO
    Object Representations 525c1 -525cn without correlated 25 Unit 100 and loaded or inserted into another Device 98 or
    Instruction Sets 526 and /or Extra Info 527. Knowledge            DCADO Unit 100. In another example , Knowledgebase 530
    Structuring Unit 520 may further structure within Knowl-          from one Device 98 or DCADO Unit 100 can be available
    edge Cell 800ax a stream of Collections of Object Repre -         on a server accessible by other Devices 98 or DCADO Units
    sentations 525d1 -525dn correlated with Instruction Sets          100 over a network or an interface . Once loaded into or
    526a5 -526a6 and/or any Extra Info 527 (not shown ). 30 accessed by a receiving Device 98 or DCADO Unit 100 , the
   Knowledge Structuring Unit 520 may further structure               receiving Device 98 or DCADO Unit 100 can then imple
   within Knowledge Cell 800ax additional streamsof Collec - ment the knowledge of Device 's 98 operation in circum
   tions of Object Representations 525 correlated with any stances including objects with various properties learned on
   number ( including zero [i.e . uncorrelated ]) of Instruction the originating Device 98 or DCADO Unit 100 .
   Sets 526 and /or Extra Info 527 by following similar logic as 35 In some embodiments, multiple Knowledgebases 530 (i.e .
   described above. The number of Collections of Object Knowledgebases 530 from different Devices 98 or DCADO
   Representations525 in some or all streamsof Collections of Units 100 , etc .) can be combined to accumulate collective
   Object Representations 525a1 -525an , 525b1-525bn , etc . knowledge of operating Device 98 in circumstances includ
   may be equal or different. It should be noted that n or other ing objects with various properties. In one example, one
    such letters or indicia may follow the sequence and/or 40 Knowledgebase 530 can be appended to another Knowl
    context where they are indicated . Also , a same letter or        edgebase 530 such as appending one Collection of
    indicia such as n may represent a different number in             Sequences 530c ( later described ) to another Collection of
    different elements of a drawing .                                 Sequences 530c , appending one Sequence 533 (later
      Referring to FIG . 16 , another embodiment of Knowledge         described ) to another Sequence 533, appending one Collec
    Structuring Unit 520 correlating streams of Collections of 45 tion of Knowledge Cells 530d ( later described ) to another
    Object Representations 525 with any Instruction Sets 526          Collection of Knowledge Cells 530d , and / or appending
    and/ or Extra Info 527 is illustrated . In such embodiments,      other data structures or elements thereof. In another
    Knowledge Structuring Unit 520 may generate Knowledge             example , one Knowledgebase 530 can be copied into
   Cells 800 each comprising a single stream of Collections of another Knowledgebase 530 such as copying one Collection
   Object Representations 525 correlated with any Instruction 50 of Sequences 530c into another Collection of Sequences
    Sets 526 and /or Extra Info 527 .                                 530c, copying one Collection of Knowledge Cells 530d into
      Knowledgebase 530 comprises the functionality for stor          another Collection of Knowledge Cells 530d , and/or copy
    ing the knowledge of a device 's operation in circumstances       ing other data structures or elements thereof. In a further
    including objects with various properties, and/ or other func-    example , in the case of Knowledgebase 530 being or includ
    tionalities. Knowledgebase 530 comprises the functionality 55 ing Graph 530b or graph - like data structure (i.e. Neural
    for storing one or more Collections of Object Representa -       Network 530a , tree , etc .), a union can be utilized to combine
    tions 525 correlated with any Instruction Sets 526 and /or       two or more Graphs 530b or graph - like data structures. For
    Extra Info 527 . Knowledgebase 530 comprises the function         instance , a union of two Graphs 530b or graph -like data
    ality for storing one or more Knowledge Cells 800 each           structures may include a union of their vertex (i. e . node, etc . )
    including one or more Collections ofObject Representations 60 sets and their edge ( i. e . connection , etc .) sets . Any other
   525 correlated with any Instruction Sets 526 and/or Extra          operations or combination thereof on graphs or graph -like
   Info 527 . In some aspects , Collections of Object Represen -      data structures can be utilized to combine Graphs 530b or
   tations 525 correlated with Instruction Sets 526 and /or Extra     graph - like data structures . In a further example , one Knowl
    Info 527 can be stored directly within Knowledgebase 530 edgebase 530 can be combined with another Knowledgebase
    without using Knowledge Cells 800 as the intermediary data 65 530 through later described learning processes where
    structures . In some embodiments , Knowledgebase 530 may          Knowledge Cells 800 may be applied one at a time and
   be or include Neural Network 530a ( later described ). In          connected with prior and/or subsequent Knowledge Cells
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 98 of 2562 PageID #: 12969


                                                            US 10 ,452 ,974 B1
                                   103                                                                       104
    800 such as in Graph 530b or NeuralNetwork 530a . In such                   grammed or learned function or method . For example, a
    embodiments , instead of Knowledge Cells 800 generated by                  neural network may include one or more input neurons that
   Knowledge Structuring Unit 520 , the learning process may                    can be activated by inputs . Activations of these neurons can
    utilize Knowledge Cells 800 from one Knowledgebase 530                     then be passed on , weighted , and transformed by a function
    to apply them onto another Knowledgebase 530 . Any other 5 to other neurons. Neural networks may range from those
    techniques known in art including custom techniques for    with only one layer of single direction logic to multi - layer of
    combining data structures can be utilized for combining                    multi- directional feedback loops. A neural network can use
   Knowledgebases 530 in alternate implementations . In any of                 weights to change the parameters of the network ' s through
    the aforementioned and/ or other combining techniques,                     put. A neural network can learn by input from its environ
    similarity of elements ( i. e . nodes /vertices , edges / connec - 10 ment or from self -teaching using written -in rules. A neural
    tions , etc . ) can be utilized in determining whether an ele -            network can be utilized as a predictive modeling approach in
   ment from one Knowledgebase 530 matches an element                          machine learning. An exemplary embodiment of a neural
    from another Knowledgebase 530 , and substantially or                      network (i. e . Neural Network 530a, etc . ) is described later.
    otherwise similar elements may be considered a match for                      In another example shown in Model B , the disclosed
    combining purposes in some designs. Any features , func - 15 artificially intelligent devices, systems, and methods for
    tionalities, and embodiments of Similarity Comparison 125                   learning and / or using a device 's circumstances for autono
    ( later described ) can be used in such similarity determina -             mous device operation may include a graph or graph -like
    tions . A combined Knowledgebase 530 can be offered as a                   data structure . As such ,machine learning, knowledge struc
    network service (i.e . online application , etc . ), downloadable          turing or representation , decision making, pattern recogni
    file , or other repository to all DCADO Units 100 configured 20 tion , and / or other artificial intelligence functionalities may
    to utilize the combined Knowledgebase 530 . For example, a                 include Nodes 852 ( also referred to as vertices or points ,
   Device 98 including or interfaced with DCADO Unit 100                        etc .) and Connections 853 (also referred to as edges, arrows,
   having access to a combined Knowledgebase 530 can use                       lines, arcs , etc .) organized as a graph . In general, any Node
   the collective knowledge learned from multiple Devices 98                   852 in a graph can be connected to any other Node 852 . A
    for the Device 's 98 autonomous operation.                              25 Connection 853 may include unordered pair of Nodes 852 in
      Referring to FIG . 17 , the disclosed artificially intelligent           an undirected graph or ordered pair of Nodes 852 in a
   devices, systems, and methods for learning and /or using a                  directed graph . Nodes 852 can be part of the graph structure
   device 's circumstances for autonomous device operation                     or external entities represented by indices or references . A
   may include various artificial intelligence models and/ or                  graph can be utilized as a predictive modeling approach in
    techniques . The disclosed systems, devices , and methods are 30 machine learning. Nodes 852, Connections 853 , and / or other
    independent of the artificial intelligence model and / or tech -            elements or operations of a graph may include any features ,
   nique used and any model and /or technique can be utilized                  functionalities, and embodiments of the aforementioned
    to facilitate the functionalities described herein . Examples of           Nodes 852, Connections 853 , and /or other elements or
    these models and/ or techniques include deep learning,                     operations of a neural network , and vice versa . An exem
    supervised learning , unsupervised learning, neural networks 35 plary embodiment of a graph ( i.e . Graph 530b , etc .) is
    (i.e . convolutional neuralnetwork , recurrent neural network ,            described later.
    deep neural network , etc .), search -based , logic and /or fuzzy             In a further example shown in Model C , the disclosed
    logic -based , optimization -based , tree / graph /other data struc        artificially intelligent devices , systems, and methods for
    ture -based , hierarchical, symbolic and /or sub - symbolic ,              learning and /or using a device 's circumstances for autono
    evolutionary, genetic , multi -agent, deterministic , probabilis - 40 mous device operation may include a tree or tree- like data
   tic , statistical, and/ or other models and/ or techniques .                 structure . As such , machine learning, knowledge structuring
      In one example shown in Model A , the disclosed artifi-                  or representation , decision making, pattern recognition , and /
    cially intelligent devices, systems, and methods for learning              or other artificial intelligence functionalities may include
    and/ or using a device 's circumstances for autonomous                     Nodes 852 and Connections 853 (also referred to as refer
   device operation may include a neural network (also referred 45 ences , edges , etc .) organized as a tree. In general, a Node
    to as artificial neural network , etc .). As such , machine                852 in a tree can be connected to any number (i.e . including
    learning , knowledge structuring or representation , decision              zero , etc .) of children Nodes 852. A tree can be utilized as
   making , pattern recognition , and/or other artificial intelli- a predictive modeling approach in machine learning . Nodes
    gence functionalities may include a network of Nodes 852       852 , Connections 853 , and / or other elements or operations
   ( also referred to as neurons, etc .) and Connections 853 50 of a tree may include any features , functionalities , and
    similar to that of a brain . Node 852 can store any data ,                  embodiments of the aforementioned Nodes 852, Connec
   object , data structure , and / or other item , or reference thereto .      tions 853 , and /or other elements or operations of a neural
   Node 852 may also include a function for transforming or                    network and /or graph , and vice versa .
   manipulating any data , object, data structure, and/ or other                  In a further example shown in Model D , the disclosed
    item . Examples of such transformation functions include 55 artificially intelligent devices, systems, and methods for
   mathematical functions ( i. e . addition , subtraction , multipli-          learning and /or using a device ' s circumstances for autono
    cation , division, sin , cos, log , derivative , integral, etc .),         mous device operation may include a sequence or sequence
    object manipulation functions ( i. e . creating an object , modi-          like data structure . As such , machine learning , knowledge
    fying an object, deleting an object, appending objects, etc .),            structuring or representation , decision making, pattern rec
    data structure manipulation functions (i. e . creating a data 60 ognition , and /or other artificial intelligence functionalities
    structure , modifying a data structure, deleting a data struc -            may include a structure of Nodes 852 and /or Connections
   ture , creating a data field , modifying a data field , deleting a          853 organized as a sequence . In some aspects , Connections
   data field , etc . ), and/or other transformation functions. Con -          853 may be optionally omitted from a sequence as the
   nection 853 may include or be associated with a value such                  sequential order of Nodes 852 in a sequence may be implied
    as a symbolic label or numeric attribute (i.e . weight, cost, 65 in the structure. A sequence can be utilized as a predictive
    capacity, length , etc .). A computational model can be uti-               modeling approach in machine learning. Nodes 852, Con
    lized to compute values from inputs based on a pre -pro -                  nections 853, and/or other elements or operations of a
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 99 of 2562 PageID #: 12970


                                                         US 10 ,452 , 974 B1
                                 105                                                                   106
    sequence may include any features, functionalities, and               include optimization techniques , while others may use other
    embodiments of the aforementioned Nodes 852 , Connec                 or a combination of models and /or techniques. In general,
    tions 853 , and/or other elements or operations of a neuralany artificial intelligence model and /or technique can be
    network , graph, and /or tree, and vice versa . An exemplary
                                                               utilized that can facilitate the functionalities described
    embodiment of a sequence (i. e . Collection of Sequences 5 herein .
    530c, Sequence 533 , etc .) is described later.               Referring to FIGS. 18A - 18C , embodiments of intercon
      In yet another example , the disclosed artificially intelli - nected Knowledge Cells 800 and updating weights of Con
   gent devices, systems, and methods for learning and /or using nections 853 are illustrated . As shown for example in FIG .
   a device's circumstances for autonomous device operation         18A , Knowledge Cell 800za is connected to Knowledge
   may include a search -based model and / or technique . As 10 Cell 800zb and Knowledge Cell 800zc by Connection 853z1
   such , machine learning, knowledge structuring or represen -     and Connection 853z2 , respectively . Each of Connection
   tation , decision making, pattern recognition , and/ or other 853z1 and Connection 853z2 may include or be associated
    artificial intelligence functionalities may include searching        with occurrence count, weight, and /or other parameter or
    through a collection of possible solutions. For example, a           data . The number of occurrences may track or store the
    search method can search through a neural network , graph , 15 number of observations that a Knowledge Cell 800 was
    tree , sequence, or other data structure that includes data    followed by another Knowledge Cell 800 indicating a con
    elements of interest. A search may use heuristics to limit the       nection or relationship between them . For example, Knowl
    search for solutions by eliminating choices that are unlikely         edge Cell 800za was followed by Knowledge Cell 800zb 10
    to lead to the goal. Heuristic techniques may provide a best         times as indicated by the number of occurrences of Con
    guess solution . A search can also include optimization . For 20 nection 853z1 . Also , Knowledge Cell 800za was followed
   example , a search may begin with a guess and then refine the         by Knowledge Cell 800zc 15 times as indicated by the
    guess incrementally until no more refinements can be made .          number of occurrences of Connection 853z2 . The weight of
   In a further example , the disclosed systems, devices , and           Connection 853zl can be calculated or determined as the
   methods may include logic - based model and /or technique .           number of occurrences of Connection 853z1 divided by the
    As such , machine learning, knowledge structuring or repre - 25 sum of occurrences of all connections (i. e . Connection
    sentation , decision making, pattern recognition , and/ or other      853z1 and Connection 853z2, etc .) originating from Knowl
    artificial intelligence functionalities can use formal or other       edge Cell 800za . Therefore , the weight of Connection 853z1
    type of logic . Logic based models may involve making                can be calculated or determined as 10 /( 10 + 15 ) = 0 .4 , for
    inferences or deriving conclusions from a set of premises . As       example. Also , the weight of Connection 853z2 can be
    such , a logic based system can extend existing knowledge or 30 calculated or determined as 15 /( 10 + 15 ) = 0 .6 , for example .
    create new knowledge automatically using inferences.            Therefore , the sum of weights of Connection 853z1 , Con
    Examples of the types of logic that can be utilized include nection 853z2 , and/ or any other Connections 853 originating
    propositional or sentential logic that comprises logic of       from Knowledge Cell 800za may equal to 1 or 100 % . As
    statements which can be true or false ; first-order logic that       shown for example in FIG . 18B , in the case that Knowledge
   allows the use of quantifiers and predicates and that can 35 Cell 800zd is inserted and an observation is made that
    express facts about objects, their properties, and their rela        Knowledge Cell 800zd follows Knowledge Cell 800za ,
   tions with each other, fuzzy logic that allows degrees of truth       Connection 853z3 can be created between Knowledge Cell
    to be represented as a value between 0 and 1 rather than              800za and Knowledge Cell 800zd . The occurrence count of
    simply 0 (false ) or 1 ( true ), which can be used for uncertain      Connection 853z3 can be set to 1 and weight determined as
   reasoning; subjective logic that comprises a type of proba - 40 1 / ( 10 + 15 + 1 ) = 0 . 038 . The weights of all other connections
   bilistic logic that may take uncertainty and belief into              ( i.e . Connection 853z1 , Connection 853z2, etc .) originating
    account, which can be suitable for modeling and analyzing             from Knowledge Cell 800za may be updated to account for
    situations involving uncertainty , incomplete knowledge and          the creation of Connection 853z3. Therefore, the weight of
    different world views; and /or other types of logic . In a           Connection 853z1 can be updated as 10 / ( 10 + 15 + 1 ) = 0 .385 .
    further example , the disclosed systems, devices, and meth - 45 The weight of Connection 853z2 can also be updated as
    ods may include a probabilistic model and / or technique . As   15 / ( 10 + 15 + 1 ) = 0 .577 . As shown for example in FIG . 18C , in
    such , machine learning, knowledge structuring or represen -         the case that an additional occurrence of Connection 853z1
    tation , decision making, pattern recognition , and/ or other        is observed (i. e. Knowledge Cell 800zb followed Knowl
    artificial intelligence functionalities can be implemented to        edge Cell 800za , etc .), occurrence count of Connection
    operate with incomplete or uncertain information where 50 853z1 and weights ofall connections (i.e. Connection 853z1 ,
    probabilities may affect outcomes . Bayesian network ,    Connection 853z2 , and Connection 853z3 , etc . ) originating
    among other models, is an example of a probabilistic tool from Knowledge Cell 800za may be updated to account for
    used for purposes such as reasoning , learning, planning, this observation . The occurrence count of Connection 853z1
    perception , and /or others . One of ordinary skill in art will can be increased by 1 and its weight updated as 11 / ( 11 + 15 +
    understand that the aforementioned artificial intelligence 55 1 ) = 0 .407. The weight of Connection 853z2 can also be
   models and/or techniques are described merely as examples             updated as 15 /( 11 + 15 + 1) = 0 . 556 . The weight of Connection
   of a variety of possible implementations, and that while all          853z3 can also be updated as 1/ ( 11 + 15 + 1 ) = 0 .037.
   possible artificial intelligence models and /or techniques are          Referring to FIG . 19 , an embodiment of learning Knowl
    too voluminous to describe , other artificial intelligence           edge Cells 800 comprising one or more Collections of
   models and/ or techniques known in art are within the scope 60 Object Representations 525 correlated with any Instruction
    of this disclosure . One of ordinary skill in art will also          Sets 526 and /or Extra Info 527 using Collection of Knowl
    recognize that an intelligent system may solve a specific            edge Cells 530d is illustrated . Collection of Knowledge
    problem by using any model and/or technique that works               Cells 530d comprises the functionality for storing any
    such as, for example, some systems can be symbolic and number of Knowledge Cells 800 . In some aspects , Knowl
    logical, some can be sub -symbolic neural networks , some 65 edge Cells 800 may be stored into or applied onto Collection
    can be deterministic or probabilistic , some can be hierar - of Knowledge Cells 530d in a learning or training process .
    chical, some may include searching techniques , somemay              In effect , Collection of Knowledge Cells 530d may store
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 100 of 2562 PageID #: 12971


                                                       US 10 ,452 , 974 B1
                            107                                                                  108
    Knowledge Cells 800 that can later be used to enable             the case that a substantially similar match is not found, the
    autonomous Device 98 operation . In some embodiments,            system may insert a new Knowledge Cell 800 into Collec
    Knowledge Structuring Unit 520 structures or generates           tion of Knowledge Cells 530d and copy Knowledge Cell
    Knowledge Cells 800 as previously described and the sys - 800be into the inserted new Knowledge Cell 800 . Applying
    tem applies them onto Collection of Knowledge Cells 530d , 5 any additional Knowledge Cells 800 from Knowledge Struc
    thereby implementing learning Device 's 98 operation in turing Unit 520 onto Collection of Knowledge Cells 530d
    circumstances including objects with various properties. The follows similar logic or process as the above-described .
    term apply or applying may refer to storing , copying,              Referring to FIG . 20 , an embodiment of learning Knowl
    inserting , updating , or other similar action , therefore, these edge Cells 800 comprising one or more Collections of
    terms may be used interchangeably herein depending on 10 Object Representations 525 correlated with any Instruction
    context. The system can perform Similarity Comparisons           Sets 526 and /or Extra Info 527 using Neural Network 530a
    125 (later described ) of a newly structured Knowledge Cell      is illustrated . Neural Network 530a includes a number of
    800 from Knowledge Structuring Unit 520 with Knowledge           neurons or Nodes 852 interconnected by Connections 853 as
    Cells 800 in Collection of Knowledge Cells 530d . If a      previously described. Knowledge Cells 800 are shown
    substantially similar Knowledge Cell 800 is not found in 15 instead ofNodes 852 to simplify the illustration as Node 852
    Collection of Knowledge Cells 530d , the system may insert       includes a Knowledge Cell 800, for example. Therefore ,
    (i.e . copy, store , etc .) the Knowledge Cell 800 from Knowl-   Knowledge Cells 800 and Nodes 852 can be used inter
    edge Structuring Unit 520 into Collection of Knowledge           changeably herein depending on context. It should be noted
    Cells 530d , for example . On the other hand, if a substantially that Node 852 may include other elements and /or function
    similar Knowledge Cell 800 is found in Collection of 20 alities instead of or in addition to Knowledge Cell 800 . In
    Knowledge Cells 530d , the system may optionally omit            some aspects , Knowledge Cells 800 may be stored into or
    inserting the Knowledge Cell 800 from Knowledge Struc            applied onto Neural Network 530a individually or collec
    turing Unit 520 as inserting a substantially similar Knowl-      tively in a learning or training process. In some designs,
    edge Cell 800 may not add much or any additional knowl- Neural Network 530a comprises a number of Layers 854
    edge to the Collection of Knowledge Cells 530d , for 25 each of which may include one or more Knowledge Cells
    example . Also , inserting a substantially similar Knowledge     800 . Knowledge Cells 800 in successive Layers 854 can be
    Cell 800 can optionally be omitted to save storage resources     connected by Connections 853. Connection 853 may include
    and limit the number of Knowledge Cells 800 thatmay later        or be associated with occurrence count, weight, and/ or other
    need to be processed or compared . Any features , function       parameter or data as previously described . Neural Network
    alities, and embodiments of Similarity Comparison 125 , 30 530a may include any number of Layers 854 comprising any
    importance index (later described ) , similarity index (later    number of Knowledge Cells 800 . In some aspects , Neural
    described ), and /or other disclosed elements can be utilized    Network 530a may store Knowledge Cells 800 intercon
    to facilitate determination of substantial or other similarity   nected by Connections 853 where following a path through
    and whether to insert a newly structured Knowledge Cell          the Neural Network 530a can later be used to enable
    800 into Collection of Knowledge Cells 530d .           35 autonomous Device 98 operation . It should be understood
       For example , the system can perform Similarity Com - that, in some embodiments , Knowledge Cells 800 in one
    parisons 125 (later described ) of Knowledge Cell 800ba Layer 854 ofNeural Network 530a need not be connected
    from Knowledge Structuring Unit 520 with Knowledge               only with Knowledge Cells 800 in a successive Layer 854 ,
    Cells 800 in Collection of Knowledge Cells 530d . In the    but also in any other Layer 854 , thereby creating shortcuts
    case that a substantially similar match is found between 40 (i. e . shortcut Connections 853 , etc .) through Neural Network
    Knowledge Cell 800ba and any of the Knowledge Cells 800          530a . A Knowledge Cell 800 can also be connected to itself
    in Collection of Knowledge Cells 530d , the system may           such as , for example , in recurrent neural networks. In
    perform no action . The system can then perform Similarity       general , any Knowledge Cell 800 can be connected with any
    Comparisons 125 of Knowledge Cell 800bb from Knowl-      other Knowledge Cell 800 anywhere else in NeuralNetwork
    edge Structuring Unit 520 with Knowledge Cells 800 in 45 530a . In further embodiments , back -propagation ofany data
    Collection of Knowledge Cells 530d . In the case that a  or information can be implemented. In one example, back
    substantially similar match is not found, the system may propagation of similarity i.e . similarity index , etc .) of
    insert a new Knowledge Cell 800 into Collection of Knowl compared Knowledge Cells 800 in a path through Neural
    edge Cells 530d and copy Knowledge Cell 800bb into the Network 530a can be implemented. In another example ,
    inserted new Knowledge Cell 800 . The system can then 50 back -propagation of errors can be implemented . Such back
    perform Similarity Comparisons 125 of Knowledge Cell             propagations can then be used to adjust occurrence counts
    800bc from Knowledge Structuring Unit 520 with Knowl-            and/ or weights of Connections 853 for better future predic
    edge Cells 800 in Collection of Knowledge Cells 530d. In tions, for example. Any other back -propagation can be
    the case that a substantially similar match is found between implemented for other purposes. Any combination of Nodes
    Knowledge Cell 800bc and any of the Knowledge Cells 800 55 852 (i.e. Nodes 852 comprising Knowledge Cells 800 , etc .),
    in Collection of Knowledge Cells 530d , the system may Connections 853, Layers 854 , and /or other elements or
    perform no action . The system can then perform Similarity   techniques can be implemented in alternate embodiments .
    Comparisons 125 of Knowledge Cell 800bd from Knowl Neural Network 530a may include any type or form of a
    edge Structuring Unit 520 with Knowledge Cells 800 in      neural network known in art such as a feed - forward neural
    Collection of Knowledge Cells 530d . In the case that a 60 network , a back -propagating neural network , a recurrent
    substantially similar match is not found , the system may neural network , a convolutional neural network , deep neural
    insert a new Knowledge Cell 800 into Collection of Knowl- network , and/ or others including a custom neural network .
    edge Cells 530d and copy Knowledge Cell 800bd into the       In some embodiments, Knowledge Structuring Unit 520
    inserted new Knowledge Cell 800 . The system can then     structures or generates Knowledge Cells 800 and the system
    perform Similarity Comparisons 125 of Knowledge Cell 65 applies them onto Neural Network 530a, thereby imple
    800be from Knowledge Structuring Unit 520 with Knowl- menting learning Device ' s 98 operation in circumstances
    edge Cells 800 in Collection of Knowledge Cells 530d . In including objects with various properties . The system can
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 101 of 2562 PageID #: 12972


                                                      US 10 ,452 , 974 B1
                                109                                                                   110
    perform Similarity Comparisons 125 ( later described ) of a      Knowledge Cell 800ed and Knowledge Cell 800ee with
    Knowledge Cell 800 from Knowledge Structuring Unit 520           occurrence count of 1 and weight of 1. Applying any
    with Knowledge Cells 800 in a Layer 854 of Neural Net additional Knowledge Cells 800 from Knowledge Structur
    work 530a. If a substantially similar Knowledge Cell 800 is      ing Unit 520 onto Neural Network 530a follows similar
    not found in the Layer 854 of Neural Network 530a , the 5 logic or process as the above - described .
    system may insert (i.e . copy, store , etc .) the Knowledge Cell   Referring now to Similarity Comparison 125 , Similarity
    800 from Knowledge Structuring Unit 520 into the Layer Comparison 125 comprises the functionality for comparing
    854 of Neural Network 530a, and create a Connection 853 or matching Knowledge Cells 800 or portions thereof,
    to the inserted Knowledge Cell 800 from a Knowledge Cell         and /or other functionalities . Similarity Comparison 125
    800 in a prior Layer 854 including assigning an occurrence 10 comprises the functionality for comparing or matching Col
    count to the new Connection 853, calculating a weight of the     lections of Object Representations 525 or portions thereof.
    new Connection 853 , and updating any other Connections          Similarity Comparison 125 comprises the functionality for
    853 originating from the Knowledge Cell 800 in the prior         comparing or matching streams of Collections of Object
    Layer 854 . On the other hand , if a substantially similar       Representations 525 or portions thereof. Similarity Com
    Knowledge Cell 800 is found in the Layer 854 of Neural 15 parison 125 comprises the functionality for comparing or
    Network 530a, the system may update occurrence count and     matching Object Representations 625 or portions thereof.
    weight of Connection 853 to that Knowledge Cell 800 from     Similarity Comparison 125 comprises the functionality for
    a Knowledge Cell 800 in a prior Layer 854 , and update any comparing or matching Object Properties 630 or portions
    other Connections 853 originating from the Knowledge Cell thereof. Similarity Comparison 125 comprises the function
    800 in the prior Layer 854 .                              20 ality for comparing or matching Instruction Sets 526 , Extra
      For example , the system can perform Similarity Com -          Info 527 , text (i. e . characters , words, phrases, etc . ), numbers ,
    parisons 125 (later described ) of Knowledge Cell 800ba          and /or other elements or portions thereof. Similarity Com
    from Knowledge Structuring Unit 520 with Knowledge parison 125 may include functions , rules, and /or logic for
    Cells 800 in Layer 854a ofNeural Network 530a . In the case performing matching or comparisons and for determining
    that a substantially similar match is found between Knowl- 25 that while a perfect match is not found, a partial or similar
    edge Cell 800ba and Knowledge Cell 800ea , the system may match has been found. In someaspects , a partialmatch may
    perform no action since Knowledge Cell 800ea is the initial include a substantially or otherwise similar match , and vice
    Knowledge Cell 800 . The system can then perform Simi- versa . Therefore, these terms may be used interchangeably
    larity Comparisons 125 of Knowledge Cell 800bb from           herein depending on context. As such , Similarity Compari
    Knowledge Structuring Unit 520 with Knowledge Cells 800 30 son 125 may include determining substantial similarity or
    in Layer 854b of Neural Network 530a . In the case that a substantial match of compared elements. Although , substan
    substantially similar match is found between Knowledge        tial similarity or substantial match is frequently used herein ,
    Cell 800bb and Knowledge Cell 800eb , the system may it should be understood that any level of similarity, however
    update occurrence count and weight of Connection 853e1 high or low , may be utilized as defined by the rules (i.e .
    between Knowledge Cell 800ea and Knowledge Cell 800eb , 35 thresholds, etc .) for similarity . The rules for similarity or
    and update weights of other Connections 853 originating similar match can be defined by a user, by DCADO system
     from Knowledge Cell 800ea as previously described . The administrator, or automatically by the system based on
    system can then perform Similarity Comparisons 125 of experience , testing, inquiry, analysis, synthesis, or other
    Knowledge Cell 800bc from Knowledge Structuring Unit techniques , knowledge , or input. In some designs, Similarity
    520 with Knowledge Cells 800 in Layer 854c of Neural 40 Comparison 125 comprises the functionality to automati
    Network 530a . In the case that a substantially similar match    cally define appropriately strict rules for determining simi
    is not found , the system may insert Knowledge Cell 800ec       larity of the compared elements. Similarity Comparison 125
    into Layer 854c and copy Knowledge Cell 800bc into the           can therefore set, reset, and /or adjust the strictness of the
    inserted Knowledge Cell 800ec . The system may also create       rules for finding or determining similarity of the compared
    Connection 853e2 between Knowledge Cell 800eb and 45 elements , thereby fine tuning Similarity Comparison 125 so
    Knowledge Cell 800ec with occurrence count of 1 and              that the rules for determining similarity are appropriately
    weight calculated based on the occurrence count as previ-        strict. In some aspects, the rules for determining similarity
    ously described . The system may also update weights of may include a similarity threshold . As such , Similarity
    other Connections 853 (one in this example ) originating Comparison 125 can determine similarity of compared ele
    from Knowledge Cell 800eb as previously described . The 50 ments if their similarity exceeds a similarity threshold . In
    system can then perform Similarity Comparisons 125 of other aspects , the rules for determining similarity may
    Knowledge Cell 800bd from Knowledge Structuring Unit include a difference threshold . As such , Similarity Compari
    520 with Knowledge Cells 800 in Layer 854d of Neural son 125 can determine similarity of compared elements if
    Network 530a. In the case that a substantially similar match  their difference is lower than a difference threshold . In
     is not found , the system may insert Knowledge Cell 800ed 55 further aspects , the rules for determining similarity may
    into Layer 854d and copy Knowledge Cell 800bd into the include other thresholds. Similarity Comparison 125 enables
    inserted Knowledge Cell 800ed. The system may also create comparing circumstances including objects with various
    Connection 853e3 between Knowledge Cell 800ec and                properties and determining their similarity or match . In one
    Knowledge Cell 800ed with occurrence count of 1 and              example , a circumstance including an object detected at a
    weight of 1 . The system can then perform Similarity Com - 60 distance of 8 m and an angle /bearing of 64° relative to
    parisons 125 of Knowledge Cell 800be from Knowledge Device 98 may be found similar or matching by Similarity
    Structuring Unit 520 with Knowledge Cells 800 in Layer           Comparison 125 to a circumstance including the same or
    854e of Neural Network 530a . In the case that a substan         similar object detected at a distance of 8 .6 m and an
    tially similar match is not found , the system may insert        angle /bearing of 59° relative to Device 98 . In another
    Knowledge Cell 800ee into Layer 854e and copy Knowl- 65 example , a circumstance including an object detected as a
    edge Cell 800be into the inserted Knowledge Cell 800ee .         passenger vehicle may be found similar or matching by
    The system may also create Connection 853e4 between              Similarity Comparison 125 to a circumstance including an
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 102 of 2562 PageID #: 12973
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 103 of 2562 PageID #: 12974
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 104 of 2562 PageID #: 12975
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 105 of 2562 PageID #: 12976
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 106 of 2562 PageID #: 12977
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 107 of 2562 PageID #: 12978
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 108 of 2562 PageID #: 12979
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 109 of 2562 PageID #: 12980
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 110 of 2562 PageID #: 12981
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 111 of 2562 PageID #: 12982
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 112 of 2562 PageID #: 12983
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 113 of 2562 PageID #: 12984
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 114 of 2562 PageID #: 12985
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 115 of 2562 PageID #: 12986
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 116 of 2562 PageID #: 12987
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 117 of 2562 PageID #: 12988
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 118 of 2562 PageID #: 12989
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 119 of 2562 PageID #: 12990
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 120 of 2562 PageID #: 12991
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 121 of 2562 PageID #: 12992
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 122 of 2562 PageID #: 12993
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 123 of 2562 PageID #: 12994
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 124 of 2562 PageID #: 12995
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 125 of 2562 PageID #: 12996
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 126 of 2562 PageID #: 12997
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 127 of 2562 PageID #: 12998
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 128 of 2562 PageID #: 12999
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 129 of 2562 PageID #: 13000
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 130 of 2562 PageID #: 13001
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 131 of 2562 PageID #: 13002
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 132 of 2562 PageID #: 13003
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 133 of 2562 PageID #: 13004
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 134 of 2562 PageID #: 13005




                         Exhibit B
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 135 of 2562 PageID #: 13006

                                                                                                                                              US011238344B1


    ( 12) United
          Cosic
                 States Patent                                                                                       ( 10) Patent No .: US 11,238,344 B1
                                                                                                                     (45 ) Date of Patent :   * Feb . 1 , 2022
    ( 54 ) ARTIFICIALLY INTELLIGENT SYSTEMS ,                                                                          4,860,203 A    8/1989 Corrigan et al.
           DEVICES , AND METHODS FOR LEARNING                                                                          5,560,011 A    9/1996 Uyama
              AND /OR USING A DEVICE'S                                                                                 5,602,982 A    2/1997 Judd et al .
                                                                                                                       6,026,234 A    2/2000 Hanson et al.
              CIRCUMSTANCES FOR AUTONOMOUS                                                                             6,088,731 A    7/2000 Kiraly et al .
              DEVICE OPERATION                                                                                         6,106,299 A    8/2000 Ackermann et al .
                                                                                                                       6,126,330 A 10/2000 Knight
    ( 71 ) Applicant: Jasmin Cosic , Miami , FL (US )                                                                  6,314,558 B1 11/2001 Angel et al .
                                                                                                                       6,408,262 B1 * 6/2002 Leerberg          G06F 11/3608
                                                                                                                                                                           703/2
    (72) Inventor: Jasmin Cosic , Miami , FL ( US )                                                                    6,643,842 B2            11/2003 Angel et al .
                                                                                                                       6,728,689 B1             4/2004 Drissi et al.
    ( * ) Notice :         Subject to any disclaimer, the term of this                                                 6,735,632 B1             5/2004 Kiraly et al .
                           patent is extended or adjusted under 35                                                     6,754,631 B1             6/2004 Din
                           U.S.C. 154 ( b ) by 182 days .                                                              6,801,912 B2            10/2004 Moskowitz et al .
                                                                                                                       6,842,877 B2             1/2005 Robarts et al.
                           This patent is subject to a terminal dis                                                    6,915,105 B2             7/2005 Masuda
                           claimer .                                                                                   6,973,446 B2            12/2005 Mamitsuka et al .
                                                                                                                       7,017,153 B2             3/2006 Gouriou et al .
    ( 21 ) Appl. No .: 16 /540,972                                                                                     7,052,277 B2             5/2006 Kellman
                                                                                                                       7,113,946 B2             9/2006 Cosic
                                                                                                                       7,117,225 B2            10/2006 Cosic
    (22) Filed :       Aug. 14, 2019                                                                                   7,222,127 B1             5/2007 Bem et al .
                 Related U.S. Application Data                                                                                                      (Continued )
    (63 ) Continuation of application No. 15 / 340,991 , filed on                                                                           OTHER PUBLICATIONS
          Nov. 2 , 2016 , now Pat. No. 10,452,974 .
                                                                                                             ABOUT | OpenCV, retrieved from < URL : http://opencv.org/about.
    (51 ) Int. Ci .                                                                                          html> on Dec. 13 , 2014 , 1 pages.
              GO6N 3/08                 ( 2006.01 )                                                                                                 (Continued )
              GOON 5/02                 ( 2006.01 )
    (52) U.S. Ci.                                                                                            Primary Examiner Santiago Garcia
              CPC                GO6N 3/08 (2013.01 ) ; GO6N 5/022
                                                          (2013.01 )                                         ( 57 )                                 ABSTRACT
    ( 58 ) Field of Classification Search                                                                    Aspects of the disclosure generally relate to computing
              None                                                                                           enabled devices and / or systems , and may be generally
              See application file for complete search history.                                              directed to devices , systems, methods, and / or applications
    ( 56 )                   References Cited                                                                for learning a device's operation in various circumstances ,
                                                                                                             storing this knowledge in a knowledgebase ( i.e. neural
                     U.S. PATENT DOCUMENTS                                                                   network , graph, sequences, etc. ) , and enabling autonomous
                                                                                                             operation of the device .
             4,370,707 A       1/1983 Phillips et al .
             4,730,315 A       3/1988 Saito et al.                                                                         20 Claims , 40 Drawing Sheets
                                                                                  93                            11               18

                                                                     Object                  Processor
                                                                     Processing                            Appilcation Program
                                                                     Unit

                                                                                                                                              100

                                                 OCADO Unit                                                   120                     130
                                                                                             Acquisition               Modiication
                                                                                             Interface                 interface
                                                              110

                                                      Artificial                                                                        530
                                                      Intelligence
                                                      Unit                                                     520
                                                                                                                            Knowledgebase
                                                                              Knowledge Structuring Unit
                                                                                                               540

                                                                     Decision -making Unit

                                                                                                               550

                                                                              Carifirmation Unit
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 136 of 2562 PageID #: 13007


                                                            US 11,238,344 B1
                                                                     Page 2

    ( 56 )                   References Cited                                 2008/0144893 A1
                                                                              2008/0215508 A1
                                                                                                   6/2008 Guo et al .
                                                                                                   9/2008 Hanneman et al .
                       U.S. PATENT DOCUMENTS                                  2008/0254429 Al     10/2008 Woolf et al .
                                                                              2008/0281764 A1   11/2008 Baxter
             7,240,335 B2     7/2007 Angel et al.                             2008/0288259 Al   11/2008 Chambers et al .
             7,249,349 B2 7/2007 Hundt et al .                                2009/0044113 Al    2/2009 Jones et al .
             7,424,705 B2     9/2008 Lewis et al .                            2009/0067727 Al    3/2009 Hirohata
             7,478,371 B1     1/2009 Gove                                     2009/0110061 Al    4/2009 Lee et al .
             7,484,205 B2     1/2009 Venkatapathy                             2009/0131152 Al    5/2009 Busse
             7,565,340 B2     7/2009 Herlocker et al .                        2009/0136095 A1    5/2009 Marcon et al .
             7,721,218 B2     5/2010 Awe et al .                              2009/0141969 Al    6/2009 Yu et al .
             7,765,537 B2     7/2010 Havin et al.                             2009/0222388 Al    9/2009 Hua et al.
             7,797,259 B2     9/2010 Jiang et al .                            2009/0287643 Al 11/2009 Corville et al .
             7,840,060 B2    11/2010 Podilchuk                                2009/0324010 A1 12/2009 Hou
             7,925,984 B2     4/2011 Awe et al .                              2010/0023541 A1    1/2010 Cosic
             7,987,144 B1     7/2011 Drissi et al.                            2010/0033780 A1    2/2010 Gitter
             8,005,828 B2     8/2011 Buchner et al .                          2010/0063949 Al    3/2010 Eaton et al.
             8,019,699 B2     9/2011 Baxter                                   2010/0082536 A1    4/2010 Cosic
             8,078,556 B2    12/2011 Adi et al .                              2010/0114746 A1    5/2010 Bobbitt et al.
             8,090,669 B2     1/2012 Shahani et al .                          2010/0138370 A1    6/2010 Wu et al .
             8,137,112 B2     3/2012 Woolf et al .                            2010/0241595 A1    9/2010 Felsher
             8,166,463 B2     4/2012 Gill et al .                             2010/0278420 A1 * 11/2010 Shet              G06K 9/00369
             8,195,674 B1     6/2012 Bem et al .                                                                               382/156
             8,196,119 B2     6/2012 Gill et al .                             2011/0007079 Al    1/2011 Perez et al .
             8,244,730 B2     8/2012 Gupta                                    2011/0030031 A1    2/2011 Lussier et al .
             8,251,704 B2     8/2012 Woolf et al .                            2011/0085734 Al    4/2011 Berg et al .
             8,261,199 B2     9/2012 Cradick et al.                           2011/0218672 A1    9/2011 Maisonnier et al.
             8,266,608 B2     9/2012 Hecht et al .                            2011/0270794 A1 11/2011 Drory et al .
             8,335,805 B2    12/2012 Cosic                                    2012/0150773 Al     6/2012 DiCorpo et al.
             8,356,026 B2     1/2013 Heimendinger                             2012/0167057 A1 *   6/2012 Schmich             GOOF 11/3644
             8,364,612 B2     1/2013 Van Gael et al .                                                                             717/130
             8,386,401 B2     2/2013 Virkar et al .                           2012/0192096 A1    7/2012 Bowman et al .
             8,397,227 B2     3/2013 Fan et al .                              2012/0284026 A1 11/2012 Cardillo et al .
             8,417,740 B2     4/2013 Cosic                                    2012/0290347 A1 * 11/2012 Elazouni              GO6Q 10/00
             8,464,225 B2     6/2013 Greifeneder                                                                                 705 /7.12
             8,549,359 B2    10/2013 Zheng                                    2013/0007532 A1   1/2013 Miller et al .
             8,572,035 B2    10/2013 Cosic                                    2013/0156345 Al   6/2013 Shmunk
             8,589,414 B2    11/2013 Waite et al .                            2013/0159021 A1   6/2013 Felsher
              8,595,154 B2 * 11/2013 Breckenridge           GOON 20/00        2013/0218932 A1   8/2013 Cosic
                                                                706/12        2013/0226974 Al   8/2013 Cosic
              8,655,260 B2 2/2014 Yueh et al .                                2013/0238533 Al   9/2013 Virkar et al .
              8,655,900 B2 2/2014 Cosic                                       2013/0278501 Al 10/2013 Bulzacki
             8,667,472 B1 3/2014 Molinari                                     2013/0278631 Al 10/2013 Border et al .
             8,996,432 B1 3/2015 Fu                                           2013/0329946 A1 12/2013 Archibald et al .
             9,047,324 B2 6/2015 Cosic                                        2014/0052717 Al   2/2014 Franks et al .
             9,158,813 B2 10/2015 Ntoulas et al.                              2014/0075249 Al   3/2014 Sato et al .
             9,268,454 B2   2/2016 Hamilton , II et al .                      2014/0161250 A1   6/2014 Leeds et al.
             9,282,309 B1 * 3/2016 Cosic                  HO4N 9/87           2014/0177946 A1 * 6/2014 Lim                   G06K 9/4614
             9,298,749 B2 3/2016 Cosic                                                                                            382/156
             9,305,216 B1 4/2016 Mishra                                       2014/0207580 A1     6/2014 Minnis et al .
             9,367,806 B1 * 6/2016 Cosic                 GOON 5/022           2014/0211988 A1     7/2014 Fan et al .
             9,443,192 B1 * 9/2016 Cosic                  GOON 3/02           2014/0278754 A1     9/2014 Cronin et al .
             9,488,984 B1 11/2016 Williams et al .                            2015/0006171 Al      1/2015 Westby et al .
             9,582,762 B1 * 2/2017 Cosic                  GOON 5/04           2015/0023186 A1 *    1/2015 Vasseur            HO4L 43/103
              9,864,933 B1 * 1/2018 Cosic                   G06K 9/66                                                            370/252
             10,102,226 B1 * 10/2018 Cosic                G06F 16/5866        2015/0023205 A1 *    1/2015 Vasseur             HO4L 45/42
             10,102,449 B1 * 10/2018 Cosic                G06K 9/00771                                                           370/254
             10,162,740 B1 12/2018 Setty et al .                              2015/0039304 A1     2/2015 Wein
     2003/0026588 Al          2/2003 Elder et al .                            2015/0055821 Al     2/2015 Fotland
     2003/0065662 A1          4/2003 Cosic                                    2015/0089081 A1 *   3/2015 Thubert              H04W 40/30
     2004/0117771 A1          6/2004 Venkatapathy                                                                                709/239
     2004/0194017 A1          9/2004 Cosic                                    2015/0264306 Al     9/2015 Marilly et al .
     2004/0249774 A1         12/2004 Caid et al .                             2015/0269156 A1    9/2015 Awadallah et al .
     2004/0267521 A1         12/2004 Cutler et al .                           2015/0269415 Al    9/2015 Gelbman
     2005/0149517 Al          7/2005 Cosic                                    2015/0310041 A1 10/2015 Kier et al .
     2005/0149542 Al          7/2005 Cosic                                    2015/0324685 A1 * 11/2015 Bohn                   GOON 3/04
     2005/0240412 A1         10/2005 Fujita                                                                                        706/15
     2005/0245303 A1         11/2005 Graepel et al.                           2015/0339213 A1 * 11/2015 Lee                  G06F 11/3664
     2005/0289105 Al         12/2005 Cosic
     2006/0047612 A1          3/2006 Stanley et al .                                                                              717/125
     2006/0184410 Al          8/2006 Ramamurthy et al .                       2016/0063118 Al     3/2016 Campbell et al .
     2006/0190930 A1          8/2006 Hecht et al.                             2016/0077166 A1 *   3/2016 Morozov              G01C 19/00
     2006/0265406 A1         11/2006 Chkodrov et al .                                                                            702/150
     2007/0006159 Al          1/2007 Hecht et al .                            2016/0140999 Al      5/2016 Cosic
     2007/0050606 A1          3/2007 Ferren et al .                           2016/0142650 A1     5/2016 Cosic
     2007/0050719 Al          3/2007 Lui et al .                              2016/0167226 A1 *   6/2016 Schnittman            B25J 5/00
     2007/0058856 Al          3/2007 Boregowda et al.                                                                            382/153
     2007/0061735 A1          3/2007 Hoffberg et al.                          2016/0243701 A1 *   8/2016 Gildert              G05B 19/42
     2007/0106633 A1          5/2007 Reiner                                   2016/0246819 Al     8/2016 Cosic
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 137 of 2562 PageID #: 13008


                                                               US 11,238,344 B1
                                                                          Page 3

    ( 56 )                   References Cited                                  N - gram , retrieved from < URL : http://wikipedia.com > on Nov. 1 ,
                                                                               2015 , 5 pages .
                      U.S. PATENT DOCUMENTS                                    Optical flow , retrieved from <URL : http://wikipedia.com > on Nov.
                                                                               1 , 2015 , 4 pages .
     2016/0246850 A1
     2016/0246868 A1
                        8/2016 Cosic
                        8/2016 Cosic
                                                                               Outline of object recognition , retrieved from < URL : http : //wikipedia .
     2016/0274187 A1 * 9/2016 Menon                        GO1R 31/31718
                                                                               com> on Nov. 19 , 2015 , 7 pages .
     2016/0292185 Al 10/2016 Cosic                                             Phonotactics, retrieved from <URL : http://wikipedia.com > on Nov.
     2016/0328480 A1 * 11/2016 Owens                          G06Q 30/02       19, 2015 , 3 pages .
     2017/0161958 A1 * 6/2017 Eilat                          GO2B 27/017       Recurrent neural network , retrieved from < URL : http ://wikipedia .
     2018/0017791 Al * 1/2018 Beckman                       GO2B 27/0103       com > on Nov. 11 , 2015 , 5 pages .
     2018/0060144 A1 * 3/2018 Capobianco                      G06F 9/542       Sample rate conversion, retrieved from < URL : http ://wikipedia.
     2018/0068564 Al            3/2018 Tanigawa et al .                        com> on Nov. 1 , 2015 , 2 pages .
     2018/0096261 A1 *          4/2018 Chu                    GOON 7/005       Simple interactive object extraction , retrieved from < URL : http : //
     2018/0101146 A1 *          4/2018 Hariharan            GO5B 13/0265       wikipedia.com> on Nov. 19 , 2015 , 2 pages .
     2018/0120813 A1 *          5/2018 Coffman              G05B 19/4097       Speech recognition , retrieved from < URL : http://wikipedia.com >
     2018/0174207 A1 *          6/2018 Potucek              G06Q 30/0283       on Nov. 11 , 2015 , 12 pages.
     2018/0375720 A1 * 12/2018 Yang                           GOON 20/00       Speech segmentation, retrieved from < URL : http://wikipedia.com >
     2019/0028545 A1 * 1/2019 Yang                             H04W 4/00       on Nov. 1 , 2015 , 4 pages.
     2019/0034765 A1            1/2019 Kaehler et al .                         Welcome to recognize-speech.com , retrieved from < URL : http ://
     2019/0107839 A1            4/2019 Parashar et al .
     2019/0213446 A1 *          7/2019 Tsou                    H04W 4/70       recognize-speech.com/> on Oct. 18 , 2015 , 1 pages.
                                                                               Introduction Speech , retrieved from < URL : http :// recognize- speech.
                                                                               com /speech > on Oct. 18 , 2015 , 1 pages .
                           OTHER PUBLICATIONS                                  Preprocessing, retrieved from < URL : http://recognize-speech.com/
                                                                               preprocessing > on Oct. 18 , 2015 , 4 pages .
    Animetrics, Inc. | 3D Facial Recognition, retrieved from <URL :            Feature Extraction , retrieved from < URL: http :// recognize -speech.
    http://animetrics.com > on Dec. 13 , 2014 , 2 pages .                      com / feature - extraction > on Oct. 18 , 2015 , 3 pages .
    Bag -of -words model , retrieved from <URL : http://wikipedia.com >        Acoustic model , retrieved from < URL : http://recognize-speech.com/
    on Nov. 19 , 2015 , 2 pages.                                               acoustic -model > on Oct. 18 , 2015 , 2 pages.
    Beier- Neely morphing algorithm , retrieved from < URL : http ://          Video content analysis, retrieved from < URL : http : // wikipedia.
    wikipedia.com > on Nov. 19 , 2015 , 1 pages .                              com> on Nov. 19 , 2015 , 2 pages .
    Computer vision , retrieved from < URL : http://wikipedia.com > on         Video tracking, retrieved from <URL: http://wikipedia.com > on
    Nov. 19, 2015 , 7 pages.                                                   Nov. 1 , 2015 , 2 pages.
    Convolutional neural network , retrieved from < URL : http ://wikipedia.   Andrej Karpathy, Thomas Leung, George Toderici, Rahul Sukthankar,
    com > on Nov. 11 , 2015 , 5 pages .                                        Sanketh Shetty, Li Fei - Fei , Large - scale Video Classification with
    Decimation ( signal processing ) , retrieved from <URL : http ://          Convolutional Neural Networks, Apr. 14 , 2014 , 8 pages , Stanford
    wikipedia.com > on Nov. 19 , 2015 , 3 pages .                              University
    Digital image processing, retrieved from < URL : http ://wikipedia .       Karen Simonyan , Andrew Zisserman , Two - Stream Convolutional
    com> on Nov. 19 , 2015 , 3 pages .                                         Networks for Action Recognition in Videos, Nov. 13 , 2014 , 11
    Dissolve ( filmmaking), retrieved from < URL : http ://wikipedia.          pages, University of Oxford .
    com > on Nov. 11 , 2015 , 2 pages .                                        Tracing ( software ), retrieved from < URL : http://wikipedia.com > on
    Facial recognition system , retrieved from < URL : http ://wikipedia .     Jan. 10 , 2014 , 3 pages .
    com > on Nov. 11 , 2015 , 6 pages .                                        Tree ( data structure ), retrieved from < URL : http://wikipedia.com >
    Feature detection ( computer vision ) , retrieved from < URL : http : //   on Jun . 24 , 2014 , 6 pages.
    wikipedia.com > on Nov. 19 , 2015 , 3 pages .                              PTRACE ( 2 ), retrieved from < URL : http://unixhelp.ed.ac.uk/CGI/
    Feature extraction, retrieved from < URL : http://wikipedia.com > on       man -cgi? ptrace > on Mar. 19 , 2014 , 5 pages .
    Nov. 19 , 2015 , 2 pages.                                                  Wevtutil, retrieved from < URL : http://technet.microsoft.com/en-us/
    Gesture recognition , retrieved from < URL : http://wikipedia.com >        library /cc732848( d = default ,l = en -us , v = ws.11 ) .aspx > on Apr. 28 , 2014 ,
    on Nov. 19 , 2015 , 5 pages.                                               5 pages .
    GrabCut, retrieved from < URL : http://wikipedia.com > on Nov. 1 ,         Intel Processor Trace, retrieved from < URL : https: //software.intel.
    2015 , 1 pages .                                                           com / en -us/blogs / 2013 /09 / 18 / processor - tracing > on Apr. 28 , 2014 , 3
    Image processing , retrieved from < URL : http://wikipedia.com > on        pages .
    Nov. 19 , 2015 , 2 pages.                                                  Younghoon Jung, Java Dynamics Reflection and a lot more , Oct. 10 ,
    Image segmentation , retrieved from < URL : http://wikipedia.com >
                                                   *                           2012 , 55 pages , Columbia University.
    on Nov. 19 , 2015 , 12 pages .                                             Amitabh Srivastava , Alan Eustace , Atom A System for Building
    Image warping, retrieved from < URL : http://wikipedia.com > on            Customized Program Analysis Tools, May 3 , 2004 , 12 pages .
    Nov. 1 , 2015 , 2 pages.                                                   Mathew Smithson, Kapil Anand, Aparna Kotha , Khaled Elwazeer,
    Inbetweening , retrieved from < URL : http://wikipedia.com > on Nov.       Nathan Giles , Rajeev Barua, Binary Rewriting without Relocation
    11 , 2015 , 2 pages.                                                       Information , Nov. 10 , 2010 , 11 pages , University of Maryland .
    Interpolation , retrieved from < URL : http://wikipedia.com > on Nov.      Marek Olszewski , Keir Mierte , Adam Czajkowski, Angela Demle
    1 , 2015 , 5 pages .                                                       Brown, JIT Instrumentation A Novel Approach to Dynamically
    Language model , retrieved from < URL : http://wikipedia.com > on          Instrument Operating Systems, Feb. 12 , 2007 , 14 pages, University
    Nov. 19, 2015 , 4 pages.                                                   of Toronto .
    List of speech recognition software, retrieved from < URL : http : //      About Event Tracing, retrieved from < URL : http://msdn.microsoft.
    wikipedia.com > on Nov. 19 , 2015 , 4 pages .                              com / en -us/ library/ aa363668(d = default,l= en -us,v = vs.85 ).aspx > on Jan.
    Livewire Segmentation Technique, retrieved from < URL : http ://           12, 2014 , 2 pages.
    wikipedia.com > on Nov. 1 , 2015 , 2 pages .                               Add dynamic Java code to your application , retrieved from < URL :
    Morphing, retrieved from < URL : http://wikipedia.com > on Nov. 11 ,       http://www.javaworld.com/article/2071777/design-patterns/add
    2015 , 2 pages .                                                           dynamic - java - code -to -your -application.html > on May 13 , 2014 , 6
    Motion estimation , retrieved from < URL : http://wikipedia.com > on       pages.
    Nov. 19 , 2015 , 2 pages.                                                  BCEL , retrieved from <URL : http://commons.apache.org > on May
    Muse : Face Morph | Mesh Warping, retrieved from < URL : http : //         13 , 2014 , 2 pages.
    alexwolfe.blogspot.com/2011/10/face-morph-mesh-warping.html> on            Artificial intelligence , retrieved from < URL : http://wikipedia.com >
    Nov. 19 , 2015 , 2 pages.                                                  on May 21 , 2014 , 28 pages .
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 138 of 2562 PageID #: 13009


                                                                US 11,238,344 B1
                                                                           Page 4

    ( 56 )                    References Cited                                  Javassist, retrieved from < URL : http://wikipedia.com > on May 13 ,
                                                                                2014, 2 pages .
                         OTHER PUBLICATIONS                                     Just- in -time compilation , retrieved from < URL : http :// wikipedia .
                                                                                com> on May 19 , 2014 , 5 pages .
    Artificial neural network, retrieved from < URL : http : //wikipedia.       JVM Tool Interface , retrieved from < URL : http://docs.oracle.com/
    com> on May 21 , 2014 , 12 pages .                                          javase / 7 /docs/platform / jvmti/ jvmti.html > on Apr. 26 , 2014 , 127
    Branch ( computer science ) , retrieved from < URL : http : // wikipedia.   pages.
    com > on May 6 , 2014 , 2 pages .                                           Machine code, retrieved from < URL : http://wikipedia.com > on Apr.
    Branch trace, retrieved from < URL : http://wikipedia.com > on May          30, 2014 , 3 pages.
    28, 2014, 2 pages .                                                         Metaprogramming, retrieved from <URL : http://wikipedia.com > on
    C Function Call Conventions and the Stack , retrieved from < URL :          May 8 , 2014 , 3 pages .
    http://www.csee.umbc.edu/~chang/cs313.s02/stack.shtml > on Jan.             Microsoft.VisualBasic.Logging Namespace, retrieved from < URL :
    11 , 2014 , 4 pages.                                                        http://msdn.microsoft.com/en-us/library/ms128122(d=default,l=en
    Call stack, retrieved from < URL : http://wikipedia.com > on Jan. 11 ,      us ,v = vs.110 ) .aspx > on Jan. 13 , 2014 , 1 pages .
    2014 , 5 pages .
    Program compilation and execution flow , retrieved from < URL :             Pin ( computer program ), retrieved from < URL : http ://wikipedia .
    http://cs.stackexchange.com/questions/6187/program-compilation              com > on May 6 , 2014 , 3 pages .
    and - execution - flow > on Jan. 9 , 2014 , 2 pages .                       Processor register, retrieved from < URL : http://wikipedia.com > on
    Control unit, retrieved from < URL : http://wikipedia.com > on May          Apr. 29 , 2014 , 4 pages .
    25 , 2014, 2 pages .                                                        Profiling ( computer programming), retrieved from < URL : http : /
    Create dynamic applications with javax.tools, retrieved from < URL :        wikipedia.com> on Jan. 10 , 2014 , 4 pages .
    http://www.ibm.com/developerworks/library/j-jcomp > on May 13 ,             Profiling Overview , retrieved from < URL : http://msdn.microsoft.
    2014 , 11 pages.                                                            com /en -us/ library /bb384493 ( d = default, l = en -us , v = vs.110 ) .aspx > on
    Creating a Debugging and Profiling Agent with JVMTI, retrieved              Jan. 12 , 2014 , 6 pages.
    from < URL : http://www.oracle.com/technetwork/articles/java/jvmti          Program counter, retrieved from < URL : http://wikipedia.com > on
    136367.html> on Jan. 11 , 2014 , 18 pages .                                 Apr. 24 , 2014 , 2 pages .
    Decision tree learning, retrieved from < URL : http://wikipedia.com >       Ptrace, retrieved from < URL : http://wikipedia.com > on Apr. 24 ,
    on Jun . 24 , 2014 , 5 pages .                                              2014, 2 pages .
    Dynamic Bytecode Instrumentation , retrieved from < URL : http : //         Reflection ( computer programming), retrieved from < URL : http : //
    www.drdobbs.com/tools/dynamic-bytecode-instrumentation/                     wikipedia.com> on May 7 , 2014 , 5 pages .
    184406433 > on Apr. 26 , 2014 , 6 pages .                                   Class Runtime, retrieved from < URL : http://docs.oracle.com/javase/
    Dynamic programming language, retrieved from < URL : http ://               7 /docs / api /java /lang/Runtime.html> on Jan. 10 , 2014 , 10 pages .
    wikipedia.com > on May 7 , 2014 , 4 pages .                                 Self -modifying code , retrieved from < URL : http://wikipedia.com >
    Dynamic recompilation , retrieved from < URL : http :// wikipedia .         on Jan. 12, 2014 , 6 pages.
                                                                                                                                     .


    com > on May 19 , 2014 , 4 pages .
    Eval ( ) , retrieved from < URL : https://developer.mozilla.org/en-US/      Subjective logic , retrieved from < URL : http://wikipedia.com > on
    docs /Web / JavaScript/Reference /Global_Objects / eval > on May 7 ,        May 22 , 2014 , 5 pages .
    2014 , 13 pages .                                                           System.CodeDom.Compiler Namespace, retrieved from < URL : http ://
    Function, retrieved from < URL : https://developer.mozilla.org/en           msdn.microsoft.com/en-us/library/z6b99ydt(d=default,l=en-us,v=vs.
    US/docs/Web / JavaScript/Reference /Global_Objects/Function > on May        110 ).aspx > on May 13 , 2014 , 2 pages .
    7 , 2014 , 11 pages .                                                       System.Reflection.Emit Namespace, retrieved from < URL : http : //
    Function Enter2 Function , retrieved from <URL : https: //msdn .            msdn.microsoft.com/en-us/library/xd5fw18y(d=default, l =en -us , v=
    microsoft.com/en-us/library/aa964981(d=default,l=en-us,v=vs.110 ).          vs.110 ) .aspx > on May 13 , 2014, 2 pages .
    aspx > on Mar. 19 , 2014 , 2 pages .                                        Chen et al . Case - Based Reasoning System and Artificial Neural
    FunctionLeave2 Function , retrieved from <URL : https: //msdn .             Networks: A Review Neural Comput & Applic ( 2001 ) 10 : pp .
    microsoft.com/en-us/library/aa964942(d=default,l=en-us,v=vs.110 ).          264-276 , 13 pages .
    aspx > on Mar. 19 , 2014 , 1 pages .                                        John J. Grefenstette , Connie Loggia Ramsey, Alan C. Schultz ,
    Heuristic , retrieved from < URL : http://wikipedia.com > on May 22 ,       Learning Sequential Decision Rules Using Simulation Models and
    2014 , 5 pages.                                                             Competition, 1990 , Navy Center for Applied Research in Artificial
    How to : Configure Trace Switches , retrieved from < URL: https ://         Intelligence, Naval Research Laboratory, Washington, DC , 27 pages .
    msdn.microsoft.com/en-us/library/vstudio/t06xyy08(d=default,l=en            Alan C. Schultz , John J. Grefenstette , Using a Genetic Algorithm to
    us, v = vs.100 ) .aspx > on Mar. 19 , 2014 , 3 pages .                      Learn Behaviors for Autonomous Vehicles, 1992 , Navy Center for
    Indirect branch , retrieved from < URL : http://wikipedia.com > on          Applied Research in Artificial Intelligence , Naval Research Labo
    May 5 , 2014 , 1 pages .                                                    ratory, Washington, DC , 12 pages .
    Instruction cycle, retrieved from < URL : http://wikipedia.com > on         Koppula et al ., “ Anticipating human activities using object affordances
    Apr. 30 , 2014 , 2 pages .                                                  for reactive robotic response ” , IEEE TRAMI 2016 , published May
    Instruction set , retrieved from < URL : http://wikipedia.com > on Apr.     5 , 2015 , 16 pages.
    29 , 2014, 6 pages.                                                         Orme, " System design tips for entry level smartphones — part 3 ” ,
    Interrupt, retrieved from < URL : http://wikipedia.com > on May 15 ,        found online at " https ://community.arm.eom/processors/b/blog/posts/
    2014 , 5 pages.                                                             system -design - tips -for - entry - level - smartphones — part- 3 ”, Oct. 21 ,
    Introduction to Instrumentation and Tracing, retrieved from <URL :          2013 , 12 pages.
    http://msdn.microsoft.com/en-us/library/aa983649(d=default,l=en             Nowostawski, Mariusz et al., “ Dynamic Demes Parallel Genetic
    us, v = vs.71) .aspx > on Jan. 10 , 2014 , 2 pages.                         Algorithm ” , May 13 , 1999 , 6 pages.
    Java bytecode, retrieved from < URL: http://wikipedia.com > on              Stack Overflow , How can I quantify difference between two images?,
    May 27 , 2014 , 4 pages .                                                   accessed Aug. 2 , 2017 at https://stackoverflow.com/questions/189943/
    Package java.util.logging, retrieved from < URL: http://docs.oracle.        how -can -i-quantify -difference-between -two - images, 8 pages .
    com /javase / 1.5.0 /docs / api /java /util /logging /package -summary.     Skolicki , Zbigniew et al . , “ The Influence of Migration Sizes and
    html> on Mar. 19 , 2014 , 2 pages .                                         Intervals on Island Models ”, Jun. 29 , 2005 , 8 pages .
    lavac — Java programming language compiler, retrieved from < URL :          Vahid Lari, et al . , “ Decentralized dynamic resource management
    http://docs.oracle.com/javase/7/docs/technotes/tools/windows/javac.         support for massively parallel processor arrays ” , Sep. 11 , 2011 , 8
    html > on May 13 , 2014 , 12 pages .                                        pages .
    Interface JavaCompiler, retrieved from < URL : http ://wikipedia .          Vahid Lari, et al . , “ Distributed resource reservation in massively
    com> on May 13 , 2014 , 4 pages .                                           parallel processor arrays ” , May 16 , 2011 , 4 pages .
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 139 of 2562 PageID #: 13010


                                                               US 11,238,344 B1
                                                                          Page 5

    ( 56 )                   References Cited                                  laborative Enterprises (WETICE ) , 2016 IEEE 25th International
                                                                               Conference on . IFFF, 2016. , 6 pages .
                       OTHER PUBLICATIONS                                      Bogdanovych, Anton , et al . “ Authentic interactive reenactment of
                                                                               cultural heritage with 3D virtual worlds and artificial intelligence.”>


    Mohsen Hayati and Yazdan Shirvany, “ Artificial Neural Network             Applied Artificial Intelligence 24.6 ( 2010 ) : 617-647 . , 32 pages .
    Approach for Short Term Load Forecasting for Illam Region ” , Jan.         Hernandez, Marco E. Perez , and Stephan Reiff -Marganiec. “ Autono
    2007 , 5 pages .                                                           mous and self controlling smart objects for the future internet . ”
    Hasim Sak , Andrew Senior, and Francoise Beaufays, “ Long Short            Future internet of things and cloud ( FiCloud) , 2015 3rd international
    Term Memory Recurrent Neural Network Architectures for Large               conference on . IEEE , 2015. , 8 pages .
    Scale Acoustic Modeling ” , Jan. 2014 , 5 pages .                          Medini et al . , “ Building a Web of Things with Avatars ” , Managing
    Jorg Walter and Klaus Schulten , “ Implementation of self -organizing      the Web of Things (2017 ) , 30 pages .
    neural networks for visuo -motor control of an industrial robot ” , Jan.   Zhang, Yiying, Lei Guo , and Nicolas D. Georganas. “ AGILE : An
    1993 , 10 pages.                                                           architecture for agent-based collaborative and interactive virtual
    Heikki Hyotyniemi and Aarno Lehtola , “ A Universal Relation               environments .” Proc. Workshop on Application Virtual Reality
    Database Interface for Knowledge Based Systems” , Apr. 1991 , 5            Technologies for Future Telecommunication System , IEEE Globecom
    pages .                                                                    2000 Conference . 2000. ( Year: 2000 ) , 9 pages .
    Mrissa , Michael , et al . “ An avatar architecture for the web of         Eladhari, Mirjam P., “ Semi- Autonomous Avatars in Virtual Game
    things.” IEEE Internet Computing 19.2 ( 2015 ) : 30-38 . , 9 pages .       Worlds , ” Pre -conference to the ECREA 2010—3rd European Com
    Luck, Michael , and Ruth Aylett. “ Applying artificial intelligence to     munication Conference, Avatars and Humans. Representing Users
    virtual reality: Intelligent virtual environments.” Applied Artificial     in Digital Games, Hamburg, Germany, Oct. 2010 , Available from :
    Intelligence 14.1 ( 2000 ) : 3-32 . , 30 pages .                           Jan. 21 , 2012 ( Year: 2012 ) , 8 pages .
    Terdjimi, Mehdi, et al . “ An avatar- based adaptation workflow for
    the web of things.” Enabling Technologies: Infrastructure for Col          * cited by examiner
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 140 of 2562 PageID #: 13011


    U.S. Patent                                            Feb. 1 , 2022                          Sheet 1 of 40                            US 11,238,344 B1




                                           18                 19                                  5
                                                                                                           25

                       27
                                                                                                                  Network Interface
                                                               APproligcatmosn DSaptcae                    16

                            Storage        OS
                                                                                                                  Alternaive Memory
                                                                                                                                                                          FIG
                                                                                                                                                                          .
                                                                                                                                                                          1
                                                                                                                                      23
                                      14
                                                  Cache
                                                                                                                                               -mHaucmhiane
                                  11
                                                               PMeomroty              Memory                                                                  Interface
    70DCoemvpuitceng                                                                                  12
                                                                                                                                      21

                                                Proces r        10Port                1/0Device       13

                                                                O
                                                                W
                                                                Port
                                                                /
                                                                                                                                           Deivspilcaey
                                                                               15A
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 141 of 2562 PageID #: 13012


    U.S. Patent                                                                         Feb. 1 , 2022                                     Sheet 2 of 40                   US 11,238,344 B1




     98
                100
                                                                                            Artifcal Intelig120ncUnite
                                                                     110
                                                                                                                                                                          27
                                                                                                                                         130
                        Levaimcien'gs
                        for
                        DUnit
                         a
                         Using
                         or
                         /
                         and            DAfCiuretcovmnsiarcue O(DCADOUnit)peration                                                                              12

                                                                                                                   AcquistonInterface Modifcaton Iterface            Memory Storage
                92                                93

                           Sensor ObjectProces ingUnit
                                                                                                                                                                                      .
                                                                                                                                                                                      FIG
                                                                                                                                                                                      2


                               23
                                                                              Human machine Interface
                                                                                                                                               APprloicgatomn   11


               Device                                                                                                         Procesor                          18

          50
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 142 of 2562 PageID #: 13013


    U.S. Patent                     Feb. 1 , 2022   Sheet 3 of 40                US 11,238,344 B1

                                        92a                                                  92b
             Camera                                                 Microphone

      Object Processing Unit                  93          Object Processing Unit                   93
                                              94a                                                  946
        Picture Recognizer                                  Sound Recognizer

                                          110                                                  110
         Artificial Intelligence Unit                         Artificial Intelligence Unit
                FIG . 3A                                            FIG . 3B


             Lidar                      92c                         Radar                    92d


      Object Processing Unit                  93           Object Processing Unit                  93
                                              94c                                                  94d
       Lidar Processing Unit                                 Radar Processing Unit

                                          110                                                  110
         Artificial Intelligence Unit                         Artificial Intelligence Unit
                FIG . 3C                                              FIG . 3D
                                                                             X




             Sonar                      92e


      Object Processing Unit                  93
                                              94e
        Sonar Processing Unit

                                          110
         Artificial Intelligence Unit
                FIG . 3E
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 143 of 2562 PageID #: 13014


    U.S. Patent                     Feb. 1 , 2022              Sheet 4 of 40                    US 11,238,344 B1


                  6150                                         1
                                                               5

                                                               B

                   John Doe                                                                             615a



                                                               R

                         8m                                    S      56 °             6m
                                                             Device                                             615b
                                                                                1319
                                                               1




                                                               1
                                                                       98
                                                               R
                                                               13
                                                               5
                                                               2

                                                   2870
                                                               R
                                                                                             10m
                                                               R
                                                               3
                                                               3
                                                               R

                                                               B
                                                               1




                                                          FIG . 4A

                                                                                                                          93
     Object Processing Unit                                                                                          4
                                                                                                                    525
        Collection of Object Representations
              635aa 635ab 635ac           635ba 635bb 635bc                   635ca 635cb 635cc 635cd
          Object Representation Object Representation Object Representation
            Type Distance Bearing      Type Distance Bearing           Type    Identity Distance Bearing       80
           Cat 6m         56 °          Tree 10m     131 °             Person John Doel 8m       2879

        630aa 630ab 630ac 630ba 630bb 630bc 630ca 630cb 630cc 630cd
                                                                                      7
                       625a              6256                     6250

                                                          FIG . 4B
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 144 of 2562 PageID #: 13015


    U.S. Patent                           Feb. 1 , 2022                                 Sheet 5 of 40                  US 11,238,344 B1



     100
     120                                                                                                                 11


                                                       215
                                                             Arithmeic          UnitLogic
                                                                                                                 214
                                                                                                  RAergisateyr
                                                              DInestcroudeirn                                                       .
                                                                                                                                    FIG
                                                                                                                                    5


                                                                                            213
                                                             IRnsetgriucteonr
                                                                                            212                                     12

           IUDCnAiDtO Anctqeuirsfatceon                      CPorungtream
                                            Proces r                                        211                            Memory
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 145 of 2562 PageID #: 13016


    U.S. Patent            Feb. 1 , 2022             Sheet 6 of 40                US 11,238,344 B1

                              100        120
          DCADO Unit
                       Acquisition Interface
                                                             250
                                                Logic Circuit
            input 1                                                                   output 1
            input 2                                                                   output 2
            input 3                                                                   power

            input 4                                                                   ground


                                               FIG . 6A

                                                                 100        120
                                         DCADO Unit
                                                          Acquisition Interface

                                     Logic Circuit
            input 1                                                                   output 1
            input 2                                                                   output 2
            input 3                                                                   power

            input 4                                                                   ground

                              250
                                               FIG . 6B
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 146 of 2562 PageID #: 13017


    U.S. Patent                 Feb. 1. 2022     Sheet 7 of 40   US 11,238,344 B1

                                                                    526

              Instruction Set
               Function ( Parameter1 , Parameter2 , Parameter3 , ... )
                                               FIG . 7A
                                                                    526

              Instruction Set
               SELECT Coll , Col2 ... FROM Tb11 , Tb12 ... ;

                                               FIG . 7B
                                                                    526

              Instruction Set
               iconst_Value
                                               FIG . 7C
                                                                    526

              Instruction Set
               add Register1 Register2

                                               FIG . 7D
                                                                    526

              Instruction Set
               000000 00001 00010 00110 00000 100000

                                               FIG . 7E
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 147 of 2562 PageID #: 13018


    U.S. Patent            Feb. 1 , 2022       Sheet 8 of 40          US 11,238,344 B1




                                                               525                   527

     Collection of Object Representations                            Extra Info
                                                                     time info , location
                                                                     info , computed
                                                                     info , contextual
                                                                     info , etc.

                                           FIG . SA




                                                               526                   527

      Instruction Set                                                Extra Info
                                                                     time info , location
                                                                     info , computed
                                                                     info , contextual
                                                                     info , etc.
                                           FIG . 8B
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 148 of 2562 PageID #: 13019


    U.S. Patent                                                    Feb. 1 , 2022                                                     Sheet 9 of 40                           US 11,238,344 B1




      98      11
                       100                                                                                                                                                    27

                                                                                                       Artifcal Intelig120nUnitce
                                                                                       110

                                                                                                                                                    130
                                        Levaimcien'gs
                                        for
                                        DUnit
                                         a
                                         Using
                                         or
                                         /
                                         and            ACDfiuretcovnmsiacrues Unit)(DOpCerAatDioOn                                                                                Storage
                                                                                                                               AcquistonInterface Modifcaton Iterface         12



                                                                                                                                                                        18
                                                                                                                                                                                   Memory
                     Proces r                                                                                                 AplicatonProgram                                               FIG.9
                23                                                               93                                                 92

                         Human machine Interface                                                            Procesing
                                                                                                      Object Unit                               Sensor
           Device
      50
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 149 of 2562 PageID #: 13020


    U.S. Patent                                                                          Feb. 1 , 2022                                   Sheet 10 of 40                US 11,238,344 B1



     95
           96
                     100
                                                                                                  Artifcal Intelig120ncUnite
                                                                          110

                                                                                                                                            130
                           Levaircnei'nsg
                           for
                           DUnit
                            a
                            Using
                            or
                            /
                            and             DAfCiuretcovmnsiarcue (DCADOOUnit)peration
                                                                                                                        AcquistonInterface Modifcaton Iterface
          Network Server
          98        92                      93                                                                                                                             27          10
                                                                                                                                                                                       .
                                                                                                                                                                                       FIG

                              Sensor ObjectProces ingUnit
                                                                                                                         11
                                                                                                                                       18                        12



                  Device                       23                                         Human machine Interface Proces r A p l i c a t o nP r o g r a m             Memory Storage
          50
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 150 of 2562 PageID #: 13021


    U.S. Patent                                                    Feb. 1 , 2022                               Sheet 11 of 40                                  US 11,238,344 B1



     95
            97                                                                                                                                            92
                         RDemvoitce                                                                                                                                 Sensor
          Network
               98
                                                                                                                                                     93
                                                                    110
                                                                           Artifcal Intelig120ncUnite                                                             Procesing
                                                                                                                                                               Object Unit
                                                                                                                        130                                27
                                           Land
                                           for
                                           Unit
                                           100       DAfCiuretcovmnsiacrue
                                            Devaimcien'gs Unit
                                            a
                                            Using
                                            or
                                            /             )(DOpCerAatDioOn
                                                                                                     AcquistonInterface Modifcaton Iterface           12

                                                                                                                                                           Memory Storage     11
                                                                                                                                                                              .
                                                                                                                                                                              FIG



                                          21                                 23               11



                                 Device
                                                  Display Human machine Interface                            Proces r A p l i c a t o nP r g r a m   18

                    50
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 151 of 2562 PageID #: 13022


    U.S. Patent                   Feb. 1 , 2022          Sheet 12 of 40               US 11,238,344 B1


                                      93

                         Object                  Processor
                         Processing                          Application Program

                                                                                                  100

      DCADO Unit                                                 120                     130

                                                 Acquisition              Modification
                                                 Interface                Interface


         Artificial
          Intelligence                                                                     530
                                                                 520
                                                                              Knowledgebase
                                   Knowledge Structuring Unit
                                                                 540

                         Decision -making Unit

                                                                 550

                                   Confirmation Unit




                                                     FIG . 12
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 152 of 2562 PageID #: 13023


    U.S. Patent                          Feb. 1 , 2022             Sheet 13 of 40                     US 11,238,344 B1

                  Object Processing                93
                                                          Acquisition Interface           120
                  Unit                                                                          520                530

      Knowledge                                                                                          Knowledgebase
     Structuring Unit                                                                    800ax
        Knowledge
        Cell

                            Coll of Ob Rep                       Instruction Set
                                                                                    3
                                                                                    3

                                  :               525a5      3                      3
                        }                                    }                      3
                        }                                    3                      3
                                                                                    3
                            Coll of Ob Rep                   3
                                                                                        526a6
                        I                                                           3
                        1                     3
                                                  525a4                                 526a5
                        }
                                                                 Instruction Set
                            Coll of Ob Rep {                     Instruction Set    3
                                                                                    {
                                                             }                      3
                        }                     {              }
                        1                     3   525a3                             3
                                                                                    3
                                                                                    3
                                                             3                      3
                                                             3                      3
                            Col of Ob Rep                    }                      3
                                                             {                      3
                                                             {
                                                             3
                                              ?3 525a2                                  526a4
                                                                                        526a3
                            Coll of Obi Rep                       Instruction Set
                                                                                        526a2
                                              3                  Instruction Set
                                                  525a                                  526a1
                                                                 Instruction Set
                            Coll of Ob Rep                        Instruction Set
                                              3




                                                    ?                                    800ab
        Knowledge Cell
                                                                                         800aa
        Knowledge Cell

                                                            FIG . 13
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 153 of 2562 PageID #: 13024


    U.S. Patent                          Feb. 1 , 2022               Sheet 14 of 40                  US 11,238,344 B1

                   Object Processing               93
                                                          Acquisition Interface          120
                   Unit                                                                        520                530

      Knowledge                                                                                         Knowledgebase
     Structuring Unit                                            3                      800ax
         Knowledge                                                                 3
                                                                                   3
        Cell                Coll of Ob Rep                       Instruction Set

                                                     ;                                  800ae
         Knowledge                            | 52525        3
                                                                                   3
        Cell                                                 3                     }
                                                                                   {
                                                             3
                        1                                                          3
                                                             3
                            Coll of Ob Rep                                         3


                                                                                   3
                                                             3
                                                             }                     3    800ad
                                                                                   3
         Knowledge                                           {
                                                             {
                                                                                   {
                                                                                       526a6
        Cell                                  3
                                              3              3
                                                                                   3
                        }                         525a4                                526a5
                        }                                        Instruction Set
                        }
                            Coll of Ob Rep                       Instruction Set
                                              3
                                                             {                     3
                                              3
                                              3              3                          800ac
         Knowledge                                525a3      3
                                                             3
                                                                                   3
                                                                                   3
                                                             3
                                                                                   3
                                                             3
                                                                                   3
                                                             {
                            Coll of Obi Rep                                        3
                                                                                   3
                                                                                   3
                                              3
                                              }
                                                                                        800ab
         Knowledge                            { 525a2        {
                                                             }
                                                                                   3
                                                                                   152624
                                                                                   3
        Cell                                                 {                     3

                        }
                            Coll ofOb Rep                        Instruction Set
                                              3
                        1                     3              3
                                                                                   3
                                                                                   3    800aa
         Knowledge                            3              }
                                                             {
                                                                                       526a3
        Cell            }                     3
                        }
                        }
                                                                                       526a2
                                                                 Instruction Set
                                                  525a1                                526a1
                        I                                        Instruction Set
                            Col of Ob Rep                        Instruction Set

                                                            FIG . 14
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 154 of 2562 PageID #: 13025


    U.S. Patent                            Feb. 1 , 2022            Sheet 15 of 40                     US 11,238,344 B1

                  Object Processing                 93
                                                           Acquisition Interface           120
                  Unit                                                                           520                530

      Knowledge                                                                                           Knowledgebase
     Structuring Unit                                                                     800ax
        Knowledge
        Cell            pok

                                                                                     {
                              Collof Obj Rep                      Instruction Set
                                                                  Instruction Set
                 1 Coll ofOb Rep                                   Instruction Set
           525dni                                             3                      3

                                     :          3
                                                              3

                                                              {
                                                                         :           3
                                                                                     3
                                                                                     3   526a6
                              Coll of Obj Rep                                        3
           525d1                                                                         526a5
           525cn                     :                            Instruction Set
                              Coll of Ob Rep                      Instruction Set
                              Coll of Ob Rep                                         3
                                                                                     }
           52501                                              }
                                                              3                      3

           525bn                     :                        3
                                                              {                    152624
                              Collof Ob Rep
                                                                                    526a3
           525b1
                              Coll of Ob Rep                       Instruction Set
                                                                                    526a2
                                     :                            Instruction Set
           525an
                              Coll of Obi Rep                     Instruction Set 3
                              Coll of Ob Rep                  3
           525a1                                              }                          526a1
                                                                                     3
                                     :                        {

                    i Col ofOb Rep                                Instruction Set


                                                    ?                                     800ab
        Knowledge Cell
                                                                                          800aa
        Knowledge Cell

                                                             FIG . 15
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 155 of 2562 PageID #: 13026


    U.S. Patent                          Feb. 1 , 2022            Sheet 16 of 40                    US 11,238,344 B1

                    Object Processing             93
                                                         Acquisition Interface          120
                    Unit                                                                      520                530

     Knowledge                                                                                         Knowledgebase
      Structuring Unit                                      {                     {   800ax
        Knowledge
         Cell                Col of Ob Rep                      Instruction Set
                                   :                            Instruction Set
                             Coll of Ob Rep                      Instruction Set !3
                                                                                  {

                         ?
                                                   ?        }
                                                                                  3
                                                                                      800ad
         Knowledge                                          3
                                                            3                     3
        Cell                 Coll of Ob Rep                 3
                                                                                  3
          525dn                    :          {                  Instruction Set 526a6
                                                                                  3

           525d1             Coll of ObRep                      Instruction Set 3 526a5
                                                            {                     3
                         }
                                                            }
                                                            {
                                                                                       800ac
         Knowledge                            3             3

         Cell                Coll of Ob Rep   3
                                                            }
                                                            3
                                              §             3
           525cni                    :                      3
                                                            3
                                                                                  3
                                                                                  }
                                                            3
           52501             Coll of Ob Rep                 }                     3
                         ?                                  3
                                                            3                     3
                                                            3                     3    800ab
         ColWedge Coll ofObiRep !                               Instruction Set 3 526a4
                                                                                  3
           525bn                                                Instruction Set     526a3
                                                                                  3

           5251              Coll of Ob Rep                     Instruction Set   3
                                                                                    526a2
                         }                                  3                     3
                         }                                                             800aa
                                              3             3

         Knowledge                                          }                     3
         Cell     Coll of Ob Rep                            3
                                                                                  3
                                                                                  3
                                                            {                     3
           525ani         :                                 {                     3


           525a1             Collof Ob Rep                      Instruction Set       526a1


                                                           FIG . 16
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 156 of 2562 PageID #: 13027


    U.S. Patent             Feb. 1 , 2022   Sheet 17 of 40              US 11,238,344 B1



           852
     853
                                                                       853
                                                ?-?
                                                                             852

                   MBodel                                     MDodel
                                                                                     17
                                                                                     .
                                                                                     FIG



                   AModel                                     MCodel
            852
     853

                                                  853
                                                        852
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 157 of 2562 PageID #: 13028


    U.S. Patent                   Feb. 1 , 2022       Sheet 18 of 40               US 11,238,344 B1
                               800zb                            800zc
      Knowledge Cell                      Knowledge Cell
            Occurrences = 10                               Occurrences = 15
            Weight=0.4                                     Weight=0.6

                    85321                                                     85322
                                          Knowledge Cell
                                                              800za
                                                   FIG . 18A

                               800zb                            800zc                                 800zd
      Knowledge Cell                      Knowledge Cell                      Knowledge Cell
            Occurrences = 10                               Occurrences = 15           Occurrences = 1
            Weight=0.385                                   Weight=0.577               Weight =0.038
                                                                                                  85323
                     853 %                                                    85322
                                          Knowledge Cell
                                                              800za
                                                   FIG . 18B

                               800zb                            83zc                                  800zd
      Knowledge Cell                      Knowledge Cell                      Knowledge Cell
            Occurrences =11                                Occurrences = 15           Occurrences = 1
            Weight=0.407                                   Weight=0.556               Weight=0.037
                                                                                                  -85323
                     85321                                                    85372
                                          Knowledge Cell
                                                              800za
                                                   FIG . 18C
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 158 of 2562 PageID #: 13029


    U.S. Patent                                                       Feb. 1 , 2022                          Sheet 19 of 40                                    US 11,238,344 B1


                                                                                                                                                                          530d
                                Knowledg   Cell



               80 ce Knowledg Cell
               80 cd KnowledgCell
                                                                                                                                                                                 19
                                                                                                                                                                                 .
                                                                                                                                                                                 FIG
               80 C Knowledg Cell
               80 cb Knowledg Cell
     CofKonlewlcetdigosne 80 ca Knowledg
                                           Cell



                                                  KCnoewl dlge 80 be CKnoewl dlge 80 bd KCnoewl dlge 80 bc CKnoewl dlge 80 b CKnoewl dlge 80 ba CKnoewl dlge
     KnowledgStruc ing   Unit
                                                                                                                                                                          520
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 159 of 2562 PageID #: 13030


    U.S. Patent                                     Feb. 1 , 2022                          Sheet 20 of 40                                                US 11,238,344 B1


                                Layer :854e Layer                         Layer            Layer                  Layer                   Layer                     530a
                                                                   854d                                    8546                  854b                    854a
                                KCnoewl dlge 80 e                80 ed CKnoewldlge 80 ec CKnoewldlge 853e2
                                               :




                                                    CKnoewl dlge   8
                                                                   . 5 3 e 4
                                                                                                                    8 0 e b
                                                                                         8 5 3 e
                                KCnoewl dlge   :
                                                                             KCnoewl dlge CKnoewl dlge CKnoewl dlge                     853e1 80 ea
                                                                          CKnoewl dlge      CKnoewl dlge          CKnoewl dlge            CKnoewl dlge
                                                                                                                                                                           20
                                                                                                                                                                           .
                                                                                                                                                                           FIG
                                CKnoewledlge   :    CKnoewl dlge          CKneowledlge      CelKnowledge          CKnoewl dlge            CKneowledlge

                                                                                            CKnoewlldge           CKnoewlidlge            CKnoewlldge
                                                    CeKnowledge           CKnoewl dlge      CKnoewl dlge
     Netuwroalk
                                                                                                                                                                     125
                                KCnoewl dlge 80 be CKnoewl dlge 80 bd KCnoewl dlge 80 bc CKnoewl dtge 80 b CKnoewl dlge 80 ba CKnoewl dlge
     KnowledgStruc ing   Unit
                                                                                                                                                                    520
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 160 of 2562 PageID #: 13031


    U.S. Patent                                       Feb. 1 , 2022                          Sheet 21 of 40                                               US 11,238,344 B1


                                Layer          :
                                                      Layer                  Layer           Layer                  Layer                  Layer                     530a
                                               854e                   854d                                   854c                   854b                  854a
                                KCnoewl dlge   :       CKnoewl dlge           CKnoewl dlge   CKnoewl dlge
                                                       CKnoewldlge           CWhoewl dlge     CKnoewl dlge          CKnoewl dlge 853
                                                                                                                                     800
                                KCnoewl dgie   :      CKnoewl dlge           CKnoewl dlge    KCnoewl dlge            CKnoewl dlge          CKnoewl dlge
                                                                                                                                                                            21
                                                                                                                                                                            .
                                                                                                                                                                            FIG
                                                                                             CKneowledge            CKnoewl dlge           CKnoewledlge

                                CKnoewlldge    :      KCnowel dlge            CKnowel dige    CKnowel dige           CKnoewlldge           CKnoewlldge
                                                                             KCnoewl dlge    CKnoewl dlge
     Netuwroalk
                                KCnoewl dlge 80 be CKnoewl dlge 80 bd CKnoewl dlge 80 ba CKnoewl dlge 80 b CKnoewl dlge 80 ba CKnoewl dlge
     KnowledgStruc ing   Unit
                                                                                                                                                                     520
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 161 of 2562 PageID #: 13032


    U.S. Patent                                            Feb. 1 , 2022                           Sheet 22 of 40                                    US 11,238,344 B1


                                                                             80 he CKnoewledlge                                                                        530b
                                                                                                                   CKneowledlge
                                               80 hd CKnoewldlge
                                                                                  853h4
                                CKnoewl dlge                              853h                                                              CKnoewl dlge
                                                                                                                                                         8 0 h a
                                                                                                  80 k
                                                                                                    CKnoewl dlge                    853h1                          :


                                                                                                                                                                              22
                                                                                                                                                                              .
                                                                                                                                                                              FIG
                                CKnoewl dlge                                                        CKnoewl dlge                  853h2
                                                           CKnoewl dlge                                            CKnoewl dlge CKnoewl dlge
                                                                                                                                             8 0 h b

                                CKnoewl dlge
     Graph

                                KCnoewl dlge 80 be CKnoewl dlge 80 bd CKnoewl dlge 80 bc CKnoewl dlge 80 b CKnoewl dlge 80 ba CKnoewl dlge
     KnowledgStruc ing   Unit
                                                                                                                                                                       520
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 162 of 2562 PageID #: 13033


    U.S. Patent                                               Feb. 1 , 2022                          Sheet 23 of 40                                           US 11,238,344 B1


                                                                                                                                                                         530c
                                Sequnce   KCnoewledlge   :    CKnoewl dlge        CKnoewl dlge         CKnoewl dlge        CKnoewl dlge        CKnoewl dlge

                                                                                                                                                                 800
                                                                                                                                                                 533
                      Sequnce             CKnoewledlge   :    CKnoewl dlge        CKnoewl dlge        CKnoewl dlge         CKnoewl dlge        CKnoewl dlge

                                CKnoewledlge KCnoewl dlge CKnoewl dlge CKnoewl dlge CKneowl dlge CKnoewledlge
                      Sequnce                            :
                                                                                                                                                                                23
                                                                                                                                                                                .
                                                                                                                                                                                FIG


                               CKnoewledlge KCnoewl dlge CKnoewl dlge CKnoewl dlge CKnoewl dlge KCnoewl dlge
                      Sequnce                            :




                                 K
                                 C n o
                                     e w l dlg e
     CofSoelquctnioes Sequ nce                   K
                                                 C n o
                                                     e w l dlg e C
                                                                 K neo w l e d
                                                                             l g e K
                                                                                   C n o
                                                                                       e w l dlg e K
                                                                                                   C n o
                                                                                                       e w l dlg e K
                                                                                                                   C n o w
                                                                                                                         e l l
                                                                                                                             d g e


                                          KCnoewl dlge 80 be CKnoewl dlge 80 bd CKnoewl dlge 80 ba CKnoewl dlge 80 b CKnoewl dlge 80 ba CKnoewl dlge
     KnowledgStruc ing   Unit
                                                                                                                                                                         520
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 163 of 2562 PageID #: 13034


    U.S. Patent                                                         Feb. 1 , 2022                                         Sheet 24 of 40                               US 11,238,344 B1


                                                                                                                                                                                                                530d
           Knowledg                  Cell
                                                                                                                        *
      80 c Knowledg
                                     Cel
      80 b Knowledg
                    Cell
       80 oa                                                              526a 526a5                                                      526 4 526a3 526a2 526a1
                                            SInsteruction   :

                                                                                        ISet|nstruction ISnsteruction                               ISetnstruction SInsteruction SInsteruction SetInstruction
                                                                                                                                                                                                                  24
                                                                                                                                                                                                                  .
                                                                                                                                                                                                                  FIG


                                                            52 a5               52 a4                                       52 a3         52 a2                           52 a1
     CofKonlewlcetidogsne CKneowl dlge      of
                                            Col
                                            Ob
                                            Rep             :
                                                                       Col
                                                                       Obi
                                                                       of
                                                                       Rep                                 Coll
                                                                                                           Obi
                                                                                                           of
                                                                                                           Rep                      Col
                                                                                                                                    of
                                                                                                                                    Rep
                                                                                                                                    Obj             Obj
                                                                                                                                                    of
                                                                                                                                                    Coll
                                                                                                                                                    Rep                                             Col
                                                                                                                                                                                                    Obi
                                                                                                                                                                                                    of
                                                                                                                                                                                                    Rep




                                                                                                                                                                                                                540
     Decison -making N                                                 ?                                                                                                                                         125
                                                                52515 ColorObjRep 52 14 CollofObiRep 52 13 CollofObjRep 52 12 ColofObjRep 5251 CollofObjRep                                                     93

     Object UnitProcesing                   Rep
                                            Obj
                                            of
                                            Coll            :
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 164 of 2562 PageID #: 13035


    U.S. Patent                                                         Feb. 1 , 2022                                          Sheet 25 of 40                                      US 11,238,344 B1


                                                                                                                                                                                                                        530d
                            Knowledg Cell
                                                                                                                         *
      80 c
      80 b KnowledgCellCel
      80 oa                                                               526a 526a5                                                              526 4 526a3 526a2 526a1
                                            SInsteruction   :

                                                                                         ISet|nstruction ISnsteruction                                      ISetnstruction SInsteruction SInsteruction SetInstruction
                                                                                                                                                                                                                         25
                                                                                                                                                                                                                         .
                                                                                                                                                                                                                         FIG

                                                            52 a5                52 a4                                       52 a3               52 a2                            52 a1
     CofKonlewlcetidogsne CKneowl dlge      of
                                            Col
                                            Ob
                                            Rep             :
                                                                       Col
                                                                       Obi
                                                                       of
                                                                       Rep                                  Coll
                                                                                                            Obi
                                                                                                            of
                                                                                                            Rep                         Col
                                                                                                                                        of
                                                                                                                                        Rep
                                                                                                                                        Obj                 Obj
                                                                                                                                                            of
                                                                                                                                                            Coll
                                                                                                                                                            Rep                                             Col
                                                                                                                                                                                                            Obi
                                                                                                                                                                                                            of
                                                                                                                                                                                                            Rep




                                                                                                                                                                                                                        540
     Decison -making N                                                 ?                                                                                                                                                 125
                                                                                                                                                                                                           11




                                                                52513 ColorObjRep 52 12                                          52 1 CollofObjRep 52 1 RepCallofOb 5251 CollofObjRep                                   93

     Object UnitProcesing                   of
                                            Coll
                                            Rep
                                            Obj             :
                                                                                                            Coll
                                                                                                            Obi
                                                                                                            of
                                                                                                            Rep
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 165 of 2562 PageID #: 13036


    U.S. Patent                                                 Feb. 1 , 2022    Sheet 26 of 40          US 11,238,344 B1


                                                                                                                    530d
                             CKneowledlge CollofObiRep      :
                                                                Obi
                                                                of
                                                                Coll
                                                                Rep       Coll
                                                                          Obi
                                                                          of
                                                                          Rep    Coll
                                                                                 Obi
                                                                                 of
                                                                                 Rep       Coll
                                                                                           of
                                                                                           Obi
                                                                                           Rep    of
                                                                                                  Coll
                                                                                                  Rep
                                                                                                  Ob




                                                                 52 d5 52 d4 52 d3 52 d2 52 01
               80 rd CKneowledlge                Coll
                                                 of
                                                 Rep
                                                 Ob         :
                                                                Obi
                                                                of
                                                                Coll
                                                                Rep       Coll
                                                                          Rep
                                                                          Obi
                                                                          of     Coll
                                                                                 Obi
                                                                                 of
                                                                                 Rep       of
                                                                                           Col
                                                                                           Rep
                                                                                           Obi    Rep
                                                                                                  Obi
                                                                                                  of
                                                                                                  Coll



               80 rc KCnoewl dlge CollofObiRep              :
                                                                Rep
                                                                Obi
                                                                of
                                                                Coll      Coll
                                                                          Obi
                                                                          of
                                                                          Rep    Col
                                                                                 Obi
                                                                                 of
                                                                                 Rep       Coll
                                                                                           of
                                                                                           Obi
                                                                                           Rep    Coll
                                                                                                  Obi
                                                                                                  of
                                                                                                  Rep       52 c1         FIG
                                                                                                                          26
                                                                                                                          .

               80 rb CKneowledlge                                         Coll
                                                                          Obi
                                                                          of
                                                                          Rep
                                                                                                            52 c2
                                                 Coll
                                                 of
                                                 Red
                                                 Obi        :
                                                                Obj
                                                                of
                                                                Coll
                                                                Rep              Coll
                                                                                 of
                                                                                 Ob
                                                                                 Rep       Coll
                                                                                           Obi
                                                                                           of
                                                                                           Rep    Coll
                                                                                                  Ob
                                                                                                  of
                                                                                                  Rep


     CofKonlewlcetdigosne 80 ra CKnoewledlge CollofObiRep   :
                                                                Coll
                                                                of
                                                                Rep
                                                                Obi       Obi
                                                                          of
                                                                          Coll
                                                                          Rep    Obi
                                                                                 of
                                                                                 Col
                                                                                 Rep       Col
                                                                                           of
                                                                                           Obi
                                                                                           Rep    Coll
                                                                                                  Obi
                                                                                                  of
                                                                                                  Rep


                                                                                                                     540
     Decis on -making                                                     > ? ?                                       125
                                                      52 15 52 14 CollofObiRep 52 13 52 12 52 1                      93

     Object  Procesing                           Coll
                                                 Obi
                                                 of
                                                 Rep            Rep
                                                                Obi
                                                                of
                                                                Coll             Coll
                                                                                 of
                                                                                 Ob
                                                                                 Rep       Coll
                                                                                           Obi
                                                                                           of
                                                                                           Rep    Coll
                                                                                                  Obi
                                                                                                  of
                                                                                                  Rep
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 166 of 2562 PageID #: 13037


    U.S. Patent                                    Feb. 1 , 2022                                          Sheet 27 of 40                                                US 11,238,344 B1


                                Layer                    Layer                         Layer                      Layer                   Layer                      Layer                530a
                                               854e                         854d                                                 854c                     854b                     854a
                                                                                       CKnoewl dlge               KCnoewl dlge

                                                          CelKnowledge                 CKnoewl dlge               CKnoewl dlge             CKnoewl dlge              CKneowledge
                                                                           0.25                                                                            0.35

                                CKnoewl dlge                               0.75 CKnoewl dlge
                                                                                                      80 td                                KCnoewl dlge 0.35 CKneowledlge 80 ta
                                               :
                                                                                                                  KCnoewl dlge
                                                          CKCelneowledlge 85314 853t                    0.80
                                                                                                                            8 5 3 t 1
                                               80 te                   CKnoewledlge CKnoewl dlge CKnoewl dlge KCnoewledlge
                                                                                                        0.20                       1
                                                                                                                                                           0.30                                  27
                                                                                                                                                                                                 ,
                                                                                                                                                                                                 FIG
                                                                                                      8 5 3
                                                                                    80 tc CKneowledlge 80 tbt 2
                                CKnoewl dlge              CKnoewledlge CKnoewl dlge                             CKnoewlldge

     Netuwroalk                 CKnoewledlge   :          CelKnowledge                 CKnoewledlge               CKnoewledlge
                                                                                                                                                                                          540
     Decison -making                                                                                                                                                                       125
                                                                                                                                                                                          93

     Object Unit  Procesing   Rep Coll
                              Col
                              Ob
                              of  Rep
                                  Ob
                                  of
                                               :
                                                       525en 525e1
                                                       Col
                                                       of
                                                       Rep
                                                       Ob    Rep
                                                             Obj Ob
                                                             of
                                                             Col   of Rep
                                                                   Coll
                                                                   525dn
                                                                   Rep   of
                                                                         Call
                                                                         52501
                                                                         Ob                                    Rep
                                                                                                               Obi Rep
                                                                                                               of
                                                                                                               Coll
                                                                                                               525cn
                                                                                                                   :

                                                                                                                     of
                                                                                                                     Col
                                                                                                                     525c1
                                                                                                                     Ob                 Rep
                                                                                                                                        Obj 52561
                                                                                                                                        of
                                                                                                                                        Coll
                                                                                                                                        525bn Rep
                                                                                                                                              Ob
                                                                                                                                              of
                                                                                                                                              Col                 Col
                                                                                                                                                                  Obi
                                                                                                                                                                  of
                                                                                                                                                                  Rep
                                                                                                                                                                  525an Rep
                                                                                                                                                                        Obj
                                                                                                                                                                        of
                                                                                                                                                                        Col
                                                                                                                                                                        525a1
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 167 of 2562 PageID #: 13038


    U.S. Patent                                                  Feb. 1 , 2022                                       Sheet 28 of 40                                          US 11,238,344 B1

                                                                                                              80
                                                                                                              $
                                                                                                                                       KCnoewl dlge 80 ub                                    530b
                                                                 853u1                                                        0.60 0.30 0.10
                                  80 ua KCnoewldlge 0.15                                   CKnoewl dlge
                                                          0.85                                                        85302
                                                                                                                                       CKnoewl dlge           CKnoewl dlge

          :
                                                                 CKnoewl dlge                             80 uc CKnoewldlge                                                              :




                                          CKnoewl dlge                  80 ud   0.20 CKnoewl dlge                    853u 8534                                                                      28
                                                                                                                                                                                                    .
                                                                                                                                                                                                    FIG

                                                                                                              0.80
                                                                                                                                       CKnoewl dlge
                                                                                                                                                      80 ue
                                           CKnoewl dlge                                    CKnoewl dlge
     DGecriaspohn-making                                                                                                                                                                     540
                           Unit                                                                           >                                                                                   125
                                                                                                                                                                                             93

     ObjectProces ingUnit
                                      Re
                                      Ob                                                                                                 Objp
                                                                                                                                         Reg
                                      Coll
                                      of
                                      Ob
                                      Rep Col
                                           of
                                           Ob
                                           Rep
                                                          :
                                                                   Rep
                                                                   Obi Col
                                                                   of
                                                                   Coll
                                                                   525en of
                                                                         Ob
                                                                         525e1
                                                                         Rep                  of Rep
                                                                                              Ob
                                                                                              Col
                                                                                              5250n
                                                                                              Rep   Obi
                                                                                                    of
                                                                                                    Col
                                                                                                    52501              525cn 525c1
                                                                                                                       Obi
                                                                                                                       of
                                                                                                                       Coll
                                                                                                                       Rep   Obj
                                                                                                                             of
                                                                                                                             Col
                                                                                                                             Rep         Ob
                                                                                                                                         of Rep
                                                                                                                                         Col
                                                                                                                                         525bn
                                                                                                                                         Rep   of
                                                                                                                                               Coll
                                                                                                                                               5251
                                                                                                                                               Ob               ColofO5b2j5Raenp Coll
                                                                                                                                                                                 Rep
                                                                                                                                                                                 Ob
                                                                                                                                                                                 of
                                                                                                                                                                                 525a1
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 168 of 2562 PageID #: 13039


    U.S. Patent                                                 Feb. 1 , 2022                         Sheet 29 of 40                                US 11,238,344 B1


                                                                                                                                                                       530
                                            CKnoewledlge           CKnoewledlge        CKnoewledlge       CellKnowledge       CKnoewledlge      CKneowledge
                           Sequnce                         :




                                                                        80 de 80 d 80 dc 80 db 80 da
             53 wd                 K
                                   C n o
                                       e w l e dlg e               CKnoewledlge        CKnoewledlge        CKnoewledlge       KCnoewl dlge      CKnoewl dlge
                           Sequnce
              53 WC                         KCnoewl dlge           CKnoewledlge        CKnoewl dlge        KCnoewl dlge        CKnoewl dlge     CKnoewl dlge 80 ca
                            Sequnce                                                                                                                                          29
                                                                                                                                                                             .
                                                                                                                                                                             FIG

                      53 wb CKnoewledlge                           CKnoewledlge        CKnoewl dlge       CKnoewledlge        CKnoewl dlge      CKnoewledlge
                                                                                                                                                             8 0 c b
                            Sequnce                        ??




     CofSolequctnioes 53 wa Sequ nce CKnoewledlge          :
                                                                   CKneowledlge CKnoewl dlge               CKnoewledlge       CelKnowledge      CKnoewl dlge
                                                                                                                                                                       540
     Decison -makingUnit                                                                                                                                                125
                                                                                                                                                                       93
            Procesing
     Object Unit
                                      Ob
                                      Re
                                     Coll
                                     of
                                     Ob
                                     Rep Col
                                          of
                                          Ob
                                          Rep                   Ob Col
                                                                of
                                                                Coll
                                                                525en
                                                                Rep   of
                                                                      Obi
                                                                      525e1
                                                                      Rep         of Col
                                                                                  Ob
                                                                                  Col
                                                                                  5250n
                                                                                  Rep   of
                                                                                        Ob
                                                                                        52501
                                                                                        Rep            Obi
                                                                                                       of
                                                                                                       Coll
                                                                                                       525cn 525c1
                                                                                                       Rep   Obi
                                                                                                             of
                                                                                                             Col
                                                                                                             Rep          525bn Ob
                                                                                                                          Rep
                                                                                                                          Ob
                                                                                                                          Colof of Col
                                                                                                                                Coll
                                                                                                                                5251
                                                                                                                                Rep  ofO5b2j5Raenp Coll
                                                                                                                                                   Rep
                                                                                                                                                   Ob
                                                                                                                                                   of
                                                                                                                                                   525a1
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 169 of 2562 PageID #: 13040


    U.S. Patent                       Feb. 1 , 2022                                 Sheet 30 of 40                 US 11,238,344 B1



     100
     130                                                                                                             11


                                                   215
                                                         Arithmeic          UnitLogic
                                                                                                             214
                                                                                              RAergisateyr
                                                          DInestcroudeirn                                                       FIG
                                                                                                                                30
                                                                                                                                .

                                                                                        213
                                                         IRnsetgriucteonr
                                                                                        212                                     12

           MUDCnAiDtO Iondtifercaon                      CPorungtream
                                        Proces r                                        211                            Memory
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 170 of 2562 PageID #: 13041


    U.S. Patent            Feb. 1 , 2022            Sheet 31 of 40          US 11,238,344 B1

                              100        130
          DCADO Unit
                       Modification Interface
                                                             250
                                                 Logic Circuit
            input 1                                                             output 1
            input 2                                                             output 2
            input 3                                                             power

            input 4                                                             ground

                        251
                                                FIG . 31A

                                                                 100   130
                                        DCADO Unit Modification Interface


                                    Logic Circuit
            input 1                                                             output 1
            input 2                                                             output 2
                                                                 251
            input 3                                                             power

            input 4                                                             ground

                             250
                                                FIG . 31B
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 171 of 2562 PageID #: 13042


    U.S. Patent                                                          Feb. 1 , 2022                                                                                                                                Sheet 32 of 40                                                                                                                                                                                                                                                               US 11,238,344 B1


                         9125Step                                                      9130Step                                                                                                 9135Step                                                                                                                                           9140Step                                                                                                                                                                                                 9145Step



                                                                                  ofocfrthewepblijsernctsaihotns                                            mataplisdthatteahrtaemicsrnahtelg oofcthefandrebplijsercntsaiotns                                                                                    setsforimoreoneorftheensxitrcu tsiotngfthewcdoipervtlaischtendg                                                                                                                   oneormoreo,bythedperfvaotrimconesgsetsforoneormoreibythefdnesitfriucnsteitodnfthewcdopiervrtlaischtendg
                 rofocanewepblsjenictva ontgs              oofcnewtheblmjpeactritong                                                                                            bthenewcofoeltjwecteiont
                                                                                                                                                                                                                                                                                                                                                                                   coforepbljscnetaions                                                                                                                                                                                                  crofoepbljsncetaions
                                                                                                                    repsntaio repsntaio
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                32
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                FIG




     M9e1th0od
                         rofocafepblijsernctvsainotgs                                         forisetsmoreoneorfranesitcreuicvstiotng                                                                                                                                                                                                                                                           cthefsrofoetpbiljsrencitsatognssetsmoreioneorfwiththec9120nSteposirtrueclstaiotend
                                                                                                                                                                                                                 ofocthefblrijerlcatsiotngmoreoneorfwithther9115Stepepisrentsaitonsforsithedonpetvruatic snoeg
                                                                                                                                                                                                                                                                                                                                                                                                                                                                             dtheoforpevraitcneg
                                                                                                                                  doae9110pStepvriatcieng
                                                9105Step
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 172 of 2562 PageID #: 13043


    U.S. Patent                                               Feb. 1 , 2022                                                                                                                                                                        Sheet 33 of 40                                                                                                                                                                                               US 11,238,344 B1


                                                                                                                                                                                                                                                                                         9230Step                                                                                                                                                                                          9235Step



                 ranewcofoeStep9220pblrejsicnvetacinogts   setsforimoreoneorthefanstircupsatitongthefwcdoipervtlaischendg onbrofocatepaljsenctaido9225Steptofcnnewthesbompaleatrwcateicsoahntlofcthefandroeplibesrjcntsaiconts                        setsforiormoreonethefenxsitrcutsiotngfthewcdoipervtlaischendg                                                                                                                  oneormoreo,bythedperfvoaritmconegssetsforoneormoreibythefdnesitfriucnsteitodn fthewcdopiervtalischtendg
                                                                                                                                                                                                                                                                                                                      coforeplbjscnetaions                                                                                                                                                                                                     coforeplbjscnetaions
                                                                                                                                                                                                                                 roepbsjnteacios
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      33
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                      FIG




     M9e2th0od
                         rofocafepblijsernctvsainotgs                                                                                                        setsforimoreoneorfnraseticreuictvsiotng                                                                                                                               rofocftlepbiahjsrenctsaieotgnssetsimoreoneorfwiththe9215cnStepsoitrruecltsaiotend
                                                                                                                                                                                                                                                                                                                                                                                                               dtheoforepvriatceng
                                                                                                                                                                                               daoe9210pStepvriatcieng
                                               9205Step
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 173 of 2562 PageID #: 13044


    U.S. Patent                                                                             Feb. 1 , 2022                                                                                                                                                     Sheet 34 of 40                                                                                                                                                                                                                                                                     US 11,238,344 B1


                         9325Step                                                                           9S3te0p

                                                                                                                                                                                                                                        Step93ofscotlistre5cteioansm
                                                                                                                                                                                                                                                                                                                                                                                               othecdwsfS9petri3varilte4scanhp0etmgd                                                                                                                                                                                   9Ssfthewcdt3oirep4vtlsia5phcmendg
                 ocofsranewebltcjrietvcaontmsg                         oofcsnewthebltjmrepcatcriotnmgcofsftwroelpirhscentsiaeohtmns                                               mpatalistdthateahrtaemicsrnahtelg ofcsthebnewoetlrjwcetiaconmts                                                                                                          setsforimoreoneorfethenxsitrcutsitnog                                                                                                                                                  oneormoreo,bythedperfvaoitrmconesgsetsforoneormoreibythefdnesitfriucnsteitodn
                                                                                                                                                                                                                                              theandrep sentaions                                                                                                                                                                 ofcoreplbjscentiaotsn                                                                                                                                                                                             coforelpbjscentiaconts
                                                 repsntaio reoofpbsjnteacionts                                                                                                                                                                                         orepbjsnetacios
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             34
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                             FIG




     M9e3th0od
                         ocofsfraeblticjrietvscaontmsg                                                             isetsforoneormorerafnesictreuicvstinotg                                                                                               ofocsthefbtlrijercltasicontmsg                                                                                                                                                ocofstheftbliojrectiscanotmgsmoreoneorfwiththecr9320Stepeoip rsenlstatieondstheforosidnpetrvautic snoeg
                                                                                                                                                                                                                                                                                    moreoneorfwithther9315Stepepisrentsaitonsforosithednpetrvautic snoeg

                                                                                                                                                        doa9310epStepvriatcieng
                                                 S9rept3se0ntap5ions
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 174 of 2562 PageID #: 13045


    U.S. Patent                                                           Feb. 1 , 2022                                                                                                                                                       Sheet 35 of 40                                                                                                                                                                                                   US 11,238,344 B1


                                                                                        9S4t3e0p                                                                                                                            9435Step                                                                                                                      9440Step                                                                                                                                      9445Step



                 ranewcofoeStep9425pblrejsicventacinogts                           ofocfrthewepblijsernctsaihotns                                                                    mataplisdthatteahrtaemicsrnahtelg ocofthefandrebplijsercntsaiotns                                                                            riecreciuvintg of
                                                                                                                                                                                                                                                                                                                                 more
                                                                                                                                                                                                                                                                                                                                 or
                                                                                                                                                                                                                                                                                                                                 c,
                                                                                                                                                                                                                                                                                                                                 one
                                                                                                                                                                                                                                                                                                                                 first
                                                                                                                                                                                                                                                                                                                                  the
                                                                                                                                                                                                                                                                                                                                  logic
                                                                                                                                                                                                                                                                                                                                  by             octhefwibnlrijpretuclsaihtoend                                                                                ,oneormoreobythedperfvaotrimconesg byoneordforomorethepeuftripanuteindsg
                                                            oofcnewtheblmjpeactritong                                                                                                                       bthenewcofoeltjwecteiont                                                                                                                                                                                                                                                                                                      cthelbypdireovdgciucetd
                                                                                                                    repsntaio repsntaio repsntaio
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    35
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    FIG




     M9e4th0od
                                                                                               wthe
                                                                                                first,ione
                                                                                                morerahencperiuevtinsg
                                                                                                or
                                                                                                                         aiencpeiuvtesd ,
                                                                                                                         logic
                                                                                                                         rone
                                                                                                                         also
                                                                                                                         are
                                                                                                                         by
                                                                                                                          more
                                                                                                                          or            andwpiroheunoctprdeuitcvsne
                           rofocafepblijsernctvsainotgs                                                                               ctoislwtheand9410o,Stepihnofreigcueirctdn adoareusedforthepuetvrpaitucnesg                                         octhefofbriljercastitongmoreioneorfwithther9415Stepenpipsreuntsaitons                                                    rofocthefseptblijsernctisa otgnsimoreoneorwiththefcStep9420onirpreulsatted

                                                 9405Step
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 175 of 2562 PageID #: 13046


    U.S. Patent                                                          Feb. 1 , 2022                                                                                                                                                                Sheet 36 of 40                                                                                                                                                                                                                                                          US 11,238,344 B1


                         9525Step                                                      9S5t3e0p                                                                                                                                      9535Step                                                                                                                                  9540Step



                                                                                  ofocfrthewepblijsernctsaihotns                                                                             mataplisdthatteahrtaemicsrnahtelg ocofthefandrebplijsercntsaiotns                                                                           oneormoreo,bythedperfvaotirmconesgonebythefdcoormeuiroftreplnusaetds
                 rofocanewepblsjenictva ontgs              oofcnewtheblmjpeactritong                                                                                                                                 bthenewcofoeltjwecteiont                                                                                                                                                                   cthefwrofoepilbjsretcnsaihtons
                                                                                                                   repsntaio repsntaio
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           36
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                           FIG




     M9e5th0od
                                                                                                oreuctepivuitnsg
                                                                                                 more
                                                                                                 a
                                                                                                 or
                                                                                                 one
                                                                                                 first
                                                                                                 the
                                                                                                 ,
                                                                                                                    ,ctalfmoreoriuantsgocpmiuntctesd wothe,andpihurnetoprdueitcnse
                         rofocafepblijsernctvsainotgs                                                                                               rtocislthew9510Stepoeihncfreiguievrctdn adousedforarepeutvrapitucnesg                                        ofocthefbrlijercatsiotngormoreonethefwithr9515Stepeupitsprenutsaitons                                                                                                           rofocthefseptblijsernctisa otgnsoormoreonewiththefc9520Stepuirtprelusatesd

                                                9505Step
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 176 of 2562 PageID #: 13047


    U.S. Patent                                                          Feb. 1 , 2022                                                                                                                                                                                        Sheet 37 of 40                                                                                                                                                                                                  US 11,238,344 B1


                         9625Step                                                      9S6t3e0p                                                                                                                                                        9635Step                                                                                                                         9640Step                                                                                                                                        9645Step



                                                                                  ofocfrthewepblijsernctsaihotns                                                                                                     mataplisdthatteahrtaemicsrnahtelg ocofftheandrebplijsercntsaiotns                                                                           rceteuiavtionrgof
                                                                                                                                                                                                                                                                                                                                                                or
                                                                                                                                                                                                                                                                                                                                                                more
                                                                                                                                                                                                                                                                                                                                                                a,
                                                                                                                                                                                                                                                                                                                                                                one
                                                                                                                                                                                                                                                                                                                                                                first
                                                                                                                                                                                                                                                                                                                                                                 the
                                                                                                                                                                                                                                                                                                                                                                 by             octhefwibnlrijperctulsaihotend                                                                                moneormorea,thepbyoecrtfuioartmniosrg cioneormbythefdoenrofpreiulnsated
                 rofocanewepblsjenictva ontgs              oofcnewtheblmjpeactritong                                                                                                                                                    bthenewcofoeltjwecteiont                                                                                                                                                                                                                                                                                                        cthefworofepbiljsretcnsaihtons
                                                                                                                   repsntaio repsntaio repsntaio
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 !!




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         37
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                         FIG




     M9e6th0od
                                                                                              wthe
                                                                                               first,ione
                                                                                               morerahencperiuevtinsg
                                                                                               or
                         rofocafepblijsernctvsainotgs                                                                   byanrarealsomoreioneorencpeiuvtesd to
                                                                                                                                                           caisthew,ando9610Stepnhctfeuirgaetoirdn
                                                                                                                                                                                               mandpiroentcpifuotnrvsme                                                                  ofocthefbrlijercatsiotngimoreoneorfwiththerStep9615enpisreuntsaitons                                                    rofocthefseptblijsernctisa otgns moreioneorthefcwithStep9620onirpreulsated

                                                9605Step
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 177 of 2562 PageID #: 13048


    U.S. Patent                    Feb. 1 , 2022     Sheet 38 of 40           US 11,238,344 B1



                                                                      615ab
     615a                                                     1



                                                              26m
                                   701

                        970                           2740
                                                              15m
                              A.               346
                                               °                                           38
                                                                                           .
                                                                                           FIG


                                                      615ac
              98a
                         35m


                    .




      615ad
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 178 of 2562 PageID #: 13049


    U.S. Patent                   Feb. 1 , 2022                  Sheet 39 of 40                    US 11,238,344 B1




                                                                       615b
                                                                      90m
                                                                               7.

                  615ba           1 0m                    149
                                                           710
                                                                                98b 3080                        39
                                                                                                                .
                                                                                                                FIG

                                                                ***
                                                                        3589
                             I 1




             ON




                                                  120 1
       We
                          615bd
                                                                                                         190m
                                                                                           615bc
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 179 of 2562 PageID #: 13050


    U.S. Patent                Feb. 1 , 2022                  Sheet 40 of 40                          US 11,238,344 B1



                                                                   10000


                       mu
                                                                           615b                                     BER



                                                                                        $

                                                                       106
                                                                                   7.

              615ba            110m                   1490
                                                                                    98b 308                               40
                                                                                                                          .
                                                                                                                          FIG
                                                       710
     20




          1                                                  2
                                                              MK
                                                                            3580
                         seanno



                                               120m
                       615bd                                                                                  120




                                                             450                              615bc       2
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 180 of 2562 PageID #: 13051


                                                        US 11,238,344 B1
                                    1                                                                 2
         ARTIFICIALLY INTELLIGENT SYSTEMS ,                              correlated with the first one or more instruction sets for
        DEVICES , AND METHODS FOR LEARNING                               operating the device . The artificial intelligence unit may be
                  AND /OR USING A DEVICE'S                               further configured to : receive a new collection of object
           CIRCUMSTANCES FOR AUTONOMOUS                                 representations, the new collection of object representations
                       DEVICE OPERATION                               5 including one or more representations of objects detected by
                                                                      the sensor. The artificial intelligence unit may be further
               CROSS REFERENCE TO RELATED                             configured to : anticipate the first one or more instruction sets
                       APPLICATION                                    for operating the device correlated with the first collection of
                                                                      object representations based on at least a partial match
       This application is aa continuation of, and claims priority 10 between   the new collection of object representations and the
    under 35 U.S.C. § 120 from , nonprovisional U.S. patent ligence unit mayofbeobject
                                                                      first collection           representations. The artificial intel
    application Ser. No. 15 /340,991 entitled “ ARTIFICIALLY sor circuit to executefurther   the
                                                                                                     configured to : cause the proces
                                                                                                 first one or more instruction sets for
    INTELLIGENT SYSTEMS , DEVICES , AND METHODS operating the device correlated                            with the first collection of
    FOR LEARNING AND /OR USING A DEVICE'S CIR
    CUMSTANCES FOR AUTONOMOUS DEVICE OPERA- 15 object representations, the causing performed in response to
    TION ” , filed on Nov. 2 , 2016. The disclosure of the fore          the anticipating of the artificial intelligence unit, wherein the
    going document is incorporated herein by reference .                 device performs one or more operations defined by the first
                                                                 one or more instruction sets for operating the device corre
                                 FIELD                           lated with the first collection of object representations, the
                                                              20 one or more operationsperformed in response to the execut
      The disclosure generally relates to computing enabled ing by the processor circuit .
                                                                    In some embodiments, at least one of: the processor
    devices and / or systems. The disclosure includes devices, circuit
    apparatuses , systems , and related methods for providing gence    , the memory unit , the sensor, or the artificial intelli
    advanced learning, anticipating, decision making , automa          unit are part of, operating on , or coupled to the device .
    tion, and / or other functionalities.                             25 In further embodiments, the device includes one or more
                                                                         devices. In further embodiments, the device includes a
                       COPYRIGHT NOTICE                            construction machine, an assembly machine , an object han
                                                                   dling machine, an object dispensing machine, a sorting
       A portion of the disclosure of this patent document machine , a restocking machine , an industrial machine , an
    contains material which is subject copyright protection. 30 agricultural machine , a harvesting machine , an appliance, a
    The copyright owner has no objection to the facsimile toy, a robot , a ground vehicle , an aerial vehicle , an aquatic
    reproduction by anyone of the patent document or the patent vehicle , a computer, a smartphone, control device, or a
    disclosure as it appears in the Patent and Trademark Office computing enabled device . In further embodiments, the
    patent file or records, but otherwise reserves all copyright processor circuit includes one or more processor circuits . In
    rights whatsoever.                                          35 further embodiments , the processor circuit includes a logic
                                                                   circuit . The logic circuit may include a microcontroller. The
                          BACKGROUND                               one or more instruction sets may include one or more inputs
                                                                   into or one or more outputs from the logic circuit.
       Devices or systems commonly operate by receiving a             In certain embodiments, the processor circuit includes a
    user's operating directions in various circumstances. 40 logic circuit, the instruction sets for operating the device
    Instructions are then executed to effect the operation of a include inputs into the logic circuit , and executing instruc
    device or system based on user's operating directions . tion sets for operating the device includes performing logic
    Hence, devices or systems rely on the user to direct their operations on the inputs into the logic circuit and producing
    behaviors. Commonly employed device or system operating outputs for operating the device . The logic circuit includes
    techniques lack a way to learn operation of a device or 45 a microcontroller.
    system and enable autonomous operation of a device or             In some embodiments, the processor circuit includes a
    system .                                                       logic circuit, the instruction sets for operating the device
                                                                   include outputs from the logic circuit for operating the
                             SUMMARY                               device, and executing instruction sets for operating the
                                                                50 device includes performing logic operations on inputs into
       In some aspects , the disclosure relates to a system for the logic circuit and producing the outputs from the logic
    learning and using a device's circumstances for autonomous circuit for operating the device .
    device operating. The system may be implemented at least          In certain embodiments, the memory unit includes one or
    in part on one or more computing devices . In some embodi- more memory units . In further embodiments , the memory
    ments, the system comprises a processor circuit configured 55 unit resides on a remote computing device or a remote
    to execute instruction sets for operating a device . The system computing system , the remote computing device or the
    may further include a memory unit configured to store data .         remote computing system coupled to the processor circuit
    The system may further include a sensor configured to detect         via aa network or an interface. The remote computing device
    objects. The system may further include an artificial intel-         or the remote computing system may include a server, a
    ligence unit . The artificial intelligence unit may be config- 60 cloud , a computing device , or a computing system acces
    ured to : receive a first collection of object representations,      sible over the network or the interface .
    the first collection of object representations including one or     In some embodiments , the sensor includes one or more
    more representations of objects detected by the sensor . The sensors. In further embodiments, the sensor includes a
    artificial intelligence unit may be further configured to : camera , a microphone , a lidar, a radar, a sonar, or a detector.
    receive a first one or more instruction sets for operating the 65 In further embodiments, the sensor is part of a remote
    device . The artificial intelligence unit may be further con- device. In further embodiments, the sensor is configured to
    figured to learn the first collection of object representations detect objects in the device's surrounding.
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 181 of 2562 PageID #: 13052


                                                       US 11,238,344 B1
                                  3                                                                 4
       In certain embodiments , the artificial intelligence unit is representations subsequent to the first collection of object
    coupled to the sensor . In further embodiments, the artificial representations, the collections of object representations
    intelligence unit is coupled to the memory unit. In further subsequent to the first collection of object representations
    embodiments , the artificial intelligence unit is part of, oper- comprising the new collection of object representations. In
                  2

    ating on, or coupled to the processor circuit . In further 5 further embodiments, the first collection of object represen
    embodiments , the system further comprises: an additional tations includes a comparative collection of object repre
    processor circuit, wherein the artificial intelligence unit is sentations that can be used for comparisons with the new
    part of, operating on , or coupled to the additional processor collection of object representations. In further embodiments ,
    circuit . In further embodiments , the artificial intelligence the new collection of object representations includes an
    unit is part of, operating on , or coupled to a remote com- 10 anticipatory collection of object representations whose cor
    puting device or a remote computing system , the remote related one or more instruction sets can be used for antici
    computing device or the remote computing system coupled pation of one or more instruction sets to be executed by the
    to the processor circuit via a network or an interface . In processor circuit.
    further embodiments, the artificial intelligence unit includes      In certain embodiments , the first one or more instruction
    a circuit, a computing apparatus, or a computing system 15 sets for operating the device include one or more instruction
    attachable to the processor circuit . In further embodiments, sets that temporally correspond to the first collection of
    the artificial intelligence unit includes a circuit, a computing object representations. In further embodiments, the one or
    apparatus, or a computing system attachable to the device . In more instruction sets that temporally correspond to the first
    further embodiments, the artificial intelligence unit is attach- collection of object representations include one or more
    able to an application for operating the device, the applica- 20 instruction sets executed at a time of generating the first
    tion running on the processor circuit . In further embodi- collection of object representations. In further embodiments ,
    ments, the artificial intelligence unit includes a circuit , a the one or more instruction sets that temporally correspond
    computing apparatus, or a computing system built into the to the first collection of object representations include one or
    processor circuit. In further embodiments, the artificial intel- more instruction sets executed prior to generating the first
    ligence unit includes a circuit, a computing apparatus, or a 25 collection of object representations. In further embodiments,
    computing system built into the device . In further embodi- the one or more instruction sets that temporally correspond
    ments, the artificial intelligence unit is built into an appli- to the first collection of object representations include one or
    cation for operating the device, the application running on more instruction sets executed within aa threshold period of
    the processor circuit . In further embodiments, the artificial time prior to generating the first collection of object repre
    intelligence unit is provided as a feature of the processor 30 sentations. In further embodiments, the one or more instruc
    circuit . In further embodiments, the artificial intelligence tion sets that temporally correspond to the first collection of
    unit is provided as a feature of an application running on the    object representations include one or more instruction sets
    processor circuit. In further embodiments, the artificial intel- executed subsequent to generating the first collection of
    ligence unit is provided as a feature of the device . In further object representations. In further embodiments , the one or
    embodiments, the artificial intelligence unit is further con- 35 more instruction sets that temporally correspond to the first
    figured to : take control from , share control with, or release collection of object representations include one or more
    control to the processor circuit. In further embodiments, the instruction sets executed within aa threshold period of time
    artificial intelligence unit is further configured to : take subsequent to generating the first collection of object rep
    control from , share control with , or release control to an      resentations. In further embodiments , the one or more
    application or an object of the application , the application 40 instruction sets that temporally correspond to the first col
    running on the processor circuit.                                lection of object representations include one or more instruc
       In some embodiments, the first collection of object rep- tion sets executed within a threshold period of time prior to
    resentations includes one or more representations of objects generating the first collection of object representations or a
    detected by the sensor at a time . In further embodiments, the threshold period of time subsequent to generating the first
    new collection of object representations includes one or 45 collection of object representations.
    more representations of objects detected by the sensor at a       In some embodiments, the first one or more instruction
    time . In further embodiments , the first collection of object sets for operating the device are executed by the processor
    representations includes a stream of collections of object        circuit. In further embodiments , the first one or more instruc
    representations. In further embodiments , the new collection      tion sets for operating the device are part of an application
    of object representations includes a stream of collections of 50 for operating the device , the application running on the
    object representations. In further embodiments, the first or processor circuit . In further embodiments , the first one or
    the new collection of object representations includes or is more instruction sets for operating the device include one or
    associated with a time stamp, an order, or a time related more inputs into or one or more outputs from the processor
    information . In further embodiments , the first or the new circuit . In further embodiments, the first one or more instruc
    collection of object representations includes one or more 55 tion sets for operating the device include values or states of
    representations of objects in the device's surrounding. In one or more registers or elements of the processor circuit . In
    further embodiments , the first or the new collection of object further embodiments, the first one or more instruction sets
    representations includes one or more representations of for operating the device include at least one of: a command ,
    objects in a remote device's surrounding. In further embodi- a keyword , a symbol, an instruction , an operator, a variable,
    ments , an object representation of the one or more object 60 a value , an object, a data structure, a function , a parameter,
    representations includes one or more object properties. In a state , a signal, an input, an output, a character, a digit , or
    further embodiments, the first or the new collection of object a reference thereto . In further embodiments , the first one or
    representations includes one or more object properties. In more instruction sets for operating the device include a
    further embodiments , the first collection of object represen- source code, a bytecode , an intermediate code , a compiled
    tations includes a comparative collection of object repre- 65 code , an interpreted code , a translated code , a runtime code ,
    sentations whose at least one portion can be used for an assembly code , a structured query language ( SQL) code ,
    comparisons with at least one portion of collections of object or a machine code . In further embodiments , the first one or
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 182 of 2562 PageID #: 13053


                                                        US 11,238,344 B1
                                  5                                                                   6
    more instruction sets for operating the device include one or for operating the device includes receiving the first one or
    more code segments, lines of code, statements, instructions, more instruction sets for operating the device from the
    functions, routines , subroutines , or basic blocks . In further application .
    embodiments, the processor circuit includes a logic circuit .         In certain embodiments, the receiving the first one or
    The first one or more instruction sets for operating the device 5 more instruction sets for operating the device includes
                                                                       receiving the one or more instruction sets at a source code
    may include one or more inputs into a logic circuit . The first write
    one or more instruction sets for operating the device may                 time , a compile time , an interpretation time , a trans
    include one or more outputs from a logic circuit .                 lation time , a linking time , a loading time , or a runtime. In
                     embodiments, the first one or more instruction further embodiments, the receiving the first one or more
    setsInforcertain
               operating the device include one or more instruction 10 instruction  sets for operating the device includes at least one
                                                                       of: tracing, profiling, or instrumentation of a source code , a
    sets for operating an application or an object of the appli bytecode         , an intermediate code, a compiled code , an inter
    cation , the application running on the processor circuit. In preted code        , a translated code , a runtime code , an assembly
    further embodiments, the receiving the first one or more          code , a structured query language ( SQL ) code, or a machine
    instruction sets for operating the device includes obtaining 15 code
    the first one or more instruction sets for operating the device more. In    further embodiments, the receiving the first one or
                                                                             instruction  sets for operating the device includes at
    from the processor circuit. In further embodiments , the least one of: tracing            , profiling, or instrumentation of an
    receiving the first one or more instruction sets for operating element that is part of, operating on, or coupled to the
    the device includes receiving the first one or more instruc- processor circuit . In further embodiments, the receiving the
    tion sets for operating the device as they are executed by the 20 first one or more instruction sets for operating the device
    processor circuit . In further embodiments , the receiving the includes at least one of: tracing, profiling, or instrumentation
    first one or more instruction sets for operating the device of a register of the processor circuit , the memory unit , a
    includes receiving the first one or more instruction sets for storage, or a repository where the first one or more instruc
    operating the device from a register or an element of the tion sets for operating the device are stored . In further
    processor circuit . In further embodiments, the receiving the 25 embodiments, the receiving the first one or more instruction
    first one or more instruction sets for operating the device sets for operating the device includes at least one of: tracing,
    includes receiving the first one or more instruction sets for profiling, or instrumentation of the processor circuit, the
    operating the device from an element that is part of, oper- device, a virtual machine , a runtime engine, an operating
    ating on, or coupled to the processor circuit . In further system , an execution stack, a program counter, or a process
    embodiments , the receiving the first one or more instruction 30 ing element. In further embodiments, the receiving the first
                  ?

    sets for operating the device includes receiving the first one one or more instruction sets for operating the device
    or more instruction sets for operating the device from at least includes at least one of: tracing, profiling, or instrumentation
    one of: the memory unit, the device , a virtual machine, a of the processor circuit or tracing, profiling, or instrumen
    runtime engine, a hard drive, a storage device, a peripheral tation of a component of the processor circuit. In further
    device , a network connected device, or a user . In further 35 embodiments , the receiving the first one or more instruction
    embodiments, the receiving the first one or more instruction sets for operating the device includes at least one of: tracing,
    sets for operating the device includes receiving the first one profiling, or instrumentation of an application or an object of
    or more instruction sets for operating the device from a the application, the application running on the processor
    plurality of processor circuits, applications, memory units , circuit . In further embodiments, the receiving the first one or
    devices, virtual machines , runtime engines, hard drives, 40 more instruction sets for operating the device includes at
    storage devices , peripheral devices , network connected least one of: tracing, profiling, or instrumentation at a source
    devices, or users .                                              code write time , a compile time , an interpretation time , a
       In some embodiments, the processor circuit includes a translation time , a linking time , a loading time , or a runtime.
    logic circuit , and wherein the receiving the first one or more In further embodiments, the receiving the first one or more
    instruction sets for operating the device includes receiving 45 instruction sets for operating the device includes at least one
    the first one or more instruction sets for operating the device of: tracing, profiling, or instrumentation of one or more of
    from the logic circuit . In further embodiments, the logic code segments, lines of code, statements, instructions, func
    circuit includes a microcontroller. In further embodiments ,        tions , routines, subroutines, or basic blocks . In further
    the receiving the first one or more instruction sets for embodiments, the receiving the first one or more instruction
    operating the device from the logic circuit includes receiving 50 sets for operating the device includes at least one of: tracing,
    the first one or more instruction sets for operating the device profiling, or instrumentation of a user input. In further
    from an element of the logic circuit. In further embodiments , embodiments, the receiving the first one or more instruction
    the receiving the first one or more instruction sets for sets for operating the device includes at least one of: a
    operating the device from the logic circuit includes receiving manual, an automatic , a dynamic , or a just in time ( JIT )
    one or more inputs into the logic circuit . In further embodi- 55 tracing, profiling, or instrumentation . In further embodi
    ments , the receiving the first one or more instruction sets for ments, the receiving the first one or more instruction sets for
    operating the device from the logic circuit includes receiving operating the device includes utilizing at least one of: a
    one or more outputs from the logic circuit .                      .NET tool , a .NET application programming interface (API ),
       In certain embodiments , the receiving the first one or a Java tool , a Java API , a logging tool , or an independent tool
    more instruction sets for operating the device includes 60 for obtaining instruction sets. In further embodiments, the
    receiving the first one or more instruction sets for operating receiving the first one or more instruction sets for operating
    the device from an application for operating the device, the the device includes utilizing an assembly language. In
    application running on the processor circuit.                     further embodiments, the receiving the first one or more
       In some embodiments, the system further comprises: an instruction sets for operating the device includes utilizing a
    application including instruction sets for operating the 65 branch or a jump. In further embodiments , the receiving the
    device, the application running on the processor circuit , first one or more instruction sets for operating the device
    wherein the receiving the first one or more instruction sets includes a branch tracing or a simulation tracing. In further
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 183 of 2562 PageID #: 13054


                                                       US 11,238,344 B1
                                  7                                                                  8
    embodiments, the system further comprises: an interface data structure . In further embodiments, each of the plurality
                                                                                                              2

    configured to receive instruction sets , wherein the first one of collections of object representations correlated with one
    or more instruction sets for operating the device are received or more instruction sets for operating the device is included
    by the interface. The interface may include an acquisition in a neuron , a node, a vertex , or an element of a knowl
    interface .                                                    5 edgebase. The knowledgebase may include a neural net
       In some embodiments, the first collection of object rep- work , a graph, a collection of sequences, a sequence , a
    resentations correlated with the first one or more instruction collection of knowledge cells , a knowledge structure , or a
    sets for operating the device include a knowledge of how the data structure. Some of the neurons, nodes, vertices, or
    device operated in a circumstance . In further embodiments , elements may be interconnected . In further embodiments ,
    the first collection of object representations correlated with 10 the plurality of collections of object representations corre
    the first one or more instruction sets for operating the device lated with one or more instruction sets for operating the
    are included in a neuron , a node , a vertex , or an element of device include a user's knowledge, style , or methodology of
    a knowledgebase . In further embodiments, the knowledge- operating the device in circumstances. In further embodi
    base includes a neural network , a graph , a collection of         ments, the plurality of collections of object representations
    sequences, a sequence, a collection of knowledge cells , a 15 correlated with one or more instruction sets for operating the
    knowledge structure, or a data structure . In further embodi- device are stored on a remote computing device or a remote
    ments , some of the neurons, nodes , vertices, or elements are computing system . In further embodiments, the plurality of
    interconnected . In further embodiments , the first collection collections of object representations correlated with one or
    of object representations correlated with the first one or more instruction sets for operating the device include an
    morea instruction sets for operating the device are structured 20 artificial intelligence system for knowledge structuring, stor
    into a knowledge cell . In further embodiments, the knowl- ing , or representation. The artificial intelligence system for
    edge cell is included in a neuron , a node, a vertex , or an knowledge structuring, storing, or representation may
    element of a knowledgebase. The knowledgebase may include at least one of: a deep learning system , a supervised
    include a neural network , a graph, a collection of sequences , learning system , an unsupervised learning system , a neural
    a sequence, a collection of knowledge cells , a knowledge 25 network , a search -based system, an optimization-based sys
    structure , or a data structure . Some of the neurons , nodes, tem , a logic -based system , a fuzzy logic -based system , a
    vertices, or elements may be interconnected . In further tree - based system , a graph -based system , a hierarchical
    embodiments, the learning the first collection of object system , a symbolic system , a sub - symbolic system , an
    representations correlated with the first one or more instruc- evolutionary system , a genetic system , a multi -agent system ,
    tion sets for operating the device includes correlating the 30 a deterministic system , a probabilistic system , or a statistical
    first collection of object representations with the first one or system .
    more instruction sets for operating the device. In further           In some embodiments, the anticipating the first one or
    embodiments, the correlating the first collection of object more instruction sets for operating the device correlated with
    representations with the first one or more instruction sets for the first collection of object representations based on at least
    operating the device includes generating a knowledge cell , 35 a partial match between the new collection of object repre
    the knowledge cell comprising the first collection of object sentations and the first collection of object representations
    representations correlated with the first one or more instruc- includes comparing at least one portion of the new collection
    tion sets for operating the device. In further embodiments , of object representations with at least one portion of the first
    the correlating the first collection of object representations collection of object representations. In further embodiments,
    with the first one or more instruction sets for operating the 40 the at least one portion of the new collection of object
    device includes structuring a knowledge of how the device representations include at least one object representation or
    operated in a circumstance . In further embodiments, the at least one object property of the new collection of object
    learning the first collection of object representations corre- representations. In further embodiments, the at least one
    lated with the first one or more instruction sets for operating portion of the first collection of object representations
    the device includes learning a user's knowledge, style, or 45 include at least one object representation or at least one
    methodology of operating the device in a circumstance .           object property of the first collection of object representa
       In certain embodiments, the learning the first collection of tions . In further embodiments, the anticipating the first one
    object representations correlated with the first one or more or more instruction sets for operating the device correlated
    instruction sets for operating the device includes storing the with the first collection of object representations based on at
    first collection of object representations correlated with the 50 least a partial match between the new collection of object
    first one or more instruction sets for operating the device into representations and the first collection of object representa
    the memory unit, the first collection of object representa- tions includes comparing at least one object representation
    tions correlated with the first one or more instruction sets for from the new collection of object representations with at
    operating the device being part of a plurality of collections least one object representation from the first collection of
    of object representations correlated with one or more 55 object representations. In further embodiments, the compar
    instruction sets for operating the device stored in the ing at least one object representation from the new collection
    memory unit . In further embodiments, the plurality of col- of object representations with at least one object represen
    lections of object representations correlated with one or tation from the first collection of object representations
    more instruction sets for operating the device include a includes comparing at least one object property of the at
    neural network , a graph , a collection of sequences, a 60 least one object representation from the new collection of
    sequence, a collection of knowledge cells , a knowledgebase , object representations with at least one object property of the
    a knowledge structure, or a data structure . In further embodi- at least one object representation from the first collection of
    ments, the plurality of collections of object representations object representations.
    correlated with one or more instruction sets for operating the       In certain embodiments, the anticipating the first one or
    device are organized into a neural network , a graph, a 65 more instruction sets for operating the device correlated with
    collection of sequences, a sequence , a collection of knowl- the first collection of object representations based on at least
    edge cells , a knowledgebase, a knowledge structure, or a          a partial match between the new collection of object repre
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 184 of 2562 PageID #: 13055


                                                      US 11,238,344 B1
                                 9                                                                 10
    sentations and the first collection of object representations representations and at least one object representation from
    includes determining that there is at least a partial match the first collection of object representations. The determin
    between the new collection of object representations and the ing that there is at least a partial match between at least one
    first collection of object representations. In further embodi- object representation from the new collection of object
    ments, the determining that there is at least a partial match 5 representations and at least one object representation from
    between the new collection of object representations and the the first collection of object representations includes deter
    first collection of object representations includes determin- mining that there is at least a partial match between at least
    ing that there is at least a partial match between one or more one object property of the at least one object representation
    portions of the new collection of object representations and from the new collection of object representations and at least
    one or more portions of the first collection of object repre- 10 one object property of the at least one object representation
    sentations . In further embodiments, the determining that from the first collection of object representations.
    there is at least a partial match between the new collection       In certain embodiments, the causing the processor circuit
    of object representations and the first collection of object to execute the first one or more instruction sets for operating
    representations includes determining that a similarity the device correlated with the first collection of object
    between at least one portion of the new collection of object 15 representations includes causing the processor circuit to
    representations and at least one portion of the first collection execute the first one or more instruction sets for operating
    of object representations exceeds a similarity threshold. In the device correlated with the first collection of object
    further embodiments, the determining that there is at least a representations instead of or prior to an instruction set that
    partial match between the new collection of object repre-         would have been executed next. In further embodiments, the
    sentations and the first collection of object representations 20 causing the processor circuit to execute the first one or more
    includes determining a substantial similarity between at least instruction sets for operating the device correlated with the
    one portion of the new collection of object representations first collection of object representations includes modifying
    and at least one portion of the first collection of object        one or more instruction sets of the processor circuit . In
    representations. The substantial similarity may be achieved further embodiments, the causing the processor circuit to
    when aa similarity between the at least one portion of the new 25 execute the first one or more instruction sets for operating
    collection of object representations and the at least one the device correlated with the first collection of object
    portion of the first collection of object representations representations includes modifying a register or an element
    exceeds a similarity threshold . The substantial similarity of the processor circuit . In further embodiments, the causing
    may be achieved when a number or a percentage of match- the processor circuit to execute the first one or more instruc
    ing or partially matching portions of the new collection of 30 tion sets for operating the device correlated with the first
    object representations and portions of the first collection of collection of object representations includes inserting the
    object representations exceeds a threshold number or thresh- first one or more instruction sets for operating the device
    old percentage. In further embodiments , the determining that correlated with the first collection of object representations
    there is at least a partial match between the new collection into a register or an element of the processor circuit . In
    of object representations and the first collection of object 35 further embodiments, the causing the processor circuit to
    representations includes determining that a number or a execute the first one or more instruction sets for operating
    percentage of matching or partially matching object repre- the device correlated with the first collection of object
    sentations from the new collection of object representations representations includes redirecting the processor circuit to
    and from the first collection of object representations the first one or more instruction sets for operating the device
    exceeds a threshold number or threshold percentage. The 40 correlated with the first collection of object representations.
    matching or partially matching object representations from In further embodiments, the causing the processor circuit to
    the new collection of object representations and from the execute the first one or more instruction sets for operating
    first collection of object representations may be determined the device correlated with the first collection of object
    factoring in at least one of: a type of an object representation, representations includes redirecting the processor circuit to
    an importance of an object representation, aa threshold for a 45 one or more alternate instruction sets, the alternate instruc
    similarity in an object representation , or a threshold for a tion sets comprising the first one or more instruction sets for
    difference in an object representation. In further embodi- operating the device correlated with the first collection of
    ments, the determining that there is at least a partial match object representations. In further embodiments, the causing
    between the new collection of object representations and the the processor circuit to execute the first one or more instruc
    first collection of object representations includes determin- 50 tion sets for operating the device correlated with the first
    ing that a number or a percentage of matching or partially collection of object representations includes transmitting, to
    matching object properties from the new collection of object the processor circuit for execution , the first one or more
    representations and from the first collection of object rep- instruction sets for operating the device correlated with the
    resentations exceeds a threshold number or threshold per- first collection of object representations. In further embodi
    centage. The matching or partially matching object proper- 55 ments, the executing the first one or more instruction sets for
    ties from the new collection of object representations and operating the device correlated with the first collection of
    from the first collection of object representations may be object representations includes issuing an interrupt to the
    determined factoring in at least one of: an association of an processor circuit and executing the first one or more instruc
    object property with an object representation , a category of tion sets for operating the device correlated with the first
    an object property, an importance of an object property, a 60 collection of object representations following the interrupt.
    threshold for a similarity in an object property, or a threshold In further embodiments, the causing the processor circuit to
    for a difference in an object property . In further embodi- execute the first one or more instruction sets for operating
    ments, the determining that there is at least a partial match the device correlated with the first collection of object
    between the new collection of object representations and the representations includes modifying an element that is part
    first collection of object representations includes determin- 65 of, operating on , or coupled to the processor circuit .
    ing that there is at least a partial match between at least one     In some embodiments, the processor circuit includes a
    object representation from the new collection of object logic circuit , and wherein the causing the processor circuit
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 185 of 2562 PageID #: 13056


                                                        US 11,238,344 B1
                                 11                                                                  12
    to execute the first one or more instruction sets for operating correlated with the first collection of object representations
    the device correlated with the first collection of object includes modifying one or more instruction sets of an
    representations includes causing the logic circuit to execute application, the application running on the processor circuit .
    the first one or more instruction sets for operating the device In further embodiments, the causing the processor circuit to
    correlated with the first collection of object representations. 5 execute the first one or more instruction sets for operating
    In further embodiments , the logic circuit includes a micro- the device correlated with the first collection of object
    controller. In further embodiments, the causing the logic representations includes modifying a source code , a byte
    circuit to execute the first one or more instruction sets for code , an intermediate code , a compiled code , an interpreted
    operating the device correlated with the first collection of code , a translated code, a runtime code, an assembly code ,
    object representations includes modifying an element of the 10 or a machine code . In further embodiments, the causing the
    logic circuit. In further embodiments, the causing the logic processor circuit to execute the first one or more instruction
    circuit to execute the first one or more instruction sets for sets for operating the device correlated with the first collec
    operating the device correlated with the first collection of tion of object representations includes modifying at least one
    object representations includes inserting the first one or of: the memory unit , a register of the processor circuit, a
    more instruction sets for operating the device correlated with 15 storage, or a repository where instruction sets are stored or
    the first collection of object representations into an element used . In further embodiments , the causing the processor
    of the logic circuit . In further embodiments, the causing the circuit to execute the first one or more instruction sets for
    logic circuit to execute the first one or more instruction sets operating the device correlated with the first collection of
    for operating the device correlated with the first collection of object representations includes modifying one or more
    object representations includes redirecting the logic circuit 20 instruction sets for operating an application or an object of
    to the first one or more instruction sets for operating the the application , the application running on the processor
    device correlated with the first collection of object repre- circuit. In further embodiments, the causing the processor
    sentations. In further embodiments, the causing the logic          circuit to execute the first one or more instruction sets for
    circuit to execute the first one or more instruction sets for      operating the device correlated with the first collection of
    operating the device correlated with the first collection of 25 object representations includes modifying at least one of: an
    object representations includes replacing inputs into the element of the processor circuit, an element of the device, a
    logic circuit with the first one or more instruction sets for virtual machine , a runtime engine, an operating system , an
    operating the device correlated with the first collection of execution stack , a program counter, or a user input. In
    object representations. In further embodiments, the causing further embodiments, the causing the processor circuit to
    the logic circuit to execute the first one or more instruction 30 execute the first one or more instruction sets for operating
    sets for operating the device correlated with the first collec- the device correlated with the first collection of object
    tion of object representations includes replacing outputs representations includes modifying one or more instruction
    from the logic circuit with the first one or more instruction sets at a source code write time , a compile time , an inter
    sets for operating the device correlated with the first collec- pretation time , a translation time , a linking time , a loading
    tion of object representations.                                  35 time , or a runtime. In further embodiments, the causing the
       In certain embodiments, the causing the processor circuit processor circuit to execute the first one or more instruction
    to execute the first one or more instruction sets for operating sets for operating the device correlated with the first collec
    the device correlated with the first collection of object tion of object representations includes modifying one or
    representations includes causing an application for operating more code segments, lines of code, statements, instructions,
    the device to execute the first one or more instruction sets for 40 functions, routines, subroutines, or basic blocks . In further
    operating the device correlated with the first collection of embodiments, the causing the processor circuit to execute
    object representations, the application running on the pro- the first one or more instruction sets for operating the device
    cessor circuit.                                                     correlated with the first collection of object representations
       In some embodiments, the system further comprises: an includes a manual, an automatic, a dynamic, or a just in time
    application including instruction sets for operating the 45 (JIT ) instrumentation of an application , the application run
    device , the application running on the processor circuit , ning on the processor circuit . In further embodiments, the
    wherein the causing the processor circuit to execute the first causing the processor circuit to execute the first one or more
    one or more instruction sets for operating the device corre- instruction sets for operating the device correlated with the
    lated with the first collection of object representations first collection of object representations includes utilizing
    includes modifying the application .                             50 one or more of a .NET tool , a .NET application program
       In further embodiments, the causing the processor circuit ming interface (API ) , a Java tool , a Java API , an operating
    to execute the first one or more instruction sets for operating system tool , or an independent tool for modifying instruc
    the device correlated with the first collection of object          tion sets . In further embodiments , the causing the processor
    representations includes redirecting an application to the         circuit to execute the first one or more instruction sets for
    first one or more instruction sets for operating the device 55 operating the device correlated with the first collection of
    correlated with the first collection of object representations, object representations includes utilizing at least one of: a
    the application running on the processor circuit . In further dynamic, an interpreted , or a scripting programming lan
    embodiments, the causing the processor circuit to execute guage . In further embodiments, the causing the processor
    the first one or more instruction sets for operating the device    circuit to execute the first one or more instruction sets for
    correlated with the first collection of object representations 60 operating the device correlated with the first collection of
    includes redirecting an application to one or more alternate object representations includes utilizing at least one of: a
    instruction sets, the application running on the processor dynamic code , a dynamic class loading , or a reflection . In
    circuit , the alternate instruction sets comprising the first one further embodiments, the causing the processor circuit to
    or more instruction sets for operating the device correlated execute the first one or more instruction sets for operating
    with the first collection of object representations. In further 65 the device correlated with the first collection of object
    embodiments, the causing the processor circuit to execute representations includes utilizing an assembly language. In
    the first one or more instruction sets for operating the device further embodiments, the causing the processor circuit to
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 186 of 2562 PageID #: 13057


                                                        US 11,238,344 B1
                                  13                                                                  14
    execute the first one or more instruction sets for operating           In some embodiments, the artificial intelligence unit is
    the device correlated with the first collection of object           further configured to : receive at least one extra information .
    representations includes utilizing at least one of: a metapro-      In further embodiments, the at least one extra information
    gramming, a self-modifying code , or an instruction set include one or more of: a time information, a location
    modification tool . In further embodiments, the causing the 5 information , a computed information , or a contextual infor
    processor circuit to execute the first one or more instruction mation . In further embodiments, the at least one extra
    sets for operating the device correlated with the first collec- information include one or more of: an information on an
    tion of object representations includes utilizing at least one object, an information on an object representation, an infor
    of: just in time ( JIT ) compiling, JIT interpretation , JIT 10 mation on a collection of object representations, an infor
    translation , dynamic recompiling , or binary rewriting. In mation on a device's circumstance, an information on an
    further embodiments, the causing the processor circuit to instruction set , an information on an application, an infor
    execute the first one or more instruction sets for operating mation on the processor circuit , an information on the
    the device correlated with the first collection of object device , or an information on an user. In further embodi
    representations includes utilizing at least one of
                                                     : a dynamic 15 ments,, the artificial intelligence unit is further configured to :
    expression creation , a dynamic expression execution, a learn the first collection of object representations correlated
    dynamic function creation, or a dynamic function execution . with the at least one extra information . The learning the first
    In further embodiments , the causing the processor circuit to collection of object representations correlated with at least
    execute the first one or more instruction sets for operating one extra information may include correlating the first
    the device correlated with the first collection of object 20 collection of object representations with the at least one
    representations includes adding or inserting additional code extra information . The learning the first collection of object
    into aa code of an application, the application running on the representations correlated with at least one extra information
    processor circuit. In further embodiments, the causing the may include storing the first collection of object represen
    processor circuit to execute the first one or more instruction tations correlated with the at least one extra information into
    sets for operating the device correlated with the first collec- 25 the memory unit . In further embodiments, the anticipating
    tion of object representations includes at least one of: the first one or more instruction sets for operating the device
    modifying, removing, rewriting, or overwriting a code of an correlated with the first collection of object representations
    application, the application running on the processor circuit . based on at least a partial match between the new collection
    In further embodiments, the causing the processor circuit to of object representations and the first collection of object
    execute the first one or more instruction sets for operating 30 representations includes anticipating the first one or more
    the device correlated with the first collection of object           instruction sets for operating the device correlated with the
    representations includes at least one of: branching, redirect-     first collection of object representations based on at least a
    ing , extending, or hot swapping a code of an application , the    partial match between an extra information correlated with
    application running on the processor circuit . The branching the new collection of object representations and an extra
    ora redirecting the code may include inserting at least one of: 35 information correlated with the first collection of object
    a branch , a jump, or a means for redirecting an execution . In representations. The anticipating the first one or more
    further embodiments , the executing the first one or more instruction sets for operating the device correlated with the
    instruction sets for operating the device correlated with the first collection of object representations based on at least a
    first collection of object representations includes implement- partial match between an extra information correlated with
    ing a user's knowledge, style, or methodology of operating 40 the new collection of object representations and an extra
    the device in a circumstance .                                      information correlated with the first collection of object
       In certain embodiments, the system further comprises: an representations may include comparing an extra information
    interface configured to cause execution of instruction sets , correlated with the new collection of object representations
    wherein the executing the first one or more instruction sets and an extra information correlated with the first collection
    for operating the device correlated with the first collection of 45 of object representations. The anticipating the first one or
    object representations is caused by the interface . The inter- more instruction sets for operating the device correlated with
    face may include aa modification interface .                        the first collection of object representations based on at least
       In some embodiments, the one or more operations defined a partial match between an extra information correlated with
    by the first one or more instruction sets for operating the the new collection of object representations and an extra
    device correlated with the first collection of object repre- 50 information correlated with the first collection of object
    sentations include one or more operations with or by a representations may include determining that a similarity
    computing enabled device . In further embodiments, the between an extra information correlated with the new col
    performing the one or more operations defined by the first lection of object representations and an extra information
    one or more instruction sets for operating the device corre- correlated with the first collection of object representations
    lated with the first collection of object representations 55 exceeds a similarity threshold .
    includes implementing a user's knowledge, style , or meth-             In certain embodiments, the system further comprises : a
    odology of operating the device in a circumstance .                 user interface, wherein the artificial intelligence unit is
       In certain embodiments , the system further comprising: further configured to : cause the user interface to present a
    an application running on the processor circuit .                   user with an option to execute the first one or more instruc
       In some embodiments, the instruction sets for operating 60 tion sets for operating the device correlated with the first
    the device are part of an application for operating the device , collection of object representations .
    the application running on the processor circuit .                     In some embodiments, the system further comprises : a
       In certain embodiments, the system of further comprises: user interface, wherein the artificial intelligence unit is
    an application for operating the device , the application further configured to : receive, via the user interface, a user's
    running on the processor circuit . The application for oper- 65 selection to execute the first one or more instruction sets for
    ating the device may include the instruction sets for oper- operating the device correlated with the first collection of
    ating the device.                                                   object representations.
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 187 of 2562 PageID #: 13058


                                                      US 11,238,344 B1
                                15                                                                  16
       In certain embodiments , the artificial intelligence unit is object representations correlated with the first one or more
    further configured to : rate the executed first one or more instruction sets for operating the device and the second
    instruction sets for operating the device correlated with the collection of object representations correlated with the sec
    first collection of object representations. The rating the ond one or more instruction sets for operating the device .
    executed first one or more instruction sets for operating the 5 The connection may include or be associated with at least
    device correlated with the first collection of object repre- one of: an occurrence count, a weight, a parameter, or a data .
    sentations may include causing a user interface to display In further embodiments, the learning the first collection of
    the executed first one or more instruction sets for operating object representations correlated with the first one or more
    the device correlated with the first collection of object instruction sets for operating the device and the learning the
    representations along with one or more rating values as 10 second collection of object representations correlated with
    options to be selected by a user. The rating the executed first the second one or more instruction sets for operating the
    one or more instruction sets for operating the device corre- device include updating a connection between the first
    lated with the first collection of object representations may collection of object representations correlated with the first
    include rating the executed first one or more instruction sets one or more instruction sets for operating the device and the
    for operating the device correlated with the first collection of 15 second collection of object representations correlated with
    object representations without a user input.                        the second one or more instruction sets for operating the
       In some embodiments , the system further comprises : a device . The updating the connection between the first col
    user interface , wherein the artificial intelligence unit is lection of object representations correlated with the first one
    further configured to : cause the user interface to present a or more instruction sets for operating the device and the
    user with an option to cancel the execution of the executed 20 second collection of object representations correlated with
    first one or more instruction sets for operating the device the second one or more instruction sets for operating the
    correlated with the first collection of object representations. device may include updating at least one of: an occurrence
    In further embodiments, the canceling the execution of the count , a weight, a parameter, or a data included in or
    executed first one or more instruction sets for operating the associated with the connection . In further embodiments, the
    device correlated with the first collection of object repre- 25 learning the first collection of object representations corre
    sentations includes restoring the processor circuit or the lated with the first one or more instruction sets for operating
    device to a prior state . The restoring the processor circuit or the device includes storing the first collection of object
    the device to a prior state may include saving the state of the representations correlated with the first one or more instruc
    processor circuit or the device prior to executing the first one tion sets for operating the device into a first node of a
    or more instruction sets for operating the device correlated 30 knowledgebase , and wherein the learning the second col
    with the first collection of object representations.               lection of object representations correlated with the second
       In certain embodiments, the system further comprises: an one or more instruction sets for operating the device
    input device configured to receive a user's operating direc- includes storing the second collection of object representa
    tions , the user's operating directions for instructing the tions correlated with the second one or more instruction sets
    processor circuit on how to operate the device .                35 for operating the device into a second node of the knowl
       In some embodiments, the autonomous device operating edgebase. The knowledgebase may include a neural net
    includes a partially or a fully autonomous device operating. work , a graph, a collection of sequences , a sequence , a
    The partially autonomous device operating may include collection of knowledge cells , a knowledge structure , or a
    executing the first one or more instruction sets for operating data structure . The knowledgebase may be stored in the
    the device correlated with the first collection of object 40 memory unit. The learning the first collection of object
    representations responsive to a user confirmation . In further representations correlated with the first one or more instruc
    embodiments, the fully autonomous device operating may tion sets for operating the device and the learning the second
    include executing the first one or more instruction sets for collection of object representations correlated with the sec
    operating the device correlated with the first collection of ond one or more instruction sets for operating the device
    object representations without a user confirmation .           45 include creating a connection between the first node and the
       In certain embodiments , the artificial intelligence unit is second node . The learning the first collection of object
    further configured to : receive a second collection of object representations correlated with the first one or more instruc
    representations, the second collection of object representa- tion sets for operating the device and the learning the second
    tions including one or more representations of objects collection of object representations correlated with the sec
    detected by the sensor ; receive a second one or more 50 ond one or more instruction sets for operating the device
    instruction sets for operating the device ; and learn the include updating a connection between the first node and the
    second collection of object representations correlated with second node . In further embodiments, the first collection of
    the second one or more instruction sets for operating the object representations correlated with the first one or more
    device . In further embodiments, the second collection of         instruction sets for operating the device is stored into a first
    object representations includes one or more representations 55 node of a neural network and the second collection of object
    of objects detected by the sensor at a time . In further          representations correlated with the second one or more
    embodiments, the second collection of object representa-          instruction sets for operating the device is stored into a
    tions includes a stream of collections of object representa-      second node of the neural network . The first node and the
    tions . In further embodiments, the second collection of         second node may be connected by a connection . The first
    object representations includes or is associated with a time 60 node may be part of a first layer of the neural network and
    stamp , an order, or a time related information . In further the second node may be part of a second layer of the neural
    embodiments, the learning the first collection of object network . In further embodiments, the first collection of
    representations correlated with the first one or more instruc- object representations correlated with the first one or more
    tion sets for operating the device and the learning the second instruction sets for operating the device is stored into a first
    collection of object representations correlated with the sec- 65 node of a graph and the second collection of object repre
    ond one or more instruction sets for operating the device sentations correlated with the second one or more instruction
    include creating a connection between the first collection of sets for operating the device is stored into a second node of
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 188 of 2562 PageID #: 13059


                                                         US 11,238,344 B1
                                  17                                                                 18
    the graph . The first node and the second node may be include: ( e) anticipating the first one or more instruction sets
    connected by a connection . In further embodiments, the first for operating the device correlated with the first collection of
    collection of object representations correlated with the first object representations based on at least a partial match
    one or more instruction sets for operating the device is stored between the new collection of object representations and the
    into aa first node of a sequence and the second collection of 5 first collection of object representations, the anticipating of
    object representations correlated with the second one or (e ) performed by the processor circuit . The method may
    more instruction sets for operating the device is stored into further include: ( f) executing the first one or more instruc
    a second node of the sequence .                                   tion sets for operating the device correlated with the first
       In some aspects , the disclosure relates to a non - transitory collection of object representations, the executing of (f)
    computer storage medium having a computer program 10 performed in response to the anticipating of (e ) . The method
    stored thereon , the program including instructions that when       may further include : (g ) performing, by the device , one or
    executed by one or more processor circuits cause the one or         more operations defined by the first one or more instruction
    more processor circuits to perform operations comprising:           sets for operating the device correlated with the first collec
    receiving a first collection of object representations, the first   tion of object representations, the one or more operations by
    collection of object representations including one or more 15 the device performed in response to the executing of (f).
    representations of objects detected by a sensor. The opera-        In certain embodiments, the receiving of (b ) includes
    tions may further include: receiving a first one or more receiving the first one or more instruction sets for operating
    instruction sets for operating a device . The operations may the device from the processor circuit or from another pro
    further include : learning the first collection of object repre- cessor circuit . In further embodiments, the executing of ( f)
    sentations correlated with the first one or more instruction 20 is performed by the processor circuit or by another processor
    sets for operating the device . The operations may further          circuit.
    include : receiving a new collection of object representations,       The operations or steps of the non - transitory computer
    the new collection of object representations including one or storage medium and / or the method may be performed by
    more representations of objects detected by the sensor . The any of the elements of the above described systems as
    operations may further include: anticipating the first one or 25 applicable . The non -transitory computer storage medium
    more instruction sets for operating the device correlated with and / or the method may include any of the operations, steps ,
    the first collection of object representations based on at least and embodiments of the above described systems , non
    a partial match between the new collection of object repre- transitory computer storage media , and / or methods as appli
    sentations and the first collection of object representations. cable as well as the following embodiments.
    The operations may further include : causing an execution of 30 In some embodiments , the first one or more instruction
    the first one or more instruction sets for operating the device sets for operating the device are executed by a processor
    correlated with the first collection of object representations, circuit. In further embodiments, the first one or more instruc
    the causing performed in response to the anticipating the tion sets for operating the device are part of an application
    first one or more instruction sets for operating the device for operating the device . In further embodiments , the first
    correlated with the first collection of object representations 35 one or more instruction sets for operating the device include
    based on at least a partial match between the new collection one or more inputs into or one or more outputs from a
    of object representations and the first collection of object processor circuit . In further embodiments, the first one or
    representations, wherein the device performs one or more more instruction sets for operating the device include values
    operations defined by the first one or more instruction sets or states of one or more registers or elements of a processor
    for operating the device correlated with the first collection of 40 circuit . In further embodiments, the first one or more instruc
    object representations, the one or more operations by the tion sets for operating the device include one or more inputs
    device performed in response to the execution .                     into a logic circuit. In further embodiments, the first one or
       In certain embodiments, the receiving the first one or more instruction sets for operating the device include one or
    more instruction sets for operating the device includes more outputs from a logic circuit. In further embodiments,
    receiving the first one or more instruction sets for operating 45 the first one or more instruction sets for operating the device
    the device from the one or more processor circuits or from include one or more instruction sets for operating an appli
    another one or more processor circuits . In further embodi- cation or an object of the application .
    ments, the execution of the first one or more instruction sets         In certain embodiments, the receiving the first one or
    for operating the device correlated with the first collection of more instruction sets for operating the device includes
    object representations is performed by the one or more 50 receiving the first one or more instruction sets for operating
    processor circuits or by another one or more processor the device from a processor circuit. In further embodiments ,
    circuits .                                                          the receiving the first one or more instruction sets for
       In some aspects , the disclosure relates to a method com- operating the device includes receiving the first one or more
    prising: (a ) receiving a first collection of object representa- instruction sets for operating the device as they are executed
    tions by a processor circuit , the first collection of object 55 by a processor circuit . In further embodiments, the receiving
    representations including one or more representations of the first one or more instruction sets for operating the device
    objects detected by a sensor. The method may further includes receiving the first one or more instruction sets for
    include : (b ) receiving a first one or more instruction sets for operating the device from a register or an element of a
    operating a device by the processor circuit . The method may processor circuit . In further embodiments, the receiving the
    further include: (c ) learning the first collection of object 60 first one or more instruction sets for operating the device
    representations correlated with the first one or more instruc- includes receiving the first one or more instruction sets for
    tion sets for operating the device, the learning of (c ) per- operating the device from an element that is part of, oper
    formed by the processor circuit. The method may further ating on, or coupled to a processor circuit . In further
    include : (d) receiving a new collection of object represen- embodiments, the receiving the first one or more instruction
    tations by the processor circuit, the new collection of object 65 sets for operating the device includes receiving the first one
    representations including one or more representations of or more instruction sets for operating the device from at least
    objects detected by the sensor. The method may further one of: the memory unit, the device, a virtual machine , a
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 189 of 2562 PageID #: 13060


                                                        US 11,238,344 B1
                                  19                                                                   20
    runtime engine, a hard drive, a storage device, a peripheral operating the device being part of a plurality of collections
    device, a network connected device, or a user. In further of object representations correlated with one or more
    embodiments, the receiving the first one or more instruction instruction sets for operating the device stored in the
    sets for operating the device includes receiving the first one memory unit.
    or more instruction sets for operating the device from a 5 In certain embodiments , the executing the first one or
    plurality of processor circuits, applications, memory units , more instruction sets for operating the device correlated with
    devices, virtual machines , runtime engines, hard drives, the first collection of object representations includes execut
    storage devices , peripheral devices, network connected ing the first one or more instruction sets for operating the
    devices, or users .                                               device correlated with the first collection of object repre
       In some embodiments, the receiving the first one or more 10 sentations instead of or prior to an instruction set that would
                              2

    instruction sets for operating the device includes receiving have been executed next. In further embodiments, the
    the first one or more instruction sets for operating the device executing the first one or more instruction sets for operating
    from a logic circuit . In further embodiments, the logic circuit the device correlated with the first collection of object
    includes a microcontroller. In further embodiments, the representations includes modifying one or more instruction
    receiving the first one or more instruction sets for operating 15 sets of a processor circuit . In further embodiments, the
    the device from the logic circuit includes receiving the first executing the first one or more instruction sets for operating
    one or more instruction sets for operating the device from an the device correlated with the first collection of object
    element of the logic circuit. In further embodiments , the representations includes modifying a register or an element
    receiving the first one or more instruction sets for operating of a processor circuit . In further embodiments, the executing
    the device from the logic circuit includes receiving one or 20 the first one or more instruction sets for operating the device
    more inputs into the logic circuit . In further embodiments, correlated with the first collection of object representations
    the receiving the first one or more instruction sets for includes inserting the first one or more instruction sets for
    operating the device from the logic circuit includes receiving operating the device correlated with the first collection of
    one or more outputs from the logic circuit.                       object representations into a register or an element of a
       In certain embodiments, the receiving the first one or 25 processor circuit . In further embodiments, the executing the
    more instruction sets for operating the device includes first one or more instruction sets for operating the device
    receiving the first one or more instruction sets for operating correlated with the first collection of object representations
    the device from an application for operating the device. In includes redirecting a processor circuit to the first one or
    further embodiments, the receiving the first one or more more instruction sets for operating the device correlated with
    instruction sets for operating the device includes receiving 30 the first collection of object representations. In further
    the first one or more instruction sets for operating the device embodiments, the executing the first one or more instruction
    from an application, the application including instruction sets for operating the device correlated with the first collec
    sets for operating the device . In further embod ents , the tion of object representations includes redirecting a proces
    receiving the first one or more instruction sets for operating sor circuit to one or more alternate instruction sets , the
    the device includes at least one of: tracing, profiling, or 35 alternate instruction sets comprising
                                                                                                 ?          the first one or more
    instrumentation of an element that is part of, operating on ,        instruction sets for operating the device correlated with the
    or coupled to a processor circuit. In further embodiments ,          first collection of object representations. In further embodi
    the receiving the first one or more instruction sets for             ments, the executing the first one or more instruction sets for
    operating the device includes at least one of: tracing, pro-         operating the device correlated with the first collection of
    filing, or instrumentation of a register of a processor circuit , 40 object representations includes transmitting, to a processor
    the memory unit, a storage, or a repository where the first circuit for execution , the first one or more instruction sets for
    one or more instruction sets for operating the device are operating the device correlated with the first collection of
    stored . In further embodiments, the receiving the first one or object representations. In further embodiments, the execut
    more instruction sets for operating the device includes at ing the first one or more instruction sets for operating the
    least one of: tracing, profiling, or instrumentation of a 45 device correlated with the first collection of object repre
    processor circuit, the device, a virtual machine , a runtime sentations includes issuing an interrupt to a processor circuit
    engine, an operating system , an execution stack, a program and executing the first one or more instruction sets for
    counter, or a processing element. In further embodiments , operating the device correlated with the first collection of
    the receiving the first one or more instruction sets for object representations following the interrupt . In further
    operating the device includes at least one of: tracing, pro- 50 embodiments, the executing the first one or more instruction
    filing, or instrumentation of a processor circuit or tracing, sets for operating the device correlated with the first collec
    profiling, or instrumentation of a component of a processor tion of object representations includes modifying an element
    circuit . In further embodiments , the receiving the first one or that is part of, operating on , or coupled to a processor circuit .
    more instruction sets for operating the device includes at             In some embodiments, the executing the first one or more
    least one of: tracing, profiling, or instrumentation of an 55 instruction sets for operating the device correlated with the
    application or an object of the application. In further first collection of object representations includes executing ,
    embodiments, the receiving the first one or more instruction by a logic circuit, the first one or more instruction sets for
                  >

    sets for operating the device includes receiving the first one operating the device correlated with the first collection of
    or more instruction sets for operating the device by an object representations. In further embodiments, the logic
    interface . The interface may include an acquisition interface . 60 circuit includes a microcontroller. In further embodiments,
       In some embodiments, the learning the first collection of the executing, by the logic circuit, the first one or more
    object representations correlated with the first one or more instruction sets for operating the device correlated with the
    instruction sets for operating the device includes storing the first collection of object representations includes modifying
    first collection of object representations correlated with the an element of the logic circuit. In further embodiments, the
    first one or more instruction sets for operating the device into 65 executing , by the logic circuit, the first one or more instruc
    a memory unit, the first collection of object representations tion sets for operating the device correlated with the first
    correlated with the first one or more instruction sets for           collection of object representations includes inserting the
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 190 of 2562 PageID #: 13061


                                                        US 11,238,344 B1
                                  21                                                                   22
    first one or more instruction sets for operating the device          device, a virtual machine , a runtime engine, an operating
    correlated with the first collection of object representations       system , an execution stack , a program counter, or a user
    into an element of the logic circuit. In further embodiments,        input. In further embodiments, the executing the first one or
                                                                                                         >

    the executing, by the logic circuit, the first one or more           more instruction sets for operating the device correlated with
    instruction sets for operating the device correlated with the 5 the first collection of object representations includes modi
    first collection of object representations includes redirecting fying one or more instruction sets at a source code write
    the logic circuit to the first one or more instruction sets for time , a compile time , an interpretation time , a translation
    operating the device correlated with the first collection of time , a linking time , a loading time , or a runtime. In further
    object representations. In further embodiments, the execut- embodiments, the executing the first one or more instruction
    ing , by the logic circuit , the first one or more instruction sets 10 sets for operating the device correlated with the first collec
    for operating the device correlated with the first collection of tion of object representations includes modifying one or
    object representations includes replacing inputs into the more code segments, lines of code, statements , instructions,
    logic circuit with the first one or more instruction sets for       functions, routines, subroutines, or basic blocks . In further
    operating the device correlated with the first collection of        embodiments, the executing the first one or more instruction
    object representations. In further embodiments, the execut- 15 sets for operating the device correlated with the first collec
    ing , by the logic circuit , the first one or more instruction sets tion of object representations includes a manual, an auto
    for operating the device correlated with the first collection of matic , a dynamic, or a just in time (JIT ) instrumentation of
    object representations includes replacing outputs from the an application . In further embodiments, the executing the
    logic circuit with the first one or more instruction sets for first one or more instruction sets for operating the device
    operating the device correlated with the first collection of 20 correlated with the first collection of object representations
    object representations.                                             includes utilizing one or more of a .NET tool , a .NET
       In certain embodiments , the executing the first one or application programming interface ( API), a Java tool , a Java
    more instruction sets for operating the device correlated with API , an operating system tool , or an independent tool for
    the first collection of object representations includes execut- modifying instruction sets . In further embodiments, the
    ing , by an application for operating the device , the first one 25 executing the first one or more instruction sets for operating
    or more instruction sets for operating the device correlated the device correlated with the first collection of object
    with the first collection of object representations. In further representations includes utilizing at least one of: a dynamic ,
    embodiments , the executing the first one or more instruction an interpreted, or a scripting programming language. In
    sets for operating the device correlated with the first collec- further embodiments, the executing the first one or more
    tion of object representations includes modifying an appli- 30 instruction sets for operating the device correlated with the
    cation , the application including instruction sets for operat- first collection of object representations includes utilizing at
    ing the device . In further embodiments, the executing the least one of: a dynamic code , a dynamic class loading, or a
    first one or more instruction sets for operating the device reflection . In further embodiments, the executing the first
    correlated with the first collection of object representations one or more instruction sets for operating the device corre
    includes redirecting an application to the first one or more 35 lated with the first collection of object representations
    instruction sets for operating the device correlated with the includes utilizing an assembly language. In further embodi
    first collection of object representations. In further embodi- ments, the executing the first one or more instruction sets for
    ments, the executing the first one or more instruction sets for operating the device correlated with the first collection of
    operating the device correlated with the first collection of object representations includes utilizing at least one of: a
    object representations includes redirecting an application to 40 metaprogramming, a self-modifying code, or an instruction
    one or more alternate instruction sets, the alternate instruc- set modification tool . In further embodiments, the executing
    tion sets comprising the first one or more instruction sets for the first one or more instruction sets for operating the device
    operating the device correlated with the first collection of correlated with the first collection of object representations
    object representations. In further embodiments, the execut- includes utilizing at least one of: just in time ( JIT ) compil
    ing the first one or more instruction sets for operating the 45 ing , JIT interpretation , JIT translation , dynamic recompiling,
    device correlated with the first collection of object repre- or binary rewriting. In further embodiments, the executing
    sentations includes modifying one or more instruction sets the first one or more instruction sets for operating the device
    of an application. In further embodiments , the executing the correlated with the first collection of object representations
    first one or more instruction sets for operating the device includes utilizing at least one of: a dynamic expression
    correlated with the first collection of object representations 50 creation , a dynamic expression execution, a dynamic func
    includes modifying a source code , a bytecode , an interme- tion creation, or a dynamic function execution . In further
    diate code , a compiled code , an interpreted code , a translated embodiments , the executing the first one or more instruction
    code , a runtime code , an assembly code, or a machine code . sets for operating the device correlated with the first collec
    In further embodiments, the executing the first one or more tion of object representations includes adding or inserting
    instruction sets for operating the device correlated with the 55 additional code into a code of an application. In further
    first collection of object representations includes modifying embodiments, the executing the first one or more instruction
    at least one of: the memory unit, a register of a processor sets for operating the device correlated with the first collec
    circuit , a storage, or a repository where instruction sets are tion of object representations includes at least one of:
    stored or used . In further embodiments, the executing the modifying, removing , rewriting, or overwriting a code of an
    first one or more instruction sets for operating the device 60 application . In further embodiments, the executing the first
    correlated with the first collection of object representations one or more instruction sets for operating the device corre
    includes modifying one or more instruction sets for operat- lated with the first collection of object representations
    ing an application or an object of the application . In further includes at least one of: branching, redirecting, extending, or
    embodiments , the executing the first one or more instruction hot swapping a code of an application . The branching or
    sets for operating the device correlated with the first collec- 65 redirecting the code may include inserting at least one of: a
    tion of object representations includes modifying at least one branch , a jump, or a means for redirecting an execution . In
    of: an element of a processor circuit , an element of the further embodiments , the executing the first one or more
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 191 of 2562 PageID #: 13062


                                                         US 11,238,344 B1
                                  23                                                                   24
    instruction sets for operating the device correlated with the processor circuit of the one or more processor circuits, the
    first collection of object representations includes implement- first collection of object representations correlated with the
    ing a user's knowledge, style, or methodology of operating first one or more instruction sets for operating the device .
    the device in a circumstance. In further embodiments, the The operations may further comprise: receiving, by the first
    executing the first one or more instruction sets for operating 5 processor circuit of the one or more processor circuits , a new
    the device correlated with the first collection of object collection of object representations, the new collection of
    representations includes executing the first one or more object representations including one or more representations
    instruction sets for operating the device correlated with the of objects detected by the sensor. The operations may further
    first collection of object representations via an interface . The comprise: anticipating, by the first processor circuit of the
    interface may include a modification interface .                 10 one or more processor circuits , the first one or more instruc
       In certain embodiments, the operations of the non - tran- tion sets for operating the device correlated with the first
    sitory computer storage medium and / or the method further collection of object representations based on at least a partial
    comprise : receiving at least one extra information . In further match between the new collection of object representations
    embodiments , the operations of the non -transitory computer and the first collection of object representations. The opera
    storage medium and / or the method further comprise: learn- 15 tions may further comprise : causing, by the first processor
    ing the first collection of object representations correlated circuit of the one or more processor circuits , an execution ,
    with the at least one extra information .                           by a second processor circuit of the one or more processor
       In some embodiments, the operations of the non - transi- circuits, of the first one or more instruction sets for operating
    tory computer storage medium and /or the method further the device correlated with the first collection of object
    comprise : presenting, via a user interface , a user with an 20 representations, the causing performed in response to the
    option to execute the first one or more instruction sets for anticipating, by the first processor circuit of the one or more
    operating the device correlated with the first collection of processor circuits, the first one or more instruction sets for
    object representations.                                             operating the device correlated with the first collection of
       In certain embodiments, the operations of the non -tran- object representations based on at least a partial match
    sitory computer storage medium and / or the method further 25 between the new collection of object representations and the
    comprise : receiving, via a user interface, a user's selection first collection of object representations, wherein the device
    to execute the first one or more instruction sets for operating performs one or more operations defined by the first one or
    the device correlated with the first collection of object more instruction sets for operating the device correlated with
    representations.                                                    the first collection of object representations, the one or more
       In some embodiments, the operations of the non - transi- 30 operations by the device performed in response to the
    tory computer storage medium and /or the method further execution .
    comprise : rating the executed first one or more instruction           In some aspects , the disclosure relates to a method com
    sets for operating the device correlated with the first collec- prising: (a ) receiving a first collection of object representa
    tion of object representations.                                     tions by a first processor circuit, the first collection of object
       In certain embodiments, the operations of the non -tran- 35 representations including one or more representations of
    sitory computer storage medium and/ or the method further objects detected by a sensor. The method may further
    comprise : presenting, via a user interface, a user with an comprise: (b ) receiving a first one or more instruction sets
    option to cancel the execution of the executed first one or for operating a device by the first processor circuit. The
    more instruction sets for operating the device correlated with method may further comprise: ( c ) learning the first collec
    the first collection of object representations.                  40 tion of object representations correlated with the first one or
       In some embodiments, the operations of the non -transi- more instruction sets for operating the device, the learning
    tory computer storage medium and /or the method further of ( c ) performed by the first processor circuit. The method
    comprise : receiving, via an input device , a user's operating may further comprise : (d) receiving a new collection of
    directions, the user's operating directions for instructing a object representations by the first processor circuit, the new
    processor circuit on how to operate the device .                 45 collection of object representations including one or more
       In certain embodiments, the operations of the non - tran- representations of objects detected by the sensor. The
    sitory computer storage medium and / or the method further method may further comprise: (e ) anticipating the first one
    comprise : receiving a second collection of object represen- or more instruction sets for operating the device correlated
    tations , the second collection of object representations with the first collection of object representations based on at
    including one or more representations of objects detected by 50 least a partial match between the new collection of object
    the sensor ; receiving a second one or more instruction sets representations and the first collection of object representa
    for operating the device ; and learning the second collection tions , the anticipating of ( e) performed by the first processor
    of object representations correlated with the second one or circuit . The method may further comprise: ( f) executing, by
    more instruction sets for operating the device.                      a second processor circuit , the first one or more instruction
       In some aspects , the disclosure relates to a non - transitory 55 sets for operating the device correlated with the first collec
    computer storage medium having a computer program tion of object representations, the executing of ( f) performed
    stored thereon, the program including instructions that when in response to the anticipating of ( e) . The method may
    executed by one or more processor circuits cause the one or further comprise : ( g) performing, by the device, one or more
    more processor circuits to perform operations comprising : operations defined by the first one or more instruction sets
    receiving, by a first processor circuit of the one or more 60 for operating the device correlated with the first collection of
    processor circuits , a first collection of object representations, object representations, the one or more operations by the
    the first collection of object representations including one or device performed in response to the executing of ( f ).
    more representations of objects detected by a sensor. The               The operations or steps of the non - transitory computer
    operations may further comprise : receiving, by the first storage medium and / or the method may be performed by
    processor circuit of the one or more processor circuits, a first 65 any of the elements of the above described systems as
    one or more instruction sets for operating a device. The applicable . The non - transitory computer storage medium
    operations may further comprise : learning, by the first and / or the method may include any of the operations, steps ,
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 192 of 2562 PageID #: 13063


                                                        US 11,238,344 B1
                                 25                                                                   26
    and embodiments of the above described systems, non-                the plurality of collections of object representations corre
    transitory computer storage media , and / or methods as appli-      lated with one or more instruction sets for operating the
    cable .                                                      device including a first collection of object representations
       In some aspects , the disclosure relates to a system for  correlated with a first one or more instruction sets for
    learning a device's circumstances for autonomous device 5 operating the device . The artificial intelligence unit may be
    operating. The system may be implemented at least in part further configured to : receive a new collection of object
    on one or more computing devices. In some embodiments, representations, the new collection of object representations
    the system comprises: a processor circuit configured to including one or more representations of objects detected by
    execute instruction sets for operating a device . The system the sensor. The artificial intelligence unit may be further
    may further comprise : a memory unit configured to store 10 configured to : anticipate the first one or more instruction sets
    data. The system may further comprise: a sensor configured for operating the device correlated with the first collection of
    to detect objects. The system may further comprise: an object representations based on at least a partial match
    artificial intelligence unit . The artificial intelligence unit between the new collection of object representations and the
    may be configured to : receive a first collection of object first collection of object representations. The artificial intel
    representations, the first collection of object representations 15 ligence unit may be further configured to : cause the proces
    including one or more representations of objects detected by sor circuit to execute the first one or more instruction sets for
    the sensor. The artificial intelligence unit may be further operating the device correlated with the first collection of
    configured to : receive a first one or more instruction sets for object representations, the causing performed in response to
    operating the device . The artificial intelligence unit may be the anticipating of the artificial intelligence unit, wherein the
    further configured to : learn the first collection of object 20 device performs one or more operations defined by the first
    representations correlated with the first one or more instruc- one or more instruction sets for operating the device corre
    tion sets for operating the device .                                lated with the first collection of object representations, the
       In some aspects , the disclosure relates to a non - transitory one or more operations performed in response to the execut
    computer storage medium having a computer program ing by the processor circuit .
    stored thereon , the program including instructions that when 25 In some aspects , the disclosure relates to a non -transitory
    executed by one or more processor circuits cause the one or computer storage medium having a computer program
    more processor circuits to perform operations comprising: stored thereon , the program including instructions that when
    receiving a first collection of object representations, the first executed by one or more processor circuits cause the one or
    collection of object representations including one or more more processor circuits to perform operations comprising:
    representations of objects detected by a sensor. The opera- 30 accessing a memory unit that comprises a plurality of
    tions may further comprise : receiving a first one or more collections of object representations correlated with one or
    instruction sets for operating a device. The operations may more instruction sets for operating a device, the plurality of
    further comprise: learning the first collection of object collections of object representations correlated with one or
    representations correlated with the first one or more instruc- more instruction sets for operating the device including a
    tion sets for operating the device .                             35 first collection of object representations correlated with a
       In some aspects , the disclosure relates to a method com- first one or more instruction sets for operating the device .
    prising: (a ) receiving a first collection of object representa- The operations may further comprise: receiving a new
    tions by a processor circuit , the first collection of object collection of object representations, the new collection of
    representations including one or more representations of object representations including one or more representations
    objects detected by a sensor. The method may further 40 of objects detected by a sensor. The operations may further
    comprise : (b ) receiving a first one or more instruction sets comprise: anticipating the first one or more instruction sets
    for operating a device by the processor circuit . The method for operating the device correlated with the first collection of
    may further comprise : (c ) learning the first collection of object representations based on at least a partial match
    object representations correlated with the first one or more between the new collection of object representations and the
    instruction sets for operating the device , the learning of (c ) 45 first collection of object representations. The operations may
    performed by the processor circuit .                                further comprise: causing an execution of the first one or
       The operations or steps of the non - transitory computer more instruction sets for operating the device correlated with
    storage medium and / or the method may be performed by the first collection of object representations, the causing
    any of the elements of the above described systems as performed in response to the anticipating the first one or
    applicable. The non - transitory computer storage medium 50 more instruction sets for operating the device correlated with
    and / or the method may include any of the operations, steps,       the first collection of object representations based on at least
    and embodiments of the above described systems, non- a partial match between the new collection of object repre
    transitory computer storage media , and / or methods as appli- sentations and the first collection of object representations,
    cable .                                                             wherein the device performs one or more operations defined
       In some aspects , the disclosure relates to a system for 55 by the first one or more instruction sets for operating the
    using a device's circumstances for autonomous device oper- device correlated with the first collection of object repre
    ating. The system may be implemented at least in part on one sentations, the one or more operations by the device per
    or more computing devices. In some embodiments, the                 formed in response to the execution .
    system comprises: a processor circuit configured to execute           In some aspects , the disclosure relates to a method com
    instruction sets for operating a device. The system may 60 prising: (a) accessing a memory unit that comprises a
    further comprise: a memory unit configured to store data .          plurality of collections of object representations correlated
    The system may further comprise : a sensor configured to with one or more instruction sets for operating a device, the
    detect objects. The system may further comprise: an artifi- plurality of collections of object representations correlated
    cial intelligence unit . The artificial intelligence unit may be with one or more instruction sets for operating the device
    configured to : access the memory unit that comprises a 65 including a first collection of object representations corre
    plurality of collections of object representations correlated lated with a first one or more instruction sets for operating
    with one or more instruction sets for operating the device , the device, the accessing of ( a) performed by a processor
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 193 of 2562 PageID #: 13064


                                                            US 11,238,344 B1
                                    27                                                                       28
    circuit . The method may further comprise: (b ) receiving a              the first stream of collections of object representations , the
    new collection of object representations by the processor                one or more operations performed in response to the execut
    circuit , the new collection of object representations includ-           ing by the processor circuit .
    ing one or more representations of objects detected by a         In certain embodiments, each collection of object repre
    sensor. The method may further comprise : (c ) anticipating 5 sentations includes one or more representations of objects
    the first one or more instruction sets for operating the device detected        by the sensor at a time . In further embodiments ,
    correlated with the first collection of object representations each collection of object representations includes one or
    based on at least a partial match between the new collection more      each
                                                                                  of object representations. In further embodiments,
                                                                                 collection    of object representations includes or is
    of object representations and the first collection of object
    representations  , the anticipating of (c) performed by the 10 associated          with   a time stamp   , an order, the
                                                                                                                         , or first
                                                                                                                               a timestream
                                                                                                                                        relatedof
    processor circuit. The method may further comprise: (d) information                 . In further   embodiments
                                                                           collections of object representations includes one or more
    executing the first one or more instruction sets for operating collections           of representations of objects detected by the
    the device correlated with the first collection of object sensor over time               . In further embodiments, the new stream of
    representations  , the executing   of ( d ) performed   in response 15 collections of  object   representations includes one or more
    to the anticipating of (c ) . The method may further comprise: collections of representations of objects detected by the
    ( e) performing, by the device , one or more operations sensor over time . In further embodiments , the first or the
    defined by the first one or more instruction sets for operating new stream of collections of object representations includes
    the device correlated with the first collection of object one or more collections of representations of objects in the
    representations  , the onetoorthemore
    performed in response                   operations
                                      executing    of (dby
                                                         ). the device 20 the
                                                                           device's  surrounding. In further embodiments, the first or
                                                                                new stream of collections of object representations
        The operations or steps of the non -transitory computer includes one or more collections of representations of
    storage medium and / or the method may be performed by objects in a remote device's surrounding. In further embodi
    any of the elements of the above described systems as ments, an object representation of a stream of collections of
    applicable . The non -transitory computer storage medium 25 object representations includes one or more object proper
    and /or the method may include any of the operations, steps ,            ties . In further embodiments, the first or the new stream of
    and embodiments of the above described systems, non-                     collections of object representations includes one or more
    transitory computer storage media , and / or methods as appli-           object properties. In further embodiments, the first stream of
    cable .                                                                  collections of object representations includes a comparative
       In some aspects , the disclosure relates to a system for 30 stream of collections of object representations whose at least
    learning and using a device's circumstances for autonomous one portion can be used for comparisons with at least one
    device operating. The system may be implemented at least portion of streams of collections of object representations
    in part on one or more computing devices . In some embodi- subsequent to the first stream of collections of object rep
    ments , the system comprises: a processor circuit configured resentations, the streams of collections of object represen
    to execute instruction sets for operating a device . The system 35 tations subsequent to the first stream of collections of object
    may further comprise : a memory unit configured to store representations comprising the new stream of collections of
    data. The system may further comprise : a sensor configured object representations. In further embodiments, the first
    to detect objects. The system may further comprise: an stream of collections of object representations includes a
    artificial intelligence unit . The artificial intelligence unit comparative stream of collections of object representations
    may be configured to : receive a first stream of collections of 40 that can be used for comparisons with the new stream of
    object representations, the first stream of collections of collections of object representations. In further embodi
    object representations including one or more collections of ments, the new stream of collections of object representa
    representations of objects detected by the sensor . The arti- tions includes an anticipatory stream of collections of object
    ficial intelligence unit may be further configured to : receive representations whose correlated one or more instruction
    a first one or more instruction sets for operating the device . 45 sets can be used for anticipation of one or more instruction
    The artificial intelligence unit may be further configured to : sets to be executed by the processor circuit .
    learn the first stream of collections of object representations       In some embodiments, the first one or more instruction
    correlated with the first one or more instruction sets for sets for operating the device include one or more instruction
    operating the device . The artificial intelligence unit may be sets that temporally correspond to the first stream of collec
    further configured to : receive a new stream of collections of 50 tions of object representations. In further embodiments, the
    object representations, the new stream of collections of one or more instruction sets that temporally correspond to
    object representations including one or more collections of the first stream of collections of object representations
    representations of objects detected by the sensor. The arti- include one or more instruction sets executed at a time of
    ficial intelligence unit may be further configured to : antici- generating the first stream of collections of object represen
    pate the first one or more instruction sets for operating the 55 tations . In further embodiments , the one or more instruction
    device correlated with the first stream of collections of                sets that temporally correspond to the first stream of collec
    object representations based on at least a partial match                 tions of object representations include one or more instruc
    between the new stream of collections of object represen- tion sets executed prior to generating the first stream of
    tations and the first stream of collections of object repre- collections of object representations. In further embodi
    sentations. The artificial intelligence unit may be further 60 ments , the one or more instruction sets that temporally
    configured to : cause the processor circuit to execute the first correspond to the first stream of collections of object rep
    one or more instruction sets for operating the device corre- resentations include one or more instruction sets executed
    lated with the first stream of collections of object represen- within a threshold period of time prior to generating the first
    tations , the causing performed in response to the anticipating stream of collections of object representations. In further
    of the artificial intelligence unit, wherein the device per- 65 embodiments, the one or more instruction sets that tempo
                                                                                            >

    forms one or more operations defined by the first one or rally correspond to the first stream of collections of object
    more instruction sets for operating the device correlated with           representations include one or more instruction sets
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 194 of 2562 PageID #: 13065


                                                       US 11,238,344 B1
                                 29                                                                 30
    executed subsequent to generating the first stream of col- instruction sets for operating the device stored in the
    lections of object representations. In further embodiments , memory unit . In further embodiments , the plurality of
    the one or more instruction sets that temporally correspond streams of collections of object representations correlated
    to the first stream of collections of object representations with one or more instruction sets for operating the device
    include one or more instruction sets executed within a 5 include a neural network , a graph, a collection of sequences,
    threshold period of time subsequent to generating the first a sequence, a collection of knowledge cells , a knowledge
    stream of collections of object representations. In further base , a knowledge structure, or a data structure . In further
    embodiments , the one or more instruction sets that tempo- embodiments , the plurality of streams of collections of
    rally correspond to the first stream of collections of object object representations correlated with one or more instruc
    representations include one or more instruction sets 10 tion sets for operating the device are organized into aa neural
    executed within a threshold period of time prior to gener- network, a graph , a collection of sequences, a sequence , a
    ating the first stream of collections of object representations collection of knowledge cells , a knowledgebase, a knowl
    or a threshold period of time subsequent to generating the edge structure , or a data structure. In further embodiments ,
    first stream of collections of object representations.            each stream of collections of object representations corre
       In certain embodiments, the first stream of collections of 15 lated with one or more instruction sets for operating the
    object representations correlated with the first one or more device of the plurality of streams of collections of object
    instruction sets for operating the device include a knowledge representations correlated with one or more instruction sets
    of how the device operated in a circumstance . In further for operating the device is included in a neuron , a node, a
    embodiments, the first stream of collections of object rep- vertex , or an element of a knowledgebase. The knowledge
    resentations correlated with the first one or more instruction 20 base may include aa neural network , a graph , a collection of
    sets for operating the device are included in a neuron , a sequences, a sequence, a collection of knowledge cells , a
    node, a vertex , or an element of a knowledgebase. In further knowledge structure, or a data structure. Some of the neu
    embodiments, the knowledgebase includes a neural net- rons, nodes , vertices , or elements may be interconnected . In
    work , a graph , a collection of sequences, a sequence , a further embodiments, the plurality of streams of collections
    collection of knowledge cells , a knowledge structure, or a 25 of object representations correlated with one or more
    data structure . In further embodiments, some of the neurons , instruction sets for operating the device include a user's
    nodes , vertices , or elements are interconnected . In further knowledge, style , or methodology of operating the device in
    embodiments, the first stream of collections of object rep- circumstances. In further embodiments, the plurality of
    resentations correlated with the first one or more instruction streams of collections of object representations correlated
    sets for operating the device are structured into a knowledge 30 with one or more instruction sets for operating the device are
    cell . In further embodiments, the knowledge cell is included stored on a remote computing device or a remote computing
    in a neuron , a node , a vertex , or an element of a knowl- system . In further embodiments, the plurality of streams of
    edgebase . The knowledgebase may include a neural net             collections of object representations correlated with one or
    work, a graph, a collection of sequences, a sequence , a more instruction sets for operating the device include an
    collection of knowledge cells , a knowledge structure, or a 35 artificial intelligence system for knowledge structuring, stor
    data structure. Some of the neurons , nodes , vertices , or ing , or representation. The artificial intelligence system for
    elements may be interconnected . In further embodiments, knowledge structuring, storing, or representation may
    the learning the first stream of collections of object repre- include at least one of: a deep learning system , a supervised
    sentations correlated with the first one or more instruction       learning system , an unsupervised learning system , a neural
    sets for operating the device includes correlating the first 40 network , a search - based system , an optimization - based sys
    stream of collections of object representations with the first     tem , a logic -based system , a fuzzy logic -based system , a
    one or more instruction sets for operating the device . In         tree -based system , graph - based system , a hierarchical
    further embodiments, the correlating the first stream of system , a symbolic system , a sub - symbolic system , an
    collections of object representations with the first one or evolutionary system , a genetic system , a multi-agent system ,
    more instruction sets for operating the device includes 45 a deterministic system , a probabilistic system , or a statistical
    generating a knowledge cell , the knowledge cell comprising system .
    the first stream of collections of object representations     In certain embodiments, the anticipating the first one or
    correlated with the first one or more instruction sets for         more instruction sets for operating the device correlated with
    operating the device . In further embodiments, the correlating     the first stream of collections of object representations based
    the first stream of collections of object representations with 50 on at least a partial match between the new stream of
    the first one or more instruction sets for operating the device collections of object representations and the first stream of
    includes structuring a knowledge of how the device operated collections of object representations includes comparing at
    in a circumstance . In further embodiments, the learning the least one portion of the new stream of collections of object
    first stream of collections of object representations corre- representations with at least one portion of the first stream of
    lated with the first one or more instruction sets for operating 55 collections of object representations. In further embodi
    the device includes learning a user's knowledge, style, or ments, the at least one portion of the new stream of collec
    methodology of operating the device in a circumstance .            tions of object representations include at least one collection
       In some embodiments, the learning the first stream of of object representations, at least one object representation ,
    collections of object representations correlated with the first or at least one object property of the new stream of collec
    one or more instruction sets for operating the device 60 tions of object representations. In further embodiments , the
    includes storing the first stream of collections of object at least one portion of the first stream of collections of object
    representations correlated with the first one or more instruc- representations include at least one collection of object
    tion sets for operating the device into the memory unit, the representations, at least one object representation, or at least
    first stream of collections of object representations corre- one object property of the first stream of collections of object
    lated with the first one or more instruction sets for operating 65 representations. In further embodiments , the anticipating the
    the device being part of a plurality of streams of collections first one or more instruction sets for operating the device
    of object representations correlated with one or more correlated with the first stream of collections of object
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 195 of 2562 PageID #: 13066


                                                      US 11,238,344 B1
                                31                                                                32
    representations based on at least a partial match between the    of object representations and portions of the first stream of
    new stream of collections of object representations and the collections of object representations exceeds a threshold
    first stream of collections of object representations includes number or threshold percentage. In further embodiments, the
    comparing at least one collection of object representations determining that there is at least a partial match between the
    from the new stream of collections of object representations 5 new stream of collections of object representations and the
    with at least one collection of object representations from      first stream of collections of object representations includes
    the first stream of collections of object representations. In    determining that a number or a percentage of matching or
    further embodiments, the comparing at least one collection       partially matching collections of object representations from
    of object representations from the new stream of collections     the new stream of collections of object representations and
    of object representations with at least one collection of 10 from the first stream of collections of object representations
    object representations from the first stream of collections of exceeds a threshold number or threshold percentage. The
    object representations includes comparing at least one object matching or partially matching collections of object repre
    representation of the at least one collection of object repre- sentations from the new stream of collections of object
    sentations from the new stream of collections of object representations and from the first stream of collections of
    representations with at least one object representation of the 15 object representations may be determined factoring in at
    at least one collection of object representations from the first least one of: an importance of aa collection of object repre
    stream of collections of object representations. The compar- sentations, an order of ?a collection of object representations,
    ing at least one object representation of the at least one a threshold for a similarity in a collection of object repre
    collection of object representations from the new stream of sentations, or a threshold for aa difference in a collection of
    collections of object representations with at least one object 20 object representations. In further embodiments, the deter
    representation of the at least one collection of object repre- mining that there is at least a partial match between the new
    sentations from the first stream of collections of object stream of collections of object representations and the first
    representations may include comparing at least one object stream of collections of object representations includes
    property of the at least one object representation of the at determining that a number or a percentage of matching or
    least one collection of object representations from the new 25 partially matching object representations from the new
    stream of collections of object representations with at least stream of collections of object representations and from the
    one object property of the at least one object representation first stream of collections of object representations exceeds
    of the at least one collection of object representations from a threshold number or threshold percentage . The matching
    the first stream of collections of object representations.        or partially matching object representations from the new
       In some embodiments, the anticipating the first one or 30 stream of collections of object representations and from the
    more instruction sets for operating the device correlated with first stream of collections of object representations may be
    the first stream of collections of object representations based determined factoring in at least one of: an association of an
    on at least a partial match between the new stream of object representation with aa collection of object representa
    collections of object representations and the first stream of tions , a type of an object representation, an importance of an
    collections of object representations includes determining 35 object representation, a threshold for a similarity in an object
    that there is at least a partial match between the new stream representation, or a threshold for a difference in an object
    of collections of object representations and the first stream representation. In further embodiments , the determining that
    of collections of object representations. In further embodi-     there is at least a partial match between the new stream of
    ments, the determining that there is at least a partial match    collections of object representations and the first stream of
    between the new stream of collections of object represen- 40 collections of object representations includes determining
    tations and the first stream of collections of object repre- that a number or a percentage of matching or partially
    sentations includes determining that there is at least a partial matching object properties from the new stream of collec
    match between one or more portions of the new stream of tions of object representations and from the first stream of
    collections of object representations and one or more por- collections of object representations exceeds a threshold
    tions of the first stream of collections of object representa- 45 number or threshold percentage . The matching or partially
    tions . In further embodiments, the determining that there is matching object properties from the new stream of collec
    at least a partial match between the new stream of collec- tions of object representations and from the first stream of
    tions of object representations and the first stream of col- collections of object representations may be determined
    lections of object representations includes determining that factoring in at least one of: an association of an object
    a similarity between at least one portion of the new stream 50 property with an object representation, an association of an
    of collections of object representations and at least one object property with aa collection of object representations, a
    portion of the first stream of collections of object represen- category of an object property, an importance of an object
    tations exceeds a similarity threshold . In further embodi- property, a threshold for a similarity in an object property, or
    ments, the determining that there is at least a partial match a threshold for a difference in an object property . In further
                                                                                     a

    between the new stream of collections of object represen- 55 embodiments, determining that there is at least a partial
    tations and the first stream of collections of object repre- match between the new stream of collections of object
    sentations includes determining a substantial similarity representations and the first stream of collections of object
    between at least one portion of the new stream of collections representations includes determining that there is at least a
    of object representations and at least one portion of the first partial match between at least one collection of object
    stream of collections of object representations. The substan- 60 representations from the new stream of collections of object
    tial similarity may be achieved when a similarity between representations and at least one collection of object repre
    the at least one portion of the new stream of collections of sentations from the first stream of collections of object
    object representations and the at least one portion of the first representations. The determining that there is at least a
    stream of collections of object representations exceeds a partial match between at least one collection of object
    similarity threshold . The substantial similarity may be 65 representations from the new stream of collections of object
    achieved when a number or a percentage of matching or representations and at least one collection of object repre
    partially matching portions of the new stream of collections sentations from the first stream of collections of object
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 196 of 2562 PageID #: 13067


                                                        US 11,238,344 B1
                                 33                                                                 34
    representations may include determining that there is at least     operating the device correlated with the first stream of
    a partial match between at least one object representation of    collections of object representations includes issuing an
    the at least one collection of object representations from the   interrupt to the processor circuit and executing the first one
    new stream of collections of object representations and at or more instruction sets for operating the device correlated
    least one object representation of the at least one collection 5 with the first stream of collections of object representations
    of object representations from the first stream of collections following the interrupt. In further embodiments, the causing
    of object representations. The determining that there is at the processor circuit to execute the first one or more instruc
    least a partial match between at least one object represen- tion sets for operating the device correlated with the first
    tation of the at least one collection of object representations stream of collections of object representations includes
    from the new stream of collections of object representations 10 modifying an element that is part of, operating on , or
    and at least one object representation of the at least one coupled to the processor circuit .
    collection of object representations from the first stream of       In certain embodiments, the processor circuit includes a
    collections of object representations may include determin- logic circuit , and wherein the causing the processor circuit
    ing that there is at least a partial match between at least one    to execute the first one or more instruction sets for operating
    object property of the at least one object representation of 15 the device correlated with the first stream of collections of
    the at least one collection of object representations from the     object representations includes causing the logic circuit to
    new stream of collections of object representations and at execute the first one or more instruction sets for operating
    least one object property of the at least one object repre- the device correlated with the first stream of collections of
    sentation of the at least one collection of object representa- object representations. In further embodiments, the logic
    tions from the first stream of collections of object represen- 20 circuit includes a microcontroller. In further embodiments ,
    tations .                                                         the causing the logic circuit to execute the first one or more
       In some embodiments , the causing the processor circuit to instruction sets for operating the device correlated with the
    execute the first one or more instruction sets for operating first stream of collections of object representations includes
    the device correlated with the first stream of collections of modifying an element of the logic circuit. In further embodi
    object representations includes causing the processor circuit 25 ments, the causing the logic circuit to execute the first one
    to execute the first one or more instruction sets for operating or more instruction sets for operating the device correlated
    the device correlated with the first stream of collections of with the first stream of collections of object representations
    object representations instead of or prior to an instruction set includes inserting the first one or more instruction sets for
    that would have been executed next. In further embodi-             operating the device correlated with the first stream of
    ments, the causing the processor circuit to execute the first 30 collections of object representations into an element of the
    one or more instruction sets for operating the device corre- logic circuit. In further embodiments, the causing the logic
    lated with the first stream of collections of object represen-     circuit to execute the first one or more instruction sets for
    tations includes modifying one or more instruction sets of operating the device correlated with the first stream of
    the processor circuit. In further embodiments, the causing collections of object representations includes redirecting the
    the processor circuit to execute the first one or more instruc- 35 logic circuit to the first one or more instruction sets for
    tion sets for operating the device correlated with the first operating the device correlated with the first stream of
    stream of collections of object representations includes collections of object representations. In further embodi
    modifying a register or an element of the processor circuit . ments, the causing the logic circuit to execute the first one
    In further embodiments , the causing the processor circuit to or more instruction sets for operating the device correlated
    execute the first one or more instruction sets for operating 40 with the first stream of collections of object representations
    the device correlated with the first stream of collections of includes replacing inputs into the logic circuit with the first
    object representations includes inserting the first one or one or more instruction sets for operating the device corre
    more instruction sets for operating the device correlated with lated with the first stream of collections of object represen
    the first stream of collections of object representations into tations . In further embodiments, the causing the logic circuit
    a register or an element of the processor circuit . In further 45 to execute the first one or more instruction sets for operating
    embodiments, the causing the processor circuit to execute the device correlated with the first stream of collections of
    the first one or more instruction sets for operating the device object representations includes replacing outputs from the
    correlated with the first stream of collections of object logic circuit with the first one or more instruction sets for
    representations includes redirecting the processor circuit to operating the device correlated with the first stream of
    the first one or more instruction sets for operating the device 50 collections of object representations.
    correlated with the first stream of collections of object             In some embodiments, the causing the processor circuit to
    representations. In further embodiments, the causing the execute the first one or more instruction sets for operating
    processor circuit to execute the first one or more instruction     the device correlated with the first stream of collections of
    sets for operating the device correlated with the first stream object representations includes causing an application for
    of collections of object representations includes redirecting 55 operating the device to execute the first one or more instruc
    the processor circuit to one or more alternate instruction sets , tion sets for operating the device correlated with the first
    the alternate instruction sets comprising the first one or more stream of collections of object representations, the applica
    instruction sets for operating the device correlated with the tion running on the processor circuit .
    first stream of collections of object representations. In fur-        In certain embodiments, the system further comprises : an
    ther embodiments, the causing the processor circuit to 60 application including instruction sets for operating the
    execute the first one or more instruction sets for operating device , the application running on the processor circuit ,
    the device correlated with the first stream of collections of wherein the causing the processor circuit to execute the first
    object representations includes transmitting, to the processor one or more instruction sets for operating the device corre
    circuit for execution , the first one or more instruction sets for lated with the first stream of collections of object represen
    operating the device correlated with the first stream of 65 tations includes modifying the application.
    collections of object representations. In further embodi-             In some embodiments , the causing the processor circuit to
    ments , the executing the first one or more instruction sets for execute the first one or more instruction sets for operating
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 197 of 2562 PageID #: 13068


                                                       US 11,238,344 B1
                                 35                                                               36
    the device correlated with the first stream of collections of application programming interface (API), a Java tool , a Java
    object representations includes redirecting an application to API , an operating system tool , or an independent tool for
    the first one or more instruction sets for operating the device modifying instruction sets . In further embodiments, the
    correlated with the first stream of collections of object causing the processor circuit to execute the first one or more
    representations, the application running on the processors instruction sets for operating the device correlated with the
    circuit . In further embodiments , the causing the processor first stream of collections of object representations includes
    circuit to execute the first one or more instruction sets for utilizing at least one of: a dynamic, an interpreted, or a
    operating the device correlated with the first stream of scripting programming language. In further embodiments ,
    collections of object representations includes redirecting an the causing the processor circuit to execute the first one or
    application to one or more alternate instruction sets , the 10 more instruction sets for operating the device correlated with
    application running on the processor circuit, the alternate the first stream of collections of object representations
    instruction sets comprising the first one or more instruction includes utilizing at least one of: a dynamic code , a dynamic
    sets for operating the device correlated with the first stream class loading , or a reflection . In further embodiments, the
    of collections of object representations. In further embodi- causing the processor circuit to execute the first one or more
    ments, the causing the processor circuit to execute the first 15 instruction sets for operating the device correlated with the
    one or more instruction sets for operating the device corre- first stream of collections of object representations includes
    lated with the first stream of collections of object represen- utilizing an assembly language. In further embodiments, the
    tations includes modifying one or more instruction sets of an causing the processor circuit to execute the first one or more
    application, the application running on the processor circuit . instruction sets for operating the device correlated with the
    In further embodiments, the causing the processor circuit to 20 first stream of collections of object representations includes
    execute the first one or more instruction sets for operating utilizing at least one of: a metaprogramming, a self-modi
    the device correlated with the first stream of collections of fying code , or an instruction set modification tool . In further
    object representations includes modifying a source code , a embodiments, the causing the processor circuit to execute
    bytecode , an intermediate code, a compiled code , an inter- the first one or more instruction sets for operating the device
    preted code , a translated code , a runtime code , an assembly 25 correlated with the first stream of collections of object
    code , or a machine code . In further embodiments, the representations includes utilizing at least one of: just in time
    causing the processor circuit to execute the first one or more (JIT ) compiling, JIT interpretation , JIT translation , dynamic
    instruction sets for operating the device correlated with the recompiling, or binary rewriting. In further embodiments ,
    first stream of collections of object representations includes the causing the processor circuit to execute the first one or
    modifying at least one of: the memory unit, a register of the 30 more instruction sets for operating the device correlated with
    processor circuit, a storage , or a repository where instruction the first stream of collections of object representations
    sets are stored or used . In further embodiments, the causing includes utilizing at least one of: a dynamic expression
    the processor circuit execute the first one or more instruc-  creation, a dynamic expression execution, a dynamic func
    tion sets for operating the device correlated with the first tion creation, or a dynamic function execution . In further
    stream of collections of object representations includes 35 embodiments, the causing the processor circuit to execute
    modifying one or more instruction sets for operating an the first one or more instruction sets for operating the device
    application or an object of the application, the application correlated with the first stream of collections of object
    running on the processor circuit . In further embodiments, the representations includes adding or inserting additional code
    causing the processor circuit to execute the first one or more into a code of an application, the application running on the
    instruction sets for operating the device correlated with the 40 processor circuit. In further embodiments, the causing the
    first stream of collections of object representations includes processor circuit to execute the first one or more instruction
    modifying at least one of: an element of the processor sets for operating the device correlated with the first stream
    circuit , an element of the device , a virtual machine , a of collections of object representations includes at least one
    runtime engine, an operating system , an execution stack , a of modifying , removing, rewriting, or overwriting a code of
    program counter, or a user input. In further embodiments, 45 an application, the application running on the processor
    the causing the processor circuit to execute the first one or circuit. In further embodiments, the causing the processor
    more instruction sets for operating the device correlated with circuit to execute the first one or more instruction sets for
    the first stream of collections of object representations operating the device correlated with the first stream of
    includes modifying one or more instruction sets at a source collections of object representations includes at least one of:
    code write time , a compile time , an interpretation time , a 50 branching, redirecting, extending, or hot swapping a code of
    translation time , a linking time , a loading time , or a runtime. an application, the application running on the processor
    In further embodiments, the causing the processor circuit to circuit. The branching or redirecting the code may include
    execute the first one or more instruction sets for operating inserting at least one of: a branch, a jump, or a means for
    the device correlated with the first stream of collections of     redirecting an execution . In further embodiments, the
    object representations includes modifying one or more code 55 executing the first one or more instruction sets for operating
    segments, lines of code , statements, instructions, functions,    the device correlated with the first stream of collections of
    routines, subroutines, or basic blocks . In further embodi- object representations includes implementing a user's
    ments, the causing the processor circuit to execute the first knowledge, style, or methodology of operating the device in
    one or more instruction sets for operating the device corre- a circumstance.
    lated with the first stream of collections of object represen- 60 In certain embodiments, the system further comprises : an
    tations includes a manual, an automatic , a dynamic, or a just interface configured to cause execution of instruction sets ,
    in time (JIT ) instrumentation of an application , the applica- wherein the executing the first one or more instruction sets
    tion running on the processor circuit . In further embodi- for operating the device correlated with the first stream of
    ments, the causing the processor circuit to execute the first collections of object representations is caused by the inter
    one or more instruction sets for operating the device corre- 65 face . The interface may include aa modification interface .
    lated with the first stream of collections of object represen-     In some embodiments , the performing the one or more
    tations includes utilizing one or more of a .NET tool , a .NET operations defined by the first one or more instruction sets
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 198 of 2562 PageID #: 13069


                                                       US 11,238,344 B1
                                 37                                                                 38
    for operating the device correlated with the first stream of     an extra information correlated with the first stream of
    collections of object representations includes implementing      collections of object representations may include determin
    a user's knowledge, style , or methodology of operating the      ing that a similarity between an extra information correlated
    device in a circumstance .                                       with the new stream of collections of object representations
       In certain embodiments , the system further comprises: an 5 and an extra information correlated with the first stream of
    application running on the processor circuit.                    collections of object representations exceeds a similarity
       In some embodiments , the instruction sets for operating threshold
    the device are part of an application for operating the device ,    In certain embodiments, the system further comprises : a
    the application running on the processor circuit .
       In certain embodiments , the system further comprises: an 10 furtherinterface
                                                                     user            , wherein the artificial intelligence unit is
                                                                              configured to : cause the user interface to present a
    application for operating the device, the application running user
    on the processor circuit. The application for operating the tion with  sets
                                                                                an option to execute the first one or more instruc
                                                                                for operating the device correlated with the first
    device may include the instruction sets for operating the stream of collections          of object representations.
    device.
       In some embodiments , the artificial intelligence unit is 15     In  some  embodiments   , the system further comprises : a
    further configured to : receive at least one extra information . user interface , wherein the artificial intelligence unit is
    In further embodiments, the at least one extra information further configured to : receive, via the user interface, a user's
    include one or more of: a time information, a location selection to execute the first one or more instruction sets for
    information , a computed information , or a contextual infor- operating the device correlated with the first stream of
    mation . In further embodiments, the at least one extra 20 collections of object representations.
    information include one or more of: an information on an              In certain embodiments, the artificial intelligence unit is
    object, an information on an object representation, an infor- further configured to : rate the executed first one or more
    mation on a collection of object representations, an infor- instruction sets for operating the device correlated with the
    mation on a stream of collections of object representations, first stream of collections of object representations. The
    an information on a device's circumstance, an information 25 rating the executed first one or more instruction sets for
    on an instruction set , an information on an application, an operating the device correlated with the first stream of
    information on the processor circuit, an information on the collections of object representations may include causing a
    device , or an information on an user . In further embodi- user interface to display the executed first one or more
    ments, the artificial intelligence unit is further configured to : instruction sets for operating the device correlated with the
    learn the first stream of collections of object representations 30 first stream of collections of object representations along
    correlated with the at least one extra information . The with one or more rating values as options to be selected by
    learning the first stream of collections of object representa- a user . The rating the executed first one or more instruction
    tions correlated with at least one extra information may sets for operating the device correlated with the first stream
    include correlating the first stream of collections of object of collections of object representations may include rating
    representations with the at least one extra information . The 35 the executed first one or more instruction sets for operating
    learning the first stream of collections of object representa- the device correlated with the first stream of collections of
    tions correlated with at least one extra information may object representations without a user input.
    include storing the first stream of collections of object             In some embodiments, the system further comprises: a
    representations correlated with the at least one extra infor- user interface, wherein the artificial intelligence unit is
    mation into the memory unit. In further embodiments, the 40 further configured to : cause the user interface to present a
    anticipating the first one or more instruction sets for oper- user with an option to cancel the execution of the executed
    ating the device correlated with the first stream of collec- first one or more instruction sets for operating the device
    tions of object representations based on at least a partial correlated with the first stream of collections of object
    match between the new stream of collections of object representations. In further embodiments, the canceling the
    representations and the first stream of collections of object 45 execution of the executed first one or more instruction sets
    representations includes anticipating the first one or more for operating the device correlated with the first stream of
    instruction sets for operating the device correlated with the collections of object representations includes restoring the
    first stream of collections of object representations based on processor circuit or the device to a prior state . The restoring
    at least a partial match between an extra information corre- the processor circuit or the device to a prior state may
    lated with the new stream of collections of object represen- 50 include saving the state of the processor circuit or the device
    tations and an extra information correlated with the first prior to executing the first one or more instruction sets for
    stream of collections of object representations. The antici- operating the device correlated with the first stream of
    pating the first one or more instruction sets for operating the collections of object representations.
    device correlated with the first stream of collections of            In certain embodiments, the system further comprises : an
    object representations based on at least a partial match 55 input device configured to receive a user's operating direc
    between an extra information correlated with the new stream       tions , the user's operating directions for instructing the
    of collections of object representations and an extra infor- processor circuit on how to operate the device . In some
    mation correlated with the first stream of collections of embodiments , the autonomous device operating includes a
    object representations may include comparing an extra partially or a fully autonomous device operating. The par
    information correlated with the new stream of collections of 60 tially autonomous device operating may include executing
    object representations and an extra information correlated the first one or more instruction sets for operating the device
    with the first stream of collections of object representations. correlated with the first stream of collections of object
    The anticipating the first one or more instruction sets for representations responsive to a user confirmation . The fully
    operating the device correlated with the first stream of autonomous device operating may include executing the first
    collections of object representations based on at least a 65 one or more instruction sets for operating the device corre
    partial match between an extra information correlated with lated with the first stream of collections of object represen
    the new stream of collections of object representations and tations without a user confirmation .
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 199 of 2562 PageID #: 13070


                                                       US 11,238,344 B1
                                 39                                                                  40
      In certain embodiments, the artificial intelligence unit is      with the second one or more instruction sets for operating
    further configured to : receive a second stream of collections the device may include creating a connection between the
    of object representations, the second stream of collections of first node and the second node . The learning the first stream
    object representations including one or more collections of of collections of object representations correlated with the
    representations of objects detected by the sensor ; receive a 5 first one or more instruction sets for operating the device and
    second one or more instruction sets for operating the device ; the learning the second stream of collections of object
    and learn the second stream of collections of object repre- representations correlated with the second one or more
    sentations correlated with the second one or more instruction instruction sets for operating the device may include updat
    sets for operating the device . In further embodiments , the ing a connection between the first node and the second node .
    second stream of collections of object representations 10 In further embodiments, the first stream of collections of
    includes one or more collections of representations of object representations correlated with the first one or more
    objects detected by the sensor over time . In further embodi- instruction sets for operating the device is stored into a first
    ments, the second stream of collections of object represen- node of a neural network and the second stream of collec
    tations includes or is associated with aa time stamp, an order, tions of object representations correlated with the second
    or a time related information . In further embodiments, the 15 one ora more instruction sets for operating the device is stored
    learning the first stream of collections of object representa- into a second node of the neural network . The first node and
    tions correlated with the first one or more instruction sets for the second node may be connected by a connection . The first
    operating the device and the learning the second stream of node may be part of a first layer of the neural network and
    collections of object representations correlated with the the second node may be part of a second layer of the neural
    second one or more instruction sets for operating the device 20 network . In further embodiments, the first stream of collec
    include creating a connection between the first stream of tions of object representations correlated with the first one or
    collections of object representations correlated with the first more instruction sets for operating the device is stored into
    one or more instruction sets for operating the device and the a first node of a graph and the second stream of collections
    second stream of collections of object representations cor- of object representations correlated with the second one or
    related with the second one or more instruction sets for 25 more instruction sets for operating the device is stored into
    operating the device . The connection may include or is a second node of the graph. The first node and the second
    associated with at least one of : an occurrence count, a node may be connected by a connection . In further embodi
    weight, a parameter, or a data . In further embodiments , the ments, the first stream of collections of object representa
    learning the first stream of collections of object representa- tions correlated with the first one or more instruction sets for
    tions correlated with the first one or more instruction sets for 30 operating the device is stored into a first node of a sequence
    operating the device and the learning the second stream of and the second stream of collections of object representa
    collections of object representations correlated with the tions correlated with the second one or more instruction sets
    second one or more instruction sets for operating the device for operating the device is stored into a second node of the
    include updating a connection between the first stream of sequence .
    collections of object representations correlated with the first 35 In some aspects , the disclosure relates to a non - transitory
    one or more instruction sets for operating the device and the computer storage medium having a computer program
    second stream of collections of object representations cor- stored thereon , the program including instructions that when
    related with the second one or more instruction sets for executed by one or more processor circuits cause the one or
    operating the device . In further embodiments, the updating more processor circuits to perform operations comprising:
    the connection between the first stream of collections of 40 receiving a first stream of collections of object representa
    object representations correlated with the first one or more tions , the first stream of collections of object representations
    instruction sets for operating the device and the second including one or more collections of representations of
    stream of collections of object representations correlated objects detected by a sensor. The operations may further
    with the second one or more instruction sets for operating comprise: receiving a first one or more instruction sets for
    the device includes updating at least one of: an occurrence 45 operating a device . The operations may further comprise :
    count, a weight, a parameter, or a data included in or learning the first stream of collections of object representa
    associated with the connection . In further embodiments, the       tions correlated with the first one or more instruction sets for
    learning the first stream of collections of object representa- operating the device . The operations may further comprise :
    tions correlated with the first one or more instruction sets for receiving a new stream of collections of object representa
    operating the device includes storing the first stream of 50 tions , the new stream of collections of object representations
    collections of object representations correlated with the first including one or more collections of representations of
    one or more instruction sets for operating the device into a       objects detected by the sensor . The operations may further
    first node of a knowledgebase, and wherein the learning the        comprise: anticipating the first one or more instruction sets
    second stream of collections of object representations cor-        for operating the device correlated with the first stream of
    related with the second one or more instruction sets for 55 collections of object representations based on at least a
    operating the device includes storing the second stream of partial match between the new stream of collections of
    collections of object representations correlated with the object representations and the first stream of collections of
    second one or more instruction sets for operating the device object representations. The operations may further com
    into a second node of the knowledgebase. The knowledge- prise: causing an execution of the first one or more instruc
    base may include aa neural network , a graph , a collection of 60 tion sets for operating the device correlated with the first
    sequences, a sequence , a collection of knowledge cells , a stream of collections of object representations, the causing
    knowledge structure, or a data structure . In further embodi- performed in response to the anticipating the first one or
    ments, the knowledgebase may be stored in the memory more instruction sets for operating the device correlated with
    unit . The learning the first stream of collections of object the first stream of collections of object representations based
    representations correlated with the first one or more instruc- 65 on at least a partial match between the new stream of
    tion sets for operating the device and the learning the second collections of object representations and the first stream of
    stream of collections of object representations correlated collections of object representations, wherein the device
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 200 of 2562 PageID #: 13071


                                                       US 11,238,344 B1
                                 41                                                                  42
    performs one or more operations defined by the first one or tion sets for operating the device into a memory unit , the first
    more instruction sets for operating the device correlated with stream of collections of object representations correlated
    the first stream of collections of object representations, the with the first one or more instruction sets for operating the
    one or more operations by the device performed in response device being part of a plurality of streams of collections of
    to the execution .                                            5 object representations correlated with one or more instruc
       In certain embodiments, the receiving the first one or tion sets for operating the device stored in the memory unit.
    more instruction sets for operating the device includes           In some embodiments, the executing the first one or more
    receiving the first one or more instruction sets for operating instruction sets for operating the device correlated with the
    the device from the one or more processor circuits or from first stream of collections of object representations includes
    another one or more processor circuits . In further embodi- 10 executing the first one or more instruction sets for operating
    ments, the execution of the first one or more instruction sets the device correlated with the first stream of collections of
    for operating the device correlated with the first stream of object representations instead of or prior to an instruction set
    collections of object representations is performed by the one that would have been executed next. In further embodi
    or more processor circuits or by another one or more ments, the executing the first one or more instruction sets for
    processor circuits.                                          15 operating the device correlated with the first stream of
       In some aspects , the disclosure relates to a method com- collections of object representations includes modifying one
    prising: (a ) receiving a first stream of collections of object or more instruction sets of a processor circuit . In further
    representations by a processor circuit , the first stream of embodiments , the executing the first one or more instruction
    collections of object representations including one or more sets for operating the device correlated with the first stream
    collections of representations of objects detected by a sen- 20 of collections of object representations includes modifying a
    sor. The method may further comprise : ( b ) receiving a first register or an element of a processor circuit . In further
    one or more instruction sets for operating a device by the embodiments, the executing the first one or more instruction
    processor circuit . The method may further comprise: (c ) sets for operating the device correlated with the first stream
    learning the first stream of collections of object representa- of collections of object representations includes inserting the
    tions correlated with the first one or more instruction sets for 25 first one or more instruction sets for operating the device
    operating the device, the learning of ( c ) performed by the correlated with the first stream of collections of object
    processor circuit . The method may further comprise : (d) representations into a register or an element of a processor
    receiving a new stream of collections of object representa- circuit. In further embodiments, the executing the first one or
    tions by the processor circuit, the new stream of collections more instruction sets for operating the device correlated with
    of object representations including one or more collections 30 the first stream of collections of object representations
    of representations of objects detected by the sensor. The includes redirecting a processor circuit to the first one or
    method may further comprise: ( e) anticipating the first one more instruction sets for operating the device correlated with
    or more instruction sets for operating the device correlated the first stream of collections of object representations. In
    with the first stream of collections of object representations further embodiments, the executing the first one or more
    based on at least a partial match between the new stream of 35 instruction sets for operating the device correlated with the
    collections of object representations and the first stream of first stream of collections of object representations includes
    collections of object representations, the anticipating of ( e ) redirecting a processor circuit to one or more alternate
    performed by the processor circuit. The method may further instruction sets , the alternate instruction sets comprising the
    comprise : ( f) executing the first one or more instruction sets first one or more instruction sets for operating the device
    for operating the device correlated with the first stream of 40 correlated with the first stream of collections of object
    collections of object representations, the executing of ( f) representations. In further embodiments, the executing the
    performed in response to the anticipating of ( e) . The method first one or more instruction sets for operating the device
    may further comprise: ( g) performing, by the device, one or correlated with the first stream of collections of object
    more operations defined by the first one or more instruction representations includes transmitting, to a processor circuit
    sets for operating the device correlated with the first stream 45 for execution, the first one or more instruction sets for
    of collections of object representations, the one or more operating the device correlated with the first stream of
    operations by the device performed in response to the collections of object representations. In further embodi
    executing of ( f ).                                               ments, the executing the first one or more instruction sets for
       In some embodiments, the receiving of ( b ) includes operating the device correlated with the first stream of
    receiving the first one or more instruction sets for operating 50 collections of object representations includes issuing an
    the device from the processor circuit or from another pro- interrupt to a processor circuit and executing the first one or
    cessor circuit. In further embodiments, the executing of ( f) more instruction sets for operating the device correlated with
    is performed by the processor circuit or by another processor the first stream of collections of object representations
    circuit .                                                         following the interrupt. In further embodiments, the execut
      The operations or steps of the non -transitory computer 55 ing the first one or more instruction sets for operating the
    storage medium and / or the method may be performed by device correlated with the first stream of collections of
    any of the elements of the above described systems as object representations includes modifying an element that is
    applicable. The non - transitory computer storage medium part of, operating on , or coupled to a processor circuit.
    and /or the method may include any of the operations, steps , In certain embodiments, the executing the first one or
    and embodiments of the above described systems, non- 60 more instruction sets for operating the device correlated with
    transitory computer storage media , and / or methods as appli- the first stream of collections of object representations
    cable as well as the following embodiments.                     includes executing, by a logic circuit, the first one or more
       In certain embodiments, the learning the first stream of instruction sets for operating the device correlated with the
    collections of object representations correlated with the first first stream of collections of object representations. In fur
    one or more instruction sets for operating the device 65 ther embodiments, the logic circuit includes a microcon
    includes storing the first stream of collections of object         troller. In further embodiments , the executing, by the logic
    representations correlated with the first one or more instruc-     circuit, the first one or more instruction sets for operating the
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 201 of 2562 PageID #: 13072


                                                        US 11,238,344 B1
                              43                                                                      44
    device correlated with the first stream of collections of          sets are stored or used . In further embodiments, the execut
    object representations includes modifying an element of the        ing the first one or more instruction sets for operating the
    logic circuit . In further embodiments, the executing, by the      device correlated with the first stream of collections of
    logic circuit , the first one or more instruction sets for object representations includes modifying one or more
    operating the device correlated with the first stream of 5 instruction sets for operating an application or an object of
    collections of object representations includes inserting the       the application. In further embodiments, the executing the
    first one or more instruction sets for operating the device        first one or more instruction sets for operating the device
    correlated with the first stream of collections of object          correlated with the first stream of collections of object
    representations into an element of the logic circuit. In further representations includes modifying at least one of: an ele
    embodiments, the executing, by the logic circuit , the first 10 ment of a processor circuit , an element of the device , a
    one or more instruction sets for operating the device corre-       virtual machine , a runtime engine, an operating system , an
    lated with the first stream of collections of object represen-     execution stack , a program counter, or a user input. In
    tations includes redirecting the logic circuit to the first one    further embodiments, the executing the first one or more
    or more instruction sets for operating the device correlated       instruction sets for operating the device correlated with the
    with the first stream of collections of object representations. 15 first stream of collections of object representations includes
    In further embodiments , the executing, by the logic circuit, modifying one or more instruction sets at a source code write
    the first one or more instruction sets for operating the device time , a compile time , an interpretation time , a translation
    correlated with the first stream of collections of object time , a linking time , a loading time , or a runtime. In further
    representations includes replacing inputs into the logic cir- embodiments, the executing the first one or more instruction
    cuit with the first one or more instruction sets for operating 20 sets for operating the device correlated with the first stream
    the device correlated with the first stream of collections of of collections of object representations includes modifying
    object representations. In further embodiments, the execut- one or more code segments , lines of code , statements,
    ing , by the logic circuit , the first one or more instruction sets instructions, functions, routines, subroutines, or basic
    for operating the device correlated with the first stream of blocks . In further embodiments, the executing the first one
    collections of object representations includes replacing out- 25 or more instruction sets for operating the device correlated
    puts from the logic circuit with the first one or more with the first stream of collections of object representations
    instruction sets for operating the device correlated with the includes a manual, an automatic, a dynamic, or a just in time
    first stream of collections of object representations.              (JIT ) instrumentation of an application . In further embodi
       In some embodiments , the executing the first one or more ments, the executing the first one or more instruction sets for
    instruction sets for operating the device correlated with the 30 operating the device correlated with the first stream of
    first stream of collections of object representations includes collections of object representations includes utilizing one or
    executing, by an application for operating the device , the more of a .NET tool , a .NET application programming
    first one or more instruction sets for operating the device interface ( API), a Java tool , a Java API , an operating system
    correlated with the first stream of collections of object tool , or an independent tool for modifying instruction sets .
    representations. In further embodiments, the executing the 35 In further embodiments , the executing the first one or more
    first one or more instruction sets for operating the device instruction sets for operating the device correlated with the
    correlated with the first stream of collections of object first stream of collections of object representations includes
    representations includes modifying an application, the appli- utilizing at least one of: a dynamic, an interpreted, or a
    cation including instruction sets for operating the device . In scripting programming language. In further embodiments ,
    further embodiments, the executing the first one or more 40 the executing the first one or more instruction sets for
    instruction sets for operating the device correlated with the operating the device correlated with the first stream of
    first stream of collections of object representations includes collections of object representations includes utilizing at
    redirecting an application to the first one or more instruction least one of: a dynamic code , a dynamic class loading, or a
    sets for operating the device correlated with the first stream reflection . In further embodiments , the executing the first
    of collections of object representations. In further embodi- 45 one or more instruction sets for operating the device corre
    ments, the executing the first one or more instruction sets for lated with the first stream of collections of object represen
    operating the device correlated with the first stream of tations includes utilizing an assembly language. In further
    collections of object representations includes redirecting an embodiments, the executing the first one or more instruction
    application to one or more alternate instruction sets , the sets for operating the device correlated with the first stream
    alternate instruction sets comprising the first one or more 50 of collections of object representations includes utilizing at
    instruction sets for operating the device correlated with the least one of: a metaprogramming, a self-modifying code , or
    first stream of collections of object representations. In fur- an instruction set modification tool . In further embodiments ,
    ther embodiments, the executing the first one or more the executing the first one or more instruction sets for
    instruction sets for operating the device correlated with the operating the device correlated with the first stream of
    first stream of collections of object representations includes 55 collections of object representations includes utilizing at
    modifying one or more instruction sets of an application . In least one of:just in time (JIT ) compiling, JIT interpretation,
    further embodiments, the executing the first one or more JIT translation, dynamic recompiling, or binary rewriting. In
    instruction sets for operating the device correlated with the further embodiments, the executing the first one or more
    first stream of collections of object representations includes instruction sets for operating the device correlated with the
    modifying a source code , a bytecode, an intermediate code, 60 first stream of collections of object representations includes
    a compiled code , an interpreted code , a translated code , a utilizing at least one of a dynamic expression creation , a
    runtime code, an assembly code , or a machine code . In dynamic expression execution , a dynamic function creation ,
    further embodiments, the executing the first one or more or a dynamic function execution . In further embodiments ,
    instruction sets for operating the device correlated with the the executing the first one or more instruction sets for
    first stream of collections of object representations includes 65 operating the device correlated with the first stream of
    modifying at least one of: the memory unit , a register of a collections of object representations includes adding or
    processor circuit, a storage , or a repository where instruction inserting additional code into a code of an application. In
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 202 of 2562 PageID #: 13073


                                                       US 11,238,344 B1
                                 45                                                                  46
    further embodiments, the executing the first one or more           representations correlated with the second one or more
    instruction sets for operating the device correlated with the      instruction sets for operating the device .
    first stream of collections of object representations includes        In some aspects , the disclosure relates to a non -transitory
    at least one of: modifying, removing, rewriting, or overwrit- computer storage medium having a computer program
    ing a code of an application. In further embodiments, the 5 stored thereon , the program including instructions that when
    executing the first one or more instruction sets for operating     executed by one or more processor circuits cause the one or
    the device correlated with the first stream of collections of      more processor circuits to perform operations comprising :
    object representations includes at least one of: branching,        receiving, by a first processor circuit of the one or more
    redirecting, extending, or hot swapping a code of an appli-        processor circuits , a first stream of collections of object
    cation . The branching or redirecting the code may include 10 representations, the first stream of collections of object
    inserting at least one of: a branch , a jump, or a means for representations including one or more collections of repre
    redirecting an execution . In further embodiments, the sentations of objects detected by a sensor. The operations
    executing the first one or more instruction sets for operating may further comprise: receiving , by the first processor
    the device correlated with the first stream of collections of      circuit of the one or more processor circuits , a first one or
    object representations includes implementing a user's 15 more instruction sets for operating a device . The operations
    knowledge, style, or methodology of operating the device in may further comprise : learning, by the first processor circuit
    a circumstance . In further embodiments , the executing the of the one or more processor circuits , the first stream of
    first one or more instruction sets for operating the device collections of object representations correlated with the first
    correlated with the first stream of collections of object one or more instruction sets for operating the device. The
    representations includes executing the first one or more 20 operations may further comprise : receiving, by the first
    instruction sets for operating the device correlated with the processor circuit of the one or more processor circuits , a new
    first stream of collections of object representations via an stream of collections of object representations, the new
    interface . The interface may include a modification inter- stream of collections of object representations including one
    face.                                                              or more collections of representations of objects detected by
       In certain embodiments, the operations of the non - tran- 25 the sensor. The operations may further comprise: anticipat
    sitory computer storage medium and / or the method further ing , by the first processor circuit of the one or more
    comprise : receiving at least one extra information . In further processor circuits, the first one or more instruction sets for
    embodiments , the operations of the non - transitory computer operating the device correlated with the first stream of
    storage medium and / or the method further comprise: learn- collections of object representations based on at least a
    ing the first stream of collections of object representations 30 partial match between the new stream of collections of
    correlated with the at least one extra information .               object representations and the first stream of collections of
       In some embodiments, the operations of the non - transi- object representations. The operations may further com
    tory computer storage medium and / or the method further prise : causing, by the first processor circuit of the one or
    comprise : presenting, via a user interface , a user with an more processor circuits, an execution , by a second processor
    option to execute the first one or more instruction sets for 35 circuit of the one or more processor circuits , of the first one
    operating the device correlated with the first stream of or more instruction sets for operating the device correlated
    collections of object representations.                             with the first stream of collections of object representations,
       In certain embodiments, the operations of the non -tran- the causing performed in response to the anticipating, by the
    sitory computer storage medium and / or the method further first processor circuit of the one or more processor circuits,
    comprise : receiving, via a user interface , a user's selection 40 the first one or more instruction sets for operating the device
    to execute the first one or more instruction sets for operating correlated with the first stream of collections of object
    the device correlated with the first stream of collections of representations based on at least a partial match between the
    object representations.                                            new stream of collections of object representations and the
       In some embodiments, the operations of the non - transi- first stream of collections of object representations, wherein
    tory computer storage medium and / or the method further 45 the device performs one or more operations defined by the
    comprise : rating the executed first one or more instruction first one or more instruction sets for operating the device
    sets for operating the device correlated with the first stream correlated with the first stream of collections of object
    of collections of object representations.                          representations, the one or more operations by the device
       In certain embodiments, the operations of the non -tran- performed in response to the execution .
    sitory computer storage medium and / or the method further 50 In some aspects , the disclosure relates to a method com
    comprise : presenting, via a user interface, a user with an prising: (a ) receiving a first stream of collections of object
    option to cancel the execution of the executed first one or representations by a first processor circuit, the first stream of
    more instruction sets for operating the device correlated with collections of object representations including one or more
    the first stream of collections of object representations.     collections of representations of objects detected by a sen
       In some embodiments, the operations of the non -transi- 55 sor. The method may further comprise: ( b ) receiving a first
    tory computer storage medium and /or the method further one or more instruction sets for operating a device by the
    comprise : receiving, via an input device , a user's operating first processor circuit . The method may further comprise: (c )
    directions , the user's operating directions for instructing a learning the first stream of collections of object representa
    processor circuit on how to operate the device .               tions correlated with the first one or more instruction sets for
       In certain embodiments, the operations of the non -tran- 60 operating the device, the learning of ( c) performed by the
    sitory computer storage medium and /or the method further first processor circuit. The method may further comprise : (d)
    comprise : receiving aa second stream of collections of object receiving a new stream of collections of object representa
    representations, the second stream of collections of object tions by the first processor circuit, the new stream of
    representations including one or more collections of repre- collections of object representations including one or more
    sentations of objects detected by the sensor; receiving a 65 collections of representations of objects detected by the
    second one or more instruction sets for operating the device ; sensor. The method may further comprise: (e ) anticipating
    and learning the second stream of collections of object the first one or more instruction sets for operating the device
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 203 of 2562 PageID #: 13074


                                                        US 11,238,344 B1
                               47                                                                       48
    correlated with the first stream of collections of object            tions correlated with the first one or more instruction sets for
    representations based on at least a partial match between the operating the device , the learning of ( c ) performed by the
    new stream of collections of object representations and the processor circuit.
    first stream of collections of object representations, the           The operations or steps of the non - transitory computer
    anticipating of (e ) performed by the first processor circuit . 5 storage medium and /or the method may be performed by
    The method may further comprise: ( f) executing, by a any of the elements of the above described systems as
    second processor circuit , the first one or more instruction applicable . The non - transitory computer storage medium
    sets for operating the device correlated with the first stream    and /or the method may include any of the operations, steps ,
    of collections of object representations, the executing of ( f) and embodiments of the above described systems , non
    performed in response to the anticipating of ( e) . The method 10 transitory computer storage media , and / or methods as appli
    may further comprise: ( g) performing, by the device, one or         cable .
    more operations defined by the first one or more instruction           In some aspects , the disclosure relates to a system for
    sets for operating the device correlated with the first stream       using a device's circumstances for autonomous device oper
    of collections of object representations, the one or more ating . The system may be implemented at least in part on one
    operations by the device performed in response to the 15 or more computing devices. In some embodiments, the
    executing of ( f ).                                       system comprises: a processor circuit configured to execute
      The operations or steps of the non -transitory computer instruction sets for operating a device . The system may
    storage medium and / or the method may be performed by further comprise : a memory unit configured to store data .
    any of the elements of the above described systems as The system may further comprise : a sensor configured to
    applicable. The non -transitory computer storage medium 20 detect objects. The system may further comprise : an artifi
    and /or the method may include any of the operations, steps , cial intelligence unit . The artificial intelligence unit may be
    and embodiments of the above described systems, non- configured to : access the memory unit that comprises a
    transitory computer storage media , and / or methods as appli- plurality of streams of collections of object representations
    cable .                                                             correlated with one or more instruction sets for operating the
       In some aspects , the disclosure relates to a system for 25 device, the plurality of streams of collections of object
    learning a device's circumstances for autonomous device representations correlated with one or more instruction sets
    operating. The system may be implemented at least in part for operating the device including a first stream of collec
    on one or more computing devices. In some embodiments, tions of object representations correlated with aa first one or
    the system comprises: a processor circuit configured to more instruction sets for operating the device . The artificial
    execute instruction sets for operating a device . The system 30 intelligence unit may be further configured to : receive a new
    may further comprise : a memory unit configured to store stream of collections of object representations, the new
    data . The system may further comprise : a sensor configured stream of collections of object representations including one
    to detect objects . The system may further comprise: an or more collections of representations of objects detected by
    artificial intelligence unit . The artificial intelligence unit the sensor. The artificial intelligence unit may be further
    may be configured to : receive aa first stream of collections of 35 configured to : anticipate the first one or more instruction sets
    object representations, the first stream of collections of for operating the device correlated with the first stream of
    object representations including one or more collections of collections of object representations based on at least a
    representations of objects detected by the sensor. The arti- partial match between the new stream of collections of
    ficial intelligence unit may be further configured to : receive object representations and the first stream of collections of
    a first one or more instruction sets for operating the device . 40 object representations. The artificial intelligence unit may be
    The artificial intelligence unit may be further configured to : further configured to : cause the processor circuit to execute
    learn the first stream of collections of object representations the first one or more instruction sets for operating the device
    correlated with the first one or more instruction sets for correlated with the first stream of collections of object
    operating the device.                                               representations, the causing performed in response to the
       In some aspects , the disclosure relates to a non -transitory 45 anticipating of the artificial intelligence unit, wherein the
    computer storage medium having a computer program device performs one or more operations defined by the first
    stored thereon , the program including instructions that when one or more instruction sets for operating the device corre
    executed by one or more processor circuits cause the one or lated with the first stream of collections of object represen
    more processor circuits to perform operations comprising : tations , the one or more operations performed in response to
    receiving a first stream of collections of object representa- 50 the executing by the processor circuit .
    tions , the first stream of collections of object representations      In some aspects , the disclosure relates to a non - transitory
    including one or more collections of representations of computer storage medium having a computer program
    objects detected by a sensor. The operations may further stored thereon , the program including instructions that when
    comprise : receiving a first one or more instruction sets for executed by one or more processor circuits cause the one or
    operating a device . The operations may further comprise : 55 more processor circuits to perform operations comprising:
    learning the first stream of collections of object representa- accessing a memory unit that comprises a plurality of
    tions correlated with the first one or more instruction sets for streams of collections of object representations correlated
    operating the device.                                               with one or more instruction sets for operating a device, the
       In some aspects , the disclosure relates to a non method plurality of streams of collections of object representations
    comprising : ( a) receiving a first stream of collections of 60 correlated with one or more instruction sets for operating the
    object representations by a processor circuit, the first stream device including a first stream of collections of object
    of collections of object representations including one or representations correlated with a first one or more instruc
    more collections of representations of objects detected by a tion sets for operating the device . The operations may
    sensor . The method may further comprise : (b ) receiving a further comprise : receiving a new stream of collections of
    first one or more instruction sets for operating a device by 65 object representations, the new stream of collections of
    the processor circuit . The method may further comprise : (c ) object representations including one or more collections of
    learning the first stream of collections of object representa- representations of objects detected by a sensor. The opera
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 204 of 2562 PageID #: 13075


                                                        US 11,238,344 B1
                                 49                                                                   50
    tions may further comprise : anticipating the first one or more may further comprise: a sensor configured to detect objects.
    instruction sets for operating the device correlated with the The system may further comprise: an artificial intelligence
    first stream of collections of object representations based on unit . The artificial intelligence unit may be configured to :
    at least a partial match between the new stream of collec- receive a first collection of object representations, the first
    tions of object representations and the first stream of col- 5 collection of object representations including one or more
    lections of object representations. The operations may fur representations of objects detected by the sensor. The arti
    ther comprise: causing an execution of the first one or more ficial intelligence unit may be further configured to : receive
    instruction sets for operating the device correlated with the a first one or more inputs, wherein the first one or more
    first stream of collections of object representations, the
    causing performed in response to the anticipating the first 10 inputs      are also received by the logic circuit . The artificial
    one or more instruction sets for operating the device corre collection ofunit
                                                                       intelligence      may be further configured to : learn the first
    lated with the first stream of collections of object represen one or more inputs. representations
                                                                                      object                   correlated with the first
    tations based on at least a partial match between the new further configured to : receive a new collectionunitofmay
                                                                                              The  artificial intelligence           be
                                                                                                                                 object
    stream of collections of object representations and the first
    stream    of collections of object representations, wherein the 1s representations, the new collection of object representations
    device performs one or more operations defined by the first including one or more representations of objects detected by
    one or more instruction sets for operating the device corre- the sensor. The artificial intelligence unit may be further
    lated with the first stream of collections of object represen configured to : anticipate the first one or more inputs corre
    tations , the one or more operations by the device performed lated with the first collection of object representations based
    in response to the execution.                                   20 on at least a partial match between the new collection of
         In some aspects , the disclosure relates to a method com- object representations and the first collection of object
    prising: ( a) accessing a memory unit that comprises a representations. The artificial intelligence unit may be fur
    plurality of streams of collections of object representations ther configured to : cause the logic circuit to receive the first
    correlated with one or more instruction sets for operating a one or more inputs correlated with the first collection of
    device, the plurality of streams of collections of object 25 object representations, the causing performed in response to
    representations correlated with one or more instruction sets the anticipating of the artificial intelligence unit, wherein the
    for operating the device including a first stream of collec- device performs one or more operations defined by one or
    tions of object representations correlated with a first one or more outputs for operating the device produced by the logic
    more instruction sets for operating the device , the accessing circuit.
    of ( a) performed by a processor circuit . The method may 30 In some embodiments, the logic circuit configured to
    further comprise: ( b ) receiving a new stream of collections receive inputs and produce outputs includes a logic circuit
    of object representations by the processor circuit, the new configured to produce outputs based at least in part on logic
    stream of collections of object representations including one operations performed on the inputs. In further embodiments,
    or more collections of representations of objects detected by the learning the first collection of object representations
    a sensor. The method may further comprise: ( c ) anticipating 35 correlated with the first one or more inputs includes corre
    the first one or more instruction sets for operating the device lating the first collection of object representations with the
    correlated with the first stream of collections of object first one or more inputs. In further embodiments , the learn
    representations based on at least a partial match between the ing the first collection of object representations correlated
    new stream of collections of object representations and the with the first one or more inputs includes storing the first
    first stream of collections of object representations, the 40 collection of object representations correlated with the first
    anticipating of (c ) performed by the processor circuit . The one or more inputs into the memory unit, the first collection
    method may further comprise: (d) executing the first one or of object representations correlated with the first one or
    more instruction sets for operating the device correlated with more inputs being part of a plurality of collections of object
    the first stream of collections of object representations, the representations correlated with one or more inputs stored in
    executing of ( d) performed in response to the anticipating of 45 the memory unit . In further embodiments, the anticipating
    ( c ) . The method may further comprise: (e ) performing, by the first one or more inputs correlated with the first collec
    the device, one or more operations defined by the first one tion of object representations based on at least a partial
    or more instruction sets for operating the device correlated match between the new collection of object representations
    with the first stream of collections of object representations, and the first collection of object representations includes
    the one or more operations by the device performed in 50 comparing at least one portion of the new collection of
    response to the executing of ( d ).                                object representations with at least one portion of the first
         The operations or steps of the non - transitory computer collection of object representations. In further embodiments,
    storage medium and / or the method may be performed by the anticipating the first one or more inputs correlated with
    any of the elements of the above described systems as the first collection of object representations based on at least
    applicable. The non -transitory computer storage medium 55 a partial match between the new collection of object repre
    and / or the method may include any of the operations, steps , sentations and the first collection of object representations
    and embodiments of the above described systems, non- includes determining that there is at least a partial match
    transitory computer storage media , and / or methods as appli- between the new collection of object representations and the
    cable .                                                            first collection of object representations. In further embodi
         In some aspects , the disclosure relates to a system for 60 ments, the causing the logic circuit to receive the first one or
    learning and using a device's circumstances for autonomous more inputs correlated with the first collection of object
    device operating. The system may be implemented at least representations includes transmitting, to the logic circuit , the
    in part on one or more computing devices . In some embodi- first one or more inputs correlated with the first collection of
    ments , the system comprises: a logic circuit configured to object representations. In further embodiments, the causing
    receive inputs and produce outputs, wherein the outputs are 65 the logic circuit to receive the first one or more inputs
    used for operating a device . The system may further com- correlated with the first collection of object representations
    prise: a memory unit configured to store data . The system includes replacing one or more inputs into the logic circuit
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 205 of 2562 PageID #: 13076


                                                          US 11,238,344 B1
                                  51                                                                 52
    with the first one or more inputs correlated with the first         any of the elements of the above described systems as
    collection of object representations.                               applicable . The non - transitory computer storage medium
       In some aspects , the disclosure relates to a non - transitory   and / or the method may include any of the operations, steps ,
    computer storage medium having a computer program                   and embodiments of the above described systems , non
    stored thereon , the program including instructions that when 5 transitory computer storage media , and / or methods as appli
    executed by one or more processor circuits cause the one or cable .
    more processor circuits to perform operations comprising :             In some aspects , the disclosure relates to a system for
    receiving a first collection of object representations, the first learning and using a device's circumstances for autonomous
    collection of object representations including one or more device operating. The system may be implemented at least
    representations of objects detected by a sensor. The opera- 10 in part on one or more computing devices . In some embodi
    tions may further comprise : receiving a first one or more ments, the system comprises : a logic circuit configured to
    inputs , wherein the first one or more inputs are also received receive inputs and produce outputs, wherein the outputs are
    by a logic circuit, and wherein the logic circuit is configured used for operating a device . The system may further com
    to receive inputs and produce outputs, and wherein the prise : a memory unit configured to store data . The system
    outputs are used for operating a device . The operations may 15 may further comprise : a sensor configured to detect objects.
    further comprise: learning the first collection of object The system may further comprise : an artificial intelligence .
    representations correlated with the first one or more inputs . The artificial intelligence unit may be configured to : receive
    The operations may further comprise: receiving a new a first collection of object representations, the first collection
    collection of object representations, the new collection of of object representations including one or more representa
    object representations including one or more representations 20 tions of objects detected by the sensor. The artificial       intel
    of objects detected by the sensor. The operations may further ligence unit may be further configured to : receive aa first one
    comprise : anticipating the first one or more inputs correlated or more outputs, the first one or more outputs transmitted
    with the first collection of object representations based on at from the logic circuit. The artificial intelligence unit may be
    least a partial match between the new collection of object further configured to : learn the first collection of object
    representations and the first collection of object representa- 25 representations correlated with the first one or more outputs.
    tions . The operations may further comprise: causing the The artificial intelligence unit may be further configured to :
    logic circuit to receive the first one or more inputs correlated receive a new collection of object representations, the new
    with the first collection of object representations, the causing collection of object representations including one or more
    performed in response to the anticipating the first one or representations of objects detected by the sensor . The arti
    more inputs correlated with the first collection of object 30 ficial intelligence unit may be further configured to : antici
    representations based on at least a partial match between the pate the first one or more outputs correlated with the first
    new collection of object representations and the first collec- collection of object representations based on at least a partial
    tion of object representations, wherein the device performs match between the new collection of object representations
    one or more operations defined by one or more outputs for and the first collection of object representations. The artifi
    operating the device produced by the logic circuit .             35 cial intelligence unit may be further configured to : cause the
       In some aspects , the disclosure relates to a method com- device to perform one or more operations defined by the first
    prising: (a ) receiving a first collection of object representa- one or more outputs correlated with the first collection of
    tions by a processor circuit , the first collection of object object representations, the causing performed in response to
    representations including one or more representations of the anticipating of the artificial intelligence unit .
    objects detected by a sensor. The method may further 40 In some embodiments, the learning the first collection of
    comprise : (b ) receiving a first one or more inputs by the object representations correlated with the first one or more
    processor circuit, wherein the first one or more inputs are outputs includes correlating the first collection of object
    also received by a logic circuit , and wherein the logic circuit representations with the first one or more outputs. In further
    is configured to receive inputs and produce outputs, and embodiments, the learning the first collection of object
    wherein the outputs are used for operating a device. The 45 representations correlated with the first one or more outputs
    method may further comprise: ( c ) learning the first collec- includes storing the first collection of object representations
    tion of object representations correlated with the first one or correlated with the first one or more outputs into the memory
    more inputs, the learning of ( c ) performed by the processor unit, the first collection of object representations correlated
    circuit . The method may further comprise: ( d) receiving a with the first one or more outputs being part of a plurality of
    new collection of object representations by the processor 50 collections of object representations correlated with one or
    circuit , the new collection of object representations includ- more outputs stored in the memory unit . In further embodi
    ing one or more representations of objects detected by the ments, the anticipating the first one or more outputs corre
    sensor . The method may further comprise : (e ) anticipating lated with the first collection of object representations based
    the first one or more inputs correlated with the first collec- on at least a partial match between the new collection of
    tion of object representations based on at least a partial 55 object representations and the first collection of object
    match between the new collection of object representations representations includes comparing at least one portion of
    and the first collection of object representations, the antici- the new collection of object representations with at least one
    pating of ( e ) performed by the processor circuit. The method portion of the first collection of object representations. In
    may further comprise: ( f) receiving , by the logic circuit, the further embodiments, the anticipating the first one or more
    first one or more inputs correlated with the first collection of 60 outputs correlated with the first collection of object repre
    object representations, the receiving of ( f) performed in sentations based on at least a partial match between the new
    response to the anticipating of (e ) . The method may further collection of object representations and the first collection of
    comprise : (g) performing, by the device, one or more object representations includes determining that there is at
    operations defined by one or more outputs for operating the least a partial match between the new collection of object
    device produced by the logic circuit .                           65 representations and the first collection of object representa
       The operations or steps of the non - transitory computer tions . In further embodiments , the causing the device to
    storage medium and / or the method may be performed by perform one or more operations defined by the first one or
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 206 of 2562 PageID #: 13077


                                                      US 11,238,344 B1
                                 53                                                                54
    more outputs correlated with the first collection of object and /or the method may include any of the operations, steps ,
    representations includes replacing one or more outputs from and embodiments of the above described systems , non
    the logic circuit with the first one or more outputs correlated transitory computer storage media , and /or methods as appli
    with the first collection of object representations.                 cable .
       In some aspects , the disclosure relates to a non - transitory 5 In some aspects , the disclosure relates to a system for
    computer storage medium having a computer program learning and using a device's circumstances for autonomous
    stored thereon , the program including instructions that when device operating. The system may be implemented at least
    executed by one or more processor circuits cause the one or in part on one or more computing devices . In some embodi
    more processor circuits to perform operations comprising: ments, the system comprises: an actuator configured to
    receiving a first collection of object representations, the first 10 receive inputs and perform motions . The system may further
    collection of object representations including one or more comprise: a memory unit configured to store data . The
    representations of objects detected by a sensor . The opera- system may further comprise: a sensor configured to detect
    tions may further comprise: receiving a first one or more objects. The system may further comprise : an artificial
    outputs, the first one or more outputs transmitted from a intelligence unit . The artificial intelligence unit may be
    logic circuit, wherein the logic circuit is configured to 15 configured to : receive aa first collection of object represen
    receive inputs and produce outputs, and wherein the outputs tations , the first collection of object representations includ
    are used for operating a device. The operations may further ing one or more representations of objects detected by the
    comprise : learning the first collection of object representa- sensor . The artificial intelligence unit may be further con
    tions correlated with the first one or more outputs. The figured to : receive a first one or more inputs, wherein the first
    operations may further comprise : receiving a new collection 20 one or more inputs are also received by the actuator . The
    of object representations, the new collection of object rep- artificial intelligence unit may be further configured to : learn
    resentations including one or more representations of objects the first collection of object representations correlated with
    detected by the sensor. The operations may further comprise: the first one or more inputs. The artificial intelligence unit
    anticipating the first one or more outputs correlated with the may be further configured to : receive a new collection of
    first collection of object representations based on at least a 25 object representations, the new collection of object repre
    partial match between the new collection of object repre- sentations including one or more representations of objects
    sentations and the first collection of object representations. detected by the sensor. The artificial intelligence unit may be
    The operations may further comprise : causing the device to further configured to : anticipate the first one or more inputs
    perform one or more operations defined by the first one or correlated with the first collection of object representations
    more outputs correlated with the first collection of object 30 based on at least a partial match between the new collection
    representations, the causing performed in response to the of object representations and the first collection of object
    anticipating the first one or more outputs correlated with the representations. The artificial intelligence unit may be fur
    first collection of object representations based on least a ther configured cause the ac tor to receive the first one
    partial match between the new collection of object repre- or more inputs correlated with the first collection of object
    sentations and the first collection of object representations. 35 representations, the causing performed in response to the
       In some aspects , the disclosure relates to a method com- anticipating of the artificial intelligence unit, wherein the
    prising: (a ) receiving a first collection of object representa- actuator performs one or more motions defined by the first
    tions by a processor circuit , the first collection of object one or more inputs correlated with the first collection of
    representations including one or more representations of object representations.
    objects detected by a sensor. The method may further 40 In some aspects , the disclosure relates to a non - transitory
    comprise : (b ) receiving a first one or more outputs by the computer storage medium having a computer program
    processor circuit, the first one or more outputs transmitted stored thereon , the program including instructions that when
    from a logic circuit , wherein the logic circuit is configured executed by one or more processor circuits cause the one or
    to receive inputs and produce outputs, and wherein the more processor circuits to perform operations comprising:
    outputs are used for operating a device . The method may 45 receiving a first collection of object representations, the first
    further comprise: ( C ) learning the first collection of object collection of object representations including one or more
    representations correlated with the first one or more outputs, representations of objects detected by a sensor . The opera
    the learning of ( c ) performed by the processor circuit . The tions may further comprise : receiving a first one or more
    method may further comprise : (d) receiving a new collection inputs, wherein the first one or more inputs are also received
    of object representations by the processor circuit, the new 50 by an actuator, and wherein the actuator is configured to
    collection of object representations including one or more receive inputs and perform motions . The operations may
    representations of objects detected by the sensor. The further comprise: learning the first collection of object
    method may further comprise: ( e) anticipating the first one representations correlated with the first one or more inputs.
    or more outputs correlated with the first collection of object The operations may further comprise : receiving a new
    representations based on at least a partial match between the 55 collection of object representations, the new collection of
    new collection of object representations and the first collec- object representations including one or more representations
    tion of object representations, the anticipating of ( e) per- of objects detected by the sensor. The operations may further
    formed by the processor circuit. The method may further comprise: anticipating the first one or more inputs correlated
    comprise : ( f) performing, by the device, one or more opera- with the first collection of object representations based on at
    tions defined by the first one or more outputs correlated with 60 least a partial match between the new collection of object
    the first collection of object representations, the one or more representations and the first collection of object representa
    operations by the device performed in response to the tions . The operations may further comprise: causing the
    anticipating of (e ) .                                               actuator to receive the first one or more inputs correlated
       The operations or steps of the non - transitory computer with the first collection of object representations, the causing
    storage medium and /or the method may be performed by 65 performed in response to the anticipating the first one or
    any of the elements of the above described systems as more inputs correlated with the first collection of object
    applicable. The non - transitory computer storage medium representations based on at least a partial match between the
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 207 of 2562 PageID #: 13078


                                                          US 11,238,344 B1
                                  55                                                                   56
    new collection of object representations and the first collec-         FIGS . 8A - 8B illustrate some embodiments of Extra Infor
    tion of object representations, wherein the actuator performs        mation 527 .
    one or more motions defined by the first one or more inputs            FIG . 9 illustrates an embodiment where DCADO Unit
    correlated with the first collection of object representations. 5 100 is part of or operating on Processor 11 .
       In some aspects , the disclosure relates to a method com-           FIG . 10 illustrates an embodiment where DCADO Unit
    prising: (a ) receiving a first collection of object representa-     100 resides on Server 96 accessible over Network 95 .
    tions by a processor circuit , the first collection of object        FIG . 11 illustrates an embodiment of learning and / or
    representations including one or more representations of using           Remote Device's 97 circumstances for autonomous
    objects detected by a sensor. The method may further Remote Device 97 operation.
    comprise : (b ) receiving a first one or more inputs by the 10 FIG . 12 illustrates an embodiment of Artificial Intelli
    processor circuit, wherein the first one or more inputs are gence Unit 110 .
    also received by an actuator, and wherein the actuator is            FIG . 13 illustrates an embodiment of Knowledge Struc
    configured to receive inputs and perform motions . The
    method may further comprise: ( c ) learning the first collec turing Unit 520 correlating individual Collections of Object
    tion of object representations correlated with the first one or 15 Representations  525 with any Instruction Sets 526 and /or
    more inputs, the learning of ( c ) performed by the processor Extra      Info 527 .
                                                                         FIG . 14 illustrates another embodiment of Knowledge
    circuit . The method may further comprise: ( d) receiving a
    new collection of object representations by the processor Structuring Unit 520 correlating individual Collections of
    circuit , the new collection of object representations includ Object Representations 525 with any Instruction Sets 526
    ing one or more representations of objects detected by the 20 and / or Extra Info 527.
    sensor . The method may further comprise : (e ) anticipating       FIG . 15 illustrates an embodiment of Knowledge Struc
    the first one or more inputs correlated with the first collec- turing Unit 520 correlating streams of Collections of Object
    tion of object representations based on at least a partial Representations 525 with any Instruction Sets 526 and / or
    match between the new collection of object representations Extra Info 527 .
    and the first collection of object representations, the antici- 25 FIG . 16 illustrates another embodiment of Knowledge
    pating of ( e ) performed by the processor circuit. The method Structuring Unit 520 correlating streams of Collections of
    may further comprise : ( f) receiving , by the actuator, the first   Object Representations 525 with any Instruction Sets 526
    one or more inputs correlated with the first collection of           and /or Extra Info 527 .
    object representations, the receiving of ( f) performed in             FIG . 17 illustrates various artificial intelligence methods,
    response to the anticipating of (e ) . The method may further 30 systems , and / or models that can be utilized in DCADO Unit
    comprise : ( g) performing, by the actuator, one or more 100 embodiments .
    motions defined by the first one or more inputs correlated           FIG . 18A - 18C illustrate embodiments of interconnected
    with the first collection of object representations.              Knowledge Cells 800 and updating weights of Connections
       The operations or steps of the non -transitory computer 853 .
    storage medium and / or the method may be performed by 35 FIG . 19 illustrates an embodiment of learning Knowledge
    any of the elements of the above described systems as Cells 800 comprising one or more Collections of Object
    applicable. The non - transitory computer storage medium Representations 525 correlated with any Instruction Sets 526
    and / or the method may include any of the operations, steps , and / or Extra Info 527 using Collection of Knowledge Cells
    and embodiments of the above described systems, non 530d .
    transitory computer storage media , and / or methods as appli- 40 FIG . 20 illustrates an embodiment of learning Knowledge
    cable .                                                           Cells 800 comprising one or more Collections of Object
       Other features and advantages of the disclosure will Representations 525 correlated with any Instruction Sets 526
    become apparent from the following description , including and / or Extra Info 527 using Neural Network 530a .
    the claims and drawings.                                             FIG . 21 illustrates an embodiment of learning Knowledge
                                                                   45 Cells 800 comprising one or more Collections of Object
            BRIEF DESCRIPTION OF THE DRAWINGS                         Representations 525 correlated with any Instruction Sets 526
                                                                      and / or Extra Info 527 using Neural Network 530a compris
       FIG . 1 illustrates a block diagram of Computing Device ing shortcut Connections 853 .
    70 that can provide processing capabilities used in some of          FIG . 22 illustrates an embodiment of learning Knowledge
    the disclosed embodiments .                                    50 Cells 800 comprising one or more Collections of Object
       FIG . 2 illustrates an embodiment of Device 98 comprising Representations 525 correlated with any Instruction Sets 526
    Unit for Learning and /or Using a Device's Circumstances and / or Extra Info 527 using Graph 530b .
    for Autonomous Device Operation ( DCADO Unit 100 ) .                FIG . 23 illustrates an embodiment of learning Knowledge
       FIGS . 3A - 3E illustrate various embodiments of Sensors Cells 800 comprising one or more Collections of Object
    92 and elements of Object Processing Unit 93 .                 55 Representations 525 correlated with any Instruction Sets 526
       FIGS . 4A - 4B , illustrate an exemplary embodiment of and / or Extra Info 527 using Collection of Sequences 530c .
    Objects 615 detected in Device's 98 surrounding, and result-         FIG . 24 illustrates an embodiment of determining antici
    ing Collection of Object Representations 525 .                    patory Instruction Sets 526 from a single Knowledge Cell
       FIG . 5 illustrates some embodiments of obtaining instruc- 800 .
    tion sets, data , and / or other information through tracing, 60 FIG . 25 illustrates an embodiment of determining antici
    profiling, or sampling of Processor 11 registers , memory, or patory Instruction Sets 526 by traversing a single Knowl
    other computing system components.                                   edge Cell 800 .
      FIGS . 6A - 6B illustrate some embodiments of obtaining              FIG . 26 illustrates an embodiment of determining antici
    instruction sets , data , and / or other information through trac- patory Instruction Sets 526 using collective similarity com
    ing , profiling, or sampling of Logic Circuit 250 .               65 parisons.
       FIGS . 7A - 7E illustrate some embodiments of Instruction           FIG . 27 illustrates an embodiment of determining antici
    Sets 526 .                                                           patory Instruction Sets 526 using Neural Network 530a .
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 208 of 2562 PageID #: 13079


                                                         US 11,238,344 B1
                                  57                                                                   58
      FIG . 28 illustrates an embodiment of determining antici-          learning and / or using a device's circumstances for autono
    patory Instruction Sets 526 using Graph 530b.                mous device operation, any of their elements, any of their
      FIG . 29 illustrates an embodiment of determining antici- embodiments, or a combination thereof can generally be
    patory Instruction Sets 526 using Collection of Sequences referred to as DCADO , DCADO Unit, or as other suitable
    530c .                                                     5 name or reference.
      FIG . 30 illustrates some embodiments of modifying           Referring now to FIG . 1 , an embodiment is illustrated of
    execution and / or functionality of Processor 11 through Computing Device 70 ( also referred to simply as computing
    modification of Processor 11 registers, memory , or other device, computing system , or other suitable name or refer
    computing system components .                                ence, etc.) that can provide processing capabilities used in
      FIGS. 31A-31B illustrate some embodiments of modify- 10 some embodiments of the forthcoming disclosure. Later
    ing execution and / or functionality of Logic Circuit 250            described devices , systems , and methods, in combination
    through modification of inputs and / or outputs of Logic with processing capabilities of Computing Device 70 ,
    Circuit 250 .                                                          enable learning and / or using a device's circumstances for
       FIG . 32 illustrates aa flow chart diagram of an embodiment autonomous device operation and / or other functionalities
    of method 9100 for learning and / or using a device's cir- 15 described herein . Various embodiments of the disclosed
    cumstances for autonomous device operation.                            devices, systems, and methods include hardware, functions,
       FIG . 33 illustrates aa flow chart diagram of an embodiment logic , programs, and / or a combination thereof that can be
    of method 9200 for learning and / or using a device's cir- implemented using any type or form of computing, com
    cumstances for autonomous device operation .                           puting enabled , or other device or system such as a mobile
       FIG . 34 illustrates a flow chart diagram of an embodiment 20 device, a computer, a computing enabled telephone, a server,
    of method 9300 for learning and / or using a device's cir- a gaming device , a television device , a digital camera , a GPS
    cumstances for autonomous device operation .                           receiver, a media player, an embedded device , a supercom
       FIG . 35 illustrates a flow chart diagram of an embodiment puter, a wearable device, an implantable device , a cloud , or
    of method 9400 for learning and / or using a device's cir- any other type or form of computing, computing enabled , or
    cumstances for autonomous device operation .                        25 other device or system capable of performing the operations
       FIG . 36 illustrates aa flow chart diagram of an embodiment described herein .
    of method 9500 for learning and / or using a device's cir-                In some designs, Computing Device 70 comprises hard
    cumstances for autonomous device operation .                           ware, processing techniques or capabilities , programs, or a
       FIG . 37 illustrates a flow chart diagram of an embodiment combination thereof. Computing Device 70 includes one or
    of method 9600 for learning and / or using a device's cir- 30 more central processing units, which may also be referred to
                                                                                                         9

    cumstances for autonomous device operation .                           as processors 11. Processor 11 includes one or more memory
       FIG . 38 illustrates an exemplary embodiment of Loader ports 10 and / or one or more input -output ports, also referred
    98a .                                                                  to as I /O ports 15 , such as I/O ports 15A and 15B . Processor
       FIG . 39 illustrates an exemplary embodiment of Boat 98b . 11 may be special or general purpose . Computing Device 70
       FIG . 40 illustrates an exemplary embodiment of utilizing 35 may further include memory 12 , which can be connected to
    Area of Interest 450 around Boat 98b .                                 the remainder of the components of Computing Device 70
       Like reference numerals in different figures indicate like via bus 5. Memory 12 can be connected to processor 11 via
    elements . Horizontal or vertical “        or other such indicia memory port 10. Computing Device 70 may also include
    may be used to indicate additional instances of the same type display device 21 such as a monitor, projector, glasses ,
    of element n, m, x , or other such letters or indicia represent 40 and /or other display device . Computing Device 70 may also
    integers or other sequential numbers that follow the include Human -machine Interface 23 such as a keyboard, a
    sequence where they are indicated . It should be noted that n , pointing device , a mouse , a touchscreen, a joystick , a remote
    m , x , or other such letters or indicia may represent different controller, and / or other input device. In some implementa
    numbers in different elements even where the elements are tions , Human- machine Interface 23 can be connected with
    depicted in the same figure . In general, n , m , x , or other such 45 bus 5 or directly connected with specific elements of Com
    letters or indicia may follow the sequence and / or context puting Device 70. Computing Device 70 may include addi
    where they are indicated . Any of these or other such letters tional elements such as one or more input/output devices 13 .
    or indicia may be used interchangeably depending on con- Processor 11 may include or be interfaced with cache
    text and space available . The drawings are not necessarily to memory 14. Storage 27 may include memory, which pro
    scale , with emphasis instead being placed upon illustrating 50 vides an operating system 17 (i.e. also referred to as OS 17 ,
    the embodiments, principles , and concepts of the disclosure . etc. ) , additional application programs 18 , and / or data space
    A line or arrow between any of the disclosed elements 19 in which additional data or information can be stored .
    comprises an interface that enables the coupling, connection , Alternative memory device 16 can be connected to the
    and /or interaction between the elements.                              remaining components of Computing Device 70 via bus 5 .
                                                                        55 Network interface 25 can also be connected with bus 5 and
                      DETAILED DESCRIPTION                                 be used to communicate with external computing devices
                                                                           via a network . Some or all described elements of Computing
       The disclosed artificially intelligent devices, systems, and Device 70 can be directly or operatively connected or
    methods for learning and / or using a device's circumstances coupled with each other using any other connection means
    for autonomous device operation comprise apparatuses, 60 known in art. Other additional elements may be included as
    systems , methods, features, functionalities, and / or applica- needed , or some of the disclosed ones may be excluded, or
    tions that enable learning a device's circumstances including a combination thereof may be utilized in alternate imple
    objects with various properties along with correlated instruc- mentations of Computing Device 70 .
    tion sets for operating the device , storing this knowledge in            Processor 11 includes one or more circuits or devices that
    a knowledgebase (i.e. neural network , graph , sequences , 65 can execute instructions fetched from memory 12 and / or
    etc. ) , and operating a device autonomously. The disclosed other element. Processor 11 may include any combination of
    artificially intelligent devices , systems, and methods for hardware and / or processing techniques or capabilities for
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 209 of 2562 PageID #: 13080


                                                     US 11,238,344 B1
                                59                                                               60
    executing or implementing logic functions or programs.           ers . In further embodiments, Storage 27 can be provided in
    Processor 11 may include a single core or a multi core an optical storage device such as holographic storage, and / or
    processor. Processor 11 includes the functionality for load- others. In further embodiments , Storage 27 may include any
    ing operating system 17 and operating any application non - volatile memory. In general, Storage 27 can be based on
    programs 18 thereon . In some embodiments, Processor 11 5 any of the aforementioned or other available storage devices
    can be provided in a microprocessing or a processing unit, or mediums capable of operating as described herein . In
    such as , for example , Snapdragon processor produced by some aspects , Storage 27 may include any features, func
    Qualcomm Inc. , processor by Intel Corporation of Mountain tionalities , and embodiments of Memory 12 , and vice versa ,
    View , Calif., processor manufactured by Motorola Corpo- as applicable.
    ration of Schaumburg , Ill .; processor manufactured by 10 Processor 11 can communicate directly with cache
    Transmeta Corporation of Santa Clara , Calif .; processor memory 14 via aa connection means such as a secondary bus
    manufactured by International Business Machines of White which may also sometimes be referred to as a backside bus .
    Plains , N.Y .; processor manufactured by Advanced Micro In some embodiments, processor 11 can communicate with
    Devices of Sunnyvale, Calif ., or any computing circuit or cache memory 14 using the system bus 5. Cache memory 14
    device for performing similar functions. In other embodi- 15 may typically have aa faster response time than main memory
    ments, processor 11 can be provided in a graphics processing 12 and can include a type of memory which is considered
    unit (GPU ), visual processing unit ( VPU ), or other highly faster than main memory 12 such as , for example, SRAM ,
    parallel processing circuit or device such as , for example, BSRAM , or EDRAM . Cache memory includes any structure
    nVidia GeForce line of GPUs , AMD Radeon line of GPUs, such as multilevel caches , for example . In some embodi
    and / or others. Such GPUs or other highly parallel processing 20 ments, processor 11 can communicate with one or more I /O
    circuits or devices may provide superior performance in devices 13 via a system bus 5. Various busses can be used
    processing operations on neural networks, graphs, and /or to connect processor 11 to any of the I/ O devices 13 such as
    other data structures . In further embodiments , processor 11 a VESA VL bus , an ISA bus , an EISA bus , a MicroChannel
    can be provided in aa micro controller such as , for example, Architecture (MCA) bus , a PCI bus , a PCI -X bus , a PCI
    Texas instruments, Atmel, Microchip Technology , ARM , 25 Express bus , a NuBus, and / or others. In some embodiments,
    Silicon Labs, Intel, and / or other lines of micro controllers . In processor 11 can communicate directly with I /O device 13
    further embodiments, processor 11 can be provided in a via HyperTransport, Rapid I/ O , or InfiniBand. In further
    quantum processor such as , for example, D - Wave Systems, embodiments, local busses and direct communication can be
    Microsoft, Intel, IBM , Google , Toshiba, and / or other lines of mixed . For example, processor 11 can communicate with an
    quantum processors. In further embodiments, processor 11 30 I/ O device 13 using a local interconnect bus and communi
    can be provided in a biocomputer such as DNA -based cate with another I /O device 13 directly . Similar configura
    computer, protein- based computer, molecule -based com- tions can be used for any other components described herein .
    puter, and/or others. In further embodiments, processor 11      Computing Device 70 may further include alternative
    includes any circuit or device for performing logic opera- memory such as a SD memory slot , a USB memory stick , an
    tions . Processor 11 can be based on any of the aforemen- 35 optical drive such as a CD - ROM drive , a CD - R /RW drive,
    tioned or other available processors capable of operating as a DVD - ROM drive or a BlueRay disc , a hard - drive, and / or
    described herein . Computing Device 70 may include one or any other device comprising non - volatile memory suitable
    more of the aforementioned or other processors. In some for storing data or installing application programs. Comput
    designs , processor 11 can communicate with memory 12 via ing Device 70 may further include a storage device 27
    a system bus 5. In other designs, processor 11 can commu- 40 comprising any type or form of non - volatile memory for
    nicate directly with memory 12 via a memory port 10 .        storing an operating system (OS ) such as any type or form
       Memory 12 includes one or more circuits or devices of Windows OS , Mac OS , Unix OS , Linux OS , Android OS ,
    capable of storing data. In some embodiments , Memory 12 iPhone OS , mobile version of Windows OS , an embedded
    can be provided in a semiconductor or electronic memory OS , or any other OS that can operate on Computing Device
    chip such as static random access memory (SRAM ), Flash 45 70. Computing Device 70 may also include application
    memory , Burst SRAM or SynchBurst SRAM (BSRAM ), programs 18 , and / or data space 19 for storing additional data
    Dynamic random access memory (DRAM ), Fast Page Mode or information . In some embodiments, alternative memory
    DRAM ( FPM DRAM ), Enhanced DRAM (EDRAM ), 16 can be used as or similar to storage device 27. Addition
    Extended Data Output RAM (EDO RAM ), Extended Data ally, OS 17 and / or application programs 18 can be operable
    Output DRAM (EDO DRAM ), Burst Extended Data Output 50 from aa bootable medium such as , for example, a flash drive ,
    DRAM (BEDO DRAM ), Enhanced DRAM (EDRAM ), a micro SD card, a bootable CD or DVD , and / or other
    synchronous DRAM (SDRAM ), JEDEC SRAM , PC100                   bootable medium .
    SDRAM , Double Data Rate SDRAM (DDR SDRAM ),                       Application Program 18 ( also referred to as program ,
    Enhanced SDRAM ( ESDRAM ), SyncLink DRAM (SL- computer program , application, script , code , or other suit
    DRAM ), Direct Rambus DRAM ( DRDRAM ), Ferroelectric 55 able name or reference ) comprises instructions that can
    RAM ( FRAM ), and / or others. In other embodiments , provide functionality when executed by processor 11. As
    Memory 12 includes any volatile memory. In general, such , Application Program 18 may be used to operate (i.e.
    Memory 12 can be based on any of the aforementioned or perform operations on /with ) or control a device or system .
    other available memories capable of operating as described Application program 18 can be implemented in a high -level
    herein .                                                      60 procedural or object-oriented programming language, or in
       Storage 27 includes one or more devices or mediums a low - level machine or assembly language. Any language
    capable of storing data. In some embodiments, Storage 27 used can be compiled, interpreted, or otherwise translated
    can be provided in aa device or medium such as a hard drive, into machine language. Application program 18 can be
    flash drive, optical disk , and / or others. In other embodi- deployed in any form including as a stand - alone program or
    ments, Storage 27 can be provided in a biological storage 65 as a module, component, subroutine, or other unit suitable
    device such as DNA - based storage device , protein -based for use in a computing system . Application program 18 does
    storage device, molecule - based storage device, and / or oth- not necessarily correspond to a file in a file system . A
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 210 of 2562 PageID #: 13081


                                                          US 11,238,344 B1
                                  61                                                                  62
    program can be stored in a portion of a file that may hold          and /or other output interface or system can be utilized to
    other programs or data , in a single file dedicated to the     process output from elements of Computing Device 70 for
    program , or in multiple files (i.e. files that store one or more
                                                                   conveyance on an output device such as Display 21. In some
    modules, sub programs, or portions of code , etc. ) . Applica- aspects , Display 21 or other output device itself may include
    tion Program 18 can be delivered in various forms such as , 5 an output interface for processing output from elements of
    for example, executable file, library, script, plugin, addon , Computing Device 70. Further, an input interface ( not
    applet, interface , console application, web application, shown ) such as a keyboard listener, a touchscreen listener, a
    application service provider (ASP ) -type application , oper mouse      listener, any device driver ( i.e. audio , video , key
    ating system , and / or other forms. Application program 18 board , mouse
    can be deployed to be executed on one computing device or 10 input interface, touchscreen   , or other driver ), and / or other
    on multiple computing devices (i.e. cloud , distributed, or from Human -machine Interfacebe23 utilized
                                                                                     or system can               to process input
                                                                                                        or other input device for
    parallel computing, etc. ) , or at one site or distributed across   use by elements of Computing Device 70. In some aspects ,
    multiple sites interconnected by a communication network            Human - machine Interface 23 or other input device itself
    or an interface.
      Network interface 25 can be utilized for interfacing 15 bymayelements
    Computing Device 70 with other devices via a network
                                                                     includeofan input interface for processing input for use
                                                                                 Computing Device 70 .
    through a variety of connections including telephone lines ,          Computing Device 70 may include or be connected to
    wired or wireless connections, LAN or WAN links ( i.e.              multiple display devices 21. Display devices 21 can each be
    802.11 , T1 , T3 , 56 kb, X.25 , etc.), broadband connections       of the same or different type or form . Computing Device 70
    (i.e. ISDN, Frame Relay, ATM , etc.), or a combination 20 and /or its elements comprise any type or form of suitable
    thereof. Examples of networks include the Internet, an hardware, programs, or a combination thereof to support,
    intranet, an extranet, a local area network (LAN ), a wide enable , or provide for the connection and use of multiple
    area network (WAN ), a personal area network (PAN ), a display devices 21. In one example, Computing Device 70
    home area network (HAN ), a campus area network (CAN ), includes any type or form of video adapter, video card,
    a metropolitan area network (MAN ), a global area network 25 driver, and / or library to interface , communicate, connect, or
    (GAN ), a storage area network (SAN ), virtual network , a otherwise use display devices 21. In some aspects , a video
    virtual private network (VPN) , a Bluetooth network , a adapter may include multiple connectors to interface to
    wireless network , a wireless LAN , a radio network , a multiple display devices 21. In other aspects , Computing
    HomePNA , a power line communication network , a G.hn Device 70 includes multiple video adapters, with each video
    network , an optical fiber network , an Ethernet network , an 30 adapter connected to one or more display devices 21. In
    active networking network , a client - server network , a peer- some embodiments , Computing Device's 70 operating sys
    to - peer network , a bus network , a star network , a ring tem can be configured for using multiple displays 21. In
    network , a mesh network , a star -bus network , a tree network,    other embodiments , one or more display devices 21 can be
    a hierarchical topology network , and / or other networks. provided by one or more other computing devices such as
    Network interface 25 may include a built - in network 35 remote computing devices connected to Computing Device
    adapter, network interface card , PCMCIA network card,              70 via a network or an interface .
    card bus network adapter, wireless network adapter, Blu-              Computing Device 70 can operate under the control of
    etooth network adapter, WiFi network adapter, USB network            operating system 17 , which may support Computing
    adapter, modem , and / or any other device suitable for inter-       Device's 70 basic functions, interface with and manage
    facing Computing Device 70 with any type of network 40 hardware resources, interface with and manage peripherals,
    capable of communication and / or operations described provide common services for application programs, sched
    herein .                                                             ule tasks , and / or perform other functionalities. A modern
       I/O devices 13 may be present in various shapes or forms operating system enables features and functionalities such as
    in Computing Device 70. Examples of I / O device 13 capable a high resolution display, graphical user interface (GUI),
    of input include a joystick , a keyboard , a mouse , a trackpad , 45 touchscreen , cellular network connectivity ( i.e. mobile oper
    a trackpoint, a touchscreen , a trackball, a microphone, a ating system , etc. ) , Bluetooth connectivity, WiFi connectiv
    drawing tablet, a glove , a tactile input device, a still or video ity, global positioning system ( GPS ) capabilities , mobile
    camera , and / or other input device . Examples of I/O device navigation , microphone, speaker, still picture camera , video
    13 capable of output include aa video display, a touchscreen , camera , voice recorder, speech recognition, music player,
    a projector, a glasses , a speaker, a tactile output device , 50 video player, near field communication , personal digital
    and / or other output device . Examples of I /O device 13 assistant (PDA) , and / or other features, functionalities, or
    capable of input and output include a disk drive, an optical applications . For example, Computing Device 70 can use
    storage device, a modem , a network card , and / or other any conventional operating system , any embedded operating
    input /output device . I /O device 13 can be interfaced with system , any real - time operating system , any open source
    processor 11 via an I/O port 15 , for example. In some 55 operating system , any video gaming operating system , any
    aspects , I /O device 13 can be a bridge between system bus proprietary operating system , any online operating system ,
    5 and an external communication bus such as a USB bus , an any operating system for mobile computing devices , or any
    Apple Desktop Bus , an RS - 232 serial connection, a SCSI other operating system capable of running on Computing
    bus , a FireWire bus , a FireWire 800 bus , an Ethernet bus , an Device 70 and performing operations described herein .
    AppleTalk bus , a Gigabit Ethernet bus , an Asynchronous 60 Example of operating systems include Windows XP, Win
    Transfer Mode bus , a HIPPI bus , a Super HIPPI bus , a dows 7 , Windows 8 , Windows 10 , etc. manufactured by
                                                                                2

    SerialPlus bus , a SCI /LAMP bus , a FibreChannel bus , a Microsoft Corporation of Redmond, Wash .; Mac OS , iPhone
    Serial Attached small computer system interface bus , and /or OS , etc. manufactured by Apple Computer of Cupertino,
    other bus .                                                          Calif.; OS / 2 manufactured by International Business
       An output interface (not shown) such as a graphical user 65 Machines of Armonk , N.Y .; Linux , a freely -available oper
    interface , an acoustic output interface, a tactile output inter- ating system distributed by Caldera Corp. of Salt Lake City ,
    face, any device driver ( i.e. audio , video , or other driver ),   Utah ; or any type or form of a Unix operating system , and / or
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 211 of 2562 PageID #: 13082


                                                        US 11,238,344 B1
                                  63                                                                   64
    others . Any operating systems such as the ones for Android system can be interconnected by any form or medium of
    devices can similarly be utilized .                            digital data communication such as , for example, a network .
       Computing Device 70 can be implemented as or be part           Computing Device 70 may include or be interfaced with
    of various model architectures such as web services, dis- a computer program product comprising instructions or
    tributed computing, grid computing, cloud computing, and / 5 logic encoded on a computer- readable medium . Such
    or other architectures. For example, in addition to the instructions or logic , when executed, may configure or cause
    traditional desktop, server , or mobile operating system one or more processors to perform the operations and / or
    architectures, a cloud- based operating system can be utilized functionalities disclosed herein . For example, a computer
    to provide the structure on which embodiments of the program can be provided or encoded on a computer -readable
    disclosure can be implemented. Other aspects of Computing 10 medium such as an optical medium ( i.e. DVD - ROM , etc. ) ,
    Device 70 can also be implemented in the cloud without flash drive, hard drive, any memory , firmware, or other
    departing from the spirit and scope of the disclosure. For medium . Computer program can be installed onto a com
    example, memory , storage, processing, and / or other ele- puting device to cause the computing device to perform the
    ments can be hosted in the cloud . In some embodiments ,             operations and / or functionalities disclosed herein . Machine
    Computing Device 70 can be implemented on multiple 15 readable medium , computer - readable medium , or other such
    devices. For example, a portion of Computing Device 70 can terms may refer to any computer program product, appara
    be implemented on a mobile device and another portion can tus, and / or device for providing instructions and / or data to
    be implemented on wearable electronics .                         one or more programmable processors. As such , machine
       Computing Device 70 can be or include any mobile readable medium includes any medium that can send and /or
    device , a mobile phone , a smartphone ( i.e. iPhone, Windows 20 receive machine instructions as a machine - readable signal .
    phone , Blackberry phone , Android phone , etc. ), a tablet , a Examples of a machine- readable medium include a volatile
    personal digital assistant ( PDA) , wearable electronics, and / or non -volatile medium , a removable and / or non -re
    implantable electronics, and / or other mobile device capable movable medium , a communication medium , a storage
    of implementing the functionalities described herein . Com- medium , and / or other medium . A communication medium ,
    puting Device 70 can also be or include an embedded 25 for example, can transmit computer readable instructions
    device, which can be any device or system with aa dedicated and /or data in a modulated data signal such as a carrier wave
    function within another device or system . Embedded sys- or other transport technique, and may include any other form
    tems range from the simplest ones dedicated to one task with of information delivery medium known in art. A non
    no user interface to complex ones with advanced user transitory machine -readable medium comprises all machine
    interface that may resemble modern desktop computer sys- 30 readable media except for a transitory, propagating signal .
    tems . Examples of devices comprising an embedded device           In some embodiments , the disclosed artificially intelligent
    include a mobile telephone , a personal digital assistant devices, systems , and methods for learning and / or using a
    ( PDA) , a gaming ice , a media player, a digital still or device's circumstances for autonomous device operation, or
    video camera, a pager, a television device, a set -top box , a elements thereof, can be implemented entirely or in part in
    personal navigation device , a global positioning system 35 a device ( i.e. microchip , circuitry, logic gates, electronic
    ( GPS ) receiver, a portable storage device ( i.e. a USB flash device, computing device, special or general purpose pro
    drive, etc. ) , a digital watch, a DVD player, a printer, a cessor, etc. ) or system that comprises (i.e. hard coded ,
    microwave oven , a washing machine , a dishwasher, a gate- internally stored , etc. ) or is provided with (i.e. externally
    way, a router, a hub , an automobile entertainment system , an stored , etc. ) instructions for implementing DCADO func
    automobile navigation system , a refrigerator, a washing 40 tionalities . As such, the disclosed artificially intelligent
    machine, a factory automation device , an assembly line devices, systems , and methods for learning and / or using a
    device , a factory floor monitoring device , a thermostat, an device's circumstances for autonomous device operation, or
    automobile , a factory controller, a telephone, a network elements thereof, may include the processing , memory,
    bridge, and / or other devices. An embedded device can storage, and / or other features, functionalities, and embodi
    operate under the control of an operating system for embed- 45 ments of Computing Device 70 or elements thereof. Such
    ded devices such as MicroC /OS - II, QNX , VxWorks, eCos , device or system can operate on its own (i.e. standalone
    TinyOS, Windows Embedded, Embedded Linux , and / or device or system , etc. ), be embedded in another device or
    other embedded device operating systems.                           system ( i.e. an industrial machine , a robot , a vehicle , a toy,
       Various implementations of the disclosed devices, sys- a smartphone, a television device , an appliance, and / or any
    tems , and methods can be realized in digital electronic 50 other device or system capable of housing the elements
    circuitry, integrated circuitry, logic gates , application spe- needed for DCADO functionalities ), work in combination
    cific integrated circuits (ASICs ) , field programmable gate with other devices or systems, or be available in any other
    arrays ( FPGAs ), computer hardware , firmware , programs, configuration. In other embodiments , the disclosed artifi
    virtual machines , and / or combinations thereof including cially intelligent devices , systems , and methods for learning
    their structural, logical , and / or physical equivalents .     55 and / or using a device's circumstances for autonomous
       The disclosed devices, systems, and methods may include device operation, or elements thereof, may include Alterna
    clients and servers . A client and server are generally, but not tive Memory 16 that provides instructions for implementing
    always , remote from each other and typically , but not DCADO functionalities to one or more Processors 11. In
    always , interact via a network or an interface .                  further embodiments, the disclosed artificially intelligent
       The relationship of a client and server may arise by virtue 60 devices, systems , and methods for learning and / or using a
    of computer programs running on their respective computers device's circumstances for autonomous device operation, or
    and having a client -server relationship to each other, for elements thereof, can be implemented entirely or in part as
    example.                                                           a computer program and executed by one or more Proces
       The disclosed devices, systems , and methods can be sors 11. Such program can be implemented in one or more
    implemented in a computing system that includes a back end 65 modules or units of a single or multiple computer programs.
    component, a middleware component, a front end compo- Such program may be able to attach to or interface with ,
    nent, or any combination thereof. The components of the              inspect , and / or take control of another application program
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 212 of 2562 PageID #: 13083


                                                         US 11,238,344 B1
                                  65                                                                 66
    to implement DCADO functionalities. In further embodi-             thereof, when stored in a memory, file, or other repository,
    ments , the disclosed artificially intelligent devices, systems,   may be stored in a different arrangement than the arrange
    and methods for learning and / or using a device's circum-         ment of the data structure and / or elements thereof. For
    stances for autonomous device operation, or elements example , a sequence of elements can be stored in an
    thereof, can be implemented as a network , web , distributed , 5 arrangement other than a sequence in a memory, file, or
    cloud, or other such application accessed on one or more other repository.
    remote computing devices ( i.e. servers , cloud, etc. ) via         Where a reference to a repository is used herein , it should
    Network Interface 25 , such remote computing devices be understood that a repository may be or include one or
    including processing capabilities and instructions for imple- more files or file systems, one or more storage locations or
    menting DCADO functionalities. In further embodiments, 10 structures, one or more storage systems, one or more
    the disclosed artificially intelligent devices, systems , and memory locations or structures , and / or other file, storage ,
    methods for learning and / or using a device's circumstances memory, or data arrangements.
    for autonomous device operation, or elements thereof, can           Where aa reference to an interface is used herein , it should
    be ( 1 ) attached to or interfaced with any computing device be understood that the interface comprises any hardware,
    or application program , (2 ) included as a feature of an 15 device, system , program , method, and / or combination
    operating system , (3 ) built (i.e. hard coded , etc.) into any thereof that enable direct or operative coupling , connection,
    computing device or application program , and / or (4 ) avail- and / or interaction of the elements between which the inter
    able in any other configuration to provide its functionalities . face is indicated . A line or arrow shown in the figures
       In some embodiments, the disclosed artificially intelligent between any of the depicted elements comprises such inter
    devices, systems , and methods for learning and / or using a 20 face. Examples of an interface include a direct connection ,
    device's circumstances for autonomous device operation, or an operative connection , a wired connection ( i.e. wire , cable ,
    elements thereof, can be implemented at least in part in a etc. ) , a wireless connection, a device , a network , a bus , a
    computer program such as Java application or program . Java circuit, a firmware , a driver, a bridge, a program , a combi
    provides a robust and flexible environment for application nation thereof, and / or others .
    programs including flexible user interfaces , robust security , 25 Where a reference to an element coupled or connected to
    built- in network protocols, powerful application program- another element is used herein , it should be understood that
    ming interfaces, database or DBMS connectivity and inter- the element may be in communication or other interactive
    facing functionalities, file manipulation capabilities , support relationship with the other element. Furthermore, an element
    for networked applications, and / or other features or func- coupled or connected to another element can be coupled or
    tionalities. Application programs based on Java can be 30 connected to any other element in alternate implementa
    portable across many devices , yet leverage each device's tions . Terms coupled, conn      nnected , interfaced, or other such
    native capabilities. Java supports the feature sets of most terms may be used interchangeably herein depending on
    smartphones and a broad range of connected devices while context.
    still fitting within their resource constraints. Various Java       Where a reference to an element matching another ele
    platforms include virtual machine features comprising a 35 ment is used herein , it should be understood that the element
    runtime environment for application programs. Java plat- may be equivalent or similar to the other element. Therefore,
    forms provide a wide range of user - level functionalities that the term match or matching can refer to total equivalence or
    can be implemented in application programs such as dis- similarity depending on context.
    playing text and graphics, playing and recording audio                Where a reference to a device is used herein , it should be
    content, displaying and recording visual content, communi- 40 understood that the device may include or be referred to as
    cating with another computing device , and / or other func- a system , and vice versa depending on context, since a
    tionalities . It should be understood that the disclosed artifi-   device may include a system of elements and a system may
    cially intelligent devices, systems , and methods for learning     be embodied in a device .
    and / or using a device's circumstances for autonomous               Where a reference to a collection of elements is used
    device operation, or elements thereof, are programming 45 herein, it should be understood that the collection of ele
    language , platform , and operating system independent. ments may include one or more elements . In some aspects
    Examples of programming languages that can be used or contexts, a reference to a collection of elements does not
    instead of or in addition to Java include C , C ++ , Cobol , imply that the collection is an element itself.
    Python , Java Script , Tcl, Visual Basic , Pascal , VB Script,       Where a reference to an object is used herein , it should be
    Perl, PHP, Ruby, and / or other programming languages 50 understood that the object may be a physical object (i.e.
    capable of implementing the functionalities described object detected in aa device's surrounding, etc. ), an electronic
    herein .                                                           object (i.e. object in an object oriented application program ,
       Where a reference to a specific file or file type is used etc. ) , and / or other object depending on context.
    herein , other files or file types can be substituted .              Where a mention of aa function , method , routine, subrou
       Where a reference to a data structure is used herein , it 55 tine, or other such procedure is used herein , it should be
    should be understood that any variety of data structures can understood that the function , method , routine , subroutine, or
    be used such as , for example, array , list , linked list , doubly other such procedure comprises a call , reference, or pointer
    linked list , queue, tree , heap , graph, map , grid , matrix, to the function , method, routine, subroutine, or other such
    multi -dimensional matrix , table, database, database manage- procedure.
    ment system ( DBMS ) , file, neural network , and / or any other 60 Where a mention of data , object, data structure, item ,
    type or form of a data structure including a custom one . A element, or thing is used herein , it should be understood that
    data structure may include one or more fields or data fields the data , object, data structure , item , element, or thing
    that are part of or associated with the data structure. A field comprises a reference or pointer to the data , object, data
    or data field may include a data , an object, a data structure , structure , item , element, or thing.
    and / or any other element or a reference /pointer thereto . A 65 Referring to FIG . 2 , an embodiment of Device 98 com
    data structure can be stored in one or more memories, files , prising Unit for Learning and /or Using a Device's Circum
    or other repositories. A data structure and / or elements stances for Autonomous Device Operation (DCADO Unit
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 213 of 2562 PageID #: 13084


                                                        US 11,238,344 B1
                                  67                                                             68
    100 ) is illustrated . Device 98 also comprises interconnected instruction sets for operating the device (i.e. first one or more
    Processor 11 , Human -machine Interface 23 , Sensor 92 , instruction sets for operating the device , etc.) may include or
                  2

    Object Processing Unit 93 , Memory 12 , and                    be substituted with one or more inputs into the actuator.
       Storage 27. Processor 11 includes or executes Application Other additional elements can be included as needed , or
    Program 18. DCADO Unit 100 comprises interconnected 5 some of the disclosed ones can be excluded, or a combina
    Artificial Intelligence Unit 110 , Acquisition Interface 120 , tion thereof can be utilized in alternate embodiments . The
    and Modification Interface 130. Other additional elements device or system for learning and / or using a device's cir
    can be included as needed , or some of the disclosed ones can cumstances for autonomous device operation may include
    be excluded , or a combination thereof can be utilized in any actions or operations of any of the disclosed methods
    alternate embodiments .                                             10 such as methods 9100 , 9200,9300 , 9400,9500 , 9600 , and / or
       In one example, the teaching presented by the disclosure others (all later described ).
    can be implemented in aa device or system for learning and / or           Device 98 comprises any hardware , programs, or a com
    using a device's circumstances for autonomous device bination thereof. Although , Device 98 is referred to as a
    operation. The device or system may include a processor device herein , Device 98 may be or include a system as a
    circuit (i.e. Processor 11 , etc.) configured to execute instruc- 15 system may be embodied in Device 98. Device 98 may
    tion sets (i.e. Instruction Sets 526 , etc. ) for operating a include any features , functionalities, and embodiments of
    device. The device or system may further include a memory Computing Device 70 , or elements thereof. In some embodi
    unit (i.e. Memory 12 , etc.) configured to store data . The ments, Device 98 includes a computing enabled device for
    device or system may further include a sensor ( i.e. Sensor performing mechanical or physical operations (i.e. via actua
    92 , etc.) configured to detect objects (i.e. Objects 615 , etc. ). 20 tors , etc. ). In other embodiments, Device 98 includes a
    The device or system may further include an artificial computing enabled device for performing non -mechanical
    intelligence unit ( i.e. Artificial Intelligence Unit 110 , etc. ). and / or other operations. Examples of Device 98 include an
    The artificial intelligence unit may be configured to receive industrial machine , a toy, a robot , a vehicle , an appliance, a
    a first collection of object representations (i.e. Collection of control device, a smartphone or other mobile computer, any
    Object Representations 525 , etc. ), the first collection of 25 computer, and / or other computing enabled device or
    object representations including one or more representations machine . Such device or machine may be built for any
    of objects detected by the sensor. The artificial intelligence function or purpose some examples of which are described
    unit may also be configured to receive a first one or more later.
    instruction sets for operating the device . The artificial intel-         User 50 (also referred to simply as user or other suitable
    ligence unit may also be configured to learn the first col- 30 name or reference) comprises a human user or non -human
    lection of object representations correlated with the first one user. A non - human User 50 includes any device, system ,
    or more instruction sets for operating the device . The program , and /or other mechanism for operating or control
    artificial intelligence unit may also be configured receive ling Device 98 and / or elements thereof. In one example ,
    a new collection of object representations, the new collec- User 50 may issue an operating direction to Application
    tion of object representations including one or more repre- 35 Program 18 responsive to which Application Program's 18
    sentations of objects detected by the sensor. The artificial instructions or instruction sets may be executed by Processor
    intelligence unit may also be configured to anticipate the 11 to perform a desired operation on Device 98. In another
    first one or more instruction sets for operating the device example , User 50 may issue an operating direction to
    correlated with the first collection of object representations Processor 11 , Logic Circuit 250 ( later described ), and / or
    based on at least a partial match between the new collection 40 other processing element responsive to which Processor 11 ,
    of object representations and the first collection of object Logic Circuit 250 , and / or other processing element may
    representations. The artificial intelligence unit may also be implement logic to perform aa desired operation on Device
    configured to cause the processor circuit to execute the first 98. User's 50 operating directions comprise any user input
    one or more instruction sets for operating the device corre- ted data (i.e. values , text, symbols, etc. ) , directions (i.e.
    lated with the first collection of object representations, the 45 move right, move up , move forward , copy an item , click on
    causing performed in response to the anticipating of the a link , etc. ) , instructions or instruction sets (i.e. manually
    artificial intelligence unit, wherein the device performs one inputted instructions or instruction sets , etc. ) , and / or other
    or more operations defined by the first one or more instruc- inputs or information . A non -human User 50 can utilize
    tion sets for operating the device correlated with the first more suitable interfaces instead of, or in addition to , Human
    collection of object representations, the one or more opera- 50 machine Interface 23 and / or Display 21 for controlling
    tions performed in response to the executing by the proces- Device 98 and / or elements thereof. Examples of such inter
    sor circuit . Any of the operations of the aforementioned faces include an application programming interface (API ),
    elements can be performed repeatedly and / or in different bridge ( i.e. bridge between applications, devices , or systems,
    orders in alternate embodiments. In some embodiments, a etc. ) , driver, socket, direct or operative connection , handle ,
    stream of collections of object representations can be used 55 function / routine / subroutine, and / or other interfaces.
    instead of or in addition to any collection of object repre-              In some embodiments, Processor 11 , Logic Circuit 250 ,
    sentations such as , for example, using a first stream of Application Program 18 , and / or other processing element
    collections of object representations instead of the first may control or affect an actuator ( not shown ). Actuator
    collection of object representations. In other embodiments, comprises the functionality for implementing motion ,
    a logic circuit (i.e. Logic Circuit 250 , etc.) may be used 60 actions , behaviors, maneuvers , and / or other mechanical or
    instead of the processor circuit . In such embodiments, one or physical operations. Device 98 may include one or more
    more instruction sets for operating the device ( i.e. first one actuators to enable Device 98 to perform mechanical , physi
    or more instruction sets for operating the device, etc.) may cal , or other operations and/ or to interact with its environ
    include or be substituted with one or more inputs into or one ment. For example, an actuator may include or be coupled
    or more outputs from the logic circuit . In further embodi- 65 to an element such as a wheel , arm , or other element to act
    ments , an actuator may be included instead of or in addition upon the environment. Examples of an actuator include a
    to the processor circuit . In such embodiments, one or more motor, a linear motor, a servomotor, a hydraulic element, a
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 214 of 2562 PageID #: 13085


                                                          US 11,238,344 B1
                                   69                                                                  70
    pneumatic element, an electro -magnetic element, a spring stereoscopic or range pictures. In further aspects , Camera
    element, and / or other actuators . Examples of types of actua- 92a may be or comprises any other Camera 92a . In general,
    tors include a rotary actuator, a linear actuator, and / or other Camera 92a may capture any light ( i.e. visible light, infrared
    types of actuators . In other embodiments, Processor 11 , light, ultraviolet light, X - ray light, etc. ) across the electro
    Logic Circuit 250 , Application Program 18 , and / or other 5 magnetic spectrum onto a light -sensitive material. Any other
    processing element may control or affect any other device or technique known in art can be utilized to facilitate Camera
    element instead of or in addition to an actuator.                   92a functionalities . In one example , a digital Camera 92a
       Referring to FIGS . 3A - 3E , various embodiments of Sen- can utilize a charge coupled device ( CCD ) , a complementary
    sors 92 and elements of Object Processing Unit 93 are metal- oxide - semiconductor ( CMOS ) sensor , and /or other
    illustrated                                                      10 electronic image sensor to capture digital pictures that can
       Sensor 92 ( also referred to simply as sensor or other then be stored in a memory or storage , or transmitted to any
    suitable name or reference) comprises the functionality for of the disclosed or other elements for further processing. In
    obtaining or detecting information about its environment, another example, analog Camera 92a can utilize an analog
    and / or other functionalities. As such , one or more Sensors 92 to - digital converter to produce digital pictures. In some
    can be used to detect objects and /or their properties in 15 embodiments, Camera 92a can be built , embedded, or
    Device's 98 surrounding. In some aspects , Device's 98 integrated in Device 98 and /or other disclosed element. In
    surrounding may include exterior of Device 98. In other other embodiments, Camera 92a can be an external Camera
    aspects , Device's 98 surrounding may include interior of 92a connected with Device 98 and / or other disclosed ele
    Device 98 in case of hollow Device 98 , Device 98 com-               ment. In further embodiments, Camera 92a comprises Com
    prising compartments or openings, and /or other variously 20 puting Device 70 or elements thereof. In general, Camera
    shaped Device 98. Examples of aspects of an environment              92a can be implemented in any suitable configuration to
    that Sensor 92 can measure or be sensitive to include light          provide its functionalities. Camera 92a may capture one or
    ( i.e. camera , lidar, etc. ) , electromagnetism / electromagnetic   more digital pictures. A digital picture may include a col
    field (i.e. radar, etc. ), sound ( i.e. microphone, sonar, etc. ),   lection of color encoded pixels or dots . Examples of file
    physical contact (i.e. tactile sensor, etc. ), magnetism /mag- 25 formats that can be utilized to store a digital picture include
    netic field ( i.e. compass, etc. ), electricity / electric field , tem- JPEG , GIF, TIFF, PNG , PDF, and / or other digitally encoded
    perature , gravity, vibration, pressure, and / or others. In some picture formats. A stream of digital pictures (i.e. motion
    aspects , a passive sensor (i.e. camera, microphone, etc.) picture, video , etc. ) may include one or more digital pic
    measures signals or radiation emitted or reflected by an tures . Examples of file formats that can be utilized to store
    object. In other aspects , an active sensor (i.e. lidar, radar, 30 a stream of digital pictures include MPEG , AVI, FLV, MOV,
    sonar, etc. ) emits signals or radiation and measures the RM , SWF, WMV, DivX , and / or other digitally encoded
    signals or radiation reflected or backscattered from an motion picture formats .
    object. A reference to a Sensor 92 herein includes a reference        In other embodiments, Sensor 92 may be or include
    to one or more Sensors 92 as applicable. In some designs , a Microphone 92b as shown in FIG . 3B . Microphone 926
    plurality of Sensors 92 may be used to detect objects and/or 35 comprises the functionality for capturing one or more
    their properties from different angles or sides of Device 98 . sounds , and /or other functionalities. As such , Microphone
    For example, four Cameras 92a can be placed on four 92b can be used to capture sounds from Device's 98
    corners of Device 98 to cover 360 degrees of view of surrounding. Microphone 92b may be useful in detecting
    Device's 98 surrounding. In other designs , a plurality of existence of an object, type of an object, identity of an
    different types of Sensors 92 may be used to detect different 40 object, bearing/angle of an object, activity ( i.e. motion ,
    types of objects and / or their properties. For example , one or sounding, etc. ) of an object, and / or other properties of an
    more Cameras 92a can be used to detect and identify an object. In some aspects , Microphone 92b may be omnidi
    object, whereas, Radar 92d can be used to determine dis- rectional microphone that enables capturing sounds from
    tance and bearing / angle of the object relative to Device 98 . any direction . In other aspects , Microphone 92b may be a
    In further designs, a signal - emitting element can be placed 45 directional (i.e. unidirectional, bidirectional , etc. ) micro
    within or onto an object and Sensor 92 can detect the signal phone that enables capturing sounds from one or more
    from the signal -emitting element, thereby detecting the directions while ignoring or being insensitive to sounds from
    object and / or its properties. For example, a radio- frequency other directions . In general , Microphone 92b may utilize a
    identification (RFID ) emitter may be placed within an object membrane sensitive to air pressure and may produce elec
    to help Sensor 92 detect, identify, and / or obtain other 50 trical signal from air pressure variations. Samples of the
    information about the object.                                  electrical signal can then be read to produce a stream of
       In some embodiments, Sensor 92 may be or include digital sound samples. Any other technique known in art can
    Camera 92a as shown in FIG . 3A . Camera 92a comprises be utilized to facilitate Microphone 92b functionalities. In
    the functionality for capturing one or more pictures, and / or one example, a digital Microphone 92b may include an
    other functionalities. As such , Camera 92a can be used to 55 integrated analog- to -digital converter to capture a stream of
    capture pictures of Device's 98 surr irrounding. Camera 92a digital sound samples that can then be stored in a memory
    may be useful in detecting existence of an object, type of an or storage , or transmitted to any of the disclosed or other
    object, identity of an object, distance of an object, bearing elements for further processing. In another example, analog
    angle of an object, location of an object, shape/ size of an Microphone 92b may utilize an external analog - to - digital
    object, activity of an object, and / or other properties of an 60 converter to produce a stream of digital sound samples. In
    object. In some aspects , Camera 92a may be or comprises a some embodiments, Microphone 92b can be built , embed
    motion picture camera that can capture streams of pictures ded , or integrated in Device 98. In other embodiments,
    ( i.e. motion pictures, videos , etc. ) . In other aspects , Camera Microphone 92b can be an external Microphone 92b con
    92a may be or comprises a still picture camera that can nected with Device 98. In further embodiments where used
    capture still pictures ( i.e. photographs, etc. ). In further 65 in water, Microphone 92b may be or include a hydrophone.
    aspects , Camera 92a may be or comprises a stereo camera In further embodiments, Microphone 92b comprises Com
    ( i.e. camera with multiple lenses , etc. ) that can capture puting Device 70 or elements thereof. In general, Micro
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 215 of 2562 PageID #: 13086


                                                         US 11,238,344 B1
                                  71                                                                    72
    phone 92b can be implemented in any suitable configuration Object Properties 630 , and / or other elements or information
                                                                                                 2

    to provide its functionalities. Examples of file formats that related to objects detected in Device's 98 surrounding at a
    can be utilized to store a stream of digital sound samples particular time . Collection of Object Representations 525
    include WAV , WMA , AIFF, MP3 , RA , OGG , and / or other may, therefore, include knowledge (i.e. unit of knowledge,
    digitally encoded sound formats .                                  5 etc. ) of Device's 98 circumstances including objects with
       In further embodiments , Sensor 92 may be or include various properties at a particular time . In some designs , a
    Lidar 92c as shown in FIG . 3C . Lidar 92c may be useful in Collection of Object Representations 525 may include or be
    detecting existence of an object, type of an object, identity associated with a time stamp (not shown) , order (not
    of an object, distance of an object, bearing / angle of an shown ), or other time related information . For example , one
    object, location of an object, shape/size of an object, activity 10 Collection of Object Representations 525 may be associated
    of an object, and / or other properties of an object. In some with time stamp t1 , another Collection of Object Represen
    aspects , Lidar 92c may emit a light signal (i.e. laser beam , tations 525 may be associated with time stamp t2 , and so on .
    etc. ) and listen for aa signal that is reflected or backscattered Time stamps t1 , t2 , etc. may indicate the times of generating
    from an object. Any other technique known in art can be Collections of Object Representations 525 , for instance . In
    utilized to facilitate Lidar 92c functionalities .                15 other embodiments, Object Processing Unit 93 comprises
       In further embodiments, Sensor 92 may be or include a the functionality for creating or generating a stream of
    Radar 92d as shown in FIG . 3D . Radar 92d may be useful Collections of Object Representations 525. A stream of
    in detecting existence of an object, type of an object, Collections of Object Representations 525 may include one
    distance of an object, bearing/angle of an object, location of Collection of Object Representations 525 or a group ,
    an object, shape size of an object, activity of an object, 20 sequence , or other plurality of Collections of Object Rep
    and / or other properties of an object. In some aspects , Radar resentations 525. In some aspects , a stream of Collections of
    92d may emit a radio signal (i.e. radio wave , etc.) and listen      Object Representations 525 includes one or more Collec
    for a signal that is reflected or backscattered from an object. tions of Object Representations 525 , and / or other elements
    Any other technique known in art can be utilized to facilitate or information related to objects detected in Device's 98
    Radar 92d functionalities .                                       25 surrounding over time . A stream of Collections of Object
       In further embodiments , Sensor 92 may be or include Representations 525 may, therefore , include knowledge (i.e.
    Sonar 92e as shown in FIG . 3E . Sonar 92e may be useful in unit of knowledge, etc.) of Device's 98 circumstances
    detecting existence of an object, type of an object, distance including objects with various properties over time . As
    of an object, bearing/angle of an object, location of an circumstances including objects with various properties in
    object, shape / size of an object, activity of an object, and /or 30 Device's 98 surrounding change ( i.e. objects and / or their
    other properties of an object. In some aspects , Sonar 92e properties change, move , act , transform , etc.) over time , this
    may emit a sound signal ( i.e. sound pulse , etc. ) and listen for change may be captured in a stream of Collections of Object
    a signal that is reflected or backscattered from an object. Any Representations 525. In some designs, each Collection of
    other technique known in art can be utilized to facilitate Object Representations 525 in a stream may include or be
    Sonar 92e functionalities.                                        35 associated with the aforementioned time stamp, order, or
       One of ordinary skill in art will understand that the other time related information . For example, one Collection
    aforementioned sensors are described merely as examples of of Object Representations 525 in a stream may be associated
    a variety of possible implementations, and that while all with order 1 , a next Collection of Object Representations
    possible sensors are too voluminous to describe, other 525 in the stream may be associated with order 2 , and so on .
    sensors known in art that can facilitate detecting of objects 40 Orders 1 , 2 , etc. may indicate the orders or places of
    and / or their properties in Device's 98 surrounding are within Collections of Object Representations 525 within a stream
    the scope of this disclosure . Any combination of the afore- (i.e. sequence, etc. ), for instance. Examples of objects
    mentioned and / or other sensors can be used in various include biological objects (i.e. persons , animals , vegetation ,
    embodiments .                                                        etc. ) , nature objects (i.e. rocks, bodies of water, etc. ) , man
       Object Processing Unit 93 comprises the functionality for 45 made objects ( i.e. buildings, streets, ground /aerial/aquatic
    processing output from Sensor 92 to obtain information of vehicles, etc. ), and / or others. In some aspects , any part of an
    interest, and /or other functionalities. As such , Object Pro- object may be detected as an object itself. For instance ,
    cessing Unit 93 can be used to process output from Sensor instead of or in addition to detecting a vehicle as an object,
    92 to detect objects and / or their properties in Device's 98 a wheel and / or other parts of the vehicle may be detected as
    surrounding. In some embodiments, Object Processing Unit 50 objects. In general, object may include any object or part
    93 comprises the functionality for creating or generating thereof that can be detected . Examples of object properties
    Collection of Object Representations 525 (also referred to as include existence of an object, type of an object ( i.e. person ,
    Coll of Obj Rep or other suitable name or reference ) and cat, vehicle , building , street, tree, rock , etc. ) , identity of an
    storing one or more Object Representations 625 (also object ( i.e. name , identifier, etc. ) , distance of an object,
    referred to simply as object representations, representations 55 bearing / angle of an object, location of an object (i.e. distance
    of objects, or other suitable name or reference ), Object and bearing / angle from a known point, coordinates, etc. ) ,
    Properties 630 (also referred to simply as object properties shape /size of an object ( i.e. height, width , depth, computer
    or other suitable name or reference ), and / or other elements model, point cloud , etc. ) , activity of an object (i.e. motion ,
    or information into the Collection of Object Representations gestures , etc. ), and / or other properties of an object. Type of
    525. As such , Collection of Object Representations 525 60 an object, for example, may include any classification of
    comprises the functionality for storing one or more Object objects ranging from detailed such as person , cat , vehicle ,
    Representations 625 , Object Properties 630 , and / or other building , street, tree , rock , etc. to generalized such as
    elements or information . Object Representation 625 may biological object, nature object, manmade object, etc. , and /
    include an electronic representation of an object (i.e. Object or others including their sub - types. Location of an object, for
    615 [ later described ], etc. ) detected in Device's 98 surround- 65 example, can include a relative location such as one defined
    ing . In some aspects , Collection of Object Representations by distance and bearing/angle from a known point or loca
    525 includes one or more Object Representations 625 , tion ( i.e. Device 98 location , etc. ). Location of an object, for
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 216 of 2562 PageID #: 13087


                                                        US 11,238,344 B1
                                 73                                                                     74
    example , can also include absolute location such as one            server , cloud , etc.) accessible over a network or an interface .
    defined by object coordinates . In general, an object property Typical steps or elements in a feature oriented picture
    may include any attribute of an object (i.e. existence of an recognition include pre -processing, feature extraction ,
    object, type of an object , identity of an object, shape/ size of detection / segmentation, decision -making , and / or others, or a
    an object, etc. ) , any relationship of an object with Device 98,5 combination thereof, each of which may include its own
    other objects, or the environment ( i.e. distance of an object, sub - steps or sub - elements depending on the application . In
    bearing/ angle of an object, friend / foe relationship , etc.), further aspects , Picture Recognizer 94a may detect or rec
    and /or other information related to an object. In some ognize multiple objects and / or their properties from a digital
    implementations, Object Processing Unit 93 and /or any of picture using the aforementioned pixel or feature compari
    its elements or functionalities can be included in Sensor 92. 10 sons , and / or other detection or recognition techniques . For
    In other implementations, Object Processing Unit 93 and /or example , a picture may depict two objects in two of its
    any of its elements or functionalities can be embedded into regions both of which Picture Recognizer 94a can detect
    or operate on Processor 11. In further implementations, simultaneously. In further aspects , where objects and /or their
    Object Processing Unit 93 and / or any of its elements or properties span multiple pictures, Picture Recognizer 94a
    functionalities can be embedded into or operate in DCADO 15 may detect or recognize objects and / or their properties by
    Unit 100 , and / or other disclosed elements . Object Process- applying the aforementioned pixel or feature comparisons
    ing Unit 93 may be provided in any suitable configuration . and /or other detection or recognition techniques over a
    Object Processing Unit 93 may include any signal process- stream of digital pictures ( i.e. motion picture, video , etc. ) .
    ing techniques or elements known in art as applicable.             For example, once an object is detected in a digital picture
       In some embodiments, Object Processing Unit 93 may 20 (i.e. frame, etc. ) of a stream of digital pictures (i.e. motion
    include Picture Recognizer 94a as shown in FIG . 3A . picture, video, etc.), the region of pixels comprising the
    Picture Recognizer 94a comprises the functionality for detected object or the object's features can be searched in
    detecting or recognizing objects and / or their properties in other pictures of the stream of digital pictures, thereby
    visual data , and /or other disclosed functionalities . Visual tracking the object through the stream of digital pictures. In
    data includes digital motion pictures, digital still pictures, 25 further aspects , Picture Recognizer 94a may detect or rec
    and / or other visual data. Examples of file formats that can be ognize an object's activities by identifying and /or analyzing
    utilized to store visual data include AVI, DivX , MPEG ,            differences between a detected region of pixels of one
    JPEG , GIF, TIFF, PNG , PDF, and / or other file formats . For
                      2                                                 picture (i.e. frame, etc. ) and detected regions of pixels of
    example, Picture Recognizer 94a can be used for detecting other pictures in a stream of digital pictures. For example , a
    or recognizing objects and / or their properties in one or more 30 region of pixels comprising a person's face can be detected
    digital pictures captured by one or more Cameras 92a . in multiple consecutive pictures of a stream of digital
    Picture Recognizer 94a can be utilized in detecting or pictures ( i.e. motion picture, video , etc. ) . Differences among
    recognizing existence of an object, type of an object, identity the detected regions of the consecutive pictures may be
    of an object, distance of an object, bearing/angle of an identified in the mouth part of the person's face to indicate
    object, location of an object, shape/ size of an object, activity 35 smiling or speaking activity. In further aspects , Picture
    of an object, and / or other properties of an object. In general, Recognizer 94a may detect or recognize objects and / or their
    Picture Recognizer 94a can be used for any operation properties using one or more artificial neural networks,
    supported by Picture Recognizer 94a . Picture Recognizer which may include statistical techniques. Examples of arti
    94a may detect or recognize an object and / or its properties ficial neural networks that can be used in Picture Recognizer
    as well as track the object and / or its properties in one or 40 94a include convolutional neural networks (CNNs ), time
    more digital pictures or streams of digital pictures ( i.e. delay neural networks ( TDNNs), deep neural networks,
    motion pictures, video , etc. ) . In the case of a person , Picture and / or others. In one example, picture recognition tech
    Recognizer 94a may detect or recognize a human head or niques and / or tools involving convolutional neural networks
    face, upper body, full body, or portions / combinations may include identifying and / or analyzing tiled and / or over
    thereof. In some aspects , Picture Recognizer 94a may detect 45 lapping regions or features of a digital picture, which may
    or recognize objects and / or their properties from a digital then be used to search for pictures with matching regions or
    picture by comparing regions of pixels from the digital features . In another example, features of different convolu
    picture with collections of pixels comprising known objects tional neural networks responsible for spatial and temporal
    and / or their properties. The collections of pixels comprising streams can be fused to detect objects and / or their properties
    known objects and / or their properties can be learned or 50 in streams of digital pictures (i.e. motion pictures, videos ,
    manually, programmatically, or otherwise defined . The col- etc. ) . In general, Picture Recognizer 94a may include any
    lections of pixels comprising known objects and / or their machine learning, deep learning, and / or other artificial intel
    properties can be stored in any data structure or repository ligence techniques. In further aspects , Picture Recognizer
    ( i.e. one or more files, database , etc. ) that resides locally on 94a can detect distance of a recognized object in a picture
    Device 98 , or remotely on a remote computing device ( i.e. 55 captured by a camera using structured light, sheet of light, or
    server, cloud , etc. ) accessible over a network or an interface. other lighting schemes, and / or by using phase shift analysis ,
    In other aspects , Picture Recognizer 94a may detect or time of flight, interferometry, or other techniques. In further
    recognize objects and /or their properties from a digital aspects , Picture Recognizer 94a may detect distance of a
    picture by comparing features (i.e. lines , edges , ridges,         recognized object in a picture captured by a stereo camera by
    corners, blobs , regions , etc.) of the digital picture with 60 using triangulation and /or other techniques. In further
    features of known objects and / or their properties. The fea- aspects , Picture Recognizer 94a may detect bearing/angle of
    tures of known objects and / or their properties can be learned a recognized object relative to the camera - facing direction
    or manually, programmatically, or otherwise defined . The by measuring the distance from the vertical centerline of the
    features of known objects and / or their properties can be picture to a pixel in the recognized object based on known
    stored in any data structure or repository (i.e. neural net- 65 picture resolution and camera's angle of view. Any other
    work , one or more files, database, etc. ) that resides locally on techniques known in art can be utilized in Picture Recog
    Device 98 , or remotely on a remote computing device ( i.e. nizer 94a . For example, thresholds for similarity, statistical
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 217 of 2562 PageID #: 13088


                                                        US 11,238,344 B1
                                  75                                                                  76
    techniques, and / or optimization techniques can be utilized to 94a can also incrementally resize a digital picture such as
    determine aa match in any of the above - described detection increasing or decreasing the size of the digital picture
    or recognition techniques. In some exemplary embodiments, proportionally by a certain amount in each cycle of com
    object recognition techniques and / or tools such as OpenCV parisons in order to find a substantially similar match at one
    ( Open Source Computer Vision ) library, CamFind API , 5 of the incremental sizes . Any of the publically available,
    Kooaba, 6px API , Dextro API , and /or others can be utilized custom , or other digital picture resizing techniques or pro
    for detecting or recognizing objects and / or their properties in grams can be utilized such as nearest -neighbor interpolation ,
    digital pictures. In some aspects , picture recognition tech- bilinear interpolation, bicubic interpolation , and / or others. In
    niques and / or tools involve identifying and / or analyzing further implementations, Picture Recognizer 94a can
    features such as lines , edges, ridges, corners, blobs , regions, 10 manipulate content (i.e. all pixels , one or more regions , one
    and / or their relative positions , sizes, shapes, etc., which may or more depicted objects, etc.) of a digital picture before or
    then be used to search for pictures with matching features. during comparison. Such content manipulation may include
    For example, OpenCV library can detect an object ( i.e. moving, centering, aligning, resizing, transforming, and /or
    person , animal, vehicle , rock, etc. ) and /or its properties in otherwise manipulating content of a digital picture. For
    one or more digital pictures captured by Camera 92a or 15 example , Picture Recognizer 94a can move , center, or align
    stored in an electronic repository , which can then be utilized content of one picture to make it more comparable to another
    in DCADO Unit 100 , Artificial Intelligence Unit 110 , and / or picture. Any of the publically available, custom , or other
    other elements . In other exemplary embodiments , facial digital picture manipulation techniques or programs can be
    recognition techniques and / or tools such as OpenCV (Open utilized such as pixel moving, warping, distorting, afore
    Source Computer Vision) library, Animetrics FaceR API , 20 mentioned interpolations, and / or others. In further imple
    Lambda Labs Facial Recognition API , Face ++ SDK , Neven mentations, in digital pictures comprising transparency fea
    Vision (also known as N - Vision ) Engine, and / or others can tures or functionalities, Picture Recognizer 94a can utilize a
    be utilized for detecting or recognizing faces in digital threshold for acceptable number or percentage transparency
    pictures. In some aspects , facial recognition techniques difference. Alternatively, transparency can be applied to one
    and / or tools involve identifying and / or analyzing facial 25 or more pixels of a digital picture and color difference may
    features such as the relative position, size , and / or shape of then be determined between compared pixels taking into
    the eyes , nose , cheekbones, jaw, etc., which may then be account the transparency related color effect. Alternatively,
    used to search for pictures with matching features. For transparent pixels can be excluded from comparison . In
    example , FaceR API can detect a person's face in one or further implementations, certain regions or subsets of pixels
    more digital pictures captured by Camera 92a or stored in an 30 can be ignored or excluded during comparison using a mask .
    electronic repository, which can then be utilized in DCADO In general, any region or subset of a picture determined to
    Unit 100 , Artificial Intelligence Unit 110 , and /or other contain no content of interest can be excluded from com
    elements .                                                         parison using a mask . Examples of such regions or subsets
        Various aspects or properties of digital pictures or pixels include background, transparent or partially transparent
    can be taken into account by Picture Recognizer 94a in any 35 regions, regions comprising insignificant content, or any
    of the recognizing or comparisons. Examples of such arbitrary region or subset. Picture Recognizer 94a can
    aspects or properties include color adjustment, size adjust- perform any other pre -processing or manipulation of digital
    ment, content manipulation , transparency ( i.e. alpha chan- pictures or pixels before or during recognizing or compari
    nel , etc. ), use of mask , and / or others. In some implementa son .
    tions , as digital pictures can be captured by various picture 40 In other embodiments , Object Processing Unit 93 may
    taking equipment, in various environments , and under vari- include Sound Recognizer 946 as shown in FIG . 3B . Sound
    ous lighting conditions, Picture Recognizer 94a can adjust Recognizer 94b comprises the functionality for detecting or
    lighting or color of pixels or otherwise manipulate pixels recognizing objects and / or their properties in audio data ,
    before or during comparison. Lighting or color adjustment and / or other disclosed functionalities. Audio data includes
    ( also referred to as gray balance, neutral balance, white 45 digital sound, and / or other audio data . Examples of file
    balance, etc. ) may generally include manipulating or rebal- formats that can be utilized to store audio data include WAV,
    ancing the intensities of the colors (i.e. red , green , and / or WMA , AIFF, MP3 , RA , OGG , and /or other file formats . For
    blue if RGB color model is used , etc.) of one or more pixels . example, Sound Recognizer 94b can be used for detecting or
    For example , Picture Recognizer 94a can adjust lighting or recognizing objects and /or their properties in a stream of
    color of some or all pixels of one picture to make it more 50 digital sound samples captured by one or more Microphones
    comparable to another picture. Picture Recognizer 94a can 92b . In the case of a person , Sound Recognizer 94b may
    also incrementally adjust the pixels such as increasing or detect or recognize human voice . Sound Recognizer 94b can
    decreasing the red, green , and /or blue pixel values by a be utilized in detecting or recognizing existence of an object,
    certain amount in each cycle of comparisons in order to find type of an object, identity of an object, bearing/angle of an
    a substantially similar match at one of the incremental 55 object, activity ( i.e. motion, sounding, etc.) of an object,
    adjustment levels . Any of the publically available , custom , and / or other properties of an object. In general, Sound
    or other lighting or color adjustment techniques or programs Recognizer 94b can be used for any operation supported by
    can be utilized such as color filters, color balancing, color Sound Recognizer 946. In some aspects , Sound Recognizer
    correction , and / or others. In other implementations, Picture 94b may detect or recognize an object and / or its properties
    Recognizer 94a can resize or otherwise transform a digital 60 from a stream of digital sound samples by comparing
    picture before or during comparison . Such resizing or trans- collections of sound samples from the stream of digital
    formation may include increasing or decreasing the number sound samples with collections of sound samples of known
    of pixels of a digital picture . For example, Picture Recog- objects and / or their properties. The collections of sound
    nizer 94a can increase or decrease the size of a digital samples of known objects and / or their properties can be
    picture proportionally ( i.e. increase or decrease length and / 65 learned , or manually, programmatically, or otherwise
    or width keeping aspect ratio constant, etc. ) to equate its size defined . The collections of sound samples of known objects
    with the size of another digital picture . Picture Recognizer and / or their properties can be stored in any data structure or
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 218 of 2562 PageID #: 13089


                                                         US 11,238,344 B1
                                  77                                                                  78
    repository (i.e. one or more files, database , etc.) that resides   processing API can similarly be utilized . In further exem
    locally on Device 98 , or remotely on a remote computing            plary embodiments, applications or engines providing
    device ( i.e. server, cloud , etc.) accessible over a network or Sound recognition functionalities such as HTK (Hidden
    an interface. In other aspects , Sound Recognizer 94b may Markov Model Toolkit), Kaldi , OpenEars, Dragon Mobile ,
    detect or recognize an object and / or its properties from a 5 Julius , iSpeech , CeedVocal, and / or others can be utilized in
    stream of digital sound samples by comparing features from Sound Recognizer 94b . For example , Kaldi SDK can detect
    the stream of digital sound samples with features of sounds an object (i.e. person , animal, vehicle, etc. ) and /or its
    of known objects and / or their properties. The features of properties in a stream of digital sound samples captured by
    sounds of known objects and / or their properties can be Microphone 92b or stored in an electronic repository, which
    learned , or manually, programmatically, or otherwise 10 can then be utilized in DCADO Unit 100 , Artificial Intelli
    defined . The features of sounds of known objects and / or gence Unit 110 , and /or other elements.
    their properties can be stored in any data structure or               In further embodiments , Object Processing Unit 93 may
    repository ( i.e. one or more files, database, neural network , include Lidar Processing Unit 94c as shown in FIG . 3C .
    etc. ) that resides locally on Device 98 , or remotely on a Lidar Processing Unit 94c comprises the functionality for
    remote computing device (i.e. server , cloud , etc. ) accessible 15 detecting or recognizing objects and / or their properties using
    over a network or an interface. Typical steps or elements in light, and / or other disclosed functionalities . As such, Lidar
    a feature oriented sound recognition include pre -processing, Processing Unit 94c can be utilized in detecting existence of
    feature extraction , acoustic modeling , language modeling, an object, type of an object, identity of an object, distance of
    and / or others, or a combination thereof, each of which may an object, bearing/angle of an object, location of an object,
    include its own sub - steps or sub - elements depending on the 20 shape/size of an object, activity of an object, and /or other
    application. In further aspects , Sound Recognizer 94b may properties of an object. In general, Lidar Processing Unit
    detect or recognize a variety of sounds from a stream of 94c can be used for any operation supported by Lidar
    digital sound samples using the aforementioned sound Processing Unit 94c . In one example, Lidar Processing Unit
    sample or feature comparisons, and / or other detection or 94c may detect distance of an object by measuring time
    recognition techniques. For example, sound of a person , 25 delay between emission of a light signal ( i.e. laser beam ,
    animal, vehicle, and / or other sounds can be detected by     etc. ) and return of the light signal reflected from the object
    Sound Recognizer 94b . In further aspects , Sound Recog-      based on known speed of light. In another example, Lidar
    nizer 94b may detect or recognize sounds using Hidden Processing Unit 94c may detect bearing angle of an object
    Markov Models (HMM) , Artificial Neural Networks, by analyzing the amplitudes of a light signal received by an
    Dynamic Time Warping ( DTW) , Gaussian Mixture Models 30 array of detectors ( i.e. detectors arranged into a quadrant or
    ( GMM) , and / or other models or techniques, or a combina- other arrangement, etc. ) . In a further example, Lidar Pro
    tion thereof. Some or all of these models or techniques may cessing Unit 94c may detect existence, type , identity, shape/
    include statistical techniques. Examples of artificial neural size , activity, and / or other properties of an object by illu
    networks that can be used in Sound Recognizer 946 include minating the object with light and acquiring an image of the
    recurrent neural networks, time delay neural networks 35 object, which can then be processed using some of the
    ( TDNNs), deep neural networks, convolutional neural net- previously described or other picture recognition techniques.
    works, and / or others. In general, Sound Recognizer 94b may In a further example, Lidar Processing Unit 94c may detect
    include any machine learning, deep learning, and / or other existence, type, identity, shape/ size, activity, and / or other
    artificial intelligence techniques. In further aspects , Sound properties of an object by illuminating the object with light
    Recognizer 94b may detect bearing / angle of a recognized 40 and acquiring a point cloud representation of the object.
    object by measuring the direction in which Microphone 92b Lidar Processing Unit 94c may detect objects and /or their
    is pointing when sound of maximum strength is received , by properties by utilizing any lidar or light- related techniques
    analyzing amplitude of the sound , by performing phase known in art.
    analysis ( i.e. with microphone array , etc. ) of the sound,       In further embodiments, Object Processing Unit 93 may
    and / or by utilizing other techniques . Any other techniques 45 include Radar Processing Unit 94d as shown in FIG . 3D .
    known in art can be utilized in Sound Recognizer 946. For Radar Processing Unit 94d comprises the functionality for
    example , thresholds for similarity, statistical techniques, detecting or recognizing objects and /or their properties using
    and / or optimization techniques can be utilized to determine radio waves , and / or other disclosed functionalities. As such ,
    a match in any of the above -described detection or recog- Radar Processing Unit 94d can be utilized in detecting
    nition techniques. In some exemplary embodiments , oper- 50 existence of an object, type of an object, distance of an
    ating system's Sound recognition functionalities such as object, bearing/ angle of an object, location of an object,
    iOS's Voice Services, Siri, and / or others can be utilized in shape size of an object, activity of an object, and / or other
    Sound Recognizer 94b . For example, iOS Voice Services properties of an object. In general, Radar Processing Unit
    can detect an object ( i.e. person , etc. ) and / or its properties in 94d can be used for any operation supported by Radar
    a stream of digital sound samples captured by Microphone 55 Processing Unit 94d . In one example, Radar Processing Unit
    92b or stored in an electronic repository, which can then be 94d may detect existence of an object by emitting a radio
    utilized in DCADO Unit 100 , Artificial Intelligence Unit signal and listening for the radio signal reflected from the
    110 , and / or other elements. In other exemplary embodi- object. In another example, Radar Processing Unit 94d may
    ments, Java Speech API ( JSAPI ) implementation such as detect distance of an object by measuring time delay
    The Cloud Garden , Sphinx, and / or others can be utilized in 60 between emission of aa radio signal and return of the radio
    Sound Recognizer 946. For example, Cloud Garden JSAPI signal reflected from the object based on known speed of the
    can detect an object (i.e. person , animal , vehicle , etc. ) and / or radio signal. In a further example, Radar Processing Unit
    its properties in a stream of digital sound samples captured 94d may detect bearing/angle of an object by measuring the
    by Microphone 92b or stored in an electronic repository, direction in which the antenna is pointing when the return
    which can then be utilized in DCADO Unit 100 , Artificial 65 signal ofmaximum strength is received, by analyzing ampli
                                                         9

    Intelligence Unit 110 , and / or other elements. Any other tude of the return signal, by performing phase analysis (i.e.
    programming language's or platform's speech or sound with antenna array, etc.) of the return signal, and / or by
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 219 of 2562 PageID #: 13090


                                                       US 11,238,344 B1
                                 79                                                                  80
    utilizing any amplitude, phase , or other techniques. In a detected . Object 615b may be recognized as a tree . Object
    further example , Radar Processing Unit 94d may detect 615b may be detected at a distance of 10 m from Device 98 .
    existence, type , identity, shape/ size , activity, and / or other Object 615b may be detected at a bearing/angle of 131 ° from
    properties of an object by illuminating the object with radio Device's 98 centerline. Furthermore, Object 615c is also
    waves and acquiring an image of the object, which can then 5 detected . Object 615c may be recognized as a person . Object
    be processed using some of the previously described or other 615c may be identified as John Doe . Object 615c may be
    picture recognition techniques. Radar Processing Unit 94d detected at a distance of 8 m from Device 98. Object 6150
    may detect objects and /or their properties by utilizing any may be detected at a bearing /angle of 2870 from Device's 98
    radar or radio - related techniques known in art.                  centerline . Any other Objects 615 instead of or in addition
       In further embodiments, Object Processing Unit 93 may 10 to Object 615a , Object 615b , and Object 615c may be
    include Sonar Processing Unit 94e as shown in FIG . 3E . detected . In some aspects , any features, functionalities, and
    Sonar Processing Unit 94e comprises the functionality for embodiments of Camera 92a /Picture Recognizer 94a ,
    detecting or recognizing objects and / or their properties using Microphone 92b / Sound Recognizer 94b , and / or other sen
    sound, and / or other disclosed functionalities. As such , Sonar sors or techniques can be utilized for recognizing and / or
    Processing Unit 94e can be utilized in detecting existence of 15 identifying a person, a cat, a tree, and / or other Objects 615 .
    an object, type of an object, distance of an object, bearing/ In further aspects , any features, functionalities, and embodi
    angle of an object, location of an object, shape/ size of an ments of Camera 92a /Picture Recognizer 94a , Microphone
    object, activity of an object, and / or other properties of an 92b /Sound Recognizer 946 , Lidar 92c /Lidar Processing Unit
    object. In general, Sonar Processing Unit 94e can be used for 94c , Radar 92d /Radar Processing Unit 94d, Sonar 92e/ Sonar
    any operation supported by Sonar Processing Unit 94e . In 20 Processing Unit 94e , and/or other sensors or techniques can
    one example , Sonar Processing Unit 94e may detect exis- be utilized for detecting distance , bearing/angle, and / or other
    tence of an object by emitting a sound signal and listening object properties.
    for the sound signal reflected from the object. In another      As shown for example in FIG . 4B , Object Processing Unit
    example, Sonar Processing Unit 94e may detect distance of 93 may create or generate Collection of Object Represen
    an object by measuring time delay between emission of a 25 tations 525 including Object Representation 625a represent
    sound signal and return of the sound signal reflected from         ing Object 615a , Object Representation 625b representing
    the object based on known speed of the sound signal . In a         Object 615b , Object Representation 625c representing
    further example, Sonar Processing Unit 94e may detect Object 6150 , etc. For instance , Object Representation 625a
    bearing/angle of an object by measuring the direction in may include Object Property 630aa “ Cat ” in Category
    which the microphone is pointing when the return signal of 30 635aa “ Type ” , Object Property 630ab “ 6 m ” in Category
    maximum strength is received , by analyzing amplitude of 635ab “ Distance ” , Object Property 630ac " 560" in Category
    the return signal, by performing phase analysis ( i.e. with 635ac “ Bearing ”, etc. Also , Object Representation 625b
    microphone array, etc.) of the return signal , and / or by may include Object Property 630ba “ Tree ” in Category
    utilizing any amplitude, phase , or other techniques. In a 635ba “ Type ” , Object Property 630bb “ 10 m ” in Category
    further example , Sonar Processing Unit 94e may detect 35 635bb “ Distance ” , Object Property 630bc “ 131 ”” in Cat
    existence, type , identity, shape/ size , activity, and / or other egory 635bc “ Bearing”, etc. Also , Object Representation
    properties of an object by illuminating the object with sound 625c may include Object Property 630ca “ Person ” in Cat
    pulses and acquiring an image of the object, which can then egory 635ca “ Type ” , Object Property 630cb “ John Doe” in
    be processed using some of the previously described or other Category 635cb “ Identity ” , Object Property 630cc “ 8 m ” in
    picture recognition techniques. Sonar Processing Unit 94e 40 Category 635cc “ Distance ” , Object Property 630cd “ 2870"
    may detect objects and / or their properties by utilizing any in Category 635cd “ Bearing” , etc. Any number of Object
    sonar or sound - related techniques known in art.                  Representations 625 , and / or other elements or information
       One of ordinary skill in art will understand that the can be included in Collection of Object Representations 525 .
    aforementioned techniques for detecting or recognizing Any number of Object Properties 630 (also referred to
    objects and / or their properties are described merely as 45 simply as object properties or other suitable name or refer
    examples of a variety of possible implementations, and that ence ), and / or other elements or information can be included
    while all possible techniques for detecting or recognizing in an Object Representation 625. In some aspects , a refer
    objects and / or their properties are too voluminous to ence to Collection of Object Representations 525 comprises
    describe, other techniques for detecting or recognizing a reference to a collection of Object Properties 630 and / or
    objects and / or their properties known in art are within the 50 other elements or information related to one or more Objects
    scope of this disclosure. Also , any signal processing tech- 615. Other additional Object Representations 625 , Object
    nique known in art that can facilitate the disclosed function- Properties 630 , elements, and /or information can be
    alities can be utilized in various embodiments . Any combi- included as needed , or some of the disclosed ones can be
    nation of the aforementioned and / or other sensors , object excluded , or a combination thereof can be utilized in alter
    detecting or recognizing techniques, signal processing tech- 55 nate embodiments of Collection of Object Representations
    niques , and / or other elements or techniques can be used in 525 .
    various embodiments.                                               Referring now to DCADO Unit 100 , DCADO Unit 100
       Referring to FIGS . 4A - 4B , an exemplary embodiment of comprises any hardware, programs, or a combination
    Objects 615 ( also referred to simply as objects or other thereof. DCADO Unit 100 comprises the functionality for
    suitable name or reference ) detected in Device's 98 sur- 60 learning the operation of Device 98 in circumstances includ
    rounding, and resulting Collection of Object Representa- ing objects with various properties. DCADO Unit 100
    tions 525 are illustrated .                                  comprises the functionality for structuring and / or storing
       As shown for example in FIG . 4A , Object 615a is this knowledge in a knowledgebase ( i.e. neural network ,
    detected . Object 615a may be recognized as a cat . Object graph , sequences, other repository, etc. ). DCADO Unit 100
    615a may be detected at a distance of 6 m from Device 98. 65 comprises the functionality for enabling autonomous opera
    Object 615a may be detected at a bearing/angle of 56 ° from tion of Device 98 in circumstances including objects with
    Device's 98 centerline. Furthermore, Object 615b is also various properties. DCADO Unit 100 comprises the func
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 220 of 2562 PageID #: 13091


                                                         US 11,238,344 B1
                                  81                                                              82
    tionality for interfacing with or attaching to Application         ments, autonomous application operating comprises deter
    Program 18 , Processor 11 , Logic Circuit 250 ( later mining, by DCADO Unit 100 , a next instruction or instruc
                                                                                                    9

    described ), and / or other processing element. DCADO Unit tion set to be executed based on Device's 98 circumstances
    100 comprises the functionality for obtaining instruction including objects with various properties prior to the system
    sets, data, and / or other information used , implemented , 5 receiving the next instruction or instruction set .
    and / or executed by Application Program 18 , Processor 11 ,         In some embodiments, autonomous Device 98 operating
    Logic Circuit 250 , and / or other processing element. includes a partially or fully autonomous operating. In an
    DCADO Unit 100 comprises the functionality for modifying example involving partially autonomous Device 98 operat
    instruction sets, data , and / or other information used, imple- ing , a user confirms DCADO Unit 100 -generated instruc
    mented, and / or executed by Application Program 18 , Pro- 10 tions or instruction sets prior to their execution . In an
    cessor 11 , Logic Circuit 250 , and /or other processing ele- example involving fully autonomous application operating,
    ment. DCADO Unit 100 comprises learning, anticipating, DCADO Unit 100 - generated instructions or instruction sets
    decision making , automation , and / or other functionalities are executed without user or other system confirmation (i.e.
    disclosed herein . Statistical , artificial intelligence, machine automatically, etc. ).
    learning, and / or other models or techniques are utilized to 15 In some embodiments, a combination of DCADO Unit
    implement the disclosed devices, systems, and methods.            100 and other systems and / or techniques can be utilized to
       When DCADO Unit 100 functionalities are applied on implement Device's 98 operation. In one example, DCADO
    Application Program 18 , Processor 11 , Logic Circuit 250          Unit 100 may be a primary or preferred system for imple
    ( later described ), and / or other processing element of Device   menting Device's 98 operation. While operating autono
    98 , Device 98 may become autonomous. DCADO Unit 100 20 mously under the control of DCADO Unit 100 , Device 98
    may take control from , share control with , and / or release may encounter a circumstance including objects with vari
    control to Application Program 18 , Processor 11 , Logic ous properties that has not been encountered or learned
    Circuit 250 , and / or other processing element to implement before . In such situations, User 50 and /or non - DCADO
    autonomous operation of Device 98. DCADO Unit 100 may system may take control of Device's 98 operation. DCADO
    take control from , share control with , and / or release control 25 Unit 100 may take control again when Device 98 encounters
    to Application Program 18 , Processor 11 , Logic Circuit 250 , a previously learned circumstance including objects with
    and / or other processing element automatically or after various properties. Naturally, DCADO Unit 100 can learn
    prompting User 50 to allow it . In some aspects , Application Device's 98 operation in circumstances while User 50
    Program 18 , Processor 11 , Logic Circuit 250 , and / or other and / or non - DCADO system is in control of Device 98 ,
    processing element of an autonomous Device 98 may 30 thereby reducing or eliminating the need for future involve
    include or be provided with anticipatory ( also referred to as ment of User 50 and / or non - DCADO system . In another
    alternate or other suitable name or reference ) instructions or example , User 50 and / or non - DCADO system may be a
    instruction sets that User 50 did not issue or cause to be         primary or preferred system for implementing Device's 98
    executed . Such anticipatory instructions or instruction sets operation. While operating under the control of User 50
    include instruction sets that User 50 may want or is likely to 35 and / or non- DCADO system , User 50 and / or non - DCADO
    issue or cause to be executed . Anticipatory instructions or system may release control to DCADO Unit 100 for any
    instruction sets can be generated by DCADO Unit 100 or reason ( i.e. User 50 gets tired or distracted, non -DCADO
    elements thereof based on Device's 98 circumstances system gets stuck or cannot make a decision , etc. ) , at which
    including objects with various properties. As such , Appli- point Device 98 can be controlled by DCADO Unit 100. In
    cation Program 18 , Processor 11 , Logic Circuit 250 , and / or 40 some designs, DCADO Unit 100 may take control in certain
    other processing element of an autonomous Device 98 may special circumstances including objects with various prop
    include or be provided with some or all original instructions erties where DCADO Unit 100 may offer superior perfor
    or instruction sets and / or any anticipatory instructions or mance even though User 50 and / or non - DCADO system
    instruction sets generated by DCADO Unit 100. Therefore , may generally be preferred . Once Device 98 leaves such
    autonomous Device 98 operating may include executing 45 special circumstances, DCADO Unit 100 may release con
    some or all original instructions or instruction sets and / or trol to User 50 and /or non- DCADO system . In general,
    any anticipatory instructions or instruction sets generated by DCADO Unit 100 can take control from , share control with ,
    DCADO Unit 100. In one example, DCADO Unit 100 can or release control to User 50 , non - DCADO system , and / or
    overwrite or rewrite the original instructions or instruction other system or process at any time , in any circumstances,
    sets of Application Program 18 , Processor 11 , Logic Circuit 50 and remain in control for any period of time as needed .
    250 , and / or other processing element with DCADO Unit              In some embodiments , DCADO Unit 100 may control
    100 - generated instructions or instruction sets . In another one or more sub -devices, sub - systems, or elements of
    example , DCADO Unit 100 can insert or embed DCADO Device 98 while User 50 and / or non -DCADO system may
    Unit 100 - generated instructions or instruction sets among control other one or more sub -devices, sub - systems, or
    the original instructions or instruction sets of Application 55 elements of Device 98 .
    Program 18 , Processor 11 , Logic Circuit 250 , and/or other        It should be understood that a reference to autonomous
    processing element. In a further example, DCADO Unit 100 operating of Device 98 may include autonomous operating
    can branch , redirect, or jump to DCADO Unit 100 - generated ofApplication Program 18 , Processor 11 , Logic Circuit 250 ,
    instructions or instruction sets from the original instructions and / or other processing element depending on context.
    or instruction sets of Application Program 18 , Processor 11 , 60 Referring now to Acquisition Interface 120 , Acquisition
    Logic Circuit 250 , and / or other processing element.           Interface 120 comprises the functionality for obtaining and /
       In some embodiments, autonomous Device 98 operating or receiving instruction sets, data, and / or other information .
    comprises determining, by DCADO Unit 100 , a next Acquisition Interface 120 comprises the functionality for
    instruction or instruction set to be executed based on obtaining and / or receiving instruction sets, data, and / or other
    Device's 98 circumstances including objects with various 65 information from Processor 11 , Application Program 18 ,
    properties prior to the user issuing or causing to be executed Logic Circuit 250 ( later described ), and / or other processing
    the next instruction or instruction set . In yet other embodi- element. Acquisition Interface 120 comprises the function
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 221 of 2562 PageID #: 13092


                                                         US 11,238,344 B1
                                  83                                                                    84
    ality for obtaining and / or receiving instruction sets , data , elements of a computing system such as memory, virtual
    and / or other information at runtime. In some aspects , an machine , runtime engine/environment, operating system ,
    instruction set may include any computer command, instruc- compiler, interpreter, translator, processor registers, execu
    tion , signal, or input used in Application Program 18 , tion stack, program counter, and / or other elements. In yet
    Processor 11 , Logic Circuit 250 , and / or other processing 5 other aspects , instrumentation can be performed in various
    element. Therefore, the terms instruction set , command, abstraction layers of a computing system such as in software
    instruction, signal , input, or other such terms may be used layer (i.e. Application Program 18 , etc. ) , in virtual machine
    interchangeably herein depending on context. Acquisition                                                   2



    Interface 120 also comprises the functionality for attaching in(if VM       is used) , in operating system , in Processor 11 , and / or
    to or interfacing with Application Program 18 , Processor 11 , 10 computinglayers
                                                                          other             or areas that may exist in a particular
    Logic Circuit 250 , and / or other processing element. In one instrumentation can implementation
                                                                                     system
                                                                                               be performed  at
                                                                                                               . In yet other aspects ,
                                                                                                                 various time periods in
    example , Acquisition Interface 120 comprises the function an application's execution such as source               code write time ,
    ality to access and / or read runtime engine/ environment,
    virtual machine, operating system , compiler, just - in - time compile time , interpretation time , translation time , linking
    (JIT) compiler, interpreter, translator, execution stack, file, 15 time , loading time, runtime, and / or other time periods. In yet
    object, data structure , and / or other computing system ele other aspects , instrumentation can be performed at various
    ments . In another example, Acquisition Interface 120 com granularities or code segments such as some or all lines of
    prises the functionality to access and / or read memory, stor code , some or all statements , some or all instructions or
    age , bus , interfaces, and / or other computing system instruction sets , some or all basic blocks , some or all
    elements. In a further example, Acquisition Interface 120 20 functions / routines / subroutines, and / or some or all other code
    comprises the functionality to access and / or read Processor segments .
    11 registers and / or other Processor 11 elements. In a further      In some embodiments, Application Program 18 can be
    example , Acquisition Interface 120 comprises the function- automatically instrumented . For example, Acquisition Inter
    ality to access and / or read inputs and / or outputs of Appli- face 120 can access Application Program’s 18 source code,
    cation Program 18 , Processor 11 , Logic Circuit 250 , and / or 25 bytecode, or machine code and select instrumentation points
    other processing element. In a further example, Acquisition of interest. Selecting instrumentation points may include
    Interface 120 comprises the functionality to access and / or finding locations in the source code , bytecode , or machine
    read functions, methods, procedures, routines, subroutines , code corresponding to function calls , function entries, func
    and / or other elements of Application Program 18. In a tion exits, object creations, object destructions, event han
    further example , Acquisition Interface 120 comprises the 30 dler calls , new lines (i.e. to instrument all lines of code, etc. ) ,
    functionality to access and / or read source code , bytecode,         thread creations , throws, and /or other points of interest.
    compiled, interpreted , or otherwise translated code, machine         Instrumentation code can then be inserted at the instrumen
    code , and / or other code . In a further example , Acquisition tation points of interest to output Application Program's 18
    Interface 120 comprises the functionality to access and / or instruction sets , data , and /or other information . In response
    read values , variables, parameters, and / or other data or 35 to executing instrumentation code, Application Program's
    information. Acquisition Interface 120 also comprises the 18 instruction sets, data , and / or other information may be
    functionality for transmitting the obtained instruction sets , received by Acquisition Interface 120. In some aspects ,
    data, and / or other information to Artificial Intelligence Unit      Application Program's 18 source code, bytecode , or
    110 and / or other element. As such , Acquisition Interface 120       machine code can be dynamically instrumented . For
    provides input into Artificial Intelligence Unit 110 for 40 example , instrumentation code can be dynamically inserted
    knowledge structuring, anticipating, decision making , and / into Application Program 18 at runtime.
    or other functionalities later in the process. Acquisition                In other embodiments, Application Program 18 can be
    Interface 120 also comprises other disclosed functionalities. manually instrumented . In one example, a programmer can
    Acquisition Interface 120 can employ various techniques for instrument a function call by placing an instrumenting
    obtaining instruction sets , data , and / or other information . In 45 instruction immediately after the function call as in the
    one example, Acquisition Interface 120 can attach to and / or following example.
    obtain Processor's 11 , Application Program's 18 , Logic                  Devicel.moveForward ( 12 );
    Circuit's 250 , and / or other processing element’s instruction           trace Application (Devicel.moveForward ( 12 ):');
    sets , data , and / or other information through tracing or pro- In another example, an instrumenting instruction can be
    filing techniques. Tracing or profiling may be used for 50 placed immediately before the function call , or at the begin
    outputting Processor's 11 , Application Program's 18 , Logic ning , end, or anywhere within the function itself. A pro
    Circuit’s 250 , and / or other processing element's instruction grammer may instrument all function calls or only function
    sets, data , and /or other information at runtime. For instance , calls of interest. In a further example , a programmer can
    tracing or profiling may include adding trace code ( i.e. instrument all lines of code or only code lines of interest. In
    instrumentation , etc. ) to an application and / or outputting 55 a further example , a programmer can instrument other
    trace information to a specific target. The outputted trace elements utilized or implemented within Application Pro
    information ( i.e. instruction sets , data , and / or other infor- gram 18 such as objects and / or any of their functions, data
    mation , etc.) can then be provided to or recorded into a file, structures and / or any of their functions, event handlers
    data structure, repository, an application, and / or other sys- and / or any of their functions, threads and / or any of their
    tem or target that may receive such trace information . As 60 functions, and /or other elements or functions . Similar instru
    such , Acquisition Interface 120 can utilize tracing or pro- mentation as in the preceding examples can be performed
    filing to obtain instruction sets , data , and / or other informa- automatically or dynamically. In some designs where
    tion and provide them as input into Artificial Intelligence manual code instrumentation is utilized , Acquisition Inter
    Unit 110. In some aspects , instrumentation can be performed face 120 can optionally be omitted and Application Pro
    in source code , bytecode, compiled , interpreted, or other- 65 gram's 18 instruction sets , data, and / or other information
    wise translated code , machine code , and /or other code . In         may be transmitted directly to Artificial Intelligence Unit
    other aspects , instrumentation can be performed in various           110 .
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 222 of 2562 PageID #: 13093


                                                         US 11,238,344 B1
                                  85                                                                   86
       In some embodiments, DCADO Unit 100 can be selective profiler of events in the profiled application . The Profiling
    in learning instruction sets , data, and / or other information to API may also provide an interface to enable the profiler to
    those implemented , utilized , or related to an object, data call back into the profiled application to obtain information
    structure , repository, thread , function, and /or other element about the state of the profiled application . The Profiling API
    of Application Program 18. In some aspects , Acquisition 5 may further provide call stack profiling functionalities.Call
    Interface 120 can obtain Application Program’s 18 instruc- stack ( also referred to as execution stack , control stack ,
    tion sets, data , and / or other information implemented , uti- runtime stack, machine stack, the stack , etc. ) includes a data
    lized , or related to a certain object in an object oriented structure that can store information about active subroutines
    Application Program 18 .                                           of an application . The Profiling API may provide a stack
       In some embodiments , various computing systems and / or 10 snapshot method, which enables a trace of the stack at a
    platforms may provide native tools for obtaining instruction particular point in time . The Profiling API may also provide
    sets, data , and / or other information . Also , independent ven- a shadow stack method, which tracks the call stack at every
    dors may provide portable tools with similar functionalities instant. A shadow stack can obtain function arguments ,
    that can be utilized across different computing systems return values , and information about generic instantiations .
    and / or platforms. These native and portable tools may 15 A function such as FunctionEnter can be utilized to notify
    provide a wide range of functionalities to obtain runtime and the profiler that control is being passed to a function and can
    other information such as instrumentation , tracing or pro- provide information about the stack frame and function
    filing, logging application or system messages , outputting arguments . A function such as FunctionLeave can be utilized
    custom text messages , outputting objects or data structures , to notify the profiler that aa function is about to return to the
    outputting functions / routines / subroutines or their invoca- 20 caller and can provide information about the stack frame and
    tions , outputting variable or parameter values , outputting function return value . An alternative to call stack profiling
    thread or process behaviors, outputting call or other stacks , includes call stack sampling in which the profiler can
    outputting processor registers, providing runtime memory periodically examine the stack . In some aspects , the Profil
    access , providing inputs and / or outputs , performing live ing API enables the profiler to change the in -memory code
    application monitoring, and / or other capabilities. One of 25 stream for a routine before it is just - in- time (JIT ) compiled
    ordinary skill in art will understand that, while all possible       where the profiler can dynamically add instrumentation code
    variations of the techniques to obtain instruction sets , data ,     to all or particular routines of interest. Other platforms,
    and / or other information are too voluminous to describe,           tools , and / or techniques may provide equivalent or similar
    these techniques are within the scope of this disclosure .           functionalities as the above described ones .
       In one example, obtaining instruction sets , data, and / or 30 In a further example, obtaining instruction sets , data ,
    other information can be implemented through the .NET and / or other information can be implemented through Java
    platform's native tools for application tracing or profiling platform's APIs for application tracing or profiling such as
    such as System.Diagnostics.Trace, System.Diagnostics.De- Java Virtual Machine Profiling Interface (JVMPI ) , Java
    bug , and System.Diagnostics.TraceSource classes for trac- Virtual Machine Tool Interface (JVMTI ) , and /or other APIs
    ing execution flow , and System . Diagnostics. Process , Sys- 35 or tools . These APIs can be used for instrumentation of an
    tem.Diagnostics.EventLog, and System . Diagnostics . application, for notification of Java Virtual Machine (VM )
    PerformanceCounter classes for profiling code , accessing events, and / or other functionalities . One of the tracing or
    local and remote processes , starting and stopping system profiling techniques that can be utilized includes bytecode
    processes, and interacting with Windows event logs , etc. For instrumentation . The profiler can insert bytecodes into all or
    instance, a set of trace switches can be created that output an 40 some of the classes . In application execution profiling, for
    application's information . The switches can be configured example, these bytecodes may include methodEntry and
    using the .config file. For a Web application , this may methodExit calls . In memory profiling, for example , the
    typically be Web.config file associated with the project. In a bytecodes may be inserted after each new or after each
    Windows application, this file may typically be named constructor. In some aspects , insertion of instrumentation
    application Name.exe.config . Trace code can be added to 45 bytecode can be performed either by a post-compiler or a
    application code automatically or manually as previously custom class loader . An alternative to bytecode instrumen
    described . Appropriate listener can be created where the tation includes monitoring events generated by the JVMPI
    trace output is received . Trace code may output trace mes- or JVMTI interfaces. Both APIs can generate events for
    sages to a specific target such as a file , a log , a database , an method entry /exit, object allocation , and / or other events. In
    object, a data structure , and /or other repository or system . 50 some aspects , JVMTI can be utilized for dynamic bytecode
    Acquisition Interface 120 or Artificial Intelligence Unit 110        instrumentation where insertion of instrumentation byte
    can then read or obtain the trace information from these             codes is performed at runtime. The profiler may insert the
    targets. In some aspects , trace code may output trace mes-          necessary instrumentation when a selected class is invoked
    sages directly to Acquisition Interface 120. In other aspects ,     in an application . This can be accomplished using the
    trace code may output trace messages directly to Artificial 55 JVMTI's redefineClasses method, for example. This
    Intelligence Unit 110. In the case of outputting trace mes-         approach also enables changing of the level of profiling as
    sages to Acquisition Interface 120 or directly to Artificial        the application is running. If needed , these changes can be
    Intelligence Unit 110, custom listeners can be built to             made adaptively without restarting the application. Other
    accommodate these specific targets. Other platforms, tools ,        platforms, tools , and / or techniques may provide equivalent
    and / or techniques can provide equivalent or similar func- 60 or similar functionalities as the above described ones .
    tionalities as the above described ones .                              In a further example, obtaining instruction sets , data ,
       In another example , obtaining instruction sets, data, and / and / or other information can be implemented through JVM
    or other information can be implemented through the .NET TI's programming interface that enables creation of software
    platform's Profiling API that can be used to create a custom agents that can monitor and control a Java application. An
    profiler application for tracing, monitoring, interfacing with , 65 agent may use the functionality of the interface to register
    and / or managing a profiled application . The Profiling API for notification of events as they occur in the application ,
    provides an interface that includes methods to notify the and to query and control the application . A JVMTI agent
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 223 of 2562 PageID #: 13094


                                                       US 11,238,344 B1
                              87                                                                    88
    may use JVMTI functions to extract information from a Java        Examples of event attributes that can be utilized include
    application. A JVMTI agent can be utilized to obtain an           eventID , level , task , opcode , keywords, and / or other event
    application's runtime information such as method calls ,          attributes. Windows wevtutil tool enables access to events ,
    memory allocation , CPU utilization, lock contention, and/ or     their structures, registered event publishers, and / or their
    other information . JVMTI may include functions to obtain 5 configuration even before the events are fired . Wevtutil
    information about variables, fields, methods, classes , and /or supports capabilities such as retrieval of the names of all
    other information. JVMTI may also provide notification for logs on a computing device ; retrieval of configuration infor
    numerous events such as method entry and exit , exception , mation for a specific log ; retrieval of event publishers on a
    field access and modification , thread start and end, and / or computing device ; reading events from an event log , from a
    other events . Examples of JVMTI built - in methods include 10 log file, or using a structured query ; exporting events from
    GetMethodName to obtain the name of an invoked method , an event log , from a log file, or using a structured query to
    GetThreadInfo to obtain information for a specific thread, a specific target; and / or other capabilities. Operating system
    GetClassSignature to obtain information about the class of logs can be utilized solely if they contain sufficient infor
    an object, GetStackTrace to obtain information about the mation on an application's instruction sets , data , and / or
    stack including information about stack frames, and / or other 15 other information . Alternatively, operating system logs can
    methods. Other platforms, tools , and /or techniques may          be utilized in combination with another source of informa
    provide equivalent or similar functionalities as the above tion (i.e. trace information , call stack , processor registers ,
    described ones .                                                  memory , etc. ) to reconstruct the application's instruction
      In a further example, obtaining instruction sets , data ,       sets, data, and / or other information needed for Artificial
    and / or other information can be implemented through java- 20 Intelligence Unit 110 and / or other elements . In addition to
    .lang.Runtime class that provides an interface for application logging capabilities native to their respective platforms
    tracing or profiling. Examples of methods provided in java- and /or operating systems , many independent tools exist that
    .lang.Runtime that can be used to obtain an application's provide logging on different platforms and / or operating
    instruction sets , data, and / or other information include systems . Examples of these tools include Log 4 ), Logback ,
                                                                                                                          2

    tracemethodcalls, traceinstructions, and / or other methods . 25 SmartInspect, NLog , log 4net , Microsoft Enterprise Library,
    These methods prompt the Java Virtual Machine to output ObjectGuy Framework , and / or others. Other platforms,
    trace information for a method or instruction in the virtual      tools , and / or techniques may provide equivalent or similar
    machine as it is executed . The destination of trace output       functionalities as the above described ones .
    may be system dependent and include a file , a listener,             In a further example, obtaining instruction sets , data ,
    and / or other destinations where Acquisition Interface 120 , 30 and / or other information can be implemented through trac
    Artificial Intelligence Unit 110 , and / or other disclosed ele- ing or profiling the operating system on which an application
    ments can access needed information . In addition to tracing runs. As in tracing or profiling an application, one of the
    or profiling tools native to their respective computing sys- techniques that can be utilized includes adding instrumen
    tems and / or platforms, many independent tools exist that tation code to the operating system's source code . Such
    provide tracing or profiling functionalities on more than one 35 instrumentation code can be added to the operating system's
    computing system and / or platform . Examples of these tools source code before kernel compilation or recompilation, for
    include Pin , DynamoRIO , KernInst, DynInst , Kprobes , instance . This type of instrumentation may involve defining
    OpenPAT, DTrace , System Tap , and / or others. Other plat- or finding locations in the operating system's source code
    forms, tools , and /or techniques may provide equivalent or where instrumentation code may be inserted . Kernel instru
    similar functionalities as the above described ones .           40 mentation can also be performed without the need for kernel
       In a further example, obtaining instruction sets , data , recompilation or rebooting. In some aspects , instrumenta
    and / or other information can be implemented through log- tion code can be added at locations of interest through binary
    ging tools of the platform and / or operating system on which rewriting of compiled kernel code . In other aspects , kernel
    an application runs . Some logging tools may include nearly instrumentation can be performed dynamically where instru
    full feature sets of the tracing or profiling tools previously 45 mentation code is added and / or removed where needed at
    described . In one example , Visual Basic enables logging of runtime. For instance, dynamic instrumentation may over
    runtime messages through its Microsoft.VisualBasic.Log- write kernel code with a branch instruction that redirects
    ging namespace that provides a log listener where the log execution to instrumentation code or instrumentation rou
    listener may direct logging output to a file and /or other tine. In yet other aspects , kernel instrumentation can be
    target. In another example, Java enables logging through its 50 performed using just - in -time ( JIT ) dynamic instrumentation
    java.util.logging class . In some aspects , obtaining an appli- where execution may be redirected to a copy of kernel's
    cation's instruction sets , data , and / or other information can code segment that includes instrumentation code . This type
    be implemented through logging capabilities of the operat- of instrumentation may include aa JIT compiler and creation
    ing system on which an application runs. For example, of a copy of the original code segment having instrumen
    Windows NT features centralized log service that applica- 55 tation code or calls to instrumentation routines embedded
    tions and operating -system components can utilize to report into the original code segment. Instrumentation of the oper
    their events including any messages . Windows NT provides ating system may enable total system visibility including
    functionalities for system , application, security, and / or other visibility into an application's behavior by enabling genera
    logging . An application log may include events logged by tion of low level trace information . Other platforms, tools ,
    applications. Windows NT, for example, may include sup- 60 and /or techniques may provide equivalent or similar func
    port for defining an event source (i.e. application that created tionalities as the above described ones .
    the event, etc. ). Windows Vista, for example , supports a            In a further example , obtaining instruction sets , data ,
    structured XML log - format and designated log types to and /or other information can be implemented through trac
    allow applications to more precisely log events and to help ing or profiling the processor on which an application runs .
    interpret the events . Examples of different types of event 65 For example, some Intel processors provide Intel Processor
    logs include administrative, operational, analytic, debug , Trace ( i.e. Intel PT, etc. ) , a low - level tracing feature that
    and / or other log types including any of their subcategories. enables recording executed instruction sets, and / or other
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 224 of 2562 PageID #: 13095


                                                        US 11,238,344 B1
                                 89                                                                  90
    data or information of one or more applications. Intel PT is        to applications loaded into memory. Operating system , pro
    facilitated by the Processor Trace Decoder Library along            cessor, or other low level commands such as Linux mprotect
    with its related tools . Intel PT is a low - overhead execution     command or similar commands in other operating systems
    tracing feature that records information about application may be used to unprotect the protected locations in memory
    execution on each hardware thread using dedicated hard- 5 before the change. In yet other aspects , assembly language
    ware facilities. The recorded execution / trace information is can be used to obtain instruction sets , data , and /or other
    collected in data packets that can be buffered internally information through accessing and / or reading instruction
    before being sent to a memory subsystem or another system register, program counter, other processor registers, memory
    or element (i.e. Acquisition Interface 120 , Artificial Intelli- locations, and /or other components of a computing system .
    gence Unit 110 , etc. ). Intel PT also enables navigating the 10 In yet other aspects , high - level programming languages may
    recorded execution /trace information via reverse stepping call or execute an external assembly language program to
    commands. Intel PT can be included in an operating sys- facilitate obtaining instruction sets, data , and / or other infor
    tem's core files and provided as a feature of the operating mation as previously described . In yet other aspects , rela
    system . Intel PT can trace globally some or all applications tively low - level programming languages such as C may
    running on an operating system . Acquisition Interface 120 or 15 allow embedding assembly language directly in their source
    Artificial Intelligence Unit 110 can read or obtain the code such as , for example, using asm keyword of C. Other
    recorded execution / trace information from Intel PT . Other platforms, tools , and /or techniques may provide equivalent
    platforms, tools , and /or techniques may provide equivalent        or similar functionalities as the above described ones .
    or similar functionalities as the above described ones .              In aa further example, it may be sufficient to obtain user or
      In a further example, obtaining instruction sets , data , 20 other inputs, variables, parameters, and / or other data in
    and / or other information can be implemented through some procedural, simple object oriented , or other applica
    branch tracing or profiling. Branch tracing may include an tions . In one instance , a simple procedural application
    abbreviated instruction trace in which only the successful executes a sequence of instruction sets until the end of the
    branch instruction sets are traced or recorded . Branch tracing program . During its execution , the application may receive
    can be implemented through utilizing dedicated processor 25 user or other input, store the input in a variable, and perform
    commands, for example. Executed branches may be saved calculations using the variable to reach a result. The value of
    into special branch trace store area of memory . With the the variable can be obtained or traced . In another instance ,
    availability and reference to a compiler listing of the appli- a more complex procedural application comprises one or
    cation together with branch trace information , a full path of more functions/ routines / subroutines each of which may
    executed instruction sets can be reconstructed . The full path 30 include a sequence of instruction sets. The application    may
    can also be reconstructed with a memory dump ( containing execute a main sequence of instruction sets with aa branch to
    the program storage ) and branch trace information . In some a function / routine / subroutine. During its execution , the
    aspects , branch tracing can be utilized for pre - learning or application may receive user or other input, store the input
    automated learning of an application's instruction sets, data, in a variable , and pass the variable as a parameter to the
    and / or other information where a number of application 35 function / routine / subroutine. The function /routine /subrou
    simulations ( i.e. simulations of likely /common operations, tine may perform calculations using the parameter and
    etc. ) are performed . As such , the application's operation can return a value that the rest of the application can use to reach
    be learned automatically saving the time that would be a result . The value of the variable or parameter passed to the
    needed to learn the application's operation directed by a function /routine /subroutine, and /or return value can be
    user . Other platforms, tools , and / or techniques may provide 40 obtained or traced . Values of user or other inputs, variables ,
    equivalent or similar functionalities as the above described parameters, and /or other items of interest can be obtained
    ones .                                                        through previously described tracing, instrumentation , and /
       In a further example, obtaining instruction sets , data, or other techniques. Other platforms, tools , and / or tech
    and / or other information can be implemented through niques may provide equivalent or similar functionalities as
    assembly language. Assembly language is a low - level pro- 45 the above described ones .
    gramming language for a computer or other programmable           Referring to FIG . 5 , in yet another example , obtaining
    device in which there is a strong correlation between the instruction sets , data, and / or other information may be
    language and the architecture's machine instruction sets . implemented through tracing, profiling , or sampling of
    Syntax , addressing modes , operands, and / or other elements instruction sets or data in processor registers, memory, or
    of an assembly language instruction set may translate 50 other computing system components where instruction sets ,
    directly into numeric (i.e. binary, etc. ) representations of that data, and / or other information may be stored or utilized . For
    particular instruction set. Because of this direct relationship example, Instruction Register 212 may be part of Processor
    with the architecture’s machine instruction sets , assembly 11 and it may store the instruction set currently being
    language can be a powerful tool for tracing or profiling an executed or decoded . In some processors , Program Counter
    application's execution in processor registers, memory, and / 55 211 (also referred to as instruction pointer, instruction
    or other computing system components. For example , using address register, instruction counter, or part of instruction
    assembly language, memory locations of a loaded applica- sequencer ) may be incremented after fetching an instruction
    tion can be accessed , instrumented, and / or otherwise set, and it may hold or point to the memory address of the
    manipulated. In some aspects , assembly language can be next instruction set to be executed . In a processor where the
    used to rewrite or overwrite original in -memory instruction 60 incrementation precedes the fetch , Program Counter 211
    sets of an application with instrumentation instruction sets . may point to the current instruction set being executed . In
    In other aspects , assembly language can be used to redirect the instruction cycle , an instruction set may be loaded into
    application's execution to instrumentation routine/subrou- Instruction Register 212 after Processor 11 fetches it from
    tine or other code segment elsewhere in memory by insert- location in Memory 12 pointed to by Program Counter 211 .
    ing a jump into the application's in -memory code, by 65 Instruction Register 212 may hold the instruction set while
    redirecting program counter, or by other techniques. Some it is decoded by Instruction Decoder 213 , prepared , and
    operating systems may implement protection from changes executed . In some aspects , data (i.e. operands, etc. ) needed
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 225 of 2562 PageID #: 13096


                                                       US 11,238,344 B1
                                 91                                                                 92
    for instruction set execution may be loaded from Memory 12         processor or computing system components and Acquisition
    into a register within Register Array 214. In other aspects ,    Interface 120 or other elements .
    the data may be loaded directly into Arithmetic Logic Unit          Referring to FIGS . 6A - 6B , in yet another example ,
    215. For instance, as instruction sets pass through Instruc-     obtaining instruction sets, data , and / or other information
    tion Register 212 during application execution , they may be 5 may be implemented through tracing, profiling, or sampling
    transmitted to Acquisition Interface 120 as shown . Examples of Logic Circuit 250. While Processor 11 includes any type
    of the steps in execution of a machine instruction set may or embodiment of logic circuit, Logic Circuit 250 is
    include decoding the opcode ( i.e. portion of a machine described separately here to offer additional detail on its
    instruction set that may specify the operation to be per 10 functioning       . Some Devices 98 may not need the processing
    formed ), determining where the operands may be located tailored Logicof anCircuit
                                                                     capabilities         entire Processor 11 , but instead a more
                                                                                               250. Examples of such Devices 98
    ( depending on architecture , operands may be in registers, the
    stack , memory , I/ O ports, etc. ), retrieving the operands, include    home appliances, audio or video electronics, vehicle
    allocating processor resources to execute the instruction set systems    , toys , industrial machines , robots , and /or others .
                                                                     Logic Circuit 250 comprises the functionality for perform
    ( needed in some types of processors ), performing the opera- 15 ing logic operations. Logic Circuit 250 comprises the func
    tion indicated by the instruction set , saving the results of tionality for performing logic operations using the circuit's
    execution, and / or other execution steps. Examples of the         inputs and producing outputs based on the logic operations
    types of machine instruction sets that can be utilized include     performed on the inputs. Logic Circuit 250 may generally be
    arithmetic, data handling, logical , program control, as well      implemented using transistors, diodes , and / or other elec
    as special and / or other instruction set types. In addition to 20 tronic switches , but can also be constructed using vacuum
    the ones described or shown , examples of other computing tubes , electromagnetic relays (relay logic ) , fluidic logic ,
    system or processor components that can be used during an pneumatic logic , optics , molecules , or even mechanical
    instruction cycle include memory address register (MAR ) elements. In some aspects , Logic Circuit 250 may be or
    that may hold the address of a memory block to be read from include a microcontroller, field -programmable gate array
    or written to ; memory data register ( MDR) that may hold 25 (FPGA ), application - specific integrated circuit (ASIC ) , and /
    data fetched from memory or data waiting to be stored in or other computing circuit or device . In other aspects , Logic
    memory ; data registers that may hold numeric values , char- Circuit 250 may be or include any circuit or device com
    acters, small bit arrays , or other data ; address registers that prising one or more logic gates , one or more transistors, one
    may hold addresses used by instruction sets that indirectly or more switches , and / or one or more other logic compo
    access memory ; general purpose registers (GPRS ) that may 30 nents . In further aspects , Logic Circuit 250 may be or
    store both data and addresses; conditional registers that may      include any integrated or other circuit or device that can
    hold truth values often used to determine whether some             perform logic operations. Logic may generally refer to
    instruction set should or should not be exe uted ; floating        Boolean logic utilized in binary operations, but other logics
    point registers (FPRs ) that may store floating point numbers;     can also be used . Input into Logic Circuit 250 may include
    constant registers that may hold read - only values such as 35 or refer to a value inputted into the Logic Circuit 250 ,
    zero , one, or pi ; special purpose registers ( SPRs ) such as therefore, these terms may be used interchangeably herein
    status register, program counter, or stack pointer that may depending on context. In one example , Logic Circuit 250
    hold information on program state ; machine - specific regis- may perform some logic operations using four input values
    ters that may store data and settings related to a particular and produce two output values . As the four input values are
    processor; Register Array 214 that may include an array of 40 delivered to or received by Logic Circuit 250 , they may be
    any number of processor registers; Arithmetic Logic Unit obtained by Acquisition Interface 120 through the four
    215 that may perform arithmetic and logic operations; hardwired connections as shown in FIG . 6A . In another
    control unit that may direct processor's operation ; and / or example , Logic Circuit 250 may perform some logic opera
    other circuits or components. Tracing, profiling, or sampling tions using four input values and produce two output values .
    of processor registers, memory, or other computing system 45 As the two output values are generated by or transmitted out
    components can be implemented in a program , combination of Logic Circuit 250 , they may be obtained by Acquisition
    of hardware and program , or purely hardware system . Dedi- Interface 120 through the two hardwired connections as
    cated hardware may be built to perform tracing, profiling, or shown in FIG . 6B . In a further example, instead of or in
    sampling of processor registers or any computing system addition to obtaining input and / or output values of Logic
    components with marginal or no impact to computing over- 50 Circuit 250 , the state of Logic Circuit 250 may be obtained
                                                                                  2

    head .                                                            by reading or accessing values from one or more Logic
        One of ordinary skill in art will recognize that FIG . 5 Circuit's 250 internal components such as registers, memo
    depicts one of many implementations of processor or com- ries , buses , and / or others ( i.e. similar to the previously
    puting system components , and that various additional com- described tracing, profiling, and / or sampling of Processor 11
    ponents can be included, or some of the disclosed ones can 55 components, etc. ) . Tracing, profiling, or sampling of Logic
    be excluded , or a combination thereof can be utilized in Circuit 250 can be implemented in a program , combination
    alternate implementations. Processor or computing system          of hardware and program , or purely hardware system . Dedi
    components may be arranged or connected differently in cated hardware may be built to perform tracing, profiling, or
    alternate implementations. Processor or computing system sampling of Logic Circuit 250 with marginal or no impact to
    components may also be connected with external elements 60 computing overhead . Any of the elements and / or techniques
    using various connections. For instance , the connection for tracing, profiling, or sampling of Logic Circuit 250 can
    between Instruction Register 212 and Acquisition Interface similarly be implemented with Processor 11 and / or other
    120 may include any number or types of connections such           processing elements . In some designs, DCADO Unit 100
    as , for example, a dedicated connection for each bit of may include clamps and / or other elements to attach DCADO
    Instruction Register 212 (i.e. 32 connections for a 32 bit 65 Unit 100 to inputs ( i.e. input wires, etc.) into and / or outputs
    Instruction Register 212 , etc. ) . Any of the described or other (i.e. output wires, etc. ) from Logic Circuit 250. Such clamps
    connections or interfaces may be implemented among any             and /or attachment elements enable seamless attachment of
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 226 of 2562 PageID #: 13097


                                                               US 11,238,344 B1
                                     93                                                                    94
    DCADO Unit 100 to any circuit or computing device                         shown in FIG . 7D , Instruction Set 526 includes assembly
    without the need to redesign or alter the circuit or computing            code . In aa further embodiment shown in FIG . 7E , Instruction
    device .                                                                  Set 526 includes machine code .
       In some embodiments, DCADO Unit 100 may learn input                Referring to FIGS . 8A - 8B , some embodiments of Extra
    values directly from an actuator (previously described , not 5 Information 527 ( also referred to as Extra Info 527 ) are
    shown ). For example, Logic Circuit 250 or other processing illustrated . In an embodiment shown in FIG . 8A , Collection
    element may control an actuator that enables Device 98 to of Object Representations 525 may include or be associated
    perform mechanical, physical, and / or other operations. An with Extra Info 527. In an embodiment shown in FIG . 8B ,
    actuator may receive one or more input values or control Instruction Set 526 may include or be associated with Extra
    signals from Logic Circuit 250 or other processing element 10 Info 527 .
    directing the actuator to perform specific operations. As one         Extra Info 527 comprises the functionality for storing any
    or more input values or control signals are delivered to or information useful in comparisons or decision making per
    received by the actuator, they may be obtained by Acquisi- formed in autonomous device operation, and/ or other func
    tion Interface 120 as previously described with respect to tionalities . One or more Extra Infos 527 can be stored in ,
    obtaining input values of Logic Circuit 250. Specifically, for 15 appended to , or associated with a Collection of Object
    instance, one or more input values or control signals of an Representations 525 , Instruction Set 526 , and / or other ele
    actuator may be obtained by Acquisition Interface 120 via ment. In some embodiments, the system can obtain Extra
    hardwired or other connections.                                     Info 527 at a time of creating or generating Collection of
       One of ordinary skill in art will recognize that FIGS . Object Representations 525. In other embodiments , the
    6A - 6B depict one of many implementations of Logic Circuit 20 system can obtain Extra Info 527 at a time of acquiring
    250 and that any number of input and / or output values can Instruction Set 526. In general, Extra Info 527 can be
    be utilized in alternate implementations. One of ordinary obtained at any time . Examples of Extra Info 527 include
    skill in art will also recognize that Logic Circuit 250 may time information , location information , computed informa
    include any number and / or combination of logic compo- tion , contextual information , and / or other information . Any
    nents to implement any logic operations.                         25 information can be utilized that can provide information for
       Other additional techniques or elements may be utilized enhanced comparisons or decision making performed in
    as needed for obtaining instruction sets , data , and / or other autonomous device operation. Which information is utilized
    information, or some of the disclosed techniques or elements and /or stored in Extra Info 527 can be set by a user , by
    may be excluded, or a combination thereof may be utilized DCADO system administrator, or automatically by the sys
    in alternate embodiments .                                       30 tem . Extra Info 527 may include or be referred to as
       Referring to FIGS . 7A - 7E , some embodiments of Instruc- contextual information, and vice versa . Therefore, these
    tion Sets 526 are illustrated . In some aspects , Instruction Set terms may be used interchangeably herein depending on
    526 includes one or more instructions or commands of                      context.
    Application Program 18. For example, Instruction Set 526       In some aspects , time information ( i.e. time stamp, etc.)
    may include one or more instructions or commands of a 35 can be utilized and / or stored in Extra Info 527. Time
    high - level programming language such as Java or SQL , a information can be useful in comparisons or decision mak
    low - level language such as assembly or machine language, ing performed in autonomous device operation related to a
    an intermediate language or construct such as bytecode, specific time period as Device 98 may be required to
    and / or any other language or construct. In other aspects , perform specific operations at certain parts of day, month ,
    Instruction Set 526 includes one or more inputs into and / or 40 year, and / or other time periods. Time information can be
    outputs from Logic Circuit 250 , Processor 11 , Application obtained from the system clock, online clock , oscillator, or
    Program 18 , and / or other processing element. In further other time source . In general, Extra Info 527 may include
                  2

    aspects , Instruction Set 526 includes one or more values or time information related to when Device 98 performed an
    states of registers and / or other components of Logic Circuit operation. In other aspects , location information ( i.e. coor
    250 , Processor 11 , and / or other processing element. In 45 dinates, distance/angle from a known point, address, etc.)
    general, Instruction Set 526 may include one or more                      can be utilized and / or stored in Extra Info 527. Location
    instructions, commands, keywords, symbols ( i.e. parenthe-                information can be useful in comparisons or decision mak
    ses , brackets , commas, semicolons , etc. ) , operators ( i.e. = , 5 ,   ing performed in autonomous device operation related to a
    > , etc.), variables, values , objects, data structures, functions
                        9                                                     specific place as Device 98 may be required to perform
    ( i.e. Function1 ( ) , FIRST ( ) , MIN ( ) , SQRT ( ), etc. ) , param- 50 specific operations at certain places . Location information
    eters , states , signals, inputs, outputs, characters, digits, ref- can be obtained from a positioning system ( i.e. radio signal
    erences thereto , and / or other components for performing an triangulation, GPS capabilities, etc. ) , sensors , and / or other
    operation.                                                                location system . In general, Extra Info 527 may include
        In an embodiment shown in FIG . 7A , Instruction Set 526 location information related to where Device 98 performed
    includes code of aa high - level programming language ( i.e. 55 an operation . In further aspects , computed information can
    Java , C ++ , etc. ) comprising the following function call be utilized and /or stored in Extra Info 527. Computed
    construct: Function1 ( Parameter1, Parameter2 , Parameter3, information can be useful in comparisons or decision mak
          . ) . An example of a function call applying the above ing performed in autonomous device operation where infor
    construct includes the following Instruction Set 526 : mation can be calculated , inferred, or derived from other
    moveTo (Device1, 14 , 8 ) . The function or reference thereto 60 available information . DCADO Unit 100 and / or other dis
    “ moveTo (Devicel , 14 , 8 )” may be an Instruction Set 526 closed elements may include computational functionalities
    directing Devicel to move to a location with coordinates 14 to create Extra Info 527 by performing calculations or
    and 8 , for example. In another embodiment shown in FIG . inferences using other information . In one example,
    7B , Instruction Set 526 includes structured query language Device's 98 speed can be computed or estimated from
    ( SQL ) . In aa further embodiment shown in FIG . 7C , Instruc- 65 Device's 98 location and / or time information . In another
    tion Set 526 includes bytecode ( i.e. Java bytecode , Python example, Device's 98 bearing ( i.e. angle or direction of
    bytecode , CLR bytecode, etc. ) . In a further embodiment movement, etc. ) can be computed or estimated from
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 227 of 2562 PageID #: 13098


                                                      US 11,238,344 B1
                                   95                                                                96
    Device's 98 location information by utilizing Pythagorean            Referring to FIG . 11 , an embodiment of learning and /or
    theorem , trigonometry, and / or other theorems, formulas, or using Remote Device's 97 circumstances for autonomous
    disciplines . In a further example, speeds , bearings, dis- Remote Device 97 operation is illustrated . In such embodi
    tances , and /or other properties of objects around Device 98 ments, in addition to providing input into Object Processing
    can similarly be computed or inferred using known infor- 5 Unit 93 for learning functionalities herein , Sensor 92 (i.e.
    mation . In further aspects , observed information can be Camera 92a , Radar 92d, Sonar 92e , etc. ) can provide input
    utilized and / or stored in Extra Info 527. In further aspects, into Display 21 or other device for User's 50 perception of
    other information can be utilized and / or stored in Extra Info Remote Device's 97 surrounding. As User 50 operates
    527. Examples of such other information include user spe- Remote Device 97 , DCADO Unit 100 may learn Remote
    cific information ( i.e. skill level , age , gender, etc. ) , group 10 Device's 97 operation in circumstances including objects
    user information (i.e. access level , etc. ), version of Appli- with various properties. Such embodiments can be utilized
    cation Program 18 , type of Application Program 18 , type of in any situation where one device controls (i.e. remote
    Processor 11 , type of Logic Circuit 250 , type of Device 98 , controls, etc. ) another device, any situation where some or
                  2

    and / or other information .                                      all of the processing is on one device and sensor capabilities
       Referring to FIG . 9 , an embodiment where DCADO Unit 15 are on another device , and / or other situations. In one
    100 is part of or operating on Processor 11 is illustrated . In example, a drone controlling device (i.e. Device 98 , etc.)
    one example, DCADO Unit 100 may be aa hardware element may send control signals to operate a drone (i.e. Remote
    or circuit embedded or built into Processor 11. In another Device 97 , etc. ) and receive information on the drone's
    example, DCADO Unit 100 may be a program operating on surrounding from Sensor 92 on the drone . In another
    Processor 11 .                                                 20 example, a robot controlling device (i.e. Device 98 , etc.)
       Referring to FIG . 10 , an embodiment where DCADO may send control signals to operate a robot ( i.e. Remote
    Unit 100 resides on Server 96 accessible over Network 95 is       Device 97 , etc.) and receive information on the robot's
    illustrated . Any number of Devices 98 may connect to such surrounding from Sensor 92 on the robot. Any of the
    remote DCADO Unit 100 and the remote DCADO                        disclosed elements in addition to Sensor 92 may reside on
       Unit 100 may learn their operations in circumstances 25 Remote Device 97 in alternate implementations.
    including objects with various properties. In turn , any num-        Referring to FIG . 12 , an embodiment of Artificial Intel
    ber of Devices 98 can utilize the remote DCADO Unit 100 ligence Unit 110 is illustrated . Artificial Intelligence Unit
    for autonomous operation in circumstances including 110 comprises interconnected Knowledge Structuring Unit
    objects with various properties. A remote DCADO Unit 100 520 , Knowledgebase 530 , Decision -making Unit 540 , and
    can be offered as a network service ( i.e. online application, 30 Confirmation Unit 550. Other additional elements can be
    etc. ) . In some aspects , a remote DCADO Unit 100 ( i.e. included as needed , or some of the disclosed ones can be
    global DCADO Unit 100 , etc. ) may reside on the Internet excluded , or a combination thereof can be utilized in alter
    and be available to all the world's Devices 98 configured         nate embodiments.
    transmit their operations in circumstances including objects         Artificial Intelligence Unit 110 comprises the functional
    with various properties and / or configured to utilize the 35 ity for learning Device's 98 operation in circumstances
    remote DCADO Unit 100 for autonomous operation in including objects with various properties. Artificial Intelli
    circumstances including objects with various properties. For gence Unit 110 comprises the functionality for learning one
    example, multiple operators (i.e. Users 50 , etc. ) may operate or more collections of object representations correlated with
    their Devices 98 where the Devices 98 may be configured to        any instruction sets , data , and / or other information . In some
    transmit their operations in circumstances including objects 40 aspects , Artificial Intelligence Unit 110 comprises the func
    with various properties to a remote DCADO Unit 100. Such tionality for learning one or more Collections of Object
    remote DCADO Unit 100 enables learning of the operators ' Representations 525 correlated with any Instruction Sets 526
    collective knowledge of operating Device 98 in circum- and / or Extra Info 527. In other aspects , Artificial Intelli
    stances including objects with various properties. Server 96 gence Unit 110 comprises the functionality for learning one
    may be or include any type or form of a remote computing 45 or more Collections of Object Representations 525 some of
    device such as an application server, a network service which may not be correlated with any Instruction Sets 526
    server, a cloud server, a cloud , and / or other remote comput- and / or Extra Info 527. Further, Artificial Intelligence Unit
    ing device . Server 96 may include any features, function- 110 comprises the functionality for anticipating Device's 98
    alities , and embodiments of the previously described Com- operation in circumstances including objects with various
    puting Device 70. It should be understood that Server 96 50 properties. Artificial Intelligence Unit 110 comprises the
    does not have to be a separate computing device and that functionality for anticipating one or more instruction sets ,
    Server 96 , its elements, or its functionalities can be imple- data, and / or other information . Artificial Intelligence Unit
    mented on Device 98. Network 95 may include various 110 comprises the functionality for anticipating one or more
    networks, connection types, protocols , interfaces, APIs , and / Instruction Sets 526 based on one or more incoming Col
    or other elements or techniques known in art all of which are 55 lections of Object Representations 525. Artificial Intelli
    within the scope of this disclosure. Any of the previously gence Unit 110 comprises the functionality for anticipating
    described networks, network or connection types , network- one or more Instruction Sets 526 to be used or executed in
    ing interfaces, and / or other networking elements or tech- Device's 98 autonomous operation. Artificial Intelligence
    niques can similarly be utilized . Any of the disclosed ele- Unit 110 also comprises other disclosed functionalities .
    ments may reside on Server 96 in alternate implementations. 60 Knowledge Structuring Unit 520 , Knowledgebase 530 ,
    In one example, Artificial Intelligence Unit 110 can reside on and Decision -making Unit 540 are described later.
    Server 96 and Acquisition Interface 120 and / or Modification       Confirmation Unit 550 comprises the functionality for
    Interface 130 can reside on Device 98. In another example, confirming, modifying, evaluating ( i.e. rating, etc. ), and /or
    Knowledgebase 530 can reside on Server 96 and the rest of canceling one or more anticipatory Instruction Sets 526 ,
    the elements of DCADO Unit 100 can reside on Device 98. 65 and / or other functionalities. Confirmation Unit 550 is an
    Any other combination of local and remote elements can be optional element that can be omitted depending on imple
    implemented.                                                     mentation . In some embodiments , Confirmation Unit 550
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 228 of 2562 PageID #: 13099


                                                      US 11,238,344 B1
                                 97                                                                98
    can serve as a means of confirming anticipatory Instruction Sets 526 , and restore Device 98 , Processor 11 , Logic Circuit
    Sets 526. For example, Decision -making Unit 540 may 250 , Application Program 18 , and / or other processing ele
                                                                                                     9

    determine one or more anticipatory Instruction Sets 526 and ments to a prior state. In some aspects , Confirmation Unit
    provide them to User 50 for confirmation . User 50 may be 550 can optionally be disabled or omitted in order to provide
    provided with an interface (i.e. graphical user interface, 5 an uninterrupted operation of Device 98 , Processor 11 ,
    selectable list of anticipatory Instruction Sets 526 , etc. ) to Logic Circuit 250 , and / or Application Program 18. For
    approve or confirm execution of the anticipatory Instruction example , a thermostat may be suitable for implementing the
    Sets 526. In some aspects , Confirmation Unit 550 can user confirmation step , whereas, a vehicle may be less
    automate User 50 confirmation. In one example, if one or suitable for implementing such interrupting step due to the
    more incoming Collections of Object Representations 525 10 real time nature of vehicle operation .
    from Object Processing Unit 93 and one or more Collections         Referring to FIG . 13 , an embodiment of Knowledge
    of Object Representations 525 from a Knowledge Cell 800 Structuring Unit 520 correlating individual Collections of
    were found to be a perfect or highly similar match , antici- Object Representations 525 with any Instruction Sets 526
    patory Instruction Sets 526 correlated with the one or more and / or Extra Info 527 is illustrated . Knowledge Structuring
    Collections of Object Representations 525 from the Knowl- 15 Unit 520 comprises the functionality for structuring the
    edge Cell 800 can be automatically executed without User's knowledge of a device's operation in circumstances includ
    50 confirmation . Conversely, if one or more incoming ing objects with various properties, and / or other function
    Collections of Object Representations 525 from Object            alities . Knowledge Structuring Unit 520 comprises the func
    Processing Unit 93 and one or more Collections of Object         tionality for correlating one or more Collections of Object
    Representations 525 from a Knowledge Cell 800 were found 20 Representations 525 with any Instruction Sets 526 and /or
    to be less than a highly similar match, anticipatory Instruc- Extra Info 527. Knowledge Structuring Unit 520 comprises
    tion Sets 526 correlated with the one or more Collections of the functionality for creating or generating Knowledge Cell
    Object Representations 525 from the Knowledge Cell 800 800 and storing one or more Collections of Object Repre
    can be presented to User 50 for confirmation and /or modi- sentations 525 correlated with any Instruction Sets 526
    fying. Any features, functionalities, and / or embodiments of 25 and / or Extra Info 527 into the Knowledge Cell 800. As such ,
    Similarity Comparison 125 ( later described) can be utilized Knowledge Cell 800 comprises the functionality for storing
    for such similarity determination. In other embodiments ,         one or more Collections of Object Representations 525
    Confirmation Unit 550 can serve as a means of modifying or        correlated with any Instruction Sets 526 and / or Extra Info
    editing anticipatory Instruction Sets 526. For example, Deci- 527. Knowledge Cell 800 includes knowledge ( i.e. unit of
    sion -making Unit 540 may determine one or more antici- 30 knowledge, etc.) of how Device 98 operated in a circum
    patory Instruction Sets 526 and provide them to User 50 for stance including objects with various properties. Once cre
    modification . User 50 may be provided with an interface ( i.e. ated or generated, Knowledge Cells 800 can be used in / as
    graphical user interface, etc. ) to modify the anticipatory neurons, nodes, vertices, or other elements in any of the data
    Instruction Sets 526 before their execution . In further structures or arrangements ( i.e. neural networks , graphs,
    embodiments, Confirmation Unit 550 can serve as a means 35 sequences, etc. ) used for storing the knowledge of Device's
    of evaluating or rating anticipatory Instruction Sets 526 if 98 operation in circumstances including objects with various
    they matched User's 50 intended operation . For example , properties, thereby facilitating learning functionalities
    Decision -making Unit 540 may determine one or more herein . It should be noted that Extra Info 527 may be
    anticipatory Instruction Sets 526 , which the system may optionally used in some implementations to enable enhanced
    automatically execute . User 50 may be provided with an 40 comparisons or decision making in autonomous device
    interface ( i.e. graphical user interface, etc. ) to rate ( i.e. on a operation where applicable, and that Extra Info 527 can be
    scale from 0 to 1 , etc.) how well Decision -making Unit 540 omitted in alternate implementations.
    predicted the executed anticipatory Instruction Sets 526. In             In some embodiments, Knowledge Structuring Unit 520
    some aspects , rating can be automatic and based on a receives one or more Collections of Object Representations
    particular function or method that rates how well the antici- 45 525 from Object Processing Unit 93. Knowledge Structuring
    patory Instruction Sets 526 matched the desired operation . Unit 520 may also receive one or more Instruction Sets 526
    In one example, a rating function or method can assign a from Acquisition Interface 120. Knowledge Structuring Unit
    higher rating to anticipatory Instruction Sets 526 that were 520 may further receive any Extra Info 527. Although, Extra
    least modified in the confirmation process . In another Info 527 is not shown in this and /or other figures for clarity
    example, a rating function or method can assign a higher 50 of illustration , it should be noted that any Collection of
    rating to anticipatory Instruction Sets 526 that were canceled Object Representations 525 , Instruction Set 526 , and /or
    least number of times by User 50. Any other automatic other element may include or be associated with Extra Info
    rating function or method can be utilized . In yet other 527. Knowledge Structuring Unit 520 may correlate one or
    embodiments, Confirmation Unit 550 can serve as a means more Collections of Object Representations 525 with any
    of canceling anticipatory Instruction Sets 526 if they did not 55 Instruction Sets 526 and /or Extra Info 527. Knowledge
    match User's 50 intended operation . For example , Decision- Structuring Unit 520 may then create Knowledge Cell 800
    making Unit 540 may determine one or more anticipatory and store the one or more Collections of Object Represen
    Instruction Sets 526 , which the system may automatically tations 525 correlated with Instruction Sets 526 and /or Extra
    execute. The system may save the state of Device 98 , Info 527 into the Knowledge Cell 800. Knowledge Cell 800
    Processor 11 ( save its register values , etc. ) , Logic Circuit 60 may include any data structure or arrangement that can
    250 , Application Program 18 (i.e. save its variables, data facilitate such storing. For example, Knowledge Structuring
    structures, objects, location of its current instruction , etc. ), Unit 520 may create Knowledge Cell 800ax and structure
    and / or other processing elements before executing anticipa- within it Collection of Object Representations 525al corre
    tory Instruction Sets 526. User 50 may be provided with an lated with Instruction Sets 526a1-526a3 and / or any Extra
    interface (i.e. graphical user interface, selectable list of prior 65 Info 527 (not shown ). Knowledge Structuring Unit 520 may
    executed anticipatory Instruction Sets 526 , etc.) to cancel further structure within Knowledge Cell 800ax a Collection
    one or more of the prior executed anticipatory Instruction of Object Representations 525a2 correlated with Instruction
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 229 of 2562 PageID #: 13100


                                                       US 11,238,344 B1
                                 99                                                               100
    Set 526a4 and / or any Extra Info 527 ( not shown ). Knowl-        may include Instruction Sets 526 used and /or Extra Info 527
    edge Structuring Unit 520 may further structure within obtained from the time of generating a previous Collection
    Knowledge Cell 800ax a Collection of Object Representa- of Object Representations 525 to the time of generating the
    tions 525a3 without aa correlated Instruction Set 526 and /or Collection of Object Representations 525. Any other tem
    Extra Info 527. Knowledge Structuring Unit 520 may fur- 5 poral relationship or correspondence between Collections of
    ther structure within Knowledge Cell 800ax aa Collection of Object Representations 525 and correlated Instruction Sets
    Object Representations 525a4 correlated with Instruction 526 and / or Extra Info 527 can be implemented .
    Sets 526a5-526a6 and /or any Extra Info 527 (not shown ).            In some embodiments, Knowledge Structuring Unit 520
    Knowledge Structuring Unit 520 may further structure can structure the knowledge of Device's 98 operation in a
    within Knowledge Cell 800ax a Collection of Object Rep- 10 circumstance including objects with various properties into
    resentations 525a5 without a correlated Instruction Set 526 any number of Knowledge Cells 800. In some aspects ,
    and / or Extra Info 527. Knowledge Structuring Unit 520 may Knowledge Structuring Unit 520 can structure into aa Knowl
    structure within Knowledge Cell 800ax additional Collec- edge Cell 800 a single Collection of Object Representations
    tions of Object Representations 525 correlated with any 525 correlated with any Instruction Sets 526 and / or Extra
    number ( including zero [i.e. uncorrelated ]) of Instruction 15 Info 527. In other aspects , Knowledge Structuring Unit 520
    Sets 526 and / or Extra Info 527 by following similar logic as can structure into a Knowledge Cell 800 any number ( i.e. 2 ,
    described above .                                                4 , 7 , 17 , 29 , 87 , 1415 , 23891 , 323674 , 8132401 , etc.) of
                                                                                    2                                       S

       In some embodiments, Knowledge Structuring Unit 520 Collections of Object Representations 525 correlated with
    may correlate a Collection of Object Representations 525 any Instruction Sets 526 and /or
    with one or more temporally corresponding Instruction Sets 20 Extra Info 527. In a special case , Knowledge Structuring
    526 and / or Extra Info 527. This way , Knowledge Structuring Unit 520 can structure all Collections of Object Represen
    Unit 520 can structure the knowledge of Device's 98 opera- tations 525 correlated with any Instruction Sets 526 and /or
    tion at or around the time of generating Collections of Object Extra Info 527 into a single long Knowledge Cell 800. In
    Representations 525. Such functionality enables spontane- further aspects , Knowledge Structuring Unit 520 can struc
    ous or seamless learning of Device's 98 operation in cir- 25 ture Collections of Object Representations 525 correlated
    cumstances including objects with various properties as with any Instruction Sets 526 and / or Extra Info 527 into a
    Device 98 is operated in real life situations . In some designs, plurality of Knowledge Cells 800. In a special case , Knowl
    Knowledge Structuring Unit 520 may receive a stream of edge Structuring Unit 520 can store periodic streams of
    Instruction Sets 526 used or executed to effect Device's 98 Collections of Object Representations 525 correlated with
    operations as well as a stream of Collections of Object 30 any Instruction Sets 526 and / or Extra Info 527 into a
    Representations 525 as the operations are performed . plurality of Knowledge Cells 800 such as hourly, daily,
    Knowledge Structuring Unit 520 can then correlate Collec- weekly, monthly, yearly, or other periodic Knowledge Cells
    tions of Object Representations 525 from the stream of             800 .
    Collections of Object Representations 525 with temporally           In some embodiments , Device 98 may include a plurality
    corresponding Instruction Sets 526 from the stream of 35 of Sensors 92 and /or their corresponding Object Processing
    Instruction Sets 526 and / or any Extra Info 527. Collections Units 93. In one example, multiple Sensors 92 may detect
    of Object Representations 525 without a temporally corre- objects and / or their properties from different angles or on
    sponding Instruction Set 526 may be uncorrelated , for different sides of Device 98. In another example, one or
    instance . In some aspects , Instruction Sets 526 and /or Extra more Sensors 92 may be placed on different sub - devices,
    Info 527 that temporally correspond to a Collection of 40 sub - systems, or elements of Device 98. Using multiple
    Object Representations 525 may include Instruction Sets Sensors 92 and /or their corresponding Object Processing
    526 used and / or Extra Info 527 obtained at the time of Units 93 may provide additional detail in learning and / or
    generating the Collection of Object Representations 525. In using Device's 98 circumstances for autonomous Device 98
    other aspects , Instruction Sets 526 and / or Extra Info 527 that operation. In some designs where multiple Sensors 92
    temporally correspond to a Collection of Object Represen- 45 and / or their corresponding Object Processing Units 93 are
    tations 525 may include Instruction Sets 526 used and / or utilized , multiple DCADO Units 100 can also be utilized
    Extra Info 527 obtained within a certain time period before (i.e. one DCADO Unit 100 for each Sensor 92 and its
    and / or after generating the Collection of Object Represen- corresponding Object Processing Unit 93 , etc.). In such
    tations 525. For example, Instruction Sets 526 and / or Extra designs , Collections of Object Representations 525 can be
    Info 527 that temporally correspond to a Collection of 50 correlated with any Instruction Sets 526 and / or Extra Info
    Object Representations 525 may include Instruction Sets 527 as previously described . In other designs where multiple
    526 used and / or Extra Info 527 obtained within 50 milli-       Sensors 92 and / or their corresponding Object Processing
    seconds, 1 second, 3 seconds , 20 seconds , 1 minute, 41 Units 93 are utilized, collective Collections of Object Rep
    minutes, 2 hours, or any other time period before and / or after resentations 525 from multiple Sensors 92 and their corre
    generating the Collection of Object Representations 525. 55 sponding Object Processing Units 93 can be correlated with
    Such time periods can be defined by a user, by DCADO any Instruction Sets 526 and / or Extra Info 527 .
    system administrator, or automatically by the system based           In some embodiments , Device 98 may include a plurality
    on experience, testing , inquiry, analysis , synthesis, or other of Logic Circuits 250 , Processors 11 , Application Programs
    techniques, knowledge, or input. In other aspects , Instruc- 18 , and / or other processing elements. For example, each
    tion Sets 526 and /or Extra Info 527 that temporally corre- 60 processing element may control aa sub -device , sub - system, or
    spond to a Collection of Object Representations 525 may an element of Device 98. Using multiple processing ele
    include Instruction Sets 526 used and / or Extra Info 527 ments may provide enhanced control over Device's 98
    obtained from the time of generating the Collection of operation . In some designs where multiple processing ele
    Object Representations 525 to the time of generating a next ments are utilized, multiple DCADO Units 100 can also be
    Collection of Object Representations 525. In further aspects , 65 utilized ( i.e. one DCADO Unit 100 for each processing
    Instruction Sets 526 and /or Extra Info 527 that temporally element, etc. ) . In such designs, Collections of Object Rep
    correspond to a Collection of Object Representations 525 resentations 525 can be correlated with any Instruction Sets
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 230 of 2562 PageID #: 13101


                                                      US 11,238,344 B1
                                101                                                               102
    526 and / or Extra Info 527 as previously described . In other 525 correlated with any Instruction Sets 526 and / or Extra
    designs where multiple processing elements are utilized , Info 527. In some aspects , Collections of Object Represen
    Collections of Object Representations 525 can be correlated tations 525 correlated with Instruction Sets 526 and / or Extra
    with any collective Instruction Sets 526 and / or Extra Info Info 527 can be stored directly within Knowledgebase 530
    527 used or executed by a plurality of processing elements . 5 without using Knowledge Cells 800 as the intermediary data
       Any combination of the aforementioned multiple Sensors structures. In some embodiments, Knowledgebase 530 may
    92 and /or their corresponding Object Processing Units 93 , be or include Neural Network 530a ( later described ). In
    multiple processing elements, and / or other elements can be other embodiments, Knowledgebase 530 may be or include
    implemented in alternate embodiments.                          Graph 530b (later described ). In further embodiments,
       Referring to FIG . 14 , another embodiment of Knowledge 10 Knowledgebase 530 may be or include Collection of
    Structuring Unit 520 correlating individual Collections of Sequences 530c ( later described ). In further embodiments ,
    Object Representations 525 with any Instruction Sets 526 Knowledgebase 530 may be or include Sequence 533 ( later
    and / or Extra Info 527 is illustrated. In such embodiments , described ). In further embodiments, Knowledgebase 530
    Knowledge Structuring Unit 520 may generate Knowledge may be or include Collection of Knowledge Cells 530d
    Cells 800 each comprising a single Collection of Object 15 ( later described ). In general, Knowledgebase 530 may be or
    Representations 525 correlated with any Instruction Sets 526 include any data structure or arrangement capable of storing
    and /or Extra Info 527 .                                     the knowledge of a device's operation in circumstances
       Referring to FIG . 15 , an embodiment of Knowledge including objects with various properties. Knowledgebase
    Structuring Unit 520 correlating streams of Collections of 530 may reside locally on Device 98 , or remotely (i.e.
    Object Representations 525 with any Instruction Sets 526 20 remote Knowledgebase 530 , etc.) on a remote computing
    and / or Extra Info 527 is illustrated . For example, Knowl-    device ( i.e. server , cloud, etc.) accessible over a network or
    edge Structuring Unit 520 may create Knowledge Cell             an interface .
    800ax and structure within it a stream of Collections of    In some embodiments, Knowledgebase 530 from one
    Object Representations 525a1-525an correlated with Device 98 or DCADO Unit 100 can be transferred to one or
    Instruction Set 526al and / or any Extra Info 527 (not 25 more other Devices 98 or DCADO Units 100. Therefore, the
    shown ). Knowledge Structuring Unit 520 may further struc-      knowledge of Device's 98 operation in circumstances
    ture within Knowledge Cell 800ax a stream of Collections of     including objects with various properties learned on one
    Object Representations 525b1-525bn correlated with              Device 98 or DCADO Unit 100 can be transferred to one or
    Instruction Sets 526a2-526a4 and /or and Extra Info 527 (not    more other Devices 98 or DCADO Units 100. In one
    shown ). Knowledge Structuring Unit 520 may further struc- 30 example, Knowledgebase 530 can be copied or downloaded
    ture within Knowledge Cell 800ax a stream of Collections of to a file or other repository from one Device 98 or DCADO
    Object Representations 525c1-525cn without correlated             Unit 100 and loaded or inserted into another Device 98 or
    Instruction Sets 526 and / or Extra Info 527. Knowledge DCADO Unit 100. In another example, Knowledgebase 530
    Structuring Unit 520 may further structure within Knowl- from one Device 98 or DCADO Unit 100 can be available
    edge Cell 800ax a stream of Collections of Object Repre- 35 on a server accessible by other Devices 98 or DCADO Units
    sentations 525d1-525dn correlated with Instruction Sets           100 over a network or an interface. Once loaded into or
    526a5-526a6 and / or any Extra Info 527 ( not shown ). accessed by a receiving Device 98 or DCADO Unit 100 , the
    Knowledge Structuring Unit 520 may further structure receiving Device 98 or DCADO Unit 100 can then imple
    within Knowledge Cell 800ax additional streams of Collec- ment the knowledge of Device's 98 operation in circum
    tions of Object Representations 525 correlated with any 40 stances including objects with various properties learned on
    number ( including zero [ i.e. uncorrelated ]) of Instruction the originating Device 98 or DCADO Unit 100 .
    Sets 526 and / or Extra Info 527 by following similar logic as      In some embodiments, multiple Knowledgebases 530 (i.e.
                                                                                              9

    described above . The number of Collections of Object Knowledgebases 530 from different Devices 98 or DCADO
    Representations 525 in some or all streams of Collections of Units 100 , etc. ) can be combined to accumulate collective
    Object Representations 525a1-525an , 52561-525bn , etc. 45 knowledge of operating Device 98 in circumstances includ
    may be equal or different. It should be noted that n or other ing objects with various properties. In one example, one
    such letters or indicia may follow the sequence and / or Knowledgebase 530 can be appended to another Knowl
    context where they are indicated . Also , a same letter or edgebase 530 such as appending one Collection of
    indicia such as n may represent a different number in Sequences 530c ( later described ) to another Collection of
    different elements of a drawing.                               50 Sequences 530c , appending one Sequence 533 ( later
       Referring to FIG . 16 , another embodiment of Knowledge described ) to another Sequence 533 , appending one Collec
    Structuring Unit 520 correlating streams of Collections of tion of Knowledge Cells 530d (later described ) to another
    Object Representations 525 with any Instruction Sets 526 Collection of Knowledge Cells 530d , and / or appending
    and / or Extra Info 527 is illustrated . In such embodiments,   other data structures or elements thereof. In another
    Knowledge Structuring Unit 520 may generate Knowledge 55 example , one Knowledgebase 530 can be copied into
    Cells 800 each comprising a single stream of Collections of another Knowledgebase 530 such as copying one Collection
    Object Representations 525 correlated with any Instruction of Sequences 530c into another Collection of Sequences
    Sets 526 and / or Extra Info 527 .                              530c , copying one Collection of Knowledge Cells 530d into
       Knowledgebase 530 comprises the functionality for stor- another Collection of Knowledge Cells 530d, and / or copy
    ing the knowledge of a device's operation in circumstances 60 ing other data structures or elements thereof . In a further
    including objects with various properties, and / or other func- example, in the case of Knowledgebase 530 being or includ
    tionalities . Knowledgebase 530 comprises the functionality ing Graph 530b or graph -like data structure ( i.e. Neural
    for storing one or more Collections of Object Representa- Network 530a , tree , etc. ), a union can be utilized to combine
    tions 525 correlated with any Instruction Sets 526 and / or two or more Graphs 530b or graph - like data structures . For
    Extra Info 527. Knowledgebase 530 comprises the function- 65 instance , a union of two Graphs 530b or graph - like data
    ality for storing one or more Knowledge Cells 800 each          structures may include a union of their vertex (i.e. node , etc.)
    including one or more Collections of Object Representations     sets and their edge (i.e. connection, etc. ) sets . Any other
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 231 of 2562 PageID #: 13102


                                                             US 11,238,344 B1
                                   103                                                                  104
    operations or combination thereof on graphs or graph - like structure, modifying a data structure , deleting a data struc
    data structures can be utilized to combine Graphs 530b or ture, creating a data field , modifying a data field , deleting a
    graph - like data structures. In a further example, one Knowl- data field , etc. ), and / or other transformation functions. Con
    edgebase 530 can be combined with another Knowledgebase nection 853 may include or be associated with a value such
    530 through later described learning processes where 5 as a symbolic label or numeric attribute (i.e. weight, cost ,
    Knowledge Cells 800 may be applied one at a time and capacity, length , etc. ) . A computational model can be uti
    connected with prior and /or subsequent Knowledge Cells lized to compute values from inputs based on a pre -pro
    800 such as in Graph 530b or Neural Network 530a . In such grammed or learned function or method . For example, a
    embodiments, instead of Knowledge Cells 800 generated by neural network may include one or more input neurons that
    Knowledge Structuring Unit 520 , the learning process may 10 can be activated by inputs. Activations of these neurons can
    utilize Knowledge Cells 800 from one Knowledgebase 530 then             be passed on, weighted , and transformed by a function
    to apply them onto another Knowledgebase 530. Any other to other
    techniques known in art including custom techniques for with onlyneurons             . Neural networks may range from those
                                                                                 one layer of single direction logic to multi - layer of
    combining data structures can be utilized for combining
    Knowledgebases      530 in alternate implementations. In any of 15 multi-directional feedback loops. A neural network can use
    the aforementioned and / or other combining techniques , weights to change the parameters of the network's through
    similarity of elements (i.e. nodes / vertices, edges/connec put. A neural network can learn by input from its environ
    tions , etc.) can be utilized in determining whether an ele- ment or from self - teaching using written -in rules . A neural
    ment from one Knowledgebase 530 matches an element network can be utilized as a predictive modeling approach in
    from another Knowledgebase 530 , and substantially or 20 machine learning. An exemplary embodiment of a neural
    otherwise similar elements may be considered a match for                network ( i.e. Neural Network 530a , etc.) is described later.
    combining purposes in some designs . Any features, func-        In another example shown in Model B , the disclosed
    tionalities, and embodiments of Similarity Comparison 125 artificially intelligent devices, systems, and methods for
    ( later described ) can be used in such similarity determina- learning and / or using a device's circumstances for autono
    tions . A combined Knowledgebase 530 can be offered as a 25 mous device operation may include a graph or graph -like
    network service (i.e. online application , etc. ) , downloadable data structure. As such , machine learning, knowledge struc
    file , or other repository to all DCADO Units 100 configured turing or representation , decision making, pattern recogni
    to utilize the combined Knowledgebase 530. For example, a tion , and / or other artificial intelligence functionalities may
    Device 98 including or interfaced with DCADO Unit 100 include Nodes 852 ( also referred to as vertices or points,
    having access to a combined Knowledgebase 530 can use 30 etc. ) and Connections 853 ( also referred to as edges , arrows ,
    the collective knowledge learned from multiple Devices 98 lines, arcs, etc. ) organized as a graph. In general, any Node
    for the Device's 98 autonomous operation .                            852 in a graph can be connected to any other Node 852. A
        Referring FIG . 17 , the disclosed artificially intelligent Connection 853 may include unordered pair of Nodes 852 in
    devices, systems , and methods for learning and / or using a an undirected graph or ordered pair of Nodes 852 in a
    device's circumstances for autonomous device operation 35 directed graph . Nodes 852 can be part of the graph structure
    may include various artificial intelligence models and / or or external entities represented by indices or references . A
    techniques. The disclosed systems, devices, and methods are graph can be utilized as a predictive modeling approach in
    independent of the artificial intelligence model and / or tech- machine learning. Nodes 852 , Connections 853 , and /or other
    nique used and any model and / or technique can be utilized elements or operations of a graph may include any features,
    to facilitate the functionalities described herein . Examples of 40 functionalities, and embodiments of the aforementioned
    these models and / or techniques include deep learning, Nodes 852 , Connections 853 , and / or other elements or
    supervised learning, unsupervised learning, neural networks operations of a neural network , and vice versa . An exem
    ( i.e. convolutional neural network, recurrent neural network , plary embodiment of a graph ( i.e. Graph 530b , etc. ) is
    deep neural network , etc. ), search - based , logic and / or fuzzy described later.
    logic -based , optimization -based, tree / graph /other data struc- 45 In a further example shown in Model C , the disclosed
    ture -based, hierarchical, symbolic and / or sub - symbolic, artificially intelligent devices, systems, and methods for
    evolutionary, genetic, multi-agent, deterministic , probabilis- learning and / or using a device's circumstances for autono
    tic , statistical , and /or other models and / or techniques.         mous device operation may include a tree or tree -like data
        In one example shown in Model A , the disclosed artifi- structure. As such , machine learning, knowledge structuring
    cially intelligent devices, systems , and methods for learning 50 or representation , decision making, pattern recognition, and /
    and / or using a device's circumstances for autonomous or other artificial intelligence functionalities may include
    device operation may include a neural network (also referred Nodes 852 and Connections 853 ( also referred to as refer
    to as artificial neural network , etc. ) . As such , machine ences, edges, etc. ) organized as a tree . In general, a Node
    learning, knowledge structuring or representation , decision 852 in a tree can be connected to any number ( i.e. including
    making , pattern recognition, and / or other artificial intelli- 55 zero , etc. ) of children Nodes 852. A tree can be utilized as
    gence functionalities may include a network of Nodes 852 a predictive modeling approach in machine learning. Nodes
    ( also referred to as neurons, etc. ) and Connections 853 852 , Connections 853 , and / or other elements or operations
    similar to that of a brain . Node 852 can store any data , of a tree may include any features, functionalities, and
    object, data structure , and / or other item , or reference thereto .   embodiments of the aforementioned Nodes 852 , Connec
    Node 852 may also include a function for transforming or 60 tions 853 , and / or other elements or operations of aa neural
    manipulating any data, object, data structure, and / or other network and / or graph , and vice versa .
    item . Examples of such transformation functions include               In a further example shown in Model D , the disclosed
    mathematical functions ( i.e. addition , subtraction, multipli- artificially intelligent devices, systems, and methods for
    cation , division , sin , cos , log , derivative, integral, etc. ) , learning and / or using a device's circumstances for autono
    object manipulation functions (i.e. creating an object, modi- 65 mous device operation may include a sequence or sequence
    fying an object, deleting an object, appending objects, etc. ),         like data structure . As such, machine learning, knowledge
    data structure manipulation functions ( i.e. creating a data            structuring or representation, decision making, pattern rec
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 232 of 2562 PageID #: 13103


                                                      US 11,238,344 B1
                                105                                                               106
    ognition, and / or other artificial intelligence functionalities models and / or techniques known in art are within the scope
    may include a structure of Nodes 852 and / or                    of this disclosure . One of ordinary skill in art will also
       Connections 853 organized as a sequence. In some recognize that an intelligent system may solve a specific
    aspects , Connections 853 may be optionally omitted from a problem by using any model and / or technique that works
    sequence as the sequential order of Nodes 852 in a sequence 5 such as , for example , some systems can be symbolic and
    may be implied in the structure . A sequence can be utilized logical , some can be sub -symbolic neural networks, some
    as a predictive modeling approach in machine learning. can be deterministic or probabilistic, some can be hierar
    Nodes 852 , Connections 853 , and / or other elements or chical, some may include searching techniques, some may
    operations of a sequence may include any features , func- include optimization techniques, while others may use other
    tionalities, and embodiments of the aforementioned Nodes 10 or a combination of models and / or techniques. In general,
    852 , Connections 853 , and / or other elements or operations any artificial intelligence model and / or technique can be
    of aa neural network , graph, and / or tree, and vice versa . An utilized that can facilitate the functionalities described
    exemplary embodiment of a sequence (i.e. Collection of herein .
    Sequences 530c , Sequence 533 , etc.) is described later.            Referring to FIGS . 18A - 18C , embodiments of intercon
                                                                                                       9

      In yet another example, the disclosed artificially intelli- 15 nected Knowledge Cells 800 and updating weights of Con
    gent devices, systems , and methods for learning and / or using nections 853 are illustrated . As shown for example in FIG .
    a device's circumstances for autonomous device operation          18A , Knowledge Cell 800za is connected to Knowledge
    may include a search -based model and / or technique. As Cell 800zb and Knowledge Cell 800zc by Connection 853z1
    such, machine learning, knowledge structuring or represen- and Connection 853z2 , respectively. Each of Connection
    tation, decision making , pattern recognition, and / or other 20 853zl and Connection 853z2 may include or be associated
    artificial intelligence functionalities may include searching with occurrence count, weight, and / or other parameter or
    through a collection of possible solutions. For example, a data. The number of occurrences may track or store the
    search method can search through a neural network , graph , number of observations that a Knowledge Cell 800 was
    tree , sequence , or other data structure that includes data followed by another Knowledge Cell 800 indicating a con
    elements of interest. A search may use heuristics to limit the 25 nection or relationship between them . For example , Knowl
    search for solutions by eliminating choices that are unlikely edge Cell 800za was followed by Knowledge Cell 800zb 10
    to lead to the goal . Heuristic techniques may provide a best times as indicated by the number of occurrences of Con
    guess solution . A search can also include optimization . For nection 853zl . Also , Knowledge Cell 800za was followed
    example, a search may begin with a guess and then refine the by Knowledge Cell 800zc 15 times as indicated by the
    guess incrementally until no more refinements can be made. 30 number of occurrences of Connection 853z2. The weight of
    In a further example, the disclosed systems , devices , and Connection 853zl can be calculated or determined as the
    methods may include logic -based model and /or technique. number of occurrences of Connection 853z1 divided by the
    As such , machine learning, knowledge structuring or repre- sum of occurrences of all connections ( i.e. Connection
    sentation , decision making , pattern recognition , and / or other 853z1 and Connection 853z2 , etc.) originating from Knowl
    artificial intelligence functionalities can use formal or other 35 edge Cell 800za . Therefore, the weight of Connection 853z1
    type of logic . Logic based models may involve making can be calculated or determined as 10/ ( 10 + 15 ) =0.4 , for
    inferences or deriving conclusions from a set ofpremises .As example. Also , the weight of Connection 853z2 can be
    such , a logic based system can extend existing knowledge or calculated or determined as 15 / ( 10 + 15 ) =0.6 , for example.
    create new knowledge automatically using inferences . Therefore, the sum of weights of Connection 853z1 , Con
    Examples of the types of logic that can be utilized include 40 nection 853z2 , and / or any other Connections 853 originating
    propositional or sentential logic that comprises logic of from Knowledge Cell 800za may equal to 1 or 100 % . As
    statements which can be true or false ; first- order logic that shown for example in FIG . 18B , in the case that Knowledge
    allows the use of quantifiers and predicates and that can Cell 800zd is inserted and an observation is made that
    express facts about objects, their properties, and their rela- Knowledge Cell 800zd follows Knowledge Cell 800za ,
    tions with each other; fuzzy logic that allows degrees of truth 45 Connection 853z3 can be created between Knowledge Cell
    to be represented as a value between 0 and 1 rather than 800za and Knowledge Cell 800zd . The occurrence count of
    simply 0 ( false ) or 1 (true ), which can be used for uncertain Connection 853z3 can be set to 1 and weight determined as
    reasoning ; subjective logic that comprises a type of proba- 1 / ( 10 + 15 + 1 ) =0.038 . The weights of all other connections
    bilistic logic that may take uncertainty and belief into (i.e. Connection 853z1 , Connection 853z2 , etc. ) originating
    account, which can be suitable for modeling and analyzing 50 from Knowledge Cell 800za may be updated to account for
    situations involving uncertainty, incomplete knowledge and the creation of Connection 853z3 . Therefore, the weight of
    different world views ; and /or other types of logic . In a Connection 853z1 can be updated as 10 / (10 + 15 + 1 ) = 0.385.
    further example , the disclosed systems, devices , and meth- The weight of Connection 853z2 can also be updated as
    ods may include a probabilistic model and/ or technique. As 15 / ( 10 + 15 + 1 ) =0.577 . As shown for example in FIG . 18C , in
    such, machine learning, knowledge structuring or represen- 55 the case that an additional occurrence of Connection 853z1
    tation, decision making , pattern recognition, and / or other     is observed (i.e. Knowledge Cell 800zb followed Knowl
    artificial intelligence functionalities can be implemented to     edge Cell 800za, etc. ) , occurrence count of Connection
    operate with incomplete or uncertain information where 853z1 and weights of all connections ( i.e. Connection 853z1 ,
    probabilities may affect outcomes . Bayesian network , Connection 853z2 , and Connection 853z3, etc. ) originating
    among other models, is an example of a probabilistic tool 60 from Knowledge Cell 800za may be updated to account for
    used for purposes such as reasoning , learning, planning, this observation . The occurrence count of Connection 853z1
    perception, and /or others. One of ordinary skill in art will can be increased by 1 and its weight updated as 11 / ( 11 + 15 +
    understand that the aforementioned artificial intelligence 1) 0.407. The weight of Connection 853z2 can also be
    models and / or techniques are described merely as examples updated as 15 / ( 11 + 15 + 1 ) =0.556 . The weight of Connection
    of a variety of possible implementations, and that while all 65 853z3 can also be updated as 1 / ( 11 + 15 + 1 ) = 0.037 .
    possible artificial intelligence models and / or techniques are   Referring to FIG . 19 , an embodiment of learning Knowl
    too voluminous to describe , other artificial intelligence        edge Cells 800 comprising one or more Collections of
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 233 of 2562 PageID #: 13104


                                                     US 11,238,344 B1
                               107                                                             108
    Object Representations 525 correlated with any Instruction Collection of Knowledge Cells 530d . In the case that a
    Sets 526 and / or Extra Info 527 using Collection of Knowl- substantially similar match is not found , the system may
    edge Cells 530d is illustrated . Collection of Knowledge insert a new Knowledge Cell 800 into Collection of Knowl
    Cells 530d comprises the functionality for storing any edge Cells 530d and copy Knowledge Cell 800bd into the
    number of Knowledge Cells 800. In some aspects , Knowl- 5 inserted new Knowledge Cell 800. The system can then
    edge Cells 800 may be stored into or applied onto Collection perform Similarity Comparisons 125 of Knowledge Cell
    of Knowledge Cells 530d in a learning or training process .    800be from Knowledge Structuring Unit 520 with Knowl
    In effect, Collection of Knowledge Cells 530d may store        edge Cells 800 in Collection of Knowledge Cells 530d . In
    Knowledge Cells 800 that can later be used to enable           the case that a substantially similar match is not found , the
    autonomous Device 98 operation. In some embodiments , 10 system may insert a new Knowledge Cell 800 into Collec
    Knowledge Structuring Unit 520 structures or generates tion of Knowledge Cells 530d and copy Knowledge Cell
    Knowledge Cells 800 as previously described and the sys- 800be into the inserted new Knowledge Cell 800. Applying
    tem applies them onto Collection of Knowledge Cells 530d, any additional Knowledge Cells 800 from Knowledge Struc
    thereby implementing learning Device's 98 operation in turing Unit 520 onto Collection of Knowledge Cells 530d
    circumstances including objects with various properties. The 15 follows similar logic or process as the above-described .
    term apply or applying may refer to storing, copying,             Referring to FIG . 20 , an embodiment of learning Knowl
    inserting, updating, or other similar action , therefore, these edge Cells 800 comprising one or more Collections of
    terms may be used interchangeably herein depending on Object Representations 525 correlated with any Instruction
    context. The system can perform Similarity Comparisons Sets 526 and /or Extra Info 527 using Neural Network 530a
    125 ( later described ) of a newly structured Knowledge Cell 20 is illustrated . Neural Network 530a includes a number of
    800 from Knowledge Structuring Unit 520 with Knowledge neurons or Nodes 852 interconnected by Connections 853 as
    Cells 800 in Collection of Knowledge Cells 530d . If a previously described . Knowledge Cells 800 are shown
    substantially similar Knowledge Cell 800 is not found in instead of Nodes 852 to simplify the illustration as Node 852
    Collection of Knowledge Cells 530d, the system may insert includes a Knowledge Cell 800 , for example . Therefore,
    (i.e. copy, store, etc.) the Knowledge Cell 800 from Knowl- 25 Knowledge Cells 800 and Nodes 852 can be used inter
    edge Structuring Unit 520 into Collection of Knowledge changeably herein depending on context. It should be noted
    Cells 530d, for example. On the other hand , if a substantially that Node 852 may include other elements and / or function
    similar Knowledge Cell 800 is found in Collection of alities instead of or in addition to Knowledge Cell 800. In
    Knowledge Cells 530d, the system may optionally omit some aspects , Knowledge Cells 800 may be stored into or
    inserting the Knowledge Cell 800 from Knowledge Struc- 30 applied onto Neural Network 530a individually or collec
    turing Unit 520 as inserting a substantially similar Knowl- tively in a learning or training process. In some designs,
    edge Cell 800 may not add much or any additional knowl- Neural Network 530a comprises a number of Layers 854
    edge the Collection of Knowledge Cells 530d, for each of which may include one or more Knowledge Cells
    example. Also , inserting a substantially similar Knowledge 800. Knowledge Cells 800 in successive Layers 854 can be
    Cell 800 can optionally be omitted to save storage resources 35 connected by Connections 853 .
    and limit the number of Knowledge Cells 800 that may later          Connection 853 may include or be associated with occur
    need to be processed or compared . Any features, function- rence count, weight, and / or other parameter or data as
    alities , and embodiments of Similarity Comparison 125 , previously described . Neural Network 530a may include
    importance index (later described ), similarity index ( later any number of Layers 854 comprising any number of
    described ), and / or other disclosed elements can be utilized 40 Knowledge Cells 800. In some aspects , Neural Network
    to facilitate determination of substantial or other similarity 530a may store Knowledge Cells 800 interconnected by
    and whether to insert a newly structured Knowledge Cell Connections 853 where following a path through the Neural
    800 into Collection of Knowledge Cells 530d .                     Network 530a can later be used to enable autonomous
       For example, the system can perform Similarity Com- Device 98 operation . It should be understood that, in some
    parisons 125 ( later described ) of Knowledge Cell 800ba 45 embodiments, Knowledge Cells 800 in one Layer 854 of
    from Knowledge Structuring Unit 520 with Knowledge Neural Network 530a need not be connected only with
    Cells 800 in Collection of Knowledge Cells 530d. In the Knowledge Cells 800 in a successive Layer 854 , but also in
    case that a substantially similar match is found between any other Layer 854 , thereby creating shortcuts (i.e. shortcut
    Knowledge Cell 800ba and any of the Knowledge Cells 800 Connections 853 , etc. ) through Neural Network 530a . A
                                                                                     2

    in Collection of Knowledge Cells 530d, the system may 50 Knowledge Cell 800 can also be connected to itself such as ,
    perform no action . The system can then perform Similarity for example , in recurrent neural networks. In general, any
    Comparisons 125 of Knowledge Cell 800bb from Knowl- Knowledge Cell 800 can be connected with any other
    edge Structuring Unit 520 with Knowledge Cells 800 in Knowledge Cell 800 anywhere else in Neural Network
    Collection of Knowledge Cells 530d . In the case that a 530a . In further embodiments , back -propagation of any data
    substantially similar match is not found , the system may 55 or information can be implemented . In one example , back
    insert a new Knowledge Cell 800 into Collection of Knowl- propagation of similarity ( i.e. similarity index, etc.) of
    edge Cells 530d and copy Knowledge Cell 800bb into the compared Knowledge Cells 800 in a path through Neural
    inserted new Knowledge Cell 800. The system can then Network 530a can be implemented. In another example,
    perform Similarity Comparisons 125 of Knowledge Cell back -propagation of errors can be implemented. Such back
    800bc from Knowledge Structuring Unit 520 with Knowl- 60 propagations can then be used to adjust occurrence counts
    edge Cells 800 in Collection of Knowledge Cells 530d . In and / or weights of Connections 853 for better future predic
    the case that aa substantially similar match is found between tions , for example. Any other back -propagation can be
    Knowledge Cell 800bc and any of the Knowledge Cells 800 implemented for other purposes. Any combination of Nodes
    in Collection of Knowledge Cells 530d , the system may 852 ( i.e. Nodes 852 comprising Knowledge Cells 800 , etc. ) ,
    perform no action . The system can then perform Similarity 65 Connections 853 , Layers 854 , and / or other elements or
    Comparisons 125 of Knowledge Cell 800bd from Knowl- techniques can be implemented in alternate embodiments.
    edge Structuring Unit 520 with Knowledge Cells 800 in Neural Network 530a may include any type or form of a
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 234 of 2562 PageID #: 13105


                                                      US 11,238,344 B1
                                109                                                             110
    neural network known in art such as a feed - forward neural     Knowledge Cell 800ed with occurrence count of 1 and
    network , a back -propagating neural network, a recurrent weight of 1. The system can then perform Similarity Com
    neural network, a convolutional neural network , deep neural parisons 125 of Knowledge Cell 800be from Knowledge
    network , and / or others including a custom neural network . Structuring Unit 520 with Knowledge Cells 800 in Layer
       In some embodiments, Knowledge Structuring Unit 520 5 854e of Neural Network 530a . In the case that a substan
    structures or generates Knowledge Cells 800 and the system tially similar match is not found, the system may insert
    applies them onto Neural Network 530a , thereby imple- Knowledge Cell 800ee into Layer 854e and copy Knowl
    menting learning Device's 98 operation in circumstances edge Cell 800be into the inserted Knowledge Cell 800ee .
    including objects with various properties. The system can The system may also create Connection 853e4 between
    perform Similarity Comparisons 125 ( later described ) of a 10 Knowledge Cell 800ed and Knowledge Cell 800ee with
    Knowledge Cell 800 from Knowledge Structuring Unit 520 occurrence count of 1 and weight of 1. Applying any
    with Knowledge Cells 800 in a Layer 854 of Neural Net- additional Knowledge Cells 800 from Knowledge Structur
    work 530a . If a substantially similar Knowledge Cell 800 is ing Unit 520 onto Neural Network 530a follows similar
    not found in the Layer 854 of Neural Network 530a , the logic or process as the above -described.
    system may insert (i.e. copy, store , etc. ) the Knowledge Cell 15 Referring now to Similarity Comparison 125 , Similarity
    800 from Knowledge Structuring Unit 520 into the Layer Comparison 125 comprises the functionality for comparing
    854 of Neural Network 530a , and create a Connection 853 or matching Knowledge Cells 800 or portions thereof,
                                  2

    to the inserted Knowledge Cell 800 from a Knowledge Cell and / or other functionalities. Similarity Comparison 125
    800 in a prior Layer 854 including assigning an occurrence comprises the functionality for comparing or matching Col
    count to the new Connection 853 , calculating a weight of the 20 lections of Object Representations 525 or portions thereof.
    new Connection 853 , and updating any other Connections Similarity Comparison 125 comprises the functionality for
    853 originating from the Knowledge Cell 800 in the prior comparing or matching streams of Collections of Object
    Layer 854. On the other hand, if a substantially similar Representations 525 or portions thereof. Similarity Com
    Knowledge Cell 800 is found in the Layer 854 of Neural parison 125 comprises the functionality for comparing or
    Network 530a , the system may update occurrence count and 25 matching Object Representations 625 or portions thereof.
    weight of Connection 853 to that Knowledge Cell 800 from        Similarity Comparison 125 comprises the functionality for
    a Knowledge Cell 800 in a prior Layer 854 , and update any      comparing or matching Object Properties 630 or portions
    other Connections 853 originating from the Knowledge Cell thereof. Similarity Comparison 125 comprises the function
    800 in the prior Layer 854 .                              ality for comparing or matching Instruction Sets 526 , Extra
       For example, the system can perform Similarity Com- 30 Info 527 , text ( i.e. characters, words , phrases, etc.), numbers,
    parisons 125 ( later described ) of Knowledge Cell 800ba and /or other elements or portions thereof. Similarity Com
    from Knowledge Structuring Unit 520 with Knowledge parison 125 may include functions, rules, and / or logic for
    Cells 800 in Layer 854a of NeuralNetwork 530a . In the case     performing matching or comparisons and for determining
    that a substantially similar match is found between Knowl-      that while a perfect match is not found, a partial or similar
    edge Cell 800ba and Knowledge Cell 800ea , the system may 35 match has been found . In some aspects , a partial match may
    perform no action since Knowledge Cell 800ea is the initial include a substantially or otherwise similar match, and vice
    Knowledge Cell 800. The system can then perform Simi- versa . Therefore, these terms may be used interchangeably
    larity Comparisons 125 of Knowledge Cell 800bb from herein depending on context . As such, Similarity Compari
    Knowledge Structuring Unit 520 with Knowledge Cells 800 son 125 may include determining substantial similarity or
    in Layer 854b of Neural Network 530a . In the case that a 40 substantial match of compared elements. Although, substan
    substantially similar match is found between Knowledge tial similarity or substantial match is frequently used herein ,
    Cell 800bb and Knowledge Cell 800eb , the system may it should be understood that any level of similarity, however
    update occurrence count and weight of Connection 853e1 high or low, may be utilized as defined by the rules (i.e.
    between Knowledge Cell 800ea and Knowledge Cell 800eb , thresholds, etc. ) for similarity. The rules for similarity or
    and update weights of other Connections 853 originating 45 similar match can be defined by a user, by DCADO system
    from Knowledge Cell 800ea as previously described . The administrator, or automatically by the system based on
    system can then perform Similarity Comparisons 125 of experience, testing , inquiry, analysis, synthesis, or other
    Knowledge Cell 800bc from Knowledge Structuring Unit techniques, knowledge, or input. In some designs, Similarity
    520 with Knowledge Cells 800 in Layer 854c of Neural Comparison 125 comprises the functionality to automati
    Network 530a . In the case that a substantially similar match 50 cally define appropriately strict rules for determining simi
    is not found , the system may insert Knowledge Cell 800ec larity of the compared elements. Similarity Comparison 125
    into Layer 854c and copy Knowledge Cell 800bc into the can therefore set , reset , and / or adjust the strictness of the
    inserted Knowledge Cell 800ec . The system may also create rules for finding or determining similarity of the compared
    Connection 853e2 between Knowledge Cell 800eb and elements , thereby fine tuning Similarity Comparison 125 so
    Knowledge Cell 800ec with occurrence count of 1 and 55 that the rules for determining similarity are appropriately
    weight calculated based on the occurrence count as previ- strict. In some aspects , the rules for determining similarity
    ously described . The system may also update weights of may include a similarity threshold . As such , Similarity
    other Connections 853 (one in this example ) originating Comparison 125 can determine similarity of compared ele
    from Knowledge Cell 800eb as previously described . The ments if their similarity exceeds a similarity threshold . In
    system can then perform Similarity Comparisons 125 of 60 other aspects         , the rules for determining similarity may
    Knowledge Cell 800bd from Knowledge Structuring Unit include aa difference threshold . As such , Similarity Compari
    520 with Knowledge Cells 800 in Layer 854d of Neural son 125 can determine similarity of compared elements if
    Network 530a . In the case that a substantially similar match   their difference is lower than a difference threshold . In
    is not found , the system may insert Knowledge Cell 800ed further aspects , the rules for determining similarity may
    into Layer 854d and copy Knowledge Cell 800bd into the 65 include other thresholds. Similarity Comparison 125 enables
    inserted Knowledge Cell 800ed . The system may also create      comparing circumstances including objects with various
    Connection 853e3 between Knowledge Cell 800ec and               properties and determining their similarity or match . In one
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 235 of 2562 PageID #: 13106
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 236 of 2562 PageID #: 13107
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 237 of 2562 PageID #: 13108
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 238 of 2562 PageID #: 13109
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 239 of 2562 PageID #: 13110
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 240 of 2562 PageID #: 13111
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 241 of 2562 PageID #: 13112
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 242 of 2562 PageID #: 13113
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 243 of 2562 PageID #: 13114
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 244 of 2562 PageID #: 13115
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 245 of 2562 PageID #: 13116
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 246 of 2562 PageID #: 13117
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 247 of 2562 PageID #: 13118
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 248 of 2562 PageID #: 13119
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 249 of 2562 PageID #: 13120
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 250 of 2562 PageID #: 13121
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 251 of 2562 PageID #: 13122
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 252 of 2562 PageID #: 13123
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 253 of 2562 PageID #: 13124
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 254 of 2562 PageID #: 13125
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 255 of 2562 PageID #: 13126
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 256 of 2562 PageID #: 13127
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 257 of 2562 PageID #: 13128
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 258 of 2562 PageID #: 13129
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 259 of 2562 PageID #: 13130
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 260 of 2562 PageID #: 13131
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 261 of 2562 PageID #: 13132
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 262 of 2562 PageID #: 13133
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 263 of 2562 PageID #: 13134
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 264 of 2562 PageID #: 13135
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 265 of 2562 PageID #: 13136
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 266 of 2562 PageID #: 13137
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 267 of 2562 PageID #: 13138
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 268 of 2562 PageID #: 13139




                         Exhibit C
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 269 of 2562 PageID #: 13140

                                                                                                            US01060713431


            United States Patent                                                          ( 10 ) Patent No.: US 10,607,134 B1
            Cosic                                                                         (45 ) Date of Patent:  *Mar. 31 , 2020
    (54 ) ARTIFICIALLY INTELLIGENT SYSTEMS ,                                                5,983,232 A           11/1999 Zhang
             DEVICES, AND METHODS FOR LEARNING                                              6,026,234 A            2/2000 Hanson et al.
             AND /OR USING AN AVATAR'S                                                      6,088,731 A            7/2000 Kiraly et al.
                                                                                            6,106,299 A            8/2000 Ackermann et al.
             CIRCUMSTANCES FOR AUTONOMOUS                                                   6,126,330 A       10/2000 Knight
             AVATAR OPERATION                                                               6,314,558 B1      11/2001 Angel et al.
                                                                                            6,643,842 B2          11/2003 Angel et al.
                                                                                            6,728,689 B1           4/2004 Drissi et al .
    (71) Applicant: Jasmin Cosic , Miami, FL (US )                                          6,735,632 B1           5/2004 Kiraly et al.
                                                                                            6,754,631 B1       6/2004 Din
    ( 72 ) Inventor: Jasmin Cosic , Miami, FL (US )                                         6,801,912 B2      10/2004 Moskowitz et al .
                                                                                            6,842,877 B2       1/2005 Robarts et al.
    ( * ) Notice : Subject to any disclaimer , the term of this                             6,850,942 B2       2/2005 Cotner et al.
                     patent is extended or adjusted under 35                                6,915,105 B2       7/2005 Masuda
                                                                                            6,973,446 B2      12/2005 Mamitsuka et al.
                     U.S.C. 154 (b ) by 763 days .                                           7,017,153 B2      3/2006 Gouriou et al .
                          This patent is subject to a terminal dis                           7,052,277 B2      5/2006 Kellman
                          claimer .                                                         7,082,435 B1           7/2006 Guzman et al.
                                                                                             7,113,946 B2          9/2006 Cosic
                                                                                             7,117,225 B2         10/2006 Cosic
    ( 21) Appl. No.: 15 /382,743                                                                                     (Continued )
    ( 22 ) Filed : Dec. 19 , 2016                                                                      OTHER PUBLICATIONS
    (51) Int. Cl.                                                                    Zhang , Yiying, Lei Guo , and Nicolas D. Georganas. “ AGILE: An
             GO6N 3/00                  (2006.01)                                    architecture for agent-based collaborative and interactive virtual
             GO6N 20/00                 ( 2019.01)                                   environments.” Proc . Workshop on Application Virtual Reality
    (52) U.S. Cl.                                                                     Technologies for Future Telecommunication System , IEEE Globecom
         CPC                  GOON 3/006 (2013.01 ); GO6N 20/00                        2000 Conference. 2000. ( Year: 2000 ).*
                                                                ( 2019.01)                                       (Continued )
    ( 58 ) Field of Classification Search
             CPC                                          GOON 3/006                 Primary Examiner — Hal Schnee
             See application file for complete search history .
                                                                                     (57)                           ABSTRACT
    (56 )                   References Cited
                                                                                     Aspects of the disclosure generally relate to computing
                     U.S. PATENT DOCUMENTS                                           devices and /or systems, and may be generally directed to
                                                                                     devices, systems, methods, and /or applications for learning
            4,370,707 A
            4,730,315 A
                              1/1983 Phillips et al.
                              3/1988 Saito et al .
                                                                                     an avatar's or an application's operation in various circum
            4,860,203 A       8/1989 Corrigan et al.
                                                                                     stances, storing this knowledge in a knowledgebase ( i.e.
            5,560,011 A       9/1996 Uyama                                           neural network , graph , sequences, etc.), and /or enabling
            5,592,661 A       1/1997 Eisenberg et al.                                autonomous operation of the avatar or the application .
            5,602,982 A       2/1997 Judd et al.
            5,758,333 A       5/1998 Bauer et al .                                                 20 Claims, 39 Drawing Sheets

                                             6150                                                                 615a

                                                                                                     Agent Smith

                                                                        D


                                                                8m

                                                                                                            13m
                                                                              789
                                                                     Avatar
                                                         3329                       211
                                                                            605
                                      615b

                                                        10m
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 270 of 2562 PageID #: 13141


                                                           US 10,607,134 B1
                                                                Page 2

    ( 56 )                  References Cited                             2007/0061735 A1    3/2007 Hoffberg et al.
                                                                         2007/0106633 A1    5/2007 Reiner
                     U.S. PATENT DOCUMENTS                               2008/0071770 A1    3/2008 Schloter et al.
                                                                         2008/0144893 A1    6/2008 Guo et al .
             7,222,127 B1    5/2007 Bem et al.                           2008/0215508 A1    9/2008 Hanneman et al.
             7,240,335 B2    7/2007 Angel et al.                         2008/0254429 Al   10/2008 Woolf et al.
             7,249,349 B2    7/2007 Hundt et al .                        2008/0281764 Al   11/2008 Baxter
             7,395,255 B2    7/2008 Li                                   2008/0288259 Al   11/2008 Chambers et al.
             7,409,401 B2    8/2008 Hansen et al.                        2009/0044113 Al    2/2009 Jones et al.
             7,424,705 B2    9/2008 Lewis et al.                         2009/0067727 Al    3/2009 Hirohata
             7,444,338 B1   10/2008 Fisher                               2009/0070337 A1    3/2009 Romem et al.
             7,478,371 B1    1/2009 Gove                                 2009/0110061 Al    4/2009 Lee et al.
             7,484,205 B2    1/2009 Venkatapathy                         2009/0131152 Al    5/2009 Busse
             7,533,128 B1    5/2009 Sanchez et al .                      2009/0136095 A1    5/2009 Marcon et al.
             7,565,340 B2    7/2009 Herlocker et al.                     2009/0141969 Al    6/2009 Yu et al.
             7,721,218 B2    5/2010 Awe et al .                          2009/0222388 A1    9/2009 Hua et al.
             7,765,537 B2    7/2010 Havin et al.                         2009/0287643 Al   11/2009 Corville et al.
             7,797,259 B2    9/2010 Jiang et al.                         2009/0324010 A1   12/2009 Hou
             7,831,564 B1   11/2010 Wei et al.                           2010/0023541 A1     1/2010 Cosic
             7,840,060 B2   11/2010 Podilchuk                            2010/0033780 A1    2/2010 Gitter
             7,849,114 B2   12/2010 Boss et al.                          2010/0063949 A1    3/2010 Eaton et al .
             7,925,984 B2    4/2011 Awe et al .                          2010/0082536 Al    4/2010 Cosic
             7,987,144 B1    7/2011 Drissi et al.                        2010/0114746 Al    5/2010 Bobbitt et al.
             8,005,828 B2    8/2011 Buchner et al.                       2010/0138370 A1    6/2010 Wu et al.
             8,019,699 B2    9/2011 Baxter                               2010/0241595 Al    9/2010 Felsher
             8,078,556 B2   12/2011 Adi et al .                          2010/0278420 A1   11/2010 Shet et al .
             8,090,669 B2    1/2012 Shahani et al.                       2011/0004586 Al     1/2011 Cherryholmes et al.
             8,137,112 B2    3/2012 Woolf et al .                        2011/0007079 Al    1/2011 Perez et al.
             8,166,463 B2    4/2012 Gill et al.                          2011/0030031 A1    2/2011 Lussier et al .
             8,195,674 B1    6/2012 Bem et al.                           2011/0085734 Al    4/2011 Berg et al.
             8,196,119 B2   6/2012 Gill et al.                           2011/0093435 Al    4/2011 Zha et al.
             8,244,730 B2    8/2012 Gupta                                2011/0218672 A1    9/2011 Maisonnier et al .
             8,251,704 B2    8/2012 Woolf et al .                        2011/0270794 Al   11/2011 Drory et al .
             8,261,199 B2    9/2012 Cradick et al.                       2012/0089570 A1    4/2012 Zha et al.
             8,266,608 B2    9/2012 Hecht et al .                        2012/0150773 A1    6/2012 DiCorpo et al.
             8,335,805 B2   12/2012 Cosic                                2012/0167057 A1    6/2012 Schmich et al .
             8,364,612 B2    1/2013 Van Gael et al.                      2012/0284026 A1   11/2012 Cardillo et al.
             8,386,401 B2    2/2013 Virkar et al .                       2012/0290347 A1   11/2012 Elazouni et al.
             8,397,227 B2    3/2013 Fan et al.                           2013/0007532 A1     1/2013 Miller et al.
             8,417,740 B2    4/2013 Cosic                                2013/0156345 Al    6/2013 Shmunk
             8,464,225 B2   6/2013 Greifeneder                           2013/0159021 Al    6/2013 Felsher
             8,549,359 B2   10/2013 Zheng                                2013/0204907 A1    8/2013 Alonso Alarcon et al .
             8,572,035 B2   10/2013 Cosic                                2013/0218932 A1  8/2013 Cosic
             8,589,414 B2   11/2013 Waite et al .                        2013/0226974 A1 8/2013 Cosic
             8,655,260 B2    2/2014 Yueh et al .                         2013/0238533 Al 9/2013 Virkar et al .
             8,655,900 B2    2/2014 Cosic                                2013/0278631 Al 10/2013 Border et al.
             8,667,472 B1    3/2014 Molinari                             2014/0052717 A1 2/2014 Franks et al.
             8,762,428 B2    6/2014 Kulack et al.                        2014/0075249 A1 3/2014 Sato et al.
             8,949,186 B1     2/2015 Yueh et al .                        2014/0143276 Al 5/2014 Rogers et al.
             8,996,432 B1    3/2015 Fu                                   2014/0161250 A1 6/2014 Leeds et al .
             9,047,324 B2    6/2015 Cosic                                2014/0164430 A1 6/2014 Hadjieleftheriou et al.
             9,268,454 B2    2/2016 Hamilton , II et al.                 2014/0177946 Al 6/2014 Lim et al .
             9,282,309 B1    3/2016 Cosic                                2014/0207580 A1 7/2014 Minnis et al.
             9,298,749 B2    3/2016 Cosic                                2014/0211988 Al  7/2014 Fan et al.
             9,305,216 B1   4/2016 Mishra                                2015/0006171 Al   1/2015 Westby et al.
             9,367,806 B1   6/2016 Cosic                                 2015/0039304 A1 2/2015 Wein
             9,443,192 B1   9/2016 Cosic                                 2015/0055821 A1 2/2015 Fotland
     2002/0019822 A1        2/2002 Seki et al.                           2015/0264306 A1 9/2015 Marilly et al.
     2003/0026588 A1         2/2003 Elder et al.                         2015/0269415 A1 9/2015 Gelbman
     2003/0065662 Al         4/2003 Cosic                                2015/0310041 A1 10/2015 Kier et al.
     2004/0117771 A1         6/2004 Venkatapathy                         2015/0324685 Al 11/2015 Bohn et al.
     2004/0194017 A1         9/2004 Cosic                                2015/0339213 Al 11/2015 Lee et al.
     2004/0249774 Al        12/2004 Caid et al.                          2016/0140999 Al 5/2016 Cosic
     2004/0267521 Al        12/2004 Cutler et al.                        2016/0142650 Al 5/2016 Cosic
     2005/0149517 A1         7/2005 Cosic
     2005/0149542 A1         7/2005 Cosic                                2016/0167226 Al 6/2016 Schnittman
     2005/0154745 A1         7/2005 Hansen et al.                        2016/0246819 Al  8/2016 Cosic
     2005/0240412 A1        10/2005 Fujita                               2016/0246850 Al 8/2016 Cosic
     2005/0245303 A1        11/2005 Graepel et al.                       2016/0246868 A1 8/2016 Cosic
     2005/0289105 Al        12/2005 Cosic                                2016/0274187 A1 9/2016 Menon et al.
     2006/0047612 Al         3/2006 Stanley et al.                       2016/0292185 A1 10/2016 Cosic
     2006/0184410 A1         8/2006 Ramamurthy et al.                    2016/0328480 A1 11/2016 Owens et al.
     2006/0190930 A1         8/2006 Hecht et al.
     2006/0259466 Al        11/2006 Bilotti
     2006/0265406 A1        11/2006 Chkodrov et al.                                    OTHER PUBLICATIONS
     2007/0006159 Al         1/2007 Hecht et al .
     2007/0050606 Al         3/2007 Ferren et al .                   Eladhari, Mirjam P., “ Semi-Autonomous Avatars in Virtual Game
     2007/0050719 Al         3/2007 Lui et al.                       Worlds,” Pre -conference to the ECREA 2010—3rd European Com
     2007/0058856 A1         3/2007 Boregowda et al.                 munication Conference , Avatars and Humans. Representing Users
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 271 of 2562 PageID #: 13142


                                                               US 10,607,134 B1
                                                                          Page 3

    ( 56 )                    References Cited                                 Speech recognition , retrieved from <URL : http://wikipedia.com >
                                                                               on Nov. 11, 2015 , 12 pages .
                           OTHER PUBLICATIONS                                  Speech segmentation , retrieved from <URL : http://wikipedia.com >
                                                                               on Nov. 1, 2015 , 4 pages .
    in Digital Games, Hamburg, Germany, Oct. 2010 , Available from :           Welcome to recognize-speech.com , retrieved from <URL : http ://
    Jan. 21, 2012 (Year: 2012).*                                               recognize-speech.com/> on Oct. 18 , 2015, 1 pages.
    About | OpenCV, retrieved from <URL: http://opencv.org/about.              Introduction Speech , retrieved from <URL: http :// recognize- speech .
    html> on Dec. 13 , 2014 , 1 pages .                                        com /speech > on Oct. 18 , 2015 , 1 pages.
    Animetrics, Inc. | 3D Facial Recognition , retrieved from <URL :           Preprocessing , retrieved from < URL : http://recognize-speech.com/
    http://animetrics.com > on Dec. 13, 2014 , 2 pages.                        preprocessing> on Oct. 18, 2015 , 4 pages .
    Bag-of-words model, retrieved from <URL : http://wikipedia.com >           Feature Extraction , retrieved from < URL : http ://recognize -speech .
    on Nov. 19, 2015 , 2 pages .                                               com /feature -extraction > on Oct. 18 , 2015 , 3 pages.
    Beier-Neely morphing algorithm , retrieved from <URL: http ://             Acoustic model, retrieved from < URL : http://recognize-speech.com/
    wikipedia.com > on Nov. 19 , 2015 , 1 pages.                               acoustic -model > on Oct. 18 , 2015 , 2 pages.
    Computer vision , retrieved from <URL : http://wikipedia.com > on          Video content analysis, retrieved from <URL : http ://wikipedia .
    Nov. 19 , 2015 , 7 pages.
                                                                               com > on Nov. 19 , 2015 , 2 pages.
    Convolutional neuralnetwork, retrieved from <URL: http ://wikipedia .
                                                                               Video tracking, retrieved from <URL: http://wikipedia.com > on
                                                                               Nov. 1, 2015 , 2 pages .
    com > on Nov. 11 , 2015 , 5 pages .                                        AndrejKarpathy, Thomas Leung, George Toderici, Rahul Sukthankar,
    Decimation (signal processing), retrieved from <URL: http : //             Sanketh Shetty, Li Fei-Fei, Large -scale Video Classification with
    wikipedia.com > on Nov. 19 , 2015 , 3 pages.                               Convolutional Neural Networks, Apr. 14 , 2014 , 8 pages, Stanford
    Digital image processing , retrieved from < URL : http ://wikipedia .      University.
    com > on Nov. 19 , 2015 , 3 pages .                                        Karen Simonyan , Andrew Zisserman , Two - Stream Convolutional
    Dissolve ( filmmaking), retrieved from <URL : http: //wikipedia .          Networks for Action Recognition in Videos, Nov. 13 , 2014 , 11
    com > on Nov. 11 , 2015 , 2 pages .                                        pages, University of Oxford .
    Facial recognition system , retrieved from < URL : http ://wikipedia .     About Event Tracing, retrieved from < URL : http://msdn.microsoft.
    com > on Nov. 11 , 2015 , 6 pages .                                        com / en -us/library /aa363668 (d =default ,I= en -us, v = vs.85).aspx > on
    Feature detection (computer vision ), retrieved from <URL : http : //      Jan. 12 , 2014 , 2 pages .
    wikipedia.com > on Nov. 19 , 2015 , 3 pages.                               Add dynamic Java code to your application , retrieved from < URL :
    Feature extraction , retrieved from < URL : http://wikipedia.com > on      http://www.javaworld.com/article/2071777/design-patterns/add
    Nov. 19 , 2015, 2 pages .                                                  dynamic - java -code-to -your-application.html> on May 13, 2014 , 6
                                                                               pages.
    Gesture recognition , retrieved from <URL : http://wikipedia.com >         BCEL , retrieved from <URL : http://commons.apache.org > on May
    on Nov. 19 , 2015 , 5 pages.                                                13, 2014, 2 pages .
    GrabCut, retrieved from <URL : http://wikipedia.com > on Nov. 1,           Artificial intelligence , retrieved from <URL : http://wikipedia.com >
    2015 , 1 pages .                                                           on May 21 , 2014 , 28 pages.
    Image processing, retrieved from <URL : http://wikipedia.com > on          Artificial neural network , retrieved from < URL: http : //wikipedia.
    Nov. 19 , 2015, 2 pages.                                                   com > on May 21, 2014 , 12 pages.
    Image segmentation , retrieved from <URL : http://wikipedia.com >          Branch (computer science), retrieved from < URL: http ://wikipedia .
    on Nov. 19 , 2015 , 12 pages .                                             com > on May 6 , 2014 , 2 pages.
    Image warping , retrieved from <URL: http://wikipedia.com > on             Branch trace, retrieved from <URL : http://wikipedia.com > on May
                                                                                                                     .




    Nov. 1, 2015 , 2 pages .                                                   28 , 2014 , 2 pages .
     Inbetweening, retrieved from <URL: http://wikipedia.com > on Nov.         C Function Call Conventions and the Stack , retrieved from <URL :
                                                                               http://www.csee.umbc.edu/~chang/cs313.s02/stack.shtml> on Jan.
    11, 2015, 2 pages .
    Interpolation , retrieved from <URL : http://wikipedia.com > on Nov.       11, 2014 , 4 pages.
    1 , 2015 , 5 pages .                                                       Call stack , retrieved from < URL: http://wikipedia.com > on Jan. 11,
    Language model, retrieved from <URL : http://wikipedia.com > on            2014, 5 pages.
    Nov. 19 , 2015, 4 pages .                                                  Program compilation and execution flow , retrieved from < URL :
    List of speech recognition software, retrieved from <URL: http : //        http://cs.stackexchange.com/questions/6187/program-compilation
    wikipedia.com > on Nov. 19 , 2015 , 4 pages.                               and - execution - flow > on Jan. 9 , 2014 , 2 pages .
    Livewire Segmentation Technique, retrieved from <URL: http: //             Control unit , retrieved from <URL : http://wikipedia.com > on May
    wikipedia.com > on Nov. 1, 2015 , 2 pages.                                 25, 2014 , 2 pages .
    Morphing, retrieved from <URL : http://wikipedia.com > on Nov. 11,         Create dynamic applications with javax.tools, retrieved from <URL :
    2015, 2 pages.                                                             http://www.ibm.com/developerworks/library/j-jcomp > on May 13,
    Motion estimation , retrieved from < URL : http://wikipedia.com > on       2014 , 11 pages.
    Nov. 19 , 2015 , 2 pages.                                                  Creating a Debugging and Profiling Agent with JVMTI, retrieved
    Muse: Face Morph || Mesh Warping, retrieved from <URL : http ://           from <URL : http://www.oracle.com/technetwork/articles/java/jvmti
    alexwolfe.blogspot.com/2011/10/face-morph-mesh-warping.html> on            136367.html> on Jan. 11 , 2014 , 18 pages.
    Nov. 19 , 2015 , 2 pages .                                                 Decision tree learning, retrieved from <URL: http://wikipedia.com >
    n -gram , retrieved from <URL : http://wikipedia.com > on Nov. 1,          on Jun . 24 , 2014 , 5 pages .
    2015 , 5 pages .                                                           Dynamic Bytecode Instrumentation , retrieved from <URL: http: //
    Optical flow , retrieved from <URL : http://wikipedia.com > on Nov.        www.drdobbs.com/tools/dynamic-bytecode-instrumentation/
    1 , 2015 , 4 pages .                                                       184406433 > on Apr. 26 , 2014 , 6 pages .
    Outline of object recognition , retrieved from <URL : http ://wikipedia.   Dynamic programming language, retrieved from <URL : http : //
    com > on Nov. 19 , 2015 , 7 pages .                                        wikipedia.com > on May 7 , 2014 , 4 pages .
    Phonotactics, retrieved from <URL : http://wikipedia.com > on Nov.         Dynamic recompilation , retrieved from <URL : http : // wikipedia .
    19 , 2015 , 3 pages.                                                       com > on May 19 , 2014 , 4 pages.
    Recurrent neural network , retrieved from < URL: http ://wikipedia .       eval(), retrieved from <URL: https://developer.mozilla.org/en-US/
    com > on Nov. 11 , 2015 , 5 pages .                                        docsWeb /JavaScript/Reference/Global_Objects/eval> on May 7, 2014 ,
    Sample rate conversion , retrieved from <URL : http ://wikipedia .         13 pages.
     com > on Nov. 1, 2015 , 2 pages .                                         Function , retrieved from <URL: https://developer.mozilla.org/en
     Simple interactive object extraction , retrieved from <URL : http ://     US/docsWeb /JavaScript/Reference /Global_Objects/Function > on May
    wikipedia.com > on Nov. 19 , 2015, 2 pages.                                7 , 2014 , 11 pages.
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 272 of 2562 PageID #: 13143


                                                                 US 10,607,134 B1
                                                                             Page 4

    ( 56 )                    References Cited                                    System.CodeDom.CompilerNamespace, retrieved from <URL : http ://
                                                                                  msdn.microsoft.com/en-us/library/z6b99ydtd=default,I=en-us,v = vs.
                        OTHER PUBLICATIONS                                        110 ) .aspx > on May 13 , 2014 , 2 pages .
                                                                                   System.Reflection.Emit Namespace , retrieved from <URL : http ://
    Function Enter2 Function , retrieved from <URL : https://msdn .               msdn.microsoft.com/en-us/library/xd5fw18y(d=default,=en-us,v=vs .
    microsoft.com/en-us/library/aa964981(d=default,I=en-us,v = vs.110 ).          110 ) .aspx > on May 13 , 2014 , 2 pages.
    aspx > on Mar. 19 , 2014 , 2 pages.                                           Chen et al. Case -Based Reasoning System and Artificial Neural
     FunctionLeave2 Function, retrieved from < URL : https: //msdn .              Networks: A Review Neural Comput & Applic ( 2001 ) 10 : pp .
    microsoft.com/en-us/library/aa964942(d=default,l=en-us,v=vs.110 ).            264-276 , 13 pages .
     aspx > on Mar. 19, 2014 , 1 pages.                                           John J. Grefenstette, Connie Loggia Ramsey, Alan C. Schultz,
    Heuristic , retrieved from < URL : http://wikipedia.com > on May 22 ,         Learning Sequential Decision Rules Using Simulation Models and
     2014, 5 pages.                                                               Competition , 1990 , Navy Center for Applied Research in Artificial
    How to : Configure Trace Switches, retrieved from <URL : https://             Intelligence, NavalResearch Laboratory, Washington , DC , 27 pages.
    msdn.microsoft.com/en-us/library/vstudio/t06xyy08(d=default,I=en              Alan C. Schultz , John J. Grefenstette, Using a Genetic Algorithm to
    us,v = vs.100 ).aspx > on Mar. 19 , 2014 , 3 pages .                          Learn Behaviors for Autonomous Vehicles, 1992, Navy Center for
     Indirect branch , retrieved from < URL : http://wikipedia.com > on           Applied Research in Artificial Intelligence, Naval Research Labo
    May 5 , 2014 , 1 pages .                                                      ratory, Washington , DC , 12 pages.
     Instruction cycle , retrieved from < URL: http://wikipedia.com > on          Koppula et al., “ Anticipating human activities using object affordances
     Apr. 30, 2014 , 2 pages .                                                    for reactive robotic response ” , IEEE TRAMI 2016 , published May
     Instruction set, retrieved from <URL :http://wikipedia.com > on Apr.         5 , 2015 , 16 pages .
    29, 2014 , 6 pages.                                                           Orme, “ System design tips for entry level smartphones part 3” ,
    Interrupt, retrieved from <URL: http://wikipedia.com > on May 15 ,            found online at “ https://community.arm.com/processors/b/blog/posts/
    2014 , 5 pages .                                                              system -design - tips- for- entry - level- smartphones ---part- 3” , Oct. 21,
    Introduction to Instrumentation and Tracing , retrieved from <URL :            2013 , 12 pages.
    http://msdn.microsoft.com/en-us/library/aa983649(d=default,I=en               Nowostawski, Mariusz et al., “ Dynamic Demes Parallel Genetic
    us, v = vs.71).aspx > on Jan. 10 , 2014 , 2 pages.                            Algorithm ”, May 13, 1999 , 6 pages.
    Java bytecode, retrieved from <URL : http://wikipedia.com > on                Stack Overflow ,How can I quantify differencebetween two images?,
                                                                                  accessed Aug. 2, 2017 at https://stackoverflow.com/questions/189943/
    May 27 , 2014 , 4 pages .
    Package java.util.logging , retrieved from <URL : http://docs.oracle.         how -can -i-quantify-difference-between -two-images, 8 pages.
    com /javase / 1.5.0 /docs/api/java /util/logging/package - summary .           Skolicki, Zbigniew et al., “ The Influence of Migration Sizes and
    html> on Mar. 19 , 2014 , 2 pages .                                           Intervals on Island Models” , Jun. 29 , 2005 , 8 pages.
    iavac— Java programming language compiler, retrieved from < URL :             Vahid Lad , et al., “ Decentralized dynamic resource management
    http://docs.oracle.com/javase/7/docs/technotes/tools/windows/javac.           support for massively parallel processor arrays", Sep. 11 , 2011, 8
    html> on May 13 , 2014 , 12 pages .                                           pages .
    Interface JavaCompiler, retrieved from <URL : http ://wikipedia .              Vahid Lari, et al., “ Distributed resource reservation in massively
    com > on May 13 , 2014 , 4 pages .                                            parallel processor arrays ”, May 16 , 2011, 4 pages .
    Javassist, retrieved from <URL : http://wikipedia.com > on May 13,            Mohsen Flayati and Yazdan Shirvany, “ Artificial Neural Network
                                                                                  Approach for Short Term Load Forecasting for Illam Region ” , Jan.
    2014 , 2 pages.                                                               2007, 5 pages.
    Just-in - time compilation , retrieved from <URL : http : //wikipedia.        Hasim Sak, Andrew Senior, and Francoise Beaufays, “ Long Short
    com > on May 19 , 2014 , 5 pages.                                              Term Memory Recurrent Neural Network Architectures for Large
     JVM Tool Interface, retrieved from <URL : http://docs.oracle.com/            Scale Acoustic Modeling ” , Jan. 2014 , 5 pages .
    javase/7 /docs/platform / jvmti/jvmti.html> on Apr. 26 , 2014 , 127            Jorg Walter and Klaus Schulten , “ Implementation of self-organizing
    pages .                                                                       neural networks for visuo -motor control of an industrial robot” , Jan.
    Machine code , retrieved from <URL : http://wikipedia.com > on Apr.            1993, 10 pages .
    30, 2014 , 3 pages .                                                          Heikki Hyotyniemi and Aamo Lehtola , “ A Universal Relation
    Metaprogramming, retrieved from <URL : http://wikipedia.com > on              Database Interface for Knowledge Based Systems” , Apr. 1991, 5
    May 8 , 2014, 3 pages .                                                       pages.
    Microsoft.VisualBasic.Logging Namespace, retrieved from <URL :                Mrissa , Michael , et al. “ An avatar architecture for the web of
    http://msdn.microsoft.com/en-us/library/ms128122(d=default,I=en               things.”" IEEE Internet Computing 19.2 ( 2015 ): 30-38 ., 9 pages.
    us,v = vs.110 ).aspx > on Jan. 13 , 2014 , 1 pages.                           Luck , Michael, and Ruth Aylett. " Applying artificial intelligence to
    Pin (computer program ), retrieved from <URL : http ://wikipedia .            virtual reality : Intelligent virtual environments.” Applied Artificial
    com > on May 6 , 2014 , 3 pages.                                              Intelligence 14.1 (2000 ): 3-32 ., 30 pages.
    Processor register, retrieved from <URL: http://wikipedia.com > on             Terdjimi, Mehdi, et al. “ An avatar-based adaptation workflow for
    Apr. 29, 2014 , 4 pages.                                                      the web of things.” Enabling Technologies: Infrastructure for Col
    Profiling (computer programming), retrieved from <URL : http ://              laborative Enterprises (WETICE ), 2016 IEEE 25th International
    wikipedia.com > on Jan. 10 , 2014 , 4 pages.                                  Conference on . IEEE , 2016., 6 pages .
    Profiling Overview , retrieved from <URL : http://msdn.microsoft.             Bogdanovych , Anton , et al. “ Authentic interactive reenactment of
    com /en -us/ library /bb384493 (d =default,I= en -us,v = vs.110 ).aspx > on   cultural heritage with 3D virtual worlds and artificial intelligence.”
    Jan. 12 , 2014 , 6 pages .                                                    Applied Artificial Intelligence 24.6 (2010 ): 617-647., 32 pages.
    Program counter, retrieved from <URL : http://wikipedia.com > on              Hernandez ,Marco E. Perez, and Stephan Reiff-Marganiec . “ Autono
    Apr. 24 , 2014 , 2 pages .                                                    mous and self controlling smart objects for the future internet.”
    ptrace, retrieved from < URL : http://wikipedia.com > on Apr. 24 ,            Future Internet of things and cloud ( FiCloud), 2015 3rd interna
    2014 , 2 pages .                                                              tional conference on . IEEE , 2015., 8 pages .
    Reflection (computer programming), retrieved from <URL : http ://             Medini et al., “ Building a Web of Things with Avatars” , Managing
    wikipedia.com > on May 7 , 2014 , 5 pages.                                    the Web of Things (2017 ), 30 pages.
     Class Runtime, retrieved from <URL: http://docs.oracle.com/javase/            Tracing (software ), retrieved from < URL : http://wikipedia.com > on
     7/docs/api/ java /lang /Runtime.html> on Jan. 10 , 2014,10 pages.            Jan. 10 , 2014 , 3 pages.
    Self-modifying code, retrieved from < URL : http://wikipedia.com >            Tree (data structure ), retrieved from < URL : http://wikipedia.com >
    on Jan. 12 , 2014 , 6 pages .                                                 on Jun . 24 , 2014 , 6 pages .
    Subjective logic, retrieved from <URL: http://wikipedia.com > on              PTRACE (2 ), retrieved from <URL : http://unixhelp.ed.ac.uk/CGI/
    May 22 , 2014 , 5 pages .                                                     man - cgi? ptrace > on Mar. 19 , 2014 , 5 pages.
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 273 of 2562 PageID #: 13144


                                                                    US 10,607,134 B1
                                                                                Page 5

    ( 56 )                      References Cited                                     List of file formats , retrieved from < URL : http://wikipedia.com > on
                                                                                     Nov. 9 , 2014 , 33 pages.
                          OTHER PUBLICATIONS                                         List of game engines, retrieved from < URL : http://wikipedia.com >
                                                                                     on Nov. 22, 2014 , 17 pages .
    Wevtutil, retrieved from < URL : http://technet.microsoft.com/en-us/             Lua (programming language ), retrieved from < URL: http: //wikipedia .
    library /cc732848(d = default,l = en -us,v =ws.11) .aspx > on Apr. 28 , 2014 ,    com > on Nov. 25 , 2014 , 10 pages .
    5 pages.                                                                         Mantle (API), retrieved from < URL : http://wikipedia.com > on Nov.
    Intel Processor Trace , retrieved from < URL : https://software.intel.            22, 2014 , 5 pages.
    com /en -us/blogs/2013 /09 / 18 /processor-tracing> on Apr. 28 , 2014 , 3        Microsoft XN? , retrieved from < URL : http://wikipedia.com > on
    pages .
                                                                                     Nov. 22, 2014 , 7 pages.
                                                                                     3.4 Getting Information About Databases and Tables, retrieved from
     Younghoon Jung, Java Dynamics Reflection and a lot more, Oct. 10 ,               <URL : http://dev.mysql.com/doc/refman/5.7/en/getting-information .
     2012 , 55 pages , Columbia University.                                          html> on Nov. 6 , 2014 , 2 pages .
    Amitabh Srivastava , Alan Eustace, Atom A System for Building                    MySQL show users how to show the users in a MySQL database ,
    Customized Program Analysis Tools , May 3, 2004,12 pages.                        retrieved from <URL : http://alvinalexander.com/blog/post/mysql/
    Mathew Smithson , Kapil Anand , Aparna Kotha , Khaled Elwazeer,                  show -users-i-ve-created - in -mysql-database> on Nov. 6 , 2014 , 4
    Nathan Giles, Rajeev Barua , Binary Rewriting without Relocation                 pages .
    Information , Nov. 10 , 2010 , 11 pages , University of Maryland .               OpenCV, retrieved from <URL: http://wikipedia.com > on Dec. 13 ,
    Marek Olszewski, Keir Mierte, Adam Czajkowski, Angela Demle                      2014, 3 pages .
    Brown, JIT Instrumentation — A Novel Approach to Dynamically                     Optical character recognition , retrieved from < URL : http ://wikipedia .
    Instrument Operating Systems, Feb. 12 , 2007, 14 pages, University               com > on Dec. 13 , 2014 , 6 pages .
    of Toronto .                                                                     Outline of object recognition , retrieved from <URL: http : //wikipedia .
    2D computer graphics , retrieved from <URL : http : // wikipedia .               com > on Dec. 13 , 2014 , 8 pages .
    com > on Nov. 9 , 2014 , 7 pages .                                               Particle system , retrieved from < URL : http://wikipedia.com > on
    3D computer graphics , retrieved from <URL : http : // wikipedia .               Nov. 12 , 2014, 3 pages.
    com > on Nov. 9 , 2014 , 3 pages .                                               Physics engine , retrieved from <URL : http://wikipedia.com > on
    3D modeling, retrieved from < URL : http://wikipedia.com > on Nov.               Nov. 23, 2014 , 5 pages.
    9 , 2014 , 5 pages.                                                              Polygonal modeling, retrieved from <URL : http://wikipedia.com >
    8 : Mouse Handling , retrieved from <URL: http://ericsink.com                    on Nov. 12 , 2014 , 4 pages .
    wpf3d /8_Mouse.html> on Nov. 13, 2014 , 2 pages.                                 POV- Ray, retrieved from < URL : http://wikipedia.com > on Nov. 10 ,
    AutoCAD , retrieved from <URL : http://wikipedia.com > on Nov. 9 ,               2014, 5 pages.
    2014, 7 pages .                                                                  Raster graphics, retrieved from < URL : http://wikipedia.com > on
    Collision detection , retrieved from < URL :http://wikipedia.com > on            Nov. 9 , 2014 , 3 pages.
    Nov. 23 , 2014 , 5 pages.                                                        Scene graph , retrieved from <URL: http://wikipedia.com > on Nov.
    Comparison of OpenGL and Direct3D , retrieved from <URL :                        22 , 2014 , 4 pages .
    http://wikipedia.com > on Nov. 22 , 2014 , 7 pages.                              STL ( file format), retrieved from < URL: http://wikipedia.com > on
    Data dictionary , retrieved from <URL : http://wikipedia.com > on                Nov. 11 , 2014 , 4 pages.
    Nov. 6 , 2014 , 3 pages.                                                         Subdivision surface, retrieved from < URL : http://wikipedia.com >
    DBA_TABLES , retrieved from <URL: http://wikipedia.com > on                      on Nov. 12 , 2014 , 3 pages.
    Nov. 6 , 2014 , 1 pages .                                                        sysobjects, retrieved from <URL : http://technet.microsoft.com/en
    Digital sculpting, retrieved from <URL: http://wikipedia.com > on                us/ library/ aa260447 (d =default,I = en -us,v = sql.80 ) .aspx > on Nov. 6 ,
    Nov. 12 , 2014, 3 pages .                                                        2014 , 2 pages .
    Facial recognition system , retrieved from <URL : http ://wikipedia .            Vector graphics, retrieved from <URL: http://wikipedia.com > on
    com > on Dec. 13 , 2014 , 7 pages.                                               Nov. 9 , 2014 , 5 pages.
    Game engine, retrieved from <URL : http://wikipedia.com > on Nov.                Vertex (computer graphics ), retrieved from < URL : http : // wikipedia .
    23, 2014 , 4 pages .                                                             com > on Nov. 9 , 2014 , 2 pages.
    JavaFX , retrieved from <URL: http://wikipedia.com > on Nov. 22 ,                Voxel, retrieved from <URL: http://wikipedia.com > on Nov. 11 ,
    2014 , 7 pages .                                                                 2014 , 5 pages .
    Jreality, retrieved from <URL: http://wikipedia.com > on Nov. 22 ,               Wavefront .obj file, retrieved from <URL: http://wikipedia.com > on
    2014, 3 pages.                                                                   Nov. 9 , 2014 , 6 pages .
    List of 14+ Image Recognition APIs, retrieved from <URL : http ://               Acrobat 3D tutorials basic interaction , retrieved from <URL :
    blog.mashape.com/list-of-14-image-recognition-apis > on Dec. 13,                 https://acrobatusers.com/assets/collections/tutorials/legacy/tech_
    2014 , 2 pages .                                                                  corners/3d /3d_tutorials/basic_interaction.pdf> on Nov. 23 , 2014 , 2
    List of 50+ Face Detection / Recognition APIs, libraries, and                    pages .
    software, retrieved from < URL : http://blog.mashape.com/list-of-50
    face -detection - recognition -apis/> on Dec. 13 , 2014 , 4 pages.               * cited by examiner
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 274 of 2562 PageID #: 13145


    U.S. Patent                                   Mar. 31, 2020                                 Sheet 1 of 39                            US 10,607,134 B1




                            17           18              19                                     5

                                                                                                         25

                       27
                                                                                                                Network Interface
                                                          APproligcatmosn DSpatcae                       16


                                 Storage OS                                                                     Alternaive Memory
                                                                                                                                                                        FIG
                                                                                                                                                                        .
                                                                                                                                                                        1
                                                                                                                                    23
                                    14
                                                Cache
                                                                                                                                             m-Haucmhiane
                                   11
                                                                                     Memory                                                                 Interface
    70DCoemvpuitceng                                                                                12
                                                                                                                                    21

                                              Proces r    /
                                                          I
                                                          Port
                                                          O
                                                          Memory
                                                                                     10Device       13

                                                          V
                                                          Port
                                                          /
                                                          O
                                                                                                                                         Deivspilcaey
                                                                          15A
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 275 of 2562 PageID #: 13146


    U.S. Patent                                                                  Mar. 31, 2020                                   Sheet 2 of 39                      US 10,607,134 B1




      70
               100
                                                                                              Artifcal IntelignceUnit
                                                                110
                                                                                                                                                                    27
                                                                140                                           120              130
                              Lveatmairn'gs
                              for
                              AUnit
                               an
                               Using
                               or
                               /
                               and            AfCiurvtcoamnsrcue ACAAOUnit)(Operation OPrbocjescintg                                                   12



                                                                                                       Unit         AcquistonInterface Modifcaton Iterface Memory Storage
              21                                                                                                                                                                FIG
                                                                                                                                                                                2
                                                                                                                                                                                .


                            Display                                                                                                          Object Object Object        11



           DCoemvpuitceng                                                                                                    APprloicgartomn Avatr 615a 615b             18

                                                23                           Human machine Interface Proces r                               605
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 276 of 2562 PageID #: 13147


    U.S. Patent                                                 Mar. 31, 2020                                                 Sheet 3 of 39                           US 10,607,134 B1




      70
            100
                                                                                             Artifcal IntelignceUnit
                                                                     110
                                                                                                                                                                      27
                                                   140 92                                                  120                        130
                     Lveatmairn'gs
                     for
                     AUnit
                      an
                      Using
                      or
                      /
                      and            AfCiurvtcoamnsrcue ACAAOUnit)O(peration POrbocjescintg Recognizer                                                           12




                                                                                  Picture                         AcquistonInterface Modifcaton Iterface              Memory Storage
            21                                                                                                                                                                              FIG
                                                                                                                                                                                            3
                                                                                                                                                                                            .


                   Display                                                                                                                         Object Object Object                11
                                                                                                                       PRiencdture APprloigcartomn
           DCoemvpuitcneg Human machine Interface Proces r
                             23                                                                                         91
                                                                                                                                                    Avat r 615a 615b
                                                                                                                                                           605
                                                                                                                                                                                       18
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 277 of 2562 PageID #: 13148


    U.S. Patent                                                 Mar. 31, 2020                                                Sheet 4 of 39                            US 10,607,134 B1




      70
            100
                                                                                             Artifcal IntelignceUnit
                                                                     110
                                                                                                                                                                      27
                                                   140 97                                                  120                      130
                     Lveatmairn'gs
                     for
                     AUnit
                      an
                      Using
                      or
                      /
                      and            AfCiurvtcoamnsrcue ACAAOUnit)O(peration POrbocjescintg Recognizer                                                        12




                                                                      Unit
                                                                                  Sound                           AcquistonInterface Modifcaton Iterface Memory Storage
            21                                                                                                                                                                    FIG
                                                                                                                                                                                  4
                                                                                                                                                                                  .


                   Display                                                                                                                                   Object Object   11
                                                                                                                       SReonudred APprloigcartomn OAbvjatecrt 615b
           DCoemvpuitcneg Human machine Interface Proces r
                             23                                                                                         96                        605
                                                                                                                                                                615a         18
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 278 of 2562 PageID #: 13149


    U.S. Patent                       Mar. 31 , 2020            Sheet 5 of 39                     US 10,607,134 B1


                             6150                               B
                                                                                                                615a

                                                                                                Agent Smith

                                                                B




                                                      8m

                                                                                                          13m
                                                                    78 °
                                                           Avatar
                                               332
                                                                            211 °

                                                                    605
                   615b

                                              10m
                                                                L
                                                                1




                                                           FIG . 5A
                                                                                                                             140

      ObjectProcessing Unit                                                                                            525
         Collection of ObjectRepresentations
                   635aa 635ab 635ac 635ad              635ba 635bb 635bc              635ca 635cb 635cc
            Object Representation                    Object Representation ObjectRepresentation
             Type Identity Distance Bearing           Type Distance Bearing         Type Distance Bearing
             Person Agent Smith 13m      78          Rock 10m       211 °           Robot 8m      332 °

        630aa 630ab 630ac 630ad               630ba 630bb 630bc 630ca 630cb 630cc
                                         625a                625b              625c

                                                           FIG . 5B
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 279 of 2562 PageID #: 13150


    U.S. Patent                          Mar. 31, 2020                                 Sheet 6 of 39                  US 10,607,134 B1



     100
     120                                                                                                                11

                                                      215
                                                            Arithmeic          UnitLogic
                                                                                                                214

                                                             DInesctroudeirn                     RAergisateyr
                                                                                                                                   FIG
                                                                                                                                   .
                                                                                                                                   6


                                                                                           213
                                                            IRnsetgriucteonr
                                                                                           212                                    12

           IAUCnAitO Anctqueirsfatcoen                      CPorungtream
                                           Proces r                                        211                           Memory
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 280 of 2562 PageID #: 13151


    U.S. Patent             Mar. 31, 2020     Sheet 7 of 39    US 10,607,134 B1

                                                                  526

               Instruction Set
               Function (Parameter1 , Parameter2 , Parameter3, ... )
                                            FIG . 7A
                                                                  526

              Instruction Set
               SELECT Coll , Col2 ... FROM T611 , Tb12 ... ;

                                            FIG . 7B
                                                                  526

              Instruction Set
               iconst Value

                                            FIG . 7C
                                                                  526

               Instruction Set
               add Register1 Register2

                                            FIG . 7D
                                                                  526

              Instruction Set
               000000 00001 00010 00110 00000 100000

                                            FIG . 7E
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 281 of 2562 PageID #: 13152


    U.S. Patent            Mar. 31, 2020     Sheet 8 of 39           US 10,607,134 B1




                                                             525                   527

      Collection of Object Representations                         Extra Info
                                                                   time info , location
                                                                   info , computed
                                                                   info , visual
                                                                   info , acoustic
                                                                   info , contextual
                                                                   info , etc.
                                        FIG . 8A




                                                             526                   527

      Instruction Set                                              Extra Info
                                                                   time info , location
                                                                   info , computed
                                                                   info , visual
                                                                   info , acoustic
                                                                   info , contextual
                                                                   info , etc.
                                        FIG . 8B
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 282 of 2562 PageID #: 13153


    U.S. Patent                                      Mar. 31, 2020                                                                Sheet 9 of 39                      US 10,607,134 B1


      70
                11
                                                                                                                                                                      27
                          100
                                                                                                     Artifcal Intelignce
                                                                       110

                                                                      140                                            120                        130
                                 ALUnit
                                  an
                                  Using
                                  or
                                  /
                                  and
                                   forveatmairn'gs   AfCiurvtcoamnsrcue Unit)ACAAO(Operation POrbocjescintg                                                                Storage
                                                                                                              Unit         AcquistonInterface Modifcaton Interface    12




                                                                   18
                                                                                                                                                                           Memory
                                                                                                               Object Object Object                                                  FIG
                                                                                                                                                                                     9
                                                                                                                                                                                     .

                                                                                                PAprloigcatomn Avatar 615a 615b
                      Proces r                                                                                                  605

                     21
           DCoemvpuitceng Display Human machine Interface  23




           50
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 283 of 2562 PageID #: 13154


    U.S. Patent                                 Mar. 31, 2020                                            Sheet 10 of 39                                 US 10,607,134 B1


     95


                                       100
                                                                                     Artifcal IntelignceUnit
                                                                   110

                                                                                                   120                        130
                                                 AUnit
                                                  an
                                                  Using
                                                  or
                                                  /
                                                  and   AfCiurvtcoamnsrcue POrbocjescintg
                                                 Lveatmairn'gs O(
                                                 for            ACAAO
                                                                pUnit
                                                                 )
                                                                 140
                                                                 eration
                                                                                            Unit         AcquistonInterface Modifcaton Interface
           Network S e r v e r
                                                                                                                                                                         FIG
                                                                                                                                                                         10
                                                                                                                                                                         .
          70                               21       18                                                                                                     27


                            Display               11                                          Object Object Object      ***
                                                                                                                                                   12
                                      23

                  DCoemvpiutceng Human machine Interface Proces r             APprloigcatomn Avatr 615a 615b
                                                                                                                                                        Memory Storage
     50
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 284 of 2562 PageID #: 13155


    U.S. Patent                     Mar. 31, 2020            Sheet 11 of 39             US 10,607,134 B1


                                                                   615a     615b           18

                Processor
      605
                         Application Program
                           Avatar                Object Object            Object

                                                                                                      100

      ACAAO Unit                               140                 120                     130

                           Object                    Acquisition            Modification
                           Processing                Interface              Interface
                           Unit


          Artificial
          Intelligence                                                                          530
         Unit                                                      520
                                                                                   Knowledgebase
                                      Knowledge Structuring Unit


                           Decision -making Unit

                                                                   550

                                      Confimation Unit




                                                         FIG . 11
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 285 of 2562 PageID #: 13156


    U.S. Patent                        Mar. 31, 2020                 Sheet 12 of 39                       US 10,607,134 B1

                   Object Processing                         Acquisition Interface            120
                  Unit                                                                              520                 530

     Knowledge                                                                                                Knowledgebase
     Structuring Unit                                                                        800ax
         Knowledge
         Cell
                                                                                     ini

                            Coll of Ob Rep                         Instruction Set
                                                     525a5    w
                                                                                     VA
                                                               }                     ma
                     Hot                                                             wie




                    stoka
                            Collof Oo Rep !                                                 526a6
                    otok                                                             in

                    Foto
                                                     525a4                                  526a5
                                                                   Instruction Set
                            Coll ofOb Rep    mi
                                                                   Instruction Set {
                                                                                     mais
                                                 3
                                                               }                      3
                                             }                 }
                    Photo                            525a3                           main
                                                                                     win




                            Coll of Ob Rep
                                                               {                     ina
                                             ? 525a2
                                             w
                                                                                            526a4
                                                                                            526a3
                        I Col of Ooi Rep                           Instruction Set          526a2
                                              3                    Instruction Set
                                             ?3 525a                                        526a1
                                                                   Instruction Set
                     i Coll of Ob Rep                              Instruction Set


                                                                                             800ab
         Knowledge Cell
                                                                                             800aa
        Knowledge Cell

                                                              FIG . 12
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 286 of 2562 PageID #: 13157


    U.S. Patent                         Mar. 31, 2020                       Sheet 13 of 39                       US 10,607,134 B1

                    ObjectProcessing                    140    Acquisition Interface                 120
                   Unit                                                                                    520                 530

      Knowledge                                                                                                      Knowledgebase
      Structuring Unit                                                                              800ax
          Knowledge
         Cell                Coll of Ob Rep                               Instruction Set    {
                         1
                                              ???

                                                                                                    800ae
         Knowledge                            1525a5
         Cell                                                                                }
                                                                                            in



                             Coll of ObiRep
                                                                                                    800ad
                                               }
         Knowledge                             3
                                                                  {
                                                                                                   526a6
         Cell        otet
                                              w



                                               3
                                                                                             3
                     *****                             525a4                                       526a5
                                                                          Instruction Set
                     *




                     Photo
                         1
                         ! CollofOb Rep                                   Instruction Set
                                                                                            im
                                              w

                                                                 {3                                 800ac
                                                                                            inni
         Knowledge                                     525a3                                mi
         Cell
                             Coll ofObiRep

                                                   }
                                                                                                    800ab
         Knowledge                             { 525a2            {
                                                                      }                            526a4
         Cell                                                   w




                     motor
                         i Col ofOb Rep                                   Instruction Set
                                              ????

                                                                                                    800aa
         Knowledge                                 3
                                                                  }
                                                                  }
                                                                                                   526a3
         Cell
                     State
                                               3                                                   526a2
                     tot                                                  Instruction Set
                     oto                               525a1                                       52621
                         1                                                Instruction Set
                                              wi
                             Col of Ob Rep                       illnstruction Set

                                                                FIG . 13
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 287 of 2562 PageID #: 13158


    U.S. Patent                     Mar. 31, 2020            Sheet 14 of 39                      US 10,607,134 B1

                   Object Processing                Acquisition Interface            120
                  Unit                                                                     520                 530

     Knowledge                                                                                       Knowledgebase
     Structuring Unit                                                               800ax
         Knowledge
         Cell
                         Coll ofObj Rep                    Instruction Set
                              ***                          Instrucion Set
                1 Col ofOb Rep                             Instruction Set
           525dni
                                          wa


                                                      {                            526a6
                         Col of ObiRep                 }
           525d1                                                                   526a5
                                                           Instruction Set
           525cn
                         Coll ofOb Rep                     Instruction Set
                                                                             ini

          525c1
                 Col of Ob Rep 3                                              3
                                                                             wi
                                                                             min
          525bn       ***                                                  152624
                 CollofOb Rep                                               526a3
           525b1 CollofOb Rep
                                                           Instruction Set
                                                                            526a2
                              ***                          Instruction Set
          525an
                         Coll of ObiRep                    Instruction Set
                         Coll of Ob Rep
           525a1                                                                   526a1

                    i Col ofOb Rep                    i Instruction Set


                                                                                    800ab
         Knowledge Cell
                                                                                    800aa
        Knowledge Cell

                                                     FIG . 14
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 288 of 2562 PageID #: 13159


    U.S. Patent                         Mar. 31, 2020            Sheet 15 of 39                       US 10,607,134 B1

                    ObjectProcessing              140   Acquisition Interface             120
                   Unit                                                                         520                 530

      Knowledge                                                                                           Knowledgebase
      Structuring Unit                                                                  800ax
          Knowledge
         Cell                Coll of Ob Rep                    Instruction Set
                                  ***         w
                                                               Instruction Set
                             Coll of Ob Rep                    Instruction Set !

                                                                                         800ad
         Knowledge                                        w




         Cell                Collof Oo Rep                                         3

          525dn                               3                Instruction Set 526a6
           525d1             CollofOb Rep                      Instruction Set          526a5
                                                         w




                     Hotel                                }
                                                           }                            800ac
         Knowledge
         Cell   Coll of Ob Rep                                                   inni
                               3                                                   3
          525cni ***             3
                                                          3                        }
                                                           3
           52501     Hoto
                             Col of Ob Rep                                       w




                     Otok
                                                                                   {
                     motor
                     store
                         1                    }
                                                                                         800ab
        ColWedge CollofOojRep                                  Instruction Set 3 526a4
           525bn                  **                           Instruction Set 526a3
           525b1             Coll of Ob Rep                    Instruction Set          526a2
                     Moto
                     ??
                                                                                 im
                                                                                         800aa
         Knowledge
                             Col of Ob Rep                w




           525ani
          525a1              CollofOb Rep                      Instruction Set          526a1


                                                         FIG . 15
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 289 of 2562 PageID #: 13160


    U.S. Patent               Mar. 31, 2020   Sheet 16 of 39               US 10,607,134 B1



           852          )0 (
     853
                                                                         853
                                                 ?-?
                                                                               852

                     MBodel                                     MDodel
                                                                                        FIG
                                                                                        16
                                                                                        .




                     MAodel                                     MCodel
           852
     853

                                                    853
                                                          852
                 c
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 290 of 2562 PageID #: 13161


    U.S. Patent                   Mar. 31 , 2020      Sheet 17 of 39               US 10,607,134 B1
                               800zb                             800cc

      Knowledge Cell                      Knowledge Cell
            Occurrences = 10                           Occurrences = 15
            Weight= 0.4                                Weight= 0.6

                    85321                                                     85322
                                          Knowledge Cell
                                                              800za

                                                   FIG . 17A

                               800zb                             8003C                                800zd

      Knowledge Cell                      Knowledge Cell                      Knowledge Cell
            Occurrences = 10                               Occurrences = 15           Occurrences = 1
            Weight= 0.385                              Weight=0.577                   Weight=0.038
                                                                                                  85323
                                                                              85322
                     8531                 Knowledge Cell
                                                              800za
                                                   FIG . 17B

                               800zb                            B003c                                 800zd
      Knowledge Cell                      Knowledge Cell                      Knowledge Cell
            Occurrences = 11                               Occurrences = 15           Occurrences = 1
            Weight=0.407                               Weight= 0.556                  Weight= 0.037
                                                                                                 -85323
                    85371                                                     85322
                                          Knowledge Cell
                                                              800za
                                                   FIG . 17C
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 291 of 2562 PageID #: 13162


    U.S. Patent                                                             Mar. 31, 2020                             Sheet 18 of 39                                    US 10,607,134 B1


                                                                                                                                                                                   530d
                                         Knowledg   Cell



                    80 ce Knowledg Cel
                    80 cd KnowledgCell
                                                                                                                                                                                          18
                                                                                                                                                                                          .
                                                                                                                                                                                          FIG
                    80 C Knowledg
                                                Cel
                     80 cb Knowledg Cel
     CofKonlewlcetdigosne 80 ca          Knowledg   Cell



                                                           KCnoewl dlge 80 be CKnoewl dlge 80 bd KCnoewl dlge 80 bc CKnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
     KnowledgStruc ing            Unit
                                                                                                                                                                                   520
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 292 of 2562 PageID #: 13163


    U.S. Patent                                      Mar. 31, 2020                                  Sheet 19 of 39                                                  US 10,607,134 B1


                                Layer :854e Layer                                Layer Layer                                Layer Layer                                        530a
                                                                          854d                                      8546                    854b                    854a
                                KCnoewledlge 80 e CKnoewledlge 80 ed CKnoewl dlge 80 ec CKnoewl dlge                       853e2 80 eb
                                                                       8.53e4
                                                                                             8 5 3 e
                                KCnoewl dlge            CKnoewl dlge             KCnoewl dlge CKnoewl dlge                  CKnoewl dlge           853e1 80 ea
                                                                                 CKnoewl dlge        CKnoewl dlge            CKnoewl dlge            CKnoewl dlge
                                                                                                                                                                                      19
                                                                                                                                                                                      .
                                                                                                                                                                                      FIG
                                KCnoewl dlge *** CKnoewl dlge                    CKnoewl dlge        CelKnowledge           CKnoewl dlge             CKnoewledlge

                                                                                                     CKnowel dlge            CKnoewlidlge            CKnoewl ldge
                                                       CeKnowledge               CKnoewl dlge        KCnoewl dlge
     Netuwroalk
                                                                                                                                                                                125
                                KCnoewl dlge 80 be CKnoewl dlge 80 bd KCnoewl dlge 80 bc CKnoewl dtge 80 b CKnoewl dlge 80 ba KCnoewl dlge
     KnowledgStruc ing   Unit
                                                                                                                                                                               520
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 293 of 2562 PageID #: 13164


    U.S. Patent                                      Mar. 31, 2020                         Sheet 20 of 39                                           US 10,607,134 B1


                                Layer :854e Layer                          Layer Layer Layer Layer                                                             530a
                                                                      854d            8546 854b 854a
                                KCnoewledlge           CKnoewl dlge      CKnoewl dlge       CKnoewl dlge
                                                      CKnoewl dlge       CWhoewl dlge       CKnoewl dlge         CKnoewl dlge    853
                                                                                                                                                    800

                                KCelnowledge   ***    CKnoewl dlge       CKnoewl dlge       KCnoewl dlge        CKnoewl dlge         CKnoewl dlge
                                                                                                                                                                      20
                                                                                                                                                                      .
                                                                                                                                                                      FIG
                                                                                            CKneowledge         CKnoewl dlge         CKnoewledlge

                                KCelnowledge          KCnowel ldge       CKnoewlidlge       CeiKnowledg          CKnoewlldge         CKnoewl ldge
                                                                         KCnoewl dlge       KCnoewl dlge
     Netuwroalk
                                KCnoewl dlge 80 be CKnoewl dlge 80 bd KCnoewl dlge 80 ba CKnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
     KnowledgStruc ing   Unit
                                                                                                                                                               520
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 294 of 2562 PageID #: 13165


    U.S. Patent                                          Mar. 31, 2020                           Sheet 21 of 39                                      US 10,607,134 B1


                                                                            80 he KCnoewldlge                     CelKnowledge
                                                                                                                                                                   530b

                                               80 hd CKnoewldlge
                                                                                 853h4
                                KCnoewl dlge                              853h                                                              CKnoewl dlge
                                                                                                                                                         8 0 h a
                                                                                                80 c
                                                                                                   CKnoewl dlge                     853h1
                                                                                                                                                                          21
                                                                                                                                                                          .
                                                                                                                                                                          FIG
                                 CKneowldgse                                                      KCnoewl dlge                   853h2
                                                           KCnoewl dlge                                           CKnoewl dlge CKnoewl dlge
                                                                                                                                            8 0 h b

                                KCnoewl dlge
     Graph

                                KCnoewl dlge 80 be CKnoewl dlge 80 bd KCnoewl dlge 80 bc CKnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
     KnowledgStruc ing   Unit
                                                                                                                                                                   520
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 295 of 2562 PageID #: 13166


    U.S. Patent                                                 Mar. 31, 2020                        Sheet 22 of 39                                           US 10,607,134 B1


                                                                                                                                                                         530c
                                Sequnce    CKnoewledlge   :
                                                                 CKnoewl dlge     CKnoewl dlge        CKnoewl dlge        KCnoewl dlge         CKnoewledlge



                       Sequnce            CKnoewledlge           CKnoewl dlge     CKnoewl dlge        KCnoewl dlge         CKnoewl dlge        CKnoewl dlge 533

                                CKnoewledlge KCnoewl dlge CKnoewl dlge KCnoewl dlge CKneowledlg CelKnowledge
                       Sequnce                            ***                                                                                                                   FIG
                                                                                                                                                                                22
                                                                                                                                                                                .




                       Sequnce  K
                                C n oew l   dlg e K
                                                  C n o
                                                      e w l
                                                          :
                                                            dlg e K
                                                                  C n o
                                                                      e w l dlg e  K
                                                                                   C n o
                                                                                       e w l dlg e     CKnoewledlge KCnoewl dlge

                                  K
                                  C n o
                                      e w l d l
                                              g e K
                                                  C n oew l dlg e K
                                                                  C n oew l  dlg e C
                                                                                   K n e
                                                                                       o  w l e dl g e  K
                                                                                                        C n o
                                                                                                            e w l dlg e K
                                                                                                                        C n o
                                                                                                                            e w l dlg e
     CofSoelqucetnioes Sequ nce

                                          KCnoewl dlge 80 be CKnoewl dlge 80 bd KCnoewl dlge 80 bc CKnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
     KnowledgStruc ing   Unit
                                                                                                                                                                         520
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 296 of 2562 PageID #: 13167


    U.S. Patent                                                     Mar. 31, 2020                                              Sheet 23 of 39                                US 10,607,134 B1


                                                                                                                                                                                                                   530d
            Knowledg          Cell
                                                                                                                       ***
      80 c Knowledg           Cell
      80 ob Knowledg
                              Cell

      80 a                                                              526a 526a5                                                          526 4 526a3 526a2 526a1
                                         SetInstruction                                ISet|nstruction ISnsteruction                                  SetInstruction SInsteruction SetInstruction SetInstruction
                                                                                                                                                                                                                    23
                                                                                                                                                                                                                    .
                                                                                                                                                                                                                    FIG


                                                          52 a5                52 a4                                         52 a3          52 a2                            52 a1
     CofKonlewlcetdigosne CKnoewl dlge ColofObRep           98       Col
                                                                     of
                                                                     Rep
                                                                     Obi                                  Col
                                                                                                          Obj
                                                                                                          of
                                                                                                          Rep                        Coll
                                                                                                                                     Ob
                                                                                                                                     of
                                                                                                                                     Rep              Coll
                                                                                                                                                      Rep
                                                                                                                                                      Obj
                                                                                                                                                      of                                                Col
                                                                                                                                                                                                        Obj
                                                                                                                                                                                                        of
                                                                                                                                                                                                        Rep




                                                                                                                                                                                                                   540
     Decison -making                                                                                                                                                                                                125
                                                              52515 ColofObjRep 52 14 CollofObiRep 52 13 CollofObjRep 52 12 CollofObjRep 5251 CollofObjRep
     ObjectProces ingUnit                Coll
                                         Rep
                                         Obj
                                         of
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 297 of 2562 PageID #: 13168


    U.S. Patent                                                     Mar. 31, 2020                                              Sheet 24 of 39                                US 10,607,134 B1


                                                                                                                                                                                                                   530d
                     Knowledg Cell
                                                                                                                       ***
      80 c Cell
      80 ob Knowledg
                     Cell

      80 a                                                              526a 526a5                                                          526 4 526a3 526a2 526a1
                                         SetInstruction                                ISet|nstruction ISnsteruction                                  SetInstruction SInsteruction SetInstruction SetInstruction
                                                                                                                                                                                                                    24
                                                                                                                                                                                                                    .
                                                                                                                                                                                                                    FIG


                                                          52 a5                52 a4                                         52 a3          52 a2                            52 a1
     CofKonlewlcetdigosne CKnoewl dlge ColofObRep           98       Col
                                                                     of
                                                                     Rep
                                                                     Obi                                  Col
                                                                                                          Obj
                                                                                                          of
                                                                                                          Rep                        Coll
                                                                                                                                     Ob
                                                                                                                                     of
                                                                                                                                     Rep              Coll
                                                                                                                                                      Rep
                                                                                                                                                      Obj
                                                                                                                                                      of                                                Col
                                                                                                                                                                                                        Obj
                                                                                                                                                                                                        of
                                                                                                                                                                                                        Rep




                                                                                                                                                                                                                   540
     Decison -making                                                                                                                                                                                                125
                                                                                                                                                                                                      11




                                                              52513 ColofObjRep 52 12 CollofObjRep 52 1 CollofObjRep 52 1 CollofObRep 5251 CollofObjRep                                                            140
     ObjectProces ingUnit                Coll
                                         Rep
                                         Obj
                                         of
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 298 of 2562 PageID #: 13169


    U.S. Patent                                                    Mar. 31, 2020                     Sheet 25 of 39                                US 10,607,134 B1


                                                                                                                                                              530d
                                 CKnoewledlge CollofObiRep          Coll
                                                                    Obi
                                                                    of
                                                                    Rep               Coll
                                                                                      Obi
                                                                                      of
                                                                                      Rep            Coll
                                                                                                     Obi
                                                                                                     of
                                                                                                     Rep              Coll
                                                                                                                      Obj
                                                                                                                      of
                                                                                                                      Rep                  of
                                                                                                                                           Coll
                                                                                                                                           Obj
                                                                                                                                           Rep




                                                                      52 d5 52 d4 52 d3 52 d2 52 01
                 80 rd CKneowledge CollRepofObj                     of
                                                                    Coll
                                                                    Obi
                                                                    Rep               Coll
                                                                                      Obi
                                                                                      of
                                                                                      Rep            Coll
                                                                                                     of
                                                                                                     Ob
                                                                                                     Rep              Col
                                                                                                                      Rep
                                                                                                                      Obi
                                                                                                                      of                   Coll
                                                                                                                                           Obi
                                                                                                                                           of
                                                                                                                                           Rep



                 80 rc KCelnowledge CollofObiRep             ***    Coll
                                                                    Obi
                                                                    of
                                                                    Rep              Coll
                                                                                     Obi
                                                                                     of
                                                                                     Rep             Coll
                                                                                                     Obi
                                                                                                     of
                                                                                                     Rep              Coll
                                                                                                                      of
                                                                                                                      Obi
                                                                                                                      Rep                  Coll
                                                                                                                                           of
                                                                                                                                           Obi
                                                                                                                                           Rep        52 c1          FIG
                                                                                                                                                                     25
                                                                                                                                                                     .


                 80 rb CelKnowledge CollofObiRep             :


                                                                    Coll
                                                                    Rep
                                                                    Obi
                                                                    of                Coll
                                                                                      Obj
                                                                                      of
                                                                                      Rep            Coll
                                                                                                     of
                                                                                                     Rep
                                                                                                     Ob               Coll
                                                                                                                      Obi
                                                                                                                      of
                                                                                                                      Rep                  Coll
                                                                                                                                           Obi
                                                                                                                                           of
                                                                                                                                           Rep
                                                                                                                                                      52 02
     CofKonlewlcetdigosne 80 ra CKnoewledlge       Col
                                                   Obi
                                                   of
                                                   Rep       & o    Coll
                                                                    Rep
                                                                    Obi
                                                                    of                Obi
                                                                                      of
                                                                                      Coll
                                                                                      Rep            Col
                                                                                                     Rep
                                                                                                     Obi
                                                                                                     of               Col
                                                                                                                      Obi
                                                                                                                      of
                                                                                                                      Rep                  Coll
                                                                                                                                           of
                                                                                                                                           Obi
                                                                                                                                           Rep



     Decis on -making                                                                                 ? ?                                                      125
                                                        52515 CollofObRep 52 14 CollofObiRep 52 13          52 12 CollofObiRep 52 1 CollofObiRep              140
     Object   Procesing                            Coll
                                                   Obi
                                                   of
                                                   Rep                                               Coll
                                                                                                     of
                                                                                                     Ob
                                                                                                     Rep
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 299 of 2562 PageID #: 13170


    U.S. Patent                                                    Mar. 31, 2020                                        Sheet 26 of 39                                                 US 10,607,134 B1


                                Layer                                     Layer                     Layer                      Layer                     Layer                     Layer                 530a
                                                               854e                       854d                                                 854c                     854b                      854a
                                                                                                     CKnoewl dlge               KCnoewl dlge
                                                                          CKnoewl dlge               CKnoewl dlge               KCnoewl dlge             KCelnowledge              CKneowledlge
                                                                                         0.25                                                                            0.35
                                                                                         0.75 Cell
                                                                                                                    80 td
                                    CKnoewl dlge                                                    KCnoewl dlge                KCnoewledlge             CKnoewl dlge 0.35 CKneowledlge 80 ta
                                                                          KCnoewledlge 85314 853t                     0.80
                                                                                                                                                                       8 5 3 t 1
                                                               80 te                                CKnoewledlge      0.20      CKnoewl dlge CKnoewl dlge KCnoewledlge
                                                                                                                                                 1
                                                                                                                                                                         0.30                                   FIG
                                                                                                                                                                                                                26
                                                                                                                                                                                                                ,


                                                                                                   80 tc 80 tb  8 5 3 t 2
                                    CKnoewl dlge                          KCnoewl dlge CKnoewl dlge CKnoewl dlge KCnoewl dlge

     Netuwroalk                     CKnoewledlge               .

                                                                          KCnoewledlge              KCnoewl dlge                KCnoewl dlge
                                                                                                                                                                                                         540
     Decison -makingUnit                                                                                                                                                                                  125
                                                                                                                                                                                                         140
     Object Unit  Procesing   Col
                              Ob
                              of
                              Rep                  CObi
                                                    Repol of
                                                               :


                                                                       525en Obj
                                                                       Coll
                                                                       of
                                                                       Ob
                                                                       Rep   525e1
                                                                             Rep
                                                                             of
                                                                             Col                 Ob
                                                                                                 525dn
                                                                                                 Rep
                                                                                                 of Ob
                                                                                                 Col   of
                                                                                                       Cal
                                                                                                       52501
                                                                                                       Rep                   Rep 52501
                                                                                                                             Obi
                                                                                                                             of
                                                                                                                             Coll
                                                                                                                             525cn Obi
                                                                                                                                   of
                                                                                                                                   Col
                                                                                                                                   Rep
                                                                                                                                 ***
                                                                                                                                                      525bn
                                                                                                                                                      Rep
                                                                                                                                                      Obj
                                                                                                                                                      of 5251
                                                                                                                                                      Coll  Rep
                                                                                                                                                            Ob
                                                                                                                                                            of
                                                                                                                                                            Coll                525an Col
                                                                                                                                                                                Coll
                                                                                                                                                                                of
                                                                                                                                                                                Ob
                                                                                                                                                                                Rep   of
                                                                                                                                                                                      Rep
                                                                                                                                                                                      Obi
                                                                                                                                                                                      525a1
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 300 of 2562 PageID #: 13171


    U.S. Patent                                               Mar. 31, 2020                                       Sheet 27 of 39                                              US 10,607,134 B1


                                                                                                                                        KCnoewl dlge 80 ub                                 530b
                                                       80.15 53u1                                                           0.60 0.30
                            80 ua KCnoewldlge                                            CKnoewl dlge
                                                                                                                                               0.10
                                                       0.85                                                         85302
                                                                                                                                        CKnoewledlge           KCnoewl dlge

                                                               CKnoewl dlge                             80 uc CKnoewldlge
                                       CKnoewledlge                   80 ud   0.20 CKnoewl dlge
                                                                                                                 853u 8534                                                                        27
                                                                                                                                                                                                  .
                                                                                                                                                                                                  FIG

                                                                                                          0.80
                                                                                                                                        CKnoewl dlge
                                                                                                                                                       80 ue
                                        CKnoewl dlge                                     CKnoewl dlge
     Graph
                                                                                                                                                                                           540
     Decison -making Unit                                                                                                                                                                   125
                                                                                                                                                                                           140
           Procesing
     Object Unit                  Coll
                                  of
                                  Ob
                                  Rep Col
                                       of
                                       Ob
                                       Rep
                                           *** Coll
                                               525en Col
                                               Ob
                                               of
                                               Rep   Obi
                                                     of
                                                     Rep
                                                     525e1                                  Ob Col
                                                                                            of
                                                                                            Col
                                                                                            5250n
                                                                                            Rep   Ob
                                                                                                  of
                                                                                                  52501
                                                                                                  Rep                Rep Rep
                                                                                                                     Coll
                                                                                                                     Obi
                                                                                                                     of
                                                                                                                     525cn Obj
                                                                                                                           of
                                                                                                                           Col
                                                                                                                           525c1           Ob Rep
                                                                                                                                           of
                                                                                                                                           Col
                                                                                                                                           525bn
                                                                                                                                           Rep   of
                                                                                                                                                 Col
                                                                                                                                                 5251
                                                                                                                                                 Ob               ColofO5b2j5Raenp Coll
                                                                                                                                                                                   of
                                                                                                                                                                                   525a1
                                                                                                                                                                                   Rep
                                                                                                                                                                                   Ob
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 301 of 2562 PageID #: 13172


    U.S. Patent                                                 Mar. 31, 2020                       Sheet 28 of 39                                  US 10,607,134 B1


                                                                                                                                                                        530c
                                          CKnoewledlge             CKnoewledlge      KCnoewledlge       CellKnowledge      KCnoewledlge          CKneowledge
                            Sequ nce                     ***




                                                                        80 de 80 d 80 dc 80 db 80 da
             53 wd                        KCnoewl dlge             CKnoewledlge      KCnoewledlge        CKnoewledlge      CKnoewl dlge          CKnoewl dlge
                            Sequnce
                      53 WC Sequ nce KCnoewldlge                   CKnoewledlge      KCnoewl dlge        KCnoewl dlge      CKnoewl dlge          CKnoewl dlge 80 ca            FIG
                                                                                                                                                                               28
                                                                                                                                                                               .


                      53 wb Sequ nce CKnoewledlge        en 3      CKnoewledlge      CKnoewledlge       CKnoewledlge       CKnoewl dlge          CKnoewl dlge
                                                                                                                                                              8 0 c b

     CofSoelquctnioes 53 wa Sequ nce CKnoewledlge        :

                                                                   CKnoewledlge      CKnoewl dlge        KCnoewl dlge      KCnoewledlge          CKnoewl dlge
                                                                                                                                                                         540
     Decison -making Unit                                                                                                                                                 125
                                                                                                                                                                         140
            Procesing
     Object Unit                       Coll
                                       of
                                       Ob
                                       Rep Col
                                            of
                                            Ob
                                            Rep
                                                *** Coll
                                                    525en Col
                                                    Ob
                                                    of
                                                    Rep   Obi
                                                          of
                                                          Rep
                                                          525e1                   Ob Col
                                                                                  of
                                                                                  Col
                                                                                  5250n
                                                                                  Rep   Ob
                                                                                        of
                                                                                        52501
                                                                                        Rep          Rep Rep
                                                                                                     Coll
                                                                                                     Obi
                                                                                                     of
                                                                                                     525cn Obj
                                                                                                           of
                                                                                                           Col
                                                                                                           525c1        Ob Rep
                                                                                                                        of
                                                                                                                        Col
                                                                                                                        525bn
                                                                                                                        Rep   of
                                                                                                                              Col
                                                                                                                              5251
                                                                                                                              Ob          ColofO5b2j5Raenp Coll
                                                                                                                                                           of
                                                                                                                                                           525a1
                                                                                                                                                           Rep
                                                                                                                                                           Ob
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 302 of 2562 PageID #: 13173


    U.S. Patent                      Mar. 31, 2020                                 Sheet 29 of 39                 US 10,607,134 B1



     100
     130                                                                                                            11

                                                  215
                                                        Arithmeic          UnitLogic
                                                                                                            214

                                                         DInestcroudeirn                     RAergisateyr
                                                                                                                               FIG
                                                                                                                               29
                                                                                                                               .


                                                                                       213
                                                        IRnestgriucteonr
                                                                                       212                                    12

           MAUCnAitO Iondtifercaon                      CPorungtream
                                       Proces r                                        211                           Memory
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 303 of 2562 PageID #: 13174


    U.S. Patent                                                  Mar. 31, 2020                                                                                                                                       Sheet 30 of 39                                                                                                                                                                                                                                                             US 10,607,134 B1


                                                                                       9130Step                                                                                                9135Step                                                                                                                                          9140Step                                                                                                                                                                                                 9145Step



                 ranewcofoeStep9125pblrejsicvnetacinogts                         orofcthefwepblijsernctsaihotns                                          atmaplisthattdeahrtaemicsrnahtelg ocofandthefrebplijsercntsaiotns                                                                                    setsformoreioneorthefenxsitrcu tsiotngfthewcaopivreatlsaihtenrdg
                                                           oofcnewtheblmjpeactritong                                                                                                                                                                                                                                                                                                                                                                                                            o,oneormorebytheapevrfaotrimaonrsgoneormorebythefdsetsforineisftriucnsteitodn thefwcaopivreartlsaihtenrdg
                                                                                                                                                                              bthenewcofoeltjewcteicont
                                                                                                                                                                                                                                                                                                                                                                                 coforepbljscnetaions                                                                                                                                                                                                  crofoepblsjncetaions
                                                                                                                  repsntaio repsntaio
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              FIG
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              30




     M9e1th0od
                           rofocafepblisjernctvasinotgs                                      setsforimoreoneorfanrseitcruitvsotng                                                                                                                                                                                                                                                            thescfrofoetpblijsercnitsaotgnssetsimoreoronefwiththecnStep9120soitrruecltsaiotend
                                                                                                                                                                                                               ofocthefblrijercatsiotngmoreoneorfwithther9115Stepepisrentsationsiforostheanpvetrautcaisnorg
                                                                                                                                                                                                                                                                                                                                                                                                                                                                          otheaforpveratainrg
                                                                                                                               aano9110Stepvpeartairng
                                                9105Step
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 304 of 2562 PageID #: 13175


    U.S. Patent                                            Mar. 31, 2020                                                                                                                                                                         Sheet 31 of 39                                                                                                                                                                                                 US 10,607,134 B1


                         9220Step                                                                                                                                                                                                                                                    9230Step                                                                                                                                                                                                9235Step



                                                           setsforiormoreaonethefnsticrupastitongfwthecaoipvreatlsahienrdg rofocatonbeplajsenctaei9225Stepodofctthenewnbomsplaeatrwcatecisoahntlofcftheandroeplibsrjecntsaiconts                    setsforimoreoneorftheenxsitrcutsiontgfthewcaoipvreatlsahitenrdg
                 roofanewcepblsjenictva ontgs                                                                                                                                                                                                                                                                                                                                                                                         oneormore,bytheapoevrfaortmiaonrgsoneormorebythefdsetsforineisftriucnsteitodnthefcwaopvireartlsaihtenrdg
                                                                                                                                                                                                                                                                                                                      crofoeplbjscnetaions                                                                                                                                                                                                       coforepbljscnetaions
                                                                                                                                                                                                                               roepbsjnteacios
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        FIG
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        31
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                        .




     M9e2th0od

                          rofocafepblisjernctvasinotgs                                                                                                       forsetsimoreoneorfnarseticruitvsotng                                                                                                                                   cftlrofoepbiahjsrenctsaieotgnssetsimoreoronefwiththec9215nSteposirtrueclstaiotend
                                                                                                                                                                                                                                                                                                                                                                                                                atheoforpveartainrg
                                                                                                                                                                                                aano9210Stepvpeartairng
                                                9205Step
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 305 of 2562 PageID #: 13176


    U.S. Patent                                                                 Mar. 31, 2020                                                                                                                                                                     Sheet 32 of 39                                                                                                                                                                                                                                                                      US 10,607,134 B1


                       9325Step                                                                             9S3te0p


                                                                                                                                                                                                                                     9Sofcsoftheandr3ltepirecstni5spaotmions                                                                                                                        octheawithsfS9pvtrei3artle4asinp0etrmgd                                                                                                                                                                                9Ssthefwcat3oirvp4eartls5pahmierndg
                 ofocranewsebltcjrietvcaontmgs                         oofcsthenewbltmjrepcatricotnmsgcofthefrwoeltpirscentisaohtmns                                           maplistatthatdeahrtaemicsrnahtelg sthebnewofocetlrjwcetiaconmts                                                                                                                 iforsormeonethefnxietorcutrsieontg                                                                                                                                                      oneormoreo,bytheapevrfaotrimaonrsgsetsforoneormoreibythefdnesitfriucnsteitodn
                                                                                                                                                                                                                                                                                                                                                                                                                                       ofcroeplbjscnetiaotsn                                                                                                                                                                                              ofcorelpbjscnetiaotsn
                                                 repsntaio roeofpbsjnteaciotns                                                                                                                                                                                             roepbjsnetacios
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  FIG
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                  32




     M9e3th0od
                        ofocsrafeblticjretvsicaontmgs                                                              setsforimoreoneorfanrseitcruitvsotng                                                                                                      ofocsthefbtlirjercltasicotnmsg                                                                                                                                                   oofcstheftbliojrectiscaontmgsmoreorfonethewcrStep9eoip 3rsetnl2sahti0eondsforsitheaonpvetarutcaisnorg
                                                                                                                                                                                                                                                                                        moreoneorfwithther9315Stepepisrentsationsiforostheanpvetrautcaisnorg
                                                                                                                                                     aano9Stepvpea3rt1airn0g
                                                 S9rept3se0ntap5ions
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 306 of 2562 PageID #: 13177


    U.S. Patent                                                  Mar. 31, 2020                                                                                                                                        Sheet 33 of 39                                                                                                                                                                                                                                                               US 10,607,134 B1


                        9425Step                                                       9Step430                                                                                                 9435Step                                                                                                                                         9440Step                                                                                                                                                                                              9S4te5p



                                                                                 orofcthefwepblijsernctsaihotns                                           atmaplisthattdeahrtaemicsrnahtelg oofcfandrtheebplijsercntsaitons                                                                                    forsetsmoreioneorthefenxsitrcu tsiotngfthewcaopirel tcashienodg                                                                                                                     oneormore,bytheaperlfiocramtinog onebythefdoormpeiofratrnsioetds cthefwoforbiljertcasihetodn
                 roofanewcepblsjenictva ontgs              oofcnewtheblmjpeactritong                                                                                           bthenewcofoeltjewcteicont                                                                                                                                                                                                                                                                                                                                          iforostheanpetlriuactisnog
                                                                                                                                                                                                                                                                                                                                                                             crofoepblsjncetaiotns
                                                                                                                  repsntaio repsntaio                                                                                                                                                                                                                                                                                                                                                                                                                                                             repsntaio
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              33
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              FIG




     M9e4th0od

                          rofocafepblisjernctvasinotgs                                       setsforimoreoneorfanrseitcruitvsotng
                                                                                                                                                                                                               cofothefblrijerlcatsiotngmoreoneorfwithther9415Stepepisrentsationsisforotheanpetlriuatc sinog                                                                               thescfrofoetpblijsercnitsaotgnssetsimoreoneorthefwithcnStep9420soitrurecltsaiotend
                                                                                                                                                                                                                                                                                                                                                                                                                                                                            aforothepelriactinog
                                                                                                                               aano9pSle4tirca1etio0npg
                                                9405Step
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 307 of 2562 PageID #: 13178


    U.S. Patent                                            Mar. 31, 2020                                                                                                                                                                        Sheet 34 of 39                                                                                                                                                                                              US 10,607,134 B1


                        9520Step                                                                                                                                                                                                                                                   9530Step                                                                                                                                                                                                          9535Step




                                                           iforsoneormathefntieorcutrpasieotngfthewcaopirel tcasihenodg atonbrofocepalsjenctaei9525Stepodofctthebnewnmpalsoealtrewacteicsaohtnlofcftheandroeplibsjrecntsaiconts                    forisetsmoreoneorftheenxsitrcutsiontgfthewcaopirel tcashienodg                                                                                                                     oneormore,bytheaperlfiocramtinog dooneormbythefpeiofratrnisoetds iforostheanpetlriuactisnogcthewfoforlbijerltcascihetodn
                 roofanewcepblsjenictva ontgs
                                                                                                                                                                                                                                                                                                                    coforepbljscnetaions
                                                                                                                                                                                                                              roepbsjnteacios                                                                                                                                                                                                                                                                                                              repsntaio
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       34
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                       FIG




     M9e5th0od

                          rofocafepblisjernctvasinotgs                                                                                                       setsforimoreoneorfnarseticruictvsotng                                                                                                                               cftlrofoepbiahjsrenctsaieotgnssetsmoreioneorfwiththec9515nSteposirtrueclstaiotend
                                                                                                                                                                                                                                                                                                                                                                                                               aotheforpelriactinog
                                                                                                                                                                                                 aanop9Slei5trca1eion0pg
                                                9505Step
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 308 of 2562 PageID #: 13179


    U.S. Patent                                                                 Mar. 31, 2020                                                                                                                                                                           Sheet 35 of 39                                                                                                                                                                                                                                                     US 10,607,134 B1


                        9625Step                                                                            9Step630                                                                                                                                                                                                                                                                              9640Step                                                                                                                                                                                                       9645Step


                                                                                                                                                                                                                                       9Stepofcsfotheandr6lteipr3cstein5saotmions
                 ofocranewsebltcjrietvcaontmgs                         oofcsthenewbltmjrepcatricotnmsgcofthefrwoeltpirscentisaohtmns                                            maplistatthatdeahrtaemicsrnahtelg sthebnewofocetlrjwcetiaconmts                                                                                                                    iforsoneormethefnxietorcutrsieontgthefwcaopirel ctasihenodg                                                                                                              oneormorea,bytheperlfiocramtinogoneormorebythefdopeifratnisoetds iofsatnpelorhiuactresinog ofcsthefwotlirerctlsaiohtenmds
                                                                                                                                                                                                                                                                                                                                                                                                                                 sofcoretplbrjsecntaiomtsn
                                                 repsntaio roeofpbsjnteaciotns                                                                                                                                                                                                  roepbjsnetacios                                                                                                                                                                                                                                                                                                                                                                         roepbsjnteacios
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          FIG
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          35




     M9e6th0od
                        ofocsrafeblticjretvsicaontmgs                                                              setsforimoreoneorfanrseitcruitvsotng                                                                                                          ofocsthefbtlirjercltasicotnmsg                                                                                                                                     oofcstheftbliojrectiscaontmgsmoreoneorthefwcrStep9620eopirsetnlsahtieoiosforndtheanspetlriuatc isnog
                                                                                                                                                                                                                                                                                            onemoreorfwithther9615Stepepirsenstationsisforotheanpetlriuatc sinog
                                                                                                                                                     aano9pSle6tirca1etio0npg
                                                 S9rept6se0ntap5ions
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 309 of 2562 PageID #: 13180


    U.S. Patent                     Mar. 31, 2020         Sheet 36 of 39           US 10,607,134 B1

     18a




                                                                16m
                                                          615a 61
                                               605a                                            36
                                                                                               .
                                                                                               FIG
                                                                                                000000




               OR X

              OSS SORR
                         COR QR

                          RR RRRR
                                              615ac WIN           °
                                                                  329
                                                                                   913

                                                                                         18m
                                                                           615ab
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 310 of 2562 PageID #: 13181


    U.S. Patent         Mar. 31, 2020            Sheet 37 of 39                    US 10,607,134 B1


     18b




            615ba        289m
                                                          615b
                                                                  154m

                                                                                                37
                                                                                                .
                                                                                                FIG

                                  80                 56

                                                                           186
                                          605b
                                                            331
                                                            °


                                                  103m
                                                                            141m
                                                                            .

                                  615bd
                                                                   615bc
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 311 of 2562 PageID #: 13182


    U.S. Patent              Mar. 31, 2020             Sheet 38 of 39                   US 10,607,134 B1


     18b




                615ba       LL
                                 289m                                                           1



                        W



                                                                615b
                                                                       154m

                                                                                                     38
                                                                                                     .
                                                                                                     FIG

                                        80                 56

           os
                                                                                186
                                                605b
                                                                  331
                                                                  °


                                                        103m
                                                                                 141m
                                                                                 .

                                        615bd
                                                                        615bc
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 312 of 2562 PageID #: 13183


    U.S. Patent               Mar. 31, 2020                Sheet 39 of 39                  US 10,607,134 B1


     18C        450
                                                                                                                13


     PPP



      1

     1
                                                                                                     M.         9
                                                                                                                8
                                                                                                                10
                                                                                                                12
                                                                                                                11
                                                                                                                7


                                                   605 2                   605c3                    manMA




                               605 1                                                                  PA
                                                                                                           ..        FIG
                                                                                                                     .
                                                                                                                     39


      1                                                        61502
     EL
                                           61501                                   61503            mom




                                                                                                                6
                                                                                                                4
                                                                                                                5
                                                                                                                3
                                                                                                                1
                                                                                                                2

     1




      29




     101   10         9   8            7                               4       3           2    1
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 313 of 2562 PageID #: 13184


                                                       US 10,607,134 B1
                          1                                                                           2
         ARTIFICIALLY INTELLIGENT SYSTEMS,                            The artificial intelligence unit may be further configured to :
        DEVICES , AND METHODS FOR LEARNING                              cause the processor circuit to execute the first one or more
                AND /OR USING AN AVATAR'S                            instruction sets for operating the avatar of the application
           CIRCUMSTANCES FOR AUTONOMOUS                              correlated with the first collection of object representations,
                      AVATAR OPERATION                            5 the causing performed in response to the anticipating of the
                                                                     artificial intelligence unit , wherein the avatar of the appli
                               FIELD                                 cation performs one or more operations defined by the first
                                                                     one or more instruction sets for operating the avatar of the
       The disclosure generally relates to computing devices 10 application         correlated with the first collection of object
    and /or systems. The disclosure includes devices , appara representations .
    tuses, systems, and related methods for providing advanced          In certain embodiments, the processor circuit includes one
    learning, anticipating, decision making , automation , and /or or more processor circuits . In further embodiments , the
    other functionalities .                                          application includes a computer game, a virtual world , a 3D
                                                                      graphics application , a 2D graphics application , a web
                      COPYRIGHT NOTICE                            15 browser, a media application , a word processing application ,
                                                                     a spreadsheet application , a database application, a forms
       A portion of the disclosure of this patent document based application , an operating system , a device control
    contains material which is subject to copyright protection . application , a system control application , or a computer
     The copyright owner has no objection to the facsimile application . In further embodiments, at least one of: the
    reproduction by anyone of the patent document or the patent 20 processor circuit, the memory unit, or the artificial intelli
    disclosure as it appears in the Patent and Trademark Office         gence unit of the system are part of a single computing
    patent file or records, but otherwise reserves all copyright        device .
    rights whatsoever.                                                    In some embodiments , the memory unit includes one or
                                                                       more memory units. In further embodiments, the memory
                           BACKGROUND                               25 unit resides on a remote computing device or a remote
                                                                       computing system . The remote computing device or the
       Applications and/or avatars thereof commonly operate by remote computing system may include a server, a cloud , a
    receiving a user's operating directions in various circum          computing device , or a computing system accessible over a
    stances . Instructions are then executed to effect the operation network or an interface .
    of an application and /or avatar based on user's operating 30 In certain embodiments , the artificial intelligence unit
    directions. Hence, applications and / or avatars rely on the includes a circuit , a computing apparatus, a computing
    user to direct their behaviors. Commonly employed appli            system , or a hardware element. In further embodiments, the
    cation and /or avatar operating techniques lack a way to learn artificial intelligence unit includes an application . In further
    operation ofan application and /or avatar and enable autono        embodiments , the artificial intelligence unit is coupled to the
    mous operation of an application and/or avatar.                 35 memory unit. In further embodiments , the artificial intelli
                                                                       gence unit is a hardware element that is part of, an appli
                              SUMMARY                                  cation operating on , or an element coupled to the processor
                                                                       circuit. In further embodiments , the artificial intelligence
       In some aspects , the disclosure relates to a system for unit is part of or coupled to the application . In further
    learning and using an avatar's circumstances for autono- 40 embodiments , the artificial intelligence unit is part of or
    mous avatar operating . The system may be implemented at coupled to the avatar of the application . In further embodi
    least in part on one or more computing devices. In some ments, the system further comprises: an additional processor
    embodiments, the system comprises: a processor circuit circuit , wherein the artificial intelligence unit is a hardware
    configured to execute instruction sets of an application . The element that is part of, an application operating on , or an
    system may further comprise: a memory unit configured to 45 element coupled to the additional processor circuit . In fur
    store data . The system may further comprise : an artificial ther embodiments , the artificial intelligence unit is a hard
    intelligence unit configured to . The artificial intelligence ware element that is part of, an application operating on , or
    unit may be configured to : receive a first collection ofobject an element coupled to a remote computing device or a
    representations, the first collection of object representations remote computing system . In further embodiments , the
    including one or more object representations representing 50 artificial intelligence unit is attachable to the processor
    one or more objects of the application . The artificial intel circuit . In further embodiments , the artificial intelligence
    ligence unit may be further 30 configured to: receive a first unit is attachable to the application . In further embodiments ,
    one or more instruction sets for operating an avatar of the the artificial intelligence unit is attachable to the avatar of the
    application . The artificial intelligence unit may be further application. In further embodiments , the artificial intelli
    configured to : learn the first collection of object represen- 55 gence unit is embedded or built into the processor circuit . In
    tations correlated with the first one or more instruction sets further embodiments , the artificial intelligence unit is
    for operating the avatar of the application . The artificial       embedded or built into the application . In further embodi
    intelligence unitmay be further configured to : receive a new      ments , the artificial intelligence unit is embedded or built
    collection of object representations, the new collection of into the avatar of the application . In further embodiments,
    object representations including one or more object repre- 60 the artificial intelligence unit is provided as a feature of the
    sentations representing one or more objects of the applica        processor circuit . In further embodiments , the artificial intel
    tion . The artificial intelligence unit may be further config     ligence unit is provided as a feature of the application . In
    ured to : anticipate the first one or more instruction sets for further embodiments , the artificial intelligence unit is pro
    operating the avatar of the application correlated with the vided as a feature of the avatar of the application . In further
    first collection of object representations based on at least a 65 embodiments , the artificial intelligence unit is further con
    partial match between the new collection of object repre figured to : take control from , share control with , or release
    sentations and the first collection of object representations. control to the processor circuit. In further embodiments , the
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 314 of 2562 PageID #: 13185


                                                        US 10,607,134 B1
                                   3                                                                  4
    artificial intelligence unit is further configured to : take       The receiving the one or more properties of the one or more
    control from , share control with , or release control to the     objects of the application may include at least one of:
    application . In further embodiments , the artificial intelli     accessing or reading a scene graph or a data structure used
    gence unit is further configured to : take control from , share   for organizing the one or more objects of the application .
    control with , or release control to the avatar of the applica- 5 The receiving the one or more properties of the one or more
    tion .                                                            objects of the application may include detecting the one or
       In some embodiments, the one or more objects of the more properties of the one ormore objects of the application
    application include a 2D model, a 3D model , a 2D shape , a in a picture of the avatar's surrounding. The receiving the
    3D shape , a graphical user interface element, a form ele one or more properties of the one or more objects of the
    ment, a data or database element, a spreadsheet element, a 10 application may include detecting the one ormore properties
    link , a picture , a text, a number, or a computer object. In of the one ormore objects of the application in a sound from
    further embodiments , the one or more objects of the appli the avatar's surrounding.
    cation include one or more objects of the application in the      In certain embodiments , the system further comprises : an
    avatar's surrounding . The avatar's surrounding may include object processing unit configured to receive collections of
    an area of interest around the avatar. In further embodi- 15 object representations, wherein the first or the new collec
    ments, the avatar of the application includes a user -control tion of object representations is received by the object
     lable object of the application . In further embodiments , an processing unit.
    avatar's circumstance includes one or more objects of the         In some embodiments , the first one or more instruction
    application .                                                  sets for operating the avatar of the application include one or
        In certain embodiments, the first collection of object 20 more instruction sets that temporally correspond to the first
    representations is received at a first time. In further embodi collection of object representations. The one or more
    ments, the new collection of object representations is instruction sets that temporally correspond to the first col
    received at a new time. In further embodiments, the first lection of object representations may include one or more
    collection of object representations includes a unit ofknowl instruction sets executed at a time of generating the first
    edge of the avatar's circumstance at a first time. In further 25 collection of object representations. The one or more
     embodiments, the new collection of object representations instruction sets that temporally correspond to the first col
    includes a unit of knowledge of the avatar's circumstance at lection of object representations may include one or more
    a new time. In further embodiments , an object representation instruction sets executed prior to generating the first collec
    includes one or more properties of an object of the appli        tion of object representations . The one or more instruction
    cation . In further embodiments , an object representation 30 sets that temporally correspond to the first collection of
    includes one or more information on an object of the object representations may include one or more instruction
    application . In further embodiments, the first or the new       sets executed within a threshold period of time prior to
    collection of object representations includes or is associated generating the first collection of object representations. The
    with a time stamp, an order, or a timerelated information. In one or more instruction sets that temporally correspond to
    further embodiments, the first collection of object represen- 35 the first collection of object representationsmay include one
    tations includes a comparative collection of object repre or more instruction sets executed subsequent to generating
    sentations whose at least one portion can be used for the first collection of object representations. The one ormore
    comparisonswith at least one portion ofcollections of object instruction sets that temporally correspond to the first col
    representations subsequent to the first collection of object lection of object representations may include one or more
    representations, the collections of object representations 40 instruction sets executed within a threshold period of time
    subsequent to the first collection of object representations subsequent to generating the first collection of object rep
    comprising the new collection of object representations. In resentations. The one or more instruction sets that tempo
     further embodiments , the first collection of object represen rally correspond to the first collection of object representa
    tations includes a comparative collection of object repre tions may include one or more instruction sets executed
    sentations that can be used for comparison with the new 45 within a threshold period of time prior to generating the first
    collection of object representations. In further embodiments , collection of object representations and a threshold period of
    the new collection of object representations includes an            time subsequent to generating the first collection of object
    anticipatory collection of object representations that can be       representations.
     compared with collections of object representations whose            In certain embodiments, the first one or more instruction
    correlated one or more instruction sets for operating the 50 sets for operating the avatar of the application include one or
    avatar of the application can be used for anticipation of one more instruction sets executed in operating the avatar of the
     or more instruction sets to be executed in autonomous application . In further embodiments, the first one or more
    operating of the avatar of the application . In further embodi instruction sets for operating the avatar of the application are
    ments , the first collection of object representations includes part of the application . In further embodiments, the first one
     a stream of collections of object representations . In further 55 or more instruction sets for operating the avatar of the
     embodiments , the new collection of object representations application are part of the avatar of the application . In
     includes a stream of collections of object representations.       further embodiments, the first one or more instruction sets
        In some embodiments , the receiving the first collection of for operating the avatar of the application include one or
    object representations includes receiving one or more prop more inputs into or one or more outputs from the processor
     erties of the one or more objects of the application . The one 60 circuit . In further embodiments , the first one or more instruc
     or more properties of the one or more objects of the tion sets for operating the avatar of the application include
     application may include one ormore information on the one a value or a state of a register or an element of the processor
     ormore objects of the application . The receiving the one or circuit . In further embodiments, the first one or more instruc
    more properties of the one ormore objects of the application tion sets for operating the avatar of the application include
    may include receiving the one or more properties of the one 65 at least one of: a command , a keyword , a symbol, an
     or more objects of the application from an engine , an instruction , an operator, a variable , a value, an object, a data
    environment, or a system used to implement the application . structure , a function , a parameter, a state, a signal, an input,
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 315 of 2562 PageID #: 13186


                                                      US 10,607,134 B1
                                  5                                                                   6
    an output, a character, a digit , or a reference thereto . In      the avatar of the application includes at least one of: tracing,
    further embodiments, the first one or more instruction sets        profiling, or instrumentation of a register of the processor
    for operating the avatar of the application include a source circuit, the memory unit, a storage, or a repository where the
    code , a bytecode, an intermediate code, a compiled code , an first one or more instruction sets for operating the avatar of
    interpreted code , a translated code , a runtime code , an 5 the application are stored . In further embodiments, the
    assembly code , a structured query language (SQL ) code, or receiving the first one or more instruction sets for operating
    a machine code . In further embodiments, the first one or the avatar of the application includes at least one of: tracing ,
    more instruction sets for operating the avatar of the appli profiling, or instrumentation of the processor circuit, a
    cation include one or more code segments, lines of code, virtual machine , a runtime engine, an operating system , an
    statements, instructions, functions, routines, subroutines, or 10 execution stack , a program counter, or a processing element.
    basic blocks. In further embodiments , the first one ormore In further embodiments, the receiving the first one or more
     instruction sets for operating the avatar of the application instruction sets for operating the avatar of the application
    include one or more instruction sets for operating the includes at least one of: tracing, profiling , or instrumentation
    application .                                                     of the processor circuit or tracing , profiling, or instrumen
        In some embodiments , the receiving the first one or more 15 tation of a component of the processor circuit . In further
    instruction sets for operating the avatar of the application embodiments, the receiving the first one or more instruction
     includes receiving the first one or more instruction sets for sets for operating the avatar of the application includes at
    operating the avatar of the application executed by the least one of tracing, profiling , or instrumentation of the
    processor circuit . In further embodiments , the receiving the application . In further embodiments , the receiving the first
    first one or more instruction sets for operating the avatar of 20 one or more instruction sets for operating the avatar of the
    the application includes receiving the first one or more application includes at least one of: tracing , profiling, or
     instruction sets for operating the avatar of the application as instrumentation of the avatar of the application . In further
    they are executed by the processor circuit . In further embodiments, the receiving the firstone or more instruction
    embodiments, the receiving the first one or more instruction sets for operating the avatar of the application includes at
    sets for operating the avatar of the application includes 25 least one of: tracing, profiling , or instrumentation at a source
    obtaining the first one or more instruction sets for operating code write time, a compile time, an interpretation time, a
    the avatar of the application from the processor circuit . In translation time, a linking time, a loading time, or a runtime.
    further embodiments, the receiving the first one or more           In further embodiments , the receiving the first one ormore
    instruction sets for operating the avatar of the application       instruction sets for operating the avatar of the application
    includes receiving the first one or more instruction sets for 30 includes at least one of: tracing, profiling, or instrumentation
    operating the avatar of the application from a register or an of one or more code segments, lines of code, statements,
    element of the processor circuit. In further embodiments , the instructions, functions, routines, subroutines , or basic
    receiving the first one or more instruction sets for operating blocks. In further embodiments , the receiving the first one or
    the avatar of the application includes receiving the first one more instruction sets for operating the avatar of the appli
    or more instruction sets for operating the avatar of the 35 cation includes at least one of: tracing , profiling, or instru
    application from at least one of: the memory unit , a virtual mentation of a user input. In further embodiments, the
    machine, a runtime engine , a hard drive, a storage device, a receiving the first one or more instruction sets for operating
    peripheral device , a network connected device , or a user. In the avatar of the application includes at least one of: a
     further embodiments, the receiving the first one or more manual, an automatic , a dynamic , or a just in time ( JIT )
     instruction sets for operating the avatar of the application 40 tracing, profiling, or instrumentation . In further embodi
    includes receiving the first one or more instruction sets for ments, the receiving the first one or more instruction sets for
    operating the avatar of the application from a plurality of operating the avatar of the application includes utilizing at
    processor circuits , applications, memory units, virtual least one of a .NET tool, a .NET application programming
    machines, runtime engines, hard drives, storage devices , interface ( API), a Java tool, a Java API, a logging tool, or an
    peripheral devices , network connected devices, or users. In 45 independent tool for obtaining instruction sets . In further
    further embodiments, the receiving the first one or more embodiments, the receiving the first one or more instruction
    instruction sets for operating the avatar of the application sets for operating the avatar of the application includes
    includes obtaining the first one or more instruction sets for utilizing an assembly language . In further embodiments , the
    operating the avatar of the application from the application . receiving the first one or more instruction sets for operating
    In further embodiments , the receiving the first one or more 50 the avatar of the application includes utilizing a branch or a
    instruction sets for operating the avatar of the application jump. In further embodiments, the receiving the first one or
    includes obtaining the first one or more instruction sets for more instruction sets for operating the avatar of the appli
    operating the avatar of the application from the avatar of the cation includes a branch tracing or a simulation tracing. In
    application . In further embodiments, the receiving the first further embodiments, the system further comprises: an inter
    one or more instruction sets for operating the avatar of the 55 face configured to receive instruction sets , wherein the first
    application includes receiving the one or more instruction one or more instruction sets for operating the avatar of the
    sets for operating the avatar of the application at a source application are received via the interface . The interfacemay
    code write time, a compile time, an interpretation time, a include an acquisition interface .
    translation time, a linking time, a loading time, or a runtime.    In certain embodiments , the first collection of object
    In further embodiments , the receiving the first one or more 60 representations correlated with the first one or more instruc
    instruction sets for operating the avatar of the application tion sets for operating the avatar of the application include
    includes at least one of: tracing, profiling, or instrumentation a unit of knowledge of how the avatar of the application
    of a source code, a bytecode, an intermediate code , a operated in a circumstance . In further embodiments, the first
    compiled code , an interpreted code , a translated code , a collection of object representations correlated with the first
    runtime code , an assembly code, a structured query language 65 one or more instruction sets for operating the avatar of the
    (SQL ) code, or a machine code . In further embodiments , the application are included in a neuron , a node, a vertex, or an
    receiving the first one or more instruction sets for operating element of a knowledgebase . The knowledgebase may
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 316 of 2562 PageID #: 13187


                                                       US 10,607,134 B1
                                  7                                                                    8
    include a neural network , a graph , a collection ofsequences,     collections of object representations correlated with one or
    a sequence, a collection of knowledge cells, a knowledge        more instruction sets for operating the avatar of the appli
    structure , or a data structure. Some of the neurons, nodes ,   cation include a user's knowledge, style, or methodology of
    vertices, or elements may be interconnected . In further        operating the avatar of the application in circumstances. In
    embodiments, the first collection of object representations 5 further embodiments, the plurality of collections of object
    correlated with the first one or more instruction sets for representations correlated with one or more instruction sets
    operating the avatar of the application are structured into a for operating the avatar of the application are stored on a
    knowledge cell. In further embodiments, the knowledge cell remote computing device or a remote computing system . In
    is included in a neuron , a node, a vertex , or an element of a further embodiments, the plurality of collections of object
    knowledgebase. The knowledgebase may include a neural 10 representations correlated with one or more instruction sets
    network , a graph , a collection of sequences, a sequence , a for operating the avatar of the application include an artifi
    collection of knowledge cells, a knowledge structure, or a cial intelligence system for knowledge structuring, storing ,
    data structure. Some of the neurons, nodes , vertices, or or representation . The artificial intelligence system for
    elements may be interconnected . In further embodiments , knowledge structuring, storing, or representation may
    the learning the first collection of object representations 15 include at least one of: a deep learning system , a supervised
    correlated with the first one or more instruction sets for         learning system , an unsupervised learning system , a neural
    operating the avatar of the application includes correlating network , a search - based system , an optimization - based sys
    the first collection ofobject representationswith the first one tem , a logic -based system , a fuzzy logic-based system , a
    or more instruction sets for operating the avatar of the tree -based system , a graph -based system , a hierarchical
    application . The correlating the first collection of object 20 system , a symbolic system , a sub -symbolic system , an
    representations with the first one or more instruction sets for evolutionary system , a genetic system , a multi -agent system ,
    operating the avatar of the application may include gener          a deterministic system , a probabilistic system , or a statistical
    ating a knowledge cell, the knowledge cell comprising the          system .
    first collection of object representations correlated with the        In certain embodiments, the anticipating the first one or
     first one or more instruction sets for operating the avatar of 25 more instruction sets for operating the avatar of the appli
    the application . The correlating the first collection of object cation correlated with the first collection of object represen
    representationswith the first one ormore instruction sets for tations based on at least a partial match between the new
    operating the avatar of the application may include struc collection of object representations and the first collection of
    turing a unit of knowledge of how the avatar of the appli object representations includes comparing at least one por
    cation operated in a circumstance. In further embodiments , 30 tion of the new collection of object representations with at
    the learning the first collection of object representations least one portion of the first collection of object represen
    correlated with the first one or more instruction sets for tations. The at least one portion of the new collection of
    operating the avatar of the application includes learning a object representations may include at least one object rep
    user's knowledge , style , or methodology of operating the resentation or at least one object property of the new
    avatar of the application in a circumstance .                    35 collection of object representations. The at least one portion
        In some embodiments , the learning the first collection of of the first collection of object representations may include
    object representations correlated with the first one or more at least one object representation or at least one object
    instruction sets for operating the avatar of the application property of the first collection of object representations. In
     includes storing the first collection of object representations further embodiments, the anticipating the first one or more
    correlated with the first one or more instruction sets for 40 instruction sets for operating the avatar of the application
    operating the avatar of the application into thememory unit, correlated with the first collection of object representations
    the memory unit comprising a plurality of collections of based on at least a partial match between the new collection
    object representations correlated with one or more instruc of object representations and the first collection of object
    tion sets for operating the avatarof the application . In further representations includes comparing at least one object rep
    embodiments, the plurality of collections of object repre- 45 resentation from the new collection ofobject representations
    sentations correlated with one or more instruction sets for with at least one object representation from the first collec
    operating the avatar of the application include a neural tion of object representations. In further embodiments , the
    network , a graph , a collection of sequences, a sequence , a comparing at least one object representation from the new
    collection of knowledge cells , a knowledgebase , a knowl collection of object representations with at least one object
    edge structure, or a data structure. In further embodiments, 50 representation from the first collection of object represen
    the plurality of collections of object representations corre    tations includes comparing at least one object property of the
    lated with one or more instruction sets for operating the at least one object representation from the new collection of
    avatar of the application are organized into a neuralnetwork , object representations with at least one object property of the
    a graph , a collection of sequences, a sequence , a collection at least one object representation from the first collection of
    of knowledge cells , a knowledgebase, a knowledge struc- 55 object representations. In further embodiments , the antici
    ture, or a data structure . In further embodiments, one or         pating the first one or more instruction sets for operating the
    more collection ofobject representations correlated with one       avatar of the application correlated with the first collection
    or more instruction sets for operating the avatar of the of object representations based on at least a partial match
    application of the plurality of collections of object repre between the new collection of object representations and the
    sentations correlated with one or more instruction sets for 60 first collection of object representations includes comparing
    operating the avatar of the application are included in one or at least one object property of at least one object represen
    more neurons, nodes , vertices, or elements of a knowledge tation from the new collection of object representations with
    base . The knowledgebase may include a neural network , a at least one object property of at least one object represen
    graph , a collection of sequences, a sequence , a collection of tation from the first collection of object representations .
    knowledge cells , a knowledge structure, or a data structure . 65 In some embodiments, the anticipating the first one or
    Some of the neurons, nodes, vertices , or elements may be          more instruction sets for operating the avatar of the appli
    interconnected . In further embodiments , the plurality of         cation correlated with the first collection of object represen
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 317 of 2562 PageID #: 13188


                                                        US 10,607,134 B1
                                   9                                                                10
    tations based on at least a partial match between the new between at least one object representation from the new
    collection ofobject representations and the first collection of collection of object representations and at least one object
    object representations includes determining that there is at representation from the first collection of object represen
    least a partial match between the new collection of object tations. The determining that there is at least a partial match
    representations and the first collection of object representa- 5 between at least one object representation from the new
     tions. In further embodiments, the determining that there is collection of object representations and at least one object
    at least a partialmatch between the new collection of object representation from the first collection of object represen
    representations and the first collection of object representa    tations may include determining that there is at least a partial
    tions includes determining that there is at least a partial match between at least one object property of the at least one
    match between one or more portions of the new collection 10 object representation from the new collection of object
    of object representations and one or more portions of the first representations and at least one object property of the at least
    collection of object representations. In further embodiments, one object representation from the first collection of object
    the determining that there is at least a partial match between representations.
    the new collection of object representations and the first           In certain embodiments , the causing the processor circuit
    collection of object representations includes determining 15 to execute the first one ormore instruction sets for operating
    that a similarity between at least one portion of the new the avatar of the application correlated with the first collec
    collection of object representations and at least one portion tion of object representations includes causing the processor
    of the first collection of object representations exceeds a        circuit to execute the first one or more instruction sets for
    similarity threshold . In further embodiments, the determin        operating the avatar of the application correlated with the
    ing that there is at least a partial match between the new 20 first collection of object representations instead of or prior to
    collection of object representations and the first collection of   an instruction set that would have been executed next. In
    object representations includes determining a substantial further embodiments , the causing the processor circuit to
    similarity between at least one portion of the new collection execute the first one or more instruction sets for operating
    of object representations and at least one portion of the first the avatar of the application correlated with the first collec
    collection of object representations. The substantial similar- 25 tion of object representations includes modifying one or
    ity may be achieved when a similarity between the at least more instruction sets of the processor circuit. In further
    one portion of the new collection of object representations embodiments, the causing the processor circuit to execute
    and the at least one portion of the first collection of object the first one ormore instruction sets for operating the avatar
    representations exceeds a similarity threshold . The substan of the application correlated with the first collection of
    tial similarity may be achieved when a number or a per- 30 object representations includes modifying a register or an
    centage of matching or partially matching portions of the element of the processor circuit. In further embodiments, the
    new collection of object representations and portions of the causing the processor circuit to execute the first one or more
    first collection of object representations exceeds a threshold instruction sets for operating the avatar of the application
    number or threshold percentage . In further embodiments, the correlated with the first collection of object representations
    determining that there is at least a partial match between the 35 includes inserting the first one or more instruction sets for
    new collection of object representations and the first collec operating the avatar of the application correlated with the
    tion of object representations includes determining that a first collection of object representations into a register or an
    number or a percentage ofmatching or partially matching element of the processor circuit. In further embodiments, the
    object representations from the new collection of object causing the processor circuit to execute the first one or more
    representations and from the first collection of object rep- 40 instruction sets for operating the avatar of the application
    resentations exceeds a threshold number or threshold per correlated with the first collection of object representations
    centage. The matching or partially matching object repre        includes redirecting the processor circuit to the first one or
    sentations from the new collection of object representations more instruction sets for operating the avatar of the appli
    and from the first collection of object representationsmay be cation correlated with the first collection of object represen
    determined factoring in at least one of: a type of an object 45 tations. In further embodiments , the causing the processor
    representation , an importance of an object representation , a circuit to execute the first one or more instruction sets for
    threshold for a similarity in an object representation , or a operating the avatar of the application correlated with the
    threshold for a difference in an object representation . In first collection ofobject representations includes redirecting
    further embodiments , the determining that there is at least a the processor circuit to one or more alternate instruction sets ,
    partial match between the new collection of object repre- 50 the alternate instruction sets comprising the first one ormore
    sentations and the first collection of object representations instruction sets for operating the avatar of the application
    includes  determining that a number or a percentage of correlated with the first collection of object representations.
    matching or partially matching object properties from the In further embodiments, the causing the processor circuit to
    new collection of object representations and from the first execute the first one or more instruction sets for operating
    collection of object representations exceeds a threshold 55 the avatar of the application correlated with the first collec
    number or threshold percentage. The matching or partially tion of object representations includes transmitting, to the
    matching object properties from the new collection of object processor circuit for execution , the first one ormore instruc
    representations and from the first collection of object rep      tion sets for operating the avatar of the application correlated
    resentations may be determined factoring in at least one of: with the first collection of object representations. In further
    an association of an object property with an object repre- 60 embodiments , the causing the processor circuit to execute
    sentation , a category of an object property , an importance of the first one or more instruction sets for operating the avatar
    an object property, a threshold for a similarity in an object of the application correlated with the first collection of
    property, or a threshold for a difference in an object property. object representations includes issuing an interrupt to the
    In further embodiments,the determining that there is at least processor circuit and executing the first one or more instruc
    a partialmatch between the new collection of object repre- 65 tion sets for operating the avatar of the application correlated
    sentations and the first collection of object representations with the first collection of object representations following
    includes determining that there is at least a partial match        the interrupt. In further embodiments, the causing the pro
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 318 of 2562 PageID #: 13189


                                                       US 10,607,134 B1
                                   11                                                                12
    cessor circuit to execute the first one ormore instruction sets     causing the processor circuit to execute the first one or more
    for operating the avatar of the application correlated with the     instruction sets for operating the avatar of the application
    first collection of object representations includes causing the     correlated with the first collection of object representations
    application to execute the first one or more instruction sets       includes modifying at least one of: the memory unit, a
    for operating the avatar of the application correlated with the 5 register of the processor circuit, a storage, or a repository
    first collection of object representations. In further embodi      where instruction sets are stored or used . In further embodi
    ments, the causing the processor circuit to execute the first ments , the causing the processor circuit to execute the first
    one or more instruction sets for operating the avatar of the one or more instruction sets for operating the avatar of the
    application correlated with the first collection of object application correlated with the first collection of object
    representations includes modifying one or more instruction 10 representations includes modifying at least one of: an ele
    sets of the application . In further embodiments, the causing ment of the processor circuit, an element of the application ,
    the processor circuit to execute the first one ormore instruc    an element of the avatar of the application , a virtual
    tion sets for operating the avatar of the application correlated machine, a runtime engine, an operating system , an execu
    with the first collection of object representations includes tion stack , a program counter , or a user input. In further
    modifying the application . In further embodiments , the 15 embodiments , the causing the processor circuit to execute
    causing the processor circuit to execute the first one ormore the first one or more instruction sets for operating the avatar
     instruction sets for operating the avatar of the application of the application correlated with the first collection of
    correlated with the first collection of object representations object representations includes modifying one or more
    includes redirecting the application to the first one or more instruction sets at a source code write time, a compile time,
    instruction sets for operating the avatar of the application 20 an interpretation time, a translation time, a linking time, a
    correlated with the first collection of object representations. loading time, or a runtime. In further embodiments , the
    In further embodiments, the causing the processor circuit to causing the processor circuit to execute the first one or more
    execute the first one or more instruction sets for operating instruction sets for operating the avatar of the application
    the avatar of the application correlated with the first collec correlated with the first collection of object representations
    tion of object representations includes redirecting the appli- 25 includes modifying one or more code segments , lines of
    cation to one or more alternate instruction sets, the alternate     code , statements, instructions, functions , routines, subrou
    instruction sets comprising the first one or more instruction       tines, or basic blocks . In further embodiments , the causing
    sets for operating the avatar of the application correlated the processor circuit to execute the first one or more instruc
    with the first collection of object representations. In further tion sets for operating the avatar of the application correlated
    embodiments, the causing the processor circuit to execute 30 with the first collection of object representations includes a
    the first one or more instruction sets for operating the avatar manual, an automatic , a dynamic , or a just in time ( JIT )
    of the application correlated with the first collection of instrumentation of the application . In further embodiments,
    object representations includes causing the avatar of the the causing the processor circuit to execute the first one or
    application to execute the first one or more instruction sets more instruction sets for operating the avatar of the appli
    for operating the avatar of the application correlated with the 35 cation correlated with the first collection of object represen
    first collection of object representations. In further embodi tations includes a manual , an automatic , a dynamic, or a just
    ments, the causing the processor circuit to execute the first in time (JIT) instrumentation of the avatar of the application .
    one or more instruction sets for operating the avatar of the In further embodiments , the causing the processor circuit to
    application correlated with the first collection of object execute the first one or more instruction sets for operating
    representations includes modifying one or more instruction 40 the avatar of the application correlated with the first collec
    sets of the avatar of the application . In further embodiments , tion of object representations includes utilizing one or more
    the causing the processor circuit to execute the first one or of a .NET tool, a .NET application programming interface
    more instruction sets for operating the avatar of the appli         (API), a Java tool, a Java API, an operating system tool, or
    cation correlated with the first collection of object represen      an independent tool for modifying instruction sets . In further
    tations includes modifying the avatar of the application . In 45 embodiments, the causing the processor circuit to execute
     further embodiments , the causing the processor circuit to the first one or more instruction sets for operating the avatar
    execute the first one or more instruction sets for operating of the application correlated with the first collection of
    the avatar of the application correlated with the first collec object representations includes utilizing at least one of: a
    tion of object representations includes redirecting the avatar dynamic, an interpreted , or a scripting programming lan
    of the application to the first one or more instruction sets for 50 guage. In further embodiments , the causing the processor
    operating the avatar of the application correlated with the circuit to execute the first one or more instruction sets for
     first collection of object representations. In further embodi operating the avatar of the application correlated with the
    ments , the causing the processor circuit to execute the first first collection of object representations includes utilizing at
    one or more instruction sets for operating the avatar of the least one of: a dynamic code, a dynamic class loading , or a
    application correlated with the first collection of object 55 reflection . In further embodiments , the causing the processor
    representations includes redirecting the avatar of the appli        circuit to execute the first one or more instruction sets for
    cation to one or more alternate instruction sets , the alternate operating the avatar of the application correlated with the
    instruction sets comprising the first one or more instruction first collection of object representations includes utilizing an
    sets for operating the avatar of the application correlated assembly language. In further embodiments, the causing the
    with the first collection of object representations. In further 60 processor circuit to execute the first one ormore instruction
    embodiments , the causing the processor circuit to execute sets for operating the avatar of the application correlated
    the first one or more instruction sets for operating the avatar with the first collection of object representations includes
    of the application correlated with the first collection of utilizing at least one of: a metaprogramming , a self-modi
    object representations includes modifying a source code, a fying code , or an instruction set modification tool. In further
    bytecode, an intermediate code, a compiled code, an inter- 65 embodiments , the causing the processor circuit to execute
    preted code , a translated code , a runtime code, an assembly      the first one or more instruction sets for operating the avatar
    code , or a machine code. In further embodiments, the              of the application correlated with the first collection of
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 319 of 2562 PageID #: 13190


                                                        US 10,607,134 B1
                                  13                                                                  14
    object representations includes utilizing at least one of: just application , an information on the avatar's circumstance , an
     in time (JIT ) compiling, JIT interpretation , JIT translation , information on an object, an information on an object
    dynamic recompiling , or binary rewriting . In further representation , an information on a collection of object
    embodiments, the causing the processor circuit to execute representations, an information on an instruction set , an
    the first one or more instruction sets for operating the avatar 5 information on the application , an information on the pro
    of the application correlated with the first collection of cessor circuit, or an information on a user. In further
    object representations includes utilizing at least one of: a embodiments, the artificial intelligence unit is further con
    dynamic expression creation , a dynamic expression execu          figured to : learn the first collection of object representations
    tion , a dynamic function creation , or a dynamic function        correlated with the at least one extra information . The
    execution. In further embodiments , the causing the proces- 10 learning the first collection of object representations corre
    sor circuit to execute the first one ormore instruction sets for lated with at least one extra information may include cor
    operating the avatar of the application correlated with the relating the first collection ofobject representationswith the
     first collection of object representations includes adding or at least one extra information . The learning the first collec
    inserting additional code into a code of the application . In tion of object representations correlated with at least one
    further embodiments, the causing the processor circuit to 15 extra information may include storing the first collection of
    execute the first one or more instruction sets for operating object representations correlated with the at least one extra
    the avatar of the application correlated with the first collec information into the memory unit. In further embodiments,
    tion of object representations includes at least one of: the anticipating the first one or more instruction sets for
    modifying , removing, rewriting, or overwriting a code of the operating the avatar of the application correlated with the
    application . In further embodiments, the causing the pro- 20 first collection of object representations based on at least a
    cessor circuit to execute the first one or more instruction sets    partial match between the new collection of object repre
    for operating the avatar of the application correlated with the     sentations and the first collection of object representations
    first collection of object representations includes at least one    includes anticipating the firstone ormore instruction sets for
    of: branching, redirecting , extending , or hot swapping a operating the avatar of the application correlated with the
     code of the application . In further embodiments , the causing 25 first collection of object representations based on at least a
    the processor circuit to execute the first one ormore instruc      partialmatch between an extra information correlated with
     tion sets for operating the avatar of the application correlated the new collection of object representations and an extra
    with the first collection of object representations includes information correlated with the first collection of object
    adding or inserting additional code into a code of the avatar representations. The anticipating the first one or more
     of the application . In further embodiments, the causing the 30 instruction sets for operating the avatar of the application
    processor circuit to execute the first one or more instruction correlated with the first collection of object representations
     sets for operating the avatar of the application correlated based on at least a partial match between an extra informa
    with the first collection of object representations includes at tion correlated with the new collection of object represen
    least one of:modifying , removing , rewriting, or overwriting tations and an extra information correlated with the first
     a code of the avatar of the application . In further embodi- 35 collection of object representations may include comparing
    ments , the causing the processor circuit to execute the first an extra information correlated with the new collection of
     one or more instruction sets for operating the avatar of the object representations and an extra information correlated
    application correlated with the first collection of object with the first collection of object representations. The antici
     representations includes at least one of: branching , redirect pating the first one or more instruction sets for operating the
    ing , extending, or hot swapping a code of the avatar of the 40 avatar of the application correlated with the first collection
    application . In further embodiments, the causing the pro of object representations based on at least a partial match
    cessor circuit to execute the first one or more instruction sets    between an extra information correlated with the new col
    for operating the avatar of the application correlated with the lection of object representations and an extra information
    first collection of object representations includes implement correlated with the first collection of object representations
    ing a user's knowledge, style , or methodology of operating 45 may include determining that a similarity between an extra
    the avatar of the application in a circumstance . In further information correlated with the new collection of object
    embodiments , the system further comprises : an interface representations and an extra information correlated with the
    configured to cause execution of instruction sets, wherein first collection of object representations exceeds a similarity
    the executing the first one or more instruction sets for threshold .
    operating the avatar of the application correlated with the 50 In some embodiments , the system of further comprises: a
    first collection of object representations by the processor user interface, wherein the artificial intelligence unit is
    circuit is caused by the interface . The interface may include further configured to : cause the user interface to present a
    a modification interface .                                         user with an option to execute the first one or more instruc
       In some embodiments, the avatar's performing the one or         tion sets for operating the avatar of the application correlated
    more operations defined by the first one or more instruction 55 with the first collection of object representations . In further
    sets for operating the avatar of the application correlated embodiments, the system of further comprises: a user inter
    with the first collection of object representations includes face, wherein the artificial intelligence unit is further con
    implementing a user's knowledge, style, or methodology of figured to : receive, via the user interface, a user's selection
    operating the avatar of the application in a circumstance.         to execute the first one ormore instruction sets for operating
        In certain embodiments, the artificial intelligence unit is 60 the avatar of the application correlated with the first collec
     further configured to : receive at least one extra information . tion of object representations .
     In further embodiments, the at least one extra information           In further embodiments, the artificial intelligence unit is
    include one or more of: a time information , a location further configured to : rate the executed first one or more
    information , a computed information , a visual information , instruction sets for operating the avatar of the application
    an acoustic information , or a contextual information . In 65 correlated with the first collection of object representations.
    further embodiments, the at least one extra information             The rating the executed first one ormore instruction sets for
    include one or more of: an information on the avatar of the         operating the avatar of the application correlated with the
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 320 of 2562 PageID #: 13191


                                                       US 10,607,134 B1
                                  15                                                                 16
    first collection ofobject representations may include causing       tions correlated with the second one or more instruction sets
    a user interface to display the executed first one or more for operating the avatar of the application include creating a
    instruction sets for operating the avatar of the application connection between the first collection of object represen
    correlated with the first collection of object representations tations correlated with the first one or more instruction sets
    along with one or more rating values as options to be 5 for operating the avatar of the application and the second
    selected by a user . The rating the executed first one or more collection of object representations correlated with the sec
    instruction sets for operating the avatar of the application ond one or more instruction sets for operating the avatar of
    correlated with the first collection of object representations the application . The connection may include or be associated
    may include rating the executed first one ormore instruction with at least one of: an occurrence count, a weight, a
    sets for operating the avatar of the application correlated 10 parameter, or a data . In further embodiments, the learning
    with the first collection of object representations without a the first collection of object representations correlated with
    user input.                                                          the first one ormore instruction sets for operating the avatar
        In certain embodiments, the system further comprises : a of the application and the learning the second collection of
    user interface, wherein the artificial intelligence unit is object representations correlated with the second one or
    further configured to : cause the user interface to present a 15 more instruction sets for operating the avatar of the appli
    user with an option to cancel the execution of the executed cation include updating a connection between the first
    first one or more instruction sets for operating the avatar of collection of object representations correlated with the first
    the application correlated with the first collection of object one or more instruction sets for operating the avatar of the
    representations. In further embodiments, the canceling the application and the second collection of object representa
    execution of the executed first one or more instruction sets 20 tions correlated with the second one or more instruction sets
    for operating the avatar of the application correlated with the for operating the avatar of the application . The updating the
     first collection of object representations includes restoring connection between the first collection of object represen
    the processor circuit , the application , or the avatar of the tations correlated with the first one or more instruction sets
    application to a prior state . The restoring the processor for operating the avatar of the application and the second
    circuit , the application , or the avatar of the application to a 25 collection of object representations correlated with the sec
    prior state may include saving the state of the processor ond one or more instruction sets for operating the avatar of
    circuit, the application , or the avatar of the application prior the application may include updating at least one of: an
    to executing the first one or more instruction sets for occurrence count, a weight, a parameter, or a data included
    operating the avatar of the application correlated with the         in or associated with the connection . In further embodi
     first collection of object representations .                   30 ments, the learning the first collection of object representa
        In some embodiments , the system further comprises: an tions correlated with the first one ormore instruction sets for
     input device configured to receive a user's operating direc operating the avatar of the application includes storing the
       ons, the user's operating directions for instructing the first collection of object representations correlated with the
    processor circuit, the application , or the avatar of the appli first one or more instruction sets for operating the avatar of
    cation on how to operate the avatar of the application . 35 the application into a first node of a knowledgebase, and
        In certain embodiments, the autonomous avatar operating wherein the learning the second collection of object repre
    includes a partially or a fully autonomous avatar operating . sentations correlated with the second one ormore instruction
     The partially autonomous avatar operating may include sets for operating the avatar of the application includes
    executing the first one or more instruction sets for operating storing the second collection of object representations cor
    the avatar of the application correlated with the first collec- 40 related with the second one or more instruction sets for
     tion of object representations responsive to a user confir operating the avatar of the application into a second node of
    mation . The fully autonomous avatar operating may include the knowledgebase . The knowledgebase may include a
    executing the first one or more instruction sets for operating neural network , a graph , a collection of sequences, a
    the avatar of the application correlated with the first collec sequence, a collection of knowledge cells , a knowledge
    tion of object representations without a user confirmation . 45 structure , or a data structure . The knowledgebase may be
        In some embodiments , the artificial intelligence unit is stored in the memory unit . The learning the first collection
    further configured to : receive a second collection of object of object representations correlated with the first one or
    representations, the second collection of object representa        more instruction sets for operating the avatar of the appli
    tions including one or more object representations repre cation and the learning the second collection of object
    senting one or more objects of the application ; receive a 50 representations correlated with the second one or more
    second one or more instruction sets for operating an avatar instruction sets for operating the avatar of the application
    of the application , and learn the second collection of object     may include creating a connection between the first node
    representations correlated with the second one or more             and the second node. The learning the first collection of
    instruction sets for operating the avatar of the application . In object representations correlated with the first one or more
    further embodiments , the second collection of object repre- 55 instruction sets for operating the avatar of the application
    sentations is received at a second time. In further embodi        and the learning the second collection of object representa
    ments, the second collection of object representations tions correlated with the second one or more instruction sets
    includes a unit of knowledge of the avatar's circumstance at       for operating the avatar of the application may include
    a second time. In further embodiments, the second collection       updating a connection between the first node and the second
    of object representations includes a stream of collections of 60 node. In further embodiments, the first collection of object
    object representations. In further embodiments, the second representations correlated with the first one or more instruc
    collection of object representations includes or is associated tion sets for operating the avatar of the application is stored
    with a time stamp, an order, or a timerelated information . In  into a first node of a neural network and the second collec
    further embodiments , the learning the first collection of tion of object representations correlated with the second one
    object representations correlated with the first one or more 65 or more instruction sets for operating the avatar of the
    instruction sets for operating the avatar of the application application is stored into a second node of the neural
    and the learning the second collection of object representa         network . The first node and the second node may be
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 321 of 2562 PageID #: 13192


                                                       US 10,607,134 B1
                                  17                                                                 18
    connected by a connection . The first node may be part of a representations including one or more object representations
    first layer of the neural network and the second node may be representing one or more objects of an application . The
    part of a second layer of the neural network . In further method may further comprise : (b ) receiving a first one or
    embodiments, the first collection of object representations more instruction sets for operating an avatar of the applica
    correlated with the first one or more instruction sets for 5 tion by the processor circuit. The method may further
    operating the avatar of the application is stored into a first comprise: (c ) learning the first collection of object repre
    node of a graph and the second collection of object repre          sentations correlated with the first one or more instruction
    sentations correlated with the second one or more instruction      sets for operating the avatar of the application , the learning
    sets for operating the avatar of the application is stored into of (c ) performed by the processor circuit . The method may
    a second node of the graph . The first node and the second 10 further comprise : (d ) receiving a new collection of object
    node may be connected by a connection. In further embodi        representations by the processor circuit, the new collection
    ments, the first collection of object representations corre     of object representations including one or more object
    lated with the first one ormore instruction sets for operating representations representing one or more objects of the
    the avatar of the application is stored into a first node of a application . The method may further comprise : (e ) antici
    sequence and the second collection of object representations 15 pating the first one or more instruction sets for operating the
    correlated with the second one or more instruction sets for avatar of the application correlated with the first collection
    operating the avatar of the application is stored into a second of object representations based on at least a partial match
    node of the sequence .                                            between the new collection of object representations and the
      In some aspects, the disclosure relates to a non - transitory   first collection of object representations , the anticipating of
    computer storage medium having a computer program 20 (e ) performed by the processor circuit . The method may
    stored thereon , the program including instructions that when further comprise: (f) executing the first one ormore instruc
    executed by one ormore processor circuits cause the one or tion sets for operating the avatar of the application correlated
    more processor circuits to perform operations comprising : with the first collection of object representations, the execut
    receiving a first collection of object representations, the first ing of ( f) performed in response to the anticipating of (e ).
    collection of object representations including one or more 25 The method may further comprise: (g ) performing, by the
    object representations representing one or more objects of an avatar of the application , one or more operations defined by
    application . The operations may further comprise: receiving the first one ormore instruction sets for operating the avatar
    a first one ormore instruction sets for operating an avatar of of the application correlated with the first collection of
    the application . The operationsmay further comprise : learn object representations .
    ing the first collection of object representations correlated 30 In certain embodiments , the receiving of (b ) includes
    with the first one or more instruction sets for operating the receiving the first one or more instruction sets for operating
    avatar of the application . The operations may further com        the avatar of the application from the processor circuit or
    prise: receiving a new collection of object representations , from another processor circuit. In further embodiments , the
    the new collection ofobject representations including one or executing of (f) is performed by the processor circuit or by
    more object representations representing one or more 35 another processor circuit .
    objects of the application . The operations may further com           The aforementioned system , the non -transitory computer
    prise : anticipating the first one or more instruction sets for storage medium , and /or the method may include any ele
    operating the avatar of the application correlated with the ments, operations , steps, and embodiments of the above
     first collection of object representations based on at least a described systems, non - transitory computer storage media ,
    partial match between the new collection of object repre- 40 and /or methods as applicable as well as the following
    sentations and the first collection of object representations . embodiments .
     The operations may further comprise : causing an execution          In some embodiments , the first one or more instruction
    of the first one or more instruction sets for operating the sets for operating the avatar of the application include one or
    avatar of the application correlated with the first collection more instruction sets executed in operating the avatar of the
    ofobject representations, the causing performed in response 45 application . In further embodiments, the first one or more
    to the anticipating the first one or more instruction sets for instruction sets for operating the avatar of the application are
    operating the avatar of the application correlated with the part of the application . In further embodiments , the first one
    first collection of object representations based on at least a or more instruction sets for operating the avatar of the
    partial match between the new collection of object repre application are part of the avatar of the application . In
    sentations and the first collection of object representations , 50 further embodiments, the first one or more instruction sets
    wherein the avatar of the application performs one or more for operating the avatar of the application include one or
    operations defined by the first one or more instruction sets more inputs into or one or more outputs from a processor
    for operating the avatar of the application correlated with the circuit. In further embodiments, the first one ormore instruc
    first collection of object representations.                      tion sets for operating the avatar of the application include
        In some embodiments , the receiving the first one or more 55 a value or a state of a register or an element of a processor
    instruction sets for operating the avatar of the application circuit . In further embodiments, the first one or more instruc
     includes receiving the first one or more instruction sets for tion sets for operating the avatar of the application include
    operating the avatar of the application from the one ormore at least one of: a command , a keyword , a symbol, an
    processor circuits or from another one or more processor instruction , an operator, a variable, a value , an object, a data
    circuits . In further embodiments , the execution of the first 60 structure, a function , a parameter, a state, a signal, an input,
    one or more instruction sets for operating the avatar of the an output, a character, a digit , or a reference thereto . In
    application correlated with the first collection of object further embodiments, the first one or more instruction sets
    representations is performed by the one or more processor for operating the avatar of the application include a source
    circuits or by another one or more processor circuits.            code , a bytecode, an intermediate code, a compiled code, an
       In some aspects, the disclosure relates to a method com- 65 interpreted code , a translated code, a runtime code, an
    prising: (a ) receiving a first collection of object representa assembly code , a structured query language (SQL ) code, or
    tions by a processor circuit, the first collection of object        a machine code . In further embodiments , the first one or
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 322 of 2562 PageID #: 13193


                                                       US 10,607,134 B1
                                  19                                                                  20
    more instruction sets for operating the avatar of the appli mentation of a processor circuit, a virtualmachine, a runtime
    cation include one or more code segments , lines of code , engine, an operating system , an execution stack , a program
    statements, instructions, functions , routines, subroutines, or counter, or a processing element. In further embodiments ,
    basic blocks. In further embodiments , the first one or more the receiving the first one or more instruction sets for
    instruction sets for operating the avatar of the application 5 operating the avatar of the application includes at least one
    include one or more instruction sets for operating the of: tracing , profiling , or instrumentation of a processor
    application.                                                    circuit or tracing , profiling, or instrumentation of a compo
       In certain embodiments, the receiving the first one or nent of a processor circuit. In further embodiments , the
    more instruction sets for operating the avatar of the appli     receiving the first one or more instruction sets for operating
    cation includes receiving the first one or more instruction 10 the avatar of the application includes at least one of: tracing,
    sets for operating the avatar of the application executed by profiling, or instrumentation of the application . In further
    a processor circuit . In further embodiments, the receiving embodiments, the receiving the first one or more instruction
    the first one ormore instruction sets for operating the avatar sets for operating the avatar of the application includes at
    of the application includes receiving the first one or more least one of: tracing, profiling , or instrumentation of the
     instruction sets for operating the avatar of the application as 15 avatar of the application . In further embodiments , the receiv
     they are executed by a processor circuit. In further embodi        ing the first one or more instruction sets for operating the
    ments , the receiving the first one or more instruction sets for avatar of the application includes at least one of: tracing,
    operating the avatar of the application includes obtaining the      profiling , or instrumentation at a source code write time, a
    first one or more instruction sets for operating the avatar of      compile time, an interpretation time, a translation time, a
    the application from a processor circuit. In further embodi- 20 linking time, a loading time, or a runtime. In further embodi
    ments, the receiving the first one or more instruction sets for     ments , the receiving the first one or more instruction sets for
    operating the avatar of the application includes receiving the      operating the avatar of the application includes at least one
    first one or more instruction sets for operating the avatar of      of: tracing, profiling, or instrumentation of one ormore code
    the application from a register or an element of a processor        segments , lines of code, statements, instructions, functions,
    circuit. In further embodiments , the receiving the firstone or 25 routines, subroutines, or basic blocks. In further embodi
    more instruction sets for operating the avatar of the appli ments , the receiving the first one or more instruction sets for
    cation includes receiving the first one or more instruction operating the avatar of the application includes at least one
     sets for operating the avatar of the application from at least of: tracing , profiling, or instrumentation of a user input. In
    one of: the memory unit , virtual machine , a runtime further embodiments, the receiving the first one or more
     engine , a hard drive , a storage device , a peripheral device, a 30 instruction sets for operating the avatar of the application
    network connected device , or a user. In further embodi includes at least one of: a manual, an automatic , a dynamic,
    ments , the receiving the first one or more instruction sets for or a just in time (JIT ) tracing, profiling, or instrumentation .
    operating the avatar of the application includes receiving the In further embodiments, the receiving the first one or more
     first one or more instruction sets for operating the avatar of instruction sets for operating the avatar of the application
    the application from a plurality of processor circuits , appli- 35 includes utilizing at least one of: a .NET tool, a .NET
    cations, memory units , virtual machines, runtime engines , application programming interface (API), a Java tool, a Java
    hard drives , storage devices , peripheral devices, network API, a logging tool, or an independent tool for obtaining
    connected devices , or users. In further embodiments , the instruction sets. In further embodiments , the receiving the
    receiving the first one or more instruction sets for operating first one or more instruction sets for operating the avatar of
    the avatar of the application includes obtaining the first one 40 the application includes utilizing an assembly language. In
    or more instruction sets for operating the avatar of the further embodiments, the receiving the first one or more
    application from the application . In further embodiments, instruction sets for operating the avatar of the application
    the receiving the first one or more instruction sets for includes utilizing a branch or a jump. In further embodi
    operating the avatar ofthe application includes obtaining the ments , the receiving the first one or more instruction sets for
     first one or more instruction sets for operating the avatar of 45 operating the avatar of the application includes a branch
    the application from the avatar of the application. In further tracing or a simulation tracing. In further embodiments, the
    embodiments, the receiving the first one or more instruction receiving the first one or more instruction sets for operating
    sets for operating the avatar of the application includes the avatar of the application includes receiving the first one
    receiving the one or more instruction sets for operating the or more instruction sets for operating the avatar of the
    avatar of the application at a source code write time, a 50 application via an interface . The interface may include an
    compile time, an interpretation time, a translation time, a acquisition interface .
    linking time, a loading time, or a runtime. In further embodi         In some embodiments, the learning the first collection of
    ments, the receiving the first one or more instruction sets for object representations correlated with the first one or more
    operating the avatar of the application includes at least one instruction sets for operating the avatar of the application
    of tracing , profiling , or instrumentation of a source code , a 55 includes storing the first collection of object representations
    bytecode , an intermediate code , a compiled code, an inter         correlated with the first one or more instruction sets for
    preted code , a translated code , a runtime code, an assembly operating the avatar of the application into a memory unit,
    code, a structured query language (SQL ) code, or a machine the memory unit comprising a plurality of collections of
    code. In further embodiments, the receiving the first one or object representations correlated with one or more instruc
    more instruction sets for operating the avatar of the appli- 60 tion sets for operating the avatar of the application .
    cation includes at least one of: tracing , profiling, or instru        In certain embodiments, the executing the first one or
    mentation of a register of a processor circuit, a memory unit, more instruction sets for operating the avatar of the appli
    a storage , or a repository where the first one or more cation correlated with the first collection of object represen
     instruction sets for operating the avatar of the application are tations includes executing the first one or more instruction
    stored . In further embodiments, the receiving the first one or 65 sets for operating the avatar of the application correlated
    more instruction sets for operating the avatar of the appli with the first collection of object representations instead of
    cation includes at least one of: tracing, profiling, or instru      or prior to an instruction set that would have been executed
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 323 of 2562 PageID #: 13194


                                                       US 10,607,134 B1
                                 21                                                                 22
    next. In further embodiments, the executing the first one or first one ormore instruction sets for operating the avatar of
    more instruction sets for operating the avatar of the appli the application correlated with the first collection of object
    cation correlated with the first collection of object represen     representations. In further embodiments , the executing the
    tations includes modifying one or more instruction sets of a first one or more instruction sets for operating the avatar of
    processor circuit . In further embodiments, the executing the 5 the application correlated with the first collection of object
    first one or more instruction sets for operating the avatar of representations includes causing the avatar of the application
    the application correlated with the first collection of object to execute the first one or more instruction sets for operating
    representations includes modifying a register or an element the avatar of the application correlated with the first collec
    of a processor circuit. In further embodiments, the executing tion of object representations. In further embodiments , the
    the first one or more instruction sets for operating the avatar 10 executing the first one or more instruction sets for operating
    of the application correlated with the first collection of the avatar of the application correlated with the first collec
    object representations includes inserting the first one or tion of object representations includes modifying one or
    more instruction sets for operating the avatar of the appli more instruction sets of the avatar of the application . In
    cation correlated with the first collection of object represen     further embodiments, the executing the first one or more
    tations into a register or an elementof a processor circuit. In 15 instruction sets for operating the avatar of the application
    further embodiments , the executing the first one or more correlated with the first collection of object representations
    instruction sets for operating the avatar of the application includes modifying the avatar of the application . In further
    correlated with the first collection of object representations embodiments, the executing the first one ormore instruction
    includes redirecting a processor circuit to the first one or sets for operating the avatar of the application correlated
    more instruction sets for operating the avatar of the appli- 20 with the first collection of object representations includes
    cation correlated with the first collection of object represen     redirecting the avatar of the application to the first one or
    tations. In further embodiments , the executing the first one more instruction sets for operating the avatar of the appli
    or more instruction sets for operating the avatar of the cation correlated with the first collection of object represen
    application correlated with the first collection of object tations. In further embodiments, the executing the first one
    representations includes redirecting a processor circuit to 25 or more instruction sets for operating the avatar of the
    one or more alternate instruction sets, the alternate instruc     application correlated with the first collection of object
    tion sets comprising the first one or more instruction sets for representations includes redirecting the avatar of the appli
    operating the avatar of the application correlated with the cation to one or more alternate instruction sets, the alternate
     first collection of object representations . In further embodi instruction sets comprising the first one or more instruction
    ments, the executing the firstone or more instruction sets for 30 sets for operating the avatar of the application correlated
    operating the avatar of the application correlated with the with the first collection of object representations. In further
    first collection of object representations includes transmit embodiments , the executing the first one or more instruction
    ting , to a processor circuit for execution, the first one or sets for operating the avatar of the application correlated
    more instruction sets for operating the avatar of the appli with the first collection of object representations includes
    cation correlated with the first collection of object represen- 35 modifying a source code, a bytecode, an intermediate code,
    tations. In further embodiments, the executing the first one a compiled code, an interpreted code , a translated code, a
    or more instruction sets for operating the avatar of the           runtime code, an assembly code, or a machine code . In
    application correlated with the first collection of object         further embodiments, the executing the first one or more
    representations includes issuing an interrupt to a processor instruction sets for operating the avatar of the application
    circuit and executing the first one or more instruction sets for 40 correlated with the first collection of object representations
    operating the avatar of the application correlated with the includes modifying at least one of: a memory unit , a register
     first collection of object representations following the inter of a processor circuit , a storage , or a repository where
    rupt. In further embodiments , the executing the first one or instruction sets are stored or used . In further embodiments ,
    more instruction sets for operating the avatar of the appli         the executing the first one or more instruction sets for
    cation correlated with the first collection of object represen- 45 operating the avatar of the application correlated with the
    tations includes causing the application to execute the first first collection of object representations includesmodifying
    one or more instruction sets for operating the avatar of the at least one of: an elementof a processor circuit, an element
    application correlated with the first collection of object of the application , an element of the avatar of the applica
    representations. In further embodiments , the executing the tion , a virtual machine, a runtime engine , an operating
    first one or more instruction sets for operating the avatar of 50 system , an execution stack , a program counter, or a user
    the application correlated with the first collection of object input. In further embodiments, the executing the first one or
    representations includes modifying one or more instruction more instruction sets for operating the avatar of the appli
    sets of the application . In further embodiments , the execut cation correlated with the first collection of object represen
    ing the first one or more instruction sets for operating the tations includes modifying one or more instruction sets at a
    avatar   of the application correlated with the first collection 55 source code write time, a compile time, an interpretation
    of object representations includesmodifying the application . time, a translation time, a linking time, a loading time, or a
    In further embodiments , the executing the first one or more runtime. In further embodiments, the executing the first one
    instruction sets for operating the avatar of the application or more instruction sets for operating the avatar of the
    correlated with the first collection of object representations application correlated with the first collection of object
    includes redirecting the application to the first one or more 60 representations includes modifying one or more code seg
    instruction sets for operating the avatar of the application ments , lines of code , statements, instructions, functions ,
    correlated with the first collection of object representations . routines, subroutines, or basic blocks. In further embodi
     In further embodiments , the executing the first one or more ments , the executing the first one or more instruction sets for
     instruction sets for operating the avatar of the application operating the avatar of the application correlated with the
    correlated with the first collection of object representations 65 first collection of object representations includes a manual,
    includes redirecting the application to one ormore alternate an automatic , a dynamic, or a just in time ( JIT ) instrumen
    instruction sets , the alternate instruction sets comprising the tation of the application . In further embodiments, the execut
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 324 of 2562 PageID #: 13195


                                                      US 10,607,134 B1
                                 23                                                                24
    ing the first one or more instruction sets for operating the branching , redirecting , extending, orhot swapping a code of
    avatar of the application correlated with the first collection the avatar of the application . In further embodiments, the
    of object representations includes a manual , an automatic , a executing the first one or more instruction sets for operating
    dynamic , or a just in time (JIT) instrumentation of the avatar the avatar of the application correlated with the first collec
    of the application . In further embodiments , the executing the 5 tion of object representations includes implementing a user's
    first one or more instruction sets for operating the avatar of knowledge, style , or methodology of operating the avatar of
    the application correlated with the first collection of object the application in a circumstance. In further embodiments ,
    representations includes utilizing one or more of a .NET the executing the first one or more instruction sets for
    tool, a .NET application programming interface (API), a operating the avatar of the application correlated with the
    Java tool, a Java API, an operating system tool, or an 10 first collection of object representations includes executing
    independent tool for modifying instruction sets. In further       the first one or more instruction sets for operating the avatar
    embodiments , the executing the first one or more instruction     of the application correlated with the first collection of
    sets for operating the avatar of the application correlated       object representations via an interface. The interface may
    with the first collection of object representations includes include a modification interface .
    utilizing at least one of: a dynamic , an interpreted , or a 15 In certain embodiments, the operations of the non -tran
    scripting programming language. In further embodiments , sitory computer storage medium and /or the method further
    the executing the first one or more instruction sets for comprise : receiving at least one extra information . In some
    operating the avatar of the application correlated with the embodiments, the operations of the non -transitory computer
    first collection of object representations includes utilizing at storage medium and /or the method further comprise: learn
    least one of: a dynamic code , a dynamic class loading , or a 20 ing the first collection of object representations correlated
    reflection . In further embodiments, the executing the first with the at least one extra information . In certain embodi
    one or more instruction sets for operating the avatar of the ments , the operations of the non -transitory computer storage
    application correlated with the first collection of object medium and/ or the method further comprise : presenting, via
    representations includes utilizing an assembly language. In a user interface , a user with an option to execute the first one
    further embodiments, the executing the first one or more 25 or more instruction sets for operating the avatar of the
    instruction sets for operating the avatar of the application application correlated with the first collection of object
    correlated with the first collection of object representations representations. In some embodiments , the operations of the
    includes utilizing at least one of: a metaprogramming , a non - transitory computer storage medium and /or the method
    self -modifying code, or an instruction set modification tool. further comprise : receiving, via a user interface, a user's
    In further embodiments, the executing the first one or more 30 selection to execute the first one ormore instruction sets for
    instruction sets for operating the avatar of the application operating the avatar of the application correlated with the
    correlated with the first collection of object representations first collection of object representations. In certain embodi
    includes utilizing at least one of: just in time ( JIT ) compil ments , the operations of the non -transitory computer storage
    ing, JIT interpretation , JIT translation , dynamic recompiling , medium and/or the method further comprise : rating the
    or binary rewriting . In further embodiments , the executing 35 executed first one or more instruction sets for operating the
    the first one or more instruction sets for operating the avatar avatar of the application correlated with the first collection
    of the application correlated with the first collection of of object representations. In some embodiments, the opera
    object representations includes utilizing at least one of: a tions of the non - transitory computer storage medium and /or
    dynamic expression creation, a dynamic expression execu           themethod further comprise: presenting , via a user interface,
    tion , a dynamic function creation , or a dynamic function 40 a user with an option to cancel the execution of the executed
    execution . In further embodiments , the executing the first first one or more instruction sets for operating the avatar of
    one or more instruction sets for operating the avatar of the the application correlated with the first collection of object
    application correlated with the first collection of object representations. In certain embodiments , the operations of
    representations includes adding or inserting additional code the non - transitory computer storage medium and /or the
    into a code of the application . In further embodiments, the 45 method further comprise: receiving, via an input device , a
    executing the first one or more instruction sets for operating user's operating directions, the user's operating directions
    the avatar of the application correlated with the first collec for instructing the processor circuit, the application , or the
    tion of object representations includes at least one of: avatar of the application on how to operate the avatar of the
    modifying , removing , rewriting, or overwriting a code of the application . In some embodiments , the operations of the
    application . In further embodiments , the executing the first 50 non -transitory computer storage medium and/or the method
     one or more instruction sets for operating the avatar of the further comprise : receiving a second collection of object
    application correlated with the first collection of object representations, the second collection of object representa
     representations includes at least one of: branching , redirect tions including one or more object representations repre
     ing , extending, or hot swapping a code of the application . In senting one or more objects of the application ; receiving a
     further embodiments, the executing the first one or more 55 second one or more instruction sets for operating the avatar
     instruction sets for operating the avatar of the application of the application ; and learning the second collection of
    correlated with the first collection of object representations object representations correlated with the second one or
     includes adding or inserting additional code into a code of more instruction sets for operating the avatar of the appli
    the avatar of the application. In further embodiments , the cation .
     executing the first one or more instruction sets for operating 60 In some aspects , the disclosure relates to a system for
    the avatar of the application correlated with the first collec learning an avatar's circumstances for autonomous avatar
    tion of object representations includes at least one of: operating . The system may be implemented at least in part
    modifying , removing, rewriting, or overwriting a code of the on one or more computing devices . In some embodiments,
    avatar of the application. In further embodiments, the the system comprises: a processor circuit configured to
    executing the first one ormore instruction sets for operating 65 execute instruction sets of an application . The system may
    the avatar of the application correlated with the first collec    further comprise: a memory unit configured to store data .
    tion of object representations includes at least one of:           The system may further comprise : an artificial intelligence
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 325 of 2562 PageID #: 13196


                                                        US 10,607,134 B1
                                  25                                                                  26
    unit . The artificial intelligence unit may be configured to :      first collection of object representations based on at least a
    receive a first collection of object representations, the first     partial match between the new collection of object repre
    collection of object representations including one or more          sentations and the first collection of object representations.
    object representations representing one or more objects of           The artificial intelligence unit may be further configured to :
    the application . The artificial intelligence unitmay be further 5 cause the processor circuit to execute the first one or more
    configured to : receive a first one ormore instruction sets for instruction sets for operating the avatar of the application
    operating an avatar of the application . The artificial intelli correlated with the first collection of object representations,
    gence unit may be further configured to : learn the first the causing performed in response to the anticipating of the
    collection of object representations correlated with the first artificial intelligence unit, wherein the avatar of the appli
    one or more instruction sets for operating the avatar of the 10 cation performs one or more operations defined by the first
    application.                                                        one or more instruction sets for operating the avatar of the
       In some aspects, the disclosure relates to a non - transitory application correlated with the first collection of object
    computer storage medium having a computer program representations.
    stored thereon , the program including instructions that when          In some aspects , the disclosure relates to a non -transitory
    executed by one or more processor circuits cause the one or 15 computer storage medium having a computer program
    more processor circuits to perform operations comprising: stored thereon , the program including instructions that when
    receiving a first collection of object representations, the first executed by one or more processor circuits cause the one or
    collection of object representations including one or more more processor circuits to perform operations comprising :
    object representations representing one or more objects of an accessing a memory unit that comprises a plurality of
    application . The operations may further comprise : receiving 20 collections of object representations correlated with one or
    a first one or more instruction sets for operating an avatar of more instruction sets for operating an avatar of an applica
    the application . The operations may further comprise : learn tion , the plurality of collections of object representations
    ing the first collection of object representations correlated correlated with one or more instruction sets for operating the
    with the first one or more instruction sets for operating the avatar of the application including a first collection of object
    avatar of the application .                                      25 representations correlated with a first one or more instruc
       In some aspects , the disclosure relates to a method com         tion sets for operating the avatar of the application . The
    prising: (a ) receiving a first collection of object representa operations may further comprise : receiving a new collection
    tions by a processor circuit, the first collection of object of object representations, the new collection of object rep
    representations including one or more object representations resentations including one or more object representations
    representing one or more objects of an application. The 30 representing one or more objects of the application . The
    method may further comprise : (b ) receiving a first one or operations may further comprise: anticipating the first one or
    more instruction sets for operating an avatar of the applica more instruction sets for operating the avatar of the appli
    tion by the processor circuit. The method may further cation correlated with the first collection of object represen
    comprise : (c ) learning the first collection of object repre   tations based on at least a partial match between the new
    sentations correlated with the first one or more instruction 35 collection of object representations and the first collection of
    sets for operating the avatar of the application , the learning object representations. The operations may further com
    of (c ) performed by the processor circuit.                     prise : causing an execution of the first one or more instruc
        The aforementioned system , the non -transitory computer tion sets for operating the avatar of the application correlated
    storage medium , and /or the method may include any ele with the first collection of object representations, the causing
    ments, operations, steps, and embodiments of the above 40 performed in response to the anticipating the first one or
    described systems, non - transitory computer storage media , more instruction sets for operating the avatar of the appli
    and /or methods as applicable as well as the following cation correlated with the first collection of object represen
    embodiments .                                                tations based on at least a partial match between the new
       In some aspects , the disclosure relates to a system for collection of object representations and the first collection of
    using an avatar's circumstances for autonomous avatar 45 object representations , wherein the avatar of the application
    operating . The system may be implemented at least in part performs one or more operations defined by the first one or
    on one or more computing devices. In some embodiments, more instruction sets for operating the avatar of the appli
    the system comprises: a processor circuit configured to cation correlated with the first collection of object represen
    execute instruction sets of an application . The system may tations .
    further comprise: a memory unit configured to store data . 50 In some aspects, the disclosure relates to a method com
     The system may further comprise : an artificial intelligence prising : (a ) accessing a memory unit that comprises a
    unit. The artificial intelligence unit may be configured to : plurality of collections of object representations correlated
    access the memory unit that comprises a plurality of col with one or more instruction sets for operating an avatar of
    lections of object representations correlated with one or           application , the plurality of collections of object repre
    more instruction sets for operating an avatar of the applica- 55 sentations correlated with one or more instruction sets for
    tion , the plurality of collections of object representations operating the avatar of the application including a first
    correlated with one or more instruction sets for operating the collection of object representations correlated with a first
    avatar of the application including a first collection of object one or more instruction sets for operating the avatar of the
    representations correlated with a first one or more instruc      application , the accessing of (a ) performed by a processor
    tion sets for operating the avatar of the application . The 60 circuit. The method may further comprise : (b ) receiving a
    artificial intelligence unit may be further configured to: new collection of object representations by the processor
    receive a new collection of object representations, the new          circuit , the new collection of object representations includ
    collection of object representations including one or more ing one or more object representations representing one or
    object representations representing one or more objects of more objects of the application . The method may further
    the application . The artificial intelligence unit may be further 65 comprise: (c) anticipating the first one or more instruction
    configured to : anticipate the first one ormore instruction sets    sets for operating the avatar of the application correlated
    for operating the avatar of the application correlated with the     with the first collection of object representations based on at
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 326 of 2562 PageID #: 13197


                                                          US 10,607,134 B1
                                   27                                                                     28
    least a partial match between the new collection of object representations includes one or more object representations.
    representations and the first collection of object representa             In further embodiments, the first stream of collections of
    tions , the anticipating of ( c ) performed by the processor object representations is received over a first time period. In
    circuit. The method may further comprise: (d ) executing the further embodiments, the new stream of collections of object
    first one or more instruction sets for operating the avatar of 5 representations is received over a new time period . In further
    the application correlated with the first collection of object
    representations, the executing of (d ) performed in response embodiments  resentations
                                                                                             , the first stream of collections of object rep
                                                                                            includes    a unit of knowledge of the avatar's
    to the anticipating of (c). The method may further comprise : circumstance over a first
    (e ) performing , by the avatar of the application , one ormore ments , the new stream of time                 period . In further embodi
                                                                                                              collections of object representa
    operations
    for operatingdefined  by theof the
                    the avatar      firstapplication
                                           one or morecorrelated
                                                         instruction
                                                                 with sets
                                                                       the 10 tions includes a unit of knowledge of the avatar's circum
     first collection of object representations .                             stance  over a new time period. In further embodiments , an
                                                                              object representation
        The aforementioned system , the non -transitory computer object of the application             includes one or more properties of an
    storage medium , and/or the method may include any ele                                                . In further embodiments, an object
    ments, operations, steps, and embodiments of the above is representation includes one or more information on an
    described systems, non - transitory computer storage media, object        the new
                                                                                     of the application . In further embodiments, the first or
                                                                                         stream of collections of object representations
    and/or methods as applicable as well as the following
    embodiments .                                                   includes or is associated with a time stamp , an order, or a
       In some aspects, the disclosure relates to a system for time related information . In further embodiments, the first
    learning and using an avatar's circumstances for autono- 20 stream of collections of object representations includes a
    mous avatar operating . The system may be implemented at comparative stream of collections of object representations
    least in part on one or more computing devices. In some whose at least one portion can be used for comparisons with
    embodiments , the system comprises: a processor circuit at least one portion of streams of collections of object
    configured to execute instruction sets of an application . The representations subsequent to the first stream of collections
    system may further comprise: a memory unit configured to 25 of object representations, the streams of collections of object
    store data . The system may further comprise : an artificial representations subsequent to the first stream of collections
    intelligence unit. The artificial intelligence unit may be of object representations comprising the new stream of
    configured to : receive a first stream of collections of object collections of object representations. In further embodi
    representations, the first stream of collections of object ments, the first stream of collections of object representa
    representations including one or more object representations 30 tions includes a comparative stream of collections of object
    representing one or more objects of the application . The representations that can be used for comparison with the
    artificial intelligence unit may be further configured to : new stream of collections of object representations. In
    receive a first one or more instruction sets for operating an further embodi nts, the new stream of collections of object
    avatar of the application . The artificial intelligence unitmay representations includes an anticipatory stream of collec
    be further configured to : learn the first stream of collections 35 tions of object representations that can be compared with
    of object representations correlated with the first one or streams of collections of object representations whose cor
    more instruction sets for operating the avatar of the appli            related one or more instruction sets for operating the avatar
    cation . The artificial intelligence unit may be further con       of the application can be used for anticipation of one or more
    figured to : receive a new stream of collections of object          instruction sets to be executed in autonomous operating of
    representations, the new stream of collections of object 40 the avatar of the application .
    representations including one or more object representations          In some embodiments , the receiving the first stream of
    representing one or more objects of the application . The collections of object representations includes receiving one
    artificial intelligence unit may be further configured to : or more properties of the one or more objects of the
    anticipate the first one or more instruction sets for operating application . The one or more properties of the one or more
    the avatar of the application correlated with the first stream 45 objects of the application may include one or more infor
    of collections of object representations based on at least a mation on the one or more objects of the application . The
    partial match between the new stream of collections of receiving the one or more properties of the one or more
    object representations and the first stream of collections of objects of the application may include receiving the one or
    object representations. The artificial intelligence unit may be more properties of the one ormore objects of the application
    further configured to : cause the processor circuit to execute 50 from an engine, an environment, or a system used to
    the first one or more instruction sets for operating the avatar implement the application . The receiving the one or more
    of the application correlated with the first stream of collec properties of the one or more objects of the application may
    tions of object representations, the causing performed in include at least one of: accessing or reading a scene graph or
    response to the anticipating of the artificial intelligence unit , a data structure used for organizing the one or more objects
    wherein the avatar of the application performs one or more 55 of the application . The receiving the one or more properties
    operations defined by the first one or more instruction sets of the one or more objects of the application may include
    for operating the avatar of the application correlated with the detecting the one or more properties of the one or more
    first stream of collections of object representations.             objects of the application in a picture of the avatar's sur
       In certain embodiments, the first stream of collections of rounding . The receiving the one or more properties of the
    object representations includes one or more collections of 60 one ormore objects of the application may include detecting
    object representations, and wherein each collection of object the one or more properties of the one or more objects of the
    representations of the first stream of collections of object application in a sound from the avatar's surrounding .
    representations includes one or more object representations .         In certain embodiments , the system further comprises : an
    In further embodiments, the new stream of collections of object processing unit configured to receive streams of
    object representations includes one or more collections of 65 collections of object representations , wherein the first or the
    object representations, and wherein each collection of object new stream of collections of object representations is
    representations of the new stream of collections of object received by the object processing unit .
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 327 of 2562 PageID #: 13198


                                                       US 10,607,134 B1
                                 29                                                                 30
       In some embodiments , the first one or more instruction first stream of collections of object representations corre
    sets for operating the avatar of the application include one or lated with the first one ormore instruction sets for operating
    more instruction sets that temporally correspond to the first the avatar of the application . The correlating the first stream
    stream of collections of object representations. The one or of collections of object representations with the first one or
    more instruction sets that temporally correspond to the first 5 more instruction sets for operating the avatar of the appli
    stream of collections of object representations may include cation may include structuring a unit of knowledge of how
    one or more instruction sets executed at a time of generating the avatar of the application operated in a circumstance . In
    the first stream of collections of object representations. The further embodiments , the learning the first stream of collec
    one or more instruction sets that temporally correspond to tions of object representations correlated with the first one or
    the first stream of collections of object representations may 10 more instruction sets for operating the avatar of the appli
    include one or more instruction sets executed prior to cation includes learning a user's knowledge, style , or meth
     generating the first stream of collections of object represen     odology of operating the avatar of the application in a
    tations. The one or more instruction sets that temporally circumstance .
    correspond to the first stream of collections of object rep           In certain embodiments, the learning the first stream of
    resentations may include one or more instruction sets 15 collections of object representations correlated with the first
    executed within a threshold period of time prior to gener one or more instruction sets for operating the avatar of the
    ating the first stream of collections of object representations . application includes storing the first stream of collections of
     The one or more instruction sets that temporally correspond object representations correlated with the first one or more
    to the first stream of collections of object representations instruction sets for operating the avatar of the application
    may include one or more instruction sets executed subse- 20 into the memory unit, the memory unit comprising a plu
    quent to generating the first stream of collections of object rality of streams of collections of object representations
    representations. The one or more instruction sets that tem         correlated with one ormore instruction sets for operating the
    porally correspond to the first stream of collections of object avatar of the application . In further embodiments, the plu
    representations may include one or more instruction sets rality of streams of collections of object representations
    executed within a threshold period of time subsequent to 25 correlated with one ormore instruction sets for operating the
    generating the first stream of collections of object represen avatar of the application include a neural network , a graph ,
    tations. The one or more instruction sets that temporally a collection of sequences , a sequence, a collection of knowl
    correspond to the first stream of collections of object rep edge cells, a knowledgebase , a knowledge structure , or a
    resentations may include one or more instruction sets data structure. In further embodiments , the plurality of
    executed within a threshold period of time prior to gener- 30 streams of collections of object representations correlated
    ating the first stream of collections of object representations with one or more instruction sets for operating the avatar of
    and a threshold period of time subsequent to generating the the application are organized into a neural network, a graph ,
    first stream of collections of object representations.             a collection of sequences , a sequence, a collection of knowl
        In some embodiments, the first stream of collections of edge cells, a knowledgebase , a knowledge structure , or a
    object representations correlated with the first one or more 35 data structure . In further embodiments, one ormore streams
    instruction sets for operating the avatar of the application of collections of object representations correlated with one
     include a unit of knowledge of how the avatar of the or more instruction sets for operating the avatar of the
    application operated in a circumstance . In further embodi application of the plurality of streams of collections of
    ments, the first stream of collections of object representa        object representations correlated with one or more instruc
    tions correlated with the first one ormore instruction sets for 40 tion sets for operating the avatar of the application are
    operating the avatar of the application are included in a included in one or more neurons, nodes, vertices , or ele
    neuron , a node, a vertex , or an element of a knowledgebase. ments of a knowledgebase . The knowledgebase may include
     The knowledgebase may include a neural network , a graph , a neural network , a graph , a collection of sequences , a
    a collection of sequences, a sequence, a collection ofknowl sequence , a collection of knowledge cells , a knowledge
    edge cells , a knowledge structure, or a data structure. Some 45 structure , or a data structure. Some of the neurons, nodes,
    of the neurons, nodes, vertices, or elements are intercon         vertices, or elements are interconnected . In further embodi
    nected. In further embodiments, the first stream of collec        ments, the plurality of streams of collections of object
    tions of object representations correlated with the first one or representations correlated with one or more instruction sets
    more instruction sets for operating the avatar of the appli for operating the avatar of the application include a user's
    cation are structured into a knowledge cell . In further 50 knowledge, style, or methodology of operating the avatar of
    embodiments, the knowledge cell is included in a neuron , a the application in circumstances . In further embodiments ,
    node , a vertex , or an element of a knowledgebase . The the plurality of streams of collections of object representa
    knowledgebase may include a neural network , a graph , a tions correlated with one or more instruction sets for oper
    collection of sequences, a sequence, a collection of knowl ating the avatar of the application are stored on a remote
    edge cells , a knowledge structure , or a data structure . Some 55 computing device or a remote computing system . In further
    of the neurons, nodes, vertices, or elements are intercon          embodiments, the plurality of streams of collections of
    nected .                                                           object representations correlated with one or more instruc
       In further embodiments , the learning the first stream of tion sets for operating the avatar of the application include
    collections of object representations correlated with the first an artificial intelligence system for knowledge structuring ,
    one ormore instruction sets for operating the avatar of the 60 storing , or representation. The artificial intelligence system
    application includes correlating the first stream of collec        for knowledge structuring, storing , or representation may
    tions of object representations with the first one or more include at least one of: a deep learning system , a supervised
    instruction sets for operating the avatar of the application . learning system , an unsupervised learning system , a neural
     The correlating the first stream of collections of object network , a search -based system , an optimization -based sys
    representations with the first one or more instruction sets for 65 tem , a logic -based system , a fuzzy logic -based system , a
    operating the avatar of the application may include gener tree -based system , a graph -based system , a hierarchical
    ating a knowledge cell , the knowledge cell comprising the system , a symbolic system , a sub -symbolic system , an
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 328 of 2562 PageID #: 13199


                                                         US 10,607,134 B1
                                   31                                                                  32
    evolutionary system , a genetic system , a multi -agent system ,     the application correlated with the first stream of collections
    a deterministic system , a probabilistic system , or a statistical   of object representations based on at least a partial match
    system .                                                        between the new stream of collections of object represen
        In some embodiments, the anticipating the first one or tations and the first stream of collections of object repre
    more instruction sets for operating the avatar of the appli- 5 sentations includes comparing at least one object property of
    cation correlated with the first stream of collections ofobject at least one object representation of at least one collection of
    representations based on at least a partial match between the object representations from the new stream of collections of
    new stream of collections of object representations and the object representations with at least one object property of at
    first stream of collections of object representations includes least one object representation of at least one collection of
    comparing at least one portion of the new stream of collec- 10 object representations from the first stream of collections of
    tions ofobject representationswith at least one portion of the object representations.
    first stream of collections of object representations. In fur      In certain embodiments, the anticipating the first one or
    ther embodiments , the at least one portion of the new stream more instruction sets for operating the avatar of the appli
    of collections of object representations include at least one cation correlated with the first stream of collections of object
    collection of object representations, at least one object 15 representations based on at least a partial match between the
    representation , or at least one object property of the new new stream of collections of object representations and the
    stream of collections of object representations. In further first stream of collections of object representations includes
    embodiments , the at least one portion of the first stream of determining that there is at least a partial match between the
    collections of object representations include at least one new stream of collections of object representations and the
    collection of object representations, at least one object 20 first stream of collections of object representations. In fur
    representation , or at least one object property of the first ther embodiments , the determining that there is at least a
    stream of collections of object representations. In further partial match between the new stream of collections of
     embodiments, the anticipating the first one or more instruc object representations and the first stream of collections of
    tion sets for operating the avatar of the application correlated object representations includes determining that there is at
    with the first stream of collections of object representations 25 least a partial match between one or more portions of the
    based on at least a partialmatch between the new stream of new stream of collections of object representations and one
    collections of object representations and the first stream of ormore portions of the first stream of collections of object
     collections of object representations includes comparing at representations. In further embodiments, the determining
    least one collection of object representations from the new that there is at least a partial match between the new stream
    stream of collections of object representations with at least 30 of collections of object representations and the first stream
    one collection of object representations from the first stream    of collections of object representations includes determining
    of collections of object representations. In further embodi that a similarity between at least one portion of the new
    ments , the comparing at least one collection of object stream of collections of object representations and least
     representations from the new stream of collections ofobject one portion of the first stream of collections of object
    representations with at least one collection of object repre- 35 representations exceeds a similarity threshold . In further
     sentations from the first stream of collections of object embodiments, the determining that there is at least a partial
    representations includes comparing at least one object rep match between the new stream of collections of object
    resentation of the at least one collection of object represen     representations and the first stream of collections of object
    tations from the new stream of collections of object repre        representations includes determining a substantial similarity
    sentations with at least one object representation of the at 40 between at leastone portion of the new stream of collections
    least one collection of object representations from the first of object representations and at least one portion of the first
     stream of collections of object representations . The compar     stream of collections of object representations. The substan
     ing at least one object representation of the at least one tial similarity may be achieved when a similarity between
    collection of object representations from the new stream of the at least one portion of the new stream of collections of
    collections of object representations with at least one object 45 object representations and the at least one portion of the first
     representation of the at least one collection of object repre    stream of collections of object representations exceeds a
    sentations from the first stream of collections of object similarity threshold . The substantial similarity may be
    representations may include comparing at least one object achieved when a number or a percentage of matching or
    property of the at least one object representation of the at partially matching portions of the new stream of collections
    least one collection of object representations from the new 50 of object representations and portions of the first stream of
    stream of collections of object representations with at least collections of object representations exceeds a threshold
    one object property of the at least one object representation number or threshold percentage. In further embodiments ,the
    of the at least one collection of object representations from determining that there is at least a partial match between the
    the first stream of collections of object representations. In new stream of collections of object representations and the
    further embodiments , the anticipating the first one or more 55 first stream of collections of object representations includes
     instruction sets for operating the avatar of the application determining that a number or a percentage of matching or
    correlated with the first stream of collections of object partially matching collections of object representations from
     representations based on at least a partialmatch between the the new stream of collections of object representations and
    new stream of collections of object representations and the from the first stream of collections of object representations
    first stream of collections of object representations includes 60 exceeds a threshold number or threshold percentage . The
    comparing at least one object representation of the at least matching or partially matching collections of object repre
    one collection of object representations from the new stream      sentations from the new stream of collections of object
    of collections of object representations with at least one representations and from the first stream of collections of
    object representation of the at least one collection of object object representations may be determined factoring in at
    representations from the first stream of collections of object 65 least one of: an importance of a collection of object repre
    representations. In further embodiments , the anticipating the sentations, an order of a collection of object representations,
    first one or more instruction sets for operating the avatar of       a threshold for a similarity in a collection of object repre
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 329 of 2562 PageID #: 13200


                                                       US 10,607,134 B1
                                  33                                                                  34
    sentations, or a threshold for a difference in a collection of sentation of the at least one collection of object representa
    object representations. In further embodiments , the deter     tions from the first stream of collections of object represen
    mining that there is at least a partialmatch between the new   tations.
    stream of collections of object representations and the first     In some embodiments , the causing the processor circuit to
    stream of collections of object representations includes 5 execute the first one or more instruction sets for operating
    determining that a number or a percentage of matching or the avatar of the application correlated with the first stream
    partially matching object representations from the new of collections of object representations includes causing the
    stream of collections of object representations and from the processor circuit to execute the first one or more instruction
    first stream of collections of object representations exceeds sets for operating the avatar of the application correlated
    a threshold number or threshold percentage. The matching 10 with the first stream of collections of object representations
    or partially matching object representations from the new           instead of or prior to an instruction set that would have been
    stream of collections of object representations and from the        executed next. In further embodiments , the causing the
    first stream of collections of object representations may be        processor circuit to execute the first one or more instruction
    determined factoring in at least one of: an association of an sets for operating the avatar of the application correlated
    object representation with a collection of object representa- 15 with the first stream of collections of object representations
    tions, a type of an object representation , an importance of an includes modifying one or more instruction sets of the
    object representation , a threshold for a similarity in an object processor circuit. In further embodiments, the causing the
    representation , or a threshold for a difference in an object processor circuit to execute the first one or more instruction
    representation . In further embodiments, the determining that sets for operating the avatar of the application correlated
    there is at least a partial match between the new stream of 20 with the first stream of collections of object representations
    collections of object representations and the first stream of includes modifying a register or an element of the processor
    collections of object representations includes determining circuit . In further embodiments, the causing the processor
    that a number or a percentage of matching or partially circuit to execute the first one or more instruction sets for
    matching object properties from the new stream of collec        operating the avatar of the application correlated with the
    tions of object representations and from the first stream of 25 first stream of collections of object representations includes
    collections of object representations exceeds a threshold inserting the first one or more instruction sets for operating
    number or threshold percentage. The matching or partially the avatar of the application correlated with the first stream
    matching object properties from the new stream of collec of collections of object representations into a register or an
    tions of object representations and from the first stream of element of the processor circuit. In further embodiments, the
    collections of object representations may be determined 30 causing the processor circuit to execute the first one or more
     factoring in at least one of: an association of an object instruction sets for operating the avatar of the application
    property with an object representation , an association of an correlated with the first stream of collections of object
    object property with a collection of object representations, a representations includes redirecting the processor circuit to
    category of an object property , an importance of an object the first one ormore instruction sets for operating the avatar
     property , a threshold for a similarity in an object property, or 35 of the application correlated with the first stream of collec
    a threshold for a difference in an object property. In further tions of object representations . In further embodiments, the
    embodiments, the determining that there is at least a partial causing the processor circuit to execute the first one or more
    match between the new stream of collections of object instruction sets for operating the avatar of the application
    representations and the first stream of collections of object correlated with the first stream of collections of object
    representations includes determining that there is at least a 40 representations includes redirecting the processor circuit to
    partial match between at least one collection of object             one or more alternate instruction sets, the alternate instruc
    representations from the new stream of collections of object tion sets comprising the first one or more instruction sets for
    representations and at least one collection of object repre operating the avatar of the application correlated with the
    sentations from the first stream of collections of object first stream of collections of object representations. In fur
    representations . The determining that there is at least a 45 ther embodiments , the causing the processor circuit to
    partial match between at least one collection of object execute the first one or more instruction sets for operating
    representations from the new stream of collections of object the avatar of the application correlated with the first stream
    representations and at least one collection of object repre       of collections of object representations includes transmit
    sentations from the first stream of collections of object ting , to the processor circuit for execution , the first one or
    representations may include determining that there is at least 50 more instruction sets for operating the avatar of the appli
    a partial match between at least one object representation of cation correlated with the first stream of collections of object
    the at least one collection of object representations from the representations. In further embodiments , the causing the
    new stream of collections of object representations and at        processor circuit to execute the first one or more instruction
    least one object representation of the at least one collection sets for operating the avatar of the application correlated
    of object representations from the first stream of collections 55 with the first stream of collections of object representations
    of object representations. The determining that there is at includes issuing an interrupt to the processor circuit and
    least a partial match between at least one object represen executing the first one or more instruction sets for operating
    tation of the at least one collection of object representations the avatar of the application correlated with the first stream
    from the new stream of collections of object representations of collections of object representations following the inter
    and at least one object representation of the at least one 60 rupt. In further embodiments, the causing the processor
    collection of object representations from the first stream of circuit to execute the first one or more instruction sets for
    collections of object representations may include determin        operating the avatar of the application correlated with the
    ing that there is at least a partialmatch between at least one first stream of collections of object representations includes
    object property of the at least one object representation of causing the application to execute the first one or more
    the at least one collection of object representations from the 65 instruction sets for operating the avatar of the application
    new stream of collections of object representations and at correlated with the first stream of collections of object
    least one object property of the at least one object repre representations. In further embodiments , the causing the
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 330 of 2562 PageID #: 13201


                                                       US 10,607,134 B1
                                 35                                                                 36
    processor circuit to execute the first one or more instruction at least one of: the memory unit, a register of the processor
    sets for operating the avatar of the application correlated circuit , a storage, or a repository where instruction sets are
    with the first stream of collections of object representations stored or used . In further embodiments , the causing the
     includes modifying one or more instruction sets of the processor circuit to execute the first one ormore instruction
    application . In further embodiments , the causing the pro- 5 sets for operating the avatar of the application correlated
    cessor circuit to execute the first one or more instruction sets with the first stream of collections of object representations
     for operating the avatar of the application correlated with the includes modifying at least one of: an element of the
     first stream of collections of object representations includes processor circuit , an element of the application , an element
    modifying the application . In further embodiments , the of the avatar of the application , a virtualmachine, a runtime
    causing the processor circuit to execute the first one or more 10 engine, an operating system , an execution stack , a program
     instruction sets for operating the avatar of the application counter, or a user input. In further embodiments , the causing
    correlated with the first stream of collections of object the processor circuit to execute the first one ormore instruc
    representations includes redirecting the application to the tion sets for operating the avatar of the application correlated
     first one or more instruction sets for operating the avatar of with the first stream of collections of object representations
    the application correlated with the first stream of collections 15 includes modifying one or more instruction sets at a source
    of object representations. In further embodiments , the caus code write time, a compile time, an interpretation time, a
    ing the processor circuit to execute the first one or more translation time, a linking time, a loading time, or a runtime.
    instruction sets for operating the avatar of the application In further embodiments , the causing the processor circuit to
    correlated with the first stream of collections of object execute the first one or more instruction sets for operating
    representations includes redirecting the application to one or 20 the avatar of the application correlated with the first stream
    more alternate instruction sets, the alternate instruction sets of collections of object representations includes modifying
    comprising the first one or more instruction sets for oper      one or more code segments , lines of code, statements,
    ating the avatar of the application correlated with the first instructions, functions, routines, subroutines , or basic
    stream of collections of object representations. In further blocks. In further embodiments , the causing the processor
    embodiments, the causing the processor circuit to execute 25 circuit to execute the first one or more instruction sets for
    the first one or more instruction sets for operating the avatar operating the avatar of the application correlated with the
    of the application correlated with the first stream of collec first stream of collections of object representations includes
    tions of object representations includes causing the avatar of a manual, an automatic , a dynamic , or a just in time (JIT )
    the application to execute the first one or more instruction instrumentation of the application . In further embodiments ,
    sets for operating the avatar of the application correlated 30 the causing the processor circuit to execute the first one or
    with the first stream of collections of object representations. more instruction sets for operating the avatar of the appli
    In further embodiments, the causing the processor circuit to cation correlated with the first stream of collections of object
    execute the first one or more instruction sets for operating representations includes a manual, an automatic , a dynamic ,
    the avatar of the application correlated with the first stream  or a just in time (JIT ) instrumentation of the avatar of the
    of collections of object representations includes modifying 35 application . In further embodiments, the causing the pro
    one or more instruction sets of the avatar of the application . cessor circuit to execute the first one or more instruction sets
    In further embodiments , the causing the processor circuit to for operating the avatar of the application correlated with the
    execute the first one or more instruction sets for operating first stream of collections of object representations includes
    the avatar of the application correlated with the first stream  utilizing one or more of a .NET tool, a .NET application
    of collections of object representations includes modifying 40 programming interface (API), a Java tool, a Java API, an
    the avatar of the application . In further embodiments, the operating system tool, or an independent tool for modifying
    causing the processor circuit to execute the first one ormore instruction sets. In further embodiments, the causing the
    instruction sets for operating the avatar of the application processor circuit to execute the first one or more instruction
    correlated with the first stream of collections of object sets for operating the avatar of the application correlated
    representations includes redirecting the avatar of the appli- 45 with the first stream of collections of object representations
    cation to the first one or more instruction sets for operating includes utilizing at least one of: a dynamic, an interpreted ,
    the avatar of the application correlated with the first stream   or a scripting programming language. In further embodi
    of collections of object representations. In further embodi ments , the causing the processor circuit to execute the first
    ments , the causing the processor circuit to execute the first one or more instruction sets for operating the avatar of the
    one or more instruction sets for operating the avatar of the 50 application correlated with the first stream of collections of
    application correlated with the first stream of collections of object representations includes utilizing at least one of: a
    object representations includes redirecting the avatar of the dynamic code, a dynamic class loading, or a reflection . In
    application to one or more alternate instruction sets , the further embodiments, the causing the processor circuit to
    alternate instruction sets comprising the first one or more execute the first one or more instruction sets for operating
    instruction sets for operating the avatar of the application 55 the avatar of the application correlated with the first stream
    correlated with the first stream of collections of object of collections of object representations includes utilizing an
    representations. In further embodiments , the causing the          assembly language. In further embodiments , the causing the
    processor circuit to execute the first one or more instruction     processor circuit to execute the first one or more instruction
    sets for operating the avatar of the application correlated        sets for operating the avatar of the application correlated
    with the first stream of collections of object representations 60 with the first stream of collections of object representations
    includes modifying a source code, a bytecode , an interme includes utilizing at least one of: a metaprogramming , a
    diate code , a compiled code, an interpreted code, a translated self-modifying code, or an instruction set modification tool.
    code, a runtime code, an assembly code , or a machine code . In further embodiments , the causing the processor circuit to
    In further embodiments, the causing the processor circuit to execute the first one or more instruction sets for operating
    execute the first one or more instruction sets for operating 65 the avatar of the application correlated with the first stream
    the avatar of the application correlated with the first stream of collections of object representations includes utilizing at
    of collections of object representations includes modifying least one of: just in time (JIT ) compiling, JIT interpretation ,
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 331 of 2562 PageID #: 13202


                                                        US 10,607,134 B1
                                  37                                                                38
    JIT translation , dynamic recompiling , or binary rewriting. In     include one or more of: an information on the avatar of the
    further embodiments, the causing the processor circuit to application , an information on the avatar's circumstance , an
    execute the first one or more instruction sets for operating information on an object, an information on an object
    the avatar of the application correlated with the first stream representation , an information on a collection of object
    of collections of object representations includes utilizing at 5 representations, an information on a stream of collections of
    least one of: a dynamic expression creation , a dynamic object representations, an information on an instruction set,
    expression execution , a dynamic function creation , or a an information on the application , an information on the
    dynamic function execution . In further embodiments , the processor circuit , or an information on a user. In further
    causing the processor circuit to execute the first one ormore embodiments, the artificial intelligence unit is further con
    instruction sets for operating the avatar of the application 10 figured to : learn the first stream of collections of object
    correlated with the first stream of collections of object representations correlated with the at least one extra infor
    representations includes adding or inserting additional code mation . The learning the first stream of collections of object
    into a code of the application . In further embodiments , the representations correlated with at least one extra information
    causing the processor circuit to execute the first one ormore may include correlating the first stream of collections of
    instruction sets for operating the avatar of the application 15 object representations with the at least one extra informa
    correlated with the first stream of collections of object tion . The learning the first stream of collections of object
    representations includes at least one of: modifying, remov         representations correlated with at least one extra information
    ing , rewriting , or overwriting a code of the application . In may include storing the first stream of collections of object
    further embodiments , the causing the processor circuit to representations correlated with the at least one extra infor
    execute the first one or more instruction sets for operating 20 mation into the memory unit. In further embodiments , the
    the avatar of the application correlated with the first stream     anticipating the first one or more instruction sets for oper
    of collections of object representations includes at least one ating the avatar of the application correlated with the first
    of: branching , redirecting , extending, or hot swapping a stream of collections of object representations based on at
    code of the application . In further embodiments , the causing least a partial match between the new stream of collections
    the processor circuit to execute the first one or more instruc- 25 of object representations and the first stream of collections
    tion sets for operating the avatar of the application correlated of object representations includes anticipating the first one
    with the first stream of collections of object representations or more instruction sets for operating the avatar of the
    includes adding or inserting additional code into a code of application correlated with the first stream of collections of
    the avatar of the application . In further embodiments, the object representations based on at least a partial match
    causing the processor circuit to execute the first one or more 30 between an extra information correlated with the new stream
    instruction sets for operating the avatar of the application of collections of object representations and an extra infor
    correlated with the first stream of collections of object           mation correlated with the first stream of collections of
    representations includes at least one of: modifying, remov          object representations . The anticipating the first one or more
    ing, rewriting , or overwriting a code of the avatar of the         instruction sets for operating the avatar of the application
    application . In further embodiments, the causing the pro- 35 correlated with the first stream of collections of object
    cessor circuit to execute the first one or more instruction sets    representations based on at least a partial match between an
    for operating the avatar of the application correlated with the extra information correlated with the new stream of collec
    first stream of collections of object representations includes tions of object representations and an extra information
    at least one of: branching, redirecting, extending , or hot correlated with the first stream of collections of object
    swapping a code of the avatar of the application . In further 40 representations may include comparing an extra information
    embodiments, the causing the processor circuit to execute correlated with the new stream of collections of object
    the first one or more instruction sets for operating the avatar representations and an extra information correlated with the
    of the application correlated with the first stream of collec     first stream of collections of object representations. The
    tions of object representations includes implementing a anticipating the first one or more instruction sets for oper
    user's knowledge, style, or methodology of operating the 45 ating the avatar of the application correlated with the first
    avatar of the application in a circumstance. In further stream of collections of object representations based on at
    embodiments , the system further comprises : an interface least a partialmatch between an extra information correlated
    configured to cause execution of instruction sets, wherein with the new stream of collections of object representations
    the executing the first one or more instruction sets for and an extra information correlated with the first stream of
    operating the avatar of the application correlated with the 50 collections of object representations may include determin
    first stream of collections of object representations by the ing that a similarity between an extra information correlated
    processor circuit is caused by the interface . The interface with the new stream of collections of object representations
    may include a modification interface .                              and an extra information correlated with the first stream of
       In certain embodiments, the avatar's performing the one collections of object representations exceeds a similarity
    or more operations defined by the first one or more instruc- 55 threshold .
    tion sets for operating the avatar of the application correlated       In certain embodiments, the system further comprises : a
    with the first stream of collections of object representations user interface, wherein the artificial intelligence unit is
    includes implementing a user's knowledge , style, or meth           further configured to : cause the user interface to present a
    odology of operating the avatar of the application in a user with an option to execute the first one or more instruc
    circumstance .                                                   60 tion sets for operating the avatar of the application correlated
       In some embodiments, the artificial intelligence unit is with the first stream of collections of object representations .
    further configured to : receive at least one extra information . In further embodiments, the system further comprises: a user
    In further embodiments , the at least one extra information interface , wherein the artificial intelligence unit is further
    include one or more of: a time information , a location configured to: receive , via the user interface, a user's selec
    information , a computed information , a visual information , 65 tion to execute the first one or more instruction sets for
    an acoustic information , or a contextual information . In operating the avatar of the application correlated with the
    further embodiments , the at least one extra information            first stream of collections of object representations. In fur
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 332 of 2562 PageID #: 13203


                                                       US 10,607,134 B1
                                  39                                                                 40
    ther embodiments , the artificial intelligence unit is further     embodiments, the second stream of collections of object
    configured to : rate the executed first one or more instruction    representations is received over a second time period. In
    sets for operating the avatar of the application correlated further embodiments, the second stream of collections of
    with the first stream of collections of object representations.   object representations includes a unit of knowledge of the
    The rating the executed first one ormore instruction sets for 5 avatar's circumstance over a second time period . In further
    operating the avatar of the application correlated with the embodiments, the second stream of collections of object
    first stream of collections of object representations may representations includes or is associated with a time stamp ,
    include causing a user interface to display the executed first an order, or a time related information . In further embodi
    one or more instruction sets for operating the avatar of the ments , the learning the first stream of collections of object
    application correlated with the first stream of collections of 10 representations correlated with the first one ormore instruc
    object representations along with one or more rating values tion sets for operating the avatar of the application and the
    as options to be selected by a user. The rating the executed learning the second stream of collections of object repre
    first one or more instruction sets for operating the avatar of sentations correlated with the second one or more instruction
    the application correlated with the first stream of collections sets for operating the avatar of the application include
    of object representations may include rating the executed 15 creating a connection between the first stream of collections
    first one or more instruction sets for operating the avatar of of object representations correlated with the first one or
    the application correlated with the first stream of collections more instruction sets for operating the avatar of the appli
    of object representations without a user input. In further cation and the second stream of collections of object repre
    embodiments,the system further comprises: a user interface, sentations correlated with the second one or more instruction
    wherein the artificial intelligence unit is further configured 20 sets for operating the avatar of the application . The connec
    to : cause the user interface to present a user with an option tion may include or is associated with at least one of: an
    to cancel the execution of the executed first one or more occurrence count, a weight, a parameter, or a data . In further
    instruction sets for operating the avatar of the application embodiments, the learning the first stream of collections of
    correlated with the first stream of collections of object object representations correlated with the first one or more
    representations. In further embodiments, the canceling the 25 instruction sets for operating the avatar of the application
    execution of the executed first one or more instruction sets        and the learning the second stream of collections of object
    for operating the avatar of the application correlated with the representations correlated with the second one or more
    first stream of collections of object representations includes instruction sets for operating the avatar of the application
    restoring the processor circuit, the application , or the avatar include updating a connection between the first stream of
    of the application to a prior state. The restoring the processor 30 collections of object representations correlated with the first
    circuit, the application , or the avatar of the application to a one or more instruction sets for operating the avatar of the
    prior state may include saving the state of the processor application and the second stream of collections of object
    circuit , the application , or the avatar of the application prior representations correlated with the second one or more
    to executing the first one or more instruction sets for instruction sets for operating the avatar of the application . In
    operating the avatar of the application correlated with the 35 further embodiments , the updating the connection between
    first stream of collections of object representations.              the first stream of collections of object representations
       In some embodiments , the system further comprises : an correlated with the first one or more instruction sets for
    input device configured to receive a user's operating direc operating the avatar of the application and the second stream
    tions , the user's operating directions for instructing the of collections of object representations correlated with the
    processor circuit, the application , or the avatar of the appli- 40 second one or more instruction sets for operating the avatar
    cation on how to operate the avatar of the application .            of the application includes updating at least one of: an
      In certain embodiments , the autonomous avatar operating          occurrence count, a weight, a parameter, or a data included
    includes a partially or a fully autonomous avatar operating .       in or associated with the connection . In further embodi
     The partially autonomous avatar operating may include ments, the learning the first stream of collections of object
    executing the first one or more instruction sets for operating 45 representations correlated with the first one or more instruc
    the avatar of the application correlated with the first stream    tion sets for operating the avatar of the application includes
    of collections of object representations responsive to a user storing the first stream of collections of object representa
    confirmation . The fully autonomous avatar operating may tions correlated with the first one ormore instruction sets for
    include executing the first one or more instruction sets for operating the avatar of the application into a first node of a
    operating the avatar of the application correlated with the 50 knowledgebase , and wherein the learning the second stream
    first stream of collections of object representations without of collections of object representations correlated with the
    a user confirmation .                                              second one or more instruction sets for operating the avatar
       In some embodiments, the artificial intelligence unit is        of the application includes storing the second stream of
    further configured to : receive a second stream of collections     collections of object representations correlated with the
    ofobject representations, the second stream of collections of 55 second one or more instruction sets for operating the avatar
    object representations including one or more object repre of the application into a second node of the knowledgebase .
    sentations representing one or more objects of the applica     The knowledgebase may include a neural network , a graph,
    tion; receive a second one or more instruction sets for a collection of sequences, a sequence, a collection ofknowl
    operating the avatar of the application ; and learn the second edge cells , a knowledge structure , or a data structure . The
    stream of collections of object representations correlated 60 knowledgebase may be stored in the memory unit. The
    with the second one or more instruction sets for operating learning the first stream of collections of object representa
    the avatar of the application . In further embodiments, the         tions correlated with the first one or more instruction sets for
    second stream of collections of object representations              operating the avatar of the application and the learning the
    includes one or more collections of object representations,         second stream of collections of object representations cor
    and wherein each collection of object representations of the 65 related with the second one or more instruction sets for
    second stream of collections of object representations operating the avatar of the application may include creating
    includes one or more object representations. In further             a connection between the first node and the second node.
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 333 of 2562 PageID #: 13204


                                                      US 10,607,134 B1
                                 41                                                                42
    The learning the first stream of collections of object repre      of object representations and the first stream of collections
    sentations correlated with the first one or more instruction      of object representations, wherein the avatar of the applica
    sets for operating the avatar of the application and the          tion performs one or more operations defined by the first one
    learning the second stream of collections of object repre         or more instruction sets for operating the avatar of the
    sentations correlated with the second one ormore instruction 5 application correlated with the first stream of collections of
    sets for operating the avatar of the application may include object representations .
    updating a connection between the first node and the second         In certain embodiments , the receiving the first one or
    node. In further embodiments, the first stream of collections more instruction sets for operating the avatar of the appli
    of object representations correlated with the first one or cation includes receiving the first one or more instruction
    more instruction sets for operating the avatar of the appli- 10 sets for operating the avatar of the application from the one
    cation is stored into a first node of a neural network and the    or more processor circuits or from another one or more
    second stream of collections of object representations cor processor circuits. In further embodiments, the execution of
    related with the second one or more instruction sets for the first one ormore instruction sets for operating the avatar
    operating the avatar of the application is stored into a second of the application correlated with the first stream of collec
    node of the neural network. The first node and the second 15 tions of object representations is performed by the one or
    node may be connected by a connection . The first node may more processor circuits or by another one or more processor
    be part of a first layer of the neural network and the second circuits .
    node may be part of a second layer of the neural network . In       In some aspects, the disclosure relates to a method com
     further embodiments, the first stream of collections of object prising : (a ) receiving a first stream of collections of object
    representations correlated with the first one or more instruc- 20 representations by a processor circuit , the first stream of
    tion sets for operating the avatar of the application is stored collections of object representations including one or more
    into a first node of a graph and the second stream of object representations representing one ormore objects ofan
    collections of object representations correlated with the application . Themethod may further comprise : (b ) receiving
    second one or more instruction sets for operating the avatar a first one ormore instruction sets for operating an avatar of
    of the application is stored into a second node of the graph . 25 the application by the processor circuit . The method may
    The first node and the second node may be connected by a          further comprise : (c ) learning the first stream of collections
    connection . In further embodiments, the first stream of of object representations correlated with the first one or
    collections of object representations correlated with the first more instruction sets for operating the avatar of the appli
    one or more instruction sets for operating the avatar of the cation , the learning of (c ) performed by the processor circuit .
    application is stored into a first node of a sequence and the 30 The method may further comprise: (d ) receiving a new
    second stream of collections of object representations cor         stream of collections of object representations by the pro
    related with the second one or more instruction sets for cessor circuit , the new stream of collections of object
    operating the av ar of the application is stored into a second representations including one ormore object representations
    node of the sequence .                                             representing one or more objects of the application . The
       In some aspects, the disclosure relates to a non -transitory 35 method may further comprise: (e ) anticipating the first one
    computer storage medium having a computer program or more instruction sets for operating the avatar of the
    stored thereon , the program including instructions that when application correlated with the first stream of collections of
    executed by one ormore processor circuits cause the one or object representations based on at least a partial match
    more processor circuits to perform operations comprising : between the new stream of collections of object represen
    receiving a first stream of collections of object representa- 40 tations and the first stream of collections of object repre
    tions, the first stream ofcollections of object representations sentations, the anticipating of( e ) performed by the processor
    including one or more object representations representing circuit . The method may further comprise : (f) executing the
    one or more objects of an application . The operations may first one or more instruction sets for operating the avatar of
    further comprise: receiving a first one or more instruction the application correlated with the first stream of collections
    sets for operating an avatar of the application . The opera- 45 of object representations , the executing of (f) performed in
    tions may further comprise: learning the first stream of response to the anticipating of (e ). The method may further
    collections of object representations correlated with the first comprise : ( g) performing, by the avatar of the application ,
    one or more instruction sets for operating the avatar of the one or more operations defined by the first one or more
    application . The operations may further comprise: receiving instruction sets for operating the avatar of the application
    a new stream of collections of object representations, the 50 correlated with the first stream of collections of object
    new stream of collections ofobject representations including representations.
    one or more object representations representing one or more         In some embodiments, the receiving of (b ) includes
    objects of the application . The operations may further com      receiving the first one or more instruction sets for operating
    prise: anticipating the first one or more instruction sets for the avatar of the application from the processor circuit or
    operating the avatar of the application correlated with the 55 from another processor circuit. In further embodiments , the
     first stream ofcollections ofobject representations based on executing of (f) is performed by the processor circuit or by
    at least a partial match between the new stream of collec        another processor circuit.
    tions of object representations and the first stream of col         The aforementioned system , the non -transitory computer
    lections of object representations. The operations may fur storage medium , and /or the method may include any ele
    ther comprise: causing an execution of the first one or more 60 ments, operations, steps, and embodiments of the above
     instruction sets for operating the avatar of the application described systems, non-transitory computer storage media ,
    correlated with the first stream of collections of object and /or methods as applicable as well as the following
    representations, the causing performed in response to the embodiments .
    anticipating the first one or more instruction sets for oper        In certain embodiments, the learning the first stream of
    ating the avatar of the application correlated with the first 65 collections of object representations correlated with the first
    stream of collections of object representations based on at one or more instruction sets for operating the avatar of the
    least a partial match between the new stream of collections application includes storing the first stream of collections of
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 334 of 2562 PageID #: 13205


                                                       US 10,607,134 B1
                                 43                                                                  44
     object representations correlated with the first one or more modifying one or more instruction sets of the application . In
    instruction sets for operating the avatar of the application further embodiments, the executing the first one or more
     into the memory unit , the memory unit comprising a plu            instruction sets for operating the avatar of the application
    rality of streams of collections of object representations correlated with the first stream of collections of object
    correlated with one or more instruction sets for operating the 5 representations includes modifying the application . In fur
    avatar of the application .                                         ther embodiments, the executing the first one or more
        In some embodiments, the executing the first one ormore instruction sets for operating the avatar of the application
     instruction sets for operating the avatar of the application correlated with the first stream of collections of object
    correlated with the first stream of collections of object representations includes redirecting the application to the
    representations includes executing the first one or more 10 first one or more instruction sets for operating the avatar of
    instruction sets for operating the avatar of the application the application correlated with the first stream of collections
    correlated with the first stream of collections of object of object representations. In further embodiments , the
     representations instead of or prior to an instruction set that executing the first one or more instruction sets for operating
    would have been executed next. In further embodiments , the the avatar of the application correlated with the first stream
     executing the first one or more instruction sets for operating 15 of collections of object representations includes redirecting
    the avatar of the application correlated with the first stream      the application to one or more alternate instruction sets , the
    of collections of object representations includes modifying alternate instruction sets comprising the first one or more
     one or more instruction sets of a processor circuit . In further instruction sets for operating the avatar of the application
    embodiments, the executing the first one ormore instruction correlated with the first stream of collections of object
    sets for operating the avatar of the application correlated 20 representations. In further embodiments , the executing the
    with the first stream of collections of object representations first one or more instruction sets for operating the avatar of
     includes modifying a register or an element of a processor the application correlated with the first stream of collections
    circuit . In further embodiments, the executing the first one or of object representations includes causing the avatar of the
    more instruction sets for operating the avatar of the appli application to execute the first one or more instruction sets
    cation correlated with the first stream of collections of object 25 for operating the avatar of the application correlated with the
    representations includes inserting the first one or more first stream of collections of object representations . In fur
     instruction sets for operating the avatar of the application ther embodiments, the executing the first one or more
    correlated with the first stream of collections of object instruction sets for operating the avatar of the application
    representations into a register or an element of a processor correlated with the first stream of collections of object
    circuit. In further embodiments , the executing the first one or 30 representations includes modifying one or more instruction
    more instruction sets for operating the avatar of the appli         sets of the avatar of the application . In further embodiments,
    cation correlated with the first stream of collections ofobject the executing the first one or more instruction sets for
     representations includes redirecting a processor circuit to the operating the avatar of the application correlated with the
     first one or more instruction sets for operating the avatar of first stream of collections of object representations includes
    the application correlated with the first stream ofcollections 35 modifying the avatar of the application . In further embodi
    of object representations. In further embodiments, the ments , the executing the first one or more instruction sets for
    executing the first one or more instruction sets for operating operating the avatar of the application correlated with the
     the avatar of the application correlated with the first stream     first stream of collections of object representations includes
    of collections of object representations includes redirecting redirecting the avatar of the application to the first one or
    a processor circuit to one or more alternate instruction sets , 40 more instruction sets for operating the avatar of the appli
    the alternate instruction sets comprising the first one ormore cation correlated with the first stream of collections of object
    instruction sets for operating the avatar of the application representations. In further embodiments , the executing the
    correlated with the first stream of collections of object first one ormore instruction sets for operating the avatar of
    representations. In further embodiments, the executing the the application correlated with the first stream of collections
    first one or more instruction sets for operating the avatar of 45 of object representations includes redirecting the avatar of
    the application correlated with the first stream of collections the application to one or more alternate instruction sets, the
    of object representations includes transmitting , to a proces alternate instruction sets comprising the first one or more
    sor circuit for execution , the first one ormore instruction sets instruction sets for operating the avatar of the application
    for operating the avatar of the application correlated with the correlated with the first stream of collections of object
     first stream of collections of object representations. In fur- 50 representations. In further embodiments, the executing the
    ther embodiments, the executing the first one or more first one or more instruction sets for operating the avatar of
    instruction sets for operating the avatar of the application the application correlated with the first stream of collections
    correlated with the first stream of collections of object of object representations includes modifying a source code,
    representations includes issuing an interrupt to a processor a bytecode , an intermediate code , a compiled code , an
    circuit and executing the first one or more instruction sets for 55 interpreted code , a translated code , a runtime code, an
    operating the avatar of the application correlated with the assembly code , or a machine code. In further embodiments,
    first stream of collections of object representations following the executing the first one or more instruction sets for
    the interrupt. In further embodiments, the executing the first operating the avatar of the application correlated with the
    one or more instruction sets for operating the avatar of the first stream of collections of object representations includes
    application   correlated with the first stream of collections of 60 modifying at least one of: a memory unit, a register of a
    object representations includes causing the application to processor circuit , a storage, or a repository where instruction
    execute the first one or more instruction sets for operating sets are stored or used . In further embodiments, the execut
    the avatar of the application correlated with the first stream ing the first one or more instruction sets for operating the
    of collections of object representations. In further embodi avatar of the application correlated with the first stream of
    ments , the executing the first one ormore instruction sets for 65 collections of object representations includes modifying at
    operating the avatar of the application correlated with the         least one of: an element of a processor circuit, an element of
    first stream of collections of object representations includes      the application , an element of the avatar of the application,
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 335 of 2562 PageID #: 13206


                                                       US 10,607,134 B1
                                 45                                                                 46
    a virtual machine , a runtime engine, an operating system , an    the application correlated with the first stream of collections
    execution stack , a program counter, or a user input. In          of object representations includes at least one of: modifying ,
    further embodiments, the executing the first one or more          removing, rewriting, or overwriting a code of the applica
    instruction sets for operating the avatar of the application      tion . In further embodiments , the executing the first one or
    correlated with the first stream of collections of object 5 more instruction sets for operating the avatar of the appli
    representations includes modifying one or more instruction cation correlated with the first stream of collections of object
    sets at a source code write time, a compile time, an inter representations includes at least one of: branching, redirect
    pretation time, a translation time, a linking time, a loading ing, extending, or hot swapping a code of the application . In
    time, or a runtime. In further embodiments , the executing the further embodiments, the executing the first one or more
     first one or more instruction sets for operating the avatar of 10 instruction sets for operating the avatar of the application
    the application correlated with the first stream of collections correlated with the first stream of collections of object
    of object representations includes modifying one or more representations includes adding or inserting additional code
    code segments, lines of code, statements, instructions, func into a code of the avatar of the application . In further
    tions , routines, subroutines, or basic blocks. In further embodiments, the executing the first one ormore instruction
    embodiments , the executing the first one or more instruction 15 sets for operating the avatar of the application correlated
    sets for operating the avatar of the application correlated with the first stream of collections of object representations
    with the first stream of collections of object representations includes at least one of modifying , removing, rewriting, or
    includes a manual, an automatic , a dynamic , or a just in time overwriting a code of the avatar of the application . In further
    ( JIT ) instrumentation of the application . In further embodi embodiments, the executing the first one ormore instruction
    ments , the executing the first one or more instruction sets for 20 sets for operating the avatar of the application correlated
    operating the avatar of the application correlated with the with the first stream of collections of object representations
    first stream of collections of object representations includes includes at least one of: branching, redirecting , extending, or
    a manual, an automatic , a dynamic , or a just in time (JIT ) hot swapping a code of the avatar of the application . In
     instrumentation of the avatar of the application . In further further embodiments, the executing the first one or more
    embodiments, the executing the first one or more instruction 25 instruction sets for operating the avatar of the application
    sets for operating the avatar of the application correlated correlated with the first stream of collections of object
    with the first stream of collections of object representations representations includes implementing a user's knowledge ,
    includes utilizing one or more of a .NET tool, a .NET style , or methodology of operating the avatar of the appli
    application programming interface (API), a Java tool, a Java cation in a circumstance . In further embodiments , the
    API, an operating system tool, or an independent tool for 30 executing the first one or more instruction sets for operating
    modifying instruction sets . In further embodiments, the the avatar of the application correlated with the first stream
    executing the first one or more instruction sets for operating of collections of object representations includes executing
    the avatar of the application correlated with the first stream    the first one or more instruction sets for operating the avatar
    of collections of object representations includes utilizing at of the application correlated with the first stream of collec
    least one of: a dynamic , an interpreted , or a scripting 35 tions of object representations via an interface. The interface
    programming language. In further embodiments, the execut may include a modification interface .
    ing the first one or more instruction sets for operating the       In certain embodiments, the operations of the non - tran
    avatar of the application correlated with the first stream of sitory computer storage medium and/or the method further
    collections of object representations includes utilizing at comprise: receiving at least one extra information . In some
    least one of: a dynamic code , a dynamic class loading , or a 40 embodiments, the operations of the non -transitory computer
    reflection . In further embodiments, the executing the first storage medium and /or the method further comprise: learn
    one or more instruction sets for operating the avatar of the ing the first stream of collections of object representations
    application correlated with the first stream of collections of    correlated with the at least one extra information . In certain
    object representations includes utilizing an assembly lan embodiments , the operations of the non - transitory computer
    guage . In further embodiments , the executing the first one or 45 storage medium and /or the method further comprise: pre
    more instruction sets for operating the avatar of the appli       senting , via a user interface , a user with an option to execute
    cation correlated with the first stream of collections ofobject   the first one ormore instruction sets for operating the avatar
    representations includes utilizing at least one of: a metapro of the application correlated with the first stream of collec
    gramming , a self-modifying code, or an instruction set tions of object representations . In some embodiments, the
    modification tool. In further embodiments , the executing the 50 operations of the non - transitory computer storage medium
    first one or more instruction sets for operating the avatar of  and /or the method further comprise : receiving, via a user
    the application correlated with the first stream of collections interface , a user's selection to execute the first one or more
    of object representations includes utilizing at least one of: instruction sets for operating the avatar of the application
    just in time (JIT ) compiling, JIT interpretation , JIT transla correlated with the first stream of collections of object
    tion , dynamic recompiling, or binary rewriting. In further 55 representations. In certain embodiments , the operations of
    embodiments, the executing the first one or more instruction the non - transitory computer storage medium and /or the
    sets for operating the avatar of the application correlated method further comprise: rating the executed first one or
    with the first stream of collections of object representations more instruction sets for operating the avatar of the appli
    includes utilizing at least one of: a dynamic expression cation correlated with the first stream of collections of object
    creation , a dynamic expression execution , a dynamic func- 60 representations . In some embodiments , the operations of the
    tion creation , or a dynamic function execution . In further non-transitory computer storage medium and/or the method
    embodiments, the executing the first one ormore instruction further comprise : presenting, via a user interface , a user with
    sets for operating the avatar of the application correlated an option to cancel the execution of the executed first one or
    with the first stream of collections of object representations more instruction sets for operating the avatar of the appli
     includes adding or inserting additional code into a code of 65 cation correlated with the first stream of collections of object
    the application . In further embodiments , the executing the representations. In certain embodiments, the operations of
    first one or more instruction sets for operating the avatar of the non -transitory computer storage medium and /or the
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 336 of 2562 PageID #: 13207


                                                        US 10,607,134 B1
                                  47                                                                  48
    method further comprise : receiving , via an input device , a           The aforementioned system , the non - transitory computer
    user's operating directions, the user's operating directions         storage medium , and /or the method may include any ele
    for instructing the processor circuit , the application , or the    ments , operations, steps, and embodiments of the above
    avatar of the application on how to operate the avatar of the described systems, non -transitory computer storage media,
    application . In some embodiments , the operations of the 5 and /or methods as applicable as well as the following
    non - transitory computer storage medium and /or the method embodiments.
    further comprise: receiving a second stream of collections of           In some aspects, the disclosure relates to a system for
    object representations, the second stream of collections of using an avatar's circumstances for autonomous avatar
    object representations including one or more object repre operating. The system may be implemented at least in part
     sentations representing one or more objects of the applica- 10 on one or more computing devices . In some embodiments ,
    tion ; receiving a second one or more instruction sets for the system comprises: a processor circuit configured to
    operating the avatar of the application ; and learning the execute instruction sets of an application . The system may
    second stream of collections of object representations cor further comprise : a memory unit configured to store data .
    related with the second one or more instruction sets for The system may further comprise : an artificial intelligence
    operating the avatar of the application .                        15 unit. The artificial intelligence unit may be configured to :
        The aforementioned system , the non -transitory computer access thememory unit that comprises a plurality of streams
    storage medium , and/or the method may include any ele of collections of object representations correlated with one
    ments, operations, steps, and embodiments of the above or more instruction sets for operating an avatar of the
    described systems, non - transitory computer storage media , application , the plurality of streams of collections of object
     and/or methods as applicable as well as the following 20 representations correlated with one or more instruction sets
     embodiments .                                                       for operating the avatar of the application including a first
        In some aspects, the disclosure relates to a system for stream of collections of object representations correlated
    learning an avatar's circumstances for autonomous avatar with a first one or more instruction sets for operating the
    operating. The system may be implemented at least in part avatar of the application . The artificial intelligence unit may
    on one or more computing devices. In some embodiments , 25 be further configured to : receive a new stream of collections
    the system comprises: a processor circuit configured to of object representations, the new stream of collections of
    execute instruction sets of an application. The system may object representations including one or more object repre
     further comprise: a memory unit configured to store data . sentations representing one or more objects of the applica
     The system may further comprise : an artificial intelligence tion . The artificial intelligence unit may be further config
    unit. The artificial intelligence unit may be configured to : 30 ured to : anticipate the first one or more instruction sets for
    receive a first stream of collections of object representations , operating the avatar of the application correlated with the
    the first stream of collections of object representations first stream of collections of object representations based on
    including one or more object representations representing at least a partial match between the new stream of collec
    one or more objects of the application . The artificial intel tions of object representations and the first stream of col
     ligence unitmay be further configured to : receive a first one 35 lections of object representations. The artificial intelligence
    or more instruction sets for operating an avatar of the unit may be further configured to : cause the processor circuit
    application . The artificial intelligence unit may be further to execute the first one or more instruction sets for operating
    configured to : learn the first stream of collections of object the avatar of the application correlated with the first stream
    representations correlated with the first one ormore instruc of collections of object representations, the causing per
     tion sets for operating the avatar of the application .         40 formed in response to the anticipating of the artificial
        In some aspects , the disclosure relates to a non -transitory intelligence unit, wherein the avatar of the application
    computer storage medium having a computer program performs one or more operations defined by the first one or
     stored thereon , the program including instructions that when more instruction sets for operating the avatar of the appli
    executed by one or more processor circuits cause the one or cation correlated with the first stream of collections of object
    more processor circuits to perform operations comprising: 45 representations.
    receiving a first stream of collections of object representa            In some aspects , the disclosure relates to a non -transitory
    tions, the first stream of collections of object representations computer storage medium having a computer program
    including one or more object representations representing stored thereon , the program including instructions that when
    one or more objects of an application . The operations may executed by one or more processor circuits cause the one or
     further comprise: receiving a first one or more instruction 50 more processor circuits to perform operations comprising:
    sets for operating an avatar of the application . The opera         accessing a memory unit that comprises a plurality of
     tions may further comprise: learning the first stream of streams of collections of object representations correlated
    collections of object representations correlated with the first with one or more instruction sets for operating an avatar of
    one or more instruction sets for operating the avatar of the an application , the plurality of streams of collections of
    application .                                                    55 object representations correlated with one or more instruc
        In some aspects, the disclosure relates to a method com          tion sets for operating the avatar of the application including
    prising : (a ) receiving a first stream of collections of object a first stream of collections of object representations corre
    representations by a processor circuit, the first stream of lated with a first one or more instruction sets for operating
    collections of object representations including one or more the avatar of the application . The operations may further
    object representations representing one ormore objects of an 60 comprise: receiving a new stream of collections of object
    application. The method may further comprise: (b ) receiving representations, the new stream of collections of object
    a first one ormore instruction sets for operating an avatar of representations including one or more object representations
    the application by the processor circuit . The method may representing one or more objects of the application . The
    further comprise: (c) learning the first stream of collections operations may further comprise : anticipating the first one or
    of object representations correlated with the first one or 65 more instruction sets for operating the avatar of the appli
    more instruction sets for operating the avatar of the appli        cation correlated with the first stream of collections of object
    cation , the learning of (c ) performed by the processor circuit . representations based on at least a partial match between the
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 337 of 2562 PageID #: 13208


                                                         US 10,607,134 B1
                                  49                                                                    50
    new stream of collections of object representations and the artificial intelligence unit may be further configured to :
    first stream of collections of object representations. The receive a first one or more instruction sets for operating the
    operations may further comprise : causing an execution of application . The artificial intelligence unit may be further
    the first one or more instruction sets for operating the avatar configured to : learn the first collection of object represen
    of the application correlated with the first stream of collec- 5 tations correlated with the first one or more instruction sets
    tions of object representations, the causing performed in for operating the application . The artificial intelligence unit
    response to the anticipating the first one or more instruction may be further configured to : receive a new collection of
    sets for operating the avatar of the application correlated object representations , the new collection of object repre
    with the first stream of collections of object representations sentations including one or more object representations
    based on at least a partial match between the new stream of 10 representing one or more objects of the application . The
    collections of object representations and the first stream of artificial intelligence unit may be further configured to :
    collections of object representations, wherein the avatar of anticipate the first one or more instruction sets for operating
    the application performs one or more operations defined by the application correlated with the first collection of object
    the first one or more instruction sets for operating the avatar representations based on at least a partial match between the
    oftionstheofapplication correlated with the first stream of collec- 15 new collection of object representations and the first collec
                  object representations.                                  tion of object representations. The artificial intelligence unit
         In some aspects, the disclosure relates to a method com           may be further configured to : cause the processor circuit to
    prising : (a ) accessing a memory unit that comprises a execute the first one or more instruction sets for operating
    plurality of streamsof collections of object representations the application correlated with the first collection of object
    correlated with one or more instruction sets for operating an 20 representations, the causing performed in response to the
    avatar of an application, the plurality of streams of collec anticipating of the artificial intelligence unit , wherein the
    tions of object representations correlated with one or more application performs one or more operations defined by the
    instruction sets for operating the avatar of the application first one or more instruction sets for operating the applica
    including a first stream of collections of object representa           tion correlated with the first collection of object represen
    tions correlated with a first one or more instruction sets for 25 tations .
    operating the avatar of the application , the accessing of (a )          In certain embodiments , the first collection of object
    performed by a processor circuit. The method may further              representations includes a unit of knowledge of the appli
    comprise : (b ) receiving a new stream of collections ofobject        cation's circumstance at a first time. In further embodiments,
    representations by the processor circuit, the new stream of an application's circumstance includes one or more objects
    collections of object representations including one or more 30 of the application .
    object representations representing one or more objects of        In some embodiments, the first one or more instruction
    the application . The method may further comprise : (c ) sets for operating the application include one or more
    anticipating the first one or more instruction sets for oper   instruction sets executed in operating the application . In
    ating the avatar of the application correlated with the first further embodiments , the receiving the first one or more
    stream of collections of object representations based on at 35 instruction sets for operating the application includes at least
    least a partial match between the new stream of collections one of: tracing , profiling , or instrumentation of the applica
    of object representations and the first stream of collections         tion .
    of object representations, the anticipating of (c ) performed            In certain embodiments, the first collection of object
    by the processor circuit. The method may further comprise: representations correlated with the first one ormore instruc
    (d ) executing the first one or more instruction sets for 40 tion sets for operating the application include a unit of
    operating the avatar of the application correlated with the knowledge of how the application operated in a circum
    first stream of collections of object representations, the stance. In further embodiments , the leaning the first collec
    executing of (d ) performed in response to the anticipating of tion of object representations correlated with the first one or
    (c). The method may further comprise : (e) performing , by more instruction sets for operating the application includes
    the avatar of the application , one ormore operations defined 45 learning a user's knowledge, style , or methodology of
    by the first one or more instruction sets for operating the           operating the application in a circumstance .
    avatar of the application correlated with the first stream of           In some embodiments , the learning the first collection of
    collections of object representations .                           object representations correlated with the first one or more
       The aforementioned system , the non - transitory computer      instruction sets for operating the application includes storing
    storage medium , and /or the method may include any ele- 50 the first collection of object representations correlated with
    ments, operations , steps, and embodiments of the above the first one or more instruction sets for operating the
    described systems, non -transitory computer storage media , application into the memory unit , thememory unit compris
    and /or methods as applicable as well as the following ing a plurality of collections of object representations cor
    embodiments .                                                     related with one or more instruction sets for operating the
       In some aspects, the disclosure relates to a system for 55 application . The plurality of collections of object represen
    learning and using an application's circumstances for tations correlated with one or more instruction sets for
    autonomous application operating . The system may be operating the application may include a neural network, a
    implemented at least in part on one or more computing graph , a collection of sequences, a sequence , a collection of
    devices. In some embodiments , the system comprises: a knowledge cells, a knowledgebase , a knowledge structure ,
    processor circuit configured to execute instruction sets of an 60 or a data structure .
    application . The system may further comprise: a memory              In certain embodiments, the causing the processor circuit
    unit configured to store data . The system may further to execute the first one or more instruction sets for operating
    comprise : an artificial intelligence unit. The artificial intel the application correlated with the first collection of object
    ligence unit may be configured to : receive a first collection representations includes causing the application to execute
    of object representations, the first collection of object rep- 65 the first one or more instruction sets for operating the
    resentations including one or more object representations application correlated with the first collection of object
    representing one or more objects of the application . The representations. In further embodiments , the causing the
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 338 of 2562 PageID #: 13209


                                                       US 10,607,134 B1
                                 51                                                                  52
    processor circuit to execute the first one or more instruction application from the one or more processor circuits or from
    sets for operating the application correlated with the first another one or more processor circuits . In further embodi
    collection of object representations includes implementing a ments, the execution of the first one ormore instruction sets
    user's knowledge, style , or methodology of operating the for operating the application correlated with the first collec
    application in a circumstance .                                 5 tion of object representations is performed by the one or
       In some embodiments, the artificial intelligence unit is more processor circuits or by another one or more processor
    further configured to : receive a second collection of object circuits .
    representations, the second collection of object representa          In some aspects , the disclosure relates to a method com
    tions including one or more object representations repre prising: (a ) receiving a first collection of object representa
    senting one or more objects of the application ; receive a 10 tions by a processor circuit, the first collection of object
    second one or more instruction sets for operating the appli       representations including one or more object representations
    cation ; and learn the second collection of object represen       representing one or more objects of an application . The
    tations correlated with the second one or more instruction method may further comprise : (b ) receiving a first one or
    sets for operating the application . In further embodiments , more instruction sets for operating an application by the
    the learning the first collection of object representations 15 processor circuit. The method may further comprise : (c)
    correlated with the first one or more instruction sets for learning the first collection of object representations corre
    operating the application includes storing the first collection lated with the first one or more instruction sets for operating
    of object representations correlated with the first one or the application , the learning of (c ) performed by the pro
    more instruction sets for operating the application into a first cessor circuit . The method may further comprise : (d ) receiv
    node of a knowledgebase, and wherein the learning the 20 ing a new collection of object representations by the pro
    second collection of object representations correlated with cessor circuit , the new collection of object representations
    the second one or more instruction sets for operating the including one or more object representations representing
    application includes storing the second collection of object one or more objects of the application . The method may
    representations correlated with the second one or more further comprise : (e ) anticipating the first one or more
    instruction sets for operating the application into a second 25 instruction sets for operating the application correlated with
    node of the knowledgebase. The knowledgebase may the first collection of object representations based on at least
    include a neural network , a graph , a collection of sequences, a partial match between the new collection of object repre
    a sequence, a collection of knowledge cells , a knowledge sentations and the first collection of object representations ,
    structure , or a data structure .                                    the anticipating of (e ) performed by the processor circuit.
       In some aspects , the disclosure relates to a non - transitory 30 Themethod may further comprise : (f) executing the first one
    computer storage medium having a computer program or more instruction sets for operating the application corre
    stored thereon, the program including instructions that when lated with the first collection of object representations, the
    executed by one or more processor circuits cause the one or executing of (f) performed in response to the anticipating of
    more processor circuits to perform operations comprising : (e ). The method may further comprise : ( g ) performing, by
    receiving a first collection of object representations, the first 35 the application , one or more operations defined by the first
    collection of object representations including one or more one or more instruction sets for operating the application
    object representations representing one ormore objects ofan correlated with the first collection of object representations.
    application . The operations may further comprise : receiving           In certain embodiments, the receiving of (b ) includes
    a first one or more instruction sets for operating the appli         receiving the first one or more instruction sets for operating
    cation . The operations may further comprise: learning the 40 the application from the processor circuit or from another
     first collection of object representations correlated with the processor circuit. In further embodiments , the executing of
    first one or more instruction sets for operating the applica     (f) is performed by the processor circuit or by another
    tion . The operationsmay further comprise: receiving a new processor circuit.
    collection of object representations, the new collection of         The aforementioned system , the non - transitory computer
    object representations including one or more object repre- 45 storage medium , and/or the method may include any ele
    sentations representing one or more objects of the applica ments , operations, steps, and embodiments of the above
    tion . The operations may further comprise : anticipating the described systems, non -transitory computer storage media ,
    first one or more instruction sets for operating the applica and /or methods as applicable as well as the following
    tion correlated with the first collection of object represen     embodiments .
    tations based on at least a partial match between the new 50 In some aspects, the disclosure relates to a system for
    collection of object representations and the first collection of learning and using an application's circumstances for
    object representations. The operations may further com           autonomous application operating . The system may be
    prise : causing an execution of the first one or more instruc    implemented at least in part on one or more computing
    tion sets for operating the application correlated with the devices. In some embodiments, the system comprises: a
     first collection of object representations, the causing per- 55 processor circuit configured to execute instruction sets of an
    formed in response to the anticipating the first one or more application . The system may further comprise: a memory
    instruction sets for operating the application correlated with unit configured to store data. The system may further
    the first collection of object representations based on at least comprise: an artificial intelligence unit. The artificial intel
    a partial match between the new collection of object repre       ligence unit may be configured to : receive a first stream of
    sentations and the first collection of object representations, 60 collections of object representations, the first stream of
    wherein the application performs one or more operations collections of object representations including one or more
    defined by the first one or more instruction sets for operating object representations representing one or more objects of
    the application correlated with the first collection of object the application . The artificial intelligence unit may be further
    representations.                                               configured to : receive a first one ormore instruction sets for
       In some embodiments, the receiving the first one or more 65 operating the application. The artificial intelligence unit may
    instruction sets for operating the application includes receiv be further configured to : learn the first stream of collections
    ing the first one or more instruction sets for operating the of object representations correlated with the first one or
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 339 of 2562 PageID #: 13210


                                                       US 10,607,134 B1
                                 53                                                                 54
    more instruction sets for operating the application . The          tion ; receive a second one or more instruction sets for
    artificial intelligence unit may be further configured to :        operating the application ; and learn the second stream of
    receive a new stream of collections of object representations ,    collections of object representations correlated with the
    the new stream of collections of object representations            second one or more instruction sets for operating the appli
    including one or more object representations representing 5 cation . In further embodiments , the learning the first stream
    one or more objects of the application . The artificial intel of collections of object representations correlated with the
    ligence unit may be further configured to : anticipate the first first one or more instruction sets for operating the applica
    one or more instruction sets for operating the application tion includes storing the first stream of collections of object
    correlated with the first stream of collections of object representations correlated with the first one or more instruc
    representations based on at least a partialmatch between the 10 tion sets for operating the application into a first node of a
    new stream of collections of object representations and the knowledgebase , and wherein the learning the second stream
    first stream of collections of object representations. The of collections of object representations correlated with the
    artificial intelligence unit may be further configured to : second one or more instruction sets for operating the appli
    cause the processor circuit to execute the first one or more cation includes storing the second stream of collections of
    instruction sets for operating the application correlated with 15 object representations correlated with the second one or
    the first stream of collections of object representations, the more instruction sets for operating the application into a
    causing performed in response to the anticipating of the second node of the knowledgebase . The knowledgebase
    artificial intelligence unit , wherein the application performs may include a neural network , a graph , a collection of
    one or more operations defined by the first one or more sequences, a sequence , a collection of knowledge cells, a
    instruction sets for operating the application correlated with 20 knowledge structure , or a data structure.
    the first stream of collections of object representations.          In some aspects, the disclosure relates to a non - transitory
       In some embodiments, the first stream of collections of computer storage medium having a computer program
    object representations includes a unit of knowledge of the stored thereon , the program including instructions that when
    application's circumstance over a first time period . In further executed by one ormore processor circuits cause the one or
    embodiments, an application’s circumstance includes one or 25 more processor circuits to perform operations comprising :
    more objects of the application .                                receiving a first stream of collections of object representa
       In certain embodiments, the first stream of collections of      tions, the first stream of collections of object representations
    object representations correlated with the first one or more including one or more object representations representing
    instruction sets for operating the application include a unit of one or more objects of an application . The operations may
    knowledge of how the application operated in a circum- 30 further comprise : receiving a first one or more instruction
    stance . In further embodiments, the learning the first stream   sets for operating the application . The operations may fur
    of collections of object representations correlated with the ther comprise : learning the first stream of collections of
    first one or more instruction ets for operating the applica       object representations correlated with the first one or more
    tion includes learning a user's knowledge , style , or meth       instruction sets for operating the application . The operations
    odology of operating the application in a circumstance . 35 may further comprise: receiving a new stream of collections
        In some embodiments, the learning the first stream of of object representations , the new stream of collections of
    collections of object representations correlated with the first object representations including one or more object repre
    one or more instruction sets for operating the application sentations representing one or more objects of the applica
    includes storing the first stream of collections of object tion . The operations may further comprise: anticipating the
    representations correlated with the first one or more instruc- 40 first one or more instruction sets for operating the applica
     tion sets for operating the application into the memory unit , tion correlated with the first stream of collections of object
    the memory unit comprising a plurality of streams of col representations based on at least a partial match between the
    lections of object representations correlated with one or new stream of collections of object representations and the
    more instruction sets for operating the application . The first stream of collections of object representations. The
    plurality of streams of collections of object representations 45 operations may further comprise : causing an execution of
    correlated with one or more instruction sets for operating the the first one or more instruction sets for operating the
    application may include a neural network , a graph , a col application correlated with the first stream of collections of
    lection of sequences, a sequence , a collection of knowledge object representations, the causing performed in response to
    cells , a knowledgebase, a knowledge structure , or a data the anticipating the first one or more instruction sets for
    structure .                                                    50 operating the application correlated with the first stream of
        In certain embodiments , the causing the processor circuit collections of object representations based on at least a
    to execute the first one ormore instruction sets for operating partial match between the new stream of collections of
    the application correlated with the first stream of collections object representations and the first stream of collections of
    of object representations includes causing the application to object representations, wherein the application performs one
    execute the first one or more instruction sets for operating 55 or more operations defined by the first one ormore instruc
    the application correlated with the first stream of collections   tion sets for operating the application correlated with the
    of object representations. In further embodiments , the caus      first stream of collections of object representations .
    ing the processor circuit to execute the first one or more        In certain embodiments, the receiving the first one or
    instruction sets for operating the application correlated with more instruction sets for operating the application includes
    the first stream of collections of object representations 60 receiving the first one or more instruction sets for operating
    includes implementing a user's knowledge, style, or meth       the application from the one or more processor circuits or
    odology of operating the application in a circumstance .       from another one or more processor circuits . In further
       In some embodiments, the artificial intelligence unit is        embodiments, the execution of the first one or more instruc
    further configured to : receive a second stream of collections tion sets for operating the application correlated with the
    of object representations, the second stream of collections of 65 first stream of collections of object representations is per
    object representations including one or more object repre formed by the one or more processor circuits or by another
    sentations representing one or more objects of the applica        one or more processor circuits .
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 340 of 2562 PageID #: 13211


                                                      US 10,607,134 B1
                                  55                                                              56
       In some aspects, the disclosure relates to a method com       profiling, or sampling of Processor 11 registers, memory , or
    prising : (a ) receiving a first stream of collections of object other computing system components .
    representations by a processor circuit, the first stream of         FIGS. 7A -7E illustrate some embodiments of Instruction
    collections of object representations including one or more Sets 526 .
    object representations representing one or more objects of an 5 FIGS. 8A - 8B illustrate some embodiments of Extra Infor
    application . The method may further comprise : (b ) receiving   mation 527 .
    a first one or more instruction sets for operating the appli       FIG . 9 illustrates an embodiment where ACAAO Unit
    cation by the processor circuit. The method may further          100 is part of or operating on Processor 11 .
    comprise : (c ) learning the first stream of collections of        FIG . 10 illustrates an embodiment where ACAAO Unit
    object representations correlated with the first one or more 10 100FIGresides
                                                                            . 11
                                                                                  on Server 96 accessible over Network 95 .
                                                                                  illustrates an embodiment of Artificial Intelli
    instruction sets for operating the application , the learning of gence Unit 110.
    (c ) performed by the processor circuit . The method may           FIG . 12 illustrates an embodiment of Knowledge Struc
    further comprise : (d ) receiving a new stream of collections turing    Unit 520 correlating individual Collections ofObject
    of object representations by the processor circuit , the new 15 Representations     525 with any Instruction Sets 526 and /or
    stream of collections of object representations including one    Extra Info 527 .
    or more object representations representing one or more             FIG . 13 illustrates another embodiment of Knowledge
    objects of the application . The method may further com           Structuring Unit 520 correlating individual Collections of
    prise : (e ) anticipating the first one or more instruction sets Object Representations 525 with any Instruction Sets 526
    for operating the application correlated with the first stream 20 and /or Extra Info 527 .
    of collections of object representations based on at least a        FIG . 14 illustrates an embodiment of Knowledge Struc
    partial match between the new stream of collections of turing Unit 520 correlating streams of Collections of Object
    object representations and the first stream of collections of Representations 525 with any Instruction Sets 526 and/or
    object representations, the anticipating of (e ) performed by Extra Info 527 .
    the processor circuit. The method may further comprise : (f) 25 FIG . 15 illustrates another embodiment of Knowledge
    executing the first one or more instruction sets for operating   Structuring Unit 520 correlating streams of Collections of
    the application correlated with the first stream ofcollections   Object Representations 525 with any Instruction Sets 526
    of object representations, the executing of (f) performed in     and /or Extra Info 527 .
    response to the anticipating of (e ). The method may further       FIG . 16 illustrates various artificial intelligence methods,
    comprise: (g ) performing, by the application , one or more 30 systems, and/or models that can be utilized in ACAAO Unit
    operations defined by the first one or more instruction sets 100 embodiments .
    for operating the application correlated with the first stream     FIGS. 17A - 17C illustrate embodiments of interconnected
    of collections of object representations.                        Knowledge Cells 800 and updating weights of Connections
       In some embodiments , the receiving of (b ) includes 853 .
    receiving the first one or more instruction sets for operating 35 FIG . 18 illustrates an embodiment of learning Knowledge
    the application from the processor circuit or from another Cells 800 comprising one or more Collections of Object
    processor circuit. In further embodiments, the executing of      Representations 525 correlated with any Instruction Sets 526
    (f) is performed by the processor circuit or by another           and/or Extra Info 527 using Collection of Knowledge Cells
    processor circuit.                                           530d .
       The aforementioned system , the non-transitory computer 40 FIG . 19 illustrates an embodiment of learning Knowledge
    storage medium , and /or the method may include any ele      Cells 800 comprising one or more Collections of Object
    ments , operations, steps, and embodiments of the above Representations 525 correlated with any Instruction Sets 526
    described systems, non - transitory computer storage media , and /or Extra Info 527 using Neural Network 530a .
    and /or methods as applicable as well as the following           FIG . 20 illustrates an embodimentof learning Knowledge
    embodiments .                                               45 Cells 800 comprising one or more Collections of Object
      Other features and advantages of the disclosure will Representations 525 correlated with any Instruction Sets 526
    become apparent from the following description , including and/ or Extra Info 527 using Neural Network 530a compris
    the claims and drawings .                                      ing shortcut Connections 853 .
                                                                      FIG . 21 illustrates an embodiment of learning Knowledge
          BRIEF DESCRIPTION OF THE DRAWINGS                   50 Cells 800 comprising one or more Collections of Object
                                                                 Representations 525 correlated with any Instruction Sets 526
       FIG . 1 illustrates a block diagram of Computing Device and /or Extra Info 527 using Graph 530b .
    70 that can provide processing capabilities used in some of    FIG . 22 illustrates an embodiment of learning Knowledge
    the disclosed embodiments .                                  Cells 800 comprising one or more Collections of Object
      FIG . 2 illustrates an embodimentof Computing Device 70 55 Representations 525 correlated with any Instruction Sets 526
    comprising Unit for Learning and /or Using an Avatar's           and /or Extra Info 527 using Collection of Sequences 530c .
    Circumstances for Autonomous Avatar Operation (ACAAO               FIG . 23 illustrates an embodiment of determining antici
    Unit 100 ).                                                patory Instruction Sets 526 from a single Knowledge Cell
      FIG . 3 illustrates an embodiment of utilizing Picture 800 .
    Renderer 91 and Picture Recognizer 92 .                 60
                                                                 FIG . 24 illustrates an embodiment of determining antici
      FIG . 4 illustrates an embodiment of utilizing Sound patory Instruction Sets 526 by traversing a single Knowl
    Renderer 96 and Sound Recognizer 97 .                           edge Cell 800 .
       FIGS. 5A -5B , illustrate an exemplary embodiment of            FIG . 25 illustrates an embodiment of determining antici
    Objects 615 in Avatar's 605 surrounding, and resulting patory Instruction Sets 526 using collective similarity com
    Collection of Object Representations 525                     65 parisons.
       FIG . 6 illustrates some embodiments of obtaining instruc      FIG . 26 illustrates an embodiment of determining antici
    tion sets, data , and/or other information through tracing , patory Instruction Sets 526 using Neural Network 530a .
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 341 of 2562 PageID #: 13212


                                                        US 10,607,134 B1
                                 57                                                                58
       FIG . 27 illustrates an embodiment of determining antici   autonomous avatar operation , any of their elements, any of
    patory Instruction Sets 526 using Graph 530b .                their embodiments , or a combination thereof can generally
       FIG . 28 illustrates an embodiment of determining antici   be referred to as ACAAO , ACAAO Unit , or as other suitable
    patory Instruction Sets 526 using Collection of Sequences name or reference.
    530c.                                                       5    Referring now to FIG . 1 , an embodiment is illustrated of
       FIG . 29 illustrates some embodiments of modifying Computing Device 70 (also referred to simply as computing
    execution and /or functionality of Avatar 605 and /or Appli device, computing system , or other suitable name or refer
    cation Program 18 through modification of Processor 11 ence , etc. ) that can provide processing capabilities used in
    registers , memory , or other computing system components. some embodiments of the forthcoming disclosure . Later
       FIG . 30 illustrates a flow chart diagram of an embodiment 10 described devices, systems, and methods, in combination
    of method 9100 for learning and /or using an avatar's cir with processing capabilities of Computing Device 70,
    cumstances for autonomous avatar operation .                     enable learning and /or using an avatar's circumstances for
       FIG . 31 illustrates a flow chart diagram of an embodiment autonomous avatar operation and/or other functionalities
    of method 9200 for learning and /or using an avatar's cir described herein . Various embodiments of the disclosed
    cumstances for autonomous avatar operation .                  15 devices, systems, and methods include hardware , functions,
       FIG . 32 illustrates a flow chart diagram of an embodiment logic, programs, and/or a combination thereof that can be
    of method 9300 for learning and /or using an avatar's cir        implemented using any type or form of computing , com
    cumstances for autonomous avatar operation .                     puting enabled , or other device or system such as a mobile
       FIG . 33 illustrates a flow chart diagram of an embodiment device, a computer , a computing enabled telephone, a server,
    ofmethod 9400 for learning and/or using an application's 20 a gaming device, a television device, a digital camera, a GPS
    circumstances for autonomous application operation .             receiver, a media player, an embedded device , a supercom
       FIG . 34 illustrates a flow chart diagram of an embodiment puter, a wearable device , an implantable device, a cloud , or
    of method 9500 for learning and /or using an application's any other type or form of computing, computing enabled , or
    circumstances for autonomous application operation .             other device or system capable ofperforming the operations
       FIG . 35 illustrates a flow chart diagram of an embodiment 25 described herein .
    of method 9600 for learning and /or using an application's          In some designs, Computing Device 70 comprises hard
    circumstances for autonomous application operation .             ware, processing techniques or capabilities, programs, or a
       FIG . 36 illustrates an exemplary embodiment of Soldier combination thereof. Computing Device 70 includes one or
    605a within 3D Computer Game 18a .                               more central processing units , which may also be referred to
       FIG . 37 illustrates an exemplary embodiment of Tank 30 ports as processors  11. Processor 11 includes one or more memory
                                                                           10 and /or one or more input-output ports , also referred
    605b within 2D Computer Game 18b .
       FIG . 38 illustrates an exemplary embodiment of utilizing to as I/ O ports 15 , such as I/O ports 15A and 15B . Processor
    Area of Interest 450 around Tank 605b.                           11 may be special or general purpose . Computing Device 70
       FIG . 39 illustrates an exemplary embodiment of multiple may further include memory 12, which can be connected to
    Avatars 605 within Computer Game 18c.                         35 the remainder of the components of Computing Device 70
       Like reference numerals in different figures indicate like via bus 5.Memory 12 can be connected to processor 11 via
    elements . Horizontal or vertical “ ... " or other such indicia   memory port 10. Computing Device 70 may also include
    may be used to indicate additional instances of the same type display device 21 such as a monitor, projector, glasses,
    of element. n , m , x , or other such letters or indicia represent and /or other display device . Computing Device 70 may also
    integers or other sequential numbers that follow the 40 include Human -machine Interface 23 such as a keyboard , a
    sequence where they are indicated . It should be noted that n , pointing device, a mouse , a touchscreen , a joystick , a remote
    m , x , or other such letters or indicia may represent different controller, and/or other input device. In some implementa
    numbers in different elements even where the elements are tions, Human -machine Interface 23 can be connected with
    depicted in the same figure . In general, n , m , x , or other such bus 5 or directly connected with specific elements of Com
    letters or indicia may follow the sequence and / or context 45 puting Device 70. Computing Device 70 may include addi
    where they are indicated . Any of these or other such letters tional elements such as one ormore input/output devices 13 .
    or indicia may be used interchangeably depending on con Processor 11 may include or be interfaced with cache
    text and space available . The drawings are not necessarily to memory 14. Storage 27 may include memory, which pro
    scale , with emphasis instead being placed upon illustrating vides an operating system 17 ( i.e. also referred to as OS 17 ,
    the embodiments , principles, and concepts of the disclosure . 50 etc.), additional application programs 18, and/or data space
    A line or arrow between any of the disclosed elements             19 in which additional data or information can be stored .
    comprises an interface that enables the coupling, connection ,    Alternative memory device 16 can be connected to the
    and/or interaction between the elements .                           remaining components of Computing Device 70 via bus 5 .
                                                                      Network interface 25 can also be connected with bus 5 and
                    DETAILED DESCRIPTION                             55 be used to communicate with external computing devices
                                                                        via a network . Some or alldescribed elements ofComputing
        The disclosed artificially intelligent devices, systems, and Device 70 can be directly or operatively connected or
    methods for learning and /or using an avatar's circumstances coupled with each other using any other connection means
    for autonomous avatar operation comprise apparatuses, sys known in art . Other additional elements may be included as
    tems, methods, features , functionalities , and /or applications 60 needed , or some of the disclosed ones may be excluded , or
    that enable learning an avatar's circumstances including a combination thereof may be utilized in alternate imple
    objects with various properties along with correlated instruc mentations of Computing Device 70.
    tion sets for operating the avatar , storing this knowledge in        Processor 11 includes one or more circuits or devices that
    a knowledgebase ( i.e. neural network , graph, sequences , can execute instructions fetched from memory 12 and /or
    etc.), and /or operating an avatar autonomously. The dis- 65 other element. Processor 11may include any combination of
    closed artificially intelligent devices, systems, and methods hardware and/or processing techniques or capabilities for
    for learning and/or using an avatar's circumstances for executing or implementing logic functions or programs.
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 342 of 2562 PageID #: 13213


                                                        US 10,607,134 B1
                                  59                                                                  60
    Processor 11 may include a single core or a multi core ers . In further embodiments, Storage 27 can be provided in
    processor. Processor 11 includes the functionality for load   an optical storage device such as holographic storage, and /or
    ing operating system 17 and operating any application others. In further embodiments , Storage 27 may include any
    programs 18 thereon . In some embodiments, Processor 11 non -volatile memory. In general, Storage 27 can be based on
    can be provided in a microprocessing or a processing unit , 5 any of the aforementioned or other available storage devices
    such as, for example , Snapdragon processor produced by or mediums capable of operating as described herein . In
     Qualcomm Inc., processor by Intel Corporation ofMountain some aspects, Storage 27 may include any features, func
    View , Calif., processor manufactured by Motorola Corpo       tionalities, and embodiments ofMemory 12, and vice versa ,
    ration of Schaumburg , III .; processor manufactured by as applicable.
     Transmeta Corporation of Santa Clara , Calif .; processor 10 Processor 11 can communicate directly with cache
    manufactured by International Business Machines of White memory 14 via a connection means such as a secondary bus
    Plains, N.Y.; processor manufactured by Advanced Micro which may also sometimes be referred to as a backside bus.
    Devices of Sunnyvale , Calif., or any computing circuit or In some embodiments , processor 11 can communicate with
    device for performing similar functions. In other embodi cache memory 14 using the system bus 5. Cache memory 14
    ments, processor 11 can be provided in a graphics processing 15 may typically have a faster response timethan main memory
    unit (GPU ), visual processing unit ( VPU ), or other highly 12 and can include a type of memory which is considered
    parallel processing circuit or device such as , for example , faster than main memory 12 such as, for example, SRAM ,
    nVidia GeForce line of GPUs, AMD Radeon line of GPUs, BSRAM , or EDRAM . Cache memory includes any structure
    and /or others. Such GPUs or other highly parallelprocessing such as multilevel caches , for example . In some embodi
    circuits or devices may provide superior performance in 20 ments, processor 11 can communicate with one ormore I/O
     processing operations on neural networks, graphs, and /or devices 13 via a system bus 5. Various busses can be used
    other data structures. In further embodiments, processor 11 to connect processor 11 to any of the I/O devices 13 such as
    can be provided in a micro controller such as, for example , a VESA VL bus , an ISA bus, an EISA bus, a MicroChannel
     Texas instruments , Atmel, Microchip Technology, ARM , Architecture (MCA ) bus , a PCI bus, a PCI-X bus , a PCI
     Silicon Labs , Intel, and /or other lines ofmicro controllers . In 25 Express bus, a NuBus, and /or others. In some embodiments ,
     further embodiments , processor 11 can be provided in a processor 11 can communicate directly with I/ O device 13
     quantum processor such as, for example, D - Wave Systems, via HyperTransport, Rapid I/ O , or InfiniBand. In further
    Microsoft, Intel, IBM , Google , Toshiba, and /or other lines of embodiments, local busses and direct communication can be
     quantum processors. In further embodiments, processor 11 mixed . For example, processor 11 can communicate with an
    can be provided in a biocomputer such as DNA -based 30 I/O device 13 using a local interconnect bus and communi
    computer, protein -based computer, molecule -based com                 cate with another I/ O device 13 directly . Similar configura
    puter, and /or others . In further embodiments , processor 11 tions can be used for any other components described herein .
    includes any circuit or device for performing logic opera                 Computing Device 70 may further include alternative
    tions. Processor 11 can be based on any of the aforemen                memory such as a SD memory slot, a USB memory stick , an
    tioned or other available processors capable of operating as 35 optical drive such as a CD -ROM drive , a CD -R /RW drive ,
    described herein .                                                     a DVD -ROM drive or a BlueRay disc , a hard -drive , and/or
        Computing Device 70 may include one or more of the any other device comprising non -volatile memory suitable
    aforementioned or other processors. In some designs, pro               for storing data or installing application programs. Comput
    cessor 11 can communicate with memory 12 via a system                  ing Device 70 may further include a storage device 27
    bus 5. In other designs, processor 11 can communicate 40 comprising any type or form of non -volatile memory for
    directly with memory 12 via a memory port 10 .                         storing an operating system (OS) such as any type or form
       Memory 12 includes one or more circuits or devices of Windows OS ,Mac OS , Unix OS, Linux OS, Android OS ,
    capable of storing data. In some embodiments ,Memory 12 iPhone OS , mobile version of Windows OS , an embedded
    can be provided in a semiconductor or electronic memory OS, or any other OS that can operate on Computing Device
    chip such as static random access memory (SRAM ), Flash 45 70. Computing Device 70 may also include application
    memory, Burst SRAM or SynchBurst SRAM (BSRAM ), programs 18 , and /or data space 19 for storing additional data
    Dynamic random access memory (DRAM ), Fast Page Mode or information . In some embodiments, alternative memory
    DRAM (FPM DRAM ), Enhanced DRAM (EDRAM ), 16 can be used as or similar to storage device 27. Addition
    Extended Data Output RAM (EDO RAM ), Extended Data ally , OS 17 and /or application programs 18 can be operable
    OutputDRAM (EDO DRAM ), Burst Extended Data Output 50 from a bootable medium such as, for example , a flash drive ,
    DRAM (BEDO DRAM ), Enhanced DRAM (EDRAM ),                          a micro SD card , a bootable CD or DVD , and / or other
    synchronous DRAM (SDRAM ), JEDEC SRAM , PC100                       bootable medium .
    SDRAM , Double Data Rate SDRAM (DDR SDRAM ),                     Application Program 18 ( also referred to as program ,
    Enhanced SDRAM (ESDRAM ), SyncLink DRAM                        computer program , application, script, code, or other suit
    (SLDRAM ), Direct Rambus DRAM (DRDRAM ), Ferro- 55 able name or reference ) comprises instructions that can
    electric RAM (FRAM ), and/or others . In other embodi provide functionality when executed by processor 11. Appli
    ments,Memory 12 includes any volatile memory. In general, cation program 18 can be implemented in a high -level
    Memory 12 can be based on any of the aforementioned or procedural or object -oriented programming language, or in
    other available memories capable of operating as described a low -level machine or assembly language . Any language
    herein .                                                    60 used can be compiled , interpreted , or translated into machine
        Storage 27 includes one or more devices or mediums language . Application program 18 can be deployed in any
    capable of storing data. In some embodiments , Storage 27 form including as a stand -alone program or as a module,
    can be provided in a device or medium such as a hard drive , component, subroutine , or other unit suitable for use in a
     flash drive, optical disk , and/or others. In other embodi computing system . Application program 18 does not neces
    ments , Storage 27 can be provided in a biological storage 65 sarily correspond to a file in a file system . A program can be
    device such as DNA -based storage device, protein -based stored in a portion of a file that may hold other programs or
    storage device , molecule-based storage device, and /or oth data, in a single file dedicated to the program , or in multiple
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 343 of 2562 PageID #: 13214


                                                         US 10,607,134 B1
                                  61                                                                     62
    files ( i.e. files that store one or more modules, sub programs,      SCI/LAMPbus, a FibreChannel bus, a Serial Attached small
    or portions of code, etc.). Application Program 18 can be             computer system interface bus , and / or other bus.
    delivered in various forms such as, for example, executable               An output interface (not shown) such as a graphical
     file , library , script, plugin , addon , applet, interface, console output interface , an acoustic output interface , a tactile output
    application , web application , application service provider 5 interface , a renderer, any device driver ( i.e. audio , video , or
    (ASP ) -type application , operating system , and /or other other driver ), and/or other output interface or system can be
    forms. Application program 18 can be deployed to be utilized to process output from elements of Computing
    executed on one computing device or on multiple computing Device 70 for conveyance on an output device such as
    devices ( i.e. cloud, distributed , or parallel computing, etc.), Display 21. In some aspects, Display 21 or other output
    or at one site or distributed across multiple sites intercon- 10 device itselfmay include an output interface for processing
    nected by a network or an interface . Examples of Applica               output from elements of Computing Device 70. Further, an
    tion Program 18 include a computer game, a virtual world input interface (not shown ) such as a keyboard listener, a
    application , a graphics application , a media application , a touchscreen listener, a mouse listener, any device driver ( i.e.
    word processing application , a spreadsheet application , a audio , video , keyboard , mouse, touchscreen , or other
    database application , a web browser, a forms-based appli- 15 driver ), and / or other input interface or system can be utilized
    cation , a global positioning system (GPS ) application , a 2D to process input from Human -machine Interface 23 or other
    application , a 3D application , an operating system , a factory input device for use by elements of Computing Device 70.
    automation application, a device control application , a In some aspects , Human -machine Interface 23 or other input
    vehicle control application , and /or other application or pro          device itself may include an input interface for processing
     gram .                                                              20 input for use by elements of Computing Device 70 .
         Network interface 25 can be utilized for interfacing                 Computing Device 70 may include or be connected to
     Computing Device 70 with other devices via a network multiple display devices 21. Display devices 21 can each be
    through a variety of connections including telephone lines , of the same or different type or form . Computing Device 70
    wired or wireless connections, LAN or WAN links ( i.e. and /or its elements comprise any type or form of suitable
     802.11, T1, T3 , 56 kb , X.25 , etc.), broadband connections 25 hardware, programs, or a combination thereof to support ,
    (i.e. ISDN , Frame Relay, ATM , etc.), or a combination enable , or provide for the connection and use of multiple
     thereof. Examples of networks include the Internet, an display devices 21. In one example, Computing Device 70
     intranet, an extranet, a local area network (LAN ), a wide includes any type or form of video adapter, video card ,
    area network (WAN ), a personal area network (PAN ), a driver , and /or library to interface, communicate , connect, or
    home area network (HAN ), a campus area network (CAN ), 30 otherwise use display devices 21. In some aspects, a video
     a metropolitan area network (MAN ), a global area network adapter may include multiple connectors to interface to
    (GAN ), a storage area network (SAN ), virtual network , a multiple display devices 21. In other aspects, Computing
     virtual private network (VPN ), a Bluetooth network , a Device 70 includes multiple video adapters, with each video
    wireless network , a wireless LAN , a radio network , a adapter connected to one or more display devices 21. In
    HomePNA , a power line communication network , a G.hn 35 some embodiments, Computing Device's 70 operating sys
    network , an optical fiber network , an Ethernet network , an tem can be configured for using multiple displays 21. In
    active networking network , a client-server network , a peer other embodiments, one or more display devices 21 can be
    to - peer network , a bus network , a star network , a ring provided by one or more other computing devices such as
    network , a mesh network , a star -busnetwork , a tree network , remote computing devices connected to Computing Device
    a hierarchical topology network , and /or other networks. 4070 via a network or an interface .
    Network interface 25 may include a built- in network                       Computing Device 70 can operate under the control of
    adapter, network interface card , PCMCIA network card , operating system 17 , which may support Computing
    card bus network adapter , wireless network adapter , Blu               Device's 70 basic functions, interface with and manage
    etooth network adapter, WiFi network adapter, USB network hardware resources, interface with and manage peripherals ,
    adapter, modem , and/or any other device suitable for inter- 45 provide common services for application programs, sched
     facing Computing Device 70 with any type of network ule tasks, and /or perform other functionalities. A modem
    capable of communication and /or operations described operating system enables features and functionalities such as
    herein .                                                                a high resolution display, graphical user interface (GUI),
         I/O devices 13 may be present in various shapes or forms touchscreen , cellular network connectivity (i.e.mobile oper
     in Computing Device 70. Examples of I/O device 13 capable 50 ating system , etc.), Bluetooth connectivity, WiFi connectiv
    of input include a joystick , a keyboard , a mouse, a trackpad , ity, global positioning system (GPS ) capabilities, mobile
    a trackpoint, a trackball, a microphone , a drawing tablet, a navigation , microphone , speaker, still picture camera, video
     glove, a tactile input device , a still or video camera , and /or camera, voice recorder, speech recognition , music player,
    other input device . Examples of I/O device 13 capable of video player, near field communication , personal digital
    output include a video display, a projector, a glasses, a 55 assistant (PDA ), and /or other features, functionalities, or
     speaker, a tactile output device, and /or other output device . applications. For example , Computing Device 70 can use
    Examples of 1/0 device 13 capable of input and output any conventional operating system , any embedded operating
     include touchscreen , a disk drive, an optical storage system , any real-time operating system , any open source
    device , a modem , a network card , and /or other input/output operating system , any video gaming operating system , any
    device. I/O device 13 can be interfaced with processor 11 via 60 proprietary operating system , any online operating system ,
    an I/O port 15 , for example . In some aspects, I/O device 13 any operating system for mobile computing devices , or any
    can be a bridge between system bus 5 and an external other operating system capable of running on Computing
    communication bus such as a USB bus, an Apple Desktop Device 70 and performing operations described herein .
    Bus, an RS - 232 serial connection , a SCSI bus , a FireWire Example of operating systems include Windows XP, Win
    bus, a FireWire 800 bus, an Ethernet bus, an AppleTalk bus , 65 dows 7, Windows 8 , Windows 10 , etc. manufactured by
     a Gigabit Ethernet bus, an Asynchronous Transfer Mode Microsoft Corporation ofRedmond , Wash .; Mac OS, iPhone
    bus, a HIPPI bus, a Super HIPPI bus, a SerialPlus bus, a OS, etc. manufactured by Apple Computer of Cupertino,
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 344 of 2562 PageID #: 13215


                                                       US 10,607,134 B1
                                 63                                                                64
    Calif .; OS /2 manufactured by International Business              The disclosed devices, systems, and methods can be
    Machines of Armonk , N.Y .; Linux, a freely -available oper implemented in a computing system that includes a back end
    ating system distributed by Caldera Corp. of Salt Lake City, component, a middleware component, a front end compo
    Utah ; or any type or form of a Unix operating system , and /or nent, or any combination thereof. The components of the
    others. Any operating systems such as the ones for Android 5 system can be interconnected by any form or medium of
    devices can similarly be utilized .                             digital data communication such as, for example , a network .
       Computing Device 70 can be implemented as or be part            Computing Device 70 may include or be interfaced with
    of various model architectures such as web services, dis        a computer program product comprising instructions or
    tributed computing, grid computing, cloud computing , and / logic encoded on a computer-readable medium . Such
    or other architectures. For example, in addition to the 10 one  instructions
                                                                         or more orprocessors
                                                                                     logic,when11 executed
                                                                                                  to perform,may
                                                                                                              the configure
                                                                                                                  operationsorand
                                                                                                                               cause
                                                                                                                                  /or
    traditional desktop , server , or mobile operating system       functionalities disclosed herein . For example , a computer
    architectures, a cloud -based operating system can be utilized program
    to provide the structure on which embodiments of the medium can               be provided or encoded on a computer-readable
                                                                              such as an optical medium ( i.e. DVD -ROM , etc.),
    disclosure can be implemented. Other aspects of Computing 15 flash drive, hard drive, any memory, firmware , or other
    Device 70 can also be implemented in the cloud without             medium . Machine-readable medium , computer-readable
    departing from the spirit and scope of the disclosure . For        medium , or other such terms may refer to any computer
    example, memory , storage , processing , and/or other ele          program product, apparatus, and / or device for providing
    ments can be hosted in the cloud . In some embodiments ,            instructions and /or data to one or more programmable
    Computing Device 70 can be implemented on multiple 20 processors. Assuch ,machine -readable medium includes any
    devices. For example, a portion of Computing Device 70 can         medium that can send and / or receive machine instructions as
    be implemented on a mobile device and another portion can a machine-readable signal. Examples of a machine-readable
    be implemented on wearable electronics .                         medium include a volatile and /or non -volatile medium , a
       Computing Device 70 can be or include any mobile removable and/or non -removable medium , a communica
    device , a mobile phone , a smartphone ( i.e. iPhone, Windows 25 tion medium , a storage medium , and /or other medium . A
    phone , Blackberry phone, Android phone , etc.), a tablet, a non -transitory machine -readable medium comprises all
    personal digital assistant (PDA ), wearable electronics , machine -readable media except for a transitory, propagating
    implantable electronics, and /or other mobile device capable signal.
    of implementing the functionalities described herein . Com          In some embodiments , the disclosed artificially intelligent
    puting Device 70 can also be or include an embedded 30 devices, systems, and methods for learning and /or using an
    device, which can be any device or system with a dedicated avatar's circumstances for autonomous avatar operation , or
    function within another device or system . Embedded sys elements thereof, can be implemented entirely or in part in
    temsrange from the simplest ones dedicated to one task with a device ( i.e. microchip , circuitry , logic gates, electronic
    no user interface to complex ones with advanced user device , computing device , special or general purpose pro
    interface that may resemble modem desktop computer sys- 35 cessor, etc.) or system that comprises ( i.e. hard coded ,
    tems. Examples of devices comprising an embedded device internally stored , etc.) or is provided with ( i.e. externally
    include a mobile telephone, a personal digital assistant stored , etc. ) instructions for implementing ACAAO func
    (PDA ), a gaming device , a media player, a digital still or tionalities. As such , the disclosed artificially intelligent
    video camera , a pager, a television device, a set- top box , a    devices, systems, and methods for learning and / or using an
    personal navigation device, a global positioning system 40 avatar's circumstances for autonomous avatar operation , or
    (GPS ) receiver, a portable storage device ( i.e. a USB flash      elements thereof, may include the processing , memory,
    drive, etc.), a digital watch , a DVD player , a printer, a storage , and /or other features, functionalities , and embodi
    microwave oven , a washing machine , a dishwasher, a gate ments of Computing Device 70 or elements thereof. Such
    way, a router, a hub , an automobile entertainment system , an device or system can operate on its own ( i.e. standalone
    automobile navigation system , a refrigerator, a washing 45 device or system , etc. ), be embedded in another device or
    machine, a factory automation device , an assembly line system ( i.e. an industrialmachine , a robot, a vehicle , a toy,
    device , a factory floor monitoring device , a thermostat, an a smartphone, a television device, an appliance, and /or any
    automobile , a factory controller, a telephone, a network other device or system capable of housing the elements
    bridge , and/or other devices. An embedded device can needed for ACAAO functionalities ), work in combination
    operate under the controlof an operating system for embed- 50 with other devices or systems, or be available in any other
    ded devices such as MicroC /OS- II, QNX , VxWorks, eCos, configuration . In other embodiments , the disclosed artifi
     TinyOS, Windows Embedded , Embedded Linux , and /or cially intelligentdevices, systems, and methods for learning
    other embedded device operating systems.                          and /or using an avatar's circumstances for autonomous
       Various implementations of the disclosed devices, sys avatar operation , or elements thereof, may include or be
    tems, and methods can be realized in digital electronic 55 interfaced with Alternative Memory 16 that provides
    circuitry, integrated circuitry , logic gates, application spe instructions for implementing ACAAO functionalities to
    cific integrated circuits (ASICs), field programmable gate one or more Processors 11. In further embodiments, the
    arrays (FPGAs), computer hardware , firmware , programs, disclosed artificially intelligent devices, systems, and meth
    virtual machines, and /or combinations thereof including ods for learning and /or using an avatar's circumstances for
    their structural, logical, and /or physical equivalents.       60 autonomous avatar operation , or elements thereof, can be
        The disclosed devices, systems, and methodsmay include implemented entirely or in part as a computer program and
    clients and servers. A client and server are generally, but not executed by one or more Processors 11. Such program can
    always, remote from each other and typically, but not be implemented in one or more modules or units of a single
    always , interact via a network or an interface . The relation    or multiple computer programs. Such program may be able
    ship of a client and server may arise by virtue of computer 65 to attach to or interface with , inspect, and /or take control of
    programs running on their respective computers and having another application program to implement ACAAO func
    a client- server relationship to each other, for example .        tionalities. In further embodiments , the disclosed artificially
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 345 of 2562 PageID #: 13216


                                                        US 10,607,134 B1
                                 65                                                                   66
    intelligent devices, systems, and methods for learning and / or     may be stored in a different arrangement than the arrange
    using an avatar's circumstances for autonomous avatar               ment of the data structure and/ or elements thereof. For
    operation , or elements thereof, can be implemented as a example , a sequence of elements can be stored in an
    network , web , distributed , cloud , or other such application arrangement other than a sequence in a memory , file , or
    accessed on one or more remote computing devices (i.e. 5 other repository .
    servers, cloud , etc.) via Network Interface 25 , such remote           Where a reference to a repository is used herein , it should
    computing devices including processing capabilities and be understood that a repository may be or include one or
    instructions for implementing ACAAO functionalities . In more files or file systems, one or more storage locations or
    further embodiments, the disclosed artificially intelligent structures, one or more storage systems, one or more
    devices, systems, and methods for learning and /or using an 10 memory locations or structures, and /or other file , storage,
    avatar's circumstances for autonomous avatar operation , or memory, or data arrangements .
     elements thereof, can be ( 1) attached to or interfaced with          Where a reference to an interface is used herein , it should
    any computing device or application program , ( 2) included be understood that the interface comprises any hardware ,
    as a feature of an operating system , (3 ) built ( i.e. hard coded , device , system , program , method , and /or combination
    etc.) into any computing device or application program , 15 thereof that enable direct or operative coupling, connection ,
    and /or (4 ) available in any other configuration to provide its    and / or interaction of the elements between which the inter
    functionalities .                                                   face is indicated . A line or arrow shown in the figures
        In some embodiments , the disclosed artificially intelligent between any of the depicted elements comprises such inter
    devices , systems, and methods for learning and /or using an face. Examples of an interface include a direct connection,
    avatar's circumstances for autonomous avatar operation , or 20 an operative connection , a wired connection ( i.e. wire , cable ,
    elements thereof, can be implemented at least in part in a etc.), a wireless connection , a device, a network , a bus, a
    computer program such as Java application or program . Java circuit , a firmware , a driver , a bridge , a program , a combi
    provides a robust and flexible environment for application nation thereof, and/or others.
    programs including flexible user interfaces, robust security,       Where a reference to an element coupled or connected to
    built-in network protocols , powerful application program- 25 another element is used herein , it should be understood that
    ming interfaces, database or DBMS connectivity and inter the element may be in communication or other interactive
    facing functionalities, file manipulation capabilities , support relationship with the other element.
    for networked applications, and /or other features or func          Furthermore , an element coupled or connected to another
    tionalities. Application programs based on Java can be element can be coupled or connected to any other element in
    portable across many devices, yet leverage each device's 30 alternate implementations. Terms coupled , connected , inter
    native capabilities. Java supports the feature sets of most faced , or other such terms may be used interchangeably
    smartphones and a broad range of connected devices while herein depending on context.
    still fitting within their resource constraints. Various Java       Where a reference to an element matching another ele
    platforms include virtual machine features comprising a ment is used herein , it should be understood that the element
    runtime environment for application programs. Java plat- 35 may be equivalent or similar to the other element. Therefore ,
    forms provide a wide range of user -level functionalities that the term match or matching can refer to total equivalence or
    can be implemented in application programs such as dis           similarity depending on context.
    playing text and graphics, playing and recording audio              Where a reference to a device is used herein , it should be
    content, displaying and recording visual content, communi understood that the device may include or be referred to as
    cating with another computing device, and /or other func- 40 a system , and vice versa depending on context, since a
    tionalities . It should be understood that the disclosed artifi     device may include a system of elements and a system may
    cially intelligent devices, systems, and methods for learning       be embodied in a device .
    and /or using an avatar's circumstances for autonomous                 Where a reference to a collection of elements is used
    avatar operation , or elements thereof, are programming herein , it should be understood that the collection of ele
    language, platform , and operating system independent. 45 ments may include one or more elements. In some aspects
    Examples of programming languages that can be used                  or contexts, a reference to a collection of elements does not
    instead of or in addition to Java include C , C ++ , Cobol,         imply that the collection is an element itself.
    Python , Java Script, Td , Visual Basic , Pascal, VB Script,          Where a mention of a function , method, routine, subrou
    Perl, PHP, Ruby, and /or other programming languages tine , or other such procedure is used herein , it should be
    capable of implementing the functionalities described 50 understood that the function , method , routine, subroutine, or
    herein .                                                    other such procedure comprises a call, reference, or pointer
       Where a reference to a specific ile or file type is used to the function , method , routine, subroutine, or other such
    herein , other files or file types can be substituted .     procedure .
      Where a reference to a data structure is used herein , it       Where a mention of data , object, data structure, item ,
    should be understood that any variety of data structures can 55 element, or thing is used herein , it should be understood that
    be used such as, for example , array, list, linked list , doubly the data , object, data structure, item , element, or thing
     linked list, queue, tree, heap , graph , map , grid , matrix , comprises a reference or pointer to the data , object, data
    multi- dimensionalmatrix , table , database, database manage       structure , item , element, or thing .
    ment system (DBMS ), file , neural network , and /or any other       Referring to FIG . 2 , an embodimentof Computing Device
    type or form of a data structure including a custom one . A 60 70 comprising Unit for Learning and/ or Using an Avatar's
    data structure may include one or more fields or data fields Circumstances for Autonomous Avatar Operation (ACAAO
    that are part of or associated with the data structure. A field Unit 100 ) is illustrated . Computing Device 70 also com
    or data field may include a data , an object , a data structure , prises interconnected Processor 11, Display 21, Human
    and / or any other element or a reference/ pointer thereto . A machine Interface 23, Memory 12 , and Storage 27. Proces
    data structure can be stored in one or more memories, files, 65 sor 11 includes or executes Application Program 18
    or other repositories . A data structure and /or elements           comprising Avatar 605 and/or one or more Objects 615 .
    thereof, when stored in a memory , file , or other repository,      ACAAO Unit 100 comprises interconnected Artificial Intel
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 346 of 2562 PageID #: 13217


                                                        US 10,607,134 B1
                                  67                                                                   68
    ligence Unit 110 , Acquisition Interface 120, Modification program , and/ or other mechanism for operating or control
    Interface 130 , and Object Processing Unit 140. Other addi ling Application Program 18 , Avatar 605, Computing Device
    tional elements can be included as needed , or some of the 70 , and /or elements thereof. For example, User 50 may issue
    disclosed ones can be excluded , or a combination thereof an operating direction to Application Program 18 responsive
    can be utilized in alternate embodiments.                         5 to which Application Program’s 18 instructions or instruc
       In one example, the teaching presented by the disclosure tion sets may be executed by Processor 11 to perform a
    can be implemented in a device or system for learning and /or desired operation with / on Avatar 605. User's 50 operating
    using an avatar's circumstances for autonomous avatar directions comprise any user inputted data ( i.e. values, text,
    operating . The device or system may include a processor symbols , etc.), directions ( i.e. move right, move up , move
    circuit ( i.e. Processor 11, etc.) configured to execute instruc- 10 forward , copy an item , click on a link , etc.), instructions or
    tion sets ( i.e. Instruction Sets 526 , etc.) of an application . instruction sets ( i.e. manually inputted instructions or
    The device or system may further include a memory unit instruction sets , etc.), and /or other inputs or information . A
    ( i.e. Memory 12 , etc.) configured to store data. The device        non -human User 50 can utilize more suitable interfaces
    or system may further include an artificial intelligence unit        instead of, or in addition to , Human -machine Interface 23
    ( i.e. Artificial Intelligence Unit 110, etc.). The artificial 15 and /or Display 21 for controlling Application Program 18 ,
    intelligence unit may be configured to receive a first collec Avatar 605 , Computing Device 70 , and /or elements thereof.
    tion of object representations ( i.e. Collection of Object Examples of such interfaces include an application program
    Representations 525 , etc. ), the first collection of object         ming interface (API), bridge (i.e. bridge between applica
    representations including one or more object representations          tions, devices, or systems, etc.), driver, socket, direct or
    representing    one or more objects of the application . The 20 operative connection , handle , function /routine/ subroutine,
    artificial intelligence unit may also be configured to receive and / or other interfaces .
    a first one ormore instruction sets for operating an avatar of        Avatar 605 may be or comprises an object ofApplication
    the application . The artificial intelligence unit may also be Program 18. While Avatar 605 may include any features,
    configured to learn the first collection of object representa       functionalities, and embodiments of Object 615 ( later
    tions correlated with the first one or more instruction sets for 25 described ), Avatar 605 is distinguished herein to portray the
    operating the avatar of the application. The artificial intel relationships and /or interactions between Avatar 605 and
    ligence unit may also be configured to receive a new other Objects 615 of Application Program 18. In some
    collection of object representations, the new collection of aspects , Avatar 605 includes a User 50-controllable object of
    object representations including one or more object repre Application Program 18. Avatar 605 may , therefore, be a
    sentations representing one or more objects of the applica- 30 representation of User 50 or of User's 50 actions, thoughts,
    tion . The artificial intelligence unit may also be configured and /or other expressions. In some designs , Avatar 605
    to anticipate the first one or more instruction sets for             includes a 2D model, a 3D model, a 2D shape (i.e. point,
    operating the avatar of the application correlated with the          line , square , rectangle , cle, triangle, etc.), a 3D shape (i.e.
    first collection of object representations based on at least a cube , sphere , etc.), a graphical user interface (GUI) element,
    partial match between the new collection of object repre- 35 a picture , and /or other models , shapes , elements , or objects .
    sentations and the first collection of object representations . Avatar 605 may perform one or more operations within
    The artificial intelligence unit may also be configured to Application Program 18. For example , Avatar 605 may
    cause the processor circuit to execute the first one or more perform operations including moving, maneuvering , jump
    instruction sets for operating the avatar of the application ing, running, shooting, and/ or other operations within a
    correlated with the first collection of object representations , 40 game or virtual world Application Program 18. While all
    the causing performed in response to the anticipating of the possible variations of operations on /by /with Avatar 605 are
    artificial intelligence unit, wherein the avatar of the appli       too voluminous to list and limited only by Avatar's 605
    cation performs one or more operations defined by the first and /or Application Program’s 18 design , and /or User's 50
    one or more instruction sets for operating the avatar of the utilization , other operations on /by /with Avatar 605 are
    application correlated with the first collection of object 45 within the scope of this disclosure.
    representations. Any of the operations of the aforementioned           Object Processing Unit 140 comprises the functionality
    elements can be performed repeatedly and /or in different for obtaining information of interest on objects of Applica
    orders in alternate embodiments . In some embodiments, a tion Program 18 , and /or other functionalities . As such ,
    collection of object representations may include or be sub          Object Processing Unit 140 can be used to obtain objects
    stituted with a stream of collections of object representa- 50 and /or their properties in Avatar's 605 surrounding within
    tions. In some embodiments of applications that do not Application Program 18. Avatar's 605 surrounding may
    comprise an avatar or rely on avatar for their operation , the include or be defined by Area of Interest 450 (later
    teaching presented by the disclosure can be implemented in described ), part of Application Program 18 that is shown to
      device or system for learning and /or using an application's User 50 (i.e. on a display, via a graphical user interface, etc.),
    circumstances for autonomous application operating. In 55 the entire Application Program 18, any part of Application
    such embodiments , an instruction set for operating an avatar Program 18 , and /or other techniques. In some embodiments ,
    of an application may include or be substituted with an Object Processing Unit 140 comprises the functionality for
    instruction set for operating an application . Other additional creating or generating Collection of Object Representations
    elements can be included as needed , or some of the disclosed 525 (also referred to as Coil of Obj Rep or other suitable
    ones can be excluded , or a combination thereof can be 60 name or reference ) and storing one or more Object Repre
    utilized in alternate embodiments . The disclosed devices and sentations 625 (also referred to simply as object represen
    systemsmay include any actions or operations of any of the tations, representations of objects , or other suitable name or
    disclosed methods such as methods 9100 , 9200, 9300 , 9400, reference ), Object Properties 630 (also referred to simply as
    9500 , 9600 , and/or others (all later described ).                 objectproperties or other suitable name or reference ), and /or
       User 50 (also referred to simply as user or other suitable 65 other elements or information into the Collection of Object
    name or reference) comprises a human user or non -human Representations 525. As such , Collection of Object Repre
    user. A non -human User 50 includes any device , system , sentations 525 comprises the functionality for storing one or
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 347 of 2562 PageID #: 13218


                                                         US 10,607,134 B1
                                  69                                                                    70
    more Object Representations 625 , Object Properties 630 , box , etc.), a data or database element, a spreadsheet element,
    and /or other elements or information . In some designs, a link , a picture , a text (i.e. character, word , etc.), a number,
    Object Representation 625 may include a representation of and /or others in a context of a web browser, a media
     an object ( i.e. Object 615 [ later described ], etc.) in Avatar's application , a word processing application , a spreadsheet
    605 surrounding within Application Program 18. As such , 5 application , a database application , a forms-based applica
     Object Representation 625 may include any information tion , an operating system , a device/system control applica
     related to an object. In other designs, Object Representation tion , and/or others. Object 615 may perform operations
    625 may include or be replaced with an object itself, in within Application Program 18. In one example , a person
    which case Object Representation 625 as an element can be Object 615 may perform operations including moving,
    omitted . In some aspects , Collection of Object Representa- 10 maneuvering , jumping , running, shooting , and /or other
    tions 525 includes one or more Object Representations 625 , operations within a computer game, virtual world , and /or 3D
    Object Properties 630, and/or other elements or information or 2D graphics Application Program 18. In another example,
    related to objects in Avatar's 605 surrounding at a particular a character Object 615 may perform operations including
     time. Collection of Object Representations 525 may, there appearing ( i.e. when typed , etc.), disappearing (i.e. when
     fore, include knowledge ( i.e. unit of knowledge, etc.) of 15 deleted , etc.), formatting (i.e. bolding, italicizing, underlin
     Avatar's 605 circumstance including objects with various ing , coloring, resizing , etc.), and /or other operations within
    properties at a particular time. In some designs, a Collection a word processing Application Program 18. In a further
    of Object Representations 525 may include or be associated example , a picture Object 615 may perform operations
    with a time stamp (not shown ), order (not shown ), or other including resizing, repositioning , rotating , deforming, and /
    time related information . For example, one Collection of 20 or other operations within a graphics Application Program
    Object Representations 525 may be associated with time 18. While all possible variations of operations on/by/with
    stamp t1 , another Collection of Object Representations 525 Object 615 are too voluminous to list and limited only by
    may be associated with time stamp t2 , and so on . Time Object's 615 and /or Application Program's 18 design , and /
    stamps t1 , t2 , etc. may indicate the times of generating or User's 50 utilization , other operations on /by /with Object
    Collections ofObject Representations 525 , for instance . In 25 615 are within the scope of this disclosure . In some aspects ,
    other embodiments , Object Processing Unit 140 comprises any part of Object 615 can be identified as an Object 615
    the functionality for creating or generating a stream of itself . For instance, instead of or in addition to identifying a
    Collections of Object Representations 525. A stream of building as an Object 615 , a window , door, roof, and /or other
    Collections of Object Representations 525 may include one parts of the building can be identified as Objects 615. In
    Collection of Object Representations 525 or a group , 30 general, Object 615 may include any object or part thereof
    sequence, or other plurality of Collections of Object Rep                that can be obtained or recognized .
    resentations 525. In some aspects, a stream of Collections of               Examples of Object Properties 630 ( i.e. also referred to
    Object Representations 525 includes one or more Collec                   simply as object properties, etc.) include existence of Object
    tions of Object Representations 525 , and/or other elements 615 , type of Object 615 (i.e. person , animal, tree , rock ,
    or information related to objects in Avatar’s 605 surrounding 35 building, vehicle, etc.), identity of Object 615 ( i.e. name,
    over time. A stream of Collections of Object Representations identifier, etc. ), distance of Object 615 , bearing/ angle of
    525 may, therefore, include knowledge ( i.e. unit of knowl Object 615 , location of Object 615 ( i.e. distance and bearing /
    edge, etc.) of Avatar's 605 circumstance including objects angle from a known point, coordinates, etc. ), shape/ size of
    with various properties over time. As circumstances includ Object615 ( i.e. scale, height, width , depth , computer model,
    ing objects with various properties in Avatar's 605 surround- 40 etc.), activity of Object 615 (i.e. motion , gestures, etc.),
    ing change (i.e. objects and /or their properties change , and /or other properties of Object 615. Type of Object 615 ,
    move, act, transform , etc. ) over time, this change may be for example, may include any classification of objects rang
    captured in a stream of Collections of Object Representa                 ing from detailed such as person , animal, tree , rock , build
    tions 525. In some designs, each Collection of Object ing, vehicle , etc. to generalized such as biological object,
    Representations 525 in a stream may include or be associ- 45 nature object, manmade object, etc., or models thereof,
    ated with the aforementioned time stamp, order, or other including their sub - types . Location of Object 615 , for
    time related information . For example , one Collection of example , can include a relative location such as one defined
    Object Representations 525 in a stream may be associated by distance and bearing /angle from a known point or loca
    with order 1 , a next Collection of Object Representations tion ( i.e. Avatar 605 location , etc. ). Location of Object 615 ,
    525 in the stream may be associated with order 2, and so on . 50 for example , can also include absolute location such as one
    Orders 1 , 2 , etc. may indicate the orders or places of defined by object coordinates. In general, Object Property
    Collections of Object Representations 525 within a stream 630 may include any attribute of Object 615 ( i.e. existence
    ( i.e. sequence, etc.), for instance. In some implementations, of Object 615 , type of Object 615 , identity of Object 615 ,
    Object Processing Unit 140 and/or any of its elements or shape size of Object 615 , etc.), any relationship of Object
    functionalities can be included or embedded in Computing 55 615 with Avatar 605 , other Object 615 , or the environment
    Device 70 , Processor 11 , Application Program 18, and /or (i.e. distance of Object 615 , bearing/angle of Object 615 ,
    other elements . Object Processing Unit 140 can be provided friend /foe relationship , etc.), and /or other information
    in any suitable configuration .                                          related to Object 615 .
        Examples of Objects 615 (also referred to simply as                     In some embodiments, Object Processing Unit 140 can be
    objects , etc. ) includemodels of a person , animal, tree, rock , 60 utilized for obtaining properties of Objects 615 in Avatar's
    building , vehicle , and /or others in a context of a computer 605 surrounding within Application Program 18. In some
    game, virtual world , 3D or 2D graphics Application Program designs, an engine, environment, or other system used to
    18 , and /or others . More generally, examples of Objects 615 implement Application Program 18 includes functions for
    include a 2D model, a 3D model, a 2D shape ( i.e. point, line , providing properties or other information on Objects 615 .
    square, rectangle , circle , triangle , etc.), a 3D shape (i.e. cube, 65 Object Processing Unit 140 can obtain ObjectProperties 630
    sphere , etc.), a graphical user interface (GUI) element, a          by utilizing the functions. In some aspects, existence of
    form element ( i.e. text field , radio button,push button , check    Object 615 in a 2D or 3D engine or environment can be
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 348 of 2562 PageID #: 13219


                                                       US 10,607,134 B1
                                 71                                                                 72
    obtained by utilizing functions such as GameObject.Find by accessing the object's mesh or computer model. In
    ObjectsOfType (GameObject), GameObject.FindGameOb                 general, any of the aforementioned and /or other properties of
    jects With Tag (“ TagN ” ), or GameObject.Find (" ObjectN ” ) in Object 615 can be obtained by accessing a scene graph or
    Unity 3D Engine; GetAllActorsOfClass ( ) or IsActorInitial other data structure used for organizing objects in a particu
    ized ( ) in Unreal Engine; and/or other functions, procedures , 5 lar engine or environment, finding a specific Object615 , and
    or methods in other 2D or 3D engines or environments. In obtaining or reading any property from the Object 615. Such
    other aspects , type or other classification ( i.e. person , ani accessing can be performed by using the engine’s or envi
    mal, tree , rock , building, vehicle, etc.) ofObject 615 in a 2D  ronment's functions for accessing objects in the scene graph
    or 3D engine or environment can be obtained by utilizing or other data structure or by directly accessing the scene
     functions such as GetClassName(ObjectN ) or ObjectN.get- 10 graph or other data structure . In some designs, functions
     Type ( ) in Unity 3D Engine; ActorN.GetClass ( ) in Unreal and /or other instructions for obtaining properties or other
    Engine ; ObjectN.getClassName( ) or ObjectN.getType ( ) in information on Objects 615 of Application Program 18 can
     Torque 3D Engine; and /or other functions, procedures , or be inserted or utilized in Application Program’s 18 source
    methods in other 2D or 3D engines or environments. In code . In other designs , functions and /or other instructions
    further aspects , identity of Object615 in a 2D or 3D engine 15 for obtaining properties or other information on Objects 615
    or environment can be obtained by utilizing functions such of Application Program 18 can be inserted into Application
    as ObjectN.name or ObjectN.GetInstanceID ( ) in Unity 3D Program 18 through manual, automatic, dynamic , or just
    Engine ; ActorN.GetObjectName( ) or ActorN .GetU                  in - time (JIT ) instrumentation (later described ). In further
    niqueIDO in Unreal Engine; ObjectN.getName( ) or designs , functions and /or other instructions for providing
    ObjectN.getID ( ) in Torque 3D Engine ; and /or other func- 20 properties or other information on Objects 615 of Applica
    tions, procedures, or methods in other 2D or 3D engines or tion Program 18 can be inserted into Application Program 18
    environments . In further aspects , distance of Object 615 through utilizing dynamic code , dynamic class loading,
    relative to Avatar 605 in a 2D or 3D engine or environment reflection , and /or other functionalities of a programming
    can be obtained by utilizing functions such as VectorN.Dis language or platform ; utilizing dynamic, interpreted, and/or
    tance(ObjectA.transform.position , ObjectB.transform.posi- 25 scripting programming languages; utilizing metaprogram
    tion ) in Unity 3D Engine ; GetDistanceTo (ActorA , ActorB )      ming; and/or utilizing other techniques (later described ).
    in Unreal Engine; VectorDist(VectorA , VectorB ) or Vec           Object Processing Unit 140 may include any features, func
    torDist(ObjectA.getPositiono ,ObjectB.getPosition        in       tionalities, and embodiments of Acquisition Interface 120 ,
    Torque 3D Engine ; and/or other functions, procedures, or         Modification Interface 130 , and /or other elements. One of
    methods in other 2D or 3D engines or environments . In 30 ordinary skill in art will understand that the aforementioned
    further aspects, angle , bearing, or direction of Object 615 techniques for obtaining objects and /or their properties are
    relative to Avatar 605 in a 2D or 3D engine or environment described merely as examples of a variety of possible
    can be obtained by utilizing functions such as ObjectB.trans     implementations, and that while all possible techniques for
    form.position ObjectA.transform.position in Unity 3D obtaining objects and/or their properties are too voluminous
    Engine ; FindLookAtRotation ( Target Vector, Start Vector) or 35 to describe, other techniques for obtaining objects and /or
    ActorB >GetActorLocation ( ) - ActorA ?GetActorLoca their properties known in art are within the scope of this
    tion ( ) in Unreal Engine ; ObjectB-> getPosition ( ) -Ob        disclosure. It should be noted that Unity 3D Engine , Unreal
    jectA-> getPosition ( ) in Torque 3D Engine ; and /or other Engine , and Torque 3D Engine are used merely as examples
     functions, procedures , ormethods in other 2D or 3D engines of a variety of engines, environments , or systems that can be
    or environments . In further aspects, location of Object 615 40 used to implement Application Program 18 and any of the
    in a 2D or 3D engine or environment can be obtained by aforementioned functionalities may be provided in other
    utilizing functions such as ObjectN.transform.position in engines, environments, or systems. Also , in some embodi
    Unity 3D Engine; ActorN.GetActorLocation ( ) in Unreal ments, Application Program 18 may not use any engine ,
    Engine ; ObjectN.getPosition ( ) in Torque 3D Engine; and /or environment, or system for its implementation, in which
    other similar functions, procedures, or methods in other 2D 45 case the aforementioned functionalities can be implemented
    or 3D engines or environments . In another example , location within Application Program 18. In general, the disclosed
    ( i.e. coordinates, etc.) of Object 615 on a screen can be devices, systems, and methods are independent of the
    obtained by utilizing WorldToScreen ( ) or other similar engine , environment, or system used to implement Appli
    function or method in various 2D or 3D engines or envi cation Program 18 .
    ronments. In some designs, distance , angle /bearing, and/or 50 In some embodiments of Application Programs 18 that do
    other properties of Object 615 relative to Avatar 605 can not comprise Avatar 605 or rely on Avatar 605 for their
    then be calculated , inferred , derived , or estimated from        operation , Object Processing Unit 140 may obtain objects
    Object’s 615 and Avatar's 605 location information . Object        and /or their properties in Application Program 18 or a part
    Processing Unit 140 may include computational function             thereof. For example, Object Processing Unit 140 can obtain
    alities to perform such calculations, inferences , derivations, 55 objects and /or their properties in the entire Application
    or estimations by utilizing, for example , geometry, trigo Program 18 , a part of Application Program 18 that is shown
    nometry, Pythagorean theorem , and/ or other theorems, for to User 50 ( i.e. on a display, via a graphical user interface,
    mulas, or disciplines . In further aspects, shape/ size of Object etc.), or any part or area of interest (later described ) of
    615 in a 2D or 3D engine or environment can be obtained by Application Program 18. In such embodiments, Object Pro
    utilizing functions such as Bounds.size , ObjectN.transform- 60 cessing Unit 140 can create or generate Collections of
    .localScale , or ObjectN.transform.lossyScale in Unity 3D Object Representations 525 or streams of Collections of
    Engine; ActorN.GetActorBounds ( ), ActorN.GetAc Object Representations 525 comprising knowledge (i.e. unit
    torScale (), or ActorN.GetActorScale3D () in UnrealEngine ;        of knowledge , etc.) of Application Program’s 18 circum
    ObjectN.getObjectBox ( ) or ObjectN.getScale ( ) in Torque stances including objects with various properties. It should
    3D Engine ; and /or other similar functions, procedures, or 65 be noted that a reference to Avatar 605 may include or be
    methods in other 2D or 3D engines or environments. In substituted with a reference to Application Program 18
     some designs , detailed shape of Object 615 can be obtained and /or other processing element, and vice versa , depending
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 349 of 2562 PageID #: 13220


                                                      US 10,607,134 B1
                                 73                                                                 74
    on context ( i.e. whether Avatar's 605 or Application Pro         further embodiments, Picture Renderer 91 can be a program
    gram's 18 operation is being learned and /or used , etc.). Also , or hardware element that is part of or embedded into another
    a reference to operating and/or autonomous operating of element. In one example , a graphics card and /or its graphics
    Avatar 605 may include or be substituted with a reference to processing unit ( i.e.GPU , etc.)may typically include Picture
    operating and / or autonomous operating of Application Pro- 5 Renderer 91. In another example , ACAAO Unit 100 may
     gram 18 and /or other processing element depending on include Picture Renderer 91. In a further example , Applica
    context.                                                          tion Program 18 may include Picture Renderer 91. In
       Referring to FIG . 3, an embodiment of utilizing Picture general, Picture Renderer 91 can be implemented in any
    Renderer 91 and Picture Recognizer 92 is illustrated .            suitable configuration to provide its functionalities . Picture
        Picture Renderer 91 comprises the functionality for ren- 10 Renderer 91 may render or generate one or more digital
    dering or generating one or more digital pictures, and /or pictures or streams of digital pictures ( i.e. motion pictures ,
    other functionalities. Picture Renderer 91 comprises the video , etc.) in various formats examples of which include
    functionality for rendering or generating one or more digital JPEG ,GIF , TIFF , PNG , PDF,MPEG , AVI, FLV, MOV, RM ,
    pictures of Application Program 18. In some aspects , as a SWF, WMV, DivX , and /or others . In some designs , Picture
    camera is used to capture pictures of a physical environment, 15 Renderer 91 can render or generate different digital pictures
    Picture Renderer 91 can be used to render or generate of Avatar's 605 visual surrounding or of views of Applica
    pictures of a computer modeled or represented environment. tion Program 18 for displaying on Display 21 and for
    As such , Picture Renderer 91 can be used to render or facilitating object recognition functionalities herein . For
    generate views of Application Program 18. In some designs , example , a third -person view may be displayed on Display
    Picture Renderer 91 can be used to render or generate one or 20 21 for User 50 to see and a first -person view may be used to
    more digital pictures depicting a view of an Avatar's 605 facilitate object recognition functionalities herein . In some
    visual surrounding in a 3D Application Program 18 ( i.e. 3D implementations of non -graphical Application Programs 18
    computer game, virtual world application, CAD application , such as simulations, calculations, and/or others, Picture
    etc.). In one example , a view may include a first-person view Renderer 91 may render or generate one or more digital
    or perspective such as a view through an avatar's eyes that 25 pictures of Avatar's 605 visual surrounding or of views of
    showsobjects around the avatar, but does not typically show       Application Program 18 to facilitate object recognition
    the avatar itself. First-person view may sometimes include functionalities herein where the one or more digital pictures
    the avatar's hands, feet, other body parts , and /or objects that are never displayed . In some aspects , instead of or in
    the avatar is holding. In another example, a view may addition to Picture Renderer 91, one or more digital pictures
    include a third -person view or perspective such as a view 30 of Avatar's 605 visual surro  rrounding or of views of Applica
    that shows an avatar as well as objects around the avatar tion Program 18 can be obtained from any element of a
    from an observer's point of view . In a further example , a computing device or system that can provide such digital
    view may include a view from a front of an avatar. In a pictures. Examples of such elements include a graphics
     further example, a view may include a view from a side of circuit , a graphics system , a graphics driver , a graphics
    an avatar. In a further example, a view may include any 35 interface , and /or others .
    stationary or movable view such as a view through a                  Picture Recognizer 92 comprises the functionality for
    simulated camera in a 3D Application Program 18. In other detecting or recognizing objects and /or their properties in
    designs, Picture Renderer 91 can be used to render or visual data , and /or other disclosed functionalities . Visual
    generate one or more digital pictures depicting a view of a data includes digital motion pictures, digital still pictures,
    2D Application Program 18. In one example, a view may 40 and /or other visual data . Examples of file formats that can be
    include a screenshot or portion thereof of a 2D Application utilized to store visual data include JPEG , GIF , TIFF, PNG ,
    Program 18. In a further example , view may include an PDF, MPEG , AVI, FLV , MOV , RM , SWF, WMV, DivX ,
    area of interest of a 2D Application Program 18. In a further and /or other file formats . In some designs, Picture Recog
    example, a view may include a top -down view of a 2D nizer 92 can be used for detecting or recognizing objects
    Application Program 18. In a further example, a view may 45 and /or their properties in one or more digital pictures from
    include a side -on view of a 2D Application Program 18. Any Picture Renderer 91. For example, Picture Recognizer 92
    other view can be utilized in alternate designs . Any view can be utilized in detecting or recognizing existence of an
    utilized in a 3D Application Program 18 can similarly be object, type of an object, identity of an object , shape size of
    utilized in a 2D Application Program 18 as applicable, and an object, activity of an object, and /or other properties of an
    vice versa . In some implementations, Picture Renderer 91 50 object. In general, Picture Recognizer 92 can be used for any
    may include any graphics processing device , apparatus, operation supported by Picture Recognizer 92. Picture Rec
    system , or application that can render or generate one or ognizer 92 may detect or recognize an object and / or its
    more digital pictures from a computer (i.e. 3D , 2D , etc.) properties as well as track the object and / or its properties in
    model or representation . In some aspects , rendering, when one or more digital pictures or streams of digital pictures
    used casually , may refer to rendering or generating one or 55 ( i.e. motion pictures, video , etc. ). In the case of a person ,
    more digital pictures from a computer model or represen           Picture Recognizer 92 may detect or recognize a human
    tation , providing the one ormore digital pictures to a display head or face, upper body, full body, or portions/combina
    device, and /or displaying of the one ormore digital pictures tions thereof. In some aspects, Picture Recognizer 92 may
    on a display device . In some embodiments, Picture Renderer detect or recognize objects and/or their properties from a
    91 can be a program executing or operating on Processor 11. 60 digital picture by comparing regions of pixels from the
    In one example , Picture Renderer 91 can be provided in a digital picture with collections of pixels comprising known
    rendering engine such as Direct3D , OpenGL, Mantle , and /or objects and/or their properties. The collections of pixels
    other programs or systems for rendering or processing 3D or comprising known objects and /or their properties can be
    2D graphics . In other embodiments , Picture Renderer 91 can learned or manually , programmatically , or otherwise
    be part of, embedded into , or built into Processor 11. In 65 defined . The collections of pixels comprising known objects
    further embodiments, Picture Renderer 91 can be a hardware and/or their properties can be stored in any data structure or
    element coupled to Processor 11 and /or other elements . In repository ( i.e. one ormore files, database , etc. ) that resides
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 350 of 2562 PageID #: 13221


                                                        US 10,607,134 B1
                                  75                                                                  76
    locally on Computing Device 70 , or remotely on a remote example , thresholds for similarity , statistical techniques,
    computing device ( i.e. server, cloud , etc.) accessible over a and /or optimization techniques can be utilized to determine
    network or an interface. In other aspects , Picture Recognizer a match in any of the above -described detection or recog
    92 may detect or recognize objects and /or their properties nition techniques .
    from a digital picture by comparing features ( i.e. lines , 5 Various aspects or properties of digital pictures or pixels
    edges, ridges, corners, blobs, regions, etc.) of the digital can be taken into accountby Picture Recognizer 92 in any
    picture with features of known objects and /or their proper of the recognizing or comparisons . Examples of such
    ties. The features of known objects and/or their properties aspects or properties include color adjustment, size adjust
    can be learned or manually, programmatically , or otherwise ment, content manipulation , transparency ( i.e. alpha chan
    defined . The features of known objects and /or their proper- 10 nel, etc.), use of mask , and /or others. In some implementa
    ties can be stored in any data structure or repository ( i.e. tions, as digital pictures can be captured or generated by
    neural network , one or more files, database , etc.) that resides various equipment, in various environments, and under
     locally on Computing Device 70 , or remotely on a remote various lighting conditions, Picture Recognizer 92 can
    computing device ( i.e. server , cloud , etc.) accessible over a adjust lighting or color of pixels or otherwise manipulate
    network or an interface . Typical steps or elements in a 15 pixels before or during comparison . Lighting or color adjust
     feature oriented picture recognition include pre- processing, ment (also referred to as gray balance , neutral balance, white
    feature extraction, detection/ segmentation , decision -mak            balance , etc.) may generally include manipulating or rebal
    ing , and /or others , or a combination thereof, each of which ancing the intensities of the colors (i.e. red , green , and /or
    may include its own sub -steps or sub -elements depending on blue if RGB color model is used, etc.) of one ormore pixels .
    the application . In further aspects , Picture Recognizer 92 20 For example , Picture Recognizer 92 can adjust lighting or
    may detect or recognize multiple objects and / or their prop           color of some or all pixels of one picture to make it more
    erties from a digital picture using the aforementioned pixel comparable to another picture . Picture Recognizer 92 can
    or feature comparisons , and /or other detection orrecognition also incrementally adjust the pixels such as increasing or
    techniques. For example, a picture may depict two objects in decreasing the red , green , and/or blue pixel values by a
    two of its regions both of which Picture Recognizer 92 can 25 certain amount in each cycle of comparisons in order to find
    detect simultaneously . In further aspects , where objects a similarity or match at one of the incremental adjustment
    and /or their properties span multiple pictures, Picture Rec           levels. Any of the publically available, custom , or other
    ognizer 92 may detect or recognize objects and /or their lighting or color adjustment techniques or programs can be
    properties by applying the aforementioned pixel or feature utilized such as color filters , color balancing, color correc
    comparisons and /or other detection or recognition tech- 30 tion , and /or others. In other implementations, Picture Rec
    niques over a stream of digital pictures ( i.e. motion picture , ognizer 92 can resize or otherwise transform a digitalpicture
    video , etc. ). For example , once an object is detected in a before or during comparison . Such resizing or transforma
    digital picture (i.e. frame, etc.) of a stream of digital pictures tion may include increasing or decreasing the number of
    ( i.e. motion picture , video , etc.), the region of pixels com        pixels of a digital picture . For example, Picture Recognizer
    prising the detected object or the object's features can be 35 92 can increase or decrease the size of a digital picture
     searched in other pictures of the stream of digital pictures, proportionally ( i.e. increase or decrease length and /or width
     thereby tracking the object through the stream of digital keeping aspect ratio constant, etc. ) to equate its size with the
    pictures. In further aspects , Picture Recognizer 92 may size of another digital picture . Picture Recognizer 92 can
    detect or recognize an object's activities by identifying also incrementally resize a digital picture such as increasing
    and /or analyzing differences between a detected region of 40 or decreasing the size ofthe digital picture proportionally by
    pixels of one picture ( i.e. frame, etc.) and detected regions a certain amount in each cycle of comparisons in order to
    of pixels of other pictures in a stream of digital pictures. For find a similarity or match at one of the incremental sizes .
    example , a region of pixels comprising a person's face can Any of the publically available , custom , or other digital
    be detected in multiple consecutive pictures of a stream of picture resizing techniques or programs can be utilized such
    digital pictures ( i.e. motion picture , video , etc.). Differences 45 as nearest- neighbor interpolation , bilinear interpolation ,
    among the detected regions of the consecutive pictures may             bicubic interpolation, and /or others. In further implementa
    be identified in the mouth part of the person's face to tions, Picture Recognizer 92 can manipulate content ( i.e. all
     indicate smiling or speaking activity. In further aspects, pixels, one or more regions, one or more depicted objects,
    Picture Recognizer 92 may detect or recognize objects etc.) of a digital picture before or during comparison . Such
    and /or their properties using one or more artificial neural 50 contentmanipulation may includemoving, centering, align
    networks, which may include statistical techniques . ing, resizing , transforming, and/or otherwise manipulating
    Examples of artificial neural networks that can be used in content of a digital picture . For example , Picture Recognizer
    Picture Recognizer 92 include convolutional neural net 92 can move, center, or align content of one picture to make
    works (CNNs), time delay neural networks ( TDNNs), deep it more comparable to another picture. Any ofthe publically
    neural networks, and /or others . In one example , picture 55 available , custom , or other digital picture manipulation
    recognition techniques and/or tools involving convolutional techniques or programscan be utilized such as pixelmoving,
    neural networks may include identifying and/or analyzing warping, distorting , aforementioned interpolations, and/or
     tiled and/or overlapping regions or features of a digital others . In further implementations, in digital pictures com
    picture, which may then be used to search for pictures with prising transparency features or functionalities, Picture Rec
    matching regions or features. In another example , features of 60 ognizer 92 can utilize a threshold for acceptable number or
    different convolutional neural networks responsible for spa percentage transparency difference. Alternatively, transpar
    tial and temporal streams can be fused to detect objects ency can be applied to one or more pixels of a digital picture
    and/ or their properties in streams of digital pictures ( i.e. and color difference may then be determined between com
    motion pictures, videos , etc. ). In general, Picture Recognizer pared pixels taking into account the transparency related
    92 may include any machine learning , deep learning , and /or 65 color effect . Alternatively , transparent pixels can be
    other artificial intelligence techniques . Any other techniques excluded from comparison . In further implementations, cer
    known in art can be utilized in Picture Recognizer 92. For tain regions or subsets of pixels can be ignored or excluded
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 351 of 2562 PageID #: 13222


                                                        US 10,607,134 B1
                                  77                                                                   78
    during comparison using a mask . In general, any region or be used to render or generate sound of Application Program
    subset of a picture determined to contain no content of 18. In some designs, Sound Renderer 96 can be used to
     interest can be excluded from comparison using a mask . render or generate digital sound from Avatar's 605 surround
     Examples of such regions or subsets include background , ing in a 3D Application Program 18 ( i.e. 3D computer game,
    transparent or partially transparent regions, regions com- 5 virtual world application , CAD application , etc.). For
    prising insignificant content, or any arbitrary region or example , emission of a sound from a sound source may be
    subset. Picture Recognizer 92 can perform any other pre
    processing or manipulation of digital pictures or pixels simulated Program
                                                                                 /modeled in a virtual space of a 3D Application
                                                                                18  , propagation of the sound may be simulated /
    before or during recognizing or comparison .                       modeled  through   the virtual space including any scattering ,
        In some exemplary embodiments , object recognition tech- 10 reflections , refractions  , diffractions, and /or other effects, and
    niques and /or tools such as OpenCV (Open Source Com the sound may be rendered                     or generated as perceived by a
    puter Vision ) library, CamFind API, Kooaba, 6 px API, listener i.e. Avatar 605 , etc.                ). In other designs, Sound
    Dextro API, and /or others can be utilized for detecting or
    recognizing objects and/ or their properties in digital pic Renderer          96 can be used to render or generate digital sound
    tures. In some aspects , picture recognition techniques and /or 15 of
                                                                       the
                                                                          a 2D Application Program 18 which may include any of
                                                                           aforementioned and/or other sound simulation /modeling
    tools involve identifying and /or analyzing features such as
    lines, edges, ridges, corners , blobs, regions, and/or their as applicable to 2D spaces. In further designs, Sound Ren
    relative positions, sizes, shapes, etc. , which may then be derer 96 can be optionally omitted in a simple Application
    used to search for pictures with matching features. For Program 18 where no sound simulation/modeling is needed
     example, OpenCV library can detect an object (i.e. person , 20 or where sounds may simply be played . In some implemen
    animal, vehicle, rock , etc.) and /or its properties in one or tations, Sound Renderer 96 may include any sound process
    more digital pictures from Picture Renderer 91 or stored in ing device, apparatus, system , or application that can render
     an electronic repository , which can then be utilized in or generate digital sound . In some aspects , rendering, when
    ACAAO Unit 100, Artificial Intelligence Unit 110, and /or used casually, may refer to rendering or generating digital
    other elements. In other exemplary embodiments, facial 25 sound from a computer model or representation , providing
    recognition techniques and/or tools such as OpenCV (Open             digital sound to a speaker or headphones, and /or producing
    Source Computer Vision ) library, Animetrics FaceR API,              the sound by a speaker or headphones . In some embodi
    Lambda Labs Facial Recognition API, Face ++ SDK , Neven         ments , Sound Renderer 96 can be a program executing or
    Vision (also known as N -Vision ) Engine , and /or others can operating on Processor 11. In one example , Sound Renderer
    be utilized for detecting or recognizing faces in digital 30 96 can be provided in a rendering engine such as Sound
    pictures. In some aspects, facial recognition techniques Scape Renderer, SLAB Spatial Audio Renderer, Uni -Verse
    and/or tools involve identifying and /or analyzing facial Sound Renderer, Crepo Sound Renderer, and /or other pro
    features such as the relative position , size, and /or shape of grams or systems for rendering or processing sound. In
    the eyes, nose , cheekbones, jaw , etc., which may then be another example, various engines or environments such as
    used to search for pictures with matching features. For 35 Unity 3D Engine, Unreal Engine, Torque 3D Engine, and/or
    example , FaceR API can detect a person's face in one or others provide built-in sound renderers. In other embodi
    more digital pictures from Picture Renderer 91 or stored in         ments, Sound Renderer 96 can be part of, embedded into , or
    an electronic repository , which can then be utilized in            built into Processor 11. In further embodiments, Sound
    ACAAO Unit 100 , Artificial Intelligence Unit 110 , and /or         Renderer 96 can be a hardware element coupled to Processor
    other elements .                                                 40 11 and /or other elements. In further embodiments, Sound
       It should be noted that Picture Renderer 91 and Picture          Renderer 96 can be a program or hardware element that is
    Recognizer 92 can optionally be used to detect objects part of or embedded into another element . In one example,
    and /or their properties that cannot not be obtained from a sound card and /or its processing unit may include Sound
    Application Program 18 or from an engine , environment, or Renderer 96. In another example , ACAAO Unit 100 may
    system used to implement Application Program 18. Picture 45 include Sound Renderer 96. In a further example, Applica
    Renderer 91 and Picture Recognizer 92 can also optionally tion Program 18 may include Sound Renderer 96. In general,
    be used where Picture Renderer 91 and Picture Recognizer Sound Renderer 96 can be implemented in any suitable
    92 offer superior performance in detecting objects and /or configuration to provide its functionalities. Sound Renderer
    their properties. Picture Renderer 91 and Picture Recognizer 96 may render or generate digital sound in various formats
    92 can also optionally be used to confirm objects and /or their 50 examples of which include WAV , WMA , AIFF , MP3, RA ,
    properties obtained or detected by other means. For OGG , and /or others. In some designs , Sound Renderer 96
    example , identity of an object, type of an object, and /or can render or generate different digital sound of an Appli
    action of an object, if needed , can be recognized or con          cation Program 18 for production on a speaker or head
    firmed through picture processing of Picture Renderer 91 phones and for facilitating object recognition functionalities
    and Picture Recognizer 92. Picture Renderer 91 and Picture 55 herein . For example , sound of Avatar's 605 shooting may be
    Recognizer 92 can be omitted depending on implementa          produced by a speaker or headphones for User 50 to hear and
    tion .                                                        sound of various objects in Avatar's 605 surrounding may be
       Referring to FIG . 4 , an embodiment of utilizing Sound used to facilitate object recognition functionalities herein . In
    Renderer 96 and Sound Recognizer 97 is illustrated .          some implementations of non -acoustic Application Pro
       Sound Renderer 96 comprises the functionality for ren- 60 grams 18 such as simulations, calculations, and /or others ,
    dering or generating digital sound, and /or other functional Sound Renderer 96 may render or generate digital sound as
    ities. Sound Renderer 96 comprises the functionality for perceived by Avatar 605 to facilitate object recognition
    rendering or generating digital sound of Application Pro      functionalities herein where the sound is never produced on
    gram 18. In some aspects , as a microphone is used to capture a speaker or headphones. In some aspects , instead of or in
    sound of a physical environment, Sound Renderer 96 can be 65 addition to Sound Renderer 96 , digital sound perceived by
    used to render or generate sound of a computer modeled or            Avatar 605 can be obtained from any element of a comput
    represented environment. As such , Sound Renderer 96 can             ing device or system that can provide such digital sound .
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 352 of 2562 PageID #: 13223


                                                       US 10,607,134 B1
                                 79                                                                 80
    Examples of such elements include an audio circuit, an              for similarity , statistical techniques, and /or optimization
    audio system , an audio driver, an audio interface , and /or        techniques can be utilized to determine a match in any of the
    others .                                                            above -described detection or recognition techniques.
       Sound Recognizer 97 comprises the functionality for                 In some exemplary embodiments, operating system's
    detecting or recognizing objects and/or their properties in 5 sound recognition functionalities such as iOS's Voice Ser
    audio data, and/or other disclosed functionalities. Audio data vices , Siri, and/or others can be utilized in Sound Recog
    includes digital sound , and/or other audio data . Examples of nizer 97. For example , iOS Voice Services can detect an
    file formats that can be utilized to store audio data include object ( i.e. person , etc.) and /or its properties in digital sound
    WAV , WMA, AIFF, MP3 , RA , OGG , and /or other file from Sound Renderer 96 or stored in an electronic reposi
     formats. In some designs, Sound Recognizer 97 can be used 10 , which can then be utilized in ACAAO Unit 100,
    for detecting or recognizing objects and /or their properties in tory
    digital sound from Sound Renderer 96. In the case of a Artificial              Intelligence Unit 110 , and /or other elements . In
    person , Sound Recognizer 97 may detect or recognize other                 exemplary embodiments , Java Speech API (JSAPI)
                                                                        implementation such as The Cloud Garden , Sphinx , and /or
    human voice . For example, Sound Recognizer 97 can be others
    utilized in detecting or recognizing existence of an object, 15 Cloud can      be utilized in Sound Recognizer 97. For example ,
                                                                                Garden JSAPI can detect an object ( i.e. person,
     type of an object, identity of an object , activity of an object,
    and /or other properties of an object. In general, Sound animal, vehicle, etc.) and/or its properties in digital sound
    Recognizer 97 can be used for any operation supported by from Sound Renderer 96 or stored in an electronic reposi
    Sound Recognizer 97. In some aspects, Sound Recognizer tory , which can then be utilized in ACAAO Unit 100 ,
    97 may detect or recognize an object and /or its properties 20 Artificial Intelligence Unit 110 , and /or other elements . Any
     from a digital sound by comparing collections of sound other programming language's or platform's speech or
    samples from the digital sound with collections of sound sound processing API can similarly be utilized . In further
    samples of known objects and /or their properties. The col exemplary embodiments , applications or engines providing
    lections of sound samples of known objects and /or their Sound recognition functionalities such as HTK (Hidden
    properties can be learned , or manually , programmatically , or 25 Markov Model Toolkit), Kaldi, OpenEars , Dragon Mobile,
    otherwise defined . The collections of sound samples of Julius, iSpeech , CeedVocal, and /or others can be utilized in
    known objects and /or their properties can be stored in any Sound Recognizer 97. For example , Kaldi SDK can detect
    data structure or repository ( i.e. one or more files, database , an object ( i.e. person, animal, vehicle , etc. ) and /or its
     etc.) that resides locally on Computing Device 70 , or properties in digital sound from Sound Renderer 96 or stored
    remotely   on a remote computing device (i.e. server, cloud, 30 in an electronic repository , which can then be utilized in
    etc.) accessible over a network or an interface . In other ACAAO Unit 100 , Artificial Intelligence Unit 110 , and/or
    aspects, Sound Recognizer 97 may detect or recognize an other elements.
    object and /or its properties from a digital sound by compar           It should be noted that Sound Renderer 96 and Sound
    ing features from the digital sound with features of sounds Recognizer
    of known objects and /or their properties. The features of 35 and /or their 97properties
                                                                                          can optionally be used to detect objects
    sounds of known objects and/or their properties can be Application Program 18 that                  cannot not be obtained from
                                                                                                   or from an engine, environment, or
    learned , or manually , programmatically , or otherwise system used to implement                  Application Program 18. Sound
    defined . The features of sounds of known objects and /or
    their properties can be stored in any data structure or             Renderer   96 and  Sound   Recognizer  97 can also optionally
    repository ( i.e. neural network , one or more files, database , 40 be used where Sound Renderer 96 and Sound Recognizer 97
    etc.) that resides locally on Computing Device 70 , or offer superior performance in detecting objects and /or their
    remotely on a remote computing device ( i.e. server, cloud, properties . Sound Renderer 96 and Sound Recognizer 97
    etc.) accessible over a network or an interface. Typical steps can also optionally be used to confirm objects and / or their
    or elements in a feature oriented sound recognition include properties obtained or detected by other means . For
    pre-processing, feature extraction , acoustic modeling , lan- 45 example , identity of an object, type of an object, and /or
    guage modeling, and /or others , or a combination thereof, activity of an object, if needed , can be recognized or
    each of which may include its own sub -steps or sub                 confirmed through sound processing of Sound Renderer 96
    elements depending on the application . In further aspects, and Sound Recognizer 97. Sound Renderer 96 and Sound
    Sound Recognizer 97 may detect or recognize a variety of Recognizer 97 can be omitted depending on implementa
    sounds from digital sound using the aforementioned sound 50 tion .
    sample or feature comparisons, and /or other detection or              One of ordinary skill in art will understand that the
    recognition techniques. For example , sound of a person , aforementioned techniques for detecting or recognizing
    animal, vehicle, and / or other sounds can be detected by objects and / or their properties using pictures and sounds are
     Sound Recognizer 97. In further aspects , Sound Recognize          described merely as examples of a variety of possible
    97 may detect or recognize sounds using Hidden Markov 55 implementations, and that while all possible techniques for
    Models (HMM ), Artificial Neural Networks, Dynamic Time detecting or recognizing objects and /or their properties are
    Warping (DTW ),Gaussian Mixture Models (GMM ), and /or too voluminous to describe, other techniques for detecting or
    other models or techniques, or a combination thereof. Some recognizing objects and /or their properties known in art are
    or all of these models or techniques may include statistical within the scope of this disclosure. Also , any signal pro
    techniques. Examples of artificial neural networks that can 60 cessing technique known in art that can facilitate the dis
    be used in Sound Recognizer 97 include recurrent neural            closed functionalities can be utilized in various embodi
    networks, time delay neural networks ( TDNNs),deep neural          ments . Any combination of the aforementioned and/or other
    networks, convolutional neural networks, and/or others. In         renderers , object detecting or recognizing techniques, signal
     general, Sound Recognizer 97 may include any machine processing techniques, and/or other elements or techniques
     learning, deep learning, and /or other artificial intelligence 65 can be used in various embodiments.
    techniques . Any other techniques known in art can be                Referring to FIGS. 5A -5B , an exemplary embodiment of
    utilized in Sound Recognizer 97. For example, thresholds Objects 615 (also referred to simply as objects or other
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 353 of 2562 PageID #: 13224


                                                        US 10,607,134 B1
                                  81                                                                   82
     suitable name or reference) in Avatar's 605 surrounding , and excluded , or a combination thereof can be utilized in alter
     resulting Collection of Object Representations 525 are illus nate embodiments of Collection of Object Representations
    trated .                                                         525 .
        As shown for example in FIG . 5A , Object 615a exists in        Referring now to ACAAO Unit 100, ACAAO Unit 100
     Avatar's 605 surrounding . Object 615a may be recognized 5 comprises any hardware, programs, or a combination
    as a person. Object 615a may be located at a distance of 13 thereof. ACAAO Unit 100 comprises the functionality for
    m from Avatar 605. Object 615a may be located at a learning                the operation of Avatar 605 in circumstances
                                                                     including objects with various properties. ACAAO Unit 100
    bearing/angle of 78 ° from Avatar's 605 centerline . Object comprises        the functionality for structuring and/or storing
    615a may be identified as Agent Smith . Furthermore, Object 10 this knowledge
    615b exists in Avatar's 605 surrounding. Object 615b may graph , sequencesin, other    a knowledgebase ( i.e. neural network ,
                                                                                                repository, etc. ). ACAAO Unit 100
    be recognized as a rock . Object 615b may be located at a
    distance of 10 m from Avatar 605. Object 615b may be comprises              the functionality for enabling autonomous opera
                                                                     tion of Avatar 605 in circumstances including objects with
    located at a bearing/angle of 211 ° from Avatar's 605 cen various         properties. In some embodiments of Application
    surrounding . Object 615C may be recognized as a robot. Avatar 605 18forthat
    terline . Furthermore , Object   615c exists  in Avatar's 605 15  Programs           do not comprise Avatar 605 or rely on
    Object 615cmay be located at a distance of 8 m from Avatar the functionality foroperation
                                                                                     their           , ACAAO Unit 100 comprises
                                                                                             learning the operation of Application
    605. Object 615c may be located at a bearing/angle of 332 ° Program 18 in circumstances including objects with various
    from Avatar's 605 centerline . Any Objects 615 instead of or         properties similar to the learning functionalities described
    in addition to Object 615a , Object 615b , and Object 615C 20 with respect to Avatar 605. Also, in such embodiments,
    may exist in Avatar's 605 surrounding, one ormore ofwhich ACAAO Unit 100 comprises the functionality for enabling
    can be obtained , learned , and /or used . In some designs, some autonomous operation of Application Program 18 in circum
    Objects 615 can be omitted . Which Objects 615 or types of           stances including objects with various properties similar to
    Objects 615 are obtained , learned , and /or used can be the autonomous operation functionalities described with
    defined by a user, by ACAAO system administrator, or 25 respect to Avatar 605. ACAAO Unit 100 comprises the
    automatically by the system based on experience, testing, functionality for interfacing with or attaching to Avatar 605 ,
     inquiry , analysis, synthesis, or other techniques, knowledge , Application Program 18 , Processor 11 , and/ or other process
    or input. In further designs, a 3D Application Program 18 ing element. ACAAO Unit 100 comprises the functionality
    may include elevated Objects 615 such as flying objects ( i.e. for obtaining instruction sets , data, and /or other information
     flying animals, aircraft, etc. ), objects on hills or mountains, 30 used , implemented , and/or executed by Avatar 605 , Appli
    objects on buildings, and / or others in which case altitudinal cation Program 18 , Processor 11 , and /or other processing
     information related to distance and bearing/angle ofObjects element. ACAAO Unit 100 comprises the functionality for
    615 relative to Avatar 605 can be obtained , learned , and /or modifying instruction sets, data , and /or other information
    used . Any unit of distance and /or bearing/angle can be used , implemented , and/or executed by Avatar 605 , Appli
    utilized instead of or in addition to meters and /or angular 35 cation Program 18, Processor 11, and /or other processing
    degrees.                                                             element. ACAAO Unit 100 comprises learning , anticipating,
        As shown for example in FIG . 5B , Object Processing Unit decision making, automation , and / or other functionalities
     140 may create or generate Collection of Object Represen            disclosed herein . Statistical, artificial intelligence , machine
    tations 525 including Object Representation 625a represent learning , and/or other models or techniques are utilized to
    ing Object 615a , Object Representation 625b representing 40 implement the disclosed devices, systems, and methods. In
    Object 615b , Object Representation 625c representing some designs, ACAAO Unit 100 and/or elements thereof
    Object 6150 , etc. For instance , Object Representation 625a may be or include a hardware element embedded or built
    may include Object Property 630aa “ Person” in Category into Processor 11 , and /or other processing element. In other
    635aa “ Type” , Object Property 630ab “ Agent Smith ” in designs, ACAAO Unit 100 and/or elements thereofmay be
    Category 635ab “ Identity ” , Object Property 630ac “ 13 m ” 45 or include a hardware element coupled to or interfaced with
    in Category 635ac “ Distance " ,Object Property 630ad " 780" Avatar 605 , Application Program 18, Processor 11 , and /or
    in Category 635ad “ Bearing” , etc. Also , Object Represen           other processing element. In other designs, ACAAO Unit
    tation 625b may include Object Property 630ba “ Rock ” in 100 and /or elements thereof may be or include a program
    Category 635ba “ Type” , Object Property 630bb " 10 m ” in operating on Processor 11, and / or other processing element.
    Category 635bb “ Distance ” , Object Property 630bc " 211 "” 50 In further designs, ACAAO Unit 100 and /or elements
    in Category 635bc " Bearing” , etc. Also , Object Represen           thereofmay be or include a program coupled to or interfaced
    tation 625c may include Object Property 630ca “ Robot” in with Avatar 605 , Application Program 18 , Processor 11,
     Category 635ca “ Type” , Object Property 630cb " 8 m ” in and /or other processing element. In further designs, ACAAO
     Category 635cb “ Distance ”, Object Property 630cc “ 3320" Unit 100 and /or elements thereof may be or include a
    in Category 635cc “ Bearing” , etc. Any number of Object 55 program embedded or built into Avatar 605 , Application
    Representations 625 , and/or other elements or information Program 18 , and / or other processing element. ACAAO Unit
    can be included in Collection of ObjectRepresentations 525 . 100 can be provided in a combination of the aforementioned
    Any number of Object Properties 630 (also referred to or other suitable configurations in alternate designs.
    simply as object properties or other suitable name or refer        When ACAAO Unit 100 functionalities are applied to
    ence ), and/ or other elements or information can be included 60 Avatar 605 , Application Program 18, Processor 11, and /or
    in an Object Representation 625. In some aspects, a refer other processing element, Avatar 605 , Application Program
    ence to Collection ofObject Representations 525 comprises 18, Processor 11 , and/or other processing element may
    a reference to a collection of Object Properties 630 and /or become autonomous . ACAAO Unit 100 may take control
    other elements or information related to one or more Objects from , share control with , and /or release control to Avatar
    615. Other additional Object Representations 625 , Object 65 605 , Application Program 18 , Processor 11 , and/or other
    Properties 630 , elements , and/or information can be processing element to implement autonomous operation of
    included as needed , or some of the disclosed ones can be            Avatar 605 , Application Program 18 , Processor 11 , and / or
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 354 of 2562 PageID #: 13225


                                                       US 10,607,134 B1
                                 83                                                               84
    other processing element. ACAAO Unit 100 may take and / or non -ACAAO system is in control of Avatar 605 ,
    control from , share control with , and /or release control to thereby reducing or eliminating the need for future involve
    Avatar 605 , Application Program 18 , Processor 11, and /or ment of User 50 and / or non -ACAAO system . In another
    other processing element automatically or after prompting example , User 50 and /or non - ACAAO system may be a
    User 50 to allow it. In some aspects , Avatar 605 , Application 5 primary or preferred system for implementing Avatar's 605
    Program 18 , Processor 11, and /or other processing element operation. While operating under the control of User 50
    may include or be provided with anticipatory (also referred and/or non -ACAAO system , User 50 and /or non1 -ACAAO
    to as alternate or other suitable name or reference ) instruc      system may release control to ACAAO Unit 100 for any
    tions or instruction sets that User 50 did not issue or cause reason (i.e. User 50 gets tired or distracted , non-ACAAO
    to be executed . Such anticipatory instructions or instruction 10 system gets stuck or cannot make a decision , etc.), at which
    sets include instruction sets that User 50 may want or is point Avatar 605 can be controlled by ACAAO Unit 100. In
    likely to issue or cause to be executed . Anticipatory instruc     some designs, ACAAO Unit 100 may take control in certain
    tions or instruction sets can be generated by ACAAO Unit special circumstances including objects with various prop
     100 or elements thereof based on circumstances including erties where ACAAO Unit 100 may offer superior perfor
    objects with various properties . As such , Avatar 605 , Appli- 15 mance even though User 50 and/or non -ACAAO system
    cation Program 18 , Processor 11 , and /or other processing may generally be preferred . Once Avatar 605 leaves such
    elementmay include orbe provided with some or all original special circumstances, ACAAO Unit 100 may release con
    instructions or instruction sets and /or any anticipatory trol to User 50 and/or non -ACAAO system . In general,
    instructions or instruction sets generated by ACAAO Unit ACAAO Unit 100 can take control from , share control with ,
     100. Therefore, autonomous operating of Avatar 605 , Appli- 20 or release control to User 50 , non -ACAAO system , and /or
    cation Program 18, Processor 11 , and /or other processing other system or process at any time, in any circumstances ,
    elementmay include executing some or all original instruc          and remain in control for any period of time as needed .
    tions or instruction sets and / or any anticipatory instructions     In some embodiments, ACAAO Unit 100 may control one
    or instruction sets generated by ACAAO Unit 100 .                  or more elements of Avatar 605 while User 50 and /or
       In one example , ACAAO Unit 100 can overwrite or 25 non -ACAAO system may control other one or more ele
    rewrite the original instructions or instruction sets with ments of Avatar 605. For example, ACAAO Unit 100 may
    ACAAO Unit 100 -generated instructions or instruction sets . control Avatar's 605 movement, while User 50 and /or non
    In another example , ACAAO Unit 100 can insert or embed ACAAO system may control Avatar's 605 aiming and
    ACAAO Unit 100 - generated instructions or instruction sets shooting . Any other combination of controlling various
    among the original instructions or instruction sets. In a 30 elements or functions of Avatar 605 by ACAAO Unit 100 ,
    further example, ACAAO Unit 100 can branch , redirect, or         User 50, and / or nonn -ACAAO system can be implemented .
    jump to ACAAO Unit 100 -generated instructions or instruc            In some embodiments , ACAAO Unit 100 enables learn
    tion sets from the original instructions or instruction sets .    ing of a particular User's 50 knowledge , methodology, or
       In some embodiments, autonomous Avatar 605 operating           style of operating Avatar 605. In some aspects , learning of
    comprises determining, by ACAAO Unit 100 , a next instruc- 35 a particular User's 50 knowledge, methodology, or style of
    tion or instruction set to be executed based on Avatar's 605     operating Avatar 605 includes learning the User's 50 direct
    circumstances including objects with various properties ing or operating Avatar 605 in circumstances including
    prior to the user issuing or causing to be executed the next objects with various properties . In one example , one User 50
    instruction or instruction set. In other embodiments , autono  may shoot an opponentwhile another User 50 may strike the
    mous Avatar 605 operating comprises determining, by 40 opponent with a sword in a computer game. In another
    ACAAO Unit 100 , a next instruction or instruction set to be example , one User 50 may jump over an obstacle while
    executed based on Avatar's 605 circumstances including another User 50 may move around the obstacle in a virtual
    objects with various properties prior to the system receiving world application . In a further example, one User 50 may
    the next instruction or instruction set.                       drive fast while another User 50 may drive cautiously in a
        In some embodiments , autonomous Avatar 605 operating 45 racing game, and so on . The knowledge of User's 50
    includes a partially or fully autonomous operating . In an methodology or style of operating Avatar 605 can be used to
    example involving partially autonomous Avatar 605 operat enable personalized autonomous operation of Avatar 605
    ing, a user confirms ACAAO Unit 100- generated instruc         specific to a particular User 50. Therefore, ACAAO - enabled
    tions or instruction sets prior to their execution . In an Avatar 605 may exemplify User's 50 knowledge, method
    example involving fully autonomous application operating, 50 ology, or style of operating Avatar 605 as learned from User
    ACAAO Unit 100 - generated instructions or instruction sets 50. In some designs, this functionality enables one or more
    are executed without user or other system confirmation ( i.e. ACAAO -enabled Avatars 605 to be utilized in Application
    automatically, etc.).                                          Program 18 ( i.e. computer game, virtual world , etc.) to assist
        In some embodiments , a combination of ACAAO Unit User 50 in defeating an opponent or achieving another goal.
    100 and other systems and /or techniques can be utilized to 55 For example , User 50 can utilize a team ofACAAO -enabled
    implement Avatar's 605 operation . In one example , ACAAO Avatars 605 each of which may exemplify User's 50 knowl
    Unit 100 may be a primary or preferred system for imple edge ,methodology, or style of operating Avatar 605. In other
    menting Avatar's 605 operation . While operating autono        designs, ACAAO Unit 100 enables a professional or other
    mously under the control of ACAAO Unit 100 , Avatar 605 experienced Application Program 18 operator ( i.e. game
    may encounter a circumstance including objects with vari- 60 player, etc.) to record his /her knowledge, methodology, or
    ous properties that has not been encountered or learned style of operating Avatar 605 into Knowledgebase 530 ( i.e.
    before . In such situations, User 50 and /or non -ACAAO Neural Network 530a, Graph 530b , Collection of Sequences
    system may take control of Avatar's 605 operation . ACAAO 530c, Sequence 533 , Collection of Knowledge Cells 530d ,
    Unit 100 may take control again when Avatar 605 encoun         etc.) and /or other repository. User 50 can then sell or make
     ters a previously learned circumstance including objects 65 available his /her knowledge ,methodology, or style of oper
    with various properties. Naturally , ACAAO Unit 100 can ating Avatar 605 to other users who may want to implement
    learn Avatar's 605 operation in circumstances while User 50 User's 50 knowledge , methodology, or style of operating
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 355 of 2562 PageID #: 13226


                                                       US 10,607,134 B1
                                 85                                                                 86
     Avatar 605. Knowledgebase 530 and /or other repository source code, bytecode, compiled , interpreted code, trans
    comprising User's 50 knowledge , methodology, or style of lated code, machine code , and /or other code . In further
    operating Avatar 605 can be available to other users via a aspects , Acquisition Interface 120 can access and/or read
    storage medium , via a network , or via other means . In some values , variables, parameters , and /or other data or informa
    implementations, User's 50 knowledge , methodology , or 5 tion . Acquisition Interface 120 also comprises the function
     style of operating Avatar 605 can be applied to or imple     ality for transmitting the obtained instruction sets , data ,
    mented on any Object 615 of Application Program 18 as and /or other information to Artificial Intelligence Unit 110
    applicable , thereby enabling any Object 615 to exemplify and /or other elements . As such , Acquisition Interface 120
    User's 50 knowledge , methodology , or style of operating as provides input into Artificial Intelligence Unit 110 for
    learned from User 50. For example , a computer game 10 knowledge structuring, anticipating , decision making, and /
    developer may associate Knowledgebase 530 comprising or other functionalities later in the process . Acquisition
    User's 50 knowledge , methodology , or style of operating          Interface 120 also comprises other disclosed functionalities .
    Avatar 605 with an Object 615 ( i.e. tank , robot, aircraft,             Acquisition Interface 120 can employ various techniques
    etc.), thereby enabling the Object 615 to operate based on for obtaining instruction sets, data , and /or other information .
    the knowledge in the Knowledgebase 530 .                           15 In one example , Acquisition Interface 120 can attach to
       Referring now to Acquisition Interface 120, Acquisition and /or obtain Avatar's 605 , Application Program's 18 , Pro
    Interface 120 comprises the functionality for obtaining and / cessor's 11 , and /or other processing element's instruction
    or receiving instruction sets , data , and/or other information . sets , data , and / or other information through tracing or pro
    Acquisition Interface 120 comprises the functionality for filing techniques. Tracing or profiling may be used for
    obtaining and /or receiving instruction sets , data , and/or other 20 outputting Avatar's 605 , Application Program's 18 , Proces
    information related to the operation of Avatar 605 , Appli sor's 11 , and/or other processing element's instruction sets,
    cation Program 18, Processor 11 , and /or other processing data , and /or other information at runtime. For instance ,
    element. Acquisition Interface 120 comprises the function             tracing or profiling may include adding trace code (i.e.
    ality for obtaining and /or receiving instruction sets , data , instrumentation , etc.) to Avatar 605 ( i.e. Avatar's 605 object
    and/or other information from Avatar 605 , Application Pro- 25 code, etc.) or Application Program 18 , and /or outputting
    gram 18 , Processor 11 , and /or other processing element. trace information to a specific target. The outputted trace
    Acquisition Interface 120 comprises the functionality for information (i.e. instruction sets , data , and /or other infor
    obtaining and /or receiving instruction sets, data, and /or other mation , etc.) can then be provided to or recorded into a file ,
    information at runtime. In one example , Acquisition Inter data structure, repository , application , and /or other system or
    face 120 can obtain Instruction Sets 526 used or executed in 30 target that may receive such trace information . As such ,
    operating Avatar 605 operation, and transmit the Instruction Acquisition Interface 120 can utilize tracing or profiling to
    Sets 526 to Artificial Intelligence Unit 110 for learning obtain instruction sets, data , and /or other information and
    Avatar's 605 operation in circumstances including objects provide them as input into Artificial Intelligence Unit 110. In
    with various properties. In another example , in Application some aspects , instrumentation can be performed in source
    Programs 18 that do not comprise Avatar 605 or do not rely 35 code, bytecode, compiled code, interpreted code , translated
    on Avatar 605 for their operation , Acquisition Interface 120 code, machine code , and/or other code . In other aspects,
    can obtain Instruction Sets 526 used or executed in operating instrumentation can be performed in various elements of a
    Application Program 18 , and transmit the Instruction Sets computing system such as memory, virtual machine , runtime
    526 to Artificial Intelligence Unit 110 for learning Applica      engine /environment, operating system , compiler, interpreter,
    tion Program’s 18 operation in circumstances including 40 translator, processor registers , and /or other elements. In yet
    objects with various properties . Acquisition Interface 120 other aspects , instrumentation can be performed in various
     also comprises the functionality for tracing or profiling of abstraction layers of a computing system such as in software
     Avatar 605 , Application Program 18 , Processor 11, and /or layer (i.e. Application Program 18 , etc.), in virtual machine
    other processing element. Tracing or profiling may include (if VM is used ), in operating system , in Processor 11 , and / or
    adding trace code or instrumentation to Avatar 605 ( i.e. 45 in other layers or areas that may exist in a particular
     Avatar's 605 object code, etc.) or Application Program 18 , computing system implementation . In yet other aspects ,
    and / or outputting trace information ( i.e. instruction sets, instrumentation can be performed at various times in Ava
    data , and / or other information , etc. ) to a receiving target. tar's 605 or Application Program's 18 execution such as
    Acquisition Interface 120 further comprises the functional source code write time, compile time, interpretation time,
    ity for attaching to or interfacing with Avatar 605 , Applica- 50 translation time, linking time, loading time, runtime, and /or
    tion Program 18 , Processor 11 , and /or other processing others. In yet other aspects, instrumentation can be per
     element. In some aspects, Acquisition Interface 120 can formed at various granularities or code segments such as
    access and /or read runtime engine/environment, virtual some or all lines of code , some or all statements, some or all
    machine , operating system , compiler, interpreter, translator, instructions or instruction sets , some or all basic blocks,
    execution stack , file , object, data structure, and /or other 55 some or all functions/routines /subroutines , and /or some or
    computing system elements . In other aspects, Acquisition all other code segments .
    Interface 120 can access and / or read memory , storage ,            In some embodiments, Avatar 605 (i.e. Avatar's 605
    and /or other repository. In further aspects , Acquisition Inter object code , etc. ) or Application Program 18 can be auto
    face 120 can access and/or read Processor 11 registers and/or matically instrumented . For example , Acquisition Interface
    other Processor 11 elements . In further aspects , Acquisition 60 120 can access Avatar's 605 or Application Program’s 18
    Interface 120 can access and /or read inputs and /or outputs of source code, bytecode , or machine code and select instru
    Avatar 605 , Application Program 18 , Processor 11 , and /or mentation points of interest . Selecting instrumentation
    other processing element. In further aspects , Acquisition points may include finding locations in the source code ,
    Interface 120 can access and /or read functions, methods, bytecode , or machine code corresponding to function calls ,
    procedures, routines , subroutines, and /or other elements of 65 function entries, function exits, object creations, object
    Avatar 605 and /or Application Program 18. In further destructions , event handler calls , new lines ( i.e. to instru
    aspects, Acquisition Interface 120 can access and / or read ment all lines of code, etc.), thread creations, throws, and /or
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 356 of 2562 PageID #: 13227


                                                        US 10,607,134 B1
                                  87                                                          88
    other points of interest. Instrumentation code can then be understand that, while all possible variations of the tech
    inserted at the instrumentation points of interest to output niques to obtain instruction sets, data, and/or other informa
    Avatar's 605 or Application Program's 18 instruction sets , tion are too voluminous to describe, these techniques are
    data , and /or other information . In response to executing within the scope of this disclosure .
    instrumentation code , Avatar's 605 or Application Pro- 5 In one example , obtaining Avatar's 605 and / or Applica
    gram's 18 instruction sets, data , and /or other information tion Program’s 18 instruction sets, data, and /or other infor
    may be received by Acquisition Interface 120. In some mation can be implemented through the .NET platform's
    aspects, Avatar's 605 or Application Program's 18 source native tools for application tracing or profiling such as
     code, bytecode , ormachine code can be dynamically instru          System.Diagnostics.Trace, System.Diagnostics.Debug, or
    mented . For example, instrumentation code can be dynami- 10 System.Diagnostics.TraceSource classes for tracing execu
    cally inserted into Avatar 605 (i.e. Avatar's 605 object code , tion flow , and / or System.Diagnostics.Process , System.Diag
     etc.) or Application Program 18 at runtime.                        nostics.EventLog, or System.Diagnostics.Performance
        In other embodiments , Avatar 605 or Application Program Counter classes for profiling code, accessing local and
     18 can be manually instrumented . In one example , a pro           remote processes, starting and stopping system processes,
     grammer can instrument a function call by placing an 15 and interacting with Windows event logs, etc. For instance ,
     instrumenting function such as traceAvatar ( ), trace Appli a set of trace switches can be created that output an appli
     cation ( ) , etc. immediately after the function call as in the cation's information . The switches can be configured using
    following example.                                                  the .config file . For a web application , this may typically be
        Avatar.moveForward ( 12);                                       web.config file associated with the project. In a Windows
        traceAvatar(“ Avatar.moveForward ( 12 );");                  20 application , this file may typically be named application
     In another example , an instrumenting function can be placed Name.exe.config. Trace code can be added to application
     immediately before the function call , or at the beginning, code automatically or manually as previously described.
     end, or anywhere within the function itself. A programmer Appropriate listener can be created where the trace output is
    may instrument all function calls or only function calls of received . Trace code can output trace messages to a specific
     interest . In a further example , a programmer can instrument 25 target such as a file , a log, a database, an object, a data
    all lines of code or only code lines of interest. In a further structure , and /or other repository or system . Acquisition
    example , a programmer can instrument other elements uti Interface 120 or Artificial Intelligence Unit 110 can then
     lized or implemented within Avatar 605 or Application read or obtain the trace information from these targets . In
    Program 18 such as objects and/or any of their functions , some aspects, trace code can output trace messages directly
    data structures and /or any of their functions, event handlers 30 to Acquisition Interface 120. In other aspects , trace code can
     and /or any of their functions, threads and / or any of their output trace messages directly to Artificial Intelligence Unit
     functions, and /or other elements or functions . Similar instru    110. In the case of outputting trace messages to Acquisition
    mentation as in the preceding examples can be performed Interface 120 or directly to Artificial Intelligence Unit 110 ,
    automatically or dynamically . In some designs where custom listeners can be built to accommodate these specific
    manual code instrumentation is utilized, Acquisition Inter- 35 targets . Other platforms, tools , and /or techniques can pro
     face 120 can optionally be omitted and Avatar's 605 or vide equivalent or similar functionalities as the above
     Application Program’s 18 instruction sets , data , and /or other described ones.
     information may be transmitted directly to Artificial Intel           In another example , obtaining Avatar's 605 and /or Appli
     ligence Unit 110 .                                                 cation Program's 18 instruction sets , data , and /or other
        In some embodiments , ACAAO Unit 100 can be selective 40 information can be implemented through the .NET plat
    in learning instruction sets , data, and /or other information to form's Profiling API that can be used to create a custom
     those implemented , utilized , or related to an object, data profiler application for tracing ,monitoring , interfacing with ,
     structure , repository, thread , function, and/or other element and/or managing a profiled application . The Profiling API
    of Application Program 18. In some aspects , Acquisition provides an interface that includes methods to notify the
     Interface 120 can obtain Application Program's 18 instruc- 45 profiler of events in the profiled application . The Profiling
     tion sets , data , and /or other information implemented , uti API may also provide an interface to enable the profiler to
     lized , or related to a certain object in an object oriented call back into the profiled application to obtain information
     Application Program 18.For example, Acquisition Interface about the state of the profiled application . The Profiling API
    120 can obtain Application Program's 18 instruction sets, may further provide call stack profiling functionalities. Call
    data , and/or other information implemented , utilized , or 50 stack (also referred to as execution stack , control stack ,
    related to Avatar 605 .                                             runtime stack , machine stack , the stack , etc.) includes a data
        In some embodiments, various computing systems and/or structure that can store information about active subroutines
    platformsmay provide native tools for obtaining instruction of an application . The Profiling API may provide a stack
    sets, data , and /or other information . Also , independent ven     snapshot method , which enables a trace of the stack at a
     dors may provide portable tools with similar functionalities 55 particular point in time. The Profiling APImay also provide
     that can be utilized across different computing systems a shadow stack method , which tracks the call stack at every
     and /or platforms. These native and portable tools may instant. A shadow stack can obtain function arguments ,
    provide a wide range of functionalities such as instrumen           return values, and information about generic instantiations .
    tation , tracing or profiling, logging application or system        A function such as Function Enter can be utilized to notify
    messages, outputting custom text messages, outputting 60 the profiler that control is being passed to a function and can
    objects or data structures, outputting functions/ routines / provide information about the stack frame and function
     subroutines or their invocations, outputting variable or arguments . A function such as FunctionLeave can be utilized
    parameter values, outputting thread or process behaviors, to notify the profiler that a function is about to return to the
    outputting call or other stacks, outputting processor regis caller and can provide information about the stack frameand
    ters, providing runtime memory access, providing inputs 65 function return value. An alternative to call stack profiling
    and /or outputs , performing live application monitoring, and/ includes call stack sampling in which the profiler can
     or other capabilities. One of ordinary skill in art will periodically examine the stack . In some aspects , the Profil
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 357 of 2562 PageID #: 13228


                                                         US 10,607,134 B1
                                  89                                                                    90
     ing API enables the profiler to change the in -memory code profiling . Examples of methods provided in java.lang.Run
    stream for a routine before it is just - in -time (JIT ) compiled time that can be used to obtain an application's instruction
    where the profiler can dynamically add instrumentation code sets, data , and /or other information include tracemethod
    to all or particular routines of interest. Other platforms, calls, traceinstructions, and /or other methods. These meth
     tools, and/or techniques may provide equivalent or similar 5 ods prompt the Java Virtual Machine to output trace infor
     functionalities as the above described ones .                     mation for a method or instruction in the virtual machine as
        In a further example ,obtaining Avatar's 605 and /or Appli      it is executed . The destination of trace output may be system
    cation Program's 18 instruction sets , data , and /or other dependent and include a file , a listener, and/or other desti
     information can be implemented through Java platform's nations where Acquisition Interface 120 , Artificial Intelli
     APIs for application tracing or profiling such as Java Virtual 10 gence Unit 110 , and /or other disclosed elements can access
    Machine Profiling Interface (JVMPI), Java VirtualMachine needed information . In addition to tracing or profiling tools
     Tool Interface ( JVMTI), and /or other APIs or tools. These native to their respective computing systems and /or plat
     APIs can be used for instrumentation of an application , for forms, many independent tools exist that provide tracing or
    notification of Java Virtual Machine (VM ) events , and /or profiling functionalities on more than one computing system
    other functionalities. One of the tracing or profiling tech- 15 and /or platform . Examples of these tools include Pin ,
    niques that can be utilized includes bytecode instrumenta          DynamoRIO , KemInst, DynInst, Kprobes , OpenPAT,
    tion . The profiler can insert bytecodes into all or some of the DTrace , SystemTap , and /or others. Other platforms, tools,
    classes. In application execution profiling, for example ,           and /or techniques may provide equivalent or similar func
    these bytecodes may include methodEntry and methodExit tionalities as the above described ones .
    calls . In memory profiling, for example, the bytecodes may 20 In a further example , obtaining Avatar's 605 and /or Appli
    be inserted after each new or after each constructor. In some cation Program’s 18 instruction sets , data , and /or other
    aspects, insertion of instrumentation bytecode can be per       information can be implemented through logging tools of
    formed either by a post- compiler or a custom class loader. the platform and /or operating system on which an applica
    An alternative to bytecode instrumentation includes moni tion runs. Some logging tools may include nearly full feature
    toring events generated by the JVMPI or JVMTI interfaces. 25 sets of the tracing or profiling tools previously described . In
    Both APIs can generate events formethod entry /exit , object one example , Visual Basic enables logging of runtime
    allocation , and / or other events . In some aspects, JVMTI can messages through its Microsoft.VisualBasic.Logging
    be utilized for dynamic bytecode instrumentation where namespace that provides a log listener where the log listener
     insertion of instrumentation bytecodes is performed at run may direct logging output to a file and /or other target. In
    time. The profiler may insert the necessary instrumentation 30 another example, Java enables logging through its java.u
    when a selected class is invoked in an application . This can til.logging class. In someaspects, obtaining an application's
    be accomplished using the JVMTI's redefineClasses instruction sets, data , and /or other information can be imple
    method , for example. This approach also enables changing mented through logging capabilities of the operating system
    of the level of profiling as the application is running . If on which an application runs. For example , Windows NT
    needed , these changes can be made adaptively without 35 features centralized log service that applications and oper
    restarting the application . Other platforms, tools, and /or ating -system components can utilize to report their events
    techniques may provide equivalent or similar functionalities including any messages . Windows NT provides functional
    as the above described ones .                                       ities for system , application , security, and /or other logging .
       In a further example, obtaining Avatar's 605 and /or Appli An application log may include events logged by applica
    cation Program's 18 instruction sets , data, and/or other 40 tions. Windows NT, for example , may include support for
     information can be implemented through JVMTI's program             defining an event source ( i.e. application that created the
    ming interface that enables creation of software agents that event, etc.). Windows Vista , for example , supports a struc
    can monitor and control a Java application . An agent may tured XML log - format and designated log types to allow
    use the functionality of the interface to register for notifi applications to more precisely log events and to help inter
    cation of events as they occur in the application , and to query 45 pret the events. Examples of different types of event logs
    and control the application . A JVMTI agentmay use JVMTI include administrative , operational, analytic , debug, and/or
    functions to extract information from a Java application . A other log types including any of their subcategories .
    JVMTI agent can be utilized to obtain an application's Examples of event attributes that can be utilized include
    runtime information such as method calls , memory alloca            eventID , level , task , opcode , keywords, and /or other event
    tion , CPU utilization , and /or other information . JVMTImay 50 attributes. Windows wevtutil tool enables access to events ,
    include functions to obtain information about variables, their structures, registered event publishers, and/or their
    fields, methods, classes, and /or other information . JVMTI configuration even before the events are fired . Wevtutil
    may also provide notification for numerous events such as supports capabilities such as retrieval of the names of all
    method entry and exit , exception , field access and modifi logs on a computing device ; retrieval of configuration infor
    cation , thread start and end , and /or other events . Examples 55 mation for a specific log ; retrieval of event publishers on a
    of JVMTI built -in methods include GetMethodName to computing device ; reading events from an event log , from a
    obtain the name of an invoked method, GetThreadInfo to log file , or using a structured query ; exporting events from
    obtain information for a specific thread , GetClass Signature an event log , from a log file , or using a structured query to
    to obtain information about the class of an object, GetStack     a specific target; and /or other capabilities. Operating system
     Trace to obtain information about the stack including infor- 60 logs can be utilized solely if they contain sufficient infor
    mation about stack frames, and / or other methods. Other mation on an application's instruction sets , data , and /or
    platforms, tools , and /or techniques may provide equivalent other information . Alternatively , operating system logs can
    or similar functionalities as the above described ones .       be utilized in combination with another source of informa
       In a further example , obtaining Avatar's 605 and/ or Appli tion ( i.e. trace information , call stack , processor registers ,
    cation Program's 18 instruction sets , data, and /or other 65 memory, etc.) to reconstruct the application's instruction
    information can be implemented through java.lang.Runtime sets, data, and / or other information needed for Artificial
    class that provides an interface for application tracing or Intelligence Unit 110 and/or other elements . In addition to
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 358 of 2562 PageID #: 13229


                                                        US 10,607,134 B1
                                  91                                                               92
    logging capabilities native to their respective platforms and /or techniques may provide equivalent or similar func
    and/or operating systems,many independent tools exist that tionalities as the above described ones .
    provide logging on different platforms and/ or operating         In a further example ,obtaining Avatar's 605 and /or Appli
    systems. Examples of these tools include Log4j , Logback , cation Program's 18 instruction sets , data , and / or other
    SmartInspect, NLog , log4net, Microsoft Enterprise Library , 5 information can be implemented through branch tracing or
    ObjectGuy Framework , and/or others. Other platforms,              profiling. Branch tracing may include an abbreviated
    tools, and / or techniques may provide equivalent or similar       instruction trace in which only the successfulbranch instruc
    functionalities as the above described ones .                      tion sets are traced or recorded . Branch tracing can be
      In a further example , obtaining Avatar's 605 and / or Appli     implemented through utilizing dedicated processor com
    cation Program's 18 instruction sets, data , and/or other 10 mands , for example. Executed branches may be saved into
                                                                 special branch trace store area of memory. With the avail
    information can be implemented through tracing or profiling     ability and reference to a compiler listing of the application
    the operating system on which an application runs. As in        together with branch trace information , a full path of
    tracing or profiling an application , one of the techniques thatexecuted instruction sets can be reconstructed . The full path
    can be utilized includes adding instrumentation code to the 15 can also be reconstructed with a memory dump ( containing
    operating system's source code. Such instrumentation code the program storage) and branch trace information . In some
    can be added to the operating system's source code before aspects, branch tracing can be utilized for pre-learning or
    kernel compilation or recompilation , for instance. This type automated learning of an application's instruction sets, data ,
    of instrumentation may involve defining or finding locations and /or other information where a number of application
    in the operating system's source code where instrumentation 20 simulations ( i.e. simulations of likely /common operations,
    code may be inserted . Kernel instrumentation can also be etc. ) are performed . As such , the application's operation can
    performed without the need for kernel recompilation or be learned automatically saving the time that would be
    rebooting. In some aspects , instrumentation code can be needed to learn the application's operation directed by a
    added at locations of interest through binary rewriting of user. Other platforms, tools , and /or techniques may provide
    compiled kernel code. In other aspects , kernel instrumenta- 25 equivalent or similar functionalities as the above described
    tion can be performed dynamically where instrumentation ones .
    code is added and/ or removed where needed at runtime. For         In a further example, obtaining Avatar's 605 and /or Appli
    instance , dynamic instrumentation may overwrite kernel cation Program's 18 instruction sets, data , and /or other
    code with a branch instruction that redirects execution to         information can be implemented through assembly lan
    instrumentation code or instrumentation routine. In yet other 30 guage. Assembly language is a low - level programming
    aspects , kernel instrumentation can be performed using language for a computer or other programmable device in
    just-in -time (JIT ) dynamic instrumentation where execution which there is a strong correlation between the language and
    may be redirected to a copy of kernel's code segment that the architecture's machine instruction sets. Syntax, address
    includes instrumentation code. This type of instrumentation ing modes, operands, and /or other elements of an assembly
    may include a JIT compiler and creation of a copy of the 35 language instruction set may translate directly into numeric
    original code segment having instrumentation code or calls ( i.e. binary, etc.) representations of that particular instruction
    to instrumentation routines embedded into the original code set.Because of this direct relationship with the architecture's
    segment. Instrumentation of the operating system may machine instruction sets , assembly language can be a pow
    enable total system visibility including visibility into an erful tool for tracing or profiling an application's execution
    application's behavior by enabling generation of low level 40 in processor registers , memory , and /or other computing
    trace information . Other platforms, tools, and /or techniques system components . For example , using assembly language,
    may provide equivalent or similar functionalities as the memory locations of a loaded application can be accessed ,
    above described ones.                                          instrumented , and /or otherwise manipulated . In some
       In a further example, obtaining Avatar's 605 and /or Appli aspects , assembly language can be used to rewrite or over
    cation Program’s 18 instruction sets , data , and/or other 45 write original in -memory instruction sets of an application
    information can be implemented through tracing or profiling with instrumentation instruction sets. In other aspects ,
    the processor on which an application runs. For example, assembly language can be used to redirect application's
     some Intel processors provide Intel Processor Trace ( i.e. execution to instrumentation routine/ subroutine or other
    Intel PT, etc. ), a low -level tracing feature that enables code segment elsewhere in memory by inserting a jump into
    recording executed instruction sets , and/or other data or 50 the application's in -memory code, by redirecting program
     information of one or more applications. Intel PT is facili counter, or by other techniques. Some operating systems
    tated by the Processor Trace Decoder Library along with its may implement protection from changes to applications
    related tools . Intel PT is a low -overhead execution tracing loaded into memory . Operating system , processor, or other
    feature that records information about application execution low level commands such as Linux mprotect command or
    on each hardware thread using dedicated hardware facilities. 55 similar commands in other operating systems may be used
    The recorded execution /trace information is collected in data     to unprotect the protected locations in memory before the
    packets that can be buffered internally before being sent to change . In yet other aspects, assembly language can be used
    a memory subsystem or another system or element ( i.e. to obtain instruction sets, data , and /or other information
    Acquisition Interface 120, Artificial Intelligence Unit 110 , through accessing and / or reading instruction register, pro
    etc.). Intel PT also enables navigating the recorded execu- 60 gram counter, other processor registers, memory locations,
    tion / trace information via reverse stepping commands. Intel and /or other components of a computing system . In yet other
    PT can be included in an operating system's core files and aspects , high -level programming languages may call or
    provided as a feature of the operating system . Intel PT can execute an external assembly language program to facilitate
    trace globally some or all applications running on an oper obtaining instruction sets, data, and/or other information as
    ating system . Acquisition Interface 120 or Artificial Intelli- 65 previously described . In yet other aspects, relatively low
    gence Unit 110 can read or obtain the recorded execution/ level programming languages such as C may allow embed
    trace information from Intel PT. Other platforms, tools ,          ding assembly language directly in their source code such as,
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 359 of 2562 PageID #: 13230


                                                       US 10,607,134 B1
                                 93                                                                 94
    for example, using asm keyword of C. Other platforms,              cated by the instruction set, saving the results of execution ,
    tools, and/or techniques may provide equivalent or similar        and/ or other execution steps. Examples of the types of
    functionalities as the above described ones .                     machine instruction sets that can be utilized include arith
       In a further example, it may be sufficient to obtain user or   metic , data handling, logical, program control, as well as
    other inputs , variables , parameters , and /or other data in 5 special and/ or other instruction set types. In addition to the
    some procedural, simple object oriented , or other applica ones described or shown, examples of other computing
    tions. In one instance, a simple procedural application system or processor components that can be used during an
    executes a sequence of instruction sets until the end of the instruction cycle include memory address register (MAR )
    program . During its execution , the application may receive thatmay hold the address of a memory block to be read from
    user or other input, store the input in a variable , and perform 10 or written to ; memory data register (MDR ) that may hold
    calculations using the variable to reach a result. The value of data fetched from memory or data waiting to be stored in
    the variable can be obtained or traced . In another instance , memory ; data registers that may hold numeric values, char
    a more complex procedural application comprises one or acters, small bit arrays , or other data ; address registers that
    more functions/ routines /subroutines each of which may may hold addresses used by instruction sets that indirectly
    include a sequence of instruction sets . The application may 15 access memory; general purpose registers (GPRS) that may
    execute a main sequence of instruction sets with a branch to      store both data and addresses ; conditional registers thatmay
    a function /routine/subroutine. During its execution , the        hold truth values often used to determine whether some
    application may receive user or other input, store the input      instruction set should or should not be executed ; floating
    in a variable , and pass the variable as a parameter to the point registers (FPRs) that may store floating point numbers ;
    function /routine/subroutine . The function / routine/subrou- 20 constant registers that may hold read -only values such as
    tine may perform calculations using the parameter and zero , one , or pi; special purpose registers (SPRs) such as
    return a value that the rest of the application can use to reach status register , program counter, or stack pointer that may
    a result . The value ofthe variable or parameter passed to the hold information on program state ; machine -specific regis
    function /routine/ subroutine, and /or return value can be ters that may store data and settings related to a particular
    obtained or traced . Values of user or other inputs, variables, 25 processor; Register Array 214 that may include an array of
    parameters, and/or other items of interest can be obtained        any number of processor registers; Arithmetic Logic Unit
    through previously described tracing , instrumentation , and /    215 that may perform arithmetic and logic operations ;
    or other techniques. Other platforms, tools, and/or tech          control unit that may direct processor's operation ; and /or
    niques may provide equivalent or similar functionalities as other circuits or components. Tracing, profiling , or sampling
    the above described ones .                                     30 of processor registers, memory, or other computing system
       Referring to FIG . 6 , in yet another example , obtaining components can be implemented in a program , combination
    Avatar's 605 and /or Application Program's 18 instruction ofhardware and program , or purely hardware system . Dedi
    sets , data , and/ or other information may be implemented cated hardware may be built to perform tracing, profiling, or
    through tracing , profiling, or sampling of instruction sets or sampling of processor registers or any computing system
    data in processor registers , memory, or other computing 35 components with marginal or no impact to computing over
    system components where instruction sets, data , and/ or other    head .
    information may be stored or utilized . For example, Instruc         One of ordinary skill in art will recognize that FIG . 6
    tion Register 212 may be part of Processor 11 and it may          depicts one ofmany implementations of processor or com
    store the instruction set currently being executed or decoded .   puting system components, and that various additional com
    In some processors, Program Counter 211 (also referred to 40 ponents can be included , or some of the disclosed ones can
    as instruction pointer, instruction address register, instruc be excluded , or a combination thereof can be utilized in
     tion counter, or part of instruction sequencer , etc.) may be alternate implementations. Processor or computing system
     incremented after fetching an instruction set, and it may hold components may be arranged or connected differently in
     or point to the memory address of the next instruction set to alternate implementations. Processor or computing system
    be executed . In a processor where the incrementation pre- 45 components may also be connected with external elements
    cedes the fetch , Program Counter 211 may point to the using various connections. For instance , the connection
    current instruction set being executed . In the instruction between Instruction Register 212 and Acquisition Interface
     cycle , an instruction set may be loaded into Instruction 120 may include any number or types of connections such
    Register 212 after Processor 11 fetches it from location in as, for example , a dedicated connection for each bit of
    Memory 12 pointed to by Program Counter 211. Instruction 50 Instruction Register 212 ( i.e. 32 connections for a 32 bit
    Register 212 may hold the instruction set while it is decoded Instruction Register 212 , etc.). Any of the described or other
    by Instruction Decoder 213, prepared , and executed . In connections or interfaces may be implemented among any
    some aspects, data (i.e. operands, etc.) needed for instruction processor or computing system components and Acquisition
    set execution may be loaded from Memory 12 into a register Interface 120 or other elements .
    within Register Array 214. In other aspects, the data may be 55 Other additional techniques or elements can be utilized as
    loaded directly into Arithmetic Logic Unit 215. For instance , needed for obtaining instruction sets , data, and /or other
    as instruction sets pass through Instruction Register 212 information , or some of the disclosed techniques or elements
    during application execution , they may be transmitted to can be excluded , or a combination thereof can be utilized in
    Acquisition Interface 120 as shown. Examples of the steps alternate embodiments . As an avatar (i.e. Avatar 605 , etc.)
     in execution of a machine instruction set may include 60 may be part ofan application ( i.e. Application Program 18 ,
    decoding the opcode ( i.e. portion of a machine instruction etc.), it should be noted that obtaining an avatar's instruction
    set that may specify the operation to be performed ), deter sets, data , and /or other information may include same or
    mining where the operands may be located (depending on similar techniques as the aforementioned obtaining an appli
    architecture , operands may be in registers, the stack , cation's instruction sets , data , and /or other information , and
    memory, I/O ports , etc.), retrieving the operands, allocating 65 vice versa.
    processor resources to execute the instruction set (needed in        Referring to FIGS. 7A -7E , some embodiments of Instruc
    some types of processors), performing the operation indi          tion Sets 526 are illustrated . In some aspects, Instruction Set
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 360 of 2562 PageID #: 13231


                                                          US 10,607,134 B1
                               95                                                                     96
    526 includes one or more instructions or commands related             stored in Extra Info 527 can be set by a user , by ACAAO
    to Avatar 605. For example , Instruction Set 526 may include          system administrator, or automatically by the system . Extra
    one or more instructions or commands for operating Avatar              Info 527 may include or be referred to as contextual infor
    605. In other aspects, Instruction Set 526 includes one or            mation , and vice versa. Therefore, these termsmay be used
    more instructions or commands of Application Program 18.5 interchangeably herein depending on context.
    For example, Instruction Set 526 may include one or more          In some aspects , time information ( i.e. time stamp, etc.)
    instructions or commands for operating Application Pro         can be utilized and / or stored in Extra Info 527. Time
    gram 18. In further aspects , Instruction Set 526 includes one information can be useful in comparisons or decision mak
    or more inputs into and /or outputs from Avatar 605 , Appli ing performed in autonomous Avatar 605 operation related
    cation Program 18 , Processor 11 , and /or other processing 10 to a specific time period . For example , Extra Info 527 may
    element. In further aspects , Instruction Set 526 includes one        include time information related to when Avatar 605 per
    ormore values or states of registers and /or other components         formed an operation . Time information can be obtained from
    of Processor 11 and/ or other processing element. In general,         the system clock , online clock , oscillator, or other time
    Instruction Set 526 may include one or more instructions,             source. In other aspects , location information ( i.e. coordi
    commands, keywords, symbols ( i.e. parentheses, brackets, 15 nates, etc.) can be utilized and /or stored in Extra Info 527.
    commas, semicolons, etc.), operators (i.e. 5 , > , etc. ),            Location information can be useful in comparisons or deci
    variables, values, objects, data structures , functions ( i.e.        sion making performed in autonomous Avatar 605 operation
    Function1( ), FIRST ( ) , MIN ( ) , SQRT ( ), etc. ), parameters,     related to a specific place. For example , Extra Info 527 may
    states, signals, inputs , outputs, characters , digits , references   include location information related to where Avatar 605
    thereto , and /or other components . Therefore, the terms 20 performed an operation . Location information can be
    instruction set, command , instruction , signal, or other such obtained from Application Program’s 18 engine ( i.e. game
    terms may be used interchangeably herein depending on engine in which the game is implemented , etc.), runtime
    context.                                                       environment, functions for providing location information
       In an embodiment shown in FIG . 7A , Instruction Set 526 on objects , and /or others as previously described . In further
    includes code of a high -level programming language ( i.e. 25 aspects , computed information can be utilized and /or stored
    Java, C ++, etc.) comprising the following function call in Extra Info 527. Computed information can be useful in
    construct :     Function1        (Parameter ,        Parameter2 ,     comparisons or decision making performed in autonomous
    Parameter3, . ). An example of a function call applying the           Avatar 605 operation where information can be calculated ,
    above construct includes the following Instruction Set 526 : inferred , or estimated from other available information .
    moveTo ( Avatar, 11, 23 ). The function or reference thereto 30 ACAAO Unit 100 may include computational functional
    “ moveTo ( Avatar, 11 , 23 )” may be an Instruction Set 526 ities to create Extra Info 527 by performing calculations,
    directing Avatar 605 to move to a location with coordinates inferences , or estimations using other information . In one
    11 and 23 , for example. In another embodiment shown in example , Avatar's 605 direction ofmovement can be com
    FIG . 7B , Instruction Set 526 includes structured query         puted or estimated using Avatar's 605 location information .
    language ( SQL ). In a further embodiment shown in FIG . 7C , 35 In another example, Avatar's 605 speed can be computed or
    Instruction Set 526 includes bytecode ( i.e. Java bytecode, estimated using Avatar's 605 location and /or time informa
    Python bytecode, CLR bytecode , etc.). In a further embodi tion . In a further example, speeds, directions ofmovement,
    ment shown in FIG . 7D , Instruction Set 526 includes assem      trajectories, distances, and /or other properties of objects
    bly code . In a further embodiment shown in FIG . 7E , around Avatar 605 can similarly be computed or estimated ,
    Instruction Set 526 includes machine code. Instruction Set 40 thereby providing geo -spatial and situational awareness and /
    526 may include any other language or construct in alternate or capabilities to Avatar 605.ACAAO Unit 100 can utilize
    embodiments .                                                    geometry, trigonometry, Pythagorean theorem , and /or other
       Referring to FIGS. 8A -88B , some embodiments of Extra theorems, formulas, or disciplines in its calculations, infer
    Information 527 (also referred to as Extra Info 527 ) are ences, or estimations. In further aspects , visual information
    illustrated. In an embodiment shown in FIG . 8A , Collection 45 can be utilized and /or stored in Extra Info 527. Visual
    of Object Representations 525 may include or be associated information can be useful in comparisons or decision mak
    with Extra Info 527. In an embodiment shown in FIG . 8B , ing performed in autonomous Avatar 605 operation related
    Instruction Set 526 may include or be associated with Extra to an object or environment that can be recognized from
    Info 527 .                                                       visual information . For example , an object or environment
       Extra Info 527 comprises the functionality for storing any 50 can be recognized by processing one or more digital pictures
    information useful in comparisons or decision making per from Picture Renderer 91, visual processor, visual program ,
    formed in autonomous Avatar 605 operation , and /or other             or other visual provider. Any features , functionalities, and
    functionalities . One or more Extra Infos 527 can be stored           embodiments of Picture Recognizer 92 can be utilized for
    in , appended to , or associated with a Collection of Object such recognizing as previously described . For instance, trees
    Representations 525 , Instruction Set 526 , and /or other ele- 55 recognized in the background of one or more digital pictures
    ment. In some embodiments , the system can obtain Extra from Picture Renderer 91 may indicate a park or forest. In
    Info 527 at a time of creating or generating Collection of further aspects, acoustic information can be utilized and /or
    Object Representations 525. In other embodiments , the stored in Extra Info 527. Acoustic information can be useful
    system can obtain Extra Info 527 at a time of acquiring in comparisons or decision making performed in autono
    Instruction Set 526. In general, Extra Info 527 can be 60 mous Avatar 605 operation related to a sound or accosting
    obtained at any time. Examples of Extra Info 527 include environment. For example , an object or environment can be
    time information , location information , computed informa recognized by processing digital sound from Sound Ren
    tion , visual information , acoustic information, contextual  derer 96 , sound processor, sound program , or other sound
    information , and /or other information . Any information can provider. Any features , functionalities , and embodiments of
    be utilized that can provide information for enhanced com- 65 Sound Recognizer 97 can be utilized for such recognizing as
    parisons or decision making performed in autonomous Ava previously described . For instance , sound of a horn recog
    tar 605 operation. Which information is utilized and/or               nized in digital sound from Sound Renderer 96 may indicate
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 361 of 2562 PageID #: 13232


                                                       US 10,607,134 B1
                                    97                                                             98
    a proximal vehicle. In further aspects, other information can another example , Knowledgebase 530 (later described ) can
    be utilized and / or stored in Extra Info 527. Examples of such  reside on Server 96 and the rest of the elements of ACAAO
    other information include user specific information ( i.e. skill Unit 100 can reside on Computing Device 70. Any other
    level, age, gender, etc.), group user information (i.e. access combination of local and remote elements can be imple
    level, etc.), version of Application Program 18 , type of 5 mented .
    Application Program 18, type of Avatar 605, name of Avatar         Referring to FIG . 11 , an embodiment of Artificial Intel
    605 , allegiance of Avatar 605 , type of Processor 11, type of ligence Unit 110 is illustrated . Artificial Intelligence Unit
    Computing Device 70 , and /or other information all ofwhich 110 comprises interconnected Knowledge Structuring Unit
    can be obtained from various devices, systems, repositories, 520 , Knowledgebase 530 , Decision -making Unit 540 , and
    functions, or elements of Computing Device 70 , Processor 10 Confirmation Unit 550. Other additional elements can be
    11, Application Program 18 , Avatar 605 , and /or other pro      included as needed , or some of the disclosed ones can be
    cessing elements.                                                excluded , or a combination thereof can be utilized in alter
       Referring to FIG . 9 , an embodiment where ACAAO Unit nate embodiments .
    100 is part of or operating on Processor 11 is illustrated . In     Artificial Intelligence Unit 110 comprises the functional
    one example, ACAAO Unit 100 may be a hardware element 15 ity for learning Avatar's 605 operation in circumstances
    or circuit embedded or built into Processor 11. In another         including objects with various properties. Artificial Intelli
    example, ACAAO Unit 100 may be a program operating on              gence Unit 110 comprises the functionality for learning one
    Processor 11 .                                             or more collections of object representations correlated with
       Referring to FIG . 10 , an embodimentwhere ACAAO Unit any instruction sets , data, and/ or other information . In some
     100 resides on Server 96 accessible over Network 95 is 20 aspects, Artificial Intelligence Unit 110 comprises the func
    illustrated . Any number of Computing Devices 70 , Proces  tionality for learning one or more Collections of Object
    sors 11, Application Programs 18 , and/or other elements Representations 525 representing Objects 615 in Avatar's
    may connect to such remote ACAAO Unit 100 and the 605 surrounding correlated with any Instruction Sets 526
    remote ACAAO Unit 100 may learn operations of their and /or Extra Info 527. The Instruction Sets 526 may be used
     Avatars 605 in circumstances including objects with various 25 or executed in operating Avatar 605. In other aspects,
     properties. In turn , any number of Computing Devices 70 , Artificial Intelligence Unit 110 comprises the functionality
     Processors 11, Application Programs 18 , and /or other ele for learning one ormore Collections of Object Representa
    ments can utilize the remote ACAAO Unit 100 for autono           tions 525 representing Objects 615 in Avatar's 605 sur
    mous operation of their Avatars 605. A remote ACAAO Unit rounding some of which may not be correlated with any
     100 can be offered as a network service ( i.e. online appli- 30 Instruction Sets 526 and /or Extra Info 527. Further, Artificial
    cation, etc.). In some aspects , a remote ACAAO Unit 100 Intelligence Unit 110 comprises the functionality for antici
    ( i.e. global ACAAO Unit 100 , etc.) may reside on the pating Avatar's 605 operation in circumstances including
     Internet and be available to all the world's Computing objects with various properties. Artificial Intelligence Unit
    Devices 70 , Processors 11, Application Programs 18 , and /or 110 comprises the functionality for anticipating one or more
     other elements configured to transmit operations of their 35 instruction sets , data , and/or other information . Artificial
     Avatars 605 in circumstances including objects with various Intelligence Unit 110 comprises the functionality for antici
     properties and /or configured to utilize the remote ACAAO pating one or more Instruction Sets 526 ( i.e. anticipatory
    Unit 100 for autonomous operation of their Avatars 605. For Instruction Sets 526 , etc.) based on one or more incoming
     example , multiple players ( i.e. Users 50 , etc.) may operate Collections of Object Representations 525 representing
    their Avatars 605 in a computer game ( i.e. Application 40 Objects 615 in Avatar's 605 surrounding . The one ormore
     Program 18 , etc. ) running on their respective Computing Instruction Sets 526 ( i.e. anticipatory Instruction Sets 526 ,
    Devices 70 where the Computing Devices 70 and /or ele            etc.) may be used or executed in Avatar's 605 autonomous
    ments thereof may be configured to transmit Avatar's 605 operation . In some embodiments of Application Programs
     operations in circumstances including objects with various 18 that do not comprise Avatar 605 or rely on Avatar 605 for
    properties to a remote ACAAO Unit 100. Such remote 45 their operation , Artificial Intelligence Unit 110 comprises
     ACAAO Unit 100 enables learning of the players ' collective the functionality for learning Application Program's 18
    knowledge of operating Avatar 605 in circumstances includ operation in circumstances including objects with various
     ing objects with various properties . Server 96 may be or properties similar to the learning functionalities described
    include any type or form of a remote computing device such with respect to Avatar 605. Also , in such embodiments ,
     as an application server, a network service server, a cloud 50 Artificial Intelligence Unit 110 comprises the functionality
     server, a cloud , and /or other remote computing device . for anticipating Application Program's 18 operation in cir
    Server 96 may include any features , functionalities , and cumstances including objects with various properties similar
    embodiments of Computing Device 70. It should be under           to the anticipating functionalities described with respect to
    stood that Server 96 does not have to be a separate com          Avatar 605. Artificial Intelligence Unit 110 also comprises
    puting device and that Server 96 , its elements, or its func- 55 other disclosed functionalities .
    tionalities can be implemented on Computing Device 70 .             Knowledge Structuring Unit 520 , Knowledgebase 530 ,
    Network 95 may include various networks, connection and Decision -making Unit 540 are described later.
    types, protocols, interfaces, APIs , and /or other elements or      Confirmation Unit 550 comprises the functionality for
    techniques known in art all ofwhich are within the scope of confirming, modifying, evaluating ( i.e. rating, etc. ), and /or
    this disclosure. Any of the previously described networks, 60 canceling one or more anticipatory Instruction Sets 526 ,
    network or connection types, networking interfaces, and /or and/ or other functionalities. Confirmation Unit 550 is an
    other networking elements or techniques can similarly be optional element that can be omitted depending on imple
    utilized . Any of the disclosed elements can reside on Server    mentation . In some embodiments, Confirmation Unit 550
    96 in alternate implementations. In one example , Artificial can serve as a means of confirming anticipatory Instruction
    Intelligence Unit 110 can reside on Server 96 and Acquisi- 65 Sets 526. For example , Decision -making Unit 540 may
    tion Interface 120 ,Modification Interface 130 , and / or Object determine one or more anticipatory Instruction Sets 526 and
    Processing Unit 140 can reside on Computing Device 70. In provide them to User 50 for confirmation . User 50 may be
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 362 of 2562 PageID #: 13233


                                                       US 10,607,134 B1
                                  99                                                                100
    provided with an interface ( i.e. graphical user interface, in order to provide an uninterrupted operation of Avatar 605 ,
    selectable list of anticipatory Instruction Sets 526 , etc.) to Processor 11 , and/or Application Program 18. For example ,
    approve or confirm execution of the anticipatory Instruction a form based application may be suitable for implementing
    Sets 526. In some aspects, Confirmation Unit 550 can the user confirmation step ,whereas, a game application may
    automate User 50 confirmation . In one example , if one or 5 be less suitable for implementing such interrupting step due
    more incoming Collections of Object Representations 525 to the real time nature of game application's operation .
    from Object Processing Unit 140 and one or more Collec            Referring to FIG . 12 , an embodiment of Knowledge
     tions of Object Representations 525 from a Knowledge Cell Structuring Unit 520 correlating individual Collections of
    800 were found to be a perfect or highly similar match , Object Representations 525 with any Instruction Sets 526
    anticipatory Instruction Sets 526 correlated with the one or 10 and /or Extra Info 527 is illustrated . Knowledge Structuring
    more Collections of Object Representations 525 from the Unit 520 comprises the functionality for structuring the
    Knowledge Cell 800 can be automatically executed without           knowledge of Avatar's 605 operation in circumstances
    User's 50 confirmation . Conversely , if one or more incom   including objects with various properties, and /or other func
    ing Collections of Object Representations 525 from Object tionalities. Knowledge Structuring Unit 520 comprises the
    Processing Unit 140 and one or more Collections of Object 15 functionality for correlating one or more Collections of
    Representations 525 from a Knowledge Cell 800 were found Object Representations 525 representing Objects 615 in
     to be less than a highly similar match , anticipatory Instruc Avatar's 605 surrounding with any Instruction Sets 526
    tion Sets 526 correlated with the one or more Collections of and/or Extra Info 527. The Instruction Sets 526 may be used
    Object Representations 525 from the Knowledge Cell 800 or executed in operating Avatar 605. Knowledge Structuring
     can be presented to User 50 for confirmation and /or modi- 20 Unit 520 comprises the functionality for creating or gener
    fying. Any features , functionalities, and/or embodiments of ating Knowledge Cell 800 and storing one or more Collec
    Similarity Comparison 125 ( later described ) can be utilized tions of Object Representations 525 correlated with any
     for such similarity determination. In other embodiments, Instruction Sets 526 and/ or Extra Info 527 into the Knowl
    Confirmation Unit 550 can serve as a means ofmodifying or edge Cell 800. As such , Knowledge Cell 800 comprises the
    editing anticipatory Instruction Sets 526. For example , Deci- 25 functionality for storing one or more Collections of Object
    sion -making Unit 540 may determine one or more antici Representations 525 correlated with any Instruction Sets 526
    patory Instruction Sets 526 and provide them to User 50 for and/or Extra Info 527. Knowledge Cell 800 includes knowl
    modification .User 50 may be provided with an interface ( i.e. edge (i.e. unit of knowledge , etc.) of how Avatar 605
     graphical user interface , etc.) to modify the anticipatory operated in a circumstance including objects with various
    Instruction Sets 526 before their execution . In further 30 properties. Once created or generated ,Knowledge Cells 800
     embodiments, Confirmation Unit 550 can serve as a means can be used in /as neurons, nodes, vertices , or other elements
    of evaluating or rating anticipatory Instruction Sets 526 if in any of the data structures or arrangements ( i.e. neural
    they matched User's 50 intended operation . For example, networks , graphs, sequences, etc.) used for storing the
    Decision -making Unit 540 may determine one or more knowledge of Avatar's 605 operation in circumstances
    anticipatory Instruction Sets 526 , which the system may 35 including objects with various properties, thereby facilitat
    automatically execute. User 50 may be provided with an ing learning functionalities herein . It should be noted that
    interface ( i.e. graphical user interface , etc.) to rate ( i.e. on a Extra Info 527 may be optionally used in some implemen
     scale from 0 to 1, etc.) how well Decision -making Unit 540 tations to enable enhanced comparisons or decision making
    predicted the executed anticipatory Instruction Sets 526. In in autonomous Avatar 605 operation where applicable, and
     some aspects, rating can be automatic and based on a 40 that Extra Info 527 can be omitted in alternate implemen
    particular function ormethod that rates how well the antici         tations .
    patory Instruction Sets 526 matched the desired operation .             In some embodiments , Knowledge Structuring Unit 520
     In one example , a rating function or method can assign a receives one or more Collections of Object Representations
     higher rating to anticipatory Instruction Sets 526 that were 525 from Object Processing Unit 140. Knowledge Structur
     least modified in the confirmation process . In another 45 ing Unit 520 may also receive one or more Instruction Sets
     example, a rating function or method can assign a higher 526 from Acquisition Interface 120. Knowledge Structuring
     rating to anticipatory Instruction Sets 526 that were canceled Unit 520 may further receive any Extra Info 527. Although ,
     least number of times by User 50. Any other automatic Extra Info 527 is not shown in this and/or other figures for
     rating function or method can be utilized . In yet other clarity of illustration , it should be noted that any Collection
    embodiments, Confirmation Unit 550 can serve as a means 50 of Object Representations 525 , Instruction Set 526 , and /or
     of canceling anticipatory Instruction Sets 526 if they did not other elementmay include or be associated with Extra Info
    match User's 50 intended operation . For example , Decision          527. Knowledge Structuring Unit 520 may correlate one or
    making Unit 540 may determine one or more anticipatory more Collections of Object Representations 525 with any
     Instruction Sets 526 , which the system may automatically Instruction Sets 526 and/or Extra Info 527. Knowledge
    execute. The system may save the state of Computing 55 Structuring Unit 520 may then create Knowledge Cell 800
    Device 70, Processor 11 (save its register values, etc.), and store the one or more Collections of Object Represen
     Application Program 18 (i.e. save its variables, data struc         tations 525 correlated with Instruction Sets 526 and/or Extra
    tures, objects , location of its current instruction , etc.), Avatar Info 527 into the Knowledge Cell 800. Knowledge Cell 800
    605 , and/or other processing elements before executing may include any data structure or arrangement that can
    anticipatory Instruction Sets 526. User 50 may be provided 60 facilitate such storing. For example , Knowledge Structuring
    with an interface ( i.e. graphicaluser interface , selectable list Unit 520 may create Knowledge Cell 800ax and structure
    of prior executed anticipatory Instruction Sets 526 , etc.) to within it Collection of Object Representations 525al corre
    cancel one or more of the prior executed anticipatory lated with Instruction Sets 526a1-526a3 and / or any Extra
     Instruction Sets 526 , and restore Computing Device 70 , Info 527 (not shown). Knowledge Structuring Unit 520 may
    Processor 11 , Application Program 18 , Avatar 605 , and /or 65 further structure within Knowledge Cell 800ax a Collection
     other processing elements to a prior state. In some aspects, of Object Representations 525a2 correlated with Instruction
     Confirmation Unit 550 can optionally be disabled or omitted Set 526a4 and /or any Extra Info 527 (not shown). Knowl
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 363 of 2562 PageID #: 13234


                                                      US 10,607,134 B1
                             101                                                               102
    edge Structuring Unit 520 may further structure within           Instruction Sets 526 used and /or Extra Info 527 obtained
    Knowledge Cell 800ax a Collection of Object Representa from the time of generating a previous Collection ofObject
    tions 525a3 without a correlated Instruction Set 526 and/ or Representations 525 to the time of generating the Collection
    Extra Info 527. Knowledge Structuring Unit 520 may fur of Object Representations 525. Any other temporal relation
    ther structure within Knowledge Cell 800ax a Collection of 5 ship or correspondence between Collections of Object Rep
    Object Representations 525a4 correlated with Instruction         resentations 525 and correlated Instruction Sets 526 and/ or
    Sets 526a5-526a6 and /or any Extra Info 527 (not shown). Extra Info 527 can be implemented .
    Knowledge Structuring Unit 520 may further structure               In some embodiments, Knowledge Structuring Unit 520
    within Knowledge Cell 800ax a Collection of Object Rep           can structure the knowledge of Avatar's 605 operation in a
    resentations 525a5 without a correlated Instruction Set 526 10 circumstance including objects with various properties into
    and/or Extra Info 527.Knowledge Structuring Unit 520 may any number of Knowledge Cells 800. In some aspects,
    structure within Knowledge Cell 800ax additional Collec Knowledge Structuring Unit 520 can structure into a Knowl
    tions of Object Representations 525 correlated with any edge Cell 800 a single Collection of Object Representations
    number ( including zero [ i.e. uncorrelated ]) of Instruction 525 correlated with any Instruction Sets 526 and/or Extra
    Sets 526 and /or Extra Info 527 by following similar logic as 15 Info 527. In other aspects , Knowledge Structuring Unit 520
    described above.                                                 can structure into a Knowledge Cell 800 any number ( i.e. 2 ,
       In some embodiments, Knowledge Structuring Unit 520 3 , 6 , 9 , 21, 98 , 3210 , 13592 , 513299 , 9147224 , etc.) of
    may correlate a Collection of Object Representations 525 Collections of Object Representations 525 correlated with
    with one or more temporally corresponding Instruction Sets any Instruction Sets 526 and /or Extra Info 527. In a special
    526 and /or Extra Info 527. This way,Knowledge Structuring 20 case, Knowledge Structuring Unit 520 can structure all
    Unit 520 can structure the knowledge of Avatar's 605             Collections of Object Representations 525 correlated with
    operation at or around the time of generating Collections of any Instruction Sets 526 and / or Extra Info 527 into a single
    Object Representations 525. Such functionality enables long Knowledge Cell 800. In further aspects, Knowledge
    spontaneous or seamless learning of Avatar's 605 operation Structuring Unit 520 can structure Collections of Object
    in circumstances including objects with various properties as 25 Representations 525 correlated with any Instruction Sets 526
    Avatar 605 is operated in real time. In some designs , and /or Extra Info 527 into a plurality of Knowledge Cells
    Knowledge Structuring Unit 520 may receive a stream of 800. In a special case, Knowledge Structuring Unit 520 can
    Instruction Sets 526 used or executed to effect Avatar's 605     store periodic streams of Collections of Object Representa
    operations as well as a stream of Collections of Object tions 525 correlated with any Instruction Sets 526 and /or
    Representations 525 representing Objects 615 in Avatar's 30 Extra Info 527 into a plurality of Knowledge Cells 800 such
    605 surrounding as the operations are performed . Knowl as hourly , daily, weekly, monthly, yearly , or other periodic
    edge Structuring Unit 520 can then correlate Collections of Knowledge Cells 800.
    Object Representations 525 from the stream of Collections          Referring to FIG . 13 , another embodiment of Knowledge
    of Object Representations 525 with temporally correspond Structuring Unit 520 correlating individual Collections of
    ing Instruction Sets 526 from the stream of Instruction Sets 35 Object Representations 525 with any Instruction Sets 526
    526 and/or any Extra Info 527. Collections of Object Rep and /or Extra Info 527 is illustrated . In such embodiments,
    resentations 525 without a temporally corresponding Knowledge Structuring Unit 520 may generate Knowledge
    Instruction Set 526 may be uncorrelated , for instance . In Cells 800 each comprising a single Collection of Object
    some aspects , Instruction Sets 526 and /or Extra Info 527 that Representations 525 correlated with any Instruction Sets 526
    temporally correspond to a Collection of Object Represen- 40 and /or Extra Info 527.
    tations 525 may include Instruction Sets 526 used and /or          Referring to FIG . 14, an embodiment of Knowledge
    Extra Info 527 obtained at the time of generating the Structuring Unit 520 correlating streams of Collections of
    Collection of Object Representations 525. In other aspects , Object Representations 525 with any Instruction Sets 526
    Instruction Sets 526 and /or Extra Info 527 that temporally and/or Extra Info 527 is illustrated . For example, Knowl
    correspond to a Collection of Object Representations 525 45 edge Structuring Unit 520 may create Knowledge Cell
    may include Instruction Sets 526 used and /or Extra Info 527   800ax and structure within it a stream of Collections of
    obtained within a certain time period before and /or after     Object Representations 525a1-525an correlated with
    generating the Collection of Object Representations 525 . Instruction Set 526al and /or any Extra Info 527 (not
    For example , Instruction Sets 526 and/ or Extra Info 527 that shown ). Knowledge Structuring Unit 520 may further struc
    temporally correspond to a Collection of Object Represen- 50 ture within Knowledge Cell 800ax a stream of Collectionsof
    tations 525 may include Instruction Sets 526 used and/or Object Representations 525b1-525bn correlated with
    Extra Info 527 obtained within 50 milliseconds, 1 second , 3 Instruction Sets 526a2-526a4 and /or any Extra Info 527 (not
    seconds, 20 seconds, 1 minute , 41 minutes, 2 hours, or any shown ).Knowledge Structuring Unit 520 may further struc
    other time period before and /or after generating the Collec   ture within Knowledge Cell 800ax a stream of Collections of
    tion of Object Representations 525. Such time periods can 55 Object Representations 525c1-525cn without correlated
    be defined by a user, by ACAAO system administrator, or Instruction Sets 526 and /or Extra Info 527. Knowledge
    automatically by the system based on experience , testing, Structuring Unit 520 may further structure within Knowl
    inquiry , analysis , synthesis, or other techniques, knowledge , edge Cell 800ax a stream of Collections of Object Repre
    or input. In other aspects, Instruction Sets 526 and/or Extra sentations 525d1-525dn correlated with Instruction Sets
    Info 527 that temporally correspond to a Collection of 60 526a5-526a6 and/or any Extra Info 527 (not shown ).
    Object Representations 525 may include Instruction Sets          Knowledge Structuring Unit 520 may further structure
    526 used and /or Extra Info 527 obtained from the time of        within Knowledge Cell 800ax additional streams of Collec
    generating the Collection of Object Representations 525 to tions of Object Representations 525 correlated with any
    the time of generating a next Collection of Object Repre number ( including zero [ i.e. uncorrelated ]) of Instruction
    sentations 525. In further aspects, Instruction Sets 526 65 Sets 526 and /or Extra Info 527 by following similar logic as
    and/ or Extra Info 527 that temporally correspond to a described above. The number of Collections of Object
    Collection of Object Representations 525 may include Representations 525 in some or all streams of Collections of
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 364 of 2562 PageID #: 13235


                                                       US 10,607,134 B1
                                 103                                                            104
    Object Representations 525a1-525an , 525b1-525bn, 525c1         operation in circumstances including objects with various
    525cn , 525d1-525dn , etc. may be equal or different. It properties learned or stored on the originating Computing
    should be noted that n or other such letters or indicia may Device 70 or ACAAO Unit 100 .
    follow the sequence and /or context where they are indicated .    In some embodiments ,multiple Knowledgebases 530 (i.e.
    Also , a same letter or indicia such as n may represent a 5 Knowledgebases 530 from different Computing Devices 70
    different number in different sequences or elements of a or ACAAO Units 100 , etc.) can be combined to accumulate
    drawing                                                        collective knowledge of operating Avatar 605 in circum
      Referring to FIG . 15, another embodiment of Knowledge        stances including objects with various properties. In one
    Structuring Unit 520 correlating streams of Collections of      example , one Knowledgebase 530 can be appended to
    Object Representations 525 with any Instruction Sets 526 10 another Knowledgebase 530 such as appending one Collec
    and/ or Extra Info 527 is illustrated . In such embodiments, tion of Sequences 530c ( later described ) to another Collec
    Knowledge Structuring Unit 520 may generate Knowledge tion of Sequences 530c, appending one Sequence 533 ( later
    Cells 800 each comprising a single stream ofCollections of described ) to another Sequence 533 , appending one Collec
    Object Representations 525 correlated with any Instruction tion of Knowledge Cells 530d (later described ) to another
    Sets 526 and / or Extra Info 527 .                           15 Collection of Knowledge Cells 530d, and /or appending
      Knowledgebase 530 comprises the functionality for stor        other data structures or elements thereof. In another
     ing knowledge of Avatar's 605 operation in circumstances example , one Knowledgebase 530 can be copied into
    including objects with various properties , and/or other func another Knowledgebase 530 such as copying one Collection
    tionalities . Knowledgebase 530 comprises the functionality of Sequences 530c into another Collection of Sequences
    for storing one or more Collections of Object Representa- 20 530c, copying one Collection of Knowledge Cells 530d into
    tions 525 representing Objects 615 in Avatar's 605 sur another Collection of Knowledge Cells 530d , and /or copy
    rounding correlated with any Instruction Sets 526 and/or ing other data structures or elements thereof. In a further
    Extra Info 527. The Instruction Sets 526 ay be used or example , in the case ofKnowledgebase 530 being or includ
    executed in operating Avatar 605. Knowledgebase 530 com          ing Graph 530b or graph - like data structure ( i.e. Neural
    prises the functionality for storing one or more Knowledge 25 Network 530a , tree, etc.), a union can be utilized to combine
    Cells 800 each including one ormore Collections of Object two or more Graphs 530b or graph -like data structures. For
    Representations 525 correlated with any Instruction Sets 526 instance , a union of two Graphs 530b or graph -like data
    and / or Extra Info 527. In some aspects, Collections of structures may include a union of their vertex ( i.e. node , etc.)
    Object Representations 525 correlated with Instruction Sets sets and their edge ( i.e. connection , etc.) sets . Any other
    526 and /or Extra Info 527 can be stored directly within 30 operations or combination thereof on graphs or graph -like
    Knowledgebase 530 without using Knowledge Cells 800 as data structures can be utilized to combine Graphs 530b or
    the intermediary data structures . In some embodiments, graph - like data structures . In a further example, one Knowl
    Knowledgebase 530 may be or include Neural Network edgebase 530 can be combined with another Knowledgebase
    530a ( later described ). In other embodiments , Knowledge 530 through later described learning processes where
    base 530 may be or include Graph 530b (later described ). In 35 Knowledge Cells 800 may be applied one at a time and
    further embodiments, Knowledgebase 530 may be or connected with prior and / or subsequent Knowledge Cells
    include Collection of Sequences 530c ( later described ). In 800 such as in Graph 530b or Neural Network 530a . In such
     further embodiments, Knowledgebase 530 may be or embodiments, instead ofKnowledge Cells 800 generated by
    include Sequence 533 ( later described ). In further embodi Knowledge Structuring Unit 520 , the learning process may
    ments , Knowledgebase 530 may be or include Collection of 40 utilize Knowledge Cells 800 from one Knowledgebase 530
    Knowledge Cells 530d ( later described ). In general, Knowl to apply them onto another Knowledgebase 530. Any other
    edgebase 530 may be or include any data structure or techniques known in art including custom techniques for
    arrangement capable of storing knowledge of Avatar's 605 combining data structures can be utilized for combining
    operation in circumstances including objects with various Knowledgebases 530 in alternate implementations. In any of
    properties. Knowledgebase 530 may reside locally on Com- 45 the aforementioned and /or other combining techniques,
    puting Device 70 , or remotely (i.e. remote Knowledgebase similarity of elements ( i.e. nodes/ vertices, edges/connec
    530 , etc. ) on a remote computing device ( i.e. server , cloud, tions , etc. ) can be utilized in determining whether an ele
    etc.) accessible over a network or an interface.                ment from one Knowledgebase 530 matches an element
       In some embodiments , Knowledgebase 530 from one             from another Knowledgebase 530 , and substantially or
    Computing Device 70 or ACAAO Unit 100 can be trans- 50 otherwise similar elements may be considered a match for
    ferred to one or more other Computing Devices 70 or combining purposes in some designs . Any features, func
    ACAAO Units 100. Therefore, the knowledge of Avatar's tionalities, and embodiments of Similarity Comparison 125
    605 operation in circumstances including objects with vari ( later described ) can be used in such similarity determina
    ous properties learned and /or stored on one Computing tions . A combined Knowledgebase 530 can be offered as a
    Device 70 or ACAAO Unit 100 can be transferred to one or 55 network service (i.e. online application , etc.), downloadable
    more other Computing Devices 70 or ACAAO Units 100. In file , or other repository to all ACAAO Units 100 configured
    one example, Knowledgebase 530 can be copied or down        to utilize the combined Knowledgebase 530. For example, a
     loaded to a file or other repository from one Computing computer game ( i.e. Application Program 18 , etc.) including
    Device 70 or ACAAO Unit 100 and loaded or inserted into         or interfaced with ACAAO Unit 100 having access to a
    another Computing Device 70 or ACAAO Unit 100. In 60 combined Knowledgebase 530 can use a collective knowl
    another example , Knowledgebase 530 from one Computing          edge for Avatar's 605 operation in circumstances including
    Device 70 or ACAAO Unit 100 can be available on a server        objects with various properties learned from multiple play
    accessible by other Computing Devices 70 or ACAAO Units         ers ( i.e. Users 50 , etc.) for Avatar's 605 autonomous opera
    100 over a network or an interface. Once loaded into or          tion .
    accessed by a receiving Computing Device 70 or ACAAO 65 Referring to FIG . 16 , the disclosed artificially intelligent
    Unit 100 , the receiving Computing Device 70 or ACAAO devices, systems, and methods for learning and /or using an
    Unit 100 can then implement the knowledge of Avatar's 605 avatar's circumstances for autonomous avatar operation
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 365 of 2562 PageID #: 13236


                                                       US 10,607,134 B1
                                 105                                                                106
    may include various artificial intelligence models and /or graph can be utilized as a predictive modeling approach in
    techniques. The disclosed devices, systems, and methods are machine learning. Nodes 852 , Connections 853 , and /or other
    independent of the artificial intelligence model and /or tech         elements or operations of a graph may include any features,
    nique used and any model and /or technique can be utilized functionalities , and embodiments of the aforementioned
    to facilitate the functionalities described herein . Examples of 5 Nodes 852 , Connections 853 , and /or other elements or
    these models and/or techniques include deep learning, operations of a neural network , and vice versa. An exem
    supervised learning , unsupervised learning, neural networks plary embodiment of a graph (i.e. Graph 530b , etc.) is
    ( i.e. convolutional neural network , recurrentneuralnetwork , described later.
    deep neural network , etc.), search - based , logic and/or fuzzy         In a further example shown in Model C , the disclosed
    logic -based , optimization -based, tree /graph /other data struc- 10 artificially intelligent devices, systems, and methods for
    ture -based , hierarchical, symbolic and /or sub -symbolic , learning and/ or using an avatar's circumstances for autono
    evolutionary, genetic, multi-agent, deterministic , probabilis        mous avatar operation may include a tree or tree -like data
    tic, statistical, and /or other models and /or techniques.            structure . As such ,machine learning, knowledge structuring
        In one example shown in Model A , the disclosed artifi or representation , decision making , pattern recognition , and /
    cially intelligent devices, systems, and methods for learning 15 or other artificial intelligence functionalities may include
    and /or using an avatar's circumstances for autonomous Nodes 852 and Connections 853 (also referred to as refer
    avatar operation may include a neuralnetwork ( also referred ences, edges, etc.) organized as a tree . In general, a Node
    to as artificial neural network , etc.). As such , machine         852 in a tree can be connected to any number (i.e. including
    learning, knowledge structuring or representation , decision       zero , etc.) of children Nodes 852. A tree can be utilized as
    making, pattern recognition , and /or other artificial intelli- 20 a predictive modeling approach in machine learning. Nodes
     gence functionalities may include a network of Nodes 852 852, Connections 853, and/or other elements or operations
     (also referred to as neurons, etc.) and Connections 853 of a tree may include any features, functionalities , and
     similar to that of a brain . Node 852 can store any data , embodiments of the aforementioned Nodes 852, Connec
    object, data structure, and /or other item , or reference thereto . tions 853 , and /or other elements or operations of a neural
    Node 852 may also include a function for transforming or 25 network and /or graph , and vice versa.
    manipulating any data , object, data structure , and/or other          In a further example shown in Model D , the disclosed
     item . Examples of such transformation functions include artificially intelligent devices, systems, and methods for
    mathematical functions (i.e. addition , subtraction , multipli      learning and/or using an avatar's circumstances for autono
     cation , division , sin , cos, log, derivative , integral, etc. ), mous avatar operation may include a sequence or sequence
    object manipulation functions ( i.e. creating an object, modi- 30 like data structure . As such , machine learning, knowledge
     fying an object, deleting an object, appending objects , etc.) , structuring or representation , decision making , pattern rec
    data structure manipulation functions ( i.e. creating a data ognition , and /or other artificial intelligence functionalities
     structure , modifying a data structure , deleting a data struc may include a str ure of Nodes 852 and / or Connections
    ture , creating a data field , modifying a data field , deleting a 853 organized as a sequence . In some aspects, Connections
    data field , etc.), and /or other transformation functions. Con- 35 853 may be optionally omitted from a sequence as the
    nection 853 may include or be associated with a value such sequential order of Nodes 852 in a sequence may be implied
    as a symbolic label or numeric attribute (i.e. weight, cost, in the structure . A sequence can be utilized as a predictive
    capacity, length , etc.). A computational model can be uti modeling approach in machine learning. Nodes 852, Con
     lized to compute values from inputs based on a pre-pro             nections 853, and / or other elements or operations of a
    grammed or learned function or method . For example , a 40 sequence may include any features, functionalities, and
    neural network may include one ormore input neurons that embodiments of the aforementioned Nodes 852 , Connec
    can be activated by inputs. Activations of these neurons can tions 853, and /or other elements or operations of a neural
     then be passed on, weighted , and transformed by a function network , graph , and /or tree, and vice versa . An exemplary
     to other neurons . Neural networks may range from those embodiment of a sequence ( i.e. Collection of Sequences
    with only one layer of single direction logic to multi-layer of 45 530c, Sequence 533, etc.) is described later .
    multi-directional feedback loops. A neural network can use             In yet another example , the disclosed artificially intelli
    weights to change the parameters of the network's through           gent devices, systems, and methods for learning and/or using
    put. A neural network can learn by input from its environ an avatar's circumstances for autonomous avatar operation
    ment or from self-teaching using written -in rules. A neural may include a search -based model and /or technique . As
    network can be utilized as a predictive modeling approach in 50 such , machine learning, knowledge structuring or represen
    machine learning. An exemplary embodiment of a neural tation , decision making , pattern recognition , and /or other
    network ( i.e. Neural Network 530a , etc.) is described later. artificial intelligence functionalities may include searching
        In another example shown in Model B , the disclosed through a collection of possible solutions. For example , a
    artificially intelligent devices, systems, and methods for search method can search through a neural network , graph ,
    learning and /or using an avatar's circumstances for autono- 55 tree , sequence, or other data structure that includes data
    mous avatar operation may include a graph or graph - like elements of interest. A search may use heuristics to limit the
    data structure. As such , machine learning, knowledge struc       search for solutions by eliminating choices that are unlikely
    turing or representation , decision making , pattern recogni to lead to the goal. Heuristic techniques may provide a best
    tion , and / or other artificial intelligence functionalities may guess solution. A search can also include optimization . For
    include Nodes 852 (also referred to as vertices or points, 60 example, a search may begin with a guess and then refine the
     etc.) and Connections 853 (also referred to as edges, arrows, guess incrementally until no more refinements can be made .
    lines, arcs, etc. ) organized as a graph . In general, any Node In a further example , the disclosed systems, devices, and
    852 in a graph can be connected to any other Node 852. A methods may include logic -based model and/or technique .
    Connection 853 may include unordered pair of Nodes 852 in As such , machine learning, knowledge structuring or repre
    an undirected graph or ordered pair of Nodes 852 in a 65 sentation , decision making, pattern recognition , and /or other
    directed graph . Nodes 852 can be partof the graph structure artificial intelligence functionalities can use formal or other
    or external entities represented by indices or references. A type of logic . Logic based models may involve making
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 366 of 2562 PageID #: 13237


                                                       US 10,607,134 B1
                                 107                                                                 108
     inferences or deriving conclusions from a set of premises . As Also , the weight of Connection 853z2 can be calculated or
    such , a logic based system can extend existing knowledge or determined as 15 /( 10 + 15 ) = 0.6 , for example . Therefore , the
    create new knowledge automatically using inferences . sum of weights of Connection 853z1, Connection 853z2 ,
    Examples of the types of logic that can be utilized include and/ or any other Connections 853 originating from Knowl
    propositional or sentential logic that comprises logic of 5 edge Cell 800za may equal to 1 or 100 % . As shown for
    statements which can be true or false ; first-order logic that example in FIG . 17B , in the case that Knowledge Cell 800zd
    allows the use of quantifiers and predicates and that can is inserted and an observation is made that Knowledge Cell
    express facts about objects, their properties, and their rela    800zd follows Knowledge Cell 800za , Connection 853z3
     tionswith each other; fuzzy logic that allows degrees of truth can be created between Knowledge Cell 800za and Knowl
    to be represented as a value between 0 and 1 rather than 10 edge Cell 800zd . The occurrence count of Connection 853z3
    simply 0 ( false ) or 1 (true), which can be used for uncertain can be set to 1 and weight determined as 1/ ( 10+
     reasoning; subjective logic that comprises a type of proba      15 + 1 ) = 0.038. The weights of all other connections ( i.e.
    bilistic logic that may take uncertainty and belief into Connection 853z1 , Connection 853z2 , etc.) originating from
    account, which can be suitable for modeling and analyzing Knowledge Cell 800za may be updated to account for the
    situations involving uncertainty , incomplete knowledge, and 15 creation of Connection 853z3. Therefore , the weight of
    different world views; and /or other types of logic . In a Connection 853zl can be updated as 10 /( 10 + 15 + 1) = 0.385 .
     further example, the disclosed systems, devices, and meth        The weight of Connection 853z2 can also be updated as
    ods may include a probabilistic model and / or technique . As 15 /( 10 + 15 + 1 ) = 0.577 . As shown for example in FIG . 17C , in
    such , machine learning, knowledge structuring or represen the case that an additional occurrence of Connection 853z1
    tation , decision making, pattern recognition , and/or other 20 is observed ( i.e. Knowledge Cell 800zb followed Knowl
    artificial intelligence functionalities can be implemented to edge Cell 800za , etc.), occurrence count of Connection
    operate with incomplete or uncertain information where 853z1 and weights of all connections ( i.e. Connection 853z1 ,
    probabilities may affect outcomes . Bayesian network , Connection 853z2 , and Connection 853z3, etc.) originating
    among other models , is an example of a probabilistic tool from Knowledge Cell 800za may be updated to account for
    used for purposes such as reasoning , learning, planning , 25 this observation . The occurrence count of Connection 853z1
    perception , and /or others . One of ordinary skill in art will can be increased by 1 and its weight updated as 11/( 11 + 15 +
    understand that the aforementioned artificial intelligence 1 ) = 0.407. The weight of Connection 853z2 can also be
    models and /or techniques are described merely as examples updated as 15/( 11 + 15 + 1 )= 0.556 . The weight of Connection
    of a variety of possible implementations, and that while all 853z3 can also be updated as 1/(11 + 15 + 1) = 0.037 .
    possible artificial intelligence models and /or techniques are 30 Referring to FIG . 18 , an embodiment of learning Knowl
     too voluminous to describe , other artificial intelligence edge Cells 800 comprising one or more Collections of
    models and/or techniques known in art are within the scope Object Representations 525 correlated with any Instruction
    of this disclosure. One of ordinary skill in art will also Sets 526 and / or Extra Info 527 using Collection of Knowl
    recognize that an intelligent system may solve a specific edge Cells 530d is illustrated . Collection of Knowledge
    problem by using any model and /or technique that works 35 Cells 530d comprises the functionality for storing any
    such as, for example , some systems can be symbolic and number of Knowledge Cells 800. In some aspects , Knowl
     logical, some can be sub -symbolic neural networks, some edge Cells 800 may be stored into or applied onto Collection
    can be deterministic or probabilistic, some can be hierar of Knowledge Cells 530d in a learning or training process .
    chical, some may include searching techniques, some may In effect, Collection of Knowledge Cells 530d may store
    include optimization techniques, while others may use other 40 Knowledge Cells 800 that can later be used to enable
    or a combination of models and/or techniques . In general, autonomous Avatar 605 operation. In some embodiments,
    any artificial intelligence model and/or technique can be          Knowledge Structuring Unit 520 structures or generates
    utilized that can facilitate the functionalities described Knowledge Cells 800 as previously described and the sys
    herein .                                                      tem applies them onto Collection of Knowledge Cells 530d ,
       Referring to FIGS. 17A - 17C , embodiments of intercon- 45 thereby implementing learning Avatar's 605 operation in
    nected Knowledge Cells 800 and updating weights of Con        circumstances including objects with various properties. The
    nections 853 are illustrated . As shown for example in FIG . term apply or applying may refer to storing , copying ,
    17A , Knowledge Cell 800za is connected to Knowledge inserting, updating , or other similar action , therefore , these
     Cell 800zb and Knowledge Cell 800zc by Connection 853z1 terms may be used interchangeably herein depending on
    and Connection 853z2, respectively . Each of Connection 50 context. The system can perform Similarity Comparisons
    853z1 and Connection 853z2 may include or be associated 125 (later described ) of a newly structured Knowledge Cell
    with occurrence count, weight, and/ or other parameters or 800 from Knowledge Structuring Unit 520 with Knowledge
    data . The number of occurrences may track or store the Cells 800 in Collection of Knowledge Cells 530d . If a
    number of observations that a Knowledge Cell 800 was substantially similar Knowledge Cell 800 is not found in
     followed by another Knowledge Cell 800 indicating a con- 55 Collection of Knowledge Cells 530d ,the system may insert
    nection or relationship between them . For example , Knowl ( i.e. copy , store , etc.) the Knowledge Cell 800 from Knowl
    edge Cell 800za was followed by Knowledge Cell 800zb 10 edge Structuring Unit 520 into Collection of Knowledge
    times as indicated by the number of occurrences of Con             Cells 530d , for example . On the other hand , if a substantially
    nection 853z1. Also , Knowledge Cell 800za was followed            similar Knowledge Cell 800 is found in Collection of
    by Knowledge Cell 800zc times as indicated by the number 60 Knowledge Cells 530d, the system may optionally omit
    of occurrences of Connection 853z2 . The weight of Con             inserting the Knowledge Cell 800 from Knowledge Struc
    nection 853z1 can be calculated or determined as the number turing Unit 520 as inserting a substantially similar Knowl
    of occurrences of Connection 853z1 divided by the sum of edge Cell 800 may not add much or any additional knowl
    occurrences of all connections ( i.e. Connection 853z1 and edge to the Collection of Knowledge Cells 530d , for
    Connection 853z2 , etc.) originating from Knowledge Cell 65 example . Also , inserting a substantially similar Knowledge
    800za . Therefore , the weight of Connection 853zl can be Cell 800 can optionally be omitted to save storage resources
    calculated or determined as 10 / (10 + 15 ) = 0.4 , for example . and limit the number of Knowledge Cells 800 thatmay later
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 367 of 2562 PageID #: 13238


                                                      US 10,607,134 B1
                                109                                                              110
    need to be processed or compared . Any features , function       parameter or data as previously described . Neural Network
    alities, and embodiments of Similarity Comparison 125 ,          530a may include any number of Layers 854 comprising any
    importance index (later described ), similarity index (later     number of Knowledge Cells 800. In some aspects , Neural
    described ), and /or other disclosed elements can be utilized    Network 530a may store Knowledge Cells 800 intercon
    to facilitate determination of substantial or other similarity 5 nected by Connections 853 where following a path through
    and whether to insert a newly structured Knowledge Cell the Neural Network 530a can later be used to enable
    800 into Collection of Knowledge Cells 530d .                    autonomous Avatar 605 operation . It should be understood
       For example , the system can perform Similarity Com           that, in some embodiments , Knowledge Cells 800 in one
    parisons 125 (later described ) of Knowledge Cell 800ba Layer 854 of Neural Network 530a need not be connected
    from Knowledge Structuring Unit 520 with Knowledge 10 only with Knowledge Cells 800 in a successive Layer 854,
    Cells 800 in Collection of Knowledge Cells 530d . In the         but also in any other Layer 854 , thereby creating shortcuts
    case that a substantially similar match is found between         (i.e. shortcut Connections 853 , etc.) through NeuralNetwork
    Knowledge Cell 800ba and any of the Knowledge Cells 800          530a . A Knowledge Cell 800 can also be connected to itself
    in Collection of Knowledge Cells 530d , the system may           such as , for example , in recurrent neural networks . In
    perform no action . The system can then perform Similarity 15 general, any Knowledge Cell 800 can be connected with any
    Comparisons 125 of Knowledge Cell 800bb from Knowl other Knowledge Cell 800 anywhere else in Neural Network
    edge Structuring Unit 520 with Knowledge Cells 800 in            530a . In further embodiments , back -propagation of any data
    Collection of Knowledge Cells 530d . In the case that a          or information can be implemented . In one example , back
    substantially similar match is not found , the system may        propagation of similarity ( i.e. similarity index , etc.) of
    insert a new Knowledge Cell 800 into Collection of Knowl- 20 compared Knowledge Cells 800 in a path through Neural
    edge Cells 530d and copy Knowledge Cell 800bb into the Network 530a can be implemented . In another example ,
    inserted new Knowledge Cell 800. The system can then back -propagation of errors can be implemented. Such back
    perform Similarity Comparisons 125 of Knowledge Cell propagations can then be used to adjust occurrence counts
    800bc from Knowledge Structuring Unit 520 with Knowl and /or weights of Connections 853 for better future predic
    edge Cells 800 in Collection of Knowledge Cells 530d . In 25 tions, for example . Any other back -propagation can be
    the case that a substantially similar match is found between implemented for other purposes. Any combination of Nodes
    Knowledge Cell 800bc and any of the Knowledge Cells 800 852 ( i.e. Nodes 852 comprising Knowledge Cells 800 , etc.),
    in Collection of Knowledge Cells 530d, the system may Connections 853 , Layers 854 , and /or other elements or
    perform no action . The system can then perform Similarity techniques can be implemented in alternate embodiments.
    Comparisons 125 of Knowledge Cell 800bd from Knowl- 30 Neural Network 530a may include any type or form of a
    edge Structuring Unit 520 with Knowledge Cells 800 in neural network known in art such as a feed - forward neural
    Collection of Knowledge Cells 530d . In the case that a network , a back -propagating neural network , a recurrent
    substantially similar match is not found, the system may neural network , a convolutional neural network , deep neural
    insert a new Knowledge Cell 800 into Collection of Knowl network , and /or others including a custom neural network .
    edge Cells 530d and copy Knowledge Cell 800bd into the 35 In some embodiments , Knowledge Structuring Unit 520
    inserted new Knowledge Cell 800. The system can then structures or generates Knowledge Cells 800 and the system
    perform Similarity Comparisons 125 of Knowledge Cell applies them onto Neural Network 530a , thereby imple
    800be from Knowledge Structuring Unit 520 with Knowl menting learning Avatar's 605 operation in circumstances
    edge Cells 800 in Collection of Knowledge Cells 530d . In including objects with various properties . The system can
    the case that a substantially similar match is not found, the 40 perform Similarity Comparisons 125 (later described ) of a
    system may insert a new Knowledge Cell 800 into Collec Knowledge Cell 800 from Knowledge Structuring Unit 520
    tion of Knowledge Cells 530d and copy Knowledge Cell with Knowledge Cells 800 in a Layer 854 of Neural Net
    800be into the inserted new Knowledge Cell 800. Applying work 530a . If a substantially similar Knowledge Cell 800 is
    any additional Knowledge Cells 800 from Knowledge Struc not found in the Layer 854 of Neural Network 530a , the
    turing Unit 520 onto Collection of Knowledge Cells 530d 45 system may insert ( i.e. copy, store , etc.) the Knowledge Cell
    follows similar logic or process as the above -described .       800 from Knowledge Structuring Unit 520 into the Layer
      Referring to FIG . 19 , an embodiment of learning Knowl 854 of Neural Network 530a, and create a Connection 853
    edge Cells 800 comprising one or more Collections of to the inserted Knowledge Cell 800 from a Knowledge Cell
    Object Representations 525 correlated with any Instruction 800 in a prior Layer 854 including assigning an occurrence
    Sets 526 and /or Extra Info 527 using Neural Network 530a 50 count to the new Connection 853, calculating a weightof the
    is illustrated . Neural Network 530a includes a number of new Connection 853 , and updating any other Connections
    neurons or Nodes 852 interconnected by Connections 853 as 853 originating from the Knowledge Cell 800 in the prior
    previously described . Knowledge Cells 800 are shown Layer 854. On the other hand , if a substantially similar
    instead ofNodes 852 to simplify the illustration as Node 852 Knowledge Cell 800 is found in the Layer 854 of Neural
    includes a Knowledge Cell 800, for example. Therefore, 55 Network 530a ,the system may update occurrence count and
    Knowledge Cells 800 and Nodes 852 can be used inter weight of Connection 853 to that Knowledge Cell 800 from
    changeably herein depending on context. It should be noted a Knowledge Cell 800 in a prior Layer 854, and update any
    that Node 852 may include other elements and/or function         other Connections 853 originating from the Knowledge Cell
    alities instead of or in addition to Knowledge Cell 800. In      800 in the prior Layer 854.
    some aspects , Knowledge Cells 800 may be stored into or 60 For example, the system can perform Similarity Com
    applied onto Neural Network 530a individually or collec      parisons 125 (later described ) of Knowledge Cell 800ba
    tively in a learning or training process. In some designs, from Knowledge Structuring Unit 520 with Knowledge
    Neural Network 530a comprises a number of Layers 854 Cells 800 in Layer 854a of NeuralNetwork 530a . In the case
    each of which may include one or more Knowledge Cells that a substantially similar match is found between Knowl
    800. Knowledge Cells 800 in successive Layers 854 can be 65 edge Cell 800ba and Knowledge Cell 800ea , the system may
    connected by Connections 853. Connection 853 may include perform no action since Knowledge Cell 800ea is the initial
    or be associated with occurrence count,weight, and /or other Knowledge Cell 800. The system can then perform Simi
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 368 of 2562 PageID #: 13239


                                                        US 10,607,134 B1
                                 111                                                                  112
    larity Comparisons 125 of Knowledge Cell 800bb from herein depending on context. As such , Similarity Compari
    Knowledge Structuring Unit 520 with Knowledge Cells 800 son 125 may include determining substantial similarity or
    in Layer 854b of Neural Network 530a . In the case that a substantial match of compared elements . Although , substan
    substantially similar match is found between Knowledge tial similarity or substantial match is frequently used herein ,
    Cell 800bb and Knowledge Cell 800eb , the system may 5 it should be understood that any level of similarity , however
    update occurrence count and weight of Connection 853e1 high or low , may be utilized as defined by the rules ( i.e.
    between Knowledge Cell 800ea and Knowledge Cell 800eb , thresholds, etc.) for similarity . The rules for similarity or
    and update weights of other Connections 853 originating similar match can be defined by a user, by ACAAO system
    from Knowledge Cell 800ea as previously described . The administrator, or automatically by the system based on
    system can then perform Similarity Comparisons 125 of 10 experience, testing , inquiry, analysis , synthesis, or other
    Knowledge Cell 800bc from Knowledge Structuring Unit techniques, knowledge, or input. In some designs, Similarity
    520 with Knowledge Cells 800 in Layer 854c of Neural Comparison 125 comprises the functionality to automati
    Network 530a . In the case that a substantially similarmatch cally define appropriately strict rules for determining simi
    is not found , the system may insert Knowledge Cell 800ec larity of the compared elements . Similarity Comparison 125
    into Layer 854c and copy Knowledge Cell 800bc into the 15 can therefore set, reset, and /or adjust the strictness of the
    inserted Knowledge Cell 800ec . The system may also create rules for finding or determining similarity of the compared
    Connection 853e2 between Knowledge Cell 800eb and elements, thereby fine tuning Similarity Comparison 125 so
    Knowledge Cell 800ec with occurrence count of 1 and that the rules for determining similarity are appropriately
    weight calculated based on the occurrence count as previ strict. In some aspects , the rules for determining similarity
    ously described . The system may also update weights of 20 may include a similarity threshold . As such , Similarity
    other Connections 853 (one in this example ) originating Comparison 125 can determine similarity of compared ele
    from Knowledge Cell 800eb as previously described . The ments if their similarity exceeds a similarity threshold . In
    system can then perform Similarity Comparisons 125 of other aspects , the rules for determining similarity may
    Knowledge Cell 800bd from Knowledge Structuring Unit include a difference threshold . As such , Similarity Compari
    520 with Knowledge Cells 800 in Layer 854d of Neural 25 son 125 can determine similarity of compared elements if
    Network 530a . In the case that a substantially similar match their difference is lower than a difference threshold . In
    is not found, the system may insert Knowledge Cell 800ed further aspects, the rules for determining similarity may
    into Layer 854d and copy Knowledge Cell 800bd into the include other thresholds. Similarity Comparison 125 enables
     inserted Knowledge Cell 800ed . The system may also create comparing circumstances including objects with various
     Connection 853e3 between Knowledge Cell 800ec and 30 properties and determining their similarity or match . In one
    Knowledge Cell 800ed with occurrence count of 1 and example , a circumstance including an object located at a
    weight of 1. The system can then perform Similarity Com       distance of 9 m and an angle/bearing of 97 ° relative to
    parisons 125 of Knowledge Cell 800be from Knowledge Avatar 605 may be found similar or matching by Similarity
    Structuring Unit 520 with Knowledge Cells 800 in Layer Comparison 125 to a circumstance including the same or
    854e of Neural Network 530a . In the case that a substan- 35 similar object located at a distance of 8.7 m and an angle/
    tially similar match is not found , the system may insert bearing of 101 ° relative to Avatar 605. In another example ,
    Knowledge Cell 800ee into Layer 854e and copy Knowl a circumstance including an object detected as a female
    edge Cell 800be into the inserted Knowledge Cell 800ee . person may be found similar or matching by Similarity
     The system may also create Connection 853e4 between                 Comparison 125 to a circumstance including an object
    Knowledge Cell 800ed and Knowledge Cell 800ee with 40 detected as a male person . In general, any one or more
    occurrence count of 1 and weight of 1. Applying any properties ( i.e. existence, type, identity , distance , bearing /
    additional Knowledge Cells 800 from Knowledge Structur angle , location , shape /size , activity , etc.) of one or more
    ing Unit 520 onto Neural Network 530a follows similar objects can be utilized for determining similarity or match of
    logic or process as the above -described .                   circumstances including objects with various properties.
      Referring now to Similarity Comparison 125 , Similarity 45 Therefore, Similarity Comparison 125 provides flexibility in
    Comparison 125 comprises the functionality for comparing comparing and determining similarity of a variety of pos
    or matching Knowledge Cells 800 or portions thereof,                 sible circumstances of Avatar 605 .
    and /or other functionalities. Similarity Comparison 125                In some embodiments where compared Knowledge Cells
    comprises the functionality for comparing or matching Col            800 include a single Collection of Object Representations
    lections of Object Representations 525 or portions thereof. 50 525 , in determining similarity of Knowledge Cells 800 ,
    Similarity Comparison 125 comprises the functionality for Similarity Comparison 125 can perform comparison of
    comparing or matching streams of Collections of Object individual Collections of Object Representations 525 or
    Representations 525 or portions thereof. Similarity Com                portions ( i.e. Object Representations 625 , Object Properties
    parison 125 comprises the functionality for comparing or 630 , etc.) thereofsuch as comparison of Collection ofObject
    matching Object Representations 625 or portions thereof. 55 Representations 525 or portions thereof from one Knowl
    Similarity Comparison 125 comprises the functionality for edge Cell 800 with Collection of Object Representations 525
     comparing or matching Object Properties 630 or portions or portions thereof from another Knowledge Cell 800. In
     thereof. Similarity Comparison 125 comprises the function             some aspects, total equivalence is achieved when Collection
    ality for comparing or matching Instruction Sets 526 , Extra of Object Representations 525 or portions thereof from one
    Info 527 ,text ( i.e. characters , words, phrases , etc.), numbers, 60 Knowledge Cell 800 matches Collection of Object Repre
    and /or other elements or portions thereof. Similarity Com             sentations 525 or portions thereof from another Knowledge
    parison 125 may include functions, rules, and /or logic for Cell 800. If total equivalence is not found , Similarity Com
    performing matching or comparisons and for determining parison 125 may attempt to determine substantial or other
     that while a perfect match is not found , partial or similar similarity of compared Knowledge Cells 800 .
    match has been found . In some aspects, a partial match may 65 In some embodiments, in determining substantial simi
    include a substantially or otherwise similar match , and vice larity of individually compared Collections of Object Rep
    versa . Therefore , these termsmay be used interchangeably resentations 525 ( i.e. Collections of Object Representations
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 369 of 2562 PageID #: 13240
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 370 of 2562 PageID #: 13241
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 371 of 2562 PageID #: 13242
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 372 of 2562 PageID #: 13243
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 373 of 2562 PageID #: 13244
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 374 of 2562 PageID #: 13245
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 375 of 2562 PageID #: 13246
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 376 of 2562 PageID #: 13247
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 377 of 2562 PageID #: 13248
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 378 of 2562 PageID #: 13249
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 379 of 2562 PageID #: 13250
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 380 of 2562 PageID #: 13251
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 381 of 2562 PageID #: 13252
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 382 of 2562 PageID #: 13253
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 383 of 2562 PageID #: 13254
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 384 of 2562 PageID #: 13255
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 385 of 2562 PageID #: 13256
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 386 of 2562 PageID #: 13257
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 387 of 2562 PageID #: 13258
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 388 of 2562 PageID #: 13259
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 389 of 2562 PageID #: 13260
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 390 of 2562 PageID #: 13261
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 391 of 2562 PageID #: 13262
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 392 of 2562 PageID #: 13263
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 393 of 2562 PageID #: 13264
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 394 of 2562 PageID #: 13265
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 395 of 2562 PageID #: 13266
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 396 of 2562 PageID #: 13267
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 397 of 2562 PageID #: 13268
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 398 of 2562 PageID #: 13269
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 399 of 2562 PageID #: 13270
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 400 of 2562 PageID #: 13271
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 401 of 2562 PageID #: 13272




                         Exhibit D
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 402 of 2562 PageID #: 13273
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 403 of 2562 PageID #: 13274
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 404 of 2562 PageID #: 13275
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 405 of 2562 PageID #: 13276
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 406 of 2562 PageID #: 13277
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 407 of 2562 PageID #: 13278
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 408 of 2562 PageID #: 13279
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 409 of 2562 PageID #: 13280
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 410 of 2562 PageID #: 13281
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 411 of 2562 PageID #: 13282
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 412 of 2562 PageID #: 13283
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 413 of 2562 PageID #: 13284
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 414 of 2562 PageID #: 13285
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 415 of 2562 PageID #: 13286
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 416 of 2562 PageID #: 13287
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 417 of 2562 PageID #: 13288
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 418 of 2562 PageID #: 13289
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 419 of 2562 PageID #: 13290
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 420 of 2562 PageID #: 13291
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 421 of 2562 PageID #: 13292
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 422 of 2562 PageID #: 13293
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 423 of 2562 PageID #: 13294
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 424 of 2562 PageID #: 13295
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 425 of 2562 PageID #: 13296
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 426 of 2562 PageID #: 13297
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 427 of 2562 PageID #: 13298
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 428 of 2562 PageID #: 13299
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 429 of 2562 PageID #: 13300
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 430 of 2562 PageID #: 13301
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 431 of 2562 PageID #: 13302
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 432 of 2562 PageID #: 13303
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 433 of 2562 PageID #: 13304
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 434 of 2562 PageID #: 13305
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 435 of 2562 PageID #: 13306
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 436 of 2562 PageID #: 13307
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 437 of 2562 PageID #: 13308
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 438 of 2562 PageID #: 13309
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 439 of 2562 PageID #: 13310
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 440 of 2562 PageID #: 13311
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 441 of 2562 PageID #: 13312
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 442 of 2562 PageID #: 13313
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 443 of 2562 PageID #: 13314
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 444 of 2562 PageID #: 13315
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 445 of 2562 PageID #: 13316
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 446 of 2562 PageID #: 13317
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 447 of 2562 PageID #: 13318
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 448 of 2562 PageID #: 13319
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 449 of 2562 PageID #: 13320
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 450 of 2562 PageID #: 13321
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 451 of 2562 PageID #: 13322
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 452 of 2562 PageID #: 13323
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 453 of 2562 PageID #: 13324
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 454 of 2562 PageID #: 13325
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 455 of 2562 PageID #: 13326
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 456 of 2562 PageID #: 13327
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 457 of 2562 PageID #: 13328
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 458 of 2562 PageID #: 13329
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 459 of 2562 PageID #: 13330
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 460 of 2562 PageID #: 13331
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 461 of 2562 PageID #: 13332
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 462 of 2562 PageID #: 13333
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 463 of 2562 PageID #: 13334
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 464 of 2562 PageID #: 13335
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 465 of 2562 PageID #: 13336
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 466 of 2562 PageID #: 13337
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 467 of 2562 PageID #: 13338
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 468 of 2562 PageID #: 13339
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 469 of 2562 PageID #: 13340
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 470 of 2562 PageID #: 13341
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 471 of 2562 PageID #: 13342
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 472 of 2562 PageID #: 13343
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 473 of 2562 PageID #: 13344
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 474 of 2562 PageID #: 13345
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 475 of 2562 PageID #: 13346
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 476 of 2562 PageID #: 13347
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 477 of 2562 PageID #: 13348
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 478 of 2562 PageID #: 13349
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 479 of 2562 PageID #: 13350
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 480 of 2562 PageID #: 13351
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 481 of 2562 PageID #: 13352
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 482 of 2562 PageID #: 13353
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 483 of 2562 PageID #: 13354
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 484 of 2562 PageID #: 13355
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 485 of 2562 PageID #: 13356
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 486 of 2562 PageID #: 13357
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 487 of 2562 PageID #: 13358
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 488 of 2562 PageID #: 13359
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 489 of 2562 PageID #: 13360
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 490 of 2562 PageID #: 13361
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 491 of 2562 PageID #: 13362
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 492 of 2562 PageID #: 13363
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 493 of 2562 PageID #: 13364
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 494 of 2562 PageID #: 13365
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 495 of 2562 PageID #: 13366
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 496 of 2562 PageID #: 13367
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 497 of 2562 PageID #: 13368
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 498 of 2562 PageID #: 13369
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 499 of 2562 PageID #: 13370
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 500 of 2562 PageID #: 13371
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 501 of 2562 PageID #: 13372
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 502 of 2562 PageID #: 13373
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 503 of 2562 PageID #: 13374
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 504 of 2562 PageID #: 13375
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 505 of 2562 PageID #: 13376
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 506 of 2562 PageID #: 13377
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 507 of 2562 PageID #: 13378
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 508 of 2562 PageID #: 13379
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 509 of 2562 PageID #: 13380
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 510 of 2562 PageID #: 13381
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 511 of 2562 PageID #: 13382
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 512 of 2562 PageID #: 13383
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 513 of 2562 PageID #: 13384
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 514 of 2562 PageID #: 13385
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 515 of 2562 PageID #: 13386
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 516 of 2562 PageID #: 13387
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 517 of 2562 PageID #: 13388
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 518 of 2562 PageID #: 13389
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 519 of 2562 PageID #: 13390
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 520 of 2562 PageID #: 13391
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 521 of 2562 PageID #: 13392
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 522 of 2562 PageID #: 13393
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 523 of 2562 PageID #: 13394
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 524 of 2562 PageID #: 13395
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 525 of 2562 PageID #: 13396
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 526 of 2562 PageID #: 13397
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 527 of 2562 PageID #: 13398
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 528 of 2562 PageID #: 13399
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 529 of 2562 PageID #: 13400
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 530 of 2562 PageID #: 13401
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 531 of 2562 PageID #: 13402
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 532 of 2562 PageID #: 13403
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 533 of 2562 PageID #: 13404
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 534 of 2562 PageID #: 13405
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 535 of 2562 PageID #: 13406
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 536 of 2562 PageID #: 13407
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 537 of 2562 PageID #: 13408
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 538 of 2562 PageID #: 13409




                         Exhibit E
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 539 of 2562 PageID #: 13410

                                                                                                                            US011055583B1


    ( 12) United
          Cosic
                 States Patent                                                                  ( 10) Patent No .: US 11,055,583 B1
                                                                                                (45 ) Date of Patent :   * Jul. 6 , 2021
    ( 54 ) MACHINE LEARNING FOR COMPUTING                                                   ( 56 )                               References Cited
          ENABLED SYSTEMS AND/OR DEVICES
                                                                                                                    U.S. PATENT DOCUMENTS
    ( 71 ) Applicant: Jasmin Cosic , Miami , FL (US )                                                4,370,707 A                  1/1983 Phillips et al .             364/200
    ( 72 ) Inventor : Jasmin Cosic , Miami , FL (US )                                                4,730,315 A                  3/1988 Saito et al .                 371/19
                                                                                                     4,860,203 A                  8/1989 Corrigan et al .             364/300
    ( * ) Notice:      Subject to any disclaimer, the term of this                                   5,560,011 A                  9/1996 Uyama                        395/700
                                                                                                     5,602,982 A                  2/1997 Judd et al .                 395/326
                       patent is extended or adjusted under 35                                       6,026,234 A                  2/2000 Hanson et al.                395/704
                       U.S.C. 154 (b ) by 67 days.                                                   6,088,731 A                  7/2000 Kiraly et al .               709/229
                                                                                                     6,106,299 A                  8/2000 Ackermann et al .             434/81
                       This patent is subject to a terminal dis                                      6,126,330 A                 10/2000 Knight                       395/704
                       claimer .                                                                     6,314,558 B1                11/2001 Angel et al .                  717/4
                                                                                                     6,408,262 B1                 6/2002 Leerberg et al.                703/2
    ( 21 ) Appl. No .: 16 / 584,736                                                                  6,643,842 B2
                                                                                                     6,728,689 B1
                                                                                                                                 11/2003 Angel et al .
                                                                                                                                  4/2004 Drissi et al .
                                                                                                                                                                      717/130
                                                                                                                                                                        706/14
    (22) Filed :      Sep. 26, 2019                                                                  6,735,632 B1                 5/2004 Kiraly et al .               709/229
                                                                                                     6,754,631 B1                 6/2004 Din                          704/270
                 Related U.S. Application Data                                                                                      ( Continued )
    ( 63 ) Continuation of application No. 15 / 822,150 , filed on
           Nov. 26 , 2017 , now Pat . No. 10,474,934 .                                                                 OTHER PUBLICATIONS
    ( 51 ) Int . Ci .                                                                       About Event Tracing, retrieved from < URL : http://msdn.microsoft.
           G06K 9/66              ( 2006.01 )                                               com / en -us/ library / aa363668 ( d = default,l = en -us, v = vs.85 ).aspx > on Jan.
           GOON 5/02              ( 2006.01 )                                               12, 2014 , 2 pages.
           G06K 9/62              ( 2006.01 )
           G06T 7/70              ( 2017.01 )                                                                                       (Continued )
           G06F 9/30              ( 2018.01 )
           G06N 20/00             ( 2019.01 )                                               Primary Examiner — Andrew W Johns
           G06F 15/80             ( 2006.01 )
           G06F 15/78             ( 2006.01 )
    ( 52 ) U.S. CI .                                                                        ( 57 )                                 ABSTRACT
          CPC               GO6K 9866 (2013.01 ) ; G06F 9/30076
                     (2013.01 ) ; G06K 9/6202 ( 2013.01 ) ; GO6N                            Aspects of the disclosure generally relate to computing
                 20/00 ( 2019.01 ) ; G06T 7/70 (2017.01 ) ; G06F                            enabled systems and / or devices and may be generally
                15/78 (2013.01 ) ; G06F 15/80 ( 2013.01 ) ; GOON                            directed to machine learning for computing enabled systems
                                                5/022 (2013.01 )                            and /or devices. In some aspects , the system captures one or
    ( 58 ) Field of Classification Search                                                   more digital pictures, receives one or more instruction sets ,
          CPC G06K 9/00355 ; G06K 9/00389 ; G06K 9/66 ;                                     and learns correlations between the captured pictures and the
                        GO6T 2207/20081 ; G06F 3/002 ; G06F                                 received instruction sets .
                      3/005 ; G06F 3/017 ; GOON 5/022 ; GOON
                                           5/025 ; G06N 20/00
          See application file for complete search history.                                                       34 Claims , 41 Drawing Sheets
                                                                        Method 6100



                                   receiving a firsi digital picure                            receiving a new digital picture                       Step 6125
                       Step 6105

                                                                                                comparing the new digital picture with the first
                                receiving one or more instruction seta for operating           digital picture                                       Step 6130
                       Step 6110 a device
                                                                                                determining that there is at least a partial match
                                                                                                between the new digital picture and the first digital Step 6135
                                 correlating the first digital picture with the one of         picture
                       Step 6115 more instruction sets for operating the device
                                                                                                executing the one or more instruction sets for
                                                                                               operating
                                                                                                picture
                                                                                                         the device correlated with the first digital Step 6140
                                    storing the first digital picture correlated with the
                       Step 6120 one or more instructio . sets for operating the
                                    device
                                                                                               performning, by the device . One or more operations
                                                                                                defined by the one or more instruction sets for
                                                                                               operating
                                                                                                picture
                                                                                                         the device correlated with the first digital Step 6145
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 540 of 2562 PageID #: 13411


                                                              US 11,055,583 B1
                                                                        Page 2

    ( 56 )                   References Cited                                    2006/0047612 Al     3/2006 Stanley et al .             706/16
                                                                                 2006/0184410 A1     8/2006 Ramamurthy et al .            705/8
                      U.S. PATENT DOCUMENTS                                      2006/0190930 A1     8/2006 Hecht et al.                717/28
                                                                                 2006/0265406 A1    11/2006 Chkodrov et al .           707/100
             6,801,912 B2    10/2004 Moskowitz et al .            707/10         2007/0006159 Al     1/2007 Hecht et al.               717/124
             6,842,877 B2     1/2005 Robarts et al .             715/708         2007/0050606 A1     3/2007 Ferren et al .             712/227
             6,915,105 B2     7/2005 Masuda                      434/350         2007/0050719 A1     3/2007 Lui et al .                715/762
             6,973,446 B2    12/2005 Mamitsuka et al .            706/50         2007/0058856 A1     3/2007 Boregowda et al .          382/159
             7,017,153 B2     3/2006 Gouriou et al .             717/158         2007/0061735 A1     3/2007 Hoffberg et al.            715/744
             7,052,277 B2     5/2006 Kellman                     434/118         2007/0106633 A1     5/2007 Reiner                        707/1
             7,113,946 B2     9/2006 Cosic                         707/8         2008/0144893 A1     6/2008 Guo et al .                382/118
             7,117,225 B2    10/2006 Cosic                       707/102         2008/0215508 A1     9/2008 Hanneman et al .            706/11
             7,222,127 B1     5/2007 Bem et al .                 707/102         2008/0254429 Al    10/2008 Woolf et al .              434/322
             7,240,335 B2     7/2007 Angel et al.                717/130         2008/0281764 A1    11/2008 Baxter                      706/12
             7,249,349 B2     7/2007 Hundt et al .               717/130         2008/0288259 Al    11/2008 Chambers et al .           704/275
             7,424,705 B2     9/2008 Lewis et al .               717/148         2009/0044113 A1     2/2009 Jones et al .              715/707
             7,478,371 B1     1/2009 Gove                        717/128         2009/0067727 Al     3/2009 Hirohata                   382/201
             7,484,205 B2     1/2009 Venkatapathy                717/158         2009/0110061 A1     4/2009 Lee et al .             375 / 240.02
             7,565,340 B2     7/2009 Herlocker et al .            706/52         2009/0131152 A1     5/2009 Busse                        463/23
             7,721,218 B2     5/2010 Awe et al .                 715/762         2009/0136095 A1     5/2009 Marcon et al.              382/118
             7,765,537 B2     7/2010 Havin et al .               717/166         2009/0141969 Al     6/2009 Yu et al .                 382/157
             7,797,259 B2     9/2010 Jiang et al .                706/21         2009/0222388 Al     9/2009 Hua et al .                 706/12
             7,840,060 B2    11/2010 Podilchuk                   382/155         2009/0287643 A1    11/2009 Corville et al .              707/3
             7,925,984 B2     4/2011 Awe et al .                 715/762         2009/0324010 A1    12/2009 Hou                        382/103
             7,987,144 B1     7/2011 Drissi et al.                706/20         2010/0023541 A1     1/2010 Cosic                      707/101
             8,005,828 B2     8/2011 Buchner et al .             707/728         2010/0033780 A1     2/2010 Gitter                       359/9
             8,019,699 B2     9/2011 Baxter                       706/12         2010/0063949 Al     3/2010 Eaton et al.                706/14
             8,078,556 B2    12/2011 Adi et al .                  706/16         2010/0082536 A1   4/2010 Cosic                          7/610
             8,090,669 B2     1/2012 Shahani et al .              706/14         2010/0114746 Al   5/2010 Bobbitt et al .               705/35
             8,137,112 B2     3/2012 Woolf et al .               434/323         2010/0138370 A1   6/2010 Wu et al .                    706/12
             8,166,463 B2     4/2012 Gill et al .                717/130         2010/0241595 Al   9/2010 Felsher                      705/400
             8,195,674 B1     6/2012 Bem et al .                 707/749         2010/0278420 A1 11/2010 Shet et al .                  382/156
             8,196,119 B2     6/2012 Gill et al .                717/130         2011/0007079 A1 * 1/2011 Perez et al .          H04N 21/4532
             8,244,730 B2     8/2012 Gupta                       707/737                                                               345/473
             8,251,704 B2     8/2012 Woolf et al .               434/322         2011/0030031 A1     2/2011 Lussier et al .            .. 726/1
             8,261,199 B2     9/2012 Cradick et al.              715/757         2011/0085734 A1     4/2011 Berg et al .               382/195
             8,266,608 B2     9/2012 Hecht et al.                717/158         2011/0218672 A1     9/2011 Maisonnier et al .         700/246
             8,335,805 B2    12/2012 Cosic                       707/805         2011/0270794 Al    11/2011 Drory et al.                706/52
             8,356,026 B2     1/2013 Heimendinger                707/713         2012/0150773 A1     6/2012 DiCorpo et al.              706/12
             8,364,612 B2     1/2013 Van Gael et al .             706/12         2012/0167057 Al     6/2012 Schmich et al .            717/130
             8,386,401 B2     2/2013 Virkar et al .               706/12         2012/0192096 A1     7/2012 Bowman et al .             715/780
             8,397,227 B2     3/2013 Fan et al .                 717/166         2012/0284026 A1    11/2012 Cardillo et al .           704/246
             8,417,740 B2     4/2013 Cosic                       707/805         2012/0290347 A1    11/2012 Elazouni et al .          705 /7.12
             8,464,225 B2     6/2013 Greifeneder                 717/130         2013/0007532 A1     1/2013 Miller et al .              714/45
             8,549,359 B2    10/2013 Zheng                     714/ 38.11        2013/0156345 Al     6/2013 Shmunk                 G06T 3/4053
             8,572,035 B2    10/2013 Cosic                      707/625          2013/0159021 Al     6/2013 Felsher                G06F 19/322
             8,589,414 B2    11/2013 Waite et al .              707/749          2013/0218932 A1     8/2013 Cosic                G06F 17/30289
             8,595,154 B2    11/2013 Breckenridge et al .         706/12         2013/0226974 Al     8/2013 Cosic                G06F 17/30289
             8,655,260 B2     2/2014 Yueh et al.                434/351          2013/0238533 Al     9/2013 Virkar et al .        GOON 99/005
             8,655,900 B2     2/2014 Cosic                       707/760         2013/0278501 A1    10/2013 Bulzacki                GO6F 3/017
             8,667,472 B1     3/2014 Molinari                  717/130           2013/0278631 Al    10/2013 Border et al .         GO2B 27/017
             8,996,432 B1     3/2015 Fu                    GOON 99/005           2013/0329946 A1    12/2013 Archibald et al .          382/103
             9,047,324 B2     6/2015 Cosic               G06F 17/30289           2014/0052717 Al     2/2014 Franks et al .       G06F 17/30867
             9,158,813 B2    10/2015 Ntoulas et al .     G06F 17/30451           2014/0075249 Al     3/2014 Sato et al .          G06F 11/3466
             9,268,454 B2     2/2016 Hamilton , II et al .                       2014/0161250 A1     6/2014 Leeds et al.           H04M 1/656
                                                             G06F 3/0481         2014/0177946 A1     6/2014 Lim et al .           G06K 9/00369
              9,282,309 B1 3/2016 Cosic                   HO4N 9/87              2014/0207580 A1     7/2014 Minnis et al .       G06Q 30/0269
              9,298,749 B2 3/2016 Cosic               G06F 17/30289              2014/0211988 A1     7/2014 Fan et al .           G06K 9/3241
              9,305,216 B1    4/2016 Mishra            G06K 9/00624              2014/0278754 Al     9/2014 Cronin et al .       G06Q 30/0201
              9,367,806 B1 6/2016 Cosic                  GOON 5/022              2015/0006171 Al     1/2015 Westby et al .         GIOL 15/26
              9,443,192 B1 9/2016 Cosic                  GOON 3/088              2015/0039304 A1     2/2015 Wein                   GIOL 25/78
              9,488,984 B1 * 11/2016 Williams et al .   G06K 9/2036              2015/0055821 A1     2/2015 Fotland               GO6K 9/3241
              9,582,762 B1 2/2017 Cosic                   GOON 5/04              2015/0264306 A1     9/2015 Marilly et al .         HO4N 7/147
              9,595,294 B2    3/2017 Cosic              G11B 27/036              2015/0269156 Al     9/2015 Awadallah et al .
              9,697,869 B2 7/2017 Cosic                 G11B 27/036                                                               G06F 17/3053
              9,864,933 B1 * 1/2018 Cosic                 G06K 9/52              2015/0269415 Al     9/2015 Gelbman               G06K 9/00214
             10,162,740 B1 12/2018 Setty et al.         G06F 1/3688              2015/0310041 A1    10/2015 Kier et al .         G06F 17/30259
             10,474,934 B1 * 11/2019 Cosic              G06K 9/6262              2015/0324685 Al    11/2015 Bohn et al .            GOON 3/04
     2003/0026588 A1          2/2003 Elder et al .                386/46         2015/0339213 Al    11/2015 Lee et al .           G06F 11/3664
     2003/0065662 Al          4/2003 Cosic                          707/9        2016/0063118 Al     3/2016 Campbell et al .
     2004/0117771 A1          6/2004 Venkatapathy                717/130                                                         G06F 17/30867
     2004/0194017 A1          9/2004 Cosic                     707 / 501.1       2016/0077166 Al     3/2016 Morozov et al .       GOIR 33/0286
     2004/0249774 A1         12/2004 Caid et al .                 706/14         2016/0140999 A1     5/2016 Cosic                  G11B 27/036
     2004/0267521 A1         12/2004 Cutler et al .              704/202         2016/0142650 A1     5/2016 Cosic                 HO4N 5/2624
     2005/0149517 Al          7/2005 Cosic                         707/3         2016/0167226 A1     6/2016 Schnittman              B25J 9/163
     2005/0149542 Al          7/2005 Cosic                       707/100         2016/0243701 A1     8/2016 Gildert et al .        B25J 9/1656
     2005/0240412 A1         10/2005 Fujita                      704/270         2016/0246819 Al     8/2016 Cosic                G06F 17/30289
     2005/0245303 A1         11/2005 Graepel et al.                463/1         2016/0246850 A1     8/2016 Cosic                G06F 17/30528
     2005/0289105 Al         12/2005 Cosic                         707/1         2016/0246868 A1     8/2016 Cosic                G06F 17/30595
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 541 of 2562 PageID #: 13412


                                                                US 11,055,583 B1
                                                                           Page 3

    ( 56 )                   References Cited                                   Indirect branch, retrieved from < URL : http://wikipedia.com > on
                                                                                May 5 , 2014 , 1 pages .
                       U.S. PATENT DOCUMENTS                                    Instruction cycle , retrieved from < URL : http://wikipedia.com > on
     2016/0274187 A1   9/2016 Menon et al .    GOIR 31/31718
                                                                                Apr. 30 , 2014 , 2 pages .
     2016/0292185 A1 10/2016 Cosic              G06F 17/30289                   Instruction set, retrieved from < URL : http://wikipedia.com > on Apr.
     2016/0328480 A1 11/2016 Owens et al .      GO1F 17/30867                   29, 2014 , 6 pages.
     2017/0161958 Al   6/2017 Eilat               G06T 19/006                   Interrupt, retrieved from < URL : http://wikipedia.com > on May 15 ,
     2018/0068564 A1 * 3/2018 Tanigawa et al .     GO8G 1/143                   2014, 5 pages .
     2018/0101146 A1   4/2018 Hariharan et al . GO5B 13/026                     Introduction to Instrumentation and Tracing, retrieved from < URL :
     2018/0120813 Al   5/2018 Coffman et al . G05B 19/4097                      http://msdn.microsoft.com/en-us/library/aa983649(d=default,l=en
     2019/0034765 A1 * 1/2019 Kaehler et al .    GO2B 27/0172                   us, v = vs.71) .aspx > on Jan. 10 , 2014 , 2 pages .
     2019/0107839 A1 4/2019 Parashar et al .      GO5D 1/0219                   Java bytecode, retrieved from <URL: http://wikipedia.com > on
                                                                                May 27 , 2014 , 4 pages .
                        OTHER PUBLICATIONS                                      Package java.util.logging, retrieved from < URL : http://docs.oracle .
                                                                                com / javase / 1.5.0 /docs / api /java /util/ logging/package - summary.
    Add dynamic Java code to your application, retrieved from < URL :           html> on Mar. 19 , 2014 , 2 pages .
    http://www.javaworld.com/article/2071777/design-patterns/add                Javac — Java programming language compiler, retrieved from < URL :
    dynamic - java -code - to -your -application.html> on May 13 , 2014 , 6     http://docs.oracle.com/javase/7/docs/technotes/tools/windows/javac .
    pages.                                                                      html> on May 13 , 2014 , 12 pages.
    BCEL , retrieved from < URL : http://commons.apache.org > on May            Interface JavaCompiler, retrieved from < URL : http ://wikipedia.
    13 , 2014, 2 pages.                                                         com> on May 13 , 2014 , 4 pages .
    Artificial intelligence , retrieved from < URL : http://wikipedia.com >     Javassist, retrieved from < URL : http://wikipedia.com > on May 13 ,
    on May 21 , 2014 , 28 pages .                                               2014, 2 pages .
    Artificial neural network, retrieved from < URL : http :// wikipedia .      Just - in - time compilation , retrieved from < URL : http ://wikipedia .
    com > on May 21 , 2014 , 12 pages .                                         com> on May 19 , 2014 , 5 pages .
    Branch ( computer science ) , retrieved from < URL : http : //wikipedia .   JVM Tool Interface, retrieved from < URL : http://docs.oracle.com/
    com> on May 6 , 2014 , 2 pages .                                            javase / 7 /docs /platform / jvmti/ jvmti.html > on Apr. 26 , 2014 , 127
                                                                                pages .
    Branch trace, retrieved from <URL : http://wikipedia.com > on May           Machine code, retrieved from < URL : http://wikipedia.com > on Apr.
    28, 2014, 2 pages.                                                          30, 2014 , 3 pages.
    C Function Conventions and the Stack , retrieved from < URL :               Metaprogramming, retrieved from < URL : http://wikipedia.com > on
    http://www.csee.umbc.edu/~chang/cs313.s02/stack.shtml> on Jan.              May 8 , 2014 , 3 pages .
    11 , 2014 , 4 pages.                                                        Microsoft.VisualBasic.Logging Namespace, retrieved from < URL :
    Call stack, retrieved from < URL : http://wikipedia.com > on Jan. 11 ,      http://msdn.microsoft.com/en-us/library/ms128122(d=default,l=en
    2014 , 5 pages .                                                            us, v = vs.110 ) .aspx > on Jan. 13 , 2014 , 1 pages .
    Program compilation and execution flow , retrieved from < URL :             Pin ( computer program ), retrieved from < URL : http : //wikipedia.
    http://cs.stackexchange.com/questions/6187/program-compilation              com> on May 6 , 2014 , 3 pages.
    and -execution - flow > on Jan. 9 , 2014 , 2 pages .                        Processor register, retrieved from < URL : http://wikipedia.com > on
    Control unit, retrieved from < URL : http://wikipedia.com > on May          Apr. 29 , 2014 , 4 pages .
    25 , 2014, 2 pages .                                                        Profiling ( computer programming ), retrieved from < URL : http : //
    Create dynamic applications with javax.tools, retrieved from < URL :        wikipedia.com > on Jan. 10 , 2014 , 4 pages .
    http://www.ibm.com/developerworks/library/j-jcomp > on May 13 ,             Profiling Overview , retrieved from < URL : http://msdn.microsoft.
    2014 , 11 pages.                                                            com / en -us /library /bb384493( d = default ,l = en -us, v = vs.110 ) .aspx > on
    Creating a Debugging and Profiling Agent with JVMTI, retrieved              Jan. 12 , 2014 , 6 pages.
    from < URL : http://www.oracle.com/technetwork/articles/java/jvmti          Program counter, retrieved from < URL : http://wikipedia.com > on
    136367.html> on Jan. 11 , 2014 , 18 pages .                                 Apr. 24 , 2014 , 2 pages .
    Decision tree learning, retrieved from < URL : http://wikipedia.com >       Ptrace, retrieved from < URL : http://wikipedia.com > on Apr. 24 ,
    on Jun . 24 , 2014, 5 pages .                                               2014, 2 pages.
    Dynamic Bytecode Instrumentation, retrieved from <URL : http ://            Reflection ( computer programming ), retrieved from < URL : http : //
    www.drdobbs.com/tools/dynamic-bytecode-instrumentation/                     wikipedia.com> on May 7 , 2014 , 5 pages .
    184406433 > on Apr. 26 , 2014 , 6 pages .                                   Class Runtime , retrieved from < URL : http://docs.oracle.com/javase/
    Dynamic programming language, retrieved from < URL : http ://               7 /docs/api /java/ lang/ Runtime.html> on Jan. 10 , 2014 , 10 pages .
    wikipedia.com > on May 7 , 2014 , 4 pages .                                 Self -modifying code, retrieved from < URL : http://wikipedia.com >
    Dynamic recompilation , retrieved from < URL : http :// wikipedia .         on Jan. 12, 2014, 6 pages.
    com> on May 19 , 2014 , 4 pages .                                           Subjective logic , retrieved from < URL : http://wikipedia.com > on
    Eval ( ) , retrieved from < URL : https://developer.mozilla.org/en-US/      May 22 , 2014 , 5 pages .
    docs /Web / JavaScript/Reference /Global_Objects / eval> on May 7 ,         System.CodeDom.Compiler Namespace, retrieved from < URL: http :/
                                                                                msdn.microsoft.com/en-us/library/z6b99ydt(d=default,l=en-us,v=vs.
    2014 , 13 pages.
    Function , retrieved from < URL : https://developer.mozilla.org/en          110 ) .aspx > on May 13 , 2014 , 2 pages .
    US/docs/Web/ JavaScript Reference/Global_Objects/ Function on May           System.Reflection.Emit Namespace, retrieved from < URL : http : //
    7 , 2014 , 11 pages.                                                        msdn.microsoft.com/en-us/library/xd5fw18y(d=default,l=en-us,v=
    Function Enter2 Function , retrieved from <URL : https://msdn .             vs.110 ).aspx > on May 13 , 2014 , 2 pages .
    microsoft.com/en-us/library/aa964981(d=default,l=en-us,v=vs.110 ).          About | OpenCV, retrieved from < URL : http://opencv.org/about.
    aspx > on Mar. 19 , 2014 , 2 pages .                                        html> on Dec. 13 , 2014 , 1 pages .
    Function Leave2 Function , retrieved from < URL : https : //msdn .          Animetrics, Inc. | 3D Facial Recognition, retrieved from < URL :
    microsoft.com/en-us/library/aa964942(d=default,l=en-us,v=vs.110 ).          http://animetrics.com/> on Dec. 13 , 2014 , 2 pages .
    aspx > on Mar. 19 , 2014 , 1 pages .                                        Bag -of-words model, retrieved from < URL : http://wikipedia.com >
    Heuristic , retrieved from < URL : http://wikipedia.com > on May 22 ,       on Nov. 19 , 2015 , 2 pages .
    2014 , 5 pages .                                                            Beier-Neely morphing algorithm , retrieved from < URL : http ://
    How to : Configure Trace Switches , retrieved from <URL : https://          wikipedia.com> on Nov. 19 , 2015 , 1 pages .
    msdn.microsoft.com/en-us/library/vstudio/t06xyy08(d=default,l=en            Computer vision , retrieved from < URL : http://wikipedia.com > on
    us, v = vs.100 ) .aspx > on Mar. 19 , 2014 , 3 pages .                      Nov. 19 , 2015 , 7 pages .
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 542 of 2562 PageID #: 13413


                                                                 US 11,055,583 B1
                                                                            Page 4

    ( 56 )                   References Cited                                    Video content analysis, retrieved from < URL : http :// wikipedia .
                                                                                 com> on Nov. 19 , 2015 , 2 pages .
                        OTHER PUBLICATIONS                                       Video tracking, retrieved from <URL: http://wikipedia.com > on
                                                                                 Nov. 1 , 2015 , 2 pages.
    Convolutional neural network , retrieved from < URL : http : //wikipedia.    Andrej Karpathy, Thomas Leung, George Toderici, Rahul Sukthankar,
    com > on Nov. 11 , 2015 , 5 pages .                                          Sanketh Shetty, Li Fei - Fei , Large - scale Video Classitication with
    Decimation ( signal processing ) , retrieved from <URL : http ://            Convolutional Neural Networks, Apr. 14 , 2014 , 8 pages, Stanford
    wikipedia.com > on Nov. 19 , 2015 , 3 pages .                                University
    Digital image processing, retrieved from < URL : http ://wikipedia .         Karen Simonyan, Andrew Zisserman , Two - Stream Convolutional
    com> on Nov. 19 , 2015 , 3 pages .                                           Networks for Action Recognition in Videos, Nov. 13 , 2014 , 11
    Dissolve ( filmmaking), retrieved from < URL : http ://wikipedia.            pages, University of Oxford.
    com > on Nov. 11 , 2015 , 2 pages.                                           Tracing ( software ), retrieved from < URL : http://wikipedia.com > on
    Facial recognition system , retrieved from < URL : http : //wikipedia.       Jan. 10, 2014 , 3 pages.
    com> on Nov. 11 , 2015 , 6 pages .                                           Tree ( data structure), retrieved from < URL : http://wikipedia.com >
    Feature detection ( computer vision ) , retrieved from < URL : http : //     on Jun. 24 , 2014 , 6 pages.
    wikipedia.com> on Nov. 19 , 2015 , 3 pages .                                 PTRACE ( 2 ), retrieved from < URL : http://unixhelp.ed.ac.uk/CGI/
    Feature extraction , retrieved from < URL : http://wikipedia.com > on        man -cgi ? ptrace > on Mar. 19 , 2014 , 5 pages .
    Nov. 19 , 2015 , 2 pages.                                                    Wevtutil, retrieved from < URL : http://technet.microsoft.com/en-us/
    Gesture recognition , retrieved from <URL : http://wikipedia.com >           library /cc732848 ( d = default, l = en -us , v = ws.11 ) .aspx > on Apr. 28 , 2014 ,
    on Nov. 19 , 2015 , 5 pages .                                                5 pages .
    GrabCut, retrieved from < URL : http://wikipedia.com > on Nov. 1 ,           Intel Processor Trace, retrieved from < URL : https ://software.intel.
    2015 , 1 pages.                                                              com / en -us/blogs/ 2013 /09 /18 /processor-tracing > on Apr. 28 , 2014 , 3
    Image processing , retrieved from < URL : http://wikipedia.com > on          pages.
    Nov. 19, 2015 , 2 pages.                                                     Younghoon Jung, Java Dynamics Reflection and a lot more , Oct. 10 ,
    Image segmentation , retrieved from < URL : http://wikipedia.com >           2012 , 55 pages , Columbia University .
    on Nov. 19 , 2015 , 12 pages .                                               Amitabh Srivastava, Alan Eustace , ATOM a System for Building
    Image warping, retrieved from < URL : http://wikipedia.com > on              Customized Program Analysis Tools, May 3 , 2004 , 12 pages .
    Nov. 1 , 2015 , 2 pages.                                                     Mathew Smithson , Kapil Anand, Aparna Kotha , Khaled Elwazeer,
    Inbetweening, retrieved from < URL : http://wikipedia.com > on Nov.          Nathan Giles , Rajeev Barua, Binary Rewriting without Relocation
    11 , 2015 , 2 pages.                                                         Information, Nov. 10 , 2010 , 11 pages , University of Maryland .
    Interpolation, retrieved from < URL : http://wikipedia.com > on Nov.         Marek Olszewski , Keir Mierte, Adam Czajkowski, Angela Demle
    1 , 2015 , 5 pages .                                                         Brown, JIT Instrumentation A Novel Approach to Dynamically
    Language model , retrieved from < URL : http://wikipedia.com > on            Instrument Operating Systems, Feb. 12 , 2007 , 14 pages, University
    Nov. 19, 2015 , 4 pages .                                                    of Toronto .
    List of speech recognition software, retrieved from < URL : http : //        Chen et al . Case - Based Reasoning System and Artificial Neural
    wikipedia.com > on Nov. 19 , 2015 , 4 pages .                                Networks: A Review Neural Comput & Applic ( 2001 ) 10 : pp .
    Livewire Segmentation Technique, retrieved from < URL : http : //            264-276 , 13 pages .
    wikipedia.com > on Nov. 1 , 2015 , 2 pages.                                  John J. Grefenstette, Connie Loggia Ramsey, Alan C. Schultz ,
    Morphing, retrieved from <URL : http://wikipedia.com > on Nov. 11 ,          Learning Sequential Decision Rules Using Simulation Models and
    2015 , 2 pages.                                                              Competition, 1990 , Navy Center for Applied Research in Artificial
    Motion estimation, retrieved from < URL : http://wikipedia.com > on          Intelligence, Naval Research Laboratory, Washington, DC , 27 pages .
    Nov. 19, 2015 , 2 pages.                                                     Alan C. Schultz , John J. Grefenstette, Using a Genetic Algorithm to
    Muse : Face Morph || Mesh Warping, retrieved from < URL : http ://           Learn Behaviors for Autonomous Vehicles, 1992 , Navy Center for
    alexwolfe.blogspot.com/2011/10/face-morph-mesh-warping.html> on              Applied Research in Artificial Intelligence , Naval Research Labo
    Nov. 19 , 2015 , 2 pages.                                                    ratory, Washington, DC , 12 pages .
    N - gram , retrieved from < URL : http://wikipedia.com > on Nov. 1 ,         Koppula et al., “ Anticipating human activities using object affordances
    2015 , 5 pages .                                                             for reactive robotic response ” , IEEE TRAMI 2016 , published May
    Optical flow , retrieved from < URL : http://wikipedia.com > on Nov.         5 , 2015 , 16 pages .
    1 , 2015 , 4 pages .                                                         Orme, " System design tips for entry level smartphones — part 3 ” ,
    Outline of object recognition , retrieved from < URL : http ://wikipedia .   found online at “ https://community.arm.com/processors/b/blog/posts/
    com> on Nov. 19 , 2015 , 7 pages .                                           system -design -tips -for - entry - level - smartphones ---part- 3 ”, Oct. 21 ,
    Phonotactics , retrieved from < URL : http://wikipedia.com > on Nov.         2013 , 12 pages.
    19, 2015 , 3 pages.                                                          Nowostawski, Mariusz et al ., “ Dynamic Demes Parallel Genetic
    Recurrent neural network , retrieved from < URL : http ://wikipedia .        Algorithm ” , May 13 , 1999 , 6 pages .
    com > on Nov. 11 , 2015 , 5 pages.                                           Stack Overflow , How can I quantify difference between two images?,
    Sample rate conversion, retrieved from < URL : http ://wikipedia.            accessed Aug. 2 , 2017 at https://stackoverflow.com/questions/189943/
    com> on Nov. 1 , 2015 , 2 pages .                                            how - can - i -quantify -difference -between -two - images, 8 pages .
    Simple interactive object extraction , retrieved from < URL : http ://       Skolicki , Zbigniew et al . , “ The Influence of Migration Sizes and
    wikipedia.com > on Nov. 19 , 2015 , 2 pages.                                 Intervals on Island Models ”, Jun . 29 , 2005 , 8 pages .
    Speech recognition , retrieved from < URL : http://wikipedia.com >           Vahid Lari, et al . , “ Decentralized dynamic resource management
    on Nov. 11 , 2015 , 12 pages .                                               support for massively parallel processor arrays ”, Sep. 11 , 2011 , 8
    Speech segmentation, retrieved from < URL : http://wikipedia.com >           pages.
    on Nov. 1 , 2015 , 4 pages.                                                  Vahid Lari, et al . , “ Distributed resource reservation in massively
    Welcome to recognize-speech.com , retrieved from < URL : http : //           parallel processor arrays ” , May 16 , 2011 , 4 pages .
    recognize-speech.com/ > on Oct. 18 , 2015 , 1 pages .                        Mohsen Hayati and Yazdan Shirvany, “ Artificial Neural Network
    Introduction Speech , retrieved from < URL : http ://recognize -speech.      Approach for Short Term Load Forecasting for Illam Region ” , Jan.
    com / speech > on Oct. 18 , 2015 , 1 pages.                                  2007 , 5 pages .
    Preprocessing, retrieved from < URL : http://recognize-speech.com/           Hasim Sak, Andrew Senior, and Francoise Beaufays, “ Long Short
    preprocessing > on Oct. 18 , 2015 , 4 pages .                                Term Memory Recurrent Neural Network Architectures for Large
    Feature Extraction , retrieved from < URL : http : //recognize -speech .     Scale Acoustic Modeling ” , Jan. 2014 , 5 pages .
    com / feature -extraction > on Oct. 18 , 2015 , 3 pages .                    Jorg Walter and Klaus Schulten , “ Implementation of self -organizing
    Acoustic model , retrieved from < URL : http://recognize-speech.com/         neural networks for visuo -motor control of an industrial robot ” , Jan.
    acoustic -model > on Oct. 18 , 2015 , 2 pages .                              1993 , 10 pages.
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 543 of 2562 PageID #: 13414


                                                               US 11,055,583 B1
                                                                            Page 5

    ( 56 )                   References Cited                                    Hernandez , Marco E. Perez , and Stephan Reiff-Marganiec. “ Autono
                                                                                 mous and self controlling smart objects for the future internet. ”
                       OTHER PUBLICATIONS                                        Future Internet of things and cloud (FiCloud ), 2015 3rd interna
                                                                                 tional conference on . IEEE , 2015. , 8 pages .
    Heikki Hyotyniemi and Aamo Lehtola , " A Universal Relation                  Medini et al . , “ Building a Web of Things with Avatars ” , Managing
    Database Interface for Knowledge Based Systems” , Apr. 1991 , 5              the Web of Things (2017 ) , 30 pages .
    pages.
    Mrissa , Michael , et al . “ An avatar architecture for the web of           Zhang, Yiying, Lei Guo, and Nicolas D. Georganas. “ AGILE: An
    things . ” IEEE Internet Computing 19.2 ( 2015 ) : 30-38 . , 9 pages .       architecture for agent-based collaborative and interactive virtual
    Luck, Michael , and Ruth Aylett. “ Applying artificial intelligence to       environments . ” Proc. Workshop on Application Virtual Reality
    virtual reality : Intelligent virtual environments.” Applied Artificial      Technologies for Future Telecommunication System , IEEE Globecom
    Intelligence 14.1 ( 2000 ) : 3-32 . , 30 pages .                             2000 Conference . 2000. ( Year: 2000 ) , 9 pages .
    Terdjimi, Mehdi, et al . “ An avatar -based adaptation workflow for          Eladhari, Mirjam P., “ Semi- Autonomous Avatars in Virtual Game
    the web of things.” Enabling Technologies: Infrastructure for Col            Worlds,” Pre - conference to the ECREA 2010—3rd European Com
    laborative Enterprises (WETICE ) , 2016 IEEE 25th International              munication Conference, Avatars and Humans. Representing Users
    Conference on . IEEE , 2016. , 6 pages .                                     in Digital Games, Hamburg, Germany , Oct. 2010 , Available from :
    Bogdanovych , Anton, et al . “ Authentic interactive reenactment of          Jan. 21 , 2012 ( Year: 2012 ) , 8 pages .
    cultural heritage with 3D virtual worlds and artificial intelligence.”
    Applied Artificial Intelligence 24.6 ( 2010 ) : 617-647 . , 32 pages.        * cited by examiner
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 544 of 2562 PageID #: 13415


    U.S. Patent                                                 Jul . 6 , 2021                        Sheet 1 of 41                             US 11,055,583 B1




                            17                  18                19                                  5
                                                                                                               25

                       27
                                                                                                                      Network Interface
                                                                    PAproligcatmosn DSaptcae                   16

                                 Storage        OS
                                                                                                                      Alternaive Memory
                                                                                                                                                                               FIG
                                                                                                                                                                               1
                                                                                                                                                                               .

                                           14
                                                      Cache                                                    22                         23
                                                                                                                                                    -mHaucmhiane
                                       11

                                                                                           Memory                     VOControl                                    Interface
    70DCoemvpuitceng                                                                                      12

                                                                                                                                           21
                                                     Proces r       O
                                                                    /
                                                                    I
                                                                    Port
                                                                    Memory

                                                                                 158
                                                                                           DVOevice       13

                                                                    VOPort
                                                                                                                                                Deivspilcaey
                                                                                    15A
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 545 of 2562 PageID #: 13416


    U.S. Patent                                                                                          Jul . 6 , 2021                                    Sheet 2 of 41                   US 11,055,583 B1




     98
                100
                                                                                                              Artifcal Intelignce
                                                                                             110
                                                                                                                                                                                           27

                                                       AforOD(VUnit)upteSorvnAaitmDocuOesn                                    120                         130
                        andUnitforLSV/orUueirsaoimundaigln                                                                                                                       12

                                                                                                                                    AcquistonInterface Modifcaton Iterface            Memory Storage
                                           90
                                                                                              Picture CapturingAp ar tus
                                                                                                                                                                                                       FIG
                                                                                                                                                                                                       2
                                                                                                                                                                                                       .


                                           23
                                                                                              Human machine Interface                                           APprloicgatomn   11


               Device                                                                                                                          Proces r                          18

          50
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 546 of 2562 PageID #: 13417


    U.S. Patent                           Jul . 6 , 2021                               Sheet 3 of 41                  US 11,055,583 B1



     100
     120                                                                                                                11

                                                      215
                                                            Arithmeic          UnitLogic
                                                                                                                214
                                                                                                 RAergistaeyr
                                                             DInestcroudeirn                                                       .
                                                                                                                                   FIG
                                                                                                                                   3


                                                                                           213
                                                            IRnsetgriucteonr
                                                                                           212                                     12

           IUVSnAiDtO Anctqueirsfatceon                     CPorungtream
                                           Proces r                                        211                            Memory
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 547 of 2562 PageID #: 13418


    U.S. Patent             Jul . 6 , 2021
                                   2                   Sheet 4 of 41                US 11,055,583 B1

                              100          120
          VSADO Unit
                       Acquisition Interface
                                                               250
                                                  Logic Circuit
            input 1                                                                     output 1
            input 2                                                                     output 2
            input 3                                                                     power

            input 4                                                                     ground


                                                FIG . 4A

                                                                   100        120
                                          VSADO Unit
                                                            Acquisition Interface

                                       Logic Circuit
            input 1                                                                     output 1
            input 2                                                                     output 2
            input 3                                                                     power

            input 4                                                                     ground

                              250
                                                FIG . 4B
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 548 of 2562 PageID #: 13419


    U.S. Patent                 Jul . 6 , 2021
                                       2           Sheet 5 of 41   US 11,055,583 B1

                                                                      526

              Instruction Set
               Function (Parameter 1 , Parameter2 , Parameter3 , ... )
                                                 FIG , 5A
                                                                      526

              Instruction Set
               SELECT Col1 , Col2 ... FROM Tb11 , Tb12 ... ;

                                                 FIG . 5B

                                                                      526

              Instruction Set
               iconst Value

                                                 FIG , 5C

                                                                      526

              Instruction Set
               add Register1 Register2

                                                 FIG . 5D

                                                                      526

              Instruction Set
               000000 00001 00010 00110 00000 100000

                                                 FIG . 5E
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 549 of 2562 PageID #: 13420


    U.S. Patent          Jul . 6 , 2021        Sheet 6 of 41          US 11,055,583 B1




                                                               525                   527

     Digital Picture                                                 Extra Info
                                                                     time info , location
                                                                     info , computed
                                                                     info , observed
                                                                     info , sensory info
                                                                     etc.
                                          FIG . 6A




                                                               526                   527

      Instruction Set                                                Extra Info
                                                                     time info , location
                                                                     info , computed
                                                                     info , observed
                                                                     info , sensory info
                                                                     etc.
                                          FIG . 6B
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 550 of 2562 PageID #: 13421


    U.S. Patent                                                                                 Jul . 6 , 2021                                     Sheet 7 of 41                     US 11,055,583 B1




     98      11

                            100                                                                                                                                                       27

                                                                                                                     Artifcal Intelig120ncUnite
                                                                                                               110

                                                                         forADOV(Unit)upetSovrnAaitmDcoueOsn                                                    130
                                          andUnitforLSV/orUueirsaoimundaigln                                                                                                               Storage
                                                                                                                                            AcquistonInterface Modifcaton Iterface    12

                                                                                                                                                                                           Memory
                         Proces r                                                                                                           AplicatonProgram                                         7
                                                                                                                                                                                                     .
                                                                                                                                                                                                     FIG


                    23

                                    Human machine Interfac Picture CapturingApartus
           Device
      50
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 551 of 2562 PageID #: 13422


    U.S. Patent                                                                   Jul . 6 , 2021                                   Sheet 8 of 41                  US 11,055,583 B1



    95
          96
                    100
                                                                                             Artifcal IntelignceUnit
                                                                   110

                                                                                                           120                        130
                          for
                          VUnit
                           Using
                           or
                           /
                           and       DAfSuetrovniumcdroensgUnit)V(OpSerAatDioOn
                          Leiasmuianlg
                                                                                                                  AcquistonInterface Modifcaton Iterface
         Network Server
         98                                                                                                                                                          27
                                                                                                                                                                                 .
                                                                                                                                                                                 FIG
                                                                                                                                                                                 8

                                                                                  Picture CapturingAp ar tus
                                                                                                                  11


                                         90                                                                                      18                        2
                                                                                                                                                           12




                 Device                  23                                       Human machine Interface Proces r A p l i c a t o n P r o g r a m              Memory Storage
         50
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 552 of 2562 PageID #: 13423


    U.S. Patent                                                        Jul . 6 , 2021                           Sheet 9 of 41                                  US 11,055,583 B1



     95
              97
                                                                            Picture CapturingAp ar tus
                                                 90


          Network R e m o t e D e v i c e
              98



                                                                             Artifcal Intelig120ncUnite
                                                                       110
                                                                                                                                                             27

                                                                                                                          130                           2
                                                                                                                                                        12



                                            Land
                                            for
                                            Unit
                                            100
                                             Using
                                             or
                                             /        DAfSuetrovnimcdroeunsg
                                             Veiasrnuianlg O(
                                                            VUnit)pSerAatDioOn
                                                                                                       AcquistonInterface Modifcaton Iterface                Memory Storage   9
                                                                                                                                                                              .
                                                                                                                                                                              FIG



                                        21                                       23


                            Device
                                                    Display Human machine Interface                           Proces r A p l i c a t o nP r o g r a m
                50
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 553 of 2562 PageID #: 13424


    U.S. Patent                                                                                       Jul . 6 , 2021                              Sheet 10 of 41                  US 11,055,583 B1




     98
           100                                                                         110
                                                                                                        Artifcal Intelig120ncUnite                                               27

                                                 forADO(VUnit)upetSovrnAaimtDcoueOsn                                                            130
                   and/UnitforLSVorUueirsaoimundaigln                                                                                                                  12

                                                                                        PReicotgnuirze AcquistonInterface Modifcaton Iterface                               Memory Storage
                                       350
                                                                                                                                                                                              10
                                                                                                                                                                                              .
                                                                                                                                                                                              FIG
                                                                                        Picture CapturingAp ar tus
                                      23
                                                                                         Human machine Interface
                                                                                                                                                      PAproligcatomn   11


          Device                                                                                                                     Proces r                          18


          50
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 554 of 2562 PageID #: 13425


    U.S. Patent                 Jul . 6 , 2021
                                       2                 Sheet 11 of 41               US 11,055,583 B1




                                                 Processor
                                                             Application Program
         Picture Capturing Apparatus
                                                                                                  100

     VSADO Unit                                                  120                     130

                                                 Acquisition              Modification
                                                 Interface                Interface
                 110

         Artificial
         Intelligence                                                                      530
                                                                 520
                                                                              Knowledgebase
                                 Knowledge Structuring Unit
                                                                 540

                        Decision -making Unit

                                                                 550

                                 Confirmation Unit




                                                      FIG . 11
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 555 of 2562 PageID #: 13426


    U.S. Patent                            Jul . 6 , 2021           Sheet 12 of 41                     US 11,055,583 B1

                  Picture Capturing                  90     AcquisitionInterface 120
                  Apparatus                                                                      520                530

     Knowledge                                                                                            Knowledgebase
     Structuring Unit                                                                     800ax
       Knowledge
        Cell

                            Digital Picture                       Instruction Set
                                                                                    3


                                    :               525a5
                                                              }
                                                              }                     3
                            Digital Picture                                         3

                                               3
                                                                                         526a6
                        I                                                           {
                                               3
                                                    525a4                                526a5
                                               }}                  Instruction Set
                            Digital Picture    {
                                                                  Instruction Set {
                                               3
                                                              }                     3
                        }                      {              }                     3
                                               3    525a3
                                                              3                     3
                                                              3                     3
                            Digital Picture                   }                     3
                                                                                     3
                                                              {
                                                              {
                                               }                                    3
                                               (3 525a2                                  526a4
                                                              }
                                                                                         526a3
                             Digital Picture   3
                                                                  Instruction Set        526a2
                                               {
                                               3                  Instruction Set
                                               {3 525a                                   526a1
                                                                  Instruction Set
                            Digital Picture *                     Instruction Set
                                               3




                                                      :                                   800ab
        Knowledge Cell
                                                                                          800aa
       Knowledge Cell

                                                             FIG . 12
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 556 of 2562 PageID #: 13427


    U.S. Patent                           Jul . 6 , 2021            Sheet 13 of 41                 US 11,055,583 B1

                  Picture Capturing                90 Acquisition Interface            120
                  Apparatus                                                                  520                530

     Knowledge                                                                                        Knowledgebase
     Structuring Unit                                           3                     800ax
          Knowledge                           3                                  3
        Cell                Digital Picture   3
                                              3
                                              1
                                                               Instruction Set   {
                                              {
                                                     ;                                800ae
        Knowledge                             1525a5       3
                                                                                 3
        Cell                                               }                     }
                                                                                 {
                                                           {
                                                                                 3
                                                           3
                            Digital Picture                {                     3


                                                                                 3
                     }
                                                           3
                                                           }                     3    800ad
                                              }                                  3
         Knowledge                            3
                                                           {
                                                                                 {
                                                                                     526a6
        Cell                                  3
                                              3
                                                                                 3
                                                  525a4                              526a5
                     f                                         Instruction Set
                            Digital Picture 3                  Instruction Set
                                              3
                                                           {
                                              3
                                              3            3                          800ac
         Knowledge                                525a3    3
                                                                                 3
                                                                                 }
        Cell                                               3
                                                           3
                                                           3
                            Digital Picture                                      3


                                                                                 3
                                              3
                                              }
                                                                                      800ab
         Knowledge                            I 525a2      {
                                                           }
                                                                                 3
                                                                                 3   526a4
        Cell                                               {
                                                                                 3


                     1 Digital Picture                         Instruction Set
                                              }
                                              3
                                              3            3
                                                                                 3    800aa
         Knowledge                            3
                                              3            }
                                                                                     526a3
        Cell                                  3
                     }
                        }                     3                                      526a2
                     }                                         Instruction Set
                                                  525a1                              52621
                    I                                          Instruction Set
                            Digital Picture                illnstruction Set

                                                           FIG . 13
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 557 of 2562 PageID #: 13428


    U.S. Patent                              Jul . 6 , 2021           Sheet 14 of 41                     US 11,055,583 B1

                  Picture Capturing                  90       AcquisitionInterface 120
                  Apparatus                                                                        520                530

     Knowledge                                                                                              Knowledgebase
     Structuring Unit                                                                       800ax
       Knowledge
        Cell
                        Pok

                                                                                       {
                              Digital Picture                       Instruction Set
                                      ?                             Instruciion Set
                               Digital Picture                      Instruction Set 3
          525dni                                                3                      3

                                      :          3
                                                 3
                                                                3
                                                                           :               52626
                                                                {

           525d1 Digital Picture
                                                                }                      3
                                                                                           526a5
                                      :                              Instruction Set
           525cn
                              Digital Picture                       Instruction Set

           525c1
                               Digital Picture i                                       }
                                                                3

           525bn                      :                         3
                                                                {
                                                                                       }
                                                                                    152624
                 Digital Picture                                                     526a3
           525b1
                 Digital Picture                                    Instruction Set
                                                                                     526a2
                                      :                             Instruction Set
          525an
                               Digital Picture                       Instruction Seti3
                              Digital Picture                   3
           525a1                                                }                          526a1
                                                                                       3
                                      :
                              Digital Picture                   ilInstruction Set


                                                      :                                     800ab
        Knowledge Cell
                                                                                            800aa
       Knowledge Cell

                                                               FIG , 14
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 558 of 2562 PageID #: 13429


    U.S. Patent                         Jul . 6 , 2021         Sheet 15 of 41                    US 11,055,583 B1

                  Picture Capturing             90 Acquisition Interface 120
                  Apparatus                                                                520                530

     Knowledge                                                                                      Knowledgebase
      Structuring Unit                                                             800ax
         Knowledge
        Cell             Digital Picture                     Instruction Set
                                                                               }
                                 :                           Instruction Set
                         Digital Picture                     Instruction Set 3!
                                                                               {
                                                  ?      }                     3    800ad
        Cabledge Digital Picture                         {
                                                         3
                                                         {
                                                                               3
                                                                               }
                                            3
          525dn                  :          3
                                            3
                                                              Instruction Set 526a6
                                                                               3

          52501           Digital Picture                    Instruction Set 3 526a5
                                                         }                     3
                     }
                                                         }
                                                         }
                                                                                    800ac
        Knowledge                                        3

         Cell            Digital Picture 3               3

                                            3            3                     3
          525cni                 :          3            3
                                                         3
                                                                               3

                                                         }
           52501 } Digital Picture                       }
                                                         }
                     {                                   3                     3
                                            3
                                                         3                     3   800ab
        cal edge,Digital Picture                             Instruction Set   526a4
                                                                               }
                                                                               3
           525bn                 :                           Instruction Set   526a3
                                                                             3

           525b1          Digital Picture                    Instruction Set 3 526a2
                     }                                   3                     3
                     }                      3
                                                                                    800aa
                                            3            3

        Knowledge                                        {                     3
                         Digital Picture                                       3
                                                                               3
                                                                               3
          525ani                 :                                             3


           525a1          Digital Picture                i Instruction Set         526a1


                                                         FIG . 15
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 559 of 2562 PageID #: 13430


    U.S. Patent             Jul . 6 , 2021   Sheet 16 of 41               US 11,055,583 B1



           852
     853
                                                                         853
                                              oo
                                                                               852

                   MBodel                                       MDodel
                                                                                       .
                                                                                       FIG
                                                                                       16



                   MAodel                                       MCodel
           852
     853

                                                    853
                                                          852
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 560 of 2562 PageID #: 13431


    U.S. Patent                    Jul . 6 , 2021
                                         2               Sheet 17 of 41               US 11,055,583 B1
                               800zb                               800cc

      Knowledge Cell                         Knowledge Cell
            Occurrences = 10                                  Occurrences = 15
            Weight=0.4                                        Weight=0.6

                    85321                                                        85322
                                             Knowledge Cell
                                                                 800za
                                                      FIG . 17A

                               800zb                               800zc                                 800zd
      Knowledge Cell                         Knowledge Cell                      Knowledge Cell
            Occurrences = 10                                  Occurrences = 15           Occurrences = 1
            Weight=0.385                                      Weight= 0.577              Weight= 0.038
                                                                                                     85323
                     85371                                                       85322
                                             Knowledge Cell
                                                                 800za
                                                      FIG . 17B

                               800zb                               83zc                                  800zd
      Knowledge Cell                         Knowledge Cell                      Knowledge Cell
            Occurrences - 11                                  Occurrences = 15           Occurrences = 1
            Weight=0.407                                      Weight= 0.556              Weight= 0.037
                                                                                                     -85323
                     85371                                                       85372
                                             Knowledge Cell
                                                                 800za
                                                      FIG . 17C
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 561 of 2562 PageID #: 13432


    U.S. Patent                                                       Jul . 6 , 2021                         Sheet 18 of 41                                    US 11,055,583 B1


                                                                                                                                                                          530d
                                Knowledg   Cell



               80 ce Knowledg Cell
                80 cd Knowledg Cell
                                                                                                                                                                                 18
                                                                                                                                                                                 .
                                                                                                                                                                                 FIG
               80 c Knowledg Cel
                80 cb Knowledg Cell
     CofKonlewlcetidogsne 80 ca Knowledg
                                           Cell


                                                  KCnoewledlge 80 be CKnoewl dlge 80 bd CKnoewl dlge 80 bc KCnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
     KnowledgStruc ing   Unit
                                                                                                                                                                          520
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 562 of 2562 PageID #: 13433


    U.S. Patent                                       Jul . 6 , 2021                         Sheet 19 of 41                                                    US 11,055,583 B1


                                Layer :854e Layer                          Layer              Layer                    Layer                    Layer                     530a
                                                                    854d                                       854c                    854b                    854a
                                KCnoewl dlge 80 e CKnoewl dlge 80 ed KCnoewl dlge 80 ec CKnoewl dlge
                                               :
                                                                                                                      853e2 80 eb
                                                                 8 5 3 e 4    8 5 3 e
                                KCnoewl dlge   :     CKneowledlge CKnoewl dlge CKnoewl dlge                             CKnoewl dlge          853e1 80 ea
                                                                           KCnoewl dlge        CKnoewl dlge             CKnoewl dlge            CKnoewledlge
                                                                                                                                                                                 19
                                                                                                                                                                                 .
                                                                                                                                                                                 FIG
                                CKnoewl dlge         CKnoewl dlge           CKnoewl dlge       CKnoewl dlge             CKnoewl dlge            CKnoewl dlge
                                                                                                CKnoewl dlge           KCnoewl dlge             CKnoewl dlge

                                                     CKnoewl dlge          KCnoewildge         CKnoewl dlge
     Netuwroalk
                                                                                                                                                                           125
                                KCnoewledlge 80 be CKnoewl dlge 80 bd CKnoewl dlge 80 ba KCnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
     KnowledgStruc ing   Unit
                                                                                                                                                                          520
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 563 of 2562 PageID #: 13434


    U.S. Patent                                       Jul . 6 , 2021                       Sheet 20 of 41                                                US 11,055,583 B1


                                Layer :854e Layer                          Layer           Layer                  Layer                   Layer                     530a
                                                                    854d                                   8540                   854b                   854a
                                KCnoewledlge   :     CKnoewl dlge          KCnoewl dgle     CKnoewl dlge
                                                     CKnoewl dlge          CKhoewl dlge     CKnoewl dlge           CKnoewl dlge          853 800

                                KCnoewl dlge   :    CelKnowledge           CKnoewl dlge     CKnoewl dlge          CKnoewl dlge            CKnoewl dlge
                                                                                                                                                                           20
                                                                                                                                                                           .
                                                                                                                                                                           FIG
                                                                                            CKnoewl dlge           CKnoewl dlge           CKnoewl dlge
                                CelKnowledge   :
                                                    CKnoewl dlge           CKnoewl dlge     CKnoewl dlge          KCnoewl dlge            CKnoewl dlge

                                                                           KCnoewl dlge     CKnoewl dlge
     Netuwroalk
                                KCnoewledlge 80 be CKnoewl dlge 80 bd CKnoewl dlge 80 bc KCnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
     KnowledgStruc ing   Unit
                                                                                                                                                                    520
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 564 of 2562 PageID #: 13435


    U.S. Patent                                             Jul . 6 , 2021                        Sheet 21 of 41                                     US 11,055,583 B1


                                                                             80 he KCnoewldlge                                                                         530b
                                                                                                                   CKnoewledlge
                                               80 hd CKnoewldlge
                                                                                 853h4
                                KCnoewl dlge                              853h                                                              CelKnowledge
                                                                                                                                                         8 0 h a
                                                                                                 80 ha
                                                                                                    KCnoewl dlge                    853h1                          :


                                                                                                                                                                              21
                                                                                                                                                                              .
                                                                                                                                                                              FIG
                                CKnoewledlge                                                        CKnoewl dlge                  853h2
                                                           CKnoewl dlge                                            CKnoewl dlge             CKnoewledlge
                                                                                                                                                         8 0 h b
                                CKnoewl dlge
     Graph
                                KCnoewledlge 80 be CKnoewl dlge 80 bd CKnoewl dlge 80 bc KCnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
     KnowledgStruc ing   Unit
                                                                                                                                                                       520
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 565 of 2562 PageID #: 13436


    U.S. Patent                                                Jul . 6 , 2021                        Sheet 22 of 41                                           US 11,055,583 B1


                                                                                                                                                                         530c
                                          CKnoewledlge                            CKnoewl dlge        CKnoewl dlge         CKnoewledlge        CKnoewledlge
                                Sequnce                  :    CKnoewl dlge


                                                                                                                                                                 800
                                          CKnoewl dlge        CKnoewl dlge        CKnoewl dlge        CKnoewl dlge         CKnoewl dlge        CKnoewl dlge      533
                       Sequnce                           :




                                CKnoewl dlge CKnoewl dlge CKnoewl dlge KCnoewl dlge CKnoewl dlge CKnoewledlge
                       Sequnce                           .
                                                                                                                                                                                22
                                                                                                                                                                                .
                                                                                                                                                                                FIG


                                 K
                                 C n o
                                     e w l e d
                                             l g e CKnoewl dlge CKnoewl dlge KCnoewl dlge CKnoewledlge CKnoewledlge
                       Sequnce
                                                         :
                                                         ||
                                 K
                                 C n o
                                     e w l  dlg e   CKnoewl dlge CKneowledlge CKnoewl dlge KCnoewl dlge KCnoewl dlge
     CofSoelqucetnioes Sequ nce

                                          KCnoewledlge 80 be CKnoewl dlge 80 bd CKnoewl dlge 80 bc KCnoewl dlge 80 b CKnoewl dlge 80 ba KCnoewl dlge
     KnowledgStruc ing   Unit
                                                                                                                                                                         520
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 566 of 2562 PageID #: 13437


    U.S. Patent                                                           Jul . 6 , 2021                                              Sheet 23 of 41                                               US 11,055,583 B1


                                                                                                                                                                                                                                              530d
                       Knowledg
                                                                                                                                :
      80 c
      80 b Knowledg
                    Cell
      80 a                                                                      526a 526a5                                                                     526a4 526a3 526a2 526a1
                                           SetInstruction   :
                                                            :
                                                                                               SetInstruction SInsteruction                                                 ISetnstruction SetInstruction SetInstruction ISetnstruction
                                                                                                                                                                                                                                                23
                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                FIG


                                                            52 a5                      52 a4                                        52 a3                      52 a2                               52 am
     CofKonlewlcetidogsne CKneowledlge DPigctuarle          :
                                                                        DPigctuarle                              DPigctuarle                    DPigctuarle                DPigctuarle                                        PDicgtiurael


     Decison -making N                                                                                                                                                                                                                        540125
                                                                52515                      52 14                                        52 13                      52 12                                 5251                                  90

     CPicture apturingApartus PDicgtiurael                  :

                                                                        PDicgtiurael                              DPigctuarle                   PDicgtiurael               PDicgtiurael                                        DPigcituarle
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 567 of 2562 PageID #: 13438


    U.S. Patent                                                           Jul . 6 , 2021                                              Sheet 24 of 41                                            US 11,055,583 B1


                                                                                                                                                                                                                                            530d
                       Knowledg
                                                                                                                                :
      80 c
      80 b Knowledg
                    Cell
      80 a                                                                      526a 526a5                                                                    526a4 526a3 526a2 526a1
                                           SetInstruction   :
                                                            :
                                                                                               SetInstruction SInsteruction                                              ISetnstruction SetInstruction SetInstruction ISetnstruction
                                                                                                                                                                                                                                              24
                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                              FIG

                                                            52 a5                      52 a4                                        52 a3                     52 a2                             52 am
     CofKonlewlcetidogsne CKneowledlge DPigctuarle          :
                                                                        DPigctuarle                              DPigctuarle                   DPigctuarle               DPigctuarle                                         PDicgtiurael


     Decison -making N                                                                                                                                                                                                                      540125

                                                                52513                      52 12                                        5251                      5251                                5251                                  90

     Picture CapturingAp ar tus
                                                            :

                                           PDicgtiurael                 PDicgtiurael                              DPigctuarle                  PDicgtiurael              PDicgtiurael                                    w




                                                                                                                                                                                                                             PDicgtiurael
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 568 of 2562 PageID #: 13439


    U.S. Patent                                                      Jul . 6 , 2021               Sheet 25 of 41                              US 11,055,583 B1


                                                                                                                                                         530d
                                 CKnoewledlge DPigctuarle       :
                                                                     PDicgturael   DPigcituarle   DPigctuarle   PDicgtiurael   DPigctuarle

                                                                          52 d5 52 d4 52 d3 52 02 52 d1
                 80 rd CKneowledlge DPigctuarle                 :

                                                                    PDicgturael    PDicgtiurael   PDicgturael   PDicgtiurael   PDicgturael

                80 rc KCelnowledge PDicgtiurael                 :

                                                                    PDicgturael    PDicgtiurael   PDicgturael   PDicgturael    PDicgtiurael      52 c1         25
                                                                                                                                                               .
                                                                                                                                                               FIG

                80 rb CKnoewl dlge PDicgtiurael                                                                                                  52 c2
                                                                :
                                                                     DPigctuarle   PDicgtiurael   DPigctuarle   DPigctuarle    PDicgtiurael
     CofKonlewlcetidogsne 80 ra CKnoewledlge
                                                  DPigctuarle   :

                                                                    DPigctuarle    PDicgtiurael   PDicgturael   PDicgtiurael   PDicgturael
                                                                                                                                                          540
     Decison -making                                                               ? ?? ??                                                                 125
                                                               5 2 5 1 5   5 2 1 4      5 2 1 3     5 2 1 2      5 2 5 1                                  90

     Picture CapturingAp ar tus
                                                   DPigcituarle PDicgturael PDicgtiurael DPigctuarle PDicgtiurael PDicgtiurael
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 569 of 2562 PageID #: 13440


    U.S. Patent                                                      Jul . 6 , 2021                                                        Sheet 26 of 41                                                                               US 11,055,583 B1


                                        Layer                              Layer                                  Layer                                 Layer                                Layer                                Layer                        530a
                                                              854e                                 854d                                                                   854c                                  854b                                    854a
                                                                                                                    CKnoewl dlge                        KCnoewl dlge

                                                                             KCnoewl dlge                          CKnoewl dlge                          CelKnowledge                          CKnoewl dlge                         CelKnowledge
                                                                                                  0.25                                                                                                             0.35

                                          KCnoewl dlge                                            0.75 CKnoewledlge
                                                                                                                   Cell              80 td KCnoewldlge                                        CKnoewl dlge 0.35 oCKnweowlledlgee dge80 ta
                                                                             CKneowledlge 85314                                         0.80
                                                             80 te                                   8537 CKnoewldlge 0.20                                                                                          0.30
                                                                                                                                                                                               CKnoewl dlge KCnoewl dlge
                                                                                                                                                                                                                         8 5 3 t 1                                    26
                                                                                                                                                                                                                                                                      .
                                                                                                                                                                                                                                                                      FIG

                                                                                                                                       80 tc C
                                                                                                                                             K n o
                                                                                                                                                 e w l e
                                                                                                                                                       dlg e 8 5 3 t 2 810 tb

                                          KCnoewledlge                       KCnoewl dlge                          KCnoewl dlge                                                               CKnoewl dlge

     Netuwroalk                           CelKnowledge                       CKnoewl dlge                          KCelnowledge                          CKnoewledlge

     Decison -making                                                                                                                                                                                                                                           540125


     Picture CapturingAp ar tus   PDigcituarle PDioctuarle
                                                             :
                                                                     P5Di2cg5tiueranel 5DPi2gc5ituear1le 5DPi2gc5itudarnle 5PDi2cg5ti0ur1ael 5DPi2gc5itucarnle 5PDi2cg5tiucra1el 5250DPigcituarle 5PDi2cg5tiu0ra1el 5PDi2cg5tiaurnel DP525aigcituarle
                                                                              :                                        3
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 570 of 2562 PageID #: 13441


    U.S. Patent                                                            Jul . 6 , 2021                                                         Sheet 27 of 41                                                                              US 11,055,583 B1


                                                                                                                                                                                          KCnoewl dlge 80 ub                                                      530b
                                                                         853u1                                                                               0.60 0.30 0.10
                                  80 ua CKnoewldlge 0.15                                                       CKnoewl dlge
                                                                  0.85                                                                               853u2
                                                                                                                                                                                          CKnoewl dlge                         CKnoewledlge

        :
                                                                          CKnoewl dlge                                          80 uc CKnoewldlge                                                                                                             :




                                              CKnoewl dlge                      80 ud          0.20 CKnoewl dlge                               853u 85304                                                                                                                27
                                                                                                                                                                                                                                                                         .
                                                                                                                                                                                                                                                                         FIG

                                                                                                                                   0.80
                                                                                                                                                                                          CKnoewl dlge
                                                                                                                                                                                                              80 ue
                                              KCnoewl dlge                                                     CKnoewl dlge
     Graph
                                                                                                                                                                                                                                                                  540
     Decison -makingUnit                                                                                                                                                                                                                                           125
                                                                                                                                                                                                                                                                  90

     Picture CapturingAp ar tus       DPigcituarle PDicgtiurael             PD5i2cg5tiueranl 5PDi2cg5tiuera1el 5DPi2gc5itudarnle 5PDi2cg5tidur1ael D5Pi2gc5itucarhle P5Di2cg5tiu0ra1el P5Di2cg5tiubranel 5PD2icg5tiur1ael DP5i2gci5tuarnle DP5i2gcit5uarl1e
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 571 of 2562 PageID #: 13442


    U.S. Patent                                                          Jul . 6 , 2021                                                        Sheet 28 of 41                                                                              US 11,055,583 B1


                                                                                                                                                                                                                                                             530c
                                                 CKnoewledlge                    CKnoewledlge                          CKnoewl dlge                         CKnoewledlge                         CKnoewledlge                          CKnoewledlge
                              Sequ nce                               :




                                                                                      -80 de 80 d 80 dc -80 db 80 da
               53 wd                  K
                                      C n o
                                          e w l e d
                                                  l g e                          CKnoewledlge                          CKnoewl dlge                         CKnoewledlge                         CKneowledlge                         KCnoewl dlge
                              Sequnce
               53 wc                             CKnoewl dlge                    KCnoewl dlge                          KCnoewledlge                         CKnoewl dlge                          CKnoewl dlge                         CKnoewl dlge80 ca
                            Sequnce                                  :

                                                                                                                                                                                                                                                                    FIG
                                                                                                                                                                                                                                                                    28
                                                                                                                                                                                                                                                                    .

                      53 wb CKnoewldlge                                          CKnoewledlge                          CKnoewl dlge                         CKnoewledlge                          CKnoewl dlge                        CKneowledlge
                                                                                                                                                                                                                                                   8 0 c b
                            Sequnce                                  :




     CofSoelquctnioes 53 wa Sequ nce CKnoewledlge                    :           CKneowledlge                         CKnoewledlge                          CKnoewledlge                         CKnoewledlge                          CKnoewl dlge
                                                                                                                                                                                                                                                             540
     Decison -makingUnit                                                                                                                                                                                                                                      125
                                                                                                                                                                                                                                                             90

     Picture CapturingAp ar tus          DPigcituarle PDicgtiurael       PD5i2cg5tiueranl 5PDi2cg5tiuera1el 5DPi2gc5itudarnle 5PDi2cg5tidur1ael D5Pi2gc5itucarhle P5Di2cg5tiu0ra1el P5Di2cg5tiubranel 5PD2icg5tiur1ael DP5i2gci5tuarnle DP5i2gcit5uarl1e
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 572 of 2562 PageID #: 13443


    U.S. Patent                         Jul . 6 , 2021                               Sheet 29 of 41                 US 11,055,583 B1



     100
     130                                                                                                              11

                                                    215
                                                          Arithmeic          UnitLogic
                                                                                                              214
                                                                                               RAergistaeyr
                                                           DInestcroudeirn                                                       FIG
                                                                                                                                 29
                                                                                                                                 .

                                                                                         213
                                                          IRnsetgriucteonr
                                                                                         212                                     12

           MUVSnAiDtO Iondtiferca oen                     CPorungtream
                                         Proces r                                        211                            Memory
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 573 of 2562 PageID #: 13444


    U.S. Patent             Jul . 6 , 2021
                                   2                   Sheet 30 of 41         US 11,055,583 B1

                              100          130
          VSADO Unit
                       Modification Interface
                                                               250
                                                  Logic Circuit
            input 1                                                               output 1
            input 2                                                               output 2

            input 3                                                               power

            input 4                                                               ground

                        251
                                                FIG . 30A

                                                                  100   130
                                          VSADO Unit Modification Interface



                                       Logic Circuit
            input 1                                                               output 1
            input 2                                                               output 2
                                                                  251
            input 3                                                               power

            input 4                                                               ground

                              250
                                                FIG . 30B
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 574 of 2562 PageID #: 13445


    U.S. Patent                                                             Jul . 6 , 2021                                                                                                                              Sheet 31 of 41                                                                                                                                                                                                                       US 11,055,583 B1


                       6125Step                                                        6S1t3e0p                                                                                                   6135Step


                                                                                                                                                                                                                                                                                                                              othedcwithfpStep6140eirvgaeriltscnaetgdl                                                                                                                                                        6145Stepdfirstthewithciopergivertlaictilendg
                                                    thefwithpdnewciomgrptiasurtienlg                                                       maplisthattdateahrtaemicsrnahtelgnewpdthebfandiegtcriwteusartlne                                                                                       forsimoneortheenxeotrcutrsieong                                                                                                                            ,oneormoreobythedperfvaoitrmconesg setsforormoreibythedonenestfriucnteiodn
                 drpaneweicgitvuarnleg
                                                                                   dpigctuarle                                                                                                                picture                                                                                                                                               picture                                                                                                                                                                                           picture
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                31
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                FIG




     6Me1t0hod
                                                                                                                                                                                                                 orwiththeonedfcpoirgceritlausritnleg
                                                                                         oforsioneormrnpecotrauitrcvsenog                                                                                                                                                                                                                                                thewcpdfsoirtcgoeritluashrnetldg
                       pdafriecgtriuvsriatnelg                                                                                                                                                                                                      dtheosetsformorei6115Steppensvtraiutc ineog                                                                                                             theosetsforimoreponeor6120nStepestrautcinog

                                                                                                                            da6110
                                                                                                                              |eStepvice
                                                                                                                                                                                                                                                                                                                                                                                                                                                    device
                                         6105Step
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 575 of 2562 PageID #: 13446


    U.S. Patent                                     Jul . 6 , 2021                                                                                                                    Sheet 32 of 41                                                                                                                                                                             US 11,055,583 B1


                       6220Step                                                                        6S2te5p


                                                                                                                                                                                                                      odcthewithfStep6230peirvgeariltscnaetgld                                                                                                                                                     6235Stepdfthewithciopergrivetlaisctilendg
                                                    siforormtheaonenteoircutrpaiseongdthefwcoipergvriatlscahntelgdbmaplonateaitrcawseiucarhtdnle thenewpdfandicgrtiusratel               forismoneortheenxetorcutriseong                                                                                                                          ,oneormoreobythedperfvaoitrmconesgsetsforormoreibythedonenestfriucnteiodn
                 drpaneweicgitvuarnleg
                                                                                                                                                                                                                                                             picture                                                                                                                                                                                     picture
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   32
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                   FIG




     M6e2th0od
                                                                                                                                 forosioneormrnpecotrauitrcvsenog                                                                                                thewcpdfloiercagtrilnuastrheldg
                       pdafriecgtriuvsriatnelg                                                                                                                                                                                                                                                 theosetsforimoreor6215oneSteppnestrautcinog

                                                                                                                                                                    da6210eStepvice
                                                                                                                                                                                                                                                                                                                                         device
                                         6205Step
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 576 of 2562 PageID #: 13447


    U.S. Patent                                                                      Jul . 6 , 2021                                                                                                                                              Sheet 33 of 41                                                                                                                                                                                                                                      US 11,055,583 B1


                         6325Step                                                               6S3te0p                                                                                                              6S3te5p


                                                                                                                                                                                                                                                                                                                                                                 octhedwsfpStep6340ertivrailtescanhetgmd                                                                                                                                                               6345Stepsfthewithcdtoirepvrlsiatcmiendg
                                                            wpdsofthecnewiotmgrpituaerhinmlsg                                                               mataplisdthatteahrtaemicsrnahtelg sthebnewpofdandeitcgrwieutraemnls                                                                                                   setsforimoneortheensxotrcurtieong                                                                                                                                  ,oneormoreobythedperfvaoitrmconesg setsforormoreibythedonenestfriucnteiodn
                 pofdanewsrietcgriuevtranmlsg
                                                                                          thefsofdptigcrtiesuartmels                                                                                                          fsofdptigrctiesuartmels
                                                                                                                                                                                                                                                                                                                                                                                                   ofdpicgtiuraels                                                                                                                                                                                          ofdpicgtiuraels
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              33
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                              FIG




     M6e3th0od
                                                                                                       forosioneormrnpecotrauitrcvsenog                                                                                                    wpofdsthefcoitrcgeriltuasihetnmlsg                                                                                                                               cpdofsftheoirtcgoerilutasentmlgd
                           pofdsafreitcgrieuvtsrantmlsg                                                                                                                                                                                                                    theoforsetsmoreioneor6315Steppnsetrautcinog                                                                                                                     osetsforiormorewiththeoneStep6320npsetrautcinog

                                                                                                                                                                                                                                                                                                                         device                                                                                                                                                          thedevice
                                                                                                                                          da6310eStepvice
                                                 6305Step
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 577 of 2562 PageID #: 13448


    U.S. Patent                                                             Jul . 6 , 2021                                                                                                                                                                    Sheet 34 of 41                                                                                                                                                 US 11,055,583 B1


                       6425Step                                                        6S4t3e0p                                                                                                                                            6435Step                                                                                           6440Step                                                                                                                6445Step



                                                    thefwithpnewdciomgrptiasuritenlg                                                                                                  maplisthattdateahrtaemicsrnahtelgnewpdthebfandiegtcriwteusartlne                                                                      input
                                                                                                                                                                                                                                                                                                                            creicrecivuintg
                                                                                                                                                                                                                                                                                                                             logic
                                                                                                                                                                                                                                                                                                                             by
                                                                                                                                                                                                                                                                                                                             one
                                                                                                                                                                                                                                                                                                                             least
                                                                                                                                                                                                                                                                                                                             at
                                                                                                                                                                                                                                                                                                                             the
                                                                                                                                                                                                                                                                                                                             ,
                                                                                                                                                                                                                                                                                                                                                                                                                                 o,atlbythedponeerfvaoirtsmcotnegdbyatoneolfortheepuftraipntsueitndg
                 drpaneweicgitvuarnleg
                                                                                                                                                                                                                                                                                                                                          cwthedfporigceriltasuhretdl                                                                                                                                  clbythepdireovdgcuicetd
                                                                                   dpigctuarle                                                                                                                                                           picture
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 34
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                 FIG




     6Me4t0hod
                                                                                         atlwthe,oneirhencaeprisuvitng,andcbyalogicroneinputarealsoiecreiuvietd ofor,theandpiurntopdutcse                                                                          theatlwithdcpfoiergcaritlusaritnleg                                                                  withtheatcpdfsoirtcgoeriluatsrnetldg
                       pdafriecgtriuvsriatnelg                                                                                          rtocislthewoe6410Stepinhcofregiuevrictdn
                                                                                                                                                                                        doapevraitceng
                                                                                                                                                                                                                                                                                                         ione6415Stepnput                                                                                 ionel6420Stepnepaust
                                         6405Step
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 578 of 2562 PageID #: 13449


    U.S. Patent                                                             Jul . 6 , 2021                                                                                                                                                                                       Sheet 35 of 41                                                                                                                                                                                                        US 11,055,583 B1


                       6525Step                                                        6S5t3e0p                                                                                                                                                                 6535Step                                                                                                             6540Step



                                                    thefwithpnewdciomgrptiasuritenlg                                                                                                                     maplisthattdateahrtaemicsrnahtelgnewpdthebfandiegtcriwteusartlne                                                                        oneo,atlbythedperfvaoirtsmcotneg wconeobytheatldeuriftealpnsutehd
                 drpaneweicgitvuarnleg
                                                                                   dpigctuarle                                                                                                                                                                                                                                                                                                                       thefdpigcritsuartle
                                                                                                                                                                                                                                                                            picture
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    35
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    FIG




     M6e5th0od
                                                                                         one,theatloreucetaipvsiuntg fromaltthe
                                                                                                                     ,wcrhiaonersgcmieut centd                                                                                                                                        withtheatlpdfcoiercgartilustraitnelg                                                                                                                 theatwcpdfsoirtcgoertiluasthrneldg
                       pdafriecgtriuvsriatnelg                                                                                               pandirtocis6510Soencptfrdeiugtcvripsetddaoforthe,peutvrapituctnesg

                                                                                                                                                                                                                                                                                                                             oone6515Steputput                                                                                                                                  oonl6520Stepuetapsut
                                         6505Step
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 579 of 2562 PageID #: 13450


    U.S. Patent                                                            Jul . 6 , 2021                                                                                                                                                                                                    Sheet 36 of 41                                                                                                                                                  US 11,055,583 B1


                      6425Step                                                        6St3e0p                                                                                                                                                                               6635Step                                                                                          6440Step



                                                                                                                                                                                                                                                                                                                                                                                                                                                                                          dbytheatonelciwithStep6445eonrfiapelnsuaetd
                                                   thefwithpnewdciomgrptiasuritenlg                                                                                                                                  maplisthattdateahrtaemicsrnahtelgnewpdthebfandiegtcriwteusartlne                                                                      arecteuiavtionrg
                                                                                                                                                                                                                                                                                                                                                            by
                                                                                                                                                                                                                                                                                                                                                            input
                                                                                                                                                                                                                                                                                                                                                            one
                                                                                                                                                                                                                                                                                                                                                            least
                                                                                                                                                                                                                                                                                                                                                            at
                                                                                                                                                                                                                                                                                                                                                            the
                                                                                                                                                                                                                                                                                                                                                            ,                                                                                                    mone,atlaby
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  thepecortfuaoirsmotitnrg
                drpaneweicgitvuarnleg
                                                                                                                                                                                                                                                                                                                                                                          cwthefdoprigcerlitasuhertdl
                                                                                  dpigctuarle                                                                                                                                                                                                                                                                                                                                                                                                                                    fdpigcritsuartle
                                                                                                                                                                                                                                                                                        picture
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    36
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    .
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                    FIG




     M6eth0od
                                                                                        ltheatwi,onerhencaeprisuvitng,andbyanaarealsoroneicentuepaiutvoetrd                                                                                                                                       theatlwithdcpfoiergcaritlusaritnleg                                                                   withtheatcpdfsoirtcgoeriluatsrnetldg
                      pdafriecgtriuvsriatnelg                                                                                                                 irtocaisthew6610,Stepoenhctpfeuirgatvoiserdn
                                                                                                                                                                                                        mpandoetrifonrsm
                                                                                                                                                                                                                                                                                                                                        ione6615Stepnput                                                                                  ionel6420Stepnepaust
                                        6605Step
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 580 of 2562 PageID #: 13451


    U.S. Patent               Jul . 6 , 2021
                                         2           Sheet 37 of 41   US 11,055,583 B1



                                             1




                                     1

                                 1
                                 1                   1                     37
                                                                           .
                                                                           FIG
                      98a


                          >




                      >




                  >



                                                 H
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 581 of 2562 PageID #: 13452


    U.S. Patent                        Jul . 6 , 2021
                                             2          Sheet 38 of 41   US 11,055,583 B1




                              3




           306
                 906
                       90a         E
                             98a
                                                            1
                                                                                .
                                                                                FIG
                                                                                38
                             98a
                                                        1

                       90a
                                   906
                                     906
                                                 ??
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 582 of 2562 PageID #: 13453


    U.S. Patent          Jul . 6 , 2021
                               2          Sheet 39 of 41    US 11,055,583 B1




       @
                                                                           39
                                                                           .
                                                                           FIG
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 583 of 2562 PageID #: 13454


    U.S. Patent          Jul . 6 , 2021
                                 2        Sheet 40 of 41    US 11,055,583 B1




                                                                           40
                                                                           .
                                                                           FIG




                          2018
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 584 of 2562 PageID #: 13455


    U.S. Patent          Jul . 6 , 2021         Sheet 41 of 41   US 11,055,583 B1




                                          98d
                                                06




                                                                              41
                                                                              .
                                                                              FIG
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 585 of 2562 PageID #: 13456


                                                       US 11,055,583 B1
                                  1                                                                  2
         MACHINE LEARNING FOR COMPUTING                             for operating the device correlated with the first digital
          ENABLED SYSTEMS AND/OR DEVICES                            picture , the executing performed in response to the antici
                                                                    pating of the artificial intelligence unit , wherein the device
                CROSS REFERENCE TO RELATED                          performs one or more operations defined by the one or more
                           APPLICATION                            5 instruction sets for operating the device correlated with the
                                                                    first digital picture, the one or more operations performed in
       This application is a continuation of, and claims priority response to the executing by the processor circuit .
    under 35 U.S.C. § 120 from , nonprovisional U.S. patent circuit    In certain embodiments , at least one of the processor
    application Ser. No. 15 / 822,150 entitled “ MACHINE                    , the memory unit , the picture capturing apparatus, or
    LEARNING FOR COMPUTING ENABLED SYSTEMS 10 the                         artificial intelligence unit are part of, operating on , or
    AND /OR DEVICES ” , filed on Nov. 26 , 2017. The disclo coupled to the device . In further embodiments, the device
    sure of the foregoing document is incorporated herein by includes one or more devices . In further embodiments, the
    reference .                                                     device includes a smartphone, a fixture , a control device, a
                                                                    computing enabled device , or a computer.
                               FIELD                             15    In some embodiments, the processor circuit includes one
                                                                    or more processor circuits . In further embodiments, the
       The disclosure generally relates to computing enabled processor circuit includes a logic circuit . The logic circuit
    systems and /or devices.                                        may include a microcontroller. The one or more instruction
                                                                    sets may include one or more inputs into or one or more
                       COPYRIGHT NOTICE                          20 outputs from the logic circuit .
                                                                       In certain embodiments , the processor circuit includes a
       A portion of the disclosure of this patent document logic circuit, the instruction sets for operating the device
    contains material which is subject to copyright protection. include inputs into the logic circuit , and executing instruc
    The copyright owner has no objection to the facsimile tion sets for operating the device includes performing logic
    reproduction by anyone of the patent document or the patent 25 operations on the inputs into the logic circuit and producing
    disclosure as it appears in the Patent and Trademark Office outputs for operating the device. The logic circuit may
    patent file or records, but otherwise reserves all copyright include a microcontroller. In further embodiments, the pro
    rights whatsoever.                                              cessor circuit includes a logic circuit , the instruction sets for
                                                                    operating the device include outputs from the logic circuit
                          BACKGROUND                             30 for operating the device, and executing instruction sets for
                                                                    operating the device includes performing logic operations on
       Computing enabled systems and / or devices range from inputs into the logic circuit and producing the outputs from
    appliances, toys , entertainment electronics, computers, and the logic circuit for operating the device .
    communication systems and / or devices to vehicles, robots ,          In some embodiments , the memory unit includes one or
    and industrial systems and / or devices, and / or others. These 35 more memory units . In further embodiments, the memory
    systems and /or devices depend on user's input to various unit resides on a remote computing device , the remote
    degrees for their operation. A machine learning solution is computing device coupled to the processor circuit via a
    needed for computing enabled systems and / or devices to be network . The remote computing device may include a
    less dependent on or fully independent from user input.             server.
                                                                   40    In some embodiments, the picture capturing apparatus
                SUMMARY OF THE INVENTION                              includes one or more picture capturing apparatuses. In
                                                                      further embodiments , the picture capturing apparatus
       In some aspects , the disclosure relates to a system . The includes a motion picture camera or a still picture camera . In
    system may be implemented at least in part on one or more further embodiments, the picture capturing apparatus resides
    computing devices. In some embodiments, the system com- 45 on a remote device, the remote device coupled to the
    prises a processor circuit configured to execute instruction processor circuit via a network .
    sets for operating a device . The system may further include         In certain embodiments , the artificial intelligence unit is
    a memory unit configured to store data . The system may coupled to the picture capturing apparatus. In further
    further include a picture capturing apparatus configured to embodiments, the artificial intelligence unit is coupled to the
    capture digital pictures. The system may further include an 50 memory unit. In further embodiments, the artificial intelli
    artificial intelligence unit. In some embodiments, the artifi- gence unit is part of, operating on , or coupled to the
    cial intelligence unit may be configured to : receive a first processor circuit . In further embodiments, the system further
    digital picture from the picture capturing apparatus. The comprises: a second processor circuit, wherein the artificial
    artificial intelligence unit may be further configured to : intelligence unit is part of, operating on , or coupled to the
    receive one or more instruction sets for operating the device 55 second processor circuit . In further embodiments, the arti
    from the processor circuit. The artificial intelligence unit ficial intelligence unit is part of, operating on , or coupled to
    may be further configured to : learn the first digital picture a remote computing device, the remote computing device
    correlated with the one or more instruction sets for operating coupled to the processor circuit via a network . In further
    the device. The artificial intelligence unit may be further embodiments, the artificial intelligence unit includes a cir
    configured to : receive a new digital picture from the picture 60 cuit , a computing apparatus, or a computing system attach
    capturing apparatus. The artificial intelligence unit may be able to the processor circuit. In further embodiments, the
    further configured to : anticipate the one or more instruction artificial intelligence unit includes a circuit, a computing
    sets for operating the device correlated with the first digital apparatus, or a computing system attachable to the device . In
    picture based on at least a partial match between the new further embodiments, the artificial intelligence unit is attach
    digital picture and the first digital picture. The artificial 65 able to an application for operating the device , the applica
    intelligence unit may be further configured to : cause the tion running on the processor circuit . In further embodi
    processor circuit to execute the one or more instruction sets ments, the artificial intelligence unit includes a circuit, a
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 586 of 2562 PageID #: 13457


                                                        US 11,055,583 B1
                                  3                                                                    4
    computing apparatus, or a computing system built into the time subsequent to the capturing the first digital picture. The
    processor circuit. In further embodiments, the artificial intel- one or more instruction sets that temporally correspond to
    ligence unit includes a circuit, a computing apparatus, or a the first digital picture may include one or more instruction
    computing system built into the device . In further embodi- sets executed within a threshold period of time prior to the
    ments, the artificial intelligence unit is built into an appli- 5 capturing the first digital picture or a threshold period of
    cation for operating the device , the application running on time subsequent to the capturing the first digital picture. The
    the processor circuit. In further embodiments, the artificial one or more instruction sets that temporally correspond to
    intelligence unit is provided as a feature of the processor the first digital picture may include one or more instruction
    circuit . In further embodiments, the artificial intelligence sets executed from a start of capturing a preceding digital
    unit is provided as a feature of an application running on the 10 picture to a start of capturing the first digital picture. The one
    processor circuit. In further embodiments, the artificial intel- or more instruction sets that temporally correspond to the
    ligence unit is provided as a feature of the device . In further first digital picture may include one or more instruction sets
    embodiments, the artificial intelligence unit is further con- executed from a start of capturing the first digital picture to
    figured to : take control from , share control with, or release a start of capturing a subsequent digital picture . The one or
    control to the processor circuit. In further embodiments, the 15 more instruction sets that temporally correspond to the first
    artificial intelligence unit is further configured to : take digital picture may include one or more instruction sets
    control from , share control with , or release control to an executed from a completion of capturing a preceding digital
    application or an object of the application , the application picture to a completion of capturing the first digital picture .
    running on the processor circuit . In further embodiments , the The one or more instruction sets that temporally correspond
    artificial intelligence unit is further configured to : take 20 to the first digital picture include one or more instruction sets
    control from , share control with , or release control to a user executed from a completion of capturing the first digital
    or a system .                                                        picture to a completion of capturing a subsequent digital
       In some embodiments , the first digital picture includes a picture.
    stream of digital pictures. In further embodiments , the new            In some embodiments, the one or more instruction sets for
    digital picture includes a stream of digital pictures. In further 25 operating the device are executed by the processor circuit. In
    embodiments, the first and the new digital pictures portray further embodiments, the one or more instruction sets for
    the device's surrounding. In further embodiments, the first operating the device are part of an application for operating
    and the new digital pictures portray a remote device's the device , the application running on the processor circuit .
    surrounding. In further embodiments, the first or the new In further embodiments, the one or more instruction sets for
    digital picture includes a JPEG picture , a GIF picture, a TIFF 30 operating the device include one or more inputs into or one
    picture , a PNG picture, a PDF picture, or a digitally encoded or more outputs from the processor circuit . In further
    picture . The stream of digital pictures may include a MPEG embodiments, the one or more instruction sets for operating
    motion picture, an AVI motion picture, a FLV motion                 the device include values or states of one or more registers
    picture, a MOV motion picture, a RM motion picture, a SWF           or elements of the processor circuit . In further embodiments,
    motion picture , a WMV motion picture, a DivX motion 35 an instruction set includes at least one of: a command , a
    picture, or a digitally encoded motion picture. In further keyword, a symbol, an instruction , an operator, a variable , a
    embodiments, the first digital picture includes a comparative value , an object, a data structure, a function , a parameter, a
    digital picture whose at least one portion can be used for state , a signal, an input, an output , a character, a digit , or a
    comparisons with at least one portion of digital pictures reference thereto . In further embodiments, the one or more
    subsequent to the first digital picture , the digital pictures 40 instruction sets include a source code , a bytecode , an inter
    subsequent to the first digital picture comprising the new mediate code , a compiled code, an interpreted code, a
    digital picture. In further embodiments, the first digital translated code , a runtime code, an assembly code , a struc
    picture includes a comparative digital picture that can be tured query language (SQL ) code , or a machine code. In
    used for comparisons with the new digital picture. In further further embodiments, the one or more instruction sets
    embodiments, the new digital picture includes an anticipa- 45 include one or more code segments , lines of code , state
    tory digital picture whose correlated one or more instruction ments, instructions, functions, routines, subroutines, or basic
    sets can be used for anticipation of one or more instruction blocks . In further embodiments, the processor circuit
    sets to be executed by the processor circuit .                    includes a logic circuit . The one or more instruction sets for
       In certain embodiments, the one or more instruction sets operating the device include one or more inputs into a logic
    for operating the device include one or more instruction sets 50 circuit . The one or more instruction sets for operating the
    that temporally correspond to the first digital picture. The device include one or more outputs from a logic circuit . In
    one or more instruction sets that temporally correspond to further embodiments, the one or more instruction sets for
    the first digital picture may include one or more instruction operating the device include one or more instruction sets for
    sets executed at a time of the capturing the first digital operating an application or an object of the application , the
    picture . The one or more instruction sets that temporally 55 application running on the processor circuit .
    correspond to the first digital picture may include one or           In some embodiments , the receiving the one or more
    more instruction sets executed prior to the capturing the first instruction sets for operating the device from the processor
    digital picture. The one or more instruction sets that tem- circuit includes obtaining the one or more instruction sets
    porally correspond to the first digital picture may include from the processor circuit. In further embodiments, the
    one or more instruction sets executed within a threshold 60 receiving the one or more instruction sets for operating the
    period of time prior to the capturing the first digital picture. device from the processor circuit includes receiving the one
    The one or more instruction sets that temporally correspond or more instruction sets as they are executed by the proces
    to the first digital picture may include one or more instruc- sor circuit . In further embodiments, the receiving the one or
    tion sets executed subsequent to the capturing the first digital more instruction sets for operating the device from the
    picture. The one or more instruction sets that temporally 65 processor circuit includes receiving the one or more instruc
    correspond to the first digital picture may include one or tion sets for operating the device from a register or an
    more instruction sets executed within a threshold period of element of the processor circuit . In further embodiments , the
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 587 of 2562 PageID #: 13458


                                                       US 11,055,583 B1
                                  5                                                                  6
    receiving the one or more instruction sets for operating the more instruction sets for operating the device from the
    device from the processor circuit includes receiving the one processor circuit includes at least one of: tracing, profiling,
    or more instruction sets for operating the device from an or instrumentation of the processor circuit , the device , a
    element that is part of, operating on, or coupled to the virtual machine , a runtime engine, an operating system , an
    processor circuit . In further embodiments, the receiving the 5 execution stack , a program counter, or a processing element.
    one or more instruction sets for operating the device from In further embodiments, the receiving the one or more
    the processor circuit includes receiving the one or more instruction sets for operating the device from the processor
    instruction sets for operating the device from at least one of: circuit includes at least one of: tracing, profiling, or instru
    the memory unit , the device, a virtual machine , a runtime mentation of the processor circuit or tracing, profiling, or
    engine, a hard drive , a storage device, a peripheral device, a 10 instrumentation of a component of the processor circuit . In
    network connected device, or a user. In further embodi- further embodiments, the receiving the one or more instruc
    ments, the receiving the one or more instruction sets for tion sets for operating the device from the processor circuit
    operating the device from the processor circuit includes includes at least one of: tracing, profiling, or instrumentation
    receiving the one or more instruction sets from a plurality of of an application or an object of the application, the appli
    processor circuits , applications, memory units , devices, vir- 15 cation running on the processor circuit. In further embodi
    tual machines , runtime engines, hard drives , storage devices, ments, the receiving the one or more instruction sets for
    peripheral devices , network connected devices , or users .        operating the device from the processor circuit includes at
       In certain embodiments, the processor circuit includes a least one of: tracing, profiling, or instrumentation at a source
    logic circuit, and wherein the receiving the one or more code write time , a compile time , an interpretation time , a
    instruction sets for operating the device from the processor 20 translation time , a linking time , a loading time , or a runtime.
    circuit includes receiving the one or more instruction sets for In further embodiments, the receiving the one or more
    operating the device from the logic circuit . The logic circuit instruction sets for operating the device from the processor
    may include a microcontroller. The receiving the one or circuit includes at least one of: tracing, profiling, or instru
    more instruction sets for operating the device from the logic mentation of one or more of code segments, lines of code ,
    circuit may include receiving the one or more instruction 25 statements, instructions , functions , routines, subroutines, or
    sets for operating the device from an element of the logic basic blocks . In further embodiments, the receiving the one
    circuit . The receiving the one or more instruction sets for or more instruction sets for operating the device from the
    operating the device from the logic circuit may include processor circuit includes at least one of: tracing, profiling,
    receiving one or more inputs into the logic circuit. The or instrumentation of a user input. In further embodiments ,
    receiving the one or more instruction sets for operating the 30 the receiving the one or more instruction sets for operating
    device from the logic circuit may include receiving one or the device from the processor circuit includes at least one of:
    more outputs from the logic circuit.                               a manual, an automatic , a dynamic, or a just in time ( JIT )
       In some embodiments, the receiving the one or more tracing, profiling, or instrumentation. In further embodi
    instruction sets for operating the device from the processor ments, the receiving the one or more instruction sets for
    circuit includes receiving the one or more instruction sets for 35 operating the device from the processor circuit includes
    operating the device from an application for operating the utilizing at least one of: a .NET tool , a .NET application
    device, the application running on the processor circuit. In programming interface (API ) , a Java tool , a Java API , a
    further embodiments, the system further comprises : an logging tool , or an independent tool for obtaining instruction
    application including instruction sets for operating the sets. In further embodiments , the receiving the one or more
    device, the application running on the processor circuit , 40 instruction sets for operating the device from the processor
    wherein the receiving the one or more instruction sets for circuit includes utilizing an assembly language. In further
    operating the device from the processor circuit includes embodiments, the receiving the one or more instruction sets
    receiving the one or more instruction sets for operating the for operating the device from the processor circuit includes
    device from the application .                                      utilizing a branch or a jump. In further embodiments, the
       In certain embodiments, the receiving the one or more 45 receiving the one or more instruction sets for operating the
    instruction sets for operating the device from the processor device from the processor circuit includes a branch tracing
    circuit includes receiving the one or more instruction sets at or a simulation tracing.
    a source code write time , a compile time , an interpretation         In some embodiments, the system further comprises: an
    time , a translation time , a linking time , a loading time , or a interface configured to receive instruction sets , wherein the
    runtime. In further embodiments, the receiving the one or 50 one or more instruction sets for operating the device are
    more instruction sets for operating the device from the received by the interface. The interface may include an
    processor circuit includes at least one of: tracing, profiling, acquisition interface.
    or instrumentation of a source code , a bytecode , an inter-          In certain embodiments, the first digital picture correlated
    mediate code , a compiled code , an interpreted code, a with the one or more instruction sets for operating the device
    translated code , a runtime code , an assembly code , a struc- 55 includes a unit of knowledge of how the device operated in
    tured query language ( SQL ) code , or a machine code . In a visual surrounding. In further embodiments, the first
    further embodiments, the receiving the one or more instruc- digital picture correlated with the one or more instruction
    tion sets for operating the device from the processor circuit sets for operating the device is included in a neuron , a node ,
    includes at least one of: tracing, profiling, or instrumentation a vertex, or an element of a data structure . The data structure
    of an element that is part of, operating on , or coupled to the 60 may include a neural network , a graph, a collection of
    processor circuit . In further embodiments, the receiving the sequences, a sequence , a collection of knowledge cells , a
    one or more instruction sets for operating the device from knowledgebase, or a knowledge structure . Some of the
    the processor circuit includes at least one of: tracing, pro- neurons, nodes, vertices, or elements may be interconnected .
    filing, or instrumentation of a register of the processor             In some embodiments , the first digital picture correlated
    circuit , the memory unit, a storage, or a repository where the 65 with the one or more instruction sets for operating the device
    one or more instruction sets for operating the device are is structured into a knowledge cell . In further embodiments ,
    stored . In further embodiments, the receiving the one or          the knowledge cell includes a unit of knowledge of how the
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 588 of 2562 PageID #: 13459


                                                         US 11,055,583 B1
                                   7                                                                    8
    device operated in a visual surrounding. In further embodi- include at least one of: a deep learning system , a supervised
    ments, the knowledge cell is included in a neuron , a node, learning system , an unsupervised learning system , a neural
    a vertex , or an element of a data structure . The data structure network , a search -based system , an optimization - based sys
    may include a neural network , a graph , a collection of tem , a logic -based system , a fuzzy logic -based system , a
    sequences, a sequence , a collection of knowledge cells , a 5 tree -based system , a graph -based system , a hierarchical
    knowledgebase, or a knowledge structure. Some of the system , a symbolic system , a sub -symbolic system , an
    neurons, nodes , vertices, or elements may be interconnected . evolutionary system , a genetic system , a multi -agent system ,
       In certain embodiments, the learning the first digital a deterministic system , a probabilistic system , or a statistical
    picture correlated with the one or more instruction sets for system .
    operating the device includes correlating the first digital 10 In certain embodiments , the anticipating the one or more
    picture with the one or more instruction sets for operating instruction sets for operating the device correlated with the
    the device . The correlating the first digital picture with the first digital picture based on at least a partial match between
    one or more instruction sets for operating the device may the new digital picture and the first digital picture includes
    include generating a knowledge cell , the knowledge cell comparing at least one portion of the new digital picture with
    comprising the first digital picture correlated with the one or 15 at least one portion of the first digital picture . The at least
    more instruction sets for operating the device . The correlat- one portion of the new digital picture may include at least
    ing the first digital picture with the one or more instruction one region, at least one feature , or at least one pixel of the
    sets for operating the device may include structuring a unit new digital picture. The at least one portion of the first
    of knowledge of how the device operated in a visual digital picture may include at least one region, at least one
    surrounding.                                                     20 feature , or at least one pixel of the first digital picture . The
       In some embodiments, the learning the first digital picture comparing the at least one portion of the new digital picture
    correlated with the one or more instruction sets for operating with the at least one portion of the first digital picture may
    the device includes learning a user's knowledge, style, or include comparing at least one region of the new digital
    methodology of operating the device in a visual surround- picture with at least one region of the first digital picture.
    ing . In further embodiments, the learning the first digital 25 The comparing the at least one portion of the new digital
    picture correlated with the one or more instruction sets for picture with the at least one portion of the first digital picture
    operating the device includes spontaneous learning the first may include comparing at least one feature of the new digital
    digital picture correlated with the one or more instruction picture with at least one feature of the first digital picture.
    sets for operating the device .                                     The at least one portion of the new digital picture with the
       In some embodiments, the learning the first digital picture 30 at least one portion of the first digital picture may include
    correlated with the one or more instruction sets for operating comparing at least one pixel of the new digital picture with
    the device includes storing, into the memory unit, the first at least one pixel of the first digital picture. The comparing
    digital picture correlated with the one or more instruction the at least one portion of the new digital picture with the at
    sets for operating the device, the first digital picture corre- least one portion of the first digital picture may include at
    lated with the one or more instruction sets for operating the 35 least one of: performing a color adjustment, performing a
    device being part of a stored plurality of digital pictures size adjustment, performing a content manipulation, utiliz
    correlated with one or more instruction sets for operating the ing a transparency, or utilizing a mask on the new or the first
    device. In further embodiments, the plurality of digital digital picture. The comparing the at least one portion of the
    pictures correlated with one or more instruction sets for new digital picture with the at least one portion of the first
    operating the device include a neural network, a graph , a 40 digital picture may include recognizing at least one person
    collection of sequences , a sequence , a collection of knowl- or object in the new digital picture and at least one person
    edge cells , a knowledgebase, a knowledge structure , or a or object in the first digital picture, and comparing the at
    data structure. In further embodiments, the plurality of least one person or object from the new digital picture with
    digital pictures correlated with one or more instruction sets the at least one person or object from the first digital picture .
    for operating the device are organized into a neural network , 45 In some embodiments, he anticipating the one or more
    a graph , a collection of sequences , a sequence , a collection instruction sets for operating the device correlated with the
    of knowledge cells , a knowledgebase, a knowledge struc- first digital picture based on at least a partial match between
    ture, or a data structure . In further embodiments, each of the the new digital picture and the first digital picture includes
    plurality of digital pictures correlated with one or more determining that there is at least a partial match between the
    instruction sets for operating the device is included in a 50 new digital picture and the first digital picture . In further
    neuron , a node , a vertex , or an element of a data structure . embodiments, the determining that there is at least a partial
    The data structure may include a neural network , a graph , a match between the new digital picture and the first digital
    collection of sequences, a sequence , a collection of knowl- picture includes determining that there is at least a partial
    edge cells , a knowledgebase , or a knowledge structure . match between one or more portions of the new digital
    Some of the neurons, nodes, vertices , or elements may be 55 picture and one or more portions of the first digital picture.
    interconnected . In further embodiments , the plurality of In further embodiments, the determining that there is at least
    digital pictures correlated with one or more instruction sets a partial match between the new digital picture and the first
    for operating the device include a user's knowledge, style, or digital picture includes determining that a similarity between
    methodology of operating the device in visual surroundings. at least one portion of the new digital picture and at least one
    In further embodiments, the plurality of digital pictures 60 portion of the first digital picture exceeds a similarity
    correlated with one or more instruction sets for operating the threshold . In further embodiments , the determining that
    device are stored on a remote computing device. In further there is at least a partial match between the new digital
    embodiments, the plurality of digital pictures correlated with picture and the first digital picture includes determining a
    one or more instruction sets for operating the device include substantial similarity between at least one portion of the new
    an artificial intelligence system for knowledge structuring, 65 digital picture and at least one portion of the first digital
    storing, or representation . The artificial intelligence system picture . The at least one portion of the new digital picture
    for knowledge structuring, storing , or representation may may include at least one region , at least one feature, or at
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 589 of 2562 PageID #: 13460


                                                        US 11,055,583 B1
                                  9                                                                   10
    least one pixel of the new digital picture. The at least one        or more instruction sets for operating the device correlated
    portion of the first digital picture may include at least one with the first digital picture includes modifying a register or
    region , at least one feature , or at least one pixel of the first an element of the processor circuit . In further embodiments,
    digital picture. The substantial similarity may be achieved the causing the processor circuit to execute the one or more
    when a similarity between the at least one portion of the new 5 instruction sets for operating the device correlated with the
    digital picture and the at least one portion of the first digital
    picture exceeds a similarity threshold . The substantial simi first      digital picture includes inserting the one or more
                                                                       instruction sets for operating the device correlated with the
    larity may be achieved when a number or a percentage of first digital picture into a register or an element of the
    matching or partially matching regions from the new digital processor          circuit. In further embodiments, the causing the
    picture and from the first digital picture exceeds a threshold 10 processor circuit
    number or threshold percentage. The substantial similarity for operating theto device    execute the one or more instruction sets
    may be achieved when a number or a percentage of match picture includes redirectingcorrelated     the
                                                                                                                with the first digital
                                                                                                          processor circuit to the one
    ing or partially matching features from the new digital or more instruction sets for operating the device               correlated
    picture and from the first digital picture exceeds a threshold with the first digital picture. In further embodiments         , the
    number or threshold percentage . The substantial similarity 15
    may be achieved when a number or a percentage of match causing the processor circuit to execute the one or more
    ing or partially matching pixels from the new digital picture instruction sets for operating the device correlated with the
    and from the first digital picture exceeds a threshold number first digital picture includes redirecting the processor circuit
    or threshold percentage. The substantial similarity may be to one or more alternate instruction sets , the alternate
    achieved when one or more same or similar objects are 20 instruction sets comprising the one or more instruction sets
    recognized in the new digital picture and the first digital for operating the device correlated with the first digital
    picture. In further embodiments, the determining that there         picture. In further embodiments, the causing the processor
    is at least a partial match between the new digital picture and     circuit to execute the one or more instruction sets for
    the first digital picture includes determining that a number or operating the device correlated with the first digital picture
    a percentage of matching regions from the new digital 25 includes transmitting, to the processor circuit for execution ,
    picture and from the first digital picture exceeds a threshold the one or more instruction sets for operating the device
    number or threshold percentage. The matching regions from correlated with the first digital picture. In further embodi
    the new digital picture and from the first digital picture may ments, the executing the one or more instruction sets for
    be determined factoring in at least one of: a location of a operating the device correlated with the first digital picture
    region , an importance of a region , a threshold for a similarity 30 includes issuing an interrupt to the processor circuit and
    in a region, or a threshold for a difference in a region . In executing the one or more instruction sets for operating the
    further embodiments, the determining that there is at least a device correlated with the first digital picture following the
    partial match between the new digital picture and the first interrupt. In further embodiments, the causing the processor
    digital picture includes determining that a number or a circuit to execute the one or more instruction sets for
    percentage of matching features from the new digital picture 35 operating the device correlated with the first digital picture
    and from the first digital picture exceeds a threshold number includes modifying an element that is part of, operating on ,
    or threshold percentage. The matching features from the new or coupled to the processor circuit .
    digital picture and from the first digital picture may be               In certain embodiments, the processor circuit includes a
    determined factoring in at least one of: a type of a feature, logic circuit , and wherein the causing the processor circuit
    an importance of a feature, a location of a feature, a 40 to execute the one or more instruction sets for operating the
    threshold for a similarity in a feature , or a threshold for a device correlated with the first digital picture includes
    difference in a feature . In further embodiments, the deter- causing the logic circuit to execute the one or more instruc
    mining that there is at least a partial match between the new tion sets for operating the device correlated with the first
    digital picture and the first digital picture includes determin- digital picture . The logic circuit may include a microcon
    ing that a number or a percentage of matching pixels from 45 troller. The causing the logic circuit to execute the one or
    the new digital picture and from the first digital picture more instruction sets for operating the device correlated with
    exceeds a threshold number or threshold percentage . The the first digital picture may include modifying an element of
    matching pixels from the new digital picture and from the the logic circuit. The causing the logic circuit to execute the
    first digital picture may be determined factoring in at least one or more instruction sets for operating the device corre
    one of: a location of a pixel , a threshold for a similarity in 50 lated with the first digital picture may include inserting the
    a pixel , or a threshold for a difference in a pixel . In further one or more instruction sets for operating the device corre
    embodiments, the determining that there is at least a partial lated with the first digital picture into an element of the logic
    match between the new digital picture and the first digital circuit. The causing the logic circuit to execute the one or
    picture includes recognizing a same person or object in the more instruction sets for operating the device correlated with
    new and the first digital pictures.                               55 the first digital picture may include redirecting the logic
       In some embodiments , the causing the processor circuit to circuit to the one or more instruction sets for operating the
    execute the one or more instruction sets for operating the device correlated with the first digital picture. The causing
    device correlated with the first digital picture includes the logic circuit to execute the one or more instruction sets
    causing the processor circuit to execute the one or more for operating the device correlated with the first digital
    instruction sets for operating the device correlated with the 60 picture may include replacing inputs into the logic circuit
    first digital picture instead of or prior to an instruction set with the one or more instruction sets for operating the device
    that would have been executed next. In further embodi-              correlated with the first digital picture . The causing the logic
    ments, the causing the processor circuit to execute the one         circuit to execute the one or more instruction sets for
    or more instruction sets for operating the device correlated operating the device correlated with the first digital picture
    with the first digital picture includes modifying one or more 65 may include replacing outputs from the logic circuit with the
    instruction sets of the processor circuit. In further embodi- one or more instruction sets for operating the device corre
    ments, the causing the processor circuit to execute the one lated with the first digital picture.
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 590 of 2562 PageID #: 13461


                                                          US 11,055,583 B1
                                11                                                                       12
       In certain embodiments, the causing the processor circuit           cessor circuit to execute the one or more instruction sets for
    to execute the one or more instruction sets for operating the          operating the device correlated with the first digital picture
    device correlated with the first digital picture includes includes a manual, an automatic, a dynamic , or a just in time
    causing an application for operating the device to execute ( JIT ) instrumentation of an application , the application run
    the one or more instruction sets for operating the device 5 ning on the processor circuit . In further embodiments, the
    correlated with the first digital picture, the application run- causing the processor circuit to execute the one or more
    ning on the processor circuit.
       In further embodiments, the system further comprises: an instruction            sets for operating the device correlated with the
                                                                        first digital picture includes utilizing one or more of a .NET
    application including instruction sets for operating the tool
    device , the application running on the processor circuit , 10 Java, atool.NET        application programming interface ( API ) , a
    wherein the causing the processor circuit to execute the one independent tool forAPImodifying
                                                                                    ,  a  Java       , an operating system tool , or an
                                                                                                               instruction sets . In further
    or more instruction sets for operating the device correlated embodiments, the causing the processor                 circuit to execute
    with the first digital picture includes modifying the appli the one or more instruction sets for operating                   the device
    cation .
       In further embodiments, the causing the    processor  circuit 15 correlated    with  the first digital picture includes   utilizing at
                                                                        least one of: a dynamic , an interpreted, or a scripting
    to execute the one or more instruction sets for operating the programming
    device correlated with the first digital picture includes                             language. In further embodiments , the causing
    redirecting an application to the one or more instruction sets the processor circuit to execute the one or more instruction
    for operating the device correlated with the first digital sets for operating the device correlated with the first digital
    picture, the application running on the processor circuit . In 20 picture includes utilizing at least one of: a dynamic code, a
    further embodiments, the causing the processor circuit to dynamic class loading , or a reflection . In further embodi
    execute the one or more instruction sets for operating the ments, the causing the processor circuit to execute the one
    device correlated with the first digital picture includes or more instruction sets for operating the device correlated
    redirecting an application to one or more alternate instruc- with the first digital picture includes utilizing an assembly
    tion sets, the application running on the processor circuit, the 25 language . In further embodiments, the causing the processor
    alternate instruction sets comprising the one or more instruc-         circuit to execute the one or more instruction sets for
    tion sets for operating the device correlated with the first           operating the device correlated with the first digital picture
    digital picture . In further embodiments, the causing the              includes utilizing at least one of: a metaprogramming, a
    processor circuit to execute the one or more instruction sets
    for operating the device correlated with the first digital 30 Inselffurther
    picture includes modifying one or more instruction sets of an
                                                                         -modifying code , or an instruction set modification tool .
                                                                                embodiments, the causing the processor circuit to
    application, the application running on the processor circuit .        execute the one or more instruction sets for operating the
    In further embodiments, the causing the processor circuit to           device correlated with the first digital picture includes
    execute the one or more instruction sets for operating the             utilizing at least one of: just in time ( JIT) compiling, JIT
    device correlated with the first digital picture includes 35 interpretation
                                                                              , JIT
                                                                 binary rewriting. In translation, dynamic , recompiling
                                                                                       further embodiments    the causing, the
                                                                                                                            or
    modifying a source code , a bytecode, an intermediate code , processor circuit to execute the one or more instruction sets
    a compiled code , an interpreted code , a translated code , a
    runtime code, an assembly code , or a machine code . In for operating the device correlated with the first digital
    further embodiments, the causing the processor circuit to picture includes utilizing at least one of: a dynamic expres
    execute the one or more instruction sets for operating the 40 sion creation , a dynamic expression execution , a dynamic
    device correlated with the first digital picture includes function creation, or a dynamic function execution . In
    modifying at least one of: the memory unit, a register of the further embodiments, the causing the processor circuit to
    processor circuit, a storage , or a repository where instruction execute the one or more instruction sets for operating the
    sets are stored or used . In further embodiments, the causing device correlated with the first digital picture includes
    the processor circuit to execute the one or more instruction 45 adding or inserting additional code into a code of an appli
    sets for operating the device correlated with the first digital cation, the application running on the processor circuit. In
    picture includes modifying one or more instruction sets for further embodiments, the causing the processor circuit to
    operating an application or an object of the application , the execute the one or more instruction sets for operating the
    application running on the processor circuit . In further device correlated with the first digital picture includes at
    embodiments, the causing the processor circuit to execute 50 least one of: modifying, removing, rewriting, or overwriting
    the one or more instruction sets for operating the device a code of an application, the application running on the
    correlated with the first digital picture includes modifying at processor circuit. In further embodiments, the causing the
    least one of: an element of the processor circuit , an element processor circuit to execute the one or more instruction sets
    of the device , a virtual machine , a runtime engine, an for operating the device correlated with the first digital
    operating system , an execution stack , a program counter, or 55 picture includes at least one of: branching, redirecting,
    a user input. In further embodiments, the causing the pro- extending, or hot swapping a code of an application , the
    cessor circuit to execute the one or more instruction sets for application running on the processor circuit . The branching
    operating the device correlated with the first digital picture or redirecting the code may include inserting at least one of:
    includes modifying one or more instruction sets at a source a branch , a jump, or a means for redirecting an execution . In
    code write time , a compile time , an interpretation time , a 60 further embodiments, the executing the one or more instruc
    translation time , a linking time , a loading time , or a runtime. tion sets for operating the device correlated with the first
    In further embodiments, the causing the processor circuit to digital picture includes implementing a user's knowledge,
    execute the one or more instruction sets for operating the style, or methodology of operating the device in a visual
    device correlated with the first digital picture includes surrounding
    modifying one or more code segments, lines of code, 65 In some embodiments, the system further comprises: an
    statements, instructions, functions, routines , subroutines, or        interface configured to cause execution of instruction sets ,
    basic blocks . In further embodiments , the causing the pro-           wherein the executing the one or more instruction sets for
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 591 of 2562 PageID #: 13462


                                                        US 11,055,583 B1
                                  13                                                                  14
    operating the device correlated with the first digital picture an extra information correlated with the first digital picture
    is caused by the interface . The interface may include a may include determining that a similarity between an extra
    modification interface .                                             information correlated with the new digital picture and an
       In certain embodiments, the one or more operations extra information correlated with the first digital picture
    defined by the one or more instruction sets for operating the 5 exceeds a similarity threshold .
    device correlated with the first digital picture include at least       In some embodiments, the system further comprises: a
    one of: an operation with or by a smartphone , an operation user interface , wherein the artificial intelligence unit is
    with or by a fixture, an operation with or by a control device , further configured to : present, via the user interface, a user
    or an operation with or by a computer or computing enabled with an option to execute the one or more instruction sets for
    device.                                                           10 operating the device correlated with the first digital picture.
       In some embodiments, the performing the one or more                  In certain embodiments, the system further comprises: a
    operations defined by the one or more instruction sets for user interface, wherein the artificial intelligence unit is
    operating the device correlated with the first digital picture further configured to : receive, via the user interface , a user's
    includes implementing a user's knowledge, style , or meth- selection to execute the one or more instruction sets for
    odology of operating the device in a visual surrounding . 15 operating the device correlated with the first digital picture .
       In certain embodiments, the system further comprises: an             In some embodiments, the artificial intelligence unit is
    application running on the processor circuit.                        further configured to : rate the executed one or more instruc
       In some embodiments , the instruction sets for operating tion sets for operating the device correlated with the first
    the device are part of an application for operating the device , digital picture. The rating the executed one or more instruc
    the application running on the processor circuit.                 20 tion sets for operating the device correlated with the first
       In certain embodiments, the system further comprises: an digital picture may include displaying, on a display, the
    application for operating the device, the application running executed one or more instruction sets for operating the
    on the processor circuit. The application for operating the device correlated with the first digital picture along with one
    device may include the instruction sets for operating the or more rating values as options to be selected by a user. The
    device .                                                          25 rating the executed one or more instruction sets for operating
       In some embodiments, the artificial intelligence unit is the device correlated with the first digital picture may
    further configured to : receive at least one extra information. include rating the executed one or more instruction sets for
    In further embodiments, the at least one extra information operating the device correlated with the first digital picture
    include one or more of: a time information, a location without a user input. The rating the executed one or more
    information, a computed information , an observed informa- 30 instruction sets for operating the device correlated with the
    tion , a sensory information, or a contextual information. In first digital picture may include associating one or more
    further embodiments, the at least one extra information rating values with the executed one or more instruction sets
    include one or more of: an information on a digital picture, for operating the device correlated with the first digital
    an information on an object in the digital picture, an infor- picture and storing the one or more rating values into the
    mation on the device's visual surrounding, an information 35 memory unit .
    on an instruction set , an information on an application, an            In certain embodiments, the system further comprises : a
    information on an object of the application , an information user interface , wherein the artificial intelligence unit is
    on the processor circuit , an information on the device, or an further configured to : present, via the user interface , a user
    information on an user. In further embodiments, the artificial with an option to cancel the execution of the executed one
    intelligence unit is further configured to : learn the first 40 or more instruction sets for operating the device correlated
    digital picture correlated with the at least one extra infor- with the first digital picture. In further embodiments , the
    mation . The learning the first digital picture correlated with canceling the execution of the executed one or more instruc
    at least one extra information may include correlating the tion sets for operating the device correlated with the first
    first digital picture with the at least one extra information . digital picture includes restoring the processor circuit or the
    The learning the first digital picture correlated with at least 45 device to a prior state . The restoring the processor circuit or
    one extra information may include storing the first digital the device to a prior state may include saving the state of the
    picture correlated with the at least one extra information into processor circuit or the device prior to executing the one or
    the memory unit . In further embodiments, the anticipating more instruction sets for operating the device correlated with
    the one or more instruction sets for operating the device the first digital picture.
    correlated with the first digital picture based on at least a 50 In some embodiments, the system further comprises: an
    partial match between the new digital picture and the first input device configured to receive a user's operating direc
    digital picture includes anticipating the one or more instruc- tions , the user's operating directions for instructing the
    tion sets for operating the device correlated with the first processor circuit on how to operate the device .
    digital picture based on at least a partial match between an            In certain embodiments, the autonomous device operating
    extra information correlated with the new digital picture and 55 includes a partially or a fully autonomous device operating.
    an extra information correlated with the first digital picture . The partially autonomous device operating may include
    The anticipating the one or more instruction sets for oper- executing the one or more instruction sets for operating the
    ating the device correlated with the first digital picture based device correlated with the first digital picture responsive to
    on at least a partial match between an extra information a user confirmation . The fully autonomous device operating
    correlated with the new digital picture and an extra infor- 60 may include executing the one or more instruction sets for
    mation correlated with the first digital picture may include operating the device correlated with the first digital picture
    comparing an extra information correlated with the new without a user confirmation .
    digital picture and an extra information correlated with the            In some embodiments , the artificial intelligence unit is
    first digital picture. The anticipating the one or more instruc- further configured to : receive a second digital picture from
    tion sets for operating the device correlated with the first 65 the picture capturing apparatus ; receive additional one or
    digital picture based on at least a partial match between an more instruction sets for operating the device from the
    extra information correlated with the new digital picture and processor circuit ; and learn the second digital picture cor
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 592 of 2562 PageID #: 13463


                                                        US 11,055,583 B1
                                 15                                                                 16
    related with the additional one or more instruction sets for      graph . The first node and the second node may be connected
    operating the device . In further embodiments, the second         by a connection . In further embodiments , the first digital
    digital picture includes a second stream of digital pictures.     picture correlated with the one or more instruction sets for
    In further embodiments, the learning the first digital picture operating the device is stored into a first node of a sequence
    correlated with the one or more instruction sets for operating 5 and the second digital picture correlated with the additional
    the device and the learning the second digital picture cor        one or more instruction sets for operating the device is stored
    related with the additional one or more instruction sets for      into a second node of the sequence.
    operating the device include creating a connection between           In some aspects , the disclosure relates to a non - transitory
    the first digital picture correlated with the one or more computer storage medium having a computer program
    instruction sets for operating the device and the second 10 stored thereon , the program including instructions that when
    digital picture correlated with the additional one or more executed by one or more processor circuits cause the one or
    instruction sets for operating the device . The connection
    may include or is associated with at least one of: an more               processor circuits to perform operations comprising:
                                                                      receiving   a first digital picture from a picture capturing
    occurrence count, a weight, a parameter, or a data . In further
    embodiments, the learning the first digital picture correlated 15 apparatus . The operations may further include receiving one
    with the one or more instruction sets for operating the device or more instruction sets for operating a device . The opera
    and the learning the second digital picture correlated with tions may further include learning the first digital picture
    the additional one or more instruction sets for operating the correlated with the one or more instruction sets for operating
    device include updating a connection between the first the device. The operations may further include receiving a
    digital picture correlated with the one or more instruction 20 new digital picture from the picture capturing apparatus. The
    sets for operating the device and the second digital picture operations may further include anticipating the one or more
    correlated with the additional one or more instruction sets instruction sets for operating the device correlated with the
    for operating the device . The updating the connection first digital picture based on at least a partial match between
    between the first digital picture correlated with the one or the new digital picture and the first digital picture . The
    more instruction sets for operating the device and the second 25 operations may further include causing an execution of the
    digital picture correlated with the additional one or more one or more instruction sets for operating the device corre
    instruction sets for operating the device may include updat- lated with the first digital picture, the causing performed in
    ing at least one of: an occurrence count, a weight, a response to the anticipating the one or more instruction sets
    parameter, or a data included in or associated with the for operating the device correlated with the first digital
    connection . In further embodiments, the learning the first 30 picture based on at least a partial match between the new
    digital picture correlated with the one or more instruction digital picture and the first digital picture, wherein the device
    sets for operating the device includes storing the first digital performs one or more operations defined by the one or more
    picture correlated with the one or more instruction sets for instruction sets for operating the device correlated with the
    operating the device into a first node of a data structure , and first digital picture, the one or more operations performed in
    wherein the learning the second digital picture correlated 35 response to the executing.
    with the additional one or more instruction sets for operating      In some aspects , the disclosure relates to a method com
    the device includes storing the second digital picture corre- prising: ( a ) receiving a first digital picture from a picture
    lated with the additional one or more instruction sets for        capturing apparatus by one or more processor circuits . The
    operating the device into a second node of the data structure .   method may further include ( b ) receiving one or more
    The data structure may include a neural network, a graph , a 40 instruction sets for operating a device by the one or more
    collection of sequences, a sequence , a collection of knowl- processor circuits . The method may further include (c )
    edge cells , a knowledgebase, or a knowledge structure . The learning the first digital picture correlated with the one or
    learning the first digital picture correlated with the one or more instruction sets for operating the device, the learning
    more instruction sets for operating the device and the of (c ) performed by the one or more processor circuits . The
    learning the second digital picture correlated with the addi- 45 method may further include (d) receiving a new digital
    tional one or more instruction sets for operating the device picture from the picture capturing apparatus by the one or
    may include creating a connection between the first node more processor circuits. The method may further include (e )
    and the second node . The learning the first digital picture anticipating the one or more instruction sets for operating
    correlated with the one or more instruction sets for operating the device correlated with the first digital picture based on at
    the device and the learning the second digital picture cor- 50 least a partial match between the new digital picture and the
    related with the additional one or more instruction sets for      first digital picture, the anticipating of ( e) performed by the
    operating the device may include updating a connection one or more processor circuits. The method may further
    between the first node and the second node . In further include ( f) executing the one or more instruction sets for
    embodiments, the first digital picture correlated with the one operating the device correlated with the first digital picture,
    or more instruction sets for operating the device is stored 55 the executing of (f) performed in response to the anticipating
    into a first node of a neural network and the second digital of ( e ) . The method may further include (g ) performing, by
    picture correlated with the additional one or more instruction the device, one or more operations defined by the one or
    sets for operating the device is stored into a second node of more instruction sets for operating the device correlated with
    the neural network . The first node and the second node may     the first digital picture , the one or more operations per
    be connected by a connection . The first node may be part of 60 formed in response to the executing of (f ).
    a first layer of the neural network and the second node may        The operations or steps of the non - transitory computer
    be part of a second layer of the neural network . In further storage medium and / or the method may be performed by
    embodiments, the first digital picture correlated with the one any of the elements of the above described systems as
    or more instruction sets for operating the device is stored applicable . The non - transitory computer storage medium
    into a first node of a graph and the second digital picture 65 and / or the method may include any of the operations, steps ,
    correlated with the additional one or more instruction sets       and embodiments of the above described systems as appli
    for operating the device is stored into a second node of the      cable as well as the following embodiments.
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 593 of 2562 PageID #: 13464


                                                       US 11,055,583 B1
                                 17                                                                 18
      In certain embodiments , the device includes one or more         one or more instruction sets include a source code, a
    devices. In further embodiments, the device includes a             bytecode, an intermediate code, a compiled code , an inter
    smartphone, a fixture, a control device, a computing enabled       preted code , a translated code , a runtime code , an assembly
    device , or a computer. In further embodiments, the picture code , a structured query language ( SQL ) code, or a machine
    capturing apparatus includes one or more picture capturing 5 code . In further embodiments, the one or more instruction
    apparatuses . In further embodiments, the picture capturing sets include one or more code segments, lines of code ,
    apparatus includes a motion picture camera or a still picture statements , instructions, functions, routines, subroutines, or
    camera . In further embodiments, the picture capturing appa- basic blocks . In further embodiments , the one or more
    ratus resides on a remote device , the remote device coupled instruction sets for operating the device include one or more
    to the one or more processor circuits via a network .        10 inputs into a logic circuit . In further embodiments, the one
       In some embodiments, the one or more instruction sets for or more instruction sets for operating the device include one
    operating the device include one or more instruction sets that or more outputs from a logic circuit. In further embodi
    temporally correspond to the first digital picture . The one or ments, the one or more instruction sets for operating the
    more instruction sets that temporally correspond to the first device include one or more instruction sets for operating an
    digital picture may include one or more instruction sets 15 application or an object of the application .
    executed at a time of the capturing the first digital picture.    In some embodiments , the receiving the one or more
    The one or more instruction sets that temporally correspond instruction sets for operating the device includes obtaining
    to the first digital picture may include one or more instruc- the one or more instruction sets . In further embodiments , the
    tion sets executed prior to the capturing the first digital receiving the one or more instruction sets for operating the
    picture . The one or more instruction sets that temporally 20 device includes receiving the one or more instruction sets as
    correspond to the first digital picture may include one or they are executed . In further embodiments, the receiving the
    more instruction sets executed within a threshold period of one or more instruction sets for operating the device
    time prior to the capturing the first digital picture . The one includes receiving the one or more instruction sets for
    or more instruction sets that temporally correspond to the operating the device from a register or an element of a
    first digital picture may include one or more instruction sets 25 processor circuit . In further embodiments, the receiving the
    executed subsequent to the capturing the first digital picture . one or more instruction sets for operating the device
    The one or more instruction sets that temporally correspond includes receiving the one or more instruction sets for
    to the first digital picture may include one or more instruc- operating the device from an element that is part of, oper
    tion sets executed within a threshold period of time subse- ating on, or coupled to a processor circuit. In further
    quent to the capturing the first digital picture. The one or 30 embodiments, the receiving the one or more instruction sets
    more instruction sets that temporally correspond to the first for operating the device includes receiving the one or more
    digital picture may include one or more instruction sets instruction sets for operating the device from at least one of:
    executed within a threshold period of time prior to the a memory                      the device, a virtual machine , a runtime
    capturing the first digital picture or a threshold period of engine, a hard drive , a storage device, a peripheral device, a
    time subsequent to the capturing the first digital picture. The 35 network connected device, or a user. In further embodi
    one or more instruction sets that temporally correspond to ments, the receiving the one or more instruction sets for
    the first digital picture may include one or more instruction operating the device includes receiving the one or more
    sets executed from a start of capturing a preceding digital instruction sets from a plurality of processor circuits, appli
    picture to a start of capturing the first digital picture. The one cations, memory units , devices, virtual machines, runtime
    or more instruction sets that temporally correspond to the 40 engines, hard drives, storage devices, peripheral devices,
    first digital picture may include one or more instruction sets network connected devices, or users .
    executed from a start of capturing the first digital picture to       In certain embodiments, the receiving the one or more
    a start of capturing a subsequent digital picture. The one or instruction sets for operating the device includes receiving
    more instruction sets that temporally correspond to the first the one or more instruction sets for operating the device
    digital picture may include one or more instruction sets 45 from a logic circuit . The logic circuit may include a micro
    executed from a completion of capturing a preceding digital controller. The receiving the one or more instruction sets for
    picture to a completion of capturing the first digital picture. operating the device from the logic circuit may include
    The one or more instruction sets that temporally correspond receiving the one or more instruction sets for operating the
    to the first digital picture may include one or more instruc- device from an element of the logic circuit . The receiving the
    tion sets executed from a completion of capturing the first 50 one or more instruction sets for operating the device from
    digital picture to a completion of capturing a subsequent the logic circuit may include receiving one or more inputs
    digital picture .                                                  into the logic circuit . The receiving the one or more instruc
       In certain embodiments, the one or more instruction sets tion sets for operating the device from the logic circuit may
    for operating the device are executed by a processor circuit . include receiving one or more outputs from the logic circuit .
    In further embodiments , the one or more instruction sets for 55 In some embodiments, the receiving the one or more
    operating the device are part of an application for operating instruction sets for operating the device includes receiving
    the device. In further embodiments, the one or more instruc- the one or more instruction sets for operating the device
    tion sets for operating the device include one or more inputs from an application for operating the device . In further
    into or one or more outputs from a processor circuit . In embodiments, the receiving the one or more instruction sets
    further embodiments, the one or more instruction sets for 60 for operating the device includes receiving the one or more
    operating the device include values or states of one or more instruction sets for operating the device from an application ,
    registers or elements of a processor circuit. In further the application including instruction sets for operating the
    embodiments, an instruction set includes at least one of: a device. In further embodiments, the receiving the one or
    command , a keyword, a symbol, an instruction , an operator, more instruction sets for operating the device includes
    a variable, a value , an object, a data structure , a function, a 65 receiving the one or more instruction sets at a source code
    parameter, a state, a signal, an input, an output, a character, write time , a compile time , an interpretation time , a trans
    a digit , or a reference thereto . In further embodiments, the lation time , a linking time , a loading time , or a runtime. In
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 594 of 2562 PageID #: 13465


                                                        US 11,055,583 B1
                                 19                                                                  20
    further embodiments, the receiving the one or more instruc- sets for operating the device is included in a neuron , a node ,
    tion sets for operating the device includes at least one of:     a vertex, or an element of a data structure . The data structure
    tracing, profiling, or instrumentation of a source code, a may include a neural network , a graph , a collection of
    bytecode , an intermediate code, a compiled code , an inter- sequences, a sequence , a collection of knowledge cells , a
    preted code , a translated code , a runtime code , an assembly 5 knowledgebase, or a knowledge structure . Some of the
    code , a structured query language ( SQL ) code , or a machine neurons, nodes , vertices, or elements maybe interconnected .
    code . In further embodiments, the receiving the one or more       In further embodiments, the first digital picture correlated
    instruction sets for operating the device includes at least one    with the one or more instruction sets for operating the device
    of: tracing, profiling, or instrumentation of an element that is structured into a knowledge cell . In further embodiments ,
    is part of,operating on, or coupled to a processor circuit . In 10 the knowledge cell includes a unit of knowledge of how the
    further embodiments, the receiving the one or more instruc- device operated in a visual surrounding. In further embodi
    tion sets for operating the device includes at least one of: ments, the knowledge cell is included in a neuron , a node ,
    tracing, profiling, or instrumentation of a register of a          a vertex , or an element of a data structure . The data structure
    processor circuit , a memory unit, a storage , or a repository may include a neural network, a graph , a collection of
    where the one or more instruction sets for operating the 15 sequences, a sequence , a collection of knowledge cells , a
    device are stored . In further embodiments, the receiving the knowledgebase, or a knowledge structure . Some of the
    one or more instruction sets for operating the device neurons , nodes, vertices , or elements may be interconnected .
    includes at least one of: tracing, profiling, or instrumentation   In certain embodiments, the learning the first digital
    of a processor circuit , the device , a virtual machine , a picture correlated with the one or more instruction sets for
    runtime engine, an operating system, an execution stack , a 20 operating the device includes correlating the first digital
    program counter, or a processing element. In further picture with the one or more instruction sets for operating
    embodiments, the receiving the one or more instruction sets the device . The correlating the first digital picture with the
    for operating the device includes at least one of: tracing, one or more instruction sets for operating the device may
    profiling, or instrumentation of a processor circuit or tracing, include generating a knowledge cell , the knowledge cell
    profiling, or instrumentation of a component of the proces- 25 comprising the first digital picture correlated with the one or
    sor circuit . In further embodiments, the receiving the one or more instruction sets for operating the device . The correlat
    more instruction sets for operating the device includes at ing the first digital picture with the one or more instruction
    least one of: tracing, profiling, or instrumentation of an sets for operating the device may include structuring a unit
    application or an object of the application. In further of knowledge of how the device operated in a visual
    embodiments, the receiving the one or more instruction sets 30 surrounding. In further embodiments, the learning the first
    for operating the device includes at least one of: tracing, digital picture correlated with the one or more instruction
    profiling, or instrumentation at a source code write time , a sets for operating the device includes learning a user's
    compile time , an interpretation time , a translation time , a knowledge, style, or methodology of operating the device in
    linking time , a loading time , or a runtime . In further embodi- a visual surrounding. In further embodiments, the learning
    ments, the receiving the one or more instruction sets for 35 the first digital picture correlated with the one or more
    operating the device includes at least one of: tracing, pro- instruction sets for operating the device includes spontane
    filing, or instrumentation of one or more of code segments, ous learning the first digital picture correlated with the one
    lines of code , statements, instructions, functions , routines, or more instruction sets for operating the device .
    subroutines, or basic blocks . In further embodiments, the             In some embodiments, the learning the first digital picture
    receiving the one or more instruction sets for operating the 40 correlated with the one or more instruction sets for operating
    device includes at least one of: tracing, profiling, or instru- the device includes storing , into a memory unit , the first
    mentation of a user input. In further embodiments , the digital picture correlated with the one or more instruction
    receiving the one or more instruction sets for operating the sets for operating the device , the first digital picture corre
    device includes at least one of: a manual , an automatic, a lated with the one or more instruction sets for operating the
    dynamic, or a just in time ( JIT ) tracing, profiling, or instru- 45 device being part of a stored plurality of digital pictures
    mentation . In further embodiments, the receiving the one or correlated with one or more instruction sets for operating the
    more instruction sets for operating the device includes device . In further embodiments, the memory unit includes
    utilizing at least one of: a .NET tool , a .NET application one or more memory units. In further embodiments, the
    programming interface (API ) , a Java tool , a Java API , a memory unit resides on a remote computing device, the
    logging tool , or an independent tool for obtaining instruction 50 remote computing device coupled to the one or more pro
    sets . In further embodiments , the receiving the one or more cessor circuits via a network . The remote computing device
    instruction sets for operating the device includes utilizing an may include a server . In further embodiments, the plurality
    assembly language. In further embodiments, the receiving of digital pictures correlated with one or more instruction
    the one or more instruction sets for operating the device sets for operating the device include a neural network , a
    includes utilizing a branch or a jump. In further embodi- 55 graph, a collection of sequences, a sequence, a collection of
    ments, the receiving the one or more instruction sets for          knowledge cells , a knowledgebase, a knowledge structure,
    operating the device includes a branch tracing or a simula-        or a data structure. In further embodiments, the plurality of
    tion tracing. In further embodiments, the receiving the one digital pictures correlated with one or more instruction sets
    or more instruction sets for operating the device includes for operating the device are organized into a neural network ,
    receiving the one or more instruction sets for operating the 60 a graph, a collection of sequences, a sequence , a collection
    device by an interface . The interface may include an acqui- of knowledge cells , a knowledgebase, a knowledge struc
    sition interface.                                               ture, or a data structure . In further embodiments, each of the
       In certain embodiments, the first digital picture correlated plurality of digital pictures correlated with one or more
    with the one or more instruction sets for operating the device instruction sets for operating the device is included in a
    includes a unit of knowledge of how the device operated in 65 neuron , a node, a vertex , or an element of a data structure .
    a visual surrounding. In further embodiments, the first The data structure may include a neural network, a graph, a
    digital picture correlated with the one or more instruction collection of sequences, a sequence, a collection of knowl
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 595 of 2562 PageID #: 13466


                                                        US 11,055,583 B1
                                  21                                                                   22
    edge cells , a knowledgebase, or a knowledge structure.              picture includes determining that there is at least a partial
    Some of the neurons, nodes, vertices, or elements may be match between one or more portions of the new digital
    interconnected . In further embodiments, the plurality of picture and one or more portions of the first digital picture.
    digital pictures correlated with one or more instruction sets 5 In further embodiments, the determining that there is at least
    for operating the device include a user's knowledge, style, or a partial match between the new digital picture and the first
    methodology of operating the device in visual surroundings. digital picture includes determining that a similarity between
    In further embodiments , the plurality of digital pictures at least one portion of the new digital picture and at least one
    correlated with one or more instruction sets for operating the portion of the first digital picture exceeds a similarity
    device are stored on a remote computing device . In further threshold . In further embodiments, the determining that
    embodiments, the plurality of digital pictures correlated with 10 there is at least a partial match between the new digital
    one or more instruction sets for operating the device include picture and the first digital picture includes determining a
    an artificial intelligence system for knowledge structuring, substantial similarity between at least one portion of the new
    storing, or representation . The artificial intelligence system digital picture and at least one portion of the first digital
    for knowledge structuring, storing , or representation may picture. The at least one portion of the new digital picture
    include at least one of: a deep learning system , a supervised 15 may include at least one region , at least one feature, or at
    learning system , an unsupervised learning system , a neural least one pixel of the new digital picture . The at least one
    network , a search - based system , an optimization- based sys- portion of the first digital picture may include at least one
    tem , a logic - based system , a fuzzy logic -based system , a region , at least one feature , or at least one pixel of the first
    tree - based system , a graph -based system , a hierarchical digital picture. The substantial similarity may be achieved
    system , a symbolic system , a sub - symbolic system , an 20 when a similarity between the at least one portion of the new
    evolutionary system , a genetic system , a multi -agent system , digital picture and the at least one portion of the first digital
    a deterministic system , a probabilistic system , or a statistical picture exceeds a similarity threshold . The substantial simi
    system .                                                           larity may be achieved when a number or a percentage of
       In some embodiments, the anticipating the one or more matching or partially matching regions from the new digital
    instruction sets for operating the device correlated with the 25 picture and from the first digital picture exceeds a threshold
    first digital picture based on at least a partial match between number or threshold percentage. The substantial similarity
    the new digital picture and the first digital picture includes may be achieved when a number or a percentage of match
    comparing at least one portion of the new digital picture with ing or partially matching features from the new digital
    at least one portion of the first digital picture . The at least picture and from the first digital picture exceeds a threshold
    one portion of the new digital picture may include at least 30 number or threshold percentage. The substantial similarity
    one region , at least one feature , or at least one pixel of the may be achieved when a number or a percentage of match
    new digital picture. The at least one portion of the first ing or partially matching pixels from the new digital picture
    digital picture may include at least one region, at least one and from the first digital picture exceeds a threshold number
    feature, or at least one pixel of the first digital picture. The or threshold percentage. The substantial similarity may be
    comparing the at least one portion of the new digital picture 35 achieved when one or more same or similar objects are
    with the at least one portion of the first digital picture may recognized in the new digital picture and the first digital
    include comparing at least one region of the new digital picture. In further embodiments, the determining that there
    picture with at least one region of the first digital picture. is at least a partial match between the new digital picture and
    The comparing the at least one portion of the new digital the first digital picture includes determining that a number or
    picture with the at least one portion of the first digital picture 40 a percentage of matching regions from the new digital
    may include comparing at least one feature of the new digital picture and from the first digital picture exceeds a threshold
    picture with at least one feature of the first digital picture. number or threshold percentage. The matching regions from
    The comparing the at least one portion of the new digital the new digital picture and from the first digital picture may
    picture with the at least one portion of the first digital picture be determined factoring in at least one of: a location of a
    may include comparing at least one pixel of the new digital 45 region , an importance of a region , a threshold for a similarity
    picture with at least one pixel of the first digital picture . The in a region, or a threshold for a difference in a region. In
    comparing the at least one portion of the new digital picture further embodiments, the determining that there is at least a
    with the at least one portion of the first digital picture may partial match between the new digital picture and the first
    include at least one of: performing a color adjustment, digital picture includes determining that a number or a
    performing a size adjustment, performing a content manipu- 50 percentage of matching features from the new digital picture
    lation, utilizing a transparency , or utilizing a mask on the and from the first digital picture exceeds a threshold number
    new or the first digital picture . The comparing the at least or threshold percentage . The matching features from the new
    one portion of the new digital picture with the at least one digital picture and from the first digital picture may be
    portion of the first digital picture may include recognizing at determined factoring in at least one of: a type of a feature,
    least one person or object in the new digital picture and at 55 an importance of a feature, a location of a feature, a
    least one person or object in the first digital picture, and threshold for a similarity in a feature, or a threshold for a
    comparing the at least one person or object from the new difference in a feature . In further embodiments, the deter
    digital picture with the at least one person or object from the mining that there is at least a partial match between the new
    first digital picture .                                               digital picture and the first digital picture includes determin
       In certain embodiments, the anticipating the one or more 60 ing that a number or a percentage of matching pixels from
    instruction sets for operating the device correlated with the the new digital picture and from the first digital picture
    first digital picture based on at least a partial match between exceeds a threshold number or threshold percentage. The
    the new digital picture and the first digital picture includes matching pixels from the new digital picture and from the
    determining that there is at least a partial match between the first digital picture may be determined factoring in at least
    new digital picture and the first digital picture. In further 65 one of: a location of a pixel , a threshold for a similarity in
    embodiments, the determining that there is at least a partial a pixel , or a threshold for a difference in a pixel . In further
    match between the new digital picture and the first digital          embodiments , the determining that there is at least a partial
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 596 of 2562 PageID #: 13467


                                                         US 11,055,583 B1
                                  23                                                                  24
    match between the new digital picture and the first digital logic circuit with the one or more instruction sets for
    picture includes recognizing a same person or object in the operating the device correlated with the first digital picture.
    new and the first digital pictures.                                The executing, by the logic circuit, the one or more instruc
       In some embodiments, the executing the one or more tion sets for operating the device correlated with the first
    instruction sets for operating the device correlated with the 5 digital picture may include replacing outputs from the logic
    first digital picture includes executing the one or more circuit with the one or more instruction sets for operating the
    instruction sets for operating the device correlated with the device correlated with the first digital picture.
    first digital picture instead of or prior to an instruction set       In some embodiments, the executing the one or more
    that would have been executed next. In further embodi- instruction sets for operating the device correlated with the
    ments, the executing the one or more instruction sets for 10 first digital picture includes executing, by an application for
    operating the device correlated with the first digital picture operating the device , the one or more instruction sets for
    includes modifying one or more instruction sets . In further operating the device correlated with the first digital picture.
    embodiments, the executing the one or more instruction sets In further embodiments, the executing the one or more
    for operating the device correlated with the first digital instruction sets for operating the device correlated with the
    picture includes modifying a register or an element of a 15 first digital picture includes modifying an application, the
    processor circuit . In further embodiments, the executing the application including instruction sets for operating the
    one or more instruction sets for operating the device corre- device . In further embodiments, the executing the one or
    lated with the first digital picture includes inserting the one more instruction sets for operating the device correlated with
    or more instruction sets for operating the device correlated the first digital picture includes redirecting an application to
    with the first digital picture into a register or an element of 20 the one or more instruction sets for operating the device
    a processor circuit . In further embodiments, the executing correlated with the first digital picture. In further embodi
    the one or more instruction sets for operating the device ments, the executing the one or more instruction sets for
    correlated with the first digital picture includes redirecting a operating the device correlated with the first digital picture
    processor circuit to the one or more instruction sets for includes redirecting an application to one or more alternate
    operating the device correlated with the first digital picture. 25 instruction sets , the alternate instruction sets comprising the
    In further embodiments , the executing the one or more one or more instruction sets for operating the device corre
    instruction sets for operating the device correlated with the lated with the first digital picture. In further embodiments,
    first digital picture includes redirecting a processor circuit to the executing the one or more instruction sets for operating
    one or more alternate instruction sets , the alternate instruc- the device correlated with the first digital picture includes
    tion sets comprising the one or more instruction sets for 30 modifying one or more instruction sets of an application . In
    operating the device correlated with the first digital picture. further embodiments, the executing the one or more instruc
    In further embodiments, the executing the one or more tion sets for operating the device correlated with the first
    instruction sets for operating the device correlated with the digital picture includes modifying a source de , a bytecode ,
    first digital picture includes transmitting, to a processor an intermediate code , a compiled code , an interpreted code,
    circuit for execution , the one or more instruction sets for 35 a translated code , a runtime code, an assembly code , or a
    operating the device correlated with the first digital picture. machine code . In further embodiments, the executing the
    In further embodiments, the executing the one or more               one or more instruction sets for operating the device corre
    instruction sets for operating the device correlated with the       lated with the first digital picture includes modifying at least
    first digital picture includes issuing an interrupt to a proces-    one of: a memory unit , a register of a processor circuit, a
    sor circuit and executing the one or more instruction sets for 40 storage , or a repository where instruction sets are stored or
    operating the device correlated with the first digital picture used . In further embodiments, the executing the one or more
    following the interrupt. In further embodiments, the execut- instruction sets for operating the device correlated with the
    ing the one or more instruction sets for operating the device first digital picture includes modifying one or more instruc
    correlated with the first digital picture includes modifying an tion sets for operating an application or an object of the
    element that is part of, operating on , or coupled to a 45 application . In further embodiments, the executing the one
    processor circuit.                                                or more instruction sets for operating the device correlated
       In certain embodiments, the executing the one or more with the first digital picture includes modifying at least one
    instruction sets for operating the device correlated with the of: an element of a processor circuit , an element of the
    first digital picture includes executing, by a logic circuit, the device, a virtual machine , a runtime engine, an operating
    one or more instruction sets for operating the device corre- 50 system , an execution stack , a program counter, or a user
    lated with the first digital picture. The logic circuit may input. In further embodiments, the executing the one or more
    include a microcontroller. The executing , by the logic cir- instruction sets for operating the device correlated with the
    cuit , the one or more instruction sets for operating the device first digital picture includes modifying one or more instruc
    correlated with the first digital picture may include modi- tion sets at a source code write time , a compile time , an
    fying an element of the logic circuit. The executing, by the 55 interpretation time , a translation time , a linking time , a
    logic circuit , the one or more instruction sets for operating loading time , or a runtime. In further embodiments, the
    the device correlated with the first digital picture may executing the one or more instruction sets for operating the
    include inserting the one or more instruction sets for oper-        device correlated with the first digital picture includes
    ating the device correlated with the first digital picture into modifying one or more code segments, lines of code ,
    an element of the logic circuit . The executing , by the logic 60 statements , instructions, functions, routines , subroutines, or
    circuit , the one or more instruction sets for operating the basic blocks . In further embodiments, the executing the one
    device correlated with the first digital picture may include or more instruction sets for operating the device correlated
    redirecting the logic circuit to the one or more instruction with the first digital picture includes a manual, an automatic,
    sets for operating the device correlated with the first digital a dynamic , or a just in time ( JIT) instrumentation of an
    picture. The executing, by the logic circuit, the one or more 65 application . In further embodiments, the executing the one
    instruction sets for operating the device correlated with the       or more instruction sets for operating the device correlated
    first digital picture may include replacing inputs into the         with the first digital picture includes utilizing one or more of
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 597 of 2562 PageID #: 13468


                                                        US 11,055,583 B1
                                  25                                                                   26
    a .NET tool , a .NET application programming interface               In certain embodiments, the operations of the non-tran
    (API ) , a Java tool , a Java API , an operating system tool , or sitory computer storage medium and /or the method further
    an independent tool for modifying instruction sets . In further comprise : receiving at least one extra information. In further
    embodiments, the executing the one or more instruction sets 5 embodiments , the at least one extra information include one
    for operating the device correlated with the first digital or more of: a time information , a location information , a
    picture includes utilizing at least one of: a dynamic, an computed              information , an observed information, a sensory
    interpreted , or a scripting programming language. In further information, or a contextual information . In further embodi
    embodiments, the executing the one or more instruction sets ments         , the at least one extra information include one or more
    for operating the device correlated with the first digital object information
                                                                      of:  an                 on a digital picture , an information on an
    picture includes utilizing at least one of: a dynamic code , a 10 visual    in the digital picture, an information on the device's
                                                                                surrounding, an information on an instruction set, an
    dynamic class loading , or a reflection . In further embodi
    ments , the executing the one or more instruction sets for information            on an application, an information on an object
    operating the device correlated with the first digital picture information on the, andevice
                                                                      of  the  application       information on a processor circuit , an
                                                                                                      , or an information on an user . In
    includes utilizing an assembly language. In further embodi- 15 further embodiments, the operations of the non -transitory
    ments, the executing the one or more instruction sets for            computer storage medium and /or the method further com
    operating the device correlated with the first digital picture      prise: learning the first digital picture correlated with the at
    includes utilizing at least one of: metaprogramming, a              least one extra information . The learning the first digital
    self -modifying code , or an instruction set modification tool . picture correlated with at least one extra information may
    Ininstruction
          further embodiments   , the executing the one or more 20 include correlating the first digital picture with the at least
                  sets for operating the device correlated with the one extra information . The learning the first digital picture
    first digital picture includes utilizing at least one of: just in correlated with at least one extra information may include
    time ( JIT ) compiling, JIT interpretation, JIT translation , storing the first digital picture correlated with the at least one
    dynamic recompiling, or binary rewriting. In further extra information into a memory unit . In further embodi
    embodiments, the executing the one or more instruction sets 25 ments, the anticipating the one or more instruction sets for
    for operating the device correlated with the first digital operating the device correlated with the first digital picture
    picture includes utilizing at least one of: a dynamic expres- based on at least partial match between the new digital
    sion creation, a dynamic expression execution , a dynamic picture and the first digital picture includes anticipating the
    function creation , or a dynamic function execution . In one or more instruction sets for operating the device corre
    further embodiments, the executing the one or more instruc- 30 lated with the first digital picture based on at least a partial
    tion sets for operating the device correlated with the first match between an extra information correlated with the new
    digital picture includes adding or inserting additional code digital picture and an extra information correlated with the
    into a code of an application. In further embodi ents, the first digital picture. The anticipating the one or more instruc
    executing the one or more instruction sets for operating the tion sets for operating the device correlated with the first
    device correlated with the first digital picture includes at 35 digital picture based on at least a partial match between an
    least one of: modifying, removing, rewriting, or overwriting extra information correlated with the new digital picture and
    a code of an application . In further embodiments, the an extra information correlated with the first digital picture
    executing the one or more instruction sets for operating the may include comparing an extra information correlated with
    device correlated with the first digital picture includes at the new digital picture and an extra information correlated
    least one of: branching, redirecting, extending, or hot swap- 40 with the first digital picture. The anticipating the one or more
    ping a code of an application . The branching or redirecting instruction sets for operating the device correlated with the
    the code may include inserting at least one of: a branch , a first digital picture based on at least a partial match between
    jump, or a means for redirecting an execution . In further an extra information correlated with the new digital picture
    embodiments, the executing the one or more instruction sets and an extra information correlated with the first digital
    for operating the device correlated with the first digital 45 picture may include determining that a similarity between an
    picture includes implementing a user's knowledge, style, or extra information correlated with the new digital picture and
    methodology of operating the device in a visual surround- an extra information correlated with the first digital picture
    ing . In further embodiments, the executing the one or more exceeds a similarity threshold .
    instruction sets for operating the device correlated with the          In some embodiments, the operations of the non -transi
    first digital picture includes executing the one or more 50 tory computer storage medium and / or the method further
    instruction sets for operating the device correlated with the comprise: presenting, via a user interface , a user with an
    first digital picture via an interface . The interface may option to execute the one or more instruction sets for
    include a modification interface .                                  operating the device correlated with the first digital picture.
         In certain embodiments, the one or more operations                In certain embodiments, the operations of the non -tran
    defined by the one or more instruction sets for operating the 55 sitory computer storage medium and / or the method further
    device correlated with the first digital picture include at least comprise: receiving, via a user interface, a user's selection
    one of: an operation with or by a smartphone, an operation to execute the one or more instruction sets for operating the
    with or by a fixture, an operation with or by a control device , device correlated with the first digital picture.
    or an operation with or by a computer or computing enabled             In some embodiments, the operations of the non - transi
    device. In further embodiments, the performing the one or 60 tory computer storage medium and / or the method further
    more operations defined by the one or more instruction sets comprise: rating the executed one or more instruction sets
    for operating the device correlated with the first digital for operating the device correlated with the first digital
    picture includes implementing a user's knowledge, style , or picture. The rating the executed one or more instruction sets
    methodology of operating the device in a visual surround- for operating the device correlated with the first digital
    ing.                                                             65 picture may include displaying , on a display, the executed
         In some embodiments , the instruction sets for operating one or more instruction sets for operating the device corre
    the device are part of an application for operating the device . lated with the first digital picture along with one or more
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 598 of 2562 PageID #: 13469


                                                        US 11,055,583 B1
                                 27                                                                   28
    rating values as options to be selected by a user. The rating storing the first digital picture correlated with the one or
    the executed one or more instruction sets for operating the more instruction sets for operating the device into a first
    device correlated with the first digital picture may include node of a data structure , and wherein the learning the second
    rating the executed one or more instruction sets for operating digital picture correlated with the additional one or more
    the device correlated with the first digital picture without a 5 instruction sets for operating the device may include storing
    user input. The rating the executed one or more instruction the second digital picture correlated with the additional one
    sets for operating the device correlated with the first digital or more instruction sets for operating the device into a
    picture may include associating one or more rating values second node of the data structure . The data structure may
    with the executed one or more instruction sets for operating include a neural network , a graph, a collection of sequences,
    the device correlated with the first digital picture and storing 10 a sequence, a collection of knowledge cells , a knowledge
    the one or more rating values into a memory unit .                  base , or a knowledge structure . The learning the first digital
       In certain embodiments, the operations of the non -tran- picture correlated with the one or more instruction sets for
    sitory computer storage medium and/ or the method further operating the device and the learning the second digital
    comprise : presenting, via a user interface, a user with an picture correlated with the additional one or more instruction
    option to cancel the execution of the executed one or more 15 sets for operating the device may include creating a con
    instruction sets for operating the device correlated with the       nection between the first node and the second node. The
    first digital picture . In further embodiments, the canceling learning the first digital picture correlated with the one or
    the execution of the executed one or more instruction sets for more instruction sets for operating the device and the
    operating the device correlated with the first digital picture learning the second digital picture correlated with the addi
    includes restoring a processor circuit or the device to a prior 20 tional one or more instruction sets for operating the device
    state . The restoring the processor circuit or the device to a may include updating a connection between the first node
    prior state may include saving the state of the processor and the second node. In further embodiments, the first digital
    circuit or the device prior to executing the one or more picture correlated with the one or more instruction sets for
    instruction sets for operating the device correlated with the operating the device is stored into a first node of a neural
    first digital picture.                                          25 network and the second digital picture correlated with the
       In some embodiments, the operations of the non - transi- additional one or more instruction sets for operating the
    tory computer storage medium and /or the method further device is stored into a second node of the neural network .
    comprise : receiving, via an input device , a user's operating The first node and the second node may be connected by a
    directions , the user's operating directions for instructing a connection . The first node may be part of a first layer of the
    processor circuit on how to operate the device.                 30 neural network and the second node may be part of a second
       In certain embodiments, the operations of the non -tran- layer of the neural network . In further embodiments, the first
    sitory computer storage medium and / or the method further digital picture correlated with the one or more instruction
    comprise : receiving a second digital picture from the picture sets for operating the device is stored into a first node of a
    capturing apparatus ; receiving additional one or more graph and the second digital picture correlated with the
    instruction sets for operating the device; and learning the 35 additional one or more instruction sets for operating the
    second digital picture correlated with the additional one or device is stored into a second node of the graph . The first
    more instruction sets for operating the device . In further node and the second node may be connected by a connec
    embodiments, the second digital picture includes a second tion . In further embodiments, the first digital picture corre
    stream of digital pictures. In further embodiments, the lated with the one or more instruction sets for operating the
    learning the first digital picture correlated with the one or 40 device is stored into a first node of a sequence and the second
    more instruction sets for operating the device and the digital picture correlated with the additional one or more
    learning the second digital picture correlated with the addi- instruction sets for operating the device is stored into a
    tional one or more instruction sets for operating the device second node of the sequence .
    include creating a connection between the first digital pic-       In some aspects , the disclosure relates to a system for
    ture correlated with the one or more instruction sets for 45 learning a visual surrounding for autonomous device oper
    operating the device and the second digital picture correlated ating . The system may be implemented at least in part on one
    with the additional one or more instruction sets for operating or more computing devices. In some embodiments, the
    the device . The connection may include or is associated with system comprises a processor circuit configured to execute
    at least one of: an occurrence count, a weight, a parameter, instruction sets for operating a device . The system may
    or a data . In further embodiments, the learning the first 50 further include a memory unit configured to store data . The
    digital picture correlated with the one or more instruction system may further include a picture capturing apparatus
    sets for operating the device and the learning the second configured to capture digital pictures. The system may
    digital picture correlated with the additional one or more further include an artificial intelligence unit. In some
    instruction sets for operating the device include updating a embodiments, the artificial intelligence unit may be config
    connection between the first digital picture correlated with 55 ured to : receive a first digital picture from the picture
    the one or more instruction sets for operating the device and capturing apparatus. The artificial intelligence unit may be
    the second digital picture correlated with the additional one further configured to : receive one or more instruction sets
    or more instruction sets for operating the device . The for operating the device from the processor circuit. The
    updating the connection between the first digital picture artificial intelligence unit may be further configured to : learn
    correlated with the one or more instruction sets for operating 60 the first digital picture correlated with the one or more
    the device and the second digital picture correlated with the instruction sets for operating the device .
    additional one or more instruction sets for operating the            In some aspects , the disclosure relates to a non -transitory
    device may include updating at least one of: an occurrence        computer storage medium having a computer program
    count, a weight, a parameter, or a data included in or stored thereon , the program including instructions that when
    associated with the connection . In further embodiments, the 65 executed by one or more processor circuits cause the one or
    learning the first digital picture correlated with the one or more processor circuits to perform operations comprising:
    more instruction sets for operating the device includes receiving a first digital picture from a picture capturing
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 599 of 2562 PageID #: 13470


                                                      US 11,055,583 B1
                                29                                                                 30
    apparatus. The operations may further include: receiving          digital picture . The operations may further include : causing
    one or more instruction sets for operating a device . The an execution of the one or more instruction sets for operating
    operations may further include : learning the first digital the device correlated with the first digital picture, the caus
    picture correlated with the one or more instruction sets for ing performed in response to the anticipating the one or more
    operating the device.                                         5 instruction sets for operating the device correlated with the
       In some aspects , the disclosure relates to a method com- first digital picture based on at least a partial match between
    prising: (a ) receiving a first digital picture from a picture the new digital picture and the first digital picture , wherein
    capturing apparatus by one or more processor circuits . The the device performs one or more operations defined by the
    method may further include : (b ) receiving one or more one or more instruction sets for operating the device corre
    instruction sets for operating a device by the one or more 10 lated with the first digital picture, the one or more operations
    processor circuits. The method may further include: (c ) performed in response to the executing .
    learning the first digital picture correlated with the one or      In some aspects , the disclosure relates to a method com
    more instruction sets for operating the device , the learning prising: ( a ) accessing a memory unit that stores a plurality of
    of (c ) performed by the one or more processor circuits .       digital pictures correlated with one or more instruction sets
       The operations or steps of the non - transitory computer 15 for operating a device , the plurality including a first digital
    storage medium and / or the method may be performed by picture correlated with one or more instruction sets for
    any of the elements of the above described systems as operating the device, the accessing of ( a) performed by the
    applicable. The non - transitory computer storage medium one or more processor circuits. The method may further
    and /or the method may include any of the operations, steps ,     include: (b ) receiving a new digital picture from a picture
    and embodiments of the above described systems as appli- 20 capturing apparatus by the one or more processor circuits .
    cable .                                                           The method may further include : ( c ) anticipating the one or
      In some aspects , the disclosure relates to a system for        more instruction sets for operating the device correlated with
    using a visual surrounding for autonomous device operating.       the first digital picture based on at least a partial match
    The system may be implemented at least in part on one or between the new digital picture and the first digital picture,
    more computing devices. In some embodiments, the system 25 the anticipating of ( c ) performed by the one or more pro
    comprises a processor circuit configured to execute instruc- cessor circuits . The method may further include: ( d ) execut
    tion sets for operating a device . The system may further ing the one or more instruction sets for operating the device
    include a memory unit configured to store data . The system correlated with the first digital picture, the executing of (d)
    may further include a picture capturing apparatus configured performed in response to the anticipating of (c ) . The method
    to capture digital pictures. The system may further include 30 may further include: (e ) performing, by the device, one or
    an artificial intelligence unit . In some embodiments, the more operations defined by the one or more instruction sets
    artificial intelligence unit may be configured to: access the for operating the device correlated with the first digital
    memory unit that stores a plurality of digital pictures cor- picture, the one or more operations performed in response to
    related with one or more instruction sets for operating the the executing of (d ) .
    device , the plurality including a first digital picture corre- 35 The operations or steps of the non - transitory computer
    lated with one or more instruction sets for operating the storage medium and / or the method may be performed by
    device . The artificial intelligence unit may be further con- any of the elements of the above described systems as
    figured to : receive a new digital picture from the picture applicable . The non - transitory computer storage medium
    capturing apparatus. The artificial intelligence unit may be and /or the method may include any of the operations, steps ,
    further configured to : anticipate the one or more instruction 40 and embodiments of the above described systems as appli
    sets for operating the device correlated with the first digital cable .
    picture based on at least a partial match between the new           In some aspects , the disclosure relates to a system for
    digital picture and the first digital picture . The artificial learning and using a visual surrounding for autonomous
    intelligence unit may be further configured to : cause the device operating. The system may be implemented at least
    processor circuit to execute the one or more instruction sets 45 in part on one or more computing devices . In some embodi
    for operating the device correlated with the first digital ments, the system comprises a processor circuit configured
    picture, the executing performed in response to the antici- to execute instruction sets for operating a device . The system
    pating of the artificial intelligence unit , wherein the device may further include a memory unit configured to store data .
    performs one or more operations defined by the one or more The system may further include a picture capturing appara
    instruction sets for operating the device correlated with the 50 tus configured to capture digital pictures. The system may
    first digital picture, the one or more operations performed in further include an artificial intelligence. In some embodi
    response to the executing by the processor circuit.              ments, the artificial intelligence unit may be configured to :
       In some aspects , the disclosure relates to a non - transitory receive a first stream of digital pictures from the picture
    computer storage medium having a computer program capturing apparatus . The artificial intelligence unit may be
    stored thereon , the program including instructions that when 55 further configured to : receive one or more instruction sets
    executed by one or more processor circuits cause the one or for operating the device from the processor circuit. The
    more processor circuits to perform operations comprising: artificial intelligence unit may be further configured to : learn
    accessing a memory unit that stores a plurality of digital the first stream of digital pictures correlated with the one or
    pictures correlated with one or more instruction sets for more instruction sets for operating the device. The artificial
    operating a device , the plurality including a first digital 60 intelligence unit may be further configured to : receive a new
    picture correlated with one or more instruction sets for stream of digital pictures from the picture capturing appa
    operating the device . The operations may further include: ratus . The artificial intelligence unit may be further config
    receiving a new digital picture from a picture capturing ured to : anticipate the one or more instruction sets for
    apparatus. The operations may further include : anticipating operating the device correlated with the first stream of
    the one or more instruction sets for operating the device 65 digital pictures based on at least a partial match between the
    correlated with the first digital picture based on at least a new stream of digital pictures and the first stream of digital
    partial match between the new digital picture and the first pictures. The artificial intelligence unit may be further
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 600 of 2562 PageID #: 13471


                                                       US 11,055,583 B1
                                 31                                                                 32
    configured to : cause the processor circuit to execute the one cell , the knowledge cell comprising the first stream of digital
    or more instruction sets for operating the device correlated pictures correlated with the one or more instruction sets for
    with the first stream of digital pictures, the executing per- operating the device . The correlating the first stream of
    formed in response to the anticipating of the artificial digital pictures with the one or more instruction sets for
    intelligence unit, wherein the device performs one or more 5 operating the device may include structuring a unit of
    operations defined by the one or more instruction sets for knowledge of how the device operated in a visual surround
    operating the device correlated with the first stream of ing . In further embodiments , the learning the first stream of
    digital pictures, the one or more operations performed in digital pictures correlated with the one or more instruction
    response to the executing by the processor circuit.                sets for operating the device includes learning a user's
       In certain embodiments, the first stream of digital pictures 10 knowledge, style , or methodology of operating the device in
    includes one or more digital pictures. In further embodi- a visual surrounding. In further embodiments , the learning
    ments , the new stream of digital pictures includes one or the first stream of digital pictures correlated with the one or
    more digital pictures. In further embodiments, the first and more instruction sets for operating the device includes
    the new streams of digital pictures portray the device's spontaneous learning the first stream of digital pictures
    surrounding. In further embodiments, the first and the new 15 correlated with the one or more instruction sets for operating
    streams of digital pictures portray a remote device's sur- the device .
    rounding. In further embodiments, the first or the new                In some embodiments, the learning the first stream of
    stream of digital pictures includes a digital motion picture. digital pictures correlated with the one or more instruction
    The digital motion picture may include a MPEG motion sets for operating the device includes storing, into the
    picture, an AVI motion picture , a FLV motion picture , a 20 memory unit , the first stream of digital pictures correlated
    MOV motion picture, a RM motion picture, a SWF motion with the one or more instruction sets for operating the
    picture, a WMV motion picture, a DivX motion picture, or device, the first stream of digital pictures correlated with the
    a digitally encoded motion picture. In further embodiments , one or more instruction sets for operating the device being
    the first stream of digital pictures includes a comparative part of a stored plurality of streams of digital pictures
    stream of digital pictures whose at least one portion can be 25 correlated with one or more instruction sets for operating the
    used for comparisons with at least one portion of streams of device . In further embodiments, the plurality of streams of
    digital pictures subsequent to the first stream of digital digital pictures correlated with one or more instruction sets
    pictures, the streams of digital pictures subsequent to the for operating the device include a neural network , a graph ,
    first stream of digital pictures comprising the new stream of a collection of sequences , a sequence, a collection of knowl
    digital pictures. In further embodiments, the first stream of 30 edge cells , a knowledgebase, a knowledge structure, or a
    digital pictures includes a comparative stream of digital data structure. In further embodiments, the plurality of
    pictures that can be used for comparisons with the new streams of digital pictures correlated with one or more
    stream of digital pictures. In further embodiments, the new instruction sets for operating the device are organized into a
    stream of digital pictures includes an anticipatory stream of neural network , a graph , a collection of sequences, a
    digital pictures whose correlated one or more instruction sets 35 sequence , a collection of knowledge cells , a knowledgebase ,
    can be used for anticipation of one or more instruction sets a knowledge structure , or a data structure. In further embodi
    to be executed by the processor circuit.                           ments, each of the plurality of streams of digital pictures
       In some embodiments, the first stream of digital pictures correlated with one or more instruction sets for operating the
    correlated with the one or more instruction sets for operating device is included in a neuron , a node , a vertex , or an
    the device includes a unit of knowledge of how the device 40 element of a data structure . The data structure may include
    operated in a visual surrounding. In further embodiments, a neural network , a graph, a collection of sequences , a
    the first stream of digital pictures correlated with the one or sequence , a collection of knowledge cells , a knowledgebase,
    more instruction sets for operating the device is included in or a knowledge structure . Some of the neurons, nodes ,
    a neuron , a node, a vertex, or an element of a data structure . vertices, or elements may be interconnected . In further
    In further embodiments, the data structure includes a neural 45 embodiments, the plurality of streams of digital pictures
    network , a graph , a collection of sequences, a sequence , a correlated with one or more instruction sets for operating the
    collection of knowledge cells , a knowledgebase , or a knowl- device include a user's knowledge , style , or methodology of
    edge structure . Some of the neurons, nodes , vertices, or operating the device in visual surroundings. In further
    elements may be interconnected . In further embodiments, embodiments, the plurality of streams of digital pictures
    the first stream of digital pictures correlated with the one or 50 correlated with one or more instruction sets for operating the
    more instruction sets for operating the device is structured device are stored on a remote computing device . In further
    into a knowledge cell . In further embodiments, the knowl- embodiments, the plurality of streams of digital pictures
    edge cell includes a unit of knowledge of how the device correlated with one or more instruction sets for operating the
    operated in a visual surrounding. In further embodiments, device include an artificial intelligence system for knowl
    the knowledge cell is included in a neuron , a node , a vertex, 55 edge structuring, storing, or representation . The artificial
    or an element of a data structure . The data structure may intelligence system for knowledge structuring, storing, or
    include a neural network, a graph, a collection of sequences, representation may include at least one of: a deep learning
    a sequence , a collection of knowledge cells , a knowledge- system , a supervised learning system , an unsupervised learn
    base , or a knowledge structure . Some of the neurons, nodes , ing system , a neural network , a search -based system , an
    vertices, or elements may be interconnected.                  60 optimization - based system , a logic -based system , a fuzzy
       In certain embodiments, the learning the first stream of logic -based system , a tree - based system , a graph -based
    digital pictures correlated with the one or more instruction system , a hierarchical system , a symbolic system , a sub
    sets for operating the device includes correlating the first symbolic system , an evolutionary system , a genetic system ,
    stream of digital pictures with the one or more instruction a multi-agent system , a deterministic system , a probabilistic
    sets for operating the device. The correlating the first stream 65 system , or a statistical system .
    of digital pictures with the one or more instruction sets for        In some embodiments, the anticipating the one or more
    operating the device may include generating a knowledge instruction sets for operating the device correlated with the
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 601 of 2562 PageID #: 13472


                                                        US 11,055,583 B1
                                 33                                                                  34
    first stream of digital pictures based on at least a partial digital pictures exceeds a similarity threshold . In further
    match between the new stream of digital pictures and the embodiments, the determining that there is at least a partial
    first stream of digital pictures includes comparing at least match between the new stream of digital pictures and the
    one portion of the new stream of digital pictures with at least first stream of digital pictures includes determining a sub
    one portion of the first stream of digital pictures. The at least 5 stantial similarity between at least one portion of the new
    one portion of the new stream of digital pictures may include stream of digital pictures and at least one portion of the first
    at least one digital picture, at least one region, at least one stream of digital pictures. The at least one portion of the new
    feature, or at least one pixel of the new stream of digital stream of digital pictures may include at least one digital
    pictures. The at least one portion of the first stream of digital picture , at least one region , at least one feature, or at least
    pictures may include at least one digital picture, at least one 10 one pixel of the new stream of digital pictures. The at least
    region , at least one feature, or at least one pixel of the first one portion of the first stream of digital pictures may include
    stream of digital pictures. The comparing the at least one at least one digital picture, at least one region , at least one
    portion of the new stream of digital pictures with the at least feature, or at least one pixel of the first stream of digital
    one portion of the first stream of digital pictures may include pictures. The substantial similarity may be achieved when a
    comparing at least one digital picture of the new stream of 15 similarity between the at least one portion of the new stream
    digital pictures with at least one digital picture of the first of digital pictures and the at least one portion of the first
    stream of digital pictures. The at least one portion of the new stream of digital pictures exceeds a similarity threshold . The
    stream of digital pictures with the at least one portion of the substantial similarity may be achieved when a number or a
    first stream of digital pictures may include comparing at percentage of matching or partially matching digital pictures
    least one region of at least one digital picture of the new 20 from the new stream of digital pictures and from the first
    stream of digital pictures with at least one region of at least stream of digital pictures exceeds a threshold number or
    one digital picture of the first stream of digital pictures. The threshold percentage. The substantial similarity may be
    comparing the at least one portion of the new stream of achieved when a number or a percentage of matching or
    digital pictures with the at least one portion of the first partially matching regions of at least one digital picture from
    stream of digital pictures may include comparing at least one 25 the new stream of digital pictures and from the first stream
    feature of at least one digital picture of the new stream of of digital pictures exceeds a threshold number or threshold
    digital pictures with at least one feature of at least one digital percentage. The substantial similarity may be achieved
    picture of the first stream of digital pictures. The comparing when a number or a percentage of matching or partially
    the at least one portion of the new stream of digital pictures matching features of at least one digital picture from the new
    with the at least one portion of the first stream of digital 30 stream of digital pictures and from the first stream of digital
    pictures may include comparing at least one pixel of at least pictures exceeds a threshold number or threshold percent
    one digital picture of the new stream of digital pictures with age . The substantial similarity may be achieved when a
    at least one pixel of at least one digital picture of the first number or a percentage of matching or partially matching
    stream of digital pictures. The comparing the at least one pixels of at least one digital picture from the new stream of
    portion of the new stream of digital pictures with the at least 35 digital pictures and from the first stream of digital pictures
    one portion of the first stream of digital pictures may include exceeds a threshold number or threshold percentage. The
    at least one of: performing a color adjustment, performing a substantial similarity may be achieved when one or more
    size adjustment, performing a content manipulation, per- same or similar objects are recognized in the new stream of
    forming temporal alignment, performing dynamic time digital pictures and the first stream of digital pictures. In
    warping  , utilizing a transparency , or utilizing a mask on the 40 further embodiments, the determining that there is at least a
    new or the first stream of digital pictures. The comparing the partial match between the new stream of digital pictures and
    at least one portion of the new stream of digital pictures with the first stream of digital pictures includes determining that
    the at least one portion of the first stream of digital pictures a number or a percentage of matching digital pictures from
    may include recognizing at least one person or object in the the new stream of digital pictures and from the first stream
    new stream of digital pictures and at least one person or 45 of digital pictures exceeds a threshold number or threshold
    object in the first stream of digital pictures, and comparing percentage. The matching digital pictures from the new
    the at least one person or object from the new stream of stream of digital pictures and from the first stream of digital
    digital pictures with the at least one person or object from pictures may be determined factoring in at least one of: an
    the first stream of digital pictures.                               order of a digital picture in a stream of digital pictures, an
       In certain embodiments , the anticipating the one or more 50 importance of a digital picture , a threshold for a similarity in
    instruction sets for operating the device correlated with the a digital picture, or a threshold for a difference in a digital
    first stream of digital pictures based on at least a partial picture. In further embodiments, the determining that there
    match between the new stream of digital pictures and the is at least a partial match between the new stream of digital
    first stream of digital pictures includes determining that pictures and the first stream of digital pictures includes
    there is at least a partial match between the new stream of 55 determining that a number or a percentage of matching
    digital pictures and the first stream of digital pictures. In regions from at least one digital picture of the new stream of
    further embodiments, the determining that there is at least a digital pictures and from at least one digital picture of the
    partial match between the new stream of digital pictures and first stream of digital pictures exceeds a threshold number or
    the first stream of digital pictures includes determining that threshold percentage. The matching regions from at least
    there is at least a partial match between one or more portions 60 one digital picture of the new stream of digital pictures and
    of the new stream of digital pictures and one or more from at least one digital picture of the first stream of digital
    portions of the first stream of digital pictures. In further pictures may be determined factoring in at least one of: a
    embodiments, the determining that there is at least a partial location of a region , an importance of a region , a threshold
    match between the new stream of digital pictures and the for a similarity in a region, or a threshold for a difference in
    first stream of digital pictures includes determining that a 65 a region. In further embodiments, the determining that there
    similarity between at least one portion of the new stream of is at least a partial match between the new stream of digital
    digital pictures and at least one portion of the first stream of pictures and the first stream of digital pictures includes
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 602 of 2562 PageID #: 13473


                                                        US 11,055,583 B1
                                  35                                                                   36
    determining that a number or a percentage of matching with the first stream of digital pictures. In further embodi
    features from at least one digital picture of the new stream ments, the executing the one or more instruction sets for
    of digital pictures and from at least one digital picture of the operating the device correlated with the first stream of
    first stream of digital pictures exceeds a threshold number or digital pictures includes issuing an interrupt to the processor
    threshold percentage. The matching features from at least 5 circuit and executing the one or more instruction sets for
    one digital picture of the new stream of digital pictures and operating the device correlated with the first stream of
    from at least one digital picture of the first stream of digital digital pictures following the interrupt. In further embodi
    pictures may be determined factoring in at least one of: a ments, the causing the processor circuit to execute the one
    type of a feature, an importance of a feature , a location of a or more instruction sets for operating the device correlated
    feature, a threshold for a similarity in a feature, or a 10 with the first stream of digital pictures includes modifying
    threshold for a difference in a feature . In further embodi- an element that is part of, operating on , or coupled to the
    ments  , the determining that there is at least a partial match processor
    between the new stream of digital pictures and the first
                                                                                    circuit.
                                                                           In some embodiments, the processor circuit includes a
    stream of digital pictures includes determining that a number logic circuit , and wherein the causing the processor circuit
    or a percentage of matching pixels from at least one digital 15 to execute the one or more instruction sets for operating the
    picture of the new stream of digital pictures and from at least device correlated with the first stream of digital pictures
    one digital picture of the first stream of digital pictures includes causing the logic circuit to execute the one or more
    exceeds a threshold number or threshold percentage. The instruction sets for operating the device correlated with the
    matching pixels from at least one digital picture of the new first stream of digital pictures. The logic circuit may include
    stream of digital pictures and from at least one digital picture 20 a microcontroller. The causing the logic circuit to execute
    of the first stream of digital pictures may be determined the one or more instruction sets for operating the device
    factoring in at least one of a location of a pixel , a threshold correlated with the first stream of digital pictures may
    for a similarity in a pixel , or a threshold for a difference in include modifying an element of the logic circuit . The
    a pixel . In further embodiments, the determining that there causing the logic circuit to execute the one or more instruc
    is at least a partial match between the new stream of digital 25 tion sets for operating the device correlated with the first
    pictures and the first stream of digital pictures includes stream of digital pictures may include inserting the one or
    recognizing a same person or object in the new and the first more instruction sets for operating the device correlated with
    streams of digital pictures.                                        the first stream of digital pictures into an element of the logic
       In certain embodiments, the causing the processor circuit circuit. The causing the logic circuit to execute the one or
    to execute the one or more instruction sets for operating the 30 more instruction sets for operating the device correlated with
    device correlated with the first stream of digital pictures the first stream of digital pictures may include redirecting
    includes causing the processor circuit to execute the one or the logic circuit to the one or more instruction sets for
    more instruction sets for operating the device correlated with operating the device correlated with the first strean of
    the first stream of digital pictures instead of or prior to an digital pictures. The causing the logic circuit to execute the
    instruction set that would have been executed next . In 35 one or more instruction sets for operating the device corre
    further embodiments, the causing the processor circuit to lated with the first stream of digital pictures may include
    execute the one or more instruction sets for operating the replacing inputs into the logic circuit with the one or more
    device correlated with the first stream of digital pictures instruction sets for operating the device correlated with the
    includes modifying one or more instruction sets of the first stream of digital pictures. The causing the logic circuit
    processor circuit. In further embodiments, the causing the 40 to execute the one or more instruction sets for operating the
    processor circuit to execute the one or more instruction sets device correlated with the first stream of digital pictures may
    for operating the device correlated with the first stream of include replacing outputs from the logic circuit with the one
    digital pictures includes modifying a register or an element or more instruction sets for operating the device correlated
    of the processor circuit . In further embodiments, the causing with the first stream of digital pictures.
    the processor circuit to execute the one or more instruction 45 In certain embodiments, the causing the processor circuit
    sets for operating the device correlated with the first stream to execute the one or more instruction sets for operating the
    of digital pictures includes inserting the one or more instruc- device correlated with the first stream of digital pictures
    tion sets for operating the device correlated with the first includes causing an application for operating the device to
    stream of digital pictures into a register or an element of the execute the one or more instruction sets for operating the
    processor circuit. In further embodiments, the causing the 50 device correlated with the first stream of digital pictures, the
    processor circuit to execute the one or more instruction sets application running on the processor circuit .
    for operating the device correlated with the first stream of           In some embodiments, the system further comprises: an
    digital pictures includes redirecting the processor circuit to application including instruction sets for operating the
    the one or more instruction sets for operating the device device, the application running on the processor circuit ,
    correlated with the first stream of digital pictures . In further 55 wherein the causing the processor circuit to execute the one
    embodiments, the causing the processor circuit to execute or more instruction sets for operating the device correlated
    the one or more instruction sets for operating the device with the first stream of digital pictures includes modifying
    correlated with the first stream of digital pictures includes the application.
    redirecting the processor circuit to one or more alternate             In certain embodiments , the causing the processor circuit
    instruction sets , the alternate instruction sets comprising the 60 to execute the one or more instruction sets for operating the
    one or more instruction sets for operating the device corre- device correlated with the first stream of digital pictures
    lated with the first stream of digital pictures. In further includes redirecting an application to the one or more
    embodiments, the causing the processor circuit to execute instruction sets for operating the device correlated with the
    the one or more instruction sets for operating the device first stream of digital pictures, the application running on the
    correlated with the first stream of digital pictures includes 65 processor circuit. In further embodiments, the causing the
    transmitting, to the processor circuit for execution, the one processor circuit to execute the one or more instruction sets
    or more instruction sets for operating the device correlated for operating the device correlated with the first stream of
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 603 of 2562 PageID #: 13474


                                                        US 11,055,583 B1
                                 37                                                                  38
    digital pictures includes redirecting an application to one or embodiments, the causing the processor circuit to execute
    more alternate instruction sets, the application running on the one or more instruction sets for operating the device
    the processor circuit , the alternate instruction sets compris- correlated with the first stream of digital pictures includes
    ing the one or more instruction sets for operating the device utilizing an assembly language. In further embodiments , the
    correlated with the first stream of digital pictures. In further 5 causing the processor circuit to execute the one or more
    embodiments, the causing the processor circuit to execute instruction sets for operating the device correlated with the
    the one or more instruction sets for operating the device first stream of digital pictures includes utilizing at least one
    correlated with the first stream of digital pictures includes of: a metaprogramming, a self-modifying code, or an
    modifying one or more instruction sets of an application , the instruction set modification tool . In further embodiments ,
    application running on the processor circuit . In further 10 the causing the processor circuit to execute the one or more
    embodiments, the causing the processor circuit to execute instruction sets for operating the device correlated with the
    the one or more instruction sets for operating the device first stream of digital pictures includes utilizing at least one
    correlated with the first stream of digital pictures includes of: just in time (JIT ) compiling, JIT interpretation, JIT
    modifying a source code , a bytecode, an intermediate code, translation , dynamic recompiling, or binary rewriting. In
    a compiled code , an interpreted code , a translated code , a 15 further embodiments, the causing the processor circuit to
    runtime code, an assembly code , or a machine code . In execute the one or more instruction sets for operating the
    further embodiments, the causing the processor circuit to device correlated with the first stream of digital pictures
    execute the one or more instruction sets for operating the includes utilizing at least one of a dynamic expression
    device correlated with the first stream of digital pictures creation, a dynamic expression execution , a dynamic func
    includes modifying at least one of: the memory unit, a 20 tion creation , or a dynamic function execution . In further
    register of the processor circuit , a storage, or a repository embodiments, the causing the processor circuit to execute
    where instruction sets are stored or used . In further embodi- the one or more instruction sets for operating the device
    ments, the causing the processor circuit to execute the one correlated with the first stream of digital pictures includes
    or more instruction sets for operating the device correlated adding or inserting additional code into a code of an appli
    with the first stream of digital pictures includes modifying 25 cation , the application running on the processor circuit. In
    one or more instruction sets for operating an application or further embodiments, the causing the processor circuit to
    an object of the application , the application running on the execute the one or more instruction sets for operating the
    processor circuit. In further embodiments, the causing the device correlated with the first stream of digital pictures
    processor circuit to execute the one or more instruction sets includes at least one of: modifying, removing, rewriting, or
    for operating the device correlated with the first stream of 30 overwriting a code of an application, the application running
    digital pictures includes modifying at least one of: an on the processor circuit. In further embodiments, the causing
    element of the processor circuit, an element of the device, a the processor circuit to execute the one or more instruction
    virtual machine , a runtime engine , an operating system , an sets for operating the device correlated with the first stream
    execution stack , a program counter, or a user input. In of digital pictures includes at least one of: branching,
    further embodiments, the causing the processor circuit to 35 redirecting, extending, or hot swapping a code of an appli
    execute the one or more instruction sets for operating the cation, the application running on the processor circuit . The
    device correlated with the first stream of digital pictures branching or redirecting the code may include inserting at
    includes modifying one or more instruction sets at a source least one of: a branch , a jump, or a means for redirecting an
    code write time , a compile time , an interpretation time , a execution .
    translation time , a linking time , a loading time , or a runtime. 40 In some embodiments, the executing the one or more
    In further embodiments, the causing the processor circuit to instruction sets for operating the device correlated with the
    execute the one or more instruction sets for operating the first stream of digital pictures includes implementing a
    device correlated with the first stream of digital pictures         user's knowledge, style, or methodology of operating the
    includes modifying one or more code segments, lines of              device in a visual surrounding.
    code , statements, instructions, functions, routines , subrou- 45 In certain embodiments, the system further comprises : an
    tines , or basic blocks . In further embodiments , the causing interface configured to cause execution of instruction sets ,
    the processor circuit to execute the one or more instruction wherein the executing the one or more instruction sets for
    sets for operating the device correlated with the first stream operating the device correlated with the first stream of
    of digital pictures includes a manual, an automatic, a digital pictures is caused by the interface . The interface may
    dynamic , or a just in time (JIT) instrumentation of an 50 include a modification interface .
    application, the application running on the processor circuit .   In some embodiments, the artificial intelligence unit is
    In further embodiments, the causing the processor circuit to further configured to : receive at least one extra information .
    execute the one or more instruction sets for operating the In further embodiments, the at least one extra information
    device correlated with the first stream of digital pictures include one or more of: an information on a stream of digital
    includes utilizing one or more of a .NET tool , a .NET 55 pictures, an information on an object in the stream of digital
    application programming interface (API), a Java tool , a Java pictures, an information on the device's visual surrounding,
    API , an operating system tool , or an independent tool for an information on an instruction set, an information on an
    modifying instruction sets . In further embodiments , the application, an information on an object of the application ,
    causing the processor circuit to execute the one or more an information on the processor circuit , an information on
    instruction sets for operating the device correlated with the 60 the device, or an information on an user . In further embodi
    first stream of digital pictures includes utilizing at least one ments, the artificial intelligence unit is further configured to :
    of: a dynamic, an interpreted, or a scripting programming learn the first stream of digital pictures correlated with the at
    language . In further embodiments, the causing the processor least one extra information . The learning the first stream of
    circuit to execute the one or more instruction sets for digital pictures correlated with at least one extra information
    operating the device correlated with the first stream of 65 may include correlating the first stream of digital pictures
    digital pictures includes utilizing at least one of: a dynamic with the at least one extra information. The learning the first
    code , a dynamic class loading , or a reflection. In further stream of digital pictures correlated with at least one extra
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 604 of 2562 PageID #: 13475


                                                       US 11,055,583 B1
                                 39                                                                 40
    information may include storing the first stream of digital includes storing the first stream of digital pictures correlated
    pictures correlated with the at least one extra information with the one or more instruction sets for operating the device
    into the memory unit. In further embodiments, the antici- into a first node of a data structure , and wherein the learning
    pating the one or more instruction sets for operating the the second stream of digital pictures correlated with the
    device correlated with the first stream of digital pictures 5 additional one or more instruction sets for operating the
    based on at least a partial match between the new stream of device includes storing the second stream of digital pictures
    digital pictures and the first stream of digital pictures correlated with the additional one or more instruction sets
    includes anticipating the one or more instruction sets for for operating the device into a second node of the data
    operating the device correlated with the first stream of structure . The data structure may include a neural network ,
    digital pictures based on at least a partial match between an 10 a graph , a collection of sequences, a sequence, a collection
    extra information correlated with the new stream of digital of knowledge cells , a knowledgebase, or a knowledge
    pictures and an extra information correlated with the first structure. The learning the first stream of digital pictures
    stream of digital pictures. The anticipating the one or more correlated with the one or more instruction sets for operating
    instruction sets for operating the device correlated with the the device and the learning the second stream of digital
    first stream of digital pictures based on at least a partial 15 pictures correlated with the additional one or more instruc
    match between an extra information correlated with the new tion sets for operating the device may include creating a
    stream of digital pictures and an extra information correlated connection between the first node and the second node. The
    with the first stream of digital pictures may include com- learning the first stream of digital pictures correlated with
    paring an extra information correlated with the new stream the one or more instruction sets for operating the device and
    of digital pictures and an extra information correlated with 20 the learning the second stream of digital pictures correlated
    the first stream of digital pictures. The anticipating the one with the additional one or more instruction sets for operating
    or more instruction sets for operating the device correlated the device may include updating a connection between the
    with the first stream of digital pictures based on at least a first node and the second node . In further embodiments , the
    partial match between an extra information correlated with first stream of digital pictures correlated with the one or
    the new stream of digital pictures and an extra information 25 more instruction sets for operating the device is stored into
    correlated with the first stream of digital pictures may a first node of a neural network and the second stream of
    include determining that a similarity between an extra digital pictures correlated with the additional one or more
    information correlated with the new stream of digital pic- instruction sets for operating the device is stored into a
    tures and an extra information correlated with the first         second node of the neural network . The first node and the
    stream of digital pictures exceeds a similarity threshold . 30 second node may be connected by a connection . The first
       In certain embodiments, the artificial intelligence unit is node may be part of a first layer of the neural network and
    further configured to : receive a second stream of digital the second node may be part of a second layer of the neural
    pictures from the picture capturing apparatus; receive addi- network . In further embodiments, the first stream of digital
    tional one or more instruction sets for operating the device pictures correlated with the one or more instruction sets for
    from the processor circuit ; and learn the second stream of 35 operating the device is stored into a first node of a graph and
    digital pictures correlated with the additional one or more the second stream of digital pictures correlated with the
    instruction sets for operating the device . In further embodi- additional one or more instruction sets for operating the
    ments, the learning the first stream of digital pictures cor- device is stored into a second node of the graph . The first
    related with the one or more instruction sets for operating the node and the second node may be connected by a connec
    device and the learning the second stream of digital pictures 40 tion . In further embodiments , the first stream of digital
    correlated with the additional one or more instruction sets pictures correlated with the one or more instruction sets for
    for operating the device include creating a connection operating the device is stored into a first node of a sequence
    between the first stream of digital pictures correlated with and the second stream of digital pictures correlated with the
    the one or more instruction sets for operating the device and additional one or more instruction sets for operating the
    the second stream of digital pictures correlated with the 45 device is stored into a second node of the sequence.
    additional one or more instruction sets for operating the           In some aspects , the disclosure relates to a non -transitory
    device . The connection includes or is associated with at least computer storage medium having a computer program
    one of: an occurrence count, a weight, a parameter, or a data . stored thereon , the program including instructions that when
    In further embodiments, the learning the first stream of executed by one or more processor circuits cause the one or
    digital pictures correlated with the one or more instruction 50 more processor circuits to perform operations comprising:
    sets for operating the device and the learning the second receiving a first stream of digital pictures from a picture
    stream of digital pictures correlated with the additional one capturing apparatus . The operations may further include :
    or more instruction sets for operating the device include receiving one or more instruction sets for operating a device .
    updating a connection between the first stream of digital The operations may further include : learning the first stream
    pictures correlated with the one or more instruction sets for 55 of digital pictures correlated with the one or more instruction
    operating the device and the second stream of digital pic- sets for operating the device . The operations may further
    tures correlated with the additional one or more instruction include: receiving a new stream of digital pictures from the
    sets for operating the device . The updating the connection picture capturing apparatus. The operations may further
    between the first stream of digital pictures correlated with include: anticipating the one or more instruction sets for
    the one or more instruction sets for operating the device and 60 operating the device correlated with the first stream of
    the second stream of digital pictures correlated with the digital pictures based on at least a partial match between the
    additional one or more instruction sets for operating the new stream of digital pictures and the first stream of digital
    device may include updating at least one of: an occurrence       pictures. The operations may further include : causing an
    count, a weight, a parameter, or a data included in or execution of the one or more instruction sets for operating
    associated with the connection . In further embodiments, the 65 the device correlated with the first stream of digital pictures,
    learning the first stream of digital pictures correlated with the causing performed in response to the anticipating the one
    the one or more instruction sets for operating the device          or more instruction sets for operating the device correlated
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 605 of 2562 PageID #: 13476


                                                          US 11,055,583 B1
                                  41                                                                 42
    with the first stream of digital pictures based on at least a stream of digital pictures with the one or more instruction
    partial match between the new stream of digital pictures and sets for operating the device . The correlating the first stream
    the first stream of digital pictures, wherein the device of digital pictures with the one or more instruction sets for
    performs one or more operations defined by the one or more operating the device may include generating a knowledge
    instruction sets for operating the device correlated with the 5 cell , the knowledge cell comprising the first stream of digital
    first stream of digital pictures, the one or more operations pictures correlated with the one or more instruction sets for
    performed in response to the executing .                        operating the device. The correlating the first stream of
       In some aspects , the disclosure relates to a method com- digital pictures with the one or more instruction sets for
    prising: (a ) receiving a first stream of digital pictures from operating the device may include structuring a unit of
    a picture capturing apparatus by one or more processor 10 knowledge of how the device operated in a visual surround
    circuits . The method may further include : (b ) receiving one ing . In further embodiments, the learning the first stream of
    or more instruction sets for operating a device by the one or digital pictures correlated with the one or more instruction
    more processor circuits . The method may further include: (c ) sets for operating the device includes learning a user's
    learning the first stream of digital pictures correlated with knowledge, style, or methodology of operating the device in
    the one or more instruction sets for operating the device, the 15 a visual surrounding. In further embodiments, the learning
    learning of ( c ) performed by the one or more processor the first stream of digital pictures correlated with the one or
    circuits . The method may further include : ( d ) receiving a more instruction sets for operating the device includes
    new stream of digital pictures from the picture capturing spontaneous learning the first stream of digital pictures
    apparatus by the one or more processor circuits. The method correlated with the one or more instruction sets for operating
    may further include: (e ) anticipating the one or more instruc- 20 the device.
    tion sets for operating the device correlated with the first          In some embodiments, the learning the first stream of
    stream of digital pictures based on at least a partial match digital pictures correlated with the one or more instruction
    between the new stream of digital pictures and the first sets for operating the device includes storing, into a memory
    stream of digital pictures, the anticipating of ( e ) performed     unit, the first stream of digital pictures correlated with the
    by the one or more processor circuits. The method may 25 one or more instruction sets for operating the device, the first
    further include : ( f) executing the one or more instruction sets   stream of digital pictures correlated with the one or more
    for operating the device correlated with the first stream of        instruction sets for operating the device being part of a
    digital pictures, the executing of ( f) performed in response       stored plurality of streams of digital pictures correlated with
    to the anticipating of (e ) . The method may further include: one or more instruction sets for operating the device . In
    ( g) performing, by the device , one or more operations 30 further embodiments, the plurality of streams of digital
    defined by the one or more instruction sets for operating the       pictures correlated with one or more instruction sets for
    device correlated with the first stream of digital pictures, the    operating the device include a neural network , a graph , a
    one or more operations performed in response to the execut-         collection of sequences, a sequence , a collection of knowl
    ing of ( f).                                                    edge cells , a knowledgebase , a knowledge structure, or a
       The operations or steps of the non - transitory computer 35 data structure . In further embodiments, the plurality of
    storage medium and /or the method may be performed by streams of digital pictures correlated with one or more
    any of the elements of the above described systems as instruction sets for operating the device are organized into a
    applicable. The non - transitory computer storage medium neural network , a graph , a collection of sequences, a
    and / or the method may include any of the operations, steps , sequence, a collection of knowledge cells , a knowledgebase,
    and embodiments of the above described systems as appli- 40 a knowledge structure , or a data structure. In further embodi
    cable as well as the following embodiments.                     ments, each of the plurality of streams of digital pictures
       In some embodiments, the first stream of digital pictures correlated with one or more instruction sets for operating the
    correlated with the one or more instruction sets for operating device is included in a neuron , a node, a vertex , or an
    the device includes a unit of knowledge of how the device element of a data structure . The data structure may include
    operated in a visual surrounding. In further embodiments, 45 a neural network , a graph, a collection of sequences, a
    the first stream of digital pictures correlated with the one or sequence , a collection of knowledge cells , a knowledgebase ,
    more instruction sets for operating the device is included in       or a knowledge structure . Some of the neurons, nodes ,
    a neuron , a node, a vertex , or an element of a data structure .   vertices, or elements may be interconnected . In further
    The data structure may include a neural network , a graph , a embodiments, the plurality of streams of digital pictures
    collection of sequences, a sequence , a collection of knowl- 50 correlated with one or more instruction sets for operating the
    edge cells , a knowledgebase , or a knowledge structure . device include a user's knowledge, style , or methodology of
    Some of the neurons, nodes, vertices , or elements may be operating the device in visual surroundings. In further
    interconnected . In further embodiments , the first stream of embodiments, the plurality of streams of digital pictures
    digital pictures correlated with the one or more instruction correlated with one or more instruction sets for operating the
    sets for operating the device is structured into a knowledge 55 device are stored on a remote computing device. In further
    cell . In further embodiments, the knowledge cell includes a embodiments, the plurality of streams of digital pictures
    unit of knowledge of how the device operated in a visual correlated with one or more instruction sets for operating the
    surrounding. In further embodiments, the knowledge cell is device include an artificial intelligence system for knowl
    included in a neuron , a node , a vertex , or an element of a data edge structuring, storing, or representation . The artificial
    structure . The data structure may include a neural network, 60 intelligence system for knowledge structuring, storing , or
    a graph, a collection of sequences , a sequence , a collection representation may include at least one of: a deep learning
    of knowledge cells , a knowledgebase , or a knowledge system , a supervised learning system , an unsupervised learn
    structure . Some of the neurons, nodes, vertices, or elements ing system , a neural network , a search -based system , an
    may be interconnected .                                            optimization -based system , a logic -based system , a fuzzy
       In certain embodiments, the learning the first stream of 65 logic -based system , a tree -based system , a graph -based
    digital pictures correlated with the one or more instruction system , a hierarchical system , a symbolic system , a sub
    sets for operating the device includes correlating the first symbolic system , an evolutionary system , a genetic system ,
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 606 of 2562 PageID #: 13477


                                                        US 11,055,583 B1
                                 43                                                                  44
    a multi-agent system , a deterministic system , a probabilistic     embodiments, the determining that there is at least a partial
    system , or a statistical system .                                    match between the new stream of digital pictures and the
       In further embodiments, the anticipating the one or more first stream of digital pictures includes determining that a
    instruction sets for operating the device correlated with the similarity between at least one portion of the new stream of
    first stream of digital pictures based on at least a partial 5 digital pictures and at least one portion of the first stream of
    match between the new stream of digital pictures and the digital pictures exceeds a similarity threshold . In further
    first stream of digital pictures includes comparing at least embodiments, the determining that there is at least a partial
    one portion of the new stream of digital pictures with at least match between the new stream of digital pictures and the
    one portion of the first stream of digital pictures. The at least first stream of digital pictures includes determining a sub
    one portion of the new stream of digital pictures may include 10 stantial similarity between at least one portion of the new
    at least one digital picture, at least one region , at least one stream of digital pictures and at least one portion of the first
    feature, or at least one pixel of the new stream of digital stream of digital pictures. The at least one portion of the new
    pictures. The at least one portion of the first stream of digital stream of digital pictures may include at least one digital
    pictures may include at least one digital picture, at least one picture , at least one region , at least one feature , or at least
    region , at least one feature , or at least one pixel of the first 15 one pixel of the new stream of digital pictures. The at least
    stream of digital pictures. The comparing the at least one one portion of the first stream of digital pictures may include
    portion of the new stream of digital pictures with the at least at least one digital picture , at least one region, at least one
    one portion of the first stream of digital pictures may include feature, or at least one pixel of the first stream of digital
    comparing at least one digital picture of the new stream of pictures. The substantial similarity may be achieved when a
    digital pictures with at least one digital picture of the first 20 similarity between the at least one portion of the new stream
    stream of digital pictures. The comparing the at least one of digital pictures and the at least one portion of the first
    portion of the new stream of digital pictures with the at least stream of digital pictures exceeds a similarity threshold . The
    one portion of the first stream of digital pictures may include substantial similarity may be achieved when a number or a
    comparing at least one region of at least one digital picture percentage of matching or partially matching digital pictures
    of the new stream of digital pictures with at least one region 25 from the new stream of digital pictures and from the first
    of at least one digital picture of the first stream of digital stream of digital pictures exceeds a threshold number or
    pictures. The comparing the at least one portion of the new threshold percentage. The substantial similarity may be
    stream of digital pictures with the at least one portion of the achieved when a number or a percentage of matching or
    first stream of digital pictures may include comparing at partially matching regions of at least one digital picture from
    least one feature of at least one digital picture of the new 30 the new stream of digital pictures and from the first stream
    stream of digital pictures with at least one feature of at least of digital pictures exceeds a threshold number or threshold
    one digital picture of the first stream of digital pictures . The percentage . The substantial similarity may be achieved
    comparing the at least one portion of the new stream of when a number or a percentage of matching or partially
    digital pictures with the at least one portion of the first matching features of at least one digital picture from the new
    stream of digital pictures may include comparing at least one 35 stream of digital pictures and from the first stream of digital
    pixel of at least one digital picture of the new stream of pictures exceeds a threshold number or threshold percent
    digital pictures with at least one pixel of at least one digital age . The substantial similarity may be achieved when a
    picture of the first stream of digital pictures . The comparing number or a percentage of matching or partially matching
    the at least one portion of the new stream of digital pictures pixels of at least one digital picture from the new stream of
    with the at least one portion of the first stream of digital 40 digital pictures and from the first stream of digital pictures
    pictures may include at least one of performing a color exceeds a threshold number or threshold percentage. The
    adjustment, performing a size adjustment, performing a substantial similarity may be achieved when one or more
    content manipulation , performing temporal alignment, per- same or similar objects are recognized in the new stream of
    forming dynamic time warping , utilizing a transparency, or digital pictures and the first stream of digital pictures. In
    utilizing a mask on the new or the first stream of digital 45 further embodiments, the determining that there is at least a
    pictures . The comparing the at least one portion of the new partial match between the new stream of digital pictures and
    stream of digital pictures with the at least one portion of the the first stream of digital pictures includes determining that
    first stream of digital pictures may include recognizing at a number or a percentage of matching digital pictures from
    least one person or object in the new stream of digital the new stream of digital pictures and from the first stream
    pictures and at least one person or object in the first stream 50 of digital pictures exceeds a threshold number or threshold
    of digital pictures, and comparing the at least one person or percentage. The matching digital pictures from the new
    object from the new stream of digital pictures with the at stream of digital pictures and from the first stream of digital
    least one person or object from the first stream of digital pictures may be determined factoring in at least one of: an
    pictures.                                                          order of a digital picture in a stream of digital pictures, an
       In some embodiments, the anticipating the one or more 55 importance of a digital picture , a threshold for a similarity in
    instruction sets for operating the device correlated with the a digital picture , or a threshold for a difference in a digital
    first stream of digital pictures based on at least a partial picture . In further embodiments, the determining that there
    match between the new stream of digital pictures and the is at least a partial match between the new stream of digital
    first stream of digital pictures includes determining that pictures and the first stream of digital pictures includes
    there  is at least a partial match between the new stream of 60 determining that a number or a percentage of matching
    digital pictures and the first stream of digital pictures. In regions from at least one digital picture of the new stream of
    further embodiments, the determining that there is at least a digital pictures and from at least one digital picture of the
    partial match between the new stream of digital pictures and first stream of digital pictures exceeds a threshold number or
    the first stream of digital pictures includes determining that threshold percentage. The matching regions from at least
    there is at least a partial match between one or more portions 65 one digital picture of the new stream of digital pictures and
    of the new stream of digital pictures and one or more from at least one digital picture of the first stream of digital
    portions of the first stream of digital pictures. In further pictures may be determined factoring in at least one of: a
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 607 of 2562 PageID #: 13478


                                                        US 11,055,583 B1
                                 45                                                                  46
    location of a region , an importance of a region , a threshold correlated with the first stream of digital pictures. In further
    for a similarity in a region, or a threshold for a difference in embodiments, the executing the one or more instruction sets
    a region . In further embodiments, the determining that there for operating the device correlated with the first stream of
    is at least a partial match between the new stream of digital digital pictures includes issuing an interrupt to a processor
    pictures and the first stream of digital pictures includes 5 circuit and executing the one or more instruction sets for
    determining that a number or a percentage of matching operating the device correlated with the first stream of
    features from at least one digital picture of the new stream digital pictures following the interrupt. In further embodi
    of digital pictures and from at least one digital picture of the ments, the executing the one or more instruction sets for
    first stream of digital pictures exceeds a threshold number or operating the device correlated with the first stream of
    threshold percentage. The matching features from at least 10 digital pictures includes modifying an element that is part of,
    one digital picture of the new stream of digital pictures and operating on , or coupled to a processor circuit.
    from at least one digital picture of the first stream of digital    In some embodiments, the executing the one or more
    pictures may be determined factoring in at least one of: a instruction sets for operating the device correlated with the
    type of a feature , an importance of a feature , a location of a first stream of digital pictures includes executing, by a logic
    feature , a threshold for a similarity in a feature, or a 15 circuit, the one or more instruction sets for operating the
    threshold for a difference in a feature . In further embodi- device correlated with the first stream of digital pictures. The
    ments , the determining that there is at least a partial match logic circuit may include a microcontroller. The executing ,
    between the new stream of digital pictures and the first by the logic circuit , the one or more instruction sets for
    stream of digital pictures includes determining that a number operating the device correlated with the first stream of
    or a percentage of matching pixels from at least one digital 20 digital pictures may include modifying an element of the
    picture of the new stream of digital pictures and from at least logic circuit. The executing , by the logic circuit, the one or
    one digital picture of the first stream of digital pictures more instruction sets for operating the device correlated with
    exceeds a threshold number or threshold percentage. The the first stream of digital pictures may include inserting the
    matching pixels from at least one digital picture of the new one or more instruction sets for operating the device corre
    stream of digital pictures and from at least one digital picture 25 lated with the first stream of digital pictures into an element
    of the first stream of digital pictures may be determined of the logic circuit. The executing , by the logic circuit , the
    factoring in at least one of: a location of a pixel , a threshold one or more instruction sets for operating the device corre
    for a similarity in a pixel , or a threshold for a difference in lated with the first stream of digital pictures may include
    a pixel . In further embodiments, the determining that there redirecting the logic circuit to the one or more instruction
    is at least a partial match between the new stream of digital 30 sets for operating the device correlated with the first stream
    pictures and the first stream of digital pictures includes of digital pictures. The executing , by the logic circuit, the
    recognizing a same person or object in the new and the first one or more instruction sets for operating the device corre
    streams of digital pictures.                                        lated with the first stream of digital pictures may include
       In certain embodiments , the executing the one or more replacing inputs into the logic circuit with the one or more
    instruction sets for operating the device correlated with the 35 instruction sets for operating the device correlated with the
    first stream of digital pictures includes executing the one or first stream of digital pictures. The executing , by the logic
    more instruction sets for operating the device correlated with circuit, the one or more instruction sets for operating the
    the first stream of digital pictures instead of or prior to an device correlated with the first stream of digital pictures my
    instruction set that would have been executed next. In include replacing outputs from the logic circuit with the one
    further embodiments, the executing the one or more instruc- 40 or more instruction sets for operating the device correlated
    tion sets for operating the device correlated with the first with the first stream of digital pictures.
    stream of digital pictures includes modifying one or more              In certain embodiments, the executing the one or more
    instruction sets. In further embodiments , the executing the instruction sets for operating the device correlated with the
    one or more instruction sets for operating the device corre- first stream of digital pictures includes executing , by an
    lated with the first stream of digital pictures includes modi- 45 application for operating the device , the one or more instruc
    fying a register or an element of a processor circuit . In tion sets for operating the device correlated with the first
    further embodiments, the executing the one or more instruc- stream of digital pictures. In further embodiments, the
    tion sets for operating the device correlated with the first executing the one or more instruction sets for operating the
    stream of digital pictures includes inserting the one or more device correlated with the first stream of digital pictures
    instruction sets for operating the device correlated with the 50 includes modifying an application, the application including
    first stream of digital pictures into a register or an element instruction sets for operating the device . In further embodi
    of a processor circuit . In further embodiments, the executing ments, the executing the one or more instruction sets for
    the one or more instruction sets for operating the device operating the device correlated with the first stream of
    correlated with the first stream of digital pictures includes digital pictures includes redirecting an application to the one
    redirecting a processor circuit to the one or more instruction 55 or more instruction sets for operating the device correlated
    sets for operating the device correlated with the first stream with the first stream of digital pictures. In further embodi
    of digital pictures. In further embodiments, the executing the ments, the executing the one or more instruction sets for
    one or more instruction sets for operating the device corre- operating the device correlated with the first stream of
    lated with the first stream of digital pictures includes redi- digital pictures includes redirecting an application to one or
    recting a processor circuit to one or more alternate instruc- 60 more alternate instruction sets , the alternate instruction sets
    tion sets , the alternate instruction sets comprising the one or comprising the one or more instruction sets for operating the
    more instruction sets for operating the device correlated with device correlated with the first stream of digital pictures. In
    the first stream of digital pictures. In further embodiments , further embodiments, the executing the one or more instruc
    the executing the one or more instruction sets for operating tion sets for operating the device correlated with the first
    the device correlated with the first stream of digital pictures 65 stream of digital pictures includes modifying one or more
    includes transmitting, to a processor circuit for execution , instruction sets of an application . In further embodiments,
    the one or more instruction sets for operating the device the executing the one or more instruction sets for operating
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 608 of 2562 PageID #: 13479


                                                        US 11,055,583 B1
                                 47                                                                    48
    the device correlated with the first stream of digital pictures       the device correlated with the first stream of digital pictures
    includes modifying a source code , a bytecode , an interme- includes adding or inserting additional code into a code of an
    diate code , a compiled code , an interpreted code , a translated application . In further embodiments, the executing the one
    code , a runtime code , an assembly code, or a machine code . or more instruction sets for operating the device correlated
    In further embodiments, the executing the one or more 5 with the first stream of digital pictures includes at least one
    instruction sets for operating the device correlated with the of: modifying, removing, rewriting, or overwriting a code of
    first stream of digital pictures includes modifying at least an application . In further embodiments, the executing the
    one of: a memory unit , a register of a processor circuit, a one or more instruction sets for operating the device corre
    storage, or a repository where instruction sets are stored or lated with the first stream of digital pictures includes at least
    used . In further embodiments, the executing the one or more 10 one of: branching, redirecting, extending, or hot swapping a
    instruction sets for operating the device correlated with the code of an application . The branching or redirecting the code
    first stream of digital pictures includes modifying one or may include inserting at least one of: a branch , a jump, or a
    more instruction sets for operating an application or an means for redirecting an execution . In further embodiments,
    object of the application . In further embodiments, the the executing the one or more instruction sets for operating
    executing the one or more instruction sets for operating the 15 the device correlated with the first stream of digital pictures
    device correlated with the first stream of digital pictures includes implementing a user's knowledge, style , or meth
    includes modifying at least one of: an element of a processor odology of operating the device in a visual surrounding. In
    circuit , an element of the device , a virtual machine , a further embodiments, the executing the one or more instruc
    runtime engine, an operating system , an execution stack , a tion sets for operating the device correlated with the first
    program counter, or a user input. In further embodiments, 20 stream of digital pictures includes executing the one or more
    the executing the one or more instruction sets for operating instruction sets for operating the device correlated with the
    the device correlated with the first stream of digital pictures first stream of digital pictures via an interface . The interface
    includes modifying one or more instruction sets at a source may include a modification interface .
    code write time , a compile time , an interpretation time , a            In certain embodiments, the operations of the non -tran
    translation time , a linking time , a loading time , or a runtime. 25 sitory computer storage medium and / or the method further
    In further embodiments, the executing the one or more comprise: receiving at least one extra information . In further
    instruction sets for operating the device correlated with the embodiments, the at least one extra information include one
    first stream of digital pictures includes modifying one or or more of: an information on a stream of digital pictures, an
    more code segments, lines of code, statements, instructions, information on an object in the stream of digital pictures, an
    functions, routines, subroutines , or basic blocks . In further 30 information on the device's visual surrounding, an informa
    embodiments , the executing the one or more instruction sets tion on an instruction set , an information on an application ,
    for operating the device correlated with the first stream of an information on an object of the application , an informa
    digital pictures includes a manual, an automatic , a dynamic , tion on a processor circuit , an information on the device , or
    or a just in time ( JIT ) instrumentation of an application . In an information on an user . In further embodiments , the
    further embodiments, the executing the one or more instruc- 35 operations of the non - transitory computer storage medium
    tion sets for operating the device correlated with the first and / or the method further comprise: learning the first stream
    stream of digital pictures includes utilizing one or more of of digital pictures correlated with the at least one extra
    a .NET tool , a .NET application programming interface information . The learning the first stream of digital pictures
    (API ) , a Java tool , a Java API , an operating system tool , or correlated with at least one extra information may include
    an independent tool for modifying instruction sets . In further 40 correlating the first stream of digital pictures with the at least
    embodiments , the executing the one or more instruction sets one extra information . The learning the first stream of digital
    for operating the device correlated with the first stream of pictures correlated with at least one extra information may
    digital pictures includes utilizing at least one of: a dynamic, include storing the first stream of digital pictures correlated
    an interpreted, or a scripting programming language. In with the at least one extra information into a memory unit.
    further embodiments, the executing the one or more instruc- 45 In further embodiments, the anticipating the one or more
    tion sets for operating the device correlated with the first instruction sets for operating the device correlated with the
    stream of digital pictures includes utilizing at least one of: a first stream of digital pictures based on at least a partial
    dynamic code, a dynamic class loading, or a reflection . In match between the new stream of digital pictures and the
    further embodiments, the executing the one or more instruc- first stream of digital pictures includes anticipating the one
    tion sets for operating the device correlated with the first 50 or more instruction sets for operating the device correlated
    stream of digital pictures includes utilizing an assembly with the first stream of digital pictures based on at least a
    language . In further embodiments, the executing the one or partial match between an extra information correlated with
    more instruction sets for operating the device correlated with the new stream of digital pictures and an extra information
    the first stream of digital pictures includes utilizing at least correlated with the first stream of digital pictures. The
    one of: a metaprogramming, a self -modifying code , or an 55 anticipating the one or more instruction sets for operating
    instruction set modification tool . In further embodiments,          the device correlated with the first stream of digital pictures
    the executing the one or more instruction sets for operating based on at least a partial match between an extra informa
    the device correlated with the first stream of digital pictures tion correlated with the new stream of digital pictures and an
    includes utilizing at least one of: just in time ( JIT ) compil- extra information correlated with the first stream of digital
    ing , JIT interpretation , JIT translation , dynamic recompiling, 60 pictures may include comparing an extra information cor
    or binary rewriting. In further embodiments, the executing related with the new stream of digital pictures and an extra
    the one or more instruction sets for operating the device information correlated with the first stream of digital pic
    correlated with the first stream of digital pictures includes tures . The anticipating the one or more instruction sets for
    utilizing at least one of: a dynamic expression creation , a operating the device correlated with the first stream of
    dynamic expression execution , a dynamic function creation , 65 digital pictures based on at least a partial match between an
    or a dynamic function execution . In further embodiments, extra information correlated with the new stream of digital
    the executing the one or more instruction sets for operating pictures and an extra information correlated with the first
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 609 of 2562 PageID #: 13480


                                                        US 11,055,583 B1
                                49                                                                     50
    stream of digital pictures may include determining that a           is stored into a first node of a neural network and the second
    similarity between an extra information correlated with the stream of digital pictures correlated with the additional one
    new stream of digital pictures and an extra information or more instruction sets for operating the device is stored
    correlated with the first stream of digital pictures exceeds a into a second node of the neural network . The first node and
    similarity threshold .                                          5 the second node may be connected by a connection . The first
       In some embodiments , the operations of the non -transi- node may be part of a first layer of the neural network and
    tory computer storage medium and /or the method further the second node may be part of a second layer of the neural
    comprise : receiving a second stream of digital pictures from
    the picture capturing apparatus; receiving additional one or network       . In further embodiments , the first stream of digital
    more instruction sets for operating the device ; and learning 10 operatingcorrelated
                                                                      pictures             with the one or more instruction sets for
    the second stream of digital pictures correlated with the the second stream ofis stored
                                                                                 the  device
                                                                                               digital
                                                                                                       into a first node of a graph and
                                                                                                        pictures correlated with the
    additional one or more instruction sets for operating the additional one or more instruction
    device. In further embodiments, the learning the first stream device is stored into a second node ofsetstheforgraph   operating the
                                                                                                                             . The first
    of digital pictures correlated with the one or more instruction
    sets for operating the device and the learning the second 15 node       and   the second node  may    be  connected   by  a connec
    stream of digital pictures correlated with the additional one tion . In further embodiments, the first stream of digital
    or more instruction sets for operating the device include pictures          correlated with the one or more instruction sets for
    creating a connection between the first stream of digital operating the device is stored into a first node of a sequence
    pictures correlated with the one or more instruction sets for and the second stream of digital pictures correlated with the
    operating the device and the second stream of digital pic- 20 additional one or more instruction sets for operating the
    tures correlated with the additional one or more instruction        device is stored into a second node of the sequence .
    sets for operating the device . The connection may include or      In some aspects , the disclosure relates to a system for
    be associated with at least one of: an occurrence count, a learning a visual surrounding for autonomous device oper
    weight, a parameter, or a data . In further embodiments , the ating . The system may be implemented at least in part on one
    learning the first stream of digital pictures correlated with 25 or more computing devices . In some embodiments , the
    the one or more instruction sets for operating the device and system comprises a processor circuit configured to execute
    the learning the second stream of digital pictures correlated instruction sets for operating a device . The system may
    with the additional one or more instruction sets for operating further include a memory unit configured to store data . The
    the device include updating a connection between the first system may further include a picture capturing apparatus
    stream of digital pictures correlated with the one or more 30 configured to capture digital pictures. The system may
    instruction sets for operating the device and the second further include an artificial intelligence unit. In some
    stream of digital pictures correlated with the additional one embodiments, the artificial intelligence unit may be config
    or more instruction sets for operating the device . The ured to : receive a first stream of digital pictures from the
    updating the connection between the first stream of digital picture capturing apparatus . The artificial intelligence unit
    pictures correlated with the one or more instruction sets for 35 may be further configured to : receive one or more instruc
    operating the device and the second stream of digital pic- tion sets for operating the device from the processor circuit .
    tures correlated with the additional one or more instruction The artificial intelligence unit may be further configured to :
    sets for operating the device may include updating at least learn the first stream of digital pictures correlated with the
    one of: an occurrence count, a weight, a parameter, or a data       one or more instruction sets for operating the device .
    included in or associated with the connection . In further 40          In some aspects , the disclosure relates to a non - transitory
    embodiments, the learning the first stream of digital pictures computer storage medium having a computer program
    correlated with the one or more instruction sets for operating stored thereon , the program including instructions that when
    the device includes storing the first stream of digital pictures executed by one or more processor circuits cause the one or
    correlated with the one or more instruction sets for operating more processor circuits to perform operations comprising:
    the device into a first node of a data structure, and wherein 45 receiving a first stream of digital pictures from a picture
    the learning the second stream of digital pictures correlated capturing apparatus. The operations may further include :
    with the additional one or more instruction sets for operating receiving one or more instruction sets for operating a device .
    the device includes storing the second stream of digital The operations may further include : learning the first stream
    pictures correlated with the additional one or more instruc- of digital pictures correlated with the one or more instruction
    tion sets for operating the device into a second node of the 50 sets for operating the device.
    data structure . The data structure may include a neural            In some aspects , the disclosure relates to a method com
    network , a graph , a collection of sequences, a sequence , a prising: (a ) receiving a first stream of digital pictures from
    collection of knowledge cells , a knowledgebase , or a knowl- a picture capturing apparatus by one or more processor
    edge structure . The learning the first stream of digital circuits. The method may further include: (b ) receiving one
    pictures correlated with the one or more instruction sets for 55 or more instruction sets for operating a device by the one or
    operating the device and the learning the second stream of more processor circuits . The method may further include : (c )
    digital pictures correlated with the additional one or more learning the first stream of digital pictures correlated with
    instruction sets for operating the device may include creat- the one or more instruction sets for operating the device , the
    ing a connection between the first node and the second node . learning of (c ) performed by the one or more processor
    The learning the first stream of digital pictures correlated 60 circuits .
    with the one or more instruction sets for operating the device     The operations or steps of the non - transitory computer
    and the learning the second stream of digital pictures cor- storage medium and / or the method may be performed by
    related with the additional one or more instruction sets for any of the elements of the above described systems as
    operating the device may include updating a connection applicable . The non - transitory computer storage medium
    between the first node and the second node. In further 65 and / or the method may include any of the operations, steps ,
    embodiments, the first stream of digital pictures correlated        and embodiments of the above described systems as appli
    with the one or more instruction sets for operating the device      cable .
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 610 of 2562 PageID #: 13481


                                                        US 11,055,583 B1
                                 51                                                                   52
       In some aspects , the disclosure relates to a system for of (a ) performed by the one or more processor circuits . The
    using a visual surrounding for autonomous device operating. method may further include: (b ) receiving a new stream of
    The system may be implemented at least in part on one or digital pictures from a picture capturing apparatus by the one
    more computing devices. In some embodiments , the system or more processor circuits. The method may further include :
    comprises a processor circuit configured to execute instruc- 5 (c ) anticipating the one or more instruction sets for operating
    tion sets for operating a device. The system may further the device correlated with the first stream of digital pictures
    include a memory unit configured to store data . The system based on at least a partial match between the new stream of
    may further include a picture capturing apparatus configured digital pictures and the first stream of digital pictures, the
    to capture digital pictures. The system may further include anticipating of (c ) performed by the one or more processor
    an artificial intelligence unit. In some embodiments, the 10 circuits. The method may further include : (d) executing the
    artificial intelligence unit may be configured to : access the one or more instruction sets for operating the device corre
    memory unit that stores a plurality of streams of digital lated with the first stream of digital pictures, the executing
    pictures correlated with one or more instruction sets for of (d) performed in response to the anticipating of ( C ) . The
    operating the device, the plurality including a first stream of method may further include : (e ) performing, by the device,
    digital pictures correlated with one or more instruction sets 15 one or more operations defined by the one or more instruc
    for operating the device . The artificial intelligence unit may tion sets for operating the device correlated with the first
    be further configured to : receive a new stream of digital stream of digital pictures, the one or more operations per
    pictures from the picture capturing apparatus. The artificial formed in response to the executing of (d) .
    intelligence unit may be further configured to : anticipate the      The operations or steps of the non - transitory computer
    one or more instruction sets for operating the device corre- 20 storage medium and / or the method may be performed by
    lated with the first stream of digital pictures based on at least any of the elements of the above described systems as
    a partial match between the new stream of digital pictures applicable . The non - transitory computer storage medium
    and the first stream of digital pictures. The artificial intelli- and / or the method may include any of the operations, steps ,
    gence unit may be further configured to : cause the processor and embodiments of the above described systems as appli
    circuit to execute the one or more instruction sets for 25 cable .
    operating the device correlated with the first stream of             In some aspects , the disclosure relates to a system for
    digital pictures, the executing performed in response to the learning and using a visual surrounding for autonomous
    anticipating of the artificial intelligence unit, wherein the device operating. The system may be implemented at least
    device performs one or more operations defined by the one in part on one or more computing devices . In some embodi
    or more instruction sets for operating the device correlated 30 ments, the system comprises a logic circuit configured to
    with the first stream of digital pictures, the one or more receive inputs and produce outputs, the outputs for operating
    operations performed in response to the executing by the a device. The system may further include a memory unit
    processor circuit.                                                configured store data . The system may further include a
       In some aspects , the disclosure relates to a non - transitory picture capturing apparatus configured to capture digital
    computer storage medium having a computer program 35 pictures. The system may further include an artificial intel
    stored thereon , the program including instructions that when ligence unit. In some embodiments, the artificial intelligence
    executed by one or more processor circuits cause the one or unit may be configured to : receive a first digital picture from
    more processor circuits to perform operations comprising: the picture capturing apparatus. The artificial intelligence
    accessing a memory unit that stores a plurality of streams of unit may be further configured to : receive at least one input,
    digital pictures correlated with one or more instruction sets 40 wherein the at least one input is also received by the logic
    for operating a device , the plurality including a first stream circuit . The artificial intelligence unit may be further con
    of digital pictures correlated with one or more instruction figured to : learn the first digital picture correlated with the at
    sets for operating the device . The operations may further least one input. The artificial intelligence unit may be further
    include : receiving a new stream of digital pictures from a configured to : receive a new digital picture from the picture
    picture capturing apparatus . The operations may further 45 capturing apparatus. The artificial intelligence unit may be
    include : anticipating the one or more instruction sets for further configured to : anticipate the at least one input
    operating the device correlated with the first stream of correlated with the first digital picture based on at least a
    digital pictures based on at least a partial match between the partial match between the new digital picture and the first
    new stream of digital pictures and the first stream of digital digital picture. The artificial intelligence unit may be further
    pictures . The operations may further include : causing an 50 configured to : cause the logic circuit to receive the at least
    execution of the one or more instruction sets for operating one input correlated with the first digital picture, the causing
    the device correlated with the first stream of digital pictures, performed in response to the anticipating of the artificial
    the causing performed in response to the anticipating the one intelligence unit, wherein the device performs at least one
    or more instruction sets for operating the device correlated operation defined by at least one output for operating the
    with the first stream of digital pictures based on at least a 55 device produced by the logic circuit .
    partial match between the new stream of digital pictures and          In certain embodiments, the logic circuit configured to
    the first stream of digital pictures, wherein the device receive inputs and produce outputs includes a logic circuit
    performs one or more operations defined by the one or more configured to produce outputs based at least in part on logic
    instruction sets for operating the device correlated with the operations performed on the inputs. In further embodiments,
    first stream of digital pictures , the one or more operations 60 the learning the first digital picture correlated with the at
    performed in response to the executing.                            least one input includes correlating the first digital picture
    In some aspects , the disclosure relates to a method com- with the at least one input. In further embodiments , the
    prising: (a ) accessing a memory unit that stores a plurality of learning the first digital picture correlated with the at least
    streams of digital pictures correlated with one or more one input includes storing , into the memory unit, the first
    instruction sets for operating a device , the plurality includ- 65 digital picture correlated with the at least one input, the first
    ing a first stream of digital pictures correlated with one or digital picture correlated with the at least input being part of
    more instruction sets for operating the device, the accessing a stored plurality of digital pictures correlated with at least
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 611 of 2562 PageID #: 13482


                                                         US 11,055,583 B1
                                  53                                                              54
    one input. In further embodiments, the anticipating the at performing, by the device , at least one operation defined by
    least one input correlated with the first digital picture based at least one output for operating the device produced by the
    on at least a partial match between the new digital picture logic circuit.
    and the first digital picture includes comparing at least one        The operations or steps of the non - transitory computer
    portion of the new digital picture with at least one portion of 5 storage medium and / or the method may be performed by
    the first digital picture. In further embodiments, the antici- any of the elements of the above described systems as
    pating the at least one input correlated with the first digital applicable . The non - transitory computer storage medium
    picture based on at least a partial match between the new and /or the method may include any of the operations, steps ,
    digital picture and the first digital picture includes determin- and embodiments of the above described systems as appli
    ing that there is at least a partial match between the new 10 cable.
    digital picture and the first digital picture. In further embodi-    In some aspects , the disclosure relates to a system for
    ments, the causing the logic circuit to receive the at least one learning and using a visual surrounding for autonomous
    input correlated with the first digital picture includes trans- device operating. The system may be implemented at least
    mitting, to the logic circuit, the at least one input correlated in part on one or more computing devices . In some embodi
    with the first digital picture. In further embodiments, the 15 ments, the system comprises a logic circuit configured to
    causing the logic circuit to receive the at least one input receive inputs and produce outputs, the outputs for operating
    correlated with the first digital picture includes replacing at a device. The system may further include a memory unit
    least one input into the logic circuit with the at least one configured to store data . The system may further include a
    input correlated with the first digital picture .                 picture capturing apparatus configured to capture digital
       In some aspects , the disclosure relates to a non - transitory 20 pictures. The system may further include an artificial intel
    computer storage medium having a computer program ligence unit . In some embodiments, the artificial intelligence
    stored thereon, the program including instructions that when unit may be configured to : receive a first digital picture from
    executed by one or more processor circuits cause the one or the picture capturing apparatus. The artificial intelligence
    more processor circuits to perform operations comprising : unit may be further configured to : receive at least one output,
    receiving a first digital picture from a picture capturing 25 the at least one output transmitted from the logic circuit . The
    apparatus. The operations may further include: receiving at artificial intelligence unit may be further configured to : learn
    least one input, wherein the at least one input is also received the first digital picture correlated with the at least one output.
    by a logic circuit, and wherein the logic circuit is configured The artificial intelligence unit may be further configured to :
    to receive inputs and produce outputs, the outputs for receive a new digital picture from the picture capturing
    operating a device . The operations may further include: 30 apparatus. The artificial intelligence unit may be further
    learning the first digital picture correlated with the at least configured to : anticipate the at least one output correlated
    one input. The operations may further include : receiving a with the first digital picture based on at least a partial match
    new digital picture from the picture capturing apparatus . The between the new digital picture and the first digital picture .
    operations may further include : anticipating the at least one The artificial intelligence unit may be further configured to :
    input correlated with the first digital picture based on at least 35 cause the device to perform at least one operation defined by
    a partial match between the new digital picture and the first the at least one output correlated with the first digital picture.
    digital picture . The operations may further include: causing           In certain embodiments , the logic circuit configured to
    the logic circuit to receive the at least one input correlated      receive inputs and produce outputs includes a logic circuit
    with the first digital picture , the causing performed in           configured to produce outputs based at least in part on logic
    response to the anticipating the at least one input correlated 40 operations performed on the inputs. In further embodiments,
    with the first digital picture based on at least a partial match    the learning the first digital picture correlated with the at
    between the new digital picture and the first digital picture ,     least one output includes correlating the first digital picture
    wherein the device performs at least one operation defined          with the at least one output. In further embodiments, the
    by at least one output for operating the device produced by         learning the first digital picture correlated with the at least
    the logic circuit.                                            45 one output includes storing, into the memory unit , the first
       In some aspects , the disclosure relates to a method com- digital picture correlated with the at least one output, the first
    prising: (a ) receiving a first digital picture from a picture digital picture correlated with the at least output being part
    capturing apparatus by one or more processor circuits. The of a stored plurality of digital pictures correlated with at least
    method may further include : (b ) receiving at least one input one output. In further embodiments, the anticipating the at
    by the one or more processor circuits, wherein the at least 50 least one output correlated with the first digital picture based
    one input are also received by a logic circuit, and wherein on at least a partial match between the new digital picture
    the logic circuit is configured to receive inputs and produce and the first digital picture includes comparing at least one
    outputs, the outputs for operating a device . The method may portion of the new digital picture with at least one portion of
    further include : ( c ) learning the first digital picture corre- the first digital picture. In further embodiments, the antici
    lated with the at least one input, the learning of ( c ) per- 55 pating the at least one output correlated with the first digital
    formed by the one or more processor circuits . The method picture based on at least a partial match between the new
    may further include : (d) receiving a new digital picture from digital picture and the first digital picture includes determin
    the picture capturing apparatus by the one or more processor ing that there is at least a partial match between the new
    circuits . The method may further include : ( e) anticipating digital picture and the first digital picture. In further embodi
    the at least one input correlated with the first digital picture 60 ments, the causing the device to perform at least one
    based on at least a partial match between the new digital operation defined by the at least one output correlated with
    picture and the first digital picture, the anticipating of (e ) the first digital picture includes replacing at least one output
    performed by the one or more processor circuits . The from the logic circuit with the at least one output correlated
    method may further include: (f) receiving, by the logic with the first digital picture.
    circuit , the at least one input correlated with the first digital 65 In some aspects , the disclosure relates to a non -transitory
    picture, the receiving of ( f) performed in response to the computer storage medium having a computer program
    anticipating of (e ) . The method may further include: (g ) stored thereon, the program including instructions that when
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 612 of 2562 PageID #: 13483


                                                        US 11,055,583 B1
                                 55                                                                  56
    executed by one or more processor circuits cause the one or digital picture based on at least a partial match between the
    more processor circuits to perform operations comprising: new digital picture and the first digital picture. The artificial
    receiving a first digital picture from the picture capturing intelligence unit may be further configured to : cause the
    apparatus. The operations may further include: receiving at actuator to receive the at least one input correlated with the
    least one output, the at least one output transmitted from a 5 first digital picture, the causing performed in response to the
    logic circuit, wherein the logic circuit is configured to anticipating of the artificial intelligence unit, wherein the
    receive inputs and produce outputs, the outputs for operating actuator performs at least one motion defined by the at least
    a device. The operations may further include: learning the one input correlated with the first digital picture .
    first digital picture correlated with the at least one output.        In some aspects , the disclosure relates to a non -transitory
    The operations may further include: receiving a new digital 10 computer storage medium having a computer program
    picture from the picture capturing apparatus. The operations stored thereon , the program including instructions that when
    may further include: anticipating the at least one output executed by one or more processor circuits cause the one or
    correlated with the first digital picture based on at least a more processor circuits to perform operations comprising:
    partial match between the new digital picture and the first receiving a first digital picture from a picture capturing
    digital picture. The operations may further include: causing 15 apparatus. The operations may further include: receiving at
    the device to perform at least one operation defined by the least one input, wherein the at least one input is also received
    at least one output correlated with the first digital picture . by an actuator, and wherein the actuator is configured to
       In some aspects , the disclosure relates to a method com- receive inputs and perform motions . The operations may
    prising : ( a ) receiving a first digital picture from the picture further include : learning the first digital picture correlated
    capturing apparatus by one or more processor circuits. The 20 with the at least one input. The operations may further
    method may further include: ( b ) receiving at least one output include: receiving a new digital picture from the picture
    by the one or more processor circuits , the at least one output capturing apparatus. The operations may further include :
    transmitted from a logic circuit, wherein the logic circuit is anticipating the at least one input correlated with the first
    configured to receive inputs and produce outputs, the out- digital picture based on at least a partial match between the
    puts for operating a device . The method may further include : 25 new digital picture and the first digital picture . The opera
    ( c ) learning the first digital picture correlated with the at tions may further include : causing the actuator to receive the
    least one output, the learning of (c ) performed by the one or at least one input correlated with the first digital picture, the
    more processor circuits . The method may further include: causing performed in response to the anticipating the at least
    ( d ) receiving a new digital picture from the picture capturing one input correlated with the first digital picture based on at
    apparatus by the one or more processor circuits. The method 30 least a partial match between the new digital picture and the
    may further include : (e ) anticipating the at least one output first digital picture, wherein the actuator performs at least
    correlated with the first digital picture based on at least a one motion defined by the at least one input correlated with
    partial match between the new digital picture and the first the first digital picture.
    digital picture, the anticipating of (e ) performed by the one       In some aspects , the disclosure relates to a method com
    or more processor circuits . The method may further include : 35 prising: ( a) receiving a first digital picture from a picture
    ( f) performing, by the device , at least one operation defined capturing apparatus by one or more processor circuits . The
    by the at least one output correlated with the first digital method may further include: ( b ) receiving at least one input
    picture.                                                           by the one or more processor circuits , wherein the at least
         The operations or steps of the non - transitory computer one input are also received by an actuator, and wherein the
    storage medium and / or the method may be performed by 40 actuator is configured to receive inputs and perform
    any of the elements of the above described systems as motions . The method may further include : (c ) learning the
    applicable. The non - transitory computer storage medium first digital picture correlated with the at least one input, the
    and / or the method may include any of the operations, steps , learning of (c ) performed by the one or more processor
    and embodiments of the above described systems as appli- circuits . The method may further include: ( d ) receiving a
    cable .                                                         45 new digital picture from the picture capturing apparatus by
         In some aspects , the disclosure relates to a system for the one or more processor circuits. The method may further
    learning and using a visual surrounding for autonomous include : ( e) anticipating the at least one input correlated with
    device operating. The system may be implemented at least the first digital picture based on at least a partial match
    in part on one or more computing devices. In some embodi- between the new digital picture and the first digital picture,
    ments, the system comprises an actuator configured to 50 the anticipating of ( e ) performed by the one or more pro
    receive inputs and perform motions . The system may further cessor circuits . The method may further include : ( f) receiv
    include a memory unit configured to store data . The system ing , by the actuator, the at least one input correlated with the
    may further include a picture capturing apparatus configured first digital picture, the receiving of ( f) performed in
    to capture digital pictures. The system may further include response to the anticipating of (e ) . The method may further
    an artificial intelligence unit. In some embodiments, the 55 include: (g ) performing, by the actuator, at least one motion
    artificial intelligence unit may be configured to : receive a defined by the at least one input correlated with the first
    first digital picture from the picture capturing apparatus. The digital picture.
    artificial intelligence unit may be further configured to :          The operations or steps of the non - transitory computer
    receive at least one input, wherein the at least one input is storage medium and / or the method may be performed by
    also received by the actuator. The artificial intelligence unit 60 any of the elements of the above described systems as
    may be further configured to : learn the first digital picture applicable . The non - transitory computer storage medium
    correlated with the at least one input. The artificial intelli- and /or the method may include any of the operations, steps ,
    gence unit may be further configured to : receive a new and embodiments of the above described systems as appli
    digital picture from the picture capturing apparatus. The cable .
    artificial intelligence unit may be further configured to . The 65 Other features and advantages of the disclosure will
    artificial intelligence unit may be further configured to : become apparent from the following description, including
    anticipate the at least one input correlated with the first the claims and drawings.
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 613 of 2562 PageID #: 13484


                                                      US 11,055,583 B1
                                57                                                                58
          BRIEF DESCRIPTION OF THE DRAWINGS                           correlated with any Instruction Sets 526 and / or Extra Info
                                                                         527 using Collection of Sequences 530c.
       FIG . 1 illustrates a block diagram of Computing Device             FIG . 23 illustrates an embodiment of determining antici
    70 that can provide processing capabilities used in some of patory Instruction Sets 526 from a single Knowledge Cell
    the disclosed embodiments .                                       5 800 .
       FIG . 2 illustrates an embodiment of Device 98 comprising           FIG . 24 illustrates an embodiment of determining antici
    Unit for Learning and / or Using Visual Surrounding for patory Instruction Sets 526 by traversing a single Knowl
    Autonomous Device Operation (VSADO Unit 100 ) .                      edge Cell 800 .
       FIG . 3 illustrates some embodiments of obtaining instruc-          FIG . 25 illustrates an embodiment of determining antici
    tion sets, data , and / or other information through tracing, 10 patory Instruction Sets 526 using collective similarity com
    profiling, or sampling of Processor 11 registers , memory , or parisons.
    other computing system components.                                     FIG . 26 illustrates an embodiment of determining antici
       FIGS . 4A - 4B illustrate some embodiments of obtaining patory Instruction Sets 526 using Neural Network 530a .
    instruction sets , data , and /or other information through trac-      FIG . 27 illustrates an embodiment of determining antici
    ing , profiling, or sampling of Logic Circuit 250 .               15 patory Instruction Sets 526 using Graph 530b.
       FIGS . 5A - 5E illustrate some embodiments of Instruction           FIG . 28 illustrates an embodiment of determining antici
    Sets 526 .                                                           patory Instruction Sets 526 using Collection of Sequences
       FIGS . 6A - 6B illustrate some embodiments of Extra Infor-        530c .
    mation 527 .                                                           FIG . 29 illustrates some embodiments of modifying
       FIG . 7 illustrates an embodiment where VSADO Unit 100 20 execution and / or functionality of Processor 11 through
    is part of or operating on Processor 11 .                            modification of Processor 11 registers, memory, or other
       FIG . 8 illustrates an embodiment where VSADO Unit 100 computing system components .
    resides on Server 96 accessible over Network 95 .                      FIGS . 30A - 30B illustrate some embodiments of modify
       FIG . 9 illustrates an embodiment where Picture Capturing ing execution and / or functionality of Logic Circuit 250
    Apparatus 90 is part of Remote Device 97 accessible over 25 through modification of inputs and / or outputs of Logic
    Network 95 .                                                      Circuit 250 .
      FIG . 10 illustrates an embodiment of VSADO Unit 100              FIG . 31 illustrates a flow chart diagram of an embodiment
    comprising Picture Recognizer 350 .                             of method 6100 for learning and / or using visual surrounding
       FIG . 11 illustrates an embodiment of Artificial Intelli- for autonomous device operation .
    gence Unit 110 .                                             30    FIG . 32 illustrates a flow chart diagram of an embodiment
       FIG . 12 illustrates an embodiment of Knowledge Struc- of method 6200 for learning and / or using visual surrounding
    turing Unit 520 correlating individual Digital Pictures 525 for autonomous device operation .
    with any Instruction Sets 526 and / or Extra Info 527 .            FIG . 33 illustrates a flow chart diagram of an embodiment
       FIG . 13 illustrates another embodiment of Knowledge of method 6300 for learning and / or using visual surrounding
    Structuring Unit 520 correlating individual Digital Pictures 35 for autonomous device operation.
    525 with any Instruction Sets 526 and / or Extra Info 527 .        FIG . 34 illustrates a flow chart diagram of an embodiment
       FIG . 14 illustrates an embodiment of Knowledge Struc- of method 6400 for learning and / or using visual surrounding
    turing Unit 520 correlating streams of Digital Pictures 525 for autonomous device operation .
    with any Instruction Sets 526 and / or Extra Info 527 .            FIG . 35 illustrates a flow chart diagram of an embodiment
      FIG . 15 illustrates another embodiment of Knowledge 40 of method 6500 for learning and / or using visual surrounding
    Structuring Unit 520 correlating streams of Digital Pictures for autonomous device operation.
    525 with any Instruction Sets 526 and / or Extra Info 527 .        FIG . 36 illustrates a flow chart diagram of an embodiment
      FIG . 16 illustrates various artificial intelligence methods, of method 6600 for learning and / or using visual surrounding
    systems , and / or models that can be utilized in VSADO Unit for autonomous device operation .
    100 embodiments.                                            45  FIG . 37 illustrates an exemplary embodiment of Comput
      FIGS . 17A - 17C illustrate embodiments of interconnected ing - enabled Machine 98a .
    Knowledge Cells 800 and updating weights of Connections        FIG . 38 illustrates an exemplary embodiment of Comput
    853 .                                                       ing -enabled Machine 98a comprising or coupled to a plu
       FIG . 18 illustrates an embodiment of learning Knowledge rality of Picture Capturing Apparatuses 90 .
    Cells 800 comprising one or more Digital Pictures 525 50 FIG . 39 illustrates an exemplary embodiment of Fixture
    correlated with any Instruction Sets 526 and / or Extra Info 98b .
    527 using Collection of Knowledge Cells 530d .                     FIG . 40 illustrates an exemplary embodiment of Control
       FIG . 19 illustrates an embodiment of learning Knowledge Device 98c.
    Cells 800 comprising one or more Digital Pictures 525              FIG . 41 illustrates an exemplary embodiment of Smart
    correlated with any Instruction Sets 526 and / or Extra Info 55 phone 98d.
    527 using Neural Network 530a .                                    Like reference numerals in different figures indicate like
       FIG . 20 illustrates an embodiment of learning Knowledge elements . Horizontal or vertical “ ... ” or other such indicia
    Cells 800 comprising one or more Digital Pictures 525 may be used to indicate additional instances of the same type
    correlated with any Instruction Sets 526 and / or Extra Info of element n, m , x , or other such letters or indicia represent
    527 using Neural Network 530a comprising shortcut Con- 60 integers or other sequential numbers that follow the
    nections 853 .                                                  sequence where they are indicated . It should be noted that n ,
       FIG . 21 illustrates an embodiment of learning Knowledge m , x , or other such letters or indicia may represent different
    Cells 800 comprising one or more Digital Pictures 525 numbers in different elements even where the elements are
    correlated with any Instruction Sets 526 and / or Extra Info depicted in the same figure. In general, n, m , x , or other such
    527 using Graph 530b .                                       65 letters or indicia may follow the sequence and / or context
       FIG . 22 illustrates an embodiment of learning Knowledge where they are indicated . Any of these or other such letters
    Cells 800 comprising one or more Digital Pictures 525             or indicia may be used interchangeably depending on the
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 614 of 2562 PageID #: 13485


                                                       US 11,055,583 B1
                                 59                                                                 60
    context and space available . The drawings are not necessar-     interfaced with cache memory 14. Storage 27 may include
    ily to scale , with emphasis instead being placed upon           memory, which provides an operating system , also referred
    illustrating the embodiments, principles, and concepts of the    to as OS 17 , additional application programs 18 operating on
    disclosure . A line or arrow between any of the disclosed        OS 17 , and / or data space 19 in which additional data or
    elements comprises an interface that enables the coupling, 5 information can be stored. Alternative memory device 16
    connection, and / or interaction between the elements .      can be connected to the remaining components of Comput
                                                                      ing Device 70 via bus 5. Network interface 25 can also be
                   DETAILED DESCRIPTION                               connected with bus 5 and be used to communicate with
                                                                       external computing devices via a network . Some or all
       The disclosed artificially intelligent devices, systems, and 10 described elements of Computing Device 70 can be directly
    methods for learning and / or using visual surrounding for or operatively connected or coupled with each other using
    autonomous device operation comprise apparatuses, sys- any other connection means known in art. Other additional
    tems , methods, features, functionalities, and / or applications elements may be included as needed , or some of the dis
    that enable learning one or more digital pictures of a closed ones may be excluded , or a combination thereof may
    device's surrounding along with correlated instruction sets 15 be utilized in alternate implementations of Computing
    for operating the device, storing this knowledge in a knowl- Device 70 .
    edgebase (i.e. neural network , graph, sequences, etc. ) , and       Processor 11 includes any logic circuitry that can respond
    autonomously operating a device . The disclosed artificially to or process instructions fetched from memory 12 or other
    intelligent devices, systems , and methods for learning and / or element. Processor 11 may also include any combination of
    using visual surrounding for autonomous device operation, 20 hardware and / or processing techniques or capabilities for
    any of their elements, any of their embodiments , or a implementing or executing logic functions or programs.
    combination thereof can generally be referred to as VSADO , Processor 11 may include a single core or a multi core
    VSADO Unit, or as other similar name or reference .                processor. Processor 11 includes the functionality for load
       Referring now to FIG . 1 , an embodiment is illustrated of ing operating system 17 and operating any application
    Computing Device 70 ( also referred to simply as computing 25 programs 18 thereon . In some embodiments, Processor 11
    device or other similar name or reference, etc.) that can can be provided in a microprocessing or a processing unit,
    provide processing capabilities used in some embodiments such as , for example , Snapdragon processor produced by
    of the forthcoming disclosure. Later described devices and Qualcomm Inc. , processor by Intel Corporation of Mountain
    systems , in combination with processing capabilities of View , Calif., processor manufactured by Motorola Corpo
    Computing Device 70 , enable learning and / or using a 30 ration of Schaumburg , Ill .; processor manufactured by
    device's visual surrounding for autonomous device opera- Transmeta Corporation of Santa Clara, Calif.; the RS / 6000
    tion and / or other functionalities described herein . Various     processor, processor manufactured by International Busi
    embodiments of the disclosed devi              systems, and /or ness Machines of White Plains , N.Y .; processor manufac
    methods include hardware , functions, logic , programs, and / tured by Advanced Micro Devices of Sunnyvale, Calif ., or
    or a combination thereof that can be provided or imple- 35 any computing unit for performing similar functions. In
    mented on any type or form of computing, computing other embodiments, processor 11 can be provided in a
    enabled , or other device such as a mobile device, a com- graphics processing unit (GPU ), visual processing unit
    puter, a computing enabled telephone, a server , a cloud ( VPU ), or other highly parallel processing unit or circuit
    device , a gaming device , a television device, a digital such as , for example , nVidia GeForce line of GPUs , AMD
    camera, a GPS receiver, a media player, an embedded 40 Radeon line of GPUs, and / or others. Such GPUs or other
    device , a supercomputer, a wearable device , an implantable highly parallel processing units may provide superior per
    device , or any other type or form of computing, computing formance in processing operations on neural networks and /
    enabled, or other device capable of performing the opera- or other data structures. In further embodiments, processor
    tions described herein .                                   11 can be provided in a micro controller such as , for
       In some designs, Computing Device 70 comprises hard- 45 example, Texas instruments, Atmel, Microchip Technology,
    ware , processing techniques or capabilities, programs, or a     ARM , Silicon Labs , Intel, and /or other lines of micro
    combination thereof. Computing Device 70 includes one or         controllers, and /or others. In further embodiments, processor
    more central processing units, which may also be referred to     11 includes any circuit (i.e. logic circuit , etc. ) or device for
    as processors 11. Processor 11 includes one or more memory       performing logic operations. Computing Device 70 can be
    ports 10 and / or one or more input -output ports, also referred 50 based on one or more of the aforementioned or other
    to as I /O ports 15 , such as I/ O ports 15A and 15B . Processor processors capable of operating as described herein .
    11 may be special or general purpose. Computing Device 70             Memory 12 includes one or more memory chips capable
    may further include memory 12 , which can be connected to of storing data and allowing any storage location to be
    the remainder of the components of Computing Device 70 accessed by processor 11 and / or other element. Examples of
    via bus 5. Memory 12 can be connected to processor 11 via 55 Memory 12 include static random access memory ( SRAM ),
    memory port 10. Computing Device 70 may also include Flash memory, Burst SRAM or SynchBurst SRAM
    display device 21 such as a monitor, projector, glasses , (BSRAM ), Dynamic random access memory (DRAM ), Fast
    and / or other display device . Computing Device 70 may also      Page Mode DRAM (FPM DRAM ), Enhanced DRAM
    include Human -machine Interface 23 such as a keyboard , a        (EDRAM ), Extended Data Output RAM (EDO RAM ),
    pointing device , a mouse , a touchscreen , a joystick , and / or 60 Extended Data Output DRAM ( EDO DRAM ), Burst
    other input device that can be connected with the remainder Extended Data Output DRAM ( BEDO DRAM ), Enhanced
    of the Computing Device 70 components via I/ O control 22 . DRAM (EDRAM ), synchronous DRAM (SDRAM ),
    In some implementations, Human -machine Interface 23 can JEDEC SRAM , PC100 SDRAM , Double Data Rate
    be connected with bus 5 or directly connected with specific SDRAM (DDR SDRAM ), Enhanced SDRAM (ESDRAM ),
    components of Computing Device 70. Computing Device 70 65 SyncLink DRAM ( SLDRAM ), Direct Rambus DRAM
    may include additional elements , such as one or more (DRDRAM ), Ferroelectric RAM ( FRAM ), and / or others.
    input/output devices 13. Processor 11 may include or be Memory 12 can be based on any of the above described
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 615 of 2562 PageID #: 13486


                                                          US 11,055,583 B1
                                  61                                                                62
    memory chips , or any other available memory chips capable modules, sub programs, or portions of code , etc. ) . Applica
    of operating as described herein . In some embodiments, tion Program 18 can be delivered in various forms such as ,
    processor 11 can communicate with memory 12 via a system for example , executable file , library, script, plugin, addon ,
    bus 5. In other embodiments, processor 11 can communicate applet , interface, console application , web application ,
    directly with memory 12 via a memory port 10 .             5 application service provider (ASP ) -type application, oper
       Processor 11 can communicate directly with cache ating system , and / or other forms. Application program 18
    memory 14 via a connection means such as a secondary bus can be deployed to be executed on one computing device or
    which may also sometimes be referred to as a backside bus . on multiple computing devices (i.e. cloud , distributed, or
    In some embodiments, processor 11 can communicate with parallel computing, etc. ) , or at one site or distributed across
    cache memory 14 using the system bus 5. Cache memory 14 10 multiple sites interconnected by a communication network .
    may typically have a faster response time than main memory     Network interface 25 can be utilized for interfacing
    12 and can include a type of memory which is considered Computing Device 70 with other devices via a network
    faster than main memory 12 , such as for example SRAM , through a variety of connections including standard tele
    BSRAM , or EDRAM . Cache memory includes any structure phone lines, wired or wireless connections, LAN or WAN
    such as multilevel caches, for example. In some embodi- 15 links (i.e. 802.11 , T1 , T3 , 56 kb, X.25 , etc. ) , broadband
    ments, processor 11 can communicate with one or more I /O connections ( i.e. ISDN , Frame Relay, ATM , etc. ) , or a
    devices 13 via a system bus 5. Various busses can be used combination thereof. Examples of networks include the
    to connect processor 11 to any of the I/O devices 13 , such Internet, an intranet, an extranet, a local area network
    as a VESA VL bus , an ISA bus , an EISA bus , a MicroChan- (LAN ), a wide area network (WAN ), a personal area net
    nel Architecture ( MCA) bus , a PCI bus , a PCI - X bus , a 20 work ( PAN ), a home area network (HAN ), a campus area
    PCI - Express bus , a NuBus, and / or others. In some embodi- network ( CAN ), a metropolitan area network (MAN ), a
    ments, processor 11 can communicate directly with I /O global area network (GAN ), a storage area network (SAN ),
    device 13 via HyperTransport, Rapid I/O , or InfiniBand . In virtual network , a virtual private network (VPN) , Bluetooth
    further embodiments, local busses and direct communica- network , a wireless network, a wireless LAN , a radio
    tion can be mixed . For example, processor 11 can commu- 25 network , a HomePNA , a power line communication net
    nicate with an I/ O device 13 using a local interconnect bus work , a G.hn network , an optical fiber network , an Ethernet
    and communicate with another I/ O device 13 directly. Simi- network , an active networking network , a client - server net
    lar configurations can be used for any other components work, a peer-to - peer network , a bus network , a star network,
    described herein .                                              a ring network , a mesh network, a star - bus network , a tree
       Computing Device 70 may further include alternative 30 network, a hierarchical topology network , and / or other net
    memory such as a SD memory slot , a USB memory stick, an works. Network interface 25 may include a built - in network
    optical drive such as a CD - ROM drive, a CD - R /RW drive, adapter, network interface card, PCMCIA network card,
    a DVD - ROM drive or a BlueRay disc , a hard -drive, and / or card bus network adapter, wireless network adapter, Blu
    any other device comprising non - volatile memory suitable etooth network adapter, WiFi network adapter, USB network
    for storing data or installing application programs. Comput- 35 adapter, modem , and / or any other device suitable for inter
    ing Device 70 may further include a storage device 27 facing Computing Device 70 with any type of network
    comprising any type or form of non - volatile memory for capable of communication and / or operations described
    storing an operating system ( OS ) such as any type or form herein .
    of Windows OS , Mac OS , Unix OS , Linux OS , Android OS ,         Still referring to FIG . 1 , 1 / O devices 13 may be present in
    iPhone OS , mobile version of Windows OS , an embedded 40 various shapes or forms in Computing Device 70. Examples
    OS , or any other OS that can operate on Computing Device of I/ O device 13 capable of input include a joystick, a
    70. Computing Device 70 may also include application keyboard , a mouse , a trackpad , a trackpoint, a touchscreen ,
    programs 18 , and/ or data space 19 for storing additional data a trackball, a microphone, a drawing tablet, a glove , a tactile
    or information. In some embodiments, alternative memory input device, a still or video camera , and / or other input
    16 can be used as or similar to storage device 27. Addition- 45 device . Examples of I /O device 13 capable of output include
    ally, OS 17 and / or application programs 18 can be operable a video display, a touchscreen , a projector, a glasses , a
    from a bootable medium , such as for example, a flash drive, speaker, a tactile output device, and / or other output device .
    a micro SD card, a bootable CD or DVD , and / or other Examples of 1/0 device 13 capable of input and output
    bootable medium .                                                include a disk drive, an optical storage device, a modem , a
      Application Program 18 ( also referred to as program , 50 network card , and /or other input/output device . I/O device
    computer program , application , script , code, or other similar 13 can be interfaced with processor 11 via an I /O port 15 , for
    name or reference ) comprises instructions that can provide example. I/O device 13 can also be controlled by I/ O control
    functionality when executed by processor 11. As such ,              22 in some implementations. I /O control 22 may control one
    Application Program 18 may be used to operate (i.e. perform         or more I /O devices such as Human- machine Interface 23
    operations on /with ) or control a device or system . Applica- 55 (i.e. keyboard, pointing device, touchscreen , joystick ,
    tion program 18 can be implemented in a high- level proce- mouse , optical pen , etc. ) . I /O control 22 enables any type or
    dural or object - oriented programming language, or in a form of a device such as , for example, a video camera or
    low - level machine or assembly language. Any language microphone to be interfaced with other components of
    used can be compiled , interpreted, or otherwise translated Computing Device 70. Furthermore , I/ O device 13 may also
    into machine language. Application program 18 can be 60 provide storage such as or similar to storage 27 , and / or
    deployed in any form including as a stand - alone program or alternative memory such as or similar to alternative memory
    as a module , component, subroutine, or other unit suitable 16 in some implementations.
    for use in a computing system . Application program 18 does          An output interface such as a graphical user interface, an
    not necessessarily correspond to a file in a file system . A acoustic output interface , a tactile output interface, any
    program can be stored in a portion of a file that may hold 65 device driver (i.e. audio, video , or other driver ), and / or other
    other programs or data , in a single file dedicated to the          output interface or system can be utilized to process output
    program , or in multiple files (i.e. files that store one or more   from elements of Computing Device 70 for conveyance on
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 616 of 2562 PageID #: 13487


                                                       US 11,055,583 B1
                                 63                                                                 64
    an output device such as Display 21. In some aspects , poration of Redmond, Wash .; Mac OS , iPhone OS , etc.
    Display 21 or other output device itself may include an manufactured by Apple Computer of Cupertino, Calif .; OS / 2
    output interface for processing output from elements of manufactured by International Business Machines of
    Computing Device 70. Further, an input interface such as a Armonk , N.Y .; Linux , a freely -available operating system
    keyboard listener, a touchscreen listener, a mouse listener, 5 distributed by Caldera Corp. of Salt Lake City, Utah; or any
    any device driver (i.e. audio , video , keyboard, mouse , touch type or form of a Unix operating system , among others . Any
    screen , or other driver ), a speech recognizer, a video inter operating systems such as the ones for Android devices can
    preter, and / or other input interface or system can be utilized similarly be utilized .
    to process input from Human -machine Interface 23 or other             Computing Device 70 can be implemented as or be part
    input   device   for use by elements  of Computing  Device   70. 10 of various different model architectures such as web ser
    In some aspects , Human -machine Interface 23 or other input vices , distributed computing , grid computing, cloud com
    device itself may include an input interface for processing puting, and / or other architectures . For example, in addition
    input for use by elements of Computing Device 70 .
       Computing Device 70 may include or be connected to to the traditional desktop , server, or mobile operating system
    multiple display devices 21. Display devices 21 can each be 15 toarchitectures  , a cloud - based operating system can be utilized
                                                                            provide the structure on which embodiments of the
    of the same or different type or form . Computing Device 70
    and / or its elements comprise any type or form of suitable disclosure can be implemented. Other aspects of Computing
    hardware, programs, or a combination thereof to support, Device 70 can also be implemented in the cloud without
    enable, or provide for the connection and use of multiple departing from the spirit and scope of the disclosure . For
    display devices 21. In one example, Computing Device 70 20 example, memory, storage, processing , and / or other ele
    includes any type or form of video adapter, video card,            ments can be hosted in the cloud . In some embodiments ,
    driver, and / or library to interface, communicate, connect, or Computing Device 70 can be implemented on multiple
    otherwise use display devices 21. In some aspects , a video devices. For example, a portion of Computing Device 70 can
    adapter may include multiple connectors to interface to be implemented on a mobile device and another portion can
    multiple display devices 21. In other aspects , Computing 25 be implemented on wearable electronics.
    Device 70 includes multiple video adapters, with each video       Computing Device 70 can be or include any mobile
    adapter connected to one or more display devices 21. In device, a mobile phone , a smartphone (i.e. iPhone , Windows
    some embodiments, Computing Device's 70 operating sys- phone, Blackberry, Android phone , etc. ) , a tablet, a personal
    tem can be configured for using multiple displays 21. In digital assistant (PDA) , wearable electronics, implantable
    other embodiments, one or more display devices 21 can be 30 electronics, or another mobile device capable of implement
    provided by one or more other computing devices such as ing the functionalities described herein . In other embodi
    remote computing devices connected to Computing Device ments, Computing Device 70 can be or include an embedded
    70 via a network .                                                evice, which can be any device or system with a dedicated
        In some embodiments, I /O device 13 can be a bridge function within another device or system . Embedded sys
    between system bus 5 and an external communication bus , 35 tems range from the simplest ones dedicated to one task with
    such as a USB bus , an Apple Desktop Bus , an RS - 232 serial no user interface to complex ones with advanced user
    connection, a SCSI bus , a FireWire bus , a FireWire 800 bus , interface that may resemble modern desktop computer sys
    an Ethernet bus , an AppleTalk bus , a Gigabit Ethernet bus , tems . Examples of devices comprising an embedded device
    an Asynchronous Transfer Mode bus , a HIPPI bus , a Super include a mobile telephone, a personal digital assistant
    HIPPI bus , a SerialPlus bus , a SC1/ LAMP bus , a FibreChan- 40 (PDA) , a gaming device , a media player, a digital still or
    nel bus , a Serial Attached small computer system interface video camera, a pager, a television device , a set -top box , a
    bus , and /or other bus .                                        personal navigation device, a global positioning system
       Computing Device 70 can operate under the control of (GPS ) receiver, a portable storage device ( i.e. a USB flash
    operating system 17 , which may support Computing drive, etc. ), a digital watch , a DVD player, a printer, a
    Device's 70 basic functions, interface with and manage 45 microwave oven , a washing machine , a dishwasher, a gate
    hardware resources , interface with and manage peripherals , way, a router, a hub , an automobile entertainment system , an
    provide common services for application programs, sched- automobile navigation system , a refrigerator, a washing
    ule tasks , and / or perform other functionalities. A modern machine , a factory automation device , an assembly line
    operating system enables features and functionalities such as device, a factory floor monitoring device , a thermostat, an
    a high resolution display, graphical user interface (GUI), 50 automobile, a factory controller, a telephone, a network
    touchscreen , cellular network connectivity ( i.e. mobile oper- bridge, and /or other devices . An embedded device can
    ating system , etc. ) , Bluetooth connectivity, WiFi connectiv- operate under the control of an operating system for embed
    ity, global positioning system (GPS ) capabilities , mobile ded devices such as MicroC /OS - II, QNX , VxWorks, eCos ,
    navigation, microphone, speaker, still picture camera , video TinyOS, Windows Embedded, Embedded Linux , and / or
    camera, voice recorder, speech recognition, music player, 55 other embedded device operating systems.
    video player, near field communication , personal digital          Various implementations of the disclosed devices , sys
    assistant (PDA) , and / or other features, functionalities, or tems , and / or methods can be realized in digital electronic
    applications. For example, Computing Device 70 can use circuitry , integrated circuitry, logic gates, specially designed
    any conventional operating system , any embedded operating application specific integrated circuits ( ASICs ), field pro
    system , any real -time operating system , any open source 60 grammable gate arrays ( FPGAs ), computer hardware, firm
    operating system , any video gaming operating system , any ware , programs, virtual machines, and/ or combinations
    proprietary operating system , any online operating system , thereof including their structural, logical , and / or physical
    any operating system for mobile computing devices , or any equivalents.
    other operating system capable of running on Computing             The disclosed devices, systems , and /or methods may
    Device 70 and performing operations described herein . 65 include clients and servers . A client and server are generally
    Example of operating systems include Windows XP, Win- remote from each other and typically interact via a network .
    dows 7 , Windows 8 , etc. manufactured by Microsoft Cor- The relationship of a client and server may arise by virtue of
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 617 of 2562 PageID #: 13488


                                                         US 11,055,583 B1
                                  65                                                                    66
    computer programs running on their respective computers elements thereof, can be implemented entirely or in part as
    and having a client -server relationship to each other.        a computer program and executed by one or more Proces
       The disclosed devices, systems , and / or methods can be sors 11. Such program can be implemented in one or more
    implemented in a computing system that includes a back end modules or units of a single or multiple computer programs.
    component, a middleware component, a front end compo- 5 Such program may be able to attach to or interface with ,
    nent, or any combination thereof. The components of the inspect , and / or take control of another application program
    system can be interconnected by any form or medium of to implement VSADO functionalities . In further embodi
    digital data communication such as , for example, a network . ments, the disclosed artificially intelligent devices, systems,
       Computing Device 70 may include or be interfaced with and / or methods for learning and /or using visual surrounding
    a computer program product comprising instructions or 10 for autonomous device operation , or elements thereof, can
    logic encoded on a computer -readable medium . Such be implemented as a network , web , distributed , cloud, or
    instructions or logic , when executed , may configure or cause other such application accessed on one or more remote
    a processor to perform the operations and / or functionalities computing devices (i.e. servers , cloud , etc. ) via Network
    disclosed herein . For example, a computer program can be Interface 25 , such remote computing devices including
    provided or encoded on a computer - readable medium such 15 processing capabilities and instructions for implementing
    as an optical medium (i.e. DVD - ROM , etc. ) , flash drive , VSADO functionalities. In further embodiments, the dis
    hard drive, any memory, firmware , or other medium . Com- closed artificially intelligent devices, systems , and / or meth
    puter program can be installed onto a computing device to ods for learning and / or using visual surrounding for autono
    cause the computing device to perform the operations and / or mous device operation , or elements thereof, can be ( 1 )
    functionalities disclosed herein . Machine- readable medium , 20 attached to or interfaced with any computing device or
    computer -readable medium , or other such terms may refer to application program , ( 2 ) included as a feature of an operat
    any computer program product, apparatus, and / or device for ing system , ( 3 ) built (i.e. hard coded, etc. ) into any com
    providing instructions and / or data to a programmable pro- puting device or application program , and / or ( 4 ) available in
    cessor. As such , machine- readable medium includes any any other configuration to provide its functionalities .
    medium that can send or receive machine instructions as a 25 In yet other embodiments, the disclosed artificially intel
    machine - readable signal . Examples of a machine - readable ligent devices, systems, and / or methods for learning and / or
    medium include a volatile and / or non - volatile medium , a using visual surrounding for autonomous device operation ,
    removable and /or non -removable medium , a communica-                or elements thereof, can be implemented at least in part in
    tion medium , a storage medium , and / or other medium . A            a computer program such as Java application or program .
    communication medium , for example , can transmit com- 30 Java provides a robust and flexible environment for appli
    puter readable instructions and / or data in a modulated data cation programs including flexible user interfaces, robust
    signal such as a carrier wave or other transport technique, security, built - in network protocols, powerful application
    and may include any other form of information delivery programming interfaces, database or DBMS connectivity
    medium known in art . A non - transitory machine - readable and interfacing functionalities, file manipulation capabili
    medium comprises all machine- readable media except for a 35 ties , support for networked applications, and / or other fea
    transitory, propagating signal.                                tures or functionalities. Application programs based on Java
       In some embodiments, the disclosed artificially intelligent can be portable across many devices, yet leverage each
    devices, systems, and / or methods for learning and / or using device's native capabilities . Java supports the feature sets of
    visual surrounding for autonomous device operation, or most smartphones and a broad range of connected devices
    elements thereof, can be implemented entirely or in part in 40 while still fitting within their resource constraints. Various
    a device ( i.e. microchip, circuitry, logic gates, electronic Java platforms include virtual machine features comprising
    device, computing device , special or general purpose pro- a runtime environment for application programs. Java plat
    cessor, etc. ) or system that comprises (i.e. hard coded ,            forms provide a wide range of user - level functionalities that
    internally stored , etc.) or is provided with (i.e. externally can be implemented in application programs such as dis
    stored , etc. ) instructions for implementing VSADO func- 45 playing text and graphics, playing and recording audio
    tionalities . As such , the disclosed artificially intelligent content, displaying and recording visual content, communi
    devices, systems, and / or methods for learning and / or using cating with another computing device , and / or other func
    visual surrounding for autonomous device operation, or tionalities . It should be understood that the disclosed artifi
    elements thereof, may include the processing, memory, cially intelligent devices, systems, and /or methods for
    storage , and / or other features, functionalities, and embodi- 50 learning and / or using visual surrounding for autonomous
    ments of Computing Device 70 or elements thereof. Such device operation, or elements thereof, are programming
    device or system can operate on its own (i.e. standalone language, platform , and operating system independent.
    device or system , etc. ) , be embedded in another device or Examples of programming languages that can be used
    system ( i.e. a television device, an oven, a refrigerator, a instead of or in addition to Java include C , C ++ , Cobol ,
    vehicle, an industrial machine , a robot, a smartphone, and / or 55 Python, Java Script , Tcl, Visual Basic , Pascal , VB Script,
    any other device or system capable of housing the elements Perl, PHP, Ruby, and / or other programming languages
    needed for VSADO functionalities ), work in combination               capable of implementing the functionalities described
    with other devices or systems, or be available in any other           herein .
    configuration . In other embodiments , the disclosed artifi-             Where a reference to a specific file or file type is used
    cially intelligent devices , systems, and / or methods for learn- 60 herein , other files, file types , or formats can be substituted .
    ing and / or using visual surrounding for autonomous device             Where a reference to a data structure is used herein , it
    operation, or elements thereof, may include Alternative should be understood that any variety of data structures can
    Memory 16 that provides instructions for implementing be used such as , for example, array, list , linked list , doubly
    VSADO functionalities to one or more Processors 11. In linked list , queue, tree , heap , graph , map , grid , matrix ,
    further embodiments, the disclosed artificially intelligent 65 multi- dimensional matrix, table , database, database manage
    devices, systems, and / or methods for learning and / or using ment system ( DBMS ) , file, neural network , and / or any other
    visual surrounding for autonomous device operation, or                type or form of a data structure including a custom one . A
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 618 of 2562 PageID #: 13489


                                                       US 11,055,583 B1
                                67                                                                    68
    data structure may include one or more fields or data fields       illustrated . Device 98 also comprises interconnected Proces
    that are part of or associated with the data structure. A field sor 11 , Human -machine Interface 23 , Picture Capturing
    or data field may include a data, an object, a data structure , Apparatus 90 , Memory 12 , and Storage 27. Processor 11
    and / or any other element or a reference /pointer thereto . A includes or executes Application Program 18. VSADO Unit
    data structure can be stored in one or more memories, files, 5 100 comprises interconnected Artificial Intelligence Unit
    or other repositories. A data structure and / or any elements 110 , Acquisition Interface 120 , and Modification Interface
    thereof, when stored in a memory , file, or other repository, 130. Other additional elements can be included as needed, or
    may be stored in a different arrangement than the arrange-         some of the disclosed ones can be excluded , or a combina
    ment of the data structure and / or any elements thereof. For      tion thereof can be utilized in alternate embodiments.
    example, a sequence of elements can be stored in an 10 In one example, the teaching presented by the disclosure
    arrangement other than a sequence in a memory, file , or can be implemented in a device or system for learning and / or
    other repository.                                                  using visual surrounding for autonomous device operation .
       Where a reference to a repository is used herein , it should The device or system may include a processor circuit (i.e.
    be understood that a repository may be or include one or Processor 11 , etc. ) configured to execute instruction sets (i.e.
    more files or file systems, one or more storage locations or 15 Instruction Sets 526 , etc. ) for operating a device . The device
    structures, one or more storage systems, one or more data or system may further include a memory unit (i.e. Memory
    structures or objects, one or more memory locations or 12 , etc. ) configured to store data . The device or system may
    structures, and / or other storage , memory, or data arrange- further include a picture capturing apparatus ( i.e. Picture
    ments .                                                            Capturing Apparatus 90 , etc.) configured to capture digital
       Where a reference to an interface is used herein , it should 20 pictures (i.e. Digital Pictures 525 , etc. ) . The device or
    be understood that the interface comprises any hardware, system may further include an artificial intelligence unit (i.e.
    device , system , program , method , and / or combination Artificial Intelligence Unit 110 , etc. ). The artificial intelli
    thereof that enable direct or operative coupling , connection , gence unit may be configured to receive a first digital picture
    and / or interaction of the elements between which the inter-      from the picture capturing apparatus. The artificial intelli
    face is indicated . A line or arrow shown in the figures 25 gence unit may also be configured to receive one or more
    between any of the depicted elements comprises such inter- instruction sets for operating the device from the processor
    face . Examples of an interface include a direct connection , circuit. The artificial intelligence unit may also be config
    an operative connection, a wired connection (i.e. wire , cable , ured to learn the first digital picture correlated with the one
    etc. ) , a wireless connection , a device , a network, a bus , a or more instruction sets for operating the device . The
    circuit , a firmware , a driver, a bridge , a program , a combi- 30 artificial intelligence unit may also be configured to receive
    nation thereof, and /or others.                                    a new digital picture from the picture capturing apparatus.
      Where a reference to an element coupled or connected to          The artificial intelligence unit may also be configured to
    another element is used rein , it should be understood that anticipate the one or more instruction sets for operating the
    the element may be in communication or any other interac- device correlated with the first digital picture based on at
    tive relationship with the other element. Furthermore , an 35 least a partial match between the new digital picture and the
    element coupled or connected to another element can be first digital picture. The artificial intelligence unit may also
    coupled or connected to any other element in alternate be configured to cause the processor circuit to execute the
    implementations. Terms coupled , connected , interfaced, or one or more instruction sets for operating the device corre
    other such terms may be used interchangeably herein lated with the first digital picture, the executing performed
    depending on context.                                      40 in response to the anticipating of the artificial intelligence
        Where a reference to an element matching another ele- unit, wherein the device performs one or more operations
    ment is used herein , it should be understood that the element defined by the one or more instruction sets for operating the
    may be equivalent or similar to the other element. Therefore , device correlated with the first digital picture, the one or
    the term match or matching can refer to total equivalence or more operations performed in response to the executing by
    similarity depending on context.                                45 the processor circuit. Any of the operations of the described
        Where a reference to a device is used herein , it should be elements can be performed repeatedly and / or in different
    understood that the device may include or be referred to as orders in alternate embodiments . In some embodiments , a
    a system , and vice versa depending on context, since a stream of digital pictures can be used instead of or in
    device may include a system of elements and a system may addition to any digital picture such as , for example , using a
    be embodied in a device .                                       50 first stream of digital pictures instead of the first digital
        Where a mention of a function, method, routine, subrou- picture . In other embodiments, a logic circuit ( i.e. Logic
    tine , or other such procedure is used herein , it should be Circuit 250 , etc.) may be used instead of the processor
    understood that the function, method, routine , subroutine, or circuit . In such embodiments, the one or more instruction
    other such procedure comprises a call , reference, or pointer sets for operating the device may include or be substituted
    toprocedure
         the function
                .
                      , method, routine, subroutine , or other such 55 with one or more inputs into or one or more outputs from the
                                                                       logic circuit. In further embodiments, an actuator may be
        Where a mention of data , object, data structure , item , included instead of or in addition to the processor circuit. In
    element, or thing is used herein , it should be understood that such embodiments , the one or more instruction sets for
    the data, object, data structure, item , element, or thing operating the device may include or be substituted with one
    comprises a reference or pointer to the data , object, data 60 or more inputs into the actuator. Other additional elements
    structure , item , element, or thing.                              can be included as needed, or some of the disclosed ones can
        The term collection of elements can refer to plurality of be excluded , or a combination thereof can be utilized in
    elements without implying that the collection is an element alternate embodiments . The device or system for learning
    itself .                                                           and / or using visual surrounding for autonomous device
        Referring to FIG . 2 , an embodiment of Device 98 com- 65 operation may include any actions or operations of any of
    prising Unit for Learning and /or Using Visual Surrounding the disclosed methods such as methods 6100 , 6200 , 6300 ,
    for Autonomous Device Operation (VSADO Unit 100 ) is 6400 , 6500 , and / or 6600 (all later described) .
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 619 of 2562 PageID #: 13490


                                                       US 11,055,583 B1
                                 69                                                                   70
       Device 98 comprises any hardware , programs, or a com-          Capturing Apparatus 90 may be or comprises any other
    bination thereof. Device 98 may include a system . Device 98       picture capturing apparatus . In general, Picture Capturing
    may include any features, functionalities, and embodiments         Apparatus 90 may capture any light (i.e. visible light,
    of Computing Device 70 , or elements thereof. Examples of          infrared light, ultraviolet light, x - ray light, etc. ) across the
    Device 98 include a desktop or other computer, a smart- 5 electromagnetic spectrum onto a light- sensitive material. In
    phone or other mobile computer, a vehicle , an industrial one example, a digital Picture Capturing Apparatus 90 can
    machine, a toy, a robot , a microwave or other oven , and / or utilize a charge coupled device (CCD ) , a CMOS sensor,
    any other device or machine comprising processing capa- and / or other electronic image sensor to capture digital
    bilities . Such device or machine may be built for any pictures that can then be stored in a memory or storage , or
    function or purpose examples of which are described later. 10 transmitted to an element such as Artificial Intelligence Unit
       User 50 (also referred to simply as user or other similar 110. In another example, analog Picture Capturing Appara
    name or reference ) comprises a human user or non -human tus       90 can utilize an analog -to - digital converter to produce
    user . A non - human User 50 includes any device, system ,
    program , and / or other mechanism for operating or control digital pictures. In some embodiments, Picture Capturing
    ling Device 98 and / or elements thereof. In one example, 15 Apparatus     90 can be built, embedded , or integrated in
    User 50 may issue an operating direction to Application Device 98 , VSADO Unit 100 , and / or other disclosed ele
    Program 18 responsive to which Application Program's 18 ment. In other embodiments , Picture Capturing Apparatus
    instructions or instruction sets may be executed by Processor 90 can be an external Picture Capturing Apparatus 90
    11 to perform a desired operation on Device 98. In another connected with Device 98 , VSADO Unit 100 , and /or other
    example, User 50 may issue an operating direction to 20 disclosed element. In further embodiments, Picture Captur
    Processor 11 , Logic Circuit 250 ( later described ), and / or ing Apparatus 90 comprises Computing Device 70 or ele
    other processing element responsive to which Processor 11 , ments thereof. In general, Picture Capturing Apparatus 90
    Logic Circuit 250 , and / or other processing element may can be implemented in any suitable configuration to provide
    implement logic to perform a desired operation on Device its functionalities. Picture Capturing Apparatus 90 may
    98. User's 50 operating directions comprise any user input- 25 capture one or more Digital Pictures 525. Digital Picture 525
    ted data (i.e. values , text, symbols, etc. ) , directions ( i.e. (also referred to simply as digital pictures, etc. ) may include
    move right, move up , move forward , copy an item , click on a collection of color encoded pixels or dots . Examples of file
    a link, etc. ) , instructions or instruction sets (i.e. manually formats that can be utilized to store Digital Picture 525
    inputted instructions or instruction sets, etc. ) , and / or other include JPEG , GIF, TIFF, PNG , PDF, and / or other file
    inputs or information . A non -human User 50 can utilize 30 formats. A stream of Digital Pictures 525 i.e. motion
    more suitable interfaces instead of, or in addition to , Human- picture , video , etc.) may include one or more Digital Pic
    machine Interface 23 and / or Display 21 for controlling tures 525. Examples of file formats that can be utilized to
    Device 98 and / or elements thereof. Examples of such inter- store a stream of Digital Pictures 525 include MPEG , AVI,
    faces include an application programming interface (API), FLV, MOV, RM , SWF , WMV, DivX , and / or other file
    bridge ( i.e. bridge between applications, devices , or systems, 35 formats. In some aspects , Digital Picture 525 may include or
    etc. ) , driver, socket, direct or operative connection , handle, be substituted with a stream of Digital Pictures 525 , and vice
    function / routine/ subroutine, and /or other interfaces.           versa . Therefore , the terms digital picture and stream of
       In some embodiments, Processor 11 , Logic Circuit 250 , digital pictures may be used interchangeably herein depend
    Application Program 18 , and / or other processing element ing on context. In some aspects , Device's 98 surrounding
    may control or affect an actuator ( not shown) . Actuator 40 may include exterior of Device 98. In other aspects ,
    comprises the functionality for implementing movements, Device's 98 surrounding may include interior of Device 98
    actions , behaviors, maneuvers , and / or other mechanical or in case of hollow Device 98 , Device 98 comprising com
    physical operations. Device 98 may include one or more partments or openings , and /or other variously shaped Device
    actuators to enable Device 98 to perform mechanical, physi- 98 .
    cal , or other operations and / or to interact with its environ- 45 VSADO Unit 100 comprises any hardware, programs, or
    ment. For example, an actuator can be connected to or a combination thereof. VSADO Unit 100 comprises the
    coupled to an element such as a wheel, arm , or other element functionality for learning the operation of Device 98 in
    to act upon the environment. Examples of an actuator various visual surroundings. VSADO Unit 100 comprises
    include a motor, a linear motor, a servomotor, a hydraulic the functionality for structuring and / or storing this knowl
    element, a pneumatic element, an electro -magnetic element, 50 edge in a knowledgebase (i.e. neural network , graph,
    a spring element, and / or other actuators . Examples of types sequences , other repository, etc. ) . VSADO Unit 100 com
    of actuators include a rotary actuator, a linear actuator, prises the functionality for enabling autonomous operation
    and / or other types of actuators . In other embodiments ,         of Device 98 in various visual surroundings. VSADO Unit
    Processor 11 , Logic Circuit 250 , Application Program 18 ,        100 comprises the functionality for interfacing with or
    and / or other processing element may control or affect any 55 attaching to Application Program 18 , Processor 11 , Logic
    other device or element instead of or in addition to an            Circuit 250 , and / or other processing element. VSADO Unit
    actuator.                                                          100 comprises the functionality for obtaining instruction
         Picture Capturing Apparatus 90 comprises the function- sets, data, and / or other information used , implemented ,
    ality for capturing one or more pictures, and /or other func- and / or executed by Application Program 18 , Processor 11 ,
    tionalities. As such , Picture Capturing Apparatus 90 can be 60 Logic Circuit 250 , and / or other processing element. VSADO
    used to capture pictures of Device's 98 surrounding. In some Unit 100 comprises the functionality for modifying instruc
    embodiments , Picture Capturing Apparatus 90 may be or tion sets, data, and / or other information used , implemented,
    comprises a motion picture camera that can capture streams and / or executed by Application Program 18 , Processor 11 ,
    of pictures ( i.e. motion pictures, videos , etc. ). In other Logic Circuit 250 , and / or other processing element. VSADO
    embodiments, Picture Capturing Apparatus 90 may be or 65 Unit 100 comprises learning, anticipating, decision making,
    comprises a still picture camera that can capture still pictures automation, and /or other functionalities disclosed herein .
    ( i.e. photographs , etc. ) . In further embodiments, Picture Statistical , artificial intelligence, machine learning, and / or
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 620 of 2562 PageID #: 13491


                                                       US 11,055,583 B1
                                 71                                                                 72
    other models or techniques are utilized to implement the         implement Device's 98 operation. In one example, VSADO
    disclosed devices, systems , and methods.                        Unit 100 may be a primary or preferred system for imple
      When the disclosed VSADO Unit 100 functionalities are          menting Device's 98 operation. While operating autono
    applied on Application Program 18 , Processor 11 , Logic mously under the control of VSADO Unit 100 , Device 98
    Circuit 250 ( later described ), and /or other processing ele- 5 may encounter a visual surrounding that has not been
    ment of Device 98 , Device 98 may become autonomous . encountered or learned before. In such situations, User 50
    VSADO Unit 100 may take control from , share control with , and / or non -VSADO system may take control ofDevice's 98
    and / or release control to Application Program 18 , Processor operation . VSADO Unit 100 may take control again when
    11 , Logic Circuit 250 , and / or other processing element to Device 98 encounters a previously learned visual surround
    implement autonomous operation of Device 98. VSADO 10 ing . Naturally, VSADO Unit 100 can learn Device's 98
    Unit 100 may take control from , share control with , and / or operation in visual surroundings while User 50 and /or
    release control to Application Program 18 , Processor 11 , non - VSADO system is in control of Device 98 , thereby
    Logic Circuit 250 , and / or other processing element auto- reducing or eliminating the need for future involvement of
    matically or after prompting User 50 to allow it . In some User 50 and / or non- VSADO system . In another example,
    aspects , Application Program 18 , Processor 11 , Logic Cir- 15 User 50 and / or non - VSADO system may be a primary or
    cuit 250 , and /or other processing element of an autonomous preferred system for control of Device's 98 operation . While
    Device 98 may include or be provided with anticipatory operating under the control of User 50 and / or non - VSADO
    instructions or instruction sets that User 50 did not issue or system , User 50 and /or non-   n -VSADO system may release
    cause to be executed . Such anticipatory instructions or control to VSADO Unit 100 for any reason (i.e. User 50 gets
    instruction sets include instruction sets that User 50 may 20 tired or distracted , non - VSADO system gets stuck or cannot
    want or is likely to issue or cause to be executed . Anticipa- make a decision , etc. ) , at which point Device 98 can be
    tory instructions or instruction sets can be generated by controlled by VSADO Unit 100. In some designs , VSADO
    VSADO Unit 100 or elements thereof based on the visual Unit 100 may take control in certain special visual surround
    surrounding of Device 98. As such , Application Program 18 , ings where VSADO Unit 100 may offer superior perfor
    Processor 11 , Logic Circuit 250 , and / or other processing 25 mance even though User 50 and / or non -VSADO system
    element of an autonomous Device 98 may include or be may generally be preferred. Once Device 98 leaves such
    provided with some or all original instructions or instruction special visual surrounding, VSADO Unit 100 may release
    sets and / or any anticipatory instructions or instruction sets control to User 50 and / or a non - VSADO system . In general,
    generated by VSADO Unit 100. Therefore , autonomous VSADO Unit 100 can take control from , share control with,
    Device 98 operating may include executing some or all 30 or release control to User 50 , non - VSADO system , and / or
    original instructions or instruction sets and/ or any anticipa- other system or process at any time , under any circum
    tory instructions or instruction sets generated by VSADO stances , and remain in control for any period of time as
    Unit 100. In one example, VSADO Unit 100 can overwrite             needed .
    or rewrite the original instructions or instruction sets of          In some embodiments, VSADO Unit 100 may control one
    Application Program 18 , Processor 11 , Logic Circuit 250 , 35 or more sub - devices, sub - systems , or elements of Device 98
    and / or other processing element with VSADO Unit 100- while User 50 and /or non - VSADO system may control other
    generated instructions or instruction sets . In another one or more sub -devices, sub -systems, or elements of
    example , VSADO Unit 100 can insert or embed VSADO                 Device 98 .
    Unit 100 - generated instructions or instruction sets among          It should be understood that a reference to autonomous
    the original instructions or instruction sets of Application 40 operating of Device 98 may include autonomous operating
    Program 18 , Processor 11 , Logic Circuit 250 , and / or other of Application Program 18 , Processor 11 , Logic Circuit 250 ,
    processing element. In a further example, VSADO Unit 100 and / or other processing element depending on context.
    can branch, redirect, or jump to VSADO Unit 100 - generated          Acquisition Interface 120 comprises the functionality for
    instructions or instruction sets from the original instructions obtaining or receiving instruction sets , data, and / or other
    or instruction sets of Application Program 18 , Processor 11 , 45 information . Acquisition Interface 120 comprises the func
    Logic Circuit 250 , and / or other processing element.            tionality for obtaining or receiving instruction sets , data,
       In some embodiments, autonomous Device 98 operating and/ or other information from Processor 11 , Application
    comprises determining, by VSADO Unit 100 , a next instruc- Program 18 , Logic Circuit 250 ( later described ), and /or
    tion or instruction set to be executed based on Device's 98 other processing element. Acquisition Interface 120 com
    visual surrounding prior to the user issuing or causing to be 50 prises the functionality for obtaining or receiving instruction
    executed the next instruction or instruction set . In yet other sets , data, and / or other information at runtime. In some
    embodiments, autonomous application operating comprises aspects , an instruction set may include any computer com
    determining, by VSADO Unit 100 , a next instruction or mand, instruction , signal, or input used in Application Pro
    instruction set to be executed based on Device's 98 visual         gram 18 , Processor 11 , Logic Circuit 250 , and /or other
    surrounding prior to the system receiving the next instruc- 55 processing element. Therefore, the terms instruction set,
    tion or instruction set .                                       command , instruction , signal, input, or other such terms may
       In some embodiments, autonomous Device 98 operating be used interchangeably herein depending on context .
    includes a partially or fully autonomous operating. In an Acquisition Interface 120 also comprises the functionality
    example involving partially autonomous Device 98 operat- for attaching to or interfacing with Application Program 18 ,
    ing , a user confirms VSADO Unit 100 -generated instruc- 60 Processor 11 , Logic Circuit 250 , and / or other processing
    tions or instruction sets prior to their execution . In an element. In one example, Acquisition Interface 120 com
    example involving fully autonomous application operating, prises the functionality to access and / or read runtime engine/
    VSADO Unit 100 - generated instructions or instruction sets environment, virtual machine, operating system , compiler,
    are executed without user or other system confirmation ( i.e. just - in -time (JIT ) compiler, interpreter, translator, execution
    automatically, etc. ) .                                      65 stack , file, object, data structure , and /or other computing
       In some embodiments , a combination of VSADO Unit system elements. In another example, Acquisition Interface
    100 and other systems and / or techniques can be utilized to 120 comprises the functionality to access and / or read
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 621 of 2562 PageID #: 13492


                                                            US 11,055,583 B1
                                    73                                                                 74
    memory , storage , bus , interfaces, and / or other computing instruction sets , some or all basic blocks , some or all
    system elements. In a further example, Acquisition Interface functions/ routines / subroutines, and / or some or all other code
    120 comprises the functionality to access and / or read Pro- segments.
    cessor 11 registers and / or other Processor 11 elements. In a       In some embodiments , Application Program 18 can be
    further example, Acquisition Interface 120 comprises the 5 automatically instrumented . In one example, Acquisition
    functionality to access and / or read inputs and / or outputs of Interface 120 can access Application Program's 18 source
    Application Program 18 , Processor 11 , Logic Circuit 250 , code , bytecode , or machine code and select instrumentation
    and / or other processing element. In a further example , points of interest . Selecting instrumentation points may
    Acquisition Interface 120 comprises the functionality to include finding locations in the source code , bytecode , or
    access and / or read functions, methods, procedures, routines, 10 machine code corresponding to function calls , function
    subroutines, and / or other elements of Application Program       entries, function exits , object creations, object destructions,
    18. In a further example, Acquisition Interface 120 com- event handler calls , new lines (i.e. to instrument all lines of
    prises the functionality to access and / or read source code , code , etc. ) , thread creations, throws, and / or other points of
    bytecode, compiled , interpreted, or otherwise translated              interest. Instrumentation code can then be inserted at the
    code , machine code , and / or other code . In a further example, 15 instrumentation points of interest to output Application
    Acquisition Interface 120 comprises the functionality to               Program’s 18 instruction sets, data , and /or other informa
    access and / or read values , variables, parameters , and / or         tion . In response to executing instrumentation code , Appli
    other data or information . Acquisition Interface 120 also             cation Program's 18 instruction sets , data, and / or other
    comprises the functionality for transmitting the obtained              information may be received by Acquisition Interface 120 .
    instruction sets , data , and / or other information to Artificial 20 In some aspects , Application Program's 18 source code ,
    Intelligence Unit 110 and / or other element. As such , Acqui- bytecode, or machine code can be dynamically instru
    sition Interface 120 provides input into Artificial Intelligence mented . For example, instrumentation code can be dynami
    Unit 110 for knowledge structuring, anticipating, decision cally inserted into Application Program 18 at runtime .
    making , and / or other functionalities later in the process .          In other embodiments, Application Program 18 can be
    Acquisition Interface 120 also comprises other disclosed 25 manually instrumented . In one example, a programmer can
    functionalities .                                                     instrument a function call by placing an instrumenting
       Acquisition Interface 120 can employ various techniques        instruction immediately after the function call as in the
    for obtaining instruction sets , data , and / or other information .
                                                                      following example .
    In one example, Acquisition Interface 120 can attach to              Objectl.moveRight ( 73 ) ;
    and / or obtain Processor's 11 , Application Program's 18 , 30 trace Application Object1.moveRight( 73 );') ;
    Logic Circuit's 250 , and / or other processing element's In another example, an instrumenting instruction can be
    instruction sets , data , and /or other information through trac- placed immediately before the function call , or at the begin
    ing or profiling techniques. Tracing or profiling may be used ning , nd , or anywhere within the function itself. A pro
    for outputting Processor's 11 , Application Program's 18 ,             grammer may instrument all function calls or only function
    Logic Circuit's 250 , and / or other processing element’s 35 calls of interest. In a further example, a programmer can
    instruction sets, data , and / or other information at runtime. instrument all lines of code or only code lines of interest. In
    For instance, tracing or profiling may include adding trace a further example , a programmer can instrument other
    code (i.e. instrumentation , etc. ) to an application and / or elements utilized or implemented within Application Pro
    outputting trace information to a specific target. The out- gram 18 such as objects and / or any of their functions, data
    putted trace information (i.e. instruction sets , data , and / or 40 structures and / or any of their functions, event handlers
    other information , etc. ) can then be provided to or recorded and /or any of their functions, threads and / or any of their
    into a file, data structure, repository, an application , and / or functions, and / or other elements or functions. Similar instru
    other system or target that may receive such trace informa- mentation as in the preceding examples can be performed
    tion . As such , Acquisition Interface 120 can utilize tracing or automatically or dynamically. In some designs where
    profiling to obtain instruction sets, data, and / or other infor- 45 manual code instrumentation is utilized , Acquisition Inter
    mation and provide them as input into Artificial Intelligence face 120 can optionally be omitted and Application Pro
    Unit 110. In some aspects , instrumentation can be performed gram's 18 instruction sets , data, and / or other information
    in source code , bytecode, compiled, interpreted , or other- may be transmitted directly to Artificial Intelligence Unit
    wise translated code , machine code , and /or other code . In 110 .
    other aspects , instrumentation can be performed in various 50 In some embodiments , VSADO Unit 100 can be selective
    elements of a computing system such as memory, virtual in learning instruction sets , data, and / or other information to
    machine, runtime engine/ environment, operating system , those implemented, utilized, or related to an object, data
    compiler, interpreter, translator, processor registers, execu- structure, repository, thread , function, and / or other element
    tion stack , program counter, and /or other elements . In yet of Application Program 18. In some aspects , Acquisition
    other aspects , instrumentation can be performed in various 55 Interface 120 can obtain Application Program's 18 instruc
    abstraction layers of a computing system such as in software tion sets, data , and / or other information implemented , uti
    layer ( i.e. Application Program 18 , etc. ) , in virtual machine  lized , or related to a certain object in an object oriented
    ( if VM is used ), in operating system , in Processor 11 , and /or Application Program 18 .
    in other layers or areas that may exist in a particular               In some embodiments, various computing systems and /or
    computing system implementation . In yet other aspects, 60 platforms may provide native tools for obtaining instruction
    instrumentation can be performed at various time periods in sets, data, and / or other information . Also , independent ven
    an application's execution such as source code write time , dors may provide portable tools with similar functionalities
    compile time , interpretation time , translation time , linking that can be utilized across different computing systems
    time , loading time , runtime, and / or other time periods. In yet and / or platforms. These native and portable tools may
    other aspects , instrumentation can be performed at various 65 provide a wide range of functionalities to obtain runtime and
    granularities or code segments such as some or all lines of other information such as instrumentation , tracing or pro
    code , some or all statements, some or all instructions or             filing, logging application or system messages , outputting
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 622 of 2562 PageID #: 13493


                                                         US 11,055,583 B1
                                  75                                                                    76
    custom text messages , outputting objects or data structures , to notify the profiler that a function is about to return to the
    outputting functions / routines /subroutines or their invoca- caller and can provide information about the stack frame and
    tions , outputting variable or parameter values , outputting function return value . An alternative to call stack profiling
    thread or process behaviors, outputting call or other stacks , includes call stack sampling in which the profiler can
    outputting processor registers, providing runtime memory 5 periodically examine the stack . In some aspects , the Profil
    access , providing inputs and / or outputs, performing live ing API enables the profiler to change the in -memory code
    application monitoring, and /or other capabilities. One of stream for a routine before it is just - in- time (JIT ) compiled
    ordinary skill in art will understand that, while all possible where the profiler can dynamically add instrumentation code
    variations of the techniques to obtain instruction sets , data , to all or particular routines of interest. Other platforms,
    and / or other information are too voluminous to describe, 10 tools , and /or techniques may provide equivalent or similar
    these techniques are within the scope of this disclosure.           functionalities as the above described ones .
       In one example, obtaining instruction sets , data, and / or         In a further example , obtaining instruction sets , data ,
    other information can be implemented through the .NET and / or other information can be implemented through Java
    platform's native tools for application tracing or profiling platform's APIs for application tracing or profiling such as
    such as System.Diagnostics.Trace , System.Diagnostics.De- 15 Java Virtual Machine Profiling Interface (JVMPI ) , Java
    bug , and System.Diagnostics.TraceSource classes for trac- Virtual Machine Tool Interface (JVMTI ) , and / or other APIs
    ing execution flow , and System . Diagnostics . Process , Sys- or tools . These APIs can be used for instrumentation of an
    tem.Diagnostics.EventLog, and System . Diagnostics. application, for notification of Java Virtual Machine (VM )
    PerformanceCounter classes for profiling code , accessing events , and / or other functionalities . One of the tracing or
    local and remote processes , starting and stopping system 20 profiling techniques that can be utilized includes bytecode
    processes, and interacting with Windows event logs , etc. For instrumentation. The profiler can insert bytecodes into all or
    instance, a set of trace switches can be created that output an some of the classes . In application execution profiling, for
    application's information. The switches can be configured example, these bytecodes may include methodEntry and
    using the .config file . For a Web application, this may methodExit calls . In memory profiling, for example, the
    typically be Web.config file associated with the project. In a 25 bytecodes may be inserted after each new or after each
    Windows application, this file may typically be named constructor. In some aspects , insertion of instrumentation
    applicationName.exe.config . Trace code can be added to bytecode can be performed either by a post -compiler or a
    application code automatically or manually as previously custom class loader . An alternative to bytecode instrumen
    described . Appropriate listener can be created where the tation includes monitoring events generated by the JVMPI
    trace output is received . Trace code may output trace mes- 30 or JVMTI interfaces. Both APIs can generate events for
    sages to a specific target such as a file , a log , a database , an method entry / exit, object allocation , and / or other events . In
    object, a data structure , and / or other repository or system . some aspects , JVMTI can be utilized for dynamic bytecode
    Acquisition Interface 120 or Artificial Intelligence Unit 110 instrumentation where insertion of instrumentation byte
    can then read or obtain the trace information from these              codes is performed at runtime. The profiler may insert the
    targets. In some aspects , trace code may output trace mes- 35 necessary instrumentation when a selected class is invoked
    sages directly to Acquisition Interface 120. In other aspects , in an application . This can be accomplished using the
    trace code may output trace messages directly to Artificial JVMTI's redefineClasses method , for example. This
    Intelligence Unit 110. In the case of outputting trace mes- approach also enables changing of the level of profiling as
    sages to Acquisition Interface 120 or directly to Artificial the application is running. If needed , these changes can be
    Intelligence Unit 110 , custom listeners can be built to 40 made adaptively without restarting the application. Other
    accommodate these specific targets. Other platforms, tools , platforms, tools , and / or techniques may provide equivalent
    and / or techniques can provide equivalent or similar func- or similar functionalities as the above described ones .
    tionalities as the above described ones .                            In a further example , obtaining instruction sets , data ,
       In another example , obtaining instruction sets, data, and / and / or other information can be implemented through JVM
    or other information can be implemented through the .NET 45 TI’s programming interface that enables creation of software
    platform's Profiling API that can be used to create a custom agents that can monitor and control a Java application. An
    profiler application for tracing, monitoring, interfacing with, agent may use the functionality of the interface to register
    and /or managing a profiled application . The Profiling API for notification of events as they occur in the application,
    provides an interface that includes methods to notify the and to query and control the application. A JVMTI agent
    profiler of events in the profiled application . The Profiling 50 may use JVMTI functions to extract information from a Java
    API may also provide an interface to enable the profiler to       application . A JVMTI agent can be utilized to obtain an
    call back into the profiled application to obtain information application's runtime information such as method calls ,
    about the state of the profiled application. The Profiling API memory allocation, CPU utilization , lock contention , and /or
    may further provide call stack profiling functionalities. Call other information . JVMTI may include functions to obtain
    stack ( also referred to as execution stack, control stack , 55 information about variables, fields, methods, classes , and /or
    runtime stack, machine stack , the stack , etc. ) includes a data other information . JVMTI may also provide notification for
    structure that can store information about active subroutines numerous events such as method entry and exit , exception ,
    of an application. The Profiling API may provide a stack field access and modification , thread start and end, and /or
    snapshot method, which enables a trace of the stack at a other events . Examples of JVMTI built - in methods include
    particular point in time . The Profiling API may also provide 60 GetMethodName to obtain the name of an invoked method ,
    a shadow stack method , which tracks the call stack at every          GetThreadInfo to obtain information for a specific thread ,
    instant. shadow stack can obtain function arguments,                  GetClassSignature to obtain information about the class of
    return values , and information about generic instantiations . an object, GetStackTrace to obtain information about the
    A function such as FunctionEnter can be utilized to notify stack including information about stack frames, and / or other
    the profiler that control is being passed to a function and can 65 methods. Other platforms, tools , and / or techniques may
    provide information about the stack frame and function provide equivalent or similar functionalities as the above
    arguments. A function such as FunctionLeave can be utilized described ones .
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 623 of 2562 PageID #: 13494


                                                         US 11,055,583 B1
                             77                                                                      78
      In a further example, obtaining instruction sets , data ,         sets, data, and /or other information needed for Artificial
    and / or other information can be implemented through java-         Intelligence Unit 110 and / or other elements. In addition to
    .lang.Runtime class that provides an interface for application      logging capabilities native to their respective platforms
    tracing or profiling. Examples of methods provided in java- and / or operating systems, many independent tools exist that
    .lang.Runtime that can be used to obtain an application's 5 provide logging on different platforms and / or operating
    instruction sets , data , and / or other information include systems . Examples of these tools include Log 43, Logback ,
    tracemethodcalls, traceinstructions, and / or other methods.        SmartInspect, NLog , log 4net, Microsoft Enterprise Library,
    These methods prompt the Java Virtual Machine to output ObjectGuy Framework , and / or others . Other platforms,
    trace information for a method or instruction in the virtual tools, and /or techniques may provide equivalent or similar
    machine as it is executed . The destination of trace output 10
    may be system dependent and include a file, a listener, functionalities
                                                                          In   a further
                                                                                         as the above described ones.
                                                                                          example, obtaining instruction sets , data ,
    and / or other destinations where Acquisition Interface 120 , and / or other information       can be implemented through trac
    Artificial Intelligence Unit 110 , and / or other disclosed ele ing or profiling the operating     system on which an application
    ments can access needed information. In addition to tracing
    ortemsprofiling       native
                      tools      to their respective computing  sys- 15 runs . As in tracing  or profiling an application, one of the
             and / or platforms, many independent tools exist that techniques that can be utilized includes adding instrumen
    provide tracing or profiling functionalities on more than one tation code to the operating system's source code . Such
    computing system and /or platform . Examples of these tools instrumentation code can be added to the operating system's
    include Pin , DynamoRIO , KernInst, DynInst , Kprobes, source code before kernel compilation or recompilation, for
    OpenPAT, DTrace , SystemTap , and / or others. Other plat- 20 instance . This type of instrumentation may involve defining
    forms, tools , and / or techniques may provide equivalent or or finding locations in the operating system's source code
    similar functionalities as the above described ones .               where instrumentation code may be inserted . Kernel instru
        In a further example, obtaining instruction sets , data , mentation can also be performed without the need for kernel
    and / or other information can be implemented through log- recompilation or rebooting. In some aspects , instrumenta
    ging tools of the platform and / or operating system on which 25 tion code can be added at locations of interest through binary
    an application runs. Some logging tools may include nearly rewriting of compiled kernel code . In other aspects , kernel
    full feature sets of the tracing or profiling tools previously instrumentation can be performed dynamically where instru
    described . In one example, Visual Basic enables logging of mentation code is added and / or removed where needed at
    runtime messages through its Microsoft.VisualBasic.Log- runtime. For instance, dynamic instrumentation may over
    ging namespace that provides a log listener where the log 30 write kernel code with a branch instruction that redirects
    listener may direct logging output to a file and / or other execution to instrumentation code or instrumentation rou
    target. In another example, Java enables logging through its tine . In yet other aspects , kernel instrumentation can be
    java.util.logging class . In some aspects, obtaining an appli- performed using just - in -time ( JIT ) dynamic instrumentation
    cation's instruction sets , data , and / or other information can   where execution may be redirected to a copy of kernel's
    be implemented through logging capabilities of the operat- 35 code segment that includes instrumentation code . This type
    ing system on which an application runs. For example, of instrumentation may include a JIT compiler and creation
    Windows NT features centralized log service that applica- of a copy of the original code segment having instrumen
    tions and operating -system components can utilize to report tation code or calls to instrumentation routines embedded
    their events including any messages . Windows NT provides into the original code segment. Instrumentation of the oper
    functionalities for system , application, security, and / or other 40 ating system may enable total system visibility including
    logging . An application log may include events logged by visibility into an application's behavior by enabling genera
    applications. Windows NT, for example, may include sup- tion of low level trace information . Other platforms, tools ,
    port for defining an event source (i.e. application that created and / or techniques may provide equivalent or similar func
    the event, etc. ). Windows Vista, for example, supports a tionalities as the above described ones .
    structured XML log - format and designated log types to 45 In a further example, obtaining instruction sets , data ,
    allow applications to more precisely log events and to help         and / or other information can be implemented through trac
    interpret the events . Examples of different types of event         ing or profiling the processor on which an application runs .
    logs include administrative , operational, analytic , debug ,       For example, some Intel processors provide Intel Processor
    and / or other log types including any of their subcategories . Trace ( i.e. Intel PT, etc. ) , a low - level tracing feature that
    Examples of event attributes that can be utilized include 50 enables recording executed instruction sets, and / or other
    eventID , level , task, opcode , keywords, and / or other event data or information of one or more applications . Intel PT is
    attributes. Windows wevtutil tool enables access to events, facilitated by the Processor Trace Decoder Library along
    their structures, registered event publishers, and / or their with its related tools . Intel PT is a low - overhead execution
    configuration even before the events are fired . Wevtutil tracing feature that records information about application
    supports capabilities such as retrieval of the names of all 55 execution on each hardware thread using dedicated hard
    logs on a computing device; retrieval of configuration infor- ware facilities . The recorded execution / trace information is
    mation for a specific log ; retrieval of event publishers on a collected in data packets that can be buffered internally
    computing device; reading events from an event log , from a before being sent to a memory subsystem or another system
    log file, or using a structured query ; exporting events from or element (i.e. Acquisition Interface 120 , Artificial Intelli
    an event log , from a log file , or using a structured query to 60 gence Unit 110 , etc.). Intel PT also enables navigating the
    a specific target; and /or other capabilities . Operating system recorded execution / trace information via reverse stepping
    logs can be utilized solely if they contain sufficient infor- commands. Intel PT can be included in an operating sys
    mation on an application's instruction sets , data , and / or tem's core files and provided as a feature of the operating
    other information . Alternatively, operating system logs can system . Intel PT can trace globally some or all applications
    be utilized in combination with another source of informa- 65 running on an operating system . Acquisition Interface 120 or
    tion ( i.e. trace information, call stack , processor registers , Artificial Intelligence Unit 110 can read or obtain the
    memory , etc.) to reconstruct the application's instruction         recorded execution / trace information from Intel PT. Other
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 624 of 2562 PageID #: 13495


                                                         US 11,055,583 B1
                                  79                                                                   80
    platforms, tools , and / or techniques may provide equivalent platforms, tools , and / or techniques may provide equivalent
    or similar functionalities as the above described ones .         or similar functionalities as the above described ones .
       In a further example, obtaining instruction sets , data,         In a further example, it may be sufficient to obtain user or
    and / or other information can be implemented through 5 other inputs, variables, parameters, and / or other data in
    branch tracing or profiling. Branch tracing may include an some procedural, simple object oriented , or other applica
    abbreviated instruction trace in which only the successful tions . In one instance , a simple procedural application
                                                                     executes a sequence of instruction sets until the end of the
    branch instruction sets are traced or recorded . Branch tracing program
    can be implemented through utilizing dedicated processor user or other    . During its execution , the application may receive
    commands, for example. Executed branches may be saved                           input, store the input in a variable, and perform
    into special branch trace store area of memory. With the 10 calculations       using   the variableto reach a result. The value of
    availability and reference to a compiler listing of the appli the    variable can be obtained or traced . In another instance ,
    cation together with branch trace information, a full path of amoremore complex procedural application comprises one or
    executed instruction sets can be reconstructed . The full path includefunctions
                                                                              a
                                                                                       / routines / subroutines each of which may
                                                                                sequence    of instruction sets . The application may
    can also be reconstructed with a memory dump ( containing 15 execute a main sequence           of instruction sets with a branch to
    the program storage ) and branch trace information . In some a function / routine/ subroutine
    aspects , branch tracing can be utilized for pre - learning or application may receive user or. During          its execution , the
                                                                                                           other input, store the input
    automated learning of an application's instruction sets, data , in a variable, and pass the variable as a parameter to the
    and / or other information where a number of application function / routine / subroutine. The function /routine /subrou
    simulations ( i.e. simulations of likely / common operations, 20 tine may perform calculations using the parameter and
    etc. ) are performed . As such , the application's operation can return a value that the rest of the application can use to reach
    be learned automatically saving the time that would be a result . The value of the variable or parameter passed to the
    needed to learn the application's operation directed by a function /routine / subroutine, and / or return value can be
    user. Other platforms, tools , and / or techniques may provide obtained or traced . Values of user or other inputs, variables ,
    equivalent or similar functionalities as the above described 25 parameters, and / or other items of interest can be obtained
    ones .                                                           through previously described tracing, instrumentation , and /
       In a further example , obtaining instruction sets , data , or other techniques. Other platforms, tools , and / or tech
    and / or other information can be implemented through niques may provide equivalent or similar functionalities as
    assembly language. Assembly language is a low - level pro-           the above described ones .
    gramming language for a computer or other programmable 30 Referring to FIG . 3 , in yet another example, obtaining
    device in which there is a strong correlation between the instruction sets , data, and / or other information may be
    language and the architecture's machine instruction sets . implemented through tracing, profiling, or sampling of
    Syntax, addressing es , operands , and / or other elements instruction sets or data in processor registers, memory , or
    of an assembly language instruction set may translate other computing system components where instruction sets ,
    directly into numeric (i.e. binary, etc. ) representations of that 35 data, and / or other information may be stored or utilized . For
    particular instruction set . Because of this direct relationship example , Instruction Register 212 may be part of Processor
    with the architecture's machine instruction sets , assembly 11 and it may store the instruction set currently being
    language can be a powerful tool for tracing or profiling an executed or decoded . In some processors , Program Counter
    application's execution in processor registers , memory, and / 211 (also referred to as instruction pointer, instruction
    or other computing system components. For example, using 40 address register, instruction counter, or part of instruction
    assembly language, memory locations of a loaded applica- sequencer ) may be incremented after fetching an instruction
    tion can be accessed , instrumented , and /or otherwise set, and it may hold or point to the memory address of the
    manipulated. In some aspects , assembly language can be next instruction set to be executed . In a processor where the
    used to rewrite or overwrite original in -memory instruction incrementation precedes the fetch , Program Counter 211
    sets of an application with instrumentation instruction sets . 45 may point to the current instruction set being executed . In
    In other aspects , assembly language can be used to redirect the instruction cycle , an instruction set may be loaded into
    application's execution to instrumentation routine/ subrou- Instruction Register 212 after Processor 11 fetches it from
    tine or other code segment elsewhere in memory by insert- location in Memory 12 pointed to by Program Counter 211 .
    ing a jump into the application's in -memory code , by Instruction Register 212 may hold the instruction set while
    redirecting program counter, or by other techniques. Some 50 it is decoded by Instruction Decoder 213 , prepared , and
    operating systems may implement protection from changes executed . In some aspects , data (i.e. operands, etc. ) needed
    to applications loaded into memory. Operating system , pro- for instruction set execution may be loaded from Memory 12
    cessor, or other low level commands such as Linux mprotect into a register within Register Array 214. In other aspects ,
    command or similar commands in other operating systems the data may be loaded directly into Arithmetic Logic Unit
    may be used to unprotect the protected locations in memory 55 215. For instance, as instruction sets pass through Instruc
    before the change . In yet other aspects , assembly language tion Register 212 during application execution , they may be
    can be used to obtain instruction sets , data, and / or other transmitted to Acquisition Interface 120 as shown. Examples
    information through accessing and / or reading instruction of the steps in execution of a machine instruction set may
    register, program counter, other processor registers , memory include decoding the opcode ( i.e. portion of a machine
    locations, and / or other components of a computing system . 60 instruction set that may specify the operation to be per
    In yet other aspects , high -level programming languages may formed ), determining where the operands may be located
    call or execute an external assembly language program to ( depending on architecture, operands may be in registers, the
    facilitate obtaining instruction sets, data, and / or other infor- stack , memory, I/ O ports, etc. ), retrieving the operands,
    mation as previously described . In yet other aspects , rela- allocating processor resources to execute the instruction set
    tively low - level programming languages such as C may 65 ( needed in some types of processors ) , performing the opera
    allow embedding assembly language directly in their source tion indicated by the instruction set, saving the results of
    code such as , for example, using asm keyword of C. Other execution, and / or other execution steps . Examples of the
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 625 of 2562 PageID #: 13496


                                                        US 11,055,583 B1
                                 81                                                                   82
    types of machine instruction sets that can be utilized include performed on the inputs. Logic Circuit 250 may generally be
    arithmetic, data handling, logical , program control, as well implemented using transistors , diodes , and / or other elec
    as special and / or other instruction set types. In addition to tronic switches , but can also be constructed using vacuum
    the ones described or shown , examples of other computing 5 tubes , electromagnetic relays ( relay logic ) , fluidic logic ,
    system or processor components that can be used during an pneumatic logic , optics , molecules , or even mechanical
    instruction cycle include memory address register (MAR ) elements. In some aspects , Logic Circuit 250 may be or
    that may hold the address of a memory block to be read from include a microcontroller, field -programmable gate array
    or written to ; memory data register ( MDR) that may hold ( FPGA ), application -specific integrated circuit (ASIC ) , and /
    data fetched from memory or data waiting to be stored in
    memory ; data registers that may hold numeric values , char- 10 or   other computing circuit or device . In other aspects , Logic
                                                                      Circuit 250 may be or include any circuit or device com
    acters, small bit arrays , or other data ; address registers that prising one or more logic gates , one or more transistors , one
    may hold addresses used by instruction sets that indirectly or more switches
    access memory ; general purpose registers (GPRS ) that may nents . In further , aspects
                                                                                         and /or one or more other logic compo
                                                                                                , Logic Circuit 250 may be or
    store both data and addresses ; conditional registers that may
    hold truth values often used to determine whether some 15 include any integrated or other circuit or device that can
    instruction set should or should not be executed ; floating perform logic operations. Logic may generally refer to
    point registers (FPRs ) that may store floating point numbers; Boolean logic utilized in binary operations, but other logics
    constant registers that may hold read - only values such as can also be used . Input into Logic Circuit 250 may include
    zero , one, or pi ; special purpose registers ( SPRs ) such as or refer to a value inputted into the Logic Circuit 250 ,
    status register, program counter, or stack pointer that may 20 therefore, these terms may be used interchangeably herein
    hold information on program state ; machine -specific regis- depending on context. In one example , Logic Circuit 250
    ters that may store data and settings related to a particular       may perform some logic operations using four input values
    processor; Register Array 214 that may include an array of          and produce two output values . As the four input values are
    any number of processor registers; Arithmetic Logic Unit            delivered to or received by Logic Circuit 250 , they may be
    215 that may perform arithmetic and logic operations; 25 obtained by Acquisition Interface 120 through the four
    control unit that may direct processor's operation ; and / or       hardwired connections as shown in FIG . 4A . In another
    other circuits or components. Tracing, profiling, or sampling example , Logic Circuit 250 may perform some logic opera
    of processor registers, memory, or other computing system tions using four input values and produce two output values .
    components can be implemented in a program , combination As the two output values are generated by or transmitted out
    of hardware and program , or purely hardware system . Dedi- 30 of Logic Circuit 250 , they may be obtained by Acquisition
    cated hardware may be built to perform tracing , profiling, or Interface 120 through the two hardwired connections as
    sampling of processor registers or any computing system shown in FIG . 4B . In a further example, instead of or in
    components with marginal or no impact to computing over- addition to obtaining input and / or output values of Logic
    head .                                                            Circuit 250 , the state of Logic Circuit 250 may be obtained
        One of ordinary skill in art will recognize that FIG . 3 35 by reading or accessing values from one or more Logic
    depicts one of many implementations of processor or com- Circuit's 250 internal components such as registers, memo
    puting system components, and that various additional com- ries, buses , and / or others ( i.e. similar to the previously
    ponents can be included , or some of the disclosed ones can described tracing, profiling, and / or sampling of Processor 11
    be excluded , or a combination thereof can be utilized in components, etc. ) . Tracing, profiling, or sampling of Logic
    alternate implementations. Processor or computing system 40 Circuit 250 can be implemented in a program , combination
    components may be arranged or connected differently in of hardware and program , or purely hardware system . Dedi
    alternate implementations. Processor or computing system cated hardware may be built to perform tracing, profiling or
    components may also be connected with external elements sampling of Logic Circuit 250 with marginal or no impact to
    using various connections. For instance, the connection computing overhead. Any of the elements and / or techniques
    between Instruction Register 212 and Acquisition Interface 45 for tracing, profiling, or sampling of Logic Circuit 250 can
    120 may include any number or types of connections such similarly be implemented with Processor 11 and/ or other
    as , for example, a dedicated connection for each bit of processing elements . In some designs , VSADO Unit 100
    Instruction Register 212 (i.e. 32 connections for a 32 bit may include clamps and / or other elements to attach VSADO
    Instruction Register 212 , etc. ) . Any of the described or other Unit 100 to inputs ( i.e. input wires, etc.) into and / or outputs
    connections or interfaces may be implemented among any 50 (i.e. output wires, etc. ) from Logic Circuit 250. Such clamps
    processor or computing system components and Acquisition and / or attachment elements enable seamless attachment of
    Interface 120 or other elements .                                 VSADO Unit 100 to any circuit or computing device
        Referring to FIGS . 4A - 4B , in yet another example, without the need to redesign or alter the circuit or computing
    obtaining instruction sets , data , and / or other information device .
    may be implemented through tracing, profiling, or sampling 55 In some embodiments, VSADO Unit 100 may learn input
    of Logic Circuit 250. While Processor 11 includes any type values directly from an actuator (previously described, not
    or embodiment of logic circuit, Logic Circuit 250 is shown ). For example, Logic Circuit 250 or other processing
    described separately here to offer additional detail on its element may control an actuator that enables Device 98 to
    functioning. Some Devices 98 may not need the processing perform mechanical, physical, and /or other operations. An
    capabilities of an entire Processor 11 , but instead a more 60 actuator may receive one or more input values or control
    tailored Logic Circuit 250. Examples of such Devices 98 signals from Logic Circuit 250 or other processing element
    include home appliances, audio or video electronics, vehicle directing the actuator to perform specific operations.As one
    systems , toys , industrial machines , robots , and / or others. or more input values or control signals are delivered to or
    Logic Circuit 250 comprises the functionality for perform- received by the actuator, they may be obtained by Acquisi
    ing logic operations. Logic Circuit 250 comprises the func- 65 tion Interface 120 as previously described with respect to
    tionality for performing logic operations using the circuit's obtaining input values of Logic Circuit 250. Specifically, for
    inputs and producing outputs based on the logic operations instance, one or more input values or control signals of an
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 626 of 2562 PageID #: 13497


                                                         US 11,055,583 B1
                                  83                                                                    84
    actuator may be obtained by Acquisition Interface 120 via capturing or receiving of Digital Picture 525. In other
    hardwired or other connections .                                 embodiments, the system can obtain Extra Info 527 at a time
       One of ordinary skill in art will recognize that FIGS . of acquisition of Instruction Set 526. In general, the system
    4A - 4B depict one of many implementations of Logic Circuit or any element thereof can obtain Extra Info 527 at any time .
    250 and that any number of input and / or output values can 5 Examples of Extra Info 527 include time information , loca
    be utilized in alternate implementations. One of ordinary tion information, computed information , observed informa
    skill in art will also recognize that Logic Circuit 250 may tion , sensory information, contextual information , and /or
    include any number and / or combination of logic compo- other information. Any information can be utilized that can
    nents to implement any logic operations.                         provide information for enhanced comparisons or decision
       Other additional techniques or elements may be utilized 10 making performed in autonomous device operation . Which
    as needed for obtaining instruction sets , data , and / or other information is utilized and /or stored in Extra Info 527 can be
    information, or some of the disclosed techniques or elements set by a user, by VSADO system administrator, or automati
    may be excluded, or a combination thereof may be utilized cally by the system . Extra Info 527 may include or be
    in alternate embodiments .                                       referred to as contextual information , and vice versa . There
       Referring to FIGS . 5A - 5C , some embodiments of Instruc- 15 fore, these terms may be used interchangeably herein
    tion Sets 526 are illustrated . In some aspects , Instruction Set     depending on context.
    526 includes one or more instructions or commands of                    In some aspects , time information ( i.e. time stamp, etc.)
    Application Program 18. For example , Instruction Set 526             can be utilized and / or stored in Extra Info 527. Time
    may include one or more instructions or commands of a                 information can be useful in comparisons or decision mak
    high - level programming language such as Java or SQL , a 20 ing performed in autonomous device operation related to a
    low - level language such as assembly or machine language , specific time period as Device 98 may be required to
    an intermediate language or construct such as bytecode, perform specific operations at certain parts of day, month ,
    and / or any other language or construct. In other aspects , year, and / or other time periods. Time information can be
    Instruction Set 526 includes one or more inputs into and / or obtained from the system clock, online clock , oscillator, or
    outputs from Logic Circuit 250 , Processor 11 , Application 25 other time source . In one example, a thermostat device may
    Program 18 , and / or other processing element. In further be directed to turn heat on in the morning and / or turn heat
    aspects , Instruction Set 526 includes one or more values or off during the day. In a further example, a personal computer
    states of registers and / or other components of Logic Circuit device may be directed to start or stop an application
    250 , Processor 11 , and / or other processing element. In program or process on a particular day of the month . In
    general, Instruction Set 526 may include one or more 30 general, Extra Info 527 may include time information
    instructions, commands, keywords, symbols ( i.e. parenthe- related to when Device 98 performed an operation. In other
    ses, brackets , commas, semicolons , etc. ) , operators ( i.e. = , < , aspects , location information (i.e. coordinates, address, etc.)
    >, etc.), var es , values , objects, data structures, functions        can be utilized and / or stored in Extra Info 527. Location
    ( i.e. Function1 ( ) , FIRSTO ) , MIN ( ) , SQRT ( ), etc. ) , param- information can be useful in comparisons or decision mak
    eters , states , signals, inputs, outputs, characters, digits, ref- 35 ing performed in autonomous device operation related to a
    erences thereto , and / or other components for performing an specific place as Device 98 may be required to perform
    operation .                                                            specific operations at certain places . Location information
        In an embodiment shown in FIG . 5A , Instruction Set 526 can be obtained from a positioning system ( i.e. radio signal
    includes code of a high - level programming language ( i.e. triangulation in smartphones or tablets, GPS capabilities ,
    Java, C ++ , etc. ) comprising the following function call 40 etc. ) if one is available . In one example, a smartphone device
    construct: Function1 (Parameter , Parameter2 , may be directed to engage a vibrate mode in a school or
    Parameter3, .. ). An example of a function call applying the house of worship . In another example, a vehicle may be
    above construct includes the following Instruction Set 526 : directed to turn right at a particular road crossing . In general,
    moveTo ( Object1, 29 , 17 ) . The function or reference thereto Extra Info 527 may include location information related to
    “ moveTo (Object1, 29 , 17 )” may be an Instruction Set 526 45 where Device 98 performed an operation . In further aspects ,
    directing Object1 to move to a location with coordinates 29 computed information can be utilized and / or stored in Extra
    and 17 , for example. In another embodiment shown in FIG . Info 527. Computed information can be useful in compari
    5B , Instruction Set 526 includes structured query language sons or decision making performed in autonomous device
    ( SQL ) . In a further embodiment shown in FIG . 5C , Instruc- operation where information can be calculated , inferred , or
    tion Set 526 includes bytecode ( i.e. Java bytecode , Python 50 derived from other available information. VSADO Unit 100
    bytecode, CLR bytecode , etc. ) . In a further embodiment may include computational functionalities to create Extra
    shown in FIG . 5D , Instruction Set 526 includes assembly Info 527 by performing calculations or inferences using
    code . In a further embodiment shown in FIG . 5E , Instruction other information . In one example , Device's 98 speed can be
    Set 526 includes machine code.                                         computed or estimated from the Device's 98 location and / or
        Referring to FIGS . 6A - 6B , some embodiments of Extra 55 time information . In another example, Device's 98 bearing
    Information 527 ( also referred to as Extra Info 527 ) are (i.e. angle or direction of movement, etc.) can be computed
    illustrated . In an embodiment shown in FIG . 6A , Digital or estimated from the Device's 98 location information by
    Picture 525 may include or be associated with Extra Info utilizing Pythagorean theorem , trigonometry, and / or other
    527. In an embodiment shown in FIG . 6B , Instruction Set theorems, formulas, or disciplines. In a further example ,
    526 may include or be associated with Extra Info 527 . 60 speeds , bearings, distances , and / or other properties of
        Extra Info 527 comprises the functionality for storing any objects around Device 98 can similarly be computed or
    information useful in comparisons or decision making per- inferred , thereby providing geo - spatial and situational
    formed in autonomous device operation , and / or other func-          awareness and / or capabilities to the Device 98. In further
    tionalities. One or more Extra Infos 527 can be stored in ,           aspects , observed information can be utilized and / or stored
    appended to , or associated with a Digital Picture 525 , 65 in Extra Info 527. Observed information can be useful in
    Instruction Set 526 , and / or other element. In some embodi-         comparisons or decision making performed in autonomous
    ments, the system can obtain Extra Info 527 at a time of              device operation related to a specific object or environment
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 627 of 2562 PageID #: 13498


                                                       US 11,055,583 B1
                                 85                                                                86
    as Device 98 may be required to perform certain operations be or include any type or form of a remote computing device
    around specific objects or in specific environments. For such as an application server, a network service server , a
    example , an object or environment can be recognized by cloud server, a cloud , and / or other remote computing device .
    processing one or more Digital Pictures 525 from Picture Server 96 may include any features, functionalities, and
    Capturing Apparatus 90. Any features, functionalities, and 5 embodiments of the previously described Computing
    embodiments of Picture Recognizer 350 ( later described ) Device 70. It should be understood that Server 96 does not
    can be utilized for such recognizing. In one example , book have to be a separate computing device and that Server 96 ,
    shelves recognized in the background of one or more Digital its elements, or its functionalities can be implemented on
    Pictures 525 from Picture Capturing Apparatus 90 may Device 98. Network 95 may include various networks,
    indicate a library or book store . In another example, trees 10 connection types , protocols , interfaces, APIs , and / or other
    recognized in the background of one or more Digital Pic- elements or techniques known in art all of which are within
    tures 525 from Picture Capturing Apparatus 90 may indicate the scope of this disclosure . Any of the previously described
    a park . In a further example, a pedestrian recognized in one networks, network or connection types, networking inter
    or more Digital Pictures 525 from Picture Capturing Appa- faces, and /or other networking elements or techniques can
    ratus 90 may indicate a street . In further aspects , sensory 15 similarly be utilized . Any of the disclosed elements may
    information can be utilized and / or stored in Extra Info 527 . reside on Server 96 in alternate implementations. In one
    Examples of sensory information include acoustic informa- example , Artificial Intelligence Unit 110 can reside on
    tion, visual information , tactile information, and / or others. Server 96 and Acquisition Interface 120 and / or Modification
    Sensory information can be useful in comparisons or deci- Interface 130 can reside on Device 98. In another example,
    sion making performed in autonomous device operation 20 Knowledgebase 530 can reside on Server 96 and the rest of
    related to a specific object or environment as Device 98 may the elements of VSADO Unit 100 can reside on Device 98 .
    be required to perform certain operations around specific Any other combination of local and remote elements can be
    objects or in specific environments . For example, an object implemented.
    or environment can be recognized by processing digital               Referring to FIG . 9 , an embodiment where Picture Cap
    sound from a sound capturing apparatus (i.e. microphone, 25 turing Apparatus 90 is part of Remote Device 97 accessible
    etc. , not shown ). Any features, functionalities, and embodi-    over Network 95 is illustrated . In such embodiments ,
    ments of a speech or sound recognizer (not shown) can be          VSADO Unit 100 may learn Device's 98 operation based on
    utilized for such recognizing. In one example, sound of           another device's visual surrounding. Such embodiments can
    waves recognized in digital sound from a sound capturing          be utilized , for instance , in any situation where one device
    apparatus may indicate a beach . In another example, sound 30 controls ( i.e. remote control, etc. ) another device, any situ
    of a horn recognized in digital sound from a sound capturing ation where some or all of the processing is on one device
    apparatus may indicate a proximal vehicle. In some designs and picture capturing capabilities are on another device ,
    where acoustic information includes one or more digital and / or other situations. In one example, a drone controlling
    sound samples of Device's 98 surrounding captured by a device (i.e. Device 98 ) may receive its visual input from a
    sound capturing apparatus, the digital sound samples can be 35 camera on the drone (i.e. Remote Device 97 ) . In another
    learned and / or used similar to Digital Pictures 525 of example, a toy controlling device (i.e. Device 98 ) may
    Device's 98 visual surrounding. In such designs , both Digi- receive its visual input from a camera on the toy (i.e. Remote
    tal Pictures 525 and digital sound samples of a device's Device 97 ) . In a further example, a people or crowd ana
    surrounding can be learned and / or used for autonomous lyzing computing device ( i.e. Device 98 ) may receive its
    device operation. In further aspects , other information can 40 visual input from a camera of a monitoring device (i.e.
    be utilized and/ or stored in Extra Info 527. Examples of such Remote Device 97 ) . Any of the disclosed elements in
    other information include user specific information ( i.e. skill addition to Picture Capturing Apparatus 90 may reside on
    level , age , gender, etc. ) , group user information ( i.e. access Remote Device 97 in alternate implementations as previ
    level , etc. ) , version of Application Program 18 , the type of ously described with respect to Server 96 .
    Application Program 18 , the type of Processor 11 , the type 45 Referring to FIG . 10 , an embodiment of VSADO Unit 100
    of Logic Circuit 250 , the type of Device 98 , and / or other comprising Picture Recognizer 350 is illustrated. VSADO
    information .                                                       Unit 100 can utilize Picture Recognizer 350 to detect or
       Referring to FIG . 7 , an embodiment where VSADO Unit recognize persons, objects, and / or their activities in one or
    100 is part of or operating on Processor 11 is illustrated . In more digital pictures from Picture Capturing Apparatus 90 .
    one example, VSADO Unit 100 may be a hardware element 50 In general, VSADO Unit 100 and / or other disclosed ele
    or circuit embedded or built into Processor 11. In another ments can use Picture Recognizer 350 for any operation
    example , VSADO Unit 100 may be a program operating on supported by Picture Recognizer 350. Picture Recognizer
    Processor 11 .                                                  350 comprises the functionality for detecting or recognizing
       Referring to FIG . 8 , an embodiment where VSADO Unit persons or objects in visual data . Picture Recognizer 350
    100 resides on Server 96 accessible over Network 95 is 55 comprises the functionality for detecting or recognizing
    illustrated . Any number of Devices 98 may connect to such activities in visual data . Picture Recognizer 350 comprises
    remote VSADO Unit 100 and the remote VSADO Unit 100 the functionality for tracking persons , objects, and / or their
    may learn their operations in various visual surroundings. In activities in visual data . Picture Recognizer 350 comprises
    turn , any number of Devices 98 can utilize the remote other disclosed functionalities. Visual data includes digital
    VSADO Unit 100 for autonomous operation. A remote 60 motion pictures, digital still pictures (i.e. bitmaps, etc.),
    VSADO Unit 100 can be offered as a network service ( i.e. and / or other visual data. Examples of file formats that can be
    online application, etc. ). In some aspects , a remote VSADO utilized to store visual data include AVI, DivX , MPEG ,
    Unit 100 ( i.e. global VSADO Unit 100 , etc. ) may reside on JPEG , GIF, TIFF, PNG , PDF, and / or other file formats .
    the Internet and be available to all the world's Devices 98 Picture Recognizer 350 may detect or recognize a person
    configured to transmit their operations in various visual 65 and / or his /her activities as well as track the person and /or
    surroundings and / or configured to utilize the remote his / her activities in one or more digital pictures or streams
    VSADO Unit 100 for autonomous operation. Server 96 may of digital pictures ( i.e. motion pictures , video , etc. ) . Picture
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 628 of 2562 PageID #: 13499


                                                        US 11,055,583 B1
                                  87                                                                  88
    Recognizer 350 may detect or recognize a human head or              Picture Recognizer 350 include convolutional neural net
    face, upper body, full body, or portions/combinations works (CNNs ), time delay neural networks ( TDNNs), deep
    thereof. In some aspects , Picture Recognizer 350 may detect neural networks , and / or others . In one example, picture
    or recognize persons , objects, and / or their activities from a recognition techniques and /or tools involving convolutional
    digital picture by comparing regions of pixels from the 5 neural networks may include identifying and /or analyzing
    digital picture with collections of pixels comprising known tiled and / or overlapping regions or features of a digital
    persons, objects, and / or their activities . The collections of picture, which may then be used to search for pictures with
    pixels comprising known persons , objects, and / or their matching regions or features. In another example, features of
    activities can be learned or manually , programmatically , or different convolutional neural networks responsible for spa
    otherwise defined . The collections of pixels comprising 10 tial and temporal streams can be fused to detect persons ,
    known persons, objects, and /or their activities can be stored objects, and / or their activities in streams of digital pictures
    in any data structure or repository (i.e. one or more files , (i.e. motion pictures, videos , etc. ). In general, Picture Rec
    database, etc. ) that resides locally on Device 98 , or remotely ognizer 350 may include any machine learning, deep learn
    on a remote computing device ( i.e. server , cloud , etc.) ing , and / or other artificial intelligence techniques. Any other
    accessible over a network . In other aspects , Picture Recog- 15 techniques known in art can be utilized in Picture Recog
    nizer 350 may detect or recognize persons, objects, and / or nizer 350. For example , thresholds for similarity, statistical ,
    their activities from a digital picture by comparing features and/ or optimization techniques can be utilized to determine
    ( i.e. lines , edges, ridges, corners , blobs , regions, etc. ) of the a match in any of the above -described detection or recog
    digital picture with features of known persons, objects, nition techniques. Picture Recognizer 350 comprises any
    and / or their activities . The features of known persons , 20 features , functionalities , and embodiments of Similarity
    objects, and /or their activities can be learned or manually, Comparison 125 (later described ).
    programmatically , or otherwise defined . The features of                In some exemplary embodiments, object recognition tech
    known persons, objects, and / or their activities can be stored niques and / or tools such as OpenCV ( Open Source Com
    in any data structure or repository (i.e. neural network , one puter Vision ) library, CamFind API , Kooaba, 6px API ,
    or more files , database , etc.) that resides locally on Device 25 Dextro API , and /or others can be utilized for detecting or
    98 , or remotely on a remote computing device ( i.e. server , recognizing objects ( i.e. objects, animals , people , etc.) in
    cloud, etc. ) accessible over a network . Typical steps or digital pictures . In some aspects , object recognition tech
    elements in a feature oriented picture recognition include niques and / or tools involve identifying and / or analyzing
    pre -processing, feature extraction , detection /segmentation , object features such as lines , edges, ridges, corners , blobs ,
    decision -making , and / or others, or a combination thereof, 30 regions, and / or their relative positions , sizes , shapes , etc.,
    each of which may include its own sub - steps or sub- which may then be used to search for pictures with matching
    elements depending on the application. In further aspects , features. For example, OpenCV library can detect an object
    Picture Recognizer 350 may detect or recognize multiple (i.e. car , pedestrian, door, building, animal, person , etc. ) in
    persons, objects, and / or their activities from a digital picture one or more digital pictures captured by Picture Capturing
    using the aforementioned pixel or feature comparisons, 35 Apparatus 90 or stored in an electronic repository, which can
    and / or other detection or recognition techniques. For then be utilized in VSADO Unit 100, Artificial Intelligence
    example, a picture may depict two persons in two of its Unit 110 , and /or other elements .
    regions both of whom Picture Recognizer 350 can detect                   In other exemplary embodiments, facial recognition tech
    simultaneously. In further aspects , where persons , objects , niques and / or tools such as OpenCV ( Open Source Com
    and / or their activities span multiple pictures, Picture Rec- 40 puter Vision ) library, Animetrics FaceR API , Lambda Labs
    ognizer 350 may detect or recognize persons , objects, and / or Facial Recognition API , Face ++ SDK , Neven Vision ( also
    their activities by applying the aforementioned pixel or known as N - Vision ) Engine, and / or others can be utilized for
    feature comparisons and / or other detection or recognition detecting or recognizing faces in digital pictures. In some
    techniques over a stream of digital pictures (i.e. motion aspects , facial recognition techniques and / or tools involve
    picture, video, etc. ) . For example, once a person is detected 45 identifying and / or analyzing facial features such as the
    in a digital picture (i.e. frame, etc.) of a stream of digital relative position , size , and / or shape of the eyes , nose ,
    pictures (i.e. motion picture , video, etc. ) , the region of pixels cheekbones, jaw , etc. , which may then be used to search for
    comprising the detected person or the person's features can pictures with matching features. For example, FaceR API
    be searched in other pictures of the stream of digital pictures, can detect a person's face in one or more digital pictures
    thereby tracking the person through the stream of digital 50 captured by Picture Capturing Apparatus 90 or stored in an
    pictures. In further aspects , Picture Recognizer 350 may electronic repository, which can then be utilized in VSADO
    detect or recognize a person's activities by identifying Unit 100 , Artificial Intelligence Unit 110 , and / or other
    and / or analyzing differences between a detected region of elements .
    pixels of one picture (i.e. frame, etc. ) and detected regions           Referring to FIG . 11 , an embodiment of Artificial Intel
    of pixels of other pictures in a stream of digital pictures. For 55 ligence Unit 110 is illustrated . Artificial Intelligence Unit
    example , a region of pixels comprising a person's face can 110 comprises interconnected Knowledge Structuring Unit
    be detected in multiple consecutive pictures of a stream of 520 , Knowledgebase 530 , Decision - making Unit 540 , and
    digital pictures ( i.e. motion picture , video , etc. ). Differences Confirmation Unit 550. Other additional elements can be
    among the detected regions of the consecutive pictures may included as needed , or some of the disclosed ones can be
    be identified in the mouth part of the person's face to 60 excluded , or a combination thereof can be utilized in alter
    indicate smiling or speaking activity. Any technique for nate embodiments.
    recognizing speech from mouth / lip movements can be used          Artificial Intelligence Unit 110 comprises the functional
    in this and other examples. In further aspects , Picture ity for learning Device's 98 operation in various visual
    Recognizer 350 may detect or recognize persons , objects , surroundings. Artificial Intelligence Unit 110 comprises the
    and / or their activities using one or more artificial neural 65 functionality for learning one or more digital pictures cor
    networks, which may include statistical techniques . related with any instruction sets, data, and / or other infor
    Examples of artificial neural networks that can be used in mation . In some aspects , Artificial Intelligence Unit 110
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 629 of 2562 PageID #: 13500


                                                         US 11,055,583 B1
                                  89                                                                90
    comprises the functionality for learning one or more Digital execute . User 50 may be provided with an interface (i.e.
    Pictures 525 of Device's 98 surrounding correlated with any graphical user interface , etc. ) to rate (i.e. on a scale from 0
    Instruction Sets 526 and /or Extra Info 527. In other aspects , to 1 , etc. ) how well Decision -making Unit 540 predicted the
    Artificial Intelligence Unit 110 comprises the functionality executed anticipatory Instruction Sets 526. In some aspects ,
    for learning one or more Digital Pictures 525 of Device's 98 5 rating can be automatic and based on a particular function or
    surrounding some of which may not be correlated with any            method that rates how well the anticipatory Instruction Sets
    Instruction Sets 526 and / or Extra Info 527. Further, Artificial   526 matched the desired operation . In one example, a rating
    Intelligence Unit 110 comprises the functionality for antici-   function or method can assign a higher rating to anticipatory
    pating Device's 98 operation in various visual surroundings.    Instruction Sets 526 that were least modified in the confir
    Artificial Intelligence Unit 110 comprises the functionality 10 mation process . In another example, a rating function or
    for anticipating one or more instruction sets , data , and / or     method can assign a higher rating to anticipatory Instruction
    other information . Artificial Intelligence Unit 110 comprises      Sets 526 that were canceled least number of times by User
    the functionality for anticipating one or more Instruction          50. Any other automatic rating function or method can be
    Sets 526 based on one or more incoming Digital Pictures             utilized . In yet other embodiments, Confirmation Unit 550
    525 of Device's 98 surrounding. Artificial Intelligence Unit 15 can serve as a means of canceling anticipatory Instruction
    110 comprises the functionality for anticipating one or more Sets 526 if they did not match User's 50 intended operation.
    Instruction Sets 526 to be used or executed in Device's 98          For example, Decision -making Unit 540 may determine one
    autonomous operation. Artificial Intelligence Unit 110 also         or more anticipatory Instruction Sets 526 , which the system
    comprises other disclosed functionalities.                may automatically execute . The system may save the state of
      Knowledge Structuring Unit 520 , Knowledgebase 530 , 20 Device 98 , Processor 11 ( save its register values , etc. ) , Logic
    and Decision -making Unit 540 are described later.               Circuit 250 , Application Program 18 ( i.e. save its variables ,
       Confirmation Unit 550 comprises the functionality for data structures, objects, location of its current instruction ,
    confirming, modifying, evaluating ( .e . rating, etc. ), and /or etc. ) , and / or other processing elements before executing
    canceling one or more anticipatory Instruction Sets 526 , anticipatory Instruction Sets 526. User 50 may be provided
    and / or other functionalities . Confirmation Unit 550 is an 25 with an interface (i.e. graphical user interface, selectable list
    optional element that can be omitted depending on imple- of prior executed anticipatory Instruction Sets 526 , etc. ) to
    mentation . In some embodiments , Confirmation Unit 550             cancel one or more of the prior executed anticipatory
    can serve as a means of confirming anticipatory Instruction         Instruction Sets 526 , and restore Device 98 , Processor 11 ,
    Sets 526. For example, Decision -making Unit 540 may Logic Circuit 250 , Application Program 18 , and / or other
    determine one or more anticipatory Instruction Sets 526 and 30 processing elements to a prior state . In some aspects , Con
    provide them to User 50 for confirmation . User 50 may be firmation Unit 550 can optionally be disabled or omitted in
    provided with an interface (i.e. graphical user interface, order to provide an uninterrupted operation of Device 98 ,
    selectable list of anticipatory Instruction Sets 526 , etc. ) to Processor 11 , Logic Circuit 250 , and / or Application Pro
    approve or confirm execution of the anticipatory Instruction gram 18. For example, a microwave oven may be suitable
    Sets 526. In some aspects , Confirmation Unit 550 can 35 for implementing the user confirmation step , whereas, a
    automate User 50 confirmation. In one example , if one or robot or vehicle may be less suitable for implementing such
    more incoming Digital Pictures 525 from Picture Capturing interrupting step due to the real time nature of robot or
    Apparatus 90 and one or more Digital Pictures 525 from a vehicle operation.
    Knowledge Cell 800 were found to be a perfect or highly            Referring to FIG . 12 , an embodiment of Knowledge
    similar match , anticipatory Instruction Sets 526 correlated 40 Structuring Unit 520 correlating individual Digital Pictures
    with the one or more Digital Pictures 525 from the Knowl- 525 with any Instruction Sets 526 and / or Extra Info 527 is
    edge Cell 800 can be automatically executed without User's illustrated . Knowledge Structuring Unit 520 comprises the
    50 confirmation . Conversely, if one or more incoming               functionality for structuring the knowledge of a device's
    Digital Pictures 525 from Picture Capturing Apparatus 90            operation in various visual surroundings, and / or other func
    and one or more Digital Pictures 525 from a Knowledge Cell 45 tionalities . Knowledge Structuring Unit 520 comprises the
    800 were found to be less than a highly similar match , functionality for correlating one or more Digital Pictures
    anticipatory Instruction Sets 526 correlated with the one or 525 of Device's 98 surrounding with any Instruction Sets
    more Digital Pictures 525 from the Knowledge Cell 800 can 526 and / or Extra Info 527. Knowledge Structuring Unit 520
    be presented to User 50 for confirmation and / or modifying. comprises the functionality for creating or generating
    A threshold that defines a highly or otherwise similar match 50 Knowledge Cell 800 and storing one or more Digital Pic
    can be utilized in such implementations. Such threshold can tures 525 correlated with any Instruction Sets 526 and / or
    be defined by a user, by VSADO system administrator, or Extra Info 527 into the Knowledge Cell 800. As such ,
    automatically by the system based on experience , testing, Knowledge Cell 800 comprises the functionality for storing
    inquiry, analysis , synthesis, or other techniques, knowledge, one or more Digital Pictures 525 correlated with any Instruc
    or input. In other embodiments, Confirmation Unit 550 can 55 tion Sets 526 and / or Extra Info 527. Knowledge Cell 800
    serve as a means of modifying or editing anticipatory includes a unit of knowledge of how Device 98 operated in
    Instruction Sets 526. For example , Decision - making Unit a visual surrounding. Once created or generated, Knowledge
    540 may determine one or more anticipatory Instruction Sets Cells 800 can be used in / as neurons, nodes, vertices, or other
    526 and provide them to User 50 for modification . User 50 elements in any of the data structures or arrangements ( i.e.
    may be provided with an interface ( i.e. graphical user 60 neural networks, graphs, sequences, etc. ) used for storing the
    interface, etc.) to modify the anticipatory Instruction Sets knowledge of Device's 98 operation in various visual sur
    526 before their execution . In further embodiments, Con- roundings, thereby facilitating learning functionalities
    firmation Unit 550 can serve as a means of evaluating or herein . It should be noted that Extra Info 527 may be
    rating anticipatory Instruction Sets 526 if they matched optionally used in some implementations to enable enhanced
    User's 50 intended operation. For example, Decision mak-
                                                           -    65 comparisons or decision making in autonomous device
    ing Unit 540 may determine one or more anticipatory operation where applicable, and that Extra Info 527 can be
    Instruction Sets 526 , which the system may automatically           omitted in alternate implementations.
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 630 of 2562 PageID #: 13501


                                                         US 11,055,583 B1
                                  91                                                                    92
      In some embodiments, Knowledge Structuring Unit 520                 correspond to a Digital Picture 525 may include Instruction
    receives one or more Digital Pictures 525 from Picture                Sets 526 used and / or Extra Info 527 obtained within 50
    Capturing Apparatus 90. Knowledge Structuring Unit 520                milliseconds , 1 second, 3 seconds , 20 seconds , 1 minute , 41
    may also receive one or more Instruction Sets 526 from minutes, 2 hours, or any other time period before and / or after
    Acquisition Interface 120. Knowledge Structuring Unit 520 5 capturing the Digital Picture 525. Such time periods can be
    may further receive any Extra Info 527. Although , Extra Info defined by a user, by VSADO system administrator, or
    527 is not shown in this and / or other figures for clarity of automatically by the system based on experience , testing,
    illustration, it should be noted that any Digital Picture 525 , inquiry, analysis , synthesis, or other techniques, knowledge,
    Instruction Set 526 , and / or other element may include or be or input. In other aspects , Instruction Sets 526 and / or Extra
    associated with Extra Info 527. Knowledge Structuring Unit 10 Info 527 that temporally correspond to a Digital Picture 525
    520 may correlate one or more Digital Pictures 525 with any may include Instruction Sets 526 used and / or Extra Info 527
    Instruction Sets 526 and / or Extra Info 527. Knowledge obtained from the time of capturing of the Digital Picture
    Structuring Unit 520 may then create Knowledge Cell 800 525 to the time of capturing of a next Digital Picture 525. In
    and store the one or more Digital Pictures 525 correlated further aspects , Instruction Sets 526 and / or Extra Info 527
    with Instruction Sets 526 and/or Extra Info 527       into the 15 that temporally correspond to a Digital Picture 525 may
    Knowledge Cell 800. Knowledge Cell 800 may include any include Instruction Sets 526 used and / or Extra Info 527
    data structure or arrangement that can facilitate such storing . obtained from the time of capturing of a previous Digital
    For example, Knowledge Structuring Unit 520 may create Picture 525 to the time of capturing of the Digital Picture
    Knowledge Cell 800ax and structure within it Digital Picture 525. Any other temporal relationship or correspondence
    525al correlated with Instruction Sets 526a1-526a3 and /or 20 between Digital Pictures 525 and correlated Instruction Sets
    any Extra Info 527 (not shown) . Knowledge Structuring 526 and / or Extra Info 527 can be implemented .
    Unit 520 may further structure within Knowledge Cell                  In some embodiments, Knowledge Structuring Unit 520
    800ax a Digital Picture 525a2 correlated with Instruction Set can structure the knowledge of Device's 98 operation in a
    526a4 and / or any Extra Info 527 ( not shown ). Knowledge visual surrounding into any number of Knowledge Cells
    Structuring Unit 520 may further structure within Knowl- 25 800. In some aspects , Knowledge Structuring Unit 520 can
    edge Cell 800ax a Digital Picture 525a3 without a correlated structure into a Knowledge Cell 800 a single Digital Picture
    Instruction Set 526 and /or Extra Info 527. Knowledge 525 correlated with any Instruction Sets 526 and / or Extra
    Structuring Unit 520 may further structure within Knowl- Info 527. In other aspects , Knowledge Structuring Unit 520
    edge Cell 800ax a Digital Picture 525a4 correlated with can structure into a Knowledge Cell 800 any number ( i.e. 2 ,
    Instruction Sets 526a5-526a6 and / or any Extra Info 527 ( not 30 3 , 5 , 8 , 19 , 33 , 99 , 1715 , 21822 , 393477 , 6122805 , etc.) of
    shown ). Knowledge Structuring Unit 520 may further struc- Digital Pictures 525 correlated with any Instruction Sets 526
    ture within Knowledge Cell 800ax a Digital Picture 525a5 and / or Extra Info 527. In a special case , Knowledge Struc
    without a correlated Instruction Set 526 and / or Extra Info turing Unit 520 can structure all Digital Pictures 525 cor
    527. Knowledge Structuring Unit 520 may structure within related with any Instruction Sets 526 and / or Extra Info 527
    Knowledge Cell 800ax additional Digital Pictures 525 cor- 35 into a single long Knowledge Cell 800. In further aspects ,
    related with any number ( including zero [ i.e. uncorrelated ]) Knowledge Structuring Unit 520 can structure Digital Pic
    of Instruction Sets 526 and / or Extra Info 527 by following tures 525 correlated with any Instruction Sets 526 and / or
    the same logic as described above .                          Extra Info 527 into a plurality of Knowledge Cells 800. In
      In some embodiments, Knowledge Structuring Unit 520 a special case , Knowledge Structuring Unit 520 can store
    may correlate a Digital Picture 525 with one or more 40 periodic streams of Digital Pictures 525 correlated with any
    temporally corresponding Instruction Sets 526 and /or Extra Instruction Sets 526 and /or Extra Info 527 into a plurality of
    Info 527. This way, Knowledge Structuring Unit 520 can Knowledge Cells 800 such as hourly, daily, weekly, monthly ,
    structure the knowledge of Device's 98 operation at or yearly, or other periodic Knowledge Cells 800 .
    around the time of the capturing of Digital Pictures 525 of     In some embodiments, Knowledge Structuring Unit 520
    Device's 98 surrounding. Such functionality enables spon- 45 may be responsive to a triggering object, action, event, time ,
    taneous or seamless learning of Device's 98 operation in and /or other stimulus. In some aspects , the system can detect
    various visual surroundings as user operates the device in or recognize an object in Device's 98 visual surrounding ,
    real life situations . In some designs, Knowledge Structuring and Knowledge Structuring Unit 520 can structure into a
    Unit 520 may receive a stream of Instruction Sets 526 used Knowledge Cell 800 one or more Digital Pictures 525
    or executed to effect Device's 98 operations as well as a 50 correlated with any Instruction Sets 526 and / or Extra Info
    stream of Digital Pictures 525 of Device's 98 surrounding as 527 related to the object. For example , Knowledge Struc
    the operations are performed. Knowledge Structuring Unit turing Unit 520 can structure into a Knowledge Cell 800 one
    520 can then correlate Digital Pictures 525 from the stream or more Digital Pictures 525 of a pizza from a microwave
    of Digital Pictures 525 with temporally corresponding oven ( i.e. Device 98 , etc. ) correlated with any Instruction
    Instruction Sets 526 from the stream of Instruction Sets 526 55 Sets 526 ( i.e. inputs , outputs, or states of the microwave
    and / or any Extra Info 527. Digital Pictures 525 without a oven's microcontroller, etc.) causing the microwave oven to
    temporally corresponding Instruction Set 526 may be uncor- bake the pizza . Knowledge Structuring Unit 520 can also
    related , for instance . In some aspects , Instruction Sets 526 structure into the Knowledge Cell 800 any Extra Info 527
    and / or Extra Info 527 that temporally correspond to a Digital (i.e. time , location, computed, observed , sensory , and / or
    Picture 525 may include Instruction Sets 526 used and / or 60 other information , etc. ) . In other aspects , the system can
    Extra Info 527 obtained at the time of capturing the Digital detect or recognize a specific action or operation performed
    Picture 525. In other aspects , Instruction Sets 526 and /or by Device 98 , and Knowledge Structuring Unit 520 can
    Extra Info 527 that temporally correspond to a Digital structure into a Knowledge Cell 800 one or more Digital
    Picture 525 may include Instruction Sets 526 used and / or Pictures 525 correlated with any Instruction Sets 526 and /or
    Extra Info 527 obtained within a certain time period before 65 Extra Info 527 related to the action or operation. For
    and / or after capturing the Digital Picture 525. For example, example, Knowledge Structuring Unit 520 can structure into
    Instruction Sets 526 and / or Extra Info 527 that temporally a Knowledge Cell 800 one or more Digital Pictures 525
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 631 of 2562 PageID #: 13502


                                                        US 11,055,583 B1
                                 93                                                                   94
    depicting screwing of a screw by a robotic arm ( i.e. Device        operation. In some designs where multiple processing ele
    98 , etc. ) correlated with any Instruction Sets 526 causing the ments are utilized, multiple VSADO Units 100 can also be
    robotic arm to screw the screw . Knowledge Structuring Unit utilized (i.e. one VSADO Unit 100 for each processing
    520 can also structure into the Knowledge Cell 800 any element, etc. ) . Digital Pictures 525 of Device's 98 surround
    Extra Info 527 (i.e. time , location , computed , observed , 5 ing can be correlated with any Instruction Sets 526 and / or
    sensory, and / or other information , etc. ) . In further aspects , Extra Info 527 as previously described . In other designs
    the system can detect a person in Device's 98 visual sur- where multiple processing elements are utilized, Digital
    rounding, and Knowledge Structuring Unit 520 can structure Pictures 525 of Device's 98 surrounding can be correlated
    into a Knowledge Cell 800 one or more Digital Pictures 525 with any collective Instruction Sets 526 and /or Extra Info
    correlated with any Instruction Sets 526 and /or Extra Info 10 527 used or executed by a plurality of processing elements.
    527 related to the person . For example, Knowledge Struc-             Any combination of the aforementioned multiple Picture
    turing Unit 520 can structure into a Knowledge Cell 800 one Capturing Apparatuses 90 , multiple processing elements,
    or more Digital Pictures 525 of a pedestrian in front of a and / or other elements can be implemented in alternate
    vehicle ( i.e. Device 98 , etc.) correlated with any Instruction embodiments.
    Sets 526 causing the vehicle to stop . Knowledge Structuring 15 Referring to FIG . 13 , another embodiment of Knowledge
    Unit 520 can also structure into the Knowledge Cell 800 any Structuring Unit 520 correlating individual Digital Pictures
    Extra Info 527 (i.e. time , location , computed, observed , 525 with any Instruction Sets 526 and / or Extra Info 527 is
    sensory, and / or other information , etc. ) . In further aspects , illustrated . In such embodiments, Knowledge Structuring
    the system can detect or recognize a significant change in          Unit 520 may generate Knowledge Cells 800 each compris
    Device's 98 visual surrounding, and Knowledge Structuring 20 ing a single Digital Picture 525 correlated with any Instruc
    Unit 520 can structure into a Knowledge Cell 800 one or             tion Sets 526 and / or Extra Info 527 .
    more Digital Pictures 525 correlated with any Instruction              Referring to FIG . 14 , an embodiment of Knowledge
    Sets 526 and / or Extra Info 527 related to the change in visual Structuring Unit 520 correlating streams of Digital Pictures
    surrounding. For example, the system can detect a vehicle's 525 with any Instruction Sets 526 and /or Extra Info 527 is
    ( i.e. Device 98 , etc. ) changing direction ( .e. turning left, 25 illustrated . In some aspects , a stream of Digital Pictures 525
    right, etc. ) and Knowledge Structuring Unit 520 can struc- may include a collection , a group , a sequence , or other
    ture into a Knowledge Cell 800 one or more Digital Pictures         plurality of Digital Pictures 525. In other aspects , a stream
    525 correlated with any Instruction Sets 526 causing the            of Digital Pictures 525 may include one or more Digital
    change of direction . Knowledge Structuring Unit 520 can Pictures 525. In further aspects , a stream of Digital Pictures
    also structure into the Knowledge Cell 800 any Extra Info 30 525 may include a digital motion picture (i.e. digital video ,
    527 (i.e. time , location, computed , observed , sensory , and / or etc. ) or portion thereof. For example, Knowledge Structur
    other information , etc. ) . A vehicle's changing direction may ing Unit 520 may create Knowledge Cell 800ax and struc
    be detected as a significant change in the vehicle's visual ture within it a stream of Digital Pictures 525a1-525an
    surrounding as the view of the vehicle's scenery changes correlated with Instruction Set 526al and / or any Extra Info
    significantly. Any features, functionalities, and embodi- 35 527 ( not shown ). Knowledge Structuring Unit 520 may
    ments of Picture Recognizer 350 can be utilized in the further structure within Knowledge Cell 800ax a stream of
    aforementioned detecting or recognizing. In general, Digital Pictures 525b1-525bn correlated with Instruction
    Knowledge Structuring Unit 520 can structure into a Knowl- Sets 526a2-526a4 and / or and Extra Info 527 (not shown ).
    edge Cell 800 any Digital Pictures 525 correlated with any Knowledge Structuring Unit 520 may further structure
    Instruction Sets 526 and / or Extra Info 527 related to any 40 within Knowledge Cell 800ax a stream of Digital Pictures
    triggering object, action , event, time , and /or other stimulus . 525c1-525cn without correlated Instruction Sets 526 and / or
       In some embodiments, Device 98 may include a plurality Extra Info 527. Knowledge Structuring Unit 520 may fur
    of Picture Capturing Apparatuses 90. In one example, dif- ther structure within Knowledge Cell 800ax a stream of
    ferent Picture Capturing Apparatuses 90 may capture Digital Digital Pictures 525d1-525dn correlated with Instruction
    Pictures 525 of different angles or sides of Device 98. In 45 Sets 526a5-526a6 and / or any Extra Info 527 ( not shown ).
    another example , different Picture Capturing Apparatuses 90 Knowledge Structuring Unit 520 may further structure
    may be placed on different sub - devices, sub - systems , or within Knowledge Cell 800ax additional streams of Digital
    elements of Device 98. Using multiple Picture Capturing Pictures 525 correlated with any number (including zero [ i.e.
    Apparatuses 90 may provide additional visual detail in uncorrelated ]) of Instruction Sets 526 and / or Extra Info 527
    learning and /or using Device's 98 surrounding for autono- 50 by following the same logic as described above . The number
    mous Device 98 operation . In some designs where multiple of Digital Pictures 525 in some or all streams of Digital
    Picture Capturing Apparatuses 90 are utilized , multiple Pictures 525a1-525an , 525b1-525bn , etc. may be equal or
    VSADO Units 100 can also be utilized (i.e. one VSADO          different. It should be noted that n or other such letters or
    Unit 100 for each Picture Capturing Apparatus 90 , etc. ) . indicia may follow the sequence and / or context where they
    Digital Pictures 525 of Device's 98 surrounding can be 55 are indicated .Also , a same letter or indicia such as n may
    correlated with any Instruction Sets 526 and / or Extra Info represent a different number in different elements of a
    527 as previously described . In other designs where multiple drawing.
    Picture Capturing Apparatuses 90 are utilized, collective        Referring to FIG . 15 , another embodiment of Knowledge
    Digital Pictures 525 of Device's 98 surrounding from mul- Structuring Unit 520 correlating streams of Digital Pictures
    tiple Picture Capturing Apparatuses 90 can be correlated 60 525 with any Instruction Sets 526 and / or Extra Info 527 is
    with any Instruction Sets 526 and / or Extra Info 527 .           illustrated . In such embodiments, Knowledge Structuring
       In some embodiments, Device 98 may include a plurality Unit 520 may generate Knowledge Cells 800 each compris
    of Logic Circuits 250 , Processors 11 , Application Programs ing a single stream of Digital Pictures 525 correlated with
    18 , and / or other processing elements . For example, each any Instruction Sets 526 and / or Extra Info 527 .
    processing element may control a sub -device, sub - system , or 65 Knowledgebase 530 comprises the functionality for stor
    an element of Device 98. Using multiple processing ele- ing the knowledge of a device's operation in various visual
    ments may provide enhanced control over Device's 98 surroundings, and / or other functionalities. Knowledgebase
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 632 of 2562 PageID #: 13503


                                                      US 11,055,583 B1
                                95                                                                  96
    530 comprises the functionality for storing one or more operation may include a neural network ( also referred to as
    Digital Pictures 525 of Device's 98 surrounding correlated artificial neural network, etc. ). As such, machine learning,
    with any Instruction Sets 526 and / or Extra Info 527. Knowl- knowledge structuring or representation , decision making,
    edgebase 530 comprises the functionality for storing one or pattern recognition, and /or other artificial intelligence func
    more Knowledge Cells 800 each including one or more 5 tionalities may include a network of Nodes 852 ( also
    Digital Pictures 525 of Device's 98 surrounding correlated referred to as neurons, etc. ) and Connections 853 similar to
    with any Instruction Sets 526 and / or Extra Info 527. In some that of a brain . Node 852 can store any data , object, data
    aspects , Digital Pictures 525 correlated with Instruction Sets structure, and /or other item , or reference thereto . Node 852
    526 and / or Extra Info 527 can be stored directly within may also include a function for transforming or manipulat
    Knowledgebase 530 without using Knowledge Cells 800 as 10 ing any data , object , data structure, and /or other item .
    the intermediary data structures. In some embodiments , Examples of such transformation functions include math
    Knowledgebase 530 may be or include Neural Network ematical functions (i.e. addition , subtraction , multiplication ,
    530a ( later described ). In other embodiments, Knowledge- division , sin , cos , log , derivative, integral, etc. ), object
    base 530 may be or include Graph 530b ( later described ). In manipulation functions ( i.e. creating an object, modifying an
    further embodiments, Knowledgebase 530 may be or 15 object, deleting an object, appending objects, etc. ) , data
    include Collection of Sequences 530c ( later described ). In structure manipulation functions ( i.e. creating a data struc
    further embodiments, Knowledgebase 530 may be or                  ture , modifying a data structure , deleting a data structure,
    include Sequence 533 (later described ). In further embodi-       creating a data field , modifying a data field , deleting a data
    ments , Knowledgebase 530 may be or include Collection of         field, etc. ) , and / or other transformation functions. Connec
    Knowledge Cells 530d ( later described ). In general, Knowl- 20 tion 853 may include or be associated with a value such as
    edgebase 530 may be or include any data structure or a symbolic label or numeric attribute (i.e. weight, cost ,
    arrangement capable of storing the knowledge of a device's capacity, length , etc. ) . A computational model can be uti
    operation in various visual surroundings. Knowledgebase lized to compute values from inputs based on a pre -pro
    530 may reside locally on Device 98 , or remotely ( i.e. grammed or learned function or method . For example, a
    remote Knowledgebase 530 , etc. ) on a remote computing 25 neural network may include one or more input neurons that
    device ( i.e. server, cloud , etc.) accessible over a network . can be activated by inputs. Activations of these neurons can
      Knowledgebase 530 from one Device 98 or VSADO Unit             then be passed on, weighted , and transformed by a function
    100 can be transferred to one or more other Devices 98 or         to other neurons. Neural networks may range from those
    VSADO Units 100. Therefore, the knowledge of Device's             with only one layer of single direction logic to multi-layer of
    98 operation in various visual surroundings learned on one 30 multi-directional feedback loops . A neural network can use
    Device 98 or VSADO Unit 100 can be transferred to one or weights to change the parameters of the network's through
    more other Devices 98 or VSADO Units 100. In one put. A neural network can learn by input from its environ
    example , Knowledgebase 530 can be copied or downloaded ment or from self - teaching using written -in rules . A neural
    to a file or other repository from one Device 98 or VSADO network can be utilized as a predictive modeling approach in
    Unit 100 and loaded or inserted into another Device 98 or 35 machine learning. An exemplary embodiment of a neural
    VSADO Unit 100. In another example, Knowledgebase 530 network ( i.e. Neural Network 530a , etc.) is described later.
    from one Device 98 or VSADO Unit 100 can be available           In another example shown in Model B , the disclosed
    on a server accessible by other Devices 98 or VSADO Units artificially intelligent systems , devices, and methods for
    100 over a network . Once loaded into or accessed by a learning and / or using visual surrounding for autonomous
    receiving Device 98 or VSADO Unit 100 , the receiving 40 device operation may include a graph or graph - like data
    Device 98 or VSADO Unit 100 can then implement the structure . As such , machine learning, knowledge structuring
    knowledge of Device's 98 operation in various visual sur- or representation , decision making, pattern recognition , and /
    roundings learned on the originating Device 98 or VSADO or other artificial intelligence functionalities may include
    Unit 100. This functionality enables User 50 such as a Nodes 852 ( also referred to as vertices or points, etc. ) and
    professional Device 98 operator to record his / her knowl- 45 Connections 853 (also referred to as edges, arrows, lines ,
    edge, methodology, or style of operating Device 98 in arcs, etc. ) organized as a graph. In general, any Node 852 in
    various visual surroundings and / or sell his /her knowledge to a graph can be connected to any other Node 852. A Con
    other users .                                                     nection 853 may include unordered pair of Nodes 852 in an
       Referring to FIG . 16 , the disclosed artificially intelligent undirected graph or ordered pair of Nodes 852 in a directed
    systems , devices , and methods for learning and / or using 50 graph. Nodes 852 can be part of the graph structure or
    visual surrounding for autonomous device operation may external entities represented by indices or references. A
    include various artificial intelligence models and / or tech- graph can be utilized as a predictive modeling approach in
    niques . The disclosed systems, devices , and methods are machine learning. Nodes 852 , Connections 853 , and / or other
    independent of the artificial intelligence model and / or tech- elements or operations of a graph may include any features,
    nique used and any model and / or technique can be utilized 55 functionalities, and embodiments of the aforementioned
    to facilitate the functionalities described herein . Examples of Nodes 852 , Connections 853 , and / or other elements or
    these models and / or techniques include deep learning,           operations of a neural network , and vice versa . An exem
    supervised learning, unsupervised learning, neural networks       plary embodiment of a graph ( i.e. Graph 530b , etc. ) is
    ( i.e. convolutional neural network , recurrent neural network , described later.
    deep neural network , etc. ), search -based , logic and /or fuzzy 60 In a further example shown in Model C , the disclosed
    logic -based, optimization -based, tree /graph /other data struc- artificially intelligent systems, devices , and methods for
    ture -based, hierarchical, symbolic and / or sub - symbolic, learning and / or using visual surrounding for autonomous
    evolutionary, genetic, multi -agent, deterministic , probabilis- device operation may include a tree or tree - like data struc
    tic , statistical , and / or other models and / or techniques.   ture . As such, machine learning, knowledge structuring or
        In one example shown in Model A , the disclosed artifi- 65 representation, decision making, pattern recognition , and / or
    cially intelligent systems , devices , and methods for learning other artificial intelligence functionalities may include
    and / or using visual surrounding for autonomous device Nodes 852 and Connections 853 ( also referred to as refer
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 633 of 2562 PageID #: 13504


                                                      US 11,055,583 B1
                                 97                                                                98
    ences, edges , etc.) organized as a tree . In general, a Node further example, the disclosed systems , devices, and meth
    852 in a tree can be connected to any number ( i.e. including ods may include a probabilistic model and / or technique. As
    zero , etc. ) of children Nodes 852. A tree can be utilized as such , machine learning, knowledge structuring or represen
    a predictive modeling approach in machine learning. Nodes tation , decision making, pattern recognition , and / or other
    852 , Connections 853 , and / or other elements or operations 5 artificial intelligence functionalities can be implemented to
    of a tree may include any features, functionalities, and operate with incomplete or uncertain information where
    embodiments of the aforementioned Nodes 852 , Connec- probabilities may affect outcomes . Bayesian network,
    tions 853 , and / or other elements or operations of a neural among other models, is an example of a probabilistic tool
    network and / or graph , and vice versa .                          used for purposes such as reasoning, learning, planning,
       In a further example shown in Model D , the disclosed 10 perception , and / or others . One of ordinary skill in art will
    artificially intelligent systems , devices, and methods for understand that the aforementioned artificial intelligence
    learning and / or using visual surrounding for autonomous models and /or techniques are described merely as examples
    device operation may include a sequence or sequence - like of a variety of possible implementations, and that while all
    data structure . As such , machine learning, knowledge struc- possible artificial intelligence models and / or techniques are
    turing or representation , decision making, pattern recogni- 15 too voluminous to describe, other artificial intelligence
    tion, and /or other artificial intelligence functionalities may models and / or techniques known in art are within the scope
    include a structure of Nodes 852 and / or Connections 853 of this disclosure . One of ordinary skill in art will also
    organized as a sequence . In some aspects , Connections 853 recognize that an intelligent system may solve a specific
    may be optionally omitted from a sequence as the sequential problem by using any model and/or technique that works
    order of Nodes 852 in a sequence may be implied in the 20 such as , for example , some systems can be symbolic and
    structure . A sequence can be utilized as a predictive mod- logical , some can be sub - symbolic neural networks, some
    eling approach in machine learning. Nodes 852 , Connec- can be deterministic or probabilistic, some can be hierar
    tions 853 , and /or other elements or operations of a sequence chical, some may include searching techniques, some may
    may include any features, functionalities, and embodiments include optimization techniques, while others may use other
    of the aforementioned Nodes 852 , Connections 853 , and / or 25 or a combination of models and / or techniques. In general,
    other elements or operations of a neural network , graph , any artificial intelligence model and / or technique can be
    and / or tree , and vice versa. An exemplary embodiment of a utilized that can facilitate the functionalities described
    sequence (i.e. Collection of Sequences 530c , Sequence 533 , herein .
    etc. ) is described later.                                           Referring to FIGS . 17A - 17C , embodiments of intercon
       In yet another example , the disclosed artificially intelli- 30 nected Knowledge Cells 800 and updating weights of Con
    gent systems , devices, and methods for learning and / or using nections 853 are illustrated . As shown for example in FIG .
    visual surrounding for autonomous device operation may 17A , Knowledge Cell 800za is connected to Knowledge
    include a search -based model and / or technique. As such , Cell 800zb and Knowledge Cell 800zc by Connection 853z1
    machine learning, knowledge structuring or representation, and Connection 853z2 , respectively. Each of Connection
    decision making, pattern recognition, and / or other artificial 35 853zl and Connection 853z2 may include or be associated
    intelligence functionalities may include searching through a with occurrence count, weight, and / or other parameter or
    collection of possible solutions . For example, a search data . The number of occurrences may track or store the
    method can search through a neural network , graph , tree , number of observations that a Knowledge Cell 800 was
    sequence , or other data structure that includes data elements followed by another Knowledge Cell 800 indicating a con
    of interest .A search may use heuristics to limit the search for 40 nection or relationship between them . For example, Knowl
    solutions by eliminating choices that are unlikely to lead to edge Cell 800za was followed by Knowledge Cell 800zb 10
    the goal . Heuristic techniques may provide a best guess times as indicated by the number of occurrences of Con
    solution . A search can also include optimization. For nection 853zl . Also , Knowledge Cell 800za was followed
    example, a search may begin with a guess and then refine the by Knowledge Cell 800zc times as indicated by the number
    guess incrementally until no more refinements can be made . 45 of occurrences of Connection 853z2 . The weight of Con
    In a further example, the disclosed systems , devices , and nection 853zl can be calculated or determined as the number
    methods may include logic -based model and / or technique. of occurrences of Connection 853zl divided by the sum of
    As such , machine learning, knowledge structuring or repre- occurrences of all connections (i.e. Connection 853z1 and
    sentation , decision making , pattern recognition, and / or other Connection 853z2 , etc. ) originating from Knowledge Cell
    artificial intelligence functionalities can use formal or other 50 800za . Therefore, the weight of Connection 853zl can be
    type of logic . Logic based models may involve making calculated or determined as 10 / ( 10 + 15 ) = 0.4 , for example.
    inferences or deriving conclusions from a set ofpremises.As Also , the weight of Connection 853z2 can be calculated or
    such , a logic based system can extend existing knowledge or determined as 15 / ( 10 + 15 ) = 0.6 , for example. Therefore, the
    create new knowledge automatically using inferences. sum of weights of Connection 853z1 , Connection 853z2 ,
    Examples of the types of logic that can be utilized include 55 and /or any other Connections 853 originating from Knowl
    propositional or sentential logic that comprises logic of edge Cell 800za may equal to 1 or 100% . As shown for
    statements which can be true or false; first - order logic that example in FIG . 17B , in the case that Knowledge Cell 800zd
    allows the use of quantifiers and predicates and that can is inserted and an observation is made that Knowledge Cell
    express facts about objects, their properties, and their rela- 800zd follows Knowledge Cell 800za, Connection 853z3
    tions with each other; fuzzy logic that allows degrees of truth 60 can be created between Knowledge Cell 800za and Knowl
    to be represented as a value between 0 and 1 rather than edge Cell 800zd . The occurrence count of Connection 853z3
    simply 0 ( false ) or 1 ( true ), which can be used for uncertain can be set to 1 and weight determined as 1 / ( 10 + 15 + 1 ) =
    reasoning; subjective logic that comprises a type of proba- 0.038 . The weights of all other connections (i.e. Connection
    bilistic logic that may take uncertainty and belief into 853z1 , Connection 853z2 , etc.) originating from Knowledge
    account, which can be suitable for modeling and analyzing 65 Cell 800za may be updated to account for the creation of
    situations involving uncertainty, incomplete knowledge and Connection 853z3 . Therefore , the weight of Connection
    different world views ; and / or other types of logic . In a 853z1 can be updated as 10 / ( 10 + 15 + 1 ) = 0.385. The weight
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 634 of 2562 PageID #: 13505


                                                      US 11,055,583 B1
                                99                                                                100
    of Connection 853z2 can also be updated as 15 /( 10 + 15 + 1 )= Collection of Knowledge Cells 530d . In the case that a
    0.577 . As shown for example in FIG . 17C , in the case that substantially similar match is not found , the system may
    an additional occurrence of Connection 853z1 is observed insert a new Knowledge Cell 800 into Collection of Knowl
    ( i.e. Knowledge Cell 800zb followed Knowledge Cell edge Cells 530d and copy Knowledge Cell 800bb into the
    800za , etc. ) , occurrence count of Connection 853z1 and 5 inserted new Knowledge Cell 800. The system can then
    weights of all connections (i.e. Connection 853z1 , Connec- perform Similarity Comparisons 125 of Knowledge Cell
    tion 853z2 , and Connection 853z3 , etc. ) originating from 800bc from Knowledge Structuring Unit 520 with Knowl
    Knowledge Cell 800za may be updated to account for this edge Cells 800 in Collection of Knowledge Cells 530d . In
    observation . The occurrence count of Connection 853zl can the case that a substantially similar match is found between
    be increased by 1 and its weight updated as 11 / ( 11 + 15 + 1 ) = 10 Knowledge Cell 800bc and any of the Knowledge Cells 800
    0.407 . The weight of Connection 853z2 can also be updated in Collection of Knowledge Cells 530d , the system may
    as 15 / ( 11 + 15 + 1 ) =0.556 . The weight of Connection 853z3 perform no action . The system can then perform Similarity
    can also be updated as 1 / ( 11 + 15 + 1 ) =0.037 .                   Comparisons 125 of Knowledge Cell 800bd from Knowl
        Referring to FIG . 18 , an embodiment of learning Knowl- edge Structuring Unit 520 with Knowledge Cells 800 in
    edge Cells 800 comprising one or more Digital Pictures 525 15 Collection of Knowledge Cells 530d. In the case that a
    correlated with any Instruction Sets 526 and / or Extra Info substantially similar match is not found , the system may
    527 using Collection of Knowledge Cells 530d is illustrated . insert a new Knowledge Cell 800 into Collection of Knowl
    Collection of Knowledge Cells 530d comprises the func- edge Cells 530d and copy Knowledge Cell 800bd into the
    tionality for storing any number of Knowledge Cells 800. In inserted new Knowledge Cell 800. The system can then
    some aspects , Knowledge Cells 800 may be stored into or 20 perform Similarity Comparisons 125 of Knowledge Cell
    applied onto Collection of Knowledge Cells 530d in a 800be from Knowledge Structuring Unit 520 with Knowl
    learning or training process . In effect, Collection of Knowl- edge Cells 800 in Collection of Knowledge Cells 530d . In
    edge Cells 530d may store Knowledge Cells 800 that can the case that a substantially similar match is not found, the
    later be used to enable autonomous Device 98 operation. In system may insert a new Knowledge Cell 800 into Collec
    some embodiments, Knowledge Structuring Unit 520 struc- 25 tion of Knowledge Cells 530d and copy Knowledge Cell
    tures or generates Knowledge Cells 800 as previously 800be into the inserted new Knowledge Cell 800. Applying
    described and the system applies them onto Collection of any additional Knowledge Cells 800 from Knowledge Struc
    Knowledge Cells 530d , thereby implementing learning turing Unit 520 onto Collection of Knowledge Cells 530d
    Device's 98 operation in various visual surroundings. The follows similar logic or process as the above - described .
    term apply or applying may refer to storing, copying, 30 Referring to FIG . 19 , an embodiment of learning Knowl
    inserting, updating, or other similar action , therefore, these edge Cells 800 comprising one or more Digital Pictures 525
    terms may be used interchangeably herein depending on correlated with any Instruction Sets 526 and / or Extra Info
    context. The system can perform Similarity Comparisons 527 using Neural Network 530a is illustrated . Neural Net
    125 ( later described ) of a newly structured Knowledge Cell      work 530a includes a number of neurons or Nodes 852
    800 from Knowledge Structuring Unit 520 with Knowledge 35 interconnected by Connections 853 as previously described .
    Cells 800 in Collection of Knowledge Cells 530d . If a Knowledge Cells 800 are shown instead of Nodes 852 to
    substantially similar Knowledge Cell 800 is not found in simplify the illustration as Node 852 includes a Knowledge
    Collection of Knowledge Cells 530d, the system may insert Cell 800 , for example. Therefore, Knowledge Cells 800 and
    ( i.e. copy , store , etc.) the Knowledge Cell 800 from Knowl- Nodes 852 can be used interchangeably herein depending on
    edge Structuring Unit 520 into Collection of Knowledge 40 context. It should be noted that Node 852 may include other
    Cells 530d, for example . On the other hand , if a substantially elements and / or functionalities instead of or in addition to
    similar Knowledge Cell 800 is found in Collection of Knowledge Cell 800. In some aspects , Knowledge Cells 800
    Knowledge Cells 530d, the system may optionally omit may be stored into or applied onto Neural Network 530a
    inserting the Knowledge Cell 800 from Knowledge Struc-            individually or collectively in a learning or training process.
    turing Unit 520 as inserting a substantially similar Knowl- 45 In some designs , Neural Network 530a comprises a number
    edge Cell 800 may not add much or any additional knowl- of Layers 854 each of which may include one or more
    edge to the Collection of Knowledge Cells 530d, for Knowledge Cells 800. Knowledge Cells 800 in successive
    example . Also , inserting a substantially similar Knowledge Layers 854 can be connected by Connections 853. Connec
    Cell 800 can optionally be omitted to save storage resources tion 853 may include or be associated with occurrence
    and limit the number of Knowledge Cells 800 that may later 50 count, weight, and / or other parameter or data as previously
    need to be processed or compared. Any features, function- described . Neural Network 530a may include any number of
    alities , and embodiments of Similarity Comparison 125 , Layers 854 comprising any number of Knowledge Cells
    importance index (later described ), similarity index ( later 800. In some aspects , Neural Network 530a may store
    described ), and / or other disclosed elements can be utilized Knowledge Cells 800 interconnected by Connections 853
    to facilitate determination of substantial or other similarity 55 where following a path through the Neural Network 530a
    and whether to insert a newly structured Knowledge Cell can later be used to enable autonomous Device 98 operation .
    800 into Collection of Knowledge Cells 530d .                     It should be understood that, in some embodiments, Knowl
       For example , the system can perform Similarity Com-           edge Cells 800 in one Layer 854 of Neural Network 530a
    parisons 125 ( later described ) of Knowledge Cell 800ba          need not be connected only with Knowledge Cells 800 in a
    from Knowledge Structuring Unit 520 with Knowledge 60 successive Layer 854 , but also in any other Layer 854 ,
    Cells 800 in Collection of Knowledge Cells 530d. In the thereby creating shortcuts ( i.e. shortcut Connections 853 ,
    case that a substantially similar match is found between etc. ) through Neural Network 530a . A Knowledge Cell 800
    Knowledge Cell 800ba and any of the Knowledge Cells 800 can also be connected to itself such as , for example , in
    in Collection of Knowledge Cells 530d, the system may recurrent neural networks. In general, any Knowledge Cell
    perform no action . The system can then perform Similarity 65 800 can be connected with any other Knowledge Cell 800
    Comparisons 125 of Knowledge Cell 800bb from Knowl- anywhere else in Neural Network 530a . In further embodi
    edge Structuring Unit 520 with Knowledge Cells 800 in ments, back -propagation of any data or information can be
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 635 of 2562 PageID #: 13506


                                                      US 11,055,583 B1
                               101                                                               102
    implemented. In one example, back -propagation of similar- Connection 853e2 between Knowledge Cell 800eb and
    ity ( i.e. similarity index , etc. ) of compared Knowledge Cells Knowledge Cell 800ec with occurrence count of 1 and
    800 in a path through Neural Network 530a can be imple- weight calculated based on the occurrence count as previ
    mented . In another example, back -propagation of errors can ously described . The system may also update weights of
    be implemented. Such back -propagations can then be used 5 other Connections 853 ( one in this example ) originating
    to adjust occurrence counts and / or weights of Connections from Knowledge Cell 800eb as previously described . The
    853 for better future predictions, for example . Any other system can then perform Similarity Comparisons 125 of
    back -propagation can be implemented for other purposes . Knowledge Cell 800bd from Knowledge Structuring Unit
    Any combination of Nodes 852 (i.e. Nodes 852 comprising 520 with Knowledge Cells 800 in Layer 854d of Neural
    Knowledge Cells 800 , etc. ) , Connections 853 , Layers 854 , 10 Network 530a . In the case that a substantially similar match
    and / or other elements or techniques can be implemented in is not found, the system may insert Knowledge Cell 800ed
    alternate embodiments. Neural Network 530a may include into Layer 854d and copy Knowledge Cell 800bd into the
    any type or form of a neural network known in art such as inserted Knowledge Cell 800ed. The system may also create
    a feed - forward neural network, a back -propagating neural Connection 853e3 between Knowledge Cell 800ec and
    network , a recurrent neural network, a convolutional neural 15 Knowledge Cell 800ed with occurrence count of 1 and
    network , deep neural network , and / or others including a weight of 1. The system can then perform Similarity Com
    custom neural network .                                          parisons 125 of Knowledge Cell 800be from Knowledge
       In some embodiments, Knowledge Structuring Unit 520 Structuring Unit 520 with Knowledge Cells 800 in Layer
    structures or generates Knowledge Cells 800 and the system 854e of Neural Network 530a . In the case that a substan
    applies them onto Neural Network 530a , thereby imple- 20 tially similar match is not found, the system may insert
    menting learning Device's 98 operation in various visual Knowledge Cell 800ee into Layer 854e and copy Knowl
    surroundings. The system can perform Similarity Compari- edge Cell 800be into the inserted Knowledge Cell 800ee .
    sons 125 ( later described ) of a Knowledge Cell 800 from The system may also create Connection 853e4 between
    Knowledge Structuring Unit 520 with Knowledge Cells 800 Knowledge Cell 800ed and Knowledge Cell 800ee with
    in a corresponding Layer 854 of Neural Network 530a . If a 25 occurrence count of 1 and weight of 1. Applying any
    substantially similar Knowledge Cell 800 is not found in the additional Knowledge Cells 800 from Knowledge Structur
    corresponding Layer 854 of Neural Network 530a , the ing Unit 520 onto Neural Network 530a follows similar
    system may insert (i.e. copy, store, etc. ) the Knowledge Cell logic or process as the above -described.
    800 from Knowledge Structuring Unit 520 into the corre-             Similarity Comparison 125 comprises the functionality
    sponding Layer 854 of Neural Network 530a , and create a 30 for comparing or matching Knowledge Cells 800 or portions
    Connection 853 to the inserted Knowledge Cell 800 from a thereof, and / or other functionalities. Similarity Comparison
    Knowledge Cell 800 in a prior Layer 854 including assign- 125 comprises the functionality for comparing or matching
    ing an occurrence count to the new Connection 3 , calcu- Digital Pictures 525 or portions thereof. Similarity Com
    lating a weight of the new Connection 853 , and updating any parison 125 comprises the functionality for comparing or
    other   Connections 853 originating from the Knowledge Cell 35 matching streams of Digital Pictures 525 or portions thereof.
    800 in the prior Layer 854. On the other hand, if a substan- Similarity Comparison 125 comprises the functionality for
    tially similar Knowledge Cell 800 is found in the corre- comparing or matching Instruction Sets 526 , Extra Info 527 ,
    sponding Layer 854 of Neural Network 530a , the system text ( i.e. characters, words , phrases, etc. ) , pictures, sounds ,
    may update occurrence count and weight of Connection 853 data , and / or other elements or portions thereof. Similarity
    to that Knowledge Cell 800 from a Knowledge Cell 800 in 40 Comparison 125 may include functions, rules, and / or logic
    a prior Layer 854 , and update any other Connections 853 for performing matching or comparisons and for determin
    originating from the Knowledge Cell 800 in the prior Layer ing that while a perfect match is not found, a similar or
    854 .                                                            partial match has been found . In some aspects , Similarity
       For example, the system can perform Similarity Com- Comparison 125 may include determining substantial simi
    parisons 125 ( later described ) of Knowledge Cell 800ba 45 larity or substantial match of compared elements. In other
    from Knowledge Structuring Unit 520 with Knowledge aspects , a partial match may include a substantial or other
    Cells 800 in Layer 854a ofNeural Network 530a . In the case wise similar match , and vice versa . Although , substantial
    that a substantially similar match is found between Knowl- similarity or substantial match is frequently used herein, it
    edge Cell 800ba and Knowledge Cell 800ea , the system may should be understood that any level of similarity, however
    perform no action since Knowledge Cell 800ea is the initial 50 high or low , may be utilized as defined by the rules (i.e.
    Knowledge Cell 800. The system can then perform Simi- thresholds, etc. ) for similarity . The rules for similarity or
    larity Comparisons 125 of Knowledge Cell 800bb from similar match can be defined by a user, by VSADO system
    Knowledge Structuring Unit 520 with Knowledge Cells 800 administrator, or automatically by the system based on
    in Layer 854b of Neural Network 530a . In the case that a experience, testing , inquiry, analysis, synthesis, or other
    substantially similar match is found between Knowledge 55 techniques, knowledge, or input. In some designs , Similarity
    Cell 800bb and Knowledge Cell 800eb , the system may Comparison 125 comprises the functionality to automati
    update occurrence count and weight of Connection 853e1 cally define appropriately strict rules for determining simi
    between Knowledge Cell 800ea and Knowledge Cell 800eb , larity of the compared elements. Similarity Comparison 125
    and update weights of other Connections 853 originating can therefore set , reset , and / or adjust the strictness of the
    from Knowledge Cell 800ea as previously described. The 60 rules for finding or determining similarity of the compared
    system can then perform Similarity Comparisons 125 of elements, thereby fine tuning Similarity Comparison 125 so
    Knowledge Cell 800bc from Knowledge Structuring Unit that the rules for determining similarity are appropriately
    520 with Knowledge Cells 800 in Layer 854c of Neural strict. In some aspects, the rules for determining similarity
    Network 530a . In the case that a substantially similar match may include a similarity threshold . As such , Similarity
    is not found , the system may insert Knowledge Cell 800ec 65 Comparison 125 can determine similarity of compared ele
    into Layer 854c and copy Knowledge Cell 800bc into the ments if their similarity exceeds a similarity threshold . In
    inserted Knowledge Cell 800ec . The system may also create other aspects , the rules for determining similarity may
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 636 of 2562 PageID #: 13507


                                                      US 11,055,583 B1
                                103                                                             104
    include a difference threshold . As such , Similarity Compari- further aspects , substantial similarity can be achieved when
    son 125 can determine similarity of compared elements if all but a threshold number or percentage of Digital Pictures
    their difference is lower than a difference threshold . In 525 or portions thereof of the compared Knowledge Cells
    further aspects , the rules for determining similarity may 800 match or substantially match . Such thresholds can be
    include other thresholds.                                     5 defined by a user, by VSADO system administrator, or
       In some embodiments, in determining similarity of automatically by the system based on experience , testing ,
    Knowledge Cells 800 , Similarity Comparison 125 can com- inquiry , analysis , synthesis, or other techniques, knowledge,
    pare one or more Digital Pictures 525 or portions ( i.e. or input. In one example, substantial similarity can be
    regions , features, pixels , etc. ) thereof from one Knowledge achieved when at least 1 , 2 , 3 , 4 , or any other threshold
    Cell 800 with one or more Digital Pictures 525 or portions 10 number of Digital Pictures 525 or portions thereof of the
    thereof from another Knowledge Cell 800. In some aspects , compared Knowledge Cells 800 match or substantially
    total equivalence is achieved when all Digital Pictures 525 match . Similarly, substantial similarity can be achieved
    or portions thereof of the compared Knowledge Cells 800 when the number of matching or substantially matching
    match . If total equivalence is not found, Similarity Com- Digital Pictures 525 or portions thereof of the compared
    parison 125 may attempt to determine substantial or other 15 Knowledge Cells 800 exceeds 1 , 2 , 3 , 4 , or any other
    similarity. Any features, functionalities, and embodiments of threshold number. In another example, substantial similarity
    the previously described Picture Recognizer 350 can be used can be achieved when at least 10 % , 21 % , 30% , 49 % , 66 % ,
    in determining such substantial similarity .                  89 % , 93 % , or any other percentage of Digital Pictures 525
       In some embodiments where compared Knowledge Cells or portions thereof of the compared Knowledge Cells 800
    800 include a single Digital Picture 525 , Similarity Com- 20 match or substantially match. Similarly, substantial similar
    parison 125 can compare Digital Picture 525 from one            ity can be achieved when the percentage of matching or
    Knowledge Cell 800 with Digital Picture 525 from another        substantially matching Digital Pictures 525 or portions
    Knowledge Cell 800 using comparison techniques for indi- thereof of the compared Knowledge Cells 800 exceeds 10 % ,
    vidual pictures described below . In some embodiments 21 % , 30 % , 49 % , 66 % , 89 % , 93 % , or any other threshold
    where compared Knowledge Cells 800 include streams of 25 percentage. In other embodiments, substantial similarity of
    Digital Pictures 525 ( i.e. motion pictures, videos , etc. ), the compared Knowledge Cells 800 can be achieved in
    Similarity Comparison 125 can compare a stream of Digital terms of matches or substantial matches in more important
    Pictures 525 from one Knowledge Cell 800 with a stream of ( i.e. as indicated by importance index [ later described ], etc.)
    Digital Pictures 525 from another Knowledge Cell 800 . Digital Pictures 525 or portions thereof, thereby tolerating
    Such comparison may include comparing Digital Pictures 30 mismatches in less important Digital Pictures 525 or por
    525 from one Knowledge Cell 800 with corresponding ( i.e. tions thereof. In one example, substantial similarity can be
    similarly positioned, temporally related, etc. ) Digital Pic- achieved when matches or substantial matches are found
    tures 525 from another Knowledge Cell 800. In one with respect to more substantive Digital Pictures 525 (i.e.
    example, a 67th Digital Picture 525 from one Knowledge pictures comprising content of interest [ i.e. persons, objects,
    Cell 800 can be compared with a 67th Digital Picture 525 35 etc. ] , etc. ) or portions thereof of the compared Knowledge
    from another Knowledge Cell 800. In another example, a Cells 800 , thereby tolerating mismatches in less substantive
    67th Digital Picture 525 from one Knowledge Cell 800 can Digital Pictures 525 ( i.e. pictures comprising background ,
    be compared with a number of Digital Picture 525 around insignificant content , etc.) or portions thereof. In another
    ( i.e. preceding and / or following ) a 67th Digital Picture 525 example, substantial similarity can be achieved when
    from another Knowledge Cell 800. This way, flexibility can 40 matches or substantial matches are found in earlier Digital
    be implemented in finding a substantially similar Digital Pictures 525 or portions thereof of the compared Knowledge
    Picture 525 if the Digital Pictures 525 in the compared Cells 800 , thereby tolerating mismatches in later Digital
    Knowledge Cells 800 are not perfectly aligned . In other Pictures 525 or portions thereof. In general, any importance
    aspects , Similarity Comparison 125 can utilize Dynamic or weight can be assigned to any Digital Picture 525 or
    Time Warping (DTW) and / or other techniques know in art 45 portion thereof, and / or other elements . In some designs,
    for comparing and / or aligning temporal sequences ( i.e. Similarity Comparison 125 can be configured to omit any
    streams of Digital Pictures 525 , etc. ) that may vary in time Digital Picture 525 or portion thereof from the comparison .
    or speed . Once the corresponding (i.e. similarly positioned , In one example, less substantive Digital Pictures 525 or
    temporally related, time warped /aligned, etc.) Digital Pic- portions thereof can be omitted . In another example, some or
    tures 525 in the compared streams of Digital Pictures 525 are 50 all Digital Pictures 525 or portions thereof related to a
    compared and their substantial similarity determined using specific time period can be omitted . In a further example,
    comparison techniques for individual pictures described later Digital Pictures 525 or portions thereof can be omitted .
    below , Similarity Comparison 125 can utilize a threshold for In further embodiments, substantial similarity can be
    the number or percentage of matching or substantially achieved taking into account the number of Digital Pictures
    matching Digital Pictures 525 for determining substantial 55 525 of the compared Knowledge Cells 800. For example,
    similarity of the compared Knowledge Cells 800. In some         substantial similarity can be achieved if the number, in
    aspects , substantial similarity can be achieved when most of   addition to the content, of Digital Pictures 525 of the
    the Digital Pictures 525 or portions (i.e. regions, features,   compared Knowledge Cells 800 match or substantially
    pixels , etc. ) thereof of the compared Knowledge Cells 800     match . In further embodiments, substantial similarity can be
    match or substantially match. In other aspects , substantial 60 achieved taking into account the objects detected within
    similarity can be achieved when at least a threshold number Digital Pictures 525 and / or other features of Digital Pictures
    or percentage of Digital Pictures 525 or portions thereof of 525 of the compared Knowledge Cells 800. For example ,
    the compared Knowledge Cells 800 match or substantially substantial similarity can be achieved if same or similar
    match . Similarly, substantial similarity can be achieved objects are detected in Digital Pictures 525 of the compared
    when a number or percentage of matching or substantially 65 Knowledge Cells 800. Any features, functionalities, and
    matching Digital Pictures 525 or portions thereof of the embodiments of Picture Recognizer 350 can be used in such
    compared Knowledge Cells 800 exceeds a threshold . In detection . In some aspects , Similarity Comparison 125 can
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 637 of 2562 PageID #: 13508


                                                        US 11,055,583 B1
                                 105                                                                  106
    compare the number, objects detected , and /or other features aspects , a region may include content defined using a picture
    of Digital Pictures 525 as an initial check before proceeding segmentation technique. Examples of picture segmentation
    to further detailed comparisons.                                  techniques include thresholding, clustering, region - growing,
       Similarity Comparison 125 can automatically adjust ( i.e. edge detection, curve propagation , level sets , graph parti
    increase or decrease ) the strictness of the rules for deter- 5 tioning, model -based segmentation , trainable segmentation
    mining substantial similarity of Knowledge Cells 800. In (i.e. artificial neural networks, etc. ) , and / or others. In further
    some aspects , such adjustment in strictness can be done by aspects , a region may include content defined using any
    Similarity Comparison 125 in response to determining that technique. In further aspects , a region may include any
    total equivalence of compared Knowledge Cells 800 had not arbitrary region comprising any arbitrary content. Once
    been found . Similarity Comparison 125 can keep adjusting 10 regions of the compared Digital Pictures 525 are known,
    the strictness of the rules until substantially similarity is Similarity Comparison 125 can compare the regions to
    found . All the rules or settings of substantial similarity can determine substantial similarity of the compared Digital
    be set , reset, or adjusted by Similarity Comparison 125 in Pictures 525. In some aspects , total equivalence is found
    response to another strictness level determination . For when all regions of one Digital Picture 525 match all regions
    example, Similarity Comparison 125 may attempt to find a 15 of another Digital Picture 525. In other aspects , if total
    match or substantial match in a certain percentage (i.e. 95 % , equivalence is not found , Similarity Comparison 125 may
    etc. ) of Digital Pictures 525 or portions thereof from the attempt to determine substantial similarity of compared
    compared Knowledge Cells 800. If the comparison does not Digital Pictures 525. In one example, substantial similarity
    determine substantial similarity of compared Knowledge can be achieved when most of the regions of the compared
    Cells 800, Similarity Comparison 125 may decide to 20 Digital Picture 525 match or substantially match . In another
    decrease the strictness of the rules . In response , Similarity example, substantial similarity can be achieved when at least
    Comparison 125 may attempt to find fewer matching or a threshold number (i.e. 1 , 2 , 5 , 11 , 39 , etc. ) or percentage
    substantially matching Digital Pictures 525 or portions (i.e. 38 % , 63 % , 77 % , 84 % , 98 % , etc.) of regions of the
    thereof than in the previous attempt using stricter rules. If compared Digital Pictures 525 match or substantially match .
    the comparison still does not determine substantial similarity 25 Similarly, substantial similarity can be achieved when the
    of compared Knowledge Cells 800 , Similarity Comparison number or percentage of matching or substantially matching
    125 may further decrease ( i.e. down to a certain minimum regions of the compared Digital Pictures 525 exceeds a
    strictness or threshold , etc. ) the strictness by requiring fewer threshold number ( i.e. 1 , 2 , 5 , 11 , 39 , etc.) or a threshold
    Digital Pictures 525 or portions thereof to match or sub- percentage ( i.e. 48 % , 63 % , 77 % , 84 % , 98 % , etc. ). In a
    stantially match , thereby further increasing a chance of 30 further example, substantial similarity can be achieved when
    finding substantial similarity in compared Knowledge Cells all but a threshold number or percentage of regions of the
    800. In further aspects , an adjustment in strictness can be compared Digital Pictures 525 match or substantially match .
    done by Similarity Comparison 125 in response to deter- Such thresholds can be defined by a user, by VSADO system
    mining that multiple substantially similar Knowledge Cells administrator, or automatically by the system based on
    800 had been found . Similarity Comparison 125 can keep 35 experience, testing, inquiry, analysis , synthesis, and / or other
    adjusting the strictness of the rules until a best of the techniques, knowledge, or input. In further aspects , Simi
    substantially similar Knowledge Cells 800 is found . For larity Comparison 125 can utilize the type of regions for
    example , Similarity Comparison 125 may attempt to find a determining substantial similarity of Digital Pictures 525 .
    match or substantial match in a certain percentage (i.e. 70 % , For example, substantial similarity can be achieved when
    etc. ) of Digital Pictures 525 or portions thereof from the 40 matches or substantial matches are found with respect to
    compared Knowledge Cells 800. If the comparison deter- more substantive , larger, and / or other regions, thereby tol
    mines a number of substantially similar Knowledge Cells erating mismatches in less substantive, smaller, and / or other
    800 , Similarity Comparison 125 may decide to increase the regions. In further aspects , Similarity Comparison 125 can
    strictness of the rules to decrease the number of substantially utilize the importance (i.e. as indicated by importance index
    similar Knowledge Cells 800. In response , Similarity Com- 45 [later described ], etc. ) of regions for determining substantial
    parison 125 may attempt to find more matching or substan- similarity of Digital Pictures 525. For example , substantial
    tially matching Digital Pictures 525 or portions thereof in similarity can be achieved when matches or substantial
    addition to the earlier found Digital Pictures 525 or portions matches are found with respect to more important regions
    thereof to limit the number of substantially similar Knowl- such as the above described more substantive , larger, and / or
    edge Cells 800. If the comparison still provides more than 50 other regions, thereby tolerating mismatches in less impor
    one substantially similar Knowledge Cell 800 , Similarity tant regions such as less substantive, smaller, and/ or other
    Comparison 125 may further increase the strictness by regions. In further aspects , Similarity Comparison 125 can
    requiring additional Digital Pictures 525 or portions thereof omit some of the regions from the comparison in determin
    to match or substantially match , thereby further narrowing ing substantial similarity of Digital Pictures 525. In one
    the number of substantially similar Knowledge Cells 800 55 example, isolated regions can be omitted from comparison.
    until a best substantially similar Knowledge Cells 800 is In another example, less substantive or smaller regions can
    found.                                                            be omitted from comparison . In general, any region can be
       In some embodiments, in determining substantial simi- omitted from comparison. In further aspects , Similarity
    larity of individual Digital Pictures 525 ( i.e. Digital Pictures Comparison 125 can focus on certain regions of interest
    525 from the compared Knowledge Cells 800 , etc. ) , Simi- 60 from the compared Digital Pictures 525. For example ,
    larity Comparison 125 can compare one or more regions of substantial similarity can be achieved when matches or
    one Digital Picture 525 with one or more regions of another substantial matches are found with respect to regions com
    Digital Picture 525. A region may include a collection of prising persons or parts ( i.e. head , arm , leg , etc. ) thereof,
    pixels . In some aspects , a region may include detected or large objects, close objects, and / or other content of interest,
    recognized content of interest such as an object or person . 65 thereby tolerating mismatches in regions comprising the
    Such region may be detected using any features, function- background, insignificant content, and /or other content. In
    alities , and embodiments of Picture Recognizer 350. In other        further aspects , Similarity Comparison 125 can detect or
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 638 of 2562 PageID #: 13509


                                                        US 11,055,583 B1
                                 107                                                                  108
    recognize persons or objects in the compared Digital Pic- pixels . Some of the steps or elements in a feature oriented
    tures 525 using regions . Any features , functionalities , and technique include pre -processing, feature extraction, detec
    embodiments of Picture Recognizer 350 can be used in such tion /segmentation , decision -making , and / or others, or a
    detection or recognition . Once a person or object is detected combination thereof, each of which may include its own
    in a Digital Picture 525 , Similarity Comparison 125 may 5 sub - steps or sub - elements depending on the application .
    attempt to detect the person or object in the compared Examples of features that can be used include lines , edges ,
    Digital Picture 525. In one example, substantial similarity ridges, corners , blobs , and / or others. Examples of feature
    can be achieved when the compared Digital Pictures 525 extraction techniques include Canny, Sobe , Kayyali , Harris
    comprise one or more same persons or objects. In another & Stephens et al , SUSAN , Level Curve Curvature , FAST,
    example concerning streams of Digital Pictures 525 , sub- 10 Laplacian of Gaussian , Difference of Gaussians , Determi
    stantial similarity can be achieved when the compared nant of Hessian, MSER , PCBR , Grey - level Blobs , and / or
    streams of Digital Pictures 525 comprise a detected person others. Once features of the compared Digital Pictures 525
    or object in at least a threshold number or percentage of their are known, Similarity Comparison 125 can compare the
    pictures.                                                            features to determine substantial similarity. In some aspects ,
      Similarity Comparison 125 can automatically adjust ( i.e. 15 total equivalence is found when all features of one Digital
    increase or decrease ) the strictness of the rules for deter- Picture 525 match all features of another Digital Picture 525 .
    mining substantial similarity of Digital Pictures 525 using In other aspects , if total equivalence is not found, Similarity
    regions . In some aspects , such adjustment in strictness can Comparison 125 may attempt to determine substantial simi
    be done by Similarity Comparison 125 in response to larity of compared Digital Pictures 525. In one example,
    determining   that total equivalence of compared Digital 20 substantial similarity can be achieved when most of the
    Pictures 525 had not been found. Similarity Comparison 125 features of the compared Digital Picture 525 match or
    can keep adjusting the strictness rules until a substantial substantially match . In another example, substantial simi
    similarity is found . All the rules or settings of substantial larity can be achieved when at least a threshold number (i.e.
    similarity can be set, reset, or adjusted by Similarity Com- 3 , 22 , 47 , 93 , 128 , 431 , etc. ) or percentage ( i.e. 49 % , 53 % ,
    parison 125 in response to another strictness level determi- 25 68 % , 72 % , 95 % , etc. ) of features of the compared Digital
    nation . For example, Similarity Comparison 125 may Pictures 525 match or substantially match . Similarly, sub
    attempt to find a match or substantial match in a certain stantial similarity can be achieved when the number or
    percentage ( i.e. 74 % , etc. ) of regions from the compared percentage of matching or substantially matching features of
    Digital Pictures 525. If the comparison does not determine the compared Digital Pictures 525 exceeds a threshold
    substantial similarity of compared Digital Pictures 525 , 30 number ( i.e. 3 , 22 , 47 , 93 , 128 , 431 , etc. ) or a threshold
    Similarity Comparison 125 may decide to decrease the percentage ( i.e. 49 % , 53 % , 68 % , 72 % , 95 % , etc. ). In a
    strictness of the rules. In response , Similarity Comparison further example, substantial similarity can be achieved when
    125 may attempt to find fewer matching or substantially all but a threshold number or percentage of features of the
    matching regions than in the previous attempt using stricter compared Digital Pictures 525 match or substantially match .
    rules. If the comparison still does not determine substantial 35 Such thresholds can be defined by a user, by VSADO system
    similarity of compared Digital Pictures 525 , Similarity administrator, or automatically by the system based on
    Comparison 125 may further decrease the strictness ( i.e. experience, testing , inquiry, analysis, synthesis, and / or other
    down to a certain minimum strictness or threshold , etc. ) by techniques, knowledge, or input. In further aspects , Simi
    requiring fewer regions to match or substantially match , larity Comparison 125 can utilize the type of features for
    thereby   further increasing a chance of finding substantial 40 determining substantial similarity of Digital Pictures 525. In
    similarity in compared Digital Pictures 525 .                      one example, substantial similarity can be achieved when
       Where a reference to a region is used herein it should be matches or substantial matches are found with respect to
    understood that a portion of a region or a collection of edges, thereby tolerating mismatches in blobs . In another
    regions can be used instead of or in addition to the region . example , substantial similarity can be achieved when
    In one example, instead of or in addition to regions , indi- 45 matches or substantial matches are found with respect to
    vidual pixels and / or features that constitute a region can be more substantive , larger, and / or other features, thereby tol
    compared . In another example , instead of or in addition to erating mismatches in less substantive, smaller, and / or other
    regions , collections of regions can be compared. As such , features. In further aspects, Similarity Comparison 125 can
    any operations, rules, logic , and / or functions operating on utilize the importance (i.e. as indicated by importance index
    regions similarly apply to any portion of a region and / or any 50 [later described ], etc.) of features for determining substantial
    collection of regions. In general, whole regions, portions of similarity of Digital Pictures 525. For example , substantial
    a region , and / or collections of regions, including any opera- similarity can be achieved when matches or substantial
    tions thereon , can be combined to arrive at desired results . matches are found with respect to more important features
    Some or all of the above - described rules, logic , and / or such as the above described more substantive, larger, and / or
    techniques can be utilized alone or in combination with each 55 other features , thereby tolerating mismatches in less impor
    other or with other rules, logic , and / or techniques. One of tant features such as less substantive, smaller, and / or other
    ordinary skill in art will recognize that other techniques features. In further aspects , Similarity Comparison 125 can
    known in art for determining similarity of digital pictures,         omit some of the features from the comparison in determin
    streams of digital pictures, and /or other data that would be        ing substantial similarity of Digital Pictures 525. In one
    too voluminous to describe are within the scope of this 60 example , isolated features can be omitted from comparison.
    disclosure.                                                       In another example, less substantive or smaller features can
       In some embodiments, in determining substantial simi- be omitted from comparison. In general, any feature can be
    larity of individual Digital Pictures 525 ( i.e. Digital Pictures omitted from comparison . In further aspects , Similarity
    525 from the compared Knowledge Cells 800 , etc. ) , Simi- Comparison 125 can focus on features in certain regions of
    larity Comparison 125 can compare one or more features of 65 interest of the compared Digital Pictures 525. For example,
    one Digital Picture 525 with one or more features of another         substantial similarity can be achieved when matches or
    Digital Picture 525. A feature may include a collection of           substantial matches are found with respect to features in
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 639 of 2562 PageID #: 13510
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 640 of 2562 PageID #: 13511
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 641 of 2562 PageID #: 13512
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 642 of 2562 PageID #: 13513
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 643 of 2562 PageID #: 13514
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 644 of 2562 PageID #: 13515
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 645 of 2562 PageID #: 13516
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 646 of 2562 PageID #: 13517
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 647 of 2562 PageID #: 13518
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 648 of 2562 PageID #: 13519
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 649 of 2562 PageID #: 13520
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 650 of 2562 PageID #: 13521
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 651 of 2562 PageID #: 13522
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 652 of 2562 PageID #: 13523
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 653 of 2562 PageID #: 13524
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 654 of 2562 PageID #: 13525
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 655 of 2562 PageID #: 13526
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 656 of 2562 PageID #: 13527
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 657 of 2562 PageID #: 13528
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 658 of 2562 PageID #: 13529
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 659 of 2562 PageID #: 13530
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 660 of 2562 PageID #: 13531
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 661 of 2562 PageID #: 13532
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 662 of 2562 PageID #: 13533
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 663 of 2562 PageID #: 13534
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 664 of 2562 PageID #: 13535
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 665 of 2562 PageID #: 13536
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 666 of 2562 PageID #: 13537
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 667 of 2562 PageID #: 13538
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 668 of 2562 PageID #: 13539
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 669 of 2562 PageID #: 13540




                          Exhibit F
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 670 of 2562 PageID #: 13541




                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE

   AUTONOMOUS DEVICES LLC,
                Plaintiff,
                                              Civil Action No. 22-1466-MN
         vs.

   TESLA, INC.,
                     Defendant.               JURY TRIAL DEMANDED


                        DECLARATION OF ELI SABER, PH.D.




                                        -1-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 671 of 2562 PageID #: 13542




           I, Eli Saber, Ph.D., hereby declare the following:

   I.      INTRODUCTION

           1.     Autonomous Devices retained me to offer technical opinions relating to U.S.

   Patent Nos. 10,452,974 (“the ’974 Patent”); 11,238,344 (“the ’344 Patent”); 11,663,474 (“the

   ’474 Patent”) 10,607,134 (“the ’134 Patent”); 11,113,585 (“the ’585 Patent”); 11,055,583 (“the

   ’583 Patent”); and 10,102,449 (“the ’449 Patent”) (collectively, the “Asserted Patents”).

           2.     I am being compensated for my work on this matter by Autonomous Devices.

   My compensation is not dependent on the contents of this Declaration, the substance of any

   further opinions I may offer, or the outcome of this matter.

           3.     I have been asked to give my opinion on what the Asserted Patents are directed to

   and whether they are novel over the prior art. As explained in detail below, it is my opinion that

   the claims of each of the Asserted Patents are directed to resolving specific issues in artificial

   intelligence (AI), autonomous driving, and/or simulation technology and that each recites a

   sufficient “inventive concept” such that is novel over the prior art.

           4.     I reserve whatever right I may have to supplement this Declaration if further

   information becomes available or if I am asked to consider additional information. Furthermore,

   I reserve whatever right I may have to consider and comment on any additional expert statement

   and testimony of the Defendants’ experts in this matter.

   II.     QUALIFICATIONS

           5.     My curriculum vitae, including my qualifications and a list of publications I have

   authored, is attached to this Declaration as Appendix A.

           6.     I received a Ph.D. in Electrical Engineering from the University of Rochester in

   1996.   My concentration was on Signal/Image/Video Processing, Pattern Recognition, and

   Computer Vision. I received a Master’s Degree in Electrical Engineering from the University of


                                                    -2-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 672 of 2562 PageID #: 13543




   Rochester in 1992, and I received a Bachelor’s Degree in Electrical and Computer Engineering,

   Summa Cum Laude, from the State University of New York at Buffalo in 1998.

          7.     I am a professor in the Electrical and Microelectronic Engineering Department

   and the Chester F. Carlson Center for Imaging Science at the Rochester Institute of Technology

   (RIT) in Rochester, New York. I also serve as the Director of the Image, Video and Computer

   Vision Laboratory. I joined RIT’s full-time faculty in 2004. I have 34 years of industry and

   academic experience, 30 of which are in the field of imaging.

          8.     Before becoming a full-time professor, I worked for Xerox Corporation for 16

   years, from 1988 to 2004. During my years at Xerox, I was responsible for delivering color

   management, image processing innovations, architectures, and algorithms; xerographic sub-

   systems for a variety of color products; and control systems for toner production facilities. One

   of several roles I held at Xerox was Advanced Development Scientist and Manager. In that

   capacity, I established the Advanced Design Laboratory – an Imaging/Xerographics lab – and

   provided technical and managerial leadership for the Electrical, Imaging and Xerographics

   Department. In another role, as Product Development Scientist and Manager, I led the research

   and development of image quality metrics for various product platforms. I also led the Image

   Science, Analysis, and Evaluation area, with 12 to 15 direct reports and a budget of

   approximately $2 million.

          9.     From 1997 until 2004, I was an adjunct faculty member in the Electrical

   Engineering Department of RIT and in the Electrical and Computer Engineering Department of

   the University of Rochester. I was responsible for teaching undergraduate and graduate

   coursework in signal, image and video processing; pattern recognition; and communications.




                                                  -3-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 673 of 2562 PageID #: 13544




   Additionally, I performed research in multimedia applications, computer vision, pattern

   recognition, image understanding and color engineering.

          10.     Since joining RIT full-time in 2004, I have been responsible for teaching a variety

   of undergraduate and graduate courses in digital signal processing, digital image processing,

   digital video processing (a course that I have founded and pioneered at RIT), engineering

   analysis, random signal and noise, advanced engineering mathematics, matrix methods, pattern

   recognition (a course that I founded and pioneered at RIT), communications, modern control

   theory, and linear systems.

          11.     My current research focuses on developing image/video processing and computer

   vision algorithms for multimedia and military applications. To this end, I have extensive

   experience in developing digital image/video processing and computer vision algorithms and

   techniques for motion estimation, segmentation, registration, classification, identification, pattern

   recognition, facial recognition, biomedical image processing, compression, surveillance systems,

   multiple camera systems, machine learning, deep learning and artificial intelligence and the

   fusion of techniques for a variety of applications including object recognition and tracking, video

   analysis, video surveillance, change detection, biomedical, color engineering, and document

   processing using multimodal/multispectral type imagery.

          12.     As a principal investigator or co-principal investigator, I have acquired research

   funding in excess of $5 million since joining RIT and have managed multiple government grants

   from the Department of Defense as well as several corporate grants from Hewlett-Packard,

   Lenel, and Data Physics. I am currently managing, as principal investigator, one government

   grant from the Department of Defense for “Target Detection/Tracking and Activity Recognition

   from Multimodal data”. The work involves the development of machine learning/deep




                                                    -4-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 674 of 2562 PageID #: 13545




   learning/artificial intelligence type algorithms for fusion of multiple modalities using

   convolutional neural networks (CNN) to detect and tract small/sparse targets in aerial imagery.

          13.      In 2012, I was awarded the Prestigious Trustees Scholarship, the highest award at

   RIT with regard to research recognition

          14.      I am a senior member of the Institute of Electrical and Electronic Engineers and a

   member of the IEEE Signal Processing Society, the Electrical Engineering Honor Society, and

   Eta Kappa Nu.

          15.      I am the author or co-author of 38 peer-reviewed journal publications.

          16.      I have also authored or co-authored 100 conference and workshop publications

   and a book entitled Advanced Linear Algebra for Engineers with MATLAB, published by CRC

   Press in February 2009, and am a named inventor on multiple U.S. and foreign patents.

   III.   PERSON OF ORDINARY SKILL IN THE ART

          17.      In my opinion, a person of ordinary skill in the art (“POSITA”) in the field of the

   Asserted Patents would have at least: (1) a bachelor’s degree in electrical and/or computer

   engineering, or computer science (or equivalent course work) with two to three years of work

   experience in computer vision, image/video processing and the design and development of

   neural networks; or (2) a master’s degree in electrical and/or computer engineering, or computer

   science (or equivalent course work) with a focus in computer vision, image/video processing and

   the design and development of neural networks. The POSITA would have gained this knowledge

   through a combination of education and work experience, for example, a master’s degree in a

   relevant engineering field, such as electrical or computer engineering or computer science, and at

   least three years of work experience in that field. More education can substitute for less work

   experience, and more work experience can substitute for less education.




                                                   -5-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 675 of 2562 PageID #: 13546




   IV.    MATERIALS CONSIDERED

          18.     I have reviewed the Asserted Patents, the prosecution history of each Asserted

   Patent, and other materials referenced in Appendix B to this Declaration. Counsel has informed

   me that I should consider these materials through the lens of a POSITA at the time of the priority

   dates of the patents, and I have done so. For the ’974 patent, the ’344 patent, and the ’474

   patent, I have assumed the priority date is November 2, 2006. For the ’134 patent, I have

   assumed the priority date is December 19, 2016. For the ’585 patent, I have assumed the priority

   date is August 23, 2016. For the ’583 patent, I have assumed the priority date is November 26,

   2017. For the ’449 patent patent, I have assumed the priority date is November 21, 2017.

          19.     My analyses are based on my education and work experience and my

   investigation and study of materials listed in Appendix B.

   V.     APPLICABLE LEGAL PRINCIPLES

          20.     Although I am not an attorney, my understanding of the relevant law is as follows.

   I have been informed that a federal statute, 35 U.S.C. § 101, describes the types of inventions

   that are patentable. I have been further informed that the Supreme Court has held that this

   provision contains an important explicit exception: Laws of nature, natural phenomena, and

   abstract ideas are not patentable.

          21.     In its 2014 decision in Alice Corp. v. CLS Bank Int’l, I understand that the

   Supreme Court outlined a two-step test to determine whether a patent is ineligible under § 101

   because it is directed to an abstract idea. 573 U.S. 208 (2014).

          22.     I have been informed that in the first step, the court determines whether the claims

   at issue are directed to a patent-ineligible concept, such as an abstract idea. I understand that

   federal courts have identified several factors to help determine whether an invention is directed

   to an abstract idea in the context of computer-related inventions.


                                                   -6-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 676 of 2562 PageID #: 13547




           23.     I have been informed, for example, that courts examine whether a claim is

   directed to specific asserted improvements in computer capabilities or whether a claim is instead

   directed to a process that qualifies as an abstract idea for which computers are invoked as a tool.

   I understand that in the former case, the patent would not be directed to an abstract idea but in

   the latter case, it would.

           24.     I understand that courts have also phrased the step one inquiry to ask whether the

   claims merely implement an old practice in a new environment.

           25.     I have been informed that if the court determines the claims at issue are directed

   to an abstract idea, the court proceeds to a second step, asking what is in the claims before it. I

   am informed that in step two the court examines the elements of the claim to determine whether

   it contains an inventive concept sufficient to transform the claim abstract idea into a patent

   eligible application.    I am informed that a court determines whether the claim elements

   individually, or as an ordered combination, contain an inventive concept which is more than

   merely implementing an abstract idea using well-understood, routine and conventional activities

   previously known in the industry. I understand that this step is often described as a search for an

   “inventive concept”—i.e., an element or combination of elements sufficient to ensure that the

   patent in practice amounts to significantly more than a patent upon the ineligible concept.

           26.     I understand that whether a claim recites patent‐eligible subject matter is a

   question of law that may contain underlying facts.

           27.     I understand that federal courts have said that whether a claim element or

   combination of elements is well‐understood, routine, and conventional to a skilled artisan in the

   relevant field is a question of fact.




                                                   -7-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 677 of 2562 PageID #: 13548




   VI.    OPINIONS

          28.     Since well before the priority dates of the Asserted Patents, the pursuit of

   autonomous driving has been extremely important. In fact, achieving a driverless vehicle has

   been the holy grail of the automotive industry. 1 Companies, such as Tesla, have spent an

   enormous sum of money in the pursuit of autonomous vehicles. Based on my experience in

   computer vision, machine learning, and computer assisted machine operations, achieving

   autonomous driving has been a significant problem due in large part to the complexity of the

   “driving” environment and the near-infinite number of circumstances encountered by such a

   vehicle.

          29.     Part of the difficulty was that prior art driver assistance aids were coded into the

   system, e.g., keep a certain distance from the lead vehicle, 2 maintain the vehicle between the

   lines on the road,3 etc. Coding responses to circumstances was not sufficiently precise to enable

   autonomous device operation across the vast array of circumstances a vehicle may come across

   on a daily basis. And known “techniques lack[ed] a way to learn [the] operation of a device”

   and share that learned operation with another device to enable its autonomous operation. ’974

   patent at 1:26-35.

          30.     For example, the Notice of Allowance for the ’974 patent stated that “the prior art

   does not disclose [a] device that operates as the user directs it, hence, does not disclose learning

   the device operation from the user directing the device.” ’974 patent Notice of Allowance at

   14; see also ’344 patent Notice of Allowance at 12 (reciting similar reasons). The Notice of

   Allowance highlighted a robot patent (U.S. 2016/0167226) and its failure to disclose user


   1
         https://www.bloomberg.com/news/articles/2021-11-18/apple-accelerates-work-on-car-aims-
   for-fully-autonomous-vehicle
   2
     http://sunnyday.mit.edu/safety-club/workshop5/Adaptive_Cruise_Control_Sys_Overview.pdf
   3
     https://www.nissan-global.com/EN/INNOVATION/TECHNOLOGY/ARCHIVE/LDW/


                                                   -8-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 678 of 2562 PageID #: 13549




   assisted learning together with the remaining claimed features. That robot constructs a map of its

   environment using V-SLAM (Visual Simultaneous Location and Mapping). U.S. 2016/0167226

   at ¶99. Using V-SLAM, the robot can “track its location and establish ground truth information

   with respect to captured images and/or image portions corresponding to views of specific map

   locations.” Id. But there is no learning based on user operation and no sharing of learned

   responses to circumstances with other devices. See, e.g., ’974 patent at 1:26-35 (“[c]ommonly

   employed device or system operating techniques lack[ed] a way to learn [the] operation of a

   device” to “enable autonomous operation” of that device and/or another device); ’449 Patent at

   1:20-23 (known “devices or systems [were] limited to relying on the user to direct them.”); ’583

   Patent at 1:31-39 (“These systems and/or devices depend on user’s input to various degrees for

   their operation. A machine learning solution [was] needed for computing enabled systems and/or

   devices to be less dependent on or fully independent from user input.”).

          31.     The Notice of Allowance further explained that the “[p]rior art discloses a system

   that explores its own environment on its own, which is very different from relying on the user to

   direct it.” ’974 Notice of Allowance at 14; see also ’344 patent Notice of Allowance at 12

   (reciting similar reasons).   And the “[p]rior art does not disclose the first and the second

   correlations that each include a circumstance representation correlated with instruction sets.”

   ’974 patent Notice of Allowance at 14; see also ’344 patent Notice of Allowance at 12 (reciting

   similar reasons). Thus, the “[p]rior art does not disclose the knowledgebase,” which includes a

   “circumstance representation (a data structure itself),” an “instruction set (a data structure itself

   when learned in the learning process)” or a “correlation (a data structure itself) that includes a

   circumstance representation correlated with instruction sets.” ’974 patent Notice of Allowance

   at 14-15; see also ’344 patent Notice of Allowance at 12 (reciting similar reasons).




                                                    -9-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 679 of 2562 PageID #: 13550




           32.    Similarly, in allowing the ’583 patent, the USPTO explained that the prior art fails

   to disclose learning the correlation between an image and an instruction set—rather the prior art

   “only adds [an] unidentified object to the database by a manual or formal approval process” and

   there is no suggestion of “learning a correlation between the image and any instruction set(s) for

   operating a device.” ’583 patent Notice of Allowance at 12-13.

           33.    Notably, early prior art systems attempted to achieve vehicle self-driving by

   training the system using synthetic road images, which resulted in poor performance in real

   driving situations. See Pomerleau, D.A. (1991) Efficient Training of Artificial Neural Networks

   for Autonomous Navigation in Neural Computation, pp. 88-97 at 4.              To overcome these

   problems, the next generation prior art systems tried to imitate a person’s driving under actual

   driving conditions. Id. at 5. However, those systems suffered from flaws due to overlearning

   from repetitive inputs. Id. For example, if the driver goes down a straight stretch of road during

   part of a training run, the network was presented with a long sequence of similar images. Id.

   This sustained lack of diversity in the training caused the network to “forget” what it had learned

   about driving on curved roads and instead learn to, generally speaking, steer straight ahead. Id.

           34.    More recent prior art suggests that carmakers have resorted to more predictable

   and less robust solutions. For example, known lane-keeping assist (“LKA”) systems detect lane

   markers (white/yellow) on the road and assist the driver in keeping the vehicle between lane

   markers.4 Another example of a known driver assistance feature is adaptive cruise control

   (“ACC”). Adaptive cruise control measures the distance from the vehicle ahead and controls the

   acceleration and deceleration of the vehicle at hand to automatically maintain a suitable




   4
       https://www.nissan-global.com/EN/INNOVATION/TECHNOLOGY/ARCHIVE/LDW/


                                                  -10-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 680 of 2562 PageID #: 13551




   following distance.5 These systems, however, simply executed pre-coded responses to a limited

   number of circumstances.

            35.     As a result, there has long been a demand for solutions that can account for the

   broad array of scenarios encountered by an autonomously operating device. The innovations in

   the Asserted Patents, as discussed below, permit devices to operate autonomously at least based

   on learned experiences from other devices. These innovations are novel and inventive. Said

   another way, the prior art systems lacked the ability to learn from a driver’s response to a

   circumstance and share learned responses across a fleet of vehicles so that those vehicles can

   respond autonomously to a similar situation.

            36.     The prior art’s limited capabilities are not surprising. Generally speaking, the art

   had moved away from early attempts at neural network-based algorithms and towards coded

   responses to limited situations in order to enable solutions such as LKA and/or ACC. The

   reasons for this transition are numerous. To this effect, early attempts at using neural network-

   based solutions for self-driving were known to have problems with overlearning from their most

   recent experience(s). Moreover, complex environments, such as busy city streets or highways,

   offer many dynamic changes and challenges that need to be resolved in real or near real time in

   order to render proper actions. Hence, a neural network-based solution would have required a

   high-degree of complexity with many potential nodes/layers to accurately and effectively

   manage the challenges and dynamics of the environment; and ample computational power to

   compute solutions/render actions in real or near real time.           However, until recently, the

   computation engines required to host the neural network-based solutions were not up to par to

   handle     the   complexity   and    dynamics    of     the   underlying   environment.   With   the



   5
       http://sunnyday.mit.edu/safety-club/workshop5/Adaptive_Cruise_Control_Sys_Overview.pdf


                                                    -11-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 681 of 2562 PageID #: 13552




   introduction/arrival of more powerful processors and multitasking capabilities, many new doors

   were opened, such as those that led to the innovations in the Asserted Patents.

          37.     Given the difficulties with early neural network applications and the limitations

   with pre-coded solutions, it was not known or obvious to use a fleet of vehicles to train one

   another to react autonomously to a diverse set of situations.

          A.      THE OBJECT REPRESENTATION PATENTS (US Patent Nos. 10,452,974,
                  11,238,344, and 11,663,474)

          38.     The Object Representation Patents are generally directed to a system, method and

   computer readable medium. By way of example, the system stores a knowledgebase that

   correlates device operating instruction sets with circumstances encountered by a device, obtains

   a new circumstance representation using device sensors, matches the new circumstance with a

   circumstance in an a priori maintained knowledgebase, and causes the device that detected the

   new circumstance to autonomously execute an instruction set correlated to the matched

   circumstance. The autonomously performed operation is based on a correlation previously

   acquired in a learning process that includes operating, at least partially by a user, the device that

   captured the instruction and the stored circumstance.

          39.     For example, if a second autonomous vehicle detects a circumstance

   representation (e.g., one or more object representations such as debris or people in the road) and

   the knowledgebase has a similar circumstance representation that matches with the detected

   circumstance, then the second autonomous vehicle performs an instruction set (e.g., braking) at

   least partially learned by operating a first autonomous vehicle that captured the similar

   circumstance representation.

          40.     Referring to Figure 38, for example, vehicle 98 includes sensors 92, such as a

   camera 92a that detect objects 615aa-ad (people, boulders, materials, vehicles, etc.) in the



                                                   -12-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 682 of 2562 PageID #: 13553




   vehicle’s 98a’s surrounding in the form of a circumstance representation. 6 ’344 Patent7 at

   162:48-163:16; Fig. 38. If the vehicle’s computer(s) detect a match (or partial match) with a

   previously learned circumstance representation 525 (e.g., one or more object representations),

   the vehicle 98 performs autonomous operation using previously learned instructions 526

   correlated with the previously learned circumstance representation. Id. at 163:36-164:5.

          41.     In my opinion, the corresponding claimed features were not well-understood,

   routine or conventional as of the priority date of the Object Representation Patents. For instance,

   the memory of the device performing the autonomous operation stores a knowledgebase that

   correlates instructions for performing the operation with the stored circumstance representation. 8

   The device performing the autonomous operation also obtains a circumstance representation

   while in operation, e.g., it captures circumstances surrounding a vehicle using its camera, for

   example.9 When there is at least a partial match between the stored circumstance representation



   6
     Figure citations include the specification discussion of each figure.
   7
     The Object Representation Patents share a specification. For simplicity, duplicative citations
   are not always provided.
   8
     See e.g., ’974 patent at cl. 1 (“a memory that stores at least a knowledgebase that includes: a
   first correlation including a first circumstance representation correlated with a first one or more
   instruction sets …”), cl. 18 (“accessing a memory that stores at least a knowledgebase that
   includes: a first correlation including a first circumstance representation correlated with a first
   one or more instruction sets for operating a first device”); ’344 patent at cl. 1 (“a memory that
   stores at least a knowledgebase that includes a first circumstance representation correlated with a
   first one or more instruction sets for operating a first device…”); ’474 patent at cl. 45 (“a
   knowledgebase that includes one or more inputs for inputting at least a portion of a circumstance
   representation, wherein the one or more inputs are correlated with one or more instruction sets
   for operating a second device”).
   9
      See e.g., ’974 patent at cl. 1 (“the third circumstance representation represents a third
   circumstance detected … at least in part by one or more sensors of a second device”), cl. 18 (“the
   third circumstance representation represents a third circumstance detected … at least in part by
   one or more sensors of a second device”); ’344 patent at cl. 1 (“the second circumstance
   representation represents a second circumstance detected at least in part by: … one or more
   sensors of a second device”); ’474 patent at cl. 1 (“generating a circumstance representation,
   wherein the generated circumstance representation represents a circumstance detected at least in
   part by the one or more sensors”).


                                                  -13-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 683 of 2562 PageID #: 13554




   and the current circumstance representation, the corresponding instruction is autonomously

   performed by the device that matched the current and stored circumstance representations. 10 The

   claim features linked to the above-described example are inventive and novel and, as of the

   priority date of the Object representation patents, were not well-understood, routine or

   conventional.

          42.      In some embodiments, the circumstance representations include one or more

   object representations, e.g., the circumstance representations included representations of

   object(s) such as debris, people, vehicles, etc. 11 The claim features linked to the above-described



   10
      See e.g., ’974 patent at cl. 1 (“anticipating the first one or more instruction sets for operating
   the first device learned in the learning process based on at least partial match between the third
   circumstance representation and the first circumstance representation; and at least in response to
   the anticipating, executing the first one or more instruction sets for operating the first device
   learned in the learning process, wherein … the second device autonomously performs one or
   more operations defined by the first one or more instruction sets for operating the first device
   learned in the learning process”), cl. 18 (“anticipating the first one or more instruction sets for
   operating the first device learned in the learning process based on at least partial match between
   the third circumstance representation and the first circumstance representation; and at least in
   response to the anticipating, causing … the second device to perform one or more operations
   defined by the first one or more instruction sets for operating the first device learned in the
   learning process at least by causing the one or more processor circuits or another one or more
   processor circuits to execute the first one or more instruction sets for operating the first device
   learned in the learning process.”); ’344 patent at cl. 1 (“anticipating the first one or more
   instruction sets for operating the first device based on at least partial match between the second
   circumstance representation and the first circumstance representation; and at least in response to
   the anticipating, executing the first one or more instruction sets for operating the first device,
   wherein … the second device autonomously performs one or more operations defined by the first
   one or more instruction sets for operating the first device.”); ’474 patent at cl. 45 (“inputting at
   least a portion of the generated circumstance representation into the one or more inputs, and
   using a correlation between the one or more inputs and the one or more instruction sets for
   operating the second device; and at least in response to the determining, executing the one or
   more instruction sets for operating the second device, wherein the first device autonomously
   performs one or more operations defined by the one or more instruction sets for operating the
   second device.”)
   11
      See, e.g., ’344 patent at cl. 3 (“wherein the first circumstance representation includes a first
   one or more object representations, and wherein the second circumstance representation includes
   a second one or more object representations”); see also ’974 patent at cl. 14 (“ wherein the first
   circumstance representation includes: one or more object representations, or one or more


                                                   -14-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 684 of 2562 PageID #: 13555




   example are inventive and novel and, as of the priority date of the Object representation patents,

   were not well-understood, routine or conventional.

          43.     With the innovations in the Object Representation Patents, autonomous device

   operation using a knowledgebase (e.g., a neural network that includes, for example, a

   combination of circumstance/object recognition and correlated previously learned instructions)

   that is trained by a fleet of vehicles became possible.12 See, e.g.,’344 Patent at 164:6-28; See also

   id. at 15:36-45; 38:54-40:34; 82:6-14; 95:15-96:25; 103:35-105:22; 108:40-44.                   The

   corresponding claimed features are inventive and novel and were not well-understood, routine or

   conventional as of the priority date of the Object Representation Patents.

          44.     By utilizing the autonomous device operating techniques disclosed in the Object

   Representation Patents, a vehicle can perform autonomous operations based on previously

   learned circumstances and instructions. For at least the above-mentioned reasons, the claimed

   inventions improve the capabilities of autonomous devices that employ the systems and methods

   disclosed in the Object Representation Patents. Further, the inventions claimed in the Object

   Representation Patents cannot be performed as mental steps by a human, nor do they represent

   the application of a generic computer to any well-known method of organizing human behavior.



   collections of object representations, and wherein the second circumstance representation
   includes: one or more object representations, or one or more collections of object
   representations, and wherein the third circumstance representation includes: one or more object
   representations, or one or more collections of object representations.”); ’474 patent at cl. 46 (“ at
   least the portion of the circumstance representation include one or more inputs for inputting at
   least a portion of one or more object representations, and wherein the generated circumstance
   representation includes one or more object representations…”)
   12
      See e.g., ’974 patent at cl. 1 (element starting with “at least in response to the anticipating,
   executing the first one or more instruction sets…”); ’344 patent at cl. 1 (element starting with “at
   least in response to the anticipating, executing the first one or more instruction sets …”); ’474
   patent at cl. 45 (“executing the one or more instruction sets for operating the second device,
   wherein the first device autonomously performs one or more operations defined by the one or
   more instruction sets for operating the second device”)


                                                   -15-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 685 of 2562 PageID #: 13556




   The claims of the Object Representation Patents are also directed to non-abstract ideas in that

   they provide technical solutions to at least the technical problems described above with respect to

   coded responses, lack of training set diversity, and user operation corresponding to the correlated

   circumstances and instructions in the knowledgebase.

          45.     Claim 1 of the ’974 and ’344 Object Representation Patents and claim 45 of the

   ’474 patent, as a whole, is inventive and novel, as are at least the herein identified claim

   limitations.   See, e.g.,’974 Patent at Claim 1 (“accessing a memory that stores at least a

   knowledgebase that includes: a first correlation including a first circumstance representation

   correlated with a first one or more instruction sets for operating a first device”, “a learning

   process that includes operating the first device at least partially by a user” and “the second device

   autonomously performs one or more operations defined by the first one or more instruction sets

   for operating the first device learned in the learning process”), claim 18 (“a learning process that

   includes operating the first device at least partially by a user” and “causing … the second device

   to perform one or more operations defined by the first one or more instruction sets for operating

   the first device learned in the learning process at least by causing the one or more processor

   circuits or another one or more processor circuits to execute the first one or more instruction sets

   for operating the first device learned in the learning process.”);’344 Patent at Claim 1

   (“accessing a memory that stores at least a knowledgebase that includes a first circumstance

   representation correlated with a first one or more instruction sets for operating a first device”, “a

   learning process that includes operating the first device at least partially by a user” and “the

   second device autonomously performs one or more operations defined by the first one or more

   instruction sets for operating the first device”); ’474 Patent at Claim 45 (“a knowledgebase that

   includes one or more inputs for inputting at least a portion of a circumstance representation,




                                                   -16-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 686 of 2562 PageID #: 13557




   wherein the one or more inputs are correlated with one or more instruction sets for operating a

   second device”, “determining the one or more instruction sets for operating the second device at

   least by: inputting at least a portion of the generated circumstance representation into the one or

   more inputs, and using a correlation between the one or more inputs and the one or more

   instruction sets for operating the second device; and … wherein the first device autonomously

   performs one or more operations defined by the one or more instruction sets for operating the

   second device.”)

          46.     . As of the priority date of the ’974, ’344, and ’474 patents, the above-mentioned

   claim elements were not well-understood, routine, or conventional, and the novel user-trained

   knowledgebase that is capable of being deployed and utilized by other vehicles in the fleet is a

   vast improvement over the prior art.

          47.     Moreover, claim 3 of the ’344 patent, claim 14 of the ’974 patent and claim 46 of

   the ’474 patent, as a whole, are also inventive and novel, as are at least the herein identified

   claim limitations. See, e.g., ’344 patent at cl. 3 (“wherein the first circumstance representation

   includes a first one or more object representations, and wherein the second circumstance

   representation includes a second one or more object representations”); see also ’974 patent at cl.

   14 (“ wherein the first circumstance representation includes: one or more object representations,

   or one or more collections of object representations, and wherein the second circumstance

   representation includes: one or more object representations, or one or more collections of object

   representations, and wherein the third circumstance representation includes: one or more object

   representations, or one or more collections of object representations.”); ’474 patent at cl. 46

   (“wherein the one or more inputs for inputting the at least the portion of the circumstance

   representation include one or more inputs for inputting at least a portion of one or more object




                                                  -17-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 687 of 2562 PageID #: 13558




   representations, and wherein the generated circumstance representation includes one or more

   object representations, and wherein the first device is a first vehicle, and wherein the second

   device is a second vehicle”) As of the priority date of the ’974, ’344 and ’474 patents, the

   above-mentioned claim elements were not well-understood, routine, or conventional, and the

   novel user-trained knowledgebase that is capable of being deployed and utilized by other

   vehicles in the fleet is a vast improvement over the prior art.

           48.    In my opinion, the above-mentioned claimed features unlocked the next level of

   autonomous driving because they allowed the entire fleet to train the system providing a higher

   degree to diversity in the training process. As a result, much more precise and appropriate

   reactions to driving circumstances became possible. This is because, using the claimed features,

   the massive number of scenarios encountered by the fleet could be distilled into a set of

   circumstances and corresponding instructions that can be efficiently performed autonomously by

   vehicles within the fleet. The corresponding claimed concepts were not known or done in the

   prior art.

           49.    The claims of the Object Representation Patents recite one or more inventive

   concepts rooted in computerized technology that overcome technical problems in that field. A

   person of ordinary skill in the art reading the Object Representation Patents and their claims

   would understand that the Object Representation Patents’ disclosures and claims are drawn to

   solving specific technical problems arising in artificially intelligent and autonomous devices and

   systems. Accordingly, each claim of the Object Representation Patents recites a combination of

   elements sufficient to ensure that the claim in practice amounts to significantly more than a

   patent claiming an abstract concept. Further, the claimed improvements over the prior art are

   concrete and improve the capabilities of existing autonomous and artificial intelligence systems.




                                                   -18-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 688 of 2562 PageID #: 13559




           50.     A person of ordinary skill in the art reviewing the specification of the Object

   Representation Patents would understand that the inventor had possession of the claimed subject

   matter and would know how to practice the claimed invention without undue experimentation.

           B.      THE DIGITAL PICTURE PATENTS (U.S. PATENT NOS. 10,102,449 &
                   11,055,583)

           51.     The ’583 Patent is generally directed to systems, methods, and non-transitory

   machine-readable mediums for correlating an instruction set for operating a first device with

   digital pictures, obtaining a new digital picture, and in response to matching the new digital

   picture with a correlated digital picture, causing the device that obtained the new digital picture

   to perform operations defined by the instruction set correlated to the matched digital picture. 13

   The instruction set for operating the first device may be executed by a second device in response

   to the second device matching the new picture with the picture correlated to the instruction sets. 14

   As of the priority date of the ’583 patent, the combination of the above-mentioned concepts

   corresponding to the claimed “learning,” obtaining “a new one or more digital pictures,” and

   “causing” a “second device to perform” an operation defined by the first instruction set(s) was

   not well-understood, routine or conventional.

           52.     Similarly, the ’449 Patent is generally directed to a system, method and non-

   transitory computer readable medium that correlates an instruction set for operating a first device

   with a digital picture, provides an artificial intelligence (AI) unit that: (i) receives a new digital

   picture, (ii) matches the new digital picture with the digital picture correlated to the instruction

   13
      See, e.g., ’583 patent at cl. 1 (“learning the first one or more digital pictures correlated with the
   first one or more instruction sets for operating the first device”); cl. 4 (“receiving or generating a
   new one or more digital pictures”, “determining the first one or more instruction sets for
   operating the first device based on at least partial match between the new one or more digital
   pictures and the first one or more digital pictures”, “causing … a second device to perform one
   or more operations defined by the first one or more instruction sets for operating the first
   device.”)
   14
      Id.


                                                    -19-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 689 of 2562 PageID #: 13560




   set, and (iii) causes a device that received the new digital picture to execute the instruction set

   correlated to the matched digital picture. 15 As of the priority date of the ’449 patent, the

   combination of the above-mentioned features corresponding to claim elements (a) to (e) was not

   well-understood, routine or conventional.

           53.     By way of example, consider a situation where a second autonomous vehicle

   receives a new digital picture of people in the road and where the knowledgebase has a similar

   digital picture that matches with the new digital picture. In this situation, using the above-

   discussed claimed inventions, the second autonomous vehicle performs an instruction set (e.g.,

   braking) at least partially learned by operating a first autonomous vehicle. As of the priority date

   of the Digital Picture Patents, the execution of an instruction set on one vehicle where that

   instruction set was learned on another vehicle was inventive and novel, and this feature was not

   well-understood, routine, or conventional.


   15
      See, e.g., ’449 patent at cl. 1 (“a memory that stores at least a first one or more digital pictures
   correlated with a first one or more instructions sets for operating a first physical device, … a
   learning process that includes operating the first physical device at least partially by a user”, “an
   artificial intelligence unit that: receives a new one or more digital pictures from the optical
   camera; anticipates the first one or more instruction sets for operating the first physical device
   based on at least partial match between the new one or more digital pictures and the first one or
   more digital pictures, … causes the one or more processor circuits to execute the first one or
   more instruction sets for operating the first physical device, wherein the causes is performed in
   response to the anticipates of the artificial intelligence unit, and wherein … a second physical
   device autonomously performs one or more operations defined by the first one or more
   instruction sets for operating the first physical device.”), cl. 17 (“(a) accessing a memory that
   stores at least a first one or more digital pictures correlated with a first one or more instructions
   sets for operating a first physical device, … wherein at least a portion of the first one or more
   digital pictures or at least a portion of the first one or more instruction sets for operating the first
   physical device are learned in a learning process that includes operating the first physical device
   at least partially by a user”, “(b) receiving a new one or more digital pictures from an optical
   camera”, “(c) anticipating the first one or more instruction sets for operating the first physical
   device based on at least partial match between the new one or more digital pictures and the first
   one or more digital pictures”, “(d) executing the first one or more instruction sets for operating
   the first physical device,” and “(e) autonomously performing, … a second physical device, one
   or more operations defined by the first one or more instructions [sets] for operating the first
   physical device.”)


                                                    -20-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 690 of 2562 PageID #: 13561




          54.     Referring to Figure 38 of the ’449 patent, for example, the vehicle 98a includes

   sensors 90, such as a camera 90a that detect the vehicle’s surroundings in the form of a digital

   picture. ’449 Patent at 152:21-154-27, Figs. 37, 38; see also ’583 Patent at 152:33-154:39, Figs.

   37-38. If the vehicle’s computer(s) detect a match with a previously learned digital picture 525,

   the vehicle 98 performs autonomous operation using previously learned instructions 526

   correlated with the previously learned digital picture. See, e.g., ’449 Patent at 154:5-27; see also

   ’583 Patent at 154:14-24. The algorithms correlate instructions for performing an operation with

   the stored digital picture and when there is a match or partial match with the digital picture the

   operation is performed. ’449 Patent at 154:5-27; see also ’583 Patent at 154:14-24. The

   corresponding claimed features, as a combination, are inventive and novel and were not well-

   understood, routine or conventional as of the priority date of the Digital Picture Patents.

          55.     The memory of the device performing the autonomous operation stores a

   correlation between instructions for performing an operation and a digital picture. 16 When there

   is at least a partial match between the stored digital picture and a new digital picture, the

   operation is autonomously performed by the device that matched the new and stored digital

   pictures.17 The corresponding claimed features are novel and inventive and were not well-

   understood, routine or conventional as of the priority date of the Digital Picture Patents.

          56.     With the innovations in the Digital Picture Patents, autonomous device operation

   using a memory with instruction and picture correlations (e.g., a neural network that includes, for

   example, a combination of digital pictures and correlated previously learned instructions) that is



   16
      ’449 Patent at cl. 1 (element beginning with “a memory that stores...”), cl. 17 (element (a));
   ’583 patent at claim 1 (element starting with “learning”); claim 4 (element starting with
   “determining”).
   17
       ’449 patent at cl. 1 (elements beginning with “anticipates…” and “causes …”), cl. 17
   (elements (c) to (e)); ’583 patent at claim 4 (element starting with “at least in response to”).


                                                   -21-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 691 of 2562 PageID #: 13562




   trained by a fleet of vehicles became possible. See, e.g.,’449 Patent at 14:38-45 (“In certain

   embodiments, the autonomous device operating includes a partially or a fully autonomous device

   operating. The partially autonomous device operating may include executing the one or more

   instruction sets for operating the device correlated with the first digital picture responsive to a

   user confirmation. The fully autonomous device operating may include executing the one or

   more instruction sets for operating the device correlated with the first digital picture without a

   user confirmation.”); see also id. at Figs. 31-35; ’583 Patent at 14:54-62, Figs. 31-35. The

   corresponding claimed features were not well-understood, routine or conventional as of the

   priority date of the Digital Picture Patents. As of the priority dates of the Digital Picture Patents,

   the above-mentioned claim elements were not well-understood, routine, or conventional, and the

   novel user-trained knowledgebase that is capable of being deployed and utilized by other

   vehicles in the fleet is a vast improvement over the prior art.

          57.     Thus, by utilizing the autonomous device operating techniques disclosed in the

   Digital Picture Patents, a vehicle can perform autonomous operations based on previously

   learned pictures and instructions.      For at least the above-mentioned reasons, the claimed

   inventions improve the capabilities of autonomous devices that employ the systems and methods

   disclosed in the Digital Picture Patents. Further, the methods claimed in the Digital Picture

   Patents cannot be performed as mental steps by a human, nor do they represent the application of

   a generic computer to any well-known method of organizing human behavior. The claims of the

   Digital Picture Patents are also directed to non-abstract ideas in that they provide technical

   solutions to at least the technical problems described above with respect to coded responses, lack

   of training set diversity, and user operation corresponding to the correlated pictures and

   instructions in the knowledgebase.




                                                   -22-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 692 of 2562 PageID #: 13563




          58.     The claimed features unlocked the next level of autonomous driving by allowing

   the entire fleet to train the overall system. In this way, much more precise and appropriate

   reactions to driving circumstances became possible because the massive number of scenarios

   encountered by the fleet could be distilled into a set of digital pictures and corresponding

   instructions that could be efficiently performed autonomously in an effective manner.

          59.     The claims of the Digital Picture Patents recite one or more inventive concepts

   rooted in computerized technology that overcome technical problems in that field. A person of

   ordinary skill in the art reading the Digital Picture Patents and their claims would understand that

   the Digital Picture Patents’ disclosures and claims are drawn to solving specific technical

   problems arising in artificially intelligent and autonomous devices and systems. Accordingly,

   each claim of the Digital Picture Patents recites a combination of elements sufficient to ensure

   that the claim in practice amounts to significantly more than a patent claiming an abstract

   concept. Further, the claimed improvements over the prior art are concrete and improve the

   capabilities of existing autonomous and AI systems.

          60.     A person of ordinary skill in the art reviewing the specification of the Digital

   Picture Patents would understand that the inventor had possession of the claimed subject matter

   and would know how to practice the claimed invention without undue experimentation.

          C.      THE SIMULATION PATENTS (U.S. PATENT NOS. 10,607,134 &
                  11,113,585)

          61.     Claim 1 of both the Simulation Patents recites a system for causing an avatar or

   an object of an application program to autonomously perform operations defined by instruction

   sets previously learned by that device or another device by anticipating the instruction set(s) to

   be executed (e.g., apply brakes) in response to finding at least a partial match between a

   previously learned digital picture (’585 patent) or object representation (’134 patent) and a newly



                                                  -23-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 693 of 2562 PageID #: 13564




   received picture or object representation (e.g., similar debris on the road). See ’134 patent at

   claim 1; ’585 patent at claim 1.

          62.     Based on my extensive experience in computer vision, image/video processing,

   machine learning, and computer assisted machine operations, achieving methods for full-self

   driving has been difficult due in large part to the near-infinite number of circumstances

   encountered by a vehicle and the high-degree of variability has been a significant problem. For

   example, the prior art avatar and object operation was “semi-autonomous.” As explained by the

   Patent Examiner, the prior art of record does not teach the details of object representations,

   avatars, determining instruction sets, and causing an avatar to perform operations as recited in

   the claims. See generally ’134 Patent Notice of Allowance at 16. The examiner then went on to

   characterize certain prior art as teaching semi-autonomous avatar operation and learning, but not

   teaching how it was achieved. Id. Thus, as the specification states, “[c]ommonly employed

   application and/or object thereof operating techniques lack a way for a system to learn [the]

   operation of an application and/or object thereof and enable autonomous operation of an

   application and/or object thereof.” ’585 patent at 1:45-55; ’134 patent at 1:30-40.

          63.     As of the priority date of the Simulation Patents, the claimed features in the

   Simulation Patents, as a whole, were inventive and novel and were not well-understood, routine,

   or conventional.   In general, the Simulation Patents are directed to a system, method and

   computer readable medium that allows an avatar or object (i.e., a virtual car) in a program to

   autonomously perform operations in response to an acquired image or object representation (e.g.,

   a current circumstance surrounding the avatar or device in the application/simulation as captured

   by the avatar’s sensors, e.g., circumstance representations having object representations within




                                                  -24-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 694 of 2562 PageID #: 13565




   the circumstance such as debris or people in the road) at least partially matching an image or

   object representation stored in a memory.

          64.     The ’134 patent is specifically directed to innovations including correlating object

   representations with instruction sets for operating a first avatar of an application, 18 obtaining a

   second one or more object representations, 19 looking for a match between the second object

   representations and the first object representations,20 and in response to finding a match causing

   a second avatar of the application to perform operations defined by the instruction set

   corresponding to the matched object representation.21 For example, if a second avatar detects an

   object representation (e.g., objects such as virtual debris or virtual people in the road) and the

   system has a similar object representation that matches with the detected object, then the second

   avatar performs an instruction set (e.g., braking).22 The corresponding claimed features, as a

   combination, are inventive and novel and were not well-understood, routine or conventional as

   of the priority date of the ’134 patent.

          65.     The ’585 patent is specifically directed to innovations including correlating digital

   pictures with instruction sets for operating a first object of an application, 23 obtaining a second




   18
      ’134 patent at cl. 1 (“a first correlation including a first one or more object representations
   correlated with a first one or more instruction sets for operating a first avatar of an application”).
   19
      ’134 patent at cl. 1 (“generating or receiving a second one or more object representations”).
   20
      ’134 patent at cl. 1 (“determining the first one or more instruction sets for operating the first
   avatar of the application based on at least partial match between the second one or more object
   representations and the first one or more object representations”).
   21
      ’134 patent at cl. 1 (“at least in response to the determining, causing … a second avatar of the
   application to perform one or more operations defined by the first one or more instruction sets
   for operating the first avatar of the application at least by executing the first one or more
   instruction sets for operating the first avatar of the application.”)
   22
      Id.
   23
      ’585 patent at cl. 1 (“one or more memories that store at least a first one or more digital
   pictures correlated with a first one or more instruction sets for operating a first object of a first
   application program”)


                                                   -25-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 695 of 2562 PageID #: 13566




   one or more digital pictures,24 searching for a match between the second digital pictures and the

   first digital pictures,25 and in response to finding a match causing a second object of the

   application to perform operations defined by the instruction set corresponding to the matched

   digital picture.26 For example, if a second object detects a digital picture (e.g., picture of virtual

   debris or virtual people in the road) and the system has a similar digital picture representation

   that matches with the detected picture, then the second object performs an instruction set (e.g.,

   braking). The corresponding claimed features, as a combination, are inventive and novel and

   were not well-understood, routine or conventional as of the priority date of the ’585 patent.

          66.     Referring to Figure 35 of the ’585 patent, for example, object 180b (e.g., a

   vehicle) includes, in its knowledgebase, associated digital pictures 525 of the objects surrounding

   in a 3D virtual world 18b. ’585 patent at 166:38-167:67; Fig. 35; see also ’134 patent at 163:52-

   166:46; Fig. 36. If the system detects a match with a previously learned digital picture 525, the

   object 180b performs autonomous operation using previously learned instructions 526 correlated

   with the previously learned digital picture. ’585 patent at 166:38-167:67; Fig. 35; see also ’134

   patent at 163:52-166:46; Fig. 36. In my opinion, the corresponding claimed features were not

   well-understood, routine or conventional as of the priority date of the Simulation Patents.




   24
      ’585 patent at cl. 1 (“receiving or generating a new one or more digital pictures that depict at
   least a portion of a surrounding of: the first object of the first application program, a second
   object of the first application program, or a first object of a second application program”)
   25
      ’585 patent at cl. 1 (“determining the first one or more instruction sets for operating the first
   object of the first application program based on at least partial match between the new one or
   more digital pictures and the first one or more digital pictures”)
   26
      ’585 Patent at cl. 1 (“at least in response to the determining, executing the first one or more
   instruction sets for operating the first object of the first application program, wherein the first
   object of the first application program, the second object of the first application program, or the
   first object of the second application program autonomously performs one or more operations
   defined by the first one or more instruction sets for operating the first object of the first
   application program.”)


                                                   -26-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 696 of 2562 PageID #: 13567




          67.      Given that the memory stores a first correlation (picture or object representation

   correlated with instructions learned by at least partially operating the first device) acquired by a

   first avatar, when a second avatar, for example, encounters a partially matching picture or object

   representation, the second avatar can autonomously perform an operation defined by the

   previously learned instruction that is correlated with the picture or object representation from the

   first avatar. The ability to cause one avatar to autonomously perform instruction(s) based on

   comparing a picture or object representation encountered by that device with a picture or object

   representation encountered by another or the same device was not known or done in the prior art.

          68.      The above-described claimed inventions, however, provided a solution to this

   problem. By allowing one avatar’s response (e.g., driver’s response when driving a vehicle) to a

   circumstance to train other avatars (e.g., vehicles in a simulation) that encounter similar

   circumstances, the claimed knowledge base, together with the claimed anticipating and

   executing, allows a group of devices (e.g., a fleet of vehicles) to continuously and dynamically

   learn to respond autonomously to new and unforeseen circumstances, which occur in the

   simulation. Over time, nearly every circumstance can be accounted for and subsequently applied

   autonomously by all devices (e.g., the fleet of vehicles). The claimed features thus provide a

   specific and improved way for an avatar—and by proxy a real life vehicle—to respond

   autonomously to detected circumstances.

          69.      With the innovations in the Autonomous Vehicle Simulation Patents, autonomous

   device operation using a knowledgebase (e.g., a neural network that includes, for example, a

   combination of object recognition and correlated previously learned instructions) that is trained

   by a fleet of vehicles became possible. See, e.g., ’134 Patent at 103:8-104:64; ’585 Patent at

   105:19-107:4.     The corresponding claimed features were not well-understood, routine or




                                                  -27-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 697 of 2562 PageID #: 13568




   conventional as of the priority date of the Simulation Patents. Moreover, the claimed features in

   the Simulation Patents cannot be performed as mental steps by a human, nor do they represent

   the application of a generic computer to any well-known method of organizing human behavior.

          70.     The claims of the Autonomous Vehicle Simulation Patents are directed to non-

   abstract ideas in that they provide technical solutions to at least the technical problems described

   above. For instance, claim 1 of each Simulation Patents, as a whole, is inventive and novel, as

   are at least the above-identified claim limitations. As of the priority dates of the Simulation

   Patents, the concept of causing a virtual device to perform autonomous operation based on: (i)

   pictures/representations of that device’s circumstances and (ii) pictures/representations and

   instructions learned from that device or another device was not well-understood, routine, or

   conventional. These features provide a vast improvement over the prior art.

          71.     The claimed features unlocked the next level of autonomous driving. While fleet

   learning from real-world pictures and object representations can, in general, work, there were

   still inhibiting limitations such as scale and uniqueness. Regarding scale, the fleet is limited in

   its learning ability by the number of autonomous vehicles on the road that are conveying data

   back into the system. Similarly, regarding uniqueness, the fleet is limited in what it can learn

   based on the monitored autonomous vehicles experiences. The Simulation Patents address these

   issues by taking the concrete ideas found in the Object Representation and Digital Picture Patents

   and importing them into proper simulations. As discussed in the prosecution of both Simulation

   Patents, this was a completely novel idea as the prior art does not teach the details of object

   representations, avatars, determining instruction sets, and causing an avatar to perform

   operations as recited in the claims. By allowing the entire fleet to train the system, as discussed

   earlier, and allowing appropriate simulations of driving reactions and situations including those




                                                  -28-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 698 of 2562 PageID #: 13569




   situations that may represent improbable scenarios and edge cases, much more precise and

   appropriate reactions to driving circumstances became possible. This is because necessary but

   less probable or seldom occurring scenarios can be distilled into a set of circumstances/pictures

   and corresponding instructions that can be efficiently performed autonomously.

          72.     The claims of the Simulation Patents recite one or more inventive concepts rooted

   in computerized technology that overcome technical problems in that field. A person of ordinary

   skill in the art reading the Simulation Patents and their claims would understand that the

   Simulation Patents’ disclosures and claims are drawn to solving specific technical problems

   arising in simulating artificially intelligent and autonomous devices and systems. Accordingly,

   each claim of the Simulation Patents recites a combination of elements sufficient to ensure that

   the claim in practice amounts to significantly more than a patent claiming an abstract concept.

   Further, the claimed improvements over the prior art are concrete and improve the capabilities of

   existing autonomous and AI simulation systems.

          73.     A person of ordinary skill in the art reviewing the specification of the Simulation

   Patents would understand that the inventor had possession of the claimed subject matter and

   would know how to practice the claimed invention without undue experimentation.

   VII.   CONCLUSION

          74.     I declare under penalty of perjury under the laws of the United States that the

   foregoing is true and correct.



   Executed on September 14, 2023.

                                                           By:______________________________

                                                                         Eli Saber, Ph.D.




                                                 -29-
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 699 of 2562 PageID #: 13570




                                    APPENDIX A
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 700 of 2562 PageID #: 13571




                                       Prof. Eli Saber
       Mobile: (585) 727-3126, Email: esaber228@gmail.com, HTTP: http://people.rit.edu/esseee
   _____________________________________________________________________________________________


                                                    EDUCATION
   Ph.D., Electrical Engineering, University of Rochester, Rochester, New York (March 1996)
   Concentration: Signal/Image/Video Processing, Pattern Recognition, and Computer Vision.
   Dissertation: Automatic image annotation and query-by-example using color, shape and texture information.

   M.S., Electrical Engineering, University of Rochester, Rochester, New York (May 1992)
   Concentration: Signal/Image/Video Processing, Pattern Recognition, Computer Vision, Communications.

   B.S., Electrical and Computer Engineering, Summa Cum Laude, State University of New York at Buffalo, Buffalo,
   New York (May 1988).
   Concentration: Computers, Microprocessors, Communications, Instrumentation.

   A.S., Engineering Science, Mohawk Valley Community College, Utica, New York (May 1986)


                                             RESEARCH INTERESTS

        •   Image and Video Processing for Multimedia, Military & Biomedical Applications.
        •   Computer Vision and Three-Dimensional Scene Reconstruction.
        •   Color Image Processing for Printing and Multimedia Applications.



                                       CAREER MAJOR HIGHLIGHTS

   •    Academic Experience:
        • Teaching: Taught/continue to teach undergraduate and graduate courses in the signal/image/video
            processing, computer vision, controls and communications focus areas with excellent feedback from students
            from 1996 to Present. Founded new coursework in Digital Video Processing and Pattern Recognition.
        • Research: Conducted research on multiple acquired government and industry grants in the areas of: 1)
            image/video processing for multimedia, military and biomedical applications, 2) deep learning/artificial
            intelligence for object detection and tracking purposes, 3) three-dimensional scene reconstruction for remote
            sensing, and 4) color image processing for printing and multimedia applications. Graduated several PhD and
            MS students. Currently co-advising 2 PhD students and 2 MS students.
        • External Funding: Acquired external funding as PI in excess of $3.5 Million and as PI/Co-PI in excess of
            $5 Million over the period of September 2004 to present from government agencies and industry partners.
        • Publications: 1 Book, 2 Special Issues, 38 Journal, 98 Conference and 11 Patents/Patent Publications.
        • Service: Served/chaired several department, college and university level committees. Chaired the Graduate
            Program at the EME department for a period of five years. Served on the academic senate for a period of 9
            years and on the Academic Senate Executive Committee for a period of 3 years.
   •    Industrial Experience: Worked for Xerox Corporation from 1988 until 2004 in a variety of engineering,
        managerial and scientific positions ending as Product Development Scientist and Manager.
   •    Consulting/Litigation Experience: Served as an expert in several patent and non-patent cases representing
        various companies such as Lyft, Genetec, Interactive Digital Solutions, Hisense, Perfect Corporation,
        Corephotonics, Wells Fargo, Netflix, Blackberry, 3Shape, Nikon, Hewlett-Packard, Qomo Hitevission, Sony, and


   October 30, 2022                                     Dr. Eli Saber, PhD                                             1
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 701 of 2562 PageID #: 13572



       Canon. Provided declarations in support of multiple Inter Partes Reviews (IPR), expert opinions and reports with
       regards to validity/invalidity, infringement/non-infringement and domestic industry, tutorial at Markman hearing
       and testimony in court proceedings.
   •   Professional Activities: Served on several IEEE and SPIE conferences in various chair positions including
       Finance, Tutorials, Plenaries and Technical Program. Served as general chair for two conferences.
   •   Honors & Awards: RIT Trustees Award (2012), KGCOE Scholarship Award (2012), EME Gleason Professor
       (2011-2013), and PI Millionaire (2011).



                                          ACADEMIC EXPERIENCE
   Professor (Associate 2004 – 2010, Full 2010 – Present), Department of Electrical and Microelectronic Engineering
   (EME), Kate Gleason College of Engineering (KGCOE), Rochester Institute of Technology.
   Extended Faculty (2004 – Present), Center for Imaging Science (CIS), Rochester Institute of Technology.
   Director of the Image, Video and Computer Vision Laboratory (2004 – Present)
   Graduate Program Director (2010 – 2014)

   •   Teaching: Responsible for teaching undergraduate & graduate courses in Digital Signal Processing, Digital
       Image Processing, Digital Video Processing, Engineering Analysis, Advanced Engineering Mathematics,
       Random Signal & Noise, Pattern Recognition, Communication Systems, Digital Data Communications,
       Computer Vision, Modern Control Theory, Linear Systems, and Matrix Methods. Typically teaching two courses
       per semester as required by department. Have taught three per semester on occasion to fulfill department needs.
   •   Research: Director of the Image, Video and Computer Vision Laboratory. Currently co-advising 2 PhD and 2
       MS students on deep learning/machine learning/artificial intelligence applications for object detection and
       tracking. Advised several PhD and MS students in image/video segmentation, hierarchical image decomposition,
       video mosaicking/3-dimensional scene reconstruction, image/video understanding, object tracking/recognition.
       All students are/were funded under various government or corporate grants.
   •   Funding: Acquired funding as PI in excess of $3.5 Million and as PI/Co-PI in excess of $5 Million over the
       period of September 2004 – Present from various government agencies and industrial partners.
   •   Service (Department, College and University):
       • Advised/currently advising several undergraduate and graduate students on curriculum issues.
       • Member of the Academic Senate Resource Allocation and Budget Committee, the University Compensation
            Committee and of the Kate Gleason College of Engineering Promotion Committee.
       • Former Member (KGCOE representative) of the Academic Senate (2007 – 2013 and 2014-2017) and of the
            Academic Senate Executive Committee (2009-2010, 2016-2017).
       • Served as Chair of the RIT Vision 2025 committee per request from RIT President Dr William Destler.
            Committee was commissioned, over the summer of 2009, to review 80+ ideas submitted from all colleges
            and provide a recommendation to upper administration.
       • Former Member and Chair of KCGOE graduate committee.
       • Former Member of Graduate Council.
       • Served on several committees for curriculum development, recognition, and faculty search.
   •   Professional Activities:
       • Senior member of the Institute of Electrical and Electronic Engineers (IEEE) society.
       • Former Member of the IEEE Industry Technical Committee on DSP.
       • Former Member of the IEEE Image and Multidimensional Digital Signal Processing (IMDSP) technical
            Committee.
       • Former Area Editor for the Journal of Electronic Imaging.
       • Former member of the Imaging Science and technology (IS&T) society.
       • International Conference on Image Processing (ICIP) 2002 Finance Chair, ICIP 2007 and ICIP 2009 Tutorial
            Chair, ICIP 2012 General Chair, ICASSP 2017 Technical Program Chair, ICIP 2021 Plenary Chair.
       • Co-founder and General Chair of the Video Surveillance and Transportation Imaging Conference within the
            Electronic Imaging Symposium.
   •   Honors and Awards:



   October 30, 2022                                   Dr. Eli Saber, PhD                                             2
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 702 of 2562 PageID #: 13573



       •   Awarded the Prestigious Trustees Scholarship award – the highest award at RIT with regards to research
           recognition
       •   Elected in 2011 as PI Millionaire.
       •   Awarded the EME Gleason Professor for 3 years (2011-2013).
       •   Elected as the Kate Gleason College of Engineering Scholarship award winner.

   Adjunct Faculty Member, Dept. of Electrical & Computer Engineering, University of Rochester. (09/96-07/04)
   • Taught undergraduate & graduate courses in Digital Signal Processing, Digital Image Processing, Pattern
      Recognition/Advanced Image Processing, Detection/Estimation Theory, and Analog & Digital Communications.
   • Advised and graduated 1 Ph.D. student in the areas of “Image Understanding” and “Database Content Indexing”.
   • Co-advised 1 Ph.D. student in the areas of “Watermarking”.
   • Advised and graduated 1 MS student in the area of “Color Rendering” and “Printer Characterization”.
   • Served as a committee member on several doctoral dissertations.
   • Served on PhD qualifying examinations for the Signal Processing and Communications Concentration.
   • Sought and captured funding from the National Science Foundation for the development of an intelligent image
      database system. Proposal funded for 4 years under NSF Grant IIS – 9820721
   • Sought and captured industrial funding from Xerox Corporation for Printer Color Characterization & Digital
      Front End Object Oriented Rendering.


   Adjunct Faculty Member, Dept. of Electrical Engineering, Rochester Institute of Technology. (03/98-07/04)
   • Taught undergraduate and graduate courses in Pattern Recognition, Digital Video Processing, Random Signal &
      Noise, Image and Video Compression, and Communications.
   • Advised and graduated a master student in the area of “Texture Classification”.




                                        INDUSTRIAL EXPERIENCE
   Product Development Scientist & Manager, Print Engine Development Unit, Xerox Corporation. (10/98-08/04)
   Major responsibilities included:
   • Lead the Image Science, Analysis and Evaluation area (12-15 direct reports and ~$2 Million budget).
   • Lead the development of highlight color specifications for the Sorrento print engine.
   • Lead the development of color characterization algorithms for the iGen3 print engine.
   • Lead the image quality integration of two color front end for the iGen3 Product.
   • Lead the development of ROS and LED based imaging systems and image path architectures for upcoming
      highlight & full color products.
   • Lead the development of xerographic hardware/algorithms & imaging systems for the DP92C highlight color
      product. (Product launched 9/30/99 and follow-on launched 4/20/00)
   • Lead the research and development of image quality metrics for various product platforms and their dissemination
      throughout the Print Engine Development Unit and Xerox Corporation.
   • Collaborate with the Department of Electrical & Computer Engineering (Univ. of Rochester) & the Center for
      Electronic Imaging Systems.

   Advanced Development Scientist and Manager, Print Cartridge Delivery Unit, Xerox Corporation. (2/97 – 9/98)
   Major responsibilities included:
   • Establish the Advanced Design Laboratory (an imaging/xerographics lab) and provide technical and managerial
      leadership for the Electrical, Imaging and Xerographics Dept.
   • Perform image processing and xerographic hardware/software design and development for low/mid volume color
      copiers and printers for current and future programs.
   • Perform technology development, modeling, and product design for upcoming Xerox color products, specifically
      image on paper and image on belt products..
   • Lead the development of the xerographic module for a color intermediate belt transfer product with direct
      technical and management responsibilities.


   October 30, 2022                                   Dr. Eli Saber, PhD                                           3
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 703 of 2562 PageID #: 13574



   •   Collaborate with the Department of Electrical & Computer Engineering (Univ. of Rochester) & the Center for
       Electronic Imaging Systems.

   Research and Development Scientist, Production Systems Group, Xerox Corporation. (1/96-1/97)
   Major responsibilities included:
   • Lead the design and development of color characterization/management and image quality algorithms and
       specifications for digital front ends destined to drive high quality, high speed color print engines.
   • Integrate color management & image processing algorithms into the Raster Image Processing module.
   • Participate in the design and development of a high speed raster image processing architecture.
   • Benchmark developed algorithms against existing products & systems both internally and externally.
   • Collaborate with the Department of Electrical & Computer Engineering of the University of Rochester and the
       Center for Electronic Imaging Systems.

   Research and Development Engineer, Corporate Research, Xerox Corporation (8/93-12/95) & Department of
   Electrical & Computer Engineering, University of Rochester. (1/95-12/95). Major responsibilities included:
   • Design and develop query by image content and query by example image annotation algorithms utilizing color,
       shape, texture and motion cues. System is able to perform query by keywords, color, shape, texture, and/or a
       combination of the above cues.
   • Design and develop intelligent image segmentation algorithms. These algorithms are currently utilized in the
       query by image content and query by example systems described above.
   • Design and develop face detection and facial feature extraction approaches.
   • Design and develop color characterization/calibration and image quality algorithms for Digital Front Ends aimed
       at driving high speed / high quality print engines.
   (Note: Image annotation/content analysis research was done in conjunction with the Department of Electrical &
   Computer Engineering and Center for Electronic Imaging Systems leading to the Ph.D.)

   Electronic, Computer and Instrumentation Engineer, New Toner/Developer Facility Engineering, Xerox
   Corporation. (6/88-7/93). Major responsibilities included:
   • Provide design, development, installation, startup, and training for multiple toner production facilities.
   • Provide development and implementation of control system database, software and displays for several systems.
   • Evaluate vendor supplied electrical specifications and drawings.
   • Manage and coordinate the efforts of technicians, electrical support, construction crew, and industrial workforce
       during the design, construction, startup, and implementation phases.
   • Supervise and complete a number of upgrade projects for toner & photoreceptor production including software
       development, preparation of electrical design, procurement of necessary equipment and parts, supervision of
       technicians, contractors and industrial workforce, and scheduling of construction.

   During this time, I gained extensive experience in the following systems: Fisher distributive control, unit operation
   controller, Provue console, Acrison material handling, Werner and Pfleiderer extrusion, Alpine air grinding,
   Majac/Micropul centrifugal classifiers, dry/wet material screening, Waeschle and others bulk powder storage and
   pneumatic convey, Ingersoll Rand and Joy compressed air equipment, Statistical process control.



                                         CONSULTING EXPERIENCE
   Expert on Legal Cases: Served as expert in multiple patent cases representing various companies such as Lyft,
   Genetec, Interactive Digital Solutions, Hisense, Perfect Corporation, Corephotonics, Wells Fargo, Netflix, Blackberry,
   3Shape, Nikon, Hewlett-Packard, Qomo Hitevission, Sony, and Canon.. Provided: 1) declarations in support of
   multiple Inter Partes Reviews (IPR); 2) expert opinions and reports with regards to validity/invalidity,
   infringement/non-infringement and domestic industry; 3) tutorial at Markman hearing and 4) testimony in multiple
   court proceedings.

   Summary of Experience:



   October 30, 2022                                    Dr. Eli Saber, PhD                                              4
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 704 of 2562 PageID #: 13575



       •    IPR/Declarations: Provided declarations in support of 19 IPR proceedings.
       •    Depositions: Provided 11 Depositions.
       •    Court Testimony: Testified in International Trade Commission Court in Sept. 2018 and Oct. 2019.
       •    Expert Opinions: Provided multiple expert opinions and reports in support of validity/invalidity,
            infringement/non-infringement, domestic industry and rebuttals.
       •    Claim Construction: Provided reports in support of claim construction.
       •    Hearings: Attended one Markman hearing and provided a brief technology tutorial.


   Industrial Training: Developed and conducted industrial training at Xerox Corporation for engineering personnel
   over three separate summer periods in the areas of signal and image processing, color engineering, and control systems
   with a distinct focus on digital front ends and print engines. I have also provided pattern recognition/shape matching
   expertise for Leica corporation.


                                                        BOOKS

       1. S. Dianat and E. Saber, “Advanced Linear Algebra for Engineers with MATLAB”, CRC press,
          February 2009.

                                                 SPECIAL ISSUES

       1. H. J. Trussell, E. Saber and M. Vrhel, “Color Image Processing”, IEEE SP magazine, January
          2005.
       2. R. Loce and E. Saber, “Video Surveillance and Transportation Imaging”, Journal of Electronic
          Imaging, 22(4), Dec. 2013


                             PEER-REVIEWED JOURNAL PUBLICATIONS
       1.   M. Sharma, M. Dhararaj, S. Karnam, D. Chachlakis, R. Ptucha, P. Markopoulos and E. Saber, “YOLOrs:
            Object Detection in Multimodal Remote Sensing Imagery”, IEEE Journal of Selected Topics in Applied
            Observations and Remote Sensing, Vol. 14, 2021.
       2.   S. Piramanayagam, E. Saber, and N. Cahill, “Gradient Driven Unsupervised Video Segmentation using Deep
            Learning Techniques”, Journal of Electronic Imaging, 29 (1), 013019, 2020
       3.   U. Gewali, S. Monteiro and E. Saber, “Spectral Super-Resolution with Optimized Bands”, Remote Sensing,
            11(14), 2019
       4.   U. Gewali, S. Monteiro and E. Saber, “Gaussian Processes for Vegetation Parameter Estimation from
            Hyperspectral Data with Limited Ground Truth”, Journal of Remote Sensing, 11(13), 2019.
       5.   Y. Liang, P. Markopoulos and E. Saber, “Spatial-Spectral Segmentation of Hyperspectral Images for
            Subpixel Target Detection”, Journal of Applied Remote Sensing, 13(3), 2019.
       6.   Y. Liu, S. Piramanayagam, S. Monteiro, and E. Saber. "Semantic segmentation of multisensor remote sensing
            imagery with deep ConvNets and higher-order conditional random fields." Journal of Applied Remote
            Sensing 13, no. 1 (2019): 016501
       7.   U. Gewali, S. Monteiro and E. Saber, “Hyperspectral Image Analysis using Machine Learning: A Survey”,
            arXiv preprint, 2018.
       8.   S. Piramanayagam, E. Saber, W. Schwartzkopf, F.W. Koehler, “Supervised Classification of
            Multisensor Remotely Sensed Images using a Deep Learning Framework”, Remote Sensing Journal, 10 (9),
            2018.
       9.   S. R. Vantaram, Y. Hu, E. Saber and S. Dianat, “Synthesis of Intensity Gradient and Texture Information for
            Efficient Three-Dimensional Segmentation of Medical Volumes”, Journal of Medical Imaging 2, no. 2
            (2015): 024003-024003.




   October 30, 2022                                    Dr. Eli Saber, PhD                                              5
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 705 of 2562 PageID #: 13576



       10. S. R. Vantaram, S. Piramanayagam, E. Saber and D. Messinger, “Automatic Spatial Segmentation of
           Multi/Hyperspectral Imagery by Fusion of Spectral-Gradient-Textural Attributes”, Journal of Applied and
           Remote Sensing, Vol. 9, No. 1, pp. 095086 (1-37), 2015.
       11. S. R. Vantaram and E. Saber, “A Survey of Contemporary Trends in Color Image Segmentation”, Journal
           of Electronic Imaging, 21(4), 040901, Oct-Dec 2012.
       12. M. S. Erkilinc, M. Jaber, E. Saber, “Text, Photo and Line Extraction in Scanned Documents”, Journal of
           Electronic Imaging, Vol. 21, 033006, July 2012.
       13. T. Keane, E. Saber, H. Rhody, A. Savakis and J. Raj, “Practical Image Registration Concerns Overcome by
           the Weighted and Filtered Mutual Information Metric”, Journal of Electronic Imaging, Vol. 21(2), 023029,
           June 2012.
       14. P. Gurram, E. Saber and H. Rhody, “Semi-automated System for three-dimensional Modeling of Buildings
           from Aerial Video”, Journal of Electronic Imaging, Vol. 21(1), 013007, Jan-Mar 2012.
       15. M. Jaber and E. Saber, “Probabilistic Approach for Extracting Regions of Interest in Digital Images”, Journal
           of Electronic Imaging, Vol. 19, No. 2, April - June 2010.
       16. X. Fan, H. Rhody and E. Saber, “A Spatial Feature Enhanced MMI Algorithm for Multimodal Airborne
           Image Registration”, IEEE Transaction on Geoscience and Remote Sensing, Vol. 48, Issue 6, pp. 2580 –
           2589, 2010.
       17. P. Gurram, E. Saber and H. Rhody, “A Segment-Based Mesh design for Building Parallel-Perspective Stereo
           Mosaic”, IEEE Transactions on Geoscience and Remote Sensing, Vol. 48, No. 3, March 2010.
       18. S. Vantaram, E. Saber, S. Dianat, M. Shaw and R. Bashkar, “Multiresolution Adaptive and Progressive
           Gradient-based color image Segmentation”, Journal of Electronic Imaging, Volume 19, Number 1, pp. 1-21,
           January-March 2010.
       19. L. Garcia, E. Saber, S. Vantaram, V. Amuso, M. Shaw and R. Bhaskar, “Automatic Image Segmentation by
           Dynamic Region Growth and Multi-resolution Merging”, IEEE Transactions on Image Processing, Vol. 18,
           No. 10, Oct. 2009.
       20. H. Santos, E. Saber, and W. Wu, “Streak Detection in Mottled and Noisy Images”, Journal of Electronic
           Imaging, Vol. 16, No. 4, 2007.
       21. O. Ugbeme, E. Saber and W. Wu, “An Automated Algorithm for the Identification of Artifacts in Mottled
           and Noisy Images”, Journal of Electronic Imaging, Vol. 16, No. 3, 2007.
       22. V. Misic, V. Sampath, Y. Yu and E. Saber, “Prostate Boundary Detection and Volume Estimation Using
           TRUS Images for Brachytherapy Applications”, International Journal of Computer Assisted Radiology and
           Surgery, Vol. 2, No. 2, pp. 87-98, August 2007.
       23. A. Ononye, A. Vodacek and E. Saber, “Towards Automatic Extraction of Fire Line Parameters from
           Multispectral Infrared Images”, Journal of Remote Sensing of Environment, Vol. 108, pp. 179 – 188, 2007.
       24. E. Saber, S. Dianat and L. Mestha, “DSP utilization in Digital Color Printing”, IEEE SP Magazine, July
           2005.
       25. E. Saber, Y. Xu, and A. M. Tekalp, “Partial Shape Recognition by sub-matrix matching for partial matching
           guided image labeling”, Pattern Recognition, Vol. 38, pp. 1560 – 1573, 2005.
       26. M. Celik, G. Sharma, A. M. Tekalp, E. Saber, “Lossless Generalized-LSB Data Embedding”, IEEE Trans.
           on Image Processing, Vol. 14, No. 2, pp. 253 – 266, February 2005.
       27. M. Vrhel, E. Saber, and H. J. Trussell, “Color Image Generation and Display Technologies: An overview of
           methods, devices, and research”, IEEE Signal Processing Magazine, January 2005.
       28. H. J. Trussell, E. Saber and M. Vrhel, “Color Image Processing: Basics and Special Issue Overview”, IEEE
           Signal Processing Magazine, January 2005.
       29. Y. Xu, E. Saber, and A. M. Tekalp, “Dynamic Learning from Multiple Examples for Semantic Object
           Segmentation and Search”, Computer Vision and Image Understanding, Vol. 95, No. 3, pp. 334-353, Sept
           2004.
       30. Y. Xu, P. Duygulu, E. Saber, A. M. Tekalp, and F. T. Yarman-Vural, “Object-Based Image Labeling through
           Learning by Example and Multi-Level Segmentation”, Pattern Recognition, Vol. 36 (6), pp. 1407-1423, June
           2003.
       31. Y. Xu, E. Saber, and A. M. Tekalp, “Object Segmentation and Labeling by Learning from Examples”, IEEE
           Transactions on Image Processing, Vol. 12, No. 6, June 2003.
       32. M. Celik, G. Sharma, E. Saber, and A. M. Tekalp, “Hierarchical watermarking for secure image
           authentication with localization”, IEEE Trans. on Image Processing, vol. 11, no. 6, June 2002.
       33. M. Xia, E. Saber, G. Sharma, and A. M. Tekalp, “End-to-End Color Calibration by Total Least Squares
           Regression”, IEEE Transactions on Image Processing, Vol. 8, No. 5, May 1999.


   October 30, 2022                                    Dr. Eli Saber, PhD                                             6
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 706 of 2562 PageID #: 13577



       34. E. Saber and A. M. Tekalp, “Facial Pattern Detection and Eye Localization using Color, Shape and
           Symmetry-Based Cost Functions”, Pattern Recognition letters, Vol. 19, 1998.
       35. E. Saber and A. M. Tekalp, “Integration of Color, Shape and Texture for Automatic Image Classification,
           Annotation and Retrieval”, Journal of Electronic Imaging, Vol. 7, No. 3, July 1998.
       36. E. Saber and A. M. Tekalp “Region-Based Affine Shape Matching for Automatic Image Annotation and
           Query-by-Example”, Journal of Visual Communication and Image Representation, March 1997.
       37. E. Saber, A. M. Tekalp, and G. Bozdagi, “Fusion of Color and Edge Information for Improved Segmentation
           and Edge Linking,”, Image and Vision Computing, Vol. 15, 1997.
       38. E. Saber, A. M. Tekalp, R. Eschbach and K. Knox, “Automatic Image Annotation using Color
           Classification”, Graphical Models and Image Processing, Volume 58, Number 2, March 1996.


                           CONFERENCE & WORKSHOP PUBLICATIONS
       1.  M. Sharma, P. P. Markopoulos, E. Saber, M. S. Asif, and A. Prater-Bennette, "Convolutional Auto-Encoder
           with Tensor-Train Factorization," Proc. International Conference on Computer Vision, (ICCV 2021), RLS-
           CV workshop.
       2. M. Sharma, P. P. Markopoulos, and E. Saber, "YOLOrs-LITE: A Lightweight CNN for Real-
           time Object Detection in Remote Sensing," Proc. IEEE International Geoscience and Remote Sensing
           Symposium (IEEE IGARSS), Brussels, Belgium, July 2021.
       3. M. Dhanaraj, M. Sharma, T. Sarkar, S. Karnam, D. Chachlakis, R. Ptucha, P. Markopoulos and E. Saber,
           “Vehicle Detection from Multi-modal Aeriel Imagery using YOLOv3 with Mid-level Fusion”, Big Data II:
           Learning, Analytics, and Applications, SPIE, April 2020.
       4. Y. Liu, S. Monteiro and E. Saber, “Dense Semantic Labeling of Very High Resolution Aerial Imagery and
           LIDAR with Fully Convolutional Neural Netwroks and Higher Order CRFs”, CVPR, 2017
       5. Y. Liu, S. Piramanayagan, S. Monteiro and E. Saber, “Semantic segmentation of remote sensing data using
           Gaussian processes and higher order CFRs”, IGARSS, Fort Worth, TX, July 2017.
       6. Y. Liang, S. T. Monteiro, and E. Saber, "Gaussian processes for object detection in high resolution remote
           sensing images", IEEE International Conference on Machine Learning and Applications (ICMLA 2016),
           Anaheim, CA, December 2016.
       7. S. Piramanayagam, W. Schwartzkopf, F.W. Koehler, E. Saber, “Classification of remote sensed images
           using random forests and deep learning framework", Proc. SPIE 10004, Image and Signal Processing for
           Remote Sensing XXII, 100040L, October 2016;
       8. Y. Liang, S. T. Monteiro, and E. Saber, "Transfer learning for high resolution aerial image classification" ,to
           appear in IEEE Applied Imagery Pattern Recognition Workshop (AIPR 2016), Washington, D.C., October 2016.
       9. Y. Liang, P. P. Markopoulos, and E. Saber, "Subpixel target detection in hyperspectral images with local
           matched filtering in SLIC superpixels", IEEE Workshop on Hyperspectral Image and Signal Processing:
           Evolutions in Remote Sensing (WHISPERS 2016), Los Angeles, CA, August 2016.
       10. Y. Hu, S. Monteiro and E. Saber, “Super Pixel Based Classification using Conditional Random Fields for
           Hyperspectral Images”, ICIP 2016, Phoenix, AZ.
       11. O. de Lima, S. Janakiraman, E. Saber, D. C. Day, M. Shaw, P. Bauer. R. S. Twede, and P. Lea, “Signature
           Line Detection in Scanned Documents”, ICIP 2016, Phoenix, AZ.
       12. Y. Liang, P.P. Markopoulos, and E. Saber”, Subpixel Target Detection in Hyperspectral Images from
           Superpixel Background Statistics," IGARSS, Beijing, China, July 2016.
       13. Y. Liu, S.T. Monteiro, and E. Saber. "Vehicle detection from aerial color imagery and airborne LiDAR data”,
           IGARSS, Beijing, China, 2016.
       14. Y. Wang, J. Mathew, E. Saber, D. Larson, P. Bauer, G. Kerby and J. Wagner. "Scanned Document
           Enhancement Based on Fast Text Detection," International Conference on Acoustics, Speech and Signal
           Processing, Shanghai, China, 2016
       15. Y. Liu, S. Monteiro, and E. Saber, “An Approach for Combining Airborne LiDAR and High Resolution
           Aerial Color Imagery using Gaussian Processes”, Proc. SPIE 9643, Image and Signal Processing for Remote
           Sensing XXI, Oct. 2015.
       16. Y. Liang, N. Cahill, E. Saber and D. Messinger, “A Game-Theoretic Tree Matching Approach for Object
           Detection in High Resolution Remotely Sensed Images”, Proc. SPIE 9643, Image and Signal Processing for
           Remote Sensing XXI, Oct. 2015.




   October 30, 2022                                    Dr. Eli Saber, PhD                                              7
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 707 of 2562 PageID #: 13578



       17. Y. Hu, S. T. Monteiro and E. Saber, “Comparing Inference Methods for Conditional Random Fields for
           Hyperspectral Image Classification”, Workshop on Hyperspectral Image and Signal Processing: Evolution
           in Remote Sensing, Tokyo, Japan, 2015
       18. Y. Hu, N. Cahill, S. Monteiro, E. Saber and D. Messinger, “Dimensionality Reduction for Hyperspectral
           Imagery Classification in Conditional Random Fields”, Proc. SPIE 9643, Image and Signal Processing for
           Remote Sensing XXI, Oct. 2015.
       19. S. Piramanayagam, P. J. Cutler, W. Schwartzkopf, F.W. Koehler, E. Saber, “Application of gradient based
           image segmentation to SAR imagery”, IGARSS, Milan, Italy, July 2015.
       20. S. Piramanayagam, E. Saber, N. D. Cahill, and D. Messinger, “Shot Boundary Detection and Label
           Propagation for Spatio-Temporal Video Segmentation”, SPIE/IS&T: Electronic Imaging Symposium, San
           Francisco, CA, Feb, 2015.
       21. M. Yousefhussien, R. Easton, R. Ptucha, M. Shaw, B. Bradburn, J. Wagner, D. Larson and E. Saber, “Flatbed
           Scanner Simulation to Analyze the Effect of Detector’s Size on Color Artifacts”, SPIE/IS&T: Electronic
           Imaging Symposium, San Francisco, CA, Feb. 2015.
       22. K. Shah, E. Saber and K. Verrier, "Improved Metrology of Implant Lines on Static Images of Textured
           Silicon Wafers using Line Integral Method”, SPIE/IS&T: Electronic Imaging Symposium, San Francisco,
           CA, Feb. 2015.
       23. Y. Hu, E. Saber, S. Monteiro, N. Cahill and D. Messinger, “Classification of Hyperspectral Images Based on
           Conditional Random Fields”, SPIE/IS&T: Electronic Imaging Symposium, San Francisco, CA, Feb. 2015.
       24. R. Kothari, E. Saber, M. Nelson, M. Stauffer and D. Bohan, “Image Enhancement for Low Resolution
           Display Panels”, SPIE/IS&T: Electronic Imaging Symposium, San Francisco, CA, Feb. 2015.
       25. Y. Liang, A. H. Syed, N. Cahill, E. Saber, and D. Messinger, “Application of Tree Matching Techniques to
           High Resolution Remotely Sensed Images toward Object Detection”, GEOBIA, May 2014.
       26. Y. Hu, A. H. Syed, E. Saber, N. Cahill, and D. Messinger, “Dynamic scale-space representation based on a
           MRF region merging model”, GEOBIA, May 2014
       27. Y. Liu, M. Helguerra and E. Saber, “Measurement of blood flow velocity in vivo video sequences with
           motion estimation methods”, SPIE Medical Imaging, San Diego, 2014.
       28. Y. Wang, O. F. de Lima, and E. Saber, “Improved edge directed Super resolution with hardware realization
           for surveillance, transportation, and multimedia applications”, SPIE/IS&T: Electronic Imaging Symposium,
           San Francisco, CA, Feb. 2014.
       29. J. Whitesell, D. Patru, E. Saber, G. Roylance and B. Larson, “Design for Implementation of Color Image
           Processing Algorithms”, SPIE/IS&T: Electronic Imaging Symposium, San Francisco, CA, Feb. 2014
       30. R. Toukatly, D. Patru, E. Saber, E. Peskin, G. Roylance and B. Larson, “Performance Analysis of a Color
           Space Conversion Engine Implemented using Dynamic Partial Reconfiguration”, SPIE/IS&T: Electronic
           Imaging Symposium, San Francisco, CA, Feb. 2013.
       31. O. De Lima, S. R. Vantaram, S. Piramanayagam, E. Saber and K. Bengtson, “An Edge Directed Super
           Resolution Technique for Surveillance and Printing Applications”, SPIE/IS&T: Electronic Imaging
           Symposium, San Francisco, CA, Feb. 2013.
       32. M. YousefHussien, K. Garvin, D. Dalecki, E. Saber and M. Helguera, “Three-Dimensional Volume Analysis
           of Vasculature in Engineered Tissues”, SPIE/IS&T: Electronic Imaging Symposium, San Francisco, CA,
           Feb. 2013
       33. A. Mykyta, D. Patru, E. Saber. G. Roylance and B. Larson, “Reconfigurable Framework for High-Bandwidth
           Stream-Oriented Data Processing”, IEEE International SoC Conference (SOCC), Buffalo, NY, Sept. 2012.
       34. S. R. Vantaram, and E. Saber, “Unsupervised Video Segmentation by Dynamic Volume Growing and
           Multivariate Volume Merging using Color-Texture-Gradient Features”, IEEE International Conference on
           Image Processing, Orlando, Florida, September 2012.
       35. A. H. Syed, E. Saber and D. Messinger, “Encoding of Topological Information in Multi-Scale Remotely
           Sensed Data: Applications to Segmentation and Object-Based Image Analysis”, International Conference on
           geographic Object-Based Image Analysis (GEOBIA), Rio de Janeiro, May 2012. (Best paper Award)
       36. S. Piramanayagam, E. Saber and D. Heavner, “Measurement of Glucose by Image Processing of Thin Film
           Slides”, SPIE: Medical Imaging, San Diego, CA, 2012.
       37. Y. Hu, E. Saber, S. Dianat, S. R. Vantaram and V. Abhyankar, “An Automatic Approach for 3D Registration
           of CT Scans”, SPIE/IS&T: Electronic Imaging Symposium, San Francisco, CA, Jan. 2012
       38. S. R. Vantaram, E. Saber, S. Dianat, Y. Hu and V. Abhyankar, “Semi-Automatic 3-D Segmentation of
           Computed Tomographic Imagery by Iterative Gradient-Driven Volume Growing”, IEEE International
           Conference on Image Processing, Brussels, Belgium, September 2011.



   October 30, 2022                                  Dr. Eli Saber, PhD                                            8
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 708 of 2562 PageID #: 13579



       39. S. R. Vantaram, E. Saber and D. Messinger, “An Intensity-Gradient-Texture Guided Methodology for
           Automatic Spatial Segmentation of Remotely Sensed Multi/Hyperspectral imagery”, IEEE International
           Conference on Image Processing, Brussels, Belgium, September 2011.
       40. S. R. Vantaram, and E. Saber, “A Method for Improved Localization of Edges in multi/hyperspectral
           Imagery”, Proceedings of the SPIE Optical Engineering + Applications Conf., San Diego, CA, Aug. 2011.
       41. M. Jaber, M. S. Bailly, Y. Wang, and E. Saber, “An image-set for identifying multiple regions/levels of
           interest in digital images,” Proceedings of the SPIE Optical Engineering + Applications Conference, San
           Diego, CA, Aug. 2011.
       42. M. S. Erkilinc, M. Jaber, E. Saber, P. Bauer and D. Depalov, “Page layout analysis and classification in
           complex scanned documents,” Proceedings of the SPIE Optical Engineering + Applications Conference, San
           Diego, CA, Aug. 2011.
       43. S. R. Vantaram, and E. Saber, “An Adaptive Bayesian Clustering and Multivariate Region Merging-based
           Technique for Efficient Segmentation of Color Images”, IEEE International Conference on Acoustics,
           Speech and Signal Processing, Prague, Czech Republic, May 2011.
       44. A. H. Syed, E. Saber and D. Messinger, “Scale-space Representation of Remote Sensing Images using an
           Object-Oriented Approach”, SPIE Defense, Security, and Sensing, Orlando, Florida, Apr 2011.
       45. M. Jaber and E. Saber, “Image Understanding Algorithm for Segmentation Evaluation and Region-of-Interest
           Identification using Bayesian Networks”, SPIE Defense, Security, and Sensing, Orlando, Florida, Apr 2011.
       46. T. Keane, E. Saber, H. Rhody, A. Savakis and J. Raj, “Unsupervised automated panorama creation for
           realistic surveillance scenes through weighted mutual information registration “, SPIE/IS&T: Electronic
           Imaging Symposium, San Francisco, CA, Jan. 2011.
       47. M. S. Erkilinc, M. Jaber, E. Saber and R. Pearson, “Line and Streak Detection on Polished and textured
           Surfaces using Line Integrals”, SPIE/IS&T: Electronic Imaging Symposium, San Francisco, CA, Jan. 2011.
       48. M. Jaber, S. Vantaram and E. Saber, “A Probabilistic Framework for Unsupervised Evaluation and Ranking
           of Image Segmentations”, AIPR, Washington, DC, 2010.
       49. M. Jaber and E. Saber, “A Bayesian Network-Based Approach for Identifying Regions of Interest Utilizing
           Global Image Features,” Proceedings of the SPIE Optical Engineering + Applications Conference, Vol. 7798,
           San Diego, CA, Aug. 2010.
       50. M. Jaber, E. Saber, M. Shaw, J. Hewitt, “A robust and fast approach for multiple image components
           stitching,” Proceedings of SPIE/IS&T: Electronic Imaging Symposium, San Jose, CA, Jan. 2010.
       51. S. R. Vantaram, E. Saber, S. Dianat, M. Shaw and R. Bhaskar, “An Adaptive and Progressive Approach for
           Efficient Gradient-based Multi-resolution Color Image Segmentation”, International Conference on Image
           Processing, Cairo, Egypt, November 2009.
       52. S. Khullar, E. Saber, S. Dianat, J. Trask, R. Lawton, and M. Shaw, “Automatic Multi-resolution Spatio-
           Frequency Analysis for Print Mottle Evaluation”, Proceedings of the SPIE: 17th Color Imaging Conference,
           Albuquerque, NM, November 2009.
       53. P. Gurram, E. Saber, H. Rhody, “Automated 3d Object Identification Using Bayesian Network”, AIPR
           workshop, Washington, D.C., October 2009.
       54. X. Fan, H. Rhody and E. Saber, “A Novel Improvement for the HCL-MMI Multi-modal Image Registration
           by SIFT Algorithm”, IEEE Western NY Image Processing Workshop, Sept. 2009.
       55. M. Jaber, E. Saber, F. Sahin, “Extraction of Memory Colors Using Bayesian Networks”, IEEE SMC
           International Conference on System of Systems Engineering, Albuquerque, NM, June 2009.
       56. S. R. Vantaram, E. Saber, V. Amuso, M. Shaw, R. Bhaskar, “Unsupervised Image Segmentation by
           Automatic Gradient Thresholding for Dynamic region Growth in the CIE L*a*b* Color Space”, SPIE/IS&T:
           Electronic Imaging Symposium, San Jose, CA, Jan. 2009.
       57. X. Fan, H. Rhody and E. Saber, “A Spatial Feature Enhanced MMI Algorithm for Multi-modal Wild Fire
           Image Registration”, AIPR, Washington, DC, 2008.
       58. X. Fan, H. Rhody and E. Saber, “A Novel Feature Enhanced MMI based Registration Algorithm for
           Automated Maps and Images”, IEEE International Geoscience & Remote Sensing Symposium, Boston MA,
           July 2008.
       59. L. Garcia, E. Saber, V. Amuso, M. Shaw and R. Bhaskar, “Automatic Color Image Segmentation By
           Dynamic Region Growth And Multimodal Merging Of Color And Texture Information”, International
           Conference on Acoustics, Speech and Signal Processing, Las Vegas, NV, March 2008.
       60. G. Balasubramanian, E. Saber, V. Misic, E. Peskin and M. Shaw, “Unsupervised Color Image Segmentation
           by Dynamic Color Gradient Thresholding” Proceedings of SPIE/IS&T: Electronic Imaging Symposium, San
           Jose, CA, Jan. 2008.


   October 30, 2022                                  Dr. Eli Saber, PhD                                           9
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 709 of 2562 PageID #: 13580



       61. M. Jaber, E. Saber, S. Dianat, and M. Shaw, “Identification and Ranking of Relevant Image Content”,
           Proceedings of SPIE/IS&T: Electronic Imaging Symposium, San Jose, CA, Jan. 2008.
       62. P. Gurram, E. Saber, H. Rhody, “Extraction of digital elevation map from parallel-perspective stereo
           mosaics”, Proceedings of SPIE/IS&T: Electronic Imaging Symposium, San Jose, CA, Jan. 2008.
       63. X. Fan, H. Rhody and E. Saber, “An Algorithm for Automated Registration of Maps and Images based on
           Feature Detection and Mutual Information”, Proceedings of SPIE/IS&T: Electronic Imaging Symposium,
           San Jose, CA, Jan. 2008.
       64. P. Gurram, E. Saber, H. Rhody, S. Lach and J. Kerekes, “3D Scene Reconstruction through a Fusion of
           Passive Video and Lidar Imagery”, AIPR workshop, Washington, D.C., October 2007.
       65. K. Chandu, E. Saber and W. Wu, “A Mutual Information Based Automatic Registration And Analysis
           Algorithm For Defect Identification In Printed Documents”, International Conference on Image Processing,
           San Antonio, TX, September 2007
       66. M. K. Reddy, V. Misic, E. Saber and J. Trask (HP), “A new Adaptive Edge Enhancement Algorithm for
           Color Laser Printers”, ICASSP, Honolulu, Hawaii, April 2007.
       67. X. Fan, H. Rhody and E. Saber, “A Harris Corner Label Enhanced MMI Algorithm for Multi-Modal Airborne
           Image Registration”, International Conf. on Computer Vision Theory and Appl., Barcelona, March 2007.
       68. P. Gurram, E. Saber and H. Rhody, “A Novel Triangulation Method for Building Parallel-Perspective Stereo
           Mosaics”, Proceedings of SPIE/IS&T: Electronic Imaging Symposium, San Jose, CA, Jan. 2007.
       69. M. Husain, E. Saber, V. Misic and S. Joralemon, “Dynamic Object Tracking By Partial Shape Matching For
           Video Surveillance Applications”, International Conference on Image Proc., Atlanta, GA, October 2006.
       70. X. Fan, H. Rhody and E. Saber, “A Comparison of Exhaustive Search vs. Gradient Search for Automatic
           Imagery Registration based on MMI”, IEEE Western NY Image Processing Workshop, Rochester, NY 2006.
       71. O. Ugbeme, E. Saber, and W. Wu, “An Automated Defect Classifying Algorithm for Printed Documents”,
           International Congress on Imaging Science, Rochester, NY, May 2006.
       72. H. Santos, E. Saber, and W. Wu, “A New Algorithm for Streak Detection in Mottle and Noisy Images”,
           International Congress on Imaging Science, Rochester, NY, May 2006.
       73. V. Sampath, V. Misic, E. Saber, H. Liu, and Y. Yu, "Seed Localization Using Trus And Grf Based Gaussian
           Filtering For Brachytherapy Applications", International Conference on Acoustics, Speech and Signal
           Processing, Toulouse, France, 2006.
       74. X. Fan, H. Rhody and E. Saber, “Automatic Registration of Multi-Sensor Airborne Imagery”, AIPR
           workshop, Washington, D.C., Oct. 19-21, 2005.
       75. K. Modi, F. Sahin and E. Saber, “An Application of Human Robot Interaction: development of a Ping-Pong
           Playing Robotic Arm”, International Conference on SMC, 2005.
       76. A. E. Ononye, A. Vodacek and E. Saber, "Extraction of Active Fire Line and Map Using AVIRIS Imagery",
           EastFIRE Conference, May 11-13, 2005, Fairfax, VA
       77. E. Saber, Y. Xu and A. M. Tekalp, “Object Based Image Labeling using Partial Matching Guided Search”,
           International Conf. on Acoustics, Speech, and Signal Proc., Philadelphia, USA, 2005.
       78. E. Saber, Y. Xu and A. M. Tekalp, “VOOGLE: Tools for Labeling & Manipulating Partial and Full Objects
           in Images Invariant to Translations, Rotations, Scale and Reflections”, Western New York Workshop, Sept.
           2004.
       79. Y. Xu, E. Saber, and A. M. Tekalp, “Semantic Object Segmentation by Dynamic Learning from Multiple
           Examples”, International Conf. on Acoustics, Speech, and Signal Proc., May 2004, Montreal, Canada.
       80. M. Celik, G. Sharma, A. M. Tekalp, E. Saber, “Lossless Authentication Watermark”, SPIE/IS&T: EI 2003,
           San Jose, CA, USA.
       81. M. Celik, G. Sharma, A. M. Tekalp, E. Saber, “Reversible Data Hiding”, International Conf. on Image
           Processing 2002, Rochester, NY, USA.
       82. M. Celik, G. Sharma, E. Saber, and A. M. Tekalp, “A Hierarchical Image Authentication Watermark with
           Improved Localization & Security”, International Conf. on Image Processing 2001, Thessaloniki, Greece.
       83. M. Celik, E. Saber, G. Sharma, A. M. Tekalp, “Geometry-Invariant Watermarking”, SPIE/IS&T: Electronic
           Imaging, San Jose, 2001.
       84. Y. Xu, E. Saber, and A. M. Tekalp, “Contour based Shape matching of Partially Occluded Objects for Image
           Labeling using Hierarchical Content Description”, SPIE:IS&T : Electronic Imaging 2001, San Jose, CA.
       85. Y. Xu, E. Saber, and A. M. Tekalp, “Image Retrieval through Shape Matching of Partially Occluded Objects
           using Hierarchical Content Description”, International Conf. on Image Proc., Vancouver, Canada, 2000.




   October 30, 2022                                  Dr. Eli Saber, PhD                                         10
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 710 of 2562 PageID #: 13581



       86. P. Duygulu, Y. Xu, E. Saber, A. M. Tekalp, and F. T. Yarman-Vural, “Object Based Image Retrieval for
            Multi-Level Segmentation”, International Conf. on Acoustic, Speech, and Signal Processing, Istanbul,
            Turkey, 2000.
       87. Y. Xu, E. Saber, and A. M. Tekalp, “Object-Based Image Retrieval through Learning from User Search
            Patterns and Profiles”, SPIE/IS&T Electronic Imaging, January 2000, San Jose, California.
       88. Y. Xu, E. Saber, and A. M. Tekalp, “Learning-based Hierarchical Content Description for Object Formation
            and Retrieval”, IEEE Image Processing Workshop, Rochester, NY, September 1999.
       89. Y. Xu, E. Saber, and A. M. Tekalp, “Object Formation and Retrieval using a Learning-Based Hierarchical
            Content Description”, International Conf. on Image Processing, 1999, Kobe, Japan.
       90. Y. Xu, E. Saber, and A. M. Tekalp, “Hierarchical Content Description and Object Formation by Learning”,
            Computer Vision and Pattern Recognition Workshop, Fort Collins, Colorado, 1999.
       91. M. Xia, E. Saber, G. Sharma, and A. M. Tekalp, “Total Least Squares Regression in Neugebauer Model
            Parameter Estimation for Dot-on-Dot Halftone Screens”, Non Impact Printing, October 1998.
       92. M. Xia, E. Saber, G. Sharma, and A. M. Tekalp, “Total Least Square Technique in Color Printer
            Characterization”, International Conference on Image Processing, Chicago, 1998.
       93. M. Xia, E. Saber, G. Sharma, and A. M. Tekalp, “Adaptive Content Dependent Color Rendering of Images
            and Documents”, SPIE/IS&T: Electronic Imaging, San Jose, 1998.
       94. M. Xia, E. Saber, G. Sharma, and A. M. Tekalp, “Total least squares regression in color printer calibration”,
            IEEE Image Processing Workshop, Rochester, NY, September 1997.
       95. E. Saber and A. M. Tekalp, “Image Annotation and Retrieval by Integrating Color, Shape and Texture”,
            International Conference on Image Processing, September 1996, Lausanne, Switzerland.
       96. E. Saber and A. M. Tekalp, “Region-Based Image Annotation using Color and Texture Cues”, European
            Signal Processing Conference, September 1996, Trieste, Italy.
       97. E. Saber and A. M. Tekalp, “Detection of Faces and Eyes using Color, Shape and Symmetry-Based Cost
            Functions”, International Conference on Pattern Recognition, August 1996, Vienna, Austria.
       98. E. Saber, A. M. Tekalp, and G. Bozdagi, “Fusion of Color and Edge Information for Improved Segmentation
            and Edge Linking”, International Conf. on Acoustics, Speech, and Signal Proc., May 1996, Atlanta, Georgia.
       99. E. Saber and A. M. Tekalp, “Image Query-by-Example using Region-Based Affine Shape Matching”,
            SPIE/IS&T Electronic Imaging, Volume 2666, January 1996, San Jose, California.
       100. E. Saber, A. M. Tekalp, R. Eschbach and K. Knox, “Annotation Of Natural Scenes Using Adaptive Color
            Segmentation”, SPIE/IS&T Electronic Imaging, February 1995, San Jose, California.


              PATENTS, PATENT APPLICATIONS and PATENT PUBLICATIONS
       1.  D. Cherry, R. Jessome, R. Maggard, D. Siddall, Y. Raja and E. Saber, “Part Replacement Predictions using
           Convolutional Neural Networks”, under review.
       2. A. Rangnekar, E. Saber, S. Moudgalya, “Interpolating Pixel Values”, Filed February 2016, Patent Pending.
       3. P. Lee, E. Saber, O. de Lima, D. Day, P. Bauer, M. Shaw, R. S. Twede, S. Janakiraman, B. Sorensen.
           “Detecting Document Objects”. # PCT/US2015/053762.
       4. S. Vantaram, E. Saber, S. Dianat, M. Shaw and R. Bhaskar, “Methods for Adaptive and Progressive Gradient-
           Based Multi-resolution Color Image Segmentation and Systems Thereof”, US 8515171B2.
       5. M. Shaw, R. Bhaskar, L. Garcia, E. Saber, V. Amuso, “Image Segmentation using Dynamic Color Gradient
           Threshold, Texture and Multimodal Merging”, US Patent Application Publication US2009/0080773A1.
       6. E. Saber, M. Nelson, M. Stauffer, D. Bohan and R. Kothari, “Correcting Artifacts on A Display”, US Patent
           9,620,082.
       7. M. Shaw, R. Bhaskar, G. Balasubramanian, E. Saber, V. Misic, and E. Peskin “Unsupervised Color Image
           Segmentation by Dynamic Color Gradient Thresholding”, US Patent 7,873,214.
       8. E. Saber & R. Loce, “Corner Sharpening of Text and Line Art in a Super Resolution Anti-Aliasing Image
           Path”, US Patent 7,536,052.
       9. L. K Mestha, S. Bolte, E. Saber, and S. Updegraff, “Systems and Methods for Obtaining a Spatial Color
           Profile, and Calibrating a Marking System”, US Patent Application Publication 2004/0136013, July 2004.
       10. L. K. Mestha, E. Saber, “Systems and methods for sensing marking substrate area coverage using a
           spectrophotometer”, US Patent 7,110,142 and European EP1309176A2.




   October 30, 2022                                    Dr. Eli Saber, PhD                                            11
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 711 of 2562 PageID #: 13582



       11. D. Damji, A. Leon, P. Perez and E. Saber, “Processing system for replaceable modules in a digital printing
           apparatus”, European Patent EP1079278B.
       12. E. Saber, D. Damji, A. Leon, and P. Perez, “Remanufacturing system for replaceable modules in a digital
           printing apparatus”, US Patent 6173128.


                             EXTERNAL FUNDING/FUNDED PROPOSALS

   Proposals Funded while at RIT
   •   Acquired/continue to acquire funding with multiple grants from government agencies and corporate partners
       (Hewlett-Packard, Dataphysics, Lenel, Xerox) in excess of $3.5 Million as PI and in excess of $5 Million as
       PI/Co-PI (total Portfolio) since joining RIT. A complete statement listing the details of each grant can be provided
       upon request.

   Proposals Funded prior to Joining RIT as an employee of Xerox Corporation and University of
   Rochester:
   •   A. M. Tekalp and E. Saber (co-PI), “An intelligent visual database system: Hierarchical content description and
       matching using integrated similarity metrics”, funded for $243K for four years at the University of Rochester by
       the National Science Foundation under NSF Grant IIS – 9820721.


                                            HONORS AND AWARDS

   •   Awarded the Prestigious Trustees Scholarship award – the highest award at RIT with regards to research
       recognition (2012)
   •   Elected as the Kate Gleason College of Engineering Scholarship award winner (2012).
   •   Elected as Electrical and Microelectronic Engineering Gleason Professor for 3 years Fall 2011 – Summer 2014.
   •   Elected as PI Millionaire by RIT Sponsored research organization.
   •   Winner of an M.S./Ph.D. scholarship for graduate study from Xerox Corporation.
   •   Winner of the quality recognition award from Xerox Corporation for outstanding performance.
   •   Core member of a toner/developer facility engineering project team recognized as ``The 1991 and 1993 team of
       the year" by the Delaware Valley Chapter of the Project Management Institute.
   •   Elected to the Electrical Engineering Honor Society, Eta Kappa Nu.
   •   Winner of Gibran Khalil Gibran Scholarship for outstanding academic achievements.
   •   Valedictorian of the Electrical and Computer Engineering Department at the University of Buffalo.
   •   Recipient of several prizes and awards from the University of Buffalo and the Mohawk Valley Comm. College
       for excellent academic achievements; and from Xerox Corporation for outstanding performance.


                                         PROFESSIONAL ACTIVITIES

   •   Senior Member of the Institute of Electrical & Electronic Engineers.
   •   Member of the IEEE Signal Processing Society.
   •   Plenary Chair for ICIP 2021.
   •   Technical Program Chair for ICASSP 2017 in New Orleans.
   •   General Chair for ICIP 2012.
   •   Member of the IEEE Signal Processing society conference board for 3 year team starting January 2013.
   •   Tutorial chair for the International Conferences on Image Processing, ICIP 2007 and ICIP 2009.
   •   Special session chair on Color Image Processing for the European Signal Processing Conference, Sept. 2006.
   •   Finance Chair for the International Conference on Image Processing 2002 held in Rochester, NY.
   •   Former Area Editor for the Journal of Electronic Imaging.
   •   Guest Editor for the “Color Image Processing” issue of the Signal Processing Magazine.
   •   Associate Editor for the IEEE Transactions on Image Processing for five years. Term ended: April 2009.



   October 30, 2022                                     Dr. Eli Saber, PhD                                              12
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 712 of 2562 PageID #: 13583



   •   Former Associate Editor for the IEEE Signal Processing Magazine for DSP Applications Forum.
   •   Former Member of the IEEE Image & Multidimensional Digital Signal Processing Technical Committee.
   •   Former Member of IEEE Tech. Comm. on Industry DSP Technology in 2003 & 2004 & Chair for 2005, 2006.
   •   Technical program committee member for ICIP 2009 and prior ICIPs.
   •   Technical program committee member for ICASSP 2010 and prior ICASSPs.
   •   Session chair for several ICIP & ICASSP Conferences and Workshops.
   •   Chairman, vice-chairman, treasurer, and secretary of the IEEE Rochester Chapter of the signal processing society
       in 1998, 1997, 1996 and 1995 respectively.
   •   Reviewer for the IEEE Trans. on Image Processing, IEEE Trans. on Pattern Analysis and Machine Intelligence,
       Graphical Models and Image Processing, IEEE Trans. on Signal Processing, IEEE Signal Processing Letters,
       Color Research and Applications, Graphical Modeling and Image Understanding, Image and Vision Computing,
       Optical Engineering, Journal of Imaging Science and Technology, and the Journal of Electronic Imaging.
   •   Technical committee for Western New York Imaging Workshop in 1997 and 1999 and general chair in 1998.
   •   Co-Chair of the Xerox Electronic Image and Video Processing Technology Council.

                              References Available Upon Request




   October 30, 2022                                   Dr. Eli Saber, PhD                                            13
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 713 of 2562 PageID #: 13584




                                    APPENDIX B
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 714 of 2562 PageID #: 13585




      1. U.S. Patent Nos. 10,452,974; 11,238,344; 11,663,474, 10,607,134; 11,113,585;

         11,055,583; and 10,102,449.

      2. File Histories Corresponding to U.S. Patent Nos. 10,452,974; 11,238,344; 11,663,474,

         10,607,134; 11,113,585; 11,055,583; and 10,102,449.

      3. https://www.bloomberg.com/news/articles/2021-11-18/apple-accelerates-work-on-car-

         aims-for-fully-autonomous-vehicle

      4. U.S. 2016/0167226

      5. Pomerleau, D.A. (1991) Efficient Training of Artificial Neural Networks for

         Autonomous Navigation. In Neural Computation 3:1 pp. 88-97

      6. http://sunnyday.mit.edu/safety-

         club/workshop5/Adaptive_Cruise_Control_Sys_Overview.pdf

      7. https://www.nissan-global.com/EN/INNOVATION/TECHNOLOGY/ARCHIVE/LDW/
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 715 of 2562 PageID #: 13586




                         Exhibit G
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 716 of 2562 PageID #: 13587
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 717 of 2562 PageID #: 13588
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 718 of 2562 PageID #: 13589
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 719 of 2562 PageID #: 13590
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 720 of 2562 PageID #: 13591
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 721 of 2562 PageID #: 13592
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 722 of 2562 PageID #: 13593
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 723 of 2562 PageID #: 13594
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 724 of 2562 PageID #: 13595
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 725 of 2562 PageID #: 13596
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 726 of 2562 PageID #: 13597
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 727 of 2562 PageID #: 13598
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 728 of 2562 PageID #: 13599
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 729 of 2562 PageID #: 13600
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 730 of 2562 PageID #: 13601
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 731 of 2562 PageID #: 13602
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 732 of 2562 PageID #: 13603
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 733 of 2562 PageID #: 13604
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 734 of 2562 PageID #: 13605
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 735 of 2562 PageID #: 13606
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 736 of 2562 PageID #: 13607
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 737 of 2562 PageID #: 13608
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 738 of 2562 PageID #: 13609
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 739 of 2562 PageID #: 13610
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 740 of 2562 PageID #: 13611
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 741 of 2562 PageID #: 13612
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 742 of 2562 PageID #: 13613
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 743 of 2562 PageID #: 13614
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 744 of 2562 PageID #: 13615
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 745 of 2562 PageID #: 13616
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 746 of 2562 PageID #: 13617
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 747 of 2562 PageID #: 13618
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 748 of 2562 PageID #: 13619
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 749 of 2562 PageID #: 13620
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 750 of 2562 PageID #: 13621
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 751 of 2562 PageID #: 13622
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 752 of 2562 PageID #: 13623
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 753 of 2562 PageID #: 13624
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 754 of 2562 PageID #: 13625
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 755 of 2562 PageID #: 13626
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 756 of 2562 PageID #: 13627
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 757 of 2562 PageID #: 13628
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 758 of 2562 PageID #: 13629
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 759 of 2562 PageID #: 13630
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 760 of 2562 PageID #: 13631
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 761 of 2562 PageID #: 13632
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 762 of 2562 PageID #: 13633
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 763 of 2562 PageID #: 13634
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 764 of 2562 PageID #: 13635
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 765 of 2562 PageID #: 13636
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 766 of 2562 PageID #: 13637
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 767 of 2562 PageID #: 13638
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 768 of 2562 PageID #: 13639
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 769 of 2562 PageID #: 13640
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 770 of 2562 PageID #: 13641
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 771 of 2562 PageID #: 13642
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 772 of 2562 PageID #: 13643
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 773 of 2562 PageID #: 13644
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 774 of 2562 PageID #: 13645
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 775 of 2562 PageID #: 13646
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 776 of 2562 PageID #: 13647
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 777 of 2562 PageID #: 13648
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 778 of 2562 PageID #: 13649
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 779 of 2562 PageID #: 13650
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 780 of 2562 PageID #: 13651
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 781 of 2562 PageID #: 13652
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 782 of 2562 PageID #: 13653
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 783 of 2562 PageID #: 13654
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 784 of 2562 PageID #: 13655
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 785 of 2562 PageID #: 13656
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 786 of 2562 PageID #: 13657
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 787 of 2562 PageID #: 13658
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 788 of 2562 PageID #: 13659
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 789 of 2562 PageID #: 13660
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 790 of 2562 PageID #: 13661
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 791 of 2562 PageID #: 13662
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 792 of 2562 PageID #: 13663
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 793 of 2562 PageID #: 13664
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 794 of 2562 PageID #: 13665
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 795 of 2562 PageID #: 13666
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 796 of 2562 PageID #: 13667
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 797 of 2562 PageID #: 13668
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 798 of 2562 PageID #: 13669
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 799 of 2562 PageID #: 13670
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 800 of 2562 PageID #: 13671
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 801 of 2562 PageID #: 13672
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 802 of 2562 PageID #: 13673
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 803 of 2562 PageID #: 13674
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 804 of 2562 PageID #: 13675
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 805 of 2562 PageID #: 13676
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 806 of 2562 PageID #: 13677
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 807 of 2562 PageID #: 13678
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 808 of 2562 PageID #: 13679
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 809 of 2562 PageID #: 13680
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 810 of 2562 PageID #: 13681
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 811 of 2562 PageID #: 13682
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 812 of 2562 PageID #: 13683
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 813 of 2562 PageID #: 13684
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 814 of 2562 PageID #: 13685
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 815 of 2562 PageID #: 13686
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 816 of 2562 PageID #: 13687
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 817 of 2562 PageID #: 13688
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 818 of 2562 PageID #: 13689
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 819 of 2562 PageID #: 13690
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 820 of 2562 PageID #: 13691
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 821 of 2562 PageID #: 13692
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 822 of 2562 PageID #: 13693
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 823 of 2562 PageID #: 13694
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 824 of 2562 PageID #: 13695
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 825 of 2562 PageID #: 13696
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 826 of 2562 PageID #: 13697
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 827 of 2562 PageID #: 13698
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 828 of 2562 PageID #: 13699
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 829 of 2562 PageID #: 13700
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 830 of 2562 PageID #: 13701
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 831 of 2562 PageID #: 13702
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 832 of 2562 PageID #: 13703
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 833 of 2562 PageID #: 13704
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 834 of 2562 PageID #: 13705
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 835 of 2562 PageID #: 13706
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 836 of 2562 PageID #: 13707
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 837 of 2562 PageID #: 13708
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 838 of 2562 PageID #: 13709
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 839 of 2562 PageID #: 13710
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 840 of 2562 PageID #: 13711
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 841 of 2562 PageID #: 13712
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 842 of 2562 PageID #: 13713
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 843 of 2562 PageID #: 13714
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 844 of 2562 PageID #: 13715
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 845 of 2562 PageID #: 13716
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 846 of 2562 PageID #: 13717
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 847 of 2562 PageID #: 13718
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 848 of 2562 PageID #: 13719
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 849 of 2562 PageID #: 13720
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 850 of 2562 PageID #: 13721
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 851 of 2562 PageID #: 13722
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 852 of 2562 PageID #: 13723
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 853 of 2562 PageID #: 13724
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 854 of 2562 PageID #: 13725
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 855 of 2562 PageID #: 13726
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 856 of 2562 PageID #: 13727
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 857 of 2562 PageID #: 13728
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 858 of 2562 PageID #: 13729
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 859 of 2562 PageID #: 13730
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 860 of 2562 PageID #: 13731
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 861 of 2562 PageID #: 13732
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 862 of 2562 PageID #: 13733
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 863 of 2562 PageID #: 13734
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 864 of 2562 PageID #: 13735
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 865 of 2562 PageID #: 13736
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 866 of 2562 PageID #: 13737
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 867 of 2562 PageID #: 13738
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 868 of 2562 PageID #: 13739
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 869 of 2562 PageID #: 13740
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 870 of 2562 PageID #: 13741
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 871 of 2562 PageID #: 13742
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 872 of 2562 PageID #: 13743
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 873 of 2562 PageID #: 13744
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 874 of 2562 PageID #: 13745
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 875 of 2562 PageID #: 13746
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 876 of 2562 PageID #: 13747
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 877 of 2562 PageID #: 13748
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 878 of 2562 PageID #: 13749
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 879 of 2562 PageID #: 13750
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 880 of 2562 PageID #: 13751
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 881 of 2562 PageID #: 13752
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 882 of 2562 PageID #: 13753
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 883 of 2562 PageID #: 13754
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 884 of 2562 PageID #: 13755
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 885 of 2562 PageID #: 13756
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 886 of 2562 PageID #: 13757
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 887 of 2562 PageID #: 13758
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 888 of 2562 PageID #: 13759
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 889 of 2562 PageID #: 13760
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 890 of 2562 PageID #: 13761
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 891 of 2562 PageID #: 13762
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 892 of 2562 PageID #: 13763
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 893 of 2562 PageID #: 13764
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 894 of 2562 PageID #: 13765
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 895 of 2562 PageID #: 13766
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 896 of 2562 PageID #: 13767
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 897 of 2562 PageID #: 13768
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 898 of 2562 PageID #: 13769
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 899 of 2562 PageID #: 13770
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 900 of 2562 PageID #: 13771
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 901 of 2562 PageID #: 13772
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 902 of 2562 PageID #: 13773
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 903 of 2562 PageID #: 13774
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 904 of 2562 PageID #: 13775
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 905 of 2562 PageID #: 13776
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 906 of 2562 PageID #: 13777
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 907 of 2562 PageID #: 13778
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 908 of 2562 PageID #: 13779
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 909 of 2562 PageID #: 13780
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 910 of 2562 PageID #: 13781
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 911 of 2562 PageID #: 13782
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 912 of 2562 PageID #: 13783
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 913 of 2562 PageID #: 13784
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 914 of 2562 PageID #: 13785
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 915 of 2562 PageID #: 13786
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 916 of 2562 PageID #: 13787
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 917 of 2562 PageID #: 13788
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 918 of 2562 PageID #: 13789
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 919 of 2562 PageID #: 13790
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 920 of 2562 PageID #: 13791
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 921 of 2562 PageID #: 13792
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 922 of 2562 PageID #: 13793
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 923 of 2562 PageID #: 13794
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 924 of 2562 PageID #: 13795
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 925 of 2562 PageID #: 13796
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 926 of 2562 PageID #: 13797
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 927 of 2562 PageID #: 13798
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 928 of 2562 PageID #: 13799
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 929 of 2562 PageID #: 13800
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 930 of 2562 PageID #: 13801
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 931 of 2562 PageID #: 13802
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 932 of 2562 PageID #: 13803
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 933 of 2562 PageID #: 13804
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 934 of 2562 PageID #: 13805
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 935 of 2562 PageID #: 13806
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 936 of 2562 PageID #: 13807
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 937 of 2562 PageID #: 13808
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 938 of 2562 PageID #: 13809
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 939 of 2562 PageID #: 13810
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 940 of 2562 PageID #: 13811
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 941 of 2562 PageID #: 13812
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 942 of 2562 PageID #: 13813
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 943 of 2562 PageID #: 13814
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 944 of 2562 PageID #: 13815
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 945 of 2562 PageID #: 13816
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 946 of 2562 PageID #: 13817
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 947 of 2562 PageID #: 13818
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 948 of 2562 PageID #: 13819
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 949 of 2562 PageID #: 13820
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 950 of 2562 PageID #: 13821
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 951 of 2562 PageID #: 13822
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 952 of 2562 PageID #: 13823
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 953 of 2562 PageID #: 13824
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 954 of 2562 PageID #: 13825
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 955 of 2562 PageID #: 13826
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 956 of 2562 PageID #: 13827
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 957 of 2562 PageID #: 13828
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 958 of 2562 PageID #: 13829
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 959 of 2562 PageID #: 13830
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 960 of 2562 PageID #: 13831
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 961 of 2562 PageID #: 13832
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 962 of 2562 PageID #: 13833
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 963 of 2562 PageID #: 13834
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 964 of 2562 PageID #: 13835
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 965 of 2562 PageID #: 13836
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 966 of 2562 PageID #: 13837
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 967 of 2562 PageID #: 13838
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 968 of 2562 PageID #: 13839
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 969 of 2562 PageID #: 13840
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 970 of 2562 PageID #: 13841
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 971 of 2562 PageID #: 13842
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 972 of 2562 PageID #: 13843
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 973 of 2562 PageID #: 13844
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 974 of 2562 PageID #: 13845
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 975 of 2562 PageID #: 13846
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 976 of 2562 PageID #: 13847
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 977 of 2562 PageID #: 13848
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 978 of 2562 PageID #: 13849
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 979 of 2562 PageID #: 13850
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 980 of 2562 PageID #: 13851
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 981 of 2562 PageID #: 13852
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 982 of 2562 PageID #: 13853
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 983 of 2562 PageID #: 13854
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 984 of 2562 PageID #: 13855
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 985 of 2562 PageID #: 13856
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 986 of 2562 PageID #: 13857
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 987 of 2562 PageID #: 13858
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 988 of 2562 PageID #: 13859
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 989 of 2562 PageID #: 13860
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 990 of 2562 PageID #: 13861
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 991 of 2562 PageID #: 13862
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 992 of 2562 PageID #: 13863
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 993 of 2562 PageID #: 13864
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 994 of 2562 PageID #: 13865
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 995 of 2562 PageID #: 13866
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 996 of 2562 PageID #: 13867
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 997 of 2562 PageID #: 13868
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 998 of 2562 PageID #: 13869
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 999 of 2562 PageID #: 13870
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1000 of 2562 PageID #:
                                   13871
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1001 of 2562 PageID #:
                                   13872
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1002 of 2562 PageID #:
                                   13873
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1003 of 2562 PageID #:
                                   13874
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1004 of 2562 PageID #:
                                   13875
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1005 of 2562 PageID #:
                                   13876
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1006 of 2562 PageID #:
                                   13877
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1007 of 2562 PageID #:
                                   13878
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1008 of 2562 PageID #:
                                   13879
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1009 of 2562 PageID #:
                                   13880
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1010 of 2562 PageID #:
                                   13881
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1011 of 2562 PageID #:
                                   13882
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1012 of 2562 PageID #:
                                   13883
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1013 of 2562 PageID #:
                                   13884
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1014 of 2562 PageID #:
                                   13885
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1015 of 2562 PageID #:
                                   13886
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1016 of 2562 PageID #:
                                   13887
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1017 of 2562 PageID #:
                                   13888
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1018 of 2562 PageID #:
                                   13889
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1019 of 2562 PageID #:
                                   13890
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1020 of 2562 PageID #:
                                   13891
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1021 of 2562 PageID #:
                                   13892
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1022 of 2562 PageID #:
                                   13893
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1023 of 2562 PageID #:
                                   13894
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1024 of 2562 PageID #:
                                   13895
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1025 of 2562 PageID #:
                                   13896
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1026 of 2562 PageID #:
                                   13897
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1027 of 2562 PageID #:
                                   13898
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1028 of 2562 PageID #:
                                   13899
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1029 of 2562 PageID #:
                                   13900
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1030 of 2562 PageID #:
                                   13901
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1031 of 2562 PageID #:
                                   13902
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1032 of 2562 PageID #:
                                   13903
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1033 of 2562 PageID #:
                                   13904
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1034 of 2562 PageID #:
                                   13905
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1035 of 2562 PageID #:
                                   13906
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1036 of 2562 PageID #:
                                   13907
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1037 of 2562 PageID #:
                                   13908
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1038 of 2562 PageID #:
                                   13909
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1039 of 2562 PageID #:
                                   13910
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1040 of 2562 PageID #:
                                   13911
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1041 of 2562 PageID #:
                                   13912
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1042 of 2562 PageID #:
                                   13913
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1043 of 2562 PageID #:
                                   13914
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1044 of 2562 PageID #:
                                   13915
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1045 of 2562 PageID #:
                                   13916
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1046 of 2562 PageID #:
                                   13917
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1047 of 2562 PageID #:
                                   13918
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1048 of 2562 PageID #:
                                   13919
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1049 of 2562 PageID #:
                                   13920
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1050 of 2562 PageID #:
                                   13921
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1051 of 2562 PageID #:
                                   13922
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1052 of 2562 PageID #:
                                   13923
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1053 of 2562 PageID #:
                                   13924
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1054 of 2562 PageID #:
                                   13925
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1055 of 2562 PageID #:
                                   13926
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1056 of 2562 PageID #:
                                   13927
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1057 of 2562 PageID #:
                                   13928
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1058 of 2562 PageID #:
                                   13929
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1059 of 2562 PageID #:
                                   13930
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1060 of 2562 PageID #:
                                   13931
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1061 of 2562 PageID #:
                                   13932
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1062 of 2562 PageID #:
                                   13933
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1063 of 2562 PageID #:
                                   13934
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1064 of 2562 PageID #:
                                   13935
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1065 of 2562 PageID #:
                                   13936
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1066 of 2562 PageID #:
                                   13937
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1067 of 2562 PageID #:
                                   13938
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1068 of 2562 PageID #:
                                   13939
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1069 of 2562 PageID #:
                                   13940
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1070 of 2562 PageID #:
                                   13941
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1071 of 2562 PageID #:
                                   13942
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1072 of 2562 PageID #:
                                   13943
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1073 of 2562 PageID #:
                                   13944
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1074 of 2562 PageID #:
                                   13945
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1075 of 2562 PageID #:
                                   13946
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1076 of 2562 PageID #:
                                   13947
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1077 of 2562 PageID #:
                                   13948
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1078 of 2562 PageID #:
                                   13949
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1079 of 2562 PageID #:
                                   13950
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1080 of 2562 PageID #:
                                   13951
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1081 of 2562 PageID #:
                                   13952
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1082 of 2562 PageID #:
                                   13953
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1083 of 2562 PageID #:
                                   13954
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1084 of 2562 PageID #:
                                   13955
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1085 of 2562 PageID #:
                                   13956
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1086 of 2562 PageID #:
                                   13957
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1087 of 2562 PageID #:
                                   13958
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1088 of 2562 PageID #:
                                   13959
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1089 of 2562 PageID #:
                                   13960
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1090 of 2562 PageID #:
                                   13961
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1091 of 2562 PageID #:
                                   13962
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1092 of 2562 PageID #:
                                   13963
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1093 of 2562 PageID #:
                                   13964
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1094 of 2562 PageID #:
                                   13965
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1095 of 2562 PageID #:
                                   13966
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1096 of 2562 PageID #:
                                   13967
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1097 of 2562 PageID #:
                                   13968
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1098 of 2562 PageID #:
                                   13969
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1099 of 2562 PageID #:
                                   13970
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1100 of 2562 PageID #:
                                   13971
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1101 of 2562 PageID #:
                                   13972
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1102 of 2562 PageID #:
                                   13973
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1103 of 2562 PageID #:
                                   13974
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1104 of 2562 PageID #:
                                   13975
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1105 of 2562 PageID #:
                                   13976
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1106 of 2562 PageID #:
                                   13977
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1107 of 2562 PageID #:
                                   13978
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1108 of 2562 PageID #:
                                   13979
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1109 of 2562 PageID #:
                                   13980
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1110 of 2562 PageID #:
                                   13981
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1111 of 2562 PageID #:
                                   13982
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1112 of 2562 PageID #:
                                   13983
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1113 of 2562 PageID #:
                                   13984
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1114 of 2562 PageID #:
                                   13985
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1115 of 2562 PageID #:
                                   13986
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1116 of 2562 PageID #:
                                   13987
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1117 of 2562 PageID #:
                                   13988
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1118 of 2562 PageID #:
                                   13989
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1119 of 2562 PageID #:
                                   13990
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1120 of 2562 PageID #:
                                   13991
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1121 of 2562 PageID #:
                                   13992
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1122 of 2562 PageID #:
                                   13993
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1123 of 2562 PageID #:
                                   13994
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1124 of 2562 PageID #:
                                   13995
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1125 of 2562 PageID #:
                                   13996
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1126 of 2562 PageID #:
                                   13997
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1127 of 2562 PageID #:
                                   13998
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1128 of 2562 PageID #:
                                   13999
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1129 of 2562 PageID #:
                                   14000
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1130 of 2562 PageID #:
                                   14001
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1131 of 2562 PageID #:
                                   14002
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1132 of 2562 PageID #:
                                   14003
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1133 of 2562 PageID #:
                                   14004
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1134 of 2562 PageID #:
                                   14005
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1135 of 2562 PageID #:
                                   14006
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1136 of 2562 PageID #:
                                   14007
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1137 of 2562 PageID #:
                                   14008
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1138 of 2562 PageID #:
                                   14009
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1139 of 2562 PageID #:
                                   14010




                       Exhibit H
                   Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1140 of 2562 PageID #:
                                                      14011



U.S. Patent No. 10,452,974
Claim 1                    Exemplary Infringement Evidence1
[1pre] A method            Each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes vehicles with
implemented using a        enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer
computing system that      infringes the ’974 patent. Each of these vehicles practices a method of using a computing system that
includes one or more       includes one or more processor circuits. A fleet of Tesla vehicles alone or together with the Tesla DoJo
processor circuits, the    super computer is also an example of a computing system that practices the claimed method.
method comprising:
                           As a driver drives a Tesla vehicle, the vehicle learns various circumstances (e.g., pedestrians, other
                           vehicles, roads, buildings, bikes, road debris, animals, etc.) as well as driving instructions (e.g.,
                           instructions for effecting speed, steering, breaking, trajectory, etc.) that the driver used to navigate those
                           circumstances. This driving knowledge learned on one Tesla vehicle is transmitted to the Tesla DoJo
                           computer and then distributed to all vehicles in Tesla fleet via over-the-air (OTA) software updates.
                           The fleet, therefore, enables each vehicle in the fleet to autonomously implement driving instructions
                           learned on one or more originating vehicles when similar circumstances are detected by any of the
                           vehicles in Tesla fleet, thereby enabling their autonomous driving.

                               Tesla explains its object detection (e.g., circumstance representation) technology as follows:




1
    These infringement contentions are prepared with publicly available information.
                                                                     1
               Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1141 of 2562 PageID #:
                                                  14012



U.S. Patent No. 10,452,974
                             https://www.youtube.com/watch?v=33K3id2xNAE&t
                             “so object detection is something we care a lot about we’d like to put bounding boxes around say the
                             cars and the objects here because we need to track them and we need to understand how they might
                             move around so again we might ask human annotators to give us some annotations for these and
                             humans might go in and might tell you that ok those patterns over there are cars and bicycles and so on
                             and you can train your neural network on this but if you’re not careful the neural network all will make
                             miss predictions in some cases”




                             https://www.youtube.com/watch?v=33K3id2xNAE&t
                             “so as an example if we stumble by a car like this that has a bike on the back of it then the neural
                             network actually when I joined would actually create two deductions it would create a car deduction
                             and a bicycle deduction and that’s actually kind of correct because I guess both of those objects actually
                             exist but for the purposes of the controller and a planner downstream you really don’t want to deal with
                             the fact that this bicycle can go with the car the truth is that that bike is attached to that car so in terms
                             of like just objects on the road there’s a single object a single car and so what you’d like to do now is
                             you’d like to just potentially annotate lots of those images as this is just a single car so the process that
                             we that we go through internally in the team is that we take this image or a few images that show this
                             pattern and we have a mechanism a machine learning mechanism by which we can ask the fleet to
                             source us examples that look like that and the fleet might respond with images that contains those
                             patterns”




                                                                    2
               Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1142 of 2562 PageID #:
                                                  14013



U.S. Patent No. 10,452,974




                             “so as an example these six images might come from the fleet they all contain bikes on backs of cars
                             and we would go in and we would annotate all those as just a single car and then the the performance of
                             that detector actually improves and the network internally understands that hey when the bike is just
                             attached to the car that’s actually just a single car and it can learn that given enough examples and that’s
                             how we sort of fix that problem … now the fleet doesn’t just respond with bicycles on backs of cars we
                             look for all the thing we look for lots of things all the time.”




                             “so for example we look for boats and the fleet can respond with boats we look for construction sites
                             and the fleet can send us lots of construction sites from across the world we look for even slightly more
                             rare cases”



                                                                   3
               Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1143 of 2562 PageID #:
                                                  14014



U.S. Patent No. 10,452,974




                             “so for example finding debris on the road is pretty important to us so these are examples of images that
                             have streamed to us from the fleet that show tires cones, plastic bags and things like that if we can
                             source these at scale we can annotate them correctly and the neural network will learn how to deal with
                             them in the world”




                             “here’s another example animals of course also a very rare occurrence an event but we wanted the
                             neural network to really understand what’s going on here that these are animals and we want to deal
                             with that correctly”




                                                                  4
               Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1144 of 2562 PageID #:
                                                  14015



U.S. Patent No. 10,452,974




                             “so to summarize the process by which we iterate on neural network predictions looked something like
                             this we start with a seed data set that was potentially sourced at random we annotate that data set and
                             then we train your networks on that data set and put that in the car and then we have mechanisms by
                             which we notice inaccuracies in the car when this detector may be misbehaving”




                             “so for example if we detect that the neural network might be uncertain or if we detect that or if there’s
                             a driver intervention or any of those settings we can create this trigger infrastructure that sends us data
                             of those inaccuracies and so for example if we don’t perform very well on lane line detection on tunnels
                             then we can notice that there’s a problem in tunnels that image would enter our unit tests so we can
                             verify that we’ve actually fixing the problem over time but now what you do is to fix this inaccuracy you

                                                                   5
               Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1145 of 2562 PageID #:
                                                  14016



U.S. Patent No. 10,452,974
                             need to source many more examples that look like that so we asked the fleet to please send us many
                             more tunnels and then we label all those tunnels correctly we incorporate that into the training set and
                             we retrain the network redeploy and iterate the cycle over and over again and




                             “so we refer to this iterative process by which we improve these predictions as the data engine so
                             iteratively deploying something potentially in shadow mode sourcing inaccuracies and incorporating
                             the training set over and over again and we do this basically for all the predictions of these neural
                             networks”

                             As Mr. Musk explained during Tesla AI Day all the human drivers are essentially training the neural
                             net as to what is the correct course of action. See Tesla AI Day 2021 video
                             https://www.youtube.com/watch?v=j0z4FweCy4M at 2:55:29. This is an example of the system being
                             trained with object representations and instructions from a vehicle.

                             As Mr. Karpathy explained during Tesla Autonomy Day 2019 “while you are driving a car what you're
                             actually doing is you are annotating the data because you are steering the wheel. you're telling us how
                             to traverse different environments so what we're looking at here is a some person in the fleet who took a
                             left through an intersection and what we do here is we have the full video of all the cameras and we
                             know that the path that this person took because of the GPS, the inertial measurement unit, the wheel
                             angle, the wheel ticks, so we put all that together and we understand the path that this person took
                             through this environment and then of course we can use this for supervision [e.g., training a CNN
                             through supervised learning] for the network so we just source a lot of this from the fleet, we train a

                                                                  6
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1146 of 2562 PageID #:
                                                     14017



U.S. Patent No. 10,452,974
                             neural network on those trajectories, and then the neural network predicts paths just from that data so
                             really what this is referred to typically is called imitation learning we're taking human trajectories
                             from the real world I'm just trying to imitate how people drive in real worlds and we can also apply
                             the same data engine crank to all of this and make this work.”
                             https://www.youtube.com/watch?v=-b041NXGPZ8 at 1:04:10.

                             In this way, driving knowledge is: (i) learned on a first Tesla vehicle, (ii) transferred to the DoJo super
                             computer where it is synthesized with other driving knowledge, (iii) packaged and sent from the DoJo
                             to the fleet, e.g., the driving knowledge is stored on a memory of a second Tesla vehicle via the fleet
                             over-the-air (OTA) software update, and (iv) accessed on the second Tesla vehicle for its autonomous
                             driving. The second Tesla vehicle can, thereby, implement the driving knowledge learned on the first
                             Tesla vehicle and synthesized on the DoJo.

                             Each of the accused Tesla vehicles (Models 3, S, X, Y, etc.) includes one or more processors (e.g., the
                             full self-driving computer/chip) configured to perform full self-driving.




                             See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 7:11
                             (Tesla full self driving computer) and at 10:22 (Tesla full self driving chip).
[1a] accessing a memory      The processor of the second Tesla vehicle (the claimed “second device”) accesses its memory that
that stores at least a       stores at least a knowledgebase that includes a first circumstance representation (e.g., representation
knowledgebase that           of pedestrians, other vehicles, roads, buildings, etc.) correlated with a first set of driving instructions
includes:                    (e.g., driving instructions for effecting speed, steering, breaking, trajectory, etc.; the claimed “first one
                             or more instruction sets”) for operating a first Tesla vehicle (the claimed “first device”) and a
a first correlation          second circumstance representation (e.g., representation of pedestrians, other vehicles, roads,

                                                                    7
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1147 of 2562 PageID #:
                                                     14018



U.S. Patent No. 10,452,974
including a first          buildings, etc.) correlated with a second set of driving instructions (e.g., driving instructions for
circumstance               effecting speed, steering, breaking, trajectory, etc.; the claimed “second one or more instruction
representation correlated  sets”) for operating a first Tesla vehicle.
with a first one or more
instruction sets for
operating a first device
and

a second correlation
including a second
circumstance
representation correlated
with a second one or more
instruction sets for
operating the first device,

wherein the first
circumstance
representation represents a
first circumstance detected
at least in part by one or     See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:31:58 (example
more sensors of the first      of the claimed “circumstance representation”)
device and the second
circumstance
representation represents a
second circumstance
detected at least in part by
the one or more sensors of
the first device, and

wherein at least a portion
of the first correlation and

                                                                8
                 Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1148 of 2562 PageID #:
                                                    14019



U.S. Patent No. 10,452,974
at least a portion of the
second correlation are
learned in a learning
process that includes
operating the first device
at least partially by a user;




                                See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:32:40-48
                                (combining everything together we can produce these amazing data sets that annotate all of the road
                                texture or the static objects and all of the moving objects [example of the claimed examples of first
                                and second “circumstance representation[s]”])




                                                                    9
               Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1149 of 2562 PageID #:
                                                  14020



U.S. Patent No. 10,452,974




                             See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 2:55:34 (discussing
                             an automatic emergency breaking system). As shown in the clip, each Tesla vehicle has sensors such as
                             cameras, etc. that are used to detect a first circumstance, e.g., a pedestrian in front of the vehicle.




                                                                 10
               Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1150 of 2562 PageID #:
                                                  14021



U.S. Patent No. 10,452,974




                             See also Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 44:00
                             (a stream of videos from eight cameras [the claimed “one or more sensors”] across the vehicle used to
                             make a lane change).

                             As detailed above, the circumstance representations (e.g., a representation of a pedestrian in front the
                             vehicle, representation of surrounding vehicles in a lane change situation, animals or debris in the road,
                             a stop light, a stop sign, etc.) (“wherein the first circumstance representation represents a first
                             circumstance detected at least in part by one or more sensors of the first device and the second
                             circumstance representation represents a second circumstance detected at least in part by the one
                             or more sensors of the first device”)
                             and the corresponding driving instructions (e.g., instructions for applying the breaks so the pedestrian is
                             not hit or so that traffic laws are obeyed, or instructions for turning the wheel to safely change lanes or
                             avoid an animal or debris, etc.) are learned in a process that involves a driver (the claimed “user”)
                             operating the first Tesla vehicle (the claimed “wherein at least a portion of the first correlation and
                             at least a portion of the second correlation are learned in a learning process that includes

                                                                  11
               Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1151 of 2562 PageID #:
                                                  14022



U.S. Patent No. 10,452,974
                             operating the first device at least partially by a user”).




                             See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 1:04:10
                             (while you [the claimed “user”] are driving a car what you’re actually doing is you are annotating the
                             data because you are steering the wheel [e.g., learned instructions] you’re telling us how to traverse
                             different environments so what we’re looking at here is some person in the fleet who took a left through
                             an intersection and what we do here is we have the full video of all the cameras and we know that the
                             path that this person took because of the GPS, the inertial measurement unit, the wheel angle, the wheel
                             ticks, so we put all that together and we understand the path that this person took through this
                             environment [circumstance representation representing the environment correlated with driving
                             instructions on how to traverse the environment]. and then of course we can use this for supervision
                             for the network so we just source a lot of this from the fleet, we train a neural network on those
                             trajectories, and then the neural network predicts paths just from that data. … we’re taking human
                             trajectories from the real world we’re just trying to imitate how people drive in real worlds)

                             See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 2:55:29 (all the

                                                                  12
                Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1152 of 2562 PageID #:
                                                   14023



U.S. Patent No. 10,452,974
                             human drivers are essentially training the neural net as to what is the correct course of action [the
                             claimed driving instructions])




                            See Musk, Karpathy, etc. in Tesla Autonomy Day 2019 video at https://www.youtube.com/watch?v=-
                            b041NXGPZ8 at 1:03:50 (everyone is training the network all the time), 1:30:55 (Tesla system learns
                            from drivers training the system), and 1:52:23 (high level chart clearly showing monitoring and
                            learning from human drivers and implementing autonomous driving based on the learned knowledge).
[1b] generating or          The processor of the second Tesla vehicle (the claimed “second device”) generates a third
receiving a third           circumstance representation that represents a current circumstance (e.g., pedestrians, other vehicles,
circumstance                roads, buildings, animals, debris, etc.) detected at least in part by its cameras (the claimed “one or
representation, wherein the more sensors of a second device”).
third circumstance
representation represents a For instance, when the system is deployed to the fleet, a second Tesla vehicle (the claimed “second
third circumstance          device”) generates a third circumstance representation (e.g., representation of a different pedestrian

                                                                13
                 Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1153 of 2562 PageID #:
                                                    14024



U.S. Patent No. 10,452,974
detected at least in part by in front the vehicle, representation of different surrounding vehicles in a lane change situation,
the one or more sensors of representation of a different intersection in a left turn situation, etc.) that is detected by the second Tesla
the first device or at least vehicle’s sensors (e.g. cameras). The third circumstance representation is generated so it can be
in part by one or more       compared with previously learned circumstance representations (the claimed “first circumstance
sensors of a second          representation” or “second circumstance representation”), and if a similar match (the claimed “at
device;                      least partial match” in claim element 1c) is found, the correlated driving instructions (the claimed
                             “first one or more instruction sets” or “second one or more instruction sets” in claim element 1a)
                             can be used for autonomous driving.

                              Analogous evidence as for first and second circumstance representations and “one or more
                              sensors” recited in claim element 1a applies to “third circumstance representation” and “one or
                              more sensors” here (e.g., information detected by the second car’s sensors), and it is not duplicated to
                              save space. See claim element 1c.

                              As explained during the 2021 AI day, Tesla said it “discovered that we don’t just want to detect cars,
                              we want to do a large number of tasks. So for example, we want to do traffic light recognition and
                              detection, a lane prediction and so on. So very quickly, we conversioned this kind of architectural
                              layout, where there’s a common shared backbone, and then branches off into a number of heads. So we
                              call these therefore Hydra Nets. And these are the heads of the Hydra.”

                              https://elon-musk-interviews.com/2021/08/31/tesla-ai-day-the-presentation-i/




                                                                    14
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1154 of 2562 PageID #:
                                                     14025



U.S. Patent No. 10,452,974




                               https://elon-musk-interviews.com/2021/08/31/tesla-ai-day-the-presentation-i/
[1c] anticipating the first    The processor of the second Tesla vehicle (the claimed “second device”) anticipates a set of driving
one or more instruction        instructions (e.g., instructions for applying the breaks so the pedestrian is not hit, instructions for
sets for operating the first   turning the wheel to safely change lanes or to avoid an animal or debris, instructions for turning left in
device learned in the          an intersection, etc.; the claimed “first one or more instruction sets”) based on similarity (the
learning process based on      claimed “at least partial match”) between the first circumstance representation (e.g., a
at least partial match         representation of a pedestrian in front the vehicle, a representation of surrounding vehicles in a lane
between the third              change situation, a representation of an animal or debris, representation of an intersection in a left turn

                                                                    15
                 Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1155 of 2562 PageID #:
                                                    14026



U.S. Patent No. 10,452,974
circumstance                 situation, etc. as previously learned on the first Tesla vehicle) and a third circumstance
representation and the first representation (e.g., a representation of a pedestrian in front the vehicle, a representation of
circumstance                 surrounding vehicles in a lane change situation, a representation of an animal or debris, representation
representation; and          of an intersection in a left turn situation, etc. as currently detected by the second Tesla vehicle).
                             Therefore, Tesla vehicles anticipate previously learned driving instructions based on similarity between
                             the currently generated circumstance representation and previously learned circumstance
                             representations.




                             See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:15:26 (let’s see
                             an example of how the search [e.g., search for previously learned driving instructions for effecting
                             a trajectory correlated with a previously learned circumstance representation that at least
                             partially matches the incoming circumstance representation] operates. so here we’re trying to do a
                             lane change. in this case the car needs to do two back to back lane changes to make the left turn up
                             ahead. for this, the car searches over different maneuvers. so the first one it searches is a lane change
                             that’s close by but the car breaks pretty harshly so it’s pretty uncomfortable. the next maneuver it tries

                                                                  16
                 Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1156 of 2562 PageID #:
                                                    14027



U.S. Patent No. 10,452,974
                               does the lane change a bit late so it speeds up, goes beyond the other car, goes in front of the other cars,
                               and find it at the lane change but now it risks missing the left turn. we do thousands of such searches in
                               a very short time span). See also id. at 2:32:42 (similarly, for planning, we need to bake in a search
                               [e.g., search for previously learned driving instructions for effecting a trajectory correlated with a
                               previously learned circumstance representation that at least partially matches the incoming
                               circumstance representation] and optimization into the planning, into the network architecture, and
                               once we do that we should be able to do planning very quickly).
[1d] at least in response to   The processor of the second Tesla vehicle (the claimed “second device”) executes, at least in response
the anticipating, executing    to the anticipating (claim element 1d), the previously learned set of driving instructions (the claimed
the first one or more          “first one or more instruction sets for operating the first device”) so that the second vehicle (the
instruction      sets    for   claimed “second device”) can drive autonomously based on the driving instructions learned on the first
operating the first device     Tesla vehicle (the claimed “first device”).
learned in the learning
process, wherein the first     For instance, memory of the second Tesla vehicle stores a first circumstance representation (e.g.,
device or the second           representation of a pedestrian in front the vehicle, representation of surrounding vehicles in a lane
device        autonomously     change situation, representation of an intersection in a left turn situation, etc.) correlated with a set of
performs one or more           driving instructions (e.g., instructions for applying the breaks so the pedestrian is not hit, instructions
operations defined by the      for turning the wheel to safely change lanes, instructions for turning left in an intersection, etc.; the
first    one     or    more    claimed “first one or more instruction sets”) that have previously been learned on a first Tesla
instruction      sets    for   vehicle (the claimed “first device”) and have been transferred to the second Tesla vehicle (the
operating the first device     claimed “second device”) via the fleet over-the-air (OTA) software update. In response to determining
learned in the learning        that the incoming circumstance representation (e.g., representation of a pedestrian currently in front the
process.                       vehicle, representation of currently surrounding vehicles in a lane change situation, representation of a
                               current intersection in a left turn situation, etc.) is similar to (the claimed “at least partial match”) the
                               previously learned circumstance representation (e.g., representation of a pedestrian previously in front
                               the vehicle, representation of previously surrounding vehicles in a lane change situation, representation
                               of a previous intersection in a left turn situation, etc.), the processor of the second Tesla vehicle (the
                               claimed “second device”) causes the previously learned driving instruction (e.g., instructions for
                               applying the breaks so the pedestrian is not hit, instructions for turning the wheel to safely change lanes,
                               instructions for turning left in an intersection, etc.) to be executed.

                               As stated by Elon Musk on Tesla Autonomy Day 2019, Tesla system distributes driving knowledge

                                                                     17
               Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1157 of 2562 PageID #:
                                                  14028



U.S. Patent No. 10,452,974
                             learned from multiple Tesla vehicles to all Tesla vehicles via over-the-air (OTA) software updates,
                             thereby enabling the second Tesla vehicle (the claimed “second device”) to autonomously implement
                             driving knowledge learned on the first vehicle (the claimed “first device”) as claimed. Mr. Musk and
                             Mr. Karpathy describe this as a crucial competitive advantage of Tesla over other autonomous driving
                             companies. See Musk, Karpathy, etc. in Tesla Autonomy Day 2019 video
                             https://www.youtube.com/watch?v=-b041NXGPZ8 at 38:58 (“I think a very powerful sustainable
                             advantage for us is the fleet”), 44:40 (“it is such a big deal that we have the fleet”), 55:55 (“why is
                             Tesla in such a unique and interesting position to really get all these three essentials right, and the
                             answer to that of course is the fleet”), 122:14 (“it’s extremely difficult to catch up when Tesla has 100
                             times more miles per day than everyone else combined”).




                             See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:23:40 (so this is
                             what a final architecture is going to look like. the vision system is going to crush down the dense video
                             data into a vector space [incoming circumstance representation representing objects in the second
                             Tesla vehicle’s surrounding]. it’s going to be consumed by both an explicit planner and a neural

                                                                  18
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1158 of 2562 PageID #:
                                                     14029



U.S. Patent No. 10,452,974
                               network planner [CNN that stores previously learned circumstance representations correlated
                               with previously learned driving instructions and that searches for at least partially matching
                               circumstance representation and correlated driving instructions] in addition to this, the network
                               planner can also consume intermediate features of the network. Together, this produces a trajectory
                               distribution and it can be optimized end to end both with explicit cost functions and human intervention
                               and other imitation data. this then goes into explicit planning function that does whatever it sees for that
                               and produces the final steering and acceleration commands for the car).
Claim 14                       Exemplary Evidence
14. The method of claim 1,     Each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes vehicles with
wherein the first              enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer
circumstance representation    practices the method of claim 1. Also, the first circumstance representation includes: one or more
includes: one or more object   object representations, or one or more collections of object representations. The second circumstance
representations, or one or
                               representation includes: one or more object representations, or one or more collections of object
more collections of object
                               representations. And the third circumstance representation includes: one or more object representations,
representations, and wherein
the second circumstance        or one or more collections of object representations.
representation includes: one
or more object                 For example, the processor of the Tesla vehicle accesses its memory that stores at least a knowledgebase
representations, or one or     that includes first and second circumstance representations each including one or more object
more collections of object     representations or collections of object representations (e.g., representations of pedestrians, other
representations, and wherein   vehicles, roads, buildings, and collections of such representations, e.g., a bike on the back of a car, for
the third circumstance         example, etc.).
representation includes: one
or more object                 And the third circumstance representation received or generated by the Tesla vehicle includes one or
representations, or one or     more object representations (or one or more collections of object representations) (e.g., (e.g.,
more collections of object     representations of pedestrians, other vehicles, roads, buildings, and collections of such representations,
representations.
                               e.g., a bike on the back of a car, for example, etc.).




                                                                     19
                Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1159 of 2562 PageID #:
                                                   14030



U.S. Patent No. 10,452,974




                             See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:31:58 (example
                             of the claimed “circumstance representations” with multiple object representations).


Claim 18                     Exemplary Infringement Evidence
[18pre] One or more non-     Each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes vehicles with
transitory         machine   enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer
readable media storing       comprises one or more non-transitory machine readable media storing machine readable code that when
machine readable code        executed by one or more processor circuits causes the one or more processor circuits to perform the
that when executed by one    limitations below.
or more processor circuits
causes the one or more       The evidence cited for claim [1pre] above applies to this limitation and is incorporated by reference.
processor     circuits  to
perform at least:
[18a] accessing a memory     Each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes vehicles with
that stores at least a       enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer

                                                                     20
                 Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1160 of 2562 PageID #:
                                                    14031



U.S. Patent No. 10,452,974
knowledgebase            that comprises machine readable code that can accessing a memory that stores at least a knowledgebase
includes: a first correlation that includes: a first correlation including a first circumstance representation correlated with a first one
including        a       first or more instruction sets for operating a first device and a second correlation including a second
circumstance                   circumstance representation correlated with a second one or more instruction sets for operating the first
representation correlated device, wherein the first circumstance representation represents a first circumstance detected at least in
with a first one or more part by one or more sensors of the first device and the second circumstance representation represents a
instruction      sets     for second circumstance detected at least in part by the one or more sensors of the first device, and wherein
operating a first device at least a portion of the first correlation and at least a portion of the second correlation are learned in a
and a second correlation learning process that includes operating the first device at least partially by a user.
including      a      second
circumstance                   The evidence cited for claim [1a] above applies to this limitation and is incorporated by reference.
representation correlated
with a second one or more
instruction      sets     for
operating the first device,
wherein        the       first
circumstance
representation represents a
first circumstance detected
at least in part by one or
more sensors of the first
device and the second
circumstance
representation represents a
second         circumstance
detected at least in part by
the one or more sensors of
the first device, and
wherein at least a portion
of the first correlation and
at least a portion of the
second correlation are

                                                                    21
                 Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1161 of 2562 PageID #:
                                                    14032



U.S. Patent No. 10,452,974
learned in a learning
process      that    includes
operating the first device
at least partially by a user;
[18b]      generating       or Each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes vehicles with
receiving         a      third enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer
circumstance                   comprises machine readable code that can at least in response to the anticipating, causing the first
representation, wherein the device or the second device to perform one or more operations defined by the first one or more
third           circumstance instruction sets for operating the first device learned in the learning process at least by causing the one
representation represents a or more processor circuits or another one or more processor circuits to execute the first one or more
third           circumstance instruction sets for operating the first device learned in the learning process.
detected at least in part by
the one or more sensors of The evidence cited for claim [1b] above applies to this limitation and is incorporated by reference.
the first device or at least
in part by one or more
sensors of a second
device;
[18c] anticipating the first Each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes vehicles with
one or more instruction enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer
sets for operating the first comprises machine readable code that can anticipate the first one or more instruction sets for operating
device learned in the the first device learned in the learning process based on at least partial match between the third
learning process based on circumstance representation and the first circumstance representation.
at least partial match
between         the      third The evidence cited for claim [1c] above applies to this limitation and is incorporated by reference.
circumstance
representation and the first
circumstance
representation; and
[18d] at least in response Each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes vehicles with
to the anticipating, causing enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer
the first device or the comprises machine readable code that can at least in response to the anticipating, causing the first
second device to perform device or the second device to perform one or more operations defined by the first one or more

                                                                   22
                Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1162 of 2562 PageID #:
                                                   14033



U.S. Patent No. 10,452,974
one or more operations instruction sets for operating the first device learned in the learning process at least by causing the one
defined by the first one or or more processor circuits or another one or more processor circuits to execute the first one or more
more instruction sets for instruction sets for operating the first device learned in the learning process.
operating the first device
learned in the learning The evidence cited for claim [1d] above applies to this limitation and is incorporated by reference.
process at least by causing
the one or more processor
circuits or another one or
more processor circuits to
execute the first one or
more instruction sets for
operating the first device
learned in the learning
process.




                                                                23
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1163 of 2562 PageID #:
                                   14034




                        Exhibit I
                   Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1164 of 2562 PageID #:
                                                      14035



U.S. Patent No. 11,238,344
Claim 1                    Exemplary Infringement Evidence1
[1pre]      A      system Each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes vehicles with
comprising:                enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer
                           infringes the ’344 patent. Each of these vehicles is an example of a system that includes a processor,
                           memory, etc. The Tesla fleet includes over a million of such customer vehicles. A fleet of Tesla
                           vehicles alone or together with the Tesla DoJo super computer is also an example of a covered system.

                               As a driver drives a Tesla vehicle, the vehicle learns various circumstances (e.g., pedestrians, other
                               vehicles, roads, buildings, bikes, road debris, animals, etc.) as well as driving instructions (e.g.,
                               instructions for effecting speed, steering, breaking, trajectory, etc.) that the driver used to navigate those
                               circumstances. This driving knowledge learned on one Tesla vehicle is transmitted to the Tesla DoJo
                               computer and then distributed to all vehicles in Tesla fleet via over-the-air (OTA) software updates.
                               The fleet, therefore, enables each vehicle in the fleet to autonomously implement driving instructions
                               learned on one or more originating vehicles when similar circumstances are detected by any of the
                               vehicles in Tesla fleet, thereby enabling their autonomous driving.

                               Tesla explains its object detection (e.g., circumstance representation) technology as follows:




1
    These infringement contentions are prepared with publicly available information.
                                                                      1
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1165 of 2562 PageID #:
                                   14036



         https://www.youtube.com/watch?v=33K3id2xNAE&t
         “so object detection is something we care a lot about we’d like to put bounding boxes around say the
         cars and the objects here because we need to track them and we need to understand how they might
         move around so again we might ask human annotators to give us some annotations for these and
         humans might go in and might tell you that ok those patterns over there are cars and bicycles and so on
         and you can train your neural network on this but if you’re not careful the neural network all will make
         miss predictions in some cases”




         https://www.youtube.com/watch?v=33K3id2xNAE&t
         “so as an example if we stumble by a car like this that has a bike on the back of it then the neural
         network actually when I joined would actually create two deductions it would create a car deduction
         and a bicycle deduction and that’s actually kind of correct because I guess both of those objects actually
         exist but for the purposes of the controller and a planner downstream you really don’t want to deal with
         the fact that this bicycle can go with the car the truth is that that bike is attached to that car so in terms
         of like just objects on the road there’s a single object a single car and so what you’d like to do now is
         you’d like to just potentially annotate lots of those images as this is just a single car so the process that
         we that we go through internally in the team is that we take this image or a few images that show this
         pattern and we have a mechanism a machine learning mechanism by which we can ask the fleet to
         source us examples that look like that and the fleet might respond with images that contains those
         patterns”




                                                2
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1166 of 2562 PageID #:
                                   14037




         “so as an example these six images might come from the fleet they all contain bikes on backs of cars
         and we would go in and we would annotate all those as just a single car and then the the performance of
         that detector actually improves and the network internally understands that hey when the bike is just
         attached to the car that’s actually just a single car and it can learn that given enough examples and that’s
         how we sort of fix that problem … now the fleet doesn’t just respond with bicycles on backs of cars we
         look for all the thing we look for lots of things all the time.”




         “so for example we look for boats and the fleet can respond with boats we look for construction sites
         and the fleet can send us lots of construction sites from across the world we look for even slightly more
         rare cases”




                                               3
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1167 of 2562 PageID #:
                                   14038




         “so for example finding debris on the road is pretty important to us so these are examples of images that
         have streamed to us from the fleet that show tires cones, plastic bags and things like that if we can
         source these at scale we can annotate them correctly and the neural network will learn how to deal with
         them in the world”




         “here’s another example animals of course also a very rare occurrence an event but we wanted the
         neural network to really understand what’s going on here that these are animals and we want to deal
         with that correctly”




                                              4
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1168 of 2562 PageID #:
                                   14039




         “so to summarize the process by which we iterate on neural network predictions looked something like
         this we start with a seed data set that was potentially sourced at random we annotate that data set and
         then we train your networks on that data set and put that in the car and then we have mechanisms by
         which we notice inaccuracies in the car when this detector may be misbehaving”




         “so for example if we detect that the neural network might be uncertain or if we detect that or if there’s
         a driver intervention or any of those settings we can create this trigger infrastructure that sends us data
         of those inaccuracies and so for example if we don’t perform very well on lane line detection on tunnels
         then we can notice that there’s a problem in tunnels that image would enter our unit tests so we can
         verify that we’ve actually fixing the problem over time but now what you do is to fix this inaccuracy you
         need to source many more examples that look like that so we asked the fleet to please send us many

                                               5
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1169 of 2562 PageID #:
                                   14040



         more tunnels and then we label all those tunnels correctly we incorporate that into the training set and
         we retrain the network redeploy and iterate the cycle over and over again and




         “so we refer to this iterative process by which we improve these predictions as the data engine so
         iteratively deploying something potentially in shadow mode sourcing inaccuracies and incorporating
         the training set over and over again and we do this basically for all the predictions of these neural
         networks”

         As Mr. Musk explained during Tesla AI Day all the human drivers are essentially training the neural
         net as to what is the correct course of action. See Tesla AI Day 2021 video
         https://www.youtube.com/watch?v=j0z4FweCy4M at 2:55:29. This is an example of the system being
         trained with object representations and instructions from a vehicle.

         As Mr. Karpathy explained during Tesla Autonomy Day 2019 “while you are driving a car what you're
         actually doing is you are annotating the data because you are steering the wheel. you're telling us how
         to traverse different environments so what we're looking at here is a some person in the fleet who took a
         left through an intersection and what we do here is we have the full video of all the cameras and we
         know that the path that this person took because of the GPS, the inertial measurement unit, the wheel
         angle, the wheel ticks, so we put all that together and we understand the path that this person took
         through this environment and then of course we can use this for supervision [e.g., training a CNN
         through supervised learning] for the network so we just source a lot of this from the fleet, we train a
         neural network on those trajectories, and then the neural network predicts paths just from that data so
         really what this is referred to typically is called imitation learning we're taking human trajectories

                                              6
                 Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1170 of 2562 PageID #:
                                                    14041



                            from the real world I'm just trying to imitate how people drive in real worlds and we can also apply
                            the same data engine crank to all of this and make this work.”
                            https://www.youtube.com/watch?v=-b041NXGPZ8 at 1:04:10.

                            In this way, driving knowledge is: (i) learned on a first Tesla vehicle, (ii) transferred to the DoJo super
                            computer where it is synthesized with other driving knowledge, (iii) packaged and sent from the DoJo
                            to the fleet, e.g., the driving knowledge is stored on a memory of a second Tesla vehicle via the fleet
                            over-the-air (OTA) software update, and (iv) accessed on the second Tesla vehicle for its autonomous
                            driving. The second Tesla vehicle can, thereby, implement the driving knowledge learned on the first
                            Tesla vehicle and synthesized on the DoJo.
[1a] one or more            Each of the accused Tesla vehicles (Models 3, S, X, Y, etc.) includes one or more processors (e.g., the
processors configured to    full self-driving computer/chip) configured to perform full self-driving.
perform at least:




                            See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 7:11
                            (Tesla full self driving computer) and at 10:22 (Tesla full self driving chip).
[1b] accessing a memory     The processor of the second Tesla vehicle (the claimed “second device”) accesses its memory that
that stores at least a      stores at least a knowledgebase that includes a first circumstance representation (e.g., representation
knowledgebase that          of pedestrians, other vehicles, roads, buildings, etc.) correlated with a set of driving instructions (e.g.,
includes a first            driving instructions for effecting speed, steering, breaking, trajectory, etc.; the claimed “first one or
circumstance                more instruction sets”) for operating a first Tesla vehicle (the claimed “first device”).
representation correlated
with a first one or more
instruction sets for
operating a first device,



                                                                  7
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1171 of 2562 PageID #:
                                                     14042



wherein the first
circumstance
representation represents a
first circumstance detected
at least in part by one or
more sensors of the first
device, and

wherein at least a portion
of the first circumstance
representation or at least a
portion of the first one or
more instruction sets for
operating the first device
is learned in a learning
process that includes
operating the first device
at least partially by a user;   See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:31:58 (example
                                of the claimed “circumstance representation”)




                                                                8
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1172 of 2562 PageID #:
                                   14043




         See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:32:40-48
         (combining everything together we can produce these amazing data sets that annotate all of the road
         texture or the static objects and all of the moving objects [example of the claimed “circumstance
         representation”])




                                            9
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1173 of 2562 PageID #:
                                   14044




         See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 2:55:34 (discussing
         an automatic emergency breaking system). As shown in the clip, each Tesla vehicle has sensors such as
         cameras, etc. that are used to detect a first circumstance, e.g., a pedestrian in front of the vehicle. The
         first circumstance representation, therefore, represents a circumstance such as a person in front of the
         vehicle (the claimed “wherein the first circumstance representation represents a first
         circumstance detected at least in part by one or more sensors of the first device”).




                                              10
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1174 of 2562 PageID #:
                                   14045




         See also Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 44:00
         (a stream of videos from eight cameras [the claimed “one or more sensors”] across the vehicle used to
         make a lane change).

         As detailed above, the first circumstance representation (e.g., a representation of a pedestrian in front
         the vehicle, representation of surrounding vehicles in a lane change situation, animals or debris in the
         road, a stop light, a stop sign, etc.) and the corresponding driving instructions (e.g., instructions for
         applying the breaks so the pedestrian is not hit or so that traffic laws are obeyed, or instructions for
         turning the wheel to safely change lanes or avoid an animal or debris, etc.) are learned in a process that
         involves a driver (the claimed “user”) operating the first Tesla vehicle (the claimed “wherein at least
         a portion of the first circumstance representation or at least a portion of the first one or more
         instruction sets for operating the first device is learned in a learning process that includes
         operating the first device at least partially by a user”).




                                              11
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1175 of 2562 PageID #:
                                   14046




         See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 1:04:10
         (while you [the claimed “user”] are driving a car what you’re actually doing is you are annotating the
         data because you are steering the wheel [e.g., learned instruction] you’re telling us how to traverse
         different environments so what we’re looking at here is some person in the fleet who took a left through
         an intersection and what we do here is we have the full video of all the cameras and we know that the
         path that this person took because of the GPS, the inertial measurement unit, the wheel angle, the wheel
         ticks, so we put all that together and we understand the path that this person took through this
         environment [circumstance representation representing the environment correlated with driving
         instructions on how to traverse the environment]. and then of course we can use this for supervision
         for the network so we just source a lot of this from the fleet, we train a neural network on those
         trajectories, and then the neural network predicts paths just from that data. … we’re taking human
         trajectories from the real world we’re just trying to imitate how people drive in real worlds)

         See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 2:55:29 (all the
         human drivers are essentially training the neural net as to what is the correct course of action [the
         claimed driving instructions])

                                             12
                 Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1176 of 2562 PageID #:
                                                    14047




                              See Musk, Karpathy, etc. in Tesla Autonomy Day 2019 video at https://www.youtube.com/watch?v=-
                              b041NXGPZ8 at 1:03:50 (everyone is training the network all the time), 1:30:55 (Tesla system learns
                              from drivers training the system), and 1:52:23 (high level chart clearly showing monitoring and
                              learning from human drivers and implementing autonomous driving based on the learned knowledge).
[1c] generating or            The processor of the second Tesla vehicle (the claimed “second device”) generates a second
receiving a second            circumstance representation that represents a current circumstance (e.g., pedestrians, other vehicles,
circumstance                  roads, buildings, animals, debris, etc.) detected at least in part by its cameras (the claimed “one or
representation, wherein the more sensors of a second device”).
second circumstance
representation represents a For instance, when the system is deployed to the fleet, a second Tesla vehicle (the claimed “second
second circumstance           device”) generates a second circumstance representation (e.g., representation of a different
detected at least in part by: pedestrian in front the vehicle, representation of different surrounding vehicles in a lane change
the one or more sensors of situation, representation of a different intersection in a left turn situation, etc.) that is detected by the
the first device, or one or   second Tesla vehicle’s sensors (e.g. cameras). The second circumstance representation is generated

                                                                   13
               Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1177 of 2562 PageID #:
                                                  14048



more sensors of a second   so it can be compared with previously learned circumstance representations (the claimed “first
device;                    circumstance representation”), and if a similar match (the claimed “at least partial match” in claim
                           element 1d) is found, the correlated driving instructions (the claimed “first one or more instruction
                           sets” in claim element 1b) can be used for autonomous driving.

                           Analogous evidence as for “first circumstance representation” and “one or more sensors” recited in
                           claim element 1b applies to “second circumstance representation” and “one or more sensors” here
                           (e.g., information detected by the second car’s sensors), and it is not duplicated to save space. See claim
                           element 1b.

                           As explained during the 2021 AI day, Tesla said it “discovered that we don’t just want to detect cars,
                           we want to do a large number of tasks. So for example, we want to do traffic light recognition and
                           detection, a lane prediction and so on. So very quickly, we conversioned this kind of architectural
                           layout, where there’s a common shared backbone, and then branches off into a number of heads. So we
                           call these therefore Hydra Nets. And these are the heads of the Hydra.”

                           https://elon-musk-interviews.com/2021/08/31/tesla-ai-day-the-presentation-i/




                                                                14
                 Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1178 of 2562 PageID #:
                                                    14049




                               https://elon-musk-interviews.com/2021/08/31/tesla-ai-day-the-presentation-i/
[1d] anticipating the first    The processor of the second Tesla vehicle (the claimed “second device”) anticipates a set of driving
one or more instruction        instructions (e.g., instructions for applying the breaks so the pedestrian is not hit, instructions for
sets for operating the first   turning the wheel to safely change lanes or to avoid an animal or debris, instructions for turning left in
device based on at least       an intersection, etc.; the claimed “first one or more instruction sets”) based on similarity (the
partial match between the      claimed “at least partial match”) between the first circumstance representation (e.g., a
second        circumstance     representation of a pedestrian in front the vehicle, a representation of surrounding vehicles in a lane
representation and the first   change situation, a representation of an animal or debris, representation of an intersection in a left turn
circumstance                   situation, etc. as previously learned on the first Tesla vehicle) and a second circumstance

                                                                    15
                 Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1179 of 2562 PageID #:
                                                    14050



representation; and       representation (e.g., a representation of a pedestrian in front the vehicle, a representation of
                          surrounding vehicles in a lane change situation, a representation of an animal or debris, representation
                          of an intersection in a left turn situation, etc. as currently detected by the second Tesla vehicle).
                          Therefore, Tesla vehicles anticipate previously learned driving instructions based on similarity between
                          the currently generated circumstance representation and previously learned circumstance
                          representations.




                          See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:15:26 (let’s see
                          an example of how the search [e.g., search for previously learned driving instructions for effecting
                          a trajectory correlated with a previously learned circumstance representation that at least
                          partially matches the incoming circumstance representation] operates. so here we’re trying to do a
                          lane change. in this case the car needs to do two back to back lane changes to make the left turn up
                          ahead. for this, the car searches over different maneuvers. so the first one it searches is a lane change
                          that’s close by but the car breaks pretty harshly so it’s pretty uncomfortable. the next maneuver it tries
                          does the lane change a bit late so it speeds up, goes beyond the other car, goes in front of the other cars,
                          and find it at the lane change but now it risks missing the left turn. we do thousands of such searches in

                                                                16
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1180 of 2562 PageID #:
                                                     14051



                                a very short time span). See also id. at 2:32:42 (similarly, for planning, we need to bake in a search
                                [e.g., search for previously learned driving instructions for effecting a trajectory correlated with a
                                previously learned circumstance representation that at least partially matches the incoming
                                circumstance representation] and optimization into the planning, into the network architecture, and
                                once we do that we should be able to do planning very quickly).
[1e] at least in response to    The processor of the second Tesla vehicle (the claimed “second device”) executes, at least in response
the anticipating, executing     to the anticipating (claim element 1d), the previously learned set of driving instructions (the claimed
the first one or more           “first one or more instruction sets for operating the first device”) so that the second vehicle (the
instruction      sets     for   claimed “second device”) can drive autonomously based on the driving instructions learned on the first
operating the first device,     Tesla vehicle (the claimed “first device”).
wherein the first device or
the      second       device    For instance, memory of the second Tesla vehicle stores a first circumstance representation (e.g.,
autonomously        performs    representation of a pedestrian in front the vehicle, representation of surrounding vehicles in a lane
one or more operations          change situation, representation of an intersection in a left turn situation, etc.) correlated with a set of
defined by the first one or     driving instructions (e.g., instructions for applying the breaks so the pedestrian is not hit, instructions
more instruction sets for       for turning the wheel to safely change lanes, instructions for turning left in an intersection, etc.; the
operating the first device.     claimed “first one or more instruction sets”) that have previously been learned on a first Tesla
                                vehicle (the claimed “first device”) and have been transferred to the second Tesla vehicle (the
                                claimed “second device”) via the fleet over-the-air (OTA) software update. In response to determining
                                that the incoming circumstance representation (e.g., representation of a pedestrian currently in front the
                                vehicle, representation of currently surrounding vehicles in a lane change situation, representation of a
                                current intersection in a left turn situation, etc.) is similar to (the claimed “at least partial match”) the
                                previously learned circumstance representation (e.g., representation of a pedestrian previously in front
                                the vehicle, representation of previously surrounding vehicles in a lane change situation, representation
                                of a previous intersection in a left turn situation, etc.), the processor of the second Tesla vehicle (the
                                claimed “second device”) causes the previously learned driving instruction (e.g., instructions for
                                applying the breaks so the pedestrian is not hit, instructions for turning the wheel to safely change lanes,
                                instructions for turning left in an intersection, etc.) to be executed.

                                As stated by Elon Musk on Tesla Autonomy Day 2019, Tesla system distributes driving knowledge
                                learned from multiple Tesla vehicles to all Tesla vehicles via over-the-air (OTA) software updates,
                                thereby enabling the second Tesla vehicle (the claimed “second device”) to autonomously implement
                                driving knowledge learned on the first vehicle (the claimed “first device”) as claimed. Mr. Musk and

                                                                      17
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1181 of 2562 PageID #:
                                   14052



         Mr. Karpathy describe this as a crucial competitive advantage of Tesla over other autonomous driving
         companies. See Musk, Karpathy, etc. in Tesla Autonomy Day 2019 video
         https://www.youtube.com/watch?v=-b041NXGPZ8 at 38:58 (“I think a very powerful sustainable
         advantage for us is the fleet”), 44:40 (“it is such a big deal that we have the fleet”), 55:55 (“why is
         Tesla in such a unique and interesting position to really get all these three essentials right, and the
         answer to that of course is the fleet”), 122:14 (“it’s extremely difficult to catch up when Tesla has 100
         times more miles per day than everyone else combined”).




         See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:23:40 (so this is
         what a final architecture is going to look like. the vision system is going to crush down the dense video
         data into a vector space [incoming circumstance representation representing objects in the second
         Tesla vehicle’s surrounding]. it’s going to be consumed by both an explicit planner and a neural
         network planner [CNN that stores previously learned circumstance representations correlated
         with previously learned driving instructions and that searches for at least partially matching
         circumstance representation and correlated driving instructions] in addition to this, the network
         planner can also consume intermediate features of the network. Together, this produces a trajectory


                                              18
                Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1182 of 2562 PageID #:
                                                   14053



                            distribution and it can be optimized end to end both with explicit cost functions and human intervention
                            and other imitation data. this then goes into explicit planning function that does whatever it sees for that
                            and produces the final steering and acceleration commands for the car).
Claim 3                     Exemplary Infringement Evidence
3. The system of claim 1,   Each autonomous Tesla vehicle with Software Version 9.0 and beyond (this includes vehicles with
wherein the first           enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super computer
circumstance                includes the system of claim 1. Also, the first circumstance representation includes a first one or more
representation includes a   object representations, and wherein the second circumstance representation includes a second one or
first one or more object    more object representations.
representations, and
wherein the second          For example, the processor of the Tesla vehicle accesses its memory that stores at least a knowledgebase
circumstance                that includes a first circumstance representation including one or more object representations (e.g.,
representation includes a   representation of pedestrians, other vehicles, roads, buildings, etc.).
second one or more object
representations.            And the second circumstance representation received or generated by the Tesla vehicle includes a
                            second one or more object representations (e.g., representation of pedestrians, other vehicles, roads,
                            buildings, etc.).




                                                                  19
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1183 of 2562 PageID #:
                                   14054




         See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:31:58 (example
         of the claimed “circumstance representations” with multiple object representations).




                                         20
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1184 of 2562 PageID #:
                                   14055




                        Exhibit J
                   Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1185 of 2562 PageID #:
                                                      14056



U.S. Patent No. 11,055,583

Claim 4                    Exemplary Infringement Evidence1
[1pre] A system            To the extent the preamble is limiting, each autonomous Tesla vehicle with Software Version 9.0 and beyond (this
comprising:                includes vehicles with enhanced autopilot and/or full self-driving (FSD)) alone or together with the Dojo super
                           computer meet the limitations of the claimed system.

                           As a driver drives a Tesla vehicle, the vehicle learns digital pictures depicting the vehicle’s surrounding
                           (i.e. pedestrians, other vehicles, roads, buildings, etc.) as well as driving instructions (i.e. instructions for
                           effecting speed, steering, breaking, trajectory, etc.) that the driver used to navigate that surrounding. This
                           driving knowledge learned on one Tesla vehicle is then distributed to all vehicles in Tesla fleet via over-
                           the-air (OTA) software updates. The fleet, therefore, enables each vehicle in the fleet to autonomously
                           implement driving instructions learned on one or more originating vehicles when digital pictures of a
                           similar surrounding are captured by any of the vehicles in Tesla fleet, thereby enabling their autonomous
                           driving.

                           The discussion and evidence cited in claims [1a-d] are incorporated herein.

[1a] one or more       Each of the accused Tesla vehicles (Models 3, S, X, Y, etc.) includes one or more processors (e.g., the full
processors; and one or self-driving chip) programmed by code stored on one or more non-transitory machine readable media (i.e.
more non-transitory    RAM memory, SSD drive, flash memory, hard drive, etc.) all part of Tesla full self-driving computer.
machine readable
media storing machine
readable code that,
when executed by the
one or more
processors, causes the
one or more processors
to perform at least:


                           See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 7:11 (Tesla

1
    These infringement contentions are prepared with publicly available information.
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1186 of 2562 PageID #:
                                                     14057



                          full self driving computer) and at 10:22 (Tesla full self driving chip).




                          See https://www.tesla.com/support/autopilot

[1b] receiving or         Each autonomous Tesla vehicle is an example of a system including one or more processors that receiving
generating a first one    or generating a first one or more digital pictures, wherein the first one or more digital pictures depict at
or more digital           least a portion of a first device's surrounding.
pictures, wherein the
first one or more         For example, as a driver drives a first Tesla vehicle (the claimed “first device”), the processor of the first
digital pictures depict   Tesla vehicle receives from the vehicle’s cameras the first one or more digital pictures depicting the
at least a portion of a   vehicle’s surrounding (i.e. pedestrians, other vehicles, roads, buildings, etc.).
first device's
surrounding;
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1187 of 2562 PageID #:
                                   14058




      See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 44:00 (a
      stream of videos from eight cameras across the vehicle used to make a lane change).

      Further, the Model Y (an accused vehicle) has multiple cameras to depict a portion of the vehicle’s
      surrounding.
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1188 of 2562 PageID #:
                                   14059




      See https://www.tesla.com/ownersmanual/modely/en_us/GUID-EDA77281-42DC-4618-98A9-
      CC62378E0EC2.html
                 Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1189 of 2562 PageID #:
                                                    14060



[1c] receiving or        Each autonomous Tesla vehicle is an example of a system including one or more processors can receiv[e]
generating a first one   or generat[e] a first one or more instruction sets for operating the first device.
or more instruction
sets for operating the   For example, as the driver drives the first Tesla vehicle (the claimed “first device”), the processor of the
first device; and        first Tesla vehicle receives a set of driving instructions (i.e. driving instructions for effecting speed,
                         steering, breaking, trajectory, etc.; the claimed “first one or more instruction sets”) that the driver used
                         to navigate the vehicle’s surrounding.




                         See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 1:04:10
                         (“While you are driving a car [the claimed “first device”] what you're actually doing is you are annotating
                         the data because you are steering the wheel. You're telling us how to traverse different environments so
                         what we're looking at here is some person in the fleet who took a left through an intersection and what we
                         do here is we have the full video of all the cameras and we know that the path that this person took because
                         of the GPS, the inertial measurement unit, the wheel angle, the wheel ticks, so we put all that together and
                         we understand the path that this person took through this environment [the claimed receiving of
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1190 of 2562 PageID #:
                                                     14061



                          instructions]. And then of course we can use this for supervision for the network so we just source a lot of
                          this from the fleet, we train a neural network on those trajectories, and then the neural network predicts
                          paths just from that data. … we're taking human trajectories from the real world we’re just trying to imitate
                          how people drive in real worlds.”)

                          See also Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 2:55:29 (all the
                          human drivers are essentially training the neural net as to what is the correct course of action [the claimed
                          driving instructions])

[1d] learning the first   Each autonomous Tesla vehicle is an example of a system including one or more processors can learn[] the
one or more digital       first one or more digital pictures correlated with the first one or more instruction sets for operating the first
pictures correlated       device.
with the first one or
more instruction sets     For example, as the driver drives the first Tesla vehicle (the claimed “first device”), the processor of the
for operating the first   first Tesla vehicle learns (including storing what is learned in memory) the first one or more digital pictures
device.                   depicting the vehicle’s surrounding (i.e. pedestrian in front the vehicle, surrounding vehicles in a lane
                          change situation, intersection in a left turn situation, etc.) and a set of driving instructions (i.e. instructions
                          for applying the brakes so the pedestrian is not hit, instructions for turning the wheel to safely change lanes,
                          instructions for turning left in an intersection, etc.) that the driver used to navigate the vehicle’s surrounding
                          (the claimed “learning the first one or more digital pictures correlated with the first one or more
                          instruction sets for operating the first device”).
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1191 of 2562 PageID #:
                                   14062




      See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 1:03:50
      (Musk: “Everyone is training the network all the time”), 1:30:55; 1:52:23.
                Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1192 of 2562 PageID #:
                                                   14063




                       See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at 1:04:10
                       (“While you are driving a car [the claimed “first device”] what you’re actually doing is you are annotating
                       the data because you are steering the wheel [the claimed “learning the first one or more digital pictures
                       correlated with the first one or more instruction sets for operating the first device”] you’re telling us
                       how to traverse different environments so what we’re looking at here is some person in the fleet who took a
                       left through an intersection and what we do here is we have the full video of all the cameras and we know
                       that the path that this person took because of the GPS, the inertial measurement unit, the wheel angle, the
                       wheel ticks, so we put all that together and we understand the path that this person took through this
                       environment. And then of course we can use this for supervision for the network so we just source a lot of
                       this from the fleet, we train a neural network on those trajectories, and then the neural network predicts
                       paths just from that data. … we’re taking human trajectories from the real world we’re just trying to imitate
                       how people drive in real worlds”).

[4pre] the system of   Each autonomous Tesla vehicle is an example of a system that includes a processor, memory, etc. Tesla
claim 1, wherein the   fleet includes over a million of such customer vehicles. A fleet of Tesla vehicles is also an example of a
machine readable       covered system.
                 Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1193 of 2562 PageID #:
                                                    14064



code, when executed
by the one or more       The discussion and evidence cited in claims [1a-d] and [4a-c] are incorporated herein
processors, causes the
one or more processors
to further perform at
least:
[4a] receiving or        Each autonomous Tesla vehicle is an example of a system including processors that can receive or generate
generating a new one     a new one or more digital pictures.
or more digital
pictures;                For example, the processor of the second Tesla vehicle (the claimed “second device”) receives from the
                         vehicle’s cameras the new one or more digital pictures depicting the vehicle’s current surrounding (i.e.
                         pedestrians, other vehicles, roads, buildings, etc.).

                         The discussion and evidence cited in claims [1b] is incorporated herein.

[4b] determining the     Each autonomous Tesla vehicle is an example of a system including processors that can determine the first
first one or more        one or more instruction sets for operating the first device based on at least partial match between the new
instruction sets for     one or more digital pictures and the first one or more digital pictures.
operating the first
device based on at       For example, the processor of the second Tesla vehicle (the claimed “second device”) determines a set of
least partial match      driving instructions (i.e. instructions for applying the breaks so the pedestrian is not hit, instructions for
between the new one      turning the wheel to safely change lanes, instructions for turning left in an intersection, etc.; the claimed
or more digital          “first one or more instruction sets”) based on similarity (the claimed “at least partial match”) between
pictures and the first   the first one or more digital pictures depicting the first vehicle’s surrounding (i.e. pedestrian in front the
one or more digital      vehicle, surrounding vehicles in a lane change situation, intersection in a left turn situation, etc. as
pictures; and            previously learned on the first Tesla vehicle) and the new one or more digital pictures depicting the
                         second vehicle’s surrounding (i.e. different pedestrian in front the vehicle, different surrounding vehicles in
                         a lane change situation, different intersection in a left turn situation, etc. as currently captured by the
                         cameras of the second Tesla vehicle). Therefore, Tesla vehicles determine previously learned driving
                         instructions based on similarity between the currently received digital pictures and previously learned
                         digital pictures.
                   Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1194 of 2562 PageID #:
                                                      14065




                         See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:15:26 (“Let's see an
                         example of how the search [i.e. search for previously learned driving instructions for effecting a
                         trajectory correlated with previously learned digital pictures that at least partially match the
                         incoming digital pictures] operates. So here we're trying to do a lane change. In this case the car needs to
                         do two back to back lane changes to make the left turn up ahead. For this, the car searches over different
                         maneuvers. So the first one it searches is a lane change that's close by but the car breaks pretty harshly so
                         it's pretty uncomfortable. The next maneuver it tries does the lane change a bit late so it speeds up, goes
                         beyond the other car, goes in front of the other cars, and find it at the lane change but now it risks missing
                         the left turn. We do thousands of such searches in a very short time span.”).          See also id. at 2:32:42
                         (“Similarly, for planning, we need to bake in a search [i.e. search for previously learned driving
                         instructions for effecting a trajectory correlated with previously learned digital pictures that at least
                         partially match the incoming digital pictures] and optimization into the planning, into the network
                         architecture, and once we do that we should be able to do planning very quickly”).

[4c] at least in         Each autonomous Tesla vehicle is an example of a system including processors that can at least in response
                Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1195 of 2562 PageID #:
                                                   14066



response to the         to the previous determining, cause the first device or a second device to perform one or more operations
determining, causing    defined by the first one or more instruction sets for operating the first device.
the first device or a
second device to        For example, the processor of the second Tesla vehicle (the claimed “second device”) executes, at least in
perform one or more     response to the determining (claim element 4b), the previously learned set of driving instructions for
operations defined by   operating the first Tesla vehicle (the claimed “first one or more instruction sets for operating the first
the first one or more   device”) so that the second vehicle (the claimed “second device”) can drive autonomously based on the
instruction sets for    driving instructions learned on the first Tesla vehicle (the claimed “first device”).
operating the first
device.                 Further, memory of the second Tesla vehicle stores the first one or more digital pictures depicting the
                        first vehicle’s surrounding (i.e. pedestrian in front the vehicle, surrounding vehicles in a lane change
                        situation, intersection in a left turn situation, etc.) correlated with a set of driving instructions (i.e.
                        instructions for applying the brakes so the pedestrian is not hit, instructions for turning the wheel to safely
                        change lanes, instructions for turning left in an intersection, etc.; the claimed “first one or more
                        instruction sets”) that have previously been learned on the first Tesla vehicle (the claimed “first device”)
                        and have been transferred to the second Tesla vehicle (the claimed “second device”) via the fleet over-the-
                        air (OTA) software update. In response to determining that the incoming new one or more digital pictures
                        are similar to (the claimed “at least partial match”) the previously learned first one or more digital
                        pictures, the processor of the second Tesla vehicle causes the previously learned driving instruction (i.e.
                        instructions for applying the brakes so the pedestrian is not hit, instructions for turning the wheel to safely
                        change lanes, instructions for turning left in an intersection, etc.; the claimed “first one or more
                        instruction sets”) to be executed to cause the second Tesla vehicle (the claimed “second device”) to
                        perform autonomous driving.

                        As stated by Mr. Musk on Tesla Autonomy Day 2019, Tesla system distributes driving knowledge learned
                        from multiple Tesla vehicles to all Tesla vehicles via over-the-air (OTA) software updates, thereby
                        enabling the second Tesla vehicle (the claimed “second device”) to autonomously implement driving
                        knowledge learned on the first vehicle (the claimed “first device”) as claimed. Mr. Musk and Mr.
                        Karpathy describe this as a crucial competitive advantage of Tesla over other autonomous driving
                        companies. See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-b041NXGPZ8 at
                        38:58 (Musk: "I think a very powerful sustainable advantage for us is the fleet"), 44:40 (Karpathy: "it is
                        such a big deal that we have the fleet. . . why it [the fleet] is a key enabling factor"), 55:55 (Karpathy: "why
                        is Tesla in such a unique and interesting position to really get all these three essentials right, and the answer
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1196 of 2562 PageID #:
                                   14067



      to that of course is the fleet"), 122:14 (Musk: "it's extremely difficult to catch up when Tesla has 100 times
      more miles per day than everyone else combined").




      See Tesla AI Day 2021 video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:23:40 (“So this is
      what a final architecture is going to look like. The vision system is going to crush down the dense video
      data into a vector space [incoming digital pictures depicting the second Tesla vehicle’s surrounding].
      It's going to be consumed by both an explicit planner and a neural network planner [CNN that stores
      previously learned digital pictures correlated with previously learned driving instructions and that
      searches for at least partially matching digital pictures and correlated driving instructions]. In
      addition to this, the network planner can also consume intermediate features of the network. Together, this
      produces a trajectory distribution and it can be optimized end to end both with explicit cost functions and
      human intervention and other imitation data. this then goes into explicit planning function that does
      whatever it sees for that and produces the final steering and acceleration commands for the car”).
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1197 of 2562 PageID #:
                                   14068




                Exhibit K
                     Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1198 of 2562 PageID #:
                                                        14069
                                                      EXHIBIT K
                                               AUTONOMOUS DEVICES
                           INFRINGEMENT CONTENTION CHART FOR U.S. PATENT NO. 11,663,474
                                    CHARTED AGAINST TESLA’S MODELS S, 3, X, AND Y

            On August 15, 2023, the Court ordered Tesla to produce its source code and source code documents (collectively “SC files”) in
    their native format. Throughout this litigation and including at the time of service of these preliminary infringement contentions,
    Tesla produced the SC files in adobe pdf, which the Court found to be “inefficient and cumbersome” and incompatible with
    “traditional source code review tools and capabilities.” Despite this finding, Tesla still has not produced the SC files in their native
    format. Tesla also prevented AD lawyers and experts from collaboratively reviewing the SC files, forced AD’s lawyers to destroy
    their working copies of the SC files and insisted on a byzantine framework for even acquiring the SC files. Despite the Court’s ruling
    that AD’s lawyers can have multiple dcopies of the SC files—Tesla has not yet complied with its obligations. As a result, AD
    reserves the right to modify this preliminary chart after Tesla complies with its obligations and AD’s experts have an opportunity to
    review and process Tesla’s production. Tesla also refused to provide complete responses to AD’s interrogatory requests. AD reserves
    the right to modify this preliminary chart based on Tesla’s eventual compliance with its discovery obligations.



U.S. Patent No.            Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
[45pre] A first    The ’474 Accused Products are devices comprising the limitations below.
device comprising:
                   For example, the 474 Accused Products include individual Tesla vehicles (e.g., Tesla’s Models S, 3, X, and Y) as well
                   as a supercomputer/simulator implements the following limitations.




    1
      To the extent that any of the limitations of the asserted claims are not literally infringed as set forth in these contentions, Autonomous
    Devices reserves the right to amend these disclosures to include a theory under the doctrine of equivalents prior to the final contentions.
    2
      The Accused Products for the ’474 Patent (herein the “’474 Accused Products” or “the 474 Accused Products”) comprise at least the
    Tesla Models S, 3, X, and Y (e.g., individual accused Tesla vehicles or a fleet thereof) executing Software Version 9.0 and beyond
    (including vehicles with enhanced autopilot and/or full self-driving (FSD)) alone or together with Tesla’s simulator technology.


                                                                         1
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1199 of 2562 PageID #:
                                                     14070



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  Source: https://www.autoevolution.com/news/tesla-model-s-vs-3-vs-x-vs-y-the-s3xy-performance-drag-race-is-here-
                  147100.html

                  Further, the 474 Accused Products are trained by Tesla using a supercomputer, e.g., the NVIDIA supercomputer and/or
                  the DOJO supercomputer, which simulates driving behavior and issues instructions to control vehicles included in
                  Tesla’s fleet.

                  See, e.g., [CVPR'21 WAD] Keynote - Andrej Karpathy, Tesla, available at
                  https://www.youtube.com/watch?v=g6bOwQdCJrc.




                                                                  2
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1200 of 2562 PageID #:
                                                     14071



U.S. Patent No.         Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                                                               3
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1201 of 2562 PageID #:
                                                     14072



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                   See Tesla AI Day video, available at https://www.youtube.com/watch?v=j0z4FweCy4M&t=3s




                  Elon Musk hints at Tesla's not-so-secret Dojo AI-training supercomputer capacity – Electrek




                                                                   4
                       Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1202 of 2562 PageID #:
                                                          14073



U.S. Patent No.                Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                       https://www.inputmag.com/tech/tesla-showed-off-its-massive-supercomputer-for-self-driving- data-processing


[45a]. a               The ’474 Accused Products are devices further comprising a knowledgebase that includes one or more inputs for
knowledgebase          inputting at least a portion of a circumstance representation, wherein the one or more inputs are correlated with one or
that includes one      more instruction sets for operating a second device.
or more inputs for
inputting at least a   For example, the 474 Accused Products include a knowledgebase based on circumstance representations (or
portion of a           circumstances). To form/generate circumstances, Tesla vehicles, including those vehicles with enhanced autopilot
circumstance           and/or full self-driving (FSD), alone or in combination with the supercomputer/simulator, are equipped with a multitude
representation,        of sensors (see, [45b] below for more info about the sensors included in Tesla vehicles). These sensors capture data
wherein the one or     which is then uploaded as an input to the simulator, e.g., via an internet uplink. Once uploaded/input to the simulator,
more inputs are        the circumstances re correlated with instruction sets which are shared with the fleet, for example, also via an internet
correlated with        connection.
one or more
instruction sets for   At a high level, an example of a circumstance representation may be making a left-hand turn at a particular intersection.
operating a second     One or more object representations may be included within a circumstance representation. Examples of object
device;                representations that may be present within a circumstance representation.




                                                                         5
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1203 of 2562 PageID #:
                                                     14074



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
                  Multiple circumstance representations, each including multiple object representations, may be received or generated by
                  each vehicle included in the Tesla fleet (e.g., recorded by the cameras and/or sensed by ultrasonic/telemetry sensors).
                  These circumstance representations are then added (e.g., uploaded) to the knowledgebase (e.g., the
                  supercomputer/simulator and/or the trained CNN on the Tesla vehilce). The knowledge base can also include the FSD
                  computer installed on the Tesla vehicles.




                  At/around 1:31:58 in Tesla’s AI Day 2021 presentation depicts a circumstance representation (e.g., navigating through a
                  particular intersection) with multiple object representations.


                                                                   6
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1204 of 2562 PageID #:
                                                     14075



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474

                  To further explain the relationship between circumstance representations/circumstances and object representations –

                  Circumstance representations may be learned while drivers drive the accused Tesla vehicles. The ’474 Accused
                  Products also learn driving instructions, such as instructions for effecting the speed, steering, and/or braking of the
                  accused Tesla vehicle being driven based on the actions taken by the driver to navigate those circumstances.

                  This driving knowledge learned by one Tesla vehicle is transmitted to Tesla’s simulator before being distributed to all
                  vehicles in the Tesla fleet via over-the-air (OTA) software updates. Therefore, the fleet enables each accused Tesla
                  vehicle included therein to autonomously implement driving instructions learned on one or more originating vehicles
                  when similar circumstances are detected by any of the vehicles in Tesla’s fleet, thereby enabling Tesla’s autonomous
                  driving capabilities.

                  Further, to effectuate the circumstance representations, a Tesla vehicle detects objects. For example, in the previous
                  analysis of driving behind the car with the bike mounted to it, the car detects the bike as an object. Tesla explains object
                  detection as follows:




                                                                     7
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1205 of 2562 PageID #:
                                                     14076



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  “so object detection is something we care a lot about we’d like to put bounding boxes around say the cars and the
                  objects here because we need to track them and we need to understand how they might
                  move around so again we might ask human annotators to give us some annotations for these and
                  humans might go in and might tell you that ok those patterns over there are cars and bicycles and so on
                  and you can train your neural network on this, but if you’re not careful, the neural network all will make miss
                  predictions in some cases.”




                                                                   8
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1206 of 2562 PageID #:
                                                     14077



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  “so as an example if we stumble by a car like this that has a bike on the back of it then the neural
                  network actually when I joined would actually create two deductions it would create a car deduction
                  and a bicycle deduction and that’s actually kind of correct because I guess both of those objects actually
                  exist but for the purposes of the controller and a planner downstream you really don’t want to deal with
                  the fact that this bicycle can go with the car the truth is that that bike is attached to that car so in terms
                  of like just objects on the road there’s a single object a single car and so what you’d like to do now is
                  you’d like to just potentially annotate lots of those images as this is just a single car so the process that
                  we that we go through internally in the team is that we take this image or a few images that show this
                  pattern and we have a mechanism a machine learning mechanism by which we can ask the fleet to
                  source us examples that look like that and the fleet might respond with images that contains those
                  patterns [emphasis added]”



                                                                      9
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1207 of 2562 PageID #:
                                                     14078



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  “so as an example these six images might come from the fleet they all contain bikes on backs of cars
                  and we would go in and we would annotate all those as just a single car and then the the performance of
                  that detector actually improves and the network internally understands that hey when the bike is just
                  attached to the car that’s actually just a single car and it can learn that given enough examples and that’s
                  how we sort of fix that problem … now the fleet doesn’t just respond with bicycles on backs of cars we
                  look for all the thing we look for lots of things all the time.”




                                                                     10
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1208 of 2562 PageID #:
                                                     14079



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  “so for example we look for boats and the fleet can respond with boats we look for construction sites
                  and the fleet can send us lots of construction sites from across the world we look for even slightly more rare cases.”




                                                                    11
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1209 of 2562 PageID #:
                                                     14080



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  “so for example finding debris on the road is pretty important to us so these are examples of images that
                  have streamed to us from the fleet that show tires cones, plastic bags and things like that if we can
                  source these at scale we can annotate them correctly and the neural network will learn how to deal with them in the
                  world [emphasis added].”




                                                                   12
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1210 of 2562 PageID #:
                                                     14081



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  “here’s another example, animals of course also a very rare occurrence, an event, but we wanted them neural network to
                  really understand what’s going on here…that these are animals and we want to deal with that correctly.”




                                                                  13
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1211 of 2562 PageID #:
                                                     14082



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  “so to summarize the process by which we iterate on neural network predictions looked something like this – we start
                  with a seed dataset that was potentially sourced at random, we annotate that dataset, and then we train your networks on
                  that dataset and put that in the car, and then we have mechanisms by which we notice inaccuracies in the car when this
                  detector may be misbehaving.”




                                                                   14
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1212 of 2562 PageID #:
                                                     14083



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  “so, for example, if we detect that the neural network might be uncertain or if we detect that or if there’s a driver
                  intervention or any of those settings we can create this trigger infrastructure that sends us data of those inaccuracies
                  and so, for example, if we don’t perform very well on lane line detection on tunnels then we can notice that there’s a
                  problem in tunnels that imagine would enter our unit tests so we can verify that we’ve actually fixing the problem over
                  time but now what you do is to fix this inaccuracy you need to source many more examples that look like that so we
                  asked the fleet to please send us many more tunnels and then we label all those tunnels correctly, we incorporate that
                  into the training set and we retrain the network, redeploy, and iterate the cycle over and over again [emphasis added].”




                                                                   15
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1213 of 2562 PageID #:
                                                     14084



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  “so we refer to this iterative process by which we improve these predictions as the data engine so
                  iteratively deploying something potentially in shadow mode sourcing inaccuracies and incorporating
                  the training set over and over again and we do this basically for all the predictions of these neural
                  networks [emphasis added].”

                  Source: https://www.youtube.com/watch?v=33K3id2xNAE&t

                  As Mr. Karpathy explained during Tesla Autonomy Day 2019 “while you are driving a car what you're
                  actually doing is you are annotating the data because you are steering the wheel. you're telling us how
                  to traverse different environments so what we're looking at here is a some person in the fleet who took a
                  left through an intersection and what we do here is we have the full video of all the cameras and we
                  know that the path that this person took because of the GPS, the inertial measurement unit, the wheel


                                                                   16
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1214 of 2562 PageID #:
                                                     14085



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
                  angle, the wheel ticks, so we put all that together and we understand the path that this person took
                  through this environment and then of course we can use this for supervision [e.g., training a CNN
                  through supervised learning] for the network so we just source a lot of this from the fleet, we train a
                  neural network on those trajectories, and then the neural network predicts paths just from that data so
                  really what this is referred to typically is called imitation learning we're taking human trajectories
                  from the real world I'm just trying to imitate how people drive in real worlds and we can also apply
                  the same data engine crank to all of this and make this work [emphasis added].”
                  Source: https://www.youtube.com/watch?v=-b041NXGPZ8 at 1:04:10.

                  In this way, driving knowledge is: (i) learned on a first Tesla vehicle, (ii) transferred to the simulator where it is
                  synthesized with other driving knowledge, (iii) packaged and sent from the simulator to the fleet, e.g., the driving
                  knowledge is stored on a memory of a second Tesla vehicle via the fleet over-the-air (OTA) software update, and (iv)
                  accessed on the second Tesla vehicle for its autonomous driving. The second Tesla vehicle can, thereby, implement the
                  driving knowledge learned by the first Tesla vehicle, synthesized by the supercomputer/simulator, and distributed to
                  vehicles in Telsa’s fleet over-the-air.

                  See also, Tesla AI Day 2021 video (https://www.youtube.com/watch?v=j0z4FweCy4M at 2:55:29), during which Mr.
                  Musk explained that all the human drivers are essentially training the neural network as to what is the correct course of
                  action for the accused Tesla vehicles to take while being operated on the road. This is just one example of the system
                  (e.g., the Tesla/Tesla fleet plus simulator) being trained with object representations and instructions from a vehicle.

                  See also, Claim 3 of US 11, 238, 344, which states that, “…the first circumstance representation includes a first one or
                  more object representations.” Claim 18 of the ’344 patent further explains that a circumstance representation includes,
                  “…one or more data about a circumstance of a vehicle/device…” Additionally, the description of Fig. 4A
                  (vehicle’s/device’s circumstance(s) including multiple detected objects), Fig. 4B (object representations including
                  object properties such as distance, bearing/direction/coordinates, identity, type, computer model [e.g., bounding box,
                  point cloud, etc.], etc.), and Fig. 38 (vehicle’s/device’s circumstance including multiple detected objects) add more
                  generalized framework for the relationship between circumstance representations and object representations. The ’344
                  patent provides examples of object properties that are of importance to the ’474 Accused Products. These object
                  properties include, “existence of an object, type of an object (i.e. person, cat, vehicle, building, street, tree, rock, etc.),
                  identity of an object (i.e. name, identifier, etc.), distance of an object, bearing/angle of an object, location of an object


                                                                      17
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1215 of 2562 PageID #:
                                                     14086



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
                  (i.e. distance and bearing/angle from a known point, coordinates, etc.), shape/size of an object (i.e. height, width, depth,
                  computer model, point cloud, etc.), activity of an object (i.e. motion, gestures, etc.), and/or other properties of an
                  object.” (See the ’344 patent at 72:44-52).

                  See also, Tesla AI Day 2021(https://www.youtube.com/watch?v=j0z4FweCy4M) for additional examples of Tesla’s
                  analysis of objects and circumstances.




                  At 58:10, the speaker describes taking all of the images and simultaneously feeding them into a single neural net and
                  directly outputting into a vector space.




                                                                     18
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1216 of 2562 PageID #:
                                                     14087



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  Around 1:11:20, the speaker begins describing how Tesla uses a feed of raw images captured by the cameras included
                  in the accused Tesla vehicles, and how the images captured by the cameras pass through a transformer module to re-
                  represent the objects captured in the images taken by the camera into the vector space.




                                                                 19
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1217 of 2562 PageID #:
                                                     14088



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  At 1:31:23 the speaker describes Tesla’s ability to arbitrarily reconstruct 3D static obstacles, and the slide shown in the
                  screenshot above depicts an example of Tesla’s reconstructed 3D point cloud. Tesla is able to make this reconstruction
                  from data captured by the cameras and other various sensors included in the accused Tesla vehicles.




                                                                    20
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1218 of 2562 PageID #:
                                                     14089



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  At 1:31:58 the speaker is describing Tesla’s vector space in more detail, notably touching on how the vector space
                  includes object representations.




                                                                   21
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1219 of 2562 PageID #:
                                                     14090



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  At 1:32:48, the speaker explains how Tesla combines everything together in order to produce “amazing” data sets that
                  annotate all of the road texture, the static objects, and all of the moving objects.

                  For additional examples of Tesla’s correlating a first circumstance representation with one or more instruction sets, see
                  also, Tesla AI Day 2021(https://www.youtube.com/watch?v=j0z4FweCy4M)




                                                                    22
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1220 of 2562 PageID #:
                                                     14091



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  At 1:19:43, the speaker describes recording a human’s trajectory around a curve, recording/storing the data associated
                  therewith, and sharing that data with the fleet so the accused Tesla vehicles are better able to handle that particular turn
                  and similar turns/curves in the future.




                                                                     23
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1221 of 2562 PageID #:
                                                     14092



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  At/around 1:28:16, the speaker is describing exemplary labeling of a single clip in which an entity that has dense sensor
                  data like videos, imu data, gps, odometry (e.g., speed, steering braking, etc.) are uploaded by Tesla’s own engineering
                  cars and/or from customer cars. Note the “Ego Trajectory & Static World Reconstruction” label shown in the screenshot
                  above (yellow annotation).

                  Again, at/around 2:55:29, Mr. Musk describes how all the human drivers are “essential training the neural net as to what
                  is the correct course of action” in any particular circumstance encountered by the accused Tesla vehicles.

                  A further example of Tesla’s correlating a first circumstance representation with one or more instruction set is depicted
                  below.




                                                                   24
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1222 of 2562 PageID #:
                                                     14093



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  At/around 0:50 in the video referenced above/cited below, a myriad of instruction labels considered by the accused
                  Tesla vehicles while in operation can be seen. Examples of such instruction labels include Lane change and Ego speed.
                  Source: https://www.youtube.com/watch?v=zRnSmw1i_DQ

                  Tesla describes how circumstance representations are correlated with various instruction sets for operation of the
                  accused Tesla vehicles during Tesla Autonomy Day 2019 (https://www.youtube.com/watch?v=-b041NXGPZ8) and
                  Tesla AI Day 2021 (https://www.youtube.com/watch?v=j0z4FweCy4M).

                  As examples:




                                                                  25
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1223 of 2562 PageID #:
                                                     14094



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  Tesla describes how the accused Tesla vehicles use a convolutional neural network (CNN) to learn and implement
                  autonomous driving. (See Tesla Autonomy Day 2019 at/around 15:53).




                                                                 26
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1224 of 2562 PageID #:
                                                     14095



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  Tesla describes how it wants to re-represent the features from image space as vector space features, and that it wants to
                  use vector space predictions from its neural network, which requires vector space data sets, and vector space data sets
                  require vector space labels. (See Tesla AI Day 2021 at/around 58:31).




                                                                    27
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1225 of 2562 PageID #:
                                                     14096



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  Tesla describes how, while driving accused Tesla vehicles, drivers are actually annotating the data captured by the
                  vehicle because the user is steering the wheel, thereby telling the vehicle/Tesla how to navigate/traverse different
                  environment (e.g., circumstance representations representing the environment correlated with driving instructions for
                  traversing the environment). (See Tesla Autonomy Day 2019 at/around 1:04:10)




                                                                   28
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1226 of 2562 PageID #:
                                                     14097



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  Tesla depicts circumstance representation and correlated human trajectory, e.g., trajectory implemented using driving
                  instruction sets at each point in time while the accused Tesla vehicles are taking a turn. (See Tesla AI Day 2021
                  at/around 1:19:43).

                  Further, as stated above, circumstance representations include one or more object representations/features. The
                  convolution layers of the CNN in the accused Tesla vehicles store object features correlated via forward connections
                  with output nodes of the CNN, including instructions for driving the vehicle, as described by the expert from MIT
                  speaking in the following video, the “MIT Convolutional Neural Networks” video, found at:
                  https://www.youtube.com/watch?v=iaSUYvmCekI.

                  First, the speaker describes learning features and features being stored/learned in different convolution layers.




                                                                    29
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1227 of 2562 PageID #:
                                                     14098



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  (See MIT Convolutional Neural Networks video at/around 26:40).

                  Next, the speaker describes the overall CNN used for robotic control (e.g., autonomous driving) where features in
                  convolutional layers of the CNN are correlated with control instructions at the end of the CNN via forward connections.




                                                                  30
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1228 of 2562 PageID #:
                                                     14099



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  (See MIT Convolutional Neural Network video at/around 29:40)

                  During its Autonomy Day 2019 and AI Day 2021 presentations, Tesla goes on to describe how the instruction sets for
                  operating the device is learned in a learning process that includes operating the first device at least partially by a user.
                  For example:




                                                                     31
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1229 of 2562 PageID #:
                                                     14100



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  At/around 1:04:10 in Tesla’s Autonomy Day 2019 presentation, the speaker describes, while driving one of the accused
                  Tesla vehicles, the user is annotating the data because the user is steering the wheel, the user is telling Tesla how to
                  traverse different environments, that one person in the fleet taking, e.g., a left turn through a particular intersection, is
                  providing Tesla with invaluable data corresponding to GPS coordinates, inertial measurements, wheel angle, wheel
                  ticks, etc. thus enabling Tesla to understand the path that particular user took through that particular turn. Tesla then
                  uses this data to supervising/training the CNN (e.g., training through supervised learning). This data is then shared with
                  the entire fleet through the neural network. The speaker goes on to state that Tesla is merely trying to imitate how
                  people drive in the real world.

                  At/around 1:04:01 in Tesla’s Autonomy Day 2019 presentation, the speaker describes how Teslas/Tesla’s neural
                  network learns from drivers training the network. At/around1:52:20, it is stated human drivers are monitored (e.g.,
                  monitored by a camera), and that the CNN implements autonomous driving based on this learned knowledge.

                  See also Tesla’s US 10,956,755; Tesla’s US 2020/0249685; Tesla’s US 10,997,461; Tesla’s WO 2020/056331.



                                                                     32
                     Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1230 of 2562 PageID #:
                                                        14101



U.S. Patent No.             Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
[45b]. one or more   The ’474 Accused Products are devices further comprising one or more sensors.
sensors;
                     For example, the 474 Accused Products further includes numerous sensors. For instance, each vehicle in the Tesla fleet
                     of vehicles includes at least an array of eight (8) outward facing cameras that capture the environment surrounding the
                     vehicle. Optionally, ultrasonic sensors and radar can be equipped. Data detected/sensed by these sensors is provided to
                     accused Tesla autonomous vehicle simulation system, e.g., via internet uplink.




                                                                      33
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1231 of 2562 PageID #:
                                                     14102



U.S. Patent No.         Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  Source: https://www.tesla.com/ownersmanual/model3/en_au/GUID-EDA77281-42DC-4618-98A9-
                  CC62378E0EC2.html#:~:text=Ultrasonic%20sensors%20(if%20equipped)%20are,mounted%20to%20each%20front%2
                  0fender.


                                                              34
                     Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1232 of 2562 PageID #:
                                                        14103



U.S. Patent No.             Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
[45c]. one or more   The ’474 Accused Products are devices further comprising one or more processors.
processors; and
                     For example, Tesla’s Models S, 3, X, and Y include one or more processors that, at a minimum, effect semi and/or fully
                     autonomous driving.




                     Source: https://www.youtube.com/watch?v=-b041NXGPZ8 (Tesla Autonomy Day 2019, discussing Tesla’s full self-
                     driving computer and Tesla’s full self-driving chip); see also Tesla’s ECU, which contains computers that are
                     programmed to perform the claimed features.



                                                                     35
                     Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1233 of 2562 PageID #:
                                                        14104



U.S. Patent No.              Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
[45d]. one or more   The ’474 Accused Products are devices further comprising one or more non-transitory machine readable media storing
non-transitory       machine readable code that, when executed by the one or more processors, causes the one or more processors to
machine readable     perform at least the following limitations.
media storing
machine readable     For example, each accused Tesla vehicle includes a system(s) that access memory that stores representations of objects
code that, when      in the surroundings of the Tesla vehicle. These circumstance representations (or circumstances) are learned while drivers
executed by the      drive the accused Tesla vehicles. Examples of circumstances that can be learned include, effectively everything
one or more          captured/sensed/measured by the sensors (e.g., cameras, ultrasonic, telemetry, etc.) included in each of the accused Tesla
processors, causes   vehicles that is fed into the ECU, such as other vehicles, pedestrians, roads, buildings, bikes, road debris, curbs, sidewalks,
the one or more      animals, speed, location, wheel ticks, etc. The ’474 Accused Products also learn driving instructions, such as instructions
processors to        for effecting the speed, steering, and/or braking of the accused Tesla vehicle being driven based on the actions taken by
perform at least:    the driver to navigate those circumstances.

                     This driving knowledge learned by one accused Tesla vehicle is transmitted to Tesla’s simulator before being distributed
                     to all vehicles in the Tesla fleet via over-the-air (OTA) software updates. Therefore, the fleet enables each accused Tesla
                     vehicle included therein to autonomously implement driving instructions learned on one or more originating vehicles
                     when similar circumstances are detected by any of the vehicles in Tesla’s fleet, thereby enabling Tesla’s autonomous
                     driving capabilities.

                     Further, to effectuate the circumstance representations, a Tesla vehicle detects objects. For example, in the previous
                     analysis of driving behind the car with the bike mounted to it, the car detects the bike as an object. Tesla explains object
                     detection as follows:




                                                                        36
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1234 of 2562 PageID #:
                                                     14105



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  “So object detection is something we care a lot about we’d like to put bounding boxes around say the cars and the objects
                  here because we need to track them and we need to understand how they might move around so again we might ask
                  human annotators to give us some annotations for these and humans might go in and might tell you that ok those patterns
                  over there are cars and bicycles and so on and you can train your neural network on this, but if you’re not careful, the
                  neural network all will make miss predictions in some cases.”




                                                                   37
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1235 of 2562 PageID #:
                                                     14106



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  “So as an example if we stumble by a car like this that has a bike on the back of it then the neural network actually when
                  I joined would actually create two deductions it would create a car deduction and a bicycle deduction and that’s actually
                  kind of correct because I guess both of those objects actually exist but for the purposes of the controller and a planner
                  downstream you really don’t want to deal with the fact that this bicycle can go with the car the truth is that that bike is
                  attached to that car so in terms of like just objects on the road there’s a single object a single car and so what you’d like
                  to do now is you’d like to just potentially annotate lots of those images as this is just a single car so the process that we
                  that we go through internally in the team is that we take this image or a few images that show this pattern and we have a
                  mechanism a machine learning mechanism by which we can ask the fleet to source us examples that look like that and
                  the fleet might respond with images that contains those patterns.”




                                                                     38
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1236 of 2562 PageID #:
                                                     14107



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  “So as an example these six images might come from the fleet they all contain bikes on backs of cars and we would go in
                  and we would annotate all those as just a single car and then the performance of that detector actually improves and the
                  network internally understands that hey when the bike is just attached to the car that’s actually just a single car and it can
                  learn that given enough examples and that’s how we sort of fix that problem … now the fleet doesn’t just respond with
                  bicycles on backs of cars we look for all the thing we look for lots of things all the time.”




                                                                     39
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1237 of 2562 PageID #:
                                                     14108



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  “So for example we look for boats and the fleet can respond with boats we look for construction sites and the fleet can
                  send us lots of construction sites from across the world we look for even slightly more rare cases.”




                                                                   40
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1238 of 2562 PageID #:
                                                     14109



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  “So for example finding debris on the road is pretty important to us so these are examples of images that have streamed
                  to us from the fleet that show tires cones, plastic bags and things like that if we can source these at scale we can annotate
                  them correctly and the neural network will learn how to deal with them in the world.”




                                                                     41
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1239 of 2562 PageID #:
                                                     14110



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  “Here’s another example, animals of course also a very rare occurrence, an event, but we wanted them neural network
                  to really understand what’s going on here…that these are animals and we want to deal with that correctly.”




                                                                 42
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1240 of 2562 PageID #:
                                                     14111



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  “So to summarize the process by which we iterate on neural network predictions looked something like this – we start
                  with a seed dataset that was potentially sourced at random, we annotate that dataset, and then we train your networks on
                  that dataset and put that in the car, and then we have mechanisms by which we notice inaccuracies in the car when this
                  detector may be misbehaving.”




                                                                   43
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1241 of 2562 PageID #:
                                                     14112



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  “So, for example, if we detect that the neural network might be uncertain or if we detect that or if there’s a driver
                  intervention or any of those settings we can create this trigger infrastructure that sends us data of those inaccuracies and
                  so, for example, if we don’t perform very well on lane line detection on tunnels then we can notice that there’s a problem
                  in tunnels that imagine would enter our unit tests so we can verify that we’ve actually fixing the problem over time but
                  now what you do is to fix this inaccuracy you need to source many more examples that look like that so we asked the
                  fleet to please send us many more tunnels and then we label all those tunnels correctly, we incorporate that into the training
                  set and we retrain the network, redeploy, and iterate the cycle over and over again”




                                                                     44
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1242 of 2562 PageID #:
                                                     14113



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  “So we refer to this iterative process by which we improve these predictions as the data engine so iteratively deploying
                  something potentially in shadow mode sourcing inaccuracies and incorporating the training set over and over again and
                  we do this basically for all the predictions of these neural networks.”

                  Source: https://www.youtube.com/watch?v=33K3id2xNAE&t

                  As Mr. Karpathy explained during Tesla Autonomy Day 2019 “while you are driving a car what you're actually doing is
                  you are annotating the data because you are steering the wheel. you're telling us how to traverse different environments
                  so what we're looking at here is a some person in the fleet who took a left through an intersection and what we do here is
                  we have the full video of all the cameras and we know that the path that this person took because of the GPS, the inertial
                  measurement unit, the wheel angle, the wheel ticks, so we put all that together and we understand the path that this person
                  took through this environment and then of course we can use this for supervision [e.g., training a CNN through supervised


                                                                    45
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1243 of 2562 PageID #:
                                                     14114



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
                  learning] for the network so we just source a lot of this from the fleet, we train a neural network on those trajectories, and
                  then the neural network predicts paths just from that data so really what this is referred to typically is called imitation
                  learning we're taking human trajectories from the real world I'm just trying to imitate how people drive in real worlds and
                  we can also apply the same data engine crank to all of this and make this work.”
                  Source: https://www.youtube.com/watch?v=-b041NXGPZ8 at 1:04:10.


                  In this way, driving knowledge is: (i) learned on a first Tesla vehicle, (ii) transferred to the simulator where it is ynthesized
                  with other driving knowledge, (iii) packaged and sent from the simulator to the fleet, e.g., the driving knowledge is stored
                  on a memory of a second Tesla vehicle via the fleet over-the-air (OTA) software update, and (iv) accessed on the second
                  Tesla vehicle for its autonomous driving. The second Tesla vehicle can, thereby, implement the driving knowledge learned
                  by the first Tesla vehicle and synthesized by the simulator.

                  See also, Tesla AI Day 2021 (https://www.youtube.com/watch?v=j0z4FweCy4M at or around 2:55:29), during which
                  Mr. Musk explained that all the human drivers are essentially training the neural network as to what is the correct course
                  of action for the accused Tesla vehicles to take while being operated on the road. This is just one example of the system
                  (e.g., the Tesla/Tesla fleet plus the supercomputer system or other computers) being trained with object representations
                  and instructions from a vehicle.

                  See also, Tesla AI Day 2021(https://www.youtube.com/watch?v=j0z4FweCy4M) for additional examples of Tesla’s
                  analysis of objects and circumstances:




                                                                      46
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1244 of 2562 PageID #:
                                                     14115



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  At 58:10, the speaker describes taking all of the images and simultaneously feeding them into a single neural net and
                  directly outputting into a vector space.




                                                                   47
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1245 of 2562 PageID #:
                                                     14116



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  Around 1:11:20, the speaker begins describing how Tesla uses a feed of raw images captured by the cameras included in
                  the accused Tesla vehicles, and how the images captured by the cameras pass through a transformer module to re-represent
                  the objects captured in the images taken by the camera into the vector space.




                                                                   48
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1246 of 2562 PageID #:
                                                     14117



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  At 1:31:23 the speaker describes Tesla’s ability to arbitrarily reconstruct 3D static obstacles, and the slide shown in the
                  screenshot above depicts an example of Tesla’s reconstructed 3D point cloud. Tesla is able to make this reconstruction
                  from data captured by the cameras and other various sensors included in the accused Tesla vehicles.




                                                                    49
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1247 of 2562 PageID #:
                                                     14118



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  At 1:31:58 the speaker is describing Tesla’s vector space in more detail, notably touching on how the vector space includes
                  object representations.




                                                                    50
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1248 of 2562 PageID #:
                                                     14119



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  At 1:32:48, the speaker explains how Tesla combines everything together in order to produce “amazing” data sets that
                  annotate all of the road texture, all static objects, and all of the moving objects.

                  For additional examples of Tesla’s correlating a first circumstance representation with one or more instruction sets, see
                  also, Tesla AI Day 2021(https://www.youtube.com/watch?v=j0z4FweCy4M).




                                                                    51
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1249 of 2562 PageID #:
                                                     14120



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  At 1:19:43, the speaker describes recording a human’s trajectory around a curve, recording/storing the data associated
                  therewith, and sharing that data with the fleet so the accused Tesla vehicles are better able to handle that particular turn
                  and similar turns/curves in the future.




                                                                    52
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1250 of 2562 PageID #:
                                                     14121



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  At/around 1:28:16, the speaker is describing exemplary labeling of a single clip in which an entity that has dense sensor
                  data like videos, IMU data, GPS, odometry (e.g., speed, steering braking, etc.) are uploaded by Tesla’s own engineering
                  cars and/or from customer cars. Note the “Ego Trajectory & Static World Reconstruction” label shown in the screenshot
                  above (yellow annotation).

                  Again, at/around 2:55:29, Mr. Musk describes how all the human drivers are “essential training the neural net as to what
                  is the correct course of action” in any particular circumstance encountered by the accused Tesla vehicles.

                  A further example of Tesla’s correlating a first circumstance representation with one or more instruction set is depicted
                  below.




                                                                   53
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1251 of 2562 PageID #:
                                                     14122



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  At/around 0:50 in the video referenced above/cited below, a myriad of instruction labels considered by the accused Tesla
                  vehicles while in operation can be seen. Examples of such instruction labels include Lane change and Ego speed. Source:
                  https://www.youtube.com/watch?v=zRnSmw1i_DQ

                  A bevy of sensors are included in the accused Tesla vehicles. Examples of sensors included in the accused Tesla vehicles
                  include an array of outward-facing cameras that capture the environment surrounding the vehicle. Optionally, ultrasonic
                  sensors and radar can be equipped.




                                                                   54
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1252 of 2562 PageID #:
                                                     14123



U.S. Patent No.         Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  Source: https://www.tesla.com/ownersmanual/model3/en_au/GUID-EDA77281-42DC-4618-98A9-
                  CC62378E0EC2.html#:~:text=Ultrasonic%20sensors%20(if%20equipped)%20are,mounted%20to%20each%20front%2
                  0fender.


                                                              55
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1253 of 2562 PageID #:
                                                     14124



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
                  Tesla describes how circumstance representations are correlated with various instruction sets for operation of the accused
                  Tesla vehicles during Tesla Autonomy Day 2019 (https://www.youtube.com/watch?v=-b041NXGPZ8) and Tesla AI Day
                  2021 (https://www.youtube.com/watch?v=j0z4FweCy4M).

                  As examples:




                  Tesla describes how the accused Tesla vehicles use a convolutional neural network (CNN) to learn and implement
                  autonomous driving. See Tesla Autonomy Day 2019 at/around 15:53.




                                                                   56
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1254 of 2562 PageID #:
                                                     14125



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  Tesla describes how it wants to re-represent the features from image space as vector space features, and that it wants to
                  use vector space predictions from its neural network, which requires vector space data sets, and vector space data sets
                  require vector space labels. See Tesla AI Day 2021 at/around 58:31.




                                                                   57
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1255 of 2562 PageID #:
                                                     14126



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  Tesla describes how, while driving accused Tesla vehicles, drivers are actually annotating the data captured by the vehicle
                  because the user is steering the wheel, thereby telling the vehicle/Tesla how to navigate/traverse different environment
                  (e.g., circumstance representations representing the environment correlated with driving instructions for traversing the
                  environment). See Tesla Autonomy Day 2019 at/around 1:04:10.




                                                                    58
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1256 of 2562 PageID #:
                                                     14127



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  Tesla depicts circumstance representation and correlated human trajectory, e.g., trajectory implemented using driving
                  instruction sets at each point in time while the accused Tesla vehicles are taking a turn. See Tesla AI Day 2021 at/around
                  1:19:43.

                  Further, as stated above, circumstance representations include one or more object representations/features. The
                  convolution layers of the CNN in the accused Tesla vehicles store object features correlated via forward connections with
                  output nodes of the CNN, including instructions for driving the vehicle, as described by the expert from MIT speaking in
                  the     following      video,   the     “MIT      Convolutional       Neural       Networks”       video,   found     at:
                  https://www.youtube.com/watch?v=iaSUYvmCekI.

                  First, the speaker describes learning features and features being stored/learned in different convolution layers.




                                                                    59
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1257 of 2562 PageID #:
                                                     14128



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  MIT Convolutional Neural Networks video at/around 26:40.

                  Next, the speaker describes the overall CNN used for robotic control (e.g., autonomous driving) where features in
                  convolutional layers of the CNN are correlated with control instructions at the end of the CNN via forward connections.




                                                                  60
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1258 of 2562 PageID #:
                                                     14129



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  See MIT Convolutional Neural Network video at/around 29:40.

                  During its Autonomy Day 2019 and AI Day 2021 presentations, Tesla goes on to describe how the instruction sets for
                  operating the device is learned in a learning process that includes operating the first device at least partially by a user.
                  For example:




                                                                     61
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1259 of 2562 PageID #:
                                                     14130



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  At/around 1:04:10 in Tesla’s Autonomy Day 2019 presentation, the speaker describes, while driving one of the accused
                  Tesla vehicles, the user is annotating the data because the user is steering the wheel, the user is telling Tesla how to
                  traverse different environments, that one person in the fleet taking, e.g., a left turn through a particular intersection, is
                  providing Tesla with invaluable data corresponding to GPS coordinates, inertial measurements, wheel angle, wheel ticks,
                  etc. thus enabling Tesla to understand the path that particular user took through that particular turn. Tesla then uses this
                  data to supervising/training the CNN (e.g., training through supervised learning). This data is then shared with the entire
                  fleet through the neural network. The speaker goes on to state that Tesla is merely trying to imitate how people drive in
                  the real world.

                  At/around 1:04:01 in Tesla’s Autonomy Day 2019 presentation, the speaker describes how Tesla vehicles/Tesla’s neural
                  network learns from drivers training the network. At/around1:52:20, it is stated human drivers are monitored (e.g.,
                  monitored by a camera), and that the CNN implements autonomous driving based on this learned knowledge.




                                                                     62
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1260 of 2562 PageID #:
                                                     14131



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  At/around 1:19:43 in Tesla’s AI Day 2021 presentation, Tesla describes how the path of the accused Tesla vehicles took
                  a trajectory through the curve shown above that looks substantially similar to humans who had driven through the same
                  turn in accused Tesla vehicles in the past.

                  For example, the supercomputer included in the 474 Accused Products further includes volatile and non-volatile
                  memory, such as NVME or DRAM respectively, for, e.g., storing digital pictures correlated with one or more
                  instruction sets for operating a first object of a first application program, along with other executable, machine-readable
                  code. See, e.g., [CVPR'21 WAD] Keynote - Andrej Karpathy, Tesla, available at
                  https://www.youtube.com/watch?v=g6bOwQdCJrc.




                                                                    63
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1261 of 2562 PageID #:
                                                     14132



U.S. Patent No.         Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                                                              64
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1262 of 2562 PageID #:
                                                     14133



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                   See Tesla AI Day video, available at https://www.youtube.com/watch?v=j0z4FweCy4M&t=3s




                  Elon Musk hints at Tesla's not-so-secret Dojo AI-training supercomputer capacity – Electrek




                                                                  65
                       Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1263 of 2562 PageID #:
                                                          14134



U.S. Patent No.               Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                       https://www.inputmag.com/tech/tesla-showed-off-its-massive-supercomputer-for-self-driving- data-processing

[45e]. generating a    The ’474 Accused Products are devices further comprising one or more non-transitory machine readable media storing
circumstance           machine readable code that, when executed by the one or more processors, causes the one or more processors to
representation,        perform at least generating a circumstance representation, wherein the generated circumstance representation represents
wherein the            a circumstance detected at least in part by the one or more sensors.
generated
circumstance           For example, each of the accused Tesla Models S, 3, X, and Y is a device. The Tesla fleet includes multiple accused Tesla
representation         vehicles, each of which is capable of accounting for circumstances encountered by drivers while out and about, those
represents a           circumstances being captured by the multiple cameras included therein. Representations of these captured circumstances
circumstance           are then generated. A particular accused Tesla vehicle may capture and represent circumstances on its own, or each of the
detected at least in   accused Tesla vehicles can receive circumstances/representations of circumstances from other vehicles in Tesla’s fleet,
part by the one or     e.g., via Tesla’s CNN.
more sensors;
                       At/around 44:00 in Tesla’s Autonomy Day 2019, a stream of video from the 8 cameras included in the accused Tesla
                       vehicles can be seen.




                                                                        66
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1264 of 2562 PageID #:
                                                     14135



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  Further, at/around 41:14 in Tesla’s AI Day 2021 presentation, a circumstance representation including object
                  representations representing vehicles, pedestrians, etc. around the accused Tesla vehicle being driven is being shown on
                  the display of the vehicle.




                                                                   67
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1265 of 2562 PageID #:
                                                     14136



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  At/around 58:10 in Tesla’s AI Day 2021 presentation, the presenter mentions Tesla’s desire to take all images captured
                  by the cameras and feed them into a single neural network in order to directly output into a vector space




                                                                  68
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1266 of 2562 PageID #:
                                                     14137



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  Later in Tesla’s AI Day 2021 presentation (at/around 1:31:23), the presenter describes how Tesla can arbitrarily
                  reconstruct 3D static objects from data captured by the cameras included in the accused Tesla vehicles.




                                                               69
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1267 of 2562 PageID #:
                                                     14138



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  Tesla AI Day 2021 goes on to describe: the vector space, including object representations, relied upon by the accused
                  Tesla vehicles (at/around 1:31:58); combining all captured data together to make data sets that annotate all road texture,
                  static objects, and/or moving objects represented in the captured data (at/around 1:32:48); and feeding raw images through
                  a transformer module to re-represent the data in a vector space (at/around 1:11:20).




                                                                   70
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1268 of 2562 PageID #:
                                                     14139



U.S. Patent No.         Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                                                              71
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1269 of 2562 PageID #:
                                                     14140



U.S. Patent No.         Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                                                              72
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1270 of 2562 PageID #:
                                                     14141



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  Circumstance representations, including object representations (e.g., bounding boxes) used to represent objects in the
                  environment of the accused Tesla vehicles can be seen at/around 0:50 of the video “Tesla Autipilot is better than you
                  think! Here’s why. (part 1)”




                                                                  73
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1271 of 2562 PageID #:
                                                     14142



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  Source: https://www.youtube.com/watch?v=zRnSmw1i_DQ

                  Moreover, the 474 Accused Products further generates circumstance representations. According to Tesla, these
                  circumstance representations (or circumstances) are learned while drivers drive Tesla vehicles that are a part of the 474
                  Accused Products. Examples of circumstances that can be learned include, effectively everything
                  captured/sensed/measured by the sensors (e.g., cameras, ultrasonic, telemetry, etc.) included in each Tesla vehicle in the
                  fleet that is included in the 474 Accused Products. by the driver to navigate those circumstances.

                  This driving knowledge learned by one Tesla vehicle is transmitted to the supercomputer/simulator before being
                  distributed to all vehicles in the Tesla fleet via over-the-air (OTA) software updates. Therefore, the fleet enables each
                  accused Tesla vehicle included therein to autonomously implement driving instructions learned on one or more
                  originating vehicles when similar circumstances are detected by any of the vehicles in Tesla’s fleet, thereby enabling
                  Tesla’s autonomous driving capabilities.



                                                                    74
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1272 of 2562 PageID #:
                                                     14143



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
                  Further, to effectuate the circumstance representations, the sensors of [45b] included a Tesla vehicle detect objects. For
                  example, in the previous analysis of driving behind the car with the bike mounted to it, the sensors (e.g., cameras)
                  included in the vehicle detects the bike as an object. Tesla explains object detection as follows:




                  “so object detection is something we care a lot about we’d like to put bounding boxes around say the cars and the
                  objects here because we need to track them and we need to understand how they might
                  move around so again we might ask human annotators to give us some annotations for these and
                  humans might go in and might tell you that ok those patterns over there are cars and bicycles and so on
                  and you can train your neural network on this, but if you’re not careful, the neural network all will make miss
                  predictions in some cases.”




                                                                    75
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1273 of 2562 PageID #:
                                                     14144



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  “so as an example if we stumble by a car like this that has a bike on the back of it then the neural
                  network actually when I joined would actually create two deductions it would create a car deduction
                  and a bicycle deduction and that’s actually kind of correct because I guess both of those objects actually
                  exist but for the purposes of the controller and a planner downstream you really don’t want to deal with
                  the fact that this bicycle can go with the car the truth is that that bike is attached to that car so in terms
                  of like just objects on the road there’s a single object a single car and so what you’d like to do now is
                  you’d like to just potentially annotate lots of those images as this is just a single car so the process that
                  we that we go through internally in the team is that we take this image or a few images that show this
                  pattern and we have a mechanism a machine learning mechanism by which we can ask the fleet to
                  source us examples that look like that and the fleet might respond with images that contains those
                  patterns [emphasis added]”



                                                                      76
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1274 of 2562 PageID #:
                                                     14145



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  “so as an example these six images might come from the fleet they all contain bikes on backs of cars
                  and we would go in and we would annotate all those as just a single car and then the performance of
                  that detector actually improves and the network internally understands that hey when the bike is just
                  attached to the car that’s actually just a single car and it can learn that given enough examples and that’s
                  how we sort of fix that problem … now the fleet doesn’t just respond with bicycles on backs of cars we
                  look for all the thing we look for lots of things all the time.”




                                                                     77
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1275 of 2562 PageID #:
                                                     14146



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  “so for example we look for boats and the fleet can respond with boats we look for construction sites
                  and the fleet can send us lots of construction sites from across the world we look for even slightly more rare cases.”




                                                                    78
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1276 of 2562 PageID #:
                                                     14147



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  “so for example finding debris on the road is pretty important to us so these are examples of images that
                  have streamed to us from the fleet that show tires cones, plastic bags and things like that if we can
                  source these at scale we can annotate them correctly and the neural network will learn how to deal with them in the
                  world [emphasis added].”




                                                                   79
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1277 of 2562 PageID #:
                                                     14148



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  “here’s another example, animals of course also a very rare occurrence, an event, but we wanted them neural network to
                  really understand what’s going on here…that these are animals and we want to deal with that correctly.”




                                                                  80
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1278 of 2562 PageID #:
                                                     14149



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  “so to summarize the process by which we iterate on neural network predictions looked something like this – we start
                  with a seed dataset that was potentially sourced at random, we annotate that dataset, and then we train your networks on
                  that dataset and put that in the car, and then we have mechanisms by which we notice inaccuracies in the car when this
                  detector may be misbehaving.”




                                                                   81
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1279 of 2562 PageID #:
                                                     14150



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  “so, for example, if we detect that the neural network might be uncertain or if we detect that or if there’s a driver
                  intervention or any of those settings we can create this trigger infrastructure that sends us data of those inaccuracies
                  and so, for example, if we don’t perform very well on lane line detection on tunnels then we can notice that there’s a
                  problem in tunnels that imagine would enter our unit tests so we can verify that we’ve actually fixing the problem over
                  time but now what you do is to fix this inaccuracy you need to source many more examples that look like that so we
                  asked the fleet to please send us many more tunnels and then we label all those tunnels correctly, we incorporate that
                  into the training set and we retrain the network, redeploy, and iterate the cycle over and over again [emphasis added].”




                                                                   82
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1280 of 2562 PageID #:
                                                     14151



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  “so we refer to this iterative process by which we improve these predictions as the data engine so
                  iteratively deploying something potentially in shadow mode sourcing inaccuracies and incorporating
                  the training set over and over again and we do this basically for all the predictions of these neural
                  networks [emphasis added].”

                  Source: https://www.youtube.com/watch?v=33K3id2xNAE&t


                  A further example of Tesla’s correlating a first circumstance representation with one or more instruction set is depicted
                  below.




                                                                   83
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1281 of 2562 PageID #:
                                                     14152



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  At/around 0:50 in the video referenced above/cited below, a myriad of instruction labels considered by the accused
                  Tesla vehicles while in operation can be seen. Examples of such instruction labels include Lane change and Ego speed.
                  Source: https://www.youtube.com/watch?v=zRnSmw1i_DQ

                  Additional examples of Tesla simulating real world driving environments using real world data and generated data can
                  be seen below.




                                                                  84
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1282 of 2562 PageID #:
                                                     14153



U.S. Patent No.         Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




                  See Tesla AI Day video, available at https://www.youtube.com/watch?v=j0z4FweCy4M&t=3s




                  Id.




                                                              85
                       Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1283 of 2562 PageID #:
                                                          14154



U.S. Patent No.                Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
                       The real world and generated data includes video data, which includes object representations. Given that the video
                       data is from the real world and generated simulations of real world environments the object representations represent
                       objects of the application. See, for example, the simulated environment below showing a simulation of a person near the
                       simulated car from the first application program (AI simulation).


                       See Tesla AI Day video, available at https://www.youtube.com/watch?v=j0z4FweCy4M&t=3s

                       As shown in the above-cited video, Tesla’s simulation system is capable of behaving appropriately because the
                       simulated car is provided with driving instructions that are correlated with objects, e.g., simulated people, cars, traffic
                       lights, traffic signs, etc.




                       See Tesla AI Day video, available at https://www.youtube.com/watch?v=j0z4FweCy4M&t=3s
[45f]. determining     The ’474 Accused Products are devices further comprising one or more non-transitory machine readable media storing
the one or more        machine readable code that, when executed by the one or more processors, causes the one or more processors to
instruction sets for   perform at least determining the one or more instruction sets for operating the second device at least by: inputting at
operating the          least a portion of the generated circumstance representation into the one or more inputs, and using a correlation between
second device at       the one or more inputs and the one or more instruction sets for operating the second device
least by: inputting


                                                                          86
                      Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1284 of 2562 PageID #:
                                                         14155



U.S. Patent No.              Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
at least a portion   For example, the 474 Accused Products determines an instruction set (e.g., steer to the left) for operating vehicles in the
of the generated     Tesla fleet. These instructions are provided to Tesla vehicles based on the circumstance representations gathered by
circumstance         Tesla fleet vehicles, that are correlated to instruction sets as described above, over-the-air. This correlation may be
representation into based on one similarity between one or more object representations detected/present in the circumstance representation
the one or more      and the first one or more object representations. https://electrek.co/2021/08/19/watch-tesla-ai-day-livestream-
inputs, and using a important-news/ at/around 38:45 to 39:00
correlation
between the one or
more inputs and
the one or more
instruction sets for
operating the
second device; and




                     Further, vehicles in Tesla’s fleet can learn from each other. The ability of the fleet to learn from itself is mentioned as a
                     distinct competitive advantage of Tesla by both Mr. Musk and Mr. Karpathy. See, for example, Tesla Autonomy Day


                                                                        87
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1285 of 2562 PageID #:
                                                     14156



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
                  2019 at/around 38:58, “I think a very powerful sustainable advantage for us is the fleet.” At/around 44:40, it is stated
                  that, “it is such a big deal that we have the fleet,” and at 55:55, it is reiterated that, “Tesla is in such a unique and
                  interesting position” because of the fleet. Finally, at/around 1:22:14, it is proclaimed that it “[i]s extremely difficult to
                  catch up when Tesla has 100 times more miles per day than everyone else combined,” which is a direct result of the
                  fleet.


                  Similarly, while operating in autonomous driving mode, the CNN in the accused Tesla vehicles carries out a comparison
                  between features of objects in a previously learned circumstance representation stored in its convolution layers and
                  features of objects in an incoming circumstance representation. See MIT Convolutional Neural Networks at/around 12:58.




                                                                      88
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1286 of 2562 PageID #:
                                                     14157



U.S. Patent No.          Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474

                  Source: https://www.youtube.com/watch?v=iaSUYvmCekI.

                  Further, Tesla’s AI Day 2021 presentation (https://www.youtube.com/watch?v=j0z4FweCy4M) describes/presents the
                  following:

                  An example of how searching for previously learned driving instructions for effecting a trajectory correlated with a
                  previously learned circumstance representation that at least partially matches an incoming circumstance representation
                  operates (at/around 1:15:26).




                  The screenshot above depicts an accused Tesla vehicle attempting to do a lane change. In this instance, the car needs to
                  get over two lanes before making the left-hand turn. To perform this maneuver (getting over two lanes, then making a 90-
                  degree left turn), the accused Tesla vehicle searches over different maneuvers available on the network shared by the
                  Tesla fleet of vehicles (e.g., the CNN and/or simulator). The car tries to pick the safest maneuvers that feel
                  comfortable/natural to the driver, based on data already stored on the network, which itself is based on data observed by


                                                                   89
                  Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1287 of 2562 PageID #:
                                                     14158



U.S. Patent No.           Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
                  the accused Tesla vehicles of the drivers of said vehicles. In some instances, thousands of maneuvers are searched through
                  in real-time, in a very short time span.

                  At/around 2:32:42, the presenter at Tesla’s AI Day 2021 describes planning. In essence, Tesla bakes in a search for a
                  previously learned driving instruction(s) effecting a trajectory correlated with a previously learned circumstance
                  representation that, at least partially, matches the incoming circumstance representation being captured by the vehicle.
                  Via network optimization, a plan is devised (e.g., when/how the car will change lanes to the left the first time, when/how
                  the car will change lanes to the left the second time, when/how the car will make the 90-degree left turn). This plan is
                  devised rather quickly.
                  At/around 1:23:40, the presenter at Tesla’s AI Day 2021 describes the architecture and the vision system that is
                  implemented in the accused Tesla vehicles. The vision system is described as condensing down video into a vector space
                  (e.g., incoming circumstance representations representing objects in the Tesla’s current environment). This video is also
                  consumed by the CNN that stores previously learned circumstance representations correlated with previously learned
                  driving instructions, and that searches for at least partially matching circumstance representation(s) and correlated driving
                  instructions, along with a planner. A trajectory distribution is produced. The trajectory distribution can be optimized
                  accounting for explicit cost functions, human intervention, and other imitation data. The trajectory distribution is then
                  worked into a planning function that causes the car to perform the actions deemed most appropriate based on the
                  comparison of data, and produces the final driving commands (e.g., the commands that control steering, speed,
                  acceleration, turn signals, etc.).




                                                                     90
                      Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1288 of 2562 PageID #:
                                                         14159



U.S. Patent No.              Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474




[45g]. at least in    The ’474 Accused Products are devices further comprising one or more non-transitory machine readable media storing
response to the       machine readable code that, when executed by the one or more processors, causes the one or more processors to
determining,          perform, at least in response to the determining, executing the one or more instruction sets for operating the second
executing the one     device, wherein the first device autonomously performs one or more operations defined by the one or more instruction
or more instruction   sets for operating the second device.
sets for operating
the second device,    For example, see the evidence presented in support of [45f] above.
wherein the first
device                As described by Mr. Musk in Tesla’s Autonomy Day 2019 presentation, the Tesla system includes using driving
autonomously          instructions learned from/by one Tesla vehicle to effect the semi/fully-autonomous driving of another Tesla vehicle in the
performs one or       fleet. Mr. Musk goes on to explain that this knowledge is distributed over the Tesla network via over-the-air (OTA)
more operations       software updates, thereby enabling second, third, fourth, fifth, etc. Tesla vehicles to implement autonomous driving
defined by the one    knowledge/instructions learned from the first vehicle.
or more instruction



                                                                       91
                     Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1289 of 2562 PageID #:
                                                        14160



U.S. Patent No.              Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
sets for operating   The ability of the fleet to learn from itself is mentioned as a distinct competitive advantage of Tesla by both Mr. Musk
the second device.   and Mr. Karpathy. See, for example, Tesla Autonomy Day 2019 at/around 38:58, “I think a very powerful sustainable
                     advantage for us is the fleet.” At/around 44:40, it is stated that, “it is such a big deal that we have the fleet,” and at 55:55,
                     it is reiterated that, “Tesla is in such a unique and interesting position” because of the fleet. Finally, at/around 1:22:14, it
                     is proclaimed that it “[i]s extremely difficult to catch up when Tesla has 100 times more miles per day than everyone else
                     combined,” which is a direct result of the fleet.

                     Source: https://www.youtube.com/watch?v=-b041NXGPZ8 (Tesla Autonomy Day 2019 at the various timestamps listed
                     above).

                     During Tesla’s AI Day 2021 presentation, Tesla describes what the final architecture of the Tesla/fleet/Software
                     9.0+/CNN/simulator system is going to look like, and states that it will produce the final steering and acceleration
                     commands for the cars.




                     Source: https://www.youtube.com/watch?v=j0z4FweCy4M at/around 1:23:40



                                                                         92
                       Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1290 of 2562 PageID #:
                                                          14161



U.S. Patent No.                Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
46. The first          The ’474 Accused Products comprise the first device of claim 45,wherein the one or more inputs for inputting the at
device of claim 45,    least the portion of the circumstance representation include one or more inputs for inputting at least a portion of one or
wherein the one or     more object representations, and wherein the generated circumstance representation includes one or more object
more inputs for        representations, and wherein the first device is a first vehicle, and wherein the second device is a second vehicle.
inputting the at       For example, see the evidence presented in support of claims [45a] – [45f] above.
least the portion of
the circumstance       The first and second devices are Tesla vehicles, for example. And the imput(s) include input(s) for imputing at least a
representation         portion of objection representation(s). Similarly, the generated circumstance representation includes object
include one or         representation(s).
more inputs for
inputting at least a
portion of one or
more object
representations,
and wherein the
generated
circumstance
representation
includes one or
more object
representations,
and wherein the
first device is a
first vehicle, and
wherein the
second device is a
second vehicle.
47. The first          The ’474 Accused Products comprise the first device of claim 46, wherein at least an information related to the one or
device of claim 46,    more instruction sets for operating the second device is learned in a learning process that includes operating the second
wherein at least an    device at least partially by a user.
information related


                                                                         93
                       Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1291 of 2562 PageID #:
                                                          14162



U.S. Patent No.                Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
to the one or more     For example, see the evidence provided in claim 45 (particularly [45g]) above. For instance the user may operate the
instruction sets for   second Telsa vehicle during the learning process.
operating the
second device is
learned in a
learning process
that includes
operating the
second device at
least partially by a
user.
51. The first          The ’474 Accused Products comprise the first device of claim 46, wherein at least a portion of the one or more
device of claim 46,    instruction sets for operating the second device is learned in a learning process that includes operating the second device
wherein at least a     at least partially by a user.
portion of the one
or more instruction
sets for operating     For example, see the evidence presented in claim 45 and 46 above. In this example, at least a portion of the one or more
the second device      instruction sets for operating the second Tesla vehicle is learned in a learning process that includes operating the second
is learned in a        Tesla vehicle at least partially by a driver of that vehicle.
learning process
that includes
operating the
second device at
least partially by a
user.
52. The first          The ’474 Accused Products comprise the first device of claim 46, wherein the one or more instruction sets for operating
device of claim 46,    the second device are applied to the first device.
wherein the one or
more instruction       For example, vehicles in Tesla’s fleet can learn from each other. The ability of the fleet to learn from itself is mentioned
sets for operating     as a distinct competitive advantage of Tesla by both Mr. Musk and Mr. Karpathy. See, for example, Tesla Autonomy
the second device      Day 2019 at/around 38:58, “I think a very powerful sustainable advantage for us is the fleet.” At/around 44:40, it is


                                                                         94
                       Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1292 of 2562 PageID #:
                                                          14163



U.S. Patent No.                Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
are applied to the     stated that, “it is such a big deal that we have the fleet,” and at 55:55, it is reiterated that, “Tesla is in such a unique and
first device.          interesting position” because of the fleet. Finally, at/around 1:22:14, it is proclaimed that it “[i]s extremely difficult to
                       catch up when Tesla has 100 times more miles per day than everyone else combined,” which is a direct result of the
                       fleet.

                       See also, the evidence presented in support of [45a], [45f], and [45g] above.




56. The first          The ’474 Accused Products comprise the first device of claim 46, wherein the one or more inputs are further correlated
device of claim 46,    with another one or more instruction sets for operating a third device, and wherein at least a portion of the one or more
wherein the one or     instruction sets for operating the second device or at least an information related to the one or more instruction sets for
more inputs are        operating the second device is learned in a learning process that includes operating the second device at least partially
further correlated     by a user, and wherein at least a portion of the another one or more instruction sets for operating the third device or at
with another one       least an information related to the another one or more instruction sets for operating the third device is learned in
or more instruction    another learning process that includes operating the third device at least partially by another user.
sets for operating a
third device, and      For example, a first, second, third, etc. circumstance representation derived from potentially multiple sensed inputs can
wherein at least a     correspond to/be correlated with a first, second, third, etc. instruction set.
portion of the one
or more instruction    See the evidence presented in support of claim 45 above.
sets for operating
the second device
or at least an
information related
to the one or more
instruction sets for
operating the
second device is
learned in a


                                                                           95
                       Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1293 of 2562 PageID #:
                                                          14164



U.S. Patent No.               Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
learning process
that includes
operating the
second device at
least partially by a
user, and wherein
at least a portion
of the another one
or more instruction
sets for operating
the third device or
at least an
information related
to the another one
or more instruction
sets for operating
the third device is
learned in another
learning process
that includes
operating the third
device at least
partially by
another user.
57. The first          The ’474 Accused Products comprise the first device of claim 46, wherein the one or more inputs are further correlated
device of claim 46,    with another one or more instruction sets for operating a third device.
wherein the one or
more inputs are        For example, an input of/a series of inputs to the 474 Accused Products can be correlated with a second, third, fourth,
further correlated     etc. instruction set(s) for operating a third, fourth, fifth, etc. device (e.g., Tesla vehicle).
with another one
or more instruction


                                                                        96
                      Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1294 of 2562 PageID #:
                                                         14165



U.S. Patent No.              Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
sets for operating a See the evidence presented in claim 56 above. For example, the third device is a third Tesla vehicle and the one or more
third device.        inputs are correlated with another one or more instruction sets for operating that third Tesla vehicle.

59. The first         The ’474 Accused Products comprise the first device of claim 46, wherein the one or more object representations of the
device of claim 46,   generated circumstance representation include one or more information about one or more objects.
wherein the one or
more object           For example, circumstance representations include information about objects, e.g., human, animal, vehicle, car, truck,
representations of    speed, predicted path, etc. See the evidence presented in support of [45a] for more information on the relationship
the generated         between circumstance representations and the object representations included therein.
circumstance
representation
include one or
more information
about one or more
objects.
60. The first         The ’474 Accused Products comprise the first device of claim 46, wherein the one or more object representations of the
device of claim 46,   generated circumstance representation include one or more coordinates of one or more objects.
wherein the one or
more object           For example, the vehicle must know the distance from the detected object representations in the generated circumstance.
representations of    The distance and location of the object representation in the circumstance representation is an example of a coordinate
the generated         relative to the Telsa vehicle.
circumstance
representation        See the evidence presented in support of claim 59 above.
include one or
more coordinates      See also, Mr. Karpathy speaking during Tesla Autonomy Day 2019 “while you are driving a car what you're
of one or more        actually doing is you are annotating the data because you are steering the wheel. you're telling us how
objects.              to traverse different environments so what we're looking at here is a some person in the fleet who took a
                      left through an intersection and what we do here is we have the full video of all the cameras and we
                      know that the path that this person took because of the GPS, the inertial measurement unit, the wheel
                      angle, the wheel ticks, so we put all that together and we understand the path that this person took
                      through this environment and then of course we can use this for supervision [e.g., training a CNN


                                                                       97
                     Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1295 of 2562 PageID #:
                                                        14166



U.S. Patent No.              Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
                     through supervised learning] for the network so we just source a lot of this from the fleet, we train a
                     neural network on those trajectories, and then the neural network predicts paths just from that data so
                     really what this is referred to typically is called imitation learning we're taking human trajectories
                     from the real world I'm just trying to imitate how people drive in real worlds and we can also apply
                     the same data engine crank to all of this and make this work [emphasis added].”
                     Source: https://www.youtube.com/watch?v=-b041NXGPZ8 at 1:04:10.

                     See also, para. [36] of Tesla’s US 2020/0249685, which states, “At 303, data related to the elements of the time series
                     are received. …In some embodiments, the related data is odometry data of the vehicle. … The related data may include
                     vehicle operating parameters such as the speed, change in speed, acceleration, change in acceleration, steering, change
                     in steering, braking, change in braking, etc.” Further, Tesla’s 10,956,755 explains that “…odometry data may include
                     vehicle operation parameters such as applied acceleration, applied braking, applied steering, vehicle location, vehicle
                     orientation, the change in vehicle location, the change in vehicle orientation, etc. [emphasis added].”
68. The first        The ’474 Accused Products comprise the first device of claim 46, wherein the knowledgebase is a neural network.
device of claim 46,
wherein the         For example, the 474 Accused Products implements a convolutional neural network.
knowledgebase is
a neural network.   As Mr. Karpathy explained during Tesla Autonomy Day 2019 “while you are driving a car what you're
                    actually doing is you are annotating the data because you are steering the wheel. you're telling us how
                    to traverse different environments so what we're looking at here is a some person in the fleet who took a
                    left through an intersection and what we do here is we have the full video of all the cameras and we
                    know that the path that this person took because of the GPS, the inertial measurement unit, the wheel
                    angle, the wheel ticks, so we put all that together and we understand the path that this person took
                    through this environment and then of course we can use this for supervision [e.g., training a CNN
                    through supervised learning] for the network so we just source a lot of this from the fleet, we train a
                    neural network on those trajectories, and then the neural network predicts paths just from that data so
                    really what this is referred to typically is called imitation learning we're taking human trajectories
                    from the real world I'm just trying to imitate how people drive in real worlds and we can also apply
                    the same data engine crank to all of this and make this work [emphasis added].”
                    Source: https://www.youtube.com/watch?v=-b041NXGPZ8 at 1:04:10.




                                                                       98
                      Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1296 of 2562 PageID #:
                                                         14167



U.S. Patent No.               Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
                     See also, the evidence presented in support of [45a] above.
69. The first        The ’474 Accused Products comprise the first device of claim 46, wherein the knowledgebase includes an artificial
device of claim 46, intelligence system.
wherein the
knowledgebase        For example, the supercomputer/simulator included in the 474 Accused Products is an artificial intelligence system
includes an          (e.g., a convolutional neural network, or CNN).
artificial
intelligence         See the evidence presented in support of claim 68 above.
system.
78. The first        The ’474 Accused Products comprise the first device of claim 46, wherein
device of claim 46,
wherein the one or For example, instruction sets derived from circumstance representations generated by the 474 Accused Products can be
more instruction     used to operate an entire fleet (e.g., tens/hundreds of thousands, even millions) of Tesla vehicles).
sets for operating
the second device The ability of vehicles in Tesla’s fleet to learn from each other is widely acknowledged by Mr. Musk and Mr. Karpathy
are further for      as one of Tesla’s biggest competitive advantages. See, for example, Tesla Autonomy Day 2019 at/around 38:58, “I
operating at least a think a very powerful sustainable advantage for us is the fleet.” At/around 44:40, it is stated that, “it is such a big deal
third device.        that we have the fleet,” and at 55:55, it is reiterated that, “Tesla is in such a unique and interesting position” because of
                     the fleet. Finally, at/around 1:22:14, it is proclaimed that it “[i]s extremely difficult to catch up when Tesla has 100
                     times more miles per day than everyone else combined,” which is a direct result of the fleet.
80. The first        The ’474 Accused Products comprise the first device of claim 46, wherein the generated circumstance representation
device of claim 46, represents the circumstance detected at least in part by the one or more sensors during a time period.
wherein the
generated            For example, Tesla vehicles are constantly sensing data (e.g., capturing images/video of the surrounding environment)
circumstance         and generating circumstance representations therefrom (e.g., via the supercomputer/simulator on the back-end of the
representation       474 Accused Products).
represents the
circumstance         As an example, at/around 1:10:43 in Tesla’s AI Day 2021 presentation, the speaker describes how Tesla depicts
detected at least in circumstance representations and the driving instructions (e.g., a trajectory through a turn) correlated therewith, along
part by the one or   with how each is implemented as sensors (e.g., cameras) are capturing data over a series of pints in time as Tesla
more sensors         vehicles are being drive in real-time.


                                                                         99
                       Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1297 of 2562 PageID #:
                                                          14168



U.S. Patent No.               Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
during a time
period.




                       See also, the remaining evidence in support of claim 45 (particularly [45a]) above.
81. The first          The ’474 Accused Products comprise the first device of claim 46, wherein the generated circumstance representation is
device of claim 46,    a data structure that includes one or more data about the circumstance detected at least in part by the one or more
wherein the            sensors, and wherein the circumstance detected at least in part by the one or more sensors includes one or more objects
generated              detected at least in part by the one or more sensors: at a first time, or during a first time period.
circumstance
representation is a    For example, at 58:10 in Tesla’s AI Day 2021 presentation (https://www.youtube.com/watch?v=j0z4FweCy4M), the
data structure that    speaker describes taking all of the images captured/recorded by the cameras included in Tesla vehicles and
includes one or        simultaneously feeding them into a single neural net and directly outputting them into a vector space.
more data about
the circumstance
detected at least in
part by the one or
more sensors, and


                                                                       100
                       Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1298 of 2562 PageID #:
                                                          14169



U.S. Patent No.               Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
wherein the
circumstance
detected at least in
part by the one or
more sensors
includes one or
more objects
detected at least in
part by the one or
more sensors: at a
first time, or
during a first time
period.




                       See also, the additional evidence corresponding to convolutional neural network implemented by the 474 Accused
                       Products, e.g., in claims 68 and 69 above.


[84pre]. A system      The ’474 Accused Products are/include a system(s) comprising the limitations below.
comprising:
                       For example, see the evidence presented in support of claim [45pre] above.


[84a]. means for       The ’474 Accused Products are/include a system(s) comprising means for accessing a knowledgebase that includes one
accessing a            or more inputs for inputting at least a portion of a circumstance representation, wherein the one or more inputs are
knowledgebase          correlated with one or more instruction sets for operating a first device.
that includes one
or more inputs for     For example, see the evidence presented in support of [45a], [45c], and [45d] above.


                                                                       101
                       Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1299 of 2562 PageID #:
                                                          14170



U.S. Patent No.               Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
inputting at least a
portion of a
circumstance
representation,
wherein the one or
more inputs are
correlated with
one or more
instruction sets for
operating a first
device;
[84b]. means for       The ’474 Accused Products are/include a system(s) further comprising means for generating a circumstance
generating a           representation, wherein the generated circumstance representation represents a circumstance detected at least in part by
circumstance           one or more sensors of a second device.
representation,
wherein the            For example, see the evidence presented in support of [45c], [45d], and [45e] above.
generated
circumstance
representation
represents a
circumstance
detected at least in
part by one or
more sensors of a
second device;
[84c]. means for       The ’474 Accused Products are/include a system(s) further comprising means for determining the one or more
determining the        instruction sets for operating the first device at least by: inputting at least a portion of the generated circumstance
one or more            representation into the one or more inputs, and using a correlation between the one or more inputs and the one or more
instruction sets for   instruction sets for operating the first device.
operating the first
device at least by:    For example, see the evidence presented in support of [45c], [45d], and [45f] above.


                                                                       102
                       Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1300 of 2562 PageID #:
                                                          14171



U.S. Patent No.               Exemplary Evidence of Plaintiff’s Theory(ies) of Infringement 1 against the’474 Accused Products 2
11,663,474
inputting at least a
portion of the
generated
circumstance
representation into
the one or more
inputs, and using a
correlation
between the one or
more inputs and
the one or more
instruction sets for
operating the first
device; and
[84d]. means for       The ’474 Accused Products are/include a system(s) further comprising means for executing, at least in response to the
executing, at least    determining, the one or more instruction sets for operating the first device, wherein the second device autonomously
in response to the     performs one or more operations defined by the one or more instruction sets for operating the first device.
determining, the
one or more            For example, see the evidence presented in support of [45c], [45d], and [45g] above.
instruction sets for
operating the first
device, wherein
the second device
autonomously
performs one or
more operations
defined by the one
or more instruction
sets for operating
the first device.




                                                                       103
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1301 of 2562 PageID #:
                                   14172




                       Exhibit L
                   Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1302 of 2562 PageID #:
                                                      14173



U.S. Patent No. 10,607,134

Claim 1                                Exemplary Infringement Evidence1
[1pre] A system comprising:            The Dojo supercomputer infringes the ’134 patent alone or together with Tesla vehicles
                                       operating Software Version 9.0 and beyond (this includes vehicles with enhanced autopilot
                                       and/or full self-driving (FSD)). The Dojo supercomputer alone or together with each of these
                                       vehicles meets the limitations of the claimed system.

                                       The discussion and evidence cited in claims [1a-e] are incorporated herein.


                                           -   See Tesla Autonomy Day 2019 video https://www.youtube.com/watch?v=-
                                               b041NXGPZ8 at 53:32 (this is actually a screenshot of our own simulator. we use
                                               simulation extensively. we use it to develop and evaluate the software. we've also even
                                               used it for training quite successfully), 1:46:51 (this is taken from our actual simulation
                                               environment), 40:52 (we have quite a good a simulation too).




                                           -   See Tesla AI Day video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:35:05

1
    These infringement contentions are prepared with publicly available information.
                                                                     1
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1303 of 2562 PageID #:
                                   14174



                       (we also invest heavily in using simulation)




                   -   See Tesla AI Day video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:35:36
                       (Simulation is a video game with Autopilot as the player)




                   -   See Tesla AI Day video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:36:03

                                            2
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1304 of 2562 PageID #:
                                   14175



                       (since it's a simulation it starts from the vector space so it has perfect labels)




                   -   See Tesla AI Day video https://www.youtube.com/watch?v=j0z4FweCy4M at 1:40:19
                       (we want to recreate any failures that happens to the autopilot in simulation so that we
                       can hold autopilot to the same bar from then on)




                                              3
                Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1305 of 2562 PageID #:
                                                   14176



[1a] one or more processors; and   Tesla’s autonomous vehicle simulation system includes one or more processors and one or
                                   more non-transitory machine readable media storing machine readable code that, when
                                   executed by the one or more processors, causes the one or more processors to perform the
                                   claimed features.

                                   For example, the Dojo supercomputer includes one or more processors including one or more
                                   Dojo D1 chip(s).




                                   See Tesla AI Day video, available at https://www.youtube.com/watch?v=j0z4FweCy4M&t=3s




                                                              4
                Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1306 of 2562 PageID #:
                                                   14177




                                   Id.




                                   Id.
[1b] one or more non-transitory    Tesla’s autonomous vehicle simulation system includes memory for storing digital pictures correlated
machine readable media storing     with one or more instructions sets for operating a first object of a first application program. The
machine readable code that, when   discussion and evidence cited in claims [1c-f] is incorporated herein.
executed by the one or more
                                                                 5
                Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1307 of 2562 PageID #:
                                                   14178



processors, causes the one or more   For example, Tesla’s autonomous vehicle simulation system includes volatile and non-volatile
processors to perform at least:      storage, such as NVME or DRAM respectively, for storing executable machine readable code.




                                     See, e.g., [CVPR'21 WAD] Keynote - Andrej                  Karpathy,   Tesla,   available   at
                                     https://www.youtube.com/watch?v=g6bOwQdCJrc.




                                                                 6
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1308 of 2562 PageID #:
                                   14179




                See Tesla AI Day video, available at https://www.youtube.com/watch?v=j0z4FweCy4M&t=3s




                Elon Musk hints at Tesla's not-so-secret Dojo AI-training supercomputer capacity - Electrek




                                            7
                 Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1309 of 2562 PageID #:
                                                    14180




                                       https://www.inputmag.com/tech/tesla-showed-off-its-massive-supercomputer-for-self-driving-
                                       data-processing

[1c] accessing a first correlation     Tesla’s autonomous vehicle simulation system accesses a first correlation including a first one
including a first one or more object   or more object representations correlated with a first one or more instruction sets for operating
representations correlated with a      a first avatar of an application, and the first one or more object representations represent one or
first one or more instruction sets     more objects of the application.
for operating a first avatar of an
application, wherein the first one     For example, Tesla uses a supercomputer called DOJO to simulate real world driving
or more object representations         environments      using     real    world      data      and   generated      data.
represent one or more objects of       https://www.youtube.com/watch?v=g6bOwQdCJrc (14:30 to 15:30).
the application;
                                       Tesla’s supercomputer is capable of behaving appropriately because the simulated car “avatar”
                                       is provided with driving instructions “first one or more instruction sets for operating a first
                                       avatar” that are correlated with object representations, e.g., simulated people, cars, traffic
                                       lights, traffic signs, etc. https://youtu.be/j0z4FweCy4M at 39 to 46 (showing simulated car in
                                       DOJO driving and reacting appropriately to cars, people, traffic signs, traffic lights, etc.); see
                                       also https://www.youtube.com/watch?v=6hkiTejoyms at 0:04 to 0:11 (“Today we are going to
                                       see how Tesla uses no less than a simulated game world to train their self-driving cars.”).




                                                                     8
                 Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1310 of 2562 PageID #:
                                                    14181




                                   See https://www.youtube.com/watch?v=j0z4FweCy4M at 2:55:34 (discussing an automatic
                                   emergency breaking system). As shown in the clip, each simulated Tesla vehicle has sensors
                                   such as cameras, etc. that are used to detect a first object representations, e.g., a pedestrian in
                                   front of the vehicle.

[1d] generating or receiving a     Tesla’s autonomous vehicle simulation system generates or receives a second one or more
second one or more object          object representations, and the second one or more object representations represent one or more
representations, wherein the       objects of the application. See citations and analysis for claim element 1b. The any object
second one or more object          representation that is similar to but different from the first object representation can correspond
representations represent one or   to the claimed second “object representation,” e.g., a second pedestrian different from the first
more objects of the application;   different pedestrian, can represent an object (e.g., person) in the simulated application on the
                                   DOJO supercomputer.

                                   For example, Tesla uses a supercomputer called DOJO to simulate real world driving
                                   environments for simulated Tesla Fleet vehicles using real world data and generated data.

                                                                 9
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1311 of 2562 PageID #:
                                   14182




                See Tesla AI Day video, available at https://www.youtube.com/watch?v=j0z4FweCy4M&t=3s




                Id.

                This real world and generated data includes video data, which includes object representations.
                Given that the video data is from the real world and generated simulations of real world

                                           10
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1312 of 2562 PageID #:
                                   14183



                environments the object representations represent objects of the application. See, for example,
                the simulated environment below showing a simulation of a person near the simulated car from
                the first application program (DOJO AI simulation).




                See Tesla AI Day video, available at https://www.youtube.com/watch?v=j0z4FweCy4M&t=3s

                As shown in the above-cited video, Tesla’s supercomputer is capable of behaving appropriately
                because the simulated car is provided with driving instructions that are correlated with objects,
                e.g., simulated people, cars, traffic lights, traffic signs, etc.




                                            11
                 Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1313 of 2562 PageID #:
                                                    14184




                                       See Tesla AI Day video, available at https://www.youtube.com/watch?v=j0z4FweCy4M&t=3s

[1e] determining the first one or      Tesla’s autonomous vehicle simulation system determines the first one or more instruction sets
more instruction sets for operating    for operating the first avatar of the application based on at least partial match between the
the first avatar of the application    second one or more object representations and the first one or more object representations. For
based on at least partial match        example, the DOJO simulation determines an instruction set (e.g., steer to the left) for operating
between the second one or more         the first simulated vehicle (first avatar) of the simulation application based on at least partial
object representations and the first   match between the second one or more object representations (e.g., pedestrian jogging on the
one or more object representations;    right hand side of the road) and the first one or more object representations (e.g., a pedestrian
and                                    on the right hand side of the car). https://electrek.co/2021/08/19/watch-tesla-ai-day-livestream-
                                       important-news/ at 38:45 to 39:00

[1f] at least in response to the       Tesla’s autonomous vehicle simulation system causes, at least in response to the determining,
determining, causing the first         the first avatar of the application or a second avatar of the application to perform one or more
avatar of the application or a         operations defined by the first one or more instruction sets for operating the first avatar of the
second avatar of the application to    application at least by executing the first one or more instruction sets for operating the first
perform one or more operations         avatar of the application. For instance, the DOJO simulation, in response to determining the
defined by the first one or more       person of the right hand side of the simulated car, causes the first avatar (simulated car) of the
instruction sets for operating the     application to perform one or more operations defined by the first one or more instruction sets
first avatar of the application at     for operating the first avatar of the application (i.e., steers the car to the left) at least by

                                                                    12
                 Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1314 of 2562 PageID #:
                                                    14185



least by executing the first one or executing the first one or more instruction sets for operating the first avatar of the application.
more instruction sets for operating https://electrek.co/2021/08/19/watch-tesla-ai-day-livestream-important-news/ at 38:45 to 39:00.
the first avatar of the application.




                                                                  13
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1315 of 2562 PageID #:
                                   14186




                      Exhibit M
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1316 of 2562 PageID #:
                                   14187
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1317 of 2562 PageID #:
                                   14188
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1318 of 2562 PageID #:
                                   14189
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1319 of 2562 PageID #:
                                   14190
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1320 of 2562 PageID #:
                                   14191
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1321 of 2562 PageID #:
                                   14192
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1322 of 2562 PageID #:
                                   14193
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1323 of 2562 PageID #:
                                   14194
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1324 of 2562 PageID #:
                                   14195
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1325 of 2562 PageID #:
                                   14196
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1326 of 2562 PageID #:
                                   14197
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1327 of 2562 PageID #:
                                   14198
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1328 of 2562 PageID #:
                                   14199
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1329 of 2562 PageID #:
                                   14200
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1330 of 2562 PageID #:
                                   14201
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1331 of 2562 PageID #:
                                   14202
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1332 of 2562 PageID #:
                                   14203
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1333 of 2562 PageID #:
                                   14204
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1334 of 2562 PageID #:
                                   14205
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1335 of 2562 PageID #:
                                   14206
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1336 of 2562 PageID #:
                                   14207
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1337 of 2562 PageID #:
                                   14208
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1338 of 2562 PageID #:
                                   14209
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1339 of 2562 PageID #:
                                   14210
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1340 of 2562 PageID #:
                                   14211
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1341 of 2562 PageID #:
                                   14212
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1342 of 2562 PageID #:
                                   14213
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1343 of 2562 PageID #:
                                   14214
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1344 of 2562 PageID #:
                                   14215
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1345 of 2562 PageID #:
                                   14216
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1346 of 2562 PageID #:
                                   14217
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1347 of 2562 PageID #:
                                   14218
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1348 of 2562 PageID #:
                                   14219
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1349 of 2562 PageID #:
                                   14220
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1350 of 2562 PageID #:
                                   14221
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1351 of 2562 PageID #:
                                   14222
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1352 of 2562 PageID #:
                                   14223
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1353 of 2562 PageID #:
                                   14224
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1354 of 2562 PageID #:
                                   14225
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1355 of 2562 PageID #:
                                   14226
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1356 of 2562 PageID #:
                                   14227
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1357 of 2562 PageID #:
                                   14228
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1358 of 2562 PageID #:
                                   14229
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1359 of 2562 PageID #:
                                   14230
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1360 of 2562 PageID #:
                                   14231
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1361 of 2562 PageID #:
                                   14232
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1362 of 2562 PageID #:
                                   14233
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1363 of 2562 PageID #:
                                   14234
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1364 of 2562 PageID #:
                                   14235
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1365 of 2562 PageID #:
                                   14236
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1366 of 2562 PageID #:
                                   14237
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1367 of 2562 PageID #:
                                   14238
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1368 of 2562 PageID #:
                                   14239
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1369 of 2562 PageID #:
                                   14240
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1370 of 2562 PageID #:
                                   14241
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1371 of 2562 PageID #:
                                   14242
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1372 of 2562 PageID #:
                                   14243
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1373 of 2562 PageID #:
                                   14244
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1374 of 2562 PageID #:
                                   14245
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1375 of 2562 PageID #:
                                   14246
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1376 of 2562 PageID #:
                                   14247
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1377 of 2562 PageID #:
                                   14248
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1378 of 2562 PageID #:
                                   14249
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1379 of 2562 PageID #:
                                   14250
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1380 of 2562 PageID #:
                                   14251
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1381 of 2562 PageID #:
                                   14252
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1382 of 2562 PageID #:
                                   14253
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1383 of 2562 PageID #:
                                   14254
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1384 of 2562 PageID #:
                                   14255
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1385 of 2562 PageID #:
                                   14256
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1386 of 2562 PageID #:
                                   14257
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1387 of 2562 PageID #:
                                   14258
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1388 of 2562 PageID #:
                                   14259
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1389 of 2562 PageID #:
                                   14260
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1390 of 2562 PageID #:
                                   14261
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1391 of 2562 PageID #:
                                   14262
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1392 of 2562 PageID #:
                                   14263
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1393 of 2562 PageID #:
                                   14264
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1394 of 2562 PageID #:
                                   14265
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1395 of 2562 PageID #:
                                   14266
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1396 of 2562 PageID #:
                                   14267
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1397 of 2562 PageID #:
                                   14268
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1398 of 2562 PageID #:
                                   14269
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1399 of 2562 PageID #:
                                   14270
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1400 of 2562 PageID #:
                                   14271
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1401 of 2562 PageID #:
                                   14272
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1402 of 2562 PageID #:
                                   14273
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1403 of 2562 PageID #:
                                   14274
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1404 of 2562 PageID #:
                                   14275
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1405 of 2562 PageID #:
                                   14276
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1406 of 2562 PageID #:
                                   14277
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1407 of 2562 PageID #:
                                   14278
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1408 of 2562 PageID #:
                                   14279
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1409 of 2562 PageID #:
                                   14280
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1410 of 2562 PageID #:
                                   14281
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1411 of 2562 PageID #:
                                   14282
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1412 of 2562 PageID #:
                                   14283
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1413 of 2562 PageID #:
                                   14284
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1414 of 2562 PageID #:
                                   14285
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1415 of 2562 PageID #:
                                   14286
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1416 of 2562 PageID #:
                                   14287
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1417 of 2562 PageID #:
                                   14288
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1418 of 2562 PageID #:
                                   14289
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1419 of 2562 PageID #:
                                   14290
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1420 of 2562 PageID #:
                                   14291
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1421 of 2562 PageID #:
                                   14292
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1422 of 2562 PageID #:
                                   14293
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1423 of 2562 PageID #:
                                   14294
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1424 of 2562 PageID #:
                                   14295
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1425 of 2562 PageID #:
                                   14296
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1426 of 2562 PageID #:
                                   14297
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1427 of 2562 PageID #:
                                   14298
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1428 of 2562 PageID #:
                                   14299
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1429 of 2562 PageID #:
                                   14300
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1430 of 2562 PageID #:
                                   14301
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1431 of 2562 PageID #:
                                   14302
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1432 of 2562 PageID #:
                                   14303
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1433 of 2562 PageID #:
                                   14304
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1434 of 2562 PageID #:
                                   14305
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1435 of 2562 PageID #:
                                   14306
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1436 of 2562 PageID #:
                                   14307
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1437 of 2562 PageID #:
                                   14308
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1438 of 2562 PageID #:
                                   14309
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1439 of 2562 PageID #:
                                   14310
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1440 of 2562 PageID #:
                                   14311
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1441 of 2562 PageID #:
                                   14312
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1442 of 2562 PageID #:
                                   14313
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1443 of 2562 PageID #:
                                   14314
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1444 of 2562 PageID #:
                                   14315
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1445 of 2562 PageID #:
                                   14316
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1446 of 2562 PageID #:
                                   14317
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1447 of 2562 PageID #:
                                   14318
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1448 of 2562 PageID #:
                                   14319
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1449 of 2562 PageID #:
                                   14320
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1450 of 2562 PageID #:
                                   14321
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1451 of 2562 PageID #:
                                   14322
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1452 of 2562 PageID #:
                                   14323
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1453 of 2562 PageID #:
                                   14324
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1454 of 2562 PageID #:
                                   14325
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1455 of 2562 PageID #:
                                   14326
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1456 of 2562 PageID #:
                                   14327
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1457 of 2562 PageID #:
                                   14328
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1458 of 2562 PageID #:
                                   14329
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1459 of 2562 PageID #:
                                   14330
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1460 of 2562 PageID #:
                                   14331
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1461 of 2562 PageID #:
                                   14332
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1462 of 2562 PageID #:
                                   14333
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1463 of 2562 PageID #:
                                   14334
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1464 of 2562 PageID #:
                                   14335
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1465 of 2562 PageID #:
                                   14336
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1466 of 2562 PageID #:
                                   14337
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1467 of 2562 PageID #:
                                   14338
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1468 of 2562 PageID #:
                                   14339
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1469 of 2562 PageID #:
                                   14340
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1470 of 2562 PageID #:
                                   14341
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1471 of 2562 PageID #:
                                   14342
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1472 of 2562 PageID #:
                                   14343
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1473 of 2562 PageID #:
                                   14344
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1474 of 2562 PageID #:
                                   14345
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1475 of 2562 PageID #:
                                   14346
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1476 of 2562 PageID #:
                                   14347
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1477 of 2562 PageID #:
                                   14348
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1478 of 2562 PageID #:
                                   14349
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1479 of 2562 PageID #:
                                   14350
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1480 of 2562 PageID #:
                                   14351
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1481 of 2562 PageID #:
                                   14352
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1482 of 2562 PageID #:
                                   14353
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1483 of 2562 PageID #:
                                   14354
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1484 of 2562 PageID #:
                                   14355
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1485 of 2562 PageID #:
                                   14356
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1486 of 2562 PageID #:
                                   14357
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1487 of 2562 PageID #:
                                   14358
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1488 of 2562 PageID #:
                                   14359
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1489 of 2562 PageID #:
                                   14360
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1490 of 2562 PageID #:
                                   14361
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1491 of 2562 PageID #:
                                   14362
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1492 of 2562 PageID #:
                                   14363
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1493 of 2562 PageID #:
                                   14364
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1494 of 2562 PageID #:
                                   14365
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1495 of 2562 PageID #:
                                   14366
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1496 of 2562 PageID #:
                                   14367
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1497 of 2562 PageID #:
                                   14368
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1498 of 2562 PageID #:
                                   14369
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1499 of 2562 PageID #:
                                   14370
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1500 of 2562 PageID #:
                                   14371
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1501 of 2562 PageID #:
                                   14372
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1502 of 2562 PageID #:
                                   14373
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1503 of 2562 PageID #:
                                   14374
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1504 of 2562 PageID #:
                                   14375
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1505 of 2562 PageID #:
                                   14376
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1506 of 2562 PageID #:
                                   14377
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1507 of 2562 PageID #:
                                   14378
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1508 of 2562 PageID #:
                                   14379
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1509 of 2562 PageID #:
                                   14380
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1510 of 2562 PageID #:
                                   14381
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1511 of 2562 PageID #:
                                   14382
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1512 of 2562 PageID #:
                                   14383
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1513 of 2562 PageID #:
                                   14384
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1514 of 2562 PageID #:
                                   14385
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1515 of 2562 PageID #:
                                   14386
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1516 of 2562 PageID #:
                                   14387
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1517 of 2562 PageID #:
                                   14388
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1518 of 2562 PageID #:
                                   14389
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1519 of 2562 PageID #:
                                   14390
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1520 of 2562 PageID #:
                                   14391
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1521 of 2562 PageID #:
                                   14392
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1522 of 2562 PageID #:
                                   14393
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1523 of 2562 PageID #:
                                   14394
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1524 of 2562 PageID #:
                                   14395
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1525 of 2562 PageID #:
                                   14396
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1526 of 2562 PageID #:
                                   14397
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1527 of 2562 PageID #:
                                   14398
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1528 of 2562 PageID #:
                                   14399
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1529 of 2562 PageID #:
                                   14400
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1530 of 2562 PageID #:
                                   14401
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1531 of 2562 PageID #:
                                   14402
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1532 of 2562 PageID #:
                                   14403
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1533 of 2562 PageID #:
                                   14404
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1534 of 2562 PageID #:
                                   14405
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1535 of 2562 PageID #:
                                   14406
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1536 of 2562 PageID #:
                                   14407
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1537 of 2562 PageID #:
                                   14408
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1538 of 2562 PageID #:
                                   14409
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1539 of 2562 PageID #:
                                   14410
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1540 of 2562 PageID #:
                                   14411
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1541 of 2562 PageID #:
                                   14412
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1542 of 2562 PageID #:
                                   14413
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1543 of 2562 PageID #:
                                   14414
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1544 of 2562 PageID #:
                                   14415
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1545 of 2562 PageID #:
                                   14416
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1546 of 2562 PageID #:
                                   14417
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1547 of 2562 PageID #:
                                   14418
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1548 of 2562 PageID #:
                                   14419
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1549 of 2562 PageID #:
                                   14420
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1550 of 2562 PageID #:
                                   14421
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1551 of 2562 PageID #:
                                   14422
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1552 of 2562 PageID #:
                                   14423
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1553 of 2562 PageID #:
                                   14424
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1554 of 2562 PageID #:
                                   14425
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1555 of 2562 PageID #:
                                   14426
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1556 of 2562 PageID #:
                                   14427
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1557 of 2562 PageID #:
                                   14428
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1558 of 2562 PageID #:
                                   14429
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1559 of 2562 PageID #:
                                   14430
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1560 of 2562 PageID #:
                                   14431
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1561 of 2562 PageID #:
                                   14432
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1562 of 2562 PageID #:
                                   14433
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1563 of 2562 PageID #:
                                   14434
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1564 of 2562 PageID #:
                                   14435
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1565 of 2562 PageID #:
                                   14436
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1566 of 2562 PageID #:
                                   14437
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1567 of 2562 PageID #:
                                   14438
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1568 of 2562 PageID #:
                                   14439
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1569 of 2562 PageID #:
                                   14440
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1570 of 2562 PageID #:
                                   14441
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1571 of 2562 PageID #:
                                   14442
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1572 of 2562 PageID #:
                                   14443
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1573 of 2562 PageID #:
                                   14444
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1574 of 2562 PageID #:
                                   14445
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1575 of 2562 PageID #:
                                   14446
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1576 of 2562 PageID #:
                                   14447
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1577 of 2562 PageID #:
                                   14448
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1578 of 2562 PageID #:
                                   14449
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1579 of 2562 PageID #:
                                   14450
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1580 of 2562 PageID #:
                                   14451
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1581 of 2562 PageID #:
                                   14452
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1582 of 2562 PageID #:
                                   14453
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1583 of 2562 PageID #:
                                   14454
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1584 of 2562 PageID #:
                                   14455
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1585 of 2562 PageID #:
                                   14456
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1586 of 2562 PageID #:
                                   14457
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1587 of 2562 PageID #:
                                   14458
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1588 of 2562 PageID #:
                                   14459
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1589 of 2562 PageID #:
                                   14460
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1590 of 2562 PageID #:
                                   14461
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1591 of 2562 PageID #:
                                   14462
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1592 of 2562 PageID #:
                                   14463
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1593 of 2562 PageID #:
                                   14464
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1594 of 2562 PageID #:
                                   14465
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1595 of 2562 PageID #:
                                   14466
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1596 of 2562 PageID #:
                                   14467
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1597 of 2562 PageID #:
                                   14468
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1598 of 2562 PageID #:
                                   14469
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1599 of 2562 PageID #:
                                   14470
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1600 of 2562 PageID #:
                                   14471
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1601 of 2562 PageID #:
                                   14472
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1602 of 2562 PageID #:
                                   14473
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1603 of 2562 PageID #:
                                   14474
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1604 of 2562 PageID #:
                                   14475
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1605 of 2562 PageID #:
                                   14476
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1606 of 2562 PageID #:
                                   14477
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1607 of 2562 PageID #:
                                   14478
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1608 of 2562 PageID #:
                                   14479
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1609 of 2562 PageID #:
                                   14480
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1610 of 2562 PageID #:
                                   14481
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1611 of 2562 PageID #:
                                   14482
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1612 of 2562 PageID #:
                                   14483
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1613 of 2562 PageID #:
                                   14484
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1614 of 2562 PageID #:
                                   14485
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1615 of 2562 PageID #:
                                   14486
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1616 of 2562 PageID #:
                                   14487
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1617 of 2562 PageID #:
                                   14488
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1618 of 2562 PageID #:
                                   14489
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1619 of 2562 PageID #:
                                   14490
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1620 of 2562 PageID #:
                                   14491
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1621 of 2562 PageID #:
                                   14492
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1622 of 2562 PageID #:
                                   14493
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1623 of 2562 PageID #:
                                   14494
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1624 of 2562 PageID #:
                                   14495
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1625 of 2562 PageID #:
                                   14496
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1626 of 2562 PageID #:
                                   14497
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1627 of 2562 PageID #:
                                   14498
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1628 of 2562 PageID #:
                                   14499
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1629 of 2562 PageID #:
                                   14500
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1630 of 2562 PageID #:
                                   14501
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1631 of 2562 PageID #:
                                   14502
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1632 of 2562 PageID #:
                                   14503
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1633 of 2562 PageID #:
                                   14504
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1634 of 2562 PageID #:
                                   14505
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1635 of 2562 PageID #:
                                   14506
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1636 of 2562 PageID #:
                                   14507
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1637 of 2562 PageID #:
                                   14508
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1638 of 2562 PageID #:
                                   14509
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1639 of 2562 PageID #:
                                   14510
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1640 of 2562 PageID #:
                                   14511
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1641 of 2562 PageID #:
                                   14512
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1642 of 2562 PageID #:
                                   14513
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1643 of 2562 PageID #:
                                   14514
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1644 of 2562 PageID #:
                                   14515
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1645 of 2562 PageID #:
                                   14516
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1646 of 2562 PageID #:
                                   14517
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1647 of 2562 PageID #:
                                   14518
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1648 of 2562 PageID #:
                                   14519
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1649 of 2562 PageID #:
                                   14520
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1650 of 2562 PageID #:
                                   14521
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1651 of 2562 PageID #:
                                   14522
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1652 of 2562 PageID #:
                                   14523
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1653 of 2562 PageID #:
                                   14524
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1654 of 2562 PageID #:
                                   14525
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1655 of 2562 PageID #:
                                   14526
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1656 of 2562 PageID #:
                                   14527
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1657 of 2562 PageID #:
                                   14528
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1658 of 2562 PageID #:
                                   14529
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1659 of 2562 PageID #:
                                   14530
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1660 of 2562 PageID #:
                                   14531
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1661 of 2562 PageID #:
                                   14532
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1662 of 2562 PageID #:
                                   14533
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1663 of 2562 PageID #:
                                   14534
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1664 of 2562 PageID #:
                                   14535
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1665 of 2562 PageID #:
                                   14536
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1666 of 2562 PageID #:
                                   14537
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1667 of 2562 PageID #:
                                   14538
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1668 of 2562 PageID #:
                                   14539
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1669 of 2562 PageID #:
                                   14540
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1670 of 2562 PageID #:
                                   14541
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1671 of 2562 PageID #:
                                   14542
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1672 of 2562 PageID #:
                                   14543
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1673 of 2562 PageID #:
                                   14544
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1674 of 2562 PageID #:
                                   14545
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1675 of 2562 PageID #:
                                   14546
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1676 of 2562 PageID #:
                                   14547
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1677 of 2562 PageID #:
                                   14548
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1678 of 2562 PageID #:
                                   14549
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1679 of 2562 PageID #:
                                   14550
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1680 of 2562 PageID #:
                                   14551
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1681 of 2562 PageID #:
                                   14552
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1682 of 2562 PageID #:
                                   14553
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1683 of 2562 PageID #:
                                   14554
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1684 of 2562 PageID #:
                                   14555
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1685 of 2562 PageID #:
                                   14556
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1686 of 2562 PageID #:
                                   14557
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1687 of 2562 PageID #:
                                   14558
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1688 of 2562 PageID #:
                                   14559
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1689 of 2562 PageID #:
                                   14560
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1690 of 2562 PageID #:
                                   14561
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1691 of 2562 PageID #:
                                   14562
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1692 of 2562 PageID #:
                                   14563
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1693 of 2562 PageID #:
                                   14564
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1694 of 2562 PageID #:
                                   14565
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1695 of 2562 PageID #:
                                   14566
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1696 of 2562 PageID #:
                                   14567
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1697 of 2562 PageID #:
                                   14568
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1698 of 2562 PageID #:
                                   14569
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1699 of 2562 PageID #:
                                   14570
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1700 of 2562 PageID #:
                                   14571
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1701 of 2562 PageID #:
                                   14572
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1702 of 2562 PageID #:
                                   14573
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1703 of 2562 PageID #:
                                   14574
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1704 of 2562 PageID #:
                                   14575
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1705 of 2562 PageID #:
                                   14576
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1706 of 2562 PageID #:
                                   14577
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1707 of 2562 PageID #:
                                   14578
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1708 of 2562 PageID #:
                                   14579
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1709 of 2562 PageID #:
                                   14580
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1710 of 2562 PageID #:
                                   14581
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1711 of 2562 PageID #:
                                   14582
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1712 of 2562 PageID #:
                                   14583
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1713 of 2562 PageID #:
                                   14584
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1714 of 2562 PageID #:
                                   14585
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1715 of 2562 PageID #:
                                   14586
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1716 of 2562 PageID #:
                                   14587
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1717 of 2562 PageID #:
                                   14588
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1718 of 2562 PageID #:
                                   14589
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1719 of 2562 PageID #:
                                   14590
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1720 of 2562 PageID #:
                                   14591
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1721 of 2562 PageID #:
                                   14592
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1722 of 2562 PageID #:
                                   14593
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1723 of 2562 PageID #:
                                   14594
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1724 of 2562 PageID #:
                                   14595
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1725 of 2562 PageID #:
                                   14596
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1726 of 2562 PageID #:
                                   14597
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1727 of 2562 PageID #:
                                   14598
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1728 of 2562 PageID #:
                                   14599
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1729 of 2562 PageID #:
                                   14600
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1730 of 2562 PageID #:
                                   14601
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1731 of 2562 PageID #:
                                   14602
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1732 of 2562 PageID #:
                                   14603
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1733 of 2562 PageID #:
                                   14604
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1734 of 2562 PageID #:
                                   14605
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1735 of 2562 PageID #:
                                   14606
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1736 of 2562 PageID #:
                                   14607
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1737 of 2562 PageID #:
                                   14608
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1738 of 2562 PageID #:
                                   14609
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1739 of 2562 PageID #:
                                   14610




                       Exhibit N
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1740 of 2562 PageID #:
                                   14611
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1741 of 2562 PageID #:
                                   14612
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1742 of 2562 PageID #:
                                   14613
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1743 of 2562 PageID #:
                                   14614
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1744 of 2562 PageID #:
                                   14615
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1745 of 2562 PageID #:
                                   14616
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1746 of 2562 PageID #:
                                   14617
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1747 of 2562 PageID #:
                                   14618
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1748 of 2562 PageID #:
                                   14619
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1749 of 2562 PageID #:
                                   14620
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1750 of 2562 PageID #:
                                   14621
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1751 of 2562 PageID #:
                                   14622
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1752 of 2562 PageID #:
                                   14623
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1753 of 2562 PageID #:
                                   14624
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1754 of 2562 PageID #:
                                   14625
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1755 of 2562 PageID #:
                                   14626
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1756 of 2562 PageID #:
                                   14627
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1757 of 2562 PageID #:
                                   14628
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1758 of 2562 PageID #:
                                   14629
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1759 of 2562 PageID #:
                                   14630
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1760 of 2562 PageID #:
                                   14631
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1761 of 2562 PageID #:
                                   14632
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1762 of 2562 PageID #:
                                   14633
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1763 of 2562 PageID #:
                                   14634
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1764 of 2562 PageID #:
                                   14635
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1765 of 2562 PageID #:
                                   14636
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1766 of 2562 PageID #:
                                   14637
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1767 of 2562 PageID #:
                                   14638
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1768 of 2562 PageID #:
                                   14639
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1769 of 2562 PageID #:
                                   14640
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1770 of 2562 PageID #:
                                   14641
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1771 of 2562 PageID #:
                                   14642
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1772 of 2562 PageID #:
                                   14643
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1773 of 2562 PageID #:
                                   14644
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1774 of 2562 PageID #:
                                   14645
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1775 of 2562 PageID #:
                                   14646
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1776 of 2562 PageID #:
                                   14647
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1777 of 2562 PageID #:
                                   14648
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1778 of 2562 PageID #:
                                   14649
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1779 of 2562 PageID #:
                                   14650
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1780 of 2562 PageID #:
                                   14651
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1781 of 2562 PageID #:
                                   14652
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1782 of 2562 PageID #:
                                   14653
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1783 of 2562 PageID #:
                                   14654
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1784 of 2562 PageID #:
                                   14655
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1785 of 2562 PageID #:
                                   14656
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1786 of 2562 PageID #:
                                   14657
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1787 of 2562 PageID #:
                                   14658
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1788 of 2562 PageID #:
                                   14659
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1789 of 2562 PageID #:
                                   14660
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1790 of 2562 PageID #:
                                   14661
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1791 of 2562 PageID #:
                                   14662
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1792 of 2562 PageID #:
                                   14663
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1793 of 2562 PageID #:
                                   14664
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1794 of 2562 PageID #:
                                   14665
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1795 of 2562 PageID #:
                                   14666
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1796 of 2562 PageID #:
                                   14667
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1797 of 2562 PageID #:
                                   14668
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1798 of 2562 PageID #:
                                   14669
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1799 of 2562 PageID #:
                                   14670
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1800 of 2562 PageID #:
                                   14671
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1801 of 2562 PageID #:
                                   14672
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1802 of 2562 PageID #:
                                   14673
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1803 of 2562 PageID #:
                                   14674
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1804 of 2562 PageID #:
                                   14675
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1805 of 2562 PageID #:
                                   14676
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1806 of 2562 PageID #:
                                   14677
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1807 of 2562 PageID #:
                                   14678
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1808 of 2562 PageID #:
                                   14679
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1809 of 2562 PageID #:
                                   14680
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1810 of 2562 PageID #:
                                   14681
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1811 of 2562 PageID #:
                                   14682
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1812 of 2562 PageID #:
                                   14683
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1813 of 2562 PageID #:
                                   14684
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1814 of 2562 PageID #:
                                   14685
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1815 of 2562 PageID #:
                                   14686
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1816 of 2562 PageID #:
                                   14687
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1817 of 2562 PageID #:
                                   14688
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1818 of 2562 PageID #:
                                   14689
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1819 of 2562 PageID #:
                                   14690
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1820 of 2562 PageID #:
                                   14691
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1821 of 2562 PageID #:
                                   14692
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1822 of 2562 PageID #:
                                   14693
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1823 of 2562 PageID #:
                                   14694
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1824 of 2562 PageID #:
                                   14695
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1825 of 2562 PageID #:
                                   14696
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1826 of 2562 PageID #:
                                   14697
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1827 of 2562 PageID #:
                                   14698
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1828 of 2562 PageID #:
                                   14699
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1829 of 2562 PageID #:
                                   14700
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1830 of 2562 PageID #:
                                   14701
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1831 of 2562 PageID #:
                                   14702
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1832 of 2562 PageID #:
                                   14703
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1833 of 2562 PageID #:
                                   14704
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1834 of 2562 PageID #:
                                   14705
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1835 of 2562 PageID #:
                                   14706
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1836 of 2562 PageID #:
                                   14707
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1837 of 2562 PageID #:
                                   14708
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1838 of 2562 PageID #:
                                   14709
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1839 of 2562 PageID #:
                                   14710
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1840 of 2562 PageID #:
                                   14711
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1841 of 2562 PageID #:
                                   14712
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1842 of 2562 PageID #:
                                   14713
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1843 of 2562 PageID #:
                                   14714
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1844 of 2562 PageID #:
                                   14715
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1845 of 2562 PageID #:
                                   14716
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1846 of 2562 PageID #:
                                   14717
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1847 of 2562 PageID #:
                                   14718
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1848 of 2562 PageID #:
                                   14719
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1849 of 2562 PageID #:
                                   14720
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1850 of 2562 PageID #:
                                   14721
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1851 of 2562 PageID #:
                                   14722
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1852 of 2562 PageID #:
                                   14723
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1853 of 2562 PageID #:
                                   14724
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1854 of 2562 PageID #:
                                   14725
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1855 of 2562 PageID #:
                                   14726
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1856 of 2562 PageID #:
                                   14727
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1857 of 2562 PageID #:
                                   14728
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1858 of 2562 PageID #:
                                   14729
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1859 of 2562 PageID #:
                                   14730
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1860 of 2562 PageID #:
                                   14731
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1861 of 2562 PageID #:
                                   14732
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1862 of 2562 PageID #:
                                   14733
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1863 of 2562 PageID #:
                                   14734
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1864 of 2562 PageID #:
                                   14735
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1865 of 2562 PageID #:
                                   14736
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1866 of 2562 PageID #:
                                   14737
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1867 of 2562 PageID #:
                                   14738
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1868 of 2562 PageID #:
                                   14739
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1869 of 2562 PageID #:
                                   14740
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1870 of 2562 PageID #:
                                   14741
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1871 of 2562 PageID #:
                                   14742
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1872 of 2562 PageID #:
                                   14743
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1873 of 2562 PageID #:
                                   14744
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1874 of 2562 PageID #:
                                   14745
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1875 of 2562 PageID #:
                                   14746
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1876 of 2562 PageID #:
                                   14747
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1877 of 2562 PageID #:
                                   14748
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1878 of 2562 PageID #:
                                   14749
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1879 of 2562 PageID #:
                                   14750
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1880 of 2562 PageID #:
                                   14751
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1881 of 2562 PageID #:
                                   14752
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1882 of 2562 PageID #:
                                   14753
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1883 of 2562 PageID #:
                                   14754
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1884 of 2562 PageID #:
                                   14755
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1885 of 2562 PageID #:
                                   14756
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1886 of 2562 PageID #:
                                   14757
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1887 of 2562 PageID #:
                                   14758
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1888 of 2562 PageID #:
                                   14759
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1889 of 2562 PageID #:
                                   14760
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1890 of 2562 PageID #:
                                   14761
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1891 of 2562 PageID #:
                                   14762
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1892 of 2562 PageID #:
                                   14763
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1893 of 2562 PageID #:
                                   14764
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1894 of 2562 PageID #:
                                   14765
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1895 of 2562 PageID #:
                                   14766
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1896 of 2562 PageID #:
                                   14767
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1897 of 2562 PageID #:
                                   14768
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1898 of 2562 PageID #:
                                   14769
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1899 of 2562 PageID #:
                                   14770
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1900 of 2562 PageID #:
                                   14771
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1901 of 2562 PageID #:
                                   14772
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1902 of 2562 PageID #:
                                   14773
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1903 of 2562 PageID #:
                                   14774
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1904 of 2562 PageID #:
                                   14775
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1905 of 2562 PageID #:
                                   14776
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1906 of 2562 PageID #:
                                   14777
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1907 of 2562 PageID #:
                                   14778
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1908 of 2562 PageID #:
                                   14779
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1909 of 2562 PageID #:
                                   14780
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1910 of 2562 PageID #:
                                   14781
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1911 of 2562 PageID #:
                                   14782
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1912 of 2562 PageID #:
                                   14783
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1913 of 2562 PageID #:
                                   14784
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1914 of 2562 PageID #:
                                   14785
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1915 of 2562 PageID #:
                                   14786
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1916 of 2562 PageID #:
                                   14787
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1917 of 2562 PageID #:
                                   14788
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1918 of 2562 PageID #:
                                   14789
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1919 of 2562 PageID #:
                                   14790
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1920 of 2562 PageID #:
                                   14791
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1921 of 2562 PageID #:
                                   14792
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1922 of 2562 PageID #:
                                   14793
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1923 of 2562 PageID #:
                                   14794
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1924 of 2562 PageID #:
                                   14795
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1925 of 2562 PageID #:
                                   14796
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1926 of 2562 PageID #:
                                   14797
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1927 of 2562 PageID #:
                                   14798
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1928 of 2562 PageID #:
                                   14799
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1929 of 2562 PageID #:
                                   14800
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1930 of 2562 PageID #:
                                   14801
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1931 of 2562 PageID #:
                                   14802
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1932 of 2562 PageID #:
                                   14803
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1933 of 2562 PageID #:
                                   14804
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1934 of 2562 PageID #:
                                   14805
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1935 of 2562 PageID #:
                                   14806
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1936 of 2562 PageID #:
                                   14807
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1937 of 2562 PageID #:
                                   14808
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1938 of 2562 PageID #:
                                   14809
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1939 of 2562 PageID #:
                                   14810
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1940 of 2562 PageID #:
                                   14811
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1941 of 2562 PageID #:
                                   14812
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1942 of 2562 PageID #:
                                   14813
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1943 of 2562 PageID #:
                                   14814
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1944 of 2562 PageID #:
                                   14815
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1945 of 2562 PageID #:
                                   14816
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1946 of 2562 PageID #:
                                   14817
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1947 of 2562 PageID #:
                                   14818
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1948 of 2562 PageID #:
                                   14819
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1949 of 2562 PageID #:
                                   14820
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1950 of 2562 PageID #:
                                   14821
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1951 of 2562 PageID #:
                                   14822
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1952 of 2562 PageID #:
                                   14823
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1953 of 2562 PageID #:
                                   14824
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1954 of 2562 PageID #:
                                   14825
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1955 of 2562 PageID #:
                                   14826
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1956 of 2562 PageID #:
                                   14827
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1957 of 2562 PageID #:
                                   14828
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1958 of 2562 PageID #:
                                   14829
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1959 of 2562 PageID #:
                                   14830
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1960 of 2562 PageID #:
                                   14831
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1961 of 2562 PageID #:
                                   14832
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1962 of 2562 PageID #:
                                   14833
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1963 of 2562 PageID #:
                                   14834
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1964 of 2562 PageID #:
                                   14835
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1965 of 2562 PageID #:
                                   14836
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1966 of 2562 PageID #:
                                   14837
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1967 of 2562 PageID #:
                                   14838
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1968 of 2562 PageID #:
                                   14839
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1969 of 2562 PageID #:
                                   14840
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1970 of 2562 PageID #:
                                   14841
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1971 of 2562 PageID #:
                                   14842
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1972 of 2562 PageID #:
                                   14843
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1973 of 2562 PageID #:
                                   14844
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1974 of 2562 PageID #:
                                   14845
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1975 of 2562 PageID #:
                                   14846
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1976 of 2562 PageID #:
                                   14847
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1977 of 2562 PageID #:
                                   14848
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1978 of 2562 PageID #:
                                   14849
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1979 of 2562 PageID #:
                                   14850
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1980 of 2562 PageID #:
                                   14851
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1981 of 2562 PageID #:
                                   14852
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1982 of 2562 PageID #:
                                   14853
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1983 of 2562 PageID #:
                                   14854
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1984 of 2562 PageID #:
                                   14855
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1985 of 2562 PageID #:
                                   14856
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1986 of 2562 PageID #:
                                   14857
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1987 of 2562 PageID #:
                                   14858
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1988 of 2562 PageID #:
                                   14859
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1989 of 2562 PageID #:
                                   14860
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1990 of 2562 PageID #:
                                   14861
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1991 of 2562 PageID #:
                                   14862
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1992 of 2562 PageID #:
                                   14863
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1993 of 2562 PageID #:
                                   14864
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1994 of 2562 PageID #:
                                   14865
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1995 of 2562 PageID #:
                                   14866
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1996 of 2562 PageID #:
                                   14867
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1997 of 2562 PageID #:
                                   14868
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1998 of 2562 PageID #:
                                   14869
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 1999 of 2562 PageID #:
                                   14870
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2000 of 2562 PageID #:
                                   14871
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2001 of 2562 PageID #:
                                   14872
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2002 of 2562 PageID #:
                                   14873
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2003 of 2562 PageID #:
                                   14874
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2004 of 2562 PageID #:
                                   14875
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2005 of 2562 PageID #:
                                   14876
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2006 of 2562 PageID #:
                                   14877
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2007 of 2562 PageID #:
                                   14878
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2008 of 2562 PageID #:
                                   14879
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2009 of 2562 PageID #:
                                   14880
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2010 of 2562 PageID #:
                                   14881
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2011 of 2562 PageID #:
                                   14882
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2012 of 2562 PageID #:
                                   14883
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2013 of 2562 PageID #:
                                   14884
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2014 of 2562 PageID #:
                                   14885
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2015 of 2562 PageID #:
                                   14886
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2016 of 2562 PageID #:
                                   14887
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2017 of 2562 PageID #:
                                   14888
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2018 of 2562 PageID #:
                                   14889
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2019 of 2562 PageID #:
                                   14890
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2020 of 2562 PageID #:
                                   14891
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2021 of 2562 PageID #:
                                   14892
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2022 of 2562 PageID #:
                                   14893
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2023 of 2562 PageID #:
                                   14894
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2024 of 2562 PageID #:
                                   14895
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2025 of 2562 PageID #:
                                   14896
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2026 of 2562 PageID #:
                                   14897
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2027 of 2562 PageID #:
                                   14898
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2028 of 2562 PageID #:
                                   14899
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2029 of 2562 PageID #:
                                   14900
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2030 of 2562 PageID #:
                                   14901
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2031 of 2562 PageID #:
                                   14902
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2032 of 2562 PageID #:
                                   14903
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2033 of 2562 PageID #:
                                   14904
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2034 of 2562 PageID #:
                                   14905
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2035 of 2562 PageID #:
                                   14906
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2036 of 2562 PageID #:
                                   14907
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2037 of 2562 PageID #:
                                   14908
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2038 of 2562 PageID #:
                                   14909
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2039 of 2562 PageID #:
                                   14910
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2040 of 2562 PageID #:
                                   14911
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2041 of 2562 PageID #:
                                   14912
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2042 of 2562 PageID #:
                                   14913
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2043 of 2562 PageID #:
                                   14914
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2044 of 2562 PageID #:
                                   14915
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2045 of 2562 PageID #:
                                   14916
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2046 of 2562 PageID #:
                                   14917
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2047 of 2562 PageID #:
                                   14918
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2048 of 2562 PageID #:
                                   14919
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2049 of 2562 PageID #:
                                   14920
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2050 of 2562 PageID #:
                                   14921
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2051 of 2562 PageID #:
                                   14922
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2052 of 2562 PageID #:
                                   14923
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2053 of 2562 PageID #:
                                   14924
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2054 of 2562 PageID #:
                                   14925
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2055 of 2562 PageID #:
                                   14926
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2056 of 2562 PageID #:
                                   14927
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2057 of 2562 PageID #:
                                   14928
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2058 of 2562 PageID #:
                                   14929
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2059 of 2562 PageID #:
                                   14930
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2060 of 2562 PageID #:
                                   14931
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2061 of 2562 PageID #:
                                   14932
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2062 of 2562 PageID #:
                                   14933
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2063 of 2562 PageID #:
                                   14934
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2064 of 2562 PageID #:
                                   14935
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2065 of 2562 PageID #:
                                   14936
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2066 of 2562 PageID #:
                                   14937
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2067 of 2562 PageID #:
                                   14938
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2068 of 2562 PageID #:
                                   14939
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2069 of 2562 PageID #:
                                   14940
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2070 of 2562 PageID #:
                                   14941
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2071 of 2562 PageID #:
                                   14942
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2072 of 2562 PageID #:
                                   14943
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2073 of 2562 PageID #:
                                   14944
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2074 of 2562 PageID #:
                                   14945
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2075 of 2562 PageID #:
                                   14946
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2076 of 2562 PageID #:
                                   14947
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2077 of 2562 PageID #:
                                   14948
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2078 of 2562 PageID #:
                                   14949
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2079 of 2562 PageID #:
                                   14950
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2080 of 2562 PageID #:
                                   14951
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2081 of 2562 PageID #:
                                   14952
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2082 of 2562 PageID #:
                                   14953
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2083 of 2562 PageID #:
                                   14954
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2084 of 2562 PageID #:
                                   14955
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2085 of 2562 PageID #:
                                   14956
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2086 of 2562 PageID #:
                                   14957
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2087 of 2562 PageID #:
                                   14958
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2088 of 2562 PageID #:
                                   14959
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2089 of 2562 PageID #:
                                   14960
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2090 of 2562 PageID #:
                                   14961
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2091 of 2562 PageID #:
                                   14962
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2092 of 2562 PageID #:
                                   14963
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2093 of 2562 PageID #:
                                   14964
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2094 of 2562 PageID #:
                                   14965
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2095 of 2562 PageID #:
                                   14966
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2096 of 2562 PageID #:
                                   14967
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2097 of 2562 PageID #:
                                   14968
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2098 of 2562 PageID #:
                                   14969
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2099 of 2562 PageID #:
                                   14970
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2100 of 2562 PageID #:
                                   14971
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2101 of 2562 PageID #:
                                   14972
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2102 of 2562 PageID #:
                                   14973
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2103 of 2562 PageID #:
                                   14974
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2104 of 2562 PageID #:
                                   14975
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2105 of 2562 PageID #:
                                   14976
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2106 of 2562 PageID #:
                                   14977
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2107 of 2562 PageID #:
                                   14978
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2108 of 2562 PageID #:
                                   14979
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2109 of 2562 PageID #:
                                   14980
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2110 of 2562 PageID #:
                                   14981
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2111 of 2562 PageID #:
                                   14982
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2112 of 2562 PageID #:
                                   14983
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2113 of 2562 PageID #:
                                   14984
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2114 of 2562 PageID #:
                                   14985
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2115 of 2562 PageID #:
                                   14986
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2116 of 2562 PageID #:
                                   14987
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2117 of 2562 PageID #:
                                   14988
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2118 of 2562 PageID #:
                                   14989
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2119 of 2562 PageID #:
                                   14990
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2120 of 2562 PageID #:
                                   14991
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2121 of 2562 PageID #:
                                   14992
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2122 of 2562 PageID #:
                                   14993
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2123 of 2562 PageID #:
                                   14994
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2124 of 2562 PageID #:
                                   14995
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2125 of 2562 PageID #:
                                   14996
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2126 of 2562 PageID #:
                                   14997
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2127 of 2562 PageID #:
                                   14998
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2128 of 2562 PageID #:
                                   14999
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2129 of 2562 PageID #:
                                   15000
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2130 of 2562 PageID #:
                                   15001
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2131 of 2562 PageID #:
                                   15002
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2132 of 2562 PageID #:
                                   15003
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2133 of 2562 PageID #:
                                   15004
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2134 of 2562 PageID #:
                                   15005
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2135 of 2562 PageID #:
                                   15006
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2136 of 2562 PageID #:
                                   15007
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2137 of 2562 PageID #:
                                   15008
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2138 of 2562 PageID #:
                                   15009
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2139 of 2562 PageID #:
                                   15010
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2140 of 2562 PageID #:
                                   15011
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2141 of 2562 PageID #:
                                   15012
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2142 of 2562 PageID #:
                                   15013
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2143 of 2562 PageID #:
                                   15014
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2144 of 2562 PageID #:
                                   15015
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2145 of 2562 PageID #:
                                   15016
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2146 of 2562 PageID #:
                                   15017
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2147 of 2562 PageID #:
                                   15018
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2148 of 2562 PageID #:
                                   15019
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2149 of 2562 PageID #:
                                   15020
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2150 of 2562 PageID #:
                                   15021
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2151 of 2562 PageID #:
                                   15022
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2152 of 2562 PageID #:
                                   15023
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2153 of 2562 PageID #:
                                   15024
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2154 of 2562 PageID #:
                                   15025
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2155 of 2562 PageID #:
                                   15026
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2156 of 2562 PageID #:
                                   15027




                       Exhibit O
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2157 of 2562 PageID #:
                                   15028
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2158 of 2562 PageID #:
                                   15029
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2159 of 2562 PageID #:
                                   15030
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2160 of 2562 PageID #:
                                   15031
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2161 of 2562 PageID #:
                                   15032
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2162 of 2562 PageID #:
                                   15033
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2163 of 2562 PageID #:
                                   15034
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2164 of 2562 PageID #:
                                   15035
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2165 of 2562 PageID #:
                                   15036
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2166 of 2562 PageID #:
                                   15037
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2167 of 2562 PageID #:
                                   15038
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2168 of 2562 PageID #:
                                   15039
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2169 of 2562 PageID #:
                                   15040
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2170 of 2562 PageID #:
                                   15041
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2171 of 2562 PageID #:
                                   15042
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2172 of 2562 PageID #:
                                   15043
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2173 of 2562 PageID #:
                                   15044
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2174 of 2562 PageID #:
                                   15045
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2175 of 2562 PageID #:
                                   15046
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2176 of 2562 PageID #:
                                   15047
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2177 of 2562 PageID #:
                                   15048
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2178 of 2562 PageID #:
                                   15049
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2179 of 2562 PageID #:
                                   15050
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2180 of 2562 PageID #:
                                   15051
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2181 of 2562 PageID #:
                                   15052
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2182 of 2562 PageID #:
                                   15053
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2183 of 2562 PageID #:
                                   15054
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2184 of 2562 PageID #:
                                   15055
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2185 of 2562 PageID #:
                                   15056
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2186 of 2562 PageID #:
                                   15057
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2187 of 2562 PageID #:
                                   15058
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2188 of 2562 PageID #:
                                   15059
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2189 of 2562 PageID #:
                                   15060
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2190 of 2562 PageID #:
                                   15061
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2191 of 2562 PageID #:
                                   15062
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2192 of 2562 PageID #:
                                   15063
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2193 of 2562 PageID #:
                                   15064
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2194 of 2562 PageID #:
                                   15065
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2195 of 2562 PageID #:
                                   15066
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2196 of 2562 PageID #:
                                   15067
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2197 of 2562 PageID #:
                                   15068
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2198 of 2562 PageID #:
                                   15069
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2199 of 2562 PageID #:
                                   15070
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2200 of 2562 PageID #:
                                   15071
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2201 of 2562 PageID #:
                                   15072
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2202 of 2562 PageID #:
                                   15073
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2203 of 2562 PageID #:
                                   15074
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2204 of 2562 PageID #:
                                   15075
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2205 of 2562 PageID #:
                                   15076
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2206 of 2562 PageID #:
                                   15077
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2207 of 2562 PageID #:
                                   15078
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2208 of 2562 PageID #:
                                   15079
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2209 of 2562 PageID #:
                                   15080
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2210 of 2562 PageID #:
                                   15081
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2211 of 2562 PageID #:
                                   15082
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2212 of 2562 PageID #:
                                   15083
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2213 of 2562 PageID #:
                                   15084
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2214 of 2562 PageID #:
                                   15085
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2215 of 2562 PageID #:
                                   15086
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2216 of 2562 PageID #:
                                   15087
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2217 of 2562 PageID #:
                                   15088
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2218 of 2562 PageID #:
                                   15089
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2219 of 2562 PageID #:
                                   15090
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2220 of 2562 PageID #:
                                   15091
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2221 of 2562 PageID #:
                                   15092
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2222 of 2562 PageID #:
                                   15093
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2223 of 2562 PageID #:
                                   15094
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2224 of 2562 PageID #:
                                   15095
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2225 of 2562 PageID #:
                                   15096
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2226 of 2562 PageID #:
                                   15097
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2227 of 2562 PageID #:
                                   15098
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2228 of 2562 PageID #:
                                   15099
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2229 of 2562 PageID #:
                                   15100
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2230 of 2562 PageID #:
                                   15101
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2231 of 2562 PageID #:
                                   15102
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2232 of 2562 PageID #:
                                   15103
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2233 of 2562 PageID #:
                                   15104
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2234 of 2562 PageID #:
                                   15105
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2235 of 2562 PageID #:
                                   15106
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2236 of 2562 PageID #:
                                   15107
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2237 of 2562 PageID #:
                                   15108
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2238 of 2562 PageID #:
                                   15109
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2239 of 2562 PageID #:
                                   15110
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2240 of 2562 PageID #:
                                   15111
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2241 of 2562 PageID #:
                                   15112
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2242 of 2562 PageID #:
                                   15113
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2243 of 2562 PageID #:
                                   15114
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2244 of 2562 PageID #:
                                   15115
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2245 of 2562 PageID #:
                                   15116
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2246 of 2562 PageID #:
                                   15117
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2247 of 2562 PageID #:
                                   15118
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2248 of 2562 PageID #:
                                   15119
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2249 of 2562 PageID #:
                                   15120
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2250 of 2562 PageID #:
                                   15121
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2251 of 2562 PageID #:
                                   15122
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2252 of 2562 PageID #:
                                   15123
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2253 of 2562 PageID #:
                                   15124
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2254 of 2562 PageID #:
                                   15125
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2255 of 2562 PageID #:
                                   15126
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2256 of 2562 PageID #:
                                   15127
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2257 of 2562 PageID #:
                                   15128
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2258 of 2562 PageID #:
                                   15129
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2259 of 2562 PageID #:
                                   15130
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2260 of 2562 PageID #:
                                   15131
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2261 of 2562 PageID #:
                                   15132
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2262 of 2562 PageID #:
                                   15133
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2263 of 2562 PageID #:
                                   15134
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2264 of 2562 PageID #:
                                   15135
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2265 of 2562 PageID #:
                                   15136
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2266 of 2562 PageID #:
                                   15137
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2267 of 2562 PageID #:
                                   15138
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2268 of 2562 PageID #:
                                   15139
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2269 of 2562 PageID #:
                                   15140
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2270 of 2562 PageID #:
                                   15141
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2271 of 2562 PageID #:
                                   15142
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2272 of 2562 PageID #:
                                   15143
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2273 of 2562 PageID #:
                                   15144
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2274 of 2562 PageID #:
                                   15145
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2275 of 2562 PageID #:
                                   15146
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2276 of 2562 PageID #:
                                   15147
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2277 of 2562 PageID #:
                                   15148
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2278 of 2562 PageID #:
                                   15149
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2279 of 2562 PageID #:
                                   15150
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2280 of 2562 PageID #:
                                   15151
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2281 of 2562 PageID #:
                                   15152
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2282 of 2562 PageID #:
                                   15153
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2283 of 2562 PageID #:
                                   15154
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2284 of 2562 PageID #:
                                   15155
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2285 of 2562 PageID #:
                                   15156
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2286 of 2562 PageID #:
                                   15157
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2287 of 2562 PageID #:
                                   15158
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2288 of 2562 PageID #:
                                   15159
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2289 of 2562 PageID #:
                                   15160
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2290 of 2562 PageID #:
                                   15161
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2291 of 2562 PageID #:
                                   15162
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2292 of 2562 PageID #:
                                   15163
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2293 of 2562 PageID #:
                                   15164
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2294 of 2562 PageID #:
                                   15165
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2295 of 2562 PageID #:
                                   15166
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2296 of 2562 PageID #:
                                   15167
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2297 of 2562 PageID #:
                                   15168
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2298 of 2562 PageID #:
                                   15169
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2299 of 2562 PageID #:
                                   15170
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2300 of 2562 PageID #:
                                   15171
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2301 of 2562 PageID #:
                                   15172
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2302 of 2562 PageID #:
                                   15173
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2303 of 2562 PageID #:
                                   15174
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2304 of 2562 PageID #:
                                   15175
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2305 of 2562 PageID #:
                                   15176
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2306 of 2562 PageID #:
                                   15177
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2307 of 2562 PageID #:
                                   15178
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2308 of 2562 PageID #:
                                   15179
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2309 of 2562 PageID #:
                                   15180
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2310 of 2562 PageID #:
                                   15181
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2311 of 2562 PageID #:
                                   15182
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2312 of 2562 PageID #:
                                   15183
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2313 of 2562 PageID #:
                                   15184
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2314 of 2562 PageID #:
                                   15185
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2315 of 2562 PageID #:
                                   15186
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2316 of 2562 PageID #:
                                   15187
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2317 of 2562 PageID #:
                                   15188
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2318 of 2562 PageID #:
                                   15189
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2319 of 2562 PageID #:
                                   15190
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2320 of 2562 PageID #:
                                   15191
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2321 of 2562 PageID #:
                                   15192
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2322 of 2562 PageID #:
                                   15193
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2323 of 2562 PageID #:
                                   15194
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2324 of 2562 PageID #:
                                   15195
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2325 of 2562 PageID #:
                                   15196
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2326 of 2562 PageID #:
                                   15197
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2327 of 2562 PageID #:
                                   15198
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2328 of 2562 PageID #:
                                   15199
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2329 of 2562 PageID #:
                                   15200
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2330 of 2562 PageID #:
                                   15201
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2331 of 2562 PageID #:
                                   15202
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2332 of 2562 PageID #:
                                   15203
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2333 of 2562 PageID #:
                                   15204
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2334 of 2562 PageID #:
                                   15205
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2335 of 2562 PageID #:
                                   15206
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2336 of 2562 PageID #:
                                   15207
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2337 of 2562 PageID #:
                                   15208
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2338 of 2562 PageID #:
                                   15209
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2339 of 2562 PageID #:
                                   15210
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2340 of 2562 PageID #:
                                   15211
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2341 of 2562 PageID #:
                                   15212
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2342 of 2562 PageID #:
                                   15213
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2343 of 2562 PageID #:
                                   15214
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2344 of 2562 PageID #:
                                   15215
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2345 of 2562 PageID #:
                                   15216
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2346 of 2562 PageID #:
                                   15217
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2347 of 2562 PageID #:
                                   15218
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2348 of 2562 PageID #:
                                   15219
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2349 of 2562 PageID #:
                                   15220
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2350 of 2562 PageID #:
                                   15221
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2351 of 2562 PageID #:
                                   15222
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2352 of 2562 PageID #:
                                   15223
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2353 of 2562 PageID #:
                                   15224
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2354 of 2562 PageID #:
                                   15225
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2355 of 2562 PageID #:
                                   15226
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2356 of 2562 PageID #:
                                   15227
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2357 of 2562 PageID #:
                                   15228
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2358 of 2562 PageID #:
                                   15229
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2359 of 2562 PageID #:
                                   15230
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2360 of 2562 PageID #:
                                   15231
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2361 of 2562 PageID #:
                                   15232
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2362 of 2562 PageID #:
                                   15233
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2363 of 2562 PageID #:
                                   15234
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2364 of 2562 PageID #:
                                   15235
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2365 of 2562 PageID #:
                                   15236
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2366 of 2562 PageID #:
                                   15237
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2367 of 2562 PageID #:
                                   15238
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2368 of 2562 PageID #:
                                   15239
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2369 of 2562 PageID #:
                                   15240
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2370 of 2562 PageID #:
                                   15241
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2371 of 2562 PageID #:
                                   15242
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2372 of 2562 PageID #:
                                   15243
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2373 of 2562 PageID #:
                                   15244
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2374 of 2562 PageID #:
                                   15245
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2375 of 2562 PageID #:
                                   15246
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2376 of 2562 PageID #:
                                   15247
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2377 of 2562 PageID #:
                                   15248
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2378 of 2562 PageID #:
                                   15249
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2379 of 2562 PageID #:
                                   15250
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2380 of 2562 PageID #:
                                   15251
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2381 of 2562 PageID #:
                                   15252
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2382 of 2562 PageID #:
                                   15253
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2383 of 2562 PageID #:
                                   15254
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2384 of 2562 PageID #:
                                   15255
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2385 of 2562 PageID #:
                                   15256
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2386 of 2562 PageID #:
                                   15257
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2387 of 2562 PageID #:
                                   15258
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2388 of 2562 PageID #:
                                   15259
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2389 of 2562 PageID #:
                                   15260
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2390 of 2562 PageID #:
                                   15261
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2391 of 2562 PageID #:
                                   15262
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2392 of 2562 PageID #:
                                   15263
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2393 of 2562 PageID #:
                                   15264
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2394 of 2562 PageID #:
                                   15265
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2395 of 2562 PageID #:
                                   15266
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2396 of 2562 PageID #:
                                   15267
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2397 of 2562 PageID #:
                                   15268
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2398 of 2562 PageID #:
                                   15269
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2399 of 2562 PageID #:
                                   15270
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2400 of 2562 PageID #:
                                   15271
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2401 of 2562 PageID #:
                                   15272
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2402 of 2562 PageID #:
                                   15273
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2403 of 2562 PageID #:
                                   15274
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2404 of 2562 PageID #:
                                   15275
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2405 of 2562 PageID #:
                                   15276
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2406 of 2562 PageID #:
                                   15277
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2407 of 2562 PageID #:
                                   15278
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2408 of 2562 PageID #:
                                   15279
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2409 of 2562 PageID #:
                                   15280
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2410 of 2562 PageID #:
                                   15281
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2411 of 2562 PageID #:
                                   15282
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2412 of 2562 PageID #:
                                   15283
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2413 of 2562 PageID #:
                                   15284
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2414 of 2562 PageID #:
                                   15285
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2415 of 2562 PageID #:
                                   15286
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2416 of 2562 PageID #:
                                   15287
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2417 of 2562 PageID #:
                                   15288
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2418 of 2562 PageID #:
                                   15289
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2419 of 2562 PageID #:
                                   15290
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2420 of 2562 PageID #:
                                   15291
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2421 of 2562 PageID #:
                                   15292
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2422 of 2562 PageID #:
                                   15293
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2423 of 2562 PageID #:
                                   15294
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2424 of 2562 PageID #:
                                   15295
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2425 of 2562 PageID #:
                                   15296
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2426 of 2562 PageID #:
                                   15297
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2427 of 2562 PageID #:
                                   15298
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2428 of 2562 PageID #:
                                   15299
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2429 of 2562 PageID #:
                                   15300
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2430 of 2562 PageID #:
                                   15301
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2431 of 2562 PageID #:
                                   15302
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2432 of 2562 PageID #:
                                   15303
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2433 of 2562 PageID #:
                                   15304
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2434 of 2562 PageID #:
                                   15305
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2435 of 2562 PageID #:
                                   15306
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2436 of 2562 PageID #:
                                   15307
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2437 of 2562 PageID #:
                                   15308
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2438 of 2562 PageID #:
                                   15309
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2439 of 2562 PageID #:
                                   15310
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2440 of 2562 PageID #:
                                   15311
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2441 of 2562 PageID #:
                                   15312
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2442 of 2562 PageID #:
                                   15313
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2443 of 2562 PageID #:
                                   15314
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2444 of 2562 PageID #:
                                   15315
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2445 of 2562 PageID #:
                                   15316
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2446 of 2562 PageID #:
                                   15317
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2447 of 2562 PageID #:
                                   15318
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2448 of 2562 PageID #:
                                   15319
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2449 of 2562 PageID #:
                                   15320
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2450 of 2562 PageID #:
                                   15321
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2451 of 2562 PageID #:
                                   15322
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2452 of 2562 PageID #:
                                   15323
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2453 of 2562 PageID #:
                                   15324
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2454 of 2562 PageID #:
                                   15325
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2455 of 2562 PageID #:
                                   15326
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2456 of 2562 PageID #:
                                   15327
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2457 of 2562 PageID #:
                                   15328
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2458 of 2562 PageID #:
                                   15329
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2459 of 2562 PageID #:
                                   15330
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2460 of 2562 PageID #:
                                   15331
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2461 of 2562 PageID #:
                                   15332
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2462 of 2562 PageID #:
                                   15333
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2463 of 2562 PageID #:
                                   15334
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2464 of 2562 PageID #:
                                   15335
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2465 of 2562 PageID #:
                                   15336
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2466 of 2562 PageID #:
                                   15337
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2467 of 2562 PageID #:
                                   15338
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2468 of 2562 PageID #:
                                   15339
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2469 of 2562 PageID #:
                                   15340
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2470 of 2562 PageID #:
                                   15341
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2471 of 2562 PageID #:
                                   15342
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2472 of 2562 PageID #:
                                   15343
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2473 of 2562 PageID #:
                                   15344
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2474 of 2562 PageID #:
                                   15345
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2475 of 2562 PageID #:
                                   15346
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2476 of 2562 PageID #:
                                   15347
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2477 of 2562 PageID #:
                                   15348
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2478 of 2562 PageID #:
                                   15349
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2479 of 2562 PageID #:
                                   15350
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2480 of 2562 PageID #:
                                   15351
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2481 of 2562 PageID #:
                                   15352
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2482 of 2562 PageID #:
                                   15353
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2483 of 2562 PageID #:
                                   15354
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2484 of 2562 PageID #:
                                   15355
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2485 of 2562 PageID #:
                                   15356
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2486 of 2562 PageID #:
                                   15357
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2487 of 2562 PageID #:
                                   15358
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2488 of 2562 PageID #:
                                   15359
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2489 of 2562 PageID #:
                                   15360
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2490 of 2562 PageID #:
                                   15361
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2491 of 2562 PageID #:
                                   15362
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2492 of 2562 PageID #:
                                   15363
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2493 of 2562 PageID #:
                                   15364
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2494 of 2562 PageID #:
                                   15365
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2495 of 2562 PageID #:
                                   15366
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2496 of 2562 PageID #:
                                   15367
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2497 of 2562 PageID #:
                                   15368
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2498 of 2562 PageID #:
                                   15369
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2499 of 2562 PageID #:
                                   15370
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2500 of 2562 PageID #:
                                   15371
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2501 of 2562 PageID #:
                                   15372
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2502 of 2562 PageID #:
                                   15373
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2503 of 2562 PageID #:
                                   15374
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2504 of 2562 PageID #:
                                   15375
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2505 of 2562 PageID #:
                                   15376
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2506 of 2562 PageID #:
                                   15377
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2507 of 2562 PageID #:
                                   15378
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2508 of 2562 PageID #:
                                   15379
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2509 of 2562 PageID #:
                                   15380
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2510 of 2562 PageID #:
                                   15381
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2511 of 2562 PageID #:
                                   15382
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2512 of 2562 PageID #:
                                   15383
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2513 of 2562 PageID #:
                                   15384
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2514 of 2562 PageID #:
                                   15385
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2515 of 2562 PageID #:
                                   15386
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2516 of 2562 PageID #:
                                   15387
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2517 of 2562 PageID #:
                                   15388
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2518 of 2562 PageID #:
                                   15389
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2519 of 2562 PageID #:
                                   15390
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2520 of 2562 PageID #:
                                   15391
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2521 of 2562 PageID #:
                                   15392
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2522 of 2562 PageID #:
                                   15393
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2523 of 2562 PageID #:
                                   15394
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2524 of 2562 PageID #:
                                   15395
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2525 of 2562 PageID #:
                                   15396
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2526 of 2562 PageID #:
                                   15397
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2527 of 2562 PageID #:
                                   15398
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2528 of 2562 PageID #:
                                   15399
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2529 of 2562 PageID #:
                                   15400
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2530 of 2562 PageID #:
                                   15401
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2531 of 2562 PageID #:
                                   15402
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2532 of 2562 PageID #:
                                   15403
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2533 of 2562 PageID #:
                                   15404
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2534 of 2562 PageID #:
                                   15405
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2535 of 2562 PageID #:
                                   15406
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2536 of 2562 PageID #:
                                   15407
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2537 of 2562 PageID #:
                                   15408
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2538 of 2562 PageID #:
                                   15409
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2539 of 2562 PageID #:
                                   15410
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2540 of 2562 PageID #:
                                   15411
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2541 of 2562 PageID #:
                                   15412
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2542 of 2562 PageID #:
                                   15413
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2543 of 2562 PageID #:
                                   15414
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2544 of 2562 PageID #:
                                   15415
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2545 of 2562 PageID #:
                                   15416
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2546 of 2562 PageID #:
                                   15417
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2547 of 2562 PageID #:
                                   15418
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2548 of 2562 PageID #:
                                   15419
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2549 of 2562 PageID #:
                                   15420
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2550 of 2562 PageID #:
                                   15421
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2551 of 2562 PageID #:
                                   15422
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2552 of 2562 PageID #:
                                   15423
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2553 of 2562 PageID #:
                                   15424
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2554 of 2562 PageID #:
                                   15425
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2555 of 2562 PageID #:
                                   15426
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2556 of 2562 PageID #:
                                   15427
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2557 of 2562 PageID #:
                                   15428
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2558 of 2562 PageID #:
                                   15429
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2559 of 2562 PageID #:
                                   15430
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2560 of 2562 PageID #:
                                   15431
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2561 of 2562 PageID #:
                                   15432
Case 1:22-cv-01466-MN Document 101-1 Filed 10/03/23 Page 2562 of 2562 PageID #:
                                   15433
